         Case: 23-2402    Document: 15     Page: 1    Filed: 02/01/2024




                      Nos. 23-2402, 23-2403, 23-2411

              United States Court of Appeals
                  for the Federal Circuit
                                __________

                            SYDNEXIS INC.,
                                                        Appellant,

                                     v.

                            EYENOVIA, INC.,
                                                        Appellee.


 Appeal from the United States Patent and Trademark Office, Patent Trial and
   Appeal Board in Nos. IPR2022-00384, IPR2022-00414, IPR2022-00415


                    APPELLANT’S OPENING BRIEF



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Dated: February 1, 2024                   Counsel for Appellant Sydnexis, Inc.
           Case: 23-2402         Document: 15   Page: 2   Filed: 02/01/2024




                               REPRESENTATIVE CLAIMS

U.S. Patent No. 10,842,787
1. A stabilized ophthalmic composition for treating pre-myopia, myopia, or
progression of myopia, comprising [a] from 0.001 wt % to about 0.05 wt % of
atropine or atropine sulfate and water, [b] wherein the stabilized ophthalmic
composition further comprises a buffering agent to provide a pH of from about 4.8
to about 6.4, [c] wherein the stabilized ophthalmic composition is a liquid, and [d]
wherein the stabilized ophthalmic composition comprises less than about 10% of a
degradant formed from degradation of the atropine or atropine sulfate after an
extended period of time of at least 2 weeks [d.1] under a storage temperature of from
about 20° C. to about 70° C. and [d.2] relative humidity from about 50% to about
80%.
Appx000227 at Claim 1.
U.S. Patent No. 10,940,145

1. A kit comprising:

      a. a vial comprising a pharmaceutical composition, the pharmaceutical
      composition comprising:

             i. about 0.01 mg/g to about 0.5 mg/g of atropine or atropine sulfate;
             ii. water; and
             iii. a buffer; and

      b. instructions for use.
Appx000293 at Claim 1.
U.S. Patent No. 10,888,557
1. A method of treating progression of myopia or reducing the progression rate of
myopia in an individual in need thereof, comprising administering to an eye of the
individual

       (a) an aqueous solution comprising atropine or atropine sulfate and less than
about 10% of a degradant of atropine or atropine sulfate formed from degradation of
the atropine or atropine sulfate and

      (b) a buffering agent.
Appx000359 at Claim 1.
                                      [inside cover]
               Case:
               Case:23-2402
                     23-2402        Document:
                                    Document:15
                                              8   Page:
                                                  Page:13   Filed:
                                                            Filed:10/04/2023
                                                                   02/01/2024



FORM 9. Certificate of Interest                                                 Form 9 (p. 1)
                                                                                 March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-2402, 2023-2403, 2023-2411
  Short Case Caption Sydnexis, Inc. v. Eyenovia, Inc.
   Filing Party/Entity Sydnexis, Inc.



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     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date: 10/04/2023                         Signature:   /s/Michael T. Rosato

                                           Name:        Michael T. Rosato
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               Case:23-2402
                     23-2402          Document:
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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            _Provide the full names of       Provide the .full riarnes of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.
                                      v None/Not Applicable             Is! None/Not Applicable
Sydnexis, Inc.




                                  0      Additional pages attached
               Case:
               Case:23-2402
                     23-2402      Document:
                                  Document:15
                                            8       Page:
                                                    Page:35       Filed:
                                                                  Filed:10/04/2023
                                                                         02/01/2024



FORM 9. Certificate of Interest                                                       Form 9 (p. 3)
                                                                                       March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ❑        None/Not Applicable              ❑         Additional pages attached
Michael J. Hostetler




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 0     Yes (file separate notice; see below)    d     No      0    N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 El       None/Not Applicable              ❑         Additional pages attached
                Case: 23-2402             Document: 15             Page: 6         Filed: 02/01/2024




                                              TABLE OF CONTENTS

                                                                                                                      Page
REPRESENTATIVE CLAIMS

CERTIFICATE OF INTEREST

TABLE OF AUTHORITIES ................................................................................... iii

STATEMENT OF RELATED CASES ....................................................................vi

JURISDICTIONAL STATEMENT .......................................................................... 1

INTRODUCTION ..................................................................................................... 1

STATEMENT OF THE ISSUES............................................................................... 3

STATEMENT OF THE CASE .................................................................................. 4

         I.       The Challenged Patents ......................................................................... 4
         II.      Relevant Ground References ................................................................. 7
                  A.       Chia ............................................................................................. 7
                  B.       Akorn........................................................................................... 7
                  C.       Kondritzer ................................................................................... 8
         III.     IPR Proceedings .................................................................................... 8
SUMMARY OF THE ARGUMENT ...................................................................... 10

ARGUMENT ........................................................................................................... 12

         I.       Standard of review............................................................................... 12
         II.      The Board committed prejudicial legal error by requiring the
                  patent owner to prove it was impossible for Akorn’s phosphates
                  to satisfy the claimed buffer limitation. .............................................. 13
                  A.       The Board erroneously held the claims obvious based on
                           the mere possibility that the phosphate salts in Akorn
                           could be used to buffer. ............................................................. 13
                  B.       The Board erroneously shifted the burden of proof to
                           Sydnexis. ................................................................................... 23
                                                             i
            Case: 23-2402            Document: 15             Page: 7        Filed: 02/01/2024




     III.    The Board prejudicially applied an improper legal standard in
             determining motivation to combine. ................................................... 26
             A.       The Board erroneously disregarded Sydnexis’s discovery
                      of an unknown or unexpected problem..................................... 27
             B.       The Board erroneously shifted the burden of proof to
                      Sydnexis. ................................................................................... 34
     IV.     The Board’s buffer findings prejudicially lack substantial
             evidence. .............................................................................................. 37
             A.       No substantial evidence supports buffering Chia’s low-
                      concentration atropine solution at a pH of 5-6. ........................ 37
             B.       Substantial evidence does not support the Board’s
                      departure from the pharmaceutical buffering range of
                      phosphate salts. ......................................................................... 40
CONCLUSION AND STATEMENT OF RELIEF SOUGHT ............................... 44

ADDENDUM

CERTIFICATE OF COMPLIANCE




                                                       ii
                Case: 23-2402              Document: 15            Page: 8         Filed: 02/01/2024




                                       TABLE OF AUTHORITIES

                                                                                                                     Page

                                                       CASES

ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312
      (Fed. Cir. 2012).............................................................................................. 36

Adidas AG v. Nike, Inc., 963 F.3d 1355 (Fed. Cir. 2020) ........................................ 26

Amerigen Pharms. Ltd. v. UCB Pharma GmbH, 913 F.3d 1076 (Fed.
     Cir. 2019) ....................................................................................................... 34

Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064 (Fed. Cir. 2015) ............................... 36

Bristol-Myers Squibb Co. v. Teva Pharms. USA, Inc., 752 F.3d 967
      (Fed. Cir. 2014).............................................................................................. 12

Cyntec Co., Ltd. v. Chilisin Elecs. Corp., 84 F.4th 979 (Fed. Cir.
      2023) .............................................................................................................. 12

Dynamic Drinkware, LLC v. Nat’l Graphics, Inc., 800 F.3d 1375
     (Fed. Cir. 2015).............................................................................................. 12

Endo Pharms. Sols., Inc. v. Custopharm Inc., 894 F.3d 1374 (Fed. Cir.
     2018) .............................................................................................................. 25

Fanduel, Inc. v. Interactive Games LLC, 966 F.3d 1334 (Fed. Cir.
     2020) .............................................................................................................. 24

Forest Lab’ys, LLC v. Sigmapharm Lab’ys, LLC, 918 F.3d 928 (Fed.
      Cir. 2019) ....................................................................................................... 27

In re Gorman, 933 F.2d 982 (Fed. Cir. 1991) ......................................................... 27

In re Kahn, 441 F.3d 977 (Fed. Cir. 2006) ........................................................26, 35

In re Leithem, 661 F.3d 1316 (Fed. Cir. 2011) ........................................................ 24

In re Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364 (Fed. Cir.
      2016) ......................................................................................12, 13, 24, 26, 35


                                                            iii
                Case: 23-2402            Document: 15            Page: 9        Filed: 02/01/2024




In re Oelrich, 666 F.2d 578 (CCPA 1981) .............................................................. 20

In re Omeprazole Patent Litig., 536 F.3d 1361 (Fed. Cir. 2008) ............................ 31

In re Rijckaert, 9 F.3d 1531 (Fed. Cir. 1993) .......................................................... 20

In re Spormann, 363 F.2d 444 (CCPA 1966) .......................................................... 20

In re Vaeck, 947 F.2d 488 (Fed. Cir. 1991) ............................................................. 13

Intel Corp. v. PACT XPP Schweiz AG, 61 F.4th 1373 (Fed. Cir. 2023) ................. 12

InTouch Techs., Inc. v. VGo Commc’ns, Inc., 751 F.3d 1327 (Fed. Cir.
     2014) ........................................................................................................26, 36

IPR Licensing, Inc. v. ZTE Corp., 685 F. App’x 933 (Fed. Cir. 2017) .............25, 33

KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398 (2007) ............................................... 35

LBT IP I LLC v. Apple Inc., No. 22-1613, 2023 WL 3914920 (Fed.
     Cir. June 9, 2023)........................................................................................... 21

Leo Pharm. Prods., Ltd. v. Rea, 726 F.3d 1346 (Fed. Cir. 2013) ...27, 28, 29, 31, 34

Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157 (Fed. Cir. 2006)............................ 13

Merck & Cie v. Gnosis S.p.A., 808 F.3d 829 (Fed. Cir. 2015) ................................ 26

Mintz v. Dietz & Watson, Inc., 679 F.3d 1372 (Fed. Cir. 2012) ........................29, 33

Nike, Inc. v. Adidas AG, 812 F.3d 1326 (Fed. Cir. 2016), overruled on
       other grounds by Aqua Prod., Inc. v. Matal, 872 F.3d 1290
       (Fed. Cir. 2017).............................................................................................. 27

Novartis Pharmaceuticals Corp. v. Watson Laboratories, Inc., 611 F.
     App’x 988 (Fed. Cir. 2015) .....................................................................32, 33

Par Pharm., Inc. v. TWi Pharms., Inc., 773 F.3d 1186 (Fed. Cir. 2014) ....13, 20, 21

Persion Pharms. LLC v. Alvogen Malta Operations Ltd., 945 F.3d
      1184 (Fed. Cir. 2019)..................................................................................... 22

PersonalWeb Techs., LLC v. Apple, Inc., 848 F.3d 987 (Fed. Cir.
     2017) (PersonalWeb I) ............................................................................20, 36
                                                           iv
               Case: 23-2402              Document: 15            Page: 10         Filed: 02/01/2024




PersonalWeb Techs., LLC v. Apple, Inc., 917 F.3d 1376 (Fed. Cir.
     2019) (PersonalWeb II) ...........................................................................20, 21

Princeton Vanguard, LLC v. Frito-Lay N. Am., Inc., 786 F.3d 960
      (Fed. Cir. 2015).............................................................................................. 44

SAS Inst., Inc. v. Iancu, 138 S.Ct. 1348 (2018) ....................................................... 24

Star Sci., Inc. v. R.J. Reynolds Tobacco Co., 655 F.3d 1364 (Fed. Cir.
      2011) ........................................................................................................20, 36

Sud-Chemie, Inc. v. Multisorb Techs., Inc., 554 F.3d 1001 (Fed. Cir.
     2009) .............................................................................................................. 23

                                                   STATUTES

28 U.S.C. §1295(a)(4)(A) .......................................................................................... 1

35 U.S.C. §316(e) ..............................................................................................12, 26




                                                             v
           Case: 23-2402     Document: 15     Page: 11   Filed: 02/01/2024




                     STATEMENT OF RELATED CASES

      Under Federal Circuit Rule 47.5(a), counsel for Appellant Sydnexis, Inc.

states that no appeal from the same proceeding was previously before this or any

other appellate court nor will this Court’s decision directly affect or be affected by

any pending cases.




                                         vi
          Case: 23-2402     Document: 15     Page: 12    Filed: 02/01/2024




                       JURISDICTIONAL STATEMENT

      Sydnexis appeals from the final judgments of the U.S. Patent Trial and Appeal

Board entered on July 13, 2023. Appx000054-000055, Appx000105-000107,

Appx000159-000161. Sydnexis timely filed notices of appeal on September 14,

2023. Appx001148-001152, Appx010558-01562, Appx011182-011186. This Court

has jurisdiction under 28 U.S.C. §1295(a)(4)(A).

                                INTRODUCTION

      The Board’s final written decisions should be set aside for holding the claims

obvious without finding the asserted prior art disclosed every element of the claims.

The decisions also impermissibly shifted the burden of proof from the petitioner

(Eyenovia) to the patent owner (Sydnexis).

      The challenged patents are directed to an aqueous ophthalmic solution of low-

concentration atropine that is buffered. In U.S. Patent No. 10,842,787 (the ’787

patent), for example, the claims specifically recite using “a buffering agent to

provide a pH of from about 4.8 to about 6.4.” Appx000227. The meaning of

buffering as used in the claims was undisputed: it must maintain or control the pH.

But the prior art reference (Akorn1) the Petition relied upon for disclosure of this

limitation did not disclose that its solution was buffered. Nor did it disclose the



1
 Akorn Atropine CareTM (atropine sulfate ophthalmic solution), NDA 206289
Product Label (Revised July 2014) (Appx001280-001284).
                                      1
           Case: 23-2402     Document: 15     Page: 13   Filed: 02/01/2024




amounts of the ingredients (phosphate salts) alleged in the Petition to satisfy the

buffering limitations. The Board never found that it did. Instead, the Board inverted

the burden of proof, and required Sydnexis to prove it would be impossible for these

phosphates to buffer at the implicated pH under any circumstances.2 The Board’s

conclusion of obviousness was thus erroneously predicated on a finding of what

could have been done, rather than what actually was disclosed, and on an

impermissible shifting of the burden of proof.

      Because it erroneously focused on possibilities, the Board committed a

second legal error. It brushed aside the inventors’ discovery of an unknown stability

problem in low-concentration atropine solutions. But because the stability problem

was not known in the prior art, Petition’s asserted motivation to modify was

unsupported. Having erroneously placed the burden of proof on the patent owner,

and because they fail to satisfy the legal standards for obviousness, the Board’s

decisions should be vacated.

      The Board’s errors about the applicable legal standards discussed above bled

into its factual findings, which are not supported by substantial evidence. First, it—

without explanation—disregarded evidence (1) that Chia’s ophthalmic solution

already was stable without buffering and (2) that pH adjustment without buffering



2
 As discussed separately, the record shows the phosphates were not necessarily
buffering.
                                       2
           Case: 23-2402      Document: 15      Page: 14   Filed: 02/01/2024




was the indicated means for balancing stability with patient comfort. Second, it

erroneously concluded that phosphate salts employed in a solution pH outside their

pharmaceutical buffering range would satisfy the buffering requirements of the

claims by serving as a nonfunctional or ineffective buffer. The Board’s conclusions

of obviousness should therefore be set aside because its underlying fact-findings lack

substantial evidence.

                          STATEMENT OF THE ISSUES

      1. Did the Board legally err by:

             a. shifting the burden of proof to the patent owner and holding the

                  challenged claims obvious based on possibilities rather than prior art

                  disclosure by the asserted references; and

             b. disregarding Sydnexis’s discovery of an unknown problem and

                  finding motivation based on what could have been done rather than

                  what would have been done?

      2. Does substantial evidence support the Board’s motivation to add buffering

         to Chia’s already-stabilized low-concentration atropine solution or the

         Board’s departure from the pharmaceutical buffering range of phosphates

         salts?




                                            3
            Case: 23-2402     Document: 15      Page: 15    Filed: 02/01/2024




                            STATEMENT OF THE CASE

I.   The Challenged Patents

       The challenged patents describe a stabilized, aqueous, low-concentration

 atropine solution that is buffered to provide a pH of from about 4.8 to about 6.4 and

 can be used for treating pre-myopia, myopia, and progression of myopia. E.g.,

 Appx000227 (97:32-44).3 Myopia is an axial elongation of the eye that begins in

 grade school and generally progresses until the growth of the eye is complete.

 Appx000183 (10:44-47). Previously, higher-concentration atropine solutions had

 been used to treat myopia, but those higher concentrations caused significant side

 effects, such as glare from pupillary dilation and blurred vision. Appx000184

 (12:21-24).

       But after many experiments, the inventors “recognize[d] that … atropine[]

 liquid compositions formulated at lower concentrations (e.g. 0.001% to 0.05%)

 present[ed] stability challenges that [we]re less so in higher concentrations (e.g. 0.1-

 1%).” Appx000183 (10:15-19); see also Appx009672-009674. Specifically, when

 evaluating the impact of atropine concentration on atropine stability, the inventors

 discovered that atropine degraded in aqueous solution at a faster rate when the

 atropine concentration was very low than when the atropine concentration was



 3
   The specifications of the other two challenged patents contain equivalent
 disclosures. Appx009836-009837.
                                      4
           Case: 23-2402     Document: 15     Page: 16   Filed: 02/01/2024




higher. Appx000217-000218 (Tables 14A, 15, 16), Appx009673-009674. That

accelerated degradation made the solution more acidic. Appx000219 (Table 18).

After identifying the stability problems for low-concentration atropine solutions, the

inventors discovered that using a buffering agent to provide a pH within the critical

zone of 4.8 to 6.4 mitigated the instability issue that they had discovered.

Appx000220-000222 (Tables 23A, 24A, 25A, 26A, 27A, 30), Appx009674.

      As explained during prosecution, the prior art did not recognize the stability

problem of dilute atropine, and a POSA would not have had a reason to incur the

additional time and expense to formulate a buffered low-concentration atropine

solution without knowing about that stability problem. Appx003502-003503.

Applicants explained that maintaining the pH specified in the pending claims was

critical to providing better stability for low-concentration atropine solutions, that

degradation increased when tested at higher than the claimed value of 6.4, and that

pH did not stably remain above 4.0 when tested at lower than the claimed 4.8 value.

Appx003504-003505. Because the ’787 patent recites a “stabilized” liquid

ophthalmic composition that requires “a buffering agent to provide a pH of from

about 4.8 to about 6.4,” which none of the prosecution references disclosed, and

because the prior art failed to recognize the stability problem of low-concentration

atropine solutions after storage for an extended time, the Examiner allowed the



                                          5
           Case: 23-2402     Document: 15     Page: 17   Filed: 02/01/2024




claims. Appx003504-003505, Appx003554, Appx003559-003561, Appx003669,

Appx003792.

      The specification explains that a buffering agent or buffer “provide[s]” pH

“control or maintenance.” Appx000196 (36:41-46), Appx009667-009670; see also

Appx010736 (stating that the claims should be construed “in accordance with the

ordinary and customary meaning as understood by a POSA and the prosecution

history”), Appx011041 (“Petitioner agrees that the ordinary meaning of terms

should apply in this proceeding.”). Reading the claims in light of the specification’s

ordinary meaning precludes reading “buffer” to mean something that is

nonfunctional or inoperative for controlling and maintaining the pH (i.e., fails to

address the disclosed problem). The patent specifically discloses that mere inclusion

of disodium hydrogen phosphate, sodium dihydrogen phosphate, or a combination

thereof, does not necessarily satisfy the buffering limitations, because these same

excipients can be made into a tonicity adjusting agent or a buffering agent.

Appx009669; see Appx000180 (3:52-62), Appx000182 (7:60-8:3), Appx000200-

000201 (44:54-65, 45:1-9), Appx000226 (96:43-53) (all discussing tonicity); see

Appx000180 (3:45-51), Appx000182 (7:53-59), Appx000188-000189 (20:65-21:5,

21:29-42, 22:14-34), Appx000226 (96:37-42) (all discussing buffering). Whether

the excipients constitute a buffering agent depends at least on the amounts of the



                                          6
               Case: 23-2402   Document: 15      Page: 18    Filed: 02/01/2024




  excipients used and the pH of the solution in which they are used. Appx009669-

  009670.

II.   Relevant Ground References

      A.     Chia

           Chia is a journal article that describes administering low-concentration

  atropine eyedrops to children every day for two years to treat myopia. Appx001272.

  Chia discloses the “[t]rial medication consisted of the appropriate dose of atropine

  sulfate with 0.02% of 50% benzalkonium chloride as a preservative.” Appx001273.

  Accordingly, Chia does not disclose buffering or a pH of 4.8 to 6.4.

      B.     Akorn

           Akorn describes a 1% atropine sulfate eyedrop solution approved for uses

  other than myopia treatment. Appx001280. Akorn lists the following ingredients:

           Each mL of Atropine Sulfate Ophthalmic Solution USP, 1% contains:
           Active: atropine sulfate 10 mg equivalent to 8.3 mg of atropine.
           Inactives: benzalkonium chloride 0.1 mg (0.01%), dibasic sodium
           phosphate, edetate disodium, hypromellose (2910), monobasic sodium
           phosphate, hydrochloric acid and/or sodium hydroxide may be added
           to adjust pH (3.5 to 6.0), and water for injection USP.

  Appx001282. Other than atropine and benzalkonium chloride, Akorn does not

  disclose the amounts of the ingredients. It also does not disclose the specific solution

  pH obtained within the limits of 3.5 to 6.0 using the hydrochloric acid and/or sodium

  hydroxide. It was undisputed below that hydrochloric acid, sodium hydroxide, and

  benzalkonium chloride are not buffering agents. Appx009656, Appx009835.
                                             7
                Case: 23-2402    Document: 15     Page: 19   Filed: 02/01/2024




       C.      Kondritzer

            Kondritzer is a journal article that studies the hydrolysis of atropine.

   Kondritzer determined the pH of minimum hydrolysis at various temperatures and

   calculates the hydrolytic rates at these pH values. Appx001286. Kondritzer also

   calculates the half-life of atropine in aqueous solutions having various pH values

   and temperatures. Appx001286. Kondritzer concludes that “[t]he pH for maximum

   stability of atropine in sterile aqueous solution varies between 4.11 at 0° and 3.24 at

   100°.” Appx001289.

            Kondritzer reports that the half-life of atropine at room temperature is 1800

   years, 811 years, 266 years, and 27 years at pH 4.0, 4.5, 5.0, and 6.0, respectively.

   Appx001288 (Table III). It was undisputed below that atropine was thus expected to

   have a stable shelf-life of years at each of these pH values. Appx009718-009720.

III.   IPR Proceedings

            The only petition grounds addressed by the Board’s final written decisions

   asserted the claims were unpatentable as obvious over Chia, Akorn, and Kondritzer.

   Appx000053, Appx000159, Appx000105, Appx010736-010737, Appx010109-

   010110, Appx000576-000577 (asserting obviousness over Chia and Akorn).

   Because Chia’s efficacious low-concentration atropine solution was unbuffered,

   Petitioner argued that Akorn disclosed the buffering limitations. Appx010737,

   Appx010740-101741. The only support that Petitioner could articulate was that

                                              8
           Case: 23-2402     Document: 15    Page: 20    Filed: 02/01/2024




Akorn listed as inactive ingredients “dibasic sodium phosphate [and] monobasic

sodium phosphate.” Appx010740. Sydnexis responded that Akorn did not state that

it included a buffer at all, that Akorn attributed solution pH to excipients known not

to be buffering agents (hydrochloric acid and sodium hydroxide), that Akorn did not

reveal its actual solution pH or the concentrations of the phosphates, and that

Petitioner had thus failed to prove that Akorn disclosed the buffering limitations.

Appx010982-010983,         Appx010990-010993.       Moreover,      based     on   the

pharmaceutical buffering range for phosphates (6.2-8.2) disclosed in Petitioner’s

pharmaceutical buffer reference (Waterman), Sydnexis noted that there was no

overlap with the USP pH limits of 3.5 to 6.0 required in the Akorn reference.

Appx010991, Appx010995-010997.

      Petitioner then submitted several reply references discussing biological or cell

“buffers,” not ophthalmic or pharmaceutical buffers. Appx008943-009077.

According to Petitioner, those references purportedly showed that phosphates could

sometimes, under some circumstances, have a pKa of under 7.2 and may be able to

buffer as low as 5.4. Appx011043-011044. Relying on those reply references, the

Board found that it was possible that phosphates could buffer within the USP4 limits

of 3.5 to 6.0. Appx000041-000044. The Board also found that a nonground reference



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 “USP” stands for National Formulary of the U.S. Pharmacopeia, which imposes
quality standards for medicines, such as pH limits. See Appx000040, Appx010961.
                                          9
          Case: 23-2402     Document: 15      Page: 21   Filed: 02/01/2024




discussing ophthalmic solutions recommended the use of buffers to maintain pH at

the appropriate level as needed while minimizing buffer capacity to provide patient

comfort and compliance. Appx000045-000046. Finally, the Board found that Akorn

“disclose[d] a pH range of 3.5 to 6.0.” Appx000046. Based solely on those findings,

(i.e. (1) the possibility of buffering under circumstances not disclosed here and (2)

the general recommendation of a nonground reference to use a buffer when

“appropriate”), the Board concluded the claims were obvious. In so concluding, the

Board disregarded the inventors’ discovery of an unknown problem, stating that

“regardless of whether the problem of the stability of atropine at low doses was

unexpected,” the use of a buffer to maintain pH was exactly how a buffer was

supposed to be used. Appx000047.

                      SUMMARY OF THE ARGUMENT

      The petition grounds accepted by the Board rely on one asserted reference—

Akorn—disclosing buffering its atropine ophthalmic solution to maintain a solution

pH between 4.8 and 6.0. The Board legally erred in at least two ways when it held

the claims obvious. First, Akorn does not disclose buffering its ophthalmic atropine

solution, and the Board never found that it did. Instead, the Board found that it was

possible under certain conditions (not inherently present in Akorn) that the

phosphate salts listed in Akorn could buffer within the implicated pH limits. But

mere possibilities do not establish obviousness. Moreover, the Board impermissibly

                                         10
           Case: 23-2402     Document: 15     Page: 22   Filed: 02/01/2024




shifted the burden to Sydnexis by requiring it to prove that it was impossible for the

phosphate salts to buffer at the indicated pH rather than requiring the Petitioner to

prove its case that Akorn disclosed buffering the ophthalmic atropine solution at the

indicated pH.

      Second, the Board’s blinkered focus on possibilities caused it improperly to

brush aside the inventors’ discovery of an unknown instability problem in low-

concentration atropine aqueous solution. The Board focused on what a POSA could

have done, if they had known of the problem, rather than what a POSA would have

done given they did not know about the problem. The Board’s conclusion of

motivation to modify to address an unknown problem was a legal error and reflects

impermissible hindsight bias that has no place in an obviousness analysis.

Accordingly, the Board’s decisions should be reversed.

      The Board’s errors about the applicable legal standards discussed above bled

into its factual findings, which are not supported by substantial evidence. First, it

inexplicably disregarded the evidence that Chia’s ophthalmic solution as used

therapeutically already was stable without buffering and that pH adjustment without

buffering was the indicated means for balancing stability with patient comfort.

Second, it erroneously concluded that phosphate salts employed in a solution pH

outside their pharmaceutical buffering range would satisfy the buffering

requirements of the claims by serving as an ineffective or inoperative buffer. The

                                         11
             Case: 23-2402      Document: 15     Page: 23   Filed: 02/01/2024




 Board’s conclusions of obviousness should therefore be reversed because its

 underlying fact-findings lack substantial evidence and the record below provides no

 alternative basis for a remand.

                                      ARGUMENT

I.   Standard of review

       “Obviousness presents an ultimate legal question with numerous underlying

 factual findings.” Cyntec Co., Ltd. v. Chilisin Elecs. Corp., 84 F.4th 979, 984 (Fed.

 Cir. 2023) (citations omitted). This Court “review[s] the conclusion of obviousness

 de novo.” Bristol-Myers Squibb Co. v. Teva Pharms. USA, Inc., 752 F.3d 967, 972-

 73 (Fed. Cir. 2014). Underlying factual findings are reviewed for substantial

 evidence. Intel Corp. v. PACT XPP Schweiz AG, 61 F.4th 1373, 1378 (Fed. Cir.

 2023).

          “In an inter partes review ..., the petitioner shall have the burden of proving

 a proposition of unpatentability by a preponderance of the evidence.” In re Magnum

 Oil Tools Int’l, Ltd., 829 F.3d 1364, 1375 (Fed. Cir. 2016) (quoting 35 U.S.C.

 §316(e)). “[T]hat burden never shifts to the patentee.” Dynamic Drinkware, LLC v.

 Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015). And it includes “the

 burden of producing evidence to support a conclusion of unpatentability under §102

 or §103.” In re Magnum, 829 F.3d at 1376 (citing Dynamic Drinkware, 800 F.3d at

 1379). Thus, for an obviousness analysis, “the notion of burden-shifting is inapposite

                                            12
               Case: 23-2402     Document: 15     Page: 24    Filed: 02/01/2024




  because the patentee’s position is that the patent challenger failed to meet its burden

  of proving obviousness.” Id.

II.   The Board committed prejudicial legal error by requiring the patent owner
      to prove it was impossible for Akorn’s phosphates to satisfy the claimed
      buffer limitation.

           When a petitioner attempts to prove obviousness based on a combination of

  references in the prior art, the petitioner must first show that the elements of the

  claim are disclosed in the asserted prior art. Par Pharm., Inc. v. TWi Pharms., Inc.,

  773 F.3d 1186, 1194 (Fed. Cir. 2014) (citing Medichem, S.A. v. Rolabo, S.L., 437

  F.3d 1157, 1164 (Fed. Cir. 2006)). Here, the Board found only that it might be

  possible for the phosphates listed in Akorn to buffer under conditions not disclosed

  in Akorn. The Board thus shifted the burden of proof erroneously to Sydnexis to

  prove that it was impossible to use the phosphate salts to buffer at the indicated pH.

  Accordingly, the Board’s decision should be set aside.

      A.      The Board erroneously held the claims obvious based on the mere
              possibility that the phosphate salts in Akorn could be used to buffer.

           To prevail on obviousness, Petitioner had the “burden to prove that all claimed

  limitations [we]re disclosed in the prior art.” Par Pharm., 773 F.3d at 1194. The

  Board thus cannot hold claims invalid as obvious unless it finds the specific prior art

  references asserted in the relevant ground disclose all of the claim limitations. Id.;

  In re Vaeck, 947 F.2d 488, 493 (Fed. Cir. 1991) (holding that if “[t]he prior art …

  does not disclose or suggest” a claim limitation, then “the PTO has not established
                                             13
            Case: 23-2402     Document: 15    Page: 25   Filed: 02/01/2024




the prima facie obviousness of the claimed subject matter”). Here, the Board did not

find that the ground references (Chia, Akorn, and Kondritzer) disclosed all the

limitations of Sydnexis’s claims. It therefore erred in holding the claims obvious.

      The dispute on appeal centers on the buffering limitation. In the ’787 patent,

this limitation states: “wherein the stabilized ophthalmic composition further

comprises a buffering agent to provide a pH of from about 4.8 to about 6.4.”

Appx000227 (97:32-44), Appx000038-000039. It was undisputed below that

“buffering” has its plain meaning, which requires that the agent control or maintain

the indicated pH. Appx000013-000014, Appx010736, Appx010985-010986,

Appx010989, Appx011041. Petitioner relied exclusively on Akorn to disclose the

buffering limitation, arguing that Akorn expressly disclosed using a buffer system

to maintain a solution pH of 3.5 to 6.0. Appx010737, Appx010740, Appx010744-

010745. As explained in detail below, Akorn did not disclose that its ophthalmic

atropine solution employed a buffering agent to provide a pH of 4.8-6.0, and the

Board did not find that it did.

      It was undisputed below that Akorn never mentions buffering. See

Appx010991 (citing Appx009690-009692, Appx009696-009697). Petitioner’s

argument that Akorn disclosed using a buffering agent to maintain a solution pH of

4.8 to 6.0 thus rested solely on the list of inactive ingredients in Akorn. That list

provided:

                                         14
           Case: 23-2402     Document: 15      Page: 26   Filed: 02/01/2024




           “benzalkonium chloride 0.1 mg (0.01%)”;

           “dibasic sodium phosphate”;

           “edetate disodium”;

           “hypromellose (2910)”;

           “monobasic sodium phosphate”;

           “hydrochloric acid and/or sodium hydroxide may be added to adjust pH

             (3.5 to 6.0)”; and

           “water for injection USP.”

Appx001282, Appx009826-009829. Importantly, Petitioner’s expert testified that,

of those inactive ingredients, only the phosphate salts could be buffering agents.

Appx009835.

      Petitioner’s argument assumed that mere disclosure of phosphate salts as

inactive ingredients established that they were present as a buffering agent to provide

a pH between 3.5 and 6.0. But Akorn does not attribute any pH effect to the

phosphate salts. Appx001282. Instead, it exclusively attributes the solution pH to

excipients (hydrochloric acid and sodium hydroxide) that Petitioner’s expert agreed

were not buffering agents. Appx009835; see also Appx009824-009825

(distinguishing between Akorn’s disclosure of “dibasic sodium phosphate [and]

monobasic sodium phosphate” and “then a pH adjuster, hydrochloric acid and

sodium hydroxide”), Appx001282 (explaining that “hydrochloric acid and/or
                                          15
             Case: 23-2402     Document: 15     Page: 27   Filed: 02/01/2024




sodium hydroxide may be added to adjust pH”),5 Appx010992-010993. And other

than “benzalkonium chloride 0.1 mg (0.01%),” Akorn does not reveal the

concentrations of those inactive ingredients. Appx001282, Appx009827-009829.

Nor does Akorn disclose the actual solution pH of its formulation. Appx009833,

Appx009693. Petitioner’s argument thus assumed that any mention of phosphate

salts in the list of inactive ingredients established they are present as a buffer (i.e.,

maintaining the pH) between pH 4.8 and 6.0.

        The Board held the claims unpatentable without making any finding that

Akorn disclosed its ophthalmic solution comprised sufficient phosphates to

constitute a buffering agent to provide a pH of 4.8-6.0. At the outset, the Board noted

Sydnexis’s contentions that “Akorn does not state that it employs a buffering agent

to control or maintain pH of its atropine solution,” “that the phosphate salts disclosed

in Akorn are not identified as buffering agents,” and “that there is no indication in

Akorn that the listed phosphate salts act as buffers.” Appx000039-000040. But the

Board never returned to those deficiencies or found that Akorn disclosed the solution

comprises sufficient phosphates to constitute a buffering agent to provide a pH of

4.8-6.0.




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       All bold italic emphases in quotations are added unless other indicated.

                                           16
           Case: 23-2402     Document: 15      Page: 28   Filed: 02/01/2024




      Instead, the Board concluded only that it was possible to use those same

phosphate salts to provide some buffering capacity in some solutions. Appx000041

(“some buffering capacity may exist below or above” the buffering range),

Appx000041 (“the pKa for a buffer is not static, but depends on the parameters of

the solution in which the buffer is used”); Appx000041-000042 (in some

circumstances phosphate buffers’ “buffer range … may be as low as pH 5.4”),

Appx000043 (phosphate salts “able to buffer Akorn’s formulation at least in the

upper part of the cited pH range.”). Next, the Board stated that a background

reference regarding ophthalmic solutions generally recommended “the use of buffers

to maintain the pH at the appropriate level” as required “to maintain shelf life.”

Appx000044-000046. Finally, the Board found Akorn “disclose[d] a pH range of

3.5 to 6.0 for its formulation”—the USP-required pH limits for atropine sulfate

ophthalmic solution. Appx000046 (citing Appx011232; Appx009675-009676). But

the Board never found that Akorn disclosed using phosphate salts in amounts

sufficient to constitute a buffering agent to provide a pH of 4.8 to 6.0.

      When all was said and done, the Board found at most that Akorn listed

ingredients that could, under certain circumstances, buffer at a USP-compliant

solution pH. Importantly, the Board did not find that Akorn was buffered to maintain

a pH of 4.8 to 6.0. It did not find that Akorn disclosed using the phosphates in the

amounts necessary to buffer at a pH below 6.0. It did not even find that the Akorn

                                          17
            Case: 23-2402    Document: 15     Page: 29   Filed: 02/01/2024




formulation was one to which the background reference’s recommendation of a

buffer would apply (i.e., it did not find that the Akorn formulation could not

“maintain the pH at the appropriate level” or “maintain shelf life” without a buffer).

      To the contrary, reading the Board’s decision as a whole, its other findings

demonstrate that Akorn’s bare disclosure of phosphate inactive ingredients did not

prove they were buffering at a pH between 4.8 and 6.0. Even though the Board

reasoned that the “buffer range for [phosphates] may be as low as pH 5.4,” it also

found that the buffering range of an excipient “depend[s] on the conditions of the

solution that is being buffered” and “depends on the parameters of the solution in

which the buffer is used.” Appx000041-000042. It was undisputed that those

“conditions” and “parameters” (e.g., phosphate concentrations) are not disclosed in

Akorn. Appx001282, Appx009693, Appx009827-009829, Appx009833. Thus,

based on the Board’s findings and undisputed facts, whether the phosphates as

disclosed in Akorn buffered (controlled/maintained) at the indicated pH was

unproven.

      The Board’s findings that buffering depended on variables not disclosed in

Akorn were well supported. Sydnexis noted below that Petitioner did not meet its

burden because Akorn “never discloses that the phosphate salts in its atropine

solution … were used in amounts sufficient to make a buffering agent,” or “the actual

pH of the disclosed solution.” Appx010990-010991. Importantly, knowing the

                                         18
             Case: 23-2402   Document: 15     Page: 30   Filed: 02/01/2024




amounts of the salts is critical to determining whether the weak acid is buffering

(Appx008856, Appx008871, Appx009062, Appx009656, Appx009669-009670,

Appx009691-009692, Appx009696-009697, Appx009824-009834). Petitioner

never offered any evidence to the contrary. Nor did Petitioner dispute that the

concentrations of phosphate salts in Akorn were undisclosed. Petitioner never

introduced any evidence purporting to disclose the amounts of the phosphate salts in

Akorn.

      Petitioner also never disputed that the ability of a weak acid to buffer

depended on the solution pH. For example, Petitioner’s own pharmaceutical buffer

reference asked, “When is a buffer not a buffer?,” explaining that the answer is when

the solution pH is outside ±1 pH unit of the pKa. Appx011212-011213 (citing

Appx004054), Appx009637-009638. The very exhibit Petitioner’s expert relied on

for determining buffering ranges also identified phosphoric acid’s pharmaceutical

buffering range as having no overlap with the pH limitations in Akorn. Appx011213

(citing Appx004139 (Table 8), Appx009853-009854). In other words, the effective

pharmaceutical buffering range for phosphates lay outside Akorn’s required solution

pH limits.

      The potential that phosphate salts might—under some conditions not

disclosed in Akorn—be able to act as buffering agents is not enough to establish that

Akorn discloses the claims’ buffering limitations. Indeed, when assessing whether

                                         19
           Case: 23-2402     Document: 15      Page: 31    Filed: 02/01/2024




the art sufficiently disclosed a claim limitation, this Court has held that “speculative

and tentative disclosure of what ‘might’ or ‘may’ lead to [a claimed limitation] does

not sufficiently direct or instruct one of skill in this art.” Star Sci., Inc. v. R.J.

Reynolds Tobacco Co., 655 F.3d 1364, 1376 (Fed. Cir. 2011); see also PersonalWeb

Techs., LLC v. Apple, Inc., 848 F.3d 987, 993 (Fed. Cir. 2017) (PersonalWeb I)

(holding that the Board’s holding that a combination “would have allowed for” a

certain outcome was “not enough”). The Board’s decisions thus cannot stand

because Petitioner failed to meet its “burden to prove that all claimed limitations

[we]re disclosed in the prior art.” Par Pharm., 773 F.3d at 1194.

      The Board neither found nor could have found that Akorn disclosed the

buffering limitations inherently. In addition to no express finding to that effect, this

Court’s precedent is clear that in the obviousness context, “[t]he mere fact that a

certain thing may result from a given set of circumstances is not sufficient [to

establish inherency.] … Obviousness cannot be predicated on what is unknown.” In

re Rijckaert, 9 F.3d 1531, 1534 (Fed. Cir. 1993) (citing In re Oelrich, 666 F.2d 578,

581-82 (CCPA 1981); In re Spormann, 363 F.2d 444, 448 (CCPA 1966)); see

PersonalWeb Techs., LLC v. Apple, Inc., 917 F.3d 1376, 1381 (Fed. Cir. 2019)

(PersonalWeb II) (explaining that even if the Board never mentions inherency, when

its conclusion requires that a reference, “without saying so,” discloses a claim

limitation, it must be “f[i]nd[ing] that [a reference] inherently teaches” the relevant

                                          20
           Case: 23-2402     Document: 15       Page: 32   Filed: 02/01/2024




claim limitation); LBT IP I LLC v. Apple Inc., No. 22-1613, 2023 WL 3914920, at

*3 (Fed. Cir. June 9, 2023) (similar).

      That is because “inherency in an obviousness analysis … ‘may not be

established by probabilities or possibilities.’” Par Pharm., 773 F.3d at 1195 (citation

omitted). For example, in PersonalWeb II this Court assessed whether the Board had

erred in finding that a certain reference taught a “‘compared to a plurality of values’

limitation” and held that it had erred. 917 F.3d at 1382. This Court reasoned that

“[w]hile it [wa]s possible that [the reference’s] system utilize[d]” a comparative

lookup table, “mere possibility is not enough.” Id. So too here. The “mere possibility”

that the phosphates might be able to buffer at a USP-compliant pH, under

circumstances not disclosed in Akorn, “is not enough” to establish that Akorn

disclosed the buffering agent limitation. Id.

      Petitioner never established that every use of phosphate salts inevitably

creates a buffering agent to provide a pH of 4.8-6.0. To the contrary, phosphate salts

are used outside of their pharmaceutical buffering range as tonicity adjusting agents.

Appx000180 (3:52-62), Appx000182 (7:60-67), Appx000200-000201 (44:54-67),

Appx000226 (96:43-53), Appx008843, Appx008873, Appx009670, Appx009679-

009680, Appx009684. Petitioner agreed. Appx011043 (citing Appx008873).

Tellingly, Petitioner’s expert was careful to distinguish between disclosure of a

buffer and simply listing excipients that might be used to buffer. When asked if

                                          21
           Case: 23-2402      Document: 15      Page: 33   Filed: 02/01/2024




Akorn “uses a buffer to maintain a pH of 3.5 to 6,” he responded “[t]hat’s correct.

Well, … it discloses standard buffering agents.” Appx009834. Because phosphate

salts have different uses that depend on their concentrations and solution pH, and

because Akorn failed to disclose the information necessary to determine whether

they were buffering in its solution, Petitioner’s case would not even have succeeded

as an inherency case (though Petitioner never asserted inherency and the Board never

found inherency). Persion Pharms. LLC v. Alvogen Malta Operations Ltd., 945 F.3d

1184, 1191 (Fed. Cir. 2019) (citations omitted) (holding that inherent disclosure is

not “established by probabilities or possibilities” that “[t]he mere fact that a certain

thing may result from a given set of circumstances is not sufficient” (alterations in

original)). The Board’s obviousness conclusions should therefore be set aside for

failure to satisfy the applicable legal standards.

      Ultimately, Eyenovia invited the Board’s prejudicial legal error by relying on

impermissible hindsight. Eyenovia argued that Akorn’s disclosure of phosphates

should satisfy the buffering elements at a pH lower than 6.0 because the challenged

patents disclose that phosphates can satisfy the claimed range. Appx011042. The

Board adopted this erroneous thinking that the patent’s disclosure that phosphate

salts can be used to satisfy its claims somehow remedies the deficiencies of Akorn’s

disclosure. Appx000044-000045. As this Court has explained, however, it is not

enough that a reference “suggests the employment of the same materials … that are

                                           22
             Case: 23-2402   Document: 15     Page: 34   Filed: 02/01/2024




identified in the [challenged] patent.” Sud-Chemie, Inc. v. Multisorb Techs., Inc.,

554 F.3d 1001, 1006 (Fed. Cir. 2009). Instead, the “same general classes of materials”

can have “quite different properties” depending on various other factors. Id. Thus,

“look[ing] only to the classes of materials described in the patents” can lead to

“incorrectly conclud[ing] that [a reference] teaches the same [limitation] as that

claimed in the [challenged] patent.” Id. at 1008.6 Because Petitioner put forward

nothing more than speculation to show that Akorn’s ophthalmic solution comprised

a buffering agent to provide a pH of 4.8-6.0, it failed to meet its burden of proof.

That failure is sufficient to foreclose a holding of obviousness under the ground

presented in the petition.

         Because the Board’s obviousness conclusion was predicated on mere

possibilities rather than disclosure in Akorn of the buffering element, as alleged in

the petition, the Board’s judgment should be at least vacated.

    B.     The Board erroneously shifted the burden of proof to Sydnexis.

         Instead of analyzing the sufficiency of Petitioner’s evidence, the Board

impermissibly shifted the burden to Sydnexis to prove impossibility. Specifically,

the Board required Sydnexis to prove that phosphate salts could never buffer at pH

4.8 to 6.0. Appx000038-000046. Additionally, the Board faulted Sydnexis for failing


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 The claims here also differ from Akorn in that they depart from the upper pH limit
imposed by the USP. Appx009683.
                                         23
           Case: 23-2402     Document: 15      Page: 35    Filed: 02/01/2024




to prove a negative: that a POSA would never add a buffer instead of requiring

Petitioner to prove that a POSA would have been motivated to do so. Appx000049-

000050. That burden shifting is legal error. Fanduel, Inc. v. Interactive Games LLC,

966 F.3d 1334, 1341 (Fed. Cir. 2020) (citation omitted) (“[W]e soundly rejected the

idea of shifting even the burden of production from the petitioner to the patent owner

once the Board institutes an IPR where ‘the patentee’s position is that the patent

challenger failed to meet its burden of proving obviousness.’”); cf. SAS Inst., Inc. v.

Iancu, 138 S.Ct. 1348, 1353-57 (2018) (explaining that petitioner’s burden is to

prove the ground as presented in the petition); In re Leithem, 661 F.3d 1316, 1320

(Fed. Cir. 2011) (explaining the standard for new grounds of rejection).

      This Court has reversed the Board’s decision in a case analogous to this one.

In In re Magnum Oil Tools, this Court explained that in an IPR proceeding, “no

burden shifts from the patent challenger to the patentee.” 829 F.3d at 1376. That “is

especially true where the only issues to be considered are what the prior art discloses,

whether there would have been a motivation to combine the prior art, and whether

that combination would render the patented claims obvious.” Id. As in Magnum Oil,

here the “final written decision is replete with examples where, rather than require

[Petitioner] to prove its assertion of obviousness, the Board improperly shifted the

burden to [Sydnexis] to disprove obviousness.” Id. at 1378. For example, when



                                          24
              Case: 23-2402   Document: 15      Page: 36   Filed: 02/01/2024




discussing whether Akorn disclosed the buffering agent limitation, the Board begins

by describing each parties’ arguments and testimony, then it states:

      “We disagree with Dr. Laskar’s [(Sydnexis’s expert’s)] reliance solely
      on the Waterman reference as disclosing a buffering range for
      phosphate salts that “has no overlap with a solution pH of 3.5 to 6.0”
      and do not credit his conclusion [about how] a POSA would understand
      this lack of overlap … . Dr. Laskar’s statements … are not sufficiently
      supported by record evidence.”

Appx000043-000044. Importantly, the Board does not couple these statements with

any discussion of how Petitioner showed that Akorn disclosed the buffering agent

limitation.

      The Board’s statements reveal that the Board “incorrectly shift[ed] the burden

of proof” by faulting Sydnexis for allegedly “fail[ing] to provide any evidence to

support [its] view.” Endo Pharms. Sols., Inc. v. Custopharm Inc., 894 F.3d 1374,

1382 (Fed. Cir. 2018). “But, it [wa]s [Petitioner’s] burden to present … evidence

that [Akorn … ] disclosed the [buffering agent limitation] to one of skill in the art.”

Id.; see also IPR Licensing, Inc. v. ZTE Corp., 685 F. App’x 933, 940 (Fed. Cir.

2017) (deciding that the Board’s statement that “Patent Owner has advanced no

evidence” showing that a reference did not disclose a limitation “seem[ed] to shift

the burden of proof”). Sydnexis had no burden to prove that phosphate salts were

incapable of acting as buffers in Akorn.




                                           25
                Case: 23-2402   Document: 15    Page: 37    Filed: 02/01/2024




            As in Magnum Oil, “the Board improperly assumed, without deciding, that

   ‘[Petitioner’s] position that [Akorn] teach[es] the claimed [buffering agent

   limitation]’ [wa]s correct” and “then required the patentee, [Sydnexis], to rebut the

   position of the petitioner … and to prove nonobviousness of the claimed invention.”

   829 F.3d at 1378. That improper burden shifting defies both statute and precedent.

   Id. at 1375-77; 35 U.S.C. §316(e). Accordingly, the Board’s decision should be set

   aside.

III.   The Board prejudicially applied an improper legal standard in determining
       motivation to combine.

            Even if prior art disclosure of all elements in the ground references is

   established, a petitioner still must prove that “a person of ordinary skill in the art

   would be motivated to combine those references, and whether in making that

   combination, a person of ordinary skill would have a reasonable expectation of

   success.” Merck & Cie v. Gnosis S.p.A., 808 F.3d 829, 833 (Fed. Cir. 2015). This

   means that the Board must explain why a POSA would have taken the claim

   limitations disclosed in the grounds references and been motivated to combine them.

   In re Kahn, 441 F.3d 977, 986 (Fed. Cir. 2006); see also Adidas AG v. Nike, Inc.,

   963 F.3d 1355, 1359 (Fed. Cir. 2020) (quoting InTouch Techs., Inc. v. VGo

   Commc’ns, Inc., 751 F.3d 1327, 1352 (Fed. Cir. 2014)) (“The obviousness inquiry

   does not merely ask whether a skilled artisan could combine the references, but

   instead asks whether ‘they would have been motivated to do so.’”). Otherwise a
                                        26
            Case: 23-2402    Document: 15    Page: 38    Filed: 02/01/2024




challenger could “simply … engage in a hindsight reconstruction of the claimed

invention, using the applicant’s structure as a template and selecting elements from

references to fill the gaps.” In re Gorman, 933 F.2d 982, 987 (Fed. Cir. 1991).

        Because it focused on what was possible rather than what a POSA would have

done based on the available knowledge, the Board erroneously disregarded

undisputed evidence that Sydnexis had discovered an unknown problem with the

stability of low-concentration atropine solutions. The Board’s motivation to modify

analysis was thus impermissibly infected by hindsight bias and should be set aside.

   A.      The Board erroneously disregarded Sydnexis’s discovery of an
           unknown or unexpected problem.

        The Board erroneously failed to analyze obviousness in light of Sydnexis’s

discovery of an unknown problem. That failure was a legal error and tainted the

Board’s motivation analysis with improper hindsight. Leo Pharm. Prods., Ltd. v.

Rea, 726 F.3d 1346, 1354-55 (Fed. Cir. 2013). When “there [i]s no prior recognition

of the problem solved by the subject invention, there [i]s no reason in the record why

one of skill in the art would attempt to combine the cited prior art to arrive at the

claimed invention.” Nike, Inc. v. Adidas AG, 812 F.3d 1326, 1338 (Fed. Cir. 2016),

overruled on other grounds by Aqua Prod., Inc. v. Matal, 872 F.3d 1290 (Fed. Cir.

2017) (citing Leo, 726 F.3d 1346 at 1354); see Forest Lab’ys, LLC v. Sigmapharm

Lab’ys, LLC, 918 F.3d 928, 935 (Fed. Cir. 2019) (citation omitted) (“We have

recognized that where a problem was not known in the art, the solution to that
                                    27
          Case: 23-2402     Document: 15      Page: 39   Filed: 02/01/2024




problem may not be obvious, because ‘ordinary artisans would not have thought to

try at all because they would not have recognized the problem.’”). Thus, when

assessing motivation in an obviousness analysis, it is legal error to “brush[] aside”

that an unknown problem was solved. Leo Pharm., 726 F.3d at 1354.

      Here, the Board did just that. Sydnexis highlighted the problem to the Board,

stating that “the challenged patent recognizes an unknown stability problem for low-

concentration atropine solutions” and that the inventors “discovered that atropine

degraded in aqueous solution at a faster rate when the atropine concentration was

very low than when the atropine concentration was higher,” which was not disclosed

in the prior art. Appx010975-010978, Appx010987, Appx011009-011010,

Appx011060-011062. Sydnexis emphasized the importance of that problem,

explaining that before “[t]he inventors discovered that low-concentration atropine

suffered from a previously-unknown stability problem,” “adding a buffering agent

to provide the acidic solution pH of storage” would be “without any expected

stability benefit for atropine.” Appx010987-010988. And Sydnexis even cautioned

the Board that assuming that the instability problem solved by the challenged patent

was “part of the prior art” was “impermissible” “hindsight-driven reasoning.”

Appx011009-011010; see also Appx010987-010988.

      But the Board still “brush[ed] aside” Sydnexis’s discovery of the unknown

instability problem (see Leo Pharm., 726 F.3d at 1354), and concluded that a POSA

                                         28
           Case: 23-2402     Document: 15      Page: 40   Filed: 02/01/2024




would have been motivated to add a buffer to low-concentration atropine solutions

to “provide[] optimal patient compliance and clinical efficacy” while “remain[ing]

stable over long periods of time.” Appx000050. To reach that conclusion, the Board

used the challenged patents to identify the motivation to modify, which “represents

a form of prohibited reliance on hindsight.” Mintz v. Dietz & Watson, Inc., 679 F.3d

1372, 1377 (Fed. Cir. 2012).

      Without the challenged patents, it is undisputed that the prior art taught that

unbuffered atropine solutions were shelf-stable at the pH of 5-6 identified by the

Petition as preferred for balancing stability with patient comfort. Appx010745,

Appx009715-009716, Appx009813-009815, Appx009917-009918. Indeed, the very

ground reference (Kondritzer) that Petitioner relied upon to establish the relationship

between pH and atropine stability reports that the half-life of atropine at room

temperature is 1800 years, 811 years, 266 years, and 27 years at pH 4.0, 4.5, 5.0, and

6.0, respectively. Appx001288 (Table III). It was unrebutted below that atropine was

thus expected to have a stable shelf-life of several years without the use of a buffer

even at a pH of 6.0. Appx009718-009720.

      Even the Petition declares that the problem was “acidic values at the lower

end of [pH 3-5 that] were known to cause patient discomfort and irritation.”

Appx010741. Both parties agreed that the prior art taught that an atropine solution

at pH 5 was stable without a buffer. Appx009715-009716, Appx009813-009815,

                                          29
           Case: 23-2402     Document: 15     Page: 41   Filed: 02/01/2024




Appx009917-009918. Neither Petitioner nor the Board pointed to any shelf-life

problem with an atropine solution at pH 5. Indeed, all of the evidence pointed the

other way. Appx010968-010969 (collecting sources), Appx010987-010988,

Appx009705-009709, Appx009716-009718, Appx009729-009730, Appx011205-

011206, Appx009838-009843. Because no evidence shows an unbuffered solution

at pH 5 was unstable or caused patient discomfort or non-compliance, there was no

legal basis for finding motivation to modify Chia’s formulation by adding a buffer.

      Indeed, Petitioner conceded that Chia’s low-concentration atropine solution

was “stable.” Appx010739. Nothing in Petitioner’s evidence suggested that Chia’s

solution had any shelf-life issues despite being unbuffered. Consistent with this, all

of the low-concentration atropine references Petitioner submitted disclosed using an

unbuffered solution. For example, these references repeatedly disclose diluting

higher concentration atropine solutions with distilled water or saline rather than

buffering them. See, e.g., Appx001345-001348, Appx001364, Appx001366-001367,

Appx001383-001384. Petitioner’s expert, Dr. Byrn, readily concede[d] that neither

distilled water nor saline is a buffer despite having some buffering capacity

(Appx009838, Appx009841, Appx009845), and that these low-concentration

atropine references did not disclose the use of any buffer or buffering agent. See,

e.g., Appx011205-011206, Appx009838-009843. Sydnexis’s expert agreed,

observing that the low-concentration atropine ophthalmic art uniformly teaches

                                         30
           Case: 23-2402     Document: 15      Page: 42   Filed: 02/01/2024




using an unbuffered solution. Appx009704-009708. Because the art “d[id] not

suggest any need to stabilize [atropine solutions] beyond” adjusting the pH of the

unbuffered solution down to pH 5-6 (e.g., using sodium hydroxide as taught in

Akorn), a POSA “would not have seen any need to apply” to Chia Akorn’s alleged

buffering systems. In re Omeprazole Patent Litig., 536 F.3d 1361, 1380 (Fed. Cir.

2008).

      This Court’s decision in Leo Pharmaceutical is instructive. There (as here),

“inventors … recognized and solved a problem with the storage stability of certain

formulations.” 726 F.3d at 1353. There (as here), “[t]o discover this problem, the

ordinary artisan [had] to spend several months running storage stability tests.” Id. at

1354; see also Appx010977. There, this Court held that because the prior art

“neither … recognized or disclosed the stability problem, the record shows no

reason for one of ordinary skill in the art to attempt to improve upon [the prior art]

using [another reference].” Leo Pharm., 726 F.3d at 1354. Instead, a POSA “would

first have needed to recognize the problem, i.e., that the formulations disclosed in

[the prior art] were not storage stable.” Id. And “[o]nly after recognizing the

existence of the problem would an artisan then turn to the prior art and attempt to

develop a new formulation for storage stability.” Id. So too here. By ignoring the

previously unknown stability issue with low-concentration atropine solutions



                                          31
           Case: 23-2402     Document: 15     Page: 43   Filed: 02/01/2024




compared to higher-concentration atropine solutions, the Board applied the wrong

motivation analysis and tainted its reasoning with hindsight.

      Novartis Pharmaceuticals Corp. v. Watson Laboratories, Inc., 611 F. App’x

988 (Fed. Cir. 2015) is also instructive. In that case, this Court upheld the district

court’s conclusion that because “degradation was not a known problem,” a POSA

“would not have expected that an antioxidant was required” and thus “no motivation

existed for adding an antioxidant.” Novartis Pharms., 611 F. App’x at 995. This was

true even though one prior art reference did suggest adding antioxidants “as required.”

Id. at 996. Per this Court, “[w]ithout prior knowledge as to whether a compound is

susceptible to oxidative degradation, the statement that excipients like antioxidants

can be incorporated ‘as required’ is a mere generic qualification.” Id. The same

reasoning applies here. Because it erroneously disregarded that there “was not a

known problem” with stability of atropine solutions at pH 5-6, the Board failed to

realize that “no motivation existed for adding a” buffer. Generic statements in a

background reference that buffers should be used “as required” to “maintain the pH

at the appropriate level” only provide a motivation to combine if one first uses

impermissible hindsight to assume buffering was “required.”

      The Board mentioned Sydnexis’s discovery once: “regardless of whether the

problem of the stability of atropine at low doses was unexpected, … [t]he buffer

[wa]s just doing exactly what a buffer does as recognized: viz., maintaining pH.”

                                         32
          Case: 23-2402     Document: 15     Page: 44   Filed: 02/01/2024




Appx000047. But assuming a solution was obvious for an unknown problem is the

very definition of impermissible hindsight. Mintz, 679 F.3d at 1377 (“when someone

is presented with the identical problem and told to make the patented invention, it

often becomes virtually certain that the artisan will succeed in making the

invention”); Novartis Pharms., 611 F. App’x at 995 (“Even an obvious solution,

however, does not render an invention obvious if the problem solved was previously

unknown.”). For instance, in Novartis, this Court held that “[a]lthough the addition

of an antioxidant would have been an obvious solution for a formulation with known

[degradation] problems,” “[w]ithout the knowledge of a problem,” a POSA “would

not have been motivated to modify [a reference] with antioxidants.” 611 F. App’x at

996.

       In other words, what matters here is whether a POSA “at the time of the

invention would have recognized the [stability] problem recognized by the

inventors,” or another problem that would have been solved the same way,

“and found it obvious to [add the buffering agent] disclosed in the [challenged]

patent to solve that problem.” Mintz, 679 F.3d at 1377-78; ZTE Corp., 685 F. App’x

at 940 (faulting the Board for reaching its conclusion based on “a statement about

what skilled artisans could have done if motivated, not what they would have been

motivated to do” because “[p]roof of the latter is needed”). Recognition of the

problem is especially important in cases where incorporating the claimed limitation

                                        33
            Case: 23-2402    Document: 15     Page: 45    Filed: 02/01/2024




“involve[s] tradeoffs,” such as between stability and patient comfort in this case.

Amerigen Pharms. Ltd. v. UCB Pharma GmbH, 913 F.3d 1076, 1087 (Fed. Cir.

2019). Here, “[b]y brushing aside the storage stability issue, the Board erred by

collapsing the obviousness analysis into a hindsight-guided combination of

elements.” Leo Pharm., 726 F.3d at 1354. Indeed, adding a buffer to address the

unknown stability issues with low-concentration atropine solutions “is only

straightforward in hindsight.” Id. at 1355.

        By deciding that it did not matter whether Sydnexis “discovered … the

problem of the stability of atropine at low doses,” the Board engaged in an improper,

hindsight-driven analysis that must be set aside.

   B.      The Board erroneously shifted the burden of proof to Sydnexis.

        The Board’s legal error for motivation to combine was compounded by the

same erroneous burden shifting as before. Again, the Board begins by describing

each side’s arguments. Appx000048-000049. The Board then focuses on Sydnexis’s

arguments. It first references its conclusion that Sydnexis’s view of the state of the

art was “not sufficiently supported by record evidence.” Appx000044. Next, it turns

to Sydnexis’s argument that “adding a buffer would decrease patient comfort,”

stating that it “d[id] not find this argument persuasive.” Appx000049. Only then does

it assess Petitioner’s arguments for motivation. And its entire analysis states:

        We agree with Petitioner and Dr. Byrn that “a POSA would have been
        motivated to formulate low-concentration atropine solutions that could
                                         34
           Case: 23-2402     Document: 15     Page: 46   Filed: 02/01/2024




      be administered at pHs closer to those that provided optimal patient
      compliance and clinical efficacy, but that could also remain stable over
      long periods of time.” We determine that Petitioner has shown an
      appropriate reason to combine the teachings of Chia, Akorn, and
      Kondritzer to arrive at the composition of claim 1 with a reasonable
      expectation of success.

Appx000050 (internal citations omitted). Effectively, the Board held that Sydnexis

had not proven that a POSA would be discouraged from adding a buffer and then

without further analysis held that a POSA would have been motivated to do so. This

type of reasoning is impermissible. See Magnum Oil, 829 F.3d at 1380 (“cannot

employ mere conclusory statements.” (citing KSR Int’l Co. v. Teleflex, Inc., 550 U.S.

398, 418 (2007))); Kahn, 441 F.3d at 986 (citation omitted) (“When the Board does

not explain the motivation, or the suggestion or teaching, that would have led the

skilled artisan at the time of the invention to the claimed combination as a whole,

we infer that the Board used hindsight to conclude that the invention was obvious.”).

The Board’s language, its focus on rebutting Sydnexis’s arguments instead of

assessing Petitioner’s evidence, and the dearth of findings as to Petitioner’s showing

of obviousness all reveal that the Board improperly shifted the burden from

Petitioner to Sydnexis. Magnum Oil, 829 F.3d at 1376.

      The lack of evidence for motivation makes the Board’s shifting of the burden

even more evident: the Board’s generic finding on motivation to combine (that a

POSA would want the solution to be both stable and comfortable) does not speak to


                                         35
          Case: 23-2402     Document: 15      Page: 47      Filed: 02/01/2024




the most crucial question: would a POSA have been motivated to modify Chia’s

unbuffered, low-concentration atropine solution by adding a buffering agent to

provide a pH of 4.8 to 6.0, as alleged in the petition? Without a predicate finding

that the prior art taught that unbuffered low-concentration atropine solutions were

unstable at the comfortable pH of 5-6 proposed by the Petition (see Section III.A),

the Board’s finding as to motivation is missing a crucial link to show obviousness.

Star Sci., 655 F.3d at 1376-77 (holding that a combination “d[id] not provide a link

between … critical targets of the [challenged] patents”).

      At most, the Board concluded that a POSA could have added a buffer if

needed to increase stability, “not that [a POSA] would have been motivated to do

so.” InTouch Techs., 751 F.3d at 1352 (citing ActiveVideo Networks, Inc. v. Verizon

Commc’ns, Inc., 694 F.3d 1312, 1327 (Fed. Cir. 2012)). But “that is not the relevant

inquiry.” Id. “[O]bviousness concerns whether a skilled artisan not only could have

made but would have been motivated to make the combinations or modifications of

prior art to arrive at the claimed invention.” Belden Inc. v. Berk-Tek LLC, 805 F.3d

1064, 1073 (Fed. Cir. 2015). Because the “analysis was incomplete,” it is “ultimately

insufficient to establish obviousness.” InTouch Techs., 751 F.3d at 1352;

PersonalWeb I, 848 F.3d at 993-94 (“[T]hat reasoning seems to say no more than

that a skilled artisan … would have understood that [references] could be combined.



                                         36
               Case: 23-2402    Document: 15     Page: 48   Filed: 02/01/2024




  And that is not enough: it does not imply a motivation to pick out those two

  references and combine them to arrive at the claimed invention.”).

IV.   The Board’s buffer findings prejudicially lack substantial evidence.

      A.      No substantial evidence supports buffering Chia’s low-concentration
              atropine solution at a pH of 5-6.

           The Board identified a general recommendation in the art to use buffers in

  ophthalmic solutions when needed to maintain pH “at the appropriate level” for

  adequate shelf life, while avoiding excess buffer capacity to facilitate “patient

  comfort and compliance.” Appx000045-000046 (citing Appx001176). The Board

  concluded that adding a buffer to an unbuffered atropine ophthalmic solution would

  not decrease patient comfort because a POSA would minimize the buffering capacity

  so that it was just high enough to “balance the shelf-life of the solution with a

  buffering capacity that allows a patient’s tears to easily overcome an uncomfortable

  acidic pH of the ophthalmic solution.” Appx000049-000050 (citing Appx001461).

  In other words, the Board reasoned that any buffering employed for an atropine

  solution would be minimized to what was necessary to maintain shelf life to avoid

  causing patient discomfort. But this was exactly Sydnexis’s point: Petitioner never

  demonstrated buffering was necessary to maintain shelf life and avoid patient

  discomfort. Without evidence of instability, there was no motivation to add buffering.

           One background reference teaches that when a solution is buffered such that

  the solution “resist[s] adjustment by tear fluid and the overall eye pH remains acid
                                            37
          Case: 23-2402     Document: 15      Page: 49   Filed: 02/01/2024




for an appreciable period of time, then stinging and discomfort may result.”

Appx001461. In other words, a buffer that maintains acidic solution pH and resists

reestablishment of native tear pH actually increases patient discomfort.

Appx009675-009678, Appx009679-009681, Appx009684-009689, Appx009709-

009710. Another reference teaches that “pH has little effect on comfort if the

solution is unbuffered” and that the “major determinant” for eye discomfort is “the

buffering capacity of the solution rather than the specific pH.” Appx001905,

Appx001908; see also Appx008852, Appx008888. Accordingly, adding buffering

to an acidic ophthalmic solution was not a default approach; it was undertaken only

when it was known to be needed for stability. Appx009717 (citing Appx011241-

011242) (mantra of ophthalmic formulator not to add unnecessary ingredients).

      The Board acknowledged that Petitioner’s low-concentration atropine

references disclosed unbuffered solutions but dismissed that fact because some were

“studies to determine the safety and efficacy of low-dose atropine solutions and were

not commercially available formulations that must meet FDA requirements for

safety and efficacy.” Appx000049. But there was no evidence that unbuffered

atropine solutions were unstable or unfit for FDA requirements for safety and

efficacy. Indeed, Chia’s unbuffered atropine solution was obtained from a

commercial source. Appx001273 (Ashwood Laboratories, Ltd). And everyone

agrees that Chia reports its solution was safe and effective. Appx010721-010722,

                                         38
          Case: 23-2402     Document: 15     Page: 50   Filed: 02/01/2024




Appx010968, Appx001279. In fact, Petitioner argued below that Chia’s solution

“reduced patient compliance problems” and was a “clinical success.” Appx010737.

But no one disputed that Chia’s solution was unbuffered. Appx009705-009706,

Appx009708-009709, Appx009716-009718, Appx009729-009730 (describing its

unbuffered low-concentration atropine solution as “a safe and effective regimen”).

Accordingly, the Board’s rationale for disregarding the prior-art teaching to employ

unbuffered ophthalmic atropine solutions lacks substantial evidence.

      None of the petition’s low-concentration atropine references discloses using

a buffering agent to provide a pH of 4.8 to 6.0. Instead, many of them were diluted

with unbuffered water. Appx011205-011206, Appx001345-001348, Appx001364,

Appx001366-001367, Appx001383-001384, Appx001192-001194, Appx009838-

009843.

      When storage stability was desired, strong acid or base were used to adjust

the solution pH below 6.0 where atropine was known to be stable. Appx009715-

009716 (“[A]tropine stability was achieved without using a buffering agent to

provide the pH.”). Petitioner’s expert repeatedly agreed. For example, he testified

that a “POSA would balance [stability and patient comfort] by adjusting the solution

pH to the higher end of the pH range of 2 to 5.4.” Appx009918; see also

Appx009930-009931 (testifying that a POSA “would adjust a solution pH … for

optimum drug stability”). He testified that atropine was believed to be very stable

                                        39
            Case: 23-2402     Document: 15      Page: 51    Filed: 02/01/2024




at acidic storage pH without using buffering. Appx009917 (agreeing that low-

concentration atropine solutions would “remain stable at the higher end of [pH 2 to

5.4] while increasing patient comfort”), Appx009718-009721, Appx009730-009731,

Appx009734-009735. And Petitioner argued below that storage stability was

inherent to atropine adjusted to acidic storage pH. Appx010993-010994,

Appx010748 (“Kondritzer taught that atropine in aqueous solutions had a half-life

measured in years.” (emphasis in original)). Because it failed to consider that

adjusting the solution pH to 5-6 with hydrochloric acid or sodium hydroxide (just as

disclosed in Akorn) provided stability with minimum discomfort, the Board’s

generic conclusion that there was a desire for adequate stability and comfort does

not establish a motivation to add buffering.

   B.      Substantial evidence does not support the Board’s departure from the
           pharmaceutical buffering range of phosphate salts.

        The Board found that phosphate salts might buffer in some solutions having

a pH as low as 5.4. Appx000041-000042. But substantial evidence does not support

a holding that departing from the pharmaceutical buffering range of phosphate salts

satisfies the buffering limitations of the claims. As Sydnexis explained below, the

very reference Petitioner’s expert relied upon to explain buffering states: “Buffers

are most effective within ±1 pH unit from their pKa. Outside of that range the

concentration of either the acid or its salt is so low as to provide little to no capacity

for pH control.” Appx004054. When the solution “provide[s] little or no capacity
                                    40
           Case: 23-2402     Document: 15      Page: 52    Filed: 02/01/2024




for pH control[] [t]hat … is the definition of an ineffective buffer” and “[i]f a buffer

doesn’t act like a buffer, it’s not a buffer.” Appx008843-008845, Appx004054

(“When is a buffer not a buffer?”). All parties agreed the claims use the ordinary

meaning of “buffer” (Appx010736, Appx010985-010986, Appx011041), not an

ineffective or nonfunctioning buffer (Appx000013-000014).

      In explaining how to calculate effective pharmaceutical buffering ranges,

Petitioner’s expert relied on the Waterman reference. Appx011213 (citing

Appx004139). The Waterman reference discloses that the pKa of phosphates is 7.2

and—using the ±1 pH unit calculation—the effective pharmaceutical buffer range is

6.2-8.2. Appx004139 (Table 8). Thus, according to the Petitioner’s expert’s

declaration, effective buffering of phosphate salts occurs entirely outside the USP

pH limitations required in Akorn. A POSA thus would not have chosen to use

phosphate salts to buffer the Akorn solution. Appx009681, Appx009694-009695.

      The opinions of Petitioner’s expert—Dr. Byrn—that imply the contrary are

wrong. On cross, Dr. Byrn admitted that his opinions were “premised” on using “a

buffering range outside a plus or minus one” pH unit of the pKa. Appx009870. A

court has already considered and rejected that approach when considering Dr. Byrn’s

opinions in another case. Appx010018-010022. Though the legal question was

different in that case, the factual question about effective buffering was the same.



                                          41
           Case: 23-2402     Document: 15     Page: 53    Filed: 02/01/2024




      Importantly, there, as here, the scientific literature taught that buffering of a

weak acid occurs ±1 pH unit from the acid’s pKa. Appx009992-009993. There, as

here, Dr. Byrn argued that a weak acid was a buffering agent in a specific solution

because it “may provide buffering capacity,” even if the solution was outside the ±1

pH unit “effective” buffering range of the acid. Appx010018-010019, Appx010022.

The court rejected Dr. Byrn’s theory, holding instead that a salt could “[]not be a

functioning buffer” because it “ha[d] pKas outside the pH range of ±1 of the

formulation, which would render it ineffective as a buffer.” Appx010045. The court

found that “the effective pKa range is ±1, not ±2 as Dr. Byrn asserted,” and thus the

pKa of the weak acid must be within ±1 pH unit of the product for a buffer to function

properly. Appx009992-009993, Appx010018-010019, Appx010045. This was true

even though the weak acid may provide some buffering capacity at the solution pH

outside its buffering range. Appx010022, Appx010045.

      In reply, Petitioner pointed to additional references addressing non-

ophthalmic solutions to suggest that certain phosphate solutions can have a pKa

lower than 7.2 or a pH lower than 6.2. Appx011043-011044. But Dr. Byrn never

asserted that the relevant pKas were different than the values in Waterman. Indeed,

no expert relied on any of the reply references. Nor could any expert have relied on

them: all of the reply references discuss “buffers” for biological assays, not

ophthalmic formulations. Appx008943-009077. These reply references are

                                         42
          Case: 23-2402     Document: 15      Page: 54   Filed: 02/01/2024




irrelevant for other reasons as well. One purposefully “adjust[ed]” the “final pH” of

the phosphate solution down. Appx008856, Appx009048. Another reference notes

that the pKa of a particular acid varies depending on the concentration used.

Appx001459, Appx008853, Appx009062, Appx009068, Appx009078; see also

Appx008965-008967 (using significantly higher phosphate concentrations). The

other references are likewise discussing phosphate solutions with no connection to

ophthalmic formulations and that a POSA thus would not have looked to when

formulating ophthalmic atropine. Appx008991-009023, Appx009078-009125.

Petitioner did not show how any of these pKas for different solutions under different

conditions were relevant to Akorn’s solution. Appx008869.

      And even if the reply references were relevant, they contradict Petitioner’s

argument. For example, one notes that the middle pKa of phosphate is 7.21, that

“[m]ost simple buffers work effectively in the scale of pKa ±1.0,” and that even the

biological buffering system that had a lower pKa of 6.86 still only “provide[d]

effective buffering in the pH range of 6.4 to 7.4.” Appx009036, Appx009038. In

other words, adjusting the pKa did not extend the buffering range. That reference

also states that materials used to make buffers “will not exhibit any buffering

capacity until the pH is adjusted” to be near the pKa. Appx009045. The Board

inexplicably disregarded these teachings, but relied on these references to conclude

that phosphates might buffer at pH below 6.0 without any evidence that any of these

                                         43
           Case: 23-2402      Document: 15      Page: 55    Filed: 02/01/2024




solutions described the composition of the solution in Akorn. Appx000041-000044.

The Board’s selective reading of these references is not supported by substantial

evidence. Princeton Vanguard, LLC v. Frito-Lay N. Am., Inc., 786 F.3d 960, 970

(Fed. Cir. 2015) (“Just as it may not short-cut its legal analysis, the Board may not

short-cut its consideration of the factual record before it.”).

          CONCLUSION AND STATEMENT OF RELIEF SOUGHT

      For the reasons discussed, the Board’s decisions should be reversed or at least

be vacated and remanded.

      Dated: February 1, 2024                         /s/ Michael T. Rosato
                                                      Michael T. Rosato

                                                      Counsel for Appellant Sydnexis,
                                                      Inc.




                                           44
Case: 23-2402   Document: 15   Page: 56   Filed: 02/01/2024




           Addendum
      Case: 23-2402   Document: 15     Page: 57   Filed: 02/01/2024
Trials@uspto.gov
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      UNITED STATES
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                               TRADEMARK OFFICE
                                         OFFICE


       BEFORE THE
       BEFORE     PATENT TRIAL
              THE PATENT       AND APPEAL
                         TRIAL AND APPEAL BOARD
                                          BOARD


                         EYENOVIA, INC.,
                         EYENOVIA,    INC.,
                            Petitioner,
                            Petitioner,

                                  v.
                                  v.

                         SYDNEXIS,   INC.,
                         SYDNEXIS, INC.,
                           Patent Owner.
                           Patent Owner.


                          IPR2022-00384
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                        Patent 10,842,787
                        Patent            B2
                               10,842,787 B2



Before JOHN
Before JOHN G.  NEW, SUSAN
             G. NEW,          L. C.
                        SUSAN L.    MITCHELL, and
                                 C. MITCHELL, and JAMIE
                                                  JAMIE T.
                                                        T. WISZ,
                                                           WISZ,
Administrative Patent
Administrative Patent Judges.
                      Judges.
MITCHELL, Administrative
MITCHELL, Administrative Patent
                         Patent Judge.
                                Judge.



                            JUDGMENT
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                       Final Written
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                             Written Decision
              Denying Patent
             Denying  Patent Owner's
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       Case: 23-2402     Document: 15        Page: 58   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
                           I.
                           I.   INTRODUCTION
                                INTRODUCTION

                       A. Background
                       A. Background and
                                     and Summary
                                         Summary
      On December 29,
      On December 29, 2021,
                      2021, Eyenovia,
                            Eyenovia, Inc.
                                      Inc. ("Petitioner")
                                           (“Petitioner”) filed
                                                          filed aa Petition
                                                                   Petition
requesting an inter
requesting an       partes review
              inter partes        of claims
                           review of claims 1, 2, 4–9,
                                            1, 2, 4-9, and 12–19 of
                                                       and 12-19 of
U.S. Patent
U.S. Patent No.
            No. 10,842,787 B2 (Ex
                10,842,787 B2 (Ex. 1001, “the ’787
                                   1001, "the '787 patent”). Paper 1,
                                                   patent"). Paper 1,
(“Petition” or
("Petition" or "Pet.").
               “Pet.”). Sydnexis, Inc. ("Patent
                        Sydnexis, Inc. (“Patent Owner”)
                                                Owner") filed
                                                        filed aa Preliminary
                                                                 Preliminary
Response to
Response to the
            the Petition
                Petition on April 18,
                         on April     2022. Paper
                                  18, 2022. Paper 66 ("Prelim.
                                                     (“Prelim. Resp.").
                                                               Resp.”). With
                                                                        With
our authorization, Petitioner
our authorization, Petitioner filed
                              filed aa Reply
                                       Reply to
                                             to the
                                                the Preliminary
                                                    Preliminary Response
                                                                Response
addressing the public
addressing the public accessibility
                      accessibility of Exhibit 1004
                                    of Exhibit        and Patent
                                               100411 and Patent Owner's
                                                                 Owner’s
proposed
proposed claim
         claim construction
               construction for “buffer” and
                            for "buffer" and "buffering
                                             “buffering agent.” See
                                                        agent." See
Ex. 3001;
Ex. 3001; Paper
          Paper 7. Also, with
                7. Also, with our authorization, Patent
                              our authorization, Patent Owner
                                                        Owner filed
                                                              filed aa Sur-
                                                                       Sur-
reply
reply in
      in response.     Ex. 3001;
                   See Ex.
         response. See     3001; Paper
                                 Paper 8.
                                       8.
      On
      On July
         July 15, 2022, we
              15, 2022, we granted
                           granted institution
                                   institution of an inter
                                               of an       partes review
                                                     inter partes        of
                                                                  review of
claims
claims 1, 2, 4–9,
       1, 2, 4-9, and
                  and 12–19
                      12-19 of the ’787
                            of the '787 patent on all
                                        patent on all grounds set forth
                                                      grounds set forth in the
                                                                        in the
Petition. See
Petition.     Paper 99 ("Dec.")
          See Paper    (“Dec.”) 2,
                                2, 41.
                                   41.
      Patent Owner
      Patent Owner filed
                   filed aa Response
                            Response on October 21,
                                     on October 21, 2022,
                                                    2022, see Paper 19
                                                          see Paper 19
(“PO Resp.
("PO Resp.),
           ), and Petitioner filed
              and Petitioner filed aa Reply
                                      Reply on
                                            on January
                                               January 13, 2023, see
                                                       13, 2023,     Paper 21
                                                                 see Paper 21
(“Reply”). Patent
("Reply"). Patent Owner
                  Owner filed
                        filed its
                              its Sur-Reply
                                  Sur-Reply on February 24,
                                            on February 24, 2023.
                                                            2023.
Paper 24
Paper 24 ("Sur-Reply").
         (“Sur-Reply”). An
                        An oral
                           oral hearing was held
                                hearing was held on April 14,
                                                 on April     2023, and
                                                          14, 2023, and aa
transcript of
transcript    this hearing
           of this         was entered
                   hearing was entered into the record.
                                       into the         Paper 36
                                                record. Paper 36 ("Tr.").
                                                                 (“Tr.”).
      Patent Owner
      Patent Owner filed
                   filed aa Motion
                            Motion to
                                   to Exclude
                                      Exclude Evidence
                                              Evidence on March 24,
                                                       on March 24, 2023.
                                                                    2023.
Patent Owner
Patent       seeks to
       Owner seeks to exclude Exhibit 1002,
                      exclude Exhibit       the Declaration
                                      1002, the Declaration of Dr. Byrn,
                                                            of Dr. Byrn,
Petitioner’s declarant,
Petitioner's            Exs. 1004
             declarant, Exs. 1004 and
                                  and 1057
                                      1057 constituting the Alcorn
                                           constituting the Akorn labels,
                                                                   labels, and
                                                                           and
Exhibits 1079
Exhibits      through 1088,
         1079 through       Eyenovia’s Reply
                      1088, Eyenovia's Reply exhibits. Paper 29.
                                             exhibits. Paper 29.


1
  Atropine Sulfate
1 Atropine         Ophthalmic Solution,
           Sulfate Ophthalmic            USP 1%,
                               Solution, USP     NDA 206289
                                             1%, NDA 206289 Product
                                                            Product
Label (July
Label (July 2014)
            2014) (Ex.
                   (Ex. 1004, “Akorn”).
                        1004, "Alcorn").

                                         2
                                         2
                                Appx000002
                                Appx000002
       Case: 23-2402       Document: 15     Page: 59     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
Petitioner opposed
Petitioner         the motion,
           opposed the motion, see Paper 30,
                               see Paper 30, and
                                             and Patent
                                                 Patent Owner
                                                        Owner filed
                                                              filed aa reply,
                                                                       reply,
    Paper 32.
see Paper
see       32. For
              For the
                  the reasons
                      reasons set
                              set forth
                                  forth herein, the motion
                                        herein, the motion is denied.
                                                           is denied.
      This
      This is
           is aa Final
                 Final Written Decision under
                       Written Decision under 35
                                              35 U.S.C.
                                                 U.S.C. §§ 318(a)
                                                           318(a) as to the
                                                                  as to the
patentability of the
patentability of the challenged
                     challenged claims on which
                                claims on       we instituted
                                          which we            trial. Based
                                                   instituted trial. Based on
                                                                           on
the complete
the complete record before us,
             record before us, we
                               we determine
                                  determine as
                                            as set
                                               set forth below that
                                                   forth below that
Petitioner has
Petitioner     shown by
           has shown by aa preponderance of the
                           preponderance of the evidence that claims
                                                evidence that claims
1, 2, 4-9,
1, 2, 4–9, and
           and 12-19
               12–19 of the ’787
                     of the '787 patent
                                 patent are
                                        are unpatentable.
                                            unpatentable.

                           B. Real
                           B. Real Parties
                                   Parties in Interest
                                           in Interest
      The
      The parties
          parties identify themselves as
                  identify themselves as the
                                         the real
                                             real parties-in-interest. Pet. 63;
                                                  parties-in-interest. Pet. 63;
Paper 4,
Paper    2; Paper
      4, 2; Paper 27,
                  27, 2.
                      2.

                              C. Related Matters
                              C. Related Matters
      Petitioner asserts
      Petitioner         “[t]here are
                 asserts "[t]here are no other judicial
                                      no other judicial proceedings that may
                                                        proceedings that may
affect or be
affect or be affected
             affected by
                      by aa decision
                            decision in this proceeding.”
                                     in this              Pet. 63.
                                             proceeding." Pet.     Petitioner
                                                               63. Petitioner
further states that
further states that the
                    the ’787
                        '787 patent
                             patent issued
                                    issued from U.S. Application
                                           from U.S. Application No.
                                                                 No.
15/568,381,
15/568,381, aa national
               national phase application of
                        phase application of International Application No.
                                             International Application No.
PCT/US2016/029222, which
PCT/US2016/029222, which in turn is
                         in turn is aa continuation-in-part application of
                                       continuation-in-part application of
U.S. Application
U.S. Application No.
                 No. 14/726,139 that issued
                     14/726,139 that issued as U.S. Patent
                                            as U.S. Patent No.
                                                           No. 9,421,199
                                                               9,421,199
(“the ’199
("the '199 patent”).     at 63-64;
                     Id. at
           patent"). Id.    63–64; see
                                   see also Paper 11,
                                       also Paper 11, 11 (Patent
                                                         (Patent Owner
                                                                 Owner
provides
provides aa similar
            similar recitation of the
                    recitation of the ’787
                                      '787 patent’s
                                           patent's history). According to
                                                    history). According to
Petitioner, the
Petitioner, the ’199
                '199 patent
                     patent was
                            was challenged
                                challenged in
                                           in IPR2021-00439 by Nevakar,
                                              IPR2021-00439 by Nevakar,
Inc. Id. at
Inc. Id.    64. Petitioner
         at 64. Petitioner states that IPR2021-00439
                           states that IPR2021-00439 and other petitions
                                                     and other petitions filed
                                                                         filed
by Nevakar,
by Nevakar, Inc.
            Inc. challenging Patent Owner’s
                 challenging Patent Owner's patents were terminated
                                            patents were terminated due
                                                                    due
to settlement
to settlement prior to institution.
              prior to              Id.; see
                       institution. Id.; see also Paper 11,
                                             also Paper 11, 22 (Patent
                                                               (Patent Owner
                                                                       Owner
provides
provides aa similar
            similar recitation of the
                    recitation of the Nevakar
                                      Nevakar proceedings).
                                              proceedings).
      Patent Owner
      Patent Owner identifies IPR2022-00414 and
                   identifies IPR2022-00414 and IPR2022-00415
                                                IPR2022-00415 as
                                                              as
related
related matters. Paper 4,
        matters. Paper    2; Paper
                       4, 2; Paper 27,
                                   27, 2.
                                       2. Patent
                                          Patent Owner also states
                                                 Owner also states that
                                                                   that itit is
                                                                             is

                                        3
                                        3
                                  Appx000003
                                  Appx000003
       Case: 23-2402      Document: 15       Page: 60   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
the owner
the owner of
          of the
             the following United States
                 following United States patents
                                         patents related to the
                                                 related to the ’787
                                                                '787 patent:
                                                                     patent:
U.S. PatentNo.
U.S. Patent No. 10,940,145; U.S.
                10,940,145; U.    Patent No. 10,888,557;
                               S. PatentNo.  10,888,557; U.S.
                                                         U.S. PatentNo.
                                                              Patent No.
9,770,447; U.S. PatentNo.
9,770,447; U.S. Patent No. 10,076,515;
                           10,076,515; and
                                       and U.S.
                                           U.S. Patent
                                                Patent No.
                                                       No. 10,201,534.
                                                           10,201,534.
Paper 11,
Paper     1–2. Patent
      11, 1-2. Patent Owner also identifies
                      Owner also            the following
                                 identifies the following pending U.S.
                                                          pending U.S.
Applications related
Applications         to the
             related to the ’787
                            '787 patent: U.S. Application
                                 patent: U.S. Application No.
                                                          No. 17/097,930;
                                                              17/097,930;
U.S. Application
U.S. Application No.
                 No. 16/785,411; U.S.
                     16/785,411; U.    Application No.
                                    S. Application No. 16,908,426; U.S.
                                                       16,908,426; U.S.
Application No.
Application No. 17,681,560; U.S. Application
                17,681,560; U.S. Application No.
                                             No. 17/721,838; and U.S.
                                                 17/721,838; and U.S.
Application No.
Application No. 17/721,831.     at 2.
                            Id. at
                17/721,831. Id.    2.

                             D. The
                             D. The ’787  Patent
                                     '787 Patent
       The
       The ’787
           '787 patent
                patent relates to stabilized
                       relates to            ophthalmic compositions
                                  stabilized ophthalmic compositions
comprising
comprising aa muscarinic
              muscarinic receptor antagonist for
                         receptor antagonist     the treatment
                                             for the treatment of
                                                               of an
                                                                  an
ophthalmic
ophthalmic disorder, such as
           disorder, such as pre-myopia,
                             pre-myopia, myopia,
                                         myopia, or the progression
                                                 or the             of
                                                        progression of
myopia. Ex. 1001,
myopia. Ex. 1001, 5:4–8. Myopia is
                  5:4-8. Myopia is characterized by an
                                   characterized by an axial
                                                       axial elongation
                                                             elongation
of the eye
of the     that begins
       eye that begins during
                       during grade
                              grade school years and
                                    school years and progresses
                                                     progresses until
                                                                until
growth
growth of the eye
       of the eye is
                  is complete.     at 10:44–47.
                               Id. at
                     complete. Id.    10:44-47. The
                                                The Specification
                                                    Specification explains
                                                                  explains
that muscarinic
that muscarinic antagonists,
                antagonists, such as atropine,
                             such as atropine, prevent
                                               prevent or arrest the
                                                       or arrest the
development
development of myopia in
            of myopia in humans.     at 9:50-56.
                                 Id. at
                         humans. Id.    9:50–56.
      The
      The Specification states that
          Specification states that the
                                    the clinical
                                        clinical use
                                                 use of atropine for
                                                     of atropine     therapy
                                                                 for therapy
had been limited
had been limited due to side
                 due to side effects,
                             effects, such as glare
                                      such as glare from
                                                    from pupillary
                                                         pupillary dilation
                                                                   dilation
and blurred
and blurred vision.
            vision. Ex.
                    Ex. 1001, 12:21–24. The
                        1001, 12:21-24. The ’787
                                            '787 patent attributes these
                                                 patent attributes these
effects to high
effects to high concentrations
                concentrations of
                               of atropine (e.g., 11 wt
                                  atropine (e.g.,    wt %
                                                        % or
                                                          or higher).     at
                                                                      Id. at
                                                             higher). Id.
12:24–29. The
12:24-29. The Specification
              Specification explains also that
                            explains also that some
                                               some muscarinic
                                                    muscarinic
antagonist compositions
antagonist              were formulated
           compositions were            with lower
                             formulated with lower pH values (e.g.,
                                                   pH values (e.g., less
                                                                    less
than 4.5)
than      to promote
     4.5) to promote stability
                     stability of the muscarinic
                               of the muscarinic antagonist.
                                                 antagonist. Id. at 10:3-7.
                                                             Id. at 10:3–7.
The
The lower
    lower pH values, however,
          pH values, however, cause
                              cause discomfort or other
                                    discomfort or other side
                                                        side effects,
                                                             effects,
such as
such as pain or aa burning
        pain or    burning sensation
                           sensation in the eye,
                                     in the      which can
                                            eye, which     be prevented
                                                       can be prevented or
                                                                        or


                                        44
                                 Appx000004
                                 Appx000004
       Case: 23-2402      Document: 15      Page: 61   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
alleviated by formulating
alleviated by formulating muscarinic
                          muscarinic antagonist
                                     antagonist compositions
                                                compositions at
                                                             at higher
                                                                higher pH
                                                                       pH
ranges.     at 10:7–11.
        Id. at
ranges. Id.    10:7-11.
      According to
      According to the
                   the Specification, “there is
                       Specification, "there is aa need
                                                   need for
                                                        for aa stabilized
                                                               stabilized
ophthalmic
ophthalmic composition
           composition with
                       with extended
                            extended shelf
                                     shelf life
                                           life upon
                                                upon storage,”
                                                     storage," and there is
                                                               and there is
aa need
   need for stabilizing such
        for stabilizing such aa composition by arresting
                                composition by arresting or
                                                         or reducing
                                                            reducing hydrolysis
                                                                     hydrolysis
of at least
of at       some of
      least some of its
                    its active agents. Ex.
                        active agents. Ex. 1001,
                                           1001, 9:45–50.
                                                 9:45-50. The
                                                          The Specification
                                                              Specification
also
also recognizes that "there
     recognizes that “there is
                            is aa need
                                  need for an ophthalmic
                                       for an ophthalmic composition that
                                                         composition that
provides
provides convenient and effective
         convenient and effective delivery of aa muscarinic
                                  delivery of    muscarinic antagonist
                                                            antagonist such
                                                                       such
as atropine in
as atropine    the eye
            in the     of aa patient.”
                   eye of              Id. at
                             patient." Id. at 9:50–53.
                                              9:50-53. In view of
                                                       In view    this, the
                                                               of this, the ’787
                                                                            '787
patent
patent contemplates
       contemplates low
                    low concentrations
                        concentrations of ophthalmic agents
                                       of ophthalmic agents (e.g.,
                                                            (e.g., from
                                                                   from
about
about 0.001
      0.001 wt% to about
            wt% to about 0.5 wt%). Id.
                         0.5 wt%).     at 12:30-35.
                                   Id. at 12:30–35. For
                                                    For instance, the
                                                        instance, the
Specification
Specification describes
              describes ophthalmic
                        ophthalmic compositions that include
                                   compositions that include from
                                                             from about
                                                                  about
0.001 wt% to
0.001 wt% to about
             about 0.05 wt% of
                   0.05 wt% of aa muscarinic
                                  muscarinic antagonist,
                                             antagonist, such
                                                         such as atropine or
                                                              as atropine or
atropine sulfate, and
atropine sulfate, and water.
                      water. Id. at 6:60-63,
                             Id. at 6:60–63, 7:1–2.
                                             7:1-2.
      Additionally, the
      Additionally, the Specification
                        Specification describes
                                      describes pH values for
                                                pH values     the ophthalmic
                                                          for the ophthalmic
compositions (e.g., less
compositions (e.g.,      than about
                    less than about 7.3,
                                    7.3, or
                                         or less than about
                                            less than about 6.4)
                                                            6.4) after
                                                                 after an
                                                                       an
extended
extended period
         period of time under
                of time under storage
                              storage condition. Ex. 1001,
                                      condition. Ex. 1001, 7:9–16.
                                                           7:9-16. The
                                                                   The
Specification
Specification also describes the
              also describes the compositions
                                 compositions in terms of
                                              in terms    the concentration
                                                       of the concentration
of the muscarinic
of the            antagonist based
       muscarinic antagonist based on
                                   on initial
                                      initial concentration after an
                                              concentration after an extended
                                                                     extended
period
period of time under
       of time under storage
                     storage condition,
                             condition, and
                                        and potency
                                            potency after
                                                    after an
                                                          an extended
                                                             extended period
                                                                      period
of time under
of time under storage
              storage condition.     at 7:3–8,
                                 Id. at
                      condition. Id.    7:3—8, 17–21.
                                               17-21. The
                                                      The Specification
                                                          Specification
describes “the extended
describes "the extended period
                        period of time” as
                               of time" as one
                                           one having
                                               having aa duration of aa range
                                                         duration of    range
between about
between about one week to
              one week to about
                          about five years. Id.
                                five years.     at 7:22–27.
                                            Id. at 7:22-27. The storage
                                                            The storage
condition
condition is
          is described
             described for
                       for some
                           some embodiments as having
                                embodiments as having aa storage
                                                         storage
temperature of
temperature of about
               about 25°
                     25° C,
                         C, 40°
                            40° C,
                                C, or about 60°
                                   or about 60° C,
                                                C, and
                                                   and in
                                                       in other
                                                          other
embodiments
embodiments from about 2°
            from about 2° C
                          C to
                            to 10° C, or
                               10° C, or from about 16°
                                         from about     C to
                                                    16° C to about 26° C.
                                                             about 26° C.
Id. at 7:28–32.
Id. at 7:28-32.

                                       55
                                 Appx000005
                                 Appx000005
         Case: 23-2402      Document: 15        Page: 62    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
        The
        The Specification
            Specification explains that certain
                          explains that certain embodiments
                                                embodiments of the invention
                                                            of the invention
may
may further
    further comprise additional agents,
            comprise additional agents, including,
                                        including, an
                                                   an osmolarity adjusting
                                                      osmolarity adjusting
agent,
agent, aa preservative,
          preservative, aa buffer
                           buffer agent,
                                  agent, aa tonicity
                                            tonicity adjusting
                                                     adjusting agent,
                                                               agent, aa pH
                                                                         pH
adjusting
adjusting agent, and aa pharmaceutically
          agent, and                     acceptable carrier.
                        pharmaceutically acceptable          Ex. 1001,
                                                    carrier. Ex. 1001, 7:43–
                                                                       7:43-
8:39.
8:39.

                              E. Illustrative
                              E. Illustrative Claims
                                              Claims
        Petitioner challenges
        Petitioner challenges claims
                              claims 1, 2, 4–9,
                                     1, 2, 4-9, and 12–19 of
                                                and 12-19 of the
                                                             the ’787
                                                                 '787 patent.
                                                                      patent.
Claim
Claim 1
      1 is the only
        is the only independent
                    independent claim. For this
                                claim. For this Final
                                                Final Written Decision,
                                                      Written Decision,
independent
independent claim
            claim 1 (set forth
                  1 (set       below with
                         forth below      bracketed letters
                                     with bracketed         to identify
                                                    letters to identify
specific
specific limitations
         limitations for
                     for ease of reference)
                         ease of reference) is
                                            is illustrative of the
                                               illustrative of the claimed
                                                                   claimed
subject
subject matter.
        matter.
        1.
        1.   1[a] A stabilized
             1[a] A stabilized ophthalmic
                               ophthalmic composition
                                           composition for treating pre-
                                                       for treating pre-
        myopia,
        myopia, myopia, or progression
                myopia, or              of myopia,
                            progression of myopia, comprising[:]
                                                   comprising[:]
               1[b]
               1[b] from  about 0.001
                    from about         wt% to
                                0.001 wt%  to about
                                              about 0.05 wt% of
                                                    0.05 wt% of atropine
                                                                atropine
        or atropine sulfate
        or atropine         and water,
                    sulfate and water, wherein
                                       wherein
              1[c]   the stabilized
              1[c] the    stabilized ophthalmic
                                      ophthalmic composition
                                                     composition further
                                                                  further
        comprises
        comprises aa buffering
                     buffering agent to provide
                               agent to provide aa pH of from
                                                   pH of      about 4.8
                                                         from about 4.8 to
                                                                        to
        about 6.4, wherein
        about 6.4, wherein the
                            the
             1[d] stabilized ophthalmic
             1[d] stabilized ophthalmic composition
                                        composition is
                                                    is aa liquid, and
                                                          liquid, and
        wherein
        wherein
                1[e] the stabilized
                1[e] the              ophthalmic composition
                         stabilized ophthalmic    composition comprises
                                                                comprises less
                                                                            less
        than about
        than  about 10%
                     10% ofof aa degradant
                                  degradant formed
                                              formed from
                                                      from degradation
                                                            degradation of   the
                                                                          of the
        atropine
        atropine or  atropine sulfate
                  or atropine   sulfate after
                                        after an
                                              an extended
                                                 extended period  of time
                                                           period of time of
                                                                           of at
                                                                              at
        least
        least 22 weeks
                 weeks under
                        under aa storage   temperature of
                                   storage temperature   of from  about 20°
                                                            from about   20° C.
                                                                              C.
        to about
        to about 70°
                  70° C.
                       C. and
                          and relative
                                 relative humidity
                                          humidity from   about 50%
                                                    from about   50% toto about
                                                                          about
        80%.
        80%.
Ex. 1001,
Ex. 1001, 97:32–44 (bracketing, labels,
          97:32-44 (bracketing, labels, and
                                        and formatting
                                            formatting added).
                                                       added).
        Dependent claims
        Dependent        2, 4–9,
                  claims 2, 4-9, and 12–15 provide
                                 and 12-15 provide additional
                                                   additional limitations to
                                                              limitations to
further
further refine the stabilized
        refine the stabilized ophthalmic
                              ophthalmic compositions
                                         compositions of
                                                      of claim
                                                         claim 1. See
                                                               1. See
Ex. 1001,
Ex. 1001, 97:45–48,
          97:45-48, 97:51–98:17,
                    97:51-98:17, 98:25–41. Dependent claim
                                 98:25-41. Dependent claim 16
                                                           16 recites
                                                              recites

                                           66
                                    Appx000006
                                    Appx000006
         Case: 23-2402       Document: 15        Page: 63    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
that the
that the stabilized
         stabilized ophthalmic
                    ophthalmic composition of claim
                               composition of claim 1
                                                    1 is topically
                                                      is topically
administered. See id.
administered. See     at 98:42-44.
                  id. at 98:42–44. Dependent
                                   Dependent claim
                                             claim 17
                                                   17 recites that the
                                                      recites that the
stabilized ophthalmic composition
stabilized ophthalmic             of claim
                      composition of claim 1
                                           1 is
                                             is administered by instillation.
                                                administered by instillation.
See id.
See     at 98:45-47.
    id. at 98:45–47. Dependent
                     Dependent claim
                               claim 18
                                     18 recites that the
                                        recites that the stabilized
                                                         stabilized
ophthalmic
ophthalmic composition
           composition of
                       of claim
                          claim 1
                                1 is administered through
                                  is administered through an
                                                          an eye
                                                             eye drop
                                                                 drop
bottle. See
bottle.     id. at
        See id. at 98:48–51.
                   98:48-51. Claim
                             Claim 19
                                   19 recites
                                      recites aa method
                                                 method of treating the
                                                        of treating the pre-
                                                                        pre-
myopia,
myopia, myopia, or progression
        myopia, or             of myopia
                   progression of        by administering
                                  myopia by administering an
                                                          an effective
                                                             effective
amount
amount of the stabilized
       of the stabilized ophthalmic
                         ophthalmic composition of claim
                                    composition of claim 1.
                                                         1. See id. at
                                                            See id. at
98:52–56.
98:52-56.

                       F. Prior
                       F. Prior Art
                                Art and
                                    and Asserted
                                        Asserted Grounds
                                                 Grounds
        Petitioner asserts
        Petitioner         that claims
                   asserts that claims 1, 2, 4-9,
                                       1, 2, 4–9, and
                                                  and 12-19
                                                      12–19 would
                                                            would have been
                                                                  have been
unpatentable
unpatentable on the following
             on the following grounds:
                              grounds:
     Claims
     Claims Challenged
             Challenged        35 U.S.C.
                               35 U.S.C. §2
                                         §2              Reference(s)/Basis
                                                         Reference(s)/Basis
    1, 2, 4–9,
    1, 2,      12–19
          4-9, 12-19               103
                                   103            Chia, 3 Akorn,4
                                                  Chia,'  Akorn, 4 Kondritzer5
                                                                   Kondritzer 5
    1, 2, 4–9,
    1, 2,      12–19
          4-9, 12-19               103
                                   103            Chia,  Akorn, Lund
                                                  Chia, Alcorn, Lund 6


2
2 The  Leahy-Smith America
  The Leahy-Smith      America Invents     Act ("AIA"),
                                 Invents Act    (“AIA”), Pub.
                                                           Pub. L.L. No.
                                                                     No. 112-29,
                                                                          112–29, 125125
Stat. 284 (2011),
Stat. 284 (2011), amended
                    amended 35  35 U.
                                    U.S.C.
                                      S.C. §§§§ 102
                                                102 and
                                                    and 103,
                                                         103, effective     March 16,
                                                                effective March     16,
2013. Because
2013.  Because the
                 the application
                      application from     which the
                                    from which    the ’787
                                                      '787 patent
                                                             patent issued
                                                                     issued has   an
                                                                             has an
effective
effective filing date after
          filing date   after that
                              that date, the AIA
                                   date, the  AIA version
                                                   version ofof §§ 103  applies.
                                                                   103 applies.
3
  Audrey Chia
  Audrey  Chia et   al., Atropine
                 et al., Atropineforfor the
                                        the Treatment   of Childhood
                                             Treatment of                 Myopia:
                                                           Childhood Myopia:
Safety  and  Efficacy   of 0.5%,  0.1%,   and  0.01%   Doses
Safety and Efficacy of0. 5%, 0.1%, and 0.01% Doses (Atropinefor(Atropine    for the
                                                                                the
Treatment   of Myopia 2),
Treatment ofMyopia        2), 119
                              119 O  PHTHALMOLOGY 347−354 (2012) (Ex. 1003,
                                   OPHTHALMOLOGY        347-354     (2012)   (Ex.  1003,
“Chia”).
"Chia").
4
  Atropine Sulfate
4 Atropine           Ophthalmic Solution,
            Sulfate Ophthalmic                  USP 1%,
                                     Solution, USP         NDA 206289
                                                      1%, NDA      206289 Product
                                                                             Product
Label (July
Label  (July 2014)
              2014) (Ex.
                     (Ex. 1004,    “Akorn”).
                            1004, "Alcorn").
5
  Albert A.
5 Albert A. Kondritzer
             Kondritzer &  & Peter
                              Peter Zvirblis,
                                     Zvirblis, Stability
                                                Stability of Atropine in
                                                          ofAtropine     in
Aqueous   Solution,   46  J.
Aqueous Solution, 46 J. Am.  AM. PHARM.
                                 P HARM. ASSOC.
                                            ASSOC. 531−535      (1957) (Ex
                                                    531-535 (1957)       (Ex. 1005,
                                                                               1005,
“Kondritzer”).
"Kondritzer").
6 Walter  Lund & & Tor
                    Tor Waaler,
                          Waaler, The    Kinetics of
                                                   of Atropine
                                                      Atropine andand Apoatropine
                                                                       Apoatropine in
6
  Walter Lund                       The Kinetics                                      in
AqueousSolutions, 22
AqueousSolutions,      22 ACTA
                           ACTA C   HEM. S
                                 CHEM.      CAND. 3085-97
                                          SCAND.   3085-97 (1968)
                                                              (1968) (Ex
                                                                       (Ex. 1007,
                                                                             1007,
“Lund”).
"Lund").

                                            77
                                     Appx000007
                                     Appx000007
         Case: 23-2402     Document: 15        Page: 64   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2

     Claims
     Claims Challenged
             Challenged      35 U.S.C.
                             35 U.S.C. §2
                                       §2             Reference(s)/Basis
                                                      Reference(s)/Basis
    1, 2, 4–9,
    1, 2,      12–19
          4-9, 12-19             103
                                 103            Akorn, Wu,
                                                Alcorn,       Kondritzer
                                                        Wu,77 Kondritzer

        Petitioner also
        Petitioner also relies
                        relies upon the Declaration
                               upon the Declaration of
                                                    of Stephen Byrn, Ph.D.
                                                       Stephen Byrn, Ph.D.
(Ex. 1002).
(Ex.        Patent Owner
     1002). Patent Owner relies
                         relies upon the Declaration
                                upon the Declaration of
                                                     of Paul
                                                        Paul A.
                                                             A. Laskar,
                                                                Laskar,
Ph.D. (Ex
Ph.D. (Ex. 2003).
           2003).
                                 II. ANALYSIS
                                 II. ANALYSIS
                              A. Principles
                              A. Principles ofLaw
                                            of Law
                                  1.
                                  1.      Burden
                                          Burden
        “In an
        "In    [inter partes
            an [inter partes review], the petitioner
                             review], the petitioner has the burden
                                                     has the burden from the
                                                                    from the
onset to show
onset to show with
              with particularity why the
                   particularity why the patent
                                         patent it
                                                it challenges
                                                   challenges is
                                                              is
unpatentable.” Harmonic Inc.
unpatentable." Harmonic Inc. v. Avid Tech.,
                             v. Avid        Inc., 815
                                     Tech., Inc.,     F.3d 1356,
                                                  815 F.3d 1356, 1363 (Fed.
                                                                 1363 (Fed.
Cir. 2016 (citing
Cir. 2016 (citing 35
                  35 U.S.C.
                     U.S.C. §§ 312(a)(3)
                               312(a)(3) (requiring
                                         (requiring inter partes review
                                                    inter partes review
petitions to identify
petitions to          “with particularity
             identify "with particularity .. .. .. the
                                                   the evidence that supports
                                                       evidence that          the
                                                                     supports the
grounds
grounds for the challenge
        for the           to each
                challenge to each claim”)).
                                  claim")). Therefore,
                                            Therefore, in an inter
                                                       in an       partes
                                                             inter partes
review, the burden
review, the burden of
                   of proof
                      proof is
                            is on the Petitioner
                               on the Petitioner to
                                                 to show
                                                    show that
                                                         that the
                                                              the challenged
                                                                  challenged
claims are unpatentable,
claims are               and that
           unpatentable, and that burden
                                  burden never
                                         never shifts to the
                                               shifts to the patentee.
                                                             patentee. See 35
                                                                       See 35
U.S.C. §§ 316(e);
U.S.C.    316(e); In
                  In re Magnum Oil
                     re Magnum Oil Tools        Ltd., 829
                                         Int’l, Ltd.,
                                   Tools Intl,            F.3d 1364,
                                                      829 F.3d 1364, 1375
                                                                     1375
(Fed. Cir.
(Fed. Cir. 2016)
           2016) (citing
                 (citing Dynamic
                         Dynamic Drinkware,
                                 Drinkware, LLC
                                            LLC v. Nat’l Graphics,
                                                v. Nat'l           Inc.,
                                                         Graphics, Inc.,
800 F.3d 1375,
800 F.3d 1375, 1378 (Fed. Cir.
               1378 (Fed. Cir. 2015)).
                               2015)).




7
7   WO 2014/182620 Al,
    WO 2014/182620 A1, published November 13,
                       published November     2014 (Ex.
                                          13, 2014 (Ex. 1006, “Wu”).
                                                        1006, "Wu").

                                          88
                                   Appx000008
                                   Appx000008
        Case: 23-2402        Document: 15        Page: 65     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2

                                 2.
                                 2.      Obviousness
                                         Obviousness
       To
       To ultimately
          ultimately prevail
                     prevail in
                             in its
                                its challenge to Patent
                                    challenge to Patent Owner's
                                                        Owner’s claims,
                                                                claims,
Petitioner must
Petitioner must demonstrate by aa preponderance
                demonstrate by                  of the
                                  preponderance of the evidence   that the
                                                       evidence'8 that the
claims are unpatentable.
claims are               35 U.
           unpatentable. 35 U.S.C.
                               S.C. § 316(e); 37
                                    § 316(e); 37 C.F.R.
                                                 C.F.R. §
                                                        § 42.1(d). A patent
                                                          42.1(d). A patent
claim
claim is
      is unpatentable
         unpatentable under 35 U.
                      under 35 U.S.C.
                                  S.C. §
                                       § 103
                                         103 if the differences
                                             if the             between the
                                                    differences between the
claimed
claimed subject
        subject matter and the
                matter and the prior art are
                               prior art     such that
                                         are such that the
                                                       the subject
                                                           subject matter
                                                                   matter as
                                                                          as aa
whole would have
whole would      been obvious
            have been         at the
                      obvious at the time
                                     time the
                                          the invention was made
                                              invention was      to aa
                                                            made to
person
person having
       having ordinary skill in
              ordinary skill    the art
                             in the art to
                                        to which
                                           which said
                                                 said subject
                                                      subject matter
                                                              matter pertains
                                                                     pertains
(“POSA”
("P      or "POSITA").
    OSA" or “POSITA”). KSR
                       KSR Int
                           Int’l
                               1 Co.
                                 Co. v.
                                     v. Teleflex Inc., 550
                                        Teleflex Inc.,     U.S. 398,
                                                       550 U.S. 398, 406
                                                                     406
(2007). The
(2007). The question
            question of
                     of obviousness
                        obviousness is
                                    is resolved on the
                                       resolved on the basis
                                                       basis of
                                                             of underlying
                                                                underlying
factual
factual determinations
        determinations including: (1) the
                       including: (1) the scope and content
                                          scope and         of the
                                                    content of the prior art;
                                                                   prior art;
(2) any
(2) any differences between the
        differences between the claimed subject matter
                                claimed subject matter and the prior
                                                       and the       art;
                                                               prior art;
(3) the
(3) the level of ordinary
        level of ordinary skill
                          skill in the art;
                                in the art; and
                                            and (4)
                                                (4) objective
                                                    objective evidence
                                                              evidence of
                                                                       of
nonobviousness.
nonobviousness. Graham
                Graham v. John Deere
                       v. John Deere Co., 383 U.S.
                                     Co., 383 U.S. 1, 17–18 (1966).
                                                   1, 17-18 (1966).
       In
       In determining
          determining obviousness
                      obviousness when
                                  when all
                                       all elements of aa claim
                                           elements of          are found
                                                          claim are found in
                                                                          in
various pieces
various        of prior
        pieces of       art, "the
                  prior art, “the factfinder must further
                                  factfinder must further consider the factual
                                                          consider the factual
questions
questions of whether aa person
          of whether    person of
                               of ordinary
                                  ordinary skill
                                           skill in the art
                                                 in the art would be motivated
                                                            would be motivated
to combine
to         those references,
   combine those             and whether
                 references, and whether in
                                         in making that combination,
                                            making that combination, aa
person
person of
       of ordinary skill would
          ordinary skill would have
                               have had
                                    had aa reasonable
                                           reasonable expectation
                                                      expectation of
                                                                  of
success.” Dome Patent
success." Dome Patent L.P.
                      L.P. v. Lee, 799
                           v. Lee,     F.3d 1372,
                                   799 F.3d 1372, 1380 (Fed. Cir.
                                                  1380 (Fed.      2015);
                                                             Cir. 2015);
see also
see also WMS
         WMS Gaming, Inc. v.
             Gaming, Inc.    Int’l Game
                          v. Int'l      Tech., 184
                                   Game Tech.,     F.3d 1339,
                                               184 F.3d 1339, 1355 (Fed.
                                                              1355 (Fed.
Cir.
Cir. 1999) (“When an
     1999) ("When an obviousness
                     obviousness determination
                                 determination relies
                                               relies on the combination
                                                      on the combination



8 The
8
      burden of
  The burden   of showing
                   showing something
                             something by  by aa preponderance
                                                 preponderance of     the evidence
                                                                   of the  evidence
requires the trier
requires the trier of
                    of fact to believe
                       fact to believe that
                                         that the
                                              the existence
                                                  existence of
                                                             of aa fact
                                                                   fact is
                                                                        is more
                                                                            more
probable  than its
probable than   its nonexistence     before the
                    nonexistence before     the trier
                                                 trier of
                                                       of fact
                                                          fact may
                                                               may find
                                                                     find in
                                                                           in favor
                                                                              favor of
                                                                                     of
the party
the party who
          who carries    the burden.
                carries the  burden. Concrete       Pipe &
                                         Concrete Pipe       Prods. of
                                                          & Prods.      Cal., Inc.
                                                                      ofCal.,   Inc. v.
                                                                                     v.
Constr.  Laborers Pension
Constr. Laborers     Pension Tr.    for S.
                               Tr. for     Cal., 508
                                        S. Cal.,      U.S. 602,
                                                 508 U.S.   602, 622   (1993).
                                                                  622 (1993).

                                            99
                                      Appx000009
                                      Appx000009
       Case: 23-2402        Document: 15        Page: 66      Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
of two or
of two or more
          more references, there must
               references, there      be some
                                 must be some suggestion
                                              suggestion or
                                                         or motivation to
                                                            motivation to
combine the references.”).
combine the                “Both the
            references."). "Both the suggestion
                                     suggestion and the expectation
                                                and the             of
                                                        expectation of
success
success must be founded
        must be founded in the prior
                        in the       art, not
                               prior art, not in the applicant’s
                                              in the applicant's disclosure.”
                                                                 disclosure."
In re
In    Dow Chemical
   re Dow          Co., 837
          Chemical Co.,     F.2d 469,
                        837 F.2d 469, 473 (Fed. Cir.
                                      473 (Fed. Cir. 1988); see also
                                                     1988); see also In
                                                                     In re
                                                                        re
Magnum Oil
Magnum     Tools, 829
       Oil Tools,     F.3d at
                  829 F.3d at 1381, 1381 (finding
                              1381, 1381 (finding aa party that petitions
                                                     party that           the
                                                                petitions the
Board for
Board for aa determination of unpatentability
             determination of                 based on
                              unpatentability based on obviousness
                                                       obviousness must
                                                                   must
show that "a
show that “a skilled
             skilled artisan
                     artisan would
                             would have been motivated
                                   have been           to combine
                                             motivated to         the
                                                          combine the
teachings of
teachings    the prior
          of the       art references
                 prior art            to achieve
                           references to         the claimed
                                         achieve the claimed invention, and
                                                             invention, and
that the
that the skilled
         skilled artisan
                 artisan would
                         would have
                               have had
                                    had aa reasonable
                                           reasonable expectation of success
                                                      expectation of success in
                                                                             in
doing so.”) (internal
doing so.") (internal quotations and citations
                      quotations and citations omitted).
                                               omitted).
      An obviousness
      An obviousness analysis
                     analysis "need
                              “need not seek out
                                    not seek out precise teachings directed
                                                 precise teachings directed
to the
to the specific
       specific subject
                subject matter of the
                        matter of the challenged
                                      challenged claim,
                                                 claim, for
                                                        for aa court
                                                               court can take
                                                                     can take
account of the
account of the inferences and creative
               inferences and creative steps that aa person
                                       steps that           of ordinary
                                                     person of ordinary skill
                                                                        skill in
                                                                              in
the art
the art would
        would employ.” KSR, 550
              employ." KSR,     U.S.
                            550 U.    at 418;
                                   S. at 418; see
                                              see In
                                                  In re
                                                     re Translogic
                                                        Translogic Tech,
                                                                   Tech,
Inc., 504
Inc.,     F.3d 1249,
      504 F.3d       1259 (Fed.
               1249, 1259 (Fed. Cir. 2007). In
                                Cir. 2007).         the Supreme
                                               KSR, the
                                            In KSR,             Court also
                                                        Supreme Court also
stated that an
stated that an invention may be
               invention may be found
                                found obvious
                                      obvious if trying aa course
                                              if trying    course of
                                                                  of conduct
                                                                     conduct
would
would have been obvious
      have been         to aa POSITA:
                obvious to    POSITA:
      When   there is
      When there       is aa design
                             design need
                                       need oror market
                                                   market pressure
                                                            pressure toto solve
                                                                           solve aa
      problem  and there
      problem and      there are
                              are aa finite
                                     finite number
                                             number of of identified,
                                                          identified, predictable
                                                                       predictable
      solutions,
      solutions, aa person
                      person ofof ordinary
                                  ordinary skill
                                              skill has
                                                     has good
                                                         good reason
                                                                reason toto pursue
                                                                             pursue
      the known
      the known options      within his
                    options within     his or
                                           or her  technical grasp.
                                              her technical   grasp. If
                                                                      If this
                                                                         this leads
                                                                              leads
      to the
      to  the anticipated
              anticipated success,
                               success, it  it is
                                                is likely   the product
                                                   likely the    product notnot ofof
      innovation
      innovation but  but of
                           of ordinary     skill and
                              ordinary skill      and common
                                                       common sense.
                                                                   sense. In    that
                                                                            In that
      instance the fact
      instance the          that aa combination
                       fact that     combination was  was obvious
                                                           obvious toto try
                                                                         try might
                                                                              might
      show  that itit was
      show that       was obvious
                           obvious under
                                      under §§ 103.
                                                103.
550 U.S.
550 U.    at 421.
       S. at 421. Section
                  Section 103 “bars patentability
                          103 "bars patentability unless
                                                  unless ‘the
                                                         `the improvement
                                                              improvement is
                                                                          is
more than the
more than the predictable
              predictable use of prior
                          use of prior art
                                       art elements according to
                                           elements according to their
                                                                 their
established
established functions.’”  In re
            functions. '" In    Kubin, 561
                             re Kubin,     F.3d 1351,
                                       561 F.3d 1351, 1359–60 (Fed. Cir.
                                                      1359-60 (Fed. Cir.
2009) (citing
2009) (citing KSR,
              KSR, 550 U.S. at
                   550 U.S. at 417).
                               417).


                                           10
                                           10
                                    Appx000010
                                    Appx000010
       Case: 23-2402      Document: 15      Page: 67    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
      We analyze the
      We analyze the asserted
                     asserted grounds of unpatentability
                              grounds of unpatentability in accordance with
                                                         in accordance with
the above-stated
the above-stated principles.
                 principles.

                     B. Level
                     B. Level of
                              of Ordinary Skill in
                                 Ordinary Skill in the Art
                                                   the Art
      We
      We consider the asserted
         consider the asserted grounds
                               grounds of
                                       of unpatentability
                                          unpatentability in view of
                                                          in view    the
                                                                  of the
understanding of aa person
understanding of    person of
                           of ordinary
                              ordinary skill
                                       skill in the art.
                                             in the art. KSR,
                                                         KSR, 550 U.S. at
                                                              550 U.S. at 399
                                                                          399
(stating that
(stating that obviousness
              obviousness is
                          is determined against the
                             determined against the backdrop
                                                    backdrop of the scope
                                                             of the scope and
                                                                          and
content of the
content of the prior art, the
               prior art, the differences between the
                              differences between the prior art and
                                                      prior art     the claims
                                                                and the claims
at
at issue, and the
   issue, and the level of ordinary
                  level of          skill in
                           ordinary skill    the art).
                                          in the art). Factual
                                                       Factual indicators of the
                                                               indicators of the
level of ordinary
level of ordinary skill
                  skill in the art
                        in the art include “the various
                                   include "the various prior
                                                        prior art approaches
                                                              art approaches
employed, the types
employed, the types of
                    of problems
                       problems encountered
                                encountered in the art,
                                            in the art, the
                                                        the rapidity with
                                                            rapidity with
which
which innovations are made,
      innovations are       the sophistication
                      made, the                of the
                                sophistication of the technology
                                                      technology involved,
                                                                 involved,
and the educational
and the             background of
        educational background of those
                                  those actively
                                        actively working
                                                 working in the field.”
                                                         in the field."
Jacobson Bros.,
Jacobson Bros., Inc.
                Inc. v. U.S., 512
                     v. U.S.,     F.2d 1065,
                              512 F.2d 1065, 1071 (Ct. Cl.
                                             1071 (Ct. Cl. 1975); see also
                                                           1975); see also
Orthopedic Equip. Co.
Orthopedic Equip. Co. v. U.S., 702
                      v. U.S.,     F.2d 1005,
                               702 F.2d 1005, 1011 (Fed. Cir.
                                              1011 (Fed. Cir. 1983)
                                                              1983)
(quoting with
(quoting with approval Jacobson Bros.).
              approval Jacobson Bros.).
      Petitioner asserts
      Petitioner         that "[a]
                 asserts that “[a] person
                                   person of
                                          of ordinary
                                             ordinary skill
                                                      skill in the art
                                                            in the art (T
                                                                       (‘POSA’)
                                                                          OSA')
at the time
at the time of the purported
            of the purported invention would have
                             invention would      had aa Ph.D.
                                             have had    Ph.D. in
                                                               in chemistry,
                                                                  chemistry,
organic
organic chemistry,
        chemistry, physical
                   physical chemistry, or pharmaceutics,
                            chemistry, or pharmaceutics, with
                                                         with several years
                                                              several years
of
of experience
   experience preparing
              preparing and/or testing pharmaceutical
                        and/or testing pharmaceutical formulations.”
                                                      formulations."
Pet. 21-22
Pet. 21–22 (citing
           (citing Ex.
                   Ex. 1002   62).
                       1002 ¶ 62).     Petitioner further
                                       Petitioner further contends that "[a]
                                                          contends that “[a]
POSA
P     would have
  OSA would      been familiar
            have been          with common
                      familiar with common inactive
                                           inactive ingredients
                                                    ingredients used
                                                                used in
                                                                     in
aqueous
aqueous pharmaceutical
        pharmaceutical formulations
                       formulations and the basic
                                    and the basic characteristics
                                                  characteristics of
                                                                  of
aqueous
aqueous formulations
        formulations such
                     such as
                          as stability,
                             stability, and
                                        and would
                                            would have
                                                  have had
                                                       had knowledge
                                                           knowledge
about
about drug degradation kinetics.”
      drug degradation            Id. at
                       kinetics." Id.    22.
                                      at 22.
      Patent Owner
      Patent Owner asserts that aa narrower
                   asserts that    narrower definition
                                            definition of
                                                       of aa P
                                                             POSA
                                                               OSA should be
                                                                   should be
employed—one that includes
employed one that includes expertise
                           expertise in
                                     in ophthalmic
                                        ophthalmic formulation. PO Resp.
                                                   formulation. PO Resp.


                                       11
                                       11
                                  Appx000011
                                  Appx000011
        Case: 23-2402      Document: 15     Page: 68    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
4.    Patent Owner
4. 99 Patent Owner states that Petitioner's
                   states that Petitioner’s declarant, Dr. Byrn,
                                            declarant, Dr. Byrn, has
                                                                 has "extremely
                                                                     “extremely
limited
limited experience with ophthalmic
        experience with ophthalmic formulation,”
                                   formulation," which “calls into
                                                 which "calls into serious
                                                                   serious
question whether he
question whether he is
                    is qualified to opine
                       qualified to opine on the perspective
                                          on the perspective of
                                                             of aa P
                                                                   POSA
                                                                     O SA in
                                                                          in
the relevant
the relevant field.”     at 5.
                     Id. at
             field." Id.    5.
      We
      We do
         do not agree with
            not agree      Patent Owner
                      with Patent Owner that
                                        that the
                                             the level of ordinary
                                                 level of ordinary skill
                                                                   skill in
                                                                         in
the art
the art should be limited
        should be         to experience
                  limited to experience with ophthalmic formulation.
                                        with ophthalmic formulation. The
                                                                     The
claims at issue
claims at issue generally
                generally require
                          require aa liquid
                                     liquid ophthalmic
                                            ophthalmic formulation
                                                       formulation of
                                                                   of aa small
                                                                         small
amount
amount of atropine that
       of atropine that is
                        is stabilized
                           stabilized using buffers that
                                      using buffers that can be stored
                                                         can be stored for at
                                                                       for at
least two weeks
least two weeks under
                under certain temperature and
                      certain temperature and humidity
                                              humidity conditions. See
                                                       conditions. See
Ex. 1001,
Ex. 1001, 97:32–44 (claim 1).
          97:32-44 (claim     As Dr.
                          1). As Dr. Byrn
                                     Byrn points
                                          points out, the technology
                                                 out, the technology
surrounding
surrounding use of atropine,
            use of atropine, aa nonselective muscarinic antagonist,
                                nonselective muscarinic antagonist, to
                                                                    to treat
                                                                       treat
myopia,
myopia, has been extensively
        has been             studied for
                 extensively studied for over
                                         over aa hundred years and
                                                 hundred years and is
                                                                   is known
                                                                      known
as “the oldest
as "the oldest and
               and most
                   most effective
                        effective pharmacological treatment to
                                  pharmacological treatment to inhibit the
                                                               inhibit the
development of myopia.”
development of              Ex. 1002
                        See Ex.
               myopia." See     1002 ¶ 26
                                       26 (quoting
                                          (quoting Ex.
                                                   Ex. 1008, 1) (citing
                                                       1008, 1) (citing
Ex. 1003,
Ex. 1003, 1; Ex. 1012,
          1; Ex.       2). The
                 1012, 2). The degradation of atropine
                               degradation of atropine is also well
                                                       is also well known to
                                                                    known to
primarily
primarily result
          result from
                 from cleavage
                      cleavage of the acyl-oxygen
                               of the acyl-oxygen bond
                                                  bond during
                                                       during ester
                                                              ester
hydrolysis,     id. ¶ 43
            see id.
hydrolysis, see          (citing Ex.
                      43 (citing Ex. 1017,
                                     1017, 1; Ex. 1024,
                                           1; Ex. 1024, 5), with the
                                                        5), with the rate of
                                                                     rate of
acid-catalyzed
acid-catalyzed reaction being much
               reaction being much slower than that
                                   slower than that of the base-catalyzed
                                                    of the base-catalyzed
reaction,
reaction, leading to stability
          leading to           of atropine
                     stability of atropine at
                                           at aa lower
                                                 lower pH
                                                       pH range (pH <
                                                          range (pH < ~3), see
                                                                      —3), see
id. ¶ 45
id.      (citing Ex.
      45 (citing Ex. 1005, 1,4–5). Concerning
                     1005, 1,4-5). Concerning specifically
                                              specifically the
                                                           the use
                                                               use of atropine
                                                                   of atropine
in the eye,
in the      Dr. Byrn
       eye, Dr. Byrn points
                     points out that itit is
                            out that         well known
                                          is well       that ophthalmic
                                                  known that ophthalmic
solutions should be
solutions should be "formulated
                    “formulated to
                                to be
                                   be sterile,
                                      sterile, isotonic
                                               isotonic and buffered for
                                                        and buffered for
stability and comfort.”
stability and               id. ¶¶ 47
                        See id.
              comfort." See           (quoting Ex.
                                   47 (quoting Ex. 1019,
                                                   1019, 52) (noting Ex.
                                                         52) (noting Ex. 1019,
                                                                         1019,
54 (pH of
54 (pH of tear
          tear fluid
               fluid is
                     is 7.4).
                        7.4).

9
9Although Patent
 Although    Patent Owner
                    Owner disagrees   with Petitioner's
                            disagrees with Petitioner’s definition of aa P
                                                        definition of    POSA,
                                                                           O SA,
Patent Owner
Patent Owner does
               does not
                     not provide
                         provide its own definition
                                 its own             apart from
                                          definition apart from including
                                                                 including
expertise
expertise in
          in ophthalmic
             ophthalmic formulation.        PO Resp.
                                       See PO
                          formulation. See       Resp. 4–7.
                                                       4-7.

                                       12
                                       12
                                  Appx000012
                                  Appx000012
        Case: 23-2402      Document: 15      Page: 69    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
      None of
      None    this chemistry
           of this chemistry concerning the stability
                             concerning the           of atropine
                                            stability of          or its
                                                         atropine or its
administration
administration in the eye
               in the eye is
                          is remarkable
                             remarkable or
                                        or not well understood
                                           not well            by aa P
                                                    understood by    POSA  as
                                                                       OSA as
defined by Petitioner.
defined by Petitioner. See PO Resp.
                       See PO Resp. 10 (stating "the
                                    10 (stating “the stability
                                                     stability of atropine was
                                                               of atropine was
understood to be
understood to be aa ‘predictable
                    `predictable function,’ and aa ‘routine
                                 function,' and             matter,’ of
                                                   `routine matter,' of
temperature and
temperature and solution
                solution pH”),
                         pH"), 43–44 (same). We
                               43-44 (same). We see
                                                see no
                                                    no reason why
                                                       reason why
someone with drug
someone with drug formulation
                  formulation experience, but not
                              experience, but not specific
                                                  specific experience with
                                                           experience with
ophthalmic solutions, would
ophthalmic solutions, would not
                            not qualify as aa POSA.
                                qualify as    POSA. Therefore, we continue
                                                    Therefore, we continue
to apply
to       Petitioner’s definition
   apply Petitioner's definition of
                                 of aa P
                                       POSA
                                         O SA in this final
                                              in this       written decision.
                                                      final written decision.

                            C.
                            C. Claim
                               Claim Construction
                                     Construction
      The Board applies
      The Board applies the
                        the same
                            same claim
                                 claim construction
                                       construction standard that would
                                                    standard that would be
                                                                        be
used to construe
used to          the claim
        construe the claim in
                           in aa civil action under
                                 civil action       35 U.S.C.
                                              under 35 U.S.C. §§ 282(b).
                                                                 282(b).
37 C.F.R.
37 C.F.R. §§ 100(b)
             100(b) (2019).
                    (2019). Under
                            Under that
                                  that standard,
                                       standard, claim terms "are
                                                 claim terms “are generally
                                                                  generally
given their ordinary
given their ordinary and
                     and customary meaning” as
                         customary meaning" as understood
                                               understood by
                                                          by aa person of
                                                                person of
ordinary
ordinary skill
         skill in the art
               in the art at the time
                          at the time of the invention.
                                      of the            Phillips v.
                                             invention. Phillips    AWH Corp.,
                                                                 v. AWH Corp. ,
415 F.3d 1303,
415 F.3d 1303, 1312–13 (Fed. Cir.
               1312-13 (Fed. Cir. 2005)
                                  2005) (en
                                        (en banc)
                                            banc) (quoting
                                                  (quoting Vitronics
                                                           Vitronics Corp.
                                                                     Corp.
v.
v. Conceptronic,       90 F.3d
                 Inc., 90
   Conceptronic, Inc.,    F.3d 1576,
                               1576, 1582 (Fed. Cir.
                                     1582 (Fed. Cir. 1996)). “In determining
                                                     1996)). "In determining
the meaning
the meaning of the disputed
            of the disputed claim
                            claim limitation, we look
                                  limitation, we look principally to the
                                                      principally to the
intrinsic
intrinsic evidence of record,
          evidence of record, examining the claim
                              examining the claim language
                                                  language itself, the written
                                                           itself, the written
description,
description, and the prosecution
             and the prosecution history,
                                 history, if
                                          if in
                                             in evidence.” DePuy Spine,
                                                evidence." DePuy Spine, Inc.
                                                                        Inc.
v.                          Inc., 469
   Medtronic Sofamor Danek, Inc.,
v. MedtronicSofamorDanek,             F.3d 1005,
                                  469 F.3d 1005, 1014 (Fed. Cir.
                                                 1014 (Fed.      2006)
                                                            Cir. 2006)
(citing Phillips,
(citing Phillips, 415 F.3d at
                  415 F.3d at 1312-17).
                              1312–17).
      Petitioner states
      Petitioner        that "[f]
                 states that “[f]or the purposes
                                 or the purposes of this proceeding
                                                 of this            only,
                                                         proceeding only,
Petitioner does
Petitioner does not believe that
                not believe that any
                                 any claim terms need
                                     claim terms      to be
                                                 need to be construed.”
                                                            construed."
Pet. 22.
Pet. 22. Patent
         Patent Owner “agrees that
                Owner "agrees that the
                                   the claims
                                       claims should be understood
                                              should be understood
according to their
according to their ordinary
                   ordinary and
                            and customary
                                customary meaning.” PO Resp.
                                          meaning." PO Resp. 25-26.
                                                             25–26. In
                                                                    In
reply, Petitioner asserts
reply, Petitioner         that the
                  asserts that the ordinary
                                   ordinary meaning of "about"
                                            meaning of “about” is
                                                               is


                                        13
                                        13
                                  Appx000013
                                  Appx000013
       Case: 23-2402      Document: 15     Page: 70    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
“approximately,” and
"approximately," and the
                     the ordinary
                         ordinary meaning of "buffering
                                  meaning of “buffering agent"
                                                        agent” or
                                                               or "buffer"
                                                                  “buffer”
“is nothing
"is nothing more than an
            more than an excipient that helps
                         excipient that helps control
                                              control pH.” Reply 2.
                                                      pH." Reply 2.
Petitioner asserts
Petitioner         that Patent
           asserts that Patent Owner
                               Owner agrees
                                     agrees with the definition
                                            with the            of "buffering
                                                     definition of “buffering
agent” and "buffer"
agent" and “buffer” by
                    by stating
                       stating that
                               that "[t]he
                                    “[t]he patent
                                           patent uses terms buffer
                                                  uses terms buffer and
                                                                    and
buffering in
buffering    their normal
          in their normal sense, which entails
                          sense, which entails providing
                                               providing pH
                                                         pH control or
                                                            control or
maintenance.”     (quoting PO
              Id. (quoting
maintenance." Id.          PO Resp. 29).
                            O Resp. 29).
      Based upon
      Based      our review
            upon our review of the evidence
                            of the          of record,
                                   evidence of         we determine
                                               record, we           that
                                                          determine that
no
no claim terms require
   claim terms require express
                       express construction. See Nidec
                               construction. See Nidec Motor
                                                       Motor Corp.
                                                             Corp. v.
                                                                   v.
Zhongshan Broad
Zhongshan Broad Ocean       Co., 868
                      Motor Co.,
                Ocean Motor          F.3d
                                 868 F. 3d 1013,
                                           1013, 1017 (Fed. Cir.
                                                 1017 (Fed. Cir. 2017)
                                                                 2017)
(Only those
(Only those terms
            terms that
                  that are
                       are in
                           in controversy
                              controversy need be construed,
                                          need be            “and only
                                                  construed, "and      to
                                                                  only to
the extent
the extent necessary to resolve
           necessary to         the controversy.”).
                        resolve the                 Insofar as
                                    controversy."). Insofar as the
                                                               the parties
                                                                   parties
dispute
dispute whether Akorn discloses
        whether Alcorn discloses aa buffer,
                                    buffer, we
                                            we address
                                               address those
                                                       those contentions
                                                             contentions in
                                                                         in
our discussion
our            below of
    discussion below    the challenged
                     of the challenged claims.
                                       claims.

             D. Obviousness
             D.             over Chia,
                Obviousness over       Akorn, and
                                 Chia, Akorn, and Kondritzer
                                                  Kondritzer
      Petitioner asserts
      Petitioner         that claims
                 asserts that claims 1, 2, 4-9,
                                     1, 2, 4–9, and
                                                and 12–19 would have
                                                    12-19 would      been
                                                                have been
obvious
obvious over the combined
        over the          teachings of
                 combined teachings of Chia, Akorn, and
                                       Chia, Alcorn,     Kondritzer. Pet.
                                                     and Kondritzer. Pet.
23–42. In
23-42. In addition
          addition to
                   to challenging the public
                      challenging the        availability of
                                      public availability of Alcorn,
                                                             Akorn, Patent
                                                                     Patent
Owner
Owner disagrees with the
      disagrees with the substance
                         substance of Petitioner’ss argument
                                   of Petitioner'   argument and
                                                             and states that
                                                                 states that
the Alcorn
the Akorn reference  “does not
           reference "does not disclose the phosphate
                               disclose the           salts are
                                            phosphate salts are buffering
                                                                buffering
agents. Nor does
agents. Nor does itit disclose that the
                      disclose that the Alcorn
                                        Akorn product
                                               product has
                                                       has aa pH
                                                              pH range
                                                                 range of 3.5–
                                                                       of 3.5-
6.0. Each of
6.0. Each    these failures
          of these failures is
                            is case-dispositive.” PO Resp.
                               case-dispositive." PO Resp. 1.
                                                           1.

                             1. Chia
                             1. Chia (Ex. 1003)
                                     (Ex. 1003)
      Chia
      Chia is
           is aa journal
                 journal article that describes
                         article that           two studies
                                      describes two studies regarding the
                                                            regarding the
treatment of
treatment of myopia
             myopia using
                    using atropine
                          atropine eyedrops. Ex. 1003,
                                   eyedrops. Ex  1003, 1.
                                                       1. In the first
                                                          In the first study,
                                                                       study,
Atropine for
Atropine     the Treatment
         for the           of Myopia
                 Treatment of Myopia 11 ("ATOM1"),
                                        (“ATOM1”), itit was
                                                        was shown
                                                            shown that
                                                                  that
atropine
atropine 1%
         1% eyedrops were effective
            eyedrops were effective in
                                    in controlling
                                       controlling myopic
                                                   myopic progression but
                                                          progression but

                                      14
                                      14
                                 Appx000014
                                 Appx000014
       Case: 23-2402      Document: 15      Page: 71    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
with visual side
with visual side effects
                 effects resulting
                         resulting from
                                   from cycloplegia and mydriasis.
                                        cycloplegia and mydriasis. Id.
                                                                   Id. The
                                                                       The
second study described
second study described in Chia, Atropine
                       in Chia, Atropine for the Treatment
                                         for the           of Myopia
                                                 Treatment of Myopia 22
(“ATOM2”), compared
("ATOM2"),          the efficacy
           compared the efficacy and visual side
                                 and visual side effects
                                                 effects of
                                                         of 33 lower
                                                               lower doses
                                                                     doses
of atropine: 0.5%,
of atropine: 0.5%, 0.1%, and 0.01%.
                   0.1%, and        Id. The
                             0.01%. Id.     authors of
                                        The authors of Chia
                                                       Chia conclude
                                                            conclude
“[a]tropine 0.01%
"[a]tropine 0.01% has
                  has minimal side effects
                      minimal side effects compared
                                           compared with atropine at
                                                    with atropine at 0.1%
                                                                     0.1%
and
and 0.5%, and retains
    0.5%, and retains comparable
                      comparable efficacy
                                 efficacy in
                                          in controlling
                                             controlling myopia
                                                         myopia
progression.” Id.
progression." Id.
      Chia
      Chia notes that atropine,
           notes that atropine, aa nonspecific
                                   nonspecific muscarinic antagonist, at
                                               muscarinic antagonist, at 1.0%
                                                                         1.0%
and
and 0.5%
    0.5% has been shown
         has been shown to
                        to be
                           be effective
                              effective in slowing myopia
                                        in slowing myopia progression, but
                                                          progression, but
its
its safety
    safety profile
           profile regarding
                   regarding pupil size and
                             pupil size     accommodation was
                                        and accommodation was aa concern.
                                                                 concern.
Ex. 1003,
Ex. 1003, 6. Chia states:
          6. Chia states:
      Every unit
      Every   unit increase
                    increase in
                             in pupil
                                 pupil size
                                         size results
                                               results in  an exponential
                                                        in an   exponential
      increase
      increase in  the amount
               in the  amount ofof light
                                   light entering   the eye,
                                          entering the   eye, and   this can
                                                               and this  can
      cause
      cause glare and potential
            glare and  potential phototoxicity.    Atropine also
                                 phototoxicity. Atropine    also decreases
                                                                  decreases
      accommodation     amplitude and
      accommodation amplitude      and near   vision so
                                        near vision  so that
                                                         that children  may
                                                              children may
      require bifocal or
      require bifocal or progressive
                         progressive glasses   to read.
                                      glasses to  read. The
                                                         The ideal  atropine
                                                              ideal atropine
      dose would be
      dose would    be one
                       one with  the best
                           with the  best balance
                                           balance between
                                                    between efficacy     and
                                                               efficacy and
      safety.
      safety.
Id.
Id.
      To
      To explore the ideal
         explore the       atropine dose,
                     ideal atropine       Chia performed
                                    dose, Chia           the ATOM2
                                               performed the ATOM2 study
                                                                   study
using
using 0.01% atropine as
      0.01% atropine as aa potential
                           potential control
                                     control due to its
                                             due to     assumed minimal
                                                    its assumed minimal
effect. Ex. 1003,
effect. Ex. 1003, 7.
                  7. Chia
                     Chia found that "contrary
                          found that “contrary to
                                               to expectations, atropine
                                                  expectations, atropine
0.01% also had
0.01% also had significant
               significant clinical
                           clinical effects
                                    effects as
                                            as evidence by its
                                               evidence by its effect
                                                               effect on
                                                                      on
myopia
myopia progression,
       progression, accommodation, and pupil
                    accommodation, and       size.” Id.
                                       pupil size."     In comparing
                                                    Id. In           the
                                                           comparing the
0.01% atropine dose
0.01% atropine      to the
               dose to the 0.5% and the
                           0.5% and the 0.1%
                                        0.1% doses, Chia found
                                             doses, Chia       “the
                                                         found "the
difference
difference in
           in myopia
              myopia progression at 22 years
                     progression at    years in the 0.01%
                                             in the 0.01% group was
                                                          group was
statistically
statistically significant
              significant compared with the
                          compared with the 0.5%
                                            0.5% group. Likewise, the
                                                 group. Likewise, the
difference
difference in
           in axial
              axial length
                    length increase
                           increase was statistically larger
                                    was statistically        than in
                                                      larger than    both the
                                                                  in both the
0.1% and 0.5%
0.1% and 0.5% groups. However, absolute
              groups. However, absolute differences between groups
                                        differences between        were
                                                            groups were


                                       15
                                       15
                                 Appx000015
                                 Appx000015
         Case: 23-2402        Document: 15        Page: 72      Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
clinically
clinically small
           small .. .. .. ."
                          .” Id. Chia did
                             Id. Chia did note that no
                                          note that    other atropine
                                                    no other atropine 0.01%
                                                                      0.01% studies
                                                                            studies
were available for
were available for direct
                   direct comparison, but Chia
                          comparison, but Chia did
                                               did compare the data
                                                   compare the      to aa
                                                               data to
study 10
study10  testing 0.05%
         testing 0.05% atropine and aa study"
                       atropine and    study 11 testing
                                                testing 0.025% atropine. Id.
                                                        0.025% atropine. Id.
       Although Chia
       Although Chia found that "[o]verall,
                     found that “[o]verall, atropine-related
                                            atropine-related adverse
                                                             adverse effects
                                                                     effects
were
were uncommon at the
     uncommon at the 0.01%
                     0.01% dose
                           dose .. .. .. [t]here
                                         [t]here are
                                                 are no
                                                     no long-term studies on
                                                        long-term studies on
the effect
the effect of atropine on
           of atropine    the eye,
                       on the eye, and
                                   and continued vigilance is
                                       continued vigilance is necessary.
                                                              necessary.
However, atropine
However, atropine has been clinically
                  has been            available since
                           clinically available       the early
                                                since the early 1900s,
                                                                1900s, and so
                                                                       and so
far there are
far there are no
              no known
                 known long-term adverse effects
                       long-term adverse         associated with
                                         effects associated with its
                                                                 its use.”
                                                                     use."
Ex. 1003,
Ex. 1003, 7. Chia states:
          7. Chia states:
                In
                In conclusion,
                    conclusion, our
                                  our results
                                        results suggest   that 0.5%,
                                                 suggest that   0.5%, 0.1%,
                                                                        0.1%, andand
        0.01%    atropine remain
        0.01% atropine     remain effective
                                    effective in
                                               in reducing
                                                  reducing myopia
                                                            myopia progression,
                                                                      progression,
        compared
        compared with with placebo        treatment, and
                              placebo treatment,        and that
                                                              that thethe clinical
                                                                             clinical
        differences
        differences inin myopia
                          myopia progression        among these
                                     progression among       these 33 groups
                                                                       groups are are
        small.
        small. TheThe lowest
                       lowest concentration
                               concentration of  of 0.01%
                                                    0.01% atropine     thus seems
                                                            atropine thus     seems
        to retain
        to  retain efficacy    and is
                    efficacy and     is aa viable
                                           viable concentration
                                                    concentration forfor reducing
                                                                          reducing
        myopia
        myopia progression
                   progression in in children,     while attaining
                                       children, while    attaining aa clinically
                                                                         clinically
        significant
        significant improved     safety profile
                     improved safety      profile in  terms of
                                                   in terms  of accommodation,
                                                                 accommodation,
        pupil  size, and
        pupil size,   and near     visual acuity,
                            near visual     acuity, and
                                                     and subsequently
                                                          subsequently reduced
                                                                            reduced
        adverse
        adverse impact
                   impact on     visual function.
                             on visual                   Moreover, the
                                           function. Moreover,         the 0.01%
                                                                              0.01%
        formulation
        formulation exhibited
                       exhibited fewer     adverse events.
                                   fewer adverse               Atropine 0.01%
                                                     events. Atropine     0.01% is  is
        currently
        currently not
                    not commercially
                         commercially available.       However, these
                                          available. However,       these findings
                                                                           findings
        collectively   suggest that
        collectively suggest     that aa nightly
                                          nightly dose
                                                    dose of   atropine at
                                                          of atropine    at 0.01%
                                                                              0.01%
        seems
        seems to to be
                    be aa safe  and effective
                          safe and    effective regimen
                                                  regimen for
                                                            for slowing
                                                                 slowing myopia
                                                                            myopia
        progression
        progression inin children,
                          children, with
                                     with minimal
                                            minimal impact
                                                      impact onon visual
                                                                   visual function
                                                                           function
        in
        in children.
           children.
Id. at 7–8.
Id. at 7—8.




1° Jong-Jer
10
            Lee et
   Jong-Jer Lee       al., Prevention
                   et al., Prevention ofmyopia
                                        of myopia progression
                                                  progression with
                                                               with 0.05% atropine
                                                                    0.05% atropine
solution,” 22   J.
solution," 22 J. O   CUL. PHARMACOL.
                   OcuL.    P HARMACOL. &  &T HER. 41–46
                                             THER.         (2006) (Ex.
                                                    41-46 (2006)  (Ex. 1012,
                                                                       1012,
“Lee”).
"Lee").
11
   Fang et
" Fang     al., Prevention
        et al., Prevention of     myopia onset
                                ofmyopia         with 0.025%
                                           onset with         atropine in
                                                      0.025% atropine  in
premyopic children,
premyopic   children, 26 26 J.
                             J. O     P HARMACOL. &
                                  CUL PHARMACOL.
                                OCUL                &T   HER. 341-45
                                                       THER.  341–45 (2010)
                                                                     (2010)
(Ex. 1013,
(Ex.        “Fang”).
     1013, "Fang").

                                             16
                                             16
                                      Appx000016
                                      Appx000016
         Case: 23-2402       Document: 15      Page: 73     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2

                                2. Akorn
                                2. Akorn (Ex. 1004)
                                         (Ex. 1004)
        Petitioner identifies
        Petitioner            Ex. 1004
                   identifies Ex       as aa product
                                  1004 as    product label
                                                     label for Akorn Atropine
                                                           for Alcorn Atropine
Care,
Care, which appears to
      which appears to be
                       be an
                          an excerpt
                             excerpt from New Drug
                                     from New Drug Application
                                                   Application 206289.
                                                               206289.
    Pet. vii;
See Pet.
See      vii; Ex.
              Ex. 1004,
                  1004, 1. Akorn describes
                        1. Alcorn describes aa 1%
                                               1% atropine sulfate ophthalmic
                                                  atropine sulfate ophthalmic
solution
solution for topical application
         for topical             to the
                     application to the eye. Ex. 1004,
                                        eye. Ex  1004, 1. Akorn explains
                                                       1. Alcorn          that
                                                                 explains that
atropine
atropine is
         is an anti-muscarinic agent
            an anti-muscarinic agent that
                                     that is
                                          is indicated
                                             indicated for
                                                       for cycloplegia,
                                                           cycloplegia,
mydriasis, and penalization
mydriasis, and penalization of the healthy
                            of the healthy eye
                                           eye in the treatment
                                               in the treatment of amblyopia.
                                                                of amblyopia.
    at 1,
Id. at
Id.       2. Alcorn
       1, 2. Akorn explains  atropine’s mechanism
                    explains atropine's mechanism of action as
                                                  of action as follows:
                                                               follows:
              The
              The pupillary
                    pupillary constrictor
                               constrictor muscle
                                            muscle depends
                                                    depends on on muscarinic
                                                                  muscarinic
        cholinoceptor  activation. This
        cholinoceptor activation.          activation is
                                     This activation      blocked by
                                                      is blocked   by topical
                                                                       topical
        atropine
        atropine resulting
                 resulting in
                            in unopposed
                               unopposed sympathetic
                                            sympathetic dilator    activity and
                                                           dilator activity  and
        mydriasis.   Atropine also
        mydriasis. Atropine          weakens the
                                also weakens   the contraction
                                                   contraction ofof the
                                                                    the ciliary
                                                                         ciliary
        muscle,
        muscle, or
                 or cycloplegia.
                    cycloplegia. Cycloplegia
                                   Cycloplegia results
                                                 results in
                                                         in loss
                                                            loss of the ability
                                                                 of the  ability
        to accommodate
        to accommodate such      that the
                           such that  the eye
                                          eye cannot
                                               cannot focus
                                                      focus for
                                                              for near  vision.
                                                                  near vision.
    at 4.
Id. at
Id.       Akorn describes
       4. Alcorn describes applying
                           applying 1
                                    1 drop
                                      drop of the solution
                                           of the          to the
                                                  solution to the cul-de-sac of
                                                                  cul-de-sac of
the conjunctiva
the conjunctiva forty minutes prior
                forty minutes       to an
                              prior to an intended
                                          intended maximum
                                                   maximum dilation time.
                                                           dilation time.
Id.
Id.
        Akorn explains
        Alcorn          that the
               explains that the solution
                                 solution contains
                                          contains atropine sulfate as
                                                   atropine sulfate as an
                                                                       an active
                                                                          active
ingredient. Ex. 1004,
ingredient. Ex.       3. Alcorn
                1004, 3. Akorn further
                                further describes the following
                                        describes the following inactive
                                                                inactive
ingredients: “benzalkonium chloride
ingredients: "benzalkonium chloride 0.1 mg (0.01%),
                                    0.1 mg (0.01%), dibasic
                                                    dibasic sodium
                                                            sodium
phosphate,
phosphate, edetate
           edetate disodium,
                   disodium, hypromellose (2910), monobasic
                             hypromellose (2910), monobasic sodium
                                                            sodium
phosphate,
phosphate, hydrochloric acid and/or
           hydrochloric acid and/or sodium
                                    sodium hydroxide may be
                                           hydroxide may be added
                                                            added to
                                                                  to
adjust
adjust pH (3.5 to
       pH (3.5 to 6.0),
                  6.0), and water for
                        and water for injection USP.” Id.
                                      injection USP." Id.

                             3. Kondritzer (Ex.
                             3. Kondritzer      1005)
                                           (Ex. 1005)
      Kondritzer is
      Kondritzer is aa journal
                       journal article that relates
                               article that         to aa kinetic
                                            relates to    kinetic study
                                                                  study of the proton
                                                                        of the proton
catalyzed
catalyzed hydrolysis
          hydrolysis of atropine "to
                     of atropine “to identify
                                     identify and
                                              and evaluate the factors
                                                  evaluate the factors
involved
involved in the deterioration
         in the deterioration of aqueous solutions
                              of aqueous           of atropine
                                         solutions of          and its
                                                      atropine and     salts,”
                                                                   its salts,"
and confirmed
and           the temperature
    confirmed the temperature dependency of the
                              dependency of the reaction. Ex. 1005,
                                                reaction. Ex. 1005, 1.
                                                                    1.


                                          17
                                          17
                                    Appx000017
                                    Appx000017
       Case: 23-2402       Document: 15      Page: 74     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
Kondritzer explains
Kondritzer          that the
           explains that the alkaline
                             alkaline hydrolysis of atropine
                                      hydrolysis of atropine in aqueous
                                                             in aqueous
solution
solution involves two reactions:
         involves two            “one involving
                      reactions: "one           the unprotonated
                                      involving the              (base)
                                                    unprotonated (base)
form, and the
form, and the other
              other the
                    the protonated (ionic) form
                        protonated (ionic)      of the
                                           form of the alkaloid,"
                                                       alkaloid,” with
                                                                  with each
                                                                       each
reaction being governed
reaction being          by hydroxyl-concentration
               governed by                        and temperature.
                           hydroxyl-concentration and temperature. Id.
                                                                   Id.
Kondritzer also
Kondritzer also notes
                notes some
                      some previous work concerning
                           previous work            the stability
                                         concerning the stability of
                                                                  of
aqueous atropine solutions
aqueous atropine           stating: "The
                 solutions stating: “The preservation
                                         preservation of aqueous atropine
                                                      of aqueous atropine
solutions by buffering
solutions by buffering at
                       at pH
                          pH 4-5
                             4-5 has been recommended.”
                                 has been                   at 2.
                                                        Id. at
                                          recommended." Id.    2.
      Kondritzer’s evaluation
      Kondritzer's evaluation included
                              included studying the hydrolysis
                                       studying the hydrolysis of atropine
                                                               of atropine
in various perchloric
in various            acid solutions
           perchloric acid solutions at temperatures varying
                                     at temperatures varying from
                                                             from 70°
                                                                  70° C to
                                                                      C to
90° C. Ex.
90° C. Ex. 1005, 2. Based
           1005, 2. Based on this, Kondritzer
                          on this, Kondritzer prepared
                                              prepared an
                                                       an equation to
                                                          equation to
predict the rate
predict the rate of
                 of proton
                    proton hydrolysis
                           hydrolysis at any particular
                                      at any            temperature and
                                             particular temperature and
hydrogen
hydrogen ion
         ion concentration.     Kondritzer takes
                            Id. Kondritzer
             concentration. Id.            takes into account the
                                                 into account the effect
                                                                  effect of
                                                                         of
both hydroxyl
both          and hydrogen
     hydroxyl and hydrogen ions to determine
                           ions to           the pH
                                   determine the pH of
                                                    of minimum
                                                       minimum
hydrolysis at various
hydrolysis at various temperatures
                      temperatures and
                                   and calculates the hydrolytic
                                       calculates the hydrolytic rates at
                                                                 rates at
these minimum
these minimum pH values. Id.
              pH values.     Kondritzer also
                         Id. Kondritzer also calculates the half
                                             calculates the half lives
                                                                 lives of
                                                                       of
atropine solutions for
atropine solutions     various pH
                   for various    values and
                               pH values and temperatures.
                                             temperatures. Id.
                                                           Id.
      From measuring
      From           the rate
           measuring the      of acid
                         rate of acid hydrolysis of atropine
                                      hydrolysis of atropine in aqueous
                                                             in aqueous
solution, Kondritzer concludes
solution, Kondritzer           that the
                     concludes that the predominant
                                        predominant catalytic
                                                    catalytic reaction
                                                              reaction above
                                                                       above
pH 4.5 involves
pH 4.5          the hydroxyl
       involves the hydroxyl ion,
                             ion, and the predominant
                                  and the predominant catalytic
                                                      catalytic reaction
                                                                reaction
below pH
below    3 involves
      pH 3          the hydrogen
           involves the hydrogen ion. Ex. 1005,
                                 ion. Ex. 1005, 4. Kondritzer also
                                                4. Kondritzer      states:
                                                              also states:
            The
            The half
                 half lives
                      lives of
                            of solutions
                               solutions of  atropine at
                                         of atropine    at various
                                                           various pH   values
                                                                    pH values
      and temperatures can
      and temperatures         be calculated
                          can be  calculated for    both hydroxyl-ion
                                               for both    hydroxyl-ion andand
      hydrogen-ion
      hydrogen-ion catalysis.
                    catalysis. The
                                 The former
                                      former accounts
                                               accounts for    the instability
                                                           for the  instability
      above approximately pH
      above approximately     pH 55 and
                                     and the
                                          the latter
                                               latter for
                                                       for instability  below
                                                            instability below
      approximately
      approximately pH pH 3.3. TheThe half
                                        half life   at any
                                              life at    any hydrogen
                                                               hydrogen ionion
      concentration   between pH
      concentration between      pH 33 and and 55 is is soso great    that its
                                                              great that    its
      experimental
      experimental determination
                   determination is    not practical.
                                    is not  practical.
Id.
Id.



                                        18
                                        18
                                  Appx000018
                                  Appx000018
       Case: 23-2402      Document: 15      Page: 75    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
      Kondritzer states
      Kondritzer states that
                        that "[a]
                             “[a]ss expected, the hydrogen
                                    expected, the hydrogen ion
                                                           ion catalyzed
                                                               catalyzed
hydrolysis of atropine
hydrolysis of atropine is
                       is slow.” Ex. 1005,
                          slow." Ex  1005, 4. Based on
                                           4. Based    the study,
                                                    on the        Kondritzer
                                                           study, Kondritzer
concludes that "[t]he
concludes that “[t]he pH
                      pH for maximum stability
                         for maximum stability of atropine in
                                               of atropine    sterile aqueous
                                                           in sterile aqueous
solution varies between
solution varies between 4.11 at 0°
                        4.11 at    and 3.24
                                0° and 3.24 at 100°.” Id.
                                            at 100°."     at 5.
                                                      Id. at 5.

                                  4. Analysis
                                  4. Analysis
      For its
      For     assertion that
          its assertion that claims
                             claims 1, 2, 4–9,
                                    1, 2, 4-9, and 12–19 would
                                               and 12-19 would have been
                                                               have been
obvious
obvious over the combined
        over the          teachings of
                 combined teachings of Chia, Akorn, and
                                       Chia, Alcorn,     Kondritzer,
                                                     and Kondritzer,
Petitioner relies
Petitioner relies on Akorn as
                  on Alcorn as teaching
                               teaching or
                                        or suggesting adding to
                                           suggesting adding to an
                                                                an atropine
                                                                   atropine
sulfate
sulfate ophthalmic
        ophthalmic liquid
                   liquid composition
                          composition aa buffering
                                         buffering agent to "provide
                                                   agent to “provide aa pH
                                                                        pH of
                                                                           of
from about 4.8
from about     to about
           4.8 to       6.4,” as
                  about 6.4," as required by claim
                                 required by claim 1. Pet. 28-31.
                                                   1. Pet. 28–31. Patent
                                                                  Patent
Owner
Owner challenges Petitioner’s reliance
      challenges Petitioner's reliance on Akorn asserting
                                       on Alcorn           that the
                                                 asserting that the Petition
                                                                    Petition
fails to prove
fails to       that Alcorn
         prove that Akorn was
                           was publicly available prior
                               publicly available       to the
                                                  prior to the undisputed
                                                               undisputed
critical
critical date of April
         date of April 23,
                       23, 2015,
                           2015, which
                                 which Patent
                                       Patent Owner also raised
                                              Owner also raised in
                                                                in its
                                                                   its
Preliminary Response.
Preliminary Response. See PO Resp.
                      See PO Resp. 58–61; Prelim. Resp.
                                   58-61; Prelim. Resp. 29-32.
                                                        29–32. Patent
                                                               Patent
Owner also challenges
Owner also            the testimony
           challenges the testimony of Dr. Byrn
                                    of Dr. Byrn in
                                                in its Motion to
                                                   its Motion to Exclude
                                                                 Exclude
Evidence asserting
Evidence           that "Dr.
         asserting that “Dr. Byrn's
                             Byrn’s proffered
                                    proffered opinions
                                              opinions exceed
                                                       exceed his
                                                              his expertise,
                                                                  expertise,
are
are not based on
    not based on ‘scientific
                 `scientific knowledge,’
                             knowledge,"‘sufficient
                                         sufficient facts
                                                    facts or
                                                          or data,’ and are
                                                             data,' and are not
                                                                            not
‘the
`the product
     product of
             of reliable
                reliable principles’
                         principles' and
                                     and methods
                                         methods ‘reliably applied’ to
                                                 `reliably applied' to the
                                                                       the facts
                                                                           facts
of this case.”
of this        Paper 29,
        case." Paper 29, 22 ("Mot.
                            (“Mot. to
                                   to Exclude").
                                      Exclude”).
      Because the
      Because the prior art status
                  prior art        of Alcorn
                            status of Akorn and
                                             and Dr.
                                                 Dr. Byrn's
                                                     Byrn’s testimony
                                                            testimony is
                                                                      is
relevant to all
relevant to all grounds asserted by
                grounds asserted by Petitioner,
                                    Petitioner, we
                                                we begin
                                                   begin our
                                                         our discussion with
                                                             discussion with
these issues.
these issues.

                   a) Prior
                   a) Prior Art
                            Art Status
                                Status of
                                       of Akorn
                                          Akorn (Ex. 1004)
                                                (Ex. 1004)
      Petitioner has
      Petitioner     the burden
                 has the burden to
                                to prove Akorn qualifies
                                   prove Alcorn qualifies as
                                                          as prior
                                                             prior art. See In
                                                                   art. See In
re Magnum Oil
re Magnum     Tools, 829
          Oil Tools,     F.3d
                     829 F     at 1376.
                           .3d at       “[A]t the
                                  1376. "[A]t the institution stage, the
                                                  institution stage, the
petition
petition must
         must identify,
              identify, with
                        with particularity,
                             particularity, evidence
                                            evidence sufficient to establish
                                                     sufficient to establish aa

                                       19
                                       19
                                  Appx000019
                                  Appx000019
       Case: 23-2402      Document: 15      Page: 76    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
reasonable
reasonable likelihood that the
           likelihood that the reference was publicly
                               reference was          accessible before
                                             publicly accessible before the
                                                                        the
critical
critical date of the
         date of the challenged
                     challenged patent and therefore
                                patent and therefore that
                                                     that there
                                                          there is
                                                                is aa reasonable
                                                                      reasonable
likelihood that itit qualifies
likelihood that                as aa printed
                     qualifies as    printed publication.” Hulu, LLC
                                             publication." Hulu, LLC v. Sound
                                                                     v. Sound
View Innovations, LLC,
View Innovations,      IPR2018-01039, Paper
                  LLC, IPR2018-01039, Paper 29
                                            29 ("Hulu")
                                               (“Hulu”) at
                                                        at 13 (PTAB
                                                           13 (P TAB
Dec. 20,
Dec. 20, 2019)
         2019) (precedential).
               (precedential).
      “[P]ublic accessibility”
      "[P]ublic accessibility" is
                               is considered to be
                                  considered to be "the
                                                   “the touchstone
                                                        touchstone in
                                                                   in
determining whether aa reference
determining whether    reference constitutes
                                 constitutes aa ‘printed
                                                `printed publication’ bar under
                                                         publication' bar under
35 U.S.C.
35 U.S.C. §102(b).” In re
          §102(b)." In    Hall, 781
                       re Hall,     F.2d 897,
                                781 F.2d 897, 899 (Fed. Cir.
                                              899 (Fed. Cir. 1986). “A
                                                             1986). "A
given
given reference
      reference is
                is ‘publicly
                   `publicly accessible’
                             accessible' upon
                                         upon aa satisfactory showing that
                                                 satisfactory showing that
such
such document
     document has been disseminated
              has been disseminated or
                                    or otherwise
                                       otherwise made available to
                                                 made available to the
                                                                   the
extent that persons
extent that persons interested and ordinarily
                    interested and ordinarily skilled
                                              skilled in the subject
                                                      in the subject matter
                                                                     matter or
                                                                            or
art
art exercising
    exercising reasonable
               reasonable diligence,
                          diligence, can
                                     can locate
                                         locate it.” SRI Int
                                                it." SRI Int’l,  Inc. v.
                                                             '1, Inc.    Internet
                                                                      v. Internet
Sec. Sys.,
Sec.       Inc., 511
     Sys., Inc.,     F.3d 1186,
                 511 F.3d 1186, 1194 (Fed. Cir.
                                1194 (Fed. Cir. 2008)
                                                2008) (quoting
                                                      (quoting Bruckelmyer
                                                               Bruckelmyer
v.
v. Ground          Inc., 445
          Heaters, Inc.,
   Ground Heaters,           F.3d 1374,
                         445 F.3d       1378 (Fed.
                                  1374, 1378 (Fed. Cir. 2006)).
                                                   Cir. 2006)).
      A determination
      A               whether aa particular
        determination whether    particular reference
                                            reference qualifies
                                                      qualifies as
                                                                as aa printed
                                                                      printed
publication “is aa legal
publication "is    legal determination based on
                         determination based on underlying
                                                underlying fact
                                                           fact issues,
                                                                issues, and
                                                                        and
therefore must
therefore must be
               be approached
                  approached on
                             on aa case-by-case basis.” Hall,
                                   case-by-case basis." Hall, 781 F.2d at
                                                              781 F.2d at
899. In aa proceeding
899. In               before the
           proceeding before the Board,
                                 Board, there
                                        there is
                                              is no
                                                 no presumption
                                                    presumption in
                                                                in favor of
                                                                   favor of
finding that aa reference
finding that    reference is
                          is aa printed
                                printed publication.       Paper 29
                                                     Hulu, Paper
                                        publication. Hulu,       29 at
                                                                    at 16.
                                                                       16.
      During the
      During the institution
                 institution phase
                             phase of this proceeding,
                                   of this             we authorized
                                           proceeding, we authorized further
                                                                     further
briefing on
briefing    the issue
         on the issue of whether Alcorn
                      of whether Akorn was
                                        was publicly accessible before
                                            publicly accessible before the
                                                                       the
critical
critical date, and each
         date, and each party
                        party filed
                              filed aa brief
                                       brief addressing this issue.
                                             addressing this            Ex. 3001;
                                                                    See Ex
                                                             issue. See     3001;
Paper 7;
Paper    Paper 8.
      7; Paper 8. In
                  In our
                     our Institution Decision, we
                         Institution Decision, we addressed
                                                  addressed the
                                                            the parties’
                                                                parties'
arguments and determined
arguments and determined on the record
                         on the        before us
                                record before us at
                                                 at that
                                                    that time
                                                         time that
                                                              that
“Petitioner has
"Petitioner has adequately shown for
                adequately shown for institution that Alcorn
                                     institution that Akorn was
                                                             was sufficiently
                                                                 sufficiently
accessible to the
accessible to the public
                  public interested
                         interested in the art
                                    in the     and searchable
                                           art and searchable on the DailyMed
                                                              on the DailyMed
website such that
website such that aa P
                     POSA
                       OSA could
                           could have
                                 have found
                                      found it with reasonable
                                            it with reasonable diligence.”
                                                               diligence."

                                       20
                                       20
                                  Appx000020
                                  Appx000020
       Case: 23-2402          Document: 15         Page: 77       Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
Dec. 27.
Dec. 27. In
         In making this determination,
            making this determination, we
                                       we examined Petitioner’s additional
                                          examined Petitioner's additional
evidence, Exhibit 1057,
evidence, Exhibit       that itit submitted
                  1057, that      submitted with
                                            with its
                                                 its reply to the
                                                     reply to the preliminary
                                                                  preliminary
response, and determined
response, and            “that Petitioner
              determined "that Petitioner properly
                                          properly relies
                                                   relies on Exhibit 1057
                                                          on Exhibit 1057 as
                                                                          as
additional
additional evidence to confirm
           evidence to         that Exhibit
                       confirm that Exhibit 1004
                                            1004 was
                                                 was published and publicly
                                                     published and publicly
accessible
accessible in July of
           in July    2014.” See
                   of 2014."     Dec. 26-27.
                             See Dec. 26–27.
      In
      In making this determination,
         making this                we made
                     determination, we made the
                                            the following
                                                following findings
                                                          findings
concerning Exhibit 1057
concerning Exhibit 1057 for
                        for purposes of institution.
                            purposes of institution.
      In
      In particular,   on the
          particular, on   the current
                                current record,
                                         record, wewe find    that Petitioner's
                                                        find that    Petitioner’s
      Exhibit 1057
      Exhibit   1057 provides
                      provides persuasive
                                 persuasive corroboration
                                             corroboration for for its
                                                                   its contention
                                                                       contention
      that Alcorn
      that Akorn waswas publicly   accessible in
                        publicly accessible    in July of 2014.
                                                  July of  2014. Exhibit
                                                                   Exhibit 1057
                                                                             1057
      includes
      includes printouts
                 printouts of  webpages from
                           of webpages           “DailyMed.” Ex.
                                          from "DailyMed."         Ex. 1057.
                                                                        1057. InIn
      the "ABOUT
      the  “ABOUT DAILYMED"
                        DAILYMED” sectionsection on on the
                                                        the first
                                                             first page
                                                                    page of    the
                                                                            of the
      exhibit,   there is
      exhibit, there    is aa statement
                               statement explaining
                                           explaining thatthat "The
                                                                “The National
                                                                         National
      Library of
      Library       Medicine (NLM)'s
                 of Medicine     (NLM)’s DailyMed
                                            DailyMed searchable
                                                          searchable database
                                                                         database
      provides   the most
      provides the   most recent
                           recent labeling
                                   labeling submitted
                                            submitted to to the
                                                            the Food
                                                                 Food and    Drug
                                                                        and Drug
      Administration (FDA)
      Administration     (FDA) by by companies
                                     companies and and currently
                                                        currently in in use  (i.e.,
                                                                        use (i. e.,
      ‘in
      `in use’
          use' labeling).”        at 1.
                              Id. at
                labeling)." Id.         Among other
                                     1. Among     other items,    the DailyMed
                                                         items, the    DailyMed
      “contains labeling
      "contains   labeling for
                            for prescription  and nonprescription
                                prescription and    nonprescription drugs
                                                                        drugs for
                                                                               for
      human
      human and     animal use.”
               and animal            Id. The
                             use." Id.    The statement      also explains
                                                statement also                that
                                                                   explains that
      “[t]he NLM
      "[t]he NLM provides       DailyMed to
                     provides DailyMed     to the
                                              the public”   and "[t]he
                                                   public" and    “[t]he labeling
                                                                          labeling
      on  DailyMed is
      on DailyMed         typically reformatted
                       is typically   reformatted to to make
                                                        make themthem easier    to
                                                                        easier to
      read.”   Id.
      read." Id.
               On   the third
               On the    third page
                                page of of Exhibit
                                            Exhibit 1057,     there is
                                                     1057, there     is aa copy
                                                                           copy of    the
                                                                                  of the
      DailyMed "LABELING
      DailyMed       “LABELING ARCHIVES"ARCHIVES” webpagewebpage whichwhich depicts
                                                                              depicts aa
      “Labeling Archives
      "Labeling     Archives Search,”        with aa first
                                 Search," with       first field
                                                           field for
                                                                 for entering
                                                                      entering aa drug
                                                                                   drug
      name,
      name, and and aa second
                        second field
                                   field for
                                           for entering
                                                entering aa date.
                                                              date. Id.Id. at  3. The
                                                                            at 3.    The
      webpage
      webpage explains         that "[t]his
                   explains that     “[t]his archive    allows the
                                              archive allows     the user   to retrieve
                                                                      user to   retrieve
      the label
      the  label current
                  current for
                            for aa given
                                   given date.”    Id. Search
                                           date." Id.   Search results
                                                                  results for  the term
                                                                           for the  term
      “ATROPINE SULFATE”
      "ATROPINE          SULFATE" on           “07/31/2014” are
                                           on "07/31/2014"       are displayed.
                                                                       displayed. Id. Id.
      There
      There is    an indication
               is an                that the
                      indication that     the search
                                              search provided
                                                       provided 135135 results    which
                                                                         results which
      are
      are listed
           listed in
                   in aa row,    apparently over
                          row, apparently      over aa number
                                                        number of      webpages. Id.
                                                                   of webpages.        Id.
      The
      The results     are organized
            results are    organized with      the "DATE
                                         with the   “DATE POSTED"
                                                               POSTED” identified
                                                                             identified
      in
      in one
          one column,      along with
                column, along       with the
                                           the term
                                               term "download"
                                                      “download” which which appears
                                                                                appears
      to be
      to be formatted
             formatted as  as aa web
                                 web link,   and the
                                       link, and  the "DRUG
                                                       “DRUG NAME"NAME” identified
                                                                             identified
      in
      in aa second
            second column,
                       column, wherein
                                  wherein thethe drug
                                                  drug name
                                                         name listed
                                                                listed appears
                                                                         appears toto be
                                                                                       be
      formatted
      formatted as  as aa web
                           web link.         Below the
                                        Id. Below
                                 link. Id.           the drug
                                                           drug name,
                                                                 name, thethe name
                                                                               name of  of


                                              21
                                              21
                                       Appx000021
                                       Appx000021
      Case: 23-2402         Document: 15        Page: 78      Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
     the "Packager"
     the “Packager” isis identified, along with
                         identified, along  with aa "Version"
                                                    “Version” number.
                                                               number. Id.Id.
     Petitioner draws
     Petitioner draws our   attention to
                        our attention  to the
                                          the label
                                              label identified
                                                    identified with
                                                               with July 24,
                                                                    July 24,
     2014, as
     2014,  as the
                the "DATE
                    “DATE POSTED,"
                               POSTED,” "Atropine
                                             “Atropine (atropine
                                                         (atropine sulfate)
                                                                    sulfate)
     solution/drops,”
     solution/drops," asas the
                            the "DRUG
                                 “DRUG NAME,"
                                            NAME,” Alcorn,
                                                       Akorn, Inc.
                                                                Inc. as  the
                                                                     as the
     “Packager,” with
     "Packager,"         the "Version"
                   with the  “Version” noted    as "7."
                                         noted as   “7.” Id.
                                                         Id.
             We
             We understand
                  understand thethe next
                                    next page  of the
                                          page of the exhibit
                                                      exhibit toto be
                                                                   be aa copy   of
                                                                          copy of
     the DailyMed
     the  DailyMed webpage
                      webpage depicting      the version
                                  depicting the  version 77 label
                                                            label for    Akorn’s
                                                                    for Akorn's
     atropine
     atropine sulfate    that was
                sulfate that   was posted   on July
                                    posted on        24, 2014.
                                               July 24,  2014. Ex. Ex. 1057,
                                                                         1057, 4.
                                                                                4.
     Based on
     Based    on our
                   our review,
                        review, butbut for   minor web-related
                                        for minor    web-related formatting
                                                                     formatting
     differences,   this label
     differences, this   label posted
                               posted on   DailyMed appears
                                        on DailyMed   appears to to be
                                                                    be the
                                                                         the same
                                                                             same
     as  the label
     as the  label depicted
                    depicted in   Exhibit 1004.
                               in Exhibit   1004. In
                                                   In particular,
                                                      particular, wewe observe
                                                                          observe
     that  both labels:  (a) refer to “HIGHLIGHTS        OF
     that both labels: (a) refer to "HIGHLIGHTS OF PRESCRIBINGPRESCRIBING
     INFORMATION”
     INFORMATION" for            “Atropine Sulfate
                             for "Atropine             Ophthalmic Solution,
                                              Sulfate Ophthalmic       Solution,
     USP 1%
     USP    1% for    topical application
                 for topical    application toto the
                                                 the eye;”    (b) include
                                                      eye;" (b)     include thethe
     “Revised: 7/2014”
     "Revised:               statement; (c)
                  7/2014" statement;      (c) include  the same
                                              include the   same indications
                                                                     indications
     and   usage,   dosage    and  administration;   (d)  set
     and usage, dosage and administration; (d) set forth the   forth   the same
                                                                            same
     sections/subsections;
     sections/subsections; and (e) describe the contents of the drug in
                               and  (e) describe  the contents   of  the  drug  in
     the same
     the  same manner,
                 manner, including      the statement
                            including the   statement identifying
                                                        identifying inactives
                                                                        inactives
     as:   “benzalkonium chloride
     as: "benzalkonium         chloride 0.1   mg (0.01%),
                                          0.1 mg   (0.01%), dibasic       sodium
                                                               dibasic sodium
     phosphate,
     phosphate, edetate
                   edetate disodium,
                             disodium, hypromellose       (2910), monobasic
                                          hypromellose (2910),       monobasic
     sodium
     sodium phosphate,
               phosphate, hydrochloric       acid and/or
                             hydrochloric acid     and/or sodium
                                                           sodium hydroxide
                                                                      hydroxide
     may
     may be be added
               added toto adjust
                           adjust pH   (3.5 to
                                  pH (3.5   to 6.0),
                                               6.0), and   water for
                                                     and water     for injection
                                                                        injection
     USP.” Compare
     USP."     Compare Ex  Ex. 1004,  1–5, with
                               1004, 1-5,        Ex. 1057,
                                            with Ex   1057, 4–6.
                                                              4-6.
             Taken    together, we
             Taken together,       we find  that the
                                      find that  the evidence
                                                     evidence relied
                                                                 relied onon in   the
                                                                               in the
     Petition, i.e.,
     Petition,         Exhibits 1004,
                i.e., Exhibits     1004, 1020,
                                           1020, 1021,     along with
                                                   1021, along      with Exhibits
                                                                           Exhibits
     1056,
     1056, 1058,
             1058, andand especially,
                            especially, 1057,
                                          1057, submitted
                                                  submitted withwith thethe Reply,
                                                                             Reply,
     provide   strong indicia
     provide strong                that the
                         indicia that    the July   2014 version
                                              July 2014     version of     Akorn’s
                                                                       of Akorn's
     atropine
     atropine sulfate
                sulfate drug
                         drug label
                                 label represented
                                       represented on     the current
                                                      on the   current record
                                                                          record asas
     Exhibit 1004
     Exhibit   1004 waswas posted
                              posted on
                                      on July    24, 2014,
                                           July 24,   2014, on     the DailyMed
                                                              on the     DailyMed
     website.
     website. We We do do not
                           not find  any dispute
                                find any            on the
                                           dispute on   the current
                                                             current record      that
                                                                        record that
     DailyMed is
     DailyMed     is aa federal   government website
                        federal government       website that
                                                           that is   accessible to
                                                                 is accessible     to
     the public
     the          and presented
          public and    presented in in aa manner    that allows
                                            manner that    allows thethe public
                                                                          public toto
     readily   search its
     readily search            database for
                         its database      for drug
                                                drug labels     that have
                                                       labels that              been
                                                                        have been
     approved
     approved by  by the
                       the FDA.
                             FDA. Moreover,
                                      Moreover, as  as Petitioner
                                                        Petitioner asserts,       the
                                                                       asserts, the
     DailyMed website
     DailyMed     website explains,      “The DailyMed
                              explains, "The    DailyMed RSS RSS feed
                                                                    feed provides
                                                                           provides
     updates   and  information     about   new   drug  labels
     updates and information about new drug labels approved by  approved      by the
                                                                                  the
     FDA and
     FDA    and published
                 published on      NLM’s DailyMed
                               on NLM's      DailyMed Web       site.” Ex.
                                                          Web site."     Ex. 1057,
                                                                               1057,
     1. In other
     1. In other words,
                  words, thethe DailyMed
                                DailyMed website
                                             website further
                                                      further extends
                                                                extends itsits reach
                                                                               reach
     to the
     to the public   through such
             public through     such feed.
                                      feed.


                                           22
                                           22
                                    Appx000022
                                    Appx000022
       Case: 23-2402        Document: 15        Page: 79      Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
Dec. 23-25.
Dec. 23–25.
      Patent Owner
      Patent Owner in
                   in its Response continues
                      its Response           to question
                                   continues to          the public
                                                question the public
availability of Alcorn.
availability of Akorn. See  PO Resp.
                        See PO Resp. 58–60. Patent Owner
                                     58-60. Patent Owner continues to
                                                         continues to
assail the public
assail the public availability of Alcorn
                  availability of Akorn as
                                         as shown
                                            shown by
                                                  by the
                                                     the exhibits
                                                         exhibits originally
                                                                  originally
presented
presented with the Petition,
          with the Petition, see
                             see id., but we
                                 id., but we agreed
                                             agreed with
                                                    with some
                                                         some of
                                                              of these
                                                                 these
criticisms. For instance,
criticisms. For           we stated:
                instance, we stated:
             To  begin, we
             To begin,   we note     that, in
                              note that,   in some
                                              some respects,
                                                     respects, wewe agree   with
                                                                     agree with
      Patent Owner's
      Patent  Owner’s position.      For example,
                         position. For    example, we we agree
                                                          agree with
                                                                  with Patent
                                                                        Patent
      Owner   that the
      Owner that   the "7/14"
                        “7/14” revision
                                 revision date
                                             date printed
                                                   printed on
                                                           on Akorn, on
                                                               Alcorn,   on its
                                                                            its
      own,
      own, indicates
            indicates only    that some
                       only that    some unknown       author(s) modified
                                            unknown author(s)      modified thethe
      document
      document on on that
                     that date.          Prelim. Resp.
                                   See Prelim.
                           date. See              Resp.30,   PO Sur-reply
                                                         30, PO               2–3.
                                                                  Sur-reply 2-3.
      Indeed,
      Indeed, similar   to the
               similar to  the copyright
                                copyright or  or creation
                                                 creation dates
                                                           dates in          the
                                                                     Hulu, the
                                                                  in Hulu,
      revision
      revision date,  by itself,
                date, by  itself, is
                                  is insufficient   to demonstrate
                                      insufficient to  demonstrate thatthat the
                                                                            the
      exhibit was publicly
      exhibit was              available on
                    publicly available         that date.
                                            on that         See Hulu,
                                                     date. See          Paper 29
                                                                 Hulu, Paper    29
      at
      at 19.
         19. We   also agree
              We also   agree with
                                with Patent
                                       Patent Owner
                                               Owner that
                                                        that neither  the FDA
                                                             neither the  FDA
      approval
      approval date
                 date of the Alcorn
                      of the   Akorn atropine
                                        atropine sulfate
                                                   sulfate drug
                                                           drug product
                                                                  product nor    the
                                                                           nor the
      sale or use
      sale or use of  that product
                  of that  product demonstrates
                                       demonstrates thethe public   accessibility
                                                            public accessibility
      of
      of drug
         drug label
               label reflected
                     reflected in    Akorn prior
                                 in Alcorn          to the
                                              prior to the critical
                                                            critical date.  See
                                                                     date. See
      Prelim. Resp.
      Prelim.  Resp. 30,
                      30, PO
                           PO Sur-reply      2–3.
                                Sur-reply 2-3.
Dec. 23.
Dec. 23. Our
         Our decision
             decision on the public
                      on the public availability of Alcorn
                                    availability of Akorn turned
                                                           turned on the
                                                                  on the
additional
additional evidence Petitioner submitted
           evidence Petitioner           as Exhibit
                               submitted as Exhibit 1057.     id. at
                                                          See id.
                                                    1057. See        23–27.
                                                                  at 23-27.
      The only criticism
      The only           Patent Owner
               criticism Patent Owner presents with reference
                                      presents with           to our
                                                    reference to our
analysis
analysis of Exhibit 1057
         of Exhibit      as set
                    1057 as set forth above is
                                forth above    to question
                                            is to question aa statement
                                                              statement on the
                                                                        on the
DailyMed webpage
DailyMed webpage concerning when filtering
                 concerning when           by published
                                 filtering by published date was added
                                                        date was added
to Web
to Web Services.     PO Resp.
                 See PO
       Services. See    Resp. 60;
                              60; Sur-Reply 25. Patent
                                  Sur-Reply 25. Patent Owner
                                                       Owner states:
                                                             states:
“But Petitioner's
"But Petitioner’s DailyMed
                  DailyMed exhibit (created on
                           exhibit (created on September
                                               September 15, 2021)
                                                         15, 2021)
acknowledges that "Filtering
acknowledges that “Filtering by
                             by Published
                                Published Date
                                          Date [Was] Added to
                                               [Was] Added to Web
                                                              Web
Services” only as
Services" only as late
                  late as
                       as October 2015 (EX1057,
                          October 2015 (EX1057, 1, 2), which
                                                1, 2), which falls after the
                                                             falls after the
critical
critical date. EX1001, Cover.
         date. EX1001, Cover. As
                              As the
                                 the very
                                     very same search means
                                          same search       that
                                                      means that
Petitioner used
Petitioner      to find
           used to      the label
                   find the label in EX1057 admittedly
                                  in EX1057 admittedly did
                                                       did not
                                                           not exist before
                                                               exist before



                                           23
                                           23
                                    Appx000023
                                    Appx000023
        Case: 23-2402     Document: 15      Page: 80    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
the critical
the critical date, Petitioner has
             date, Petitioner has failed to demonstrate
                                  failed to demonstrate pre-critical
                                                        pre-critical date
                                                                     date public
                                                                          public
availability of this
availability of this new
                     new label.” PO Resp.
                         label." PO Resp. 60.
                                          60.
       We
       We find that Patent
          find that Patent Owner’s
                           Owner's criticism misses the
                                   criticism misses the mark. Petitioner is
                                                        mark. Petitioner is
using the DailyMed
using the DailyMed exhibit as further
                   exhibit as further evidence that Alcorn
                                      evidence that Akorn was
                                                           was publicly
                                                               publicly
available as of
available as of the
                the revision
                    revision date
                             date of
                                  of 7/2014
                                     7/2014 as shown on
                                            as shown    Akorn, Ex
                                                     on Alcorn, Ex. 1004.
                                                                    1004.
    Reply 11 ("As
See Reply
See          (“As set
                  set forth
                      forth in the Petition,
                            in the Petition, EX1004,
                                             EX1004, aa drug
                                                        drug label to Alcorn,
                                                             label to Akorn,
bears July
bears      2014 revision
      July 2014 revision dates that comport
                         dates that comport with
                                            with its FDA approval
                                                 its FDA approval and
                                                                  and
publication well before
publication well before the
                        the critical
                            critical date.     Pet., 9;
                                           See Pet.,
                                     date. See       9; Hulu,
                                                        Hulu, 13. It also
                                                              13. It also bears
                                                                          bears
Akorn’s corporate
Akorn's corporate insignia. EX1004, 5.
                  insignia. EX1004,    Additional evidence
                                    5. Additional evidence confirms these
                                                           confirms these
dates are reliable.
dates are           EX1056-58.”); 33 ("Public
          reliable. EX1056-58.");    (“Public records
                                              records from DailyMed, part
                                                      from DailyMed,      of
                                                                     part of
the NIH'
the NIH’ss National
           National Library
                    Library of Medicine, show
                            of Medicine, show that
                                              that EX1004
                                                   EX1004 was
                                                          was posted
                                                              posted
publicly on July
publicly on      24, 2014.
            July 24, 2014.”).
                           "). Whether
                               Whether aa P
                                          POSA
                                            OSA could
                                                could have searched this
                                                      have searched this
way
way for
    for labels
        labels published before the
               published before the critical
                                    critical date
                                             date is
                                                  is irrelevant; Petitioner is
                                                     irrelevant; Petitioner is
only
only using the evidence
     using the          to show
               evidence to show that
                                that Alcorn
                                     Akorn was,
                                            was, in
                                                 in fact,
                                                    fact, published
                                                          published in
                                                                    in July
                                                                       July
2014, before
2014, before the
             the critical
                 critical date
                          date on
                               on aa searchable
                                     searchable website.
                                                website. See
                                                         See id. Patent Owner
                                                             id. Patent Owner
does
does not
     not dispute that DailyMed
         dispute that DailyMed was
                               was searchable by drug
                                   searchable by drug name,
                                                      name, which would
                                                            which would
be the
be the logical
       logical way
               way aa P
                      POSA  would search
                        OSA would search such
                                         such aa database
                                                 database for
                                                          for information
                                                              information for
                                                                          for
aa drug
   drug of
        of interest.
           interest.
       Petitioner also
       Petitioner also provides
                       provides further
                                further evidence that the
                                        evidence that the Alcorn
                                                          Akorn label
                                                                 label was
                                                                       was
published
published on
          on July 24, 2014,
             July 24, 2014, through
                            through aa response by the
                                       response by the National
                                                       National Library
                                                                Library of
                                                                        of
Medicine ("NLM")
Medicine (“NLM”) to
                 to aa Freedom
                       Freedom of Information Act
                               of Information Act request.
                                                  request. See Ex. 1071.
                                                           See Ex. 1071.
In this Freedom
In this Freedom of
                of Information
                   Information Act
                               Act request, Petitioner asked
                                   request, Petitioner asked for written
                                                             for written
confirmation that the
confirmation that the substance
                      substance of
                                of the
                                   the Alcorn
                                       Akorn label  was posted
                                              label was posted on
                                                               on July 24,
                                                                  July 24,
2014 on
2014    the DailyMed
     on the DailyMed website. Id. The
                     website. Id.     National Institutes
                                  The National Institutes of Health
                                                          of Health
(“NIH”) responded
("NIH")           that version
        responded that version 77 of
                                  of the
                                     the Alcorn
                                         Akorn label  was published
                                                label was published on
                                                                    on
DailyMed on
DailyMed on July 24, 2014,
            July 24, 2014, and
                           and provided the URL
                               provided the URL that
                                                that is
                                                     is reflected
                                                        reflected in the
                                                                  in the
Akorn label
Alcorn label in Exhibit 1057
             in Exhibit 1057 from the DailyMed
                             from the DailyMed website.
                                               website. See Ex. 1072,
                                                        See Ex.       6;
                                                                1072, 6;

                                       24
                                       24
                                  Appx000024
                                  Appx000024
        Case: 23-2402       Document: 15   Page: 81    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
Ex. 1057,
Ex. 1057, 4–7. NIH also
          4-7. NIH also confirmed that NLM
                        confirmed that NLM "received
                                           “received version
                                                     version 77 of this
                                                                of this
label
label from the FDA
      from the FDA on
                   on 07/24/2014
                      07/24/2014 @ 2:15:04 PM,"
                                 @ 2:15:04 PM,” "published
                                                “published version
                                                           version 77 on
                                                                      on
DailyMed on
DailyMed    the same
         on the same day,
                     day, 07/24/2014
                          07/24/2014 @
                                     @ 14:59:48 PM,” and
                                       14:59:48 PM," and confirmed
                                                         confirmed
that "NLM
that “NLM does
          does not
               not make
                   make changes to the
                        changes to the content
                                       content contained within any
                                               contained within any SPL
                                                                    SPL
[or structured
[or structured product
               product labeling]
                       labeling] records that itit receives
                                 records that      receives from the FDA."
                                                            from the FDA.”
Ex. 1072,
Ex. 1072, 6.
          6. We
             We find that Petitioner
                find that Petitioner has
                                     has provided
                                         provided more than sufficient
                                                  more than sufficient
evidence that the
evidence that the Alcorn
                  Akorn label
                         label reflected
                               reflected in Ex. 1004
                                         in Ex.      was publicly
                                                1004 was publicly available
                                                                  available
before the
before the critical
           critical date.
                    date.
      For the
      For the reasons
              reasons set
                      set forth
                          forth above,
                                above, we determine that
                                       we determine that Petitioner
                                                         Petitioner has
                                                                    has
shown by aa preponderance
shown by    preponderance of the evidence
                          of the          that Alcorn,
                                 evidence that Akorn, Ex.
                                                       Ex. 1004,
                                                           1004, is
                                                                 is aa printed
                                                                       printed
publication that was
publication that was publicly
                     publicly available before the
                              available before the critical
                                                   critical date.
                                                            date.

               b) Patent Owner’s
               b) Patent          Motion to
                         Owner 's Motion    Exclude Evidence
                                         to Exclude Evidence
      Patent Owner
      Patent       moves to
             Owner moves to exclude
                            exclude from
                                    from evidence the Declaration
                                         evidence the Declaration of
                                                                  of
Dr. Byrn
Dr. Byrn (Ex
         (Ex. 1002), Exhibits 1004
              1002), Exhibits 1004 and 1057 that
                                   and 1057 that constitute the Alcorn
                                                 constitute the Akorn
labels, and Exhibits
labels, and Exhibits 1079 through 1088
                     1079 through      that Petitioner
                                  1088 that Petitioner submitted
                                                       submitted with
                                                                 with its
                                                                      its
Reply. Mot.
Reply. Mot. to
            to Exclude
               Exclude 2.
                       2. Petitioner
                          Petitioner filed
                                     filed an Opposition (Paper
                                           an Opposition (Paper 30,
                                                                30, "Opp.
                                                                    “Opp.
to Mot.
to Mot. to
        to Exclude"),
           Exclude”), and
                      and Patent
                          Patent Owner
                                 Owner filed
                                       filed aa Reply
                                                Reply (Paper
                                                      (Paper 32,
                                                             32, "Reply
                                                                 “Reply to
                                                                        to
Mot. to
Mot. to Exclude").
        Exclude”). For
                   For the
                       the following
                           following reasons, Patent Owner’s
                                     reasons, Patent         Motion to
                                                     Owner's Motion to
Exclude is
Exclude    denied.
        is denied.
      Pursuant to
      Pursuant to our Rules, aa motion
                  our Rules,           to exclude
                                motion to exclude evidence
                                                  evidence must be filed
                                                           must be       to
                                                                   filed to
preserve any previously-made
preserve any previously-made objections to evidence.
                             objections to           37 C.F.R.
                                           evidence. 37 C.F.R. §§ 42.64(c).
                                                                  42.64(c).
The motion must
The motion must identify
                identify where
                         where in the record
                               in the        the objections
                                      record the            were made,
                                                 objections were       and
                                                                 made, and
must
must explain the objections.
     explain the                 Patent Owner
                             Id. Patent
                 objections. Id.              appropriately identifies
                                        Owner appropriately identifies
where
where in the record
      in the record it
                    it previously
                       previously served objections to
                                  served objections to the
                                                       the exhibits
                                                           exhibits it seeks to
                                                                    it seeks to
exclude. Mot. 22 (citing
exclude. Mot.    (citing Papers
                         Papers 12, 22).
                                12, 22).




                                      25
                                      25
                                  Appx000025
                                  Appx000025
        Case: 23-2402       Document: 15       Page: 82     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
       As the
       As the moving
              moving party, Patent Owner
                     party, Patent       bears the
                                   Owner bears the burden
                                                   burden of
                                                          of proof to
                                                             proof to
establish that itit is
establish that      is entitled to the
                       entitled to the requested
                                       requested relief,
                                                 relief, i.e., the exclusion
                                                         i.e., the           of
                                                                   exclusion of
evidence as inadmissible
evidence as inadmissible under the Federal
                         under the Federal Rules
                                           Rules of Evidence ("FRE").
                                                 of Evidence (“FRE”). See
                                                                      See
37 C.F.R.
37 C.F.R. §§
          §§ 42.20(c),
             42.20(c), 42.64(a).
                       42.64(a).

                      (1) Dr. Byrn's
                      (1) Dr. Byrn’s Testimony
                                     Testimony (Ex. 1002)
                                               (Ex. 1002)
        Patent Owner
        Patent Owner challenges Dr. Byrn's
                     challenges Dr. Byrn’s testimony
                                           testimony under FRE 702
                                                     under FRE     as not
                                                               702 as not
based on
based on sufficient “scientific knowledge,”
         sufficient "scientific knowledge," not based on
                                            not based    “sufficient facts
                                                      on "sufficient facts or
                                                                           or
data,” and not
data," and     “the product
           not "the         of reliable
                    product of reliable principles” and methods
                                        principles" and         “reliably
                                                        methods "reliably
applied” to the
applied" to the facts
                facts of this proceeding.
                      of this             Mot. to
                              proceeding. Mot. to Exclude
                                                  Exclude 2.
                                                          2.

                       (a) Requisite Scientific
                       (a) Requisite Scientific Knowledge
                                                Knowledge
       For instance,
       For           although Dr.
           instance, although Dr. Byrn
                                  Byrn agrees
                                       agrees that
                                              that the
                                                   the ’787
                                                       '787 patent
                                                            patent is
                                                                   is
“directed to
"directed to the
             the field of ophthalmic
                 field of ophthalmic compositions and ophthalmic
                                     compositions and ophthalmic solutions,"
                                                                 solutions,”
Patent Owner
Patent       asserts that
       Owner asserts that Dr.
                          Dr. Byrn's
                              Byrn’s curriculum vitae (Ex.
                                     curriculum vitae (Ex. 1002, Appendix
                                                           1002, Appendix
A) "provides
A) “provides no
             no indication that Dr.
                indication that Dr. Byrn
                                    Byrn has
                                         has any
                                             any expertise
                                                 expertise in ophthalmic
                                                           in ophthalmic
formulation.” Mot. to
formulation." Mot. to Exclude
                      Exclude 2-3
                              2–3 (citing
                                  (citing Ex.
                                          Ex. 2009,
                                              2009, 97:19-98:14,
                                                    97:19–98:14, 104:20–
                                                                 104:20-
106:5). Patent Owner
106:5). Patent Owner further states:
                     further states:
       During his
       During  his deposition,  Dr. Byrn
                   deposition, Dr.   Byrn identified   brief eyedrop
                                           identified brief  eyedrop forays
                                                                      forays
       (none significant
       (none  significant enough
                           enough to  to merit
                                         merit mention
                                                 mention in  in his
                                                                his CV
                                                                     CV oror
       declaration), but could
       declaration), but        not identify
                         could not            any ophthalmic
                                     identify any   ophthalmic product
                                                                 product he
                                                                          he
       formulated  before the
       formulated before  the critical
                               critical date.  Even as
                                        date. Even       of 2021,
                                                      as of 2021, Dr.
                                                                   Dr. Bym
                                                                       Byrn
       never
       never had
              had primary
                    primary responsibility
                             responsibility for
                                              for formulating
                                                    formulating any
                                                                  any drug
                                                                        drug
       product   that has
       product that    has received
                            received regulatory         approval or
                                         regulatory approval       or been
                                                                        been
       commercialized.
       commercialized.
Mot. to
Mot. to Exclude
        Exclude 33 (citing
                   (citing Ex
                           Ex. 2010
                               2010 ¶ 8). Patent Owner
                                      8). Patent Owner also
                                                       also criticized
                                                            criticized
Dr. Byrn's
Dr. Byrn’s alleged
           alleged lack
                   lack of
                        of knowledge
                           knowledge of
                                     of ophthalmic terms such
                                        ophthalmic terms such as
                                                              as
lacrimation. See id.
lacrimation. See id.
       Petitioner responds
       Petitioner          that the
                  responds that the primary
                                    primary focus
                                            focus in
                                                  in evaluating the
                                                     evaluating the
admissibility of testimony
admissibility of testimony under FRE 702
                           under FRE 702 is “whether an
                                         is "whether an expert’s
                                                        expert's opinion
                                                                 opinion


                                          26
                                          26
                                    Appx000026
                                    Appx000026
        Case: 23-2402       Document: 15      Page: 83    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
will assist the
will assist the trier
                trier of
                      of fact,”
                         fact," aa low bar, and
                                   low bar, and many of Patent
                                                many of Patent Owner’s
                                                               Owner's
criticisms
criticisms go to the
           go to the weight to be
                     weight to be accorded
                                  accorded Dr.
                                           Dr. Byrn's
                                               Byrn’s testimony
                                                      testimony rather than
                                                                rather than
its
its admissibility.
    admissibility. Opp. to Mot.
                   Opp. to Mot. to
                                to Exclude
                                   Exclude 1-6.
                                           1–6. In
                                                In applying FRE 702,
                                                   applying FRE 702,
Petitioner asserts
Petitioner         that "Dr.
           asserts that “Dr. Byrn,
                             Byrn, aa professor
                                      professor of
                                                of medicinal
                                                   medicinal chemistry who
                                                             chemistry who
specializes
specializes in
            in drug
               drug formulation,
                    formulation, is
                                 is eminently
                                    eminently qualified to opine
                                              qualified to       about the
                                                           opine about the
straightforward
straightforward formulation
                formulation issues
                            issues presented
                                   presented in this proceeding.”
                                             in this proceeding." Id. at 1.
                                                                  Id. at 1.
       Petitioner asserts
       Petitioner         that Patent
                  asserts that Patent Owner
                                      Owner does
                                            does not
                                                 not contest that Dr.
                                                     contest that Dr. Byrn
                                                                      Byrn
meets Petitioner’s POSA
meets Petitioner's POSA definition (as we
                        definition (as we have
                                          have determined should be
                                               determined should be
applied
applied in this proceeding),
        in this              but even
                proceeding), but even if we required
                                      if we required experience
                                                     experience in
                                                                in
formulating
formulating ophthalmic
            ophthalmic pharmaceuticals, we find
                       pharmaceuticals, we      that Dr.
                                           find that Dr. Byrn
                                                         Byrn has such
                                                              has such
experience. See Opp.
experience. See      to Mot.
                Opp. to Mot. to
                             to Exclude
                                Exclude 2-4;
                                        2–4; Ex
                                             Ex. 1002, Appendix A
                                                 1002, Appendix A ¶¶ 3-
                                                                     3–
10. Petitioner asserts
10. Petitioner asserts that
                       that Dr.
                            Dr. Byrn
                                Byrn testifies
                                     testifies that:
                                               that:
        [H]e  worked as
        [H]e worked    as aa consultant
                             consultant for  Alcon—aa well-known
                                         for Alcon        well-known eye
                                                                       eye care
                                                                            care
        company—on
        company on aa number
                           number of   ophthalmic products,
                                    of ophthalmic    products, including
                                                                 including ones
                                                                           ones
        that were
        that       FDA-approved, prior
             were FDA-approved,             to the
                                      prior to the critical
                                                   critical date.     Ex. 2009,
                                                                  See Ex.
                                                            date. See     2009,
        136:12–137:12.
        136:12-137:12. He    He further  testified that
                                further testified   that he   worked with
                                                          he worked    with eye
                                                                             eye
        drops as part
        drops as  part of Purdue’s Africa
                       of Purdue's   Africa program.
                                             program. Id.Id. at 49:149–50:2.
                                                             at 49:149-50:2.
    at 4.
Id. at
Id.        Petitioner also
       4. Petitioner        asserts that
                      also asserts  that Dr.
                                         Dr. Byrn
                                              Byrn accurately
                                                    accurately described   the term
                                                                 described the term
“lacrimation” in
"lacrimation" in his
                 his deposition. Id. at
                     deposition. Id. at 44 n.2 (citing Ex
                                           n.2 (citing Ex. 2009,
                                                           2009, 49:11–14; Ex.
                                                                 49:11-14; Ex
1002
1002 ¶ 77 (quoting Ex.
       77 (quoting Ex. 1047, 2)).
                       1047, 2)).
       As we
       As we have
             have previously
                  previously determined,
                             determined, aa P
                                            POSA
                                              OSA need
                                                  need not
                                                       not have
                                                           have specific
                                                                specific
experience
experience in ophthalmic formulation.
           in ophthalmic              See Section
                         formulation. See Section II.B. Dr. Byrn
                                                  II.B. Dr. Byrn has
                                                                 has
ample
ample experience to qualify
      experience to         as aa POSA,
                    qualify as    POSA, which
                                        which we
                                              we defined as aa person
                                                 defined as    person
having
having aa Ph.D.
          Ph.D. in
                in chemistry,
                   chemistry, organic
                              organic chemistry,
                                      chemistry, physical
                                                 physical chemistry, or
                                                          chemistry, or
pharmaceutics,
pharmaceutics, with several years
               with several years of
                                  of experience
                                     experience preparing and/or testing
                                                preparing and/or testing
pharmaceutical
pharmaceutical formulations at the
               formulations at the time
                                   time of the purported
                                        of the purported invention. Id.; see
                                                         invention. Id.; see
Ex. 1002
Ex.         3–10. Dr.
    1002 ¶¶ 3-10. Dr. Byrn
                      Byrn has the requisite
                           has the requisite academic background, as
                                             academic background, as well
                                                                     well
as
as extensive
   extensive experience
             experience in
                        in drug
                           drug development
                                development and
                                            and formulation.     Ex. 1002
                                                             See Ex.
                                                formulation. See     1002


                                         27
                                         27
                                   Appx000027
                                   Appx000027
       Case: 23-2402      Document: 15     Page: 84    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
¶¶ 3-10.
   3–10. Dr.
         Dr. Byrn
             Byrn testifies
                  testifies that
                            that his “laboratory has
                                 his "laboratory has done
                                                     done extensive
                                                          extensive research
                                                                    research
on
on drug
   drug formulations, and [he
        formulations, and [he has]
                              has] authored over two
                                   authored over two hundred
                                                     hundred book
                                                             book chapters
                                                                  chapters
and
and peer-reviewed
    peer-reviewed jjournal articles on
                    ournal articles on properties of aa wide
                                       properties of    wide variety
                                                             variety of
                                                                     of
pharmaceutical
pharmaceutical compositions.” Id. ¶¶ 10.
               compositions." Id.    10.
      We also find,
      We also find, however, that Dr.
                    however, that Dr. Byrn
                                      Byrn has
                                           has experience
                                               experience with
                                                          with ophthalmic
                                                               ophthalmic
formulations. Dr. Byrn
formulations. Dr. Byrn testifies
                       testifies that
                                 that he
                                      he has “worked quite
                                         has "worked quite aa bit
                                                              bit with
                                                                  with
eyedrops”
eyedrops" in Purdue’s Africa
          in Purdue's Africa program. Ex. 2009,
                             program. Ex. 2009, 49:21-24.
                                                49:21–24. In
                                                          In his
                                                             his
Declaration, Dr.
Declaration, Dr. Byrn
                 Byrn testifies
                      testifies that
                                that he
                                     he was
                                        was aa co-founder
                                               co-founder of the Sustainable
                                                          of the Sustainable
Medicines in
Medicines    Africa in
          in Africa    the Kilimanjaro
                    in the Kilimanjaro and Arusha regions
                                       and Arusha         of Tanzania
                                                  regions of Tanzania in
                                                                      in
2007. Ex
2007. Ex. 1002
          1002 ¶ 5. Dr. Byrn
                 5. Dr. Byrn describes this program
                             describes this program more
                                                    more extensively
                                                         extensively in
                                                                     in
his
his curriculum vitae as
    curriculum vitae as providing
                        providing educational
                                  educational programs that are
                                              programs that are "aimed
                                                                “aimed at
                                                                       at
providing
providing source of well-trained
          source of              manufacturing scientists
                    well-trained manufacturing scientists for
                                                          for pharmaceutical
                                                              pharmaceutical
industry
industry in
         in Tanzania and Africa,"
            Tanzania and Africa,” and
                                  and including
                                      including aa GMP-level
                                                   GMP -level
pharmaceutical
pharmaceutical manufacturing
               manufacturing facility to teach
                             facility to teach manufacturing
                                               manufacturing under
                                                             under strict
                                                                   strict
quality
quality control,
        control, as well as
                 as well as aa quality medicines laboratory
                               quality medicines laboratory equipped
                                                            equipped with
                                                                     with
HPLCs. Ex
HPLCs. Ex. 1002, Appendix, 101.
           1002, Appendix,      Dr. Byrn
                           101. Dr. Byrn also
                                         also testifies
                                              testifies that
                                                        that he
                                                             he consulted
                                                                consulted
with Alcon on
with Alcon on aa number
                 number of
                        of ophthalmic
                           ophthalmic drug
                                      drug products although he
                                           products although    was not
                                                             he was not
primarily
primarily responsible
          responsible for their formulation.
                      for their                  Ex. 2009,
                                             See Ex.
                                formulation. See     2009, 136:12–20.
                                                           136:12-20.
      We
      We find Dr. Byrn's
         find Dr. Byrn’s alleged
                         alleged lack
                                 lack of “primary” responsibility
                                      of "primary" responsibility for the
                                                                  for the
formulation
formulation of an ophthalmic
            of an ophthalmic product to be
                             product to be somewhat
                                           somewhat of
                                                    of aa red
                                                          red herring
                                                              herring in
                                                                      in
assessing whether Dr.
assessing whether Dr. Byrn
                      Byrn has “expertise in
                           has "expertise    ophthalmic formulation”
                                          in ophthalmic formulation" as
                                                                     as
Patent Owner
Patent       asserts should
       Owner asserts should be
                            be required.     Mot. to
                                         See Mot.
                               required. See      to Exclude
                                                     Exclude 2-3.
                                                             2–3. In
                                                                  In
response to questions
response to           about whether
            questions about whether Dr.
                                    Dr. Byrn
                                        Byrn ever
                                             ever had
                                                  had primary
                                                      primary
responsibility
responsibility for
               for formulating
                   formulating aa drug
                                  drug product that has
                                       product that has received
                                                        received regulatory
                                                                 regulatory
approval, Dr. Byrn
approval, Dr. Byrn testifies
                   testifies that
                             that he
                                  he has “been on
                                     has "been on aa team
                                                     team that
                                                          that formulated
                                                               formulated drug
                                                                          drug
products
products for both for
         for both for commercial sale and
                      commercial sale and IND testing.” Ex
                                          IND testing." Ex. 2009,
                                                            2009, 134:19–
                                                                  134:19-
24. Dr.
24. Dr. Byrn
        Byrn also
             also pointed
                  pointed out
                          out what
                              what he
                                   he considered to be
                                      considered to be aa false
                                                          false premise
                                                                premise in
                                                                        in

                                      28
                                      28
                                 Appx000028
                                 Appx000028
        Case: 23-2402        Document: 15        Page: 85     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
the questions
the questions related to "primary"
              related to “primary” responsibility
                                   responsibility for
                                                  for drug
                                                      drug formulation.
                                                           formulation.
Dr. Byrn
Dr. Byrn testifies:
         testifies:
       II have  been aa consultant
          have been      consultant on
                                     on aa large
                                            large number
                                                  number of  of products   that
                                                                products that
       came
        came onon the
                  the market
                       market and
                                and II worked
                                       worked in in aa team,
                                                       team, and
                                                              and my    work was
                                                                   my work    was —–
       part  of the
        part of the work
                    work waswas critical
                                 critical for
                                           for certain
                                               certain specifications     and
                                                         specifications and
       certain
        certain marketing
                marketing steps,     but II don’t
                              steps, but           believe that
                                            don't believe    that in this day
                                                                  in this day and
                                                                              and
       age
        age aa person
               person isis primarily
                           primarily responsible
                                      responsible for     bringing aa drug
                                                      for bringing     drug on  the
                                                                             on the
       market;
        market; it’s
                 it's aa team
                         team activity.
                               activity.
    at 135:15–23.
Id. at
Id.    135:15-23. We
                  We credit Dr. Byrn's
                     credit Dr. Byrn’s testimony
                                       testimony here. 12
                                                 here. 12 We also
                                                          We also
determine that Dr.
determine that Dr. Byrn
                   Byrn satisfies the requirements
                        satisfies the requirements for
                                                   for aa POSA
                                                          POSA as
                                                               as we
                                                                  we have
                                                                     have
determined
determined it
           it should be defined,
              should be          without specific
                        defined, without specific expertise
                                                  expertise in
                                                            in ophthalmic
                                                               ophthalmic
formulation, but also
formulation, but also determine that even
                      determine that even if we applied
                                          if we applied Patent
                                                        Patent Owner's
                                                               Owner’s
heightened
heightened standard
           standard requiring such expertise,
                    requiring such            Dr. Byrn
                                   expertise, Dr. Byrn satisfies that
                                                       satisfies that
definition
definition also. Dr. Byrn
           also. Dr. Byrn has the requisite
                          has the requisite scientific
                                            scientific knowledge to serve
                                                       knowledge to       as
                                                                    serve as
an
an expert
   expert for Petitioner.
          for Petitioner.

(b) Sufficiency of
(b) Sufficiency of Underlying Facts and
                   Underlying Facts and Data;
                                        Data; Reliability
                                              Reliability of Principles and
                                                          ofPrinciples  and
              Methods as
              Methods  as Applied
                          Applied to
                                  to Underlying Facts and
                                     Underlying Facts  and Data
                                                            Data
      Patent Owner
      Patent       asserts that
             Owner asserts that Dr.
                                Dr. Byrn's
                                    Byrn’s alleged
                                           alleged inexperience with
                                                   inexperience with
ophthalmic
ophthalmic formulations
           formulations led
                        led him to offer
                            him to offer an
                                         an opinion
                                            opinion not based on
                                                    not based    sufficient
                                                              on sufficient
facts
facts or
      or data or reliable
         data or reliable principles,
                          principles, i.e., that Dr.
                                      i.e., that Dr. Byrn's
                                                     Byrn’s opinion
                                                            opinion that
                                                                    that "Alcorn
                                                                         “Akorn
teaches the
teaches the uses of buffering
            uses of buffering agents
                              agents to
                                     to achieve
                                        achieve aa solution
                                                   solution pH
                                                            pH range of 3.5
                                                               range of 3.5 to
                                                                            to
6.0 were ‘premised’
6.0 were `premised' on an undisclosed
                    on an             assumption that
                          undisclosed assumption that the
                                                      the buffering
                                                          buffering range
                                                                    range
of the weak
of the      acid extends
       weak acid         ±2 pH
                 extends ±2 pH units away from
                               units away from its
                                               its pK a.” Mot.
                                                   pKa."  Mot. to
                                                               to Exclude
                                                                  Exclude 44



12 We
12
   We also
       also find that Dr.
            find that Dr. Byrn
                          Byrn was
                                was clearly
                                     clearly familiar  with the
                                             familiar with  the term
                                                                term
“lacrimation,”  which   means  “the secretion  of tears especially
"lacrimation," which means "the secretion of tears especially when when
abnormal
abnormal oror excessive,”  but chose
              excessive," but         to use
                               chose to      the word
                                         use the word "tearing"
                                                        “tearing” instead.  See
                                                                  instead. See
Ex. 2009,
Ex.  2009, 49:3–14;       also https://www.merriam-
                      see also
           49:3-14; see        https://www.merriam-
webster.com/dictionary/lacrimation      (accessed June
webster. com/dictionary/lacrimation (accessed      June 25,
                                                         25, 2023)
                                                             2023) (defining
                                                                    (defining
lacrimation).
lacrimation).

                                            29
                                            29
                                     Appx000029
                                     Appx000029
        Case: 23-2402     Document: 15       Page: 86    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
(citing PO
(citing PO Resp.
           Resp. 39-40;
                 39–40; Ex.
                        Ex. 2009,
                            2009, 96:5–97:4; Ex. 1002
                                  96:5-97:4; Ex. 1002 ¶¶ 20,
                                                         20, 24,
                                                             24, 65-66,
                                                                 65–66,
80,
80, 87, 94–95, 99,
    87, 94-95, 99, 154–55, 158, 167,
                   154-55, 158, 167, 171, 200, 201,
                                     171, 200, 201, 208,
                                                    208, 214,
                                                         214, 220).
                                                              220). Patent
                                                                    Patent
Owner also asserts
Owner also asserts Dr.
                   Dr. Byrn's
                       Byrn’s assumption
                              assumption has been shown
                                         has been       to be
                                                  shown to be incorrect
                                                              incorrect in
                                                                        in
aa district
   district court
            court proceeding
                  proceeding in which he
                             in which    testified. See
                                      he testified.     Mot. to
                                                    See Mot. to Exclude
                                                                Exclude 4–7.
                                                                        4-7.
      Petitioner counters
      Petitioner          that Dr.
                 counters that Dr. Byrn's
                                   Byrn’s opinions are based
                                          opinions are based on
                                                             on sufficient
                                                                sufficient
facts and data
facts and      and are
          data and are reliable. Opp. to
                       reliable. Opp. to Mot.
                                         Mot. to
                                              to Exclude
                                                 Exclude 5–6. As an
                                                         5-6. As an
example, Petitioner points
example, Petitioner        to Dr.
                    points to Dr. Byrn's
                                  Byrn’s reliance on Remington
                                         reliance on Remington (Ex.
                                                               (Ex. 1019),
                                                                    1019),
which Dr. Laskar
which Dr. Laskar admits
                 admits is
                        is aa formulator’s “bible,” to
                              formulator's "bible," to establish that
                                                       establish that
“Remington means
"Remington means exactly what itit says:
                 exactly what            buffer capacity
                                   says: buffer capacity represents
                                                         represents aa
compromise between stability
compromise between           and comfort,
                   stability and comfort, and thus aa buffer
                                          and thus    buffer with
                                                             with
diminished
diminished capacity (e.g., the
           capacity (e.g., the one
                               one provided by sodium
                                   provided by sodium phosphate salts)
                                                      phosphate salts)
should be used.”
should be used." Opp. to Mot.
                 Opp. to Mot. to
                              to Exclude
                                 Exclude 55 (citing
                                            (citing Ex.
                                                    Ex. 2003
                                                        2003 ¶¶ 62–63;
                                                                62-63;
Ex. 1002
Ex.      ¶¶ 97–98).
    1002 ¶¶ 97-98).
      Petitioner also
      Petitioner also points to support
                      points to support for Dr. Byrn's
                                        for Dr. Byrn’s opinion that sodium
                                                       opinion that sodium
phosphate salts "can
phosphate salts “can still buffer outside
                     still buffer outside of ± 11 unit
                                          of ±         away from
                                                  unit away      their pK
                                                            from their    a” in
                                                                       pKa"  in
the "reliable
the “reliable scientific
              scientific literature that Patent
                         literature that Patent Owner
                                                Owner seeks to preclude
                                                      seeks to          the
                                                               preclude the
Board from
Board from considering.”
           considering." Opp. to Mot.
                         Opp. to Mot. to
                                      to Exclude
                                         Exclude 66 (citing
                                                    (citing Exs.
                                                            Exs. 1079-1083
                                                                 1079–1083
(buffer recipes
(buffer recipes using the claimed
                using the claimed sodium
                                  sodium phosphate
                                         phosphate salts below pH
                                                   salts below    6.0)).
                                                               pH 6.0)).
Finally, Petitioner
Finally, Petitioner asserts
                    asserts that
                            that Dr.
                                 Dr. Byrn's
                                     Byrn’s testimony
                                            testimony in the district
                                                      in the district court
                                                                      court
proceeding
proceeding is
           is inapposite because
              inapposite because
      The
      The primary
           primary legal
                     legal issue
                           issue in that case
                                 in that case dealt with infringement
                                              dealt with infringement under
                                                                        under
      the doctrine
      the            of equivalents,
           doctrine of  equivalents, andand whether
                                            whether aa generic
                                                         generic company’s
                                                                  company's
      “proposed product
      "proposed    product contains
                             contains an
                                       an equivalent  to the
                                          equivalent to   the ‘buffer’ of the
                                                              `buffer' of the
      claims[.]”       Ex. 2010,
                  See Ex.
      claims[. ]" See       2010, 2.
                                   2. Unlike
                                       Unlike here, the alternative
                                              here, the alternative excipient
                                                                    excipient
      that the
      that  the generic
                generic company
                         company contended        was aa buffer
                                      contended was       buffer had
                                                                 had not   be
                                                                       not be
      identified,
      identified, disclosed,   and claimed
                  disclosed, and    claimed asas such by the
                                                 such by   the patentee.  See
                                                               patentee. See
      Ex. 1001
      Ex.        (claim 7).
           1001 (claim   7).
    at 6-7.
Id. at
Id.    6–7.



                                        30
                                        30
                                  Appx000030
                                  Appx000030
        Case: 23-2402      Document: 15      Page: 87    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
      We agree with
      We agree with Petitioner
                    Petitioner here that Patent
                               here that Patent Owner's
                                                Owner’s concerns about the
                                                        concerns about the
sufficiency
sufficiency of the support
            of the support for Dr. Byrn's
                           for Dr. Byrn’s opinions
                                          opinions goes
                                                   goes more to the
                                                        more to the weight
                                                                    weight to
                                                                           to
be accorded
be          such opinions
   accorded such opinions rather than aa need
                          rather than         to exclude
                                         need to exclude such
                                                         such opinions. See
                                                              opinions. See
TPG
TPG 40–41,
    40-41, 79 (“A motion
           79 ("A        to exclude
                  motion to exclude must
                                    must explain why the
                                         explain why the evidence
                                                         evidence is
                                                                  is not
                                                                     not
admissible (e.g., relevance
admissible (e.g., relevance or
                            or hearsay) but may
                               hearsay) but may not be used
                                                not be      to challenge
                                                       used to           the
                                                               challenge the
sufficiency
sufficiency of the evidence
            of the          to prove
                   evidence to prove aa particular
                                        particular fact.”).
                                                   fact."). We also note
                                                            We also      that
                                                                    note that
the findings
the findings in the district
             in the district court
                             court litigation are based
                                   litigation are based on
                                                        on aa different
                                                              different record that
                                                                        record that
is
is not before us
   not before us here. For instance,
                 here. For           the district
                           instance, the district court
                                                  court relies on aa Lewis
                                                        relies on    Lewis
reference and aa Harris
reference and    Harris reference that is
                        reference that is not before us
                                          not before    and testimony
                                                     us and testimony from
                                                                      from
Dr. Richard
Dr. Richard Moreton
            Moreton that
                    that is
                         is also
                            also not before us
                                 not before us here.
                                               here. See Ex. 2010
                                                     See Ex. 2010 ¶¶
                                                                  ¶¶ 63–69.
                                                                     63-69.
Therefore, we determine
Therefore, we           that the
              determine that the district
                                 district court’s
                                          court's findings are not
                                                  findings are     sufficiently
                                                               not sufficiently
probative
probative of the questions
          of the           before us
                 questions before us here.
                                     here.
      Also, the
      Also, the district
                district court’s
                         court's findings are not
                                 findings are not as
                                                  as definitive as Patent
                                                     definitive as Patent Owner
                                                                          Owner
states.
states. The
        The patent
            patent owner
                   owner in the district
                         in the district court
                                         court case attempted to
                                               case attempted to prove
                                                                 prove
infringement by the
infringement by the doctrine of equivalents
                    doctrine of equivalents for
                                            for aa formulation that did
                                                   formulation that did not
                                                                        not
expressly
expressly contain
          contain aa buffer,
                     buffer, but
                             but that
                                 that itit argued
                                           argued inherently
                                                  inherently contained
                                                             contained aa buffer
                                                                          buffer
from the chemical
from the chemical disassociation of the
                  disassociation of the active
                                        active ingredient
                                               ingredient in the product.
                                                          in the          See
                                                                 product. See
Ex. 2010,
Ex. 2010, 64–65.
          64-65. The
                 The district
                     district court
                              court found that patent
                                    found that patent owner
                                                      owner failed to prove
                                                            failed to prove
that this
that this actually occurs in
          actually occurs    the accused
                          in the accused product.     at 65.
                                                  Id. at
                                         product. Id.    65. The
                                                             The district
                                                                 district court
                                                                          court
case
case is
     is in stark contrast
        in stark          with the
                 contrast with the underlying
                                   underlying facts
                                              facts of this proceeding
                                                    of this proceeding in which
                                                                       in which
the prior
the       art formulation
    prior art formulation expressly
                          expressly contains the same
                                    contains the      buffers as
                                                 same buffers as claimed
                                                                 claimed in
                                                                         in
the ’787
the '787 patent.     Ex. 1001,
                 See Ex.
         patent. See     1001, 98:7–10 (claim 7);
                               98:7-10 (claim     Ex. 1004,
                                              7); Ex.       3.
                                                      1004, 3.

                                 (c)
                                 (c) Conclusion
                                     Conclusion
      Based on
      Based on the
               the foregoing, we deny
                   foregoing, we      Patent Owner's
                                 deny Patent Owner’s motion to exclude
                                                     motion to exclude
Exhibit 1002,
Exhibit       Dr. Byrn's
        1002, Dr. Byrn’s testimony.
                         testimony.




                                        31
                                        31
                                  Appx000031
                                  Appx000031
       Case: 23-2402      Document: 15       Page: 88     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
                 (2)
                 (2) The Akorn Labels
                     The Akorn Labels (Exs. 1004 and
                                      (Exs. 1004 and 1057)
                                                     1057)
      Patent Owner
      Patent       asserts that
             Owner asserts that Exhibits
                                Exhibits 1004 and 1057
                                         1004 and      should be
                                                  1057 should be excluded
                                                                 excluded
because Petitioner
because Petitioner failed to show
                   failed to show that
                                  that Exhibit
                                       Exhibit 1004 (Akorn) was
                                               1004 (Alcorn) was publicly
                                                                 publicly
available before the
available before the critical
                     critical date, and Exhibit
                              date, and Exhibit 1057
                                                1057 is
                                                     is deficient to show
                                                        deficient to show such
                                                                          such
public
public availability of Exhibit
       availability of Exhibit 1004. Mot. to
                               1004. Mot. to Exclude
                                             Exclude 7–8.
                                                     7—8.
      We
      We have
         have previously addressed these
              previously addressed these issues
                                         issues in
                                                in our
                                                   our determination
                                                       determination of the
                                                                     of the
prior art status
prior art status of Akorn, Ex
                 of Alcorn, Ex. 1004,
                                1004, set
                                      set forth above. See
                                          forth above. See Section II.D.4.a).
                                                           Section II.D.4. a).
For these
For these same
          same reasons,
               reasons, we      Patent Owner’s
                           deny Patent
                        we deny        Owner's motion to exclude
                                               motion to         Exhibits
                                                         exclude Exhibits
1004
1004 and
     and 1057.
         1057.

                            (3) Exhibits 1079-1088
                            (3) Exhibits 1079–1088
      Patent Owner
      Patent       moves to
             Owner moves to exclude Exhibits 1079
                            exclude Exhibits      through 1088
                                             1079 through 1088
submitted with Petitioner's
submitted with Petitioner’s Reply.
                            Reply. See Mot. to
                                   See Mot. to Exclude
                                               Exclude 2,
                                                       2, 8–15. Patent
                                                          8-15. Patent
Owner asserts that
Owner asserts that these
                   these exhibits should have
                         exhibits should      been submitted
                                         have been submitted with the
                                                             with the
Petition and
Petition and are
             are untimely. Id. at
                 untimely. Id. at 8. Patent Owner
                                  8. Patent       also asserts
                                            Owner also         that Dr.
                                                       asserts that Dr. Byrn
                                                                        Byrn
did
did not “elect to
    not "elect to submit
                  submit aa Reply
                            Reply declaration,
                                  declaration, rely
                                               rely upon any of
                                                    upon any of these
                                                                these
documents,
documents, or testify that
           or testify that any
                           any of
                               of them
                                  them are
                                       are the
                                           the kinds
                                               kinds of
                                                     of documents an expert
                                                        documents an expert
in
in his
   his field (much less
       field (much less aa P
                           POSA
                             OSA in the field
                                 in the       of the
                                        field of the invention) would rely
                                                     invention) would rely
upon.” Id.
upon." Id.
      Petitioner asserts
      Petitioner         that these
                 asserts that these documents were presented
                                    documents were           to Dr.
                                                   presented to Dr. Laskar
                                                                    Laskar at
                                                                           at
his
his deposition to rebut
    deposition to       Patent Owner's
                  rebut Patent Owner’s assertions
                                       assertions that
                                                  that "two
                                                       “two common
                                                            common
buffering agents,
buffering agents, sodium
                  sodium dihydrogen
                         dihydrogen phosphate and disodium
                                    phosphate and disodium hydrogen
                                                           hydrogen
phosphate—identified and claimed
phosphate identified and         by the
                         claimed by the ’787
                                        '787 patent as buffering
                                             patent as buffering agents
                                                                 agents—
are
are not buffers in
    not buffers    the claimed
                in the claimed range
                               range of about 4.8
                                     of about     to about
                                              4.8 to about 6.4.” Opp. to
                                                           6.4." Opp. to Mot.
                                                                         Mot.
to Exclude
to Exclude 10-11
           10–11 (citing
                 (citing PO
                         PO Resp.
                            Resp. 35-36;
                                  35–36; Ex
                                         Ex. 2003
                                             2003 ¶ 56).
                                                    56).
      Our
      Our Trial Practice Guide
          Trial Practice Guide states that:
                               states that:
             Petitioner may
             Petitioner         not submit
                           may not  submit new
                                            new evidence
                                                 evidence or or argument
                                                                argument in in
      reply that itit could
      reply that      could have
                            have presented
                                 presented earlier,
                                           earlier, e.g. to make
                                                    e.g. to make out
                                                                 out aa prima
                                                                        prima

                                        32
                                        32
                                  Appx000032
                                  Appx000032
       Case: 23-2402      Document: 15       Page: 89    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
      facie
      facie case
            case of
                 of unpatentability.
                    unpatentability. A A party
                                         party may
                                               may also submit rebuttal
                                                   also submit rebuttal
      evidence
      evidence in
                in support
                   support of
                           of its
                              its reply.
                                  reply.
Patent Trial
Patent Trial and Appeal Board
             and Appeal Board Consolidated
                              Consolidated Trial Practice Guide
                                           Trial Practice Guide 73 (Nov.
                                                                73 (Nov.
2019) (citing
2019) (citing Belden
              Belden Inc.
                     Inc. v. Berk-Tek LLC, 805
                          v. Berk-TekLLC,      F.3d
                                           805 F     1064, 1077-78
                                                 .3d 1064, 1077–78 (Fed.
                                                                   (Fed.
Cir. 2015).
Cir. 2015).
      Here, we
      Here, we find that Exhibits
               find that Exhibits 1079 through 1088
                                  1079 through 1088 are appropriate rebuttal
                                                    are appropriate rebuttal
evidence. Petitioner uses
evidence. Petitioner      these exhibits
                     uses these          to test
                                exhibits to test Dr.
                                                 Dr. Laskar's
                                                     Laskar’s opinions
                                                              opinions
concerning the buffering
concerning the buffering range
                         range for
                               for sodium
                                   sodium dihydrogen
                                          dihydrogen phosphate and
                                                     phosphate and
disodium
disodium hydrogen
         hydrogen phosphate. See generally
                  phosphate. See           Ex. 1078,
                                 generally Ex  1078, 91–189.
                                                     91-189. 13 As the
                                                             1' As the
Federal Circuit
Federal Circuit noted
                noted in         there is
                         Belden, there
                      in Belden,       is no bright-line demarcation
                                          no bright-line             between
                                                         demarcation between
support
support for Petitioner’s prima
        for Petitioner's prima facie
                               facie case and rebuttal
                                     case and rebuttal evidence. For instance,
                                                       evidence. For instance,
the Federal
the Federal Circuit
            Circuit stated that using
                    stated that using rebuttal
                                      rebuttal evidence as support
                                               evidence as support for the
                                                                   for the
prima
prima facie
      facie case
            case does
                 does not
                      not necessarily mean that
                          necessarily mean that is was "necessary"
                                                is was “necessary” for the
                                                                   for the
prima
prima facie
      facie case
            case requiring
                 requiring it to be
                           it to be in the Petition.
                                    in the Petition.
      Evidence admitted
      Evidence   admitted inin rebuttal  to respond
                               rebuttal to  respond toto the
                                                          the patent
                                                               patent owner’s
                                                                      owner's
      criticisms
      criticisms will
                  will commonly
                        commonly confirm
                                    confirm thethe prima
                                                   prima facie
                                                            facie case.
                                                                   case. That
                                                                          That
      does
      does not
            not make
                make itit necessary to the
                          necessary to  the prima
                                            prima facie
                                                   facie case.   And nothing
                                                          case. And    nothing
      required  the Board
      required the  Board toto write
                               write its
                                      its opinion  to separate
                                          opinion to   separate the
                                                                  the material
                                                                      material
      offered  by [petitioner]
      offered by  [petitioner] at
                               at different
                                  different stages
                                             stages of  the proceeding.
                                                    of the   proceeding.
    Belden, 805
See Belden,
See             F.3d at
            805 F.3d at 1079.
                        1079.
      For these
      For these reasons, we deny
                reasons, we      Patent Owner's
                            deny Patent Owner’s motion to exclude
                                                motion to         Exhibits
                                                          exclude Exhibits
1079 through 1088.
1079 through 1088.




13
   In response
13 In          to Patent
      response to Patent Owner’s    Objections to
                          Owner's Objections    to Evidence,
                                                   Evidence, Petitioner
                                                              Petitioner also
                                                                         also
provided
provided aa Declaration
            Declaration of
                         of Rebecca
                            Rebecca L.L. Baker,
                                         Baker, aa Research
                                                   Research Analyst
                                                             Analyst at
                                                                      at the
                                                                         the law
                                                                             law
firm
firm representing  Petitioner, attesting
      representingPetitioner,  attesting to
                                         to the
                                            the authenticity
                                                authenticity of Exhibits 1079,
                                                             of Exhibits  1079,
1081–1085.
1081-1085. See    Ex. 1095.
              See Ex. 1095.


                                        33
                                        33
                                  Appx000033
                                  Appx000033
        Case: 23-2402       Document: 15       Page: 90     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
                                     c)
                                     c) Claim 1
                                        Claim 1
       Petitioner asserts
       Petitioner         that claim
                  asserts that claim 1
                                     1 recites
                                       recites elements
                                               elements previously
                                                        previously known
                                                                   known in
                                                                         in
Chia and Alcorn:
Chia and Akorn: "Chia's
                 “Chia’s low-concentration
                         low-concentration atropine
                                           atropine formulation,
                                                    formulation, combined
                                                                 combined
with Akorn’s buffering
with Alcorn's buffering agents
                        agents to
                               to provide
                                  provide an aqueous atropine
                                          an aqueous atropine solution with aa
                                                              solution with
pH
pH range that was
   range that was well
                  well known to be
                       known to be desirable
                                   desirable for treating myopia.”
                                             for treating          Pet. 23.
                                                          myopia." Pet. 23.
The
The claimed “stabilized” atropine
    claimed "stabilized"          solution of
                         atropine solution of claim
                                              claim 1, Petitioner asserts,
                                                    1, Petitioner asserts, is
                                                                           is
an
an expected
   expected result of the
            result of the combination of Chia’s
                          combination of Chia's low-concentration atropine
                                                low-concentration atropine
formulation
formulation and Akorn’s buffering
            and Alcorn's buffering agents.
                                   agents. Id.
                                           Id.
       Petitioner describes
       Petitioner           what itit terms
                  describes what      terms the
                                            the "ample"
                                                “ample” motivation
                                                        motivation to
                                                                   to make
                                                                      make
such
such aa combination and the
        combination and the reasonable
                            reasonable expectation of success
                                       expectation of success for such aa
                                                              for such
combination as follows.
combination as              Pet. 23
                        See Pet.
               follows. See      23 (citing
                                    (citing Ex.
                                            Ex. 1002
                                                1002 ¶¶ 64–78).
                                                        64-78).
      In  2012, Chia
      In 2012,   Chia disclosed     that low-concentration
                        disclosed that                             atropine eye
                                            low-concentration atropine        eye
      drops
      drops effectively  treated myopia
             effectively treated myopia and  and reduced
                                                  reduced patient
                                                           patient compliance
                                                                     compliance
      problems   associated with
      problems associated      with higher
                                      higher concentration
                                                 concentration compositions.
                                                                  compositions.
      Ex. 1003,
      Ex.  1003, 7–8.     Chia's clinical
                  7-8. Chia’s                  success would
                                   clinical success     would have
                                                                 have provided
                                                                        provided
      motivation
      motivation to to make
                         make andand use use low-concentration
                                                 low-concentration atropine
                                                                         atropine
      formulations
      formulations at at optimal
                          optimal pHpH levels
                                           levels for
                                                    for patient
                                                         patient comfort
                                                                   comfort andand
      stability.
      stability. To
                 To determine     the suitable
                      determine the    suitable pH pH levels,
                                                       levels, aa POSA
                                                                  POSA would
                                                                           would
      have
      have looked    to FDA-approved
             looked to   FDA-approved atropineatropine ophthalmic
                                                        ophthalmic solutions.
                                                                       solutions.
      Ex. 1002
      Ex.            65, 87.
           1002 ¶¶ 65,          As aa result,
                           87. As       result, aa POSA
                                                     POSA would
                                                            would have       been
                                                                      have been
      motivated
      motivated toto use    Akorn’s pH
                      use Akorn's     pH range
                                             range of   3.5–6.0 for
                                                     of 3.5-6.0         the low-
                                                                   for the   low-
      concentration
      concentration formulation
                      formulation disclosed
                                     disclosed in  in Chia.
                                                       Chia. AA POSA
                                                                  POSA would
                                                                           would
      have
      have confirmed      that this
             confirmed that    this range
                                      range was       appropriate via
                                                was appropriate     via routine
                                                                          routine
      experimentation
      experimentation andand based
                              based on    the predicted
                                      on the              stability of
                                                predicted stability      atropine
                                                                     of atropine
      at various pHs
      at various pHs disclosed
                       disclosed in   Kondritzer.
                                  in Kondritzer.
Pet. 23-24.
Pet. 23–24.
       Patent Owner
       Patent Owner responds that Alcorn
                    responds that Akorn "does
                                         “does not
                                               not disclose the phosphate
                                                   disclose the phosphate
salts are buffering
salts are buffering agents.
                    agents. Nor
                            Nor does
                                does it
                                     it disclose that the
                                        disclose that the Alcorn
                                                          Akorn product
                                                                 product has
                                                                         has aa
pH
pH range
   range of 3.5–6.0. Each
         of 3.5-6.0. Each of
                          of these
                             these failures
                                   failures is
                                            is case-dispositive,”
                                               case-dispositive," as all
                                                                  as all
grounds
grounds rely
        rely exclusively
             exclusively on Akorn "to
                         on Alcorn “to disclose
                                       disclose aa stabilized atropine
                                                   stabilized atropine
ophthalmic aqueous solution
ophthalmic aqueous solution comprising
                            comprising aa buffering
                                          buffering agent to provide
                                                    agent to provide aa pH
                                                                        pH


                                          34
                                          34
                                    Appx000034
                                    Appx000034
         Case: 23-2402     Document: 15      Page: 91    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
within the claimed
within the claimed range.” PO Resp.
                   range." PO Resp. 1, 26. Patent
                                    1, 26. Patent Owner also asserts
                                                  Owner also asserts that
                                                                     that
Petitioner’s only
Petitioner's only motivation
                  motivation for
                             for making the claimed
                                 making the claimed combinations
                                                    combinations in the
                                                                 in the
’787
'787 patent
     patent results
            results from
                    from improper
                         improper hindsight. See id.
                                  hindsight. See     at 43–52.
                                                 id. at 43-52.

                  (1) Limitations 1
                  (1) Limitations 1[a], 1[b],
                                   [a], 1     1[d],
                                         [b], 1     and 1
                                               [d], and 1[e]
                                                         [e]
       We begin our
       We begin     analysis with
                our analysis with the
                                  the limitations
                                      limitations of
                                                  of claim
                                                     claim 1 that Patent
                                                           1 that Patent
Owner
Owner does
      does not
           not dispute are taught
               dispute are taught by
                                  by the
                                     the prior art. Petitioner
                                         prior art. Petitioner points to both
                                                               points to both
Chia and Alcorn
Chia and Akorn as
                as teaching
                   teaching limitation
                            limitation 1[a]: “[a] stabilized
                                       1[a]: "[a] stabilized ophthalmic
                                                             ophthalmic
composition
composition for treating pre-myopia,
            for treating             myopia or
                         pre-myopia, myopia or progression of myopia."
                                               progression of myopia.”
Pet. 28-29;
Pet. 28–29; see Ex. 1002
            see Ex. 1002 ¶¶
                         ¶¶ 83–87. Chia describes
                            83-87. Chia           the ATOM2
                                        describes the ATOM2 study,
                                                            study,
which "examined
which “examined the
                the effect
                    effect of
                           of lower
                              lower doses of atropine
                                    doses of          to determine
                                             atropine to           whether
                                                         determine whether
these concentrations
these concentrations could
                     could result
                           result in
                                  in efficacy
                                     efficacy in
                                              in preventing myopia
                                                 preventing myopia
progression, with less
progression, with      visual side
                  less visual side effects (i.e., pupil
                                   effects (i.e., pupil dilation,
                                                        dilation, loss of
                                                                  loss of
accommodation, and
accommodation, and near vision blur)."
                   near vision blur).” Ex
                                       Ex. 1003, 1–2. The
                                           1003, 1-2.     treatment phase
                                                      The treatment phase
of the ATOM2
of the ATOM2 study
             study lasted 24 months,
                   lasted 24 months, id.
                                     id. at 2, and
                                         at 2,     “[t]rial medications
                                               and "[t]rial medications
were
were prepackaged so that
     prepackaged so that bottles
                         bottles were
                                 were prelabeled with subject
                                      prelabeled with subject number and of
                                                              number and of
similar appearance. Trial
similar appearance.       medication consisted
                    Trial medication consisted of the appropriate
                                               of the appropriate dose
                                                                  dose of
                                                                       of
atropine sulfate with
atropine sulfate with 0.02% of 50%
                      0.02% of     benzalkonium chloride
                               50% benzalkonium          as aa preservative
                                                chloride as    preservative
. . . .” Id.
       "Id.
       From this
       From this description, Dr. Byrn
                 description, Dr. Byrn testifies
                                       testifies that
                                                 that "the
                                                      “the atropine
                                                           atropine eye
                                                                    eye drops
                                                                        drops
discussed by Chia
discussed by      teach ‘an
             Chia teach `an ophthalmic
                            ophthalmic composition.’”  Ex. 1002
                                       composition. '" Ex. 1002 ¶ 85.
                                                                  85.
Dr. Byrn
Dr. Byrn further testifies that
         further testifies that "a
                                “a P
                                   POSA  would have
                                     OSA would have recognized that Chia’s
                                                    recognized that Chia's
‘prepackaged’
`prepackaged' composition, administered over
              composition, administered      the course
                                        over the course of
                                                        of aa multi-year
                                                              multi-year
study, would almost
study, would almost certainly
                    certainly have
                              have included
                                   included components to reduce
                                            components to reduce
degradation
degradation of atropine—i.e.,
            of atropine i.e., aa P
                                 POSA  would have
                                   OSA would have recognized that the
                                                  recognized that the
formulation
formulation in Chia was
            in Chia     stabilized.” Id.
                    was stabilized." Id. ¶ 86 (citing Ex
                                           86 (citing Ex. 1003, 2). We
                                                          1003, 2).    agree
                                                                    We agree




                                        35
                                        35
                                  Appx000035
                                  Appx000035
        Case: 23-2402        Document: 15       Page: 92     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
with Dr. Byrn's
with Dr. Byrn’s assessment
                assessment of the teachings
                           of the teachings of
                                            of Chia and credit
                                               Chia and credit his
                                                               his
testimony. 14
testimony. 14


       Petitioner relies
       Petitioner relies on Chia for
                         on Chia     teaching limitation
                                 for teaching limitation 1[b]: “from about
                                                         1[b]: "from about
0.001 wt %
0.001 wt % to
           to about
              about 0.05 wt %
                    0.05 wt % of atropine or
                              of atropine    atropine sulfate
                                          or atropine sulfate and
                                                              and water."
                                                                  water.”
Pet. 29-30.
Pet. 29–30. Petitioner
            Petitioner relies on the
                       relies on the statement
                                     statement in
                                               in Chia that "[a]tropine
                                                  Chia that “[a]tropine 0.01 %
                                                                        0.01 %
has
has minimal
    minimal side
            side effects
                 effects compared with atropine
                         compared with          at 0.1
                                       atropine at     % and
                                                   0.1 % and 0.5%, and
                                                             0.5%, and
retains
retains comparable
        comparable efficacy
                   efficacy in
                            in controlling myopia progression,”
                               controlling myopia               as teaching
                                                  progression," as teaching
an
an aqueous
   aqueous 0.01 % atropine
           0.01 % atropine solution that "falls
                           solution that “falls squarely
                                                squarely within the claimed
                                                         within the claimed
range
range of
      of limitation
         limitation 1[b]. Id. at
                    1[b]. Id.    29–30; Ex.
                              at 29-30; Ex. 1002
                                            1002 ¶ 89.
                                                   89.
       We agree with
       We agree with Petitioner
                     Petitioner that
                                that the
                                     the overlap between the
                                         overlap between the concentration
                                                             concentration of
                                                                           of
Chia’s atropine solution
Chia's atropine          and the
                solution and the claimed
                                 claimed range
                                         range establishes
                                               establishes aa prima
                                                              prima facie
                                                                    facie case
                                                                          case
of
of obviousness,
   obviousness, for
                for which Patent Owner
                    which Patent Owner has
                                       has not
                                           not offered any rebuttal.
                                               offered any           See
                                                           rebuttal. See
Genentech, Inc. v.
Genentech, Inc.    Hospira Inc.
                v. Hospira       946 F.3d
                           Inc.,,946 F.3d 1333,
                                          1333, 1341 (Fed. Cir.
                                                1341 (Fed.      2020)
                                                           Cir. 2020)
(citing In
(citing In re           315 F.3d
              Peterson, 315
           re Peterson,     F.3d 1325,
                                 1325, 1329 (Fed. Cir.
                                       1329 (Fed. Cir. 2003)).
                                                       2003)).
       Concerning
       Concerning limitation
                  limitation 1[d]: “the stabilized
                             1[d]: "the            ophthalmic composition
                                        stabilized ophthalmic composition is
                                                                          is
aa liquid,”
   liquid," we agree that
            we agree that both
                          both Chia
                               Chia and
                                    and Alcorn
                                        Akorn teach
                                               teach aqueous,
                                                     aqueous, i.e.,
                                                              i.e., liquid
                                                                    liquid
solutions.     Pet. 32-33
           See Pet.
solutions. See      32–33 (citing
                          (citing Ex.
                                  Ex. 1002
                                      1002 ¶¶ 101–103; Ex. 1004,
                                              101-103; Ex.       1–5;
                                                           1004, 1-5;
Ex. 1003,
Ex. 1003, 1). As Petitioner
          1). As Petitioner states,
                            states, "[b]oth
                                    “[b]oth Chia and Akorn
                                            Chia and Akorn disclose topical
                                                           disclose topical
administration
administration of atropine solutions
               of atropine solutions by
                                     by instillation
                                        instillation of
                                                     of eyedrops,
                                                        eyedrops, and
                                                                  and aa P
                                                                         POSA
                                                                           OSA


14
14Dr. Byrn
  Dr.  Byrn also
              also relies  on Alcorn's
                    relies on  Akorn’s disclosure
                                        disclosure of of "an
                                                         “an FDA-approved,
                                                               FDA-approved,
commercially     available  atropine  sulfate  ophthalmic      solution,”
commercially available atropine sulfate ophthalmic solution," as          as also
                                                                             also
teaching aa stabilized
teaching                 ophthalmic composition
             stabilized ophthalmic    composition for      treating myopia.
                                                       for treating  myopia. Ex.Ex. 1002
                                                                                     1002
¶ 87.  Dr. Byrn
  87. Dr.   Byrn testifies
                  testifies that
                            that "[a]
                                 “[a] P
                                      POSA     would    have   understood
                                        OSA would have understood that Akornthat Akorn
discloses  a  stabilized  ophthalmic   composition
discloses a stabilized ophthalmic composition via       via its
                                                            its disclosure  of several
                                                                disclosure of  several
buffering   agents  to  adjust pH to a  range   of 3.5–6.0,    including
buffering agents to adjust pH to a range of 3.5-6.0, including monobasic  monobasic
sodium
sodium phosphate,
         phosphate, hydrochloric      acid and/or
                        hydrochloric acid   and/or sodium
                                                     sodium hydroxide.”       Id.
                                                                hydroxide." Id.
Because whether
Because              Akorn discloses
          whether Alcorn                buffers or
                             discloses buffers    or aa pH
                                                        pH range
                                                            range of   3.5–6.0 for
                                                                    of 3.5-6.0  for its
                                                                                    its
solution
solution is
          is disputed
             disputed byby Patent
                           Patent Owner,
                                   Owner, we we will
                                                 will address
                                                       address Alcorn's
                                                                 Akorn’s teachings
                                                                           teachings
when
when we    address Patent
      we address     Patent Owner's
                             Owner’s criticisms
                                        criticisms of   Petitioner’s case
                                                    of Petitioner's         below.
                                                                       case below.

                                           36
                                           36
                                     Appx000036
                                     Appx000036
       Case: 23-2402      Document: 15     Page: 93    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
would
would have
      have understood that each
           understood that each solution would be
                                solution would be aa liquid.” Pet. 33
                                                     liquid." Pet. 33 (citing
                                                                      (citing
Ex. 1002
Ex.         102–103; Ex.
    1002 ¶¶ 102-103; Ex. 1019, 49). We
                         1019, 49).    agree with
                                    We agree with Dr.
                                                  Dr. Byrn
                                                      Byrn that
                                                           that aa POSA
                                                                   POSA
would
would have
      have understood that the
           understood that the ophthalmic
                               ophthalmic composition
                                          composition in Chia and
                                                      in Chia and Alcorn
                                                                  Akorn
were
were liquids.
     liquids.
      Limitation 1[e]
      Limitation 1[e] requires that "the
                      requires that “the stabilized
                                         stabilized ophthalmic
                                                    ophthalmic composition
                                                               composition
comprises
comprises less than about
          less than about 10%
                          10% of
                              of aa degradant
                                    degradant formed
                                              formed from
                                                     from degradation
                                                          degradation of
                                                                      of
the atropine
the atropine or atropine sulfate
             or atropine sulfate after an extended
                                 after an extended period of time
                                                   period of time of
                                                                  of at
                                                                     at least 2
                                                                        least 2
weeks
weeks under
      under aa storage
               storage temperature
                       temperature of
                                   of from about 20°
                                      from about 20° C.
                                                     C. to
                                                        to about
                                                           about 70°
                                                                 70° C. and
                                                                     C. and
relative
relative humidity
         humidity from about 50%
                  from about     to about
                             50% to about 80%.” Ex. 1001,
                                          80%." Ex  1001, 97:38–44.
                                                          97:38-44.
Petitioner asserts
Petitioner         that limitation
           asserts that limitation 1[e]
                                   1[e] is “merely an
                                        is "merely an obvious,
                                                      obvious, known, and/or
                                                               known, and/or
inherent
inherent property of the
         property of the obvious
                         obvious formulation
                                 formulation claims
                                             claims in
                                                    in elements
                                                       elements 1[a]–[d].”
                                                                1[a]—[d]."
Pet. 34.
Pet. 34. Petitioner
         Petitioner further
                    further states that the
                            states that the percentage of "a
                                            percentage of “a degradant,”
                                                             degradant," such
                                                                         such
as tropic acid
as tropic acid from the breakdown
               from the breakdown of atropine in
                                  of atropine    an aqueous
                                              in an         solution, "is
                                                    aqueous solution, “is
simply
simply aa property
          property inherent to the
                   inherent to the atropine
                                   atropine or atropine sulfate
                                            or atropine sulfate ophthalmic
                                                                ophthalmic
solution.” Pet. 33
solution." Pet. 33 (citing
                   (citing Ex.
                           Ex. 1002
                               1002 ¶¶ 43,
                                       43, 105). Petitioner relies
                                           105). Petitioner relies on the
                                                                   on the
teachings of
teachings    Kondritzer to
          of Kondritzer to show
                           show that
                                that limitation
                                     limitation 1[d]
                                                l[d] is
                                                     is an
                                                        an inherent
                                                           inherent property
                                                                    property
of the composition,
of the composition, i.e., that the
                    i.e., that the limit
                                   limit on the amount
                                         on the amount of
                                                       of degradation
                                                          degradation products
                                                                      products
under the claimed
under the claimed conditions
                  conditions necessarily
                             necessarily results
                                         results from the claimed
                                                 from the claimed stabilized
                                                                  stabilized
ophthalmic
ophthalmic composition.     Pet. 34;
                        See Pet.
           composition. See      34; see
                                     see In
                                         In re Kao, 639
                                            re Kao,     F.3d 1057,
                                                    639 F.3d 1057, 1070
                                                                   1070
(Fed. Cir.
(Fed. Cir. 2011)
           2011) (determining
                 (determining claim
                              claim limitation
                                    limitation directed to an
                                               directed to an inherent
                                                              inherent
property
property of
         of aa formulation “adds nothing
               formulation "adds         of patentable
                                 nothing of patentable consequence”).
                                                       consequence").
      For instance,
      For           Dr. Byrn
          instance, Dr. Byrn testifies
                             testifies that
                                       that "Kondritzer
                                            “Kondritzer shows
                                                        shows that
                                                              that atropine
                                                                   atropine
degradation
degradation was
            was aa predictable
                   predictable function of pH
                               function of    and temperature.
                                           pH and temperature. Ex
                                                               Ex. 1005,
                                                                   1005, 1,
                                                                         1,
4–5. Kondritzer derives
4-5. Kondritzer         an equation
                derives an          to predict
                           equation to         the pH
                                       predict the    at which
                                                   pH at which atropine
                                                               atropine
would be
would be most stable for
         most stable for any
                         any hydrogen
                             hydrogen ion
                                      ion concentration. Ex. 1005,
                                          concentration. Ex.       2.”
                                                             1005, 2."
Ex. 1002
Ex. 1002 ¶ 106. Dr. Byrn
           106. Dr. Byrn also testifies that
                         also testifies that Kondritzer
                                             Kondritzer shows
                                                        shows in Figure 10
                                                              in Figure 10
that "at
that “at 20°
         20° C and pH
             C and pH 5, the half-life
                      5, the half-life of atropine is
                                       of atropine    266 years;
                                                   is 266 years; and
                                                                 and at 20° C
                                                                     at 20° C

                                      37
                                      37
                                 Appx000037
                                 Appx000037
         Case: 23-2402          Document: 15         Page: 94       Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
and
and pH 6, the
    pH 6, the half-life of atropine
              half-life of atropine is 27 years."
                                    is 27 years.” Ex.
                                                  Ex. 1002
                                                      1002 ¶ 107. Dr. Byrn
                                                             107. Dr. Byrn
utilized Kondritzer’s chart
utilized Kondritzer's chart in Figure 10
                            in Figure    to calculate
                                      10 to           the time
                                            calculate the time itit would take
                                                                    would take
for
for 10%
    10% of atropine to
        of atropine to degrade
                       degrade at
                               at aa pH
                                     pH of
                                        of 55 and
                                              and 20°
                                                  20° C.
                                                      C. Id. Dr. Byrn
                                                         Id. Dr. Byrn
concludes that "at
concludes that “at 20°
                   20° C and pH
                       C and pH 5,
                                5, aa POSA
                                      POSA would
                                           would reasonably
                                                 reasonably expect the
                                                            expect the
compositions of claim
compositions of claim 1 to comprise
                      1 to          90% atropine
                           comprise 90% atropine for
                                                 for approximately
                                                     approximately 40.4
                                                                   40.4
years. At
years. At these
          these parameters, which fall
                parameters, which fall within the limitations
                                       within the limitations of
                                                              of claim 1,
                                                                 claim 1,
           shows that
Kondritzer shows
Kondritzer       that atropine
                      atropine would
                               would readily
                                     readily exceed the stability
                                             exceed the stability
requirements
requirements of
             of limitation
                limitation 1[e], which allows
                           1[e], which allows for
                                              for up to 10%
                                                  up to 10% degradation
                                                            degradation
after
after at
      at least two weeks."
         least two weeks.” Id.
                           Id. ¶¶ 108.
                                  108.
        We
        We credit Dr. Byrn'
           credit Dr. Byrn’ss testimony
                              testimony concerning the teachings
                                        concerning the teachings of
                                                                 of
Kondritzer and
Kondritzer and the
               the ability of aa P
                   ability of    POSA  to predict
                                   OSA to         the amount
                                          predict the amount of
                                                             of degradation
                                                                degradation of
                                                                            of
atropine over time.
atropine over time. 15
                    15
                       Therefore, we find
                       Therefore, we      that Petitioner
                                     find that Petitioner has shown that
                                                          has shown that
limitation
limitation 1[e]
           1[e] is
                is inherent
                   inherent in the stabilized
                            in the stabilized ophthalmic solution of
                                              ophthalmic solution of claim
                                                                     claim 1.
                                                                           1.

                                     (2) Limitation 11-4
                                     (2) Limitation 1[c]
        The
        The heart of the
            heart of the parties’
                         parties' dispute
                                  dispute in this case
                                          in this case involves
                                                       involves whether the cited
                                                                whether the cited
art teaches limitation
art teaches limitation 1[c] that requires
                       l[c] that          “the stabilized
                                 requires "the stabilized ophthalmic
                                                          ophthalmic



15
15 Dr. Laskar
   Dr.  Laskar faults    Dr. Byrn's
                 faults Dr.  Byrn’s statement
                                        statement thatthat the
                                                             the humidity
                                                                   humidity of    the ambient
                                                                              of the  ambient airair
“would not
"would         be expected
          not be   expected toto affect
                                  affect the
                                           the stability
                                                stability of     atropine molecules
                                                             of atropine                 that are
                                                                            molecules that    are
in
in solution.”
   solution." Ex.Ex. 2003
                      2003 ¶¶ 131;
                               131; see     PO Resp.
                                       see PO    Resp. 55–56.
                                                           55-56. Dr. Dr. Laskar
                                                                           Laskar states
                                                                                    states that
                                                                                           that
“Dr. Byrn
"Dr. Byrn should
             should be be aware
                          aware that
                                   that the
                                         the relative
                                              relative humidity
                                                          humidity of     the ambient
                                                                       of the  ambient airair can
                                                                                              can
impact   the  rate of  evaporation      of the  water    in  the   atropine
impact the rate of evaporation of the water in the atropine solution, which  solution,   which
could  then impact
could then    impact thethe concentration
                            concentration of   of atropine,”
                                                   atropine," especially        when stored
                                                                   especially when     stored in
                                                                                               in aa
plastic
plastic dropper     bottle that
         dropper bottle    that is   semi-permeable to
                                 is semi-permeable          to water.
                                                                 water. Ex.
                                                                         Ex. 2003
                                                                               2003 ¶ 131.
                                                                                       131.
Dr. Byrn's
Dr. Byrn’s testimony,
              testimony, which
                            which we  we credit,
                                           credit, finds    that the
                                                    finds that     the expected
                                                                       expected degradation
                                                                                   degradation
of
of an atropine solution of claim 1 would not only retain 90% atropine for
   an  atropine   solution   of claim    1  would    not   only    retain 90%    atropine       the
                                                                                            for the
required   two weeks,
required two              but for
                 weeks, but    for 40.4    years. It
                                    40.4 years.      It is
                                                        is hard
                                                            hard toto imagine
                                                                      imagine in    what
                                                                                 in what
scenario   the relative
scenario the    relative humidity
                          humidity could
                                       could soso diminish
                                                   diminish the   the stability  of an
                                                                      stability of  an atropine
                                                                                        atropine
solution
solution made
           made in    accordance with
                  in accordance       with claim
                                             claim 11 that
                                                        that itit would
                                                                  would fail   to meet
                                                                          fail to        the 2-
                                                                                  meet the   2-
week
week limitation
       limitation to to preserve
                        preserve at at least
                                       least 90%
                                              90% of     the atropine.
                                                     of the     atropine.

                                                38
                                                38
                                         Appx000038
                                         Appx000038
       Case: 23-2402         Document: 15        Page: 95      Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
composition
composition further
            further comprises
                    comprises aa buffering
                                 buffering agent
                                           agent to
                                                 to provide
                                                    provide aa pH of from
                                                               pH of from
about
about 4.8 to about
      4.8 to       6.4.” See
             about 6.4."     Pet. 30-32;
                         See Pet. 30–32; PO
                                         PO Resp.
                                            Resp. 26-43.
                                                  26–43.
      Petitioner relies
      Petitioner relies on Akorn, asserting
                        on Alcorn, asserting itit discloses “a stabilized
                                                  discloses "a stabilized
ophthalmic
ophthalmic composition” that further
           composition" that further discloses “several buffering
                                     discloses "several buffering agents to
                                                                  agents to
‘provide
`provide aa pH
            pH of
               of from
                  from about
                       about 4.8 to 6.4,’
                             4.8 to       as in
                                    6.4,' as in claim
                                                claim 1.” Pet. 30-31.
                                                      1." Pet. 30–31.
      Petitioner further
      Petitioner         asserts that:
                 further asserts that:
      Kondritzer would
      Kondritzer      would have
                               have provided
                                       provided aa reasonable
                                                     reasonable expectation
                                                                    expectation of  of
      success
      success toto use    Akorn’s pH
                    use Akorn's     pH range
                                        range ofof 3.5-6.0.
                                                   3.5–6.0. Ex.Ex. 1002
                                                                   1002 ¶¶ 96–99.
                                                                              96-99.
      Kondritzer discloses
      Kondritzer                 that optimum
                      discloses that               atropine stability
                                       optimum atropine       stability in
                                                                         in aqueous
                                                                            aqueous
      solutions
      solutions is    at pH
                  is at  pH 33 to
                               to 5,
                                   5, and
                                      and predicts   atropine stability
                                           predicts atropine    stability in  the pH
                                                                           in the  pH
      range
      range ofof 22 to
                     to 7.   Ex. 1005,
                         7. Ex.  1005, 4; 4; Ex.
                                             Ex. 1002
                                                  1002 ¶¶ 96.     However, overly
                                                           96. However,        overly
      acidic
      acidic pH     was known
               pH was      known to  to be
                                        be aa problem
                                               problem forfor patient
                                                               patient comfort
                                                                         comfort in in
      ophthalmic      solutions. Ex
      ophthalmic solutions.        Ex. 1002
                                         1002 ¶¶ 97.
                                                 97. AAP  POSA     would therefore
                                                            OSA would      therefore
      have  targeted the
      have targeted      the higher
                             higher end    of Akorn's
                                      end of  Akorn’s stability
                                                         stability range   and been
                                                                   range and     been
      motivated
      motivated to  to use
                        use aa pH
                               pH range    of about
                                    range of   about 55 to
                                                         to about
                                                            about 6 6 to
                                                                       to optimized
                                                                          optimized
      stability
      stability in    view of
                 in view     of patient
                                patient comfort.
                                           comfort. Ex Ex. 1002
                                                             1002 ¶¶ 98–99;
                                                                        98-99; Ex.Ex.
      1019,
      1019, 52    (ophthalmic preparations
              52 (ophthalmic                      should be
                                  preparations should      be formulated
                                                               formulated at at aa pH
                                                                                   pH
      equivalent
      equivalent to  to the
                         the tear
                             tear fluid   value of
                                   fluid value   of 7.4);   see also
                                                     7.4); see          Ex. 1005,
                                                                 also Ex.    1005, 4 4
      (showing decreasing
      (showing     decreasing atropine
                                  atropine stability
                                             stability as
                                                        as pH
                                                            pH increases
                                                                 increases toto 7.0).
                                                                                 7.0).
      Thus,
      Thus, aa POSA
                  POSA wouldwould havehave recognized
                                             recognized thatthat aa pHpH range
                                                                           range of of
      approximately       3.5–6.0 was
      approximately 3.5-6.0         was optimal.
                                          optimal. Ex.
                                                     Ex. 1002
                                                          1002 ¶ 99.
                                                                   99.
    31. Petitioner
Id. 31.
Id.     Petitioner concludes that "[b]ecause
                   concludes that “[b]ecause pH was aa well-known
                                             pH was    well-known result-
                                                                  result-
effective variable, and
effective variable, and because
                        because these
                                these ranges
                                      ranges significantly overlap with
                                             significantly overlap with the
                                                                        the
claimed
claimed pH
        pH range of 4.8
           range of     to about
                    4.8 to about 6.4, the claimed
                                 6.4, the claimed range would have
                                                  range would      been
                                                              have been
obvious.”     at 32
          Id. at
obvious." Id.    32 (citations
                    (citations omitted).
                               omitted).
      Patent Owner
      Patent Owner disagrees. Patent Owner
                   disagrees. Patent       asserts that
                                     Owner asserts that "all
                                                        “all grounds
                                                             grounds
critically
critically hinge on using
           hinge on       the same
                    using the same ‘buffer system’ and
                                   `buffer system' and pH
                                                       pH range allegedly
                                                          range allegedly
disclosed
disclosed in
          in [Akorn].”  PO Resp.
             [Alcorn]." PO Resp. 30.
                                 30. But,
                                     But, Patent
                                          Patent Owner
                                                 Owner asserts that Alcorn
                                                       asserts that Akorn
does
does not
     not state that itit employs
         state that      employs aa buffering
                                    buffering agent
                                              agent to
                                                    to control
                                                       control or maintain pH
                                                               or maintain pH of
                                                                              of
its
its atropine solution, and
    atropine solution, and does
                           does not
                                not even
                                    even disclose the actual
                                         disclose the actual pH
                                                             pH of
                                                                of its solution.
                                                                   its solution.
    at 26.
Id. at
Id.    26. Patent
           Patent Owner also asserts
                  Owner also         that the
                             asserts that the phosphate
                                              phosphate salts
                                                        salts disclosed
                                                              disclosed in
                                                                        in



                                            39
                                            39
                                     Appx000039
                                     Appx000039
       Case: 23-2402        Document: 15       Page: 96     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
Akorn are
Akorn are not
          not identified as buffering
              identified as buffering agents,
                                      agents, and
                                              and could
                                                  could not
                                                        not have buffered
                                                            have buffered
Akorn’ss solution
Alcorn'  solution at the listed
                  at the listed pH
                                pH range. Id. at
                                   range. Id.    27. Dr.
                                              at 27. Dr. Laskar
                                                         Laskar testifies
                                                                testifies that
                                                                          that in
                                                                               in
listing the pH
listing the pH range of 3.5
               range of 3.5 to
                            to 6.0,
                               6.0, Akorn
                                    Akorn is
                                          is merely
                                             merely showing
                                                    showing compliance with
                                                            compliance with
the pH
the pH limits
       limits imposed by the
              imposed by the National
                             National Formulary
                                      Formulary of
                                                of the
                                                   the U.
                                                       U.S.  Pharmacopeia
                                                          S. Pharmacopeia
(“USP”) and
("USP") and does
            does not
                 not state the pH
                     state the pH of the described
                                  of the described solution. PO Resp.
                                                   solution. PO Resp. 1,
                                                                      1,
33–35. Patent
33-35. Patent Owner
              Owner also asserts that
                    also asserts that there
                                      there is
                                            is no
                                               no indication
                                                  indication in Akorn that
                                                             in Akorn that
the listed
the listed phosphate
           phosphate salts act as
                     salts act as buffers,
                                  buffers, so
                                           so these
                                              these could
                                                    could not
                                                          not have “provided”
                                                              have "provided"
the pH
the pH range as required
       range as          by the
                required by the claims. Id. at
                                claims. Id.    34–35.
                                            at 34-35.
      Akorn describes
      Akorn           the ingredients
            describes the ingredients of
                                      of its
                                         its formulation as follows.
                                             formulation as follows.
      Each mL
      Each   mL of    Atropine Sulfate
                  of Atropine           Ophthalmic Solution
                               Sulfate Ophthalmic               USP, 1%
                                                      Solution USP,    1%
      contains:   Active: atropine
      contains: Active:             sulfate 10
                           atropine sulfate 10 mg
                                               mg equivalent   to 8.3
                                                    equivalent to  8.3 mg
                                                                       mg
      of atropine. Inactives:
      of atropine.              benzalkonium chloride
                     Inactives: benzalkonium   chloride 0.1
                                                         0.1 mg  (0.01%),
                                                             mg (0.01%),
      dibasic   sodium phosphate,
      dibasic sodium      phosphate, edetate
                                      edetate disodium     Hypromellose
                                               disodium Hypromellose
      (2910), monobasic
      (2910),              sodium phosphate,
               monobasic sodium    phosphate, hydrochloric    acid and/or
                                               hydrochloric acid    and/or
      sodium
      sodium hydroxide     may be
               hydroxide may    be added  to adjust
                                   added to  adjust pH  (3.5 to
                                                     pH (3.5 to 6.0), and
                                                                6.0), and
      water
      water for
             for injection USP.
                 injection USP.
Ex. 1004,
Ex.       3.
    1004, 3.
      Patent Owner's
      Patent Owner’s argument
                     argument rests
                              rests on
                                    on aa listed buffering range
                                          listed buffering range in the
                                                                 in the
Waterman
Waterman reference
         reference for
                   for phosphoric acid that
                       phosphoric acid that does
                                            does not
                                                 not encompass
                                                     encompass aa pH
                                                                  pH of
                                                                     of
3.5 to
3.5 to 6.0
       6.0 as
           as set
              set forth
                  forth in Akorn. See
                        in Akorn.     Ex. 2003
                                  See Ex  2003 ¶¶ 52; Ex. 1040,
                                                  52; Ex.       23. As
                                                          1040, 23. As Dr.
                                                                       Dr.
Laskar testifies,
Laskar testifies, "Waterman
                  “Waterman Table
                            Table 88 lists the ‘Buffering
                                     lists the            Range’ of
                                               `Buffering Range' of
Phosphoric acid
Phosphoric acid as
                as ‘2–3.1, 6.2–8.2.’” Ex.
                   `2-3.1, 6.2-8.2."  Ex. 2003
                                          2003 ¶¶ 52 (citing Ex.
                                                  52 (citing Ex. 1040,
                                                                 1040, Table
                                                                       Table
8). Dr. Laskar
8). Dr. Laskar testifies:
               testifies:
      As the
      As  the Waterman
              Waterman reference      submitted with
                           reference submitted          the petition
                                                  with the  petition
      explains, when selecting
      explains, when   selecting aa buffer,
                                     buffer, which
                                              which acts
                                                     acts to
                                                          to maintain
                                                              maintain aa
      solution
      solution pH   (e.g., at
               pH (e.g.,   at the
                              the pH  of maximum
                                  pH of  maximum stability
                                                     stability of   the active
                                                                 of the  active
      ingredient),  the "primary
      ingredient), the  “primary criteria
                                   criteria for selection” are
                                            for selection"        “the pH
                                                             are "the   pH
      range
      range and   buffer capacity
             and buffer             [which is
                         capacity [which     is maximal
                                                maximal atat aa pH   value
                                                                pH value
      equal to the
      equal to      pKaa of
               the pK       the buffer
                         of the  buffer (164)]
                                        (164)] for  the buffer."
                                                for the buffer.” Ex. Ex. 1040,
                                                                          1040,
      23 (bracketed
      23 (bracketed inin material
                         material in  original). Waterman
                                   in original).  Waterman states       that its
                                                                 states that its
      “Table 88 lists
      "Table    lists commonly
                      commonly used      buffers along
                                   used buffers          with their
                                                 along with     their pK
                                                                      pKaa


                                          40
                                          40
                                    Appx000040
                                    Appx000040
        Case: 23-2402      Document: 15      Page: 97     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
      values and
      values and optimal
                  optimal pH
                           pH ranges.”    Id. Waterman
                               ranges." Id.   Waterman Table
                                                           Table 88 lists the
                                                                    lists the
      “Buffering Range"
      "Buffering  Range” ofof Phosphoric
                              Phosphoric acid
                                           acid as
                                                as "2-3.1,
                                                    “2–3.1, 6.2–8.2.”
                                                             6.2-8.2." Id.,
                                                                          Id.,
      Table
      Table 8;     also paragraph
               see also
            8; see      paragraph 99 above.    In other
                                       above. In   other words,  the
                                                         words, the
      buffering range
      buffering        of phosphoric
                range of  phosphoric acid
                                       acid and
                                             and its
                                                 its dibasic
                                                     dibasic sodium
                                                              sodium
      phosphate  and monobasic
      phosphate and               sodium phosphate
                      monobasic sodium                  salts does
                                            phosphate salts   does not
                                                                   not
      cover
      cover or
            or even
               even overlap   with aa solution
                     overlap with     solution pH
                                               pH ofof 3.5-6.0.
                                                       3.5–6.0.
Ex. 2003
Ex. 2003 ¶ 52.
           52.
      Patent Owner's
      Patent Owner’s argument
                     argument presumes that the
                              presumes that     pKaa for
                                            the pK   for aa particular buffer
                                                            particular buffer
is set at
is set at aa particular
             particular pH
                        pH range which is
                           range which is not
                                          not malleable
                                              malleable depending
                                                        depending on the
                                                                  on the
conditions of the
conditions of the solution
                  solution that
                           that is being buffered.
                                is being buffered. Waterman
                                                   Waterman itself
                                                            itself refutes this
                                                                   refutes this
presumption. First, Waterman
presumption. First, Waterman describes the buffering
                             describes the buffering ranges
                                                     ranges listed
                                                            listed in
                                                                   in
Table
Table 8
      8 as “optimal” pH
        as "optimal" pH ranges
                        ranges of
                               of pK   ± 11 indicating
                                  pKaa ±               some buffering
                                            indicating some buffering
capacity
capacity may
         may exist below or
             exist below or above the given
                            above the given ranges.
                                            ranges. See Ex. 1040,
                                                    See Ex        23.
                                                            1040, 23.
Dr. Byrn
Dr. Byrn testifies
         testifies that
                   that the
                        the most
                            most effective
                                 effective pH
                                           pH range
                                              range for
                                                    for aa buffer
                                                           buffer is within ±
                                                                  is within ± 11
of
of its
   its pKa, but
       pKa, but "[i]t's
                “[i]t’s not
                        not aa hard
                               hard cutoff;
                                    cutoff; it’s
                                            it's an
                                                 an effectiveness
                                                    effectiveness issue.” Ex.
                                                                  issue." Ex
2009, 87:5–12;
2009,          see id.
      87:5-12; see     at 88:23–89:19
                   id. at 88:23-89:19 (pKa ± 11 covers
                                      (pKa ±           the most
                                                covers the most effective
                                                                effective
buffer range,
buffer        but itit is
       range, but      is not
                          not aa hard
                                 hard cutoff),
                                      cutoff), 91:7–18 (person of
                                               91:7-18 (person of skill
                                                                  skill knows
                                                                        knows pK
                                                                              pKaa
± 11 is
±    is not
        not aa hard
               hard cutoff);
                    cutoff); 95:11–97:4 (applying the
                             95:11-97:4 (applying the Henderson,
                                                      Henderson, Hasselbach
                                                                 Hasselbach
equation
equation provides
         provides aa wider
                     wider pH buffering range
                           pH buffering       than pK
                                        range than      ± 1).
                                                   pKaa ±     Dr. Laskar
                                                          1). Dr. Laskar
testifies that
testifies that pK
               pKaa changes as aa function
                    changes as             of temperature.
                                  function of temperature. Ex.
                                                           Ex. 1078,
                                                               1078, 124:5–9.
                                                                     124:5-9.
Waterman
Waterman also states that
         also states that "[u]
                          “[u]se
                              se of
                                 of co-solvents, surfactants, and
                                    co-solvents, surfactants, and complexing
                                                                  complexing
agents to solubilize
agents to solubilize aa drug
                        drug may
                             may also
                                 also influence that buffering
                                      influence that buffering capacity
                                                               capacity and
                                                                        and
final
final pH of aa formulation
      pH of                by altering
               formulation by          the effective
                              altering the           pKaa of
                                           effective pK      the buffer
                                                          of the buffer and/or
                                                                        and/or
directly
directly interacting with the
         interacting with the buffer
                              buffer components.” Ex. 1040,
                                     components." Ex.       24. The
                                                      1040, 24. The
evidence
evidence of
         of record
            record indicates that the
                   indicates that     pKaa for
                                  the pK   for aa buffer
                                                  buffer is
                                                         is not
                                                            not static, but
                                                                static, but
depends on the
depends on the parameters of the
               parameters of the solution
                                 solution in which the
                                          in which the buffer
                                                       buffer is
                                                              is used.
                                                                 used.
      As for
      As     the specific
         for the specific phosphate buffers used
                          phosphate buffers used in Akorn and
                                                 in Alcorn and claim
                                                               claim 77 of the
                                                                        of the
’787
'787 patent, Petitioner submitted
     patent, Petitioner submitted credible
                                  credible evidence that the
                                           evidence that the lower
                                                             lower end
                                                                   end of the
                                                                       of the



                                        41
                                        41
                                  Appx000041
                                  Appx000041
       Case: 23-2402                     Document: 15             Page: 98           Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
buffer range
buffer range for these buffers
             for these buffers may be as
                               may be as low as pH
                                         low as pH 5.4. For instance,
                                                   5.4. For instance, in
                                                                      in
Chapter
Chapter 4
        4 of the Fifth
          of the Fifth Edition
                       Edition of
                               of the
                                  the European
                                      European Pharmacopoeia,
                                               Pharmacopoeia, with
                                                              with which
                                                                   which
Dr. Laskar
Dr. Laskar testifies
           testifies he
                     he is
                        is familiar and which
                           familiar and which contains
                                              contains recipes
                                                       recipes for various
                                                               for various
buffer solutions,
buffer solutions, is
                  is described
                     described aa 0.067 molar phosphate
                                  0.067 molar           buffer solution
                                              phosphate buffer solution with
                                                                        with aa
pH of 5.4
pH of     that is
      5.4 that    within the
               is within the 3.5
                             3.5 to
                                 to 6.0
                                    6.0 pH
                                        pH range set forth
                                           range set forth in Akorn. See
                                                           in Alcorn.     Ex.
                                                                      See Ex
1081, 6; Ex.
1081, 6; Ex. 1078, 113:12–118:20; see
             1078, 113:12-118:20; see also Ex. 1078,
                                      also Ex. 1078, 115:22–116:5 (stating
                                                     115:22-116:5 (stating
European Pharmacopoeia
European Pharmacopoeia provides
                       provides aa recipe
                                   recipe for an 0.067
                                          for an 0.067 molar
                                                       molar phosphate
                                                             phosphate
buffer solution
buffer solution pH
                pH 5.4 within the
                   5.4 within the 3.5
                                  3.5 to
                                      to 6.0
                                         6.0 pH
                                             pH range).
                                                range).
      Petitioner also
      Petitioner also presents
                      presents further
                               further evidence of aa phosphate
                                       evidence of              buffer with
                                                      phosphate buffer with aa
pH
pH range
   range of
         of 5.8 to 8.0
            5.8 to     as set
                   8.0 as set forth
                              forth in
                                    in aa book
                                          book titled
                                               titled "Buffers:
                                                      “Buffers: A
                                                                A guide
                                                                  guide for the
                                                                        for the
preparation
preparation and
            and use
                use of buffer in
                    of buffer    biological systems,"
                              in biological systems,” by
                                                      by Calbiochem,
                                                         Calbiochem, an
                                                                     an
affiliate of Merck
affiliate of Merck KGaA.
                   KGaA. See Ex. 1082,
                         See Ex. 1082, 1, 2, 25.
                                       1, 2, 25. The
                                                 The excerpt showing the
                                                     excerpt showing the
recipe
recipe is
       is set
          set forth
              forth in
                    in aa screenshot,
                          screenshot, which
                                      which is
                                            is reproduced below. Ex.
                                               reproduced below. Ex. 1082, 25.
                                                                     1082, 25.
        6.     Phosphate Buffer; pH range 5.8 to 8.0
               (a) 0.1 M Sodium phosphate monobasic; 13.8 gil (monohydrate,
               M.W. 138.0)
               (b) 0.1 M Sodium phosphate dibasic; 26.8 WI (heptahydrate, M.W. 268.0)

        Mix sodium phosphate monobasic and dibasic solut ion' in the proportions
        indicated and adjust the final volume to 200 ml with deionized water. Adjust
        the final pH using a sensitive pH meter.

             ...r of Scchum          3    81E                                       30     11 C
                               i.i               735   625    51.0   39.0   lc.:                  L5    ..•
         phosphate, Mal ota.

             ph, .. .           8C        18.5   265   375    48.0   610    77.:   -. 'C   87C    915   94:

                    Ps          58        5.2    6.4   8.6    61     ID     7.;    ' 4     7E     7.B   8C




The screenshot above
The screenshot above shows
                     shows aa recipe and accompanying
                              recipe and accompanying table
                                                      table for
                                                            for making an
                                                                making an
aqueous
aqueous phosphate buffer having
        phosphate buffer having aa pH between 5.8
                                   pH between     and 8.0
                                              5.8 and     by mixing
                                                      8.0 by mixing 0.1 M
                                                                    0.1 M
sodium
sodium phosphate
       phosphate monobasic with 0.1
                 monobasic with     M sodium
                                0.1 M sodium phosphate
                                             phosphate dibasic
                                                       dibasic in
                                                               in
deionized
deionized water.
          water.
      Petitioner further
      Petitioner further presents
                         presents evidence
                                  evidence from PubChem from
                                           from PubChem      the National
                                                        from the National
Institutes
Institutes of Health on
           of Health    the pK
                     on the      values for
                            pKaa values     Monosodium phosphate
                                        for Monosodium phosphate and
                                                                 and

                                                             42
                                                             42
                                                  Appx000042
                                                  Appx000042
                Case: 23-2402                             Document: 15                            Page: 99                    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
disodium
disodium hydrogen
         hydrogen phosphate.     Exs. 1084,
                             See Exs.
                  phosphate. See      1084, 1085.
                                            1085. The
                                                  The first
                                                      first publication
                                                            publication
lists
lists the pKaa for
      the pK   for monosodium
                   monosodium phosphate as aa range
                              phosphate as    range from 6.8–7.2 "depending
                                                    from 6.8-7.2 “depending
on the physiochemical
on the physiochemical characteristics
                      characteristics during pKaa determination.”
                                      during pK                   Ex. 1084,
                                                  determination." Ex  1084,
7.
7. The second publication
   The second publication lists the pK
                          lists the    a’s
                                    pKa' s for
                                           for disodium
                                               disodium hydrogen
                                                        hydrogen phosphate
                                                                 phosphate
in the following
in the           table, which
       following table, which differ
                              differ from those set
                                     from those set forth
                                                    forth in the Waterman
                                                          in the Waterman
reference. Ex. 1085,
reference. Ex. 1085, 8.
                     8.
3.2.13 Dissociation Constants

pKa1 = 2.15; pKa2 = 6.83; pKa3 = 12.38 (phosphoric acid), all at 25'C
  Sigma-Aldrich: Sodium phosphate dibasic 59761 Sigma-Aldrich, St. Louis, MO. Available from, as of Nov 30, 2006: https://vistmaigrnacildrichcom/catalog/search/ProductDetalt/SIAL/S9763




The table is
The table    table 3.2.13
          is table 3.2.13 from the PubChem
                          from the PubChem listing
                                           listing for Disodium hydrogen
                                                   for Disodium hydrogen
phosphate,
phosphate, showing
           showing pKa values for
                   pKa values for dissociation
                                  dissociation of 2.15, 6.83,
                                               of 2.15, 6.83, and
                                                              and 12.38 at
                                                                  12.38 at
25° C.
25° C.
             With this record
             With this record evidence
                              evidence in
                                       in mind, we turn
                                          mind, we turn to
                                                        to what
                                                           what aa P
                                                                   POSA   would
                                                                     O SA would
glean
glean from
      from reviewing Akorn. Dr.
           reviewing Alcorn. Dr. Byrn
                                 Byrn testifies
                                      testifies that
                                                that Alcorn
                                                     Akorn discloses
                                                            discloses
standard buffering agents,
standard buffering agents, including
                           including dibasic sodium phosphate,
                                     dibasic sodium            also known
                                                    phosphate, also known
as
as disodium
   disodium hydrogen
            hydrogen phosphate,
                     phosphate, and monobasic sodium
                                and monobasic sodium phosphate, also
                                                     phosphate, also
known as sodium
known as sodium dihydrogen
                dihydrogen phosphate, that have
                           phosphate, that      been shown
                                           have been shown in the
                                                           in the
evidence just discussed
evidence just           to be
              discussed to be able to buffer
                              able to buffer Alcorn's
                                             Akorn’s formulation
                                                      formulation at
                                                                  at least
                                                                     least in
                                                                           in
the upper
the upper part
          part of the cited
               of the cited pH
                            pH range. Ex. 1002
                               range. Ex         94–95 (citing
                                          1002 ¶ 94-95 (citing Ex
                                                               Ex. 1019,
                                                                   1019, 52;
                                                                         52;
Ex. 1026,
Ex. 1026, 4–5).
          4-5). We
                We disagree with Dr.
                   disagree with Dr. Laskar's
                                     Laskar’s reliance
                                              reliance solely
                                                       solely on the
                                                              on the
Waterman
Waterman reference as disclosing
         reference as disclosing aa buffering
                                    buffering range
                                              range for
                                                    for phosphate
                                                        phosphate salts that
                                                                  salts that
“has no
"has no overlap
        overlap with
                with aa solution
                        solution pH of 3.5
                                 pH of 3.5 to
                                           to 6.0,”
                                              6.0," and
                                                    and do
                                                        do not
                                                           not credit
                                                               credit his
                                                                      his
conclusion that aa P
conclusion that    POSA  would understand
                     OSA would            this lack
                               understand this      of overlap
                                               lack of         “to
                                                       overlap "to
completely
completely contradict Dr. Byrn's
           contradict Dr. Byrn’s assertions
                                 assertions that
                                            that these
                                                 these phosphate
                                                       phosphate salts
                                                                 salts
represent
represent aa ‘common buffer’ that
             `common buffer' that was
                                  was used
                                      used in EX1004 ‘to
                                           in EX1004 `to maintain
                                                         maintain aa pH of
                                                                     pH of
3.5 to
3.5 to 6.0.
       6.0.’”      Ex. 2003
               See Ex.
            '" See     2003 ¶¶ 78.
                               78.




                                                                                        43
                                                                                        43
                                                                           Appx000043
                                                                           Appx000043
       Case: 23-2402       Document: 15        Page: 100     Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
       We
       We do
          do not agree with
             not agree      Dr. Laskar's
                       with Dr. Laskar’s criticism that Alcorn
                                         criticism that Akorn does
                                                               does not
                                                                    not
disclose buffers. See
disclose buffers.     Ex. 2003
                  See Ex. 2003 ¶¶ 71–72. Dr. Laskar
                                  71-72. Dr. Laskar testifies
                                                    testifies that
                                                              that Alcorn
                                                                   Akorn
does
does not
     not disclose any buffers.
         disclose any buffers. Id. Dr. Laskar
                               Id. Dr. Laskar further testifies:
                                              further testifies:
       To  the contrary,
       To the             the disclosure
               contrary, the              of EX1004
                               disclosure of  EX1004 is is consistent  with the
                                                           consistent with    the
       direction
       direction provided
                  provided in   Remington and
                             in Remington     and the
                                                  the state
                                                      state of the art
                                                            of the  art in  2015
                                                                        in 2015
       regarding   atropine aqueous
       regarding atropine    aqueous ophthalmic
                                       ophthalmic solutions.
                                                     solutions. Everything
                                                                  Everything II
       have
       have read
             read in  EX1004 is
                  in EX1004     is consistent  with the
                                   consistent with  the state
                                                        state of
                                                              of the
                                                                 the art
                                                                     art before
                                                                         before
       2015, which
       2015,  which was    to avoid
                      was to  avoid using
                                     using aa buffer
                                              buffer or buffering agent
                                                     or buffering  agent in   the
                                                                           in the
       acidic
       acidic solution   of storage
               solution of            within the
                             storage within    the boundaries
                                                   boundaries (pH(pH 3.5-6.0)
                                                                       3.5–6.0)
       imposed
       imposed byby the
                     the USP.
                         USP.
Ex. 2003
Ex. 2003 ¶ 71.
           71.
       We
       We find, however, that
          find, however, that Dr.
                              Dr. Laskar's
                                  Laskar’s statements
                                           statements concerning the state
                                                      concerning the state of
                                                                           of
the art
the art in 2015, including
        in 2015,           about the
                 including about the teachings
                                     teachings of the Remington
                                               of the Remington reference,
                                                                reference,
are
are not
    not sufficiently supported by
        sufficiently supported by record
                                  record evidence. For instance,
                                         evidence. For           Dr. Laskar
                                                       instance, Dr. Laskar
premises
premises his
         his conclusion
             conclusion concerning the state
                        concerning the state of the art
                                             of the art in 2015 that
                                                        in 2015 that buffers
                                                                     buffers
should
should not be used
       not be used for
                   for atropine solutions, as
                       atropine solutions, as informed by the
                                              informed by the Remington
                                                              Remington
reference Dr. Laskar
reference Dr. Laskar calls the formulator’s
                     calls the              “bible,” on
                               formulator's "bible," on the
                                                        the mistaken
                                                            mistaken belief
                                                                     belief
that the
that the phosphate buffers listed
         phosphate buffers listed in Akorn cannot
                                  in Alcorn        buffer below
                                            cannot buffer below aa pH
                                                                   pH of 6.0.
                                                                      of 6.0.
See generally
See           Ex. 2003
    generally Ex  2003 ¶¶ 45–69. Remington, however,
                          45-69. Remington, however, expressly
                                                     expressly lists
                                                               lists
phosphate
phosphate salts
          salts in
                in aa suggested
                      suggested ophthalmic solution for
                                ophthalmic solution     atropine, but
                                                    for atropine, but Dr.
                                                                      Dr.
Laskar states,
Laskar         without support
       states, without support other than the
                               other than the Waterman
                                              Waterman reference, that
                                                       reference, that
“[n]either one
"[n]either one of
               of these
                  these phosphate salts, alone
                        phosphate salts, alone or
                                               or in the disclosed
                                                  in the disclosed
combination,
combination, is
             is aa buffering
                   buffering agent
                             agent to
                                   to provide
                                      provide aa pH
                                                 pH of
                                                    of from about 4.8
                                                       from about     to about
                                                                  4.8 to about
6.4. Nor do
6.4. Nor    they provide,
         do they          alone or
                 provide, alone or in
                                   in combination,
                                      combination, aa buffer
                                                      buffer for
                                                             for aa solution
                                                                    solution
having
having aa pH
          pH no
             no lower than 3.5
                lower than 3.5 and
                               and no
                                   no higher than 6.0."
                                      higher than 6.0.” Id.
                                                        Id. ¶ 50.
                                                              50.
       As set
       As set forth above, we
              forth above, we do
                              do not agree that
                                 not agree that the
                                                the phosphate
                                                    phosphate salts
                                                              salts listed
                                                                    listed in
                                                                           in
Remington do
Remington do not buffer at
             not buffer at aa pH of 6.0
                              pH of 6.0 or below. We
                                        or below. We do
                                                     do not
                                                        not understand
                                                            understand
Dr. Laskar's
Dr. Laskar’s statement
             statement that
                       that these
                            these buffers
                                  buffers also
                                          also do
                                               do not
                                                  not provide
                                                      provide aa pH
                                                                 pH from
                                                                    from
about
about 4.8 to about
      4.8 to       6.4. Dr.
             about 6.4. Dr. Laskar
                            Laskar testifies
                                   testifies that
                                             that itit is
                                                       is difficult to change
                                                          difficult to        the
                                                                       change the


                                          44
                                          44
                                    Appx000044
                                    Appx000044
       Case: 23-2402        Document: 15         Page: 101      Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
pH of aa solution
pH of             by adjusting
         solution by adjusting the
                               the ratio of acid
                                   ratio of      to conjugate
                                            acid to           base of
                                                    conjugate base of aa buffer
                                                                         buffer
from
from aa 50:50
        50:50 ratio,     Ex. 2003
                     see Ex.
              ratio, see     2003 ¶ 59, and states
                                    59, and states that
                                                   that "[i]n
                                                        “[i]n Remington,
                                                              Remington, for
                                                                         for
example, the atropine
example, the atropine ophthalmic vehicle uses
                      ophthalmic vehicle uses somewhat
                                              somewhat more than twice
                                                       more than twice as
                                                                       as
much
much monobasic
     monobasic phosphate as dibasic
               phosphate as dibasic phosphate
                                    phosphate on
                                              on aa molar basis, but
                                                    molar basis, but this
                                                                     this
alters the pH
alters the pH only by about
              only by about 0.3
                            0.3 pH units,” id.
                                pH units,"     Dr. Laskar
                                           id. Dr. Laskar concludes,
                                                          concludes,
however, that the
however, that the phosphate buffer system
                  phosphate buffer system listed
                                          listed in
                                                 in claim
                                                    claim 7 of the
                                                          7 of the ’787
                                                                   '787
patent, the same
patent, the same buffering
                 buffering pair
                           pair listed
                                listed in Akorn, can
                                       in Alcorn, can provide
                                                      provide aa pH
                                                                 pH no
                                                                    no greater
                                                                       greater
than about
than about 6.4 by utilizing
           6.4 by           “extremely large
                  utilizing "extremely       and counterintuitive
                                       large and                  variations
                                                 counterintuitive variations
from standard buffer
from standard buffer protocols” to be
                     protocols" to be able to "buffer
                                      able to “buffer near the limits
                                                      near the limits of an
                                                                      of an
agent’s buffering range.”
agent's buffering             Patent Owner
                          Id. Patent
                  range." Id.        Owner cannot
                                           cannot have
                                                  have itit both
                                                            both ways;
                                                                 ways;
phosphate buffers listed
phosphate buffers listed in Remington in
                         in Remington    the suggested
                                      in the           atropine solution
                                             suggested atropine solution
cannot be said
cannot be      to not
          said to     buffer, while
                  not buffer, while phosphate buffers listed
                                    phosphate buffers listed in
                                                             in claim
                                                                claim 7
                                                                      7 of the
                                                                        of the
’787
'787 patent, which do
     patent, which do not
                      not have any particular
                          have any particular amount
                                              amount or
                                                     or ratio
                                                        ratio of acid to
                                                              of acid to base
                                                                         base
listed,
listed, do
        do perform the function
           perform the          of aa buffer
                       function of    buffer that
                                             that provides
                                                  provides aa pH of from
                                                              pH of from about
                                                                         about
4.8 to about
4.8 to about 6.4.
             6.4.
      We agree with
      We agree with Dr.
                    Dr. Byrn
                        Byrn that
                             that Remington
                                  Remington does
                                            does recommend the use
                                                 recommend the use of
                                                                   of
buffers to
buffers to maintain the pH
           maintain the pH at the appropriate
                           at the appropriate level. Ex. 1002
                                              level. Ex. 1002 ¶¶ 50 (citing
                                                                 50 (citing
Ex. 1019,
Ex. 1019, 52–54). In discussing
          52-54). In discussing ophthalmic
                                ophthalmic preparations, Remington states:
                                           preparations, Remington states:
              Ideally,
              Ideally, ophthalmic
                          ophthalmic preparations       should be
                                          preparations should   be formulated
                                                                   formulated at at aa
      pH
      pH equivalent
           equivalent to     to the
                                the tear
                                     tear fluid  value of
                                           fluid value  of 7.4.   Practically, this
                                                            7.4. Practically,    this
      seldom
      seldom is is achieved.
                   achieved. The   The large  majority of
                                        large majority  of active
                                                           active ingredients
                                                                  ingredients used
                                                                                used
      in
      in ophthalmology
         ophthalmology are      are salts
                                     salts of weak bases
                                           of weak   bases and
                                                           and are
                                                                are most    stable at
                                                                    most stable    at
      an
      an acid
          acid pH.
                pH. .. .. ..
              Optimum
              Optimum pH      pH adjustment
                                   adjustment generally
                                                generally requires
                                                          requires aa compromise
                                                                       compromise
      on   the part
      on the     part ofof thethe formulator.
                                    formulator. The The pH    selected should
                                                         pH selected     should bebe
      optimum
      optimum for      stability. The
                   for stability.          buffer system
                                      The buffer   system selected
                                                           selected should
                                                                     should have
                                                                              have aa
      capacity    adequate to
      capacity adequate          to maintain
                                    maintain pH     within the
                                               pH within   the stability
                                                                stability range
                                                                           range for
                                                                                  for
      the duration
      the  duration ofof the the product
                                  product shelf
                                           shelf life. Buffer capacity
                                                 life. Buffer  capacity is   the key
                                                                          is the key
      in this situation.
      in this  situation.



                                            45
                                            45
                                     Appx000045
                                     Appx000045
       Case: 23-2402        Document: 15        Page: 102      Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
              It
              It generally
                  generally is    accepted that
                              is accepted     that aa low     (acid) pH
                                                        low (acid)     pH perper sese
      necessarily    will not
      necessarily will    not cause   stinging or
                               cause stinging    or discomfort
                                                    discomfort on  on instillation.
                                                                       instillation.
      If the overall
      If the overall pH    of the
                       pH of  the tears,
                                   tears, after
                                          after instillation,
                                                instillation, reverts
                                                                reverts rapidly
                                                                         rapidly toto
      pH
      pH 7.4,
           7.4, discomfort
                 discomfort isis minimal.
                                 minimal. On      the other
                                              On the   other hand,
                                                              hand, if   the buffer
                                                                      if the  buffer
      capacity
      capacity is    sufficient to
                  is sufficient  to resist  adjustment by
                                    resist adjustment     by tear
                                                               tear fluid
                                                                    fluid and     the
                                                                            and the
      overall
      overall eye
                eye pH
                     pH remains     acid for
                          remains acid    for an   appreciable period
                                               an appreciable     period of    time,
                                                                           of time,
      then stinging
      then  stinging andand discomfort
                            discomfort maymay result.
                                                result. Consequently,
                                                          Consequently, bufferbuffer
      capacity   should be
      capacity should     be adequate
                             adequate for    stability, but
                                         for stability,  but minimized
                                                             minimized so  so far  as
                                                                               far as
      possible,
      possible, toto allow  the overall
                     allow the   overall pH   of the
                                          pH of  the tear
                                                      tear fluid  to be
                                                           fluid to  be disrupted
                                                                          disrupted
      only  momentarily.
      only momentarily.
Ex. 1019,
Ex. 1019, 54.
          54.
      Remington is
      Remington is recommending
                   recommending aa buffer
                                   buffer to
                                          to stabilize
                                             stabilize an
                                                       an ophthalmic
                                                          ophthalmic
solution
solution for the product’s
         for the           shelf life,
                 product's shelf life, but
                                       but also
                                           also recommends
                                                recommends aa balance
                                                              balance with the
                                                                      with the
buffers capacity
buffers          to prevent
        capacity to         any resistance
                    prevent any            to adjustment
                                resistance to adjustment by
                                                         by tear
                                                            tear fluid
                                                                 fluid when
                                                                       when
the ophthalmic
the ophthalmic solution
               solution is
                        is applied to the
                           applied to the eye to provide
                                          eye to provide patient
                                                         patient comfort and
                                                                 comfort and
compliance.
compliance. Contrary to Dr.
            Contrary to Dr. Laskar's
                            Laskar’s testimony,
                                     testimony, the
                                                the record
                                                    record evidence shows
                                                           evidence shows
that buffers
that buffers are
             are recommended
                 recommended for
                             for ophthalmic
                                 ophthalmic solutions to maintain
                                            solutions to maintain shelf
                                                                  shelf life.
                                                                        life.
      Akorn also
      Akorn also discloses
                 discloses aa pH
                              pH range
                                 range of 3.5 to
                                       of 3.5 to 6.0
                                                 6.0 for
                                                     for its
                                                         its formulation that
                                                             formulation that
overlaps with the
overlaps with the pH
                  pH range at which
                     range at which atropine
                                    atropine was
                                             was known to be
                                                 known to be most
                                                             most stable,
                                                                  stable,
pH 3–5. Ex.
pH 3-5. Ex. 1002
            1002 ¶ 93;     Ex. 2003
                       see Ex.
                   93; see     2003 ¶ 45
                                      45 (Dr.
                                         (Dr. Laskar
                                              Laskar admits that "The
                                                     admits that “The
United States
United        Pharmacopeia/National
       States P                      Formulary
                harmacopeia/National F ormulary had
                                                had long
                                                    long required atropine
                                                         required atropine
sulfate
sulfate ophthalmic solution to
        ophthalmic solution to be
                               be packaged
                                  packaged for storage at
                                           for storage at aa solution
                                                             solution pH
                                                                      pH no
                                                                         no
greater than 6.0
greater than 6.0 and
                 and no
                     no less than 3.5.
                        less than 3.5.”).  Patent Owner
                                       "). Patent       takes issue
                                                  Owner takes       with the
                                                              issue with the
fact that we
fact that we don’t
             don't know the exact
                   know the exact pH of Alcorn's
                                  pH of Akorn’s formulation.
                                                 formulation. See Ex. 2003
                                                              See Ex. 2003
¶¶ 74.
   74. We
       We don’t
          don't find this argument
                find this argument persuasive as Akorn
                                   persuasive as Akorn teaches
                                                       teaches aa particular
                                                                  particular
pH
pH range
   range for
         for its
             its formulation
                 formulation for
                             for 1% atropine, which
                                 1% atropine, which informs
                                                    informs aa P
                                                               POSA
                                                                 OSA of the
                                                                     of the
appropriate
appropriate pH
            pH range,
               range, if
                      if not
                         not aa particular
                                particular point within the
                                           point within the range.
                                                            range. The
                                                                   The
appropriate
appropriate pH
            pH range set forth
               range set forth in Akorn overlaps
                               in Akorn overlaps with the claimed
                                                 with the claimed pH
                                                                  pH range
                                                                     range
in
in claim
   claim 1, and there
         1, and there is
                      is no
                         no dispute that pH
                            dispute that pH is
                                            is aa result
                                                  result effective variable for
                                                         effective variable for
the stability
the stability of
              of an
                 an atropine solution and
                    atropine solution and finding the optimum
                                          finding the optimum pH value for
                                                              pH value for an
                                                                           an


                                           46
                                           46
                                     Appx000046
                                     Appx000046
       Case: 23-2402      Document: 15      Page: 103    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
atropine solution is
atropine solution    within the
                  is within the level
                                level of
                                      of ordinary
                                         ordinary skill
                                                  skill of the art.
                                                        of the art. See Ex. 1002
                                                                    See Ex. 1002
¶¶ 96-98;
   96–98; Ex
          Ex. 1005 (showing how
              1005 (showing     to predict
                            how to predict half-lives of atropine
                                           half-lives of          solutions
                                                         atropine solutions
at various pH
at various    values and
           pH values and temperatures);
                         temperatures); Ex
                                        Ex. 2003
                                            2003 ¶¶ 38,
                                                    38, 61; Ex. 1078,
                                                        61; Ex. 1078,
143:11–144:5 (stating "a
143:11-144:5 (stating “a P
                         POSA   would be
                           O SA would be able
                                         able to
                                              to prepare
                                                 prepare aa buffer
                                                            buffer at
                                                                   at pHs
                                                                      pHs
within that range
within that range of
                  of 4.8 to 6.4).
                     4.8 to 6.4). This
                                  This evidence
                                       evidence is
                                                is sufficient to support
                                                   sufficient to support aa case
                                                                            case
of
of obviousness. See E.
   obviousness. See E.I.  DuPont de
                       I. DuPont de Nemours
                                    Nemours &
                                            & Co.
                                              Co. v. Synvina C.V.,
                                                  v. Synvina         904
                                                             C. V. , 904
F.3d
F .3d 996,
      996, 1006 (Fed. Cir.
           1006 (Fed.      2018) ("`
                      Cir. 2018) (“‘[W]here  there is
                                     [W]here there is aa range
                                                         range disclosed
                                                               disclosed in the
                                                                         in the
prior art, and
prior art,     the claimed
           and the claimed invention
                           invention falls
                                     falls within that range,
                                           within that        the burden
                                                       range, the burden of
                                                                         of
production
production falls
           falls upon the patentee
                 upon the          to come
                          patentee to come forward with evidence’”
                                           forward with evidence' of
                                                                   of
teaching away,
teaching away, unexpected
               unexpected results,
                          results, or other pertinent
                                   or other pertinent evidence
                                                      evidence of
                                                               of
nonobviousness.”).
nonobviousness.").
      Patent Owner
      Patent       also alleges
             Owner also alleges criticality
                                criticality of the claimed
                                            of the claimed pH
                                                           pH range
                                                              range set
                                                                    set forth
                                                                        forth
in the claims
in the        when providing
       claims when           an overview
                   providing an overview of the ’787
                                         of the '787 patent.
                                                     patent. See PO Resp.
                                                             See PO Resp.
15–19;     Ex. 2003
       see Ex.
15-19; see     2003 ¶¶ 156–158. Patent Owner
                       156-158. Patent       argues that
                                       Owner argues that the
                                                         the inventors
                                                             inventors
discovered that "using
discovered that “using aa buffer
                          buffer was
                                 was critical to atropine
                                     critical to atropine stability"
                                                          stability” for the
                                                                     for the
claimed
claimed low
        low dose
            dose in the claimed
                 in the claimed range. PO Resp.
                                range. PO Resp. 18.
                                                18. This
                                                    This is
                                                         is not
                                                            not
appropriate
appropriate objective
            objective evidence of nonobviousness
                      evidence of                to rebut
                                  nonobviousness to       Petitioner’s proof
                                                    rebut Petitioner's proof
of
of overlapping
   overlapping ranges between the
               ranges between the prior art and
                                  prior art     the claimed
                                            and the claimed pH
                                                            pH range
                                                               range
because regardless
because            of whether
        regardless of         the problem
                      whether the         of the
                                  problem of the stability
                                                 stability of
                                                           of atropine at low
                                                              atropine at low
doses was unexpected,
doses was             the result
          unexpected, the result of
                                 of using
                                    using aa buffer,
                                             buffer, pH
                                                     pH stability
                                                        stability for the range,
                                                                  for the range,
was
was not
    not unexpected.
        unexpected. The buffer is
                    The buffer    just doing
                               is just doing exactly what aa buffer
                                             exactly what    buffer does as
                                                                    does as
recognized: viz. , maintaining
recognized: viz.,  maintaining pH.     Ex. 1038,
                                   See Ex.
                               pH. See     1038, 22 (stating
                                                    (stating "primary
                                                             “primary purpose
                                                                      purpose
of
of aa buffer
      buffer is to control
             is to         the pH
                   control the pH of the solution”).
                                  of the solution"). The
                                                     The fact that the
                                                         fact that the claimed
                                                                       claimed
range
range for
      for aa stable
             stable low
                    low dose atropine solution
                        dose atropine          substantially overlapped
                                      solution substantially overlapped with
                                                                        with
the USP
the USP stated
        stated range
               range for
                     for atropine solutions is
                         atropine solutions    also not
                                            is also not surprising
                                                        surprising or
                                                                   or
unexpected.
unexpected.



                                       47
                                       47
                                  Appx000047
                                  Appx000047
       Case: 23-2402     Document: 15      Page: 104   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
     (3) Reason to
     (3) Reason to Combine with aa Reasonable
                   Combine with    Reasonable Expectation
                                              Expectation of
                                                          of Success
                                                             Success
      The Petitioner asserts
      The Petitioner asserts that
                             that aa P
                                     POSA  would have
                                       OSA would      been motivated
                                                 have been           to
                                                           motivated to
formulate
formulate lower-concentration
          lower-concentration formulations such as
                              formulations such    the claimed
                                                as the claimed composition
                                                               composition
in
in claim
   claim 1 to reduce
         1 to        “the side
              reduce "the side effects without significant
                               effects without significant loss
                                                           loss of
                                                                of efficacy.”
                                                                   efficacy."
Pet. 24
Pet. 24 (citing
        (citing Ex
                Ex. 1002
                    1002 ¶¶ 67–68). Recognizing
                         ¶¶ 67-68). Recognizing the
                                                the side
                                                    side effects of higher
                                                         effects of higher
concentration atropine solutions,
concentration atropine solutions, such
                                  such as
                                       as photophobia,
                                          photophobia, cycloplegia, and
                                                       cycloplegia, and
mydriasis,
mydriasis, causing
           causing poor
                   poor patient
                        patient compliance, Petitioner asserts
                                compliance, Petitioner         that Chia
                                                       asserts that Chia
studied
studied lower
        lower dose atropine compositions
              dose atropine              and concluded
                            compositions and           that "a
                                             concluded that “a nightly
                                                               nightly dose
                                                                       dose
of atropine at
of atropine at 0.01%
               0.01% seems to be
                     seems to be aa safe
                                    safe and
                                         and effective
                                             effective regimen
                                                       regimen for
                                                               for slowing
                                                                   slowing
myopia
myopia progression
       progression in
                   in children, with minimal
                      children, with minimal impact
                                             impact on visual function
                                                    on visual function in
                                                                       in
children.” Id. at
children." Id.    25 (citing
               at 25 (citing Ex
                             Ex. 1002
                                 1002 ¶ 69; Ex. 1003,
                                        69; Ex. 1003, 1,
                                                      1, 7,
                                                         7, 8).
                                                            8). This
                                                                This
conclusion, Petitioner asserts
conclusion, Petitioner asserts would
                               would have
                                     have motivated
                                          motivated aa P
                                                       POSA  “to pursue
                                                         OSA "to pursue aa
stable,
stable, ready-to-use
        ready-to-use formulation
                     formulation for that treatment."
                                 for that treatment.” Id. (citing Ex.
                                                      Id. (citing Ex. 1003,
                                                                      1003, 8;
                                                                            8;
Ex. 1002
Ex. 1002 ¶¶ 71–72).
            71-72).
      Petitioner further
      Petitioner further reasons that because
                         reasons that because using atropine to
                                              using atropine to treat
                                                                treat myopia
                                                                      myopia
requires
requires long-term treatment, aa P
         long-term treatment,    POSA  “would have
                                   OSA "would      been motivated
                                              have been           to
                                                        motivated to
increase the stability
increase the stability and
                       and shelf
                           shelf life
                                 life of
                                      of low-concentration
                                         low-concentration formulations.”
                                                           formulations."
Pet. 25
Pet. 25 (citing
        (citing Ex
                Ex 1003,
                   1003, 1; Ex. 1002
                         1; Ex. 1002 ¶¶
                                     ¶¶ 71–72).
                                        71-72). In
                                                In light of the
                                                   light of the teachings
                                                                teachings of
                                                                          of
Kondritzer, Petitioner
Kondritzer, Petitioner states that aa P
                       states that    POSA  would have
                                        OSA would have known that atropine's
                                                       known that atropine’s
stability was pH
stability was pH dependent, and "[i]n
                 dependent, and “[i]n selecting
                                      selecting aa suitable
                                                   suitable buffer
                                                            buffer system
                                                                   system for
                                                                          for
long-term
long-term stability of atropine
          stability of atropine solutions,
                                solutions, aa P
                                              POSA  would have
                                                OSA would have looked to
                                                               looked to
FDA-approved atropine
FDA-approved atropine ophthalmic solutions,” such
                      ophthalmic solutions," such as
                                                  as Alcorn.
                                                     Akorn. Pet.
                                                             Pet. 25-26
                                                                  25–26
(citing Ex.
(citing Ex. 1005; Ex. 1002
            1005; Ex. 1002 ¶¶
                           ¶¶ 43–45,
                              43-45, 74).
                                     74). In
                                          In addition to shelf
                                             addition to shelf life, Petitioner
                                                               life, Petitioner
asserts
asserts aa POSA
           POSA also would have
                also would      been concerned
                           have been           about patient
                                     concerned about patient comfort
                                                             comfort and
                                                                     and
compliance
compliance with
           with using the low-concentration
                using the                   atropine product
                          low-concentration atropine         and would
                                                     product and would
know that the
know that the pH
              pH for optimum patient
                 for optimum patient comfort
                                     comfort is the same
                                             is the same pH as tear
                                                         pH as tear fluid,
                                                                    fluid,
about
about 7.4. Id. at
      7.4. Id.    26–27. In
               at 26-27.    balancing stability
                         In balancing stability of atropine, which
                                                of atropine, which is
                                                                   is most
                                                                      most

                                      48
                                      48
                                 Appx000048
                                 Appx000048
       Case: 23-2402       Document: 15       Page: 105   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
stable
stable at
       at aa pH
             pH from
                from 33 to
                        to 55 according
                              according to
                                        to Kondritzer,
                                           Kondritzer, Petitioner
                                                       Petitioner asserts
                                                                  asserts that
                                                                          that "a
                                                                               “a
POSA
PO    would have
   SA would      been motivated
            have been           to increase
                      motivated to          the long-term
                                   increase the           stability of
                                                long-term stability of
Chia's low-concentration
Chia’s                   atropine at
       low-concentration atropine at pHs
                                     pHs closer to the
                                         closer to the clinically
                                                       clinically desirable
                                                                  desirable
pH of 7.4.”
pH of           at 27
            Id. at
      7.4." Id.    27 (citing
                      (citing Ex.
                              Ex. 1002
                                  1002 ¶¶ 78). Petitioner asserts
                                          78). Petitioner asserts that
                                                                  that aa P
                                                                          POSA
                                                                            OSA
would
would have
      have had
           had aa reasonable
                  reasonable expectation
                             expectation of
                                         of success
                                            success in
                                                    in doing
                                                       doing so by using
                                                             so by using
buffers, aa common
buffers,    common component
                   component in
                             in ophthalmic
                                ophthalmic compositions, to target
                                           compositions, to target "the
                                                                   “the
higher
higher end
       end of Akorn’s disclosed
           of Akorn's disclosed pH
                                pH range
                                   range in
                                         in order to optimize
                                            order to optimize stability
                                                              stability in
                                                                        in
view of
view of patient
        patient comfort
                comfort .. .. .. .” Id. at
                                 ." Id.    27–28.
                                        at 27-28.
       Patent Owner
       Patent Owner responds that the
                    responds that the low-concentration
                                      low-concentration atropine
                                                        atropine
formulations
formulations did
             did not
                 not contain buffers and
                     contain buffers and that
                                         that the
                                              the state
                                                  state of the art
                                                        of the art in 2015
                                                                   in 2015
taught excluding
taught           the use
       excluding the use of buffers. See
                         of buffers.     PO Resp.
                                     See PO Resp. 43–46.
                                                  43-46. We
                                                         We have
                                                            have
addressed Patent Owner’s
addressed Patent         argument that
                 Owner's argument that the
                                       the state
                                           state of the art
                                                 of the art in 2015 for
                                                            in 2015 for
ophthalmic solutions did
ophthalmic solutions did not teach buffers.
                         not teach buffers. As
                                            As we
                                               we found above, the
                                                  found above, the record
                                                                   record
evidence
evidence such as Remington
         such as Remington shows that buffers
                           shows that buffers are
                                              are recommended
                                                  recommended for
                                                              for
ophthalmic solutions to
ophthalmic solutions to maintain
                        maintain shelf
                                 shelf life.
                                       life.
       We also note
       We also      that the
               note that the prior
                             prior art
                                   art references
                                       references such as Chia
                                                  such as Chia described
                                                               described
studies to determine
studies to           the safety
           determine the        and efficacy
                         safety and efficacy of
                                             of low-dose atropine solutions
                                                low-dose atropine solutions
and
and were
    were not
         not commercially available formulations
             commercially available              that must
                                    formulations that must meet
                                                           meet FDA
                                                                FDA
requirements
requirements for
             for safety and efficacy.
                 safety and           Chia specifically
                            efficacy. Chia specifically states that "[a]tropine
                                                        states that “[a]tropine
0.01%
0.01% is
      is currently
         currently not
                   not commercially available.” Ex.
                       commercially available." Ex. 1003,
                                                    1003, 8.
                                                          8.
       Patent Owner
       Patent       also asserts
              Owner also asserts that
                                 that adding
                                      adding aa buffer
                                                buffer would
                                                       would decrease
                                                             decrease patient
                                                                      patient
comfort by maintaining
comfort by maintaining aa low
                          low pH
                              pH of the atropine
                                 of the          solution when
                                        atropine solution when
administered,
administered, causing
              causing increased tearing which
                      increased tearing which would
                                              would undermine
                                                    undermine efficacy by
                                                              efficacy by
washing
washing away the atropine.
        away the atropine. PO
                           PO Resp.
                              Resp. 46–48.
                                    46-48. We
                                           We do
                                              do not
                                                 not find this argument
                                                     find this argument
persuasive. As Remington
persuasive. As Remington explained,
                         explained, aa P
                                       POSA
                                         OSA must
                                             must choose
                                                  choose aa buffer
                                                            buffer to
                                                                   to
stabilize an ophthalmic
stabilize an ophthalmic solution,
                        solution, but
                                  but also balance the
                                      also balance the shelf-life
                                                       shelf-life of
                                                                  of the
                                                                     the
solution with aa buffering
solution with    buffering capacity that allows
                           capacity that allows aa patient’s tears to
                                                   patient's tears to easily
                                                                      easily

                                         49
                                         49
                                   Appx000049
                                   Appx000049
       Case: 23-2402     Document: 15      Page: 106   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
overcome an uncomfortable
overcome an uncomfortable acidic
                          acidic pH of the
                                 pH of the ophthalmic
                                           ophthalmic solution. See
                                                      solution. See
Ex. 1019,
Ex. 1019, 54. As Remington
          54. As Remington states,
                           states, "[bluffer
                                   “[b]uffer capacity
                                             capacity is the key,”
                                                      is the       and
                                                             key," and
“buffer capacity
"buffer capacity should be adequate
                 should be adequate for
                                    for stability, but minimized
                                        stability, but minimized so
                                                                 so far as
                                                                    far as
possible to allow
possible to allow the
                  the overall
                      overall pH of the
                              pH of the tear
                                        tear fluid to be
                                             fluid to be disrupted
                                                         disrupted only
                                                                   only
momentarily.”     Buffering does
              Id. Buffering
momentarily." Id.           does not
                                 not impede
                                     impede patient
                                            patient comfort when buffer
                                                    comfort when buffer
capacity
capacity is
         is properly assessed.
            properly assessed.
      We agree with
      We agree with Petitioner
                    Petitioner and
                               and Dr.
                                   Dr. Byrn
                                       Byrn that
                                            that "a
                                                 “a P
                                                    POSA  would have
                                                      OSA would      been
                                                                have been
motivated to formulate
motivated to formulate low-concentration atropine solutions
                       low-concentration atropine           that could
                                                  solutions that       be
                                                                 could be
administered at pHs
administered at pHs closer to those
                    closer to those that
                                    that provided
                                         provided optimal
                                                  optimal patient
                                                          patient compliance
                                                                  compliance
and
and clinical
    clinical efficacy, but that
             efficacy, but that could also remain
                                could also remain stable over long
                                                  stable over long periods
                                                                   periods of
                                                                           of
time.” Ex.
time." Ex. 1002
           1002 ¶ 78.
                  78. We
                      We determine that Petitioner
                         determine that Petitioner has
                                                   has shown
                                                       shown an
                                                             an
appropriate
appropriate reason to combine
            reason to         the teachings
                      combine the teachings of
                                            of Chia, Akorn, and
                                               Chia, Akorn,     Kondritzer
                                                            and Kondritzer
to arrive
to        at the
   arrive at the composition of claim
                 composition of claim 11 with
                                         with aa reasonable
                                                 reasonable expectation of
                                                            expectation of
success.
success.

                                 (4)
                                 (4) Conclusion
                                     Conclusion
      We
      We determine that Petitioner
         determine that Petitioner has shown by
                                   has shown by aa preponderance
                                                   preponderance of the
                                                                 of the
evidence that claim
evidence that claim 1
                    1 of the ’787
                      of the '787 patent would have
                                  patent would      been obvious
                                               have been obvious over
                                                                 over Chia,
                                                                      Chia,
Akorn, and
Akorn, and Kondritzer.
           Kondritzer.

                  d) Dependent
                  d) Dependent Claims 2, 4–9,
                               Claims 2,      and 12-19
                                         4-9, and 12–19
      Dependent claims
      Dependent        2, 4,
                claims 2, 4, and
                             and 5
                                 5 each
                                   each recite stabilized ophthalmic
                                        recite stabilized ophthalmic
compositions with narrow
compositions with narrow ranges of atropine
                         ranges of          or atropine
                                   atropine or          sulfate
                                               atropine sulfate
concentrations,
concentrations, i.e.,
                i.e., claim
                      claim 22—“from about 0.001
                               "from about       wt %
                                           0.001 wt % to
                                                      to about
                                                         about 0.03 wt %,"
                                                               0.03 wt %,”
claim
claim 4—“from about 0.01
      4 "from about      wt %
                    0.01 wt % to
                              to about
                                 about 0.02 wt %,"
                                       0.02 wt %,” claim
                                                   claim 5—“about
                                                         5 "about 0.01
                                                                  0.01
wt %.” Petitioner
wt %." Petitioner relies
                  relies on Chia’s teaching
                         on Chia's teaching of
                                            of 0.01% atropine, which
                                               0.01% atropine, which is
                                                                     is
within
within claim 2’s range,
       claim 2's        at the
                 range, at the lower
                               lower end of claim
                                     end of       4’s range,
                                            claim 4's range, and
                                                             and is the exact
                                                                 is the exact



                                      50
                                      50
                                  Appx000050
                                  Appx000050
       Case: 23-2402     Document: 15       Page: 107   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
amount
amount as
       as claimed
          claimed in
                  in claim
                     claim 5, to establish
                           5, to           that these
                                 establish that these dependent
                                                      dependent claims would
                                                                claims would
have been obvious
have been obvious as well. See
                  as well.     Pet. 35-36
                           See Pet. 35–36 (citing
                                          (citing Ex
                                                  Ex. 1002    110–113).
                                                      1002 ¶¶ 110-113).
      Patent Owner
      Patent Owner does
                   does not address these
                        not address these additional
                                          additional limitations
                                                     limitations apart
                                                                 apart from
                                                                       from
its
its arguments as to
    arguments as to claim
                    claim 1.
                          1. The
                             The reasons that we
                                 reasons that we set
                                                 set forth above for
                                                     forth above     the
                                                                 for the
determination that claim
determination that claim 1
                         1 would
                           would have been obvious
                                 have been obvious equally
                                                   equally apply
                                                           apply here.
                                                                 here. We
                                                                       We
determine that Petitioner
determine that Petitioner has
                          has shown by the
                              shown by the preponderance
                                           preponderance of the evidence
                                                         of the evidence on
                                                                         on
the record
the        before us
    record before    that claims
                  us that        2, 4,
                          claims 2, 4, and
                                       and 55 would
                                              would have been obvious
                                                    have been obvious over
                                                                      over
Chia, Akorn, and
Chia, Alcorn, and Kondritzer.
                  Kondritzer.
      Claims
      Claims 6 and 77 further
             6 and    further define the buffering
                              define the buffering agent
                                                   agent of
                                                         of claim
                                                            claim 11 to
                                                                     to include
                                                                        include
aa phosphate buffering agent
   phosphate buffering agent for
                             for claim
                                 claim 66 and “sodium dihydrogen
                                          and "sodium dihydrogen phosphate,
                                                                 phosphate,
disodium
disodium hydrogen
         hydrogen phosphate, or aa combination
                  phosphate, or                thereof” for
                                   combination thereof' for claim
                                                            claim 7, which
                                                                  7, which
Petitioner asserts
Petitioner         Akorn teaches.
           asserts Alcorn teaches. See Pet. 36
                                   See Pet. 36 (citing
                                               (citing Ex.
                                                       Ex. 1002    116–117;
                                                           1002 ¶¶ 116-117;
Ex. 1004,
Ex.       3). Patent
    1004, 3). Patent Owner
                     Owner reasserts the same
                           reasserts the      argument that
                                         same argument that itit raised
                                                                 raised with
                                                                        with
respect to claim
respect to claim 1,
                 1, namely, that Alcorn
                    namely, that Akorn does  not teach
                                        does not teach the
                                                       the claimed
                                                           claimed phosphate
                                                                   phosphate
buffers. See
buffers.     PO Resp.
         See PO Resp. 57. We have
                      57. We      addressed Patent
                             have addressed Patent Owner's
                                                   Owner’s arguments
                                                           arguments
with
with respect to claim
     respect to claim 1 and found
                      1 and       that Alcorn
                            found that Akorn does  teach the
                                              does teach the claimed
                                                             claimed
phosphate buffers.
phosphate buffers.
      Claim
      Claim 8
            8 further
              further requires
                      requires aa tonicity
                                  tonicity adjusting
                                           adjusting agent, and claim
                                                     agent, and claim 9
                                                                      9 further
                                                                        further
defines the tonicity
defines the tonicity agent
                     agent as
                           as aa halide
                                 halide salt of aa monovalent
                                        salt of    monovalent cation. Ex. 1001,
                                                              cation. Ex. 1001,
98:11–16. Petitioner asserts
98:11-16. Petitioner asserts that
                             that "[a]
                                  “[a] P
                                       POSA  would have
                                         OSA would have recognized that
                                                        recognized that
decreasing the concentration
decreasing the concentration of atropine sulfate
                             of atropine sulfate from Akorn’s 1%
                                                 from Akorn's 1% atropine
                                                                 atropine
sulfate
sulfate solution to Chia’s
        solution to Chia's 0.01% atropine sulfate
                           0.01% atropine sulfate solution would require
                                                  solution would         the
                                                                 require the
addition of aa tonicity
addition of    tonicity adjusting
                        adjusting agent to maintain
                                  agent to maintain eye
                                                    eye comfort”
                                                        comfort" due to aa
                                                                 due to
reduction
reduction in the amount
          in the amount of
                        of salt
                           salt in the solution.
                                in the           Pet. 37
                                       solution. Pet. 37 (citing
                                                         (citing Ex.
                                                                 Ex. 1002
                                                                     1002
¶¶ 122–124). Petitioner
¶¶ 122-124). Petitioner also asserts that
                        also asserts that sodium
                                          sodium chloride,
                                                 chloride, aa halide salt of
                                                              halide salt of aa
monovalent
monovalent cation,
           cation, is
                   is aa very
                         very common tonicity adjusting
                              common tonicity adjusting agent.
                                                        agent. Id. (citing
                                                               Id. (citing
Ex. 1002
Ex.      ¶¶ 123-124;
    1002 ¶¶ 123–124; Ex.
                     Ex. 1036, 1–3; Ex.
                         1036, 1-3; Ex. 1019,
                                        1019, 54).
                                              54).

                                       51
                                       51
                                 Appx000051
                                 Appx000051
       Case: 23-2402       Document: 15       Page: 108    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
       Patent Owner
       Patent Owner responds that Petitioner
                    responds that Petitioner has
                                             has not
                                                 not shown that aa reduction
                                                     shown that    reduction
from 1% to
from 1% to 0.01% atropine sulfate
           0.01% atropine sulfate will make enough
                                  will make enough difference
                                                   difference in the
                                                              in the
osmolarity to be
osmolarity to be material to the
                 material to the tonicity
                                 tonicity of
                                          of the
                                             the solution,
                                                 solution, and Petitioner failed
                                                           and Petitioner failed
to account
to account for the existing
           for the          tonicity of
                   existing tonicity of Akorn's
                                        Akorn’s formulation. PO Resp.
                                                formulation. PO Resp. 56.
                                                                      56.
       Dr. Byrn
       Dr. Byrn explains tonicity and
                explains tonicity and that
                                      that "isotonicity
                                           “isotonicity always
                                                        always is
                                                               is desirable
                                                                  desirable
and
and particularly
    particularly is
                 is important
                    important in
                              in intraocular
                                 intraocular solutions.” Ex. 1002
                                             solutions." Ex  1002 ¶ 122
                                                                    122
(citing Ex.
(citing Ex. 1019,
            1019, 54). Dr. Byrn
                  54). Dr. Byrn then
                                then testifies
                                     testifies that
                                               that aa reduction
                                                       reduction in the
                                                                 in the
concentration
concentration of atropine sulfate,
              of atropine sulfate, aa salt,
                                      salt, from
                                            from 1% to 0.01
                                                 1% to      % would
                                                       0.01 % would require
                                                                    require aa
tonicity adjusting
tonicity adjusting agent
                   agent for
                         for eye
                             eye comfort. Id. We
                                 comfort. Id. We credit Dr. Byrn's
                                                 credit Dr. Byrn’s testimony
                                                                   testimony
as
as it
   it is
      is reasonable that aa 100-fold
         reasonable that    100-fold decrease
                                     decrease in the concentration
                                              in the               of atropine
                                                     concentration of atropine
sulfate
sulfate in the solution
        in the solution would
                        would require some tonicity
                              require some tonicity adjustment.
                                                    adjustment.
       Patent Owner
       Patent Owner does
                    does not address the
                         not address the additional
                                         additional limitations
                                                    limitations of
                                                                of claims 12–
                                                                   claims 12-
18 apart from
18 apart from its arguments as
              its arguments    to claim
                            as to claim 1.
                                        1. Claims
                                           Claims 12, 13, and
                                                  12, 13, and 14
                                                              14 further
                                                                 further
require,
require, respectively,
         respectively, aa preservative,
                          preservative, in
                                        in aa particular
                                              particular concentration, and aa list
                                                         concentration, and    list
of
of particular
   particular preservatives, which Chia
              preservatives, which      and/or Alcorn
                                   Chia and/or Akorn teach.
                                                      teach. See Pet. 38-39
                                                             See Pet. 38–39
(citing Ex.
(citing Ex. 1002
            1002 ¶¶
                 ¶¶ 126–132; Ex. 1003,
                    126-132; Ex.       2; Ex
                                 1003, 2; Ex. 1022 1–2; Ex.
                                              1022 1-2; Ex. 1023,
                                                            1023, 1).
                                                                  1).
Claim
Claim 15
      15 further
         further requires that the
                 requires that the stabilized
                                   stabilized ophthalmic
                                              ophthalmic composition
                                                         composition is
                                                                     is
“essentially free
"essentially free of
                  of procaine and benactyzine,
                     procaine and benactyzine, or
                                               or pharmaceutically
                                                  pharmaceutically
acceptable
acceptable salts thereof,” which
           salts thereof," which Petitioner
                                 Petitioner asserts
                                            asserts is taught by
                                                    is taught by the
                                                                 the absence
                                                                     absence of
                                                                             of
these ingredients
these ingredients in Chia and
                  in Chia and Alcorn.
                              Akorn. See  Pet. 39
                                      See Pet. 39 (citing
                                                  (citing Ex
                                                          Ex. 1002
                                                              1002 ¶¶ 133–
                                                                   ¶¶ 133-
138; Ex. 1003;
138; Ex.       Ex. 1004,
         1003; Ex.       3; Ex.
                   1004, 3; Ex. 1019,
                                1019, 52).
                                      52). Claims
                                           Claims 16 and 17
                                                  16 and 17 further
                                                            further require
                                                                    require
topical administration
topical administration and
                       and instillation,
                           instillation, respectively, which Petitioner
                                         respectively, which Petitioner asserts
                                                                        asserts
is taught by
is taught by Chia
             Chia and Akorn. See
                  and Alcorn.     Pet. 40
                              See Pet. 40 (citing
                                          (citing Ex
                                                  Ex. 1002    139–143; Ex.
                                                      1002 ¶¶ 139-143; Ex.
1003, 1; Ex.
1003, 1; Ex. 1004, 1–4). Claim
             1004, 1-4). Claim 18
                               18 further
                                  further requires administering the
                                          requires administering the
atropine
atropine composition through an
         composition through an eye
                                eye drop bottle, which
                                    drop bottle, which Petitioner
                                                       Petitioner asserts
                                                                  asserts is
                                                                          is
disclosed by Alcorn.
disclosed by Akorn. Pet.
                     Pet. 41
                          41 (citing
                             (citing Ex.
                                     Ex. 1002
                                         1002 ¶¶ 144–148; Ex. 1004,
                                                 144-148; Ex. 1004, 1–4).
                                                                    1-4).



                                         52
                                         52
                                   Appx000052
                                   Appx000052
       Case: 23-2402     Document: 15       Page: 109   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
      We
      We have
         have reviewed Petitioner’s assertions
              reviewed Petitioner's assertions in the Petition
                                               in the Petition concerning
                                                               concerning
claims 12–18 and
claims 12-18 and Dr.
                 Dr. Byrn's
                     Byrn’s testimony
                            testimony in support, and
                                      in support, and determine that
                                                      determine that
Petitioner has
Petitioner     shown by
           has shown by aa preponderance of the
                           preponderance of the evidence that these
                                                evidence that these claims
                                                                    claims
would
would have been obvious
      have been obvious over Chia, Akorn,
                        over Chia, Akorn, and
                                          and Kondritzer.
                                              Kondritzer.
      Dependent claim
      Dependent claim 19
                      19 recites: “A method
                         recites: "A method of treating the
                                            of treating the pre-myopia,
                                                            pre-myopia,
myopia,
myopia, or
        or progression
           progression of
                       of myopia
                          myopia in an individual
                                 in an individual in
                                                  in need thereof,
                                                     need thereof,
comprising administering to
comprising administering to an
                            an eye of the
                               eye of the individual an effective
                                          individual an           amount of
                                                        effective amount of
the stabilized
the stabilized ophthalmic
               ophthalmic composition
                          composition of
                                      of claim
                                         claim 1.” Ex. 1001,
                                               1." Ex.       98:52–57.
                                                       1001, 98:52-57.
Petitioner asserts
Petitioner         that claim
           asserts that       19’s requirement
                        claim 19's requirement for
                                               for aa method
                                                      method of treating is
                                                             of treating is
taught by
taught by Chia which found
          Chia which       “that administration
                     found "that administration of
                                                of its
                                                   its 0.01% atropine
                                                       0.01% atropine
solution, via eyedrops,
solution, via           was effective
              eyedrops, was           to treat
                            effective to treat myopia
                                               myopia and
                                                      and progression of
                                                          progression of
myopia.” Pet. 41
myopia." Pet.    (quoting Ex
              41 (quoting Ex. 1003,
                              1003, 1).
                                    1).
      Patent Owner
      Patent Owner raises
                   raises similar arguments as
                          similar arguments as itit did
                                                    did for
                                                        for claim
                                                            claim 1 that Chia
                                                                  1 that Chia
was an unbuffered
was an            solution and
       unbuffered solution and that
                               that buffering
                                    buffering decreased
                                              decreased patient
                                                        patient comfort.
                                                                comfort.
    Pet. 56–57.
See Pet.
See      56-57. We
                We have addressed these
                   have addressed these arguments
                                        arguments with
                                                  with regard to claim
                                                       regard to claim 1
                                                                       1
and
and find them unavailing
    find them unavailing here as well.
                         here as well.
      We
      We determine that Petitioner
         determine that Petitioner has
                                   has shown by aa preponderance
                                       shown by    preponderance of the
                                                                 of the
evidence that claim
evidence that claim 19
                    19 would
                       would have been obvious
                             have been obvious over
                                               over Chia,
                                                    Chia, Akorn,
                                                          Akorn, and
                                                                 and
Kondritzer.
Kondritzer.

                           E. Remaining
                           E. Remaining Grounds
                                        Grounds
      Because we
      Because we have
                 have determined that all
                      determined that all challenged
                                          challenged claims
                                                     claims are
                                                            are
unpatentable as obvious
unpatentable as obvious over
                        over Chia, Akorn, and
                             Chia, Akorn,     Kondritzer, we
                                          and Kondritzer, we need
                                                             need not
                                                                  not
reach the issue
reach the       of whether
          issue of whether these
                           these same
                                 same claims are also
                                      claims are      unpatentable under
                                                 also unpatentable under
Grounds
Grounds 22 and 3. Therefore,
           and 3.            we do
                  Therefore, we do not
                                   not reach these grounds.
                                       reach these grounds.




                                       53
                                       53
                                 Appx000053
                                 Appx000053
       Case: 23-2402        Document: 15        Page: 110    Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2
                               III.
                               III. CONCLUSION 16
                                    CONCLUSION16
       For the
       For the foregoing
               foregoing reasons,
                         reasons, we
                                  we conclude Petitioner has
                                     conclude Petitioner     shown by
                                                         has shown by aa
preponderance
preponderance of the evidence
              of the          that claims
                     evidence that claims 1, 2, 4–9,
                                          1, 2,      and 12-19
                                                4-9, and 12–19 of
                                                               of the
                                                                  the ’787
                                                                      '787
patent are unpatentable.
patent are unpatentable.
                                     IV. ORDER
                                     IV. ORDER
       In
       In consideration
          consideration of the foregoing,
                        of the foregoing, it
                                          it is
                                             is hereby:
                                                hereby:
       ORDERED that Patent
       ORDERED that Patent Owner's
                           Owner’s Motion
                                   Motion to
                                          to Exclude
                                             Exclude Evidence
                                                     Evidence is
                                                              is
denied;
denied;
       FURTHER ORDERED
       FURTHER ORDERED that
                       that claims
                            claims 1, 2, 4-9,
                                   1, 2, 4–9, 12-19
                                              12–19 of U.S. Patent
                                                    of U.S. Patent
No. 10,842,787
No.            B2 have
    10,842,787 B2      been shown
                  have been       by aa preponderance
                            shown by    preponderance of the evidence
                                                      of the          to
                                                             evidence to
be unpatentable
be unpatentable under 35 U.S.C.
                under 35 U.S.C. §§ 103;
                                   103; and
                                        and
       FURTHER ORDERED
       FURTHER ORDERED that
                       that because
                            because this
                                    this is
                                         is aa Final
                                               Final Written Decision,
                                                     Written Decision,
parties to the
parties to the proceeding seeking judicial
               proceeding seeking judicial review
                                           review of the decision
                                                  of the decision must
                                                                  must
comply
comply with the notice
       with the notice and
                       and service
                           service requirements of 37
                                   requirements of 37 C.F.R.
                                                      C.F.R. §
                                                             § 90.2.
                                                               90.2.


       In summary:
       In summary:




16 Should    Patent Owner
                     Owner wish    to pursue  amendment of      the challenged
                                                                     challenged claims
16
   Should Patent             wish to  pursue amendment      of the                claims
in a  reissue  or reexamination    proceeding   subsequent   to  the  issuance
in a reissue or reexamination proceeding subsequent to the issuance of this     of this
decision,
decision, we we draw   Patent Owner’s
                 draw Patent             attention to
                               Owner's attention   to the
                                                      the April
                                                          April 2019
                                                                  2019 Notice
                                                                         Notice
Regarding Options
Regarding               for Amendments
               Optionsfor   Amendments by     Patent Owner
                                           by Patent  Owner Through        Reissue or
                                                               Through Reissue      or
Reexamination       During  a Pending   AIA  Trial  Proceeding.     See
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.    84 Fed.  Reg.
16,654    (Apr. 22,
16,654 (Apr.     22, 2019).
                      2019). If Patent
                                 atent Owner
                             If Patent Owner chooses     to file
                                                chooses to  file aa reissue
                                                                    reissue application
                                                                             application
or
or aa request
      request for
                for reexamination
                    reexamination of   the challenged
                                    of the challenged patent,
                                                        patent, wewe remind    Patent
                                                                      remind Patent
Owner
Owner of  of its
             its continuing
                 continuing obligation   to notify
                             obligation to         the Board
                                            notify the Board of of any
                                                                   any such
                                                                         such related
                                                                               related
matters
matters in in updated  mandatory notices.
              updated mandatory                   37 C.F.R.
                                             See 37
                                    notices. See     C.F.R. § § 42.8(a)(3),   (b)(2).
                                                                 42.8(a)(3), (b)(2).

                                           54
                                           54
                                    Appx000054
                                    Appx000054
       Case: 23-2402    Document: 15         Page: 111   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2

 Claim(s)
 Claim(s)     35
              35     Reference(s)/Basis
                     Reference(s)/Basis             Claim(s)
                                                    Claim(s)      Claim(s)
                                                                  Claim(s)
            U.S.C. §
            U.S.C. §                                 Shown
                                                     Shown       Not shown
                                                                 Not shown
                                                 Unpatentable Unpatentable
                                                 Unpatentable   Unpatentable
 1, 2, 4–9,
 1, 2, 4-9, 103
            103         Chia, Akorn,
                        Chia, Alcorn,            1, 2, 4–9,
                                                 1, 2,      12–
                                                       4-9, 12-
 12–19
 12-19                  Kondritzer
                        Kondritzer               19
                                                 19
 1, 2, 4–9,
 1, 2, 4-9, 103
            103         Chia, Akorn,
                        Chia, Alcorn,
 12–19
 12-19                  Lund
                        Lund' 17

 1, 2, 4–9,
 1, 2, 4-9, 103
            103         Akorn, Wu,
                        Alcorn,  Wu,
 12–19
 12-19                  Kondritzer 18
                        Kondritzer18
 Overall
 Overall                                         1, 2, 4–9,
                                                 1, 2, 4-9, 12–
                                                            12—
 Outcome
 Outcome                                         19
                                                 19




17
17 Because we
   Because we find these claims
              find these        are unpatentable
                         claims are unpatentable over
                                                   over Chia, Akorn, and
                                                        Chia, Alcorn, and
Kondritzer, we
Kondritzer, we do
               do not
                  not determine  their patentability
                      determine their  patentability under this ground.
                                                     under this ground.
18
   Because we
18 Because we find these claims
              find these        are unpatentable
                         claims are unpatentable over
                                                   over Chia, Akorn, and
                                                        Chia, Alcorn, and
Kondritzer, we
Kondritzer, we do
               do not
                  not determine  their patentability
                      determine their  patentability under this ground.
                                                     under this ground.


                                        55
                                        55
                                Appx000055
                                Appx000055
      Case: 23-2402    Document: 15    Page: 112   Filed: 02/01/2024
IPR2022-00384
IPR2022-00384
Patent 10,842,787
Patent            B2
       10,842,787 B2

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FOR PETITIONER:

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Peter Cuomo
Williams Dixon
Williams Dixon
Thomas
Thomas Wintner
         Wintner
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                                  56
                                  56
                             Appx000056
                             Appx000056
      Case: 23-2402   Document: 15     Page: 113   Filed: 02/01/2024
Trials@uspto.gov
Trials@uspto.gov                                                 Paper 38
                                                                 Paper 38
571-272-7822
571-272-7822                                          Date: July
                                                      Date: July 13, 2023
                                                                 13, 2023


      UNITED STATES
      UNITED        PATENT AND
             STATES PATENT AND TRADEMARK
                               TRADEMARK OFFICE
                                         OFFICE


       BEFORE THE
       BEFORE     PATENT TRIAL
              THE PATENT       AND APPEAL
                         TRIAL AND APPEAL BOARD
                                          BOARD


                         EYENOVIA, INC.,
                         EYENOVIA,    INC.,
                            Petitioner,
                            Petitioner,

                                  v.
                                  v.

                         SYDNEXIS,   INC.,
                         SYDNEXIS, INC.,
                           Patent Owner.
                           Patent Owner.


                          IPR2022-00414
                          IPR2022-00414
                        Patent 10,940,145
                        Patent            B2
                               10,940,145 B2



Before JOHN
Before JOHN G.  NEW, SUSAN
             G. NEW,          L. C.
                        SUSAN L.    MITCHELL, and
                                 C. MITCHELL, and JAMIE
                                                  JAMIE T.
                                                        T. WISZ,
                                                           WISZ,
Administrative Patent
Administrative Patent Judges.
                      Judges.
MITCHELL, Administrative
MITCHELL, Administrative Patent
                         Patent Judge.
                                Judge.



                            JUDGMENT
                            JUDGMENT
                       Final Written
                       Final          Decision
                             Written Decision
              Denying Patent
             Denying  Patent Owner's
                             Owner’s Motion
                                       Motion to
                                               to Exclude
                                                  Exclude
           Determining All
           Determining All Challenged
                           Challenged Claims   Unpatentable
                                       Claims Unpatentable
                         35 U.S.C.
                         35         § 318(a)
                             U.S.C. '318(a)




                            Appx000057
                            Appx000057
       Case: 23-2402     Document: 15        Page: 114   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
                           I.
                           I.   INTRODUCTION
                                INTRODUCTION

                       A. Background
                       A. Background and
                                     and Summary
                                         Summary
      On
      On January
         January 7, 2022, Eyenovia,
                 7, 2022, Eyenovia, Inc.
                                    Inc. ("Petitioner")
                                         (“Petitioner”) filed
                                                        filed aa Petition
                                                                 Petition
requesting an inter
requesting an       partes review
              inter partes        of claims
                           review of        1–7 and
                                     claims 1-7 and 11-20
                                                    11–20 of
                                                          of U.S.
                                                             U.S. Patent
                                                                  Patent
No. 10,940,145
No.            B2 (Ex
    10,940,145 B2 (Ex. 1001, “the ’145
                       1001, "the '145 patent”). Paper 1,
                                       patent"). Paper    (“Petition” or
                                                       1, ("Petition" or
“Pet.”). Sydnexis,
"Pet."). Sydnexis, Inc. (“Patent Owner”)
                   Inc. ("Patent Owner") filed
                                         filed aa Preliminary
                                                  Preliminary Response
                                                              Response to
                                                                       to the
                                                                          the
Petition on
Petition on April
            April 18, 2022. Paper
                  18, 2022. Paper 66 ("Prelim.
                                     (“Prelim. Resp.").
                                               Resp.”). With
                                                        With our
                                                             our
authorization, Petitioner filed
authorization, Petitioner filed aa Reply
                                   Reply to
                                         to the
                                            the Preliminary
                                                Preliminary Response
                                                            Response
addressing the public
addressing the public accessibility
                      accessibility of Exhibit 1004
                                    of Exhibit        and Patent
                                               100411 and Patent Owner's
                                                                 Owner’s
proposed
proposed claim
         claim construction
               construction for “buffer” and
                            for "buffer" and "buffering
                                             “buffering agent.” See
                                                        agent." See
Ex. 3001;
Ex. 3001; Paper
          Paper 7. Also, with
                7. Also, with our authorization, Patent
                              our authorization, Patent Owner
                                                        Owner filed
                                                              filed aa Sur-
                                                                       Sur-
reply
reply in
      in response.     Ex. 3001;
                   See Ex.
         response. See     3001; Paper
                                 Paper 8.
                                       8.
      On
      On July
         July 15, 2022, we
              15, 2022, we granted
                           granted institution
                                   institution of an inter
                                               of an       partes review
                                                     inter partes        of
                                                                  review of
claims 1–7 and
claims 1-7     11–20 of
           and 11-20 of the
                        the ’145
                            '145 patent on all
                                 patent on all grounds
                                               grounds set
                                                       set forth
                                                           forth in the
                                                                 in the
Petition. See
Petition.     Paper 99 ("Dec.")
          See Paper    (“Dec.”) 2,
                                2, 34.
                                   34.
      Patent Owner
      Patent Owner filed
                   filed aa Response
                            Response on
                                     on October
                                        October 21,
                                                21, 2022,
                                                    2022, see Paper 20
                                                          see Paper 20
(“PO Resp."),
("PO Resp.”), and
              and Petitioner
                  Petitioner filed
                             filed aa Reply
                                      Reply on
                                            on January
                                               January 13, 2023, see
                                                       13, 2023,     Paper 22
                                                                 see Paper 22
(“Reply”). Patent
("Reply"). Patent Owner
                  Owner filed
                        filed its
                              its Sur-Reply
                                  Sur-Reply on February 24,
                                            on February 24, 2023.
                                                            2023.
Paper 25
Paper 25 ("Sur-Reply").
         (“Sur-Reply”). An
                        An oral
                           oral hearing was held
                                hearing was held on April 14,
                                                 on April     2023, and
                                                          14, 2023, and aa
transcript of
transcript    this hearing
           of this         was entered
                   hearing was entered into the record.
                                       into the         Paper 37
                                                record. Paper 37 ("Tr.").
                                                                 (“Tr.”).
      Patent Owner
      Patent Owner filed
                   filed aa Motion
                            Motion to
                                   to Exclude
                                      Exclude Evidence
                                              Evidence on
                                                       on March
                                                          March 24,
                                                                24, 2023.
                                                                    2023.
Patent Owner
Patent       seeks to
       Owner seeks to exclude Exhibit 1002,
                      exclude Exhibit       the Declaration
                                      1002, the Declaration of
                                                            of Dr.
                                                               Dr. Byrn,
                                                                   Byrn,
Petitioner’s declarant,
Petitioner's            Exs. 1004
             declarant, Exs.      and 1057
                             1004 and 1057 constituting the Alcorn
                                           constituting the Akorn labels,  and
                                                                   labels, and
Exhibits 1079
Exhibits      through 1088,
         1079 through       Eyenovia’s Reply
                      1088, Eyenovia's Reply exhibits. Paper 30.
                                             exhibits. Paper 30.


1
  Atropine Sulfate
1 Atropine         Ophthalmic Solution,
           Sulfate Ophthalmic            USP 1%,
                               Solution, USP     NDA 206289
                                             1%, NDA 206289 Product
                                                            Product
Label (July
Label (July 2014)
            2014) (Ex.
                   (Ex. 1004, “Akorn”).
                        1004, "Alcorn").

                                         2
                                         2
                                Appx000058
                                Appx000058
       Case: 23-2402       Document: 15     Page: 115    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
Petitioner opposed
Petitioner         the motion,
           opposed the motion, see Paper 31,
                               see Paper 31, and
                                             and Patent
                                                 Patent Owner
                                                        Owner filed
                                                              filed aa reply,
                                                                       reply,
    Paper 33.
see Paper
see       33. For
              For the
                  the reasons
                      reasons set
                              set forth
                                  forth herein, the motion
                                        herein, the motion is denied.
                                                           is denied.
      This
      This is
           is aa Final
                 Final Written Decision under
                       Written Decision under 35
                                              35 U.S.C.
                                                 U.S.C. §§ 318(a)
                                                           318(a) as to the
                                                                  as to the
patentability of the
patentability of the challenged
                     challenged claims on which
                                claims on       we instituted
                                          which we            trial. Based
                                                   instituted trial. Based on
                                                                           on
the complete
the complete record before us,
             record before us, we
                               we determine
                                  determine as
                                            as set
                                               set forth below that
                                                   forth below that
Petitioner has
Petitioner     shown by
           has shown by aa preponderance of the
                           preponderance of the evidence that claims
                                                evidence that claims
1–7 and
1-7 and 11–20
        11-20 of the ’145
              of the '145 patent
                          patent are
                                 are unpatentable.
                                     unpatentable.

                           B. Real
                           B. Real Parties
                                   Parties in Interest
                                           in Interest
      The
      The parties
          parties identify themselves as
                  identify themselves as the
                                         the real
                                             real parties-in-interest. Pet. 62;
                                                  parties-in-interest. Pet. 62;
Paper 4,
Paper 4, 2;
         2; Paper
            Paper 28,
                  28, 2.
                      2.

                              C. Related Matters
                              C. Related Matters
      Petitioner states
      Petitioner        that they
                 states that they have
                                  have filed
                                       filed petitions
                                             petitions for
                                                       for inter partes review
                                                           inter partes review
of
of related
   related patents U.S. Patent
           patents U.S. Patent No.
                               No. 10,842,787 and U.S.
                                   10,842,787 and U.S. Patent
                                                       Patent No.
                                                              No.
10,888,557. Pet. 62.
10,888,557. Pet. 62. Petitioner
                     Petitioner further
                                further states that the
                                        states that the ’145
                                                        '145 patent
                                                             patent issued
                                                                    issued
from an application
from an application that
                    that is
                         is aa continuation
                               continuation of U.S.
                                            of U.    Application No.
                                                  S. Application No.
16/677,538,
16/677,538, which
            which in turn is
                  in turn is aa continuation
                                continuation of U.S. Application
                                             of U.S. Application No.
                                                                 No.
15/568,381.     Petitioner avers
            Id. Petitioner
15/568,381. Id.            avers that
                                 that U.
                                      U.S.  Application No.
                                         S. Application No. is
                                                            is aa national
                                                                  national
phase application of
phase application    International Application
                  of International Application No.
                                               No. PCT/US2016/029222,
                                                   PCT/US2016/029222,
which in
which    turn is
      in turn is aa continuation-in-part
                    continuation-in-part application
                                         application of U.S. Application
                                                     of U.S. Application
number
number 14/726,139 that issued
       14/726,139 that        as U.S.
                       issued as U.S. Patent
                                      Patent No.
                                             No. 9,421,199 (“the ’199
                                                 9,421,199 ("the '199
patent).     According to
         Id. According
patent). Id.           to Petitioner,
                          Petitioner, the
                                      the ’199
                                          '199 patent
                                               patent was
                                                      was challenged
                                                          challenged in
                                                                     in
IPR2021-00439 by Nevakar,
IPR2021-00439 by Nevakar, Inc.
                          Inc. Id.
                               Id. at 62–63. Petitioner
                                   at 62-63. Petitioner states
                                                        states that
                                                               that
IPR2021-00439 and other
IPR2021-00439 and other petitions
                        petitions filed by Nevakar,
                                  filed by Nevakar, Inc. were terminated
                                                    Inc. were terminated
due to settlement
due to settlement prior to institution.
                  prior to              Id. at
                           institution. Id.    63.
                                            at 63.
      Patent Owner
      Patent Owner identifies IPR2022-00384 and
                   identifies IPR2022-00384 and IPR2022-00415
                                                IPR2022-00415 as
                                                              as
related
related matters. Paper 4,
        matters. Paper    2; Paper
                       4, 2; Paper 28,
                                   28, 2.
                                       2.

                                        3
                                        3
                                  Appx000059
                                  Appx000059
       Case: 23-2402      Document: 15        Page: 116   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
                             D. The
                             D. The ’145  Patent
                                     '145 Patent
      The
      The ’145
          '145 patent
               patent relates to ophthalmic
                      relates to ophthalmic compositions
                                            compositions for the treatment
                                                         for the treatment
of an ophthalmic
of an ophthalmic disorder,
                 disorder, such as pre-myopia,
                           such as pre-myopia, myopia,
                                               myopia, or the progression
                                                       or the progression
of
of myopia. Ex. 1001,
   myopia. Ex  1001, 5:7–11.
                     5:7-11. The
                             The ’145
                                 '145 patent
                                      patent explains that muscarinic
                                             explains that muscarinic
antagonists,
antagonists, such as atropine,
             such as atropine, prevent
                               prevent or
                                       or arrest the development
                                          arrest the             of myopia
                                                     development of myopia in
                                                                           in
humans.     at 9:52–58.
        Id. at
humans. Id.    9:52-58.
    The
    The ’145
        '145 patent states that
             patent states that the
                                the clinical
                                    clinical use of atropine
                                             use of atropine for therapy had
                                                             for therapy had
been limited
been limited due to side
             due to side effects,
                         effects, such
                                  such as
                                       as glare
                                          glare from
                                                from pupillary
                                                     pupillary dilation and
                                                               dilation and
blurred vision.
blurred vision. Id. at 12:23–26.
                Id. at 12:23-26. The
                                 The Specification attributes these
                                     Specification attributes these effects to
                                                                    effects to
high
high concentrations
     concentrations of atropine (e.g.,
                    of atropine (e.g., 11 wt%
                                          wt% or
                                              or higher).
                                                 higher). Id. at 12:26–31.
                                                          Id. at 12:26-31.
The
The Specification
    Specification explains also that
                  explains also that some
                                     some muscarinic antagonist
                                          muscarinic antagonist
compositions were formulated
compositions were            with lower
                  formulated with lower pH values (e.g.,
                                        pH values (e.g., less than 4.5)
                                                         less than      to
                                                                   4.5) to
promote
promote stability
        stability of the muscarinic
                  of the            antagonist. Id.
                         muscarinic antagonist.     at 10:5–9.
                                                Id. at         Lower pH
                                                       10:5-9. Lower pH
values, however,
values, however, cause
                 cause discomfort
                       discomfort or
                                  or other side effects,
                                     other side effects, such
                                                         such as
                                                              as pain or aa
                                                                 pain or
burning sensation
burning sensation in the eye,
                  in the      which can
                         eye, which     be prevented
                                    can be prevented or
                                                     or alleviated by
                                                        alleviated by
formulating
formulating muscarinic
            muscarinic antagonist
                       antagonist compositions at higher
                                  compositions at higher pH
                                                         pH ranges. Id. at
                                                            ranges. Id. at
10:9–13.
10:9-13.
      According to
      According to the
                   the ’145
                       '145 patent, “there is
                            patent, "there is aa need
                                                 need for
                                                      for aa stabilized
                                                             stabilized
ophthalmic
ophthalmic composition
           composition with
                       with extended
                            extended shelf
                                     shelf life
                                           life upon
                                                upon storage”
                                                     storage" and there is
                                                              and there is aa
need
need for stabilizing such
     for stabilizing such aa composition by arresting
                             composition by           or reducing
                                            arresting or reducing hydrolysis
                                                                  hydrolysis
of at least
of at least some
            some of
                 of its active agents.
                    its active agents. Id. at 9:47–52.
                                       Id. at 9:47-52. In view of
                                                       In view    this, the
                                                               of this, the
Specification
Specification contemplates
              contemplates low
                           low concentrations
                               concentrations of
                                              of ophthalmic
                                                 ophthalmic agents (e.g.,
                                                            agents (e.g.,
from about 0.0001
from about 0.0001 wt% to about
                  wt% to about 0.5
                               0.5 wt%). Id. at
                                   wt%). Id. at 12:32–37. For instance,
                                                12:32-37. For instance,
the ’145
the '145 patent
         patent describes ophthalmic compositions
                describes ophthalmic              that include
                                     compositions that include from about
                                                               from about
0.001 wt% to
0.001 wt% to about
             about 0.05 wt% of
                   0.05 wt% of aa muscarinic
                                  muscarinic antagonist,
                                             antagonist, such
                                                         such as atropine or
                                                              as atropine or
atropine sulfate, and
atropine sulfate, and water.     at 6:64-66,
                             Id. at
                      water. Id.    6:64–66, 7:5–6.
                                             7:5-6. The
                                                    The ’145
                                                        '145 patent
                                                             patent describes
                                                                    describes
pH values for
pH values     the ophthalmic
          for the ophthalmic compositions (e.g., less
                             compositions (e.g.,      than about
                                                 less than about 7.3)
                                                                 7.3) and
                                                                      and

                                         44
                                 Appx000060
                                 Appx000060
       Case: 23-2402     Document: 15        Page: 117   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
that the
that the compositions
         compositions have
                      have aa certain
                              certain potency
                                      potency after
                                              after aa period
                                                       period of time under
                                                              of time under
storage
storage conditions. Id. at
        conditions. Id. at 7:13–38. Additionally, the
                           7:13-38. Additionally, the ’145
                                                      '145 patent states that
                                                           patent states that
the ophthalmic
the ophthalmic compositions
               compositions may
                            may include
                                include aa buffer
                                           buffer agent.
                                                  agent. Id. at 7:57–58.
                                                         Id. at 7:57-58.

                            E. Illustrative
                            E. Illustrative Claims
                                            Claims
      Petitioner challenges
      Petitioner challenges claims 1–7 and
                            claims 1-7 and 11-20
                                           11–20 of
                                                 of the
                                                    the ’145
                                                        '145 patent.
                                                             patent.
Claim
Claim 1
      1 is the only
        is the only independent
                    independent claim. For this
                                claim. For this Final
                                                Final Written Decision,
                                                      Written Decision,
independent
independent claim
            claim 1 (set forth
                  1 (set       below with
                         forth below with bracketed
                                          bracketed letters to identify
                                                    letters to identify
specific
specific limitations
         limitations for
                     for ease of reference)
                         ease of reference) is
                                            is illustrative of the
                                               illustrative of the claimed
                                                                   claimed
subject
subject matter.
        matter.
      1.
      1.    1[a] A kit
            1[a] A kit comprising:
                       comprising:
           1[b]
           1[b] a.a. aa vial
                        vial comprising
                             comprising aa pharmaceutical
                                           pharmaceutical
      composition, the pharmaceutical
      composition, the pharmaceutical composition
                                       composition comprising:
                                                    comprising:
                   1[c]
                    l[c] i.i. about
                              about 0.01 mg/g to
                                    0.01 mg/g to about
                                                 about 0.5
                                                       0.5 mg/g of
                                                           mg/g of
             atropine
             atropine or atropine sulfate;
                      or atropine  sulfate;
                    1[d] ii.
                    1[d] ii. water; and
                             water; and
                    1[e]
                    1[e] iii.
                         iii. aa buffer;
                                 buffer; and
                                         and
      1[f] b. instructions
      l[f] b. instructions for
                           for use.
                               use.
Ex. 1001,
Ex. 1001, 99:12–19.
          99:12-19.
       Dependent claims
       Dependent        2 and
                 claims 2 and 33 provide
                                 provide additional
                                         additional limitations to further
                                                    limitations to further
refine the range
refine the range for the amount
                 for the amount of
                                of atropine
                                   atropine or atropine sulfate
                                            or atropine         of claim
                                                        sulfate of claim 1.
                                                                         1.
    Ex. 1001,
See Ex.
See           99:20–27. Dependent
        1001, 99:20-27. Dependent claims
                                  claims 4 and 55 further
                                         4 and    further defines the
                                                          defines the
buffer of
buffer of claim
          claim 1.     id. at
                   See id.
                1. See     at 99:28–35. Dependent claim
                              99:28-35. Dependent claim 66 further
                                                           further requires
                                                                   requires aa
tonicity agent,
tonicity agent, and
                and dependent
                    dependent claim
                              claim 7
                                    7 further
                                      further defines the tonicity
                                              defines the tonicity agent. See
                                                                   agent. See
id. at 99:36–39.
id. at           Dependent claims
       99:36-39. Dependent        10–14 has
                           claims 10-14 has further
                                            further requirements
                                                    requirements for
                                                                 for
preservative
preservative in the composition.
             in the                  id. at
                                 See id.
                    composition. See     at 100:4–17. Dependent claim
                                            100:4-17. Dependent       15
                                                                claim 15
further
further requires the composition
        requires the             to be
                     composition to be free of procaine
                                       free of procaine and benactyzine (see
                                                        and benactyzine (see
id. at 100:17–19);
id. at 100:17-19); dependent
                   dependent claims
                             claims 16 through 18
                                    16 through 18 further
                                                  further requires
                                                          requires


                                        55
                                 Appx000061
                                 Appx000061
         Case: 23-2402     Document: 15         Page: 118   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
particular
particular pH
           pH ranges
              ranges for the composition
                     for the             (see id.
                             composition (see     at 100:20–25);
                                              id. at 100:20-25); dependent
                                                                 dependent
claim
claim 19
      19 further
         further requires the composition
                 requires the             be aa solution
                              composition be             (see id.
                                                solution (see id. at
                                                                  at 100:26–
                                                                     100:26-
27); and
27); and dependent
         dependent claim 20 further
                   claim 20 further requires the composition
                                    requires the             be sterile
                                                 composition be         (see
                                                                sterile (see
id. at 100:28–29).
id. at 100:28-29).

                       F. Prior
                       F. Prior Art
                                Art and
                                    and Asserted
                                        Asserted Grounds
                                                 Grounds
        Petitioner asserts
        Petitioner         that claims
                   asserts that        1–7 and
                                claims 1-7 and 11–20 would have
                                               11-20 would      been
                                                           have been
unpatentable
unpatentable on the following
             on the following grounds:
                              grounds:
    Claims
    Claims Challenged
           Challenged         35 U.S.C.
                              35 U.S.C. §2
                                        §2              Reference(s)/Basis
                                                        Reference(s)/Basis
    1–7 and
    1-7 and 11-20
            11–20                  103
                                   103            Chia, 3 Alcorn4
                                                  Chia,'  Akorn 4
    1–7 and
    1-7 and 11-20
            11–20                  103
                                   103            Akorn, Wu
                                                  Alcorn, Wu 55

        Petitioner also
        Petitioner also relies
                        relies upon the Declaration
                               upon the Declaration of
                                                    of Stephen Byrn, Ph.D.
                                                       Stephen Byrn, Ph.D.
(Ex. 1002).
(Ex.        Patent Owner
     1002). Patent Owner relies
                         relies upon the Declaration
                                upon the Declaration of
                                                     of Paul
                                                        Paul A.
                                                             A. Laskar,
                                                                Laskar,
Ph.D. (Ex
Ph.D. (Ex. 2003).
           2003).




2
2 The  Leahy-Smith America
  The Leahy-Smith      America Invents     Act ("AIA"),
                                 Invents Act   (“AIA”), Pub.
                                                          Pub. L.L. No.
                                                                    No. 112-29,
                                                                         112–29, 125
                                                                                   125
Stat. 284 (2011),
Stat. 284 (2011), amended
                    amended 35  35 U.
                                    U.S.C.
                                      S.C. §§
                                            §§ 102
                                               102 and
                                                   and 103,
                                                        103, effective    March 16,
                                                              effective March     16,
2013. Because
2013.  Because the
                 the application
                      application from     which the
                                    from which   the ’145
                                                     '145 patent
                                                           patent issued
                                                                    issued has  an
                                                                           has an
effective
effective filing
          filing date
                 date after   that date,
                       after that        the AIA
                                   date, the AIA version
                                                  version of
                                                           of §§ 103   applies.
                                                                 103 applies.
3
  Audrey Chia
3 Audrey  Chia et   al., Atropine
                 et al., Atropineforfor the
                                        the Treatment  of Childhood
                                            Treatment of                Myopia:
                                                          Childhood Myopia:
Safety  and  Efficacy  of  0.5%,  0.1%,   and 0.01%   Doses  (Atropine
Safety and Efficacy of0. 5%, 0.1%, and 0.01% Doses (Atropinefor           for the
                                                                              the
Treatment   of Myopia     2), 119 O                    347−54 (2012)
                                     PHTHALMOLOGY 347-54
Treatment ofMyopia 2), 119 OPHTHALMOLOGY                         (2012) (Ex.
                                                                          (Ex. 1003,
                                                                                1003,
“Chia”).
"Chia").
4
  Atropine Sulfate
4 Atropine           Ophthalmic Solution,
            Sulfate Ophthalmic                 USP 1%,
                                     Solution, USP        NDA 206289
                                                     1%, NDA     206289 Product
                                                                           Product
Label (July
Label  (July 2014)
              2014) (Ex.
                     (Ex. 1004,    “Akorn”).
                            1004, "Alcorn").
5 WO   2014/182620 Al,  A1, published    November 13,    2014 (Ex.
                                                                (Ex. 1006,   “Wu”).
5
  WO 2014/182620             published November      13, 2014         1006, "Wu").

                                           66
                                    Appx000062
                                    Appx000062
        Case: 23-2402        Document: 15          Page: 119   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
                                    II. ANALYSIS
                                    II. ANALYSIS
                                A. Principles
                                A. Principles ofLaw
                                              of Law
                                       1.
                                       1.     Burden
                                              Burden
       “In an
       "In    [inter partes
           an [inter partes review], the petitioner
                            review], the petitioner has the burden
                                                    has the burden from the
                                                                   from the
onset to show
onset to show with
              with particularity why the
                   particularity why the patent
                                         patent it
                                                it challenges
                                                   challenges is
                                                              is
unpatentable.” Harmonic Inc.
unpatentable." Harmonic Inc. v. Avid Tech.,
                             v. Avid        Inc., 815
                                     Tech., Inc.,     F.3d 1356,
                                                  815 F.3d 1356, 1363 (Fed.
                                                                 1363 (Fed.
Cir. 2016 (citing
Cir. 2016 (citing 35
                  35 U.S.C.
                     U.S.C. §§ 312(a)(3)
                               312(a)(3) (requiring
                                         (requiring inter partes review
                                                    inter partes review
petitions to identify
petitions to          “with particularity
             identify "with particularity .. .. .. the
                                                   the evidence that supports
                                                       evidence that          the
                                                                     supports the
grounds
grounds for the challenge
        for the           to each
                challenge to each claim”)).
                                  claim")). Therefore,
                                            Therefore, in an inter
                                                       in an       partes
                                                             inter partes
review, the burden
review, the burden of
                   of proof
                      proof is
                            is on the Petitioner
                               on the Petitioner to
                                                 to show
                                                    show that
                                                         that the
                                                              the challenged
                                                                  challenged
claims are unpatentable,
claims are               and that
           unpatentable, and that burden
                                  burden never
                                         never shifts to the
                                               shifts to the patentee.
                                                             patentee. See 35
                                                                       See 35
U.S.C. §§ 316(e);
U.S.C.    316(e); In
                  In re Magnum Oil
                     re Magnum Oil Tools        Ltd., 829
                                         Int’l, Ltd.,
                                   Tools Intl,            F.3d 1364,
                                                      829 F.3d 1364, 1375
                                                                     1375
(Fed. Cir.
(Fed. Cir. 2016)
           2016) (citing
                 (citing Dynamic
                         Dynamic Drinkware,
                                 Drinkware, LLC
                                            LLC v. Nat’l Graphics,
                                                v. Nat'l           Inc.,
                                                         Graphics, Inc.,
800 F.3d 1375,
800 F.3d 1375, 1378 (Fed. Cir.
               1378 (Fed. Cir. 2015)).
                               2015)).

                                  2.
                                  2.        Obviousness
                                            Obviousness
       To
       To ultimately
          ultimately prevail
                     prevail in
                             in its
                                its challenge to Patent
                                    challenge to Patent Owner's
                                                        Owner’s claims,
                                                                claims,
Petitioner must
Petitioner must demonstrate by aa preponderance
                demonstrate by                  of the
                                  preponderance of the evidence   that the
                                                       evidence66 that the
claims are unpatentable.
claims are               35 U.S.C.
           unpatentable. 35 U.S.C. §§ 316(e);
                                      316(e); 37
                                              37 C.F.R.
                                                 C. F . R. §
                                                           § 42.1(d). A patent
                                                             42.1(d). A patent
claim
claim is
      is unpatentable
         unpatentable under 35 U.
                      under 35 U.S.C.
                                  S.C. §
                                       § 103
                                         103 if the differences
                                             if the             between the
                                                    differences between the
claimed
claimed subject
        subject matter and the
                matter and the prior art are
                               prior art     such that
                                         are such that the
                                                       the subject
                                                           subject matter
                                                                   matter as
                                                                          as aa
whole would have
whole would      been obvious
            have been         at the
                      obvious at the time
                                     time the
                                          the invention was made
                                              invention was      to aa
                                                            made to
person
person having
       having ordinary skill in
              ordinary skill    the art
                             in the art to
                                        to which
                                           which said
                                                 said subject
                                                      subject matter
                                                              matter pertains
                                                                     pertains


6
6 The burden of
  The burden   of showing
                   showing something
                             something by  by aa preponderance
                                                 preponderance of      the evidence
                                                                    of the  evidence
requires the trier
requires the trier of
                    of fact to believe
                       fact to believe that
                                         that the
                                              the existence
                                                  existence ofof aa fact
                                                                    fact is
                                                                         is more
                                                                             more
probable  than its
probable than   its nonexistence     before the
                    nonexistence before     the trier
                                                 trier of
                                                       of fact
                                                          fact may
                                                               may find
                                                                      find in
                                                                            in favor
                                                                               favor of
                                                                                      of
the party
the party who
          who carries    the burden.
                carries the  burden. Concrete       Pipe &
                                         Concrete Pipe        Prods. of
                                                           & Prods.      Cal., Inc.
                                                                       ofCal.,   Inc. v.
                                                                                      v.
Constr.  Laborers Pension
Constr. Laborers     Pension Tr.    for S.
                               Tr. for     Cal., 508
                                        S. Cal.,      U.S.
                                                 508 U.      602, 622
                                                          S. 602,       (1993).
                                                                   622 (1993).

                                              77
                                       Appx000063
                                       Appx000063
       Case: 23-2402     Document: 15        Page: 120   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
(“POSA”
("P      or "POSITA").
    OSA" or “POSITA”). KSR
                       KSR Intl
                           Int’l Co.
                                 Co. v.
                                     v. Teleflex Inc., 550
                                        Teleflex Inc.,     U.S. 398,
                                                       550 U.S. 398, 406
                                                                     406
(2007). The
(2007). The question
            question of
                     of obviousness
                        obviousness is
                                    is resolved on the
                                       resolved on the basis
                                                       basis of
                                                             of underlying
                                                                underlying
factual
factual determinations
        determinations including: (1) the
                       including: (1) the scope and content
                                          scope and content of the prior
                                                            of the       art;
                                                                   prior art;
(2) any
(2) any differences between the
        differences between the claimed subject matter
                                claimed subject matter and the prior
                                                       and the       art;
                                                               prior art;
(3) the
(3) the level of ordinary
        level of ordinary skill
                          skill in the art;
                                in the art; and (4) objective
                                            and (4) objective evidence
                                                              evidence of
                                                                       of
nonobviousness.
nonobviousness. Graham
                Graham v. John Deere
                       v. John Deere Co., 383 U.S.
                                     Co., 383 U.S. 1, 17–18 (1966).
                                                   1, 17-18 (1966).
      In
      In determining
         determining obviousness
                     obviousness when
                                 when all
                                      all elements of aa claim
                                          elements of    claim are
                                                               are found
                                                                   found in
                                                                         in
various pieces
various        of prior
        pieces of       art, "the
                  prior art, “the factfinder
                                  factfinder must
                                             must further
                                                  further consider the factual
                                                          consider the factual
questions
questions of whether aa person
          of whether           of ordinary
                        person of ordinary skill
                                           skill in the art
                                                 in the art would be motivated
                                                            would be motivated
to combine
to         those references,
   combine those             and whether
                 references, and whether in
                                         in making that combination,
                                            making that combination, aa
person
person of
       of ordinary skill would
          ordinary skill       have had
                         would have had aa reasonable
                                           reasonable expectation of
                                                      expectation of
success.” Dome Patent
success." Dome Patent L.P.
                      L.P. v. Lee, 799
                           v. Lee,     F.3d 1372,
                                   799 F.3d 1372, 1380 (Fed. Cir.
                                                  1380 (Fed.      2015);
                                                             Cir. 2015);
see also
see also WMS
         WMS Gaming, Inc. v.
             Gaming, Inc.    Int’l Game
                          v. Int'l      Tech., 184
                                   Game Tech.,     F.3d 1339,
                                               184 F.3d 1339, 1355 (Fed.
                                                              1355 (Fed.
Cir.
Cir. 1999) (“When an
     1999) ("When an obviousness
                     obviousness determination
                                 determination relies
                                               relies on the combination
                                                      on the combination
of two or
of two or more
          more references, there must
               references, there      be some
                                 must be some suggestion
                                              suggestion or
                                                         or motivation to
                                                            motivation to
combine the references.”).
combine the                “Both the
            references."). "Both the suggestion
                                     suggestion and the expectation
                                                and the             of
                                                        expectation of
success
success must be founded
        must be founded in the prior
                        in the       art, not
                               prior art, not in the applicant's
                                              in the applicant’s disclosure.”
                                                                 disclosure."
In re
In    Dow Chemical
   re Dow          Co., 837
          Chemical Co.,     F.2d 469,
                        837 F.2d 469, 473 (Fed. Cir.
                                      473 (Fed. Cir. 1988); see also
                                                     1988); see also In
                                                                     In re
                                                                        re
Magnum Oil
Magnum     Tools, 829
       Oil Tools,     F.3d at
                  829 F.3d at 1381 (finding aa party
                              1381 (finding          that petitions
                                               party that           the
                                                          petitions the
Board for
Board for aa determination of unpatentability
             determination of                 based on
                              unpatentability based on obviousness
                                                       obviousness must
                                                                   must
show that "a
show that “a skilled
             skilled artisan
                     artisan would
                             would have been motivated
                                   have been           to combine
                                             motivated to         the
                                                          combine the
teachings of
teachings    the prior
          of the prior art
                       art references to achieve
                           references to         the claimed
                                         achieve the claimed invention, and
                                                             invention, and
that the
that the skilled
         skilled artisan
                 artisan would
                         would have
                               have had
                                    had aa reasonable
                                           reasonable expectation of success
                                                      expectation of success in
                                                                             in
doing so.”) (internal
doing so.") (internal quotations and citations
                      quotations and citations omitted).
                                               omitted).
      An obviousness
      An obviousness analysis
                     analysis "need
                              “need not seek out
                                    not seek out precise teachings directed
                                                 precise teachings directed
to the
to the specific
       specific subject
                subject matter of the
                        matter of the challenged
                                      challenged claim,
                                                 claim, for
                                                        for aa court
                                                               court can take
                                                                     can take
account of the
account of the inferences and creative
               inferences and creative steps that aa person
                                       steps that           of ordinary
                                                     person of ordinary skill
                                                                        skill in
                                                                              in

                                        88
                                 Appx000064
                                 Appx000064
       Case: 23-2402       Document: 15          Page: 121     Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
the art
the art would
        would employ.” KSR, 550
              employ." KSR,     U.S.
                            550 U.    at 418;
                                   S. at 418; see
                                              see In
                                                  In re
                                                     re Translogic
                                                        Translogic Tech,
                                                                   Tech,
Inc., 504
Inc.,     F.3d
      504 F. 3d 1249, 1259 (Fed.
                1249, 1259 (Fed. Cir. 2007). In
                                 Cir. 2007).         the Supreme
                                                KSR, the
                                             In KSR,             Court also
                                                         Supreme Court also
stated that an
stated that an invention may be
               invention may be found
                                found obvious
                                      obvious if trying aa course
                                              if trying    course of
                                                                  of conduct
                                                                     conduct
would
would have been obvious
      have been         to aa POSITA:
                obvious to    POSITA:
             When
             When therethere is
                             is aa design
                                   design need
                                            need or
                                                  or market
                                                     market pressure
                                                              pressure toto solve
                                                                            solve aa
      problem  and there
      problem and       there are
                              are aa finite
                                     finite number
                                             number of of identified,
                                                          identified, predictable
                                                                       predictable
      solutions,
      solutions, aa person
                      person ofof ordinary
                                   ordinary skill
                                              skill has
                                                     has good
                                                         good reason
                                                                reason toto pursue
                                                                             pursue
      the known
      the known options       within his
                    options within     his or
                                           or her  technical grasp.
                                              her technical   grasp. If
                                                                      If this
                                                                         this leads
                                                                              leads
      to the
      to  the anticipated
              anticipated success,
                                success, it it is
                                                is likely   the product
                                                   likely the    product notnot ofof
      innovation
      innovation but  but of
                           of ordinary     skill and
                              ordinary skill      and common
                                                       common sense.
                                                                   sense. In    that
                                                                            In that
      instance the fact
      instance the          that aa combination
                       fact that     combination was  was obvious
                                                           obvious toto try
                                                                         try might
                                                                              might
      show  that itit was
      show that       was obvious
                           obvious under
                                      under §§ 103.
                                                103.
550 U.S.
550 U.    at 421.
       S. at 421. Section
                  Section 103 “bars patentability
                          103 "bars patentability unless
                                                  unless ‘the
                                                         `the improvement
                                                              improvement is
                                                                          is
more than the
more than the predictable
              predictable use of prior
                          use of prior art
                                       art elements according to
                                           elements according to their
                                                                 their
established
established functions.’”  In re
            functions. '" In    Kubin, 561
                             re Kubin,     F.3d
                                       561 F .3d 1351,
                                                 1351, 1359–60 (Fed. Cir.
                                                       1359-60 (Fed. Cir.
2009) (citing
2009) (citing KSR,
              KSR, 550 U.S. at
                   550 U.S. at 417).
                               417).
      We analyze the
      We analyze the asserted
                     asserted grounds of unpatentability
                              grounds of unpatentability in accordance with
                                                         in accordance with
the above-stated
the above-stated principles.
                 principles.

                      B. Level
                      B. Level of
                               of Ordinary Skill in
                                  Ordinary Skill in the Art
                                                    the Art
      We
      We consider the asserted
         consider the asserted grounds of unpatentability
                               grounds of unpatentability in view of
                                                          in view    the
                                                                  of the
understanding of aa person
understanding of    person of
                           of ordinary
                              ordinary skill
                                       skill in the art.
                                             in the art. KSR,
                                                         KSR, 550 U.S. at
                                                              550 U.S. at 399
                                                                          399
(stating that
(stating that obviousness
              obviousness is
                          is determined against the
                             determined against the backdrop
                                                    backdrop of the scope
                                                             of the scope and
                                                                          and
content of the
content of the prior art, the
               prior art, the differences between the
                              differences between the prior art and
                                                      prior art and the
                                                                    the claims
                                                                        claims
at
at issue, and the
   issue, and the level of ordinary
                  level of          skill in
                           ordinary skill    the art).
                                          in the art). Factual
                                                       Factual indicators of the
                                                               indicators of the
level of ordinary
level of ordinary skill
                  skill in the art
                        in the art include “the various
                                   include "the various prior
                                                        prior art approaches
                                                              art approaches
employed, the types
employed, the types of
                    of problems
                       problems encountered
                                encountered in the art,
                                            in the art, the
                                                        the rapidity with
                                                            rapidity with
which
which innovations are made,
      innovations are       the sophistication
                      made, the sophistication of
                                               of the
                                                  the technology
                                                      technology involved,
                                                                 involved,
and the educational
and the             background of
        educational background of those
                                  those actively
                                        actively working
                                                 working in the field.”
                                                         in the field."
Jacobson Bros.,
Jacobson Bros., Inc.
                Inc. v. U.S., 512
                     v. U.S.,     F.2d 1065,
                              512 F.2d 1065, 1071 (Ct. Cl.
                                             1071 (Ct. Cl. 1975); see also
                                                           1975); see also

                                            99
                                    Appx000065
                                    Appx000065
       Case: 23-2402     Document: 15       Page: 122    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
Orthopedic Equip. Co.
Orthopedic Equip. Co. v. U.S., 702
                      v. U.S.,     F.2d 1005,
                               702 F.2d 1005, 1011 (Fed. Cir.
                                              1011 (Fed. Cir. 1983)
                                                              1983)
(quoting with
(quoting with approval Jacobson Bros.).
              approval Jacobson Bros.).
      Petitioner asserts
      Petitioner         that "[a]
                 asserts that “[a] person
                                   person of
                                          of ordinary
                                             ordinary skill
                                                      skill in the art
                                                            in the art (TOSA')
                                                                       (‘POSA’)
at the time
at the time of the purported
            of the purported invention would have
                             invention would have had
                                                  had aa Ph.D.
                                                         Ph.D. in
                                                               in chemistry,
                                                                  chemistry,
organic
organic chemistry,
        chemistry, physical
                   physical chemistry, or pharmaceutics,
                            chemistry, or                with several
                                          pharmaceutics, with         years
                                                              several years
of
of experience
   experience preparing and/or testing
              preparing and/or testing pharmaceutical
                                       pharmaceutical formulations.”
                                                      formulations."
Pet. 20
Pet. 20 (citing
        (citing Ex
                Ex. 1002
                    1002 ¶¶ 61–62). Petitioner
                         ¶¶ 61-62). Petitioner further
                                               further contends that "[a]
                                                       contends that “[a]
POSA would
POSA would have been familiar
           have been          with common
                     familiar with common inactive
                                          inactive ingredients
                                                   ingredients used
                                                               used in
                                                                    in
aqueous
aqueous pharmaceutical
        pharmaceutical formulations and the
                       formulations and the basic
                                            basic characteristics
                                                  characteristics of
                                                                  of
aqueous
aqueous formulations
        formulations such
                     such as
                          as stability,
                             stability, and would have
                                        and would have had
                                                       had knowledge
                                                           knowledge
about
about drug
      drug degradation
           degradation kinetics.” Id.
                       kinetics." Id.
      Patent Owner
      Patent Owner asserts
                   asserts that
                           that aa narrower
                                   narrower definition
                                            definition of
                                                       of aa POSA
                                                             POSA should
                                                                  should be
                                                                         be
employed—one that includes
employed one that includes expertise
                           expertise in
                                     in ophthalmic
                                        ophthalmic formulation.
                                                   formulation.
PO Resp.
PO Resp. 4.   Patent Owner
         4.'7 Patent       states that
                     Owner states that Petitioner's
                                       Petitioner’s declarant, Dr. Byrn,
                                                    declarant, Dr. Byrn, has
                                                                         has
“extremely limited
"extremely limited experience with ophthalmic
                   experience with ophthalmic formulation,”
                                              formulation," which “calls
                                                            which "calls
into
into serious
     serious question whether he
             question whether he is
                                 is qualified to opine
                                    qualified to opine on the perspective
                                                       on the perspective of
                                                                          of aa
POSA
P OSA in the relevant
      in the relevant field.”     at 5.
                              Id. at
                      field." Id.    5.
      We
      We do
         do not agree with
            not agree with Patent
                           Patent Owner
                                  Owner that
                                        that the
                                             the level
                                                 level of
                                                       of ordinary
                                                          ordinary skill
                                                                   skill in
                                                                         in
the art
the art should be limited
        should be         to experience
                  limited to            with ophthalmic
                             experience with ophthalmic formulation.
                                                        formulation. The
                                                                     The
claims at issue
claims at issue generally
                generally require
                          require aa kit
                                     kit with
                                         with aa vial
                                                 vial of
                                                      of aa pharmaceutical
                                                            pharmaceutical
composition
composition of atropine, water,
            of atropine, water, and
                                and buffer,
                                    buffer, and
                                            and instructions
                                                instructions for
                                                             for use. See
                                                                 use. See
Ex. 1001,
Ex.       99:12–19 (claim
    1001, 99:12-19 (claim 1). As Dr.
                          1). As Dr. Byrn
                                     Byrn points
                                          points out, the technology
                                                 out, the technology
surrounding use
surrounding     of atropine,
            use of atropine, aa nonselective
                                nonselective muscarinic
                                             muscarinic antagonist, to treat
                                                        antagonist, to treat
myopia,
myopia, has been extensively
        has been             studied for
                 extensively studied for over
                                         over aa hundred years and
                                                 hundred years and is
                                                                   is known
                                                                      known

7
7Although Patent
 Although    Patent Owner
                    Owner disagrees   with Petitioner's
                            disagrees with Petitioner’s definition of aa POSA,
                                                        definition of    POSA,
Patent Owner
Patent Owner does
               does not
                     not provide
                         provide its own definition
                                 its own             apart from
                                          definition apart from including
                                                                 including
expertise
expertise in
          in ophthalmic
             ophthalmic formulation.        PO Resp.
                                       See PO
                          formulation. See       Resp. 4–7.
                                                       4-7.

                                       10
                                       10
                                 Appx000066
                                 Appx000066
       Case: 23-2402     Document: 15       Page: 123   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
as "the
as “the oldest and most
        oldest and most effective
                        effective pharmacological treatment to
                                  pharmacological treatment to inhibit the
                                                               inhibit the
development
development of myopia.” See
            of myopia."     Ex. 1002
                        See Ex. 1002 ¶ 26
                                       26 (quoting
                                          (quoting Ex.
                                                   Ex. 1008,
                                                       1008, 1) (citing
                                                             1) (citing
Ex. 1003,
Ex.       1; Ex.
    1003, 1; Ex. 1012, 2). The
                 1012, 2). The degradation
                               degradation of atropine is
                                           of atropine    also well
                                                       is also well known to
                                                                    known to
primarily
primarily result
          result from
                 from cleavage of the
                      cleavage of the acyl-oxygen
                                      acyl-oxygen bond
                                                  bond during
                                                       during ester
                                                              ester
hydrolysis,     id. ¶ 43
            see id.
hydrolysis, see          (citing Ex
                      43 (citing Ex. 1017,
                                     1017, 1; Ex. 1024,
                                           1; Ex  1024, 5),
                                                        5), with the rate
                                                            with the      of
                                                                     rate of
acid-catalyzed reaction
acid-catalyzed          being much
               reaction being      slower than
                              much slower than that
                                               that of
                                                    of the
                                                       the base-catalyzed
                                                           base-catalyzed
reaction,
reaction, leading to stability
          leading to stability of atropine at
                               of atropine at aa lower
                                                 lower pH
                                                       pH range (pH <
                                                          range (pH < ~3), see
                                                                      —3), see
id. ¶¶ 45
id.       (citing Ex
       45 (citing Ex. 1005,
                      1005, 1,4–5).
                            1,4-5). Concerning
                                    Concerning specifically the use
                                               specifically the use of
                                                                    of
atropine in
atropine    the eye,
         in the      Dr. Byrn
                eye, Dr. Byrn points
                              points out that itit is
                                     out that         well known
                                                   is well       that ophthalmic
                                                           known that ophthalmic
solutions should
solutions        be "formulated
          should be “formulated to
                                to be
                                   be sterile,
                                      sterile, isotonic and buffered
                                               isotonic and buffered for
                                                                     for
stability and
stability and comfort.”     Ex. 1002
                        See Ex.
              comfort." See     1002 ¶ 47 (quoting Ex.
                                       47 (quoting Ex. 1019,
                                                       1019, 52) (noting
                                                             52) (noting
Ex. 1019,
Ex. 1019, 54 (pH of
          54 (pH    tear fluid
                 of tear fluid is
                               is 7.4).
                                  7.4).
      None of
      None of this
              this chemistry
                   chemistry concerning the stability
                             concerning the           of atropine
                                            stability of atropine or
                                                                  or its
                                                                     its
administration in
administration    the eye
               in the eye is
                          is remarkable or not
                             remarkable or not well
                                               well understood by aa POSA
                                                    understood by    POSA as
                                                                          as
defined by Petitioner.
defined by Petitioner. See PO Resp.
                       See PO Resp. 10 (stating "the
                                    10 (stating “the stability of atropine
                                                     stability of atropine
was understood
was            to be
    understood to be aa ‘predictable
                        `predictable function,’
                                     function,' and
                                                and aa ‘routine matter,’ of
                                                       `routine matter,' of
temperature and
temperature and solution
                solution pH”),
                         pH"), 40–41 (same). We
                               40-41 (same).    see no
                                             We see no reason why
                                                       reason why
someone with
someone with drug
             drug formulation
                  formulation experience, but not
                              experience, but     specific experience
                                              not specific            with
                                                           experience with
ophthalmic solutions,
ophthalmic            would not
           solutions, would not qualify as aa POSA.
                                qualify as    POSA. Therefore, we continue
                                                    Therefore, we continue
to apply
to apply Petitioner's
         Petitioner’s definition of aa P
                      definition of    POSA
                                         OSA in this final
                                             in this       written decision.
                                                     final written decision.

                           C.
                           C. Claim
                              Claim Construction
                                    Construction
      The Board applies
      The Board applies the
                        the same
                            same claim
                                 claim construction
                                       construction standard that would
                                                    standard that would be
                                                                        be
used to construe
used to          the claim
        construe the claim in
                           in aa civil action under
                                 civil action under 35
                                                    35 U.S.C.
                                                       U.S.C. §§ 282(b).
                                                                 282(b).
37 C.F.R.
37 C.F.R. §§ 100(b)
             100(b) (2019).
                    (2019). Under
                            Under that
                                  that standard,
                                       standard, claim terms "are
                                                 claim terms “are generally
                                                                  generally
given their ordinary
given their ordinary and
                     and customary meaning” as
                         customary meaning" as understood
                                               understood by
                                                          by aa person of
                                                                person of
ordinary
ordinary skill
         skill in the art
               in the art at the time
                          at the time of the invention.
                                      of the            Phillips v.
                                             invention. Phillips    AWH Corp.,
                                                                 v. AWH Corp.,


                                       11
                                       11
                                 Appx000067
                                 Appx000067
       Case: 23-2402     Document: 15      Page: 124   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
415 F.3d 1303,
415 F.3d 1303, 1312–13 (Fed. Cir.
               1312-13 (Fed. Cir. 2005)
                                  2005) (en
                                        (en banc)
                                            banc) (quoting
                                                  (quoting Vitronics
                                                           Vitronics Corp.
                                                                     Corp.
v.
v. Conceptronic,       90 F.3d
                 Inc., 90
   Conceptronic, Inc.,    F.3d 1576,
                               1576, 1582 (Fed. Cir.
                                     1582 (Fed. Cir. 1996)). “In determining
                                                     1996)). "In determining
the meaning
the meaning of the disputed
            of the disputed claim
                            claim limitation,
                                  limitation, we
                                              we look
                                                 look principally to the
                                                      principally to the
intrinsic
intrinsic evidence of record,
          evidence of record, examining the claim
                              examining the claim language
                                                  language itself, the written
                                                           itself, the written
description,
description, and the prosecution
             and the             history, if
                     prosecution history, if in
                                             in evidence.” DePuy Spine,
                                                evidence." DePuy Spine,
Inc.v.
Inc.    Medtronic Sofamor
     v. Medtronic Sofamor Danek, Inc., 469
                          Danek, Inc.,     F.3d 1005,
                                       469 F.3d 1005, 1014 (Fed. Cir.
                                                      1014 (Fed.      2006)
                                                                 Cir. 2006)
(citing Phillips,
(citing Phillips, 415 F.3d at
                  415 F.3d at 1312-17).
                              1312–17).
      Petitioner states
      Petitioner        that "[f]
                 states that “[f]or the purposes
                                 or the purposes of this proceeding
                                                 of this            only,
                                                         proceeding only,
Petitioner does
Petitioner does not believe that
                not believe that any
                                 any claim terms need
                                     claim terms      to be
                                                 need to be construed.”
                                                            construed."
Pet. 21.
Pet. 21. Patent
         Patent Owner “agrees that
                Owner "agrees that the
                                   the claims
                                       claims should be understood
                                              should be understood
according to their
according to their ordinary and customary
                   ordinary and customary meaning.” PO Resp.
                                          meaning." PO Resp. 25.
                                                             25. In
                                                                 In reply,
                                                                    reply,
Petitioner asserts
Petitioner         that the
           asserts that the ordinary meaning of
                            ordinary meaning of "about"
                                                “about” is “approximately,”
                                                        is "approximately,"
and the ordinary
and the ordinary meaning
                 meaning of “buffering agent”
                         of "buffering agent" or “buffer” "is
                                              or "buffer" “is nothing
                                                              nothing more
                                                                      more
than an
than an excipient that helps
        excipient that helps control
                             control pH.” Reply 2.
                                     pH." Reply 2. Petitioner
                                                   Petitioner asserts that
                                                              asserts that
Patent Owner
Patent       agrees with
       Owner agrees with the
                         the definition
                             definition of “buffering agent”
                                        of "buffering        and "buffer"
                                                      agent" and “buffer” by
                                                                          by
stating that "[t]he
stating that “[t]he patent uses terms
                    patent uses terms buffer
                                      buffer and
                                             and buffering
                                                 buffering in their normal
                                                           in their normal
sense, which entails
sense, which entails providing
                     providing pH
                               pH control
                                  control or maintenance.” Id.
                                          or maintenance."     (quoting P
                                                           Id. (quoting POO
Resp. 28).
Resp. 28).
      Based upon
      Based      our review
            upon our        of the
                     review of the evidence of record,
                                   evidence of         we determine
                                               record, we           that
                                                          determine that
no
no claim terms require
   claim terms require express
                       express construction. See Nidec
                               construction. See Nidec Motor
                                                       Motor Corp.
                                                             Corp. v.
                                                                   v.
Zhongshan Broad
Zhongshan Broad Ocean       Co., 868
                      Motor Co.,
                Ocean Motor          F.3d 1013,
                                 868 F.3d 1013, 1017 (Fed. Cir.
                                                1017 (Fed. Cir. 2017)
                                                                2017)
(Only those
(Only those terms
            terms that
                  that are
                       are in
                           in controversy
                              controversy need be construed,
                                          need be            “and only
                                                  construed, "and      to
                                                                  only to
the extent
the extent necessary to resolve
           necessary to         the controversy.”).
                        resolve the                 Insofar as
                                    controversy."). Insofar as the
                                                               the parties
                                                                   parties
dispute
dispute whether Akorn discloses
        whether Alcorn discloses aa buffer,
                                    buffer, we address those
                                            we address those contentions
                                                             contentions in
                                                                         in
our discussion
our            below of
    discussion below    the challenged
                     of the challenged claims.
                                       claims.




                                      12
                                      12
                                Appx000068
                                Appx000068
       Case: 23-2402     Document: 15      Page: 125   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
                    D. Obviousness
                    D.             over Chia
                       Obviousness over      and Akorn
                                        Chia and Akorn
      Petitioner asserts
      Petitioner         that claims
                 asserts that        1–7 and
                              claims 1-7 and 11–20 would have
                                             11-20 would      been
                                                         have been
obvious
obvious over the combined
        over the          teachings of
                 combined teachings of Chia
                                       Chia and Akorn. Pet.
                                            and Alcorn. Pet. 22-41.
                                                             22–41. In
                                                                    In
addition to challenging
addition to             the public
            challenging the        availability of
                            public availability    Akorn, Patent
                                                of Alcorn, Patent Owner
                                                                  Owner
disagrees
disagrees and states that
          and states that the
                          the Alcorn
                              Akorn reference  “does not
                                     reference "does not disclose the
                                                         disclose the
phosphate
phosphate salts
          salts make
                make aa buffer.
                        buffer. Nor
                                Nor does
                                    does itit disclose that the
                                              disclose that the Alcorn
                                                                Akorn product
                                                                       product
has
has aa pH
       pH range
          range of 3.5–6.0. Each
                of 3.5-6.0. Each of
                                 of these
                                    these failures
                                          failures is
                                                   is case-dispositive.”
                                                      case-dispositive."
PO Resp.
PO Resp. 1.
         1.

                             1. Chia
                             1. Chia (Ex. 1003)
                                     (Ex. 1003)
      Chia
      Chia is
           is aa journal
                 journal article that describes
                         article that           two studies
                                      describes two studies regarding the
                                                            regarding the
treatment of
treatment of myopia
             myopia using
                    using atropine
                          atropine eyedrops. Ex. 1003,
                                   eyedrops. Ex  1003, 1. In the
                                                       1. In the first
                                                                 first study,
                                                                       study,
“Atropine for
"Atropine     the Treatment
          for the           of Myopia
                  Treatment of Myopia 1"
                                      1” ("ATOM1"),
                                         (“ATOM1”), itit was
                                                         was shown that
                                                             shown that
atropine
atropine 1%
         1% eyedrops were effective
            eyedrops were effective in
                                    in controlling
                                       controlling myopic
                                                   myopic progression but
                                                          progression but
with visual side
with visual side effects
                 effects resulting
                         resulting from
                                   from cycloplegia and mydriasis.
                                        cycloplegia and mydriasis. Id.
                                                                   Id. The
                                                                       The
second study described
second study described in Chia, "Atropine
                       in Chia, “Atropine for the Treatment
                                          for the           of Myopia
                                                  Treatment of Myopia 2"
                                                                      2”
(“ATOM2”), compared
("ATOM2"),          the efficacy
           compared the efficacy and visual side
                                 and visual side effects
                                                 effects of 3 lower
                                                         of 3 lower doses
                                                                    doses
of atropine: 0.5%,
of atropine: 0.5%, 0.1%, and 0.01%.
                   0.1%, and        Id. The
                             0.01%. Id.     authors of
                                        The authors of Chia
                                                       Chia conclude
                                                            conclude
“[a]tropine 0.01%
"[a]tropine 0.01% has
                  has minimal side effects
                      minimal side effects compared
                                           compared with atropine at
                                                    with atropine at 0.1%
                                                                     0.1%
and
and 0.5%, and retains
    0.5%, and retains comparable
                      comparable efficacy
                                 efficacy in
                                          in controlling
                                             controlling myopia
                                                         myopia
progression.” Id.
progression." Id.
      Chia
      Chia notes that atropine,
           notes that atropine, aa nonspecific muscarinic antagonist,
                                   nonspecific muscarinic antagonist, at
                                                                      at 1.0%
                                                                         1.0%
and
and 0.5%
    0.5% has been shown
         has been       to be
                  shown to be effective
                              effective in slowing myopia
                                        in slowing myopia progression, but
                                                          progression, but
its
its safety
    safety profile
           profile regarding
                   regarding pupil size and
                             pupil size and accommodation
                                            accommodation was
                                                          was aa concern.
                                                                 concern.
Ex. 1003,
Ex. 1003, 6.
          6. Chia states:
             Chia states:
      Every unit
      Every  unit increase
                   increase in
                            in pupil
                                pupil size
                                        size results
                                             results in an exponential
                                                     in an  exponential
      increase
      increase in the amount
               in the amount ofof light
                                  light entering  the eye,
                                         entering the eye, and this can
                                                           and this can
      cause
      cause glare and potential
            glare and potential phototoxicity.  Atropine also
                                phototoxicity. Atropine  also decreases
                                                              decreases


                                      13
                                      13
                                 Appx000069
                                 Appx000069
       Case: 23-2402      Document: 15       Page: 126   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      accommodation     amplitude and
      accommodation amplitude          near vision
                                  and near  vision so
                                                   so that
                                                      that children  may
                                                           children may
      require bifocal or
      require bifocal or progressive
                         progressive glasses to read.
                                     glasses to read. The
                                                      The ideal  atropine
                                                           ideal atropine
      dose would be
      dose would   be one
                      one with  the best
                           with the best balance
                                         balance between
                                                  between efficacy    and
                                                            efficacy and
      safety.
      safety.
Id.
Id.
      To
      To explore the ideal
         explore the       atropine dose,
                     ideal atropine dose, Chia
                                          Chia performed the ATOM2
                                               performed the ATOM2 study
                                                                   study
using
using 0.01% atropine as
      0.01% atropine as aa potential
                           potential control
                                     control due to its
                                             due to its assumed minimal
                                                        assumed minimal
effect. Ex. 1003,
effect. Ex. 1003, 7.
                  7. Chia
                     Chia found that "contrary
                          found that “contrary to
                                               to expectations,
                                                  expectations, atropine
                                                                atropine
0.01% also had
0.01% also had significant
               significant clinical
                           clinical effects as evidence
                                    effects as          by its
                                               evidence by its effect
                                                               effect on
                                                                      on
myopia
myopia progression,
       progression, accommodation, and pupil
                    accommodation, and       size.” Id.
                                       pupil size."     In comparing
                                                    Id. In           the
                                                           comparing the
0.01% atropine dose
0.01% atropine      to the
               dose to the 0.5% and the
                           0.5% and the 0.1%
                                        0.1% doses, Chia found
                                             doses, Chia       “the
                                                         found "the
difference
difference in myopia progression
           in myopia             at 22 years
                     progression at    years in the 0.01%
                                             in the 0.01% group was
                                                          group was
statistically
statistically significant
              significant compared with the
                          compared with the 0.5%
                                            0.5% group. Likewise, the
                                                 group. Likewise, the
difference
difference in
           in axial
              axial length
                    length increase was statistically
                           increase was statistically larger than in
                                                      larger than    both the
                                                                  in both the
0.1% and 0.5%
0.1% and 0.5% groups. However, absolute
              groups. However, absolute differences between groups
                                        differences between groups were
                                                                   were
clinically
clinically small
           small .. .. .. ."
                          .” Id. Chia did
                             Id. Chia did note that no
                                          note that    other atropine
                                                    no other atropine 0.01%
                                                                      0.01% studies
                                                                            studies
were available for
were available for direct
                   direct comparison, but Chia
                          comparison, but Chia did
                                               did compare the data
                                                   compare the      to aa
                                                               data to
study   testing 0.05%
study'8 testing 0.05% atropine and aa study
                      atropine and             testing 0.025%
                                      study 99 testing        atropine. Id.
                                                       0.025% atropine. Id.
      Although Chia
      Although Chia found that "[o]verall,
                    found that “[o]verall, atropine-related
                                           atropine-related adverse
                                                            adverse effects
                                                                    effects
were
were uncommon at the
     uncommon at the 0.01%
                     0.01% dose
                           dose .. .. .. [t]here
                                         [t]here are
                                                 are no
                                                     no long-term studies on
                                                        long-term studies on
the effect
the effect of atropine on
           of atropine    the eye,
                       on the      and continued
                              eye, and           vigilance is
                                       continued vigilance is necessary.
                                                              necessary.
However, atropine
However, atropine has been clinically
                  has been            available since
                           clinically available       the early
                                                since the early 1900s,
                                                                1900s, and so
                                                                       and so




8
  Lee et
'Lee     al., Prevention
      et al., Prevention ofmyopiaprogressionwith
                           of myopia progression with 0.05%  atropine
                                                      0.05% atropine
solution,” 22
solution,"      J. O
            22 J.    CUL. PHARACOL.
                   OcuL.  P HARACOL. T HER. 41–46
                                     THER.        (2006) (Ex.
                                            41-46 (2006) (Ex. 1012,  “Lee”).
                                                              1012, "Lee").
9
  Fang et
9 Fang    al., Prevention
       et al., Prevention of   myopia onset
                             ofmyopia       with 0.025%
                                      onset with         atropine in
                                                 0.025% atropine     premyopic
                                                                  in premyopic
children,  26 J.
children, 26   J. O     P HARMOCOL. T
                    CUL PHARMOCOL.
                  OcuL                 HER. 341-345
                                     THER.  341–345 (2010)
                                                     (2010) (Ex
                                                            (Ex. 1013,
                                                                 1013,
“Fang”).
"Fang").

                                        14
                                        14
                                  Appx000070
                                  Appx000070
       Case: 23-2402       Document: 15         Page: 127      Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
far there are
far there are no
              no known
                 known long-term adverse effects
                       long-term adverse         associated with
                                         effects associated with its
                                                                 its use.”
                                                                     use."
Ex. 1003,
Ex. 1003, 7.
          7. Chia states:
             Chia states:
              In
              In conclusion,
                  conclusion, our
                                our results
                                      results suggest   that 0.5%,
                                               suggest that   0.5%, 0.1%,
                                                                      0.1%, andand
      0.01%    atropine remain
      0.01% atropine     remain effective
                                  effective in
                                             in reducing
                                                reducing myopia
                                                          myopia progression,
                                                                    progression,
      compared
      compared with with placebo        treatment, and
                            placebo treatment,        and that
                                                            that thethe clinical
                                                                           clinical
      differences
      differences inin myopia
                        myopia progression        among these
                                   progression among       these 33 groups
                                                                     groups are are
      small.
      small. TheThe lowest
                     lowest concentration
                             concentration of  of 0.01%
                                                  0.01% atropine     thus seems
                                                          atropine thus     seems
      to retain
      to  retain efficacy    and is
                  efficacy and     is aa viable
                                         viable concentration
                                                  concentration forfor reducing
                                                                        reducing
      myopia
      myopia progression
                 progression in in children,     while attaining
                                     children, while    attaining aa clinically
                                                                       clinically
      significant
      significant improved     safety profile
                   improved safety      profile in  terms of
                                                 in terms  of accommodation,
                                                               accommodation,
      pupil  size, and
      pupil size,   and near     visual acuity,
                          near visual    acuity, and
                                                   and subsequently
                                                        subsequently reduced
                                                                          reduced
      adverse
      adverse impact
                 impact on     visual function.
                           on visual                   Moreover, the
                                         function. Moreover,         the 0.01%
                                                                            0.01%
      formulation
      formulation exhibited
                     exhibited fewer     adverse events.
                                 fewer adverse               Atropine 0.01%
                                                   events. Atropine     0.01% is  is
      currently
      currently not
                  not commercially
                       commercially available.       However, these
                                        available. However,       these findings
                                                                         findings
      collectively   suggest that
      collectively suggest     that aa nightly
                                        nightly dose
                                                  dose of   atropine at
                                                        of atropine    at 0.01%
                                                                            0.01%
      seems
      seems to to be
                  be aa safe  and effective
                        safe and    effective regimen
                                                regimen for
                                                          for slowing
                                                               slowing myopia
                                                                          myopia
      progression
      progression inin children,
                        children, with
                                   with minimal
                                          minimal impact
                                                    impact onon visual
                                                                 visual function
                                                                         function
      in
      in children.
         children.
Id. at 7–8.
Id. at 7—8.

                               2. Akorn
                               2. Akorn (Ex. 1004)
                                        (Ex. 1004)
      Petitioner identifies
      Petitioner            Exhibit 1004
                 identifies Exhibit 1004 as
                                         as aa product
                                               product label
                                                       label for Akorn
                                                             for Alcorn
Atropine Care,
Atropine       which appears
         Care, which         to be
                     appears to be an
                                   an excerpt
                                      excerpt from New Drug
                                              from New Drug Application
                                                            Application
206289. See
206289.     Pet. vi;
        See Pet. vi; Ex
                     Ex. 1004,
                         1004, 1. Akorn describes
                               1. Alcorn describes aa 1%
                                                      1% atropine sulfate
                                                         atropine sulfate
ophthalmic solution for
ophthalmic solution     topical application
                    for topical application to
                                            to the
                                               the eye. Ex. 1004,
                                                   eye. Ex. 1004, 1. Akorn
                                                                  1. Alcorn
explains that atropine
explains that atropine is an anti-muscarinic
                       is an anti-muscarinic agent
                                             agent that
                                                   that is
                                                        is indicated
                                                           indicated for
                                                                     for
cycloplegia,
cycloplegia, mydriasis, and penalization
             mydriasis, and penalization of the healthy
                                         of the healthy eye
                                                        eye in the treatment
                                                            in the treatment
of amblyopia. Id.
of amblyopia.     at 1,
              Id. at    2. Alcorn
                     1, 2. Akorn explains
                                  explains atropine’s mechanism of
                                           atropine's mechanism of action as
                                                                   action as
follows:
follows:
            The
            The pupillary
                  pupillary constrictor
                            constrictor muscle
                                         muscle depends
                                                 depends onon muscarinic
                                                               muscarinic
      cholinoceptor
      cholinoceptor activation.
                     activation. This
                                  This activation
                                        activation is blocked by
                                                   is blocked   by topical
                                                                   topical
      atropine
      atropine resulting
               resulting in
                         in unopposed
                            unopposed sympathetic
                                        sympathetic dilator
                                                      dilator activity and
                                                              activity and
      mydriasis.   Atropine also
      mydriasis. Atropine    also weakens   the contraction
                                  weakens the                of the
                                                contraction of  the cilary
                                                                     cilary



                                           15
                                           15
                                    Appx000071
                                    Appx000071
       Case: 23-2402     Document: 15      Page: 128   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      muscle, or cycloplegia.
      muscle, or cycloplegia. Cycloplegia
                              Cycloplegia results
                                           results in
                                                   in loss of the
                                                      loss of the ability
                                                                  ability
      to accommodate
      to               such that
         accommodate such   that the
                                 the eye
                                     eye cannot
                                         cannot focus
                                                focus for
                                                       for near vision.
                                                           near vision.
    at 4.
Id. at
Id.       Akorn describes
       4. Akorn describes applying
                          applying 1
                                   1 drop of the
                                     drop of the solution to the
                                                 solution to the cul-de-sac of
                                                                 cul-de-sac of
the conjunctiva
the conjunctiva forty
                forty minutes
                      minutes prior to an
                              prior to an intended
                                          intended maximum
                                                   maximum dilation time.
                                                           dilation time.
Id.
Id.
      Akorn explains
      Akorn          that the
            explains that the solution
                              solution contains atropine sulfate
                                       contains atropine sulfate as
                                                                 as an
                                                                    an active
                                                                       active
ingredient.     at 3.
            Id. at
ingredient. Id.    3. Akorn
                      Akorn further
                            further describes the following
                                    describes the following inactive
                                                            inactive
ingredients: “benzalkonium chloride
ingredients: "benzalkonium chloride 0.1 mg (0.01%),
                                    0.1 mg (0.01%), dibasic sodium
                                                    dibasic sodium
phosphate,
phosphate, edetate
           edetate disodium,
                   disodium, hypromellose (2910), monobasic
                             hypromellose (2910),           sodium
                                                  monobasic sodium
phosphate,
phosphate, hydrochloric
           hydrochloric acid
                        acid and/or
                             and/or sodium hydroxide may
                                    sodium hydroxide may be
                                                         be added
                                                            added to
                                                                  to
adjust
adjust pH (3.5 to
       pH (3.5 to 6.0),
                  6.0), and water for
                        and water for injection USP.” Id.
                                      injection USP." Id.

                                 3. Analysis
                                 3. Analysis
      For its
      For     assertion that
          its assertion that claims 1–7 and
                             claims 1-7 and 11-20
                                            11–20 would
                                                  would have been obvious
                                                        have been obvious
over the combined
over the          teachings of
         combined teachings of Chia
                               Chia and Akorn, Petitioner
                                    and Akorn, Petitioner relies on Akorn
                                                          relies on Akorn
as teaching aa buffer
as teaching    buffer as
                      as part of the
                         part of the pharmaceutical
                                     pharmaceutical composition
                                                    composition of
                                                                of claim
                                                                   claim 1.
                                                                         1.
Pet. 32.
Pet. 32. Patent
         Patent Owner
                Owner challenges Petitioner’s reliance
                      challenges Petitioner's reliance on Akorn asserting
                                                       on Akorn asserting
that the
that the Petition
         Petition fails to prove
                  fails to       that Akorn
                           prove that Akorn was
                                            was publicly
                                                publicly available
                                                         available prior to the
                                                                   prior to the
undisputed
undisputed critical
           critical date
                    date of April 23,
                         of April 23, 2015,
                                      2015, which
                                            which Patent
                                                  Patent Owner also raised
                                                         Owner also raised in
                                                                           in
its Preliminary Response.
its Preliminary Response. See PO Resp.
                          See PO Resp. 55–58; Prelim. Resp.
                                       55-58; Prelim. Resp. 28-30.
                                                            28–30.
Patent Owner
Patent       also challenges
       Owner also            the testimony
                  challenges the testimony of Dr. Byrn
                                           of Dr. Byrn in
                                                       in its Motion to
                                                          its Motion to
Exclude Evidence
Exclude Evidence asserting
                 asserting that
                           that "Dr.
                                “Dr. Byrn's
                                     Byrn’s proffered
                                            proffered opinions
                                                      opinions exceed
                                                               exceed his
                                                                      his
expertise,
expertise, are
           are not based on
               not based on ‘scientific
                            `scientific knowledge,’
                                        knowledge,"‘sufficient
                                                    sufficient facts
                                                               facts or
                                                                     or data,’
                                                                        data,'
and
and are
    are not
        not ‘the
            `the product
                 product of
                         of reliable
                            reliable principles’ and methods
                                     principles' and methods ‘reliably
                                                             `reliably
applied’ to the
applied' to the facts of this
                facts of this case.” Paper 30,
                              case." Paper 30, 22 ("Mot.
                                                  (“Mot. to
                                                         to Exclude").
                                                            Exclude”).
      Because the
      Because the prior art status
                  prior art status of
                                   of Akorn
                                      Akorn and
                                            and Dr.
                                                Dr. Byrn's
                                                    Byrn’s testimony
                                                           testimony is
                                                                     is
relevant to all
relevant to all grounds asserted by
                grounds asserted by Petitioner,
                                    Petitioner, we
                                                we begin
                                                   begin our
                                                         our discussion with
                                                             discussion with
these issues.
these issues.

                                      16
                                      16
                                 Appx000072
                                 Appx000072
       Case: 23-2402      Document: 15      Page: 129    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
                   a) Prior
                   a) Prior Art
                            Art Status
                                Status of
                                       of Akorn
                                          Akorn (Ex. 1004)
                                                (Ex. 1004)
      Petitioner has
      Petitioner     the burden
                 has the burden to
                                to prove Akorn qualifies
                                   prove Alcorn qualifies as
                                                          as prior
                                                             prior art. See In
                                                                   art. See In
re Magnum Oil
re Magnum     Tools, 829
          Oil Tools,     F.3d at
                     829 F.3d at 1376. “[A]t the
                                 1376. "[A]t the institution stage, the
                                                 institution stage, the
petition
petition must
         must identify,
              identify, with
                        with particularity,
                             particularity, evidence
                                            evidence sufficient to establish
                                                     sufficient to establish aa
reasonable
reasonable likelihood that the
           likelihood that the reference was publicly
                               reference was          accessible before
                                             publicly accessible before the
                                                                        the
critical
critical date of the
         date of the challenged
                     challenged patent and therefore
                                patent and therefore that
                                                     that there
                                                          there is
                                                                is aa reasonable
                                                                      reasonable
likelihood that itit qualifies
likelihood that                as aa printed
                     qualifies as    printed publication.” Hulu, LLC
                                             publication." Hulu, LLC v. Sound
                                                                     v. Sound
View Innovations, LLC,
View Innovations,      IPR2018-01039, Paper
                  LLC, IPR2018-01039, Paper 29
                                            29 ("Hulu")
                                               (“Hulu”) at
                                                        at 13 (PTAB
                                                           13 (P TAB
Dec. 20,
Dec. 20, 2019)
         2019) (precedential).
               (precedential).
      “Public accessibility”
      "Public accessibility" is
                             is considered to be
                                considered to be "the
                                                 “the touchstone
                                                      touchstone in
                                                                 in
determining whether aa reference
determining whether    reference constitutes
                                 constitutes aa ‘printed
                                                `printed publication’ bar under
                                                         publication' bar under
35 U.S.C.
35 U.S.C. §102(b).” In re
          §102(b)." In    Hall, 781
                       re Hall,     F.2d 897,
                                781 F.2d 897, 899 (Fed. Cir.
                                              899 (Fed. Cir. 1986). “A
                                                             1986). "A
given
given reference
      reference is
                is ‘publicly
                   `publicly accessible’
                             accessible' upon
                                         upon aa satisfactory
                                                 satisfactory showing
                                                              showing that
                                                                      that
such
such document
     document has been disseminated
              has been disseminated or
                                    or otherwise
                                       otherwise made available to
                                                 made available to the
                                                                   the
extent that persons
extent that persons interested
                    interested and
                               and ordinarily
                                   ordinarily skilled
                                              skilled in the subject
                                                      in the subject matter
                                                                     matter or
                                                                            or
art
art exercising
    exercising reasonable
               reasonable diligence,
                          diligence, can
                                     can locate
                                         locate it.” SRI Int
                                                it." SRI Int’l,  Inc. v.
                                                             '1, Inc.    Internet
                                                                      v. Internet
Sec. Sys.,
Sec.       Inc., 511
     Sys., Inc.,     F.3d 1186,
                 511 F.3d 1186, 1194 (Fed. Cir.
                                1194 (Fed. Cir. 2008)
                                                2008) (quoting
                                                      (quoting Bruckelmyer
                                                               Bruckelmyer
v.
v. Ground          Inc., 445
          Heaters, Inc.,
   Ground Heaters,           F.3d 1374,
                         445 F.3d       1378 (Fed.
                                  1374, 1378 (Fed. Cir. 2006)).
                                                   Cir. 2006)).
      A determination
      A               whether aa particular
        determination whether    particular reference
                                            reference qualifies as aa printed
                                                      qualifies as    printed
publication “is aa legal
publication "is    legal determination based on
                         determination based on underlying
                                                underlying fact
                                                           fact issues, and
                                                                issues, and
therefore must
therefore      be approached
          must be approached on
                             on aa case-by-case basis.” Hall,
                                   case-by-case basis." Hall, 781 F.2d at
                                                              781 F.2d at
899. In aa proceeding
899. In               before the
           proceeding before the Board,
                                 Board, there
                                        there is
                                              is no
                                                 no presumption
                                                    presumption in
                                                                in favor of
                                                                   favor of
finding that aa reference
finding that    reference is
                          is aa printed
                                printed publication.       Paper 29
                                                     Hulu, Paper
                                        publication. Hulu,       29 at
                                                                    at 16.
                                                                       16.
      During the
      During the institution
                 institution phase
                             phase of this proceeding,
                                   of this             we authorized
                                           proceeding, we authorized further
                                                                     further
briefing on
briefing on the
            the issue of whether
                issue of whether Alcorn
                                 Akorn was
                                        was publicly accessible before
                                            publicly accessible before the
                                                                       the
critical
critical date, and each
         date, and each party
                        party filed
                              filed aa brief
                                       brief addressing this issue.
                                             addressing this            Ex. 3001;
                                                                    See Ex
                                                             issue. See     3001;
Paper 7;
Paper    Paper 8.
      7; Paper    In our
               8. In our Institution Decision, we
                         Institution Decision, we addressed
                                                  addressed the
                                                            the parties’
                                                                parties'

                                       17
                                       17
                                  Appx000073
                                  Appx000073
       Case: 23-2402       Document: 15         Page: 130      Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
arguments and determined
arguments and determined on the record
                         on the        before us
                                record before us at
                                                 at that
                                                    that time
                                                         time that
                                                              that
“Petitioner has
"Petitioner has adequately shown for
                adequately shown for institution that Alcorn
                                     institution that Akorn was
                                                             was sufficiently
                                                                 sufficiently
accessible to the
accessible to the public
                  public interested
                         interested in the art
                                    in the     and searchable
                                           art and searchable on the DailyMed
                                                              on the DailyMed
website
website such that aa P
        such that    POSA
                       OSA could
                           could have
                                 have found
                                      found it with reasonable
                                            it with reasonable diligence.”
                                                               diligence."
Dec. 24.
Dec. 24. In
         In making this determination,
            making this determination, we
                                       we examined Petitioner’s additional
                                          examined Petitioner's additional
evidence, Exhibit 1057,
evidence, Exhibit       that itit submitted
                  1057, that      submitted with
                                            with its
                                                 its reply to the
                                                     reply to the preliminary
                                                                  preliminary
response, and determined
response, and            “that Petitioner
              determined "that Petitioner properly
                                          properly relies
                                                   relies on Exhibit 1057
                                                          on Exhibit      as
                                                                     1057 as
additional
additional evidence to confirm
           evidence to         that Exhibit
                       confirm that Exhibit 1004
                                            1004 was
                                                 was published and publicly
                                                     published and publicly
accessible
accessible in July of
           in July    2014.” See
                   of 2014."     Dec. 24.
                             See Dec. 24.
      In
      In making this determination,
         making this                we made
                     determination, we made the
                                            the following
                                                following findings
                                                          findings
concerning Exhibit 1057
concerning Exhibit 1057 for
                        for purposes of institution.
                            purposes of institution.
      In
      In particular,
          particular, on   the current
                       on the   current record,
                                         record, wewe find    that Petitioner's
                                                        find that    Petitioner’s
      Exhibit 1057
      Exhibit   1057 provides
                      provides persuasive
                                 persuasive corroboration
                                             corroboration for for its
                                                                   its contention
                                                                       contention
      that Alcorn
      that Akorn waswas publicly   accessible in
                        publicly accessible    in July
                                                  July of  2014. Exhibit
                                                       of 2014.    Exhibit 1057
                                                                            1057
      includes
      includes printouts
                 printouts of  webpages from
                           of webpages           “DailyMed.” Ex.
                                          from "DailyMed."         Ex. 1057.
                                                                        1057. In
                                                                               In
      the "ABOUT
      the  “ABOUT DAILYMED"
                        DAILYMED” sectionsection on     the first
                                                    on the   first page
                                                                    page of   the
                                                                           of the
      exhibit,   there is
      exhibit, there    is aa statement
                               statement explaining
                                           explaining thatthat "The
                                                                “The National
                                                                        National
      Library of
      Library       Medicine (NLM)'s
                 of Medicine     (NLM)’s DailyMed
                                            DailyMed searchable
                                                          searchable database
                                                                        database
      provides   the most
      provides the   most recent
                           recent labeling  submitted to
                                   labeling submitted    to the
                                                            the Food
                                                                 Food and
                                                                        and Drug
                                                                            Drug
      Administration (FDA)
      Administration     (FDA) by by companies
                                     companies and and currently
                                                        currently in in use (i.e.,
                                                                        use (i.e.,
      ‘in
      `in use’
          use' labeling).”        at 1.
                              Id. at
                labeling)." Id.         Among other
                                     1. Among     other items,    the DailyMed
                                                         items, the    DailyMed
      “contains labeling
      "contains   labeling for
                            for prescription
                                prescription and
                                              and nonprescription
                                                    nonprescription drugs
                                                                        drugs for
                                                                              for
      human
      human and     animal use.”
               and animal            Id. The
                             use." Id.    The statement      also explains
                                                statement also               that
                                                                   explains that
      “[t]he NLM
      "[t]he NLM provides       DailyMed to
                     provides DailyMed     to the
                                              the public”   and "[t]he
                                                   public" and    “[t]he labeling
                                                                         labeling
      on DailyMed
      on  DailyMed is     typically reformatted
                       is typically   reformatted to to make
                                                        make themthem easier   to
                                                                        easier to
      read.”   Id.
      read." Id.
             On   the third
             On the   third page
                            page of of Exhibit
                                        Exhibit 1057,     there is
                                                 1057, there    is aa copy
                                                                      copy of    the
                                                                             of the
      DailyMed "LABELING
      DailyMed     “LABELING ARCHIVES"
                                    ARCHIVES” webpagewebpage which
                                                                 which depicts
                                                                          depicts aa
      “Labeling Archives
      "Labeling   Archives Search,”      with aa first
                              Search," with      first field
                                                       field for
                                                             for entering
                                                                 entering aa drug
                                                                              drug
      name,   and aa second
      name, and       second field
                                field for
                                       for entering
                                            entering aa date.
                                                          date. Id.Id. at  3. The
                                                                       at 3.    The
      webpage explains
      webpage              that "[t]his
                 explains that    “[t]his archive
                                          archive allows
                                                    allows the
                                                             the user  to retrieve
                                                                 user to   retrieve
      the label
      the label current
                current for
                         for aa given
                                given date.”   Id. Search
                                       date." Id.   Search results
                                                              results for  the term
                                                                      for the  term
      “ATROPINE SULFATE”
      "ATROPINE        SULFATE" on         “07/31/2014” are
                                       on "07/31/2014"       are displayed.
                                                                  displayed. Id. Id.
      There
      There is  an indication
             is an               that the
                    indication that   the search
                                          search provided
                                                   provided 135135 results   which
                                                                    results which


                                           18
                                           18
                                    Appx000074
                                    Appx000074
      Case: 23-2402        Document: 15        Page: 131      Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
     are
     are listed
          listed in
                 in aa row,   apparently over
                       row, apparently      over aa number
                                                     number of of webpages.
                                                                  webpages. Id. Id.
     The
     The results   are organized
           results are  organized with      the "DATE
                                      with the   “DATE POSTED"
                                                          POSTED” identified
                                                                        identified
     in
     in one
         one column,
              column, along      with the
                        along with     the term
                                             term "download"
                                                   “download” whichwhich appears
                                                                          appears
     to be
     to be formatted
            formatted asas aa web
                              web link,   and the
                                   link, and   the "DRUG
                                                    “DRUG NAME"
                                                              NAME” identified
                                                                        identified
     in
     in aa second
           second column,       wherein the
                    column, wherein       the drug
                                               drug name
                                                     name listed
                                                            listed appears   to be
                                                                    appears to  be
     formatted
     formatted as as aa web
                        web link.        Below the
                                     Id. Below
                              link. Id.           the drug
                                                       drug name,    the name
                                                             name, the   name of of
     the "Packager"
     the  “Packager” is is identified,   along with
                           identified, along    with aa "Version"
                                                        “Version” number.
                                                                     number. Id.Id.
     Petitioner draws
     Petitioner  draws ourour attention
                               attention toto the
                                              the label
                                                  label identified  with July
                                                        identified with        24,
                                                                          July 24,
     2014, as
     2014,    as the
                 the "DATE
                       “DATE POSTED,"
                                  POSTED,” "Atropine
                                                 “Atropine (atropine
                                                               (atropine sulfate)
                                                                          sulfate)
     solution/drops,” as
     solution/drops,"     as the
                               the "DRUG
                                    “DRUG NAME,"NAME,” Alcorn,
                                                           Akorn, Inc.     as the
                                                                      Inc. as  the
     “Packager,”
     "P              with the
        ackager," with     the "Version"
                                “Version” noted      as "7."
                                              noted as  “7.” Id.
                                                              Id.
             We understand
             We   understand thethe next
                                    next page
                                          page of  the exhibit
                                                of the  exhibit toto be
                                                                     be aa copy   of
                                                                            copy of
     the DailyMed
     the  DailyMed webpage
                      webpage depicting       the version
                                  depicting the   version 77 label
                                                              label for    Akorn’s
                                                                      for Akorn's
     atropine sulfate
     atropine   sulfate that
                         that was
                               was posted
                                    posted onon July   24, 2014.
                                                July 24,   2014. Ex  Ex. 1057,
                                                                           1057, 4.
                                                                                  4.
     Based    on   our  review,    but  for  minor    web-related
     Based on our review, but for minor web-related formatting         formatting
     differences, this
     differences,   this label
                         label posted   on DailyMed
                                posted on  DailyMed appears
                                                        appears to to be
                                                                      be the
                                                                           the same
                                                                               same
     as  the label  depicted   in Exhibit   1004.    In particular,
     as the label depicted in Exhibit 1004. In particular, we observe we    observe
     that both
     that  both labels:  (a) refer
                labels: (a)        to "HIGHLIGHTS
                             refer to “HIGHLIGHTS OF       OF PRESCRIBING
                                                               PRESCRIBING
     INFORMATION” for
     INFORMATION"                 “Atropine Sulfate
                             for "Atropine               Ophthalmic Solution,
                                               Sulfate Ophthalmic        Solution,
     USP 1%
     USP    1% for    topical application
                 for topical     application toto the
                                                  the eye;”     (b) include
                                                        eye;" (b)     include thethe
     “Revised: 7/2014”
     "Revised:    7/2014" statement;      (c) include
                             statement; (c)              the same
                                               include the    same indications
                                                                       indications
     and usage,
     and   usage, dosage
                    dosage andand administration;
                                   administration; (d) (d) set
                                                            set forth    the same
                                                                 forth the    same
     sections/subsections; and
     sections/subsections;      and (e)
                                    (e) describe   the contents
                                        describe the    contents of    the drug
                                                                   of the   drug in
                                                                                  in
     the same
     the  same manner,
                 manner, including      the statement
                            including the    statement identifying
                                                          identifying inactives
                                                                          inactives
     as: "benzalkonium
     as:   “benzalkonium chloride
                               chloride 0.1    mg (0.01%),
                                          0.1 mg    (0.01%), dibasic        sodium
                                                                dibasic sodium
     phosphate,
     phosphate, edetate
                   edetate disodium,
                             disodium, hypromellose         (2910), monobasic
                                          hypromellose (2910),         monobasic
     sodium phosphate,
     sodium    phosphate, hydrochloric
                             hydrochloric acid      and/or sodium
                                              acid and/or    sodium hydroxide
                                                                        hydroxide
     may be
     may    be added
               added toto adjust
                           adjust pH   (3.5 to
                                   pH (3.5   to 6.0),  and water
                                                6.0), and    water for
                                                                     for injection
                                                                          injection
     USP.” Compare
     USP."     Compare Ex. Ex. 1004,   1–5, with
                                1004, 1-5,        Ex. 1057,
                                             with Ex.          4–6.
                                                        1057, 4-6.
            Taken     together, we
            Taken together,       we find   that the
                                      find that  the evidence
                                                     evidence relied     on in
                                                                 relied on      the
                                                                             in the
     Petition, i.e.,
     Petition,         Exhibits 1004,
                i.e., Exhibits             1020, 1021,
                                  1004, 1020,      1021, along      with Exhibits
                                                           along with     Exhibits
     1056, 1058,
     1056,  1058, and and especially,
                            especially, 1057,     submitted with
                                          1057, submitted       with the
                                                                       the Reply,
                                                                            Reply,
     provide
     provide strong
               strong indicia      that the
                         indicia that   the July    2014 version
                                              July 2014     version of    Akorn’s
                                                                      of Akorn's
     atropine sulfate
     atropine  sulfate drug
                         drug label
                                label represented
                                       represented on on the
                                                          the current
                                                               current record    as
                                                                         record as
     Exhibit 1004
     Exhibit  1004 was was posted
                             posted onon July    24, 2014,
                                           July 24,   2014, on     the DailyMed
                                                              on the    DailyMed
     website. We
     website.    We do do not
                           not find  any dispute
                               find any    dispute on   the current
                                                    on the   current record    that
                                                                       record that
     DailyMed is
     DailyMed     is aa federal
                        federal government       website that
                                  government website       that is   accessible to
                                                                 is accessible   to
     the public
     the          and presented
         public and     presented in in aa manner
                                           manner that
                                                     that allows    the public
                                                           allows the            to
                                                                         public to
     readily  search its
     readily search      its database
                              database forfor drug
                                                drug labels     that have
                                                       labels that            been
                                                                       have been


                                          19
                                          19
                                    Appx000075
                                    Appx000075
       Case: 23-2402      Document: 15        Page: 132     Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      approved
      approved byby the
                     the FDA.
                          FDA. Moreover,
                                   Moreover, as
                                              as Petitioner
                                                  Petitioner asserts,
                                                               asserts, the
                                                                         the
      DailyMed website
      DailyMed   website explains,   “The DailyMed
                           explains, "The DailyMed RSSRSS feed
                                                             feed provides
                                                                   provides
      updates  and information
      updates and                about new
                   information about   new drug
                                            drug labels
                                                  labels approved
                                                         approved by  by the
                                                                         the
      FDA and
      FDA   and published
                published on  NLM’ss DailyMed
                           on NLM'     DailyMed Web
                                                  Web site.”   Ex. 1057,
                                                        site." Ex   1057, 1.
                                                                          1.
      In
      In other words, the
         other words,  the DailyMed
                           DailyMed website
                                      website further
                                              further extends
                                                      extends its
                                                                its reach to
                                                                    reach to
      the public
      the        through such
          public through  such feed.
                                feed.
Dec. 20-23.
Dec. 20–23.
      Patent Owner
      Patent Owner in
                   in its Response continues
                      its Response           to question
                                   continues to          the public
                                                question the public
availability of Alcorn.
availability of Akorn. See  PO Resp.
                        See PO Resp. 56–58. Patent Owner
                                     56-58. Patent Owner continues to
                                                         continues to
assail the public
assail the public availability of Alcorn
                  availability of Akorn as
                                         as shown
                                            shown by
                                                  by the
                                                     the exhibits
                                                         exhibits originally
                                                                  originally
presented
presented with the Petition,
          with the Petition, see
                             see id., but we
                                 id., but we agreed
                                             agreed with
                                                    with some
                                                         some of these
                                                              of these
criticisms. For instance,
criticisms. For           we stated:
                instance, we stated:
             To  begin, we
             To begin,    we note    that, in
                              note that,      some respects,
                                           in some              we agree
                                                     respects, we           with
                                                                    agree with
      Patent Owner's
      Patent  Owner’s position.       For example,
                          position. For     example, wewe agree
                                                           agree with     Patent
                                                                   with Patent
      Owner   that the
      Owner that   the "7/14"
                       “7/14” revision
                                revision date
                                           date printed
                                                printed on Akorn, on
                                                        on Alcorn,   on its
                                                                        its own,
                                                                            own,
      indicates  only that
      indicates only     that some
                               some unknown
                                         unknown author(s)
                                                     author(s) modified
                                                                 modified thethe
      document
      document onon that
                     that date.         Prelim. Resp.
                                  See Prelim.
                           date. See            Resp. 29,
                                                       29, PO
                                                           PO Sur-reply     2–3.
                                                                Sur-reply 2-3.
      Indeed,  similar to
      Indeed, similar   to the
                            the copyright
                                 copyright or or creation
                                                 creation dates
                                                           dates in
                                                                  in Hulu,   the
                                                                      Hulu, the
      revision
      revision date,   by itself,
                date, by   itself, is
                                    is insufficient  to demonstrate
                                       insufficient to                 that the
                                                        demonstrate that     the
      exhibit was publicly
      exhibit was             available on
                    publicly available        that date.
                                          on that         See Hulu,
                                                   date. See          Paper 29
                                                               Hulu, Paper    29
      at
      at 19.
         19. We    also agree
              We also            with Patent
                         agree with     Patent Owner
                                               Owner that
                                                        that neither  the FDA
                                                             neither the    FDA
      approval
      approval date
                date of  the Alcorn
                      of the  Akorn atropine
                                       atropine sulfate
                                                 sulfate drug
                                                         drug product
                                                               product nor   the
                                                                         nor the
      sale or use
      sale or use of  that product
                   of that  product demonstrates      the public
                                       demonstrates the            accessibility
                                                          public accessibility
      of
      of drug
         drug label
               label reflected
                      reflected in    Akorn prior
                                  in Alcorn         to the
                                              prior to the critical
                                                            critical date.   See
                                                                     date. See
      Prelim. Resp.
      Prelim.  Resp. 30,
                      30, PO
                           PO Sur-reply     2–3.
                               Sur-reply 2-3.
Dec. 20.
Dec. 20. Our
         Our decision
             decision on the public
                      on the public availability of Alcorn
                                    availability of Akorn turned
                                                           turned on
                                                                  on the
                                                                     the
additional
additional evidence Petitioner submitted
           evidence Petitioner           as Exhibit
                               submitted as Exhibit 1057. See id.
                                                    1057. See id.
      The only criticism
      The only           Patent Owner
               criticism Patent Owner presents with reference
                                      presents with           to our
                                                    reference to our
analysis
analysis of Exhibit 1057
         of Exhibit      as set
                    1057 as set forth above is
                                forth above    to question
                                            is to question aa statement
                                                              statement on the
                                                                        on the
DailyMed webpage
DailyMed webpage concerning when filtering
                 concerning when           by published
                                 filtering by published date was added
                                                        date was added
to Web
to Web Services.     PO Resp.
                 See PO
       Services. See    Resp. 57–58;
                              57-58; Sur-Reply 25. Patent
                                     Sur-Reply 25. Patent Owner
                                                          Owner states:
                                                                states:
“But Petitioner's
"But Petitioner’s DailyMed
                  DailyMed exhibit (created on
                           exhibit (created on September
                                               September 15, 2021)
                                                         15, 2021)
acknowledges that ‘Filtering
acknowledges that            by Published
                  `Filtering by Published Date
                                          Date [Was]
                                               [Was] Added
                                                     Added to
                                                           to Web
                                                              Web

                                         20
                                         20
                                   Appx000076
                                   Appx000076
       Case: 23-2402      Document: 15      Page: 133    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
Services’
Services' only
          only as
               as late as October
                  late as October 2015
                                  2015 (EX1057,
                                       (EX1057, 1, 2), which
                                                1, 2), which falls
                                                             falls after the
                                                                   after the
critical
critical date. EX1001, Cover.
         date. EX1001, Cover. As
                              As the
                                 the very
                                     very same search means
                                          same search       that
                                                      means that
Petitioner used
Petitioner      to find
           used to      the label
                   find the label in EX1057 admittedly
                                  in EX1057 admittedly did
                                                       did not
                                                           not exist before
                                                               exist before
the critical
the critical date, Petitioner has
             date, Petitioner has failed to demonstrate
                                  failed to demonstrate pre-critical
                                                        pre-critical date
                                                                     date public
                                                                          public
availability of this
availability of this new
                     new label.” PO Resp.
                         label." PO Resp. 57.
                                          57.
       We
       We find that Patent
          find that Patent Owner’s
                           Owner's criticism misses the
                                   criticism misses the mark. Petitioner is
                                                        mark. Petitioner is
using the DailyMed
using the DailyMed exhibit as further
                   exhibit as further evidence that Alcorn
                                      evidence that Akorn was
                                                           was publicly
                                                               publicly
available as of
available as of the
                the revision
                    revision date
                             date of
                                  of 7/2014
                                     7/2014 as shown on
                                            as shown    Akorn, Ex
                                                     on Alcorn, Ex. 1004.
                                                                    1004.
    Opp. to
See Opp.
See      to Mot.
            Mot. to
                 to Exclude
                    Exclude 88 ("Moreover,
                               (“Moreover, public
                                           public records
                                                  records from DailyMed,
                                                          from DailyMed,
part of the
part of the NIH's
            NIH’s National
                  National Library
                           Library of Medicine, show
                                   of Medicine, show that
                                                     that EX1004
                                                          EX1004 was
                                                                 was
posted
posted publicly
       publicly on that site
                on that site at
                             at least by July
                                least by      24, 2014.
                                         July 24, 2014. See EX1057, 3.
                                                        See EX1057, 3.”)  As
                                                                       ") As
set
set forth
    forth in the Petition,
          in the Petition, EX1004,
                           EX1004, aa drug
                                      drug label to Alcorn,
                                           label to Akorn, bears
                                                            bears July 2014
                                                                  July 2014
revision
revision dates that comport
         dates that comport with
                            with its FDA approval
                                 its FDA approval and
                                                  and publication well
                                                      publication well
before the
before the critical
           critical date.     Pet., 10–22;
                          See Pet.,
                    date. See              Hulu, 13.
                                    10-22; Hulu, 13. It also bears
                                                     It also bears Akorn's
                                                                   Akorn’s
corporate
corporate insignia. EX1004, 5.
          insignia. EX1004,    Additional evidence
                            5. Additional evidence confirms these dates
                                                   confirms these       are
                                                                  dates are
reliable. EX1056-58.”); 33 ("Public
reliable. EX1056-58.");    (“Public records
                                    records from DailyMed, part
                                            from DailyMed, part of the NIH's
                                                                of the NIH’s
National Library
National Library of
                 of Medicine,
                    Medicine, show
                              show that
                                   that EX1004
                                        EX1004 was
                                               was posted
                                                   posted publicly
                                                          publicly on
                                                                   on
July 24, 2014.
July 24, 2014.”).
               "). Whether
                   Whether aa P
                              POSA
                                OSA could
                                    could have searched this
                                          have searched this way
                                                             way for
                                                                 for labels
                                                                     labels
published before the
published before the critical
                     critical date
                              date is
                                   is irrelevant; Petitioner is
                                      irrelevant; Petitioner is only
                                                                only using the
                                                                     using the
evidence to show
evidence to show that
                 that Alcorn
                      Akorn was,
                             was, in
                                  in fact,
                                     fact, published
                                           published in
                                                     in July 2014, before
                                                        July 2014, before the
                                                                          the
critical
critical date
         date on
              on aa searchable website. See
                    searchable website. See id. Patent Owner
                                            id. Patent Owner does
                                                             does not
                                                                  not dispute
                                                                      dispute
that DailyMed
that DailyMed was
              was searchable by drug
                  searchable by drug name, which would
                                     name, which would be
                                                       be the
                                                          the logical
                                                              logical
way aa P
way    POSA  would search
         OSA would search such
                          such aa database
                                  database for
                                           for information
                                               information for
                                                           for aa drug
                                                                  drug of
                                                                       of
interest.
interest.
       Petitioner also
       Petitioner also provides
                       provides further
                                further evidence that the
                                        evidence that the Alcorn
                                                          Akorn label  was
                                                                 label was
published
published on
          on July 24, 2014,
             July 24, 2014, through
                            through aa response by the
                                       response by the National
                                                       National Library
                                                                Library of
                                                                        of
Medicine ("NLM")
Medicine (“NLM”) to
                 to aa Freedom
                       Freedom of
                               of Information
                                  Information Act
                                              Act request.
                                                  request. See Ex. 1071.
                                                           See Ex. 1071.

                                       21
                                       21
                                  Appx000077
                                  Appx000077
       Case: 23-2402        Document: 15    Page: 134   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
In this Freedom
In this Freedom of
                of Information
                   Information Act
                               Act request, Petitioner asked
                                   request, Petitioner asked for written
                                                             for written
confirmation that the
confirmation that the substance of the
                      substance of the Alcorn
                                       Akorn label  was posted
                                              label was posted on July 24,
                                                               on July 24,
2014, on
2014, on the
         the DailyMed
             DailyMed website.
                      website. Id.
                               Id. The National Institutes
                                   The National Institutes of Health
                                                           of Health
(“NIH”) responded
("NIH")           that version
        responded that version 77 of
                                  of the
                                     the Alcorn
                                         Akorn label  was published
                                                label was published on
                                                                    on
DailyMed on
DailyMed on July 24, 2014,
            July 24, 2014, and
                           and provided the URL
                               provided the URL that
                                                that is
                                                     is reflected
                                                        reflected in the
                                                                  in the
Akorn label
Alcorn label in Exhibit 1057
             in Exhibit 1057 from the DailyMed
                             from the DailyMed website.
                                               website. See Ex. 1072,
                                                        See Ex.       6;
                                                                1072, 6;
Ex. 1057,
Ex. 1057, 4–7. NIH also
          4-7. NIH also confirmed that NLM
                        confirmed that NLM "received
                                           “received version
                                                     version 77 of this
                                                                of this
label
label from the FDA
      from the FDA on
                   on 07/24/2014
                      07/24/2014 @ 2:15:04 PM,"
                                 @ 2:15:04 PM,” "published
                                                “published version
                                                           version 77 on
                                                                      on
DailyMed on
DailyMed    the same
         on the same day,
                     day, 07/24/2014
                          07/24/2014 @
                                     @ 14:59:48 PM,” and
                                       14:59:48 PM," and confirmed
                                                         confirmed
that "NLM
that “NLM does
          does not
               not make
                   make changes to the
                        changes to the content
                                       content contained within any
                                               contained within any SPL
                                                                    SPL
[or structured product
[or structured product labeling]
                       labeling] records that itit receives
                                 records that      receives from the FDA."
                                                            from the FDA.”
Ex. 1072,
Ex. 1072, 6.
          6. We
             We find that Petitioner
                find that Petitioner has
                                     has provided
                                         provided more than sufficient
                                                  more than sufficient
evidence that the
evidence that the Alcorn
                  Akorn label
                         label reflected
                               reflected in Ex. 1004
                                         in Ex.      was publicly
                                                1004 was publicly available
                                                                  available
before the
before the critical
           critical date.
                    date.
      For the
      For the reasons
              reasons set
                      set forth
                          forth above,
                                above, we determine that
                                       we determine that Petitioner
                                                         Petitioner has
                                                                    has
shown by aa preponderance
shown by    preponderance of the evidence
                          of the          that Alcorn,
                                 evidence that Akorn, Ex.
                                                       Ex. 1004,
                                                           1004, is
                                                                 is aa printed
                                                                       printed
publication that was
publication that was publicly
                     publicly available before the
                              available before the critical
                                                   critical date.
                                                            date.

               b) Patent Owner’s
               b) Patent          Motion to
                         Owner 's Motion    Exclude Evidence
                                         to Exclude Evidence
      Patent Owner
      Patent       moves to
             Owner moves to exclude
                            exclude from
                                    from evidence the Declaration
                                         evidence the Declaration of
                                                                  of
Dr. Byrn
Dr. Byrn (Ex
         (Ex. 1002), Exhibits 1004
              1002), Exhibits 1004 and
                                   and 1057 that constitute
                                       1057 that            the Alcorn
                                                 constitute the Akorn
labels, and Exhibits
labels, and Exhibits 1079 through 1088
                     1079 through      that Petitioner
                                  1088 that Petitioner submitted
                                                       submitted with
                                                                 with its
                                                                      its
Reply. Mot.
Reply. Mot. to
            to Exclude
               Exclude 2.
                       2. Petitioner
                          Petitioner filed
                                     filed an
                                           an Opposition (Paper 31,
                                              Opposition (Paper 31, "Opp.
                                                                    “Opp.
to Mot.
to Mot. to
        to Exclude"),
           Exclude”), and
                      and Patent
                          Patent Owner
                                 Owner filed
                                       filed aa Reply
                                                Reply (Paper
                                                      (Paper 33,
                                                             33, "Reply
                                                                 “Reply to
                                                                        to
Mot. to
Mot. to Exclude").
        Exclude”). For
                   For the
                       the following
                           following reasons, Patent Owner’s
                                     reasons, Patent         Motion to
                                                     Owner's Motion to
Exclude is
Exclude    denied.
        is denied.




                                       22
                                       22
                                  Appx000078
                                  Appx000078
       Case: 23-2402       Document: 15        Page: 135    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
       Pursuant to
       Pursuant to our Rules, aa motion
                   our Rules,           to exclude
                                 motion to exclude evidence must be
                                                   evidence must be filed to
                                                                    filed to
preserve any previously-made
preserve any previously-made objections to evidence.
                             objections to           37 C.F.R.
                                           evidence. 37 C.F.R. §§ 42.64(c).
                                                                  42.64(c).
The motion must
The motion must identify
                identify where
                         where in the record
                               in the        the objections
                                      record the            were made,
                                                 objections were       and
                                                                 made, and
must
must explain the objections.
     explain the                 Patent Owner
                             Id. Patent
                 objections. Id.              appropriately identifies
                                        Owner appropriately identifies
where
where in the record
      in the record it
                    it previously
                       previously served objections to
                                  served objections to the
                                                       the exhibits
                                                           exhibits it
                                                                    it seeks to
                                                                       seeks to
exclude. Mot. to
exclude. Mot. to Exclude
                 Exclude 22 (citing
                            (citing Papers
                                    Papers 12, 23).
                                           12, 23).
       As the
       As the moving
              moving party, Patent Owner
                     party, Patent       bears the
                                   Owner bears the burden
                                                   burden of
                                                          of proof to
                                                             proof to
establish that itit is
establish that      is entitled to the
                       entitled to the requested
                                       requested relief,
                                                 relief, i.e., the exclusion
                                                         i.e., the           of
                                                                   exclusion of
evidence as inadmissible
evidence as inadmissible under the Federal
                         under the Federal Rules
                                           Rules of Evidence ("FRE").
                                                 of Evidence (“FRE”). See
                                                                      See
37 C.F.R.
37 C.F.R. §§
          §§ 42.20(c),
             42.20(c), 42.64(a).
                       42.64(a).

                      (1) Dr. Byrn's
                      (1) Dr. Byrn’s Testimony
                                     Testimony (Ex. 1002)
                                               (Ex. 1002)
        Patent Owner
        Patent Owner challenges Dr. Byrn's
                     challenges Dr. Byrn’s testimony
                                           testimony under FRE 702
                                                     under FRE     as not
                                                               702 as not
based on
based on sufficient “scientific knowledge,”
         sufficient "scientific knowledge," not based on
                                            not based    “sufficient facts
                                                      on "sufficient facts or
                                                                           or
data,” and not
data," and     “the product
           not "the         of reliable
                    product of reliable principles” and methods
                                        principles" and         “reliably
                                                        methods "reliably
applied” to the
applied" to the facts
                facts of this proceeding.
                      of this             Mot. to
                              proceeding. Mot. to Exclude
                                                  Exclude 2.
                                                          2.

                       (a) Requisite Scientific
                       (a) Requisite Scientific Knowledge
                                                Knowledge
       For instance,
       For           although Dr.
           instance, although Dr. Byrn
                                  Byrn agrees
                                       agrees that
                                              that the
                                                   the ’145
                                                       '145 patent
                                                            patent is
                                                                   is
“directed to
"directed to the
             the field of ophthalmic
                 field of ophthalmic compositions and ophthalmic
                                     compositions and ophthalmic solutions,”
                                                                 solutions,"
Patent Owner
Patent       asserts that
       Owner asserts that Dr.
                          Dr. Byrn's
                              Byrn’s curriculum vitae (Ex.
                                     curriculum vitae (Ex. 1002, Appendix
                                                           1002, Appendix
A) "provides
A) “provides no
             no indication that Dr.
                indication that Dr. Byrn
                                    Byrn has any expertise
                                         has any expertise in
                                                           in ophthalmic
                                                              ophthalmic
formulation.” Mot. to
formulation." Mot. to Exclude
                      Exclude 2-3
                              2–3 (citing
                                  (citing Ex
                                          Ex. 2009,
                                              2009, 97:19–98:14, 104:20–
                                                    97:19-98:14, 104:20-
106:5). Patent Owner
106:5). Patent Owner further states:
                     further states:
       During his
       During  his deposition, Dr. Byrn
                   deposition, Dr.  Byrn identified  brief eyedrop
                                          identified brief eyedrop forays
                                                                    forays
       (none significant
       (none significant enough
                         enough toto merit
                                     merit mention
                                            mention in
                                                     in his
                                                        his CV
                                                            CV or
                                                                or
       declaration), but could
       declaration), but       not identify
                         could not           any ophthalmic
                                    identify any  ophthalmic product
                                                              product he
                                                                       he
       formulated  before the
       formulated before  the critical
                              critical date.  Even as
                                       date. Even   as of 2021, Dr.
                                                       of 2021, Dr. Byrn
                                                                    Byrn
       never
       never had
             had primary
                  primary responsibility
                           responsibility for
                                           for formulating  any drug
                                               formulating any  drug


                                          23
                                          23
                                    Appx000079
                                    Appx000079
       Case: 23-2402      Document: 15      Page: 136    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      product that has
      product that has received
                       received regulatory
                                regulatory approval
                                           approval or been
                                                    or been
      commercialized.
      commercialized.
Mot. to
Mot. to Exclude
        Exclude 33 (citing
                   (citing Ex
                           Ex. 2010
                               2010 ¶ 8). Patent Owner
                                      8). Patent Owner also
                                                       also criticized
                                                            criticized
Dr. Byrn's
Dr. Byrn’s alleged
           alleged lack
                   lack of
                        of knowledge
                           knowledge of
                                     of ophthalmic terms such
                                        ophthalmic terms such as
                                                              as
lacrimation. See id.
lacrimation. See id.
      Petitioner responds
      Petitioner          that the
                 responds that the primary
                                   primary focus
                                           focus in
                                                 in evaluating the
                                                    evaluating the
admissibility of testimony
admissibility of testimony under FRE 702
                           under FRE 702 is “whether an
                                         is "whether an expert’s
                                                        expert's opinion
                                                                 opinion
will assist the
will assist the trier
                trier of
                      of fact,”
                         fact," aa low bar, and
                                   low bar, and many of Patent
                                                many of Patent Owner's
                                                               Owner’s
criticisms
criticisms go to the
           go to the weight to be
                     weight to be accorded
                                  accorded Dr.
                                           Dr. Byrn's
                                               Byrn’s testimony
                                                      testimony rather than
                                                                rather than
its
its admissibility. Opp. to
    admissibility. Opp. to Mot.
                           Mot. to
                                to Exclude
                                   Exclude 1-7.
                                           1–7. In
                                                In applying FRE 702,
                                                   applying FRE 702,
Petitioner asserts
Petitioner         that "Dr.
           asserts that “Dr. Byrn,
                             Byrn, aa professor
                                      professor of
                                                of medicinal
                                                   medicinal chemistry
                                                             chemistry who
                                                                       who
specializes
specializes in
            in drug
               drug formulation,
                    formulation, is
                                 is eminently
                                    eminently qualified to opine
                                              qualified to opine about the
                                                                 about the
straightforward
straightforward formulation
                formulation issues
                            issues presented
                                   presented in this proceeding.”
                                             in this proceeding." Id. at 1.
                                                                  Id. at 1.
      Petitioner asserts
      Petitioner         that Patent
                 asserts that Patent Owner
                                     Owner does
                                           does not
                                                not contest that Dr.
                                                    contest that Dr. Byrn
                                                                     Byrn
meets Petitioner’s POSA
meets Petitioner's POSA definition (as we
                        definition (as we have
                                          have determined should be
                                               determined should be
applied
applied in this proceeding),
        in this              but even
                proceeding), but even if we required
                                      if we required experience
                                                     experience in
                                                                in
formulating
formulating ophthalmic
            ophthalmic pharmaceuticals, we find
                       pharmaceuticals, we      that Dr.
                                           find that Dr. Byrn
                                                         Byrn has such
                                                              has such
experience.     Opp. to
            See Opp.
experience. See      to Mot.
                        Mot. to
                             to Exclude
                                Exclude 2-6;
                                        2–6; see Ex. 1002,
                                             see Ex.       Appendix A
                                                     1002, Appendix A
¶¶ 3–10. Petitioner
¶¶3-10.  Petitioner asserts that Dr.
                    asserts that Dr. Byrn
                                     Byrn testifies:
                                          testifies:
             That
             That he worked as
                  he worked  as aa consultant
                                   consultant for Alcon—aa well-known
                                              for Alcon       well-known
      eye
      eye care
           care company—on
                 company on aa numbernumber ofof ophthalmic
                                                  ophthalmic products,
                                                                 products,
      including
      including ones that were
                ones that      FDA-approved, prior
                          were FDA-approved,           to the
                                                 prior to the critical
                                                              critical date.
                                                                       date.
           Ex. 2009,
      See Ex
      See       2009, 136:12-137:12.
                       136:12–137:12. He   He further   testified that
                                               further testified   that he
                                                                         he
      worked  with eye
      worked with  eye drops
                        drops as
                              as part
                                  part of Purdue’s Africa
                                       of Purdue's  Africa program.
                                                            program. Id. Id.
      at 49:149–50:2.
      at 49:149-50:2.
Opp. to Mot.
Opp. to Mot. to
             to Exclude
                Exclude 4. Petitioner also
                        4. Petitioner also asserts
                                           asserts that
                                                   that Dr.
                                                        Dr. Byrn
                                                            Byrn accurately
                                                                 accurately
described the term
described the term "lacrimation"
                   “lacrimation” in
                                 in his
                                    his deposition.
                                        deposition. Id. at 44 n.2
                                                    Id. at         (citing
                                                              n. 2 (citing
Ex. 2009,
Ex. 2009, 49:11–14; Ex. 1002
          49:11-14; Ex. 1002 ¶ 75 (quoting Ex
                               75 (quoting Ex. 1047, 2)).
                                               1047, 2)).



                                       24
                                       24
                                 Appx000080
                                 Appx000080
       Case: 23-2402     Document: 15      Page: 137   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      As we
      As we have
            have previously
                 previously determined,
                            determined, aa P
                                           POSA
                                             OSA need
                                                 need not
                                                      not have
                                                          have specific
                                                               specific
experience
experience in
           in ophthalmic
              ophthalmic formulation. See Section
                         formulation. See Section II.B. Dr. Byrn
                                                  II.B. Dr. Byrn has
                                                                 has
ample
ample experience to qualify
      experience to qualify as
                            as aa POSA,
                                  POSA, which
                                        which we
                                              we defined as aa person
                                                 defined as    person
having
having aa Ph.D.
          Ph.D. in
                in chemistry,
                   chemistry, organic
                              organic chemistry,
                                      chemistry, physical
                                                 physical chemistry,
                                                          chemistry, or
                                                                     or
pharmaceutics,
pharmaceutics, with
               with several years of
                    several years of experience
                                     experience preparing and/or testing
                                                preparing and/or testing
pharmaceutical
pharmaceutical formulations at the
               formulations at the time
                                   time of the purported
                                        of the purported invention. See
                                                         invention. See
Section
Section II.B.; Ex. 1002
        II.B.; Ex. 1002 ¶¶ 3–10. Dr.
                        ¶¶ 3-10. Dr. Byrn
                                     Byrn has the requisite
                                          has the           academic
                                                  requisite academic
background, as
background, as well
               well as
                    as extensive
                       extensive experience
                                 experience in
                                            in drug
                                               drug development and
                                                    development and
formulation.     Ex. 1002
             See Ex
formulation. See     1002 ¶¶ 3–10. Dr.
                          ¶¶ 3-10. Dr. Byrn
                                       Byrn testifies
                                            testifies that
                                                      that his “laboratory
                                                           his "laboratory
has
has done
    done extensive
         extensive research
                   research on
                            on drug
                               drug formulations, and [he
                                    formulations, and [he has] authored
                                                          has] authored
over two hundred
over two         book chapters
         hundred book          and peer-reviewed
                      chapters and               journal articles
                                   peer-reviewed journal articles on
                                                                  on
properties of aa wide
properties of         variety of
                 wide variety of pharmaceutical
                                 pharmaceutical compositions.” Id. ¶ 10.
                                                compositions." Id.   10.
      We also find,
      We also find, however, that Dr.
                    however, that Dr. Byrn
                                      Byrn has
                                           has experience
                                               experience with
                                                          with ophthalmic
                                                               ophthalmic
formulations. Dr. Byrn
formulations. Dr. Byrn testifies
                       testifies that
                                 that he
                                      he has “worked quite
                                         has "worked quite aa bit
                                                              bit with
                                                                  with
eyedrops”
eyedrops" in Purdue’s Africa
          in Purdue's Africa program. Ex. 2009,
                             program. Ex. 2009, 49:21-24.
                                                49:21–24. In
                                                          In his
                                                             his
Declaration, Dr.
Declaration, Dr. Byrn
                 Byrn testifies
                      testifies that
                                that he
                                     he was
                                        was aa co-founder
                                               co-founder of the Sustainable
                                                          of the Sustainable
Medicines in
Medicines    Africa in
          in Africa    the Kilimanjaro
                    in the Kilimanjaro and Arusha regions
                                       and Arusha         of Tanzania
                                                  regions of Tanzania in
                                                                      in
2007. Ex
2007. Ex. 1002
          1002 ¶ 5. Dr. Byrn
                 5. Dr. Byrn describes this program
                             describes this program more
                                                    more extensively
                                                         extensively in
                                                                     in
his
his curriculum vitae as
    curriculum vitae as providing
                        providing educational
                                  educational programs that are
                                              programs that are "aimed
                                                                “aimed at
                                                                       at
providing
providing source of well-trained
          source of              manufacturing scientists
                    well-trained manufacturing scientists for
                                                          for pharmaceutical
                                                              pharmaceutical
industry
industry in
         in Tanzania and Africa,"
            Tanzania and Africa,” and
                                  and including
                                      including aa GMP-level
                                                   GMP -level
pharmaceutical
pharmaceutical manufacturing
               manufacturing facility to teach
                             facility to teach manufacturing
                                               manufacturing under
                                                             under strict
                                                                   strict
quality
quality control,
        control, as well as
                 as well as aa quality medicines laboratory
                               quality medicines laboratory equipped
                                                            equipped with
                                                                     with
HPLCs. Ex
HPLCs. Ex. 1002, Appendix, 82.
           1002, Appendix,     Dr. Byrn
                           82. Dr. Byrn also testifies that
                                        also testifies that he
                                                            he consulted
                                                               consulted
with Alcon on
with Alcon on aa number
                 number of
                        of ophthalmic
                           ophthalmic drug
                                      drug products although he
                                           products although    was not
                                                             he was not
primarily
primarily responsible
          responsible for their formulation.
                      for their                  Ex. 2009,
                                             See Ex.
                                formulation. See     2009, 136:12–20.
                                                           136:12-20.



                                      25
                                      25
                                Appx000081
                                Appx000081
        Case: 23-2402        Document: 15         Page: 138      Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
       We
       We find Dr. Byrn's
          find Dr. Byrn’s alleged
                          alleged lack
                                  lack of “primary” responsibility
                                       of "primary" responsibility for the
                                                                   for the
formulation
formulation of an ophthalmic
            of an ophthalmic product to be
                             product to be somewhat
                                           somewhat of
                                                    of aa red
                                                          red herring
                                                              herring in
                                                                      in
assessing whether Dr.
assessing whether Dr. Byrn
                      Byrn has “expertise in
                           has "expertise    ophthalmic formulation”
                                          in ophthalmic formulation" as
                                                                     as
Patent Owner
Patent       asserts should
       Owner asserts should be
                            be required.     Mot. to
                                         See Mot.
                               required. See      to Exclude
                                                     Exclude 2-3.
                                                             2–3. In
                                                                  In
response to questions
response to           about whether
            questions about whether Dr.
                                    Dr. Byrn
                                        Byrn ever
                                             ever had
                                                  had primary
                                                      primary
responsibility
responsibility for
               for formulating
                   formulating aa drug
                                  drug product that has
                                       product that has received
                                                        received regulatory
                                                                 regulatory
approval, Dr. Byrn
approval, Dr. Byrn testifies
                   testifies that
                             that he
                                  he has “been on
                                     has "been on aa team
                                                     team that
                                                          that formulated
                                                               formulated drug
                                                                          drug
products
products for both for
         for both for commercial sale and
                      commercial sale and IND testing.” Ex
                                          IND testing." Ex. 2009,
                                                            2009, 134:19–
                                                                  134:19-
24. Dr.
24. Dr. Byrn
        Byrn also
             also pointed
                  pointed out
                          out what
                              what he
                                   he considered to be
                                      considered to be aa false
                                                          false premise
                                                                premise in
                                                                        in
the questions
the questions related to "primary"
              related to “primary” responsibility
                                   responsibility for
                                                  for drug
                                                      drug formulation.
                                                           formulation.
Dr. Byrn
Dr. Byrn testifies:
         testifies:
        II have   been aa consultant
           have been       consultant on
                                       on aa large
                                             large number
                                                     number ofof products  that came
                                                                 products that  came
        on   the market
         on the             and II worked
                   market and       worked inin aa team,
                                                   team, and
                                                          and my   work was
                                                               my work    was —– part
                                                                                  part
        of   the work
         of the    work waswas critical
                                critical for
                                         for certain
                                               certain specifications
                                                        specifications and
                                                                        and certain
                                                                              certain
        marketing       steps, but
         marketing steps,      but II don’t   believe that
                                      don't believe     that in this day
                                                             in this day and
                                                                          and age
                                                                                age aa
        person
         person is is primarily
                      primarily responsible
                                  responsible for   bringing aa drug
                                                for bringing    drug on  the market;
                                                                      on the market;
        it’s
         it's aa team
                 team activity.
                        activity.
    at 135:15–23.
Id. at
Id.    135:15-23. We     We credit   Dr. Byrn's
                             credit Dr.  Byrn’s testimony
                                                   testimony here.   1° We
                                                               here. 10      also
                                                                        We also
determine that Dr.
determine that Dr. Byrn
                   Byrn satisfies the requirements
                        satisfies the requirements for
                                                   for aa POSA
                                                          POSA as
                                                               as we
                                                                  we have
                                                                     have
determined
determined it
           it should be defined,
              should be          without specific
                        defined, without specific expertise
                                                  expertise in
                                                            in ophthalmic
                                                               ophthalmic
formulation, but also
formulation, but also determine that even
                      determine that even if we applied
                                          if we applied Patent
                                                        Patent Owner's
                                                               Owner’s
heightened
heightened standard
           standard requiring such expertise,
                    requiring such            Dr. Byrn
                                   expertise, Dr. Byrn satisfies that
                                                       satisfies that




1° We
10
   We also
       also find that Dr.
            find that Dr. Byrn
                          Byrn was
                                was clearly
                                     clearly familiar  with the
                                             familiar with  the term
                                                                term
“lacrimation,”  which   means  “the secretion  of tears especially
"lacrimation," which means "the secretion of tears especially when when
abnormal
abnormal oror excessive,”  but chose
              excessive," but         to use
                               chose to      the word
                                         use the word "tearing"
                                                        “tearing” instead.  See
                                                                  instead. See
Ex. 2009,
Ex.  2009, 49:3–14;       also https://www.merriam-
                      see also
           49:3-14; see        https://www.merriam-
webster.com/dictionary/lacrimation      (accessed June
webster. com/dictionary/lacrimation (accessed      June 25,
                                                         25, 2023)
                                                             2023) (defining
                                                                    (defining
lacrimation).
lacrimation).

                                             26
                                             26
                                      Appx000082
                                      Appx000082
       Case: 23-2402        Document: 15    Page: 139    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
definition
definition also. Dr. Byrn
           also. Dr. Byrn has the requisite
                          has the requisite scientific
                                            scientific knowledge to serve
                                                       knowledge to       as
                                                                    serve as
an
an expert
   expert for Petitioner.
          for Petitioner.

(b) Sufficiency of
(b) Sufficiency of Underlying Facts and
                   Underlying Facts and Data;
                                        Data; Reliability
                                              Reliability of Principles and
                                                          ofPrinciples  and
              Methods as
              Methods  as Applied
                          Applied to
                                  to Underlying Facts and
                                     Underlying Facts  and Data
                                                            Data
      Patent Owner
      Patent       asserts that
             Owner asserts that Dr.
                                Dr. Byrn's
                                    Byrn’s alleged
                                           alleged inexperience with
                                                   inexperience with
ophthalmic
ophthalmic formulations
           formulations led
                        led him to offer
                            him to offer an
                                         an opinion
                                            opinion not based on
                                                    not based    sufficient
                                                              on sufficient
facts
facts or
      or data or reliable
         data or reliable principles,
                          principles, i.e., that Dr.
                                      i.e., that Dr. Byrn's
                                                     Byrn’s opinion that "Alcorn
                                                            opinion that “Akorn
teaches the
teaches the uses of buffering
            uses of buffering agents to achieve
                              agents to achieve aa solution
                                                   solution pH
                                                            pH range of 3.5
                                                               range of 3.5 to
                                                                            to
6.0 were ‘premised’
6.0 were `premised' on an undisclosed
                    on an             assumption that
                          undisclosed assumption that the
                                                      the buffering
                                                          buffering range
                                                                    range
of the weak
of the      acid extends
       weak acid         ±2 pH
                 extends ±2 pH units away from
                               units away from its
                                               its pK a.” Mot.
                                                   pKa."  Mot. to
                                                               to Exclude
                                                                  Exclude 44
(citing PO
(citing PO Resp.
           Resp. 36-37;
                 36–37; Ex.
                        Ex. 2009,
                            2009, 96:5–97:4; Ex. 1002
                                  96:5-97:4; Ex. 1002 ¶¶ 20, 24,
                                                      ¶¶ 20, 24, 65,
                                                                 65, 79,
                                                                     79,
96,
96, 137,
    137, 150,
         150, 159). Patent Owner
              159). Patent Owner also asserts Dr.
                                 also asserts Dr. Byrn's
                                                  Byrn’s assumption
                                                         assumption has
                                                                    has
been shown
been shown to
           to be
              be incorrect
                 incorrect in
                           in aa district
                                 district court
                                          court proceeding
                                                proceeding in which he
                                                           in which he
testified. See
testified.     Mot. to
           See Mot. to Exclude
                       Exclude 4–7.
                               4-7.
      Petitioner counters
      Petitioner          that Dr.
                 counters that Dr. Byrn's
                                   Byrn’s opinions are based
                                          opinions are based on
                                                             on sufficient
                                                                sufficient
facts and data
facts and      and are
          data and are reliable. Opp. to
                       reliable. Opp. to Mot.
                                         Mot. to
                                              to Exclude
                                                 Exclude 5–6. As an
                                                         5-6. As an
example, Petitioner points
example, Petitioner        to Dr.
                    points to Dr. Byrn's
                                  Byrn’s reliance on Remington
                                         reliance on Remington (Ex.
                                                               (Ex. 1019),
                                                                    1019),
which Dr. Laskar
which Dr. Laskar admits
                 admits is
                        is aa formulator’s “bible,” to
                              formulator's "bible," to establish that
                                                       establish that
“Remington means
"Remington means exactly what itit says:
                 exactly what            buffer capacity
                                   says: buffer capacity represents
                                                         represents aa
compromise between stability
compromise between           and comfort,
                   stability and comfort, and thus aa buffer
                                          and thus    buffer with
                                                             with
diminished
diminished capacity (e.g., the
           capacity (e.g., the one
                               one provided by sodium
                                   provided by sodium phosphate
                                                      phosphate salts)
                                                                salts)
should be used.”
should be used." Opp. to Mot.
                 Opp. to Mot. to
                              to Exclude
                                 Exclude 55 (citing
                                            (citing Ex.
                                                    Ex. 2003
                                                        2003 ¶¶ 62–63;
                                                                62-63;
Ex. 1002
Ex.        49).
    1002 ¶ 49).
      Petitioner also
      Petitioner also points to support
                      points to support for Dr. Byrn's
                                        for Dr. Byrn’s opinion that sodium
                                                       opinion that sodium
phosphate
phosphate salts “can still
          salts "can       buffer outside
                     still buffer outside of ± 11 unit
                                          of ±         away from
                                                  unit away      their pK
                                                            from their    a” in
                                                                       pKa"  in
the "reliable
the “reliable scientific
              scientific literature that Patent
                         literature that Patent Owner
                                                Owner seeks to preclude
                                                      seeks to          the
                                                               preclude the
Board from
Board from considering.”     at 66 (citing
                         Id. at
           considering." Id.       (citing Exs.
                                           Exs. 1079–1083 (buffer recipes
                                                1079-1083 (buffer recipes

                                       27
                                       27
                                  Appx000083
                                  Appx000083
       Case: 23-2402      Document: 15       Page: 140    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
using the claimed
using the         sodium phosphate
          claimed sodium           salts below
                         phosphate salts below pH
                                               pH 6.0)). Finally,
                                                  6.0)). Finally,
Petitioner asserts
Petitioner         that Dr.
           asserts that Dr. Byrn's
                            Byrn’s testimony
                                   testimony in the district
                                             in the district court
                                                             court proceeding
                                                                   proceeding is
                                                                              is
inapposite because
inapposite because
      The
      The primary
           primary legal
                     legal issue
                           issue in that case
                                 in that case dealt with infringement
                                              dealt with infringement under
                                                                        under
      the doctrine
      the            of equivalents,
           doctrine of  equivalents, andand whether
                                            whether aa generic
                                                         generic company’s
                                                                  company's
      “proposed product
      "proposed    product contains
                             contains an
                                       an equivalent  to the
                                          equivalent to   the ‘buffer’ of the
                                                              `buffer' of the
      claims[.]”       Ex. 2010,
                  See Ex.
      claims[. ]" See       2010, 2.
                                   2. Unlike
                                       Unlike here, the alternative
                                              here, the alternative excipient
                                                                    excipient
      that the
      that  the generic
                generic company
                         company contended        was aa buffer
                                      contended was       buffer had
                                                                 had not   be
                                                                       not be
      identified,
      identified, disclosed,   and claimed
                  disclosed, and    claimed asas such by the
                                                 such by   the patentee.  See
                                                               patentee. See
      Ex. 1001
      Ex.        (claim 5).
           1001 (claim   5).
Opp. to Mot.
Opp. to Mot. to
             to Exclude
                Exclude 6–7.
                        6-7.
      We agree with
      We agree with Petitioner
                    Petitioner here that Patent
                               here that Patent Owner's
                                                Owner’s concerns about the
                                                        concerns about the
sufficiency
sufficiency of the support
            of the support for Dr. Byrn's
                           for Dr. Byrn’s opinions
                                          opinions goes
                                                   goes more to the
                                                        more to the weight
                                                                    weight to
                                                                           to
be accorded
be          such opinions
   accorded such opinions rather than aa need
                          rather than         to exclude
                                         need to exclude such
                                                         such opinions. See
                                                              opinions. See
TPG
TPG 40–41,
    40-41, 79 (“A motion
           79 ("A        to exclude
                  motion to exclude must
                                    must explain why the
                                         explain why the evidence
                                                         evidence is
                                                                  is not
                                                                     not
admissible (e.g., relevance
admissible (e.g., relevance or
                            or hearsay) but may
                               hearsay) but may not be used
                                                not be      to challenge
                                                       used to           the
                                                               challenge the
sufficiency
sufficiency of the evidence
            of the          to prove
                   evidence to prove aa particular
                                        particular fact.”).
                                                   fact."). We also note
                                                            We also      that
                                                                    note that
the findings
the findings in the district
             in the district court
                             court litigation are based
                                   litigation are based on
                                                        on aa different
                                                              different record that
                                                                        record that
is
is not before us
   not before us here. For instance,
                 here. For           the district
                           instance, the district court
                                                  court relies on aa Lewis
                                                        relies on    Lewis
reference and aa Harris
reference and    Harris reference that is
                        reference that is not before us
                                          not before    and testimony
                                                     us and testimony from
                                                                      from
Dr. Richard
Dr. Richard Moreton
            Moreton that
                    that is
                         is also
                            also not before us
                                 not before us here.
                                               here. See Ex. 2010
                                                     See Ex. 2010 ¶¶
                                                                  ¶¶ 63–69.
                                                                     63-69.
Therefore, we determine
Therefore, we           that the
              determine that the district
                                 district court’s
                                          court's findings are not
                                                  findings are     sufficiently
                                                               not sufficiently
probative
probative of the questions
          of the           before us
                 questions before us here.
                                     here.
      Also, the
      Also, the district
                district court’s
                         court's findings are not
                                 findings are not as
                                                  as definitive as Patent
                                                     definitive as Patent Owner
                                                                          Owner
states.
states. The
        The patent
            patent owner
                   owner in the district
                         in the district court
                                         court case attempted to
                                               case attempted to prove
                                                                 prove
infringement by the
infringement by the doctrine of equivalents
                    doctrine of equivalents for
                                            for aa formulation that did
                                                   formulation that did not
                                                                        not
expressly
expressly contain
          contain aa buffer,
                     buffer, but
                             but that
                                 that itit argued
                                           argued inherently
                                                  inherently contained
                                                             contained aa buffer
                                                                          buffer
from the chemical
from the chemical disassociation of the
                  disassociation of the active
                                        active ingredient
                                               ingredient in the product.
                                                          in the          See
                                                                 product. See
Ex. 2010,
Ex. 2010, 64–65.
          64-65. The
                 The district
                     district court
                              court found that patent
                                    found that patent owner
                                                      owner failed to prove
                                                            failed to prove


                                        28
                                        28
                                  Appx000084
                                  Appx000084
       Case: 23-2402     Document: 15       Page: 141   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
that this
that this actually
          actually occurs
                   occurs in the accused
                          in the accused product.     at 65.
                                                  Id. at
                                         product. Id.    65. The
                                                             The district
                                                                 district court
                                                                          court
case
case is
     is in
        in stark
           stark contrast with the
                 contrast with the underlying
                                   underlying facts
                                              facts of this proceeding
                                                    of this proceeding in which
                                                                       in which
the prior
the       art formulation
    prior art formulation expressly
                          expressly contains the same
                                    contains the      buffers as
                                                 same buffers as claimed
                                                                 claimed in
                                                                         in
the ’145
the '145 patent.     Ex. 1001,
                 See Ex.
         patent. See     1001, 99:33–35 (claim 5);
                               99:33-35 (claim     Ex. 1004,
                                               5); Ex.       3.
                                                       1004, 3.

                                (c)
                                (c) Conclusion
                                    Conclusion
      Based on
      Based on the
               the foregoing, we deny
                   foregoing, we      Patent Owner's
                                 deny Patent Owner’s motion to exclude
                                                     motion to exclude
Exhibit 1002,
Exhibit 1002, Dr.
              Dr. Byrn's
                  Byrn’s testimony.
                         testimony.

                 (2)
                 (2) The Akorn Labels
                     The Akorn Labels (Exs. 1004 and
                                      (Exs. 1004 and 1057)
                                                     1057)
      Patent Owner
      Patent Owner asserts
                   asserts that
                           that Exhibits
                                Exhibits 1004 and 1057
                                         1004 and      should be
                                                  1057 should be excluded
                                                                 excluded
because Petitioner
because Petitioner failed to show
                   failed to show that
                                  that Exhibit
                                       Exhibit 1004 (Akorn) was
                                               1004 (Alcorn) was publicly
                                                                 publicly
available before the
available before the critical date, and
                     critical date, and Exhibit
                                        Exhibit 1057
                                                1057 is
                                                     is deficient to show
                                                        deficient to show such
                                                                          such
public
public availability of Exhibit
       availability of Exhibit 1004. Mot. to
                               1004. Mot. to Exclude
                                             Exclude 7–8.
                                                     7—8.
      We
      We have
         have previously
              previously addressed these issues
                         addressed these issues in
                                                in our
                                                   our determination
                                                       determination of the
                                                                     of the
prior art status
prior art status of Akorn, Ex
                 of Alcorn, Ex. 1004,
                                1004, set
                                      set forth
                                          forth above. See Section
                                                above. See         II.D.3.a).
                                                           Section II.D.3. a).
For these
For these same
          same reasons,
               reasons, we      Patent Owner’s
                           deny Patent
                        we deny                motion to
                                       Owner's motion to exclude Exhibits
                                                         exclude Exhibits
1004
1004 and
     and 1057.
         1057.

                           (3) Exhibits 1079-1088
                           (3) Exhibits 1079–1088
      Patent Owner
      Patent       moves to
             Owner moves to exclude Exhibits 1079
                            exclude Exhibits      through 1088
                                             1079 through 1088
submitted with Petitioner's
submitted with Petitioner’s Reply.
                            Reply. See Mot. to
                                   See Mot. to Exclude
                                               Exclude 2,
                                                       2, 8–15. Patent
                                                          8-15. Patent
Owner asserts that
Owner asserts that these
                   these exhibits
                         exhibits should
                                  should have been submitted
                                         have been submitted with
                                                             with the
                                                                  the
Petition and
Petition and are
             are untimely. Id. at
                 untimely. Id. at 8. Patent Owner
                                  8. Patent       also asserts
                                            Owner also         that Dr.
                                                       asserts that Dr. Byrn
                                                                        Byrn
did
did not “elect to
    not "elect to submit
                  submit aa Reply
                            Reply declaration,
                                  declaration, rely
                                               rely upon any of
                                                    upon any of these
                                                                these
documents,
documents, or testify that
           or testify that any
                           any of
                               of them
                                  them are
                                       are the
                                           the kinds
                                               kinds of
                                                     of documents an expert
                                                        documents an expert
in
in his
   his field (much less
       field (much less aa P
                           POSA
                             OSA in the field
                                 in the       of the
                                        field of the invention)
                                                     invention) would
                                                                would rely
                                                                      rely
upon.” Id.
upon." Id.


                                       29
                                       29
                                 Appx000085
                                 Appx000085
       Case: 23-2402      Document: 15       Page: 142     Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      Petitioner asserts
      Petitioner         that these
                 asserts that these documents were presented
                                    documents were           to Dr.
                                                   presented to Dr. Laskar
                                                                    Laskar at
                                                                           at
his
his deposition to rebut
    deposition to       Patent Owner's
                  rebut Patent Owner’s assertions
                                       assertions that
                                                  that "two
                                                       “two common
                                                            common
buffering agents,
buffering agents, sodium
                  sodium dihydrogen
                         dihydrogen phosphate and disodium
                                    phosphate and disodium hydrogen
                                                           hydrogen
phosphate—identified and claimed
phosphate identified and         by the
                         claimed by the ’145
                                        '145 patent
                                             patent as buffering agents
                                                    as buffering agents—
are
are not buffers in
    not buffers    the claimed
                in the claimed range.” Opp. to
                               range." Opp. to Mot.
                                               Mot. to
                                                    to Exclude
                                                       Exclude 10 (citing PO
                                                               10 (citing PO
Resp. 34;
Resp. 34; Ex
          Ex. 2003
              2003 ¶¶ 56).
                      56).
      Our
      Our Trial Practice Guide
          Trial Practice Guide states that:
                               states that:
             Petitioner may
             Petitioner    may not    submit new
                                not submit   new evidence
                                                  evidence or or argument
                                                                 argument in in
      reply that itit could
      reply that      could have
                            have presented
                                  presented earlier,
                                            earlier, e.g. to make
                                                     e.g. to make out
                                                                  out aa prima
                                                                         prima
      facie
      facie case
            case of of unpatentability.
                       unpatentability. A A party
                                            party may
                                                  may also    submit rebuttal
                                                         also submit  rebuttal
      evidence
      evidence inin support
                      support of
                              of its
                                 its reply.
                                     reply.
Patent Trial
Patent Trial and Appeal Board
             and Appeal Board Consolidated
                              Consolidated Trial Practice Guide
                                           Trial Practice Guide 73 (Nov.
                                                                73 (Nov.
2019) (citing
2019) (citing Belden
              Belden Inc.
                     Inc. v. Berk-Tek LLC, 805
                          v. Berk-TekLLC,      F.3d
                                           805 F     1064, 1077-78
                                                 .3d 1064, 1077–78 (Fed.
                                                                   (Fed.
Cir. 2015).
Cir. 2015).
      Here, we
      Here, we find that Exhibits
               find that Exhibits 1079 through 1088
                                  1079 through 1088 are appropriate rebuttal
                                                    are appropriate rebuttal
evidence. Petitioner uses
evidence. Petitioner      these exhibits
                     uses these          to test
                                exhibits to test Dr.
                                                 Dr. Laskar's
                                                     Laskar’s opinions
                                                              opinions
concerning the buffering
concerning the buffering range
                         range for
                               for sodium
                                   sodium dihydrogen
                                          dihydrogen phosphate and
                                                     phosphate and
disodium
disodium hydrogen
         hydrogen phosphate. See generally
                  phosphate. See           Ex. 1078,
                                 generally Ex  1078, 91–189.
                                                     91-189. 11 As the
                                                             " As  the
Federal Circuit
Federal Circuit noted
                noted in         there is
                         Belden, there
                      in Belden,       is no bright-line demarcation
                                          no bright-line             between
                                                         demarcation between
support
support for Petitioner’s prima
        for Petitioner's prima facie
                               facie case and rebuttal
                                     case and rebuttal evidence. For instance,
                                                       evidence. For instance,
the Federal
the Federal Circuit
            Circuit stated that using
                    stated that using rebuttal
                                      rebuttal evidence as support
                                               evidence as support for the
                                                                   for the
prima
prima facie
      facie case
            case does
                 does not
                      not necessarily mean that
                          necessarily mean that is was "necessary"
                                                is was “necessary” for the
                                                                   for the
prima
prima facie
      facie case
            case requiring
                 requiring it to be
                           it to be in the Petition.
                                    in the Petition.


11
   In response
" In           to Patent
      response to Patent Owner’s    Objections to
                          Owner's Objections    to Evidence,
                                                   Evidence, Petitioner
                                                              Petitioner also
                                                                         also
provided
provided aa Declaration
            Declaration of
                         of Rebecca
                            Rebecca L.L. Baker,
                                         Baker, aa Research
                                                   Research Analyst
                                                             Analyst at
                                                                      at the
                                                                         the law
                                                                             law
firm
firm representing  Petitioner, attesting
      representingPetitioner,  attesting to
                                         to the
                                            the authenticity
                                                authenticity of Exhibits 1079,
                                                             of Exhibits  1079,
1081–1085.
1081-1085. See    Ex. 1095.
              See Ex. 1095.


                                        30
                                        30
                                  Appx000086
                                  Appx000086
      Case: 23-2402        Document: 15       Page: 143     Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      Evidence admitted
      Evidence   admitted inin rebuttal  to respond
                               rebuttal to  respond toto the
                                                          the patent
                                                               patent owner’s
                                                                      owner's
      criticisms
      criticisms will
                  will commonly
                        commonly confirm
                                    confirm thethe prima
                                                   prima facie
                                                            facie case.
                                                                   case. That
                                                                          That
      does
      does not
            not make
                make itit necessary to the
                          necessary to  the prima
                                            prima facie
                                                   facie case.   And nothing
                                                          case. And    nothing
      required  the Board
      required the  Board toto write
                               write its
                                      its opinion  to separate
                                          opinion to   separate the
                                                                  the material
                                                                      material
      offered  by [petitioner]
      offered by  [petitioner] at
                               at different
                                  different stages
                                             stages of  the proceeding.
                                                    of the   proceeding.
    Belden, 805
See Belden,
See             F.3d at
            805 F.3d at 1079.
                        1079.
      For these
      For these reasons, we deny
                reasons, we      Patent Owner's
                            deny Patent Owner’s motion to exclude
                                                motion to         Exhibits
                                                          exclude Exhibits
1079 through 1088.
1079 through 1088.

                                    c)
                                    c) Claim 1
                                       Claim 1
      Petitioner asserts
      Petitioner         that claim
                 asserts that claim 1
                                    1 recites
                                      recites aa kit with two
                                                 kit with two core
                                                              core elements
                                                                   elements
previously
previously known
           known in
                 in Chia
                    Chia and Akorn: "(1)
                         and Alcorn: “(1) aa low-concentration
                                             low-concentration atropine
                                                               atropine
formulation
formulation as taught by
            as taught by Chia,
                         Chia, combined with (2)
                               combined with (2) any
                                                 any number of
                                                     number of
well-known buffering agents
well-known buffering agents to
                            to stabilize
                               stabilize the
                                         the atropine
                                             atropine formulation,
                                                      formulation, including
                                                                   including
by using
by using pH
         pH levels
            levels known to be
                   known to be desirable
                               desirable for treating myopia.”
                                         for treating          Pet. 22.
                                                      myopia." Pet. 22.
      Petitioner describes
      Petitioner           what itit terms
                 describes what      terms the
                                           the "ample"
                                               “ample” motivation
                                                       motivation to
                                                                  to make
                                                                     make
such
such aa combination and the
        combination and the reasonable
                            reasonable expectation of success
                                       expectation of success for such aa
                                                              for such
combination as follows.
combination as              Pet. 23
                        See Pet.
               follows. See      23 (citing
                                    (citing Ex.
                                            Ex. 1002
                                                1002 ¶¶ 64–78).
                                                        64-78).
      In 2012, Chia
      In 2012,     Chia disclosed     that low-concentration
                          disclosed that                            atropine eye
                                           low-concentration atropine        eye
      drops
      drops effectively        treated myopia
                effectively treated      myopia and  and improved
                                                            improved patient
                                                                          patient
      compliance
      compliance issuesissues associated      with higher
                                 associated with       higher concentration
                                                                   concentration
      compositions.
      compositions. Ex.  Ex. 1003,
                             1003, 1.1. Thus, Chia's clinical
                                        Thus, Chia’s             success would
                                                        clinical success   would
      have
      have provided      motivation to
             provided motivation       to make
                                          make andand use
                                                       use low-concentration
                                                             low-concentration
      atropine
      atropine formulations.
                   formulations.       Because atropine's
                                       Because     atropine’s pH-dependent
                                                                  pH-dependent
      stability  was well
      stability was    well known
                             known in    the art,
                                      in the art, and   overly acidic
                                                   and overly    acidic pH   was
                                                                         pH was
      known
      known to  to cause
                    cause eye
                            eye discomfort,
                                  discomfort, aa POSA
                                                   POSA wouldwould have
                                                                      have been
                                                                            been
      motivated
      motivated to  to buffer
                        buffer the
                                the composition
                                     composition in      order to
                                                     in order   to achieve    the
                                                                     achieve the
      optimal
      optimal pHpH levels
                     levels for
                            for patient
                                 patient comfort   and stability.
                                         comfort and    stability.
             Well aware of
             Well aware     Akorn’s use
                         of Akorn's  use of
                                         of aa pH
                                               pH range
                                                   range of  3.5–6.0
                                                          of 3. 5-6.0 for
                                                                      for its
                                                                          its
      1%  atropine solution,
      1% atropine  solution, aa POSA
                                POSA would
                                      would have     been motivated
                                               have been  motivated toto try
                                                                         try
      and use
      and              buffering system
               Akorn’s buffering
           use Akorn's            system to
                                          to achieve
                                              achieve the
                                                       the same
                                                           same pHpH range
                                                                      range
      for Chia's low-concentration
      for Chia’s                     atropine solution.
                 low-concentration atropine     solution. Ex.
                                                          Ex. 1002
                                                                1002 ¶¶ 73–
                                                                        73-
      77.
      77. AAPPOSA   would have
               OSA would   have confirmed    via routine
                                 confirmed via    routine experimentation
                                                          experimentation


                                         31
                                         31
                                   Appx000087
                                   Appx000087
       Case: 23-2402      Document: 15       Page: 144    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      that using
      that using aa buffer
                    buffer to
                           to achieve
                               achieve this
                                        this range  was appropriate.
                                             range was   appropriate. Id.  As
                                                                      Id. As
      shown
      shown in   Kondritzer 21 and
              in Kondritzerli [12]
                                   and Lund,
                                       Lund, aa PO
                                              [13] POSA   would have
                                                       SA would  have known
                                                                      known
      of
      of clear
          clear empirical
                  empirical andand theoretical
                                     theoretical teachings
                                                   teachings regarding    the
                                                              regarding the
      stability
      stability of   aqueous atropine
                 of aqueous      atropine solutions
                                           solutions at   varying pHs
                                                       at varying  pHs andand
      temperatures.
      temperatures.
Pet. 22-23.
Pet. 22–23.
      Patent Owner
      Patent Owner responds that Alcorn
                   responds that Akorn "does
                                        “does not
                                              not disclose the phosphate
                                                  disclose the phosphate
salts make aa buffer.
salts make    buffer. Nor
                      Nor does
                          does it
                               it disclose that the
                                  disclose that the Alcorn
                                                    Akorn product
                                                           product has
                                                                   has aa pH
                                                                          pH
range
range of 3.5–6.0. Each
      of 3.5-6.0. Each of these failures
                       of these failures is
                                         is case
                                            case dispositive,”
                                                 dispositive," as all grounds
                                                               as all grounds
rely
rely exclusively
     exclusively on Akorn to
                 on Alcorn to disclose
                              disclose its
                                       its alleged “’buffer system'
                                           alleged "'buffer system’ (allegedly
                                                                    (allegedly
the phosphate
the phosphate salts) and an
              salts) and an alleged
                            alleged pH
                                    pH range
                                       range of 3.5–6 for
                                             of 3.5-6     the Alcorn
                                                      for the Akorn
product.” PO Resp.
product." PO Resp. 1, 25. Patent
                   1, 25. Patent Owner
                                 Owner also asserts that
                                       also asserts that Petitioner's
                                                         Petitioner’s only
                                                                      only
motivation
motivation for
           for making the claimed
               making the claimed combinations
                                  combinations in the ’145
                                               in the '145 patent
                                                           patent results
                                                                  results
from
from improper
     improper hindsight.     PO Resp.
                         See PO
              hindsight. See    Resp. 46–52.
                                      46-52.

               (1) Limitations 1[a],
               (1) Limitations 1[a], 1
                                     1[b], 1[c], 1
                                      [b], 1[c], 1[d], and 1
                                                  [d], and 1[f]
                                                            [I]
      We begin our
      We begin our analysis
                   analysis with the limitations
                            with the limitations of
                                                 of claim
                                                    claim 1 that Patent
                                                          1 that Patent
Owner
Owner does
      does not
           not dispute are taught
               dispute are taught by
                                  by the
                                     the prior art. Petitioner
                                         prior art. Petitioner points to both
                                                               points to both
Chia and Alcorn
Chia and Akorn as
                as teaching
                   teaching the
                            the preamble of claim
                                preamble of claim 1,
                                                  1, 1[a]
                                                     1[a] aa kit, assuming itit
                                                             kit, assuming
is
is limiting. Pet. 28-29;
   limiting. Pet. 28–29; see Ex. 1002
                         see Ex.      ¶¶ 82–85;
                                 1002 ¶¶        see also
                                         82-85; see      Ex. 1001,
                                                    also Ex. 1001, 69:60–64
                                                                   69:60-64
(describing kits
(describing kits comprising
                 comprising one
                            one or
                                or more
                                   more disclosed
                                        disclosed ophthalmic
                                                  ophthalmic compositions
                                                             compositions
and instructions
and instructions for
                 for using the kit).
                     using the       Petitioner points
                               kit). Petitioner        to where
                                                points to where in Akorn itit
                                                                in Alcorn
teaches an
teaches an ophthalmic
           ophthalmic composition
                      composition comprising
                                  comprising atropine
                                             atropine or atropine sulfate
                                                      or atropine sulfate
and instructions
and instructions for
                 for use of this
                     use of this composition. Pet. 28
                                 composition. Pet. 28 (citing
                                                      (citing Ex
                                                              Ex. 1004, 1–2
                                                                  1004, 1-2
(“In individuals
("In individuals from three (3)
                 from three (3) months of age
                                months of age or greater, 11 drop
                                              or greater,         topically to
                                                             drop topically to


12
12 Kondritzer et
   Kondritzer   et al., Stability of
                   al., Stability    Atropine in
                                  ofAtropine     Aqueous Solution,
                                              in Aqueous           J. AM.
                                                         Solution, J. AM. PHARM.
                                                                          P HARM.
ASSOC. 46(9):531-535
Assoc.  46(9):531−535 (1957)
                           (1957) (Ex
                                    (Ex. 1005, “Kondritzer”).
                                         1005, "Kondritzer").
13
   Lund et
13 Lund et al.,
           al., The   Kinetics of
                The Kinetics    of Atropine
                                   Atropine and
                                            and Apoatropine
                                                 Apoatropine in  Aqueous
                                                              in Aqueous
           ACTA CHEM. S
Solutions, AcTACHEM.
Solutions,                   CAND. 22:3085-3097
                            SCAND.   22:3085-3097 (1968)
                                                   (1968) (Ex.
                                                          (Ex. 1007,   “Lund”).
                                                                1007, "Lund").

                                        32
                                        32
                                  Appx000088
                                  Appx000088
       Case: 23-2402     Document: 15       Page: 145   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
the cul-de-sac
the cul-de-sac of the conjunctiva,
               of the conjunctiva, forty minutes prior
                                   forty minutes       to the
                                                 prior to the intended
                                                              intended
maximal
maximal dilation time. In
        dilation time. In individuals 3 years
                          individuals 3 years of age or
                                              of age or greater,
                                                        greater, doses
                                                                 doses may be
                                                                       may be
repeated
repeated up to twice
         up to twice daily as needed.”)).
                     daily as             Petitioner also
                              needed.")). Petitioner also points to Chia
                                                          points to      as
                                                                    Chia as
teaching an
teaching an ophthalmic
            ophthalmic composition
                       composition of atropine or
                                   of atropine or atropine sulfate with
                                                  atropine sulfate with
instructions
instructions for
             for use
                 use for
                     for participants
                         participants in the study
                                      in the study that
                                                   that were “randomized to
                                                        were "randomized to
receive
receive 0.5%,
        0.5%, 0.1%,
              0.1%, or
                    or 0.01% atropine once
                       0.01% atropine once nightly
                                           nightly in both eyes
                                                   in both eyes .. .. .. .”
                                                                         ."
Pet. 28-29
Pet. 28–29 (citing
           (citing Ex.
                   Ex. 1003, 2). From
                       1003, 2). From these
                                      these disclosures, Dr. Byrn
                                            disclosures, Dr. Byrn testifies
                                                                  testifies
that aa POSA
that    POSA would
             would "have
                   “have understood that Chia
                         understood that      and Akorn
                                         Chia and Akorn describe
                                                        describe ‘kits’
                                                                 `kits'
within the meaning
within the meaning of the ’145
                   of the '145 patent
                               patent and
                                      and render the preamble
                                          render the preamble obvious.”
                                                              obvious."
Ex. 1002
Ex. 1002 ¶ 85.
           85.
      We agree with
      We agree with Dr.
                    Dr. Byrn's
                        Byrn’s assessment
                               assessment of the teachings
                                          of the teachings of Chia and
                                                           of Chia and
Akorn in
Alcorn in light of the
          light of the disclosure of the
                       disclosure of the ’145
                                         '145 patent
                                              patent concerning
                                                     concerning kits and credit
                                                                kits and credit
his testimony.
his testimony.
      Petitioner relies
      Petitioner relies on Chia and
                        on Chia     Akorn for
                                and Alcorn     teaching limitation
                                           for teaching limitation 1[b]: “a
                                                                   1[b]: "a
vial comprising
vial comprising aa pharmaceutical
                   pharmaceutical composition.” Pet. 29-30.
                                  composition." Pet. 29–30. Petitioner
                                                            Petitioner
notes that both
notes that both Chia
                Chia and
                     and Alcorn
                         Akorn disclose
                                disclose containers, of which
                                         containers, of which vial
                                                              vial is
                                                                   is one
                                                                      one
type, and
type, and states that: "First,
          states that: “First, Chia
                               Chia discloses that its
                                    discloses that its composition was
                                                       composition was
‘prepackaged’
`prepackaged' in
              in ‘bottles.’ Ex. 1003,
                 `bottles.' Ex.       2. Second,
                                1003, 2.         Akorn discloses
                                         Second, Akorn           that its
                                                       discloses that its
composition
composition ‘is supplied in
            `is supplied in aa plastic
                               plastic dropper bottle.’ Ex.
                                       dropper bottle.' Ex. 1004,
                                                            1004, 5.” Pet. 29.
                                                                  5." Pet. 29.
Dr. Byrn
Dr. Byrn also testifies that
         also testifies that itit was
                                  was common
                                      common practice to use
                                             practice to     vials to
                                                         use vials to store
                                                                      store
atropine
atropine pharmaceutical
         pharmaceutical compositions, and opined
                        compositions, and        that "using
                                          opined that “using aa vial
                                                                vial as
                                                                     as an
                                                                        an
alternative
alternative container to store
            container to       the compositions
                         store the compositions of
                                                of Chia and/or Akorn
                                                   Chia and/or       would
                                                               Akorn would
have been obvious
have been obvious to
                  to aa POSA."
                        POSA.” Ex.
                               Ex. 1002
                                   1002 ¶¶ 88 (citing Ex.
                                           88 (citing Ex. 1024, 2; Ex.
                                                          1024, 2; Ex. 1053,
                                                                       1053,
2).
2).
      Based on
      Based on this
               this evidence
                    evidence presented by Petitioner,
                             presented by Petitioner, we
                                                      we credit Dr. Byrn's
                                                         credit Dr. Byrn’s
testimony that
testimony that itit would
                    would have been obvious
                          have been         to aa POSA
                                    obvious to    POSA to
                                                       to use
                                                          use aa vial
                                                                 vial to
                                                                      to store
                                                                         store
the atropine
the atropine solutions of Chia
             solutions of      and Alcorn.
                          Chia and Akorn.

                                       33
                                       33
                                 Appx000089
                                 Appx000089
          Case: 23-2402      Document: 15        Page: 146   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
          Petitioner relies
          Petitioner relies on Chia to
                            on Chia to teach
                                       teach limitation
                                             limitation 1[c],
                                                        l[c], which
                                                              which requires the
                                                                    requires the
pharmaceutical
pharmaceutical composition to have
               composition to      “about 0.01
                              have "about      mg/g to
                                          0.01 mg/g to about
                                                       about 0.5
                                                             0.5 mg/g of
                                                                 mg/g of
atropine or atropine
atropine or atropine sulfate.” Pet. 30-31.
                     sulfate." Pet. 30–31. Petitioner
                                           Petitioner asserts
                                                      asserts that
                                                              that "Chia's
                                                                   “Chia’s
aqueous
aqueous 0.01% atropine solution
        0.01% atropine solution falls
                                falls squarely within [this]
                                      squarely within [this] claimed
                                                             claimed range
                                                                     range .. ..
.. [rendering] this limitation
   [rendering] this            obvious.” Pet.
                    limitation obvious." Pet. 30
                                              30 (citing
                                                 (citing Ex
                                                         Ex. 1003,
                                                             1003, 1; Ex. 1002
                                                                   1; Ex  1002
¶¶ 90).
   90).
          We agree with
          We agree with Petitioner
                        Petitioner that
                                   that the
                                        the overlap between the
                                            overlap between the concentration of
                                                                concentration of
Chia’s atropine solution
Chia's atropine          and the
                solution and the claimed
                                 claimed range
                                         range establishes
                                               establishes aa prima
                                                              prima facie
                                                                    facie case
                                                                          case
of
of obviousness,
   obviousness, for
                for which Patent Owner
                    which Patent Owner has
                                       has not
                                           not offered any rebuttal.
                                               offered any           See
                                                           rebuttal. See
Genentech, Inc. v.
Genentech, Inc.    Hospira Inc.
                v. Hospira       946 F.3d
                           Inc.,,946 F.3d 1333,
                                          1333, 1341 (Fed. Cir.
                                                1341 (Fed.      2020)
                                                           Cir. 2020)
(citing In
(citing In re           315 F.3d
              Peterson, 315
           re Peterson,     F.3d 1325,
                                 1325, 1329 (Fed. Cir.
                                       1329 (Fed. Cir. 2003)).
                                                       2003)).
          Petitioner relies
          Petitioner relies on both Chia
                            on both      and Alcorn
                                    Chia and Akorn to
                                                    to teach
                                                       teach limitation
                                                             limitation 1[c]
                                                                        l[c]
requiring
requiring water. Pet. 31-32.
          water. Pet. 31–32. Petitioner
                             Petitioner points to Akorn's
                                        points to Akorn’s disclosure
                                                          disclosure of
                                                                     of one
                                                                        one
of
of its
   its inactive
       inactive ingredients
                ingredients for
                            for its atropine sulfate
                                its atropine sulfate composition
                                                     composition is water. Id.
                                                                 is water.     at
                                                                           Id. at
31 (citing
31 (citing Ex.
           Ex. 1004, 3; Ex.
               1004, 3; Ex. 1018,
                            1018, 4–5). Dr. Byrn
                                  4-5). Dr. Byrn notes that "[i]t
                                                 notes that “[i]t is
                                                                  is common
                                                                     common
for
for pharmaceutical
    pharmaceutical compositions
                   compositions containing
                                containing atropine to use
                                           atropine to     water as
                                                       use water as an
                                                                    an
inactive
inactive ingredient.” Ex. 1002
         ingredient." Ex         93 (citing
                          1002 ¶ 93 (citing Ex.
                                            Ex. 1018,
                                                1018, 4–5).
                                                      4-5).
          Petitioner also
          Petitioner also relies on Chia’s
                          relies on Chia's disclosure
                                           disclosure of
                                                      of 0.01% atropine
                                                         0.01% atropine
formulated
formulated as “eye drops,”
           as "eye drops," along
                           along with the understanding
                                 with the understanding in the art
                                                        in the art that
                                                                   that "eye
                                                                        “eye
drops are commonly
drops are          aqueous ophthalmic
          commonly aqueous            solutions,” to
                           ophthalmic solutions," to teach
                                                     teach limitation
                                                           limitation 1[c].
                                                                      l[c].
Pet. 31
Pet. 31 (citing
        (citing Ex
                Ex. 1003, 1–2; Ex.
                    1003, 1-2; Ex. 1034,
                                   1034, 1).
                                         1).
          Dr. Byrn
          Dr. Byrn testifies
                   testifies that:
                             that:
                  In view of
                  In view     that common
                           of that common knowledge,
                                              knowledge, aa P
                                                            POSA    would have
                                                              OSA would    have
          understood    that Chia’s
           understood that   Chia's eye
                                      eye drops  were an
                                          drops were  an aqueous   solution (i.e.
                                                         aqueous solution   (i.e.
          aa solution
             solution where
                      where the
                             the solvent
                                 solvent is  water). See
                                          is water).     Ex. 1054,
                                                     See Ex.        39 (defining
                                                             1054, 39  (defining
          “aqueous solution"
          "aqueous    solution” as
                                 as aa "solution
                                       “solution with  the solvent
                                                 with the  solvent as
                                                                    as water.").
                                                                       water.”).
          Thus,
           Thus, aa POSA
                     POSA would
                              would have
                                       have understood    that the
                                             understood that   the ophthalmic
                                                                     ophthalmic
          compositions
           compositions inin Chia  and Akorn
                             Chia and   Akorn comprised    water, as
                                               comprised water,   as claimed  by
                                                                     claimed by
          limitation
           limitation 1[d].
                      1[d].

                                            34
                                            34
                                      Appx000090
                                      Appx000090
       Case: 23-2402      Document: 15      Page: 147    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
Ex. 1002
Ex.        94.
    1002 ¶ 94.
      We
      We credit Dr. Byrn's
         credit Dr. Byrn’s testimony
                           testimony in
                                     in light
                                        light of the evidence
                                              of the evidence presented that
                                                              presented that
aa POSA
   POSA would
        would recognize that both
              recognize that both ophthalmic
                                  ophthalmic compositions
                                             compositions in Chia and
                                                          in Chia and
Akorn comprised
Alcorn comprised water.
                 water.
      For limitation
      For limitation 1[f]
                     l[f] requiring “instructions for
                          requiring "instructions for use,” Petitioner points
                                                      use," Petitioner        to
                                                                       points to
Akorn’s instructions
Alcorn's instructions for application of
                      for application of its
                                         its pharmaceutical
                                             pharmaceutical composition, see
                                                            composition, see
Ex. 1004,
Ex.       1–2, as
    1004, 1-2, as well as Chia's
                  well as Chia’s instructions,     Ex. 1003,
                                               see Ex.
                                 instructions, see           2. Dr.
                                                       1003, 2. Dr. Byrn
                                                                    Byrn
opines based on
opines based    these disclosures
             on these             that "a
                      disclosures that “a P
                                          POSA  would have
                                            OSA would have understood that
                                                           understood that
both Chia
both      and Akorn
     Chia and Akorn disclose
                    disclose ‘instructions
                             `instructions for
                                           for use.’” Ex. 1002
                                               use. ' Ex. 1002 ¶ 99.
                                                                 99. We
                                                                     We
credit Dr. Byrn's
credit Dr. Byrn’s testimony
                  testimony here
                            here in
                                 in light
                                    light of the teachings
                                          of the teachings of Chia and
                                                           of Chia     Akorn.
                                                                   and Alcorn.

                              (2) Limitation 1[e]
                              (2) Limitation 1[e]
      The
      The heart of the
          heart of the parties’
                       parties' dispute
                                dispute in this case
                                        in this case involves
                                                     involves whether the cited
                                                              whether the cited
art teaches limitation
art teaches limitation 1[e] that requires
                       l[e] that requires aa buffer.
                                             buffer. See Pet. 32;
                                                     See Pet. 32; PO
                                                                  PO Resp.
                                                                     Resp. 25-
                                                                           25–
40.
40.
      Petitioner relies
      Petitioner relies on Akorn, asserting
                        on Alcorn, asserting itit discloses several buffers,
                                                  discloses several buffers,
including
including dibasic
          dibasic sodium
                  sodium phosphate and monobasic
                         phosphate and monobasic sodium
                                                 sodium phosphate.
                                                        phosphate.
Pet. 32.
Pet. 32. Patent
         Patent Owner
                Owner disagrees.     PO
                                 See P
                      disagrees. See     Resp. 25-40.
                                       O Resp. 25–40.
      Patent Owner
      Patent       asserts that
             Owner asserts that "all
                                “all grounds
                                     grounds critically
                                             critically hinge
                                                        hinge on
                                                              on using the
                                                                 using the
same
same ‘buffer system’ and
     `buffer system' and pH
                         pH range allegedly disclosed
                            range allegedly disclosed in
                                                      in [Akorn].”  PO
                                                         [Alcorn]." PO
Resp. 29.
Resp. 29. But,
          But, Patent
               Patent Owner
                      Owner asserts that Alcorn
                            asserts that Akorn does
                                                does not
                                                     not state that itit
                                                         state that
employs
employs aa buffering
           buffering agent to control
                     agent to control or
                                      or maintain
                                         maintain pH
                                                  pH of
                                                     of its atropine solution,
                                                        its atropine solution,
and
and does
    does not
         not even
             even disclose the actual
                  disclose the actual pH
                                      pH of
                                         of its solution. Id.
                                            its solution.     at 25.
                                                          Id. at 25. Patent
                                                                     Patent
Owner also asserts
Owner also asserts that
                   that the
                        the Alcorn
                            Akorn does
                                   does not
                                        not disclose that the
                                            disclose that the phosphate salts
                                                              phosphate salts
made
made aa buffer,
        buffer, and
                and could
                    could not
                          not have buffered Alcorn's
                              have buffered Akorn’s solution  at the
                                                     solution at the listed
                                                                     listed pH
                                                                            pH
range.     at 1,
       Id. at
range. Id.       29. Dr.
              1, 29. Dr. Laskar
                         Laskar testifies
                                testifies that
                                          that in
                                               in listing the pH
                                                  listing the pH range
                                                                 range of 3.5 to
                                                                       of 3.5 to
6.0, Alcorn
6.0, Akorn is  merely showing
            is merely showing compliance with the
                              compliance with the pH
                                                  pH limits
                                                     limits imposed by the
                                                            imposed by the


                                       35
                                       35
                                 Appx000091
                                 Appx000091
       Case: 23-2402        Document: 15       Page: 148     Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
National Formulary
National Formulary of
                   of the
                      the U.S.
                          U.S. Pharmacopeia
                               Pharmacopeia ("USP")
                                            (“USP”) and
                                                    and does
                                                        does not
                                                             not state
                                                                 state
the pH
the pH of the described
       of the           solution. PO
              described solution. PO Resp.
                                     Resp. 1, 32–33. Patent
                                           1, 32-33. Patent Owner also
                                                            Owner also
asserts that "[t]he
asserts that “[t]he fact that there
                    fact that there is zero overlap
                                    is zero         between the
                                            overlap between the buffering
                                                                buffering range
                                                                          range
of the phosphates
of the            as reported
       phosphates as reported in the Waterman
                              in the Waterman reference Petitioner relied
                                              reference Petitioner relied
upon
upon and the USP
     and the USP pH
                 pH limits
                    limits incorporated
                           incorporated into [Akorn] provides
                                        into [Akorn]          another
                                                     provides another
sufficient
sufficient reason to reject
           reason to        Petitioner’s argument
                     reject Petitioner's argument that
                                                  that the
                                                       the unspecified amount
                                                           unspecified amount
of
of phosphate
   phosphate in [Akorn] satisfies
             in [Akorn] satisfies the
                                  the claimed buffer limitation.”
                                      claimed buffer                  at 33-
                                                                  Id. at
                                                     limitation." Id.    33–
34.
34.
      Akorn describes
      Akorn           the ingredients
            describes the ingredients of
                                      of its
                                         its formulation as follows.
                                             formulation as follows.
      Each mL
      Each   mL of    Atropine Sulfate
                  of Atropine  Sulfate Ophthalmic
                                        Ophthalmic Solution     USP, 1%
                                                      Solution USP,    1%
      contains:   Active: atropine
      contains: Active:             sulfate 10
                           atropine sulfate 10 mg
                                               mg equivalent   to 8.3
                                                    equivalent to  8.3 mg
                                                                       mg
      of atropine. Inactives:
      of atropine.              benzalkonium chloride
                     Inactives: benzalkonium   chloride 0.1  mg (0.01%),
                                                         0.1 mg  (0.01%),
      dibasic   sodium phosphate,
      dibasic sodium      phosphate, edetate
                                      edetate disodium     Hypromellose
                                               disodium Hypromellose
      (2910), monobasic
      (2910),  monobasic sodium
                           sodium phosphate,
                                   phosphate, hydrochloric    acid and/or
                                               hydrochloric acid    and/or
      sodium
      sodium hydroxide     may be
               hydroxide may    be added  to adjust
                                   added to  adjust pH  (3.5 to
                                                     pH (3.5 to 6.0), and
                                                                6.0), and
      water
      water for
             for injection USP.
                 injection USP.
Ex. 1004,
Ex.       3.
    1004, 3.
      Patent Owner's
      Patent Owner’s argument
                     argument rests
                              rests on
                                    on aa listed buffering range
                                          listed buffering range in the
                                                                 in the
Waterman
Waterman reference
         reference for
                   for phosphoric acid that
                       phosphoric acid that does
                                            does not
                                                 not encompass
                                                     encompass aa pH of
                                                                  pH of
3.5 to
3.5 to 6.0
       6.0 as
           as set
              set forth
                  forth in Akorn. See
                        in Akorn.     Ex. 2003
                                  See Ex  2003 ¶¶ 52; Ex. 1040,
                                                  52; Ex.       23. As
                                                          1040, 23. As
Dr. Laskar
Dr. Laskar testifies,
           testifies, "Waterman
                      “Waterman Table
                                Table 88 lists the ‘Buffering
                                         lists the            Range’ of
                                                   `Buffering Range' of
Phosphoric acid
Phosphoric acid as
                as ‘2–3.1, 6.2–8.2.’” Ex.
                   `2-3.1, 6.2-8.2."  Ex. 2003
                                          2003 ¶¶ 52 (citing Ex.1040,
                                                  52 (citing Ex.1040, Table
                                                                      Table
8). Dr. Laskar
8). Dr. Laskar testifies:
               testifies:
      As the
      As  the Waterman
              Waterman reference      submitted with
                           reference submitted      with the
                                                          the petition
                                                              petition explains,
                                                                         explains,
      when   selecting aa buffer,
      when selecting       buffer, which
                                   which actsacts to
                                                   to maintain
                                                       maintain aa solution
                                                                     solution pH
                                                                               pH
      (e.g., at
      (e.g., at the
                the pH
                    pH of
                        of maximum
                            maximum stability
                                        stability of    the active
                                                     of the active ingredient),
                                                                     ingredient),
      the "primary
      the “primary criteria
                     criteria for selection” are
                              for selection"   are "the
                                                     “the pH
                                                           pH range   and buffer
                                                              range and     buffer
      capacity   [which is
      capacity [which    is maximal
                            maximal atat aa pH  value equal
                                            pH value           to the
                                                        equal to   the pK   of the
                                                                       pKaa of the
      buffer (164)]
      buffer  (164)] for  the buffer."
                     for the  buffer.” Ex.
                                        Ex. 1040,
                                              1040, 2323 (bracketed
                                                         (bracketed in in material
                                                                          material
      in
      in original).
         original). Waterman
                     Waterman states       that its
                                  states that       “Table 88 lists
                                                its "Table      lists commonly
                                                                      commonly
      used  buffers along
      used buffers  along with   their pK
                            with their       values and
                                       pKaa values    and optimal
                                                           optimal pHpH ranges.”
                                                                          ranges."


                                          36
                                          36
                                    Appx000092
                                    Appx000092
       Case: 23-2402       Document: 15       Page: 149    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
       Id., Table
       Id., Table 8;     also paragraph
                     see also
                  8; see       paragraph 99 above.  In other
                                            above. In   other words,
                                                              words, the
                                                                      the
       buffering range
       buffering  range of
                         of phosphoric
                             phosphoric acid   and its
                                          acid and  its dibasic  sodium
                                                         dibasic sodium
       phosphate  and monobasic
       phosphate and              sodium phosphate
                      monobasic sodium     phosphate salts
                                                     salts does
                                                           does not
                                                                not cover
                                                                    cover
       or
       or even overlap with
          even overlap with aa solution
                               solution of
                                        of pH of 3.5-6.
                                           pH of 3.5–6.
Ex. 2003
Ex. 2003 ¶ 52.
           52.
       Patent Owner's
       Patent Owner’s argument
                      argument presumes that the
                               presumes that     pKaa for
                                             the pK   for aa particular buffer
                                                             particular buffer
is set at
is set at aa particular
             particular pH
                        pH range which is
                           range which is not
                                          not malleable
                                              malleable depending
                                                        depending on the
                                                                  on the
conditions of the
conditions of the solution
                  solution that
                           that is being buffered.
                                is being buffered. Waterman
                                                   Waterman itself
                                                            itself refutes this
                                                                   refutes this
presumption. First, Waterman
presumption. First, Waterman describes the buffering
                             describes the buffering ranges
                                                     ranges listed
                                                            listed in
                                                                   in
Table
Table 8
      8 as “optimal” pH
        as "optimal" pH ranges
                        ranges of
                               of pK   ± 11 indicating
                                  pKaa ±               some buffering
                                            indicating some buffering
capacity
capacity may
         may exist below or
             exist below    above the
                         or above the given
                                      given ranges.
                                            ranges. See Ex. 1040,
                                                    See Ex        23.
                                                            1040, 23.
Dr. Byrn
Dr. Byrn testifies
         testifies that
                   that the
                        the most
                            most effective
                                 effective pH
                                           pH range
                                              range for
                                                    for aa buffer
                                                           buffer is within ±
                                                                  is within ± 11
of
of its
   its pK a, but
       pKa,  but "[i]t's
                 “[i]t’s not
                         not aa hard
                                hard cutoff;
                                     cutoff; it’s
                                             it's an
                                                  an effectiveness
                                                     effectiveness issue.”
                                                                   issue."
Ex. 2009,
Ex. 2009, 87:5–12; see id.
          87:5-12; see     at 88:23–89:19
                       id. at             (pKa ±
                              88:23-89:19 (pKa ± 11 covers the most
                                                    covers the most effective
                                                                    effective
buffer range,
buffer        but itit is
       range, but      is not
                          not aa hard
                                 hard cutoff),
                                      cutoff), 91:7–18 (person of
                                               91:7-18 (person of skill
                                                                  skill knows
                                                                        knows pK
                                                                              pKaa
± 11 is
±    is not
        not aa hard
               hard cutoff);
                    cutoff); 95:11–97:4 (applying the
                             95:11-97:4 (applying the Henderson,
                                                      Henderson, Hasselbach
                                                                 Hasselbach
equation
equation provides
         provides aa wider
                     wider pH buffering range
                           pH buffering       than pK
                                        range than      ± 1).
                                                   pKaa ±     Dr. Laskar
                                                          1). Dr. Laskar
testifies that
testifies      pKaa changes
          that pK           as aa function
                    changes as             of temperature.
                                  function of temperature. Ex.
                                                           Ex. 1078,
                                                               1078, 124:5–9.
                                                                     124:5-9.
Waterman
Waterman also states that
         also states that "[u]
                          “[u]se of co-solvents,
                              se of              surfactants, and
                                    co-solvents, surfactants, and complexing
                                                                  complexing
agents to solubilize
agents to solubilize aa drug
                        drug may
                             may also
                                 also influence that buffering
                                      influence that buffering capacity and
                                                               capacity and
final
final pH of aa formulation
      pH of                by altering
               formulation by          the effective
                              altering the           pKaa of
                                           effective pK      the buffer
                                                          of the buffer and/or
                                                                        and/or
directly
directly interacting with the
         interacting with the buffer
                              buffer components.” Ex. 1040,
                                     components." Ex. 1040, 24.
                                                            24. The
                                                                The
evidence
evidence of
         of record
            record indicates that the
                   indicates that     pKaa for
                                  the pK   for aa buffer
                                                  buffer is
                                                         is not
                                                            not static, but
                                                                static, but
depends on the
depends on the parameters of the
               parameters of the solution
                                 solution in which the
                                          in which the buffer
                                                       buffer is used.
                                                              is used.
       As for
       As     the specific
          for the specific phosphate buffers used
                           phosphate buffers used in Akorn and
                                                  in Alcorn and claim
                                                                claim 55 of
                                                                         of the
                                                                            the
’145
'145 patent, Petitioner submitted
     patent, Petitioner submitted credible
                                  credible evidence that the
                                           evidence that the lower
                                                             lower end of the
                                                                   end of the
buffer range
buffer range for these buffers
             for these buffers may be as
                               may be as low as pH
                                         low as pH 5.4. For instance,
                                                   5.4. For instance, in
                                                                      in
Chapter
Chapter 4
        4 of the Fifth
          of the Fifth Edition
                       Edition of
                               of the
                                  the European
                                      European Pharmacopoeia,
                                               Pharmacopoeia, with
                                                              with which
                                                                   which

                                         37
                                         37
                                   Appx000093
                                   Appx000093
       Case: 23-2402                    Document: 15            Page: 150           Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
Dr. Laskar
Dr. Laskar testifies
           testifies he
                     he is
                        is familiar and which
                           familiar and which contains
                                              contains recipes
                                                       recipes for various
                                                               for various
buffer solutions,
buffer solutions, is
                  is described
                     described aa 0.067
                                  0.067 molar
                                        molar phosphate buffer solution
                                              phosphate buffer solution with
                                                                        with aa
pH of 5.4
pH of     that is
      5.4 that    within the
               is within the 3.5
                             3.5 to
                                 to 6.0
                                    6.0 pH
                                        pH range set forth
                                           range set forth in Akorn. See
                                                           in Alcorn. See
Ex. 1081,
Ex. 1081, 6; Ex. 1078,
          6; Ex. 1078, 113:12–118:20; see also
                       113:12-118:20; see      Ex. 1078,
                                          also Ex  1078, 115:22–116:5
                                                         115:22-116:5
(stating European
(stating European Pharmacopoeia
                  Pharmacopoeia provides
                                provides aa recipe
                                            recipe for an 0.067
                                                   for an 0.067 molar
                                                                molar
phosphate buffer solution
phosphate buffer solution pH
                          pH 5.4 within the
                             5.4 within the 3.5
                                            3.5 to
                                                to 6.0
                                                   6.0 pH
                                                       pH range).
                                                          range).
      Petitioner also
      Petitioner also presents
                      presents further
                               further evidence of aa phosphate
                                       evidence of              buffer with
                                                      phosphate buffer with aa
pH
pH range of 5.8
   range of     to 8.0
            5.8 to     as set
                   8.0 as set forth
                              forth in
                                    in aa book
                                          book titled
                                               titled "Buffers:
                                                      “Buffers: A
                                                                A guide
                                                                  guide for the
                                                                        for the
preparation
preparation and use of
            and use of buffer
                       buffer in biological systems,"
                              in biological systems,” by
                                                      by Calbiochem,
                                                         Calbiochem, an
                                                                     an
affiliate of Merck
affiliate of Merck KGaA.
                   KGaA. See Ex. 1082,
                         See Ex. 1082, 1, 2, 25.
                                       1, 2, 25. The
                                                 The excerpt showing the
                                                     excerpt showing the
recipe
recipe is
       is set
          set forth
              forth in
                    in aa screenshot,
                          screenshot, which
                                      which is
                                            is reproduced below. Ex.
                                               reproduced below. Ex. 1082, 25.
                                                                     1082, 25.
        6.   Phosphate Buffer; p14 range 5.8 to 8.0
             (a) 0.1 M Sodium phosphate monobasic; 13.8 WI (monohydrate,
             M.W. 138.0)
             (b) 0.1 M Sodium phosphate dibasic; 26.8 WI (hcptahydrate, M.W. 268.0)

        Mix sodium phosphate monobasic and dibasic solutioniin the proportions
        indicated and adjust the final volume to 200 ml with deionized water. Adjust
        the final pH using a sensitive pH meter.

             wil of Sodium
                                   32 2         735   62 5   51.0   39.0   78.:   i 0   110    LS    Si
         phosphate. Wel ohQ ,
             — of Sodium
           phoson.a:e, 1:1 basi;   BC     =.-   265   375    48.0   610    n.:    •c    87 C   915   94J

                   iv"             5e     5.7   6.4   66     6.8    ID     7.2    ' 1   76     7.8   80




The screenshot above
The screenshot above shows
                     shows aa recipe and accompanying
                              recipe and accompanying table
                                                      table for
                                                            for making an
                                                                making an
aqueous
aqueous phosphate buffer having
        phosphate buffer having aa pH between 5.8
                                   pH between     and 8.0
                                              5.8 and     by mixing
                                                      8.0 by mixing 0.1 M
                                                                    0.1 M
sodium
sodium phosphate
       phosphate monobasic with 0.1
                 monobasic with     M sodium
                                0.1 M sodium phosphate
                                             phosphate dibasic
                                                       dibasic in
                                                               in
deionized
deionized water.
          water.
      Petitioner further
      Petitioner further presents
                         presents evidence
                                  evidence from PubChem from
                                           from PubChem      the National
                                                        from the National
Institutes
Institutes of Health on
           of Health    the pK
                     on the      values for
                            pKaa values     Monosodium phosphate
                                        for Monosodium phosphate and
                                                                 and
disodium
disodium hydrogen
         hydrogen phosphate.     Exs. 1084,
                             See Exs.
                  phosphate. See      1084, 1085.
                                            1085. The
                                                  The first
                                                      first publication
                                                            publication
lists
lists the pKaa for
      the pK   for monosodium
                   monosodium phosphate as aa range
                              phosphate as    range from 6.8–7.2 "depending
                                                    from 6.8-7.2 “depending

                                                           38
                                                           38
                                                 Appx000094
                                                 Appx000094
              Case: 23-2402                             Document: 15                           Page: 151                     Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
on the physiochemical
on the physiochemical characteristics
                      characteristics during
                                      during pK
                                             pKaa determination.” Ex. 1084,
                                                  determination." Ex  1084,
7.
7. The second publication
   The second publication lists the pK
                          lists the    a’s
                                    pKa' s for
                                           for disodium
                                               disodium hydrogen
                                                        hydrogen phosphate
                                                                 phosphate
in the following
in the           table, which
       following table, which differ
                              differ from those set
                                     from those set forth
                                                    forth in the Waterman
                                                          in the Waterman
reference. Ex. 1085,
reference. Ex. 1085, 8.
                     8.
3.2.13 Dissociation Constants

pKal = 2.15; pKa2 = 6.83; pKa3 = 1138 (phosphoric acid), all at 25 °C
  Sigma-Aldrich; Sodium phosphate dibasic 59763. Sigma-Aldrich, St. Louis, MQ Available from, as o/ Nov 30, 2006.• https://Wwwsigmaalcirkh_comicatalog/search/ProductOetaiLISIAUS9763




The table is
The table    table 3.2.13
          is table 3.2.13 from the PubChem
                          from the PubChem listing
                                           listing for Disodium hydrogen
                                                   for Disodium hydrogen
phosphate,
phosphate, showing
           showing pK   values for
                   pKaa values for dissociation
                                   dissociation of 2.15, 6.83,
                                                of 2.15,       and 12.38
                                                         6.83, and       at
                                                                   12.38 at
25° C.
25° C.
             With this record
             With this record evidence
                              evidence in
                                       in mind, we turn
                                          mind, we turn to
                                                        to what
                                                           what aa P
                                                                   POSA   would
                                                                     O SA would
glean
glean from
      from reviewing Akorn. Dr.
           reviewing Alcorn. Dr. Byrn
                                 Byrn testifies
                                      testifies that
                                                that Alcorn
                                                     Akorn discloses
                                                            discloses
standard buffering agents,
standard buffering agents, including
                           including dibasic sodium phosphate,
                                     dibasic sodium            also known
                                                    phosphate, also known
as
as disodium
   disodium hydrogen
            hydrogen phosphate,
                     phosphate, and monobasic sodium
                                and monobasic sodium phosphate, also
                                                     phosphate, also
known as sodium
known as sodium dihydrogen
                dihydrogen phosphate, that have
                           phosphate, that      been shown
                                           have been shown in the
                                                           in the
evidence just discussed
evidence just           to be
              discussed to be able to buffer
                              able to buffer Alcorn's
                                             Akorn’s formulation
                                                      formulation at
                                                                  at least
                                                                     least in
                                                                           in
the upper
the upper part
          part of the cited
               of the cited pH
                            pH range. Ex. 1002
                               range. Ex         96 (citing
                                          1002 ¶ 96 (citing Ex.
                                                            Ex. 1019,
                                                                1019, 52;
                                                                      52;
Ex. 1026,
Ex. 1026, 4–5).
          4-5). We
                We disagree with Dr.
                   disagree with Dr. Laskar's
                                     Laskar’s reliance
                                              reliance solely
                                                       solely on the
                                                              on the
Waterman
Waterman reference as disclosing
         reference as disclosing aa buffering
                                    buffering range
                                              range for
                                                    for phosphate salts that
                                                        phosphate salts that
“has no
"has no overlap
        overlap with
                with aa solution
                        solution pH of 3.5
                                 pH of 3.5 to
                                           to 6.0,"
                                              6.0,” and
                                                    and do
                                                        do not
                                                           not credit
                                                               credit his
                                                                      his
conclusion that aa POSA
conclusion that    POSA would
                        would understand this lack
                              understand this      of overlap
                                              lack of         “to
                                                      overlap "to
completely
completely contradict Dr. Byrn's
           contradict Dr. Byrn’s assertions
                                 assertions that
                                            that these
                                                 these phosphate
                                                       phosphate salts
                                                                 salts
represent
represent aa ‘common buffer’ that
             `common buffer' that was
                                  was used
                                      used in EX1004 ‘to
                                           in EX1004 `to maintain
                                                         maintain aa pH of
                                                                     pH of
3.5 to
3.5 to 6.0.
       6.0.’”      Ex. 2003
               See Ex.
            '" See     2003 ¶¶ 78.
                               78.
             We
             We do
                do not agree with
                   not agree      Dr. Laskar's
                             with Dr. Laskar’s criticism that Alcorn
                                               criticism that Akorn does
                                                                     does not
                                                                          not
disclose buffers. See
disclose buffers.     Ex. 2003
                  See Ex. 2003 ¶¶ 71–72. Dr. Laskar
                                  71-72. Dr. Laskar testifies
                                                    testifies that
                                                              that Alcorn
                                                                   Akorn
does
does not
     not disclose any buffers.
         disclose any buffers. Id. Dr. Laskar
                               Id. Dr. Laskar further testifies:
                                              further testifies:



                                                                                      39
                                                                                      39
                                                                          Appx000095
                                                                          Appx000095
       Case: 23-2402       Document: 15       Page: 152    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
             To   the contrary,
             To the               the disclosure
                       contrary, the              of EX1004
                                      disclosure of  EX1004 is is consistent
                                                                  consistent
      with  the direction
      with the  direction provided
                           provided in   Remington and
                                      in Remington   and the
                                                         the state
                                                             state of
                                                                   of the
                                                                      the art
                                                                           art
      in  2015 regarding
      in 2015                  atropine aqueous
                  regarding atropine                ophthalmic solutions.
                                          aqueous ophthalmic      solutions.
      Everything II have
      Everything      have read
                            read in EX1004 is
                                 in EX1004   is consistent
                                                consistent with  the state
                                                           with the  state of
                                                                           of
      the art
      the  art before
                before 2015,
                         2015, which
                                which waswas to
                                              to avoid
                                                  avoid using
                                                         using aa buffer
                                                                   buffer or
                                                                           or
      buffering agent
      buffering    agent in   the acidic
                          in the   acidic solution  of storage
                                          solution of   storage within
                                                                 within the
                                                                          the
      boundaries (pH
      boundaries    (pH 3.5-6.0)
                         3.5–6.0) imposed   by the
                                   imposed by   the USP.
                                                    USP.
Ex. 2003
Ex. 2003 ¶ 71.
            71.
       We
       We find,
          find, however, that Dr.
                however, that Dr. Laskar's
                                  Laskar’s statements
                                           statements concerning the state
                                                      concerning the state of
                                                                           of
the art
the art in 2015, including
        in 2015,           about the
                 including about the teachings
                                     teachings of
                                               of the
                                                  the Remington
                                                      Remington reference,
                                                                reference,
are
are not
    not sufficiently supported by
        sufficiently supported by record
                                  record evidence. For instance,
                                         evidence. For           Dr. Laskar
                                                       instance, Dr. Laskar
premises
premises his
         his conclusion
             conclusion concerning the state
                        concerning the state of the art
                                             of the art in 2015 that
                                                        in 2015 that buffers
                                                                     buffers
should
should not be used
       not be used for atropine solutions,
                   for atropine solutions, as
                                           as informed by the
                                              informed by the Remington
                                                              Remington
reference Dr. Laskar
reference Dr. Laskar calls the formulator’s
                     calls the              “bible,” on
                               formulator's "bible," on the
                                                        the mistaken
                                                            mistaken belief
                                                                     belief
that the
that the phosphate buffers listed
         phosphate buffers listed in Akorn cannot
                                  in Alcorn        buffer below
                                            cannot buffer below aa pH
                                                                   pH of 6.0.
                                                                      of 6.0.
See generally
See           Ex. 2003
    generally Ex  2003 ¶¶ 45–69. Remington, however,
                          45-69. Remington, however, expressly
                                                     expressly lists
                                                               lists
phosphate
phosphate salts
          salts in
                in aa suggested
                      suggested ophthalmic solution for
                                ophthalmic solution     atropine, but
                                                    for atropine, but
Dr. Laskar
Dr. Laskar states, without support
           states, without support other
                                   other than
                                         than the
                                              the Waterman
                                                  Waterman reference, that
                                                           reference, that
“[n]either one
"[n]either one of these phosphate
               of these phosphate salts, alone or
                                  salts, alone or in the disclosed
                                                  in the disclosed
combination,
combination, is
             is aa buffering
                   buffering agent
                             agent to
                                   to provide
                                      provide aa pH
                                                 pH of
                                                    of from about 4.8
                                                       from about     to about
                                                                  4.8 to about
6.4. Nor do
6.4. Nor    they provide,
         do they          alone or
                 provide, alone or in
                                   in combination,
                                      combination, aa buffer
                                                      buffer for
                                                             for aa solution
                                                                    solution
having
having aa pH
          pH no
             no lower than 3.5
                lower than 3.5 and
                               and no
                                   no higher than 6.0.”
                                      higher than       Id. ¶ 50.
                                                  6.0." Id.   50.
       As set
       As set forth above, we
              forth above, we do
                              do not
                                 not agree that the
                                     agree that the phosphate
                                                    phosphate salts
                                                              salts listed
                                                                    listed in
                                                                           in
Remington do
Remington do not buffer at
             not buffer at aa pH of 6.0
                              pH of 6.0 or below. We
                                        or below. We do
                                                     do not
                                                        not understand
                                                            understand
Dr. Laskar's
Dr. Laskar’s statement
             statement that
                       that these
                            these buffers
                                  buffers also
                                          also do
                                               do not
                                                  not provide
                                                      provide aa pH
                                                                 pH from
                                                                    from
about
about 4.8 to about
      4.8 to       6.4. Dr.
             about 6.4. Dr. Laskar
                            Laskar testifies
                                   testifies that
                                             that itit is
                                                       is difficult to change
                                                          difficult to        the
                                                                       change the
pH of aa solution
pH of             by adjusting
         solution by adjusting the
                               the ratio
                                   ratio of acid to
                                         of acid to conjugate base of
                                                    conjugate base of aa buffer
                                                                         buffer
from
from aa 50:50
        50:50 ratio,     Ex. 2003
                     see Ex.
              ratio, see     2003 ¶ 59, and states
                                    59, and states that
                                                   that "[i]n
                                                        “[i]n Remington,
                                                              Remington, for
                                                                         for
example, the atropine
example, the atropine ophthalmic
                      ophthalmic vehicle
                                 vehicle uses
                                         uses somewhat
                                              somewhat more than twice
                                                       more than twice as
                                                                       as


                                         40
                                         40
                                   Appx000096
                                   Appx000096
       Case: 23-2402        Document: 15         Page: 153      Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
much
much monobasic
     monobasic phosphate as dibasic
               phosphate as dibasic phosphate
                                    phosphate on
                                              on aa molar basis, but
                                                    molar basis, but this
                                                                     this
alters the pH
alters the pH only by about
              only by about 0.3
                            0.3 pH units,” id.
                                pH units,"     Dr. Laskar
                                           id. Dr. Laskar concludes,
                                                          concludes,
however, that the
however, that the phosphate buffer system
                  phosphate buffer system listed
                                          listed in
                                                 in claim
                                                    claim 7
                                                          7 of the ’787
                                                            of the '787
patent (or claim
patent (or claim 55 of
                    of the
                       the ’145
                           '145 patent), the same
                                patent), the same buffering
                                                  buffering pair
                                                            pair listed
                                                                 listed in
                                                                        in
Akorn, can
Alcorn, can provide
            provide aa pH
                       pH no
                          no greater than about
                             greater than about 6.4 by utilizing
                                                6.4 by           “extremely
                                                       utilizing "extremely
large and counterintuitive
large and                  variations from
          counterintuitive variations      standard buffer
                                      from standard buffer protocols” to be
                                                           protocols" to be
able to "buffer
able to “buffer near the limits
                near the limits of an agent's
                                of an agent’s buffering
                                              buffering range.”
                                                        range." Id. Patent
                                                                Id. Patent
Owner
Owner cannot
      cannot have
             have it both ways;
                  it both ways; phosphate buffers listed
                                phosphate buffers listed in Remington in
                                                         in Remington in
the suggested
the suggested atropine solution cannot
              atropine solution        be said
                                cannot be said to
                                               to not buffer, while
                                                  not buffer, while phosphate
                                                                    phosphate
buffers listed
buffers listed in
               in claim
                  claim 77 of
                           of the
                              the ’787
                                  '787 patent
                                       patent or
                                              or claim
                                                 claim 55 of
                                                          of the
                                                             the ’145
                                                                 '145 patent,
                                                                      patent,
which
which do not have
      do not have any
                  any particular amount or
                      particular amount or ratio
                                           ratio of
                                                 of acid to base
                                                    acid to base listed,
                                                                 listed, do
                                                                         do
perform the function
perform the          of aa buffer
            function of    buffer that
                                  that provides
                                       provides aa pH of from
                                                   pH of      about 4.8
                                                         from about 4.8 to
                                                                        to
about
about 6.4.
      6.4.
      We agree with
      We agree with Dr.
                    Dr. Byrn
                        Byrn that
                             that Remington
                                  Remington does
                                            does recommend the use
                                                 recommend the use of
                                                                   of
buffers to
buffers to maintain
           maintain the
                    the pH at the
                        pH at the appropriate
                                  appropriate level. Ex. 1002
                                              level. Ex  1002 ¶¶ 50 (citing
                                                                 50 (citing
Ex. 1019,
Ex. 1019, 52–54).
          52-54). In
                  In discussing
                     discussing ophthalmic
                                ophthalmic preparations, Remington states:
                                           preparations, Remington states:
            Ideally,    ophthalmic preparations
            Ideally, ophthalmic                     should be
                                       preparations should  be formulated  at aa
                                                               formulated at
      pH
      pH equivalent
          equivalent to    to the
                              the tear
                                  tear fluid  value of
                                        fluid value of 7.4.   Practically, this
                                                        7.4. Practically,  this
      seldom
      seldom is
              is achieved.
                 achieved. The  The large
                                     large majority of active
                                           majority of active ingredients
                                                              ingredients used
                                                                          used
      in
      in ophthalmology
         ophthalmology are        salts of
                              are salts of weak  bases and
                                           weak bases  and are
                                                            are most
                                                                most stable  at
                                                                      stable at
      an
      an acid
         acid pH.
              pH. .. .. ..
              Optimum
              Optimum pH   pH adjustment
                                adjustment generally
                                              generally requires
                                                           requires aa compromise
                                                                       compromise
      on   the part
      on the     part of   the formulator.
                       of the     formulator. The  The pH     selected should
                                                          pH selected    should be be
      optimum
      optimum for      stability. The
                   for stability.        buffer system
                                    The buffer    system selected    should have
                                                           selected should    have aa
      capacity    adequate to
      capacity adequate       to maintain
                                  maintain pH      within the
                                             pH within      the stability
                                                                stability range
                                                                           range for
                                                                                   for
      the duration
      the  duration ofof the
                          the product
                               product shelf
                                         shelf life.   Buffer capacity
                                                life. Buffer   capacity is   the key
                                                                          is the  key
      in this situation.
      in this  situation.
              It
              It generally
                  generally is      accepted that
                                is accepted     that aa low     (acid) pH
                                                          low (acid)    pH perper sese
      necessarily    will not
      necessarily will     not cause    stinging or
                                cause stinging     or discomfort
                                                      discomfort on on instillation.
                                                                        instillation.
      If the overall
      If the overall pH pH of   the tears,
                            of the   tears, after
                                            after instillation,
                                                   instillation, reverts
                                                                 reverts rapidly
                                                                          rapidly toto
      pH
      pH 7.4,
           7.4, discomfort
                 discomfort is is minimal.
                                   minimal. On On the
                                                    the other
                                                         other hand,
                                                                hand, if  the buffer
                                                                       if the  buffer


                                            41
                                            41
                                     Appx000097
                                     Appx000097
       Case: 23-2402      Document: 15        Page: 154    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      capacity
      capacity is   sufficient to
                is sufficient  to resist adjustment by
                                  resist adjustment    by tear
                                                           tear fluid  and the
                                                                fluid and   the
      overall
      overall eye
              eye pHpH remains    acid for
                         remains acid  for an  appreciable period
                                            an appreciable            of time,
                                                              period of  time,
      then stinging
      then stinging andand discomfort
                           discomfort may
                                        may result.
                                             result. Consequently,      buffer
                                                       Consequently, buffer
      capacity  should be
      capacity should    be adequate
                            adequate for  stability, but
                                      for stability, but minimized
                                                         minimized so so far as
                                                                         far as
      possible,  to allow
      possible, to         the overall
                    allow the  overall pH  of the
                                       pH of  the tear
                                                   tear fluid to be
                                                        fluid to be disrupted
                                                                    disrupted
      only momentarily.
      only momentarily.
Ex. 1019,
Ex. 1019, 54.
          54.
      Remington is
      Remington is recommending
                   recommending aa buffer
                                   buffer to
                                          to stabilize
                                             stabilize an
                                                       an ophthalmic
                                                          ophthalmic
solution
solution for the product’s
         for the           shelf life,
                 product's shelf life, but
                                       but also
                                           also recommends
                                                recommends aa balance
                                                              balance with the
                                                                      with the
buffers capacity
buffers          to prevent
        capacity to         any resistance
                    prevent any            to adjustment
                                resistance to adjustment by
                                                         by tear
                                                            tear fluid
                                                                 fluid when
                                                                       when
the ophthalmic
the ophthalmic solution
               solution is
                        is applied to the
                           applied to the eye to provide
                                          eye to provide patient
                                                         patient comfort
                                                                 comfort and
                                                                         and
compliance.
compliance. Contrary to Dr.
            Contrary to Dr. Laskar's
                            Laskar’s testimony,
                                     testimony, the
                                                the record
                                                    record evidence shows
                                                           evidence shows
that buffers
that buffers are
             are recommended
                 recommended for
                             for ophthalmic
                                 ophthalmic solutions to maintain
                                            solutions to maintain shelf
                                                                  shelf life.
                                                                        life.
      Akorn also
      Akorn also discloses
                 discloses aa pH
                              pH range of 3.5
                                 range of 3.5 to
                                              to 6.0
                                                 6.0 for
                                                     for its
                                                         its formulation that
                                                             formulation that
overlaps with the
overlaps with the pH
                  pH range at which
                     range at       atropine was
                              which atropine was known to be
                                                 known to be most
                                                             most stable,
                                                                  stable,
pH 3–5. Ex.
pH 3-5. Ex. 1002
            1002 ¶ 133;     Ex. 2003
                        see Ex.
                   133; see     2003 ¶ 45 (Dr. Laskar
                                       45 (Dr. Laskar admits that "The
                                                      admits that “The
United States
United        Pharmacopeia/National
       States P harmacopeia/National FFormulary had long
                                       ormulary had long required atropine
                                                         required atropine
sulfate
sulfate ophthalmic solution to
        ophthalmic solution to be
                               be packaged
                                  packaged for storage at
                                           for storage at aa solution
                                                             solution pH
                                                                      pH no
                                                                         no
greater than 6.0
greater than 6.0 and
                 and no
                     no less than 3.5.
                        less than 3.5.”).  Patent Owner
                                       "). Patent       takes issue
                                                  Owner takes       with the
                                                              issue with the
fact that we
fact that we don’t
             don't know the exact
                   know the exact pH of Alcorn's
                                  pH of Akorn’s formulation.
                                                 formulation. See Ex. 2003
                                                              See Ex. 2003
¶ 74.
  74. We
      We don’t
         don't find this argument
               find this argument persuasive as Akorn
                                  persuasive as Akorn teaches
                                                      teaches aa particular
                                                                 particular
pH
pH range
   range for
         for its
             its formulation
                 formulation for
                             for 1% atropine, which
                                 1% atropine, which informs
                                                    informs aa P
                                                               POSA
                                                                 OSA of the
                                                                     of the
appropriate
appropriate pH
            pH range,
               range, if
                      if not
                         not aa particular
                                particular point within the
                                           point within the range.
                                                            range.
      The appropriate pH
      The appropriate pH range set forth
                         range set forth in Akorn overlaps
                                         in Akorn          with the
                                                  overlaps with the claimed
                                                                    claimed
pH
pH ranges
   ranges in
          in dependent
             dependent claims
                       claims 16, 17, and
                              16, 17, and 18, and there
                                          18, and there is
                                                        is no
                                                           no dispute that
                                                              dispute that
pH
pH is
   is aa result
         result effective variable for
                effective variable     the stability
                                   for the stability of an atropine
                                                     of an atropine solution
                                                                    solution and
                                                                             and
finding the optimum
finding the optimum pH value for
                    pH value     an atropine
                             for an          solution is
                                    atropine solution is within the level
                                                         within the level of
                                                                          of
ordinary
ordinary skill of the
         skill of the art.
                      art. See Ex. 1002
                           See Ex. 1002 ¶¶ 96–98; Ex. 1005
                                           96-98; Ex.      (showing how
                                                      1005 (showing     to
                                                                    how to



                                         42
                                         42
                                  Appx000098
                                  Appx000098
       Case: 23-2402      Document: 15      Page: 155    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
predict
predict half-lives of atropine
        half-lives of          solutions at
                      atropine solutions at various
                                            various pH values and
                                                    pH values and
temperatures); Ex.
temperatures); Ex. 2003
                   2003 ¶¶ 38,
                           38, 61,
                               61, 62; Ex. 1078,
                                   62; Ex. 1078, 143:11–144:5 (stating "a
                                                 143:11-144:5 (stating “a
POSA
P     would be
  OSA would be able
               able to
                    to prepare
                       prepare aa buffer
                                  buffer at
                                         at pHs within that
                                            pHs within that range
                                                            range of
                                                                  of 4.8 to
                                                                     4.8 to
6.4).
6.4). This
      This evidence
           evidence is
                    is sufficient to support
                       sufficient to support aa case of obviousness.
                                                case of              See E.I.
                                                        obviousness. See E.I.
DuPont de
DuPont de Nemours,
          Nemours, Inc.
                   Inc. v.         C. V., 904
                           Synvina C.V.,
                        v. Synvina            F.3d 996,
                                          904 F.3d 996, 1006 (Fed. Cir.
                                                        1006 (Fed. Cir.
2018) ("`
2018) (“‘[W]here  there is
          [W]here there is aa range
                              range disclosed
                                    disclosed in the prior
                                              in the       art, and
                                                     prior art, and the
                                                                    the claimed
                                                                        claimed
invention
invention falls
          falls within that range,
                within that        the burden
                            range, the burden of
                                              of production
                                                 production falls
                                                            falls upon the
                                                                  upon the
patentee to come
patentee to come forward
                 forward with
                         with evidence’”
                              evidence' of  teaching away,
                                         of teaching away, unexpected
                                                           unexpected
results,
results, or
         or other
            other pertinent
                  pertinent evidence
                            evidence of
                                     of nonobviousness.”).
                                        nonobviousness.").
      Patent Owner
      Patent       alleges criticality
             Owner alleges             of the
                           criticality of the claimed
                                              claimed pH
                                                      pH range
                                                         range set
                                                               set forth
                                                                   forth in
                                                                         in
the claims
the        when providing
    claims when           an overview
                providing an          of the
                             overview of the ’145
                                             '145 patent.     PO Resp.
                                                          See PO
                                                  patent. See    Resp.
15–18; Ex. 2003
15-18; Ex. 2003 ¶¶ 156–158. Patent Owner
                   156-158. Patent Owner argues
                                         argues that
                                                that the
                                                     the inventors
                                                         inventors
discovered that "using
discovered that “using aa buffer
                          buffer was
                                 was critical to atropine
                                     critical to atropine stability"
                                                          stability” for the
                                                                     for the
claimed
claimed low
        low dose
            dose in the claimed
                 in the claimed range. PO Resp.
                                range. PO Resp. 18.
                                                18. This
                                                    This is
                                                         is not
                                                            not
appropriate
appropriate objective
            objective evidence
                      evidence of
                               of nonobviousness to rebut
                                  nonobviousness to       Petitioner’s proof
                                                    rebut Petitioner's proof
of
of overlapping
   overlapping ranges between the
               ranges between the prior art and
                                  prior art     the claimed
                                            and the claimed pH
                                                            pH range
                                                               range
because regardless
because regardless of whether the
                   of whether the problem of the
                                  problem of the stability
                                                 stability of atropine at
                                                           of atropine at low
                                                                          low
doses was unexpected,
doses was             the result
          unexpected, the        of using
                          result of using aa buffer,
                                             buffer, pH stability for
                                                     pH stability     the range,
                                                                  for the range,
was not
was not unexpected.
        unexpected. The buffer is
                    The buffer    just doing
                               is just doing exactly
                                             exactly what
                                                     what aa buffer
                                                             buffer does as
                                                                    does as
recognized: viz., maintaining
recognized: viz., maintaining pH.     Ex. 1038,
                                  See Ex.
                              pH. See     1038, 22 (stating
                                                   (stating "primary
                                                            “primary purpose
                                                                     purpose
of
of aa buffer
      buffer is to control
             is to         the pH
                   control the    of the
                               pH of the solution”).
                                         solution"). The
                                                     The fact that the
                                                         fact that the claimed
                                                                       claimed
range
range for
      for aa stable
             stable low dose atropine
                    low dose atropine solution
                                      solution substantially
                                               substantially overlapped
                                                             overlapped with
                                                                        with
the USP
the USP stated
        stated range
               range for atropine solutions
                     for atropine solutions is also not
                                            is also     surprising or
                                                    not surprising or
unexpected.
unexpected.




                                       43
                                       43
                                  Appx000099
                                  Appx000099
        Case: 23-2402     Document: 15       Page: 156   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
       (3) Reason to
       (3) Reason to Combine with aa Reasonable
                     Combine with    Reasonable Expectation
                                                Expectation of Success
                                                            ofSuccess
        The Petitioner asserts
        The Petitioner asserts that
                               that aa P
                                       POSA  would have
                                         OSA would      been motivated
                                                   have been           to
                                                             motivated to
formulate
formulate lower-concentration
          lower-concentration formulations such as
                              formulations such    the claimed
                                                as the claimed composition
                                                               composition
in
in claim
   claim 1 “to reduce
         1 "to reduce patient side effects
                      patient side         while still
                                   effects while still effectively treating
                                                       effectively treating
myopia.” Pet. 24
myopia." Pet. 24 (citing
                 (citing Ex.
                         Ex. 1002
                             1002 ¶¶ 64–72). Recognizing the
                                     64-72). Recognizing the side
                                                             side effects
                                                                  effects
of
of higher
   higher concentration
          concentration atropine
                        atropine solutions,
                                 solutions, such as photophobia,
                                            such as photophobia, cycloplegia,
                                                                 cycloplegia,
and
and mydriasis,
    mydriasis, causing
               causing poor
                       poor patient
                            patient compliance, Petitioner asserts
                                    compliance, Petitioner asserts that
                                                                   that Chia
                                                                        Chia
studied
studied lower
        lower dose atropine compositions
              dose atropine              and concluded
                            compositions and           that "a
                                             concluded that “a nightly
                                                               nightly dose
                                                                       dose
of atropine at
of atropine at 0.01%
               0.01% seems to be
                     seems to be aa safe
                                    safe and
                                         and effective
                                             effective regimen
                                                       regimen for slowing
                                                               for slowing
myopia
myopia progression
       progression in
                   in children, with minimal
                      children, with minimal impact
                                             impact on visual function
                                                    on visual function in
                                                                       in
children.”     (citing Ex.
           Id. (citing
children." Id.         Ex. 1002
                           1002 ¶ 69; Ex. 1003,
                                  69; Ex. 1003, 1,
                                                1, 7,
                                                   7, 8).
                                                      8). This
                                                          This conclusion,
                                                               conclusion,
Petitioner asserts
Petitioner asserts would
                   would have motivated aa POSA
                         have motivated    POSA "to
                                                “to pursue
                                                    pursue aa stable,
                                                              stable, ready-
                                                                      ready-
to-use low-concentration
to-use                   atropine formulation
       low-concentration atropine formulation for treating myopia."
                                              for treating myopia.” Id.
                                                                    Id. at
                                                                        at
24–25 (citing
24-25 (citing Ex.
              Ex. 1003, 1; Ex.
                  1003, 1; Ex. 1002
                               1002 ¶¶ 70–72).
                                       70-72).
        Petitioner further
        Petitioner further reasons that because
                           reasons that because using atropine to
                                                using atropine to treat
                                                                  treat myopia
                                                                        myopia
requires
requires long-term treatment, aa P
         long-term treatment,    POSA  “would have
                                   OSA "would      been motivated
                                              have been motivated to
                                                                  to
formulate
formulate aa low-concentration atropine pharmaceutical
             low-concentration atropine pharmaceutical composition with an
                                                       composition with an
increased
increased stability and shelf-life."
          stability and shelf-life.” Pet.
                                     Pet. 25
                                          25 (citing
                                             (citing Ex
                                                     Ex 1003, 1; Ex.
                                                        1003, 1; Ex. 1002
                                                                     1002
¶¶
¶¶ 71–72).
   71-72). In
           In light
              light of the teachings
                    of the teachings of
                                     of Kondritzer,
                                        Kondritzer, Petitioner
                                                    Petitioner states that aa
                                                               states that
POSA
P     would have
  OSA would have known that atropine's
                 known that atropine’s stability was pH
                                       stability was pH dependent, and
                                                        dependent, and
“[i]n selecting
"[i]n selecting aa suitable
                   suitable buffer
                            buffer system
                                   system for
                                          for long-term
                                              long-term stability of atropine
                                                        stability of atropine
solutions,
solutions, aa P
              POSA  would have
                OSA would have looked to FDA-approved
                               looked to FDA-approved atropine
                                                      atropine ophthalmic
                                                               ophthalmic
solutions,” such as
solutions," such as Alcorn.
                    Akorn. Pet.
                            Pet. 25
                                 25 (citing
                                    (citing Ex.
                                            Ex. 1005; Ex. 1002
                                                1005; Ex. 1002 ¶¶ 43–45,
                                                                  43-45, 74,
                                                                         74,
76).
76).
        In addition to
        In addition to shelf
                       shelf life, Petitioner asserts
                             life, Petitioner asserts aa P
                                                         POSA  also would
                                                           OSA also would have
                                                                          have
been concerned
been concerned about
               about patient
                     patient comfort and compliance
                             comfort and            with using
                                         compliance with       the low-
                                                         using the low-
concentration atropine product
concentration atropine product and
                               and would
                                   would know that the
                                         know that the pH
                                                       pH for
                                                          for optimum
                                                              optimum

                                        44
                                        44
                                  Appx000100
                                  Appx000100
         Case: 23-2402    Document: 15      Page: 157    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
patient
patient comfort
        comfort is the same
                is the same pH as tear
                            pH as tear fluid, about 7.4.
                                       fluid, about 7.4. Id. at 26.
                                                         Id. at 26. In
                                                                    In
balancing stability
balancing stability of atropine, which
                    of atropine, which is
                                       is most stable at
                                          most stable at aa pH
                                                            pH from
                                                               from 33 to
                                                                       to 55
according to Kondritzer,
according to Kondritzer, Petitioner
                         Petitioner asserts
                                    asserts that
                                            that "a
                                                 “a P
                                                    POSA
                                                      OSA would
                                                          would have been
                                                                have been
motivated to increase
motivated to          the long-term
             increase the long-term stability of Chia’s
                                    stability of Chia' s low-concentration
                                                         low-concentration
atropine at pHs
atropine at pHs closer to the
                closer to the clinically
                              clinically desirable
                                         desirable pH
                                                   pH of
                                                      of 7.4.” Id. at
                                                         7.4." Id.    26 (citing
                                                                   at 26 (citing
Ex. 1002
Ex. 1002 ¶ 75–77). Petitioner asserts
           75-77). Petitioner         that aa P
                              asserts that    POSA  would have
                                                OSA would have had
                                                               had aa
reasonable
reasonable expectation of success
           expectation of success in
                                  in doing so by
                                     doing so by using buffers, aa common
                                                 using buffers,    common
component
component in
          in ophthalmic
             ophthalmic compositions, to target
                        compositions, to target "the
                                                “the higher
                                                     higher end
                                                            end of Akorn’s
                                                                of Akorn's
disclosed
disclosed pH
          pH range
             range in
                   in order to optimize
                      order to optimize stability
                                        stability in view of
                                                  in view of patient
                                                             patient comfort
                                                                     comfort ..
.. .. ."
      .” Id. at 27.
         Id. at 27.
        Patent Owner
        Patent Owner responds that the
                     responds that the low-concentration
                                       low-concentration atropine
                                                         atropine
formulations
formulations did
             did not
                 not contain buffers and
                     contain buffers and that
                                         that the
                                              the state
                                                  state of the art
                                                        of the art in 2015
                                                                   in 2015
taught excluding
taught           the use
       excluding the use of buffers. See
                         of buffers.     PO Resp.
                                     See PO Resp. 40–43.
                                                  40-43. We
                                                         We have
                                                            have
addressed Patent Owner’s
addressed Patent         argument that
                 Owner's argument that the
                                       the state
                                           state of the art
                                                 of the art in 2015 for
                                                            in 2015 for
ophthalmic solutions did
ophthalmic solutions did not teach buffers.
                         not teach buffers. As
                                            As we
                                               we found
                                                  found above, the record
                                                        above, the record
evidence
evidence such as Remington
         such as Remington shows that buffers
                           shows that buffers are
                                              are recommended
                                                  recommended for
                                                              for
ophthalmic solutions to
ophthalmic solutions to maintain
                        maintain shelf
                                 shelf life.
                                       life.
        We also note
        We also      that the
                note that the prior
                              prior art
                                    art references
                                        references such as Chia
                                                   such as Chia described
                                                                described
studies to determine
studies to           the safety
           determine the        and efficacy
                         safety and efficacy of
                                             of low-dose atropine solutions
                                                low-dose atropine solutions
and
and were
    were not
         not commercially available formulations
             commercially available              that must
                                    formulations that must meet
                                                           meet FDA
                                                                FDA
requirements
requirements for
             for safety and efficacy.
                 safety and           Chia specifically
                            efficacy. Chia specifically states that ‘[a]tropine
                                                        states that ' [a]tropine
0.01%
0.01% is
      is currently
         currently not
                   not commercially available.” Ex.
                       commercially available." Ex. 1003,
                                                    1003, 8.
                                                          8.
        Patent Owner
        Patent       also asserts
               Owner also asserts that
                                  that adding
                                       adding aa buffer
                                                 buffer would
                                                        would decrease
                                                              decrease patient
                                                                       patient
comfort by maintaining
comfort by maintaining aa low
                          low pH
                              pH of the atropine
                                 of the          solution when
                                        atropine solution when
administered,
administered, causing
              causing increased tearing which
                      increased tearing which would
                                              would undermine
                                                    undermine efficacy by
                                                              efficacy by
washing
washing away the atropine.
        away the atropine. PO
                           PO Resp.
                              Resp. 43–45.
                                    43-45. We
                                           We do
                                              do not
                                                 not find this argument
                                                     find this argument
persuasive. As Remington
persuasive. As Remington explained,
                         explained, aa P
                                       POSA
                                         OSA must
                                             must choose
                                                  choose aa buffer
                                                            buffer to
                                                                   to

                                       45
                                       45
                                  Appx000101
                                  Appx000101
       Case: 23-2402      Document: 15       Page: 158   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
stabilize
stabilize an
          an ophthalmic solution, but
             ophthalmic solution, but also balance the
                                      also balance the shelf-life
                                                       shelf-life of the
                                                                  of the
solution with aa buffering
solution with    buffering capacity that allows
                           capacity that allows aa patient’s tears to
                                                   patient's tears to easily
                                                                      easily
overcome an uncomfortable
overcome an uncomfortable acidic
                          acidic pH of the
                                 pH of the ophthalmic
                                           ophthalmic solution. See
                                                      solution. See
Ex. 1019,
Ex. 1019, 54. As Remington
          54. As Remington states,
                           states, "[bluffer
                                   “[b]uffer capacity
                                             capacity is the key,”
                                                      is the key," and
                                                                   and
“buffer capacity
"buffer capacity should be adequate
                 should be adequate for
                                    for stability, but minimized
                                        stability, but minimized so
                                                                 so far as
                                                                    far as
possible to allow
possible to allow the
                  the overall
                      overall pH of the
                              pH of the tear
                                        tear fluid to be
                                             fluid to be disrupted
                                                         disrupted only
                                                                   only
momentarily.”     Buffering does
              Id. Buffering
momentarily." Id.           does not
                                 not impede
                                     impede patient
                                            patient comfort when buffer
                                                    comfort when buffer
capacity
capacity is
         is properly assessed.
            properly assessed.
      We agree with
      We agree with Petitioner
                    Petitioner and
                               and Dr.
                                   Dr. Byrn
                                       Byrn that
                                            that "a
                                                 “a P
                                                    POSA
                                                      OSA wishing to make
                                                          wishing to make
aa kit
   kit for
       for myopia treatment would
           myopia treatment would have been motivated
                                  have been           to select
                                            motivated to select aa suitable
                                                                   suitable
buffer system,
buffer system, such
               such as Akorn’s,
                    as Akorn'    to maintain
                              s, to          solution pH
                                    maintain solution    and atropine
                                                      pH and atropine
stability throughout the
stability throughout the life
                         life of the low-concentration
                              of the                   atropine
                                     low-concentration atropine
pharmaceutical
pharmaceutical composition.” Ex. 1002
               composition." Ex. 1002 ¶¶ 77.
                                         77. We
                                             We determine that Petitioner
                                                determine that Petitioner
has
has shown
    shown an
          an appropriate
             appropriate reason to combine
                         reason to         the teachings
                                   combine the teachings of
                                                         of Chia
                                                            Chia and
                                                                 and
Akorn to
Akorn to arrive
         arrive at
                at the
                   the composition of claim
                       composition of claim 1 with aa reasonable
                                            1 with    reasonable expectation
                                                                 expectation
of
of success.
   success.

                                 (4)
                                 (4) Conclusion
                                     Conclusion
      We
      We determine that Petitioner
         determine that Petitioner has shown by
                                   has shown by aa preponderance
                                                   preponderance of the
                                                                 of the
evidence that claim
evidence that claim 1
                    1 of the ’145
                      of the '145 patent
                                  patent would
                                         would have been obvious
                                               have been obvious over Chia
                                                                 over Chia
and Akorn.
and Akorn.

                    d) Dependent
                    d) Dependent Claims 2–7 and
                                 Claims 2-7 and 11-20
                                                11–20
      Dependent claims
      Dependent claims 22 and
                          and 33 each
                                 each recite
                                      recite kits
                                             kits with
                                                  with narrower
                                                       narrower ranges
                                                                ranges of
                                                                       of
atropine
atropine or atropine sulfate
         or atropine sulfate concentrations than that
                             concentrations than that in
                                                      in claim
                                                         claim 1. See
                                                               1. See
Ex. 1001,
Ex. 1001, 99:20–27. Petitioner asserts
          99:20-27. Petitioner asserts that
                                       that "Chia's
                                            “Chia’s aqueous
                                                    aqueous 0.01%
                                                            0.01% atropine
                                                                  atropine
solution
solution falls squarely within
         falls squarely within the
                               the claimed
                                   claimed ranges
                                           ranges of
                                                  of ‘about
                                                     `about 0.01 mg/g to
                                                            0.01 mg/g to
about
about 0.3
      0.3 mg/g
          mg/g or
               or from about 0.1
                  from about     mg/g to
                             0.1 mg/g to about
                                         about 0.2
                                               0.2 mg/g’ of claim
                                                   mg/g' of       2, and
                                                            claim 2, and

                                        46
                                        46
                                  Appx000102
                                  Appx000102
       Case: 23-2402     Document: 15       Page: 159   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
the claimed
the claimed ranges
            ranges of
                   of ‘about
                      `about 0.1
                             0.1 mg/g, about 0.2
                                 mg/g, about 0.2 mg/g, about 0.25
                                                 mg/g, about      mg/g,
                                                             0.25 mg/g,
about
about 0.3
      0.3 mg/g,
          mg/g, about
                about 0.4
                      0.4 mg/g,
                          mg/g, or about 0.5
                                or about     mg/g’ of
                                         0.5 mg/g' of claim 3.” Pet.
                                                      claim 3." Pet. 33-34.
                                                                     33–34.
      We agree with
      We agree with Petitioner
                    Petitioner that
                               that the
                                    the overlap between the
                                        overlap between the concentration of
                                                            concentration of
Chia’s atropine solution
Chia's atropine          and the
                solution and the claimed
                                 claimed ranges
                                         ranges of
                                                of claims
                                                   claims 22 and
                                                             and 33 establish
                                                                    establish aa
prima
prima facie
      facie case
            case of
                 of obviousness,
                    obviousness, for
                                 for which Patent Owner
                                     which Patent Owner has
                                                        has not
                                                            not offered any
                                                                offered any
rebuttal.     Genentech, 946
          See Genentech,
rebuttal. See                F.3d at
                         946 F.3d at 1341.
                                     1341. Thus, we find
                                           Thus, we      that Petitioner
                                                    find that Petitioner has
                                                                         has
shown by aa preponderance
shown by    preponderance of the evidence
                          of the          that claims
                                 evidence that claims 22 and
                                                         and 33 would
                                                                would have
                                                                      have
been obvious
been obvious over
             over Chia and Alcorn.
                  Chia and Akorn.
       Claims
       Claims 4 and 55 further
              4 and    further define the buffer
                               define the buffer of
                                                 of claim
                                                    claim 11 including “a
                                                             including "a
phosphate buffering agent"
phosphate buffering agent” in
                           in claim
                              claim 4 and "sodium
                                    4 and “sodium dihydrogen
                                                  dihydrogen phosphate
                                                             phosphate
and
and disodium
    disodium hydrogen
             hydrogen phosphate”
                      phosphate" in
                                 in claim
                                    claim 5, which Petitioner
                                          5, which Petitioner asserts
                                                              asserts is
                                                                      is
taught by
taught by Alcorn's
          Akorn’s disclosure  of "two
                   disclosure of “two phosphate buffering agents:
                                      phosphate buffering agents: dibasic
                                                                  dibasic
sodium
sodium phosphate (i.e., disodium
       phosphate (i.e., disodium hydrogen
                                 hydrogen phosphate) and monobasic
                                          phosphate) and monobasic
sodium
sodium phosphate (sodium dihydrogen
       phosphate (sodium dihydrogen phosphate).” Pet. 34
                                    phosphate)." Pet. 34 (citing
                                                         (citing
Ex. 1004,
Ex.       3); Ex.
    1004, 3); Ex. 1001,
                  1001, 99:28–35. Patent Owner
                        99:28-35. Patent Owner reasserts the same
                                               reasserts the same
argument that itit raised
argument that             with respect
                   raised with         to claim
                               respect to claim 1,
                                                1, namely, that Alcorn
                                                   namely, that Akorn does
                                                                       does not
                                                                            not
teach the
teach the claimed
          claimed phosphate buffers. See
                  phosphate buffers.     PO Resp.
                                     See PO Resp. 54–55.
                                                  54-55. We
                                                         We have
                                                            have
addressed Patent Owner’s
addressed Patent         arguments with
                 Owner's arguments with respect to claim
                                        respect to claim 1
                                                         1 and
                                                           and found that
                                                               found that
Akorn does
Alcorn      teach the
       does teach the claimed
                      claimed phosphate buffers.
                              phosphate buffers.
      Claim
      Claim 66 further
               further requires
                       requires aa tonicity
                                   tonicity adjusting
                                            adjusting agent, and claim
                                                      agent, and claim 7
                                                                       7 further
                                                                         further
defines the tonicity
defines the tonicity agent
                     agent as
                           as aa halide
                                 halide salt of aa monovalent
                                        salt of    monovalent cation. Ex. 1001,
                                                              cation. Ex  1001,
99:36–39. Petitioner asserts
99:36-39. Petitioner asserts that
                             that "[a]
                                  “[a] P
                                       POSA  would have
                                         OSA would have recognized that
                                                        recognized that
decreasing the concentration
decreasing the concentration of atropine sulfate
                             of atropine sulfate from Akorn’s 1%
                                                 from Akorn's    atropine
                                                              1% atropine
sulfate solution to
sulfate solution to Chia’s
                    Chia's 0.01%
                           0.01% atropine sulfate solution
                                 atropine sulfate          would require
                                                  solution would         the
                                                                 require the
addition of aa tonicity
addition of    tonicity adjusting agent to
                        adjusting agent to maintain
                                           maintain eye
                                                    eye comfort,” due to
                                                        comfort," due to aa
reduction
reduction in the amount
          in the amount of
                        of salt
                           salt in the solution.
                                in the           Pet. 35
                                       solution. Pet. 35 (citing
                                                         (citing Ex.
                                                                 Ex. 1002
                                                                     1002
   114–117). Petitioner
¶¶ 114-117). Petitioner also
                        also asserts
                             asserts that
                                     that sodium
                                          sodium chloride,
                                                 chloride, aa halide salt of
                                                              halide salt of aa

                                       47
                                       47
                                 Appx000103
                                 Appx000103
       Case: 23-2402     Document: 15       Page: 160   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
monovalent
monovalent cation,
           cation, is
                   is aa very
                         very common tonicity adjusting
                              common tonicity adjusting agent.     (citing
                                                               Id. (citing
                                                        agent. Id.
Ex. 1002
Ex. 1002 ¶¶ 115–117; Ex. 1036,
            115-117; Ex.       1–3; Ex.
                         1036, 1-3; Ex. 1019,
                                        1019, 54).
                                              54).
      Patent Owner
      Patent Owner responds that Petitioner
                   responds that Petitioner has
                                            has not
                                                not shown that aa reduction
                                                    shown that    reduction
from 1% to
from 1% to 0.01% atropine sulfate
           0.01% atropine sulfate will make enough
                                  will make enough difference
                                                   difference in the
                                                              in the
osmolarity to be
osmolarity to be material to the
                 material to the tonicity
                                 tonicity of
                                          of the
                                             the solution,
                                                 solution, and Petitioner failed
                                                           and Petitioner failed
to account
to account for the existing
           for the          tonicity of
                   existing tonicity of Akorn's
                                        Akorn’s formulation. PO Resp.
                                                formulation. PO Resp. 54.
                                                                      54.
      Dr. Byrn
      Dr. Byrn explains tonicity and
               explains tonicity and that
                                     that "isotonicity
                                          “isotonicity always
                                                       always is
                                                              is desirable
                                                                 desirable
and
and particularly
    particularly is
                 is important
                    important in
                              in intraocular
                                 intraocular solutions.” Ex. 1002
                                             solutions." Ex  1002 ¶ 114
                                                                    114
(citing Ex.
(citing Ex. 1019,
            1019, 54). Dr. Byrn
                  54). Dr. Byrn then
                                then testifies
                                     testifies that
                                               that aa reduction
                                                       reduction in the
                                                                 in the
concentration
concentration of atropine sulfate,
              of atropine sulfate, aa salt
                                      salt from 1% to
                                           from 1% to 0.01 % would
                                                      0.01 % would require
                                                                   require aa
tonicity adjusting
tonicity adjusting agent
                   agent for
                         for eye
                             eye comfort. Id. We
                                 comfort. Id. We credit Dr. Byrn's
                                                 credit Dr. Byrn’s testimony
                                                                   testimony
as
as it
   it is
      is reasonable that aa 100-fold
         reasonable that    100-fold decrease
                                     decrease in the concentration
                                              in the               of atropine
                                                     concentration of atropine
sulfate
sulfate in the solution
        in the solution would
                        would require some tonicity
                              require some tonicity adjustment.
                                                    adjustment.
      Dependent claims
      Dependent claims 16 through 18
                       16 through 18 require an acidic
                                     require an acidic pH,
                                                       pH, aa pH
                                                              pH of
                                                                 of from
                                                                    from
about 3.8 to
about 3.8 to about 6.4, and
             about 6.4, and aa pH
                               pH of
                                  of less than 5,
                                     less than 5, respectively. Ex. 1001,
                                                  respectively. Ex. 1001,
100:20–25. Petitioner relies
100:20-25. Petitioner        on the
                      relies on the pH
                                    pH range
                                       range listed
                                             listed in Akorn, pH
                                                    in Alcorn,    3.5 to
                                                               pH 3.5 to 6.0
                                                                         6.0
as
as overlapping with the
   overlapping with the pH
                        pH ranges
                           ranges required by claims
                                  required by claims 16–18.     Pet. 38.
                                                            See Pet.
                                                     16-18. See      38.
Patent Owner
Patent       again argues
       Owner again argues that
                          that Alcorn
                               Akorn does
                                      does not
                                           not disclose the pH
                                               disclose the pH of the
                                                               of the
solution and "does
solution and “does not
                   not disclose that the
                       disclose that the Alcorn
                                         Akorn product
                                                product is
                                                        is formulated
                                                           formulated across
                                                                      across aa
pH
pH range
   range of 3.5 to
         of 3.5 to 6.0, but merely
                   6.0, but        that itit does
                            merely that           not violate
                                             does not violate USP
                                                              USP pH
                                                                  pH
limitations,”
limitations," it
              it does
                 does not
                      not disclose
                          disclose overlapping
                                   overlapping ranges with those
                                               ranges with those in
                                                                 in claims 16–
                                                                    claims 16-
18. PO Resp.
18. PO Resp. 52–53. As we
             52-53. As we have
                          have previously stated, we
                               previously stated, we don’t
                                                     don't agree
                                                           agree with
                                                                 with
Patent Owner's
Patent Owner’s position
               position here because Alcorn
                        here because Akorn teaches
                                            teaches aa particular
                                                       particular pH
                                                                  pH range
                                                                     range
for
for its
    its formulation
        formulation for
                    for 1% atropine, which
                        1% atropine, which informs
                                           informs aa P
                                                      POSA
                                                        OSA of the
                                                            of the
appropriate
appropriate pH
            pH range,
               range, if
                      if not
                         not aa particular
                                particular point within the
                                           point within the range.
                                                            range.
        Patent Owner
        Patent Owner does
                     does not address the
                          not address the additional
                                          additional limitations
                                                     limitations of
                                                                 of claims
                                                                    claims
11–15, 19, or
11-15, 19,    20 apart
           or 20 apart from
                       from its arguments as
                            its arguments as to
                                             to claim
                                                claim 1. Claims 11
                                                      1. Claims    through
                                                                11 through

                                       48
                                       48
                                 Appx000104
                                 Appx000104
       Case: 23-2402      Document: 15       Page: 161   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
14
14 further
   further require
           require aa preservative,
                      preservative, in
                                    in particular
                                       particular concentrations,
                                                  concentrations, and
                                                                  and aa list
                                                                         list of
                                                                              of
particular
particular preservatives, which Chia
           preservatives, which      and/or Alcorn
                                Chia and/or Akorn teach.
                                                   teach. See Pet. 36-37
                                                          See Pet. 36–37
(citing Ex.
(citing Ex. 1002
            1002 ¶¶ 118–124; Ex. 1003,
                    118-124; Ex.       2; Ex
                                 1003, 2; Ex. 1004, 3; Ex
                                              1004, 3; Ex. 1022, 1–2;
                                                           1022, 1-2;
Ex. 1023,
Ex. 1023, 1).
          1). Claim
              Claim 15
                    15 further
                       further requires that the
                               requires that the stabilized
                                                 stabilized ophthalmic
                                                            ophthalmic
composition
composition is “essentially free
            is "essentially      of procaine
                            free of          and benactyzine,
                                    procaine and benactyzine, or
                                                              or
pharmaceutically acceptable salts
pharmaceutically acceptable       thereof,” which
                            salts thereof," which Petitioner
                                                  Petitioner asserts
                                                             asserts is taught
                                                                     is taught
by the
by the absence of these
       absence of these ingredients
                        ingredients in Chia and
                                    in Chia     Akorn. See
                                            and Alcorn.     Pet. 37-38
                                                        See Pet. 37–38
(citing Ex.
(citing Ex. 1002
            1002 ¶¶
                 ¶¶ 125–130; Ex. 1003;
                    125-130; Ex.       Ex. 1004,
                                 1003; Ex.       3; Ex.
                                           1004, 3; Ex. 1019,
                                                        1019, 52).
                                                              52). Claim
                                                                   Claim
19
19 requires that the
   requires that the pharmaceutical
                     pharmaceutical composition
                                    composition is
                                                is aa solution,
                                                      solution, and
                                                                and claim 20
                                                                    claim 20
requires that the
requires that the pharmaceutical
                  pharmaceutical composition
                                 composition is sterile, which
                                             is sterile, which Petitioner
                                                               Petitioner
asserts
asserts is taught by
        is taught by Alcorn
                     Akorn and/or
                            and/or Chia. Pet. 40–41
                                   Chia. Pet.       (citing Ex.
                                              40-41 (citing Ex. 1002    140–
                                                                1002 ¶¶ 140-
147; Ex. 1003,
147; Ex. 1003, 1, 2; Ex.
               1, 2; Ex. 1004, 1–4).
                         1004, 1-4).
      We
      We have
         have reviewed Petitioner’s assertions
              reviewed Petitioner's assertions in the Petition
                                               in the Petition concerning
                                                               concerning
claims 11–15, 19,
claims 11-15, 19, and 20 and
                  and 20     Dr. Byrn's
                         and Dr. Byrn’s testimony
                                        testimony in
                                                  in support, and
                                                     support, and
determine that Petitioner
determine that Petitioner has shown by
                          has shown by aa preponderance of the
                                          preponderance of the evidence that
                                                               evidence that
these claims
these claims would
             would have been obvious
                   have been obvious over
                                     over Chia and Alcorn.
                                          Chia and Akorn.

                            E. Remaining
                            E. Remaining Ground
                                         Ground
      Because we
      Because we have
                 have determined that all
                      determined that all challenged
                                          challenged claims
                                                     claims are
                                                            are
unpatentable as obvious
unpatentable as obvious over
                        over Chia and Alcorn,
                             Chia and Akorn, we
                                              we need
                                                 need not
                                                      not reach the issue
                                                          reach the issue of
                                                                          of
whether these same
whether these same claims are also
                   claims are also unpatentable
                                   unpatentable under
                                                under Ground 2.
                                                      Ground 2.
Therefore, we do
Therefore, we do not
                 not reach this ground.
                     reach this ground.

                             III. CONCLUSION14
                             III. CONCLUSION14
      For the
      For the foregoing
              foregoing reasons,
                        reasons, we
                                 we conclude Petitioner has
                                    conclude Petitioner     shown by
                                                        has shown by aa

14
14 Should   Patent Owner
   Should Patent   Owner wish  to pursue
                          wish to        amendment of
                                  pursue amendment       the challenged
                                                      of the  challenged claims
                                                                         claims
in
in aa reissue
      reissue or
              or reexamination
                 reexamination proceeding
                               proceeding subsequent   to the
                                           subsequent to   the issuance
                                                               issuance of this
                                                                        of this
decision,
decision, wewe draw  Patent Owner’s
               draw Patent          attention to
                            Owner's attention to the
                                                 the April
                                                     April 2019
                                                            2019 Notice
                                                                  Notice

                                        49
                                        49
                                  Appx000105
                                  Appx000105
       Case: 23-2402       Document: 15       Page: 162    Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
preponderance
preponderance of the evidence
              of the          that claims
                     evidence that        1–7 and
                                   claims 1-7 and 11–20
                                                  11-20 of the ’145
                                                        of the '145 patent
                                                                    patent
are
are unpatentable.
    unpatentable.
                                   IV. ORDER
                                   IV. ORDER
       In
       In consideration
          consideration of the foregoing,
                        of the foregoing, it
                                          it is
                                             is hereby:
                                                hereby:
       ORDERED that Patent
       ORDERED that Patent Owner's
                           Owner’s Motion
                                   Motion to
                                          to Exclude
                                             Exclude Evidence
                                                     Evidence is
                                                              is
denied;
denied;
       FURTHER ORDERED
       FURTHER ORDERED that
                       that claims 1–7 and
                            claims 1-7 and 11–20
                                           11-20 of U.S. Patent
                                                 of U.S. Patent No.
                                                                No.
10,940,
10,940, 145 B2 have
        145 B2      been shown
               have been shown by
                               by aa preponderance of the
                                     preponderance of the evidence to be
                                                          evidence to be
unpatentable
unpatentable under 35 U.S.C.
             under 35 U.S.C. §§ 103; and
                                103; and
       FURTHER ORDERED
       FURTHER ORDERED that
                       that because
                            because this
                                    this is
                                         is aa Final
                                               Final Written Decision,
                                                     Written Decision,
parties to the
parties to the proceeding seeking judicial
               proceeding seeking judicial review
                                           review of the decision
                                                  of the decision must
                                                                  must
comply
comply with the notice
       with the notice and
                       and service
                           service requirements of 37
                                   requirements of 37 C.F.R.
                                                      C.F.R. §
                                                             § 90.2.
                                                               90.2.




Regarding Options
Regarding              for Amendments
              Optionsfor   Amendments by     Patent Owner
                                          by Patent  Owner Through      Reissue or
                                                             Through Reissue     or
Reexamination      During  a Pending   AIA  Trial Proceeding.     See
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg. 84 Fed.  Reg.
16,654   (Apr. 22,
16,654 (Apr.    22, 2019).
                     2019). If Patent
                                atent Owner
                            If Patent Owner chooses    to file
                                              chooses to  file aa reissue
                                                                  reissue application
                                                                          application
or
or aa request
      request for
               for reexamination
                   reexamination of   the challenged
                                   of the challenged patent,   we remind
                                                      patent, we            Patent
                                                                    remind Patent
Owner
Owner of of its
            its continuing
                continuing obligation   to notify
                            obligation to         the Board
                                           notify the Board ofof any  such related
                                                                  any such  related
matters
matters inin updated  mandatory notices.
             updated mandatory                  37 C.F.R.
                                            See 37
                                   notices. See     C.F.R. §§ 42.8(a)(3),  (b)(2).
                                                              42.8(a)(3), (b)(2).

                                         50
                                         50
                                   Appx000106
                                   Appx000106
      Case: 23-2402     Document: 15      Page: 163   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2
      In summary:
      In summary:


 Claim(s)
 Claim(s)     35
              35     Reference(s)/Basis
                     Reference(s)/Basis         Claim(s)
                                                Claim(s)     Claim(s)
                                                             Claim(s)
            U.S.C. §
            U.S.C. §                             Shown
                                                 Shown      Not shown
                                                            Not shown
                                              Unpatentable Unpatentable
                                              Unpatentable Unpatentable
 1–7, 11–
 1-7, 11— 103
          103          Chia and Alcorn
                       Chia and Akorn         1–7, 11-20
                                              1-7, 11–20
 20
 20
 1–7, 11-
 1-7, 11– 103
          103          Wu and Alcorn
                       Wu and Akorn 15
 20
 20
 Overall
 Overall                                      1–7, 11-20
                                              1-7, 11–20
 Outcome
 Outcome




15
15Because we
  Because  we find these claims
              find these         are unpatentable
                         claims are  unpatentable over
                                                   over Chia and Alcorn,
                                                        Chia and Akorn, we
                                                                         we
do
do not
   not determine their patentability
       determine their patentability under this ground.
                                     under this ground.

                                     51
                                     51
                                Appx000107
                                Appx000107
      Case: 23-2402    Document: 15    Page: 164   Filed: 02/01/2024
IPR2022-00414
IPR2022-00414
Patent 10,940,145
Patent            B2
       10,940,145 B2

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FOR PETITIONER:

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Peter Cuomo
Williams Dixon
Williams Dixon
Thomas
Thomas Wintner
         Wintner
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MINTZ,   LEVIN, COHN,   FERRIS, GLOVSKY
                  COHN, FERRIS,         &P
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FOR PATENT OWNER:
           OWNER:

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                                  52
                                  52
                             Appx000108
                             Appx000108
      Case: 23-2402   Document: 15     Page: 165   Filed: 02/01/2024
Trials@uspto.gov
Trials@uspto.gov                                                 Paper 37
                                                                 Paper 37
571-272-7822
571-272-7822                                          Date: July
                                                      Date: July 13, 2023
                                                                 13, 2023


      UNITED STATES
      UNITED        PATENT AND
             STATES PATENT AND TRADEMARK
                               TRADEMARK OFFICE
                                         OFFICE


       BEFORE THE
       BEFORE     PATENT TRIAL
              THE PATENT       AND APPEAL
                         TRIAL AND APPEAL BOARD
                                          BOARD


                         EYENOVIA, INC.,
                         EYENOVIA,    INC.,
                            Petitioner,
                            Petitioner,

                                  v.
                                  v.

                         SYDNEXIS,   INC.,
                         SYDNEXIS, INC.,
                           Patent Owner.
                           Patent Owner.


                          IPR2022-00415
                          IPR2022-00415
                        Patent 10,888,557
                        Patent 10,888,557 B2
                                          B2



Before JOHN
Before JOHN G.  NEW, SUSAN
             G. NEW,          L. C.
                        SUSAN L.    MITCHELL, and
                                 C. MITCHELL, and JAMIE
                                                  JAMIE T.
                                                        T. WISZ,
                                                           WISZ,
Administrative Patent
Administrative Patent Judges.
                      Judges.
MITCHELL, Administrative
MITCHELL, Administrative Patent
                         Patent Judge.
                                Judge.



                            JUDGMENT
                            JUDGMENT
                       Final Written
                       Final          Decision
                             Written Decision
              Denying Patent
             Denying  Patent Owner's
                             Owner’s Motion
                                       Motion to
                                               to Exclude
                                                  Exclude
           Determining All
           Determining All Challenged
                           Challenged Claims   Unpatentable
                                       Claims Unpatentable
                         35 U.S.C.
                         35         § 318(a)
                             U.S.C. '318(a)




                            Appx000109
                            Appx000109
       Case: 23-2402     Document: 15        Page: 166   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
                           I.
                           I.   INTRODUCTION
                                INTRODUCTION

                       A. Background
                       A. Background and
                                     and Summary
                                         Summary
      On
      On January
         January 7, 2022, Eyenovia,
                 7, 2022, Eyenovia, Inc.
                                    Inc. ("Petitioner")
                                         (“Petitioner”) filed
                                                        filed aa Petition
                                                                 Petition
(Paper 1,
(Paper    “Pet.”) requesting
       1, "Pet.") requesting an
                             an inter partes review
                                inter partes        of claims
                                             review of claims 1 through 77 and
                                                              1 through    and
11 through 20
11 through 20 (the
              (the "challenged
                   “challenged claims”)
                               claims") of U.S. Patent
                                        of U.S. Patent No.
                                                       No. 10,888,557 B2
                                                           10,888,557 B2
(Ex. 1001,
(Ex.       “the ’557
     1001, "the '557 patent”).     35 U.S.C.
                               See 35
                     patent"). See    U.S.C. §§ 311–319. On
                                             §§ 311-319.    April 18,
                                                         On April 18,
2022, Sydnexis,
2022, Sydnexis, Inc. (“Patent Owner”)
                Inc. ("Patent Owner") filed
                                      filed aa Preliminary
                                               Preliminary Response
                                                           Response to
                                                                    to the
                                                                       the
Petition. Paper
Petition. Paper 66 ("Prelim.
                   (“Prelim. Resp.").
                             Resp.”). On May 17,
                                      On May     2022, Petitioner
                                             17, 2022, Petitioner filed
                                                                  filed an
                                                                        an
authorized Reply addressing
authorized Reply addressing the
                            the public
                                public accessibility
                                       accessibility of         100411 and
                                                        Exhibit 1004
                                                     of Exhibit        and
Patent Owner's
Patent Owner’s proposed
               proposed claim
                        claim construction
                              construction for “buffer” and
                                           for "buffer" and "buffering
                                                            “buffering
agent.”     Paper 7;
        See Paper
agent." See          Ex. 3001,
                  7; Ex. 3001, 3-4.
                               3–4. On
                                    On May
                                       May 24,
                                           24, 2022,
                                               2022, Patent
                                                     Patent Owner
                                                            Owner filed
                                                                  filed
an
an authorized
   authorized Sur-reply. Paper 8;
              Sur-reply. Paper    Ex. 3001.
                               8; Ex  3001.
      On
      On July
         July 15, 2022, we
              15, 2022, we granted
                           granted institution
                                   institution of an inter
                                               of an       partes review
                                                     inter partes        of
                                                                  review of
claims 1–7 and
claims 1-7     11–20 of
           and 11-20 of the
                        the ’557
                            '557 patent on all
                                 patent on all grounds set forth
                                               grounds set forth in the
                                                                 in the
Petition. See
Petition.     Paper 99 ("Dec.")
          See Paper    (“Dec.”) 2,
                                2, 46.
                                   46.
      Patent Owner
      Patent Owner filed
                   filed aa Response
                            Response on
                                     on October
                                        October 21,
                                                21, 2022,
                                                    2022, see Paper 19
                                                          see Paper 19
(“Resp.), and
("Resp.),     Petitioner filed
          and Petitioner filed aa Reply
                                  Reply on
                                        on January
                                           January 13, 2023, see
                                                   13, 2023,     Paper 21
                                                             see Paper 21
(“Reply”). Patent
("Reply"). Patent Owner
                  Owner filed
                        filed its
                              its Sur-Reply
                                  Sur-Reply on February 24,
                                            on February 24, 2023.
                                                            2023.
Paper 24
Paper 24 ("Sur-Reply").
         (“Sur-Reply”). An
                        An oral
                           oral hearing was held
                                hearing was held on April 14,
                                                 on April     2023, and
                                                          14, 2023, and aa
transcript of
transcript    this hearing
           of this         was entered
                   hearing was entered into the record.
                                       into the         Paper
                                                record. P      36 ("Tr.").
                                                          aper 36 (“Tr.”).
      Patent Owner
      Patent Owner filed
                   filed aa Motion
                            Motion to
                                   to Exclude
                                      Exclude Evidence
                                              Evidence on
                                                       on March
                                                          March 24,
                                                                24, 2023.
                                                                    2023.
Patent Owner
Patent Owner seeks
             seeks to
                   to exclude Exhibit 1002,
                      exclude Exhibit       the Declaration
                                      1002, the Declaration of
                                                            of Dr.
                                                               Dr. Byrn,
                                                                   Byrn,
Petitioner’s declarant,
Petitioner's            Exs. 1004
             declarant, Exs.      and 1057
                             1004 and 1057 constituting the Alcorn
                                           constituting the Akorn labels,
                                                                   labels, and
                                                                           and
Exhibits 1079
Exhibits      through 1088,
         1079 through 1088, Eyenovia's
                            Eyenovia’s Reply
                                       Reply exhibits. Paper 29.
                                             exhibits. Paper 29.


1
  Atropine Sulfate
1 Atropine         Ophthalmic Solution,
           Sulfate Ophthalmic            USP 1%,
                               Solution, USP     NDA 206289
                                             1%, NDA 206289 Product
                                                            Product
Label (July
Label (July 2014)
            2014) (Ex.
                   (Ex. 1004, “Akorn”).
                        1004, "Alcorn").

                                         2
                                         2
                                 Appx000110
                                 Appx000110
       Case: 23-2402     Document: 15       Page: 167    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
Petitioner opposed
Petitioner         the motion,
           opposed the motion, see Paper 30,
                               see Paper 30, and
                                             and Patent
                                                 Patent Owner
                                                        Owner filed
                                                              filed aa reply,
                                                                       reply,
    Paper 32.
see Paper
see       32. For
              For the
                  the reasons
                      reasons set
                              set forth
                                  forth herein, the motion
                                        herein, the motion is denied.
                                                           is denied.
      This
      This is
           is aa Final
                 Final Written Decision under
                       Written Decision       35 U.S.C.
                                        under 35 U.S.C. §§ 318(a)
                                                           318(a) as
                                                                  as to
                                                                     to the
                                                                        the
patentability of the
patentability of the challenged
                     challenged claims on which
                                claims on       we instituted
                                          which we            trial. Based
                                                   instituted trial. Based on
                                                                           on
the complete
the complete record before us,
             record before us, we
                               we determine
                                  determine as
                                            as set
                                               set forth below that
                                                   forth below that
Petitioner has
Petitioner     shown by
           has shown by aa preponderance of the
                           preponderance of the evidence that claims
                                                evidence that claims
1–7 and
1-7 and 11–20
        11-20 of the ’557
              of the '557 patent
                          patent are
                                 are unpatentable.
                                     unpatentable.

                         B. Real
                         B. Real Parties
                                 Parties in Interest
                                         in Interest
      Petitioner identifies
      Petitioner identifies itself as the
                            itself as the real
                                          real party-in-interest
                                               party-in-interest for Petitioner,
                                                                 for Petitioner,
and
and states that "Eyenovia,
    states that “Eyenovia, Inc.
                           Inc. is
                                is not
                                   not controlled by any
                                       controlled by any other
                                                         other entity.”
                                                               entity."
Pet. 62.
Pet. 62. Patent
         Patent Owner
                Owner identifies
                      identifies itself as the
                                 itself as the real
                                               real party-in-interest
                                                    party-in-interest for Patent
                                                                      for Patent
Owner. Paper 4,
Owner. Paper    2; Paper
             4, 2; Paper 27,
                         27, 2.
                             2.

                              C. Related Matters
                              C. Related Matters
      The
      The parties
          parties identify that two
                  identify that two patents that are
                                    patents that are related to the
                                                     related to the ’557
                                                                    '557 patent,
                                                                         patent,
U.S. Patent
U.S. Patent No.
            No. 10,842,787 (“the ’787
                10,842,787 ("the '787 patent”) and U.S.
                                      patent") and U.S. Patent
                                                        Patent No.
                                                               No.
10,940,145 (“the ’145
10,940,145 ("the '145 patent”), are the
                      patent"), are the subject
                                        subject of two co-pending
                                                of two co-pending requests
                                                                  requests
for
for inter partes review:
    inter partes         Eyenovia, Inc.
                 review: Eyenovia, Inc. v. Sydnexis, Inc.
                                        v. Sydnexis,        Case IPR2022-
                                                     Inc.,, Case IPR2022-
00384 (PTAB) (involving
00384 (PTAB) (involving the
                        the ’787
                            '787 patent) and Eyenovia,
                                 patent) and Eyenovia, Inc.
                                                       Inc. v. Sydnexis,
                                                            v. Sydnexis,
Inc.,, Case
Inc.        IPR2022-00414 (PTAB)
       Case IPR2022-00414 (PTAB) (involving
                                 (involving the
                                            the ’145
                                                '145 patent). Pet. 63;
                                                     patent). Pet. 63;
Paper 4,
Paper    2.
      4, 2.
      Petitioner also
      Petitioner also states that the
                      states that the ’557,
                                      '557, ’787, and ’145
                                            '787, and '145 patents
                                                           patents claim
                                                                   claim
dependency to the
dependency to the same application, 14/726,139
                  same application,            (“the ’139
                                    14/726,139 ("the      application”),
                                                     '139 application"),
which issued
which        as U.
      issued as U.S.  Patent No.
                   S. Patent No. 9,421,199 (“the ’199
                                 9,421,199 ("the '199 patent”). Pet. 63.
                                                      patent"). Pet. 63.
Petitioner states:
Petitioner states:
      The
      The ’199
          '199 patent  was challenged
                patent was challenged in  IPR2021-00439 filed
                                       in IPR2021-00439    filed on
                                                                  on
      February 3,
      February 3, 2021
                  2021 by
                       by Nevakar,
                          Nevakar, Inc.  who also
                                    Inc. who also filed
                                                  filed petitions
                                                        petitions in
                                                                  in


                                        3
                                        3
                                  Appx000111
                                  Appx000111
       Case: 23-2402      Document: 15         Page: 168    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      IPR2021-00440
      IPR2021-00440 challenging
                         challenging related     U.S. Patent
                                        related U.S.   Patent No.
                                                                No. 9,770,447
                                                                     9,770,447
      on February 17,
      on February        2021, IPR2021-00441
                     17, 2021,   IPR2021-00441 challenging
                                                    challenging related    U.S.
                                                                  related U.S.
      Patent No.
      Patent No. 10,076,515
                   10,076,515 on     March 3,
                                  on March    3, 2021,
                                                 2021, and
                                                         and IPR2021-00442
                                                              IPR2021-00442
      challenging
      challenging related    U.S.
                    related U.      Patent No.
                                 S. Patent  No. 10,201,534
                                                 10,201,534 on      March 18,
                                                                on March     18,
      2021 (collectively,
      2021  (collectively, the
                             the "Nevakar
                                   “Nevakar IPRs").
                                               IPRs”). All All of
                                                                of the
                                                                   the patents
                                                                        patents
      challenged  by the
      challenged by   the Nevakar
                          Nevakar IPRs
                                     IPRs also
                                           also claim   the benefit
                                                claim the   benefit of the ’139
                                                                    of the '139
      application,
      application, and
                    and all
                         all of the Nevakar
                             of the  Nevakar IPRs
                                               IPRs were     terminated based
                                                      were terminated    based
      on
      on an
         an underlying     settlement prior
             underlying settlement            to institution
                                        prior to               and before
                                                  institution and   before any
                                                                            any
      consideration
      consideration of   the cited
                      of the cited prior
                                    prior art by the
                                          art by the Board.
                                                      Board.
Pet. 63.
Pet. 63.
                               D. The
                               D. The ’557  Patent
                                       '557 Patent
      The
      The ’557
          '557 patent
               patent issued
                      issued on
                             on January
                                January 12, 2021, and
                                        12, 2021, and is titled "Ophthalmic
                                                      is titled “Ophthalmic
Composition.” Ex. 1001,
Composition." Ex  1001, codes (45), (54).
                        codes (45), (54). The
                                          The named
                                              named inventors are
                                                    inventors are
Gregory
Gregory I. Ostrow, Kenneth
        I. Ostrow, Kenneth J.
                           J. Widder, David S.
                              Widder, David    Baker, and
                                            S. Baker, and Harun
                                                          Harun Takruri.
                                                                Takruri.
Id. at code
Id. at      (72). The
       code (72). The ’557
                      '557 patent
                           patent claims
                                  claims priority to Application
                                         priority to Application No.
                                                                 No.
16/785,413.
16/785,413. See
            See id.
                id. at
                    at code (21).
                       code (21).
      The subject matter
      The subject matter of the ’557
                         of the '557 patent
                                     patent involves
                                            involves an ophthalmic
                                                     an ophthalmic
composition that includes
composition that          “a low
                 includes "a low concentration of an
                                 concentration of an ophthalmic
                                                     ophthalmic agent
                                                                agent for
                                                                      for
treatment of
treatment of an
             an ophthalmic
                ophthalmic disorder
                           disorder or
                                    or condition;
                                       condition; and
                                                  and an
                                                      an ophthalmically
                                                         ophthalmically
acceptable
acceptable carrier, wherein the
           carrier, wherein the ophthalmic
                                ophthalmic agent
                                           agent is
                                                 is distributed with
                                                    distributed with
substantial
substantial uniformity throughout the
            uniformity throughout the ophthalmically
                                      ophthalmically acceptable
                                                     acceptable carrier.”
                                                                carrier."
Ex. 1001,
Ex.       Abst., 10:57–64.
    1001, Abst., 10:57-64. The
                           The ’557
                               '557 patent also provides
                                    patent also          that the
                                                provides that the
ophthalmic agent may
ophthalmic agent may be
                     be aa muscarinic
                           muscarinic antagonist,
                                      antagonist, such
                                                  such as atropine or
                                                       as atropine or its
                                                                      its
pharmaceutically acceptable salts,
pharmaceutically acceptable salts, that
                                   that is
                                        is known to prevent
                                           known to         or arrest
                                                    prevent or arrest the
                                                                      the
development of myopia
development of myopia in
                      in humans.     at 10:64–65,
                                 Id. at
                         humans. Id.    10:64-65, 9:56–58,
                                                  9:56-58, 11:7–8.
                                                           11:7-8.
Myopia is
Myopia is characterized by an
          characterized by an axial
                              axial elongation
                                    elongation of the eye
                                               of the     that begins
                                                      eye that begins during
                                                                      during
grade school years
grade school years and
                   and progresses
                       progresses until growth of
                                  until growth of the
                                                  the eye
                                                      eye is
                                                          is complete.     at
                                                                       Id. at
                                                             complete. Id.
10:46–49.
10:46-49.




                                          44
                                   Appx000112
                                   Appx000112
        Case: 23-2402       Document: 15        Page: 169    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
        The
        The ’557
            '557 patent
                 patent describes
                        describes aa balance
                                     balance between
                                             between having
                                                     having aa stabilized
                                                               stabilized
ophthalmic
ophthalmic composition
           composition with an extended
                       with an extended shelf
                                        shelf life
                                              life for
                                                   for effective
                                                       effective delivery to
                                                                 delivery to
the patient
the patient and avoiding discomfort
            and avoiding discomfort such as pain
                                    such as pain or burning sensation
                                                 or burning sensation in the
                                                                      in the
eye of aa patient.
eye of             Id. at
          patient. Id.    9:47–13. For
                       at 9:47-13. For instance,
                                       instance, formulating
                                                 formulating aa liquid
                                                                liquid
muscarinic
muscarinic antagonist
           antagonist composition at aa lower
                      composition at    lower pH,
                                              pH, such
                                                  such as
                                                       as 4.5,
                                                          4.5, for
                                                               for stability
                                                                   stability of
                                                                             of
the composition
the composition may
                may cause
                    cause pain
                          pain or
                               or aa burning
                                     burning sensation
                                             sensation in the eye
                                                       in the eye of
                                                                  of aa patient
                                                                        patient
or
or elicit
   elicit aa tear
             tear response
                  response reducing the absorption
                           reducing the absorption and
                                                   and effectiveness of the
                                                       effectiveness of the
atropine.     at 10:9–16.
          Id. at
atropine. Id.    10:9-16.
        The
        The ’557
            '557 patent also recognizes
                 patent also            that using
                             recognizes that using lower
                                                   lower concentrations
                                                         concentrations of
                                                                        of
atropine,
atropine, e.g.
          e.g. 0.001% to 0.05%,
               0.001% to 0.05%, presents
                                presents stability
                                         stability challenges that are
                                                   challenges that are not
                                                                       not
found
found in
      in higher
         higher concentrations
                concentrations from
                               from 0.1 to 1%.
                                    0.1 to         at 10:17–21.
                                               Id. at
                                           1%. Id.    10:17-21. The
                                                                The
reasoning
reasoning for this difference
          for this difference in
                              in stability
                                 stability is
                                           is described as follows.
                                              described as follows.
               [T]he concentration
               [T]he    concentration ofof the
                                            the muscarinic
                                                 muscarinic antagonist
                                                               antagonist (e.g
                                                                           (e.g.
        atropine)
        atropine) inin some
                        some embodiments
                               embodiments affects      the pH
                                               affects the  pH oror pD
                                                                    pD of     the
                                                                         of the
        ophthalmic
        ophthalmic composition,       such as
                      composition, such        with the
                                           as with  the muscarinic
                                                         muscarinic antagonist
                                                                    antagonist
        acting  as aa buffering
        acting as     buffering agent.    Furthermore, the
                                  agent. Furthermore,     the concentration
                                                              concentration of of
        the muscarinic
        the               antagonist (e.g.
            muscarinic antagonist      (e.g. atropine)
                                             atropine) in
                                                        in some
                                                           some embodiments
                                                                 embodiments
        affects  the interaction
        affects the                 between the
                      interaction between     the muscarinic
                                                  muscarinic antagonist
                                                                antagonist and
                                                                             and
        other
        other ingredients
              ingredients of of the
                                the ophthalmic
                                     ophthalmic composition,
                                                  composition, which
                                                                 which in   turn
                                                                        in turn
        affects the stability
        affects the  stability of
                               of the
                                  the ophthalmic
                                      ophthalmic composition.
                                                   composition.
Id. at 10:25–33.
Id. at 10:25-33.
        The
        The ’557
            '557 patent
                 patent further
                        further explains that certain
                                explains that certain embodiments of the
                                                      embodiments of the
invention
invention may
          may further
              further comprise additional agents,
                      comprise additional agents, including
                                                  including an
                                                            an osmolarity
                                                               osmolarity
adjusting
adjusting agent,
          agent, aa preservative,
                    preservative, aa buffer
                                     buffer agent,
                                            agent, aa tonicity
                                                      tonicity adjusting
                                                               adjusting agent,
                                                                         agent, aa
pH adjusting agent,
pH adjusting agent, and
                    and aa pharmaceutically acceptable carrier.
                           pharmaceutically acceptable          Id. at
                                                       carrier. Id. at 7:47–
                                                                       7:47—
8:42.
8:42.

                               E. Illustrative
                               E. Illustrative Claims
                                               Claims
        Petitioner challenges
        Petitioner challenges claims
                              claims 1 through 77 and
                                     1 through    and 11 through 20
                                                      11 through 20 of the ’557
                                                                    of the '557
patent.
patent. Claim
        Claim 1, the sole
              1, the sole independent
                          independent claim
                                      claim challenged,
                                            challenged, is
                                                        is directed to aa
                                                           directed to

                                           55
                                    Appx000113
                                    Appx000113
         Case: 23-2402      Document: 15        Page: 170    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
method
method of treating the
       of treating the progression of myopia
                       progression of myopia or
                                             or reducing the progression
                                                reducing the progression
rate
rate of
     of myopia
        myopia in an individual.
               in an individual. See Ex. 1001,
                                 See Ex. 1001, 100:12–18.
                                               100:12-18.
        Claim
        Claim 1
              1 is
                is illustrative
                   illustrative of the method
                                of the        and recites:
                                       method and recites:
        1.
        1.    A method
              A          of treating
                 method of   treating progression
                                       progression ofof myopia
                                                         myopia or  or reducing
                                                                        reducing
              the progression
              the progression rate    of myopia
                                 rate of  myopia in   an individual
                                                   in an   individual in in need
                                                                            need
              thereof, comprising
              thereof,                 administering to
                        comprising administering         to anan eye
                                                                   eye of     the
                                                                          of the
              individual (a) an
              individual (a)  an aqueous
                                  aqueous solution
                                            solution comprising
                                                     comprising atropine       or
                                                                     atropine or
              atropine sulfate and
              atropine sulfate  and less  than about
                                     less than  about 10%
                                                      10% of of aa degradant
                                                                   degradant ofof
              atropine
              atropine or
                       or atropine    sulfate formed
                           atropine sulfate    formed from
                                                        from degradation
                                                               degradation of  of
              the atropine
              the atropine or
                           or atropine   sulfate and
                               atropine sulfate  and (b)
                                                      (b) aa buffering
                                                             buffering agent.
                                                                          agent.
Id. at 100:12–18.
Id. at 100:12-18.

                       F. Prior
                       F. Prior Art
                                Art and
                                    and Asserted
                                        Asserted Grounds
                                                 Grounds
        Petitioner argues
        Petitioner        that claims
                   argues that claims 1 through 77 and
                                      1 through    and 11 through 20
                                                       11 through 20 of
                                                                     of the
                                                                        the
’557
'557 patent
     patent are
            are unpatentable based on
                unpatentable based    the following
                                   on the following grounds:
                                                    grounds:
    Claim(s) Challenged
    Claim(s) Challenged        35 U.S.C.
                               35 U.S.C. §
                                         §              Reference(s)/Basis
                                                        Reference(s)/Basis
    1–7, 11–20
    1-7, 11-20                    103
                                  10322
                                                  Chia, Alcorn,4
                                                  Chia,'3
                                                         Akorn, 4 Kondritzer5
                                                                  Kondritzer 5




2
2 The  Leahy-Smith America
  The Leahy-Smith      America Invents     Act ("AIA"),
                                 Invents Act   (“AIA”), Pub.
                                                          Pub. L.L. No.
                                                                    No. 112-29,
                                                                        112-29, 125125
Stat. 284, 287-88
Stat. 284,  287–88 (2011),
                     (2011), amended
                               amended 35 35 U.
                                             U.S.C.
                                                S. C. §§
                                                      §§ 102,
                                                         102, 103,  and 112,
                                                               103, and   112,
effective  March 16,
effective March         2013. Because
                   16, 2013.    Because the
                                          the earliest application on
                                              earliest application      which the
                                                                    on which    the
’557
'557 patent
      patent claims
              claims priority   was filed
                      priority was         after the
                                     filed after the effective
                                                     effective date  of the
                                                                date of the AIA,
                                                                             AIA, we
                                                                                   we
apply  the AIA   version   of 35 U.S.C.   § 103.   See Ex. 1001,   codes
apply the AIA version of 35 U.S.C. § 103. See Ex 1001, codes (22), (60),   (22), (60),
(63).
(63).
3
  Audrey Chia
  Audrey   Chia et  al., Atropine
                 et al., Atropineforfor the
                                        the Treatment
                                            Treatment ofof Childhood    Myopia:
                                                           Childhood Myopia:
Safetyand   Efficacy   of 0.5%,  0.1%,   and 0.01%    Doses
Safetyand Efficacy of 0.5% 0.1%, and 0.01% Doses (Atropinefor(Atropine   for the
                                                                              the
Treatment    of Myopia 2),
Treatment ofMyopia        2), 119
                              119 O  PHTHALMOLOGY 347−54 (2012) (Ex. 1003,
                                  OPHTHALMOLOGY         347-54   (2012)   (Ex.  1003,
“Chia”).
"Chia").
4
  Atropine Sulfate
4 Atropine           Ophthalmic Solution),
             Sulfate Ophthalmic                 NDA 206289
                                     Solution), NDA    206289 Product
                                                                 Product Label
                                                                           Label
(Revised July
(Revised        2014) (Ex
           July 2014)    (Ex. 1004,  “Akorn”).
                              1004, "Alcorn").
5
  Albert A.
5 Albert A. Kondritzer
             Kondritzer &  & Peter
                              Peter Zvirblis,
                                     Zvirblis, Stability
                                               Stability of Atropine in
                                                         ofAtropine    in
           Solution, 46
Aqueous Solution,
Aqueous               46 J.  AM. PHARM.
                          J. AM.  P HARM. Assoc.
                                            ASSOC. 531−35     (1957) (Ex
                                                     531-35 (1957)    (Ex. 1005,
                                                                             1005,
“Kondritzer”).
"Kondritzer").

                                           66
                                    Appx000114
                                    Appx000114
         Case: 23-2402     Document: 15        Page: 171   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2

    Claim(s) Challenged
    Claim(s) Challenged       35 U.S.C.
                              35 U.S.C. §
                                        §              Reference(s)/Basis
                                                       Reference(s)/Basis
    1–7, 11–20
    1-7, 11-20                    103
                                  103            Chia, Akorn, Lund6
                                                 Chia, Alcorn, Lund 6
    1–7, 11–20
    1-7, 11-20                    103
                                  103            Akorn, Wu,
                                                 Alcorn,       Kondritzer
                                                         Wu,77 Kondritzer
         Petitioner submits
         Petitioner         the Declaration
                    submits the Declaration of
                                            of Stephen Byrn, Ph.D.,
                                               Stephen Byrn, Ph.D., in
                                                                    in support
                                                                       support
of
of its Petition. See
   its Petition.     Ex. 1002
                 See Ex       (“the Byrn
                         1002 ("the Byrn Declaration").
                                         Declaration”). Patent
                                                        Patent Owner
                                                               Owner
submits the Declaration
submits the Declaration of Paul A.
                        of Paul A. Laskar,
                                   Laskar, Ph.D.,
                                           Ph.D., in support of
                                                  in support of its Patent
                                                                its Patent
Owner Response. See
Owner Response.     Ex. 2003
                See Ex. 2003 ("the
                             (“the Laskar
                                   Laskar Declaration").
                                          Declaration”).
                                 II. ANALYSIS
                                 II. ANALYSIS
                              A. Principles
                              A. Principles of
                                            of Law
                                               Law
                                  1.
                                  1.      Burden
                                          Burden
        “In an
        "In    [inter partes
            an [inter partes review], the petitioner
                             review], the petitioner has the burden
                                                     has the burden from the
                                                                    from the
onset to show
onset to show with
              with particularity why the
                   particularity why the patent
                                         patent it
                                                it challenges
                                                   challenges is
                                                              is
unpatentable.” Harmonic Inc.
unpatentable." Harmonic Inc. v. Avid Tech.,
                             v. Avid        Inc., 815
                                     Tech., Inc.,     F.3d 1356,
                                                  815 F.3d 1356, 1363 (Fed.
                                                                 1363 (Fed.
Cir. 2016 (citing
Cir. 2016 (citing 35
                  35 U.S.C.
                     U.S.C. §§ 312(a)(3)
                               312(a)(3) (requiring
                                         (requiring inter partes review
                                                    inter partes review
petitions to identify
petitions to          “with particularity
             identify "with particularity .. .. .. the
                                                   the evidence that supports
                                                       evidence that          the
                                                                     supports the
grounds
grounds for the challenge
        for the           to each
                challenge to each claim”)).
                                  claim")). Therefore,
                                            Therefore, in an inter
                                                       in an       partes
                                                             inter partes
review, the burden
review, the burden of
                   of proof
                      proof is
                            is on the Petitioner
                               on the Petitioner to
                                                 to show
                                                    show that
                                                         that the
                                                              the challenged
                                                                  challenged
claims are unpatentable,
claims are               and that
           unpatentable, and that burden
                                  burden never
                                         never shifts to the
                                               shifts to the patentee.
                                                             patentee. See 35
                                                                       See 35
U.S.C. §§ 316(e);
U.S.C.    316(e); In
                  In re Magnum Oil
                     re Magnum Oil Tools        Ltd., 829
                                         Int’l, Ltd.,
                                   Tools Intl,            F.3d 1364,
                                                      829 F.3d 1364, 1375
                                                                     1375
(Fed. Cir.
(Fed. Cir. 2016)
           2016) (citing
                 (citing Dynamic
                         Dynamic Drinkware,
                                 Drinkware, LLC
                                            LLC v. Nat’l Graphics,
                                                v. Nat'l           Inc.,
                                                         Graphics, Inc.,
800 F.3d 1375,
800 F.3d 1375, 1378 (Fed. Cir.
               1378 (Fed. Cir. 2015)).
                               2015)).




6
6 Walter  Lund &
  Walter Lund   & Tor
                   Tor Waaler,
                       Waaler, The  Kinetics of
                                The Kinetics of Atropine
                                                Atropine and
                                                         and Apoatropine
                                                             Apoatropine in
                                                                         in
AqueousSolutions, 22
AqueousSolutions,       ACTA C
                     22 ACTA    HEM. S
                              CHEM.   CAND. 3085-97
                                     SCAND.  3085-97 (1968)
                                                      (1968) (Ex.
                                                             (Ex. 1007,
                                                                  1007,
“Lund”).
"Lund").
7 Wu
  Wu et
      et al., U.S. Patent
                   Patent Pub.
                          Pub. No.
                               No. 2007/0254914,
                                   2007/0254914, pub.   Nov. 1, 2007
7
         al., U.S.                                 pub. Nov. 1, 2007
(Ex. 1009,
(Ex.         “Wu”).
     1009, "Wu").

                                          77
                                   Appx000115
                                   Appx000115
        Case: 23-2402       Document: 15         Page: 172     Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2

                                 2.
                                 2.      Obviousness
                                         Obviousness
       To
       To ultimately
          ultimately prevail
                     prevail in
                             in its
                                its challenge to Patent
                                    challenge to Patent Owner's
                                                        Owner’s claims,
                                                                claims,
Petitioner must
Petitioner must demonstrate by aa preponderance
                demonstrate by                  of the
                                  preponderance of the evidence   that the
                                                       evidence'8 that the
claims are unpatentable.
claims are               35 U.
           unpatentable. 35 U.S.C.
                               S.C. § 316(e); 37
                                    § 316(e); 37 C.F.R.
                                                 C.F.R. §
                                                        § 42.1(d). A patent
                                                          42.1(d). A patent
claim
claim is
      is unpatentable
         unpatentable under 35 U.
                      under 35 U.S.C.
                                  S.C. §
                                       § 103
                                         103 if the differences
                                             if the             between the
                                                    differences between the
claimed
claimed subject
        subject matter and the
                matter and the prior art are
                               prior art are such
                                             such that
                                                  that the
                                                       the subject
                                                           subject matter
                                                                   matter as
                                                                          as aa
whole would have
whole would      been obvious
            have been         at the
                      obvious at the time
                                     time the
                                          the invention was made
                                              invention was      to aa
                                                            made to
person
person having
       having ordinary skill in
              ordinary skill    the art
                             in the art to
                                        to which
                                           which said
                                                 said subject
                                                      subject matter
                                                              matter pertains
                                                                     pertains
(“POSA”
("P      or "POSITA").
    OSA" or “POSITA”). KSR
                       KSR Int
                           Int’l
                               1 Co.
                                 Co. v.
                                     v. Teleflex Inc., 550
                                        Teleflex Inc.,     U.S. 398,
                                                       550 U.S. 398, 406
                                                                     406
(2007). The
(2007). The question
            question of
                     of obviousness
                        obviousness is
                                    is resolved on the
                                       resolved on the basis
                                                       basis of
                                                             of underlying
                                                                underlying
factual
factual determinations
        determinations including: (1) the
                       including: (1) the scope and content
                                          scope and         of the
                                                    content of the prior art;
                                                                   prior art;
(2) any
(2) any differences between the
        differences between the claimed subject matter
                                claimed subject matter and the prior
                                                       and the       art;
                                                               prior art;
(3) the
(3) the level of ordinary
        level of ordinary skill
                          skill in the art;
                                in the art; and (4) objective
                                            and (4) objective evidence
                                                              evidence of
                                                                       of
nonobviousness.
nonobviousness. Graham
                Graham v. John Deere
                       v. John Deere Co., 383 U.S.
                                     Co., 383 U.S. 1, 17–18 (1966).
                                                   1, 17-18 (1966).
       In
       In determining
          determining obviousness
                      obviousness when
                                  when all
                                       all elements of aa claim
                                           elements of    claim are
                                                                are found
                                                                    found in
                                                                          in
various pieces
various        of prior
        pieces of       art, "the
                  prior art, “the factfinder must further
                                  factfinder must further consider the factual
                                                          consider the factual
questions
questions of whether aa person
          of whether           of ordinary
                        person of ordinary skill
                                           skill in the art
                                                 in the art would be motivated
                                                            would be motivated
to combine
to         those references,
   combine those             and whether
                 references, and whether in
                                         in making that combination,
                                            making that combination, aa
person
person of
       of ordinary skill would
          ordinary skill would have
                               have had
                                    had aa reasonable
                                           reasonable expectation of
                                                      expectation of
success.” Dome Patent
success." Dome Patent L.P.
                      L.P. v. Lee, 799
                           v. Lee,     F.3d 1372,
                                   799 F.3d 1372, 1380 (Fed. Cir.
                                                  1380 (Fed.      2015);
                                                             Cir. 2015);
see also
see also WMS
         WMS Gaming, Inc. v.
             Gaming, Inc.    Int’l Game
                          v. Int'l      Tech., 184
                                   Game Tech.,     F.3d 1339,
                                               184 F.3d 1339, 1355 (Fed.
                                                              1355 (Fed.
Cir.
Cir. 1999) (“When an
     1999) ("When an obviousness
                     obviousness determination
                                 determination relies
                                               relies on the combination
                                                      on the combination



8 The
8
      burden of
  The burden   of showing
                   showing something
                             something by  by aa preponderance
                                                 preponderance of     the evidence
                                                                   of the  evidence
requires the trier
requires the trier of
                    of fact to believe
                       fact to believe that
                                         that the
                                              the existence
                                                  existence of
                                                             of aa fact
                                                                   fact is
                                                                        is more
                                                                            more
probable  than its
probable than   its nonexistence     before the
                    nonexistence before     the trier
                                                 trier of
                                                       of fact
                                                          fact may
                                                               may find
                                                                     find in
                                                                           in favor  of
                                                                              favor of
the party
the party who
          who carries    the burden.
                carries the  burden. Concrete       Pipe &
                                         Concrete Pipe       Prods. of
                                                          & Prods.      Cal., Inc.
                                                                      ofCal.,   Inc. v.
                                                                                     v.
Constr.  Laborers Pension
Constr. Laborers     Pension Tr.    for S.
                               Tr. for     Cal., 508
                                        S. Cal.,      U.S. 602,
                                                 508 U.S.   602, 622   (1993).
                                                                  622 (1993).

                                            88
                                      Appx000116
                                      Appx000116
       Case: 23-2402       Document: 15          Page: 173     Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
of two or
of two or more
          more references, there must
               references, there      be some
                                 must be some suggestion
                                              suggestion or
                                                         or motivation to
                                                            motivation to
combine the references.”).
combine the                “Both the
            references."). "Both the suggestion
                                     suggestion and the expectation
                                                and the             of
                                                        expectation of
success
success must be founded
        must be founded in the prior
                        in the       art, not
                               prior art, not in the applicant’s
                                              in the applicant's disclosure.”
                                                                 disclosure."
In re
In    Dow Chemical
   re Dow          Co., 837
          Chemical Co.,     F.2d 469,
                        837 F.2d 469, 473 (Fed. Cir.
                                      473 (Fed. Cir. 1988); see also
                                                     1988); see also In
                                                                     In re
                                                                        re
Magnum Oil
Magnum     Tools, 829
       Oil Tools,     F.3d at
                  829 F.3d at 1381 (finding aa party
                              1381 (finding          that petitions
                                               party that           the
                                                          petitions the
Board for
Board for aa determination of unpatentability
             determination of                 based on
                              unpatentability based on obviousness
                                                       obviousness must
                                                                   must
show that "a
show that “a skilled
             skilled artisan
                     artisan would
                             would have been motivated
                                   have been           to combine
                                             motivated to         the
                                                          combine the
teachings of
teachings    the prior
          of the prior art
                       art references to achieve
                           references to         the claimed
                                         achieve the claimed invention, and
                                                             invention, and
that the
that the skilled
         skilled artisan
                 artisan would
                         would have
                               have had
                                    had aa reasonable
                                           reasonable expectation of success
                                                      expectation of success in
                                                                             in
doing so.”) (internal
doing so.") (internal quotations and citations
                      quotations and citations omitted).
                                               omitted).
      An obviousness
      An obviousness analysis
                     analysis "need
                              “need not seek out
                                    not seek out precise teachings directed
                                                 precise teachings directed
to the
to the specific
       specific subject
                subject matter of the
                        matter of the challenged
                                      challenged claim,
                                                 claim, for
                                                        for aa court
                                                               court can take
                                                                     can take
account of the
account of the inferences and creative
               inferences and creative steps that aa person
                                       steps that           of ordinary
                                                     person of ordinary skill
                                                                        skill in
                                                                              in
the art
the art would
        would employ.” KSR, 550
              employ." KSR,     U.S.
                            550 U.    at 418;
                                   S. at 418; see
                                              see In
                                                  In re
                                                     re Translogic
                                                        Translogic Tech,
                                                                   Tech,
Inc., 504
Inc.,     F.3d 1249,
      504 F.3d       1259 (Fed.
               1249, 1259 (Fed. Cir. 2007). In
                                Cir. 2007).         the Supreme
                                               KSR, the
                                            In KSR,             Court also
                                                        Supreme Court also
stated that an
stated that an invention may be
               invention may be found
                                found obvious
                                      obvious if trying aa course
                                              if trying    course of
                                                                  of conduct
                                                                     conduct
would
would have been obvious
      have been         to aa POSITA:
                obvious to    POSITA:
             When
             When therethere is
                             is aa design
                                   design need
                                            need or
                                                  or market
                                                     market pressure
                                                              pressure toto solve
                                                                            solve aa
      problem  and there
      problem and       there are
                              are aa finite
                                     finite number
                                             number of of identified,
                                                          identified, predictable
                                                                       predictable
      solutions,
      solutions, aa person
                      person ofof ordinary
                                   ordinary skill
                                              skill has
                                                     has good
                                                         good reason
                                                                reason toto pursue
                                                                             pursue
      the known
      the known options       within his
                    options within     his or
                                           or her  technical grasp.
                                              her technical   grasp. If
                                                                      If this
                                                                         this leads
                                                                              leads
      to the
      to  the anticipated
              anticipated success,
                                success, it it is
                                                is likely   the product
                                                   likely the    product notnot ofof
      innovation
      innovation but  but of
                           of ordinary     skill and
                              ordinary skill      and common
                                                       common sense.
                                                                   sense. In    that
                                                                            In that
      instance the fact
      instance the          that aa combination
                       fact that     combination was  was obvious
                                                           obvious toto try
                                                                         try might
                                                                              might
      show  that itit was
      show that       was obvious
                           obvious under
                                      under §§ 103.
                                                103.
550 U.S.
550 U.    at 421.
       S. at 421. Section
                  Section 103 “bars patentability
                          103 "bars patentability unless
                                                  unless ‘the
                                                         `the improvement
                                                              improvement is
                                                                          is
more than the
more than the predictable use of
              predictable use of prior
                                 prior art
                                       art elements according to
                                           elements according to their
                                                                 their
established
established functions.’”  In re
            functions. '" In    Kubin, 561
                             re Kubin,     F.3d 1351,
                                       561 F.3d 1351, 1359–60 (Fed. Cir.
                                                      1359-60 (Fed. Cir.
2009) (citing
2009) (citing KSR,
              KSR, 550 U.S. at
                   550 U.S. at 417).
                               417).


                                            99
                                    Appx000117
                                    Appx000117
       Case: 23-2402      Document: 15      Page: 174    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      We analyze the
      We analyze the asserted
                     asserted grounds of unpatentability
                              grounds of unpatentability in accordance with
                                                         in accordance with
the above-stated
the above-stated principles.
                 principles.

                     B. Level
                     B. Level of
                              of Ordinary Skill in
                                 Ordinary Skill in the Art
                                                   the Art
      We
      We consider the asserted
         consider the asserted grounds of unpatentability
                               grounds of unpatentability in view of
                                                          in view    the
                                                                  of the
understanding of aa person
understanding of    person of
                           of ordinary
                              ordinary skill
                                       skill in the art.
                                             in the art. KSR,
                                                         KSR, 550 U.S. at
                                                              550 U.S. at 399
                                                                          399
(stating that
(stating that obviousness
              obviousness is
                          is determined against the
                             determined against the backdrop
                                                    backdrop of the scope
                                                             of the scope and
                                                                          and
content of the
content of the prior art, the
               prior art, the differences between the
                              differences between the prior art and
                                                      prior art     the claims
                                                                and the claims
at
at issue, and the
   issue, and the level of ordinary
                  level of          skill in
                           ordinary skill    the art).
                                          in the art). Factual
                                                       Factual indicators of the
                                                               indicators of the
level of ordinary
level of ordinary skill
                  skill in the art
                        in the art include “the various
                                   include "the various prior
                                                        prior art approaches
                                                              art approaches
employed, the types
employed, the types of
                    of problems
                       problems encountered
                                encountered in the art,
                                            in the art, the
                                                        the rapidity with
                                                            rapidity with
which
which innovations are made,
      innovations are       the sophistication
                      made, the                of the
                                sophistication of the technology
                                                      technology involved,
                                                                 involved,
and the educational
and the             background of
        educational background of those
                                  those actively
                                        actively working
                                                 working in the field.”
                                                         in the field."
Jacobson Bros.,
Jacobson Bros., Inc.
                Inc. v. U.S., 512
                     v. U.S.,     F.2d 1065,
                              512 F.2d 1065, 1071 (Ct. Cl.
                                             1071 (Ct. Cl. 1975); see also
                                                           1975); see also
Orthopedic Equip. Co.
Orthopedic Equip. Co. v. U.S., 702
                      v. U.S.,     F.2d 1005,
                               702 F.2d 1005, 1011 (Fed. Cir.
                                              1011 (Fed. Cir. 1983)
                                                              1983)
(quoting with
(quoting with approval Jacobson Bros.).
              approval Jacobson Bros.).
       Petitioner asserts
       Petitioner asserts that
                          that "[a]
                               “[a] person of ordinary
                                    person of ordinary skill
                                                       skill in the art
                                                             in the art
(‘POSA’) at
(TOSA')     the time
         at the time of the purported
                     of the purported invention would have
                                      invention would have had
                                                           had aa Ph.D.
                                                                  Ph.D. in
                                                                        in
chemistry, organic chemistry,
chemistry, organic chemistry, physical
                              physical chemistry,
                                       chemistry, or
                                                  or pharmaceutics, with
                                                     pharmaceutics, with
several years
several years of
              of experience
                 experience preparing
                            preparing and/or testing pharmaceutical
                                      and/or testing pharmaceutical
formulations.” Pet. 22
formulations." Pet. 22 (citing
                       (citing Ex.
                               Ex. 1002
                                   1002 ¶¶ 61–62). Petitioner further
                                           61-62). Petitioner further
contends that "[a]
contends that “[a] P
                   POSA
                     OSA would have been
                         would have been familiar with common
                                         familiar with common inactive
                                                              inactive
ingredients
ingredients used
            used in aqueous pharmaceutical
                 in aqueous pharmaceutical formulations and the
                                           formulations and the basic
                                                                basic
characteristics
characteristics of aqueous formulations
                of aqueous              such as
                           formulations such as stability,
                                                stability, and
                                                           and would
                                                               would have
                                                                     have
had
had knowledge about drug
    knowledge about drug degradation
                         degradation kinetics.” Id.
                                     kinetics." Id.
      Patent Owner
      Patent       asserts that
             Owner asserts that aa narrower
                                   narrower definition
                                            definition of
                                                       of aa POSA
                                                             POSA should
                                                                  should be
                                                                         be
employed—one that includes
employed one that includes expertise
                           expertise in ophthalmic formulation.
                                     in ophthalmic formulation.


                                       10
                                       10
                                  Appx000118
                                  Appx000118
       Case: 23-2402     Document: 15       Page: 175    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
PO Resp.
PO Resp. 4.    Patent Owner
         4. 99 Patent       states that
                      Owner states that Petitioner's
                                        Petitioner’s declarant, Dr. Byrn,
                                                     declarant, Dr. Byrn, has
                                                                          has
“extremely limited
"extremely limited experience with ophthalmic
                   experience with ophthalmic formulation,”
                                              formulation," which “calls
                                                            which "calls
into
into serious
     serious question whether he
             question whether he is
                                 is qualified to opine
                                    qualified to opine on the perspective
                                                       on the perspective of
                                                                          of aa
POSA
P OSA in the relevant
      in the relevant field.”     at 5.
                              Id. at
                      field." Id.    5.
       We
       We do
          do not agree with
             not agree with Patent
                            Patent Owner
                                   Owner that
                                         that the
                                              the level
                                                  level of
                                                        of ordinary
                                                           ordinary skill
                                                                    skill in
                                                                          in
the art
the art should be limited
        should be         to experience
                  limited to            with ophthalmic
                             experience with ophthalmic formulation.
                                                        formulation. The
                                                                     The
claims at issue
claims at issue generally
                generally recite
                          recite aa method
                                    method for treating myopia
                                           for treating        by
                                                        myopia by
administering to
administering to the
                 the eye an aqueous
                     eye an aqueous ophthalmic
                                    ophthalmic formulation of atropine
                                               formulation of atropine or
                                                                       or
atropine sulfate
atropine         and buffer
         sulfate and buffer that
                            that has
                                 has less than 10%
                                     less than 10% of
                                                   of aa degradant of atropine
                                                         degradant of atropine
or atropine
or          sulfate. See
   atropine sulfate.     Ex. 1001,
                     See Ex. 1001, 100:12–18 (claim 1).
                                   100:12-18 (claim     As Dr.
                                                    1). As Dr. Byrn
                                                               Byrn points
                                                                    points
out, the
out, the technology
         technology surrounding
                    surrounding use of atropine,
                                use of atropine, aa nonselective
                                                    nonselective muscarinic
                                                                 muscarinic
antagonist, to
antagonist, to treat
               treat myopia,
                     myopia, has been extensively
                             has been             studied for
                                      extensively studied     over aa hundred
                                                          for over    hundred
years and
years and is
          is known
             known as “the oldest
                   as "the oldest and most effective
                                  and most effective pharmacological
                                                     pharmacological
treatment to
treatment to inhibit the development
             inhibit the development of
                                     of myopia.”     Ex. 1002
                                                 See Ex
                                        myopia." See     1002 ¶ 26
                                                                26
(quoting Ex.
(quoting Ex. 1008,
             1008, 1) (citing Ex.
                   1) (citing Ex. 1003,
                                  1003, 1; Ex. 1012,
                                        1; Ex.       2). The
                                               1012, 2). The degradation of
                                                             degradation of
atropine is
atropine    also well
         is also well known to primarily
                      known to primarily result
                                         result from
                                                from cleavage
                                                     cleavage of the acyl-
                                                              of the acyl-
oxygen bond
oxygen bond during
            during ester
                   ester hydrolysis,     id. ¶ 43
                                     see id.
                         hydrolysis, see          (citing Ex
                                               43 (citing Ex. 1017,
                                                              1017, 1;
                                                                    1;
Ex. 1024,
Ex. 1024, 5), with the
          5), with the rate
                       rate of acid-catalyzed reaction
                            of acid-catalyzed          being much
                                              reaction being much slower
                                                                  slower
than that
than that of the base-catalyzed
          of the base-catalyzed reaction,
                                reaction, leading to stability
                                          leading to           of atropine
                                                     stability of          at aa
                                                                  atropine at
lower
lower pH
      pH range (pH <
         range (pH < ~3),     id. ¶ 45
                          see id.
                     —3), see          (citing Ex.
                                    45 (citing Ex. 1005,
                                                   1005, 1,
                                                         1, 4–5).
                                                            4-5).
Concerning specifically
Concerning              the use
           specifically the use of atropine in
                                of atropine    the eye,
                                            in the      Dr. Byrn
                                                   eye, Dr. Byrn points
                                                                 points out
                                                                        out
that itit is
that      is well
             well known that ophthalmic
                  known that            solutions should
                             ophthalmic solutions        be "formulated
                                                  should be “formulated to
                                                                        to be
                                                                           be
sterile, isotonic
sterile,          and buffered
         isotonic and buffered for stability and
                               for stability and comfort.”     Ex. 1002
                                                           See Ex.
                                                 comfort." See     1002 ¶ 47
                                                                          47
(quoting Ex.
(quoting Ex. 1019,
             1019, 52) (noting Ex
                   52) (noting Ex. 1019,
                                   1019, 54 (pH of
                                         54 (pH    tear fluid
                                                of tear fluid is
                                                              is 7.4).
                                                                 7.4).

9
9Although Patent
 Although    Patent Owner
                    Owner disagrees   with Petitioner's
                            disagrees with Petitioner’s definition of aa P
                                                        definition of    POSA,
                                                                           OSA,
Patent Owner
Patent Owner does
               does not
                     not provide
                         provide its own definition
                                 its own             apart from
                                          definition apart from including
                                                                 including
expertise
expertise in
          in ophthalmic
             ophthalmic formulation.        PO Resp.
                                       See PO
                          formulation. See       Resp. 4–7.
                                                       4-7.

                                       11
                                       11
                                 Appx000119
                                 Appx000119
       Case: 23-2402     Document: 15       Page: 176   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      None of
      None of this
              this chemistry
                   chemistry concerning the stability
                             concerning the           of atropine
                                            stability of atropine or
                                                                  or its
                                                                     its
administration in
administration    the eye
               in the eye is
                          is remarkable or not
                             remarkable or not well
                                               well understood by aa POSA
                                                    understood by    POSA as
                                                                          as
defined by Petitioner.
defined by Petitioner. See PO Resp.
                       See PO Resp. 10 (stating "the
                                    10 (stating “the stability of atropine
                                                     stability of atropine
was understood
was            to be
    understood to be aa ‘predictable
                        `predictable function,’
                                     function,' and
                                                and aa ‘routine matter,’ of
                                                       `routine matter,' of
temperature and
temperature and solution
                solution pH”),
                         pH"), 41–42 (same). We
                               41-42 (same).    see no
                                             We see no reason why
                                                       reason why
someone with
someone with drug
             drug formulation
                  formulation experience, but not
                              experience, but     specific experience
                                              not specific            with
                                                           experience with
ophthalmic solutions,
ophthalmic            would not
           solutions, would not qualify as aa POSA.
                                qualify as    POSA. Therefore, we continue
                                                    Therefore, we continue
to apply
to apply Petitioner's
         Petitioner’s definition of aa P
                      definition of    POSA
                                         OSA in this final
                                             in this       written decision.
                                                     final written decision.

                           C.
                           C. Claim
                              Claim Construction
                                    Construction
      The Board applies
      The Board applies the
                        the same
                            same claim
                                 claim construction
                                       construction standard that would
                                                    standard that would be
                                                                        be
used to construe
used to          the claim
        construe the claim in
                           in aa civil action under
                                 civil action under 35
                                                    35 U.S.C.
                                                       U.S.C. §§ 282(b).
                                                                 282(b).
37 C.F.R.
37 C.F.R. §§ 100(b)
             100(b) (2019).
                    (2019). Under
                            Under that
                                  that standard,
                                       standard, claim terms "are
                                                 claim terms “are generally
                                                                  generally
given their ordinary
given their ordinary and
                     and customary meaning” as
                         customary meaning" as understood
                                               understood by
                                                          by aa person of
                                                                person of
ordinary
ordinary skill
         skill in the art
               in the art at the time
                          at the time of the invention.
                                      of the            Phillips v.
                                             invention. Phillips    AWH Corp.,
                                                                 v. AWH Corp. ,
415 F.3d 1303,
415 F.3d 1303, 1312–13 (Fed. Cir.
               1312-13 (Fed. Cir. 2005)
                                  2005) (en
                                        (en banc)
                                            banc) (quoting
                                                  (quoting Vitronics
                                                           Vitronics Corp.
                                                                     Corp.
v.
v. Conceptronic,       90 F.3d
                 Inc., 90
   Conceptronic, Inc.,    F.3d 1576,
                               1576, 1582 (Fed. Cir.
                                     1582 (Fed. Cir. 1996)). “In
                                                     1996)). "In
determining the meaning
determining the         of the
                meaning of the disputed
                               disputed claim
                                        claim limitation, we look
                                              limitation, we look
principally to the
principally to the intrinsic
                   intrinsic evidence of record,
                             evidence of record, examining the claim
                                                 examining the claim language
                                                                     language
itself, the written
itself, the written description, and the
                    description, and the prosecution
                                         prosecution history,
                                                     history, if
                                                              if in
                                                                 in evidence.”
                                                                    evidence."
DePuy Spine,
DePuy Spine, Inc.
             Inc.v.  Medtronic Sofamor
                  v. Medtronic Sofamor Danek, Inc.,, 469
                                       Danek, Inc.       F.3d 1005,
                                                     469 F.3d 1005, 1014
                                                                    1014
(Fed. Cir.
(Fed. Cir. 2006)
           2006) (citing
                 (citing Phillips,
                         Phillips, 415 F.3d at
                                   415 F.3d at 1312-17).
                                               1312–17).
      Petitioner states
      Petitioner        that "[f]
                 states that “[f]or the purposes
                                 or the purposes of this proceeding
                                                 of this            only,
                                                         proceeding only,
Petitioner does
Petitioner does not believe that
                not believe that any
                                 any claim terms need
                                     claim terms      to be
                                                 need to be construed.”
                                                            construed."
Pet. 22.
Pet. 22. Patent
         Patent Owner “agrees that
                Owner "agrees that the
                                   the claims
                                       claims should be understood
                                              should be understood
according to their
according to their ordinary and customary
                   ordinary and customary meaning.” PO Resp.
                                          meaning." PO Resp. 25.
                                                             25. In
                                                                 In reply,
                                                                    reply,
Petitioner asserts
Petitioner         that the
           asserts that the ordinary
                            ordinary meaning of "about"
                                     meaning of “about” is “approximately,”
                                                        is "approximately,"


                                       12
                                       12
                                 Appx000120
                                 Appx000120
       Case: 23-2402     Document: 15       Page: 177   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
and the ordinary
and the ordinary meaning
                 meaning of “buffering agent”
                         of "buffering agent" or “buffer” "is
                                              or "buffer" “is nothing
                                                              nothing more
                                                                      more
than an
than an excipient that helps
        excipient that helps control
                             control pH.” Reply 2.
                                     pH." Reply 2. Petitioner
                                                   Petitioner asserts
                                                              asserts that
                                                                      that
Patent Owner
Patent       agrees with
       Owner agrees with the
                         the definition
                             definition of “buffering agent”
                                        of "buffering        and "buffer"
                                                      agent" and “buffer” by
                                                                          by
stating that "[t]he
stating that “[t]he patent
                    patent uses terms buffer
                           uses terms buffer and
                                             and buffering
                                                 buffering in their normal
                                                           in their normal
sense, which entails
sense, which entails providing
                     providing pH
                               pH control
                                  control or maintenance.” Id.
                                          or maintenance."     (quoting PO
                                                           Id. (quoting PO
Resp. 29).
Resp. 29).
      Based upon
      Based      our review
            upon our review of the evidence
                            of the          of record,
                                   evidence of         we determine
                                               record, we           that
                                                          determine that
no
no claim terms require
   claim terms require express
                       express construction. See Nidec
                               construction. See Nidec Motor
                                                       Motor Corp.
                                                             Corp. v.
                                                                   v.
Zhongshan Broad
Zhongshan Broad Ocean       Co., 868
                      Motor Co.,
                Ocean Motor          F.3d
                                 868 F. 3d 1013,
                                           1013, 1017 (Fed. Cir.
                                                 1017 (Fed. Cir. 2017)
                                                                 2017)
(Only those
(Only those terms
            terms that
                  that are
                       are in
                           in controversy
                              controversy need be construed,
                                          need be            “and only
                                                  construed, "and      to
                                                                  only to
the extent
the extent necessary to resolve
           necessary to         the controversy.”).
                        resolve the                 Insofar as
                                    controversy."). Insofar as the
                                                               the parties
                                                                   parties
dispute
dispute whether Akorn discloses
        whether Alcorn discloses aa buffer,
                                    buffer, we
                                            we address
                                               address those
                                                       those contentions
                                                             contentions in
                                                                         in
our discussion
our            below of
    discussion below    the challenged
                     of the challenged claims.
                                       claims.

             D. Obviousness
             D.             over Chia,
                Obviousness over       Akorn, and
                                 Chia, Akorn, and Kondritzer
                                                  Kondritzer
      Petitioner asserts
      Petitioner         that claims
                 asserts that claims 11 through
                                        through 77 and
                                                   and 11 through 20
                                                       11 through 20 would
                                                                     would
have been obvious
have been obvious over the combined
                  over the          teachings of
                           combined teachings of Chia, Akorn, and
                                                 Chia, Alcorn, and
Kondritzer. Pet.
Kondritzer. Pet. 23-42.
                 23–42. In
                        In addition
                           addition to
                                    to challenging the public
                                       challenging the public availability of
                                                              availability of
Akorn, Patent
Alcorn, Patent Owner
               Owner disagrees and states
                     disagrees and        that the
                                   states that the Alcorn
                                                   Akorn reference  “does not
                                                          reference "does not
disclose the phosphate
disclose the phosphate salts are buffering
                       salts are buffering agents.
                                           agents. Nor
                                                   Nor does
                                                       does itit disclose that
                                                                 disclose that
the Alcorn
the Akorn product
           product has
                   has aa pH
                          pH range of 3.5-6.0.
                             range of 3.5–6.0. Each
                                               Each of these failures
                                                    of these failures is
                                                                      is case-
                                                                         case-
dispositive.” PO Resp.
dispositive." PO Resp. 1.
                       1.

                             1. Chia
                             1. Chia (Ex. 1003)
                                     (Ex. 1003)
      Chia
      Chia is
           is aa journal
                 journal article that describes
                         article that describes two
                                                two studies
                                                    studies regarding the
                                                            regarding the
treatment of
treatment of myopia
             myopia using
                    using atropine
                          atropine eyedrops. Ex. 1003,
                                   eyedrops. Ex  1003, 1. In the
                                                       1. In the first
                                                                 first study,
                                                                       study,
Atropine for
Atropine     the Treatment
         for the           of Myopia
                 Treatment of Myopia 11 ("ATOM1"),
                                        (“ATOM1”), itit was
                                                        was shown
                                                            shown that
                                                                  that
atropine
atropine 1%
         1% eyedrops were effective
            eyedrops were effective in
                                    in controlling
                                       controlling myopic
                                                   myopic progression but
                                                          progression but

                                       13
                                       13
                                 Appx000121
                                 Appx000121
       Case: 23-2402     Document: 15       Page: 178    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
with visual side
with visual side effects
                 effects resulting
                         resulting from
                                   from cycloplegia and mydriasis.
                                        cycloplegia and mydriasis. Id.
                                                                   Id. The
                                                                       The
second study described
second study described in Chia, Atropine
                       in Chia, Atropine for the Treatment
                                         for the           of Myopia
                                                 Treatment of Myopia 22
(“ATOM2”), compared
("ATOM2"),          the efficacy
           compared the efficacy and visual side
                                 and visual side effects
                                                 effects of
                                                         of 33 lower
                                                               lower doses
                                                                     doses
of atropine: 0.5%,
of atropine: 0.5%, 0.1%, and 0.01%.
                   0.1%, and        Id. The
                             0.01%. Id.     authors of
                                        The authors of Chia
                                                       Chia conclude
                                                            conclude
“[a]tropine 0.01%
"[a]tropine 0.01% has
                  has minimal side effects
                      minimal side effects compared
                                           compared with atropine at
                                                    with atropine at 0.1%
                                                                     0.1%
and
and 0.5%, and retains
    0.5%, and retains comparable
                      comparable efficacy
                                 efficacy in
                                          in controlling
                                             controlling myopia
                                                         myopia
progression.” Id.
progression." Id.
      Chia
      Chia notes that atropine,
           notes that atropine, aa nonspecific muscarinic antagonist,
                                   nonspecific muscarinic antagonist, at
                                                                      at 1.0%
                                                                         1.0%
and
and 0.5%
    0.5% has been shown
         has been       to be
                  shown to be effective
                              effective in slowing myopia
                                        in slowing myopia progression, but
                                                          progression, but
its
its safety
    safety profile
           profile regarding
                   regarding pupil size and
                             pupil size     accommodation was
                                        and accommodation was aa concern.
                                                                 concern.
Ex. 1003,
Ex. 1003, 6. Chia states:
          6. Chia states:
      Every unit
      Every   unit increase
                    increase in
                             in pupil
                                 pupil size
                                         size results
                                               results in  an exponential
                                                        in an   exponential
      increase
      increase in  the amount
               in the  amount ofof light
                                   light entering   the eye,
                                          entering the   eye, and   this can
                                                               and this  can
      cause
      cause glare and potential
            glare and  potential phototoxicity.    Atropine also
                                 phototoxicity. Atropine    also decreases
                                                                  decreases
      accommodation     amplitude and
      accommodation amplitude      and near   vision so
                                        near vision  so that
                                                         that children  may
                                                              children may
      require bifocal or
      require bifocal or progressive
                         progressive glasses   to read.
                                      glasses to  read. The
                                                         The ideal  atropine
                                                              ideal atropine
      dose would be
      dose would    be one
                       one with  the best
                           with the  best balance
                                           balance between
                                                    between efficacy     and
                                                               efficacy and
      safety.
      safety.
Id.
Id.
      To
      To explore the ideal
         explore the       atropine dose,
                     ideal atropine       Chia performed
                                    dose, Chia           the ATOM2
                                               performed the ATOM2 study
                                                                   study
using
using 0.01% atropine as
      0.01% atropine as aa potential
                           potential control
                                     control due to its
                                             due to     assumed minimal
                                                    its assumed minimal
effect. Ex. 1003,
effect. Ex. 1003, 7.
                  7. Chia
                     Chia found that "contrary
                          found that “contrary to
                                               to expectations, atropine
                                                  expectations, atropine
0.01% also had
0.01% also had significant
               significant clinical
                           clinical effects
                                    effects as
                                            as evidence by its
                                               evidence by its effect
                                                               effect on
                                                                      on
myopia
myopia progression,
       progression, accommodation, and pupil
                    accommodation, and       size.” Id.
                                       pupil size."     In comparing
                                                    Id. In           the
                                                           comparing the
0.01% atropine dose
0.01% atropine      to the
               dose to the 0.5% and the
                           0.5% and the 0.1%
                                        0.1% doses, Chia found
                                             doses, Chia       “the
                                                         found "the
difference
difference in
           in myopia
              myopia progression at 22 years
                     progression at    years in the 0.01%
                                             in the 0.01% group was
                                                          group was
statistically
statistically significant
              significant compared with the
                          compared with the 0.5%
                                            0.5% group. Likewise, the
                                                 group. Likewise, the
difference
difference in
           in axial
              axial length
                    length increase
                           increase was statistically larger
                                    was statistically        than in
                                                      larger than    both the
                                                                  in both the
0.1% and 0.5%
0.1% and 0.5% groups. However, absolute
              groups. However, absolute differences between groups
                                        differences between        were
                                                            groups were


                                       14
                                       14
                                 Appx000122
                                 Appx000122
        Case: 23-2402        Document: 15         Page: 179      Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
clinically
clinically small
           small .. .. .. ."
                          .” Id. Chia did
                             Id. Chia did note that no
                                          note that    other atropine
                                                    no other atropine 0.01%
                                                                      0.01% studies
                                                                            studies
were available for
were available for direct
                   direct comparison, but Chia
                          comparison, but Chia did
                                               did compare the data
                                                   compare the      to aa
                                                               data to
study 10
study10  testing 0.05%
         testing 0.05% atropine and aa study"
                       atropine and    study 11 testing
                                                testing 0.025% atropine. Id.
                                                        0.025% atropine. Id.
       Although Chia
       Although Chia found that "[o]verall,
                     found that “[o]verall, atropine-related
                                            atropine-related adverse
                                                             adverse effects
                                                                     effects
were
were uncommon at the
     uncommon at the 0.01%
                     0.01% dose
                           dose .. .. .. [t]here
                                         [t]here are
                                                 are no
                                                     no long-term studies on
                                                        long-term studies on
the effect
the effect of atropine on
           of atropine    the eye,
                       on the eye, and
                                   and continued vigilance is
                                       continued vigilance is necessary.
                                                              necessary.
However, atropine
However, atropine has been clinically
                  has been            available since
                           clinically available       the early
                                                since the early 1900s,
                                                                1900s, and so
                                                                       and so
far there are
far there are no
              no known
                 known long-term adverse effects
                       long-term adverse         associated with
                                         effects associated with its
                                                                 its use.”
                                                                     use."
Ex. 1003,
Ex. 1003, 7. Chia states:
          7. Chia states:
                In
                In conclusion,
                    conclusion, our
                                  our results
                                        results suggest   that 0.5%,
                                                 suggest that   0.5%, 0.1%,
                                                                        0.1%, andand
        0.01%    atropine remain
        0.01% atropine     remain effective
                                    effective in
                                               in reducing
                                                  reducing myopia
                                                            myopia progression,
                                                                      progression,
        compared
        compared with with placebo        treatment, and
                              placebo treatment,        and that
                                                              that thethe clinical
                                                                             clinical
        differences
        differences inin myopia
                          myopia progression        among these
                                     progression among       these 33 groups
                                                                       groups are are
        small.
        small. TheThe lowest
                       lowest concentration
                               concentration of  of 0.01%
                                                    0.01% atropine     thus seems
                                                            atropine thus     seems
        to retain
        to  retain efficacy    and is
                    efficacy and     is aa viable
                                           viable concentration
                                                    concentration forfor reducing
                                                                          reducing
        myopia
        myopia progression
                   progression in in children,     while attaining
                                       children, while    attaining aa clinically
                                                                         clinically
        significant
        significant improved     safety profile
                     improved safety      profile in  terms of
                                                   in terms  of accommodation,
                                                                 accommodation,
        pupil  size, and
        pupil size,   and near     visual acuity,
                            near visual     acuity, and
                                                     and subsequently
                                                          subsequently reduced
                                                                            reduced
        adverse
        adverse impact
                   impact on     visual function.
                             on visual                   Moreover, the
                                           function. Moreover,         the 0.01%
                                                                              0.01%
        formulation
        formulation exhibited
                       exhibited fewer     adverse events.
                                   fewer adverse               Atropine 0.01%
                                                     events. Atropine     0.01% is  is
        currently
        currently not
                    not commercially
                         commercially available.       However, these
                                          available. However,       these findings
                                                                           findings
        collectively   suggest that
        collectively suggest     that aa nightly
                                          nightly dose
                                                    dose of   atropine at
                                                          of atropine    at 0.01%
                                                                              0.01%
        seems
        seems to to be
                    be aa safe  and effective
                          safe and    effective regimen
                                                  regimen for
                                                            for slowing
                                                                 slowing myopia
                                                                            myopia
        progression
        progression inin children,
                          children, with
                                     with minimal
                                            minimal impact
                                                      impact onon visual
                                                                   visual function
                                                                           function
        in
        in children.
           children.
Id. at 7–8.
Id. at 7—8.




10
   Lee et
1° Lee    al., Prevention
       et al., Prevention ofmyopiaprogressionwith
                            of myopia progression with 0.05%    atropine
                                                        0.05% atropine
solution,” 22
solution,"      J. O
            22 J.    CUL. PHARACOL.
                   OCUL.  P HARACOL. T  HER. 41–46
                                       THER.        (2006) (Ex.
                                             41-46 (2006)  (Ex. 1012,  “Lee”).
                                                                1012, "Lee").
11
   Fang et
" Fang     al., Prevention
        et al., Prevention of   myopia onset
                              ofmyopia        with 0.025%
                                        onset with         atropine in
                                                   0.025% atropine   in
premyopic children,
premyopic               26 J.
             children, 26  J. O     P HARMOCOL. T
                                CUL PHARMOCOL.
                              OCUL                 HER. 341-345
                                                 THER.  341–345 (2010)
                                                                  (2010)
(Ex. 1013,
(Ex.        “Fang”).
     1013, "Fang").

                                             15
                                             15
                                      Appx000123
                                      Appx000123
         Case: 23-2402      Document: 15       Page: 180    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2

                                2. Akorn
                                2. Akorn (Ex. 1004)
                                         (Ex. 1004)
        Petitioner identifies
        Petitioner            Ex. 1004
                   identifies Ex       as aa product
                                  1004 as    product label
                                                     label for Akorn Atropine
                                                           for Alcorn Atropine
Care,
Care, which appears to
      which appears to be
                       be an
                          an excerpt
                             excerpt from New Drug
                                     from New Drug Application
                                                   Application 206289.
                                                               206289.
    Pet. vii;
See Pet.
See      vii; Ex.
              Ex. 1004,
                  1004, 1. Akorn describes
                        1. Alcorn describes aa 1%
                                               1% atropine sulfate ophthalmic
                                                  atropine sulfate ophthalmic
solution
solution for topical application
         for topical             to the
                     application to the eye. Ex. 1004,
                                        eye. Ex  1004, 1. Akorn explains
                                                       1. Alcorn          that
                                                                 explains that
atropine
atropine is
         is an anti-muscarinic agent
            an anti-muscarinic agent that
                                     that is
                                          is indicated
                                             indicated for
                                                       for cycloplegia,
                                                           cycloplegia,
mydriasis, and penalization
mydriasis, and penalization of the healthy
                            of the healthy eye
                                           eye in the treatment
                                               in the treatment of amblyopia.
                                                                of amblyopia.
    at 1,
Id. at
Id.       2. Alcorn
       1, 2. Akorn explains  atropine’s mechanism
                    explains atropine's mechanism of action as
                                                  of action as follows:
                                                               follows:
              The
              The pupillary
                    pupillary constrictor
                              constrictor muscle
                                           muscle depends
                                                   depends onon muscarinic
                                                                 muscarinic
        cholinoceptor  activation. This
        cholinoceptor activation.         activation is
                                    This activation     blocked by
                                                     is blocked   by topical
                                                                      topical
        atropine
        atropine resulting
                 resulting in
                           in unopposed   sympathetic dilator
                              unopposed sympathetic     dilator activity  and
                                                                activity and
        mydriasis.   Atropine also
        mydriasis. Atropine   also weakens
                                   weakens thethe contraction
                                                  contraction of  the ciliary
                                                               of the  ciliary
        muscle,
        muscle, or
                 or cycloplegia. Cycloplegia results
                    cycloplegia. Cycloplegia   results in
                                                       in loss
                                                          loss of the ability
                                                               of the  ability
        to accommodate
        to accommodate such    that the
                          such that the eye
                                        eye cannot
                                            cannot focus
                                                    focus for
                                                           for near vision.
                                                               near vision.
    at 4.
Id. at
Id.       Akorn describes
       4. Alcorn describes applying
                           applying 1
                                    1 drop
                                      drop of the solution
                                           of the          to the
                                                  solution to the cul-de-sac of
                                                                  cul-de-sac of
the conjunctiva
the conjunctiva forty minutes prior
                forty minutes       to an
                              prior to an intended
                                          intended maximum
                                                   maximum dilation time.
                                                           dilation time.
Id.
Id.
        Akorn explains
        Alcorn          that the
               explains that the solution
                                 solution contains
                                          contains atropine sulfate as
                                                   atropine sulfate as an
                                                                       an active
                                                                          active
ingredient.     at 3.
            Id. at
ingredient. Id.    3. Alcorn
                      Akorn further
                             further describes the following
                                     describes the following inactive
                                                             inactive
ingredients: “benzalkonium chloride
ingredients: "benzalkonium chloride 0.1 mg (0.01%),
                                    0.1 mg (0.01%), dibasic
                                                    dibasic sodium
                                                            sodium
phosphate,
phosphate, edetate
           edetate disodium,
                   disodium, hypromellose (2910), monobasic
                             hypromellose (2910), monobasic sodium
                                                            sodium
phosphate,
phosphate, hydrochloric acid and/or
           hydrochloric acid and/or sodium
                                    sodium hydroxide may be
                                           hydroxide may be added
                                                            added to
                                                                  to
adjust
adjust pH (3.5 to
       pH (3.5 to 6.0),
                  6.0), and water for
                        and water for injection USP.” Id.
                                      injection USP." Id.

                             3. Kondritzer (Ex.
                             3. Kondritzer      1005)
                                           (Ex. 1005)
      Kondritzer is
      Kondritzer is aa journal
                       journal article that relates
                               article that         to aa kinetic
                                            relates to    kinetic study
                                                                  study of the proton
                                                                        of the proton
catalyzed
catalyzed hydrolysis
          hydrolysis of atropine "to
                     of atropine “to identify
                                     identify and
                                              and evaluate the factors
                                                  evaluate the factors
involved
involved in the deterioration
         in the deterioration of aqueous solutions
                              of aqueous           of atropine
                                         solutions of          and its
                                                      atropine and     salts,”
                                                                   its salts,"
and confirmed
and           the temperature
    confirmed the temperature dependency of the
                              dependency of the reaction. Ex. 1005,
                                                reaction. Ex  1005, 1.
                                                                    1.


                                          16
                                          16
                                    Appx000124
                                    Appx000124
       Case: 23-2402      Document: 15       Page: 181     Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
Kondritzer explains
Kondritzer          that the
           explains that the alkaline
                             alkaline hydrolysis of atropine
                                      hydrolysis of atropine in aqueous
                                                             in aqueous
solution
solution involves two reactions:
         involves two            “one involving
                      reactions: "one           the unprotonated
                                      involving the              (base)
                                                    unprotonated (base)
form, and the
form, and the other
              other the
                    the protonated (ionic) form
                        protonated (ionic)      of the
                                           form of the alkaloid,"
                                                       alkaloid,” with
                                                                  with each
                                                                       each
reaction being governed
reaction being          by hydroxyl-concentration
               governed by                        and temperature.
                           hydroxyl-concentration and temperature. Id.
                                                                   Id.
Kondritzer also
Kondritzer also notes
                notes some
                      some previous work concerning
                           previous work            the stability
                                         concerning the stability of
                                                                  of
aqueous atropine solutions
aqueous atropine           stating: "The
                 solutions stating: “The preservation
                                         preservation of aqueous atropine
                                                      of aqueous atropine
solutions by buffering
solutions by buffering at
                       at pH
                          pH 4–5
                             4-5 has been recommended.”
                                 has been                   at 2.
                                                        Id. at
                                          recommended." Id.    2.
      Kondritzer’s evaluation
      Kondritzer's evaluation included studying the
                              included studying the hydrolysis
                                                    hydrolysis of atropine
                                                               of atropine
in various perchloric
in various            acid solutions
           perchloric acid solutions at temperatures varying
                                     at temperatures varying from
                                                             from 70°
                                                                  70° C to
                                                                      C to
90° C. Id.
90° C.     at 2.
       Id. at 2. Based
                 Based on
                       on this,
                          this, Kondritzer
                                Kondritzer prepared an equation
                                           prepared an          to predict
                                                       equation to predict
the rate
the      of proton
    rate of proton hydrolysis at any
                   hydrolysis at any particular temperature and
                                     particular temperature and hydrogen
                                                                hydrogen ion
                                                                         ion
concentration.     Kondritzer takes
               Id. Kondritzer
concentration. Id.            takes into
                                    into account the effect
                                         account the effect of both hydroxyl
                                                            of both hydroxyl
and
and hydrogen
    hydrogen ions to determine
             ions to           the pH
                     determine the    of minimum
                                   pH of         hydrolysis at
                                         minimum hydrolysis at various
                                                               various
temperatures and
temperatures and calculates the hydrolytic
                 calculates the hydrolytic rates
                                           rates at these minimum
                                                 at these minimum pH
                                                                  pH
values. Id.
values.     Kondritzer also
        Id. Kondritzer also calculates the half
                            calculates the half lives of atropine
                                                lives of          solutions for
                                                         atropine solutions for
various pH
various    values and
        pH values and temperatures.
                      temperatures. Id.
                                    Id.
      From measuring
      From           the rate
           measuring the      of acid
                         rate of acid hydrolysis of atropine
                                      hydrolysis of atropine in aqueous
                                                             in aqueous
solution, Kondritzer concludes
solution, Kondritzer           that the
                     concludes that the predominant
                                        predominant catalytic
                                                    catalytic reaction above
                                                              reaction above
pH 4.5 involves
pH 4.5          the hydroxyl
       involves the hydroxyl ion,
                             ion, and the predominant
                                  and the predominant catalytic
                                                      catalytic reaction
                                                                reaction
below pH
below    3 involves
      pH 3          the hydrogen
           involves the hydrogen ion.     at 4.
                                      Id. at
                                 ion. Id.       Kondritzer also
                                             4. Kondritzer also states:
                                                                states:
            The
            The half
                 half lives
                      lives of
                            of solutions
                               solutions of  atropine at
                                         of atropine    at various
                                                           various pH   values
                                                                    pH values
      and temperatures can
      and temperatures         be calculated
                          can be  calculated for    both hydroxyl-ion
                                               for both    hydroxyl-ion andand
      hydrogen-ion
      hydrogen-ion catalysis.
                    catalysis. The
                                 The former    accounts for
                                      former accounts          the instability
                                                           for the  instability
      above approximately pH
      above approximately     pH 55 and
                                     and the
                                          the latter
                                               latter for
                                                       for instability  below
                                                            instability below
      approximately
      approximately pH pH 3.3. TheThe half
                                        half life   at any
                                              life at    any hydrogen
                                                               hydrogen ionion
      concentration   between pH
      concentration between      pH 3  3 and
                                           and 55 is is soso great    that its
                                                              great that    its
      experimental
      experimental determination
                   determination is is not
                                       not practical.
                                            practical.
Id.
Id.



                                        17
                                        17
                                  Appx000125
                                  Appx000125
       Case: 23-2402      Document: 15      Page: 182   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      Kondritzer states
      Kondritzer states that
                        that "[a]s
                             “[a]s expected, the hydrogen
                                   expected, the hydrogen ion
                                                          ion catalyzed
                                                              catalyzed
hydrolysis of atropine
hydrolysis of atropine is
                       is slow.”     Based on
                                 Id. Based
                          slow." Id.          the study,
                                           on the study, Kondritzer
                                                         Kondritzer
concludes that "[t]he
concludes that “[t]he pH
                      pH for maximum stability
                         for maximum stability of atropine in
                                               of atropine    sterile aqueous
                                                           in sterile aqueous
solution varies between
solution varies between 4.11 at 0°
                        4.11 at    and 3.24
                                0° and 3.24 at 100°.” Id.
                                            at 100°."     at 5.
                                                      Id. at 5.

                                  4. Analysis
                                  4. Analysis
      For its
      For     assertion that
          its assertion that claims 1–7 and
                             claims 1-7 and 11-20
                                            11–20 would
                                                  would have been obvious
                                                        have been obvious
over the combined
over the          teachings of
         combined teachings of Chia, Akorn, and
                               Chia, Alcorn,     Kondritzer, Petitioner
                                             and Kondritzer, Petitioner
relies
relies on Akorn as
       on Alcorn as teaching
                    teaching or
                             or suggesting
                                suggesting adding to Chia’s
                                           adding to Chia's low
                                                            low concentration
                                                                concentration
atropine solutions for
atropine solutions     treating myopia
                   for treating myopia progression
                                       progression aa buffering
                                                      buffering agent to
                                                                agent to
achieve
achieve aa pH
           pH range
              range of 3.5 to
                    of 3.5 to 6.0 to stabilize
                              6.0 to stabilize Chia's
                                               Chia’s low
                                                      low concentration
                                                          concentration
atropine solutions and
atropine solutions and minimize the formation
                       minimize the formation of
                                              of degradants while
                                                 degradants while
maintaining
maintaining clinical
            clinical efficacy. Pet. 23-32.
                     efficacy. Pet. 23–32. Patent
                                           Patent Owner
                                                  Owner challenges
                                                        challenges
Petitioner’s reliance
Petitioner's reliance on Akorn asserting
                      on Alcorn asserting that
                                          that the
                                               the Petition
                                                   Petition fails to prove
                                                            fails to       that
                                                                     prove that
Akorn was
Alcorn was publicly
           publicly available
                    available prior to the
                              prior to the undisputed
                                           undisputed critical
                                                      critical date of April
                                                               date of April
23, 2015,
23, 2015, which
          which Patent
                Patent Owner also raised
                       Owner also raised in
                                         in its Preliminary Response.
                                            its Preliminary Response. See
                                                                      See
PO Resp.
PO Resp. 58–61; Prelim. Resp.
         58-61; Prelim. Resp. 30.
                              30. Patent
                                  Patent Owner
                                         Owner also
                                               also challenges the
                                                    challenges the
testimony of
testimony    Dr. Byrn
          of Dr. Byrn in
                      in its Motion to
                         its Motion to Exclude
                                       Exclude Evidence
                                               Evidence asserting that
                                                        asserting that
“Dr. Byrn's
"Dr. Byrn’s proffered
            proffered opinions
                      opinions exceed
                               exceed his
                                      his expertise, are not
                                          expertise, are     based on
                                                         not based on
‘scientific
`scientific knowledge,’
            knowledge,"‘sufficient
                        sufficient facts
                                   facts or data,’ and
                                         or data,' and are
                                                       are not
                                                           not ‘the
                                                               `the product of
                                                                    product of
reliable
reliable principles’
         principles' and
                     and methods
                         methods ‘reliably applied’ to
                                 `reliably applied' to the
                                                       the facts of this
                                                           facts of this case.”
                                                                         case."
Paper 29,
Paper 29, 22 ("Mot.
             (“Mot. to
                    to Exclude").
                       Exclude”).
      Because the
      Because the prior
                  prior art status of
                        art status of Alcorn
                                      Akorn and
                                             and Dr.
                                                 Dr. Byrn's
                                                     Byrn’s testimony
                                                            testimony is
                                                                      is
relevant to all
relevant to all grounds asserted by
                grounds asserted by Petitioner,
                                    Petitioner, we
                                                we begin
                                                   begin our
                                                         our discussion with
                                                             discussion with
these issues.
these issues.




                                       18
                                       18
                                 Appx000126
                                 Appx000126
       Case: 23-2402      Document: 15      Page: 183    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
                   a) Prior
                   a) Prior Art
                            Art Status
                                Status of
                                       of Akorn
                                          Akorn (Ex. 1004)
                                                (Ex. 1004)
      Petitioner has
      Petitioner     the burden
                 has the burden to
                                to prove Akorn qualifies
                                   prove Alcorn qualifies as
                                                          as prior
                                                             prior art. See In
                                                                   art. See In
re Magnum Oil
re Magnum     Tools, 829
          Oil Tools,     F.3d at
                     829 F.3d at 1376. “[A]t the
                                 1376. "[A]t the institution stage, the
                                                 institution stage, the
petition
petition must
         must identify,
              identify, with
                        with particularity,
                             particularity, evidence
                                            evidence sufficient to establish
                                                     sufficient to establish aa
reasonable
reasonable likelihood that the
           likelihood that the reference was publicly
                               reference was          accessible before
                                             publicly accessible before the
                                                                        the
critical
critical date of the
         date of the challenged
                     challenged patent and therefore
                                patent and therefore that
                                                     that there
                                                          there is
                                                                is aa reasonable
                                                                      reasonable
likelihood that itit qualifies
likelihood that                as aa printed
                     qualifies as    printed publication.” Hulu, LLC
                                             publication." Hulu, LLC v. Sound
                                                                     v. Sound
View Innovations, LLC,
View Innovations,      IPR2018-01039, Paper
                  LLC, IPR2018-01039, Paper 29
                                            29 ("Hulu")
                                               (“Hulu”) at
                                                        at 13 (PTAB
                                                           13 (P TAB
Dec. 20,
Dec. 20, 2019)
         2019) (precedential).
               (precedential).
      “[P]ublic accessibility”
      "[P]ublic accessibility" is
                               is considered to be
                                  considered to be "the
                                                   “the touchstone
                                                        touchstone in
                                                                   in
determining whether aa reference
determining whether    reference constitutes
                                 constitutes aa ‘printed
                                                `printed publication’ bar under
                                                         publication' bar under
35 U.
35 U.S.C.
      S.C. §102(b).” In re
           §102(b)." In    Hall, 781
                        re Hall,     F.2d 897,
                                 781 F.2d 897, 899 (Fed. Cir.
                                               899 (Fed. Cir. 1986). “A
                                                              1986). "A
given
given reference
      reference is
                is ‘publicly
                   `publicly accessible’ upon aa satisfactory
                             accessible' upon                 showing that
                                                 satisfactory showing that
such
such document
     document has been disseminated
              has been disseminated or
                                    or otherwise
                                       otherwise made available to
                                                 made available to the
                                                                   the
extent that persons
extent that persons interested
                    interested and
                               and ordinarily
                                   ordinarily skilled
                                              skilled in the subject
                                                      in the subject matter
                                                                     matter or
                                                                            or
art
art exercising
    exercising reasonable
               reasonable diligence,
                          diligence, can
                                     can locate
                                         locate it.” SRI Ina,
                                                it." SRI Int'l, Inc.
                                                                Inc. v. Internet
                                                                     v. Internet
Sec. Sys.,
Sec.       Inc., 511
     Sys., Inc.,     F.3d 1186,
                 511 F.3d 1186, 1194 (Fed. Cir.
                                1194 (Fed. Cir. 2008)
                                                2008) (quoting
                                                      (quoting Bruckelmyer
                                                               Bruckelmyer
v.
v. Ground          Inc., 445
          Heaters, Inc.,
   Ground Heaters,           F.3d 1374,
                         445 F.3d       1378 (Fed.
                                  1374, 1378 (Fed. Cir. 2006)).
                                                   Cir. 2006)).
      A determination
      A               whether aa particular
        determination whether    particular reference
                                            reference qualifies as aa printed
                                                      qualifies as    printed
publication “is aa legal
publication "is    legal determination based on
                         determination based on underlying
                                                underlying fact
                                                           fact issues, and
                                                                issues, and
therefore must
therefore      be approached
          must be approached on
                             on aa case-by-case basis.” Hall,
                                   case-by-case basis." Hall, 781 F.2d at
                                                              781 F.2d at
899. In aa proceeding
899. In               before the
           proceeding before the Board,
                                 Board, there
                                        there is
                                              is no
                                                 no presumption
                                                    presumption in
                                                                in favor of
                                                                   favor of
finding that aa reference
finding that    reference is
                          is aa printed
                                printed publication.       Paper 29
                                                     Hulu, Paper
                                        publication. Hulu,       29 at
                                                                    at 16.
                                                                       16.
      During the
      During the institution
                 institution phase
                             phase of this proceeding,
                                   of this             we authorized
                                           proceeding, we authorized further
                                                                     further
briefing on
briefing on the
            the issue of whether
                issue of whether Alcorn
                                 Akorn was
                                        was publicly accessible before
                                            publicly accessible before the
                                                                       the
critical
critical date, and each
         date, and each party
                        party filed
                              filed aa brief
                                       brief addressing this issue.
                                             addressing this            Ex. 3001;
                                                                    See Ex
                                                             issue. See     3001;
Paper 7;
Paper    Paper 8.
      7; Paper    In our
               8. In our Institution Decision, we
                         Institution Decision, we addressed
                                                  addressed the
                                                            the parties’
                                                                parties'

                                       19
                                       19
                                  Appx000127
                                  Appx000127
       Case: 23-2402       Document: 15         Page: 184      Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
arguments and determined
arguments and determined on the record
                         on the        before us
                                record before us at
                                                 at that
                                                    that time
                                                         time that
                                                              that
“Petitioner has
"Petitioner has adequately shown for
                adequately shown for institution that Alcorn
                                     institution that Akorn was
                                                             was sufficiently
                                                                 sufficiently
accessible to the
accessible to the public
                  public interested
                         interested in the art
                                    in the     and searchable
                                           art and searchable on the DailyMed
                                                              on the DailyMed
website such that
website such that aa P
                     POSA
                       OSA could
                           could have
                                 have found
                                      found it with reasonable
                                            it with reasonable diligence.”
                                                               diligence."
Dec. 33.
Dec. 33. In
         In making this determination,
            making this determination, we
                                       we examined Petitioner’s additional
                                          examined Petitioner's additional
evidence, Exhibit 1057,
evidence, Exhibit       that itit submitted
                  1057, that      submitted with
                                            with its
                                                 its reply to the
                                                     reply to the preliminary
                                                                  preliminary
response, and determined
response, and            “that Petitioner
              determined "that Petitioner properly
                                          properly relies
                                                   relies on Exhibit 1057
                                                          on Exhibit      as
                                                                     1057 as
additional
additional evidence to confirm
           evidence to         that Exhibit
                       confirm that Exhibit 1004
                                            1004 was
                                                 was published and publicly
                                                     published and publicly
accessible
accessible in
           in July
              July of 2014.” See
                   of 2014."     Dec. 33.
                             See Dec. 33.
      In
      In making this determination,
         making this                we made
                     determination, we made the
                                            the following
                                                following findings
                                                          findings
concerning Exhibit 1057
concerning Exhibit 1057 for
                        for purposes of institution.
                            purposes of institution.
      In
      In particular,
          particular, on   the current
                       on the   current record,
                                         record, wewe find    that Petitioner's
                                                        find that    Petitioner’s
      Exhibit 1057
      Exhibit   1057 provides
                      provides persuasive
                                 persuasive corroboration
                                             corroboration for for its
                                                                   its contention
                                                                       contention
      that Alcorn
      that Akorn waswas publicly   accessible in
                        publicly accessible    in July
                                                  July of  2014. Exhibit
                                                       of 2014.    Exhibit 1057
                                                                            1057
      includes
      includes printouts
                 printouts of  webpages from
                           of webpages           “DailyMed.” Ex.
                                          from "DailyMed."         Ex. 1057.
                                                                        1057. InIn
      the "ABOUT
      the  “ABOUT DAILYMED"
                        DAILYMED” sectionsection on on the
                                                        the first
                                                             first page
                                                                    page of   the
                                                                           of the
      exhibit,   there is
      exhibit, there    is aa statement
                               statement explaining
                                           explaining thatthat "The
                                                                “The National
                                                                        National
      Library of
      Library       Medicine (NLM)'s
                 of Medicine     (NLM)’s DailyMed
                                            DailyMed searchable
                                                          searchable database
                                                                        database
      provides   the most
      provides the   most recent
                           recent labeling
                                   labeling submitted
                                            submitted to to the
                                                            the Food
                                                                 Food and   Drug
                                                                        and Drug
      Administration (FDA)
      Administration     (FDA) by by companies
                                     companies and and currently
                                                        currently in in use (i.e.,
                                                                        use (i. e.,
      ‘in
      `in use’
          use' labeling).”        at 1.
                              Id. at
                labeling)." Id.         Among other
                                     1. Among     other items,    the DailyMed
                                                         items, the    DailyMed
      “contains labeling
      "contains   labeling for
                            for prescription
                                prescription and    nonprescription drugs
                                              and nonprescription       drugs for
                                                                               for
      human
      human and     animal use.”
               and animal            Id. The
                             use." Id.    The statement      also explains
                                                statement also               that
                                                                   explains that
      “[t]he NLM
      "[t]he NLM provides       DailyMed to
                     provides DailyMed     to the
                                              the public”   and "[t]he
                                                   public" and    “[t]he labeling
                                                                         labeling
      on DailyMed
      on  DailyMed is     typically reformatted
                       is typically   reformatted to to make
                                                        make themthem easier    to
                                                                        easier to
      read.”   Id.
      read." Id.
             On   the third
             On the   third page
                            page of of Exhibit
                                        Exhibit 1057,     there is
                                                 1057, there    is aa copy
                                                                      copy of    the
                                                                             of the
      DailyMed "LABELING
      DailyMed     “LABELING ARCHIVES"
                                    ARCHIVES” webpagewebpage which
                                                                 which depicts
                                                                          depicts aa
      “Labeling Archives
      "Labeling   Archives Search,”      with aa first
                              Search," with      first field
                                                       field for
                                                             for entering
                                                                 entering aa drug
                                                                              drug
      name,   and aa second
      name, and       second field
                                field for
                                       for entering
                                            entering aa date.
                                                          date. Id.Id. at  3. The
                                                                       at 3.    The
      webpage
      webpage explains     that "[t]his
                 explains that    “[t]his archive
                                          archive allows
                                                    allows the
                                                             the user  to retrieve
                                                                 user to   retrieve
      the label
      the label current
                current for
                         for aa given
                                given date.”   Id. Search
                                       date." Id.   Search results
                                                              results for  the term
                                                                      for the  term
      “ATROPINE SULFATE”
      "ATROPINE        SULFATE" on         “07/31/2014” are
                                       on "07/31/2014"       are displayed.
                                                                  displayed. Id. Id.
      There
      There is  an indication
             is an               that the
                    indication that   the search
                                          search provided
                                                   provided 135135 results   which
                                                                    results which


                                           20
                                           20
                                    Appx000128
                                    Appx000128
      Case: 23-2402        Document: 15        Page: 185      Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
     are
     are listed
          listed in
                 in aa row,   apparently over
                       row, apparently      over aa number
                                                     number of    webpages. Id.
                                                               of webpages.     Id.
     The
     The results   are organized
           results are  organized with      the "DATE
                                      with the   “DATE POSTED"
                                                          POSTED” identified
                                                                        identified
     in
     in one
         one column,
              column, along      with the
                        along with     the term
                                             term "download"
                                                   “download” whichwhich appears
                                                                          appears
     to be
     to be formatted
            formatted asas aa web
                              web link,   and the
                                   link, and   the "DRUG
                                                    “DRUG NAME"
                                                              NAME” identified
                                                                        identified
     in
     in aa second
           second column,       wherein the
                    column, wherein       the drug
                                               drug name
                                                     name listed    appears to
                                                            listed appears   to be
                                                                                be
     formatted
     formatted as as aa web
                        web link.        Below the
                                     Id. Below
                              link. Id.           the drug
                                                       drug name,    the name
                                                             name, the   name of of
     the "Packager"
     the  “Packager” is is identified,   along with
                           identified, along    with aa "Version"
                                                        “Version” number.
                                                                     number. Id.Id.
     Petitioner draws
     Petitioner  draws ourour attention
                               attention toto the
                                              the label
                                                  label identified  with July
                                                        identified with        24,
                                                                          July 24,
     2014, as
     2014,    as the
                 the "DATE
                       “DATE POSTED,"
                                  POSTED,” "Atropine
                                                 “Atropine (atropine
                                                               (atropine sulfate)
                                                                          sulfate)
     solution/drops,” as
     solution/drops,"          the "DRUG
                          as the    “DRUG NAME,"NAME,” Alcorn,
                                                           Akorn, Inc.     as the
                                                                      Inc. as  the
     “Packager,” with
     "Packager,"     with the
                           the "Version"
                                “Version” noted
                                              noted as  “7.” Id.
                                                     as "7."  Id.
             We understand
             We   understand thethe next
                                    next page
                                          page of the exhibit
                                               of the  exhibit toto be
                                                                    be aa copy   of
                                                                           copy of
     the DailyMed
     the  DailyMed webpage
                      webpage depicting      the version
                                  depicting the  version 77 label
                                                             label for    Akorn’s
                                                                     for Akorn's
     atropine sulfate
     atropine   sulfate that
                         that was
                               was posted
                                    posted on
                                            on July  24, 2014.
                                               July 24,   2014. Ex  Ex. 1057,
                                                                          1057, 4.
                                                                                 4.
     Based    on   our  review,    but  for  minor   web-related
     Based on our review, but for minor web-related formatting        formatting
     differences, this
     differences,   this label
                         label posted
                               posted onon DailyMed
                                           DailyMed appears
                                                       appears to to be
                                                                     be the
                                                                          the same
                                                                              same
     as  the label  depicted   in  Exhibit  1004.  In  particular,
     as the label depicted in Exhibit 1004. In particular, we observewe    observe
     that both
     that  both labels:  (a) refer
                labels: (a)        to "HIGHLIGHTS
                             refer to “HIGHLIGHTS OF      OF PRESCRIBING
                                                              PRESCRIBING
     INFORMATION” for
     INFORMATION"                 “Atropine Sulfate
                             for "Atropine              Ophthalmic Solution,
                                              Sulfate Ophthalmic        Solution,
     USP 1%
     USP    1% for    topical application
                 for topical    application toto the
                                                 the eye;”     (b) include
                                                       eye;" (b)     include thethe
     “Revised: 7/2014”
     "Revised:    7/2014" statement;      (c) include
                             statement; (c)             the same
                                              include the    same indications
                                                                      indications
     and usage,
     and   usage, dosage
                    dosage andand administration;
                                   administration; (d)(d) set
                                                           set forth    the same
                                                                forth the    same
     sections/subsections; and
     sections/subsections;     and (e)
                                    (e) describe  the contents
                                        describe the   contents of    the drug
                                                                  of the   drug in
                                                                                 in
     the same
     the  same manner,
                 manner, including      the statement
                            including the   statement identifying
                                                         identifying inactives
                                                                         inactives
     as: "benzalkonium
     as:   “benzalkonium chloride
                               chloride 0.1   mg (0.01%),
                                          0.1 mg   (0.01%), dibasic        sodium
                                                               dibasic sodium
     phosphate,
     phosphate, edetate
                   edetate disodium,
                             disodium, hypromellose        (2910), monobasic
                                          hypromellose (2910),        monobasic
     sodium phosphate,
     sodium    phosphate, hydrochloric
                             hydrochloric acid     and/or sodium
                                             acid and/or    sodium hydroxide
                                                                       hydroxide
     may be
     may    be added
               added toto adjust
                           adjust pH   (3.5 to
                                   pH (3.5  to 6.0),  and water
                                               6.0), and    water for
                                                                    for injection
                                                                         injection
     USP.” Compare
     USP."     Compare Ex. Ex. 1004,   1–5, with
                               1004, 1-5,        Ex. 1057,
                                            with Ex.          4–6.
                                                       1057, 4-6.
            Taken     together, we
            Taken together,       we find   that the
                                      find that  the evidence
                                                     evidence relied     on in
                                                                 relied on      the
                                                                             in the
     Petition, i.e.,
     Petition,         Exhibits 1004,
                i.e., Exhibits             1020, 1021,
                                  1004, 1020,      1021, along      with Exhibits
                                                           along with     Exhibits
     1056, 1058,
     1056,  1058, and and especially,
                            especially, 1057,     submitted with
                                          1057, submitted       with the
                                                                       the Reply,
                                                                            Reply,
     provide
     provide strong
               strong indicia      that the
                         indicia that   the July    2014 version
                                              July 2014     version of    Akorn’s
                                                                      of Akorn's
     atropine sulfate
     atropine  sulfate drug
                         drug label
                                label represented
                                       represented on on the
                                                          the current
                                                               current record    as
                                                                         record as
     Exhibit 1004
     Exhibit  1004 was was posted
                             posted onon July    24, 2014,
                                           July 24,   2014, on     the DailyMed
                                                              on the    DailyMed
     website. We
     website.    We do do not
                           not find  any dispute
                               find any    dispute on   the current
                                                    on the   current record    that
                                                                       record that
     DailyMed is
     DailyMed     is aa federal
                        federal government       website that
                                  government website       that is   accessible to
                                                                 is accessible   to
     the public
     the          and presented
         public and     presented in in aa manner
                                           manner that
                                                     that allows    the public
                                                           allows the            to
                                                                         public to
     readily  search its
     readily search      its database
                              database forfor drug
                                                drug labels     that have
                                                       labels that            been
                                                                       have been


                                          21
                                          21
                                    Appx000129
                                    Appx000129
       Case: 23-2402      Document: 15        Page: 186     Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      approved
      approved by by the
                      the FDA.
                           FDA. Moreover,
                                   Moreover, asas Petitioner
                                                  Petitioner asserts,
                                                               asserts, the
                                                                        the
      DailyMed website
      DailyMed     website explains,  “The DailyMed
                            explains, "The DailyMed RSS
                                                      RSS feed
                                                             feed provides
                                                                  provides
      updates   and information
      updates and                 about new
                    information about   new drug
                                             drug labels
                                                  labels approved
                                                         approved by by the
                                                                        the
      FDA and
      FDA    and published
                  published on  NLM’s DailyMed
                             on NLM's    DailyMed Web
                                                    Web site.”   Ex. 1057,
                                                          site." Ex.  1057,
      1. In other
      1. In other words,  the DailyMed
                  words, the  DailyMed website
                                         website further
                                                 further extends
                                                         extends its
                                                                  its reach
                                                                      reach
      to the
      to the public  through such
              public through  such feed.
                                   feed.
Dec. 30-32.
Dec. 30–32.
      Patent Owner
      Patent Owner in
                   in its Response continues
                      its Response           to question
                                   continues to          the public
                                                question the public
availability of Alcorn.
availability of Akorn. See  PO Resp.
                        See PO Resp. 58–60. Patent Owner
                                     58-60. Patent Owner continues to
                                                         continues to
assail the public
assail the public availability of Alcorn
                  availability of Akorn as
                                         as shown
                                            shown by
                                                  by the
                                                     the exhibits
                                                         exhibits originally
                                                                  originally
presented
presented with the Petition,
          with the Petition, see id. at
                             see id. at 58–60, but we
                                        58-60, but we agreed
                                                      agreed with some of
                                                             with some of
these criticisms.
these             For instance,
      criticisms. For instance, we
                                we stated:
                                   stated:
             To  begin, we
             To begin,    we note    that, in
                              note that,      some respects,
                                           in some              we agree
                                                     respects, we           with
                                                                    agree with
      Patent Owner's
      Patent  Owner’s position.       For example,
                          position. For     example, wewe agree
                                                           agree with     Patent
                                                                   with Patent
      Owner   that the
      Owner that   the "7/14"
                       “7/14” revision
                                revision date
                                           date printed
                                                printed on Akorn, on
                                                        on Alcorn,   on its
                                                                        its own,
                                                                            own,
      indicates  only that
      indicates only     that some
                               some unknown
                                        unknown author(s)
                                                     author(s) modified
                                                                 modified thethe
      document
      document onon that
                     that date.         Prelim. Resp.30,
                                   See Prelim.
                           date. See             Resp.30, PO
                                                           PO Sur-reply     2–3.
                                                                Sur-reply 2-3.
      Indeed,  similar to
      Indeed, similar   to the
                            the copyright
                                 copyright or or creation
                                                 creation dates
                                                           dates in          the
                                                                      Hulu, the
                                                                  in Hulu,
      revision
      revision date,   by itself,
                date, by   itself, is
                                    is insufficient  to demonstrate
                                       insufficient to                 that the
                                                        demonstrate that     the
      exhibit
      exhibit was
              was publicly    available on
                    publicly available    on that
                                              that date.  See Hulu,
                                                   date. See          Paper 29
                                                               Hulu, Paper    29
      at
      at 19.
         19. We    also agree
              We also            with Patent
                         agree with     Patent Owner    that neither
                                                Owner that            the FDA
                                                             neither the    FDA
      approval
      approval date
                date of  the Alcorn
                      of the  Akorn atropine     sulfate drug
                                       atropine sulfate  drug product
                                                               product nor   the
                                                                         nor the
      sale or use
      sale or use of  that product
                   of that  product demonstrates      the public
                                       demonstrates the            accessibility
                                                          public accessibility
      of
      of drug
         drug label
               label reflected
                      reflected in    Akorn prior
                                  in Alcorn         to the
                                              prior to the critical
                                                            critical date.   See
                                                                     date. See
      Prelim. Resp.
      Prelim.  Resp. 30-31,
                      30–31, Sur-reply      2–3.
                               Sur-reply 2-3.
Dec. 29.
Dec. 29. Our
         Our decision
             decision on the public
                      on the public availability of Alcorn
                                    availability of Akorn turned
                                                           turned on the
                                                                  on the
additional
additional evidence Petitioner submitted
           evidence Petitioner submitted as
                                         as Exhibit
                                            Exhibit 1057.
                                                    1057. See id. at
                                                          See id.    30–35.
                                                                  at 30-35.
      The only criticism
      The only           Patent Owner
               criticism Patent Owner presents with reference
                                      presents with           to our
                                                    reference to our
analysis
analysis of Exhibit 1057
         of Exhibit      as set
                    1057 as set forth above is
                                forth above    to question
                                            is to question aa statement
                                                              statement on the
                                                                        on the
DailyMed webpage
DailyMed webpage concerning when filtering
                 concerning when           by published
                                 filtering by published date was added
                                                        date was added
to Web
to Web Services.     PO Resp.
                 See PO
       Services. See    Resp. 60;
                              60; Sur-Reply 24–25. Patent
                                  Sur-Reply 24-25. Patent Owner
                                                          Owner states:
                                                                states:
“But Petitioner's
"But Petitioner’s DailyMed
                  DailyMed exhibit (created on
                           exhibit (created on September
                                               September 15, 2021)
                                                         15, 2021)
acknowledges that "Filtering
acknowledges that “Filtering by
                             by Published
                                Published Date
                                          Date [Was] Added to
                                               [Was] Added to Web
                                                              Web

                                         22
                                         22
                                   Appx000130
                                   Appx000130
       Case: 23-2402      Document: 15      Page: 187    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
Services” only as
Services" only as late
                  late as
                       as October 2015 (EX1057,
                          October 2015 (EX1057, 1, 2), which
                                                1, 2), which falls after the
                                                             falls after the
critical
critical date. EX1001, Cover.
         date. EX1001, Cover. As
                              As the
                                 the very
                                     very same search means
                                          same search       that
                                                      means that
Petitioner used
Petitioner      to find
           used to      the label
                   find the label in EX1057 admittedly
                                  in EX1057 admittedly did
                                                       did not
                                                           not exist before
                                                               exist before
the critical
the critical date, Petitioner has
             date, Petitioner has failed to demonstrate
                                  failed to demonstrate pre-critical
                                                        pre-critical date
                                                                     date public
                                                                          public
availability of this
availability of this new
                     new label.” PO Resp.
                         label." PO Resp. 60.
                                          60.
      We
      We find that Patent
         find that Patent Owner’s
                          Owner's criticism misses the
                                  criticism misses the mark. Petitioner is
                                                       mark. Petitioner is
using the DailyMed
using the DailyMed exhibit as further
                   exhibit as further evidence that Alcorn
                                      evidence that Akorn was
                                                           was publicly
                                                               publicly
available as of
available as of the
                the revision
                    revision date
                             date of
                                  of 7/2014
                                     7/2014 as shown on
                                            as shown    Akorn, Ex
                                                     on Alcorn, Ex. 1004.
                                                                    1004.
    Opp. Mot.
See Opp.
See      Mot. to
              to Exclude
                 Exclude 88 (stating
                            (stating "public
                                     “public records
                                             records from DailyMed, part
                                                     from DailyMed, part of
                                                                         of
the NIH'
the NIH’ss National
           National Library
                    Library of Medicine, show
                            of Medicine,      that EX1004
                                         show that EX1004 was
                                                          was posted
                                                              posted
publicly on that
publicly on that site at least
                 site at       by July
                         least by      24, 2014.
                                  July 24, 2014. See EX1057, 3.").
                                                 See EX1057, 3.”). Whether
                                                                   Whether aa
POSA
P OSA could
      could have searched this
            have searched this way
                               way for
                                   for labels
                                       labels published before the
                                              published before the critical
                                                                   critical
date
date is
     is irrelevant; Petitioner is
        irrelevant; Petitioner is only
                                  only using the evidence
                                       using the          to show
                                                 evidence to show that
                                                                  that Alcorn
                                                                       Akorn
was, in
was, in fact,
        fact, published
              published in
                        in July 2014, before
                           July 2014, before the
                                             the critical
                                                 critical date
                                                          date on
                                                               on aa searchable
                                                                     searchable
website. See id.
website. See     Patent Owner
             id. Patent Owner does
                              does not
                                   not dispute that DailyMed
                                       dispute that DailyMed was
                                                             was
searchable by drug
searchable by drug name, which would
                   name, which would be
                                     be the
                                        the logical way aa P
                                            logical way    POSA
                                                             OSA would
                                                                 would
search such aa database
search such    database for
                        for information
                            information for
                                        for aa drug
                                               drug of
                                                    of interest.
                                                       interest.
      Petitioner also
      Petitioner also provides
                      provides further
                               further evidence that the
                                       evidence that the Alcorn
                                                         Akorn label
                                                                label was
                                                                      was
published
published on
          on July 24, 2014,
             July 24, 2014, through
                            through aa response by the
                                       response by the National
                                                       National Library
                                                                Library of
                                                                        of
Medicine ("NLM")
Medicine (“NLM”) to
                 to aa Freedom
                       Freedom of Information Act
                               of Information Act request.
                                                  request. See Ex. 1071.
                                                           See Ex. 1071.
In this Freedom
In this Freedom of
                of Information
                   Information Act
                               Act request, Petitioner asked
                                   request, Petitioner asked for written
                                                             for written
confirmation that the
confirmation that the substance
                      substance of
                                of the
                                   the Alcorn
                                       Akorn label  was posted
                                              label was        on July
                                                        posted on      24,
                                                                  July 24,
2014 on
2014    the DailyMed
     on the DailyMed website. Id. The
                     website. Id.     National Institutes
                                  The National Institutes of
                                                          of Health
                                                             Health
(“NIH”) responded
("NIH")           that version
        responded that version 77 of
                                  of the
                                     the Alcorn
                                         Akorn label  was published
                                                label was published on
                                                                    on
DailyMed on
DailyMed on July 24, 2014,
            July 24, 2014, and
                           and provided the URL
                               provided the URL that
                                                that is
                                                     is reflected
                                                        reflected in the
                                                                  in the
Akorn label
Alcorn label in Exhibit 1057
             in Exhibit 1057 from the DailyMed
                             from the DailyMed website.
                                               website. See Ex. 1072,
                                                        See Ex. 1072, 6;
                                                                      6;
Ex. 1057,
Ex. 1057, 4–7. NIH also
          4-7. NIH also confirmed that NLM
                        confirmed that NLM "received
                                           “received version
                                                     version 77 of this
                                                                of this

                                       23
                                       23
                                  Appx000131
                                  Appx000131
       Case: 23-2402        Document: 15       Page: 188    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
label
label from the FDA
      from the FDA on
                   on 07/24/2014
                      07/24/2014 @ 2:15:04 PM,"
                                 @ 2:15:04 PM,” "published
                                                “published version
                                                           version 77 on
                                                                      on
DailyMed on
DailyMed    the same
         on the same day,
                     day, 07/24/2014
                          07/24/2014 @
                                     @ 14:59:48 PM,” and
                                       14:59:48 PM," and confirmed
                                                         confirmed
that "NLM
that “NLM does
          does not
               not make
                   make changes to the
                        changes to the content
                                       content contained
                                               contained within any SPL
                                                         within any SPL
[or structured product
[or structured product labeling]
                       labeling] records that itit receives
                                 records that      receives from the FDA."
                                                            from the FDA.”
Ex. 1072,
Ex. 1072, 6.
          6. We
             We find that Petitioner
                find that Petitioner has
                                     has provided
                                         provided more than sufficient
                                                  more than sufficient
evidence that the
evidence that the Alcorn
                  Akorn label
                         label reflected
                               reflected in Ex. 1004
                                         in Ex.      was publicly
                                                1004 was publicly available
                                                                  available
before the
before the critical
           critical date.
                    date.
       For the
       For the reasons
               reasons set
                       set forth
                           forth above,
                                 above, we determine that
                                        we determine that Petitioner
                                                          Petitioner has
                                                                     has
shown by aa preponderance
shown by    preponderance of the evidence
                          of the          that Alcorn,
                                 evidence that Akorn, Ex.
                                                       Ex. 1004,
                                                           1004, is
                                                                 is aa printed
                                                                       printed
publication that was
publication that was publicly
                     publicly available before the
                              available before the critical
                                                   critical date.
                                                            date.

               b) Patent Owner’s
               b) Patent         Motion to
                         Owner's Motion    Exclude Evidence
                                        to Exclude Evidence
       Patent Owner
       Patent       moves to
              Owner moves to exclude
                             exclude from
                                     from evidence the Declaration
                                          evidence the Declaration of
                                                                   of
Dr. Byrn
Dr. Byrn (Ex
         (Ex. 1002), Exhibits 1004
              1002), Exhibits 1004 and 1057 that
                                   and 1057 that constitute the Alcorn
                                                 constitute the Akorn
labels, and Exhibits
labels, and Exhibits 1079 through 1088
                     1079 through      that Petitioner
                                  1088 that Petitioner submitted
                                                       submitted with
                                                                 with its
                                                                      its
Reply. Mot.
Reply. Mot. to
            to Exclude
               Exclude 2.
                       2. Petitioner
                          Petitioner filed
                                     filed an
                                           an Opposition (Paper 30,
                                              Opposition (Paper 30, "Opp.
                                                                    “Opp.
to Mot.
to Mot. to
        to Exclude"),
           Exclude”), and
                      and Patent
                          Patent Owner
                                 Owner filed
                                       filed aa Reply
                                                Reply (Paper
                                                      (Paper 32,
                                                             32, "Reply
                                                                 “Reply to
                                                                        to
Mot. to
Mot. to Exclude").
        Exclude”). For
                   For the
                       the following
                           following reasons, Patent Owner’s
                                     reasons, Patent         Motion to
                                                     Owner's Motion to
Exclude is
Exclude    denied.
        is denied.
       Pursuant to
       Pursuant to our Rules, aa motion
                   our Rules,           to exclude
                                 motion to exclude evidence must be
                                                   evidence must be filed to
                                                                    filed to
preserve any previously-made
preserve any previously-made objections to evidence.
                             objections to           37 C.F.R.
                                           evidence. 37 C.F.R. §§ 42.64(c).
                                                                  42.64(c).
The motion must
The motion must identify
                identify where
                         where in the record
                               in the        the objections
                                      record the            were made,
                                                 objections were       and
                                                                 made, and
must
must explain the objections.
     explain the                 Patent Owner
                             Id. Patent
                 objections. Id.              appropriately identifies
                                        Owner appropriately identifies
where
where in the record
      in the record it
                    it previously
                       previously served objections to
                                  served objections to the
                                                       the exhibits
                                                           exhibits it
                                                                    it seeks to
                                                                       seeks to
exclude. Mot. to
exclude. Mot. to Exclude
                 Exclude 22 (citing
                            (citing Papers
                                    Papers 12, 22).
                                           12, 22).
       As the
       As the moving
              moving party, Patent Owner
                     party, Patent       bears the
                                   Owner bears the burden
                                                   burden of
                                                          of proof to
                                                             proof to
establish that itit is
establish that      is entitled to the
                       entitled to the requested
                                       requested relief,
                                                 relief, i.e., the exclusion
                                                         i.e., the           of
                                                                   exclusion of


                                          24
                                          24
                                    Appx000132
                                    Appx000132
       Case: 23-2402      Document: 15      Page: 189   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
evidence as inadmissible
evidence as inadmissible under the Federal
                         under the Federal Rules
                                           Rules of Evidence ("FRE").
                                                 of Evidence (“FRE”). See
                                                                      See
37 C.F.R.
37 C.F.R. §§
          §§ 42.20(c),
             42.20(c), 42.64(a).
                       42.64(a).

                    (1) Dr. Byrn's
                    (1) Dr. Byrn’s Testimony
                                   Testimony (Ex. 1002)
                                             (Ex. 1002)
       Patent Owner
       Patent Owner challenges Dr. Byrn's
                    challenges Dr. Byrn’s testimony
                                          testimony under FRE 702
                                                    under FRE     as not
                                                              702 as not
based on
based on sufficient “scientific knowledge,”
         sufficient "scientific knowledge," not based on
                                            not based    “sufficient facts
                                                      on "sufficient facts or
                                                                           or
data,” and not
data," and     “the product
           not "the         of reliable
                    product of reliable principles” and methods
                                        principles" and         “reliably
                                                        methods "reliably
applied” to the
applied" to the facts
                facts of this proceeding.
                      of this             Mot. to
                              proceeding. Mot. to Exclude
                                                  Exclude 2.
                                                          2.

                       (a) Requisite Scientific
                       (a) Requisite Scientific Knowledge
                                                Knowledge
      For instance,
      For           although Dr.
          instance, although Dr. Byrn
                                 Byrn agrees
                                      agrees that
                                             that the
                                                  the ’557
                                                      '557 patent
                                                           patent is
                                                                  is
“directed to
"directed to the
             the field of ophthalmic
                 field of ophthalmic compositions and ophthalmic
                                     compositions and ophthalmic solutions,"
                                                                 solutions,”
Patent Owner
Patent       asserts that
       Owner asserts that Dr.
                          Dr. Byrn's
                              Byrn’s curriculum vitae (Ex.
                                     curriculum vitae (Ex. 1002, Appendix
                                                           1002, Appendix
A) "provides
A) “provides no
             no indication that Dr.
                indication that Dr. Byrn
                                    Byrn has
                                         has any
                                             any expertise
                                                 expertise in ophthalmic
                                                           in ophthalmic
formulation.” Mot. to
formulation." Mot. to Exclude
                      Exclude 2-3
                              2–3 (citing
                                  (citing Ex.
                                          Ex. 2009,
                                              2009, 97:19-98:14;
                                                    97:19–98:14; 104:20–
                                                                 104:20-
106:5). Patent Owner
106:5). Patent Owner further states:
                     further states:
      During his
      During  his deposition,  Dr. Byrn
                  deposition, Dr.   Byrn identified   brief eyedrop
                                          identified brief  eyedrop forays
                                                                     forays
      (none significant
      (none  significant enough
                          enough to  to merit
                                        merit mention
                                                mention in  in his
                                                               his CV
                                                                    CV oror
      declaration), but could
      declaration), but        not identify
                        could not            any ophthalmic
                                    identify any   ophthalmic product
                                                                product he
                                                                         he
      formulated  before the
      formulated before  the critical
                              critical date.  Even as
                                       date. Even       of 2021,
                                                     as of 2021, Dr.
                                                                  Dr. Bym
                                                                      Byrn
      never
      never had
             had primary
                   primary responsibility
                            responsibility for
                                             for formulating
                                                   formulating any
                                                                 any drug
                                                                       drug
      product   that has
      product that    has received
                           received regulatory         approval or
                                        regulatory approval       or been
                                                                       been
      commercialized.
      commercialized.
Mot. to
Mot. to Exclude
        Exclude 33 (citing
                   (citing Ex
                           Ex. 2010
                               2010 ¶ 8). Patent Owner
                                      8). Patent Owner also
                                                       also criticized
                                                            criticized
Dr. Byrn's
Dr. Byrn’s alleged
           alleged lack
                   lack of
                        of knowledge
                           knowledge of
                                     of ophthalmic terms such
                                        ophthalmic terms such as
                                                              as
lacrimation. See id.
lacrimation. See id.
      Petitioner responds
      Petitioner          that the
                 responds that the primary
                                   primary focus
                                           focus in
                                                 in evaluating the
                                                    evaluating the
admissibility of testimony
admissibility of testimony under FRE 702
                           under FRE 702 is “whether an
                                         is "whether an expert’s
                                                        expert's opinion
                                                                 opinion
will assist the
will assist the trier
                trier of
                      of fact,”
                         fact," aa low bar, and
                                   low bar, and many of Patent
                                                many of Patent Owner's
                                                               Owner’s
criticisms
criticisms go to the
           go to the weight to be
                     weight to be accorded
                                  accorded Dr.
                                           Dr. Byrn's
                                               Byrn’s testimony
                                                      testimony rather than
                                                                rather than


                                       25
                                       25
                                 Appx000133
                                 Appx000133
       Case: 23-2402      Document: 15      Page: 190    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
its
its admissibility.
    admissibility. Opp. to Mot.
                   Opp. to Mot. to
                                to Exclude
                                   Exclude 1-6.
                                           1–6. In
                                                In applying FRE 702,
                                                   applying FRE 702,
Petitioner asserts
Petitioner         that "Dr.
           asserts that “Dr. Byrn,
                             Byrn, aa professor
                                      professor of
                                                of medicinal
                                                   medicinal chemistry who
                                                             chemistry who
specializes
specializes in
            in drug
               drug formulation,
                    formulation, is
                                 is eminently
                                    eminently qualified to opine
                                              qualified to       about the
                                                           opine about the
straightforward
straightforward formulation
                formulation issues
                            issues presented
                                   presented in this proceeding.”
                                             in this proceeding." Id. at 1.
                                                                  Id. at 1.
      Petitioner asserts
      Petitioner         that Patent
                 asserts that Patent Owner
                                     Owner does
                                           does not
                                                not contest that Dr.
                                                    contest that Dr. Byrn
                                                                     Byrn
meets Petitioner’s POSA
meets Petitioner's POSA definition (as we
                        definition (as we have
                                          have determined should be
                                               determined should be
applied
applied in this proceeding),
        in this              but even
                proceeding), but even if we required
                                      if we required experience
                                                     experience in
                                                                in
formulating
formulating ophthalmic
            ophthalmic pharmaceuticals, we find
                       pharmaceuticals, we      that Dr.
                                           find that Dr. Byrn
                                                         Byrn has such
                                                              has such
experience. See Opp.
experience. See      to Mot.
                Opp. to Mot. to
                             to Exclude
                                Exclude 2-4;
                                        2–4; Ex
                                             Ex. 1002, Appendix A
                                                 1002, Appendix A ¶¶ 3–
                                                                  ¶¶ 3-
10. Petitioner asserts
10. Petitioner asserts that
                       that Dr.
                            Dr. Byrn
                                Byrn testifies:
                                     testifies:
             That
             That he worked as
                  he worked  as aa consultant
                                   consultant for Alcon—aa well-known
                                              for Alcon       well-known
      eye
      eye care
           care company—on
                 company on aa numbernumber ofof ophthalmic
                                                  ophthalmic products,
                                                                 products,
      including
      including ones that were
                ones that      FDA-approved, prior
                          were FDA-approved,           to the
                                                 prior to the critical
                                                              critical date.
                                                                       date.
           Ex. 2009,
      See Ex
      See       2009, 136:12–137:12.
                       136:12-137:12. He   He further   testified that
                                               further testified   that he
                                                                         he
      worked  with eye
      worked with  eye drops  as part
                        drops as  part of Purdue’s Africa
                                       of Purdue's  Africa program.
                                                            program. Id. Id.
      at
      at 49:149–50:2.
         49:149-50:2.
Opp. to Mot.
Opp. to Mot. to
             to Exclude
                Exclude 4. Petitioner also
                        4. Petitioner also asserts
                                           asserts that
                                                   that Dr.
                                                        Dr. Byrn
                                                            Byrn accurately
                                                                 accurately
described the term
described the term "lacrimation"
                   “lacrimation” in
                                 in his
                                    his deposition.
                                        deposition. Id. at 44 n.2
                                                    Id. at         (citing
                                                              n. 2 (citing
Ex. 2009,
Ex. 2009, 49:11–14; Ex. 1002
          49:11-14; Ex. 1002 ¶ 77 (quoting Ex
                               77 (quoting Ex. 1047, 2)).
                                               1047, 2)).
      As we
      As we have
            have previously
                 previously determined,
                            determined, aa P
                                           POSA
                                             OSA need
                                                 need not
                                                      not have
                                                          have specific
                                                               specific
experience
experience in
           in ophthalmic
              ophthalmic formulation. See Section
                         formulation. See Section II.B. Dr. Byrn
                                                  II.B. Dr. Byrn has
                                                                 has
ample
ample experience to qualify
      experience to qualify as
                            as aa POSA,
                                  POSA, which
                                        which we
                                              we defined as aa person
                                                 defined as    person
having
having aa Ph.D.
          Ph.D. in
                in chemistry,
                   chemistry, organic
                              organic chemistry,
                                      chemistry, physical
                                                 physical chemistry,
                                                          chemistry, or
                                                                     or
pharmaceutics,
pharmaceutics, with
               with several years of
                    several years of experience
                                     experience preparing and/or testing
                                                preparing and/or testing
pharmaceutical
pharmaceutical formulations at the
               formulations at the time
                                   time of the purported
                                        of the purported invention. See
                                                         invention. See
Section
Section II.B.; Ex. 1002
        II.B.; Ex. 1002 ¶¶ 3–10. Dr.
                        ¶¶ 3-10. Dr. Byrn
                                     Byrn has the requisite
                                          has the           academic
                                                  requisite academic
background, as
background, as well
               well as
                    as extensive
                       extensive experience
                                 experience in
                                            in drug
                                               drug development and
                                                    development and
formulation.     Ex. 1002
             See Ex
formulation. See     1002 ¶¶ 3–10. Dr.
                          ¶¶ 3-10. Dr. Byrn
                                       Byrn testifies
                                            testifies that
                                                      that his “laboratory
                                                           his "laboratory



                                       26
                                       26
                                 Appx000134
                                 Appx000134
       Case: 23-2402     Document: 15      Page: 191   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
has
has done
    done extensive
         extensive research
                   research on
                            on drug
                               drug formulations, and [he
                                    formulations, and [he has] authored
                                                          has] authored
over two hundred
over two         book chapters
         hundred book          and peer-reviewed
                      chapters and               journal articles
                                   peer-reviewed journal articles on
                                                                  on
properties of aa wide
properties of         variety of
                 wide variety of pharmaceutical
                                 pharmaceutical compositions.” Id. ¶ 10.
                                                compositions." Id.   10.
      We also find,
      We also find, however, that Dr.
                    however, that Dr. Byrn
                                      Byrn has
                                           has experience
                                               experience with
                                                          with ophthalmic
                                                               ophthalmic
formulations. Dr. Byrn
formulations. Dr. Byrn testifies
                       testifies that
                                 that he
                                      he has “worked quite
                                         has "worked quite aa bit
                                                              bit with
                                                                  with
eyedrops”
eyedrops" in Purdue’s Africa
          in Purdue's Africa program. Ex. 2009,
                             program. Ex. 2009, 49:21-24.
                                                49:21–24. In
                                                          In his
                                                             his
Declaration, Dr.
Declaration, Dr. Byrn
                 Byrn testifies
                      testifies that
                                that he
                                     he was
                                        was aa co-founder
                                               co-founder of the Sustainable
                                                          of the Sustainable
Medicines in
Medicines    Africa in
          in Africa    the Kilimanjaro
                    in the Kilimanjaro and Arusha regions
                                       and Arusha         of Tanzania
                                                  regions of Tanzania in
                                                                      in
2007. Ex
2007. Ex. 1002
          1002 ¶ 5. Dr. Byrn
                 5. Dr. Byrn describes this program
                             describes this program more
                                                    more extensively
                                                         extensively in
                                                                     in
his
his curriculum vitae as
    curriculum vitae as providing
                        providing educational
                                  educational programs that are
                                              programs that are "aimed
                                                                “aimed at
                                                                       at
providing
providing source of well-trained
          source of well-trained manufacturing
                                 manufacturing scientists
                                               scientists for
                                                          for pharmaceutical
                                                              pharmaceutical
industry
industry in
         in Tanzania and Africa,"
            Tanzania and Africa,” and
                                  and including
                                      including aa GMP-level
                                                   GMP -level
pharmaceutical manufacturing facility
pharmaceutical manufacturing          to teach
                             facility to teach manufacturing
                                               manufacturing under
                                                             under strict
                                                                   strict
quality
quality control,
        control, as well as
                 as well as aa quality medicines laboratory
                               quality medicines laboratory equipped
                                                            equipped with
                                                                     with
HPLCs. Ex
HPLCs. Ex. 1002, Appendix, 101.
           1002, Appendix,      Dr. Byrn
                           101. Dr. Byrn also
                                         also testifies
                                              testifies that
                                                        that he
                                                             he consulted
                                                                consulted
with Alcon on
with Alcon on aa number
                 number of
                        of ophthalmic
                           ophthalmic drug
                                      drug products although he
                                           products although    was not
                                                             he was not
primarily
primarily responsible
          responsible for their formulation.
                      for their                  Ex. 2009,
                                             See Ex.
                                formulation. See     2009, 136:12–20.
                                                           136:12-20.
      We
      We find Dr. Byrn's
         find Dr. Byrn’s alleged
                         alleged lack
                                 lack of “primary” responsibility
                                      of "primary" responsibility for the
                                                                  for the
formulation
formulation of an ophthalmic
            of an ophthalmic product to be
                             product to be somewhat
                                           somewhat of
                                                    of aa red
                                                          red herring
                                                              herring in
                                                                      in
assessing whether Dr.
assessing whether Dr. Byrn
                      Byrn has “expertise in
                           has "expertise    ophthalmic formulation”
                                          in ophthalmic formulation" as
                                                                     as
Patent Owner
Patent       asserts should
       Owner asserts should be
                            be required.     Mot. to
                                         See Mot.
                               required. See      to Exclude
                                                     Exclude 2-3.
                                                             2–3. In
                                                                  In
response to questions
response to           about whether
            questions about whether Dr.
                                    Dr. Byrn
                                        Byrn ever
                                             ever had
                                                  had primary
                                                      primary
responsibility
responsibility for
               for formulating
                   formulating aa drug
                                  drug product that has
                                       product that has received
                                                        received regulatory
                                                                 regulatory
approval, Dr. Byrn
approval, Dr. Byrn testifies
                   testifies that
                             that he
                                  he has “been on
                                     has "been on aa team
                                                     team that
                                                          that formulated
                                                               formulated drug
                                                                          drug
products
products for both for
         for both for commercial sale and
                      commercial sale and IND testing.” Ex
                                          IND testing." Ex. 2009,
                                                            2009, 134:19–
                                                                  134:19-
24. Dr.
24. Dr. Byrn
        Byrn also
             also pointed
                  pointed out
                          out what
                              what he
                                   he considered to be
                                      considered to be aa false
                                                          false premise
                                                                premise in
                                                                        in



                                      27
                                      27
                                Appx000135
                                Appx000135
        Case: 23-2402        Document: 15         Page: 192      Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
the questions
the questions related to "primary"
              related to “primary” responsibility
                                   responsibility for
                                                  for drug
                                                      drug formulation.
                                                           formulation.
Dr. Byrn
Dr. Byrn testifies:
         testifies:
        II have   been aa consultant
           have been       consultant on
                                       on aa large   number of
                                             large number     of products  that came
                                                                 products that  came
        on   the market
         on the             and II worked
                   market and       worked inin aa team,
                                                   team, and
                                                          and my   work was
                                                               my work    was —– part
                                                                                  part
        of   the work
         of the    work waswas critical
                                critical for
                                         for certain
                                               certain specifications
                                                        specifications and
                                                                        and certain
                                                                              certain
        marketing       steps, but
         marketing steps,      but II don’t   believe that
                                      don't believe     that in this day
                                                             in this      and age
                                                                     day and    age aa
        person
         person is is primarily
                      primarily responsible
                                  responsible for   bringing aa drug
                                                for bringing    drug on  the market;
                                                                      on the market;
        it’s
         it's aa team
                 team activity.
                        activity.
    at 135:15–23.
Id. at
Id.    135:15-23. We     We credit   Dr. Byrn's
                             credit Dr.  Byrn’s testimony      here. 12 We
                                                   testimony here.           also
                                                                        We also
determine that Dr.
determine that Dr. Byrn
                   Byrn satisfies the requirements
                        satisfies the requirements for
                                                   for aa POSA
                                                          POSA as
                                                               as we
                                                                  we have
                                                                     have
determined
determined it
           it should be defined,
              should be          without specific
                        defined, without specific expertise
                                                  expertise in
                                                            in ophthalmic
                                                               ophthalmic
formulation, but also
formulation, but also determine that even
                      determine that even if we applied
                                          if we applied Patent
                                                        Patent Owner's
                                                               Owner’s
heightened
heightened standard
           standard requiring such expertise,
                    requiring such            Dr. Byrn
                                   expertise, Dr. Byrn satisfies that
                                                       satisfies that
definition
definition also. Dr. Byrn
           also. Dr. Byrn has the requisite
                          has the requisite scientific
                                            scientific knowledge to serve
                                                       knowledge to       as
                                                                    serve as
an
an expert
   expert for Petitioner.
          for Petitioner.

 (b) Sufficiency of
 (b) Sufficiency of Underlying Facts and
                    Underlying Facts and Data;
                                         Data; Reliability
                                               Reliability of Principles and
                                                           ofPrinciples  and
               Methods as
               Methods  as Applied
                           Applied to
                                   to Underlying Facts and
                                      Underlying Facts  and Data
                                                             Data
       Patent Owner
       Patent       asserts that
              Owner asserts that Dr.
                                 Dr. Byrn's
                                     Byrn’s alleged
                                            alleged inexperience with
                                                    inexperience with
ophthalmic
ophthalmic formulations
           formulations led
                        led him to offer
                            him to offer an
                                         an opinion
                                            opinion not based on
                                                    not based    sufficient
                                                              on sufficient
facts
facts or
      or data or reliable
         data or reliable principles,
                          principles, i.e., that Dr.
                                      i.e., that Dr. Byrn's
                                                     Byrn’s opinion
                                                            opinion that
                                                                    that "Alcorn
                                                                         “Akorn
teaches the
teaches the uses of buffering
            uses of buffering agents to achieve
                              agents to achieve aa solution
                                                   solution pH
                                                            pH range
                                                               range of 3.5 to
                                                                     of 3.5 to
6.0 were ‘premised’
6.0 were `premised' on an undisclosed
                    on an             assumption that
                          undisclosed assumption that the
                                                      the buffering
                                                          buffering range
                                                                    range
of the weak
of the      acid extends
       weak acid         ±2 pH
                 extends ±2 pH units away from
                               units away from its
                                               its pK a.” Mot.
                                                   pKa."  Mot. to
                                                               to Exclude
                                                                  Exclude 44



12 We
12
   We also
       also find that Dr.
            find that Dr. Byrn
                          Byrn was
                                was clearly
                                     clearly familiar  with the
                                             familiar with  the term
                                                                term
“lacrimation,”  which   means  “the secretion  of tears especially
"lacrimation," which means "the secretion of tears especially when when
abnormal
abnormal oror excessive,”  but chose
              excessive," but         to use
                               chose to      the word
                                         use the word "tearing"
                                                        “tearing” instead.  See
                                                                  instead. See
Ex. 2009,
Ex.  2009, 49:3–14;       also https://www.merriam-
                      see also
           49:3-14; see        https://www.merriam-
webster.com/dictionary/lacrimation      (accessed June
webster. com/dictionary/lacrimation (accessed      June 25,
                                                         25, 2023)
                                                             2023) (defining
                                                                    (defining
lacrimation).
lacrimation).

                                             28
                                             28
                                      Appx000136
                                      Appx000136
       Case: 23-2402      Document: 15       Page: 193    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
(citing PO
(citing PO Resp.
           Resp. 37-38;
                 37–38; Ex.
                        Ex. 2009,
                            2009, 96:5–97:4; Ex. 1002
                                  96:5-97:4; Ex. 1002 ¶¶ 20,
                                                         20, 24,
                                                             24, 53, 65–
                                                                 53, 65-
66,
66, 80, 95, 138,
    80, 95, 138, 156–157,
                 156-157, 188,
                          188, 192, 203, 211;
                               192, 203, 211; Ex
                                              Ex. 1040, 23 (Table
                                                  1040, 23 (Table 8)).
                                                                  8)).
Patent Owner
Patent       also asserts
       Owner also asserts Dr.
                          Dr. Byrn's
                              Byrn’s assumption
                                     assumption has been shown
                                                has been shown to
                                                               to be
                                                                  be
incorrect
incorrect in
          in aa district
                district court
                         court proceeding
                               proceeding in which he
                                          in which    testified. See
                                                   he testified.     Mot. to
                                                                 See Mot. to
Exclude 4-7.
Exclude 4–7.
      Petitioner counters
      Petitioner          that Dr.
                 counters that Dr. Byrn's
                                   Byrn’s opinions are based
                                          opinions are based on
                                                             on sufficient
                                                                sufficient
facts and data
facts and      and are
          data and are reliable. Opp. to
                       reliable. Opp. to Mot.
                                         Mot. to
                                              to Exclude
                                                 Exclude 5–6. As an
                                                         5-6. As an
example, Petitioner points
example, Petitioner        to Dr.
                    points to Dr. Byrn's
                                  Byrn’s reliance
                                         reliance on Remington (Ex.
                                                  on Remington (Ex. 1019),
                                                                    1019),
which Dr.
which Dr. Laskar
          Laskar admits
                 admits is
                        is aa formulator’s “bible,” to
                              formulator's "bible," to establish that
                                                       establish that
“Remington means
"Remington means exactly what itit says:
                 exactly what            buffer capacity
                                   says: buffer capacity represents
                                                         represents aa
compromise between stability
compromise between           and comfort,
                   stability and comfort, and thus aa buffer
                                          and thus    buffer with
                                                             with
diminished
diminished capacity (e.g., the
           capacity (e.g., the one
                               one provided by sodium
                                   provided by sodium phosphate salts)
                                                      phosphate salts)
should be used.”
should be used." Opp. to Mot.
                 Opp. to Mot. to
                              to Exclude
                                 Exclude 55 (citing
                                            (citing Ex.
                                                    Ex. 2003
                                                        2003 ¶¶ 62–63;
                                                                62-63;
Ex. 1002
Ex. 1002 ¶ 136).
           136).
      Petitioner also
      Petitioner also points to support
                      points to support for Dr. Byrn's
                                        for Dr. Byrn’s opinion that sodium
                                                       opinion that sodium
phosphate salts "can
phosphate salts “can still buffer outside
                     still buffer outside of ± 11 unit
                                          of ±         away from
                                                  unit away      their pK
                                                            from their    a” in
                                                                       pKa"  in
the "reliable
the “reliable scientific
              scientific literature that Patent
                         literature that Patent Owner
                                                Owner seeks to preclude
                                                      seeks to          the
                                                               preclude the
Board from
Board from considering.”     at 66 (citing
                         Id. at
           considering." Id.       (citing Exs.
                                           Exs. 1079–1083 (buffer recipes
                                                1079-1083 (buffer recipes
using the claimed
using the         sodium phosphate
          claimed sodium           salts below
                         phosphate salts below pH
                                               pH 6.0)). Finally,
                                                  6.0)). Finally,
Petitioner asserts
Petitioner         that Dr.
           asserts that Dr. Byrn's
                            Byrn’s testimony
                                   testimony in the district
                                             in the district court
                                                             court proceeding
                                                                   proceeding is
                                                                              is
inapposite because
inapposite because
      The
      The primary
           primary legal
                     legal issue
                           issue in that case
                                 in that case dealt with infringement
                                              dealt with infringement under
                                                                        under
      the doctrine
      the            of equivalents,
           doctrine of  equivalents, andand whether
                                            whether aa generic
                                                         generic company’s
                                                                  company's
      “proposed product
      "proposed    product contains
                             contains an
                                       an equivalent  to the
                                          equivalent to   the ‘buffer’ of the
                                                              `buffer' of the
      claims[.]”       Ex. 2010,
                  See Ex.
      claims[. ]" See       2010, 2.
                                   2. Unlike
                                       Unlike here, the alternative
                                              here, the alternative excipient
                                                                    excipient
      that the
      that  the generic
                generic company
                         company contended        was aa buffer
                                      contended was       buffer had
                                                                 had not   be
                                                                       not be
      identified,
      identified, disclosed,   and claimed
                  disclosed, and    claimed asas such by the
                                                 such by   the patentee.  See
                                                               patentee. See
      Ex. 1001
      Ex.        (claim 5).
           1001 (claim   5).
Opp. to Mot.
Opp. to Mot. to
             to Exclude
                Exclude 6–7.
                        6-7.


                                        29
                                        29
                                  Appx000137
                                  Appx000137
       Case: 23-2402      Document: 15       Page: 194    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      We agree with
      We agree with Petitioner
                    Petitioner here that Patent
                               here that Patent Owner's
                                                Owner’s concerns about the
                                                        concerns about the
sufficiency
sufficiency of the support
            of the support for Dr. Byrn's
                           for Dr. Byrn’s opinions
                                          opinions goes
                                                   goes more to the
                                                        more to the weight
                                                                    weight to
                                                                           to
be accorded
be          such opinions
   accorded such opinions rather than aa need
                          rather than         to exclude
                                         need to exclude such
                                                         such opinions. See
                                                              opinions. See
TPG
TPG 40–41,
    40-41, 79 (“A motion
           79 ("A        to exclude
                  motion to exclude must
                                    must explain why the
                                         explain why the evidence
                                                         evidence is
                                                                  is not
                                                                     not
admissible (e.g., relevance
admissible (e.g., relevance or
                            or hearsay) but may
                               hearsay) but may not be used
                                                not be      to challenge
                                                       used to           the
                                                               challenge the
sufficiency
sufficiency of the evidence
            of the          to prove
                   evidence to prove aa particular
                                        particular fact.”).
                                                   fact."). We also note
                                                            We also      that
                                                                    note that
the findings
the findings in the district
             in the district court
                             court litigation are based
                                   litigation are based on
                                                        on aa different
                                                              different record that
                                                                        record that
is
is not before us
   not before us here. For instance,
                 here. For           the district
                           instance, the district court
                                                  court relies on aa Lewis
                                                        relies on    Lewis
reference and aa Harris
reference and    Harris reference that is
                        reference that is not before us
                                          not before    and testimony
                                                     us and testimony from
                                                                      from
Dr. Richard
Dr. Richard Moreton
            Moreton that
                    that is
                         is also
                            also not before us
                                 not before us here.
                                               here. See Ex. 2010
                                                     See Ex. 2010 ¶¶
                                                                  ¶¶ 63–69.
                                                                     63-69.
Therefore, we determine
Therefore, we           that the
              determine that the district
                                 district court’s
                                          court's findings are not
                                                  findings are not sufficiently
                                                                   sufficiently
probative
probative of the questions
          of the           before us
                 questions before us here.
                                     here.
      Also, the
      Also, the district
                district court’s
                         court's findings are not
                                 findings are not as
                                                  as definitive as Patent
                                                     definitive as Patent Owner
                                                                          Owner
states.
states. The
        The patent
            patent owner
                   owner in the district
                         in the district court
                                         court case attempted to
                                               case attempted to prove
                                                                 prove
infringement by the
infringement by the doctrine
                    doctrine of
                             of equivalents
                                equivalents for
                                            for aa formulation that did
                                                   formulation that did not
                                                                        not
expressly
expressly contain
          contain aa buffer,
                     buffer, but
                             but that
                                 that itit argued
                                           argued inherently
                                                  inherently contained
                                                             contained aa buffer
                                                                          buffer
from the chemical
from the chemical disassociation of the
                  disassociation of the active
                                        active ingredient
                                               ingredient in the product.
                                                          in the          See
                                                                 product. See
Ex. 2010,
Ex. 2010, 64–65.
          64-65. The
                 The district
                     district court
                              court found that patent
                                    found that        owner failed
                                               patent owner        to prove
                                                            failed to prove
that this
that this actually
          actually occurs
                   occurs in the accused
                          in the accused product.     at 65.
                                                  Id. at
                                         product. Id.    65. The
                                                             The district
                                                                 district court
                                                                          court
case
case is
     is in
        in stark
           stark contrast with the
                 contrast with the underlying
                                   underlying facts
                                              facts of this proceeding
                                                    of this proceeding in which
                                                                       in which
the prior
the       art formulation
    prior art formulation expressly
                          expressly contains the same
                                    contains the      buffers as
                                                 same buffers as claimed
                                                                 claimed in
                                                                         in
the ’557
the '557 patent.     Ex. 1001,
                 See Ex.
         patent. See     1001, 100:34–36 (claim 5);
                               100:34-36 (claim     Ex. 1004,
                                                5); Ex.       3.
                                                        1004, 3.

                                 (c)
                                 (c) Conclusion
                                     Conclusion
      Based on
      Based on the
               the foregoing, we deny
                   foregoing, we      Patent Owner's
                                 deny Patent Owner’s motion to exclude
                                                     motion to exclude
Exhibit 1002,
Exhibit 1002, Dr.
              Dr. Byrn's
                  Byrn’s testimony.
                         testimony.




                                        30
                                        30
                                  Appx000138
                                  Appx000138
       Case: 23-2402      Document: 15       Page: 195    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
                 (2)
                 (2) The Akorn Labels
                     The Akorn Labels (Exs. 1004 and
                                      (Exs. 1004 and 1057)
                                                     1057)
      Patent Owner
      Patent       asserts that
             Owner asserts that Exhibits
                                Exhibits 1004 and 1057
                                         1004 and      should be
                                                  1057 should be excluded
                                                                 excluded
because Petitioner
because Petitioner failed to show
                   failed to show that
                                  that Exhibit
                                       Exhibit 1004 (Akorn) was
                                               1004 (Alcorn) was publicly
                                                                 publicly
available before the
available before the critical
                     critical date, and Exhibit
                              date, and Exhibit 1057
                                                1057 is
                                                     is deficient to show
                                                        deficient to show such
                                                                          such
public
public availability of Exhibit
       availability of Exhibit 1004. Mot. to
                               1004. Mot. to Exclude
                                             Exclude 7–8.
                                                     7—8.
      We
      We have
         have previously
              previously addressed these issues
                         addressed these issues in
                                                in our
                                                   our determination
                                                       determination of the
                                                                     of the
prior art status
prior art status of Akorn, Ex
                 of Alcorn, Ex. 1004,
                                1004, set
                                      set forth above. See
                                          forth above. See Section II.D.4.a).
                                                           Section II.D.4. a).
For these
For these same
          same reasons,
               reasons, we      Patent Owner’s
                           deny Patent
                        we deny        Owner's motion to exclude
                                               motion to         Exhibits
                                                         exclude Exhibits
1004
1004 and
     and 1057.
         1057.

                            (3) Exhibits 1079-1088
                            (3) Exhibits 1079–1088
      Patent Owner
      Patent       moves to
             Owner moves to exclude Exhibits 1079
                            exclude Exhibits      through 1088
                                             1079 through 1088
submitted with Petitioner's
submitted with Petitioner’s Reply.
                            Reply. See Mot. to
                                   See Mot. to Exclude
                                               Exclude 2,
                                                       2, 8–15. Patent
                                                          8-15. Patent
Owner asserts that
Owner asserts that these
                   these exhibits should have
                         exhibits should      been submitted
                                         have been submitted with the
                                                             with the
Petition and
Petition and are
             are untimely. Id. at
                 untimely. Id. at 8. Patent Owner
                                  8. Patent       also asserts
                                            Owner also         that Dr.
                                                       asserts that Dr. Byrn
                                                                        Byrn
did
did not “elect to
    not "elect to submit
                  submit aa Reply
                            Reply declaration,
                                  declaration, rely
                                               rely upon any of
                                                    upon any of these
                                                                these
documents,
documents, or testify that
           or testify that any
                           any of
                               of them
                                  them are
                                       are the
                                           the kinds
                                               kinds of
                                                     of documents an expert
                                                        documents an expert
in
in his
   his field (much less
       field (much less aa P
                           POSA
                             OSA in the field
                                 in the       of the
                                        field of the invention)
                                                     invention) would
                                                                would rely
                                                                      rely
upon.” Id.
upon." Id.
      Petitioner asserts
      Petitioner         that these
                 asserts that these documents were presented
                                    documents were           to Dr.
                                                   presented to Dr. Laskar
                                                                    Laskar at
                                                                           at
his
his deposition to rebut
    deposition to       Patent Owner's
                  rebut Patent Owner’s assertions
                                       assertions that
                                                  that "two
                                                       “two common
                                                            common
buffering agents,
buffering agents, sodium
                  sodium dihydrogen
                         dihydrogen phosphate and disodium
                                    phosphate and disodium hydrogen
                                                           hydrogen
phosphate—identified
phosphate identified and
                     and claimed by the
                         claimed by the ’557
                                        '557 patent
                                             patent as buffering agents—
                                                    as buffering agents
are
are not buffers in
    not buffers    the claimed
                in the claimed range
                               range of about 4.8
                                     of about 4.8 to
                                                  to about
                                                     about 6.4.” Opp. to
                                                           6.4." Opp. to Mot.
                                                                         Mot.
to Exclude
to Exclude 10 (citing PO
           10 (citing PO Resp.
                         Resp. 35;
                               35; Ex.
                                   Ex. 2003
                                       2003 ¶¶ 56).
                                               56).
      Our
      Our Trial Practice Guide
          Trial Practice Guide states that:
                               states that:
             Petitioner may
             Petitioner         not submit
                           may not  submit new
                                            new evidence
                                                 evidence or or argument
                                                                argument in in
      reply that itit could
      reply that      could have
                            have presented
                                 presented earlier,
                                           earlier, e.g. to make
                                                    e.g. to make out
                                                                 out aa prima
                                                                        prima

                                        31
                                        31
                                  Appx000139
                                  Appx000139
       Case: 23-2402      Document: 15       Page: 196    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      facie
      facie case
            case of
                 of unpatentability.
                    unpatentability. A A party
                                         party may
                                               may also submit rebuttal
                                                   also submit rebuttal
      evidence
      evidence in
                in support
                   support of
                           of its
                              its reply.
                                  reply.
Patent Trial
Patent Trial and Appeal Board
             and Appeal Board Consolidated
                              Consolidated Trial Practice Guide
                                           Trial Practice Guide 73 (Nov.
                                                                73 (Nov.
2019) (citing
2019) (citing Belden
              Belden Inc.
                     Inc. v. Berk-Tek LLC, 805
                          v. Berk-TekLLC,      F.3d
                                           805 F     1064, 1077-78
                                                 .3d 1064, 1077–78 (Fed.
                                                                   (Fed.
Cir. 2015).
Cir. 2015).
      Here, we
      Here, we find that Exhibits
               find that Exhibits 1079 through 1088
                                  1079 through 1088 are appropriate rebuttal
                                                    are appropriate rebuttal
evidence. Petitioner uses
evidence. Petitioner      these exhibits
                     uses these          to test
                                exhibits to test Dr.
                                                 Dr. Laskar's
                                                     Laskar’s opinions
                                                              opinions
concerning the buffering
concerning the buffering range
                         range for
                               for sodium
                                   sodium dihydrogen
                                          dihydrogen phosphate and
                                                     phosphate and
disodium
disodium hydrogen
         hydrogen phosphate. See generally
                  phosphate. See           Ex. 1078,
                                 generally Ex  1078, 91–189.
                                                     91-189. 13 As the
                                                             1' As the
Federal Circuit
Federal Circuit noted
                noted in         there is
                         Belden, there
                      in Belden,       is no bright-line demarcation
                                          no bright-line             between
                                                         demarcation between
support
support for Petitioner’s prima
        for Petitioner's prima facie
                               facie case
                                     case and
                                          and rebuttal
                                              rebuttal evidence. For instance,
                                                       evidence. For instance,
the Federal
the Federal Circuit
            Circuit stated that using
                    stated that using rebuttal
                                      rebuttal evidence as support
                                               evidence as support for the
                                                                   for the
prima
prima facie
      facie case
            case does
                 does not
                      not necessarily mean that
                          necessarily mean that is was "necessary"
                                                is was “necessary” for the
                                                                   for the
prima
prima facie
      facie case
            case requiring
                 requiring it to be
                           it to be in the Petition.
                                    in the Petition.
      Evidence admitted
      Evidence   admitted inin rebuttal  to respond
                               rebuttal to  respond toto the
                                                          the patent
                                                               patent owner’s
                                                                      owner's
      criticisms
      criticisms will
                  will commonly
                        commonly confirm
                                    confirm thethe prima
                                                   prima facie
                                                            facie case.
                                                                   case. That
                                                                          That
      does
      does not
            not make
                make itit necessary to the
                          necessary to  the prima
                                            prima facie
                                                   facie case.   And nothing
                                                          case. And    nothing
      required  the Board
      required the  Board toto write
                               write its
                                      its opinion  to separate
                                          opinion to   separate the
                                                                  the material
                                                                      material
      offered  by [petitioner]
      offered by  [petitioner] at
                               at different
                                  different stages
                                             stages of  the proceeding.
                                                    of the   proceeding.
    Belden, 805
See Belden,
See             F.3d at
            805 F.3d at 1079.
                        1079.
      For these
      For these reasons, we deny
                reasons, we      Patent Owner's
                            deny Patent Owner’s motion to exclude
                                                motion to         Exhibits
                                                          exclude Exhibits
1079 through 1088.
1079 through 1088.




13
   In response
13 In          to Patent
      response to Patent Owner’s    Objections to
                          Owner's Objections    to Evidence,
                                                   Evidence, Petitioner
                                                              Petitioner also
                                                                         also
provided
provided aa Declaration
            Declaration of
                         of Rebecca
                            Rebecca L.L. Baker,
                                         Baker, aa Research
                                                   Research Analyst
                                                             Analyst at
                                                                      at the
                                                                         the law
                                                                             law
firm
firm representing  Petitioner, attesting
      representingPetitioner,  attesting to
                                         to the
                                            the authenticity
                                                authenticity of Exhibits 1079,
                                                             of Exhibits  1079,
1081–1085.
1081-1085. See    Ex. 1095.
              See Ex. 1095.


                                        32
                                        32
                                  Appx000140
                                  Appx000140
       Case: 23-2402       Document: 15        Page: 197     Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
                                    c)
                                    c) Claim 1
                                       Claim 1
      Petitioner asserts
      Petitioner         that claim
                 asserts that claim 1
                                    1 recites
                                      recites elements
                                              elements previously
                                                       previously known
                                                                  known in
                                                                        in
Chia and Alcorn:
Chia and Akorn: "(1)
                 “(1) the
                      the use
                          use of atropine and
                              of atropine and low-concentration
                                              low-concentration atropine
                                                                atropine
solutions to treat
solutions to treat myopia
                   myopia progression
                          progression as taught by
                                      as taught by Chia,
                                                   Chia, combined with (2)
                                                         combined with (2)
well-known buffering agents
well-known buffering        to achieve
                     agents to achieve aa pH
                                          pH range
                                             range known to prevent
                                                   known to prevent
degradation
degradation of the atropine
            of the atropine solution while maintaining
                            solution while maintaining clinical
                                                       clinical efficacy.”
                                                                efficacy."
Pet. 23.
Pet. 23. The
         The claimed “stabilized” atropine
             claimed "stabilized"          solution of
                                  atropine solution of claim
                                                       claim 1
                                                             1 requiring
                                                               requiring no
                                                                         no
more than 10%
more than 10% of an atropine
              of an atropine "degradant"
                             “degradant” is
                                         is formed, Petitioner asserts,
                                            formed, Petitioner asserts, is an
                                                                        is an
expected
expected result of the
         result of the combination of Chia’s
                       combination of Chia's low-concentration
                                             low-concentration atropine
                                                               atropine
formulation
formulation and Akorn’s buffering
            and Alcorn's buffering agents.
                                   agents. Id.
                                           Id.
      Petitioner describes
      Petitioner           what itit terms
                 describes what      terms the
                                           the "ample"
                                               “ample” motivation
                                                       motivation to
                                                                  to make
                                                                     make
such
such aa combination and the
        combination and the reasonable
                            reasonable expectation of success
                                       expectation of success for
                                                              for such
                                                                  such aa
combination as follows.
combination as              Pet. 23-24
                        See Pet.
               follows. See      23–24 (citing
                                       (citing Ex
                                               Ex. 1002
                                                   1002 ¶¶ 64-78).
                                                           64–78).
      In   2012, Chia
       In 2012,   Chia disclosed     that atropine,
                          disclosed that   atropine, and
                                                       and specifically
                                                             specifically low-
                                                                             low-
      concentration    atropine, eye
       concentration atropine,    eye drops
                                      drops effectively    treated myopia
                                             effectively treated              and
                                                                      myopia and
      reduced
       reduced patient
                 patient compliance
                            compliance issues       associated with
                                           issues associated        with higher
                                                                           higher
      concentration
       concentration compositions.
                       compositions. Ex.Ex. 1003,
                                             1003, 7–8.    Because atropine’s
                                                    7-8. Because       atropine's
      pH-dependent
       pH-dependent stability     was well
                        stability was well known
                                            known in   the art,
                                                    in the  art, aa P
                                                                    POSA   would
                                                                      O SA would
      have
       have looked   to FDA-approved
             looked to  FDA-approved atropine
                                          atropine ophthalmic
                                                    ophthalmic solutions
                                                                    solutions for
                                                                               for
      aa suitable    buffering system
          suitable buffering     system toto prevent
                                               prevent degradation
                                                         degradation of        the
                                                                           of the
      solution.   Ex. ¶ 65.
       solution. Ex.     65. Thus,
                               Thus, aa POSA
                                        POSA would
                                                 would have     been motivated
                                                        have been      motivated
      to use
      to                buffers and
               Akorn’s buffers
          use Akorn's             and pH
                                      pH range
                                          range of   3.5–6.0 for
                                                  of 3.5-6.0         the atropine
                                                                for the  atropine
      solution
       solution disclosed
                disclosed inin Chia.
                               Chia. A APPOSA     would have
                                           OSA would      have confirmed      that
                                                                  confirmed that
      this pH
      this  pH range   was appropriate
                range was    appropriate via
                                           via routine
                                                routine experimentation
                                                         experimentation and  and
      based on
      based        the predicted
               on the   predicted stability    of atropine
                                    stability of   atropine at at various
                                                                    various pHs
                                                                              pHs
      disclosed
       disclosed in  Kondritzer.
                  in Kondritzer.
Pet. 23-24.
Pet. 23–24.
      Patent Owner
      Patent Owner responds that Alcorn
                   responds that Akorn "does
                                        “does not
                                              not disclose the phosphate
                                                  disclose the phosphate
salts are buffering
salts are buffering agents.
                    agents. Nor
                            Nor does
                                does itit disclose that the
                                          disclose that the Alcorn
                                                            Akorn product
                                                                   product has
                                                                           has aa
pH
pH range of 3.5-6.0.
   range of 3.5–6.0. Each
                     Each of
                          of these
                             these failures
                                   failures is
                                            is case
                                               case dispositive,” as all
                                                    dispositive," as all
grounds
grounds rely
        rely exclusively
             exclusively on Akorn "to
                         on Alcorn “to disclose
                                       disclose aa stabilized atropine
                                                   stabilized atropine


                                          33
                                          33
                                    Appx000141
                                    Appx000141
       Case: 23-2402     Document: 15      Page: 198   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
ophthalmic aqueous solution
ophthalmic aqueous solution comprising
                            comprising aa buffering
                                          buffering agent such that
                                                    agent such that no
                                                                    no more
                                                                       more
than 10%
than 10% of
         of an
            an atropine
               atropine degradant
                        degradant is
                                  is formed.” PO Resp.
                                     formed." PO Resp. 1, 25–26. Patent
                                                       1, 25-26. Patent
Owner also asserts
Owner also asserts that
                   that Petitioner's
                        Petitioner’s only
                                     only motivation
                                          motivation for
                                                     for making the claimed
                                                         making the claimed
combinations
combinations in the ’557
             in the '557 patent
                         patent results
                                results from
                                        from improper
                                             improper hindsight.     PO
                                                                 See PO
                                                      hindsight. See
Resp. 41-50.
Resp. 41–50.

                        (1)
                        (1) Uncontested Limitations
                            Uncontested Limitations
      We begin our
      We begin our analysis
                   analysis with the limitations
                            with the limitations of
                                                 of claim
                                                    claim 1 that Patent
                                                          1 that Patent
Owner
Owner does
      does not
           not dispute are taught
               dispute are taught by
                                  by the
                                     the prior art. Petitioner
                                         prior art. Petitioner points to both
                                                               points to both
Chia and
Chia and Akorn
         Akorn as
               as teaching
                  teaching the
                           the preamble “[a] method
                               preamble "[a]        of treating
                                             method of treating
progression of myopia
progression of myopia or
                      or reducing the progression
                         reducing the progression rate
                                                  rate of
                                                       of myopia
                                                          myopia in an
                                                                 in an
individual
individual in
           in need thereof.” Pet.
              need thereof"  Pet. 29-30;
                                  29–30; see Ex. 1002
                                         see Ex. 1002 ¶¶ 83–85. Chia
                                                         83-85. Chia
describes the
describes the ATOM2
              ATOM2 study, which "examined
                    study, which “examined the
                                           the effect
                                               effect of
                                                      of lower
                                                         lower doses
                                                               doses of
                                                                     of
atropine to
atropine to determine
            determine whether these concentrations
                      whether these concentrations could
                                                   could result
                                                         result in
                                                                in efficacy
                                                                   efficacy
in
in preventing
   preventing myopia
              myopia progression,
                     progression, with
                                  with less visual side
                                       less visual side effects (i.e., pupil
                                                        effects (i.e., pupil
dilation,
dilation, loss
          loss of accommodation, and
               of accommodation, and near vision blur)."
                                     near vision blur).” Ex.
                                                         Ex. 1003, 1–2.
                                                             1003, 1-2.
Petitioner points
Petitioner        out that
           points out that Chia
                           Chia also
                                also discloses that the
                                     discloses that the study
                                                        study participants
                                                              participants had
                                                                           had
“myopic refraction
"myopic refraction of at least
                   of at       2.0 D
                         least 2.0 D in both eyes”
                                     in both       and "documented
                                             eyes" and “documented myopic
                                                                   myopic
progression of at
progression of at least
                  least 0.5 D in
                        0.5 D    the past
                              in the      year.” Pet.
                                     past year." Pet. 29
                                                      29 (quoting
                                                         (quoting Ex.
                                                                  Ex. 1003, 2;
                                                                      1003, 2;
Ex. 1002
Ex. 1002 ¶ 84). Because those
           84). Because those participants were administered
                              participants were administered doses of
                                                             doses of
atropine sulfate
atropine sulfate eye
                 eye drop
                     drop solution “once nightly
                          solution "once nightly in both eyes,”
                                                 in both        Petitioner
                                                         eyes," Petitioner
asserts "Chia
asserts “Chia renders
              renders obvious
                      obvious claim
                              claim 1’s
                                    l's ‘method of treating
                                        `method of treating progression of
                                                            progression of
myopia or
myopia or reducing the progression
          reducing the progression rate of myopia
                                   rate of myopia in an individual
                                                  in an individual in
                                                                   in need
                                                                      need
thereof.’”
thereof    Pet. 29;
        ' Pet.  29; Ex.
                    Ex. 1002
                        1002 ¶¶ 84.
                                84.
      Petitioner also
      Petitioner also relies on Akorn
                      relies on Akorn for teaching the
                                      for teaching the preamble by disclosing
                                                       preamble by disclosing
an FDA-approved,
an FDA-approved, commercially available atropine
                 commercially available atropine sulfate
                                                 sulfate ophthalmic
                                                         ophthalmic
solution that
solution that has buffering agents.
              has buffering agents. Pet.
                                    Pet. 29.
                                         29. Dr.
                                             Dr. Byrn
                                                 Byrn testifies
                                                      testifies that
                                                                that "atropine
                                                                     “atropine


                                      34
                                      34
                                 Appx000142
                                 Appx000142
       Case: 23-2402     Document: 15      Page: 199   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
has been used
has been      to treat
         used to treat myopia
                       myopia for decades,” therefore,
                              for decades," therefore, "[i]n
                                                       “[i]n view
                                                             view of the
                                                                  of the
common
common knowledge
       knowledge regarding this use
                 regarding this use of atropine, and
                                    of atropine, and in view of
                                                     in view of Chia,
                                                                Chia,
administering         atropine sulfate
              Akorn’s atropine
administering Akorn's          sulfate ophthalmic solution to
                                       ophthalmic solution to treat
                                                              treat myopia
                                                                    myopia
would
would have been obvious.”
      have been           Ex. 1002
                obvious." Ex  1002 ¶ 85.
                                     85.
      We agree with
      We agree with Petitioner
                    Petitioner that
                               that Chia teaches aa method
                                    Chia teaches    method for treating or
                                                           for treating or
reducing the progression
reducing the progression of
                         of myopia
                            myopia in
                                   in an
                                      an individual
                                         individual in
                                                    in need as described
                                                       need as described in
                                                                         in
the ATOM2
the ATOM2 study.
          study. We
                 We also agree with
                    also agree with Dr.
                                    Dr. Byrn's
                                        Byrn’s assessment of aa POSA
                                               assessment of    POSA
using
using aa commercially available, FDA-approved
         commercially available, FDA-approved atropine
                                              atropine product,
                                                       product, such
                                                                such as
                                                                     as
Akorn, to
Alcorn, to treat
           treat myopia
                 myopia would
                        would have been obvious.
                              have been obvious.
      Petitioner asserts
      Petitioner         that the
                 asserts that the combination of Chia,
                                  combination of Chia, Alcorn,
                                                       Akorn, and
                                                               and Kondritzer
                                                                   Kondritzer
teach the
teach the limitation
          limitation of “administering to
                     of "administering to an
                                          an eye
                                             eye of the individual
                                                 of the            (a) an
                                                        individual (a) an
aqueous solution comprising
aqueous solution            atropine or
                 comprising atropine or atropine sulfate and
                                        atropine sulfate and less than about
                                                             less than about
10%
10% of
    of aa degradant of atropine
          degradant of          or atropine
                       atropine or atropine sulfate
                                            sulfate formed
                                                    formed from
                                                           from degradation
                                                                degradation
of the atropine
of the atropine or atropine sulfate.”
                or atropine           Pet. 30-32.
                            sulfate." Pet. 30–32. As
                                                  As Petitioner
                                                     Petitioner points out,
                                                                points out,
both Chia
both Chia and
          and Alcorn
              Akorn teach
                     teach their
                           their atropine solutions are
                                 atropine solutions are administered
                                                        administered to
                                                                     to the
                                                                        the
eyes of individuals.
eyes of              Pet. 30
        individuals. Pet. 30 (citing
                             (citing Ex.
                                     Ex. 1003,
                                         1003, 22 (participants
                                                  (participants received
                                                                received
atropine sulfate eye
atropine sulfate eye drops “once nightly
                     drops "once nightly in both eyes”);
                                         in both         Ex. 1004,
                                                 eyes"); Ex.       1–4
                                                             1004, 1-4
(describing "eyedrop
(describing “eyedrop instillation” administration by
                     instillation" administration by "1
                                                     “1 drop topically to
                                                        drop topically to the
                                                                          the
cul-de-sac
cul-de-sac of the conjunctiva”).
           of the                Akorn expressly
                  conjunctiva"). Alcorn expressly states that its
                                                  states that     solution
                                                              its solution
contains
contains water, Ex. 1003,
         water, Ex.       2and Dr.
                    1003, 2and Dr. Byrn
                                   Byrn persuasively testifies that
                                        persuasively testifies that the
                                                                    the liquid
                                                                        liquid
“eye drops”
"eye drops" of
            of Chia “are well
               Chia "are well understood
                              understood in the art"
                                         in the art” to
                                                     to be
                                                        be "most
                                                           “most commonly
                                                                 commonly
aqueous ophthalmic solutions.”
aqueous ophthalmic             Ex. 1002
                   solutions." Ex. 1002 ¶ 89.
                                          89.
      Petitioner asserts
      Petitioner         that the
                 asserts that the degradation
                                  degradation limit
                                              limit component
                                                    component of this
                                                              of this
limitation
limitation is “simply an
           is "simply an inherent
                         inherent property
                                  property of the atropine
                                           of the atropine or atropine sulfate
                                                           or atropine sulfate
ophthalmic solution.” Pet.
ophthalmic solution." Pet. 31
                           31 (citing
                              (citing Ex.
                                      Ex. 1002
                                          1002 ¶ 91). Petitioner relies
                                                 91). Petitioner        on the
                                                                 relies on the
teachings of
teachings    Kondritzer to
          of Kondritzer to show
                           show this
                                this limitation
                                     limitation is an inherent
                                                is an inherent property of the
                                                               property of the
composition,
composition, i.e., that the
             i.e., that the limit
                            limit on the amount
                                  on the amount of
                                                of degradation
                                                   degradation products, such
                                                               products, such

                                      35
                                      35
                                 Appx000143
                                 Appx000143
       Case: 23-2402     Document: 15       Page: 200   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
as tropic acid,
as tropic acid, necessarily
                necessarily results
                            results from the claimed
                                    from the claimed ophthalmic
                                                     ophthalmic composition.
                                                                composition.
    Pet. 31;
See Pet.
See      31; Ex.
             Ex. 1002
                 1002 ¶ 43; Ex. 1005;
                        43; Ex        see In re
                                1005; sean           639 F.3d
                                                Kao, 639
                                             re Kao,     F.3d 1057 (Fed.
                                                              1057 (Fed.
Cir. 2011) (determining
Cir. 2011) (determining claim
                        claim limitation
                              limitation directed to an
                                         directed to an inherent
                                                        inherent property
                                                                 property of
                                                                          of aa
formulation “adds nothing
formulation "adds nothing of
                          of patentable
                             patentable consequence”).
                                        consequence").
      For instance,
      For           Dr. Byrn
          instance, Dr. Byrn testifies
                             testifies that
                                       that "Kondritzer
                                            “Kondritzer showed
                                                        showed that
                                                               that atropine
                                                                    atropine
degradation
degradation was
            was aa predictable
                   predictable function of pH
                               function of    and temperature.
                                           pH and temperature. Ex.
                                                               Ex. 1005, 1,
                                                                   1005, 1,
4–5. Kondritzer derived
4-5. Kondritzer derived an
                        an equation to predict
                           equation to         the pH
                                       predict the pH at which atropine
                                                      at which atropine
would be most
would be      stable for
         most stable for any
                         any hydrogen
                             hydrogen ion
                                      ion concentration. Ex. 1005,
                                          concentration. Ex. 1005, 2."
                                                                   2.”
Ex. 1002
Ex.        92. Dr.
    1002 ¶ 92. Dr. Byrn
                   Byrn also testifies that
                        also testifies that Kondritzer
                                            Kondritzer shows
                                                       shows in Figure 10
                                                             in Figure 10
that "at
that “at 20°
         20° C and pH
             C and pH 5, the half-life
                      5, the half-life of atropine is
                                       of atropine    266 years;
                                                   is 266 years; and
                                                                 and at 20° C
                                                                     at 20° C
and
and pH 6, the
    pH 6, the half-life of atropine
              half-life of atropine is 27 years."
                                    is 27 years.” Ex.
                                                  Ex. 1002   93. Dr.
                                                      1002 ¶ 93. Dr. Byrn
                                                                     Byrn
utilized Kondritzer’s chart
utilized Kondritzer's chart in Figure 10
                            in Figure    to calculate
                                      10 to           the time
                                            calculate the time itit would take
                                                                    would take
for
for 10%
    10% of atropine to
        of atropine to degrade
                       degrade at
                               at aa pH
                                     pH of
                                        of 5 and 20°
                                           5 and 20° C.
                                                     C. Id. Dr. Byrn
                                                        Id. Dr. Byrn
concludes that "at
concludes that “at 20°
                   20° C and pH
                       C and pH 5,
                                5, aa POSA
                                      POSA would
                                           would reasonably
                                                 reasonably expect the
                                                            expect the
compositions of claim
compositions of claim 1 to comprise
                      1 to          90% atropine
                           comprise 90% atropine for
                                                 for approximately
                                                     approximately 40.4
                                                                   40.4
years. At
years. At these
          these parameters, which fall
                parameters, which fall within the limitations
                                       within the limitations of
                                                              of claim 1,
                                                                 claim 1,
           shows that
Kondritzer shows
Kondritzer       that atropine
                      atropine would
                               would readily
                                     readily exceed the stability
                                             exceed the stability
requirements
requirements of
             of limitation
                limitation 1[b],
                           1[b], which allows for
                                 which allows for up to 10%
                                                  up to 10% degradation.”
                                                            degradation."
Id. ¶ 93.
Id.   93.
      We
      We credit Dr. Byrn's
         credit Dr. Byrn’s testimony
                           testimony concerning the teachings
                                     concerning the teachings of
                                                              of
Kondritzer and
Kondritzer and the
               the ability of aa P
                   ability of    POSA  to predict
                                   OSA to         the amount
                                          predict the amount of
                                                             of degradation
                                                                degradation of
                                                                            of
atropine over time.
atropine over time. Therefore, we find
                    Therefore, we      that Petitioner
                                  find that Petitioner has shown that
                                                       has shown that the
                                                                      the
degradation
degradation component of this
            component of this limitation
                              limitation is
                                         is inherent
                                            inherent in the ophthalmic
                                                     in the ophthalmic
solution of claim
solution of claim 1.
                  1.




                                       36
                                       36
                                 Appx000144
                                 Appx000144
       Case: 23-2402     Document: 15       Page: 201   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2

                              (2) Buffering Agent
                              (2) Buffering Agent
      The
      The heart of the
          heart of the parties’
                       parties' dispute
                                dispute in this case
                                        in this case involves
                                                     involves whether the cited
                                                              whether the cited
art teaches "a
art teaches “a buffering
               buffering agent."
                         agent.” See Pet. 32;
                                 See Pet. 32; PO
                                              PO Resp.
                                                 Resp. 25-41.
                                                       25–41.
      Petitioner relies
      Petitioner relies on Akorn as
                        on Alcorn as disclosing
                                     disclosing dibasic
                                                dibasic sodium
                                                        sodium phosphate,
                                                               phosphate, and
                                                                          and
monobasic sodium phosphate,
monobasic sodium            which "a
                 phosphate, which “a P
                                     POSA  would have
                                       OSA would have understood these
                                                      understood these
to be
to be buffering
      buffering agents that Akorn
                agents that Akorn uses to achieve
                                  uses to         and maintain
                                          achieve and          the desired
                                                      maintain the desired
solution
solution pH.” Pet. 32
         pH." Pet. 32 (citing
                      (citing Ex.
                              Ex. 1002
                                  1002 ¶¶
                                       ¶¶ 94–95)
                                          94-95)
      Patent Owner
      Patent Owner disagrees. Patent Owner
                   disagrees. Patent       asserts that
                                     Owner asserts that "all
                                                        “all grounds
                                                             grounds
critically
critically hinge on using
           hinge on       the same
                    using the same ‘buffer system’ and
                                   `buffer system' and pH
                                                       pH range allegedly
                                                          range allegedly
disclosed
disclosed in
          in [Akorn].”  PO Resp.
             [Alcorn]." PO Resp. 30.
                                 30. But,
                                     But, Patent
                                          Patent Owner
                                                 Owner asserts that Alcorn
                                                       asserts that Akorn
does
does not
     not state that itit employs
         state that      employs aa buffering
                                    buffering agent
                                              agent to
                                                    to control
                                                       control or maintain pH
                                                               or maintain pH of
                                                                              of
its
its atropine solution, and
    atropine solution, and does
                           does not
                                not even
                                    even disclose the actual
                                         disclose the actual pH
                                                             pH of
                                                                of its
                                                                   its solution.
                                                                       solution.
PO Resp.
PO Resp. 26.
         26. Patent
             Patent Owner also asserts
                    Owner also         that the
                               asserts that the phosphate
                                                phosphate salts
                                                          salts disclosed
                                                                disclosed in
                                                                          in
Akorn are
Alcorn are not
           not identified as buffering
               identified as buffering agents,
                                       agents, and
                                               and could
                                                   could not
                                                         not have buffered
                                                             have buffered
Akorn’s solution
Akorn's solution at the listed
                 at the listed pH
                               pH range. Id. at
                                  range. Id.    26–27, 34-35.
                                             at 26-27, 34–35. Dr.
                                                              Dr. Laskar
                                                                  Laskar
testifies that
testifies that in
               in listing the pH
                  listing the pH range
                                 range of 3.5 to
                                       of 3.5 to 6.0, Akorn is
                                                 6.0, Alcorn is merely showing
                                                                merely showing
compliance with the
compliance with the pH
                    pH limits
                       limits imposed by the
                              imposed by the National
                                             National Formulary
                                                      Formulary of
                                                                of the
                                                                   the
U.S. Pharmacopeia
U.S. Pharmacopeia ("USP")
                  (“USP”) and
                          and does
                              does not
                                   not state the pH
                                       state the    of the
                                                 pH of the described
                                                           described
solution. PO Resp.
solution. PO Resp. 1, 33–35.
                   1, 33-35.
      Akorn describes
      Alcorn           the ingredients
             describes the ingredients of
                                       of its
                                          its formulation as follows.
                                              formulation as follows.
      Each mL
      Each   mL of    Atropine Sulfate
                  of Atropine           Ophthalmic Solution
                               Sulfate Ophthalmic               USP, 1%
                                                      Solution USP,    1%
      contains:   Active: atropine
      contains: Active:             sulfate 10
                           atropine sulfate 10 mg
                                               mg equivalent   to 8.3
                                                    equivalent to  8.3 mg
                                                                       mg
      of atropine. Inactives:
      of atropine.              benzalkonium chloride
                     Inactives: benzalkonium   chloride 0.1
                                                         0.1 mg  (0.01%),
                                                             mg (0.01%),
      dibasic   sodium phosphate,
      dibasic sodium      phosphate, edetate
                                      edetate disodium     Hypromellose
                                               disodium Hypromellose
      (2910), monobasic
      (2910),              sodium phosphate,
               monobasic sodium    phosphate, hydrochloric    acid and/or
                                               hydrochloric acid    and/or
      sodium
      sodium hydroxide     may be
               hydroxide may    be added  to adjust
                                   added to  adjust pH  (3.5 to
                                                     pH (3.5 to 6.0), and
                                                                6.0), and
      water
      water for
             for injection USP.
                 injection USP.
Ex. 1004,
Ex.       3.
    1004, 3.



                                       37
                                       37
                                 Appx000145
                                 Appx000145
       Case: 23-2402        Document: 15         Page: 202       Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
       Patent Owner's
       Patent Owner’s argument
                      argument rests
                               rests on
                                     on aa listed buffering range
                                           listed buffering range in the
                                                                  in the
Waterman
Waterman reference
         reference for
                   for phosphoric acid that
                       phosphoric acid that does
                                            does not
                                                 not encompass
                                                     encompass aa pH
                                                                  pH of
                                                                     of
3.5 to
3.5 to 6.0
       6.0 as
           as set
              set forth
                  forth in Akorn. See
                        in Alcorn.     Ex. 2003
                                   See Ex  2003 ¶ 52; Ex. 1040,
                                                  52; Ex.       23. As
                                                          1040, 23. As Dr.
                                                                       Dr.
Laskar testifies,
Laskar testifies, "Waterman
                  “Waterman Table
                            Table 8
                                  8 lists the ‘Buffering
                                    lists the            Range’ of
                                              `Buffering Range' of
Phosphoric acid
Phosphoric acid as
                as ‘2–3.1, 6.2–8.2.’” Ex.
                   `2-3.1, 6.2-8.2."  Ex. 2003
                                          2003 ¶¶ 52 (citing Ex.1040,
                                                  52 (citing Ex.1040, Table
                                                                      Table
8). Dr. Laskar
8). Dr. Laskar testifies:
               testifies:
      As the
      As   the Waterman
               Waterman reference         submitted with
                             reference submitted        with the
                                                              the petition
                                                                  petition explains,
                                                                             explains,
      when    selecting aa buffer,
      when selecting         buffer, which
                                       which actsacts to
                                                       to maintain
                                                           maintain aa solution
                                                                         solution pHpH
      (e.g., at
      (e.g.,  at the
                 the pH
                      pH of
                          of maximum
                              maximum stability
                                            stability of    the active
                                                         of the active ingredient),
                                                                          ingredient),
      the "primary
      the  “primary criteria
                       criteria for   selection” are
                                for selection"      are "the
                                                         “the pH
                                                               pH range
                                                                  range and     buffer
                                                                           and buffer
      capacity    [which is
      capacity [which      is maximal
                              maximal at  at aa pH  value equal
                                                pH value           to the
                                                            equal to   the pK    of the
                                                                            pKaa of the
      buffer (164)]
      buffer   (164)] for   the buffer."
                       for the  buffer.” Ex.Ex. 1040,
                                                  1040, 2323 (bracketed
                                                             (bracketed in in material
                                                                              material
      in
      in original).
          original). Waterman
                       Waterman states         that its
                                      states that       “Table 88 lists
                                                    its "Table      lists commonly
                                                                           commonly
      used   buffers along
      used buffers    along with    their pK
                              with their         values and
                                           pKaa values    and optimal
                                                               optimal pHpH ranges.”
                                                                              ranges."
      Id. Waterman
      Id.   Waterman Table
                         Table 8 8 lists the "Buffering
                                   lists the  “Buffering Range"
                                                             Range” of of Phosphoric
                                                                          Phosphoric
                                                                            hosphoric
      acid
      acid asas "2-3.1,
                 “2–3.1, 6.2-8.3."
                            6.2–8.3.” Id.;Id.; Table
                                                 Table 8;8; see  also paragraph
                                                             see also    paragraph 9  9
      above.
      above. In  In other
                     other words,
                            words, thethe buffering
                                           buffering range
                                                        range ofof phosphoric
                                                                   phosphoric acidacid
      and
      and itsits dibasic
                   dibasic sodium
                             sodium phosphate
                                         phosphate and   and monobasic
                                                               monobasic sodiumsodium
      phosphate
      phosphate salts
                    salts does
                          does not
                                not cover
                                      cover oror even
                                                  even overlap    with aa solution
                                                        overlap with       solution of
                                                                                     of
      pH
      pH ofof 3.5-6.
               3.5–6.
Ex. 2003
Ex. 2003 ¶ 52.
           52.
       Patent Owner's
       Patent Owner’s argument
                      argument presumes that the
                               presumes that the pK
                                                 pKaa for
                                                      for aa particular buffer
                                                             particular buffer
is set at
is set at aa particular
             particular pH
                        pH range which is
                           range which is not
                                          not malleable
                                              malleable depending
                                                        depending on the
                                                                  on the
conditions of the
conditions of the solution
                  solution that
                           that is being buffered.
                                is being buffered. Waterman
                                                   Waterman itself
                                                            itself refutes this
                                                                   refutes this
presumption. First, Waterman
presumption. First, Waterman describes the buffering
                             describes the buffering ranges
                                                     ranges listed
                                                            listed in
                                                                   in
Table
Table 8
      8 as “optimal” pH
        as "optimal" pH ranges
                        ranges of
                               of pK   ± 11 indicating
                                  pKaa ±               some buffering
                                            indicating some buffering
capacity
capacity may
         may exist below or
             exist below    above the
                         or above the given
                                      given ranges.
                                            ranges. See Ex. 1040,
                                                    See Ex        23.
                                                            1040, 23.
Dr. Byrn
Dr. Byrn testifies
         testifies that
                   that the
                        the most
                            most effective
                                 effective pH
                                           pH range
                                              range for
                                                    for aa buffer
                                                           buffer is within ±
                                                                  is within ± 11
of
of its
   its pK a, but
       pKa,  but "[i]t's
                 “[i]t’s not
                         not aa hard
                                hard cutoff;
                                     cutoff; it’s
                                             it's an
                                                  an effectiveness
                                                     effectiveness issue.” Ex.
                                                                   issue." Ex
2009, 87:5–12;
2009,          see id.
      87:5-12; see     at 88:23–89:19
                   id. at 88:23-89:19 (pKa ± 11 covers
                                      (pKa ±           the most
                                                covers the most effective
                                                                effective
buffer range,
buffer        but itit is
       range, but      is not
                          not aa hard
                                 hard cutoff),
                                      cutoff), 91:7–18 (person of
                                               91:7-18 (person of skill
                                                                  skill knows
                                                                        knows pK
                                                                              pKaa


                                            38
                                            38
                                      Appx000146
                                      Appx000146
       Case: 23-2402      Document: 15       Page: 203    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
± 11 is
±    is not
        not aa hard
               hard cutoff);
                    cutoff); 95:11–97:4 (applying the
                             95:11-97:4 (applying the Henderson,
                                                      Henderson, Hasselbach
                                                                 Hasselbach
equation
equation provides
         provides aa wider
                     wider pH buffering range
                           pH buffering       than pK
                                        range than      ± 1).
                                                   pKaa ±     Dr. Laskar
                                                          1). Dr. Laskar
testifies that
testifies      pKaa changes
          that pK           as aa function
                    changes as             of temperature.
                                  function of temperature. Ex.
                                                           Ex. 1078,
                                                               1078, 124:5–9.
                                                                     124:5-9.
Waterman
Waterman also states that
         also states that "[u]se
                          “[u]se of
                                 of co-solvents,
                                    co-solvents, surfactants, and complexing
                                                 surfactants, and complexing
agents to solubilize
agents to solubilize aa drug
                        drug may
                             may also
                                 also influence that buffering
                                      influence that buffering capacity
                                                               capacity and
                                                                        and
final
final pH of aa formulation
      pH of                by altering
               formulation by          the effective
                              altering the           pKaa of
                                           effective pK      the buffer
                                                          of the buffer and/or
                                                                        and/or
directly
directly interacting with the
         interacting with the buffer
                              buffer components.” Ex. 1040,
                                     components." Ex.       24. The
                                                      1040, 24. The
evidence
evidence of
         of record
            record indicates that the
                   indicates that     pKaa for
                                  the pK   for aa buffer
                                                  buffer is
                                                         is not
                                                            not static, but
                                                                static, but
depends on the
depends on the parameters of the
               parameters of the solution
                                 solution in which the
                                          in which the buffer
                                                       buffer is used.
                                                              is used.
      As for
      As     the specific
         for the specific phosphate buffers used
                          phosphate buffers used in Akorn and
                                                 in Akorn and claim
                                                              claim 5 of the
                                                                    5 of the
’557
'557 patent, Petitioner submitted
     patent, Petitioner submitted credible
                                  credible evidence that the
                                           evidence that the lower
                                                             lower end of the
                                                                   end of the
buffer range
buffer range for these buffers
             for these buffers may be as
                               may be as low as pH
                                         low as pH 5.4. For instance,
                                                   5.4. For instance, in
                                                                      in
Chapter
Chapter 4
        4 of the Fifth
          of the Fifth Edition
                       Edition of
                               of the
                                  the European
                                      European Pharmacopoeia,
                                               Pharmacopoeia, with
                                                              with which
                                                                   which
Dr. Laskar
Dr. Laskar testifies
           testifies he
                     he is
                        is familiar and which
                           familiar and which contains
                                              contains recipes
                                                       recipes for various
                                                               for various
buffer solutions,
buffer solutions, is
                  is described
                     described aa 0.067 molar phosphate
                                  0.067 molar           buffer solution
                                              phosphate buffer solution with
                                                                        with aa
pH of 5.4
pH of     that is
      5.4 that    within the
               is within the 3.5
                             3.5 to
                                 to 6.0
                                    6.0 pH
                                        pH range set forth
                                           range set forth in Akorn. See
                                                           in Akorn. See
Ex. 1081,
Ex. 1081, 6; Ex. 1078,
          6; Ex. 1078, 113:12–118:20; see also
                       113:12-118:20; see      Ex. 1078,
                                          also Ex  1078, 115:22–116:5
                                                         115:22-116:5
(stating European
(stating European Pharmacopoeia
                  Pharmacopoeia provides
                                provides aa recipe
                                            recipe for an 0.067
                                                   for an 0.067 molar
                                                                molar
phosphate buffer solution
phosphate buffer solution pH
                          pH 5.4 within the
                             5.4 within the 3.5
                                            3.5 to
                                                to 6.0
                                                   6.0 pH
                                                       pH range).
                                                          range).
      Petitioner also
      Petitioner also presents
                      presents further
                               further evidence of aa phosphate
                                       evidence of              buffer with
                                                      phosphate buffer with aa
pH
pH range
   range of
         of 5.8 to 8.0
            5.8 to     as set
                   8.0 as set forth
                              forth in
                                    in aa book
                                          book titled
                                               titled "Buffers:
                                                      “Buffers: A
                                                                A guide
                                                                  guide for the
                                                                        for the
preparation
preparation and
            and use
                use of buffer in
                    of buffer    biological systems,"
                              in biological systems,” by
                                                      by Calbiochem,
                                                         Calbiochem, an
                                                                     an
affiliate of Merck
affiliate of Merck KGaA.
                   KGaA. See Ex. 1082,
                         See Ex. 1082, 1, 2, 25.
                                       1, 2, 25. The
                                                 The excerpt showing the
                                                     excerpt showing the
recipe
recipe is
       is set
          set forth
              forth in
                    in aa screenshot,
                          screenshot, which
                                      which is
                                            is reproduced below. Ex.
                                               reproduced below. Ex. 1082, 25.
                                                                     1082, 25.




                                        39
                                        39
                                  Appx000147
                                  Appx000147
              Case: 23-2402                               Document: 15                          Page: 204                      Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2

                6.      Phosphate Buffer; pH range 5.8 to 8.0
                        (a) 0.1 M Sodium phosphate monobasic: 13.8 giI (monohydratc,
                        M.W. 138.0)
                        (b) 0.1 M Sodium phosphate dibasic: 26.8 glI theptahydrate, M.W. 268.01

                Mix sodium phosphate monobasic and dibasic solut ion' in the proportions
                indicated and adjust the tinal volume to 20O ml with deionized water. Adjust
                 the final pH using a sensitive pH meter.

                       — of Sodium                   32 3      r   i    .:c        F: F      51O       39C       26.3      '9.0      13C        6.5       F.
                   phosphate, Moroba:
                       — of Sodium                                                                                         -•c
                     phosow.e, Dhasi;
                                                     8C                  2E-                 IQ 0     Eli        7::                 H7 C      31.5      94:

                                                     5E        r.,       El                             7C        7;        ' 1       7E.       7.8       8:
                               P"



The screenshot above
The screenshot above shows
                     shows aa recipe and accompanying
                              recipe and accompanying table
                                                      table for
                                                            for making an
                                                                making an
aqueous
aqueous phosphate buffer having
        phosphate buffer having aa pH between 5.8
                                   pH between     and 8.0
                                              5.8 and     by mixing
                                                      8.0 by mixing 0.1 M
                                                                    0.1 M
sodium
sodium phosphate
       phosphate monobasic with 0.1
                 monobasic with     M sodium
                                0.1 M sodium phosphate
                                             phosphate dibasic
                                                       dibasic in
                                                               in
deionized
deionized water.
          water.
             Petitioner further
             Petitioner further presents
                                presents evidence
                                         evidence from PubChem from
                                                  from PubChem      the National
                                                               from the National
Institutes
Institutes of Health on
           of Health    the pK
                     on the      values for
                            pKaa values     Monosodium phosphate
                                        for Monosodium phosphate and
                                                                 and
disodium
disodium hydrogen
         hydrogen phosphate.     Exs. 1084,
                             See Exs.
                  phosphate. See      1084, 1085.
                                            1085. The
                                                  The first
                                                      first publication
                                                            publication
lists
lists the pKaa for
      the pK   for monosodium
                   monosodium phosphate as aa range
                              phosphate as    range from 6.8–7.2 "depending
                                                    from 6.8-7.2 “depending
on the physiochemical
on the physiochemical characteristics
                      characteristics during pKaa determination.”
                                      during pK                   Ex. 1084,
                                                  determination." Ex  1084,
7.
7. The second publication
   The second publication lists the pK
                          lists the    a’s
                                    pKa' s for
                                           for disodium
                                               disodium hydrogen
                                                        hydrogen phosphate
                                                                 phosphate
in the following
in the           table, which
       following table, which differ
                              differ from those set
                                     from those set forth
                                                    forth in the Waterman
                                                          in the Waterman
reference. Ex. 1085,
reference. Ex. 1085, 8.
                     8.
3.2.13 Dissociation Constants

pKal = 2.15; pKa2 = 6.83; pKa3 = 12.38 (phosphoric add), all at 25 °C
  Sigma-Aldrich; Sodium phosphate dibasic. 59763. Sigma-Aldrich, St. Louis, MO. Available from, as of NOV 30, 2006: https://wwwsigmaaldrich.comicatalog/search/ProductDetait/SIAL/S9763




The table is
The table    table 3.2.13
          is table 3.2.13 from the PubChem
                          from the PubChem listing
                                           listing for Disodium hydrogen
                                                   for Disodium hydrogen
phosphate,
phosphate, showing
           showing pK   values for
                   pKaa values for dissociation
                                   dissociation of 2.15, 6.83,
                                                of 2.15,       and 12.38
                                                         6.83, and       at
                                                                   12.38 at
25° C.
25° C.




                                                                                       40
                                                                                       40
                                                                           Appx000148
                                                                           Appx000148
       Case: 23-2402     Document: 15        Page: 205   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      With this record
      With this record evidence
                       evidence in
                                in mind, we turn
                                   mind, we turn to
                                                 to what
                                                    what aa P
                                                            POSA  would
                                                              OSA would
glean
glean from
      from reviewing Akorn. Dr.
           reviewing Alcorn. Dr. Byrn
                                 Byrn testifies
                                      testifies that
                                                that Alcorn
                                                     Akorn discloses
                                                            discloses
standard buffering agents,
standard buffering agents, including
                           including dibasic sodium phosphate,
                                     dibasic sodium            also known
                                                    phosphate, also known
as
as disodium
   disodium hydrogen
            hydrogen phosphate,
                     phosphate, and monobasic sodium
                                and monobasic sodium phosphate, also
                                                     phosphate, also
known as sodium
known as sodium dihydrogen
                dihydrogen phosphate, that have
                           phosphate, that      been shown
                                           have been shown in the
                                                           in the
evidence just discussed
evidence just           to be
              discussed to be able to buffer
                              able to buffer Alcorn's
                                             Akorn’s formulation
                                                      formulation at
                                                                  at least
                                                                     least in
                                                                           in
the upper
the upper part
          part of the cited
               of the cited pH
                            pH range. Ex. 1002
                               range. Ex          94–95 (citing
                                          1002 ¶¶ 94-95 (citing Ex
                                                                Ex. 1019,
                                                                    1019,
52; Ex. 1026,
52; Ex. 1026, 4–5).
              4-5). We
                    We disagree with Dr.
                       disagree with Dr. Laskar's
                                         Laskar’s reliance solely on
                                                  reliance solely    the
                                                                  on the
Waterman
Waterman reference as disclosing
         reference as disclosing aa buffering
                                    buffering range
                                              range for
                                                    for phosphate
                                                        phosphate salts that
                                                                  salts that
“has no
"has no overlap
        overlap with
                with aa solution
                        solution pH of 3.5
                                 pH of 3.5 to
                                           to 6.0,”
                                              6.0," and
                                                    and do
                                                        do not
                                                           not credit
                                                               credit his
                                                                      his
conclusion that aa P
conclusion that    POSA  would understand
                     OSA would            this lack
                               understand this      of overlap
                                               lack of         “to
                                                       overlap "to
completely
completely contradict Dr. Byrn's
           contradict Dr. Byrn’s assertions
                                 assertions that
                                            that these
                                                 these phosphate
                                                       phosphate salts
                                                                 salts
represent
represent aa ‘common buffer’ that
             `common buffer' that was
                                  was used
                                      used in EX1004 ‘to
                                           in EX1004 `to maintain
                                                         maintain aa pH of
                                                                     pH of
3.5 to
3.5 to 6.0.’”     Ex. 2003¶78.
              See Ex.
       6.0."' See     2003 ¶ 78.
      We
      We do
         do not agree with
            not agree      Dr. Laskar's
                      with Dr. Laskar’s criticism that Alcorn
                                        criticism that Akorn does
                                                              does not
                                                                   not
disclose buffers. See
disclose buffers.     Ex. 2003
                  See Ex  2003 1171-72.
                               ¶¶ 71–72. Dr.
                                         Dr. Laskar
                                             Laskar testifies
                                                    testifies that
                                                              that Alcorn
                                                                   Akorn
does
does not
     not disclose any buffers.
         disclose any buffers. Id. Dr. Laskar
                               Id. Dr. Laskar further testifies:
                                              further testifies:
             To  the contrary,
             To the              the disclosure
                      contrary, the              of EX1004
                                     disclosure of  EX1004 is is consistent
                                                                 consistent
      with  the direction
      with the  direction provided
                          provided in   Remington and
                                     in Remington   and the
                                                        the state
                                                            state of the art
                                                                  of the  art
      in  2015 regarding
      in 2015                 atropine aqueous
                  regarding atropine     aqueous ophthalmic
                                                   ophthalmic solutions.
                                                                 solutions.
      Everything II have
      Everything     have read
                           read in EX1004 is
                                in EX1004   is consistent with the
                                               consistent with  the state
                                                                    state of
                                                                          of
      the art
      the  art before
               before 2015,
                        2015, which
                               which waswas to
                                             to avoid
                                                 avoid using
                                                        using aa buffer
                                                                  buffer or
                                                                          or
      buffering agent
      buffering   agent in   the acidic
                         in the   acidic solution
                                         solution of
                                                   of storage
                                                       storage within    the
                                                                within the
      boundaries (pH
      boundaries   (pH 3.5-6.0)
                        3.5–6.0) imposed   by the
                                  imposed by   the USP.
                                                   USP.
Ex. 2003
Ex. 2003 ¶ 71.
           71.
      We
      We find,
         find, however, that Dr.
               however, that Dr. Laskar's
                                 Laskar’s statements
                                          statements concerning the state
                                                     concerning the state of
                                                                          of
the art
the art in 2015, including
        in 2015,           about the
                 including about the teachings
                                     teachings of
                                               of the
                                                  the Remington
                                                      Remington reference,
                                                                reference,
are
are not
    not sufficiently supported by
        sufficiently supported by record
                                  record evidence. For instance,
                                         evidence. For           Dr. Laskar
                                                       instance, Dr. Laskar
premises
premises his
         his conclusion
             conclusion concerning the state
                        concerning the state of the art
                                             of the art in 2015 that
                                                        in 2015 that buffers
                                                                     buffers

                                        41
                                        41
                                   Appx000149
                                   Appx000149
       Case: 23-2402      Document: 15       Page: 206    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
should
should not be used
       not be used for atropine solutions,
                   for atropine solutions, as
                                           as informed by the
                                              informed by the Remington
                                                              Remington
reference Dr. Laskar
reference Dr. Laskar calls the formulator’s
                     calls the              “bible,” on
                               formulator's "bible," on the
                                                        the mistaken
                                                            mistaken belief
                                                                     belief
that the
that the phosphate buffers listed
         phosphate buffers listed in Akorn cannot
                                  in Akorn        buffer below
                                           cannot buffer below aa pH
                                                                  pH of 6.0.
                                                                     of 6.0.
See generally
See           Ex. 2003
    generally Ex  2003 ¶¶ 45–69. Remington, however,
                          45-69. Remington, however, expressly
                                                     expressly lists
                                                               lists
phosphate
phosphate salts
          salts in
                in aa suggested
                      suggested ophthalmic solution for
                                ophthalmic solution     atropine, but
                                                    for atropine, but
Dr. Laskar
Dr. Laskar states, without support
           states, without support other
                                   other than
                                         than the
                                              the Waterman
                                                  Waterman reference, that
                                                           reference, that
“[n]either one
"[n]either one of these phosphate
               of these           salts, alone
                        phosphate salts, alone or
                                               or in the disclosed
                                                  in the disclosed
combination,
combination, is
             is aa buffering
                   buffering agent
                             agent to
                                   to provide
                                      provide aa pH of from
                                                 pH of      about 4.8
                                                       from about     to about
                                                                  4.8 to about
6.4. Nor do
6.4. Nor    they provide,
         do they          alone or
                 provide, alone or in
                                   in combination,
                                      combination, aa buffer
                                                      buffer for
                                                             for aa solution
                                                                    solution
having
having aa pH
          pH no
             no lower than 3.5
                lower than 3.5 and
                               and no
                                   no higher than 6.0.”
                                      higher than       Id. ¶ 50.
                                                  6.0." Id.   50.
       As set
       As set forth above, we
              forth above, we do
                              do not
                                 not agree that the
                                     agree that the phosphate
                                                    phosphate salts
                                                              salts listed
                                                                    listed in
                                                                           in
Remington do
Remington do not buffer at
             not buffer at aa pH of 6.0
                              pH of 6.0 or below. We
                                        or below. We do
                                                     do not
                                                        not understand
                                                            understand
Dr. Laskar's
Dr. Laskar’s statement
             statement that
                       that these
                            these buffers
                                  buffers also
                                          also do
                                               do not
                                                  not provide
                                                      provide aa pH
                                                                 pH no
                                                                    no greater
                                                                       greater
than about
than about 6.4. Dr. Laskar
           6.4. Dr. Laskar testifies
                           testifies that
                                     that itit is
                                               is difficult to change
                                                  difficult to        the pH
                                                               change the pH of
                                                                             of aa
solution by adjusting
solution by adjusting the
                      the ratio
                          ratio of acid to
                                of acid to conjugate base of
                                           conjugate base of aa buffer
                                                                buffer from
                                                                       from aa
50:50
50:50 ratio,     Ex. 2003
             see Ex
      ratio, see     2003 ¶ 59, and states
                            59, and states that
                                           that "[i]n
                                                “[i]n Remington,
                                                      Remington, for
                                                                 for example,
                                                                     example,
the atropine
the atropine ophthalmic vehicle uses
             ophthalmic vehicle uses somewhat
                                     somewhat more
                                              more than
                                                   than twice
                                                        twice as
                                                              as much
                                                                 much
monobasic
monobasic phosphate
          phosphate as
                    as dibasic
                       dibasic phosphate
                               phosphate on
                                         on aa molar basis, but
                                               molar basis, but this
                                                                this alters
                                                                     alters
the pH
the pH only by about
       only by about 0.3
                     0.3 pH
                         pH units,”
                            units," id. Dr. Laskar
                                    id. Dr. Laskar concludes,
                                                   concludes, however, that
                                                              however, that
the phosphate
the           buffer system
    phosphate buffer system listed
                            listed in
                                   in claim
                                      claim 55 of the ’577
                                               of the '577 patent, the same
                                                           patent, the same
buffering pair
buffering pair listed
               listed in Akorn, can
                      in Akorn, can provide
                                    provide aa pH
                                               pH no
                                                  no greater than about
                                                     greater than about 6.4 by
                                                                        6.4 by
utilizing “extremely large
utilizing "extremely       and counterintuitive
                     large and                  variations from
                               counterintuitive variations      standard
                                                           from standard
buffer protocols”
buffer            to be
       protocols" to be able to "buffer
                        able to “buffer near the limits
                                        near the limits of an agent's
                                                        of an agent’s buffering
                                                                      buffering
range.”     Patent Owner
        Id. Patent
range." Id.        Owner cannot have itit both
                         cannot have      both ways;
                                               ways; phosphate buffers listed
                                                     phosphate buffers listed
in Remington in
in Remington    the suggested
             in the           atropine solution
                    suggested atropine solution cannot be said
                                                cannot be      to not
                                                          said to     buffer,
                                                                  not buffer,
while
while phosphate buffers listed
      phosphate buffers listed in
                               in claim
                                  claim 5
                                        5 of the ’557
                                          of the '557 patent, which do
                                                      patent, which do not
                                                                       not
have any particular
have any            amount or
         particular amount or ratio
                              ratio of acid to
                                    of acid to base
                                               base listed,
                                                    listed, do
                                                            do perform the
                                                               perform the

                                        42
                                        42
                                   Appx000150
                                   Appx000150
       Case: 23-2402         Document: 15         Page: 207       Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
function
function of
         of aa buffer
               buffer that
                      that provides
                           provides aa pH
                                       pH of
                                          of no
                                             no greater than about
                                                greater than about 6.4. See
                                                                   6.4. See
Ex. 1002
Ex. 1002 ¶ 59 (claim 77 of
           59 (claim    of the
                           the ’787
                               '787 patent).
                                    patent).
      We agree with
      We agree with Dr.
                    Dr. Byrn
                        Byrn that
                             that Remington
                                  Remington does
                                            does recommend the use
                                                 recommend the use of
                                                                   of
buffers to
buffers to maintain
           maintain the
                    the pH at the
                        pH at the appropriate
                                  appropriate level. Ex. 1002
                                              level. Ex  1002 ¶¶ 50 (citing
                                                                 50 (citing
Ex. 1019,
Ex. 1019, 52–54).
          52-54). In
                  In discussing
                     discussing ophthalmic
                                ophthalmic preparations, Remington states:
                                           preparations, Remington states:
            Ideally,    ophthalmic preparations
            Ideally, ophthalmic                     should be
                                       preparations should  be formulated  at aa
                                                               formulated at
      pH
      pH equivalent
          equivalent to    to the
                              the tear
                                  tear fluid  value of
                                        fluid value of 7.4.   Practically, this
                                                        7.4. Practically,  this
      seldom
      seldom is
              is achieved.
                 achieved. The  The large
                                     large majority of active
                                           majority of active ingredients
                                                              ingredients used
                                                                          used
      in
      in ophthalmology
         ophthalmology are        salts of
                              are salts of weak
                                           weak bases
                                                 bases and
                                                       and are
                                                            are most
                                                                most stable  at
                                                                      stable at
      an
      an acid
         acid pH.
              pH. .. .. ..
              Optimum
              Optimum pH    pH adjustment
                                 adjustment generally
                                                generally requires
                                                            requires aa compromise
                                                                         compromise
      on   the part
      on the     part of    the formulator.
                        of the     formulator. The  The pH      selected should
                                                           pH selected     should be  be
      optimum
      optimum for      stability. The
                   for stability.         buffer system
                                     The buffer    system selected     should have
                                                             selected should    have aa
      capacity    adequate to
      capacity adequate        to maintain
                                   maintain pH      within the
                                               pH within     the stability
                                                                  stability range
                                                                             range for
                                                                                     for
      the duration
      the  duration of of the
                          the product
                                product shelf
                                          shelf life.   Buffer capacity
                                                 life. Buffer    capacity is   the key
                                                                            is the  key
      in this situation.
      in this  situation.
              It
              It generally
                  generally is       accepted that
                                 is accepted     that aa low     (acid) pH
                                                           low (acid)     pH perper sese
      necessarily
      necessarily willwill not
                           not cause     stinging or
                                 cause stinging     or discomfort
                                                       discomfort on  on instillation.
                                                                          instillation.
      If the overall
      If the overall pH pH of    the tears,
                             of the   tears, after
                                             after instillation,
                                                    instillation, reverts
                                                                   reverts rapidly
                                                                            rapidly toto
      pH
      pH 7.4,
           7.4, discomfort
                 discomfort is  is minimal.
                                    minimal. On  On the
                                                     the other
                                                          other hand,
                                                                 hand, if   the buffer
                                                                         if the  buffer
      capacity
      capacity is     sufficient to
                  is sufficient     to resist adjustment by
                                       resist adjustment      by tear
                                                                  tear fluid
                                                                        fluid and    the
                                                                               and the
      overall
      overall eye
                eye pHpH remains
                           remains acidacid for
                                             for an
                                                  an appreciable
                                                      appreciable period
                                                                     period ofof time,
                                                                                  time,
      then stinging
      then  stinging and and discomfort
                              discomfort may may result.
                                                    result. Consequently,        buffer
                                                              Consequently, buffer
      capacity    should be
      capacity should      be adequate
                               adequate for for stability,  but minimized
                                                stability, but  minimized so  so far  as
                                                                                  far as
      possible,
      possible, to to allow   the overall
                      allow the     overall pH
                                             pH of   the tear
                                                 of the  tear fluid  to be
                                                               fluid to  be disrupted
                                                                             disrupted
      only
      only momentarily.
            momentarily.
Ex. 1019,
Ex. 1019, 54.
          54.
      Remington is
      Remington is recommending
                   recommending aa buffer
                                   buffer to
                                          to stabilize
                                             stabilize an
                                                       an ophthalmic
                                                          ophthalmic
solution
solution for the product’s
         for the           shelf life,
                 product's shelf       but also
                                 life, but also recommends
                                                recommends aa balance
                                                              balance with the
                                                                      with the
buffers capacity
buffers          to prevent
        capacity to         any resistance
                    prevent any            to adjustment
                                resistance to adjustment by
                                                         by tear
                                                            tear fluid
                                                                 fluid when
                                                                       when
the ophthalmic
the ophthalmic solution
               solution is
                        is applied to the
                           applied to the eye to provide
                                          eye to provide patient
                                                         patient comfort
                                                                 comfort and
                                                                         and
compliance.
compliance. Contrary to Dr.
            Contrary to Dr. Laskar's
                            Laskar’s testimony,
                                     testimony, the
                                                the record
                                                    record evidence shows
                                                           evidence shows
that buffers
that buffers are
             are recommended
                 recommended for
                             for ophthalmic
                                 ophthalmic solutions to maintain
                                            solutions to maintain shelf
                                                                  shelf life.
                                                                        life.


                                             43
                                             43
                                      Appx000151
                                      Appx000151
       Case: 23-2402     Document: 15       Page: 208   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
      Akorn also
      Akorn also discloses
                 discloses aa pH
                              pH range of 3.5
                                 range of 3.5 to
                                              to 6.0
                                                 6.0 for
                                                     for its
                                                         its formulation that
                                                             formulation that
overlaps with the
overlaps with the pH
                  pH range at which
                     range at       atropine was
                              which atropine was known to be
                                                 known to be most
                                                             most stable,
                                                                  stable,
pH 3–5. Id.
pH 3-5.     at ¶¶ 93;
        Id. at            Ex. 2003
                      see Ex.
                  93; see     2003 ¶ 45 (Dr. Laskar
                                     45 (Dr. Laskar admits that "The
                                                    admits that “The United
                                                                     United
States Pharmacopeia/National
States P                      Formulary
         harmacopeia/National F ormulary had
                                         had long
                                             long required
                                                  required atropine sulfate
                                                           atropine sulfate
ophthalmic solution to
ophthalmic solution to be
                       be packaged
                          packaged for storage at
                                   for storage at aa solution
                                                     solution pH
                                                              pH no
                                                                 no greater
                                                                    greater
than 6.0
than 6.0 and
         and no
             no less than 3.5.
                less than 3.5.”).  Patent Owner
                               "). Patent       takes issue
                                          Owner takes       with the
                                                      issue with the fact that
                                                                     fact that
we
we don’t
   don't know the exact
         know the exact pH
                        pH of Akorn’s formulation.
                           of Akorn's formulation. See Ex. 2003
                                                   See Ex. 2003 ¶ 74.
                                                                  74.
We
We don’t
   don't find this argument
         find this argument persuasive as Akorn
                            persuasive as Akorn teaches
                                                teaches aa particular
                                                           particular pH
                                                                      pH
range
range for
      for its
          its formulation
              formulation for 1% atropine,
                          for 1% atropine, which
                                           which informs
                                                 informs aa P
                                                            POSA  of the
                                                              OSA of the
appropriate
appropriate pH
            pH range,
               range, if
                      if not
                         not aa particular
                                particular point within the
                                           point within the range.
                                                            range. The
                                                                   The
appropriate
appropriate pH
            pH range
               range set
                     set forth
                         forth in Akorn overlaps
                               in Akorn overlaps with the claimed
                                                 with the claimed pH
                                                                  pH ranges
                                                                     ranges
in
in dependent
   dependent claims
             claims 16 and 20,
                    16 and 20, and there is
                               and there is no
                                            no dispute that pH
                                               dispute that pH is
                                                               is aa result
                                                                     result
effective variable for
effective variable     the stability
                   for the stability of an atropine
                                     of an          solution and
                                           atropine solution and finding the
                                                                 finding the
optimum
optimum pH value for
        pH value     an atropine
                 for an atropine solution
                                 solution is within the
                                          is within the level
                                                        level of ordinary
                                                              of ordinary
skill of the
skill of the art.
             art. See Ex. 1002
                  See Ex  1002 ¶¶ 96–98; Ex
                               ¶¶ 96-98; Ex. 1005
                                             1005 (showing
                                                  (showing how to predict
                                                           how to predict
half-lives of atropine
half-lives of atropine solutions
                       solutions at various pH
                                 at various    values and
                                            pH values     temperatures); Ex
                                                      and temperatures); Ex.
2003 ¶¶
2003    38, 61,
     ¶¶ 38, 61, 62;
                62; Ex.
                    Ex. 1078,
                        1078, 143:11–144:5 (stating "a
                              143:11-144:5 (stating “a POSA
                                                       POSA would be able
                                                            would be able
to prepare
to prepare aa buffer
              buffer at
                     at pHs within that
                        pHs within that range
                                        range of 4.8 to
                                              of 4.8 to 6.4).
                                                        6.4). This
                                                              This evidence
                                                                   evidence is
                                                                            is
sufficient to support
sufficient to support aa case
                         case of
                              of obviousness. See E.I.
                                 obviousness. See E.I. DuPont
                                                       DuPont de
                                                              de Nemours,
                                                                 Nemours,
Inc. v.
Inc.    Synvina C.V.,
     v. Synvina         904 F.3d
                C. V.., 904 F.3d 996,
                                 996, 1006 (Fed. Cir.
                                      1006 (Fed.      2018) ("
                                                 Cir. 2018) (“‘[W]here there is
                                                               [W]here there is
aa range
   range disclosed
         disclosed in the prior
                   in the prior art, and the
                                art, and the claimed
                                             claimed invention
                                                     invention falls
                                                               falls within that
                                                                     within that
range, the burden
range, the burden of
                  of production
                     production falls
                                falls upon the patentee
                                      upon the          to come
                                               patentee to come forward with
                                                                forward with
evidence’” of teaching
evidence" of  teaching away,
                       away, unexpected
                             unexpected results,
                                        results, or
                                                 or other
                                                    other pertinent
                                                          pertinent evidence
                                                                    evidence
of
of nonobviousness.”).
   nonobviousness.").
      Patent Owner
      Patent Owner alleges
                   alleges criticality
                           criticality of the claimed
                                       of the claimed pH
                                                      pH range set forth
                                                         range set forth in
                                                                         in
the claims
the        when providing
    claims when           an overview
                providing an          of the
                             overview of the ’557
                                             '557 patent.
                                                  patent. See PO
                                                          See P   Resp.
                                                                O Resp.
15–19; Ex. 2003
15-19; Ex. 2003 ¶¶ 156–158. Patent Owner
                   156-158. Patent Owner argues
                                         argues that
                                                that the
                                                     the inventors
                                                         inventors

                                       44
                                       44
                                 Appx000152
                                 Appx000152
       Case: 23-2402      Document: 15      Page: 209    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
discovered that "using
discovered that “using aa buffer
                          buffer was
                                 was critical to atropine
                                     critical to atropine stability"
                                                          stability” for the
                                                                     for the
claimed
claimed low
        low dose
            dose in the claimed
                 in the claimed range. PO Resp.
                                range. PO Resp. 18.
                                                18. This
                                                    This is
                                                         is not
                                                            not
appropriate
appropriate objective
            objective evidence of nonobviousness
                      evidence of                to rebut
                                  nonobviousness to       Petitioner’s proof
                                                    rebut Petitioner's proof
of
of overlapping
   overlapping ranges between the
               ranges between the prior art and
                                  prior art     the claimed
                                            and the claimed pH
                                                            pH range
                                                               range
because the
because the result of using
            result of using aa buffer
                               buffer regardless
                                      regardless of whether the
                                                 of whether the problem
                                                                problem of the
                                                                        of the
stability
stability of atropine at
          of atropine at low
                         low doses was unexpected,
                             doses was unexpected, pH stability for
                                                   pH stability     the range,
                                                                for the range,
was
was not
    not unexpected.
        unexpected. The buffer is
                    The buffer    just doing
                               is just doing exactly what aa buffer
                                             exactly what    buffer does as
                                                                    does as
recognized: viz., maintaining
recognized: viz., maintaining pH.
                              pH. See Ex. 1038,
                                  See Ex. 1038, 22 (stating
                                                   (stating "primary
                                                            “primary purpose
                                                                     purpose
of
of aa buffer
      buffer is to control
             is to         the pH
                   control the    of the
                               pH of the solution”).
                                         solution"). The
                                                     The fact that the
                                                         fact that the claimed
                                                                       claimed
range
range for
      for aa stable
             stable low
                    low dose atropine solution
                        dose atropine          substantially overlapped
                                      solution substantially overlapped with
                                                                        with
the USP
the USP stated
        stated range
               range for
                     for atropine solutions is
                         atropine solutions    also not
                                            is also     surprising or
                                                    not surprising or
unexpected.
unexpected.

     (3) Reason to
     (3) Reason to Combine with aa Reasonable
                   Combine with    Reasonable Expectation
                                              Expectation of
                                                          of Success
                                                             Success
      The Petitioner asserts
      The Petitioner asserts that
                             that aa P
                                     POSA  would have
                                       OSA would      been motivated
                                                 have been           to
                                                           motivated to
formulate
formulate lower-concentration atropine formulations
          lower-concentration atropine formulations for the treatment
                                                    for the treatment of the
                                                                      of the
progression of myopia
progression of        to reduce
               myopia to        “side effects
                         reduce "side         without significant
                                      effects without significant loss
                                                                  loss of
                                                                       of
efficacy.” Pet. 25
efficacy." Pet. 25 (citing
                   (citing Ex.
                           Ex. 1002    67–70). Recognizing
                               1002 ¶¶ 67-70). Recognizing the
                                                           the side
                                                               side effects
                                                                    effects
of
of higher
   higher concentration atropine solutions,
          concentration atropine solutions, such as photophobia,
                                            such as photophobia, cycloplegia,
                                                                 cycloplegia,
and
and mydriasis,
    mydriasis, causing
               causing poor
                       poor patient
                            patient compliance, Petitioner asserts
                                    compliance, Petitioner         that Chia
                                                           asserts that Chia
studied
studied lower
        lower dose atropine compositions
              dose atropine              and concluded
                            compositions and           that "a
                                             concluded that “a nightly
                                                               nightly dose
                                                                       dose
of atropine at
of atropine at 0.01%
               0.01% seems to be
                     seems to be aa safe
                                    safe and
                                         and effective
                                             effective regimen
                                                       regimen for slowing
                                                               for slowing
myopia
myopia progression
       progression in
                   in children, with minimal
                      children, with minimal impact
                                             impact on visual function
                                                    on visual function in
                                                                       in
children.” Id. at
children." Id.    25 (citing
               at 25 (citing Ex
                             Ex. 1002
                                 1002 ¶¶
                                      ¶¶ 70–71; Ex. 1003,
                                         70-71; Ex  1003, 1,
                                                          1, 7,
                                                             7, 8).
                                                                8). This
                                                                    This
conclusion, Petitioner asserts
conclusion, Petitioner asserts would
                               would have motivated aa POSA
                                     have motivated    POSA "to
                                                            “to use
                                                                use aa
buffering system
buffering system to
                 to achieve
                    achieve aa stable,
                               stable, ready-to-use
                                       ready-to-use formulation
                                                    formulation for that
                                                                for that
treatment.” Id.
treatment."     (citing Ex.
            Id. (citing Ex. 1003,
                            1003, 8; Ex. 1002
                                  8; Ex. 1002 ¶¶ 70–71).
                                                 70-71).


                                       45
                                       45
                                  Appx000153
                                  Appx000153
       Case: 23-2402       Document: 15       Page: 210    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
       Petitioner further
       Petitioner further reasons that because
                          reasons that because using atropine to
                                               using atropine to treat
                                                                 treat myopia
                                                                       myopia
requires
requires long-term treatment, aa P
         long-term treatment,    POSA  “would have
                                   OSA "would      been motivated
                                              have been           to use
                                                        motivated to use
buffers to
buffers to increase the stability
           increase the           (i.e., minimize
                        stability (i.e.,          the formation
                                         minimize the formation of
                                                                of degradants)
                                                                   degradants)
of
of low-concentration
   low-concentration solutions.” Pet. 26
                     solutions." Pet. 26 (citing
                                         (citing Ex
                                                 Ex 1003,
                                                    1003, 1; Ex. 1002
                                                          1; Ex. 1002 ¶¶ 73–
                                                                         73-
78). In light
78). In       of the
        light of the teachings
                     teachings of Kondritzer, Petitioner
                               of Kondritzer, Petitioner states
                                                         states that
                                                                that aa POSA
                                                                        POSA
would
would have
      have known that atropine’s
           known that atropine's stability
                                 stability was
                                           was pH
                                               pH dependent, and "[i]n
                                                  dependent, and “[i]n
selecting
selecting aa suitable buffer system
             suitable buffer system for
                                    for long-term
                                        long-term stability
                                                  stability of atropine
                                                            of atropine
solutions,
solutions, aa P
              POSA  would have
                OSA would have looked to FDA-approved
                               looked to FDA-approved atropine
                                                      atropine ophthalmic
                                                               ophthalmic
solutions,” such as
solutions," such as Alcorn.
                    Akorn. Pet.
                            Pet. 26-27
                                 26–27 (citing
                                       (citing Ex
                                               Ex. 1005;
                                                   1005; Ex.
                                                         Ex. 1002
                                                             1002 ¶¶ 65, 73–
                                                                  ¶¶ 65, 73-
78). In addition
78). In addition to
                 to shelf
                    shelf life, Petitioner asserts
                          life, Petitioner asserts aa POSA
                                                      POSA also
                                                           also would
                                                                would have
                                                                      have
been concerned
been concerned about
               about patient
                     patient comfort and compliance
                             comfort and            with using
                                         compliance with       the low-
                                                         using the low-
concentration atropine product
concentration atropine product and
                               and would
                                   would know that the
                                         know that the pH
                                                       pH for
                                                          for optimum
                                                              optimum
patient
patient comfort
        comfort is the same
                is the same pH as tear
                            pH as tear fluid, about 7.4.
                                       fluid, about 7.4. Id. at 27-28.
                                                         Id. at 27–28. In
                                                                       In
balancing stability
balancing stability of atropine, which
                    of atropine, which is
                                       is most stable at
                                          most stable at aa pH
                                                            pH from
                                                               from 33 to
                                                                       to 55
according to Kondritzer,
according to Kondritzer, Petitioner
                         Petitioner asserts
                                    asserts that
                                            that "a
                                                 “a P
                                                    POSA
                                                      OSA would
                                                          would have been
                                                                have been
motivated to increase
motivated to          the long-term
             increase the long-term stability of Chia’s
                                    stability of Chia' s low-concentration
                                                         low-concentration
atropine at pHs
atropine at pHs closer to the
                closer to the clinically
                              clinically desirable
                                         desirable pH
                                                   pH of
                                                      of 7.4.” Id. at
                                                         7.4." Id.    28 (citing
                                                                   at 28 (citing
Ex. 1002
Ex. 1002 ¶ 78). Petitioner asserts
           78). Petitioner         that aa P
                           asserts that    POSA  would have
                                             OSA would have had
                                                            had aa reasonable
                                                                   reasonable
expectation
expectation of success in
            of success in doing
                          doing so by using
                                so by       buffers, aa common
                                      using buffers,    common component
                                                               component in
                                                                         in
ophthalmic
ophthalmic compositions, to target
           compositions, to target "the
                                   “the higher
                                        higher end of Akorn's
                                               end of Akorn’s disclosed
                                                              disclosed pH
                                                                        pH
range
range in
      in order to optimize
         order to          stability in
                  optimize stability    view of
                                     in view of patient
                                                patient comfort
                                                        comfort .. .. .. ."
                                                                         .” Id. at
                                                                            Id. at
28.
28.
       Patent Owner
       Patent Owner responds that the
                    responds that the low-concentration atropine
                                      low-concentration atropine
formulations
formulations did
             did not
                 not contain buffers and
                     contain buffers and that
                                         that the
                                              the state of the
                                                  state of the art
                                                               art in 2015
                                                                   in 2015
taught excluding
taught           the use
       excluding the use of buffers. See
                         of buffers.     PO Resp.
                                     See PO Resp. 41–46.
                                                  41-46. We have
                                                         We have
addressed Patent Owner’s
addressed Patent         argument that
                 Owner's argument that the
                                       the state
                                           state of the art
                                                 of the art in 2015 for
                                                            in 2015 for
ophthalmic solutions did
ophthalmic solutions did not teach buffers.
                         not teach buffers. As
                                            As we
                                               we found
                                                  found above, the record
                                                        above, the record

                                         46
                                         46
                                   Appx000154
                                   Appx000154
       Case: 23-2402      Document: 15       Page: 211   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
evidence
evidence such as Remington
         such as Remington shows that buffers
                           shows that buffers are
                                              are recommended
                                                  recommended for
                                                              for
ophthalmic solutions to
ophthalmic solutions to maintain
                        maintain shelf
                                 shelf life.
                                       life.
      We also note
      We also      that the
              note that the prior
                            prior art
                                  art references
                                      references such as Chia
                                                 such as Chia described
                                                              described
studies to determine
studies to           the safety
           determine the        and efficacy
                         safety and efficacy of
                                             of low-dose atropine solutions
                                                low-dose atropine solutions
and
and were
    were not
         not commercially available formulations
             commercially available              that must
                                    formulations that must meet
                                                           meet FDA
                                                                FDA
requirements
requirements for
             for safety and efficacy.
                 safety and           Chia specifically
                            efficacy. Chia specifically states that ‘[a]tropine
                                                        states that ' [a]tropine
0.01%
0.01% is
      is currently
         currently not
                   not commercially available.” Ex.
                       commercially available." Ex. 1003,
                                                    1003, 8.
                                                          8.
      Patent Owner
      Patent       also asserts
             Owner also asserts that
                                that adding
                                     adding aa buffer
                                               buffer would
                                                      would decrease
                                                            decrease patient
                                                                     patient
comfort by maintaining
comfort by maintaining aa low
                          low pH
                              pH of the atropine
                                 of the          solution when
                                        atropine solution when
administered,
administered, causing
              causing increased tearing which
                      increased tearing which would
                                              would undermine
                                                    undermine efficacy by
                                                              efficacy by
washing
washing away the atropine.
        away the atropine. PO
                           PO Resp.
                              Resp. 44–46.
                                    44-46. We
                                           We do
                                              do not
                                                 not find this argument
                                                     find this argument
persuasive. As Remington
persuasive. As Remington explained,
                         explained, aa P
                                       POSA
                                         OSA must
                                             must choose
                                                  choose aa buffer
                                                            buffer to
                                                                   to
stabilize an ophthalmic
stabilize an ophthalmic solution,
                        solution, but
                                  but also balance the
                                      also balance the shelf-life
                                                       shelf-life of
                                                                  of the
                                                                     the
solution with aa buffering
solution with    buffering capacity that allows
                           capacity that allows aa patient’s tears to
                                                   patient's tears to easily
                                                                      easily
overcome an uncomfortable
overcome an               acidic pH
            uncomfortable acidic    of the
                                 pH of the ophthalmic
                                           ophthalmic solution. See
                                                      solution. See
Ex. 1019,
Ex. 1019, 54. As Remington
          54. As Remington states,
                           states, "[b]uffer
                                   “[b]uffer capacity
                                             capacity is the key,”
                                                      is the key," and
                                                                   and
“buffer capacity
"buffer capacity should be adequate
                 should be adequate for
                                    for stability, but minimized
                                        stability, but minimized so
                                                                 so far as
                                                                    far as
possible to allow
possible to allow the
                  the overall
                      overall pH
                              pH of the tear
                                 of the tear fluid to be
                                             fluid to be disrupted
                                                         disrupted only
                                                                   only
momentarily.” Id.
momentarily."     Buffering does
              Id. Buffering does not
                                 not impede
                                     impede patient
                                            patient comfort when buffer
                                                    comfort when buffer
capacity
capacity is
         is properly
            properly assessed.
                     assessed.
      We agree
      We agree with
               with Petitioner
                    Petitioner and
                               and Dr.
                                   Dr. Byrn
                                       Byrn that
                                            that "a
                                                 “a POSA
                                                    POSA would
                                                         would have been
                                                               have been
motivated to
motivated to formulate
             formulate low-concentration atropine solutions
                       low-concentration atropine           that could
                                                  solutions that       be
                                                                 could be
administered at
administered at pHs
                pHs closer to those
                    closer to those that
                                    that provided
                                         provided optimal
                                                  optimal patient
                                                          patient compliance
                                                                  compliance
and clinical
and clinical efficacy, but that
             efficacy, but that could
                                could also
                                      also remain stable over
                                           remain stable over long
                                                              long periods
                                                                   periods of
                                                                           of
time.” Ex
time." Ex. 1002
           1002 ¶¶ 78.
                   78. We
                       We determine that Petitioner
                          determine that Petitioner has
                                                    has shown
                                                        shown an
                                                              an
appropriate
appropriate reason to combine
            reason to         the teachings
                      combine the teachings of
                                            of Chia, Akorn, and
                                               Chia, Alcorn, and Kondritzer
                                                                 Kondritzer



                                        47
                                        47
                                  Appx000155
                                  Appx000155
       Case: 23-2402      Document: 15     Page: 212   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
to arrive
to arrive at the composition
          at the             of claim
                 composition of claim 11 with
                                         with aa reasonable
                                                 reasonable expectation
                                                            expectation of
                                                                        of
success.
success.

                               (4)
                               (4) Conclusion
                                   Conclusion
      We
      We determine that Petitioner
         determine that Petitioner has shown by
                                   has shown by aa preponderance
                                                   preponderance of the
                                                                 of the
evidence that claim
evidence that claim 1
                    1 of the ’557
                      of the '557 patent
                                  patent would
                                         would have been obvious
                                               have been obvious over Chia,
                                                                 over Chia,
Akorn, and
Alcorn, and Kondritzer.
            Kondritzer.

                   d) Dependent
                   d) Dependent Claims 2–7, and
                                Claims 2-7, and 11-20
                                                11–20
      Dependent claims
      Dependent claims 22 and
                          and 33 each
                                 each recite the method
                                      recite the method of
                                                        of claim
                                                           claim 11 with
                                                                    with
specified
specified ranges
          ranges or
                 or concentrations
                    concentrations of
                                   of atropine or atropine
                                      atropine or atropine sulfate
                                                           sulfate solutions.
                                                                   solutions.
    Ex. 1001,
See Ex.
See           100:19–27. Petitioner
        1001, 100:19-27. Petitioner relies
                                    relies on
                                           on Chia’s teaching of
                                              Chia's teaching of 0.01%
                                                                 0.01%
atropine,
atropine, which
          which is
                is within
                   within claim 2’s range
                          claim 2's       and is
                                    range and    the exact
                                              is the exact amount
                                                           amount as
                                                                  as claimed
                                                                     claimed
in
in claim 3, to
   claim 3, to establish that these
               establish that these dependent
                                    dependent claims would have
                                              claims would      been obvious
                                                           have been obvious
as well. See
as well.     Pet. 32-34
         See Pet. 32–34 (citing
                        (citing Ex
                                Ex. 1002
                                    1002 ¶¶ 96-98).
                                            96–98). Petitioner
                                                    Petitioner also
                                                               also points to
                                                                    points to
Chia’s
Chia's express
       express motivation to formulate
               motivation to formulate ophthalmic
                                       ophthalmic compositions with low
                                                  compositions with low
atropine
atropine concentrations. Pet. 33
         concentrations. Pet. 33 (citing
                                 (citing Ex.
                                         Ex. 1002   99).
                                             1002 ¶ 99).
      Patent Owner
      Patent Owner does
                   does not address these
                        not address these additional
                                          additional limitations apart from
                                                     limitations apart from
its
its arguments as to
    arguments as to claim
                    claim 1.
                          1. The
                             The reasons that we
                                 reasons that we set
                                                 set forth
                                                     forth above
                                                           above for the
                                                                 for the
determination that claim
determination that claim 11 would
                            would have been obvious
                                  have been obvious equally
                                                    equally apply
                                                            apply here.
                                                                  here. We
                                                                        We
determine that Petitioner
determine that Petitioner has
                          has shown by the
                              shown by the preponderance
                                           preponderance of the evidence
                                                         of the evidence on
                                                                         on
the record
the        before us
    record before    that claims
                  us that claims 22 and
                                    and 33 would
                                           would have been obvious
                                                 have been obvious over
                                                                   over Chia,
                                                                        Chia,
Akorn, and
Alcorn, and Kondritzer.
            Kondritzer.
      Claims
      Claims 4 and 55 further
             4 and    further define the buffering
                              define the buffering agent
                                                   agent of
                                                         of claim
                                                            claim 11 to
                                                                     to include
                                                                        include
aa phosphate buffering agent
   phosphate buffering agent for
                             for claim
                                 claim 4 and "sodium
                                       4 and “sodium dihydrogen
                                                     dihydrogen phosphate,
                                                                phosphate,
disodium
disodium hydrogen
         hydrogen phosphate,
                  phosphate, or
                             or aa combination thereof” for
                                   combination thereof' for claim
                                                            claim 5, which
                                                                  5, which
Petitioner asserts
Petitioner         Akorn teaches.
           asserts Alcorn teaches. See Pet. 34
                                   See Pet. 34 (citing
                                               (citing Ex.
                                                       Ex. 1002
                                                           1002 ¶¶
                                                                ¶¶ 103–107;
                                                                   103-107;
Ex. 1004,
Ex.       3). Patent
    1004, 3). Patent Owner
                     Owner reasserts the same
                           reasserts the same argument that itit raised
                                              argument that             with
                                                                 raised with

                                      48
                                      48
                                 Appx000156
                                 Appx000156
       Case: 23-2402      Document: 15       Page: 213   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
respect to claim
respect to claim 1,
                 1, namely, that Alcorn
                    namely, that Akorn does
                                        does not teach the
                                             not teach the claimed
                                                           claimed phosphate
                                                                   phosphate
buffers. See
buffers.     PO Resp.
         See PO Resp. 57.
                      57. We
                          We have addressed Patent
                             have addressed Patent Owner’s arguments
                                                   Owner's arguments
with
with respect to claim
     respect to claim 1 and found
                      1 and       that Alcorn
                            found that Akorn does
                                              does teach
                                                   teach the
                                                         the claimed
                                                             claimed
phosphate buffers.
phosphate buffers.
      Claim
      Claim 66 further
               further requires
                       requires aa tonicity
                                   tonicity adjusting
                                            adjusting agent,
                                                      agent, and
                                                             and claim
                                                                 claim 7
                                                                       7 further
                                                                         further
defines the tonicity
defines the tonicity agent
                     agent as
                           as aa halide
                                 halide salt of aa monovalent
                                        salt of    monovalent cation. Ex. 1001,
                                                              cation. Ex. 1001,
100:37–40. Petitioner asserts
100:37-40. Petitioner asserts that
                              that "[a]
                                   “[a] P
                                        POSA  would have
                                          OSA would have recognized that
                                                         recognized that
decreasing the concentration
decreasing the concentration of atropine sulfate
                             of atropine sulfate from Akorn’s 1%
                                                 from Akorn's    atropine
                                                              1% atropine
sulfate
sulfate solution to Chia’s
        solution to Chia's 0.01% atropine sulfate
                           0.01% atropine sulfate solution would require
                                                  solution would         the
                                                                 require the
addition of aa tonicity
addition of    tonicity adjusting
                        adjusting agent to maintain
                                  agent to maintain eye
                                                    eye comfort,”
                                                        comfort," due to aa
                                                                  due to
reduction
reduction in the amount
          in the amount of
                        of salt
                           salt in the solution.
                                in the           Pet. 35
                                       solution. Pet. 35 (citing
                                                         (citing Ex.
                                                                 Ex. 1002
                                                                     1002
¶¶ 110-112).
   110–112). Petitioner
             Petitioner also asserts that
                        also asserts that sodium
                                          sodium chloride,
                                                 chloride, aa halide salt of
                                                              halide salt of aa
monovalent
monovalent cation,
           cation, is
                   is aa very
                         very common tonicity adjusting
                              common tonicity adjusting agent.     (citing
                                                               Id. (citing
                                                        agent. Id.
Ex. 1002
Ex.      ¶¶ 111–112;
    1002 ¶¶          Ex. 1036,
            111-112; Ex.       1–3; Ex.
                         1036, 1-3; Ex. 1019,
                                        1019, 54).
                                              54).
      Patent Owner
      Patent Owner responds that Petitioner
                   responds that Petitioner has
                                            has not
                                                not shown that aa reduction
                                                    shown that    reduction
from 1% to
from 1% to 0.01% atropine sulfate
           0.01% atropine sulfate will
                                  will make
                                       make enough
                                            enough difference
                                                   difference in the
                                                              in the
osmolarity to be
osmolarity to be material to the
                 material to the tonicity
                                 tonicity of
                                          of the
                                             the solution,
                                                 solution, and Petitioner failed
                                                           and Petitioner failed
to account
to account for the existing
           for the          tonicity of
                   existing tonicity of Akorn's
                                        Akorn’s formulation. PO Resp.
                                                formulation. PO Resp. 57.
                                                                      57.
      Dr. Byrn
      Dr. Byrn explains tonicity and
               explains tonicity and that
                                     that "isotonicity
                                          “isotonicity always
                                                       always is
                                                              is desirable
                                                                 desirable
and
and particularly
    particularly is
                 is important
                    important in
                              in intraocular
                                 intraocular solutions.” Ex. 1002
                                             solutions." Ex  1002 ¶ 110
                                                                    110
(citing Ex.
(citing Ex. 1019,
            1019, 54). Dr. Byrn
                  54). Dr. Byrn then
                                then testifies
                                     testifies that
                                               that aa reduction
                                                       reduction in the
                                                                 in the
concentration
concentration of atropine sulfate,
              of atropine sulfate, aa salt,
                                      salt, from
                                            from 1% to 0.01
                                                 1% to      % would
                                                       0.01 % would require
                                                                    require aa
tonicity adjusting
tonicity adjusting agent
                   agent for
                         for eye
                             eye comfort. Id. We
                                 comfort. Id. We credit Dr. Byrn's
                                                 credit Dr. Byrn’s testimony
                                                                   testimony
as
as itit is
        is reasonable that aa 100-fold
           reasonable that    100-fold decrease
                                       decrease in the concentration
                                                in the               of atropine
                                                       concentration of atropine
sulfate
sulfate in the solution
        in the solution would
                        would require some tonicity
                              require some tonicity adjustment.
                                                    adjustment.
      Patent Owner
      Patent       asserts that
             Owner asserts that "Petitioner
                                “Petitioner has
                                            has not
                                                not demonstrated
                                                    demonstrated motivation
                                                                 motivation
to buffer
to buffer the
          the solution at an
              solution at an acidic
                             acidic pH,
                                    pH, much
                                        much less the pH
                                             less the pH recited
                                                         recited in these
                                                                 in these

                                        49
                                        49
                                  Appx000157
                                  Appx000157
         Case: 23-2402    Document: 15       Page: 214   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
dependent
dependent claims
          claims [from about 3.8
                 [from about 3.8 to
                                 to about
                                    about 6.4
                                          6.4 for
                                              for claim
                                                  claim 16 and aa pH
                                                        16 and    pH of
                                                                     of less
                                                                        less
than 55 for
than    for claim 20], because
            claim 20], because this
                               this was
                                    was expected to decrease
                                        expected to decrease patient
                                                             patient comfort
                                                                     comfort
without any expected
without any expected stability benefit.” PO
                     stability benefit." PO Resp.
                                            Resp. 55.
                                                  55. We
                                                      We have addressed
                                                         have addressed
these arguments
these arguments above
                above and
                      and found them unpersuasive.
                          found them               See Section
                                     unpersuasive. See Section
II.D.4.c)(2).
II. D . 4. c)(2).
        Patent Owner
        Patent Owner does
                     does not address the
                          not address the additional
                                          additional limitations
                                                     limitations of
                                                                 of claims 11–
                                                                    claims 11-
15 and 17-19
15 and 17–19 apart
             apart from
                   from its
                        its arguments
                            arguments as to claim
                                      as to claim 1.
                                                  1. Claims
                                                     Claims 11,
                                                            11, 12, and 13
                                                                12, and 13
further
further require,
        require, respectively,
                 respectively, aa preservative,
                                  preservative, in
                                                in aa particular
                                                      particular concentration,
                                                                 concentration,
and
and aa list of particular
       list of particular preservatives, which Chia
                          preservatives, which Chia and/or
                                                    and/or Alcorn
                                                           Akorn teach.
                                                                  teach. See
                                                                         See
Pet. 36-37
Pet. 36–37 (citing
           (citing Ex.
                   Ex. 1002 ¶¶ 115–120;
                       1002 ¶¶          Ex. 1003,
                               115-120; Ex.       2; Ex.
                                            1003, 2; Ex. 1022, 1–2;
                                                         1022, 1-2;
Ex. 1023,
Ex. 1023, 1).
          1). Claim
              Claim 14
                    14 further
                       further requires that the
                               requires that the stabilized
                                                 stabilized ophthalmic
                                                            ophthalmic
composition
composition is “essentially free
            is "essentially      of procaine
                            free of          and benactyzine,
                                    procaine and benactyzine, or
                                                              or
pharmaceutically acceptable salts
pharmaceutically acceptable       thereof,” which
                            salts thereof," which Petitioner
                                                  Petitioner asserts
                                                             asserts is taught
                                                                     is taught
by the
by the absence of these
       absence of these ingredients
                        ingredients in Chia and
                                    in Chia     Akorn. See
                                            and Alcorn.     Pet. 37
                                                        See Pet. 37 (citing
                                                                    (citing
Ex. 1002
Ex.      ¶¶ 122–126;
    1002 ¶¶          Ex. 1003;
            122-126; Ex.       Ex. 1004,
                         1003; Ex.       3; Ex.
                                   1004, 3; Ex. 1019,
                                                1019, 52).
                                                      52). Claim
                                                           Claim 15
                                                                 15
further
further requires the aqueous
        requires the aqueous solution
                             solution is
                                      is sterile, which Petitioner
                                         sterile, which Petitioner asserts
                                                                   asserts is
                                                                           is
taught by
taught by Alcorn
          Akorn and
                 and Chia. Pet. 37-38
                     Chia. Pet. 37–38 (citing
                                      (citing Ex.
                                              Ex. 1002
                                                  1002 ¶¶
                                                       ¶¶ 129–131;
                                                          129-131;
Ex. 1004,
Ex.       3; Ex.
    1004, 3; Ex. 1003, 2; Ex.
                 1003, 2; Ex. 1019,
                              1019, 52).
                                    52). Claim
                                         Claim 17
                                               17 further
                                                  further requires the
                                                          requires the
aqueous solution
aqueous solution is
                 is an ophthalmic composition,
                    an ophthalmic              which Petitioner
                                  composition, which Petitioner asserts
                                                                asserts is
                                                                        is
taught by
taught by Chia and Alcorn.
          Chia and Akorn. Pet.
                           Pet. 40-41
                                40–41 (citing
                                      (citing Ex.
                                              Ex. 1002
                                                  1002 ¶¶
                                                       ¶¶ 143–144;
                                                          143-144;
Ex. 1003,
Ex.       1–2; Ex
    1003, 1-2; Ex. 1004, 3). Claims
                   1004, 3). Claims 18
                                    18 and
                                       and 19
                                           19 further
                                              further require
                                                      require
administration at
administration at least once aa day
                  least once        and once
                                day and once aa day,
                                                day, respectively,
                                                     respectively, which
                                                                   which
Petitioner asserts
Petitioner asserts is taught by
                   is taught by Chia
                                Chia and Akorn. See
                                     and Alcorn.     Pet. 41
                                                 See Pet.    (citing Ex.
                                                          41 (citing Ex. 1002
                                                                         1002
¶¶ 147–150; Ex. 1003,
   147-150; Ex.       2; Ex.
                1003, 2; Ex. 1004,
                             1004, 1–2).
                                   1-2).
        We
        We have
           have reviewed Petitioner’s assertions
                reviewed Petitioner's assertions in the Petition
                                                 in the Petition concerning
                                                                 concerning
claims 11–15 and
claims 11-15 and 17-19
                 17–19 and
                       and Dr.
                           Dr. Byrn's
                               Byrn’s testimony
                                      testimony in
                                                in support,
                                                   support, and
                                                            and determine
                                                                determine



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                                  Appx000158
                                  Appx000158
       Case: 23-2402        Document: 15        Page: 215    Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
that Petitioner
that Petitioner has shown by
                has shown by aa preponderance of the
                                preponderance of the evidence that these
                                                     evidence that these
claims would have
claims would      been obvious
             have been obvious over
                               over Chia, Akorn, and
                                    Chia, Akorn,     Kondritzer.
                                                 and Kondritzer.

                              E. Remaining
                              E. Remaining Grounds
                                           Grounds
       Because we
       Because we have
                  have determined that all
                       determined that all challenged
                                           challenged claims
                                                      claims are
                                                             are
unpatentable as obvious
unpatentable as obvious over
                        over Chia, Akorn, and
                             Chia, Akorn, and Kondritzer,
                                              Kondritzer, we
                                                          we need
                                                             need not
                                                                  not
reach the issue
reach the       of whether
          issue of whether these
                           these same
                                 same claims are also
                                      claims are also unpatentable
                                                      unpatentable under
                                                                   under
Grounds
Grounds 22 and 3. Therefore,
           and 3.            we do
                  Therefore, we do not
                                   not reach these grounds.
                                       reach these grounds.
                               III.
                               III. CONCLUSION 14
                                    CONCLUSION14
       For the
       For the foregoing
               foregoing reasons,
                         reasons, we
                                  we conclude Petitioner has
                                     conclude Petitioner     shown by
                                                         has shown by aa
preponderance
preponderance of the evidence
              of the          that claims
                     evidence that        1–7 and
                                   claims 1-7 and 11–20
                                                  11-20 of the ’557
                                                        of the '557 patent
                                                                    patent
are
are unpatentable.
    unpatentable.
                                     IV.
                                     IV. ORDER
                                         ORDER
       In
       In consideration
          consideration of the foregoing,
                        of the foregoing, it
                                          it is
                                             is hereby:
                                                hereby:
       ORDERED that Patent
       ORDERED that Patent Owner's
                           Owner’s Motion
                                   Motion to
                                          to Exclude
                                             Exclude Evidence
                                                     Evidence is
                                                              is
denied;
denied;
       FURTHER ORDERED
       FURTHER ORDERED that
                       that claims 1–7 and
                            claims 1-7 and 11–20
                                           11-20 of U.S. Patent
                                                 of U.S. Patent No.
                                                                No.
10,888,557 B2 have
10,888,557 B2      been shown
              have been       by aa preponderance
                        shown by    preponderance of the evidence
                                                  of the          to be
                                                         evidence to be
unpatentable
unpatentable under 35 U.S.C.
             under 35 U.S.C. §§ 103; and
                                103; and




14 Should    Patent Owner
                     Owner wish    to pursue  amendment of      the challenged
                                                                     challenged claims
14
   Should Patent             wish to  pursue amendment      of the                claims
in a  reissue  or reexamination    proceeding   subsequent   to  the  issuance
in a reissue or reexamination proceeding subsequent to the issuance of this     of this
decision,
decision, we we draw   Patent Owner’s
                 draw Patent             attention to
                               Owner's attention   to the
                                                      the April
                                                          April 2019
                                                                  2019 Notice
                                                                         Notice
Regarding Options
Regarding               for Amendments
               Optionsfor   Amendments by     Patent Owner
                                           by Patent  Owner Through        Reissue or
                                                               Through Reissue      or
Reexamination       During  a Pending   AIA  Trial  Proceeding.     See
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.    84 Fed.  Reg.
16,654    (Apr. 22,
16,654 (Apr.     22, 2019).
                      2019). If Patent
                                 atent Owner
                             If Patent Owner chooses     to file
                                                chooses to  file aa reissue
                                                                    reissue application
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or
or aa request
      request for
                for reexamination
                    reexamination of   the challenged
                                    of the challenged patent,
                                                        patent, wewe remind    Patent
                                                                      remind Patent
Owner
Owner of  of its
             its continuing
                 continuing obligation   to notify
                             obligation to         the Board
                                            notify the Board of of any
                                                                   any such
                                                                         such related
                                                                               related
matters
matters in in updated  mandatory notices.
              updated mandatory                   37 C.F.R.
                                             See 37
                                    notices. See     C.F.R. § § 42.8(a)(3),   (b)(2).
                                                                 42.8(a)(3), (b)(2).

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                                    Appx000159
                                    Appx000159
      Case: 23-2402     Document: 15      Page: 216   Filed: 02/01/2024
IPR2022-00415
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Patent 10,888,557
Patent            B2
       10,888,557 B2

      FURTHER ORDERED
      FURTHER ORDERED that
                      that because
                           because this
                                   this is
                                        is aa Final
                                              Final Written Decision,
                                                    Written Decision,
parties to the
parties to the proceeding seeking judicial
               proceeding seeking judicial review
                                           review of the decision
                                                  of the decision must
                                                                  must
comply
comply with the notice
       with the notice and
                       and service
                           service requirements of 37
                                   requirements of 37 C.F.R.
                                                      C.F.R. §
                                                             § 90.2.
                                                               90.2.




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                                Appx000160
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        Case: 23-2402   Document: 15      Page: 217   Filed: 02/01/2024
IPR2022-00415
IPR2022-00415
Patent 10,888,557
Patent            B2
       10,888,557 B2
        In summary:
        In summary:


     Claim(s)
     Claim(s) 35
              35   Reference(s)/Basis
                   Reference(s)/Basis   Claim(s)
                                        Claim(s)     Claim(s)
                                                     Claim(s)
            U.S.C.
            U.S.C.                       Shown
                                         Shown      Not shown
                                                    Not shown
               §
               §                      Unpatentable Unpatentable
                                      Unpatentable Unpatentable
 1–7, 11–20
 1-7, 11-20 103
            103    Chia, Akorn,
                   Chia, Alcorn,      1–7, 11-20
                                      1-7, 11–20
                   Kondritzer
                   Kondritzer
 1–7, 11–20
 1-7, 11-20 103
            103    Chia, Akorn,
                   Chia, Alcorn,
                   Lund
                   Lund1515

 1–7, 11–20
 1-7, 11-20 103
            103    Akorn, Wu,
                   Alcorn,  Wu,
                   Kondritzer 16
                   Kondritzer16
 Overall
 Overall                              1–7, 11-20
                                      1-7, 11–20
 Outcome
 Outcome




15
15 Because we
   Because we find these claims
              find these        are unpatentable
                         claims are unpatentable over
                                                   over Chia, Akorn, and
                                                        Chia, Alcorn, and
Kondritzer, we
Kondritzer, we do
               do not
                  not determine  their patentability
                      determine their  patentability under this ground.
                                                     under this ground.
16
   Because we
16 Because we find these claims
              find these        are unpatentable
                         claims are unpatentable over
                                                   over Chia, Akorn, and
                                                        Chia, Alcorn, and
Kondritzer, we
Kondritzer, we do
               do not
                  not determine  their patentability
                      determine their  patentability under this ground.
                                                     under this ground.

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                                Appx000161
                                Appx000161
      Case: 23-2402    Document: 15    Page: 218   Filed: 02/01/2024
IPR2022-00415
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Patent 10,888,557
Patent            B2
       10,888,557 B2

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                             Appx000162
                             Appx000162
                  Case: 23-2402               Document: 15            Page: 219            Filed: 02/01/2024
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                                                                      IIIIIIII
                                                                         III
(12)   United States Patent                                              (10) Patent No.:    US 10,842,787 B2
       Ostrow et al.                                                     (45) Date of Patent:    *Nov. 24, 2020

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(72)    Inventors: Gregory I. Ostrow, San Diego, CA                        5,260,000 A    11/1993 Nandu et al.
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        PCT Pub. Date: Oct. 27, 2016
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        filed on May 29, 2015, now Pat. No. 9,421,199, and
        a     continuation-in-part  of    application   No.
        PCT/US2015/037249, filed on Jun. 23, 2015, which            Primary Examiner — Kathrien A Cruz
        is a continuation-in-part of application No.                (74) Attorney, Agent, or Firm — Wilson Sonsini Goodrich
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(60)    Provisional application No. 62/151,926, filed on Apr.
        23, 2015.                                                   (57)                    ABSTRACT
(51) Int. Cl.                                                       Provided herein is an ophthalmic composition. In some
     A61K 31/46                   (2006.01)                         embodiments, the ophthalmic composition includes a low
     A61K 9/00                    (2006.01)
                                                                    concentration of an ophthalmic agent for treatment of an
     A61K 47/02                   (2006.01)
(52) U.S. Cl.                                                       ophthalmic disorder or condition; and an ophthalmically
     CPC               A61K 31/46 (2013.01); A61K 9/0048            acceptable carrier, wherein the ophthalmic agent is distrib-
                            (2013.01); A61K 47/02 (2013.01)         uted with substantial uniformity throughout the ophthalmi-
(58)    Field of Classification Search                              cally acceptable carrier. Further disclosed herein include an
        USPC                                         514/304        ophthalmic composition including a low concentration of an
        See application file for complete search history.           ophthalmic agent and deuterated water. Also disclosed
                                                                    herein are methods of arresting or preventing myopia devel-
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                                                                    opment by administering to an eye of an individual in need
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                                                                    described herein.
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                                                                                                                Eyenovia Exhibit 1001
                                                                                                                                 1001
                                                         Appx000163
                                                         Appx000163                                                     Page 1
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                                                                                                                               of 65
                                                                                                                                  65
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                                                          Appx000164                          Eyenovia Exhibit
                                                                                              Eyenovia Exhibit 1001,
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                                                                                                               1001, Page
                                                                                                                     Page 3
                                                                                                                          3 of
                                                                                                                            of 65
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               Case: 23-2402                                     Document: 15                         Page: 222                            Filed: 02/01/2024


U.S. Patent                                   Nov. 24, 2020                                Sheet 1 of 13                                                US 10,842,787 B2




       Fig. 1A

                                                                                  Weeks
                           Temp (°C)                         0        1       1.571429 2.142857 3.428571                                                        6.571429
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                                                                                                                                                                          of 65
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              Case: 23-2402                                        Document: 15                          Page: 223                          Filed: 02/01/2024


U.S. Patent                                         Nov. 24, 2020                                Sheet 2 of 13                                       US 10,842,787 B2




Fig. 2A

                                                                                           Weeks
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                                                                                                                                                                           of 65
                                                                                                                                                                              65
         Case: 23-2402    Document: 15           Page: 224       Filed: 02/01/2024


U.S. Patent         Nov. 24, 2020         Sheet 3 of 13               US 10,842,787 B2




                                        Fig. 3


             Mass Balance, 60 °C,1= 4 weeks
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              91%         -A'   90%                                   91%      91%




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                 1001, Page
                       Page 77 of
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                 1001, Page
                       Page 88 of
                               of 65
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                                                                                  Case: 23-2402                                Document: 15                 Page: 227                                   Filed: 02/01/2024

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                   1001, Page
                         Page 99 of
                                 of 65
                                    65
                                                                                               Case: 23-2402                                                            Document: 15                    Page: 228                                 Filed: 02/01/2024

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                    1001, Page
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                 1001, Page
                       Page 12
                            12 of
                               of 65
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                                                                   Case: 23-2402         Document: 15           Page: 231          Filed: 02/01/2024




                                                                                                   Fig. 10
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                  1001, Page
                        Page 13
                             13 of
                                of 65
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        Case: 23-2402            Document: 15        Page: 232                Filed: 02/01/2024


U.S. Patent         Nov. 24, 2020                 Sheet 11 of 13                            US 10,842,787 B2




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                                                                                                         14 of
                                                                                                            of 65
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      Case: 23-2402   Document: 15                     Page: 233                         Filed: 02/01/2024


U.R. Patent      Nov. 24, 2020              Sheet 12 of 13                                         US 10,842,787 B2




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                                                                                                                15 of
                                                                                                                   of 65
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                                                                                                               Case: 23-2402                                                   Document: 15                                                     Page: 234                             Filed: 02/01/2024




                                                                                                                                                                   Fig. 11C
                                                                                                                                                                                                                                                                                                                                                   lualud •S11




                                                                                                                                                    Tropic Acid % at 60C


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                 1001, Page
                       Page 16
                            16 of
                               of 65
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              Case: 23-2402               Document: 15              Page: 235            Filed: 02/01/2024


                                                  US 10,842,787 B2
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           OPHTHALMIC COMPOSITION                                   In some embodiments, the ophthalmic composition has a
                                                                 pD of one of: less than about 7.9, less than about 7.8, less
                   CROSS-REFERENCE                               than about 7.7, less than about 7.6, less than about 7.5, less
                                                                 than about 7.4, less than about 7.3, less than about 7.2, less
   This application is filed pursuant to 35 U.SC. § 371 as a 5 than about 7.1, less than about 7, less than about 6.9, less
United States National Phase Application of International        than about 6.8, less than about 6.7, less than about 6.6, less
Application No. PCT/US2016/029222, filed Apr. 25, 2016,          than about 6.5, less than about 6.4, less than about 6.3, less
which claims the benefit of U.S. Provisional Patent Appli-       than about 6.2, less than about 6.1, less than about 6.
cation No. 62/151,926, filed Apr. 23, 2015; PCT/US2016/             In some embodiments, the ophthalmic composition com-
029222 is a continuation-in-part of U.S. application Ser. No. a) prises one of: at least about 80%, at least about 85%, at least
14/726,139, filed May 29, 2015, now U.S. Pat. No. 9,421,         about 90%, at least about 93%, at least about 95%, at least
199, and is a continuation-in-part of PCT Application No.        about 97%, at least about 98%, or at least about 99% of the
PCT/US2015/037249, filed Jun. 23, 2015. U.S. application         muscarinic antagonist based on initial concentration after
Ser. No. 14/726,139 claims the benefit of U.S. Provisional       extended period of time under storage condition. As
Patent Application No. 62/151,926, filed Apr. 23, 2015; PCT 15 described in this disclosure, the percentage of the ophthal-
Application No. PCT/US2015/037249 is a continuation-in-          mic agent in the composition after storage is based on the
part of U.S. patent Ser. No. 14/726,139, now U.S. Pat. No.       amount of ophthalmic agent that is initially present in the
9,421,199, and claims the benefit of U.S. Provisional Patent     composition (i.e. prior to the storage condition).
Application No. 62/151,926, filed Apr. 23, 2015, all of             In some embodiments, the ophthalmic composition fur-
which are incorporated herein by reference in their entirety. 2o ther has a potency of one of: at least 80%, at least 85%, at
                                                                 least 90%, at least 93%, at least 95%, at least 97%, at least
         BACKGROUND OF THE DISCLOSURE                            98%, or at least 99% after extended period of time under
                                                                 storage condition. As described in this disclosure, the
   Pharmaceutical formulations have an expiration date           potency of the ophthalmic agent in the composition after
which is based on the degradation of the active ingredient. 25 storage is based on the potency of ophthalmic agent that is
                                                                 initially present in the composition (i.e. prior to the storage
           SUMMARY OF THE DISCLOSURE                             condition).
                                                                    In some embodiments, the extended period of time is one
   Provided herein are ophthalmic compositions. In some          of: about 1 week, about 2 weeks, about 3 weeks, about 1
embodiments, disclosed herein is an ophthalmic composi- 30 month, about 2 months, about 3 months, about 4 months,
tion, comprising from about 0.001 wt % to about 0.05 wt %        about 5 months, about 6 months, about 8 months, about 10
of a muscarinic antagonist and deuterated water, at a pD of      months, about 12 months, about 18 months, about 24
from about 4.2 to about 7.9.                                     months, about 36 months, about 4 years, or about 5 years.
   In some embodiments, provided herein is an ophthalmic            In some embodiments, the storage condition has a storage
composition, comprising from about 0.001 wt % to about 35 temperature of from about 2° C. to about 10° C. or from
0.05 wt % of a muscarinic antagonist and deuterated water,       about 16° C. to about 26° C. In some embodiments, the
at a pD of from about 4.2 to about 7.9, wherein the              storage condition has a storage temperature of about 25° C.
muscarinic antagonist does not extend singlet oxygen life-       In some embodiments, the storage condition has a storage
time.                                                            temperature of about 40° C. In some embodiments, the
   In some embodiments, the muscarinic antagonist com- 40 storage condition has a storage temperature of about 60° C.
prises atropine, atropine sulfate, noratropine, atropine-N-         In some embodiments, the storage condition has a relative
oxide, tropine, tropic acid, hyoscine, scopolomine, tropic-      humidity of about 60%. In some embodiments, the storage
amide, cyclopentolate, pirenzapine, homatropine, or a            condition has a relative humidity of about 75%.
combination thereof. In some embodiments, the the musca-            In some embodiments, the muscarinic antagonist is pres-
rinic antagonist comprises atropine, atropine sulfate, sco- 45 ent in the composition at a concentration of one of: from
polamine, homatropine, or a combination thereof. In some         about 0.001 wt % to about 0.04 wt %, from about 0.001 wt
embodiments, the muscarinic antagonist is atropine. In some      % to about 0.03 wt %, from about 0.001 wt % to about 0.025
embodiments, the muscarinic antagonist is atropine sulfate.      wt %, from about 0.001 wt % to about 0.02 wt %, from about
   In some embodiments, the muscarinic antagonist                0.001 wt % to about 0.01 wt %, from about 0.001 wt % to
quenches photogenerated singlet oxygen species in the com- so about 0.008 wt %, or from about 0.001 wt % to about 0.005
position. In some embodiments, the muscarinic antagonist         wt %.
comprises atropine, atropine sulfate, noratropine, atropine-        In some embodiments, the composition comprises less
N-oxide, tropine, tropic acid, hyoscine, scopolomine, tropi-     than 20% of major degradant based on the concentration of
camide, cyclopentolate, pirenzapine, homatropine, or a com-      the ophthalmic agent after extended period of time under
bination thereof. In some embodiments, the the muscarinic 55 storage condition. In some embodiments, the composition
antagonist comprises atropine, atropine sulfate, scopolo-        comprises less than 15% of major degradant based on the
mine, homatropine, or a combination thereof. In some             concentration of the ophthalmic agent after extended period
embodiments, the muscarinic antagonist is atropine. In some      of time under storage condition.
embodiments, the muscarinic antagonist is atropine sulfate.         In some embodiments, the composition comprises less
   In some embodiments, the ophthalmic composition has a 60 than 10% of major degradant based on the concentration of
pD of one of: less than about 7.9, less than about 7.3, less     the ophthalmic agent after extended period of time under
than about 7.2, less than about 7.1, less than about 7, less     storage condition. In some embodiments, the composition
than about 6.8, less than about 6.5, less than about 6.4, less   comprises less than 5% of major degradant based on the
than about 6.3, less than about 6.2, less than about 6.1, less   concentration of the ophthalmic agent after extended period
than about 6, less than about 5.9, less than about 5.8, less 65 of time under storage condition. In some embodiments, the
than about 5.2, or less than about 4.8 after extended period     composition comprises less than 2.5% of major degradant
of time under storage condition.                                 based on the concentration of the ophthalmic agent after


                                                      Appx000179
                                                      Appx000179                       Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 17
                                                                                                                   17 of
                                                                                                                      of 65
                                                                                                                         65
              Case: 23-2402                Document: 15              Page: 236            Filed: 02/01/2024


                                                   US 10,842,787 B2
                              3                                                                  4
extended period of time under storage condition. In some                In some embodiments, the ophthalmic composition is
embodiments, the composition comprises less than 2.0% of             essentially free of procaine and benactyzine, or pharmaceu-
major degradant based on the concentration of the ophthal-           tically acceptable salts thereof.
mic agent after extended period of time under storage                   In some embodiments, the composition has a dose-to-
condition. In some embodiments, the composition com- 5 dose ophthalmic agent concentration variation of less than
prises less than 1.5% of major degradant based on the                50%. In some embodiments, the composition has a dose-to-
concentration of the ophthalmic agent after extended period          dose ophthalmic agent concentration variation of less than
of time under storage condition. In some embodiments, the            40%. In some embodiments, the composition has a dose-to-
composition comprises less than 1.0% of major degradant              dose ophthalmic agent concentration variation of less than
based on the concentration of the ophthalmic agent after 10
                                                                     30%. In some embodiments, the composition has a dose-to-
extended period of time under storage condition. In some
                                                                     dose ophthalmic agent concentration variation of less than
embodiments, the composition comprises less than 0.5% of
                                                                     20%. In some embodiments, the composition has a dose-to-
major degradant based on the concentration of the ophthal-
mic agent after extended period of time under storage                dose ophthalmic agent concentration variation of less than
condition. In some embodiments, the composition com- 15 10%. In some embodiments, the composition has a dose-to-
prises less than 0.4% of major degradant based on the                dose ophthalmic agent concentration variation of less than
concentration of the ophthalmic agent after extended period          5%. In some embodiments, the dose-to-dose ophthalmic
of time under storage condition. In some embodiments, the            agent  concentration variation is based on 10 consecutive
composition comprises less than 0.3% of major degradant              doses. In some embodiments, the dose-to-dose ophthalmic
based on the concentration of the ophthalmic agent after 20 agent concentration variation is based on 8 consecutive
extended period of time under storage condition. In some             doses. In some embodiments, the dose-to-dose ophthalmic
embodiments, the composition comprises less than 0.2% of             agent concentration variation is based on 5 consecutive
major degradant based on the concentration of the ophthal-           doses. In some embodiments, the dose-to-dose ophthalmic
mic agent after extended period of time under storage                agent concentration variation is based on 3 consecutive
condition. In some embodiments, the composition com- 25 doses. In some embodiments, the dose-to-dose ophthalmic
prises less than 0.1% of major degradant based on the                agent concentration variation is based on 2 consecutive
concentration of the ophthalmic agent after extended period          doses.
of time under storage condition. In some embodiments, the               In some embodiments, the composition further comprises
major degradant is tropic acid. As described in this disclo-         a pD adjusting agent. In some embodiments, the pD adjust-
sure, the percentage of the primary degradant in the com- 30 ing agent comprises DC1, NaOD, CD3COOD, or C6D8O7.
position after storage is based on the amount of ophthalmic
                                                                        In some embodiments, the composition further comprises
agent that is initially present in the composition (i.e. prior to
                                                                     a pharmaceutically acceptable carrier. In some embodi-
the storage condition).
                                                                     ments, the ophthalmically acceptable carrier further com-
   In some embodiments, the composition is in a form of an
aqueous solution.                                                 35
                                                                     prises at least one viscosity-enhancing agent. In some
   In some embodiments, the composition further comprises            embodiments, the viscosity-enhancing agent is selected
an osmolarity adjusting agent. In some embodiments, the              from cellulose-based polymers, polyoxyethylene-polyoxy-
osmolarity adjusting agent is sodium chloride.                       propylene triblock copolymers, dextran-based polymers,
   In some embodiments, the ophthalmic composition fur-              polyvinyl alcohol, dextrin, polyvinylpyrrolidone, polyalky-
ther comprises a preservative. In some embodiments, the 40 lene glycols, chitosan, collagen, gelatin, hyaluronic acid, or
preservative is selected from benzalkonium chloride, cetri-          combinations thereof.
monium, sodium perborate, stabilized oxychloro complex,                 In some embodiments, the ophthalmic composition com-
SofZia, polyquaternium-1, chlorobutanol, edetate di sodium,          prises one of: less than 60% of H2O, less than 55% of H2O,
polyhexamethylene biguanide, or combinations thereof.                less than 50% of H2O, less than 45% of H2O, less than 40%
   In some embodiments, the ophthalmic composition fur- 45 of H2O, less than 35% of H2O, less than 30% of H2O, less
ther comprises a buffer agent. In some embodiments, the              than 25% of H2O, less than 20% of H2O, less than 15% of
buffer agent is selected from borates, borate-polyol com-            H2O, or less than 10% of H2O.
plexes, succinate, phosphate buffering agents, citrate buff-            In some embodiments, the ophthalmic composition com-
ering agents, acetate buffering agents, carbonate buffering          prises one of: less than 5% of H2O, less than 4% of H2O, less
agents, organic buffering agents, amino acid buffering so than 3% of H2O, less than 2% of H2O, less than 1% of H2O,
agents, or combinations thereof.                                     less than 0.5% of H2O, less than 0.1% of H2O, or 0% of
   In some embodiments, the ophthalmic composition fur-              H2O.
ther comprises a tonicity adjusting agent. In some embodi-              In some embodiments, the ophthalmic composition is
ments, the tonicity adjusting agent is selected from sodium          stored below room temperature prior to first use. In some
chloride, sodium nitrate, sodium sulfate, sodium bisulfate, 55 embodiments, the ophthalmic composition is stored at
potassium chloride, calcium chloride, magnesium chloride,            between about 2° C. to about 10° C. prior to first use. In
zinc chloride, potassium acetate, sodium acetate, sodium             some embodiments, the ophthalmic composition is stored at
bicarbonate, sodium carbonate, sodium thiosulfate, magne-            between about 4° C. to about 8° C. prior to first use.
sium sulfate, disodium hydrogen phosphate, sodium dihy-                 In some embodiments, the ophthalmic composition is
drogen phosphate, potassium dihydrogen phosphate, dex- 60 stored at room temperature after first use. In some embodi-
trose, mannitol, sorbitol, dextrose, sucrose, urea, propylene        ments, the ophthalmic composition is stored at between
glycol, glycerin, trehalose, or a combination thereof.               about 16° C. to about 26° C. after first use.
   In some embodiments, the composition is stored in a                  In some embodiments, the ophthalmic composition is not
plastic container. In some embodiments, the material of the          formulated as an injectable formulation.
plastic container comprises low-density polyethylene 65                 In some embodiments, the ophthalmic composition does
(LDPE). In some cases, the material of the plastic container         not comprise water-hydrolyzable derivatives of a -amino or
comprises polypropylene.                                             a-hydroxy-carboxylic acids.


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                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 18
                                                                                                                    18 of
                                                                                                                       of 65
                                                                                                                          65
               Case: 23-2402                Document: 15               Page: 237            Filed: 02/01/2024


                                                    US 10,842,787 B2
                               5                                                                    6
   In some embodiments, the ophthalmic composition is               stored at between about 2° C. to about 10° C. prior to first
essentially free of procaine and benactyzine, or pharmaceu-         use. In some embodiments, the ophthalmic composition is
tically acceptable salts thereof.                                   stored at between about 4° C. to about 8° C. prior to first use.
   In some embodiments, the ophthalmic composition is               In some embodiments, the ophthalmic composition is stored
formulated as an ophthalmic solution for the treatment of an 5 at room temperature after first use. In some embodiments,
ophthalmic disorder. In some embodiments, the ophthalmic            the ophthalmic composition is stored at between about 16°
disorder or condition is pre-myopia, myopia, or progression         C. to about 26° C. after first use.
of myopia. In some embodiments, the ophthalmic compo-                  In some embodiments, disclosed herein is an ophthalmic
sition is formulated as an ophthalmic solution for the treat-       solution that comprises from about 0.001 wt % to about 0.05
ment of pre-myopia, myopia, or progression of myopia.            io wt % of a muscarinic antagonist and deuterated water, at a
   In some embodiments, the ophthalmic composition is a             pD of from about 4.2 to about 7.9. In some embodiments, the
solution.                                                           ophthalmic solution has a pD of one of: less than about 7.3,
   In some embodiments, disclosed herein is a method of             less than about 7.2, less than about 7.1, less than about 7, less
treating an ophthalmic disorder comprising administering to         than about 6.8, less than about 6.5, less than about 6.4, less
an eye of an individual in need thereof an effective amount is than about 6.3, less than about 6.2, less than about 6.1, less
of an ophthalmic composition described herein. In some              than about 6, less than about 5.9, less than about 5.8, less
embodiments, described herein is a method of treating an            than about 5.2, or less than about 4.8 after extended period
ophthalmic disorder, comprising administering to an eye of          of time under storage condition. In some embodiments, the
an individual in need thereof an effective amount of an             muscarinic antagonist comprises atropine, atropine sulfate,
ophthalmic composition comprising from about 0.001 wt % 20 noratropine, atropine-N-oxide, tropine, tropic acid, hyos-
to about 0.05 wt % of a muscarinic antagonist and deuterated        cine, scopolamine, tropicamide, cyclopentolate, pirenzap-
water, at a pD of from about 4.2 to about 7.9. In some              ine, homatropine, or a combination thereof. In some
embodiments, the ophthalmic composition is administered             embodiments, the ophthalmic solution comprises one of:
at predetermined time intervals over an extended period of          less than 5% of H2O, less than 4% of H2O, less than 3% of
time. In some embodiments, the ophthalmic composition is 25 H2O, less than 2% of H2O, less than 1% of H2O, less than
administered once every day. In some embodiments, the               0.5% of H2O, less than 0.1% of H2O, or 0% of H2O. In some
ophthalmic composition is administered every other day. In          embodiments, the ophthalmic composition comprises one
some embodiments, the ophthalmic composition is admin-              of: at least about 80%, at least about 85%, at least about
istered over 1 week, 2 weeks, 1 month, 2 months, 3 months,          90%, at least about 93%, at least about 95%, at least about
6 months, 1 year, 2 years, 3 years, 4 years, 5 years, 6 years, 30 97%, at least about 98%, or at least about 99% of the
7 years, 8 years, 9 years, 10 years, 11 years, or 12-15 years.      muscarinic antagonist based on initial concentration after
In some embodiments, the ophthalmic composition is stored           extended period of time under storage condition. In some
below room temperature prior to first use. In some embodi-          embodiments, the ophthalmic composition further has a
ments, the ophthalmic composition is stored at between              potency of one of: at least 80%, at least 85%, at least 90%,
about 2° C. to about 10° C. prior to first use. In some 35 at least 93%, at least 95%, at least 97%, at least 98%, or at
embodiments, the ophthalmic composition is stored at                least 99% after extended period of time under storage
between about 4° C. to about 8° C. prior to first use. In some      condition. In some embodiments, the extended period of
embodiments, the ophthalmic composition is stored at room           time is one of: about 1 week, about 2 weeks, about 3 weeks,
temperature after first use. In some embodiments, the oph-          about 1 month, about 2 months, about 3 months, about 4
thalmic composition is stored at between about 16° C. to 40 months, about 5 months, about 6 months, about 8 months,
about 26° C. after first use.                                       about 10 months, about 12 months, about 18 months, about
   In some embodiments, disclosed herein is a method of             24 months, about 36 months, about 4 years, or about 5 years.
arresting myopia development that comprises administering           In some embodiments, the muscarinic antagonist is present
to an eye of an individual in need thereof an effective             in the composition at a concentration of one of: from about
amount of an ophthalmic composition described herein. 45 0.001 wt % to about 0.04 wt %, from about 0.001 wt % to
Also described herein is a method of preventing myopia              about 0.03 wt %, from about 0.001 wt % to about 0.025 wt
development that comprises administering to an eye of an            %, from about 0.001 wt % to about 0.02 wt %, from about
individual in need thereof an effective amount of an oph-           0.001 wt % to about 0.01 wt %, from about 0.001 wt % to
thalmic composition described herein. In some embodi-               about 0.008 wt %, or from about 0.001 wt % to about 0.005
ments, described herein is a method of arresting or prevent- so wt %. In some embodiments, the storage condition has a
ing myopia development, comprising administering to an              storage temperature of from about 2° C. to about 10° C. or
eye of an individual in need thereof an effective amount of         from about 16° C. to about 26° C. In some embodiments, the
an ophthalmic composition comprising from about 0.001 wt            ophthalmic composition has a dose-to-dose muscarinic
% to about 0.05 wt % of a muscarinic antagonist and                 antagonist concentration variation of one of: less than 50%,
deuterated water, at a pD of from about 4.2 to about 7.9. In 55 less than 40%, less than 30%, less than 20%, less than 10%,
some embodiments, the ophthalmic composition is admin-              or less than 5%. In some embodiments, the dose-to-dose
istered at predetermined time intervals over an extended            muscarinic antagonist concentration variation is based on
period of time. In some embodiments, the ophthalmic com-            one of: 10 consecutive doses, 8 consecutive doses, 5 con-
position is administered once every day. In some embodi-            secutive doses, 3 consecutive doses, or 2 consecutive doses.
ments, the ophthalmic composition is administered every 60             In some embodiments, disclosed herein is an ophthalmic
other day. In some embodiments, the ophthalmic composi-             composition, comprising from about 0.001 wt % to about
tion is administered over 1 week, 2 weeks, 1 month, 2               0.05 wt % of a muscarinic antagonist and water, at a pH of
months, 3 months, 6 months, 1 year, 2 years, 3 years, 4 years,      from about 3.8 to about 7.5.
5 years, 6 years, 7 years, 8 years, 9 years, 10 years, 11 years,       In some embodiments, the muscarinic antagonist com-
or 12-15 years. In some embodiments, the ophthalmic 65 prises atropine, atropine sulfate, noratropine, atropine-N-
composition is stored below room temperature prior to first         oxide, tropine, tropic acid, hyoscine, scopolomine, tropic-
use. In some embodiments, the ophthalmic composition is             amide, cyclopentolate, pirenzapine, homatropine, or a


                                                        Appx000181
                                                        Appx000181                        Eyenovia Exhibit
                                                                                          Eyenovia Exhibit 1001,
                                                                                                           1001, Page
                                                                                                                 Page 19
                                                                                                                      19 of
                                                                                                                         of 65
                                                                                                                            65
              Case: 23-2402              Document: 15              Page: 238           Filed: 02/01/2024


                                                 US 10,842,787 B2
                             7                                                                8
combination thereof. In some embodiments, the muscarinic        drogen phosphate, potassium dihydrogen phosphate, dex-
antagonist is atropine or atropine sulfate.                     trose, mannitol, sorbitol, dextrose, sucrose, urea, propylene
   In some embodiments, the ophthalmic composition com-         glycol, glycerin, trehalose, or a combination thereof.
prises one of: at least about 80%, at least about 85%, at least    In some embodiments, the ophthalmic composition is
about 90%, at least about 93%, at least about 95%, at least 5 stored in a plastic container. In some embodiments, the
about 97%, at least about 98%, or at least about 99% of the     material of the plastic container comprises low-density
muscarinic antagonist based on initial concentration after      polyethylene (LDPE).
extended period of time under storage condition.                   In some embodiments, the ophthalmic composition has a
   In some embodiments, the ophthalmic composition has a        dose-to-dose muscarinic antagonist concentration variation
pH of one of: less than about 7.3, less than about 7.2, less 10
                                                                of one of: less than 50%, less than 40%, less than 30%, less
than about 7.1, less than about 7, less than about 6.8, less
                                                                than 20%, less than 10%, or less than 5%.
than about 6.5, less than about 6.4, less than about 6.3, less
                                                                   In some embodiments, the dose-to-dose muscarinic
than about 6.2, less than about 6.1, less than about 6, less
than about 5.9, less than about 5.8, less than about 5.2, less  antagonist  concentration variation is based on one of: 10
than about 4.8, or less than about 4.2 after extended period 15 consecutive doses, 8 consecutive doses, 5 consecutive doses,
of time under storage condition.                                3 consecutive doses, or 2 consecutive doses.
   In some embodiments, the ophthalmic composition fur-            In some embodiments, the ophthalmic composition has a
ther has a potency of one of: at least 80%, at least 85%, at    pH  of one of: from about 3.8 to about 7.5, from about 4.2 to
least 90%, at least 93%, at least 95%, at least 97%, at least   about 7.5, from about 4.8 to about 7.3, from about 5.2 to
98%, or at least 99% after extended period of time under 20 about 7.2, from about 5.8 to about 7.1, from about 6.0 to
storage condition.                                              about 7.0, or from about 6.2 to about 6.8.
   In some embodiments, the extended period of time is one         In some embodiments, the ophthalmic composition fur-
of: about 1 week, about 2 weeks, about 3 weeks, about 1         ther comprises a pH adjusting agent. In some embodiments,
month, about 2 months, about 3 months, about 4 months,          the pH adjusting agent comprises HC1, NaOH, CH1COOH,
about 5 months, about 6 months, about 8 months, about 10 25 or C6H8O7.
months, about 12 months, about 18 months, about 24                 In some embodiments, the ophthalmic composition com-
months, about 36 months, about 4 years, or about 5 years.       prises one of: less than 60% of D2O, less than 55% of D2O,
   In some embodiments, the storage condition has a storage     less than 50% of D2O, less than 45% of D2O, less than 40%
temperature of one of: about 25° C., about 40° C., or about     of D2O, less than 35% of D2O, less than 30% of D2O, less
60° C. In some embodiments, the storage condition has a 30 than 25% of D2O, less than 20% of D2O, less than 15% of
storage temperature of from about 2° C. to about 10° C. or      D2O, or less than 10% of D2O.
from about 16° C. to about 26° C.                                  In some embodiments, the ophthalmic composition com-
   In some embodiments, the storage condition has a relative    prises one of: less than 5% of D2O, less than 4% of D2O, less
humidity of about 60% or about 75%.                             than 3% of D2O, less than 2% of D2O, less than 1% of D2O,
   In some embodiments, the muscarinic antagonist is pres- 35 less than 0.5% of D2O, less than 0.1% of D2O, or 0% of
ent in the composition at a concentration of one of: from       D2O. In some embodiments, ophthalmic composition is
about 0.001 wt % to about 0.04 wt %, from about 0.001 wt        essentially free of D2O.
% to about 0.03 wt %, from about 0.001 wt % to about 0.025         In some embodiments, the composition further comprises
wt %, from about 0.001 wt % to about 0.02 wt %, from about      a pharmaceutically acceptable carrier.
0.001 wt % to about 0.01 wt %, from about 0.001 wt % to 40         In some embodiments, the ophthalmic composition is
about 0.008 wt %, or from about 0.001 wt % to about 0.005       formulated as an ophthalmic solution for the treatment of an
wt %.                                                           ophthalmic disorder. In some embodiments, the ophthalmic
   In some embodiments, the ophthalmic composition fur-         disorder or condition is pre-myopia, myopia, or progression
ther comprises an osmolarity adjusting agent. In some           of myopia.
embodiments, the osmolarity adjusting agent is sodium 45           In some embodiments, the ophthalmic composition is not
chloride.                                                       formulated as an injectable formulation.
   In some embodiments, the ophthalmic composition fur-            Other features and technical effects of the methods and
ther comprises a preservative. In some embodiments, the         compositions described herein will become apparent from
preservative is selected from benzalkonium chloride, cetri-     the following detailed description. It should be understood,
monium, sodium perborate, stabilized oxychloro complex, 50 however, that the detailed description and the specific
SofZia, polyquaternium-1, chlorobutanol, edetate disodium,      examples, while indicating specific embodiments, are given
polyhexamethylene biguanide, or combinations thereof.           by way of illustration only.
   In some embodiments, the ophthalmic composition fur-
ther comprises a buffer agent. In some embodiments, the                BRIEF DESCRIPTION OF THE DRAWINGS
buffer agent is selected from borates, borate-polyol com- 55
plexes, succinate, phosphate buffering agents, citrate buff-       The novel features of the disclosure are set forth with
ering agents, acetate buffering agents, carbonate buffering     particularity in the appended claims. A better understanding
agents, organic buffering agents, amino acid buffering          of the features and advantages of the present disclosure will
agents, or combinations thereof.                                be obtained by reference to the following detailed descrip-
   In some embodiments, the ophthalmic composition fur- 60 tion that sets forth illustrative embodiments, in which the
ther comprises a tonicity adjusting agent. In some embodi-      principles of the disclosure are utilized, and the accompa-
ments, the tonicity adjusting agent is selected from sodium     nying drawings of which:
chloride, sodium nitrate, sodium sulfate, sodium bisulfate,        FIG. 1A-FIG. 1C show the shelf life prediction of 0.01%
potassium chloride, calcium chloride, magnesium chloride,       atropine sulfate solution with a primary degradant RRT
zinc chloride, potassium acetate, sodium acetate, sodium 65 0.87-0.89, and a n.m.t. of 0.5% area, based on data obtained
bicarbonate, sodium carbonate, sodium thiosulfate, magne-       from samples stored at 25° C. and 40° C. The pH range of
sium sulfate, disodium hydrogen phosphate, sodium dihy-         the atropine sulfate solution is from 5.9-6.2.


                                                     Appx000182
                                                     Appx000182                      Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 20
                                                                                                                 20 of
                                                                                                                    of 65
                                                                                                                       65
              Case: 23-2402                Document: 15              Page: 239           Filed: 02/01/2024


                                                   US 10,842,787 B2
                              9                                                                 10
   FIG. 2A-FIG. 2C show the shelf life prediction of 0.01%        maceutically acceptable salts) reduces or prevents the afore-
atropine sulfate solution with a primary degradant RRT            mentioned systemic exposure.
0.87-0.89, and a n.m.t. of 0.5% area, based on data obtained         Further, the present disclosure recognizes that some liquid
from samples stored at 25° C. and 60° C. The pH range of          muscarinic antagonist (e.g. atropine) compositions are for-
the atropine sulfate solution is from 5.9-6.2.                  5 mulated at a relatively lower pH range (e.g. less than 4.5) for
   FIG. 3 illustrates mass balance at 4 weeks and at 60° C.       stability of muscarinic antagonist (e.g. atropine or its phar-
condition for atropine sulfate formulations disclosed in          maceutically acceptable salts). For some individuals, the
Example 9.                                                        lower pH range in some instances causes discomfort or other
   FIG. 4 illustrates atropine sulfate (0.010%) formulation       side effects such as pain or burning sensation in the eye,
                                                               10 which is prevented or alleviated by formulating muscarinic
stability in acetic acid. The atropine sulfate formulation is
                                                                  antagonist (e.g. atropine) compositions at higher pH ranges.
formulated with acetic acid and either with H2O (top panel,
                                                                  For some individuals, the lower pH in some instances elicits
Formulation 3) or D2O (bottom panel, Formulation 7).
                                                                  a tear response which reduces the absorption of the drug in
Formulation 3 has a pH of 4.8 and Formulation 7 has a pD          the eye and therefore the effectiveness.
of 5.2. Both formulations are stored at 60° C. for 4 weeks 15        Still further, the present disclosure recognizes that some
prior to analysis.                                                muscarinic antagonist (e.g. atropine) liquid compositions
   FIG. 5 illustrates atropine sulfate (0.01%) formulation        formulated at lower concentrations (e.g. 0.001% to 0.05%)
stability in citric acid. The atropine sulfate formulation is     present stability challenges that are less so in higher con-
formulated with citric acid and either with H2O (top panel,       centrations (e.g. 0.1-1%). Without wishing to be hound by
Formulation 5) or D2O (bottom panel, Formulation 8). 20 any particular theory, it is contemplated that the some
Formulation 5 has a pH of 5.8 and Formulation 8 has a pD          muscarinic antagonist (e.g. atropine) contributes to the sta-
of 6.2. Both formulations are stored at 60° C. for 4 weeks        bility of an ophthalmic composition, such as an aqueous
prior to analysis.                                                solution. For example, the concentration of the muscarinic
   FIG. 6 illustrates comparison of total RS and tropic acid      antagonist (e.g. atropine) in some embodiments affects the
for atropine sulfate (0.025%) formulation (Formulation 4) at 25 pH or pD of the ophthalmic composition, such as with the
pH 4.8 in H2O.                                                    muscarinic antagonist acting as a buffering agent. Further-
   FIG. 7 illustrates comparison of total RS and tropic acid      more, the concentration of the muscarinic antagonist (e.g.
for atropine sulfate (0.01%) formulation (Formulation 7) at       atropine) in some embodiments affects the interaction
pD 5.2 in D2O.                                                    between the muscarinic antagonist and other ingredients of
   FIG. 8 illustrates comparison of total RS and tropic acid 30 the ophthalmic composition, which in turn affects the sta-
for atropine sulfate (0.01%) formulation (Formulation 5) at       bility of the ophthalmic composition.
pH 5.8 in H2O.                                                       Finally, the present disclosure recognizes that deuterated
   FIG. 9 illustrates comparison of total RS and tropic acid      water stabilizes ophthalmic compositions. In some cases, the
for atropine sulfate (0.025%) formulation (Formulation 6) at      deuterated water is a weak acid as compared to H2O, as such
pH 5.8 in H2O.                                                 35 deuterated water comprises a lower concentration of the
   FIG. 10 illustrates estimated shelf lifes for D2O and H2O      reactive species (e.g., OD) which in some instances leads
formulations disclosed in Examples 11 and 12.                     to base catalyzed hydrolysis of an active agent in the
   FIG. 11A-FIG. 11C illustrate stability of atropine sulfate     ophthalmic composition. As such, in some instances com-
formulation 8 in H2O and D2O under three storage condi-           positions comprising deuterated water leads to reduced base
tions.                                                         40 catalyzed hydrolysis when compared to compositions com-
                                                                  prising H2O. In some instances, deuterated water further
            DETAILED DESCRIPTION OF THE                           lowers the buffering capacity of an ophthalmic composition,
                        DISCLOSURE                                leading to less tear reflex in the eye.
                                                                     Myopia, axial elongation of the eye, affects a large
   The present disclosure recognizes that there is a need for 45 proportion of the population. The onset of myopia is gen-
a stabilized ophthalmic composition with extended shelf life      erally during the grade school years and progresses until
upon storage. The present disclosure also recognizes that         growth of the eye is completed. The present disclosure
there is a need for stabilizing an ophthalmic composition         recognizes the importance of compositions and treatments
through arresting or reducing hydrolysis of at least some of      for preventing or arresting the development of myopia,
its active agents. The present disclosure further recognizes so especially compositions and treatments that allow conve-
that there is a need for an ophthalmic composition that           nient administration, reduce potential side effects, has suit-
provides convenient and effective delivery of a muscarinic        able stability, and/or provide relatively consistent therapeu-
antagonist such as atropine in the eye of a patient.              tic effects.
   The present disclosure recognizes that muscarinic antago-         Ophthalmic Muscarinic Antagonist Composition
nist (e.g. atropine or its pharmaceutically acceptable salts) 55     Provided herein is an ophthalmic composition containing
prevents or arrests the development of myopia in humans,          low concentrations of an ophthalmic agent. In some embodi-
for example as evidenced by reduction of the rate of increase     ments, the ophthalmic composition includes from about
of myopia in young people. The present disclosure also            0.001 wt % to about 0.05 wt % of an ophthalmic agent for
recognizes the effects of muscarinic antagonist (e.g. atropine    treatment of an ophthalmic disorder or condition; and an
or its pharmaceutically acceptable salts) on reduction of 60 ophthalmically acceptable carrier, wherein the ophthalmic
axial elongation and myopia in visually impaired chick eyes,      agent is distributed with substantial uniformity throughout
and on ocular growth and muscarinic cholinergic receptors         the ophthalmically acceptable carrier. In some instances, the
in young rhesus monkeys.                                          ophthalmic agent is a muscarinic antagonist.
   In addition, the present disclosure recognizes that sys-          Provided herein is an ophthalmic composition containing
temic absorption of muscarinic antagonist (e.g. atropine) 65 low concentrations of a muscarinic antagonist. In some
sometimes leads to undesirable side effect, and that localized    embodiments, the ophthalmic composition includes from
delivery of muscarinic antagonist (e.g. atropine or its phar-     about 0.001 wt % to about 0.05 wt % of a muscarinic


                                                       Appx000183
                                                       Appx000183                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 21
                                                                                                                   21 of
                                                                                                                      of 65
                                                                                                                         65
               Case: 23-2402               Document: 15               Page: 240            Filed: 02/01/2024


                                                    US 10,842,787 B2
                             11                                                                  12
antagonist for treatment of an ophthalmic disorder or con-             Provided herein is an ophthalmic composition containing
dition; and an ophthalmically acceptable carrier, wherein the       low concentrations of atropine or its pharmaceutically
muscarinic antagonist is distributed with substantial unifor-       acceptable salts. In some embodiments, the ophthalmic
mity throughout the ophthalmically acceptable carrier.              composition includes from about 0.001 wt % to about 0.05
   In some instances, the muscarinic antagonist includes 5 wt % of atropine or its pharmaceutically acceptable salts for
atropine, atropine sulfate, noratropine, atropine-N-oxide,          treatment of an ophthalmic disorder or condition; and an
tropine, tropic acid, atropine methonitrate, diphenhy-              ophthalmically acceptable carrier, wherein the ophthalmic
dramine, dimenhydrinate, dicyclomine, flavoxate, oxybu-             agent is distributed with substantial uniformity throughout
tynin, tiotropium, hyoscine, scopolomine (L-hyoscine),              the ophthalmically acceptable carrier.
                                                                 10
hydroxyzine, ipratropium, tropicamide, cyclopentolate,                 Provided herein is an ophthalmic composition containing
pirenzapine, homatropine, solifenacin, darifenacin, benza-          low concentrations of atropine sulfate. In some embodi-
tropine, mebeverine, procyclidine, aclidinium bromide, tri-         ments, the ophthalmic composition includes from about
hexyphenidyl/benzhexol, tolterodine, or a combination               0.001 wt % to about 0.05 wt % of atropine sulfate for
thereof. In some instances, the muscarinic antagonist 15 treatment of an ophthalmic disorder or condition; and an
includes atropine, atropine sulfate, noratropine, atropine-N-       ophthalmically acceptable carrier, wherein the ophthalmic
oxide, tropine, tropic acid, hyoscine, scopolomine, tropic-         agent is distributed with substantial uniformity throughout
amide, cyclopentolate, pirenzapine, homatropine, or a com-          the ophthalmically acceptable carrier.
bination thereof. In some embodiments, the muscarinic                  In some embodiments, the ophthalmic disorder or condi-
antagonist is atropine, or a pharmaceutically acceptable salt 20 tion is pre-myopia, myopia or progression of myopia.
or prodrug thereof. In some embodiments, the muscarinic                The present disclosure further recognizes that the clinical
antagonist is atropine sulfate.                                     use of atropine as a therapy has been limited due to its ocular
   In some embodiments, the ophthalmic composition com-             side effects including glare from pupillary dilation and
prise a muscarinic antagonist selected from atropine, atro-         blurred vision due to loss of accommodation. Without wish-
pine sulfate, noratropine, atropine-N-oxide, tropine, tropic 25 ing to be bound by any particular theory, it is contemplated
acid, atropine methonitrate, diphenhydramine, dimenhydri-           that the limited use of atropine against myopia development,
nate, dicyclomine, flavoxate, oxybutynin, tiotropium, hyos-         include its ocular side effects, is attributable to the concen-
cine, scopolomine (L-hyoscine), hydroxyzine, ipratropium,           tration of atropine used in known ophthalmic formulations
tropicamide, cyclopentolate, pirenzapine, homatropine,              (e.g. 1 wt % or higher).
solifenacin, darifenacin, benzatropine, mebeverine, procy- 30          The present disclosure further recognizes the challenges
clidine, aclidinium bromide, trihexyphenidyl/benzhexol,             present in formulation of compositions that contain low
tolterodine, or a combination thereof. In some instances, the       concentrations, especially very low concentrations (e.g.
muscarinic antagonist includes atropine, atropine sulfate,          from about 0.001 wt % to about 0.5 wt %), of ophthalmic
noratropine, atropine-N-oxide, tropine, tropic acid, hyos-          agents, such as muscarinic antagonist (e.g. atropine or its
cine, scopolomine, tropicamide, cyclopentolate, pirenzap- 35 pharmaceutically acceptable salts). In particular, pharma-
ine, or homatropine.                                                ceutical compositions with ophthalmic agent at such low
   In some embodiments, the ophthalmic composition com-             concentrations are difficult to maintain dose-to-dose unifor-
prise two or more muscarinic antagonists in which the two           mity in term of ophthalmic agent content and/or distribution.
or more muscarinic antagonists comprises atropine, atropine            In some aspects, described herein are formulations or
sulfate, noratropine, atropine-N-oxide, tropine, tropic acid, 40 solutions of muscarinic antagonist (e.g., atropine) formu-
atropine methonitrate, diphenhydramine, dimenhydrinate,             lated in deuterated water. In some aspects, formulations or
dicyclomine, flavoxate, oxybutynin, tiotropium, hyoscine,           solutions of muscarinic antagonist (e.g., atropine) formu-
scopolomine (L-hyoscine), hydroxyzine, ipratropium, tropi-          lated in deuterated water are stable at different temperatures,
camide, cyclopentolate, pirenzapine, homatropine, solifena-         at different relative humidity, with an acidic pD, and with a
cin, darifenacin, benzatropine, mebeverine, procyclidine, 45 potency of at least 80% relative to the ophthalmic agent. In
aclidinium bromide, trihexyphenidyl/benzhexol, tolt-                additional aspects, formulations or solutions of muscarinic
erodine, or a combination thereof. In some instances, the           antagonist (e.g., atropine) formulated in deuterated water
muscarinic antagonist includes atropine, atropine sulfate,          has a lowered buffering capacity. In such instances, the
noratropine, atropine-N-oxide, tropine, tropic acid, hyos-          lowered buffering capacity of the ophthalmic formulations
cine, scopolomine, tropicamide, cyclopentolate, pirenzap- so or solutions when administered into the eye allows the
ine, homatropine, or any combination thereof.                       ophthalmic formulation or solution to reach physiological
   In some embodiments, the ophthalmic composition com-             pH at a faster rate than compared to an equivalent ophthal-
prises one or more muscarinic antagonist in combination             mic formulation or solution formulated in H2O.
with one or more sympathetic agonists. In some embodi-                 In some aspects, described herein are formulations of
ments, the sympathetic agonist is selected from phenyleph- 55 muscarinic antagonist (e.g. atropine) at low concentrations
rine or hydroxyamphetamine. In some embodiments, the                that does not have a dose-to-dose variation. In some aspects,
ophthalmic composition comprises one or more of musca-              described herein are formulations of muscarinic antagonist
rinic antagonist: atropine, atropine sulfate, noratropine, atro-    (e.g. atropine) at low concentrations that are stable at
pine-N-oxide, tropine, tropic acid, atropine methonitrate,          different temperatures, at different relative humidity, with an
diphenhydramine, dimenhydrinate, dicyclomine, flavoxate, 60 acidic pD, and with a potency of at least 80% relative to the
oxybutynin, tiotropium, hyoscine, scopolomine (L-hyos-              ophthalmic agent.
cine), hydroxyzine, ipratropium, tropicamide, cyclopento-              In other aspects, described herein include formulating the
late, pirenzapine, homatropine, solifenacin, darifenacin,           ophthalmic composition as an ophthalmic gel or an ophthal-
benzatropine, mebeverine, procyclidine, aclidinium bro-             mic ointment. For example, some ophthalmic gel or an
mide, trihexyphenidyl/benzhexol, or tolterodine; in combi- 65 ophthalmic ointment described herein allows desirable dose-
nation with one or more of sympathetic agonists: phenyleph-         to-dose uniformity, reduced or limited systemic exposure, or
rine or hydroxyamphetamine.                                         combinations thereof
                                                                                    thereof.


                                                       Appx000184
                                                       Appx000184                        Eyenovia Exhibit
                                                                                         Eyenovia Exhibit 1001,
                                                                                                          1001, Page
                                                                                                                Page 22
                                                                                                                     22 of
                                                                                                                        of 65
                                                                                                                           65
              Case: 23-2402               Document: 15             Page: 241           Filed: 02/01/2024


                                                  US 10,842,787 B2
                            13                                                               14
   Ophthalmic Solution Muscarinic Antagonist Composition         nist) for an extended period of time under storage condition.
   Disclosed herein, in certain embodiments, is an ophthal-      In some embodiments, the composition comprises at least
mic composition formulated as an aqueous solution. In some       about 98% of the ophthalmic agent (e.g. muscarinic antago-
embodiments, the ophthalmic composition comprises from           nist) for an extended period of time under storage condition.
about 0.001 wt % to about 0.05 wt % of a muscarinic 5 In some embodiments, the composition comprises at least
antagonist and deuterated water. As used herein, deuterated      about 99% of the ophthalmic agent (e.g. muscarinic antago-
water refers to D2O, DHO, heavy water, and/or deuterium          nist) for an extended period of time under storage condition.
oxide.                                                              In some embodiments, the composition has a potency of
   In some embodiments, the composition comprises at least       at least about 80% after extended period of time under
about 70% of the ophthalmic agent (e.g. muscarinic antago- 10 storage condition. In some embodiments, the composition
nist) for an extended period of time under storage condition.    has a potency of at least about 81% after extended period of
In some embodiments, the composition comprises at least          time under storage condition. In some embodiments, the
about 75% of the ophthalmic agent (e.g. muscarinic antago-       composition has a potency of at least about 82% after
nist) for an extended period of time under storage condition.    extended period of time under storage condition. In some
In some embodiments, the composition comprises at least 15 embodiments, the composition has a potency of at least
about 80% of the ophthalmic agent (e.g. muscarinic antago-       about 83% after extended period of time under storage
nist) for an extended period of time under storage condition.    condition. In some embodiments, the composition has a
In some embodiments, the composition comprises at least          potency of at least about 84% after extended period of time
about 81% of the ophthalmic agent (e.g. muscarinic antago-       under storage condition. In some embodiments, the compo-
nist) for an extended period of time under storage condition. 2o sition has a potency of at least about 85% after extended
In some embodiments, the composition comprises at least          period of time under storage condition. In some embodi-
about 82% of the ophthalmic agent (e.g. muscarinic antago-       ments, the composition has a potency of at least about 86%
nist) for an extended period of time under storage condition.    after extended period of time under storage condition. In
In some embodiments, the composition comprises at least          some embodiments, the composition has a potency of at
about 83% of the ophthalmic agent (e.g. muscarinic antago- 25 least about 87% after extended period of time under storage
nist) for an extended period of time under storage condition.    condition. In some embodiments, the composition has a
In some embodiments, the composition comprises at least          potency of at least about 88% after extended period of time
about 84% of the ophthalmic agent (e.g. muscarinic antago-       under storage condition. In some embodiments, the compo-
nist) for an extended period of time under storage condition.    sition has a potency of at least about 89% after extended
In some embodiments, the composition comprises at least 30 period of time under storage condition. In some embodi-
about 85% of the ophthalmic agent (e.g. muscarinic antago-       ments, the composition has a potency of at least 90% after
nist) for an extended period of time under storage condition.    extended period of time under storage condition. In some
In some embodiments, the composition comprises at least          embodiments, the composition has a potency of at least 91%
about 86% of the ophthalmic agent (e.g. muscarinic antago-       after extended period of time under storage condition. In
nist) for an extended period of time under storage condition. 35 some embodiments, the composition has a potency of at
In some embodiments, the composition comprises at least          least 92% after extended period of time under storage
about 87% of the ophthalmic agent (e.g. muscarinic antago-       condition. In some embodiments, the composition has a
nist) for an extended period of time under storage condition.    potency of at least 93% after extended period of time under
In some embodiments, the composition comprises at least          storage condition. In some embodiments, the composition
about 88% of the ophthalmic agent (e.g. muscarinic antago- 40 has a potency of at least 94% after extended period of time
nist) for an extended period of time under storage condition.    under storage condition. In some embodiments, the compo-
In some embodiments, the composition comprises at least          sition has a potency of at least 95% after extended period of
about 89% of the ophthalmic agent (e.g. muscarinic antago-       time under storage condition. In some embodiments, the
nist) for an extended period of time under storage condition.    composition has a potency of at least 96% after extended
In some embodiments, the composition comprises at least 45 period of time under storage condition. In some embodi-
about 90% of the ophthalmic agent (e.g. muscarinic antago-       ments, the composition has a potency of at least 97% after
nist) for an extended period of time under storage condition.    extended period of time under storage condition. In some
In some embodiments, the composition comprises at least          embodiments, the composition has a potency of at least 98%
about 91% of the ophthalmic agent (e.g. muscarinic antago-       after extended period of time under storage condition. In
nist) for an extended period of time under storage condition. so some embodiments, the composition has a potency of at
In some embodiments, the composition comprises at least          least 99% after extended period of time under storage
about 92% of the ophthalmic agent (e.g. muscarinic antago-       condition.
nist) for an extended period of time under storage condition.       In some embodiments, the extended period of time is at
In some embodiments, the composition comprises at least          least 1 week. In some embodiments, the extended period of
about 93% of the ophthalmic agent (e.g. muscarinic antago- 55 time is at least 2 weeks. In some embodiments, the extended
nist) for an extended period of time under storage condition.    period of time is at least 3 weeks. In some embodiments, the
In some embodiments, the composition comprises at least          extended period of time is at least 1 month. In some
about 94% of the ophthalmic agent (e.g. muscarinic antago-       embodiments, the extended period of time is at least 2
nist) for an extended period of time under storage condition.    months. In some embodiments, the extended period of time
In some embodiments, the composition comprises at least 60 is at least 3 months. In some embodiments, the extended
about 95% of the ophthalmic agent (e.g. muscarinic antago-       period of time is at least 4 months. In some embodiments,
nist) for an extended period of time under storage condition.    the extended period of time is at least 5 months. In some
In some embodiments, the composition comprises at least          embodiments, the extended period of time is at least 6
about 96% of the ophthalmic agent (e.g. muscarinic antago-       months. In some embodiments, the extended period of time
nist) for an extended period of time under storage condition. 65 is at least 7 months. In some embodiments, the extended
In some embodiments, the composition comprises at least          period of time is at least 8 months. In some embodiments,
about 97% of the ophthalmic agent (e.g. muscarinic antago-       the extended period of time is at least 9 months. In some


                                                     Appx000185
                                                     Appx000185                      Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 23
                                                                                                                 23 of
                                                                                                                    of 65
                                                                                                                       65
              Case: 23-2402              Document: 15             Page: 242           Filed: 02/01/2024


                                                 US 10,842,787 B2
                           15                                                               16
embodiments, the extended period of time is at least 10         about 7.4. In some embodiments, the composition has a pD
months. In some embodiments, the extended period of time        of less than about 7.3. In some embodiments, the composi-
is at least 11 months. In some embodiments, the extended        tion has a pD of less than about 7.2. In some embodiments,
period of time is at least 12 months (i.e. 1 year). In some     the composition has a pD of less than about 7.1. In some
embodiments, the extended period of time is at least 18 5 embodiments, the composition has a pD of less than about
months (i.e. 1.5 years). In some embodiments, the extended      7. In some embodiments, the composition has a pD of less
period of time is at least 24 months (i.e. 2 years). In some    than about 6.9. In some embodiments, the composition has
embodiments, the extended period of time is at least 36         a pD of less than about 6.8. In some embodiments, the
months (i.e. 3 years). In some embodiments, the extended        composition has a pD of less than about 6.7. In some
period of time is at least 3 years. In some embodiments, the 10
                                                                embodiments, the composition has a pD of less than about
extended period of time is at least 5 years, or more.
                                                                6.6. In some embodiments, the composition has a pD of less
   In some embodiments, the temperature of the storage
                                                                than about 6.5. In some embodiments, the composition has
condition is between about 20° C. and about 70° C. In some
embodiments, the temperature of the storage condition is        a pD of less than about 6.4. In some embodiments, the
between about 25° C. and about 65° C., about 30° C. and 15 composition has a pD of less than about 6.3. In some
about 60° C., about 35° C. and about 55° C., or about 40°       embodiments, the composition has a pD of less than about
C. and about 50° C. In some embodiments, the temperature        6.2. In some embodiments, the composition has a pD of less
of the storage condition is about 25° C. In some embodi-        than  about 6.1. In some embodiments, the composition has
ments, the temperature of the storage condition is about 40°    a pD of less than about 6. In some embodiments, the
C. In some embodiments, the temperature of the storage 20 composition has a pD of less than about 5.9. In some
condition is about 60° C.                                       embodiments, the composition has a pD of less than about
   In some embodiments, the relative humidity of the storage    5.8. In some embodiments, the composition has a pD of less
condition is between about 50% and about 80%, or between        than about 5.7. In some embodiments, the composition has
about 60% and about 75%. In some embodiments, the               a pD of less than about 5.6. In some embodiments, the
relative humidity of the storage condition is about 60%. In 25 composition has a pD of less than about 5.5. In some
some embodiments, the relative humidity of the storage          embodiments, the composition has a pD of less than about
condition is about 75%.                                         5.4. In some embodiments, the composition has a pD of less
   In some embodiments, the composition comprises less          than about 5.3. In some embodiments, the composition has
than 60% of H2O. In some embodiments, the composition           a pD of less than about 5.2. In some embodiments, the
comprises less than 55% of H2O. In some embodiments, the 30 composition has a pD of less than about 5.1. In some
composition comprises less than 50% of H2O. In some             embodiments, the composition has a pD of less than about
embodiments, the composition comprises less than 45% of         5. In some embodiments, the composition has a pD of less
H2O. In some embodiments, the composition comprises less        than about 4.9. In some embodiments, the composition has
than 40% of H2O. In some embodiments, the composition           a pD of less than about 4.8. In some embodiments, the
comprises less than 35% of H2O. In some embodiments, the 35 composition has a pD of less than about 4.7. In some
composition comprises less than 30% of H2O. In some             embodiments, the composition has a pD of less than about
embodiments, the composition comprises less than 25% of         4.6. In some embodiments, the composition has a pD of less
H2O. In some embodiments, the composition comprises less        than about 4.5. In some embodiments, the composition has
than 20% of H2O. In some embodiments, the composition           a pD of less than about 4.4. In some embodiments, the
comprises less than 15% of H2O. In some embodiments, the 40 composition has a pD of less than about 4.3. In some
composition comprises less than 10% of H2O.                     embodiments, the composition has a pD of less than about
   In some embodiments, the composition comprises from          4.2. In some embodiments, the composition has a pD of less
less than 5% of H2O to 0% of H2O. In some embodiments,          than about 4.1. In some embodiments, the composition has
the composition comprises less than 5% of H2O. In some          a pD of less than about 4.
embodiments, the composition comprises less than 4.5% of 45        In some embodiments, the composition comprising deu-
H2O. In some embodiments, the composition comprises less        terated water has a lowered buffering capacity than an
than 4% of H2O. In some embodiments, the composition            equivalent composition comprising H2O. As described else-
comprises less than 3.5% of H2O. In some embodiments, the       where herein, in some embodiments, the lowered buffering
composition comprises less than 3% of H2O. In some              capacity allows the composition comprising deuterated
embodiments, the composition comprises less than 2.5% of so water to normalize to physiological pH at a faster rate than
H2O. In some embodiments, the composition comprises less        a composition comprising H2O. In some embodiments, the
than 2% of H2O. In some embodiments, the composition            lowered buffering capacity allows the composition to induce
comprises less than 1.5% of H2O. In some embodiments, the       less tear reflex than an equivalent composition comprising
composition comprises less than 1% of H2O. In some              H2O.
embodiments, the composition comprises less than 0.5% of 55        In some instances, the composition comprising deuterated
H2O. In some embodiments, the composition comprises less        water stabilizes muscarinic antagonist (e.g., atropine). In
than 0.4% of H2O. In some embodiments, the composition          some embodiments, this is due to a lower concentration of
comprises less than 0.3% of H2O. In some embodiments, the       the reactive species (e.g., OD) in the D2O aqueous system
composition comprises less than 0.2% of H2O. In some            compared to the concentration of the reactive species (e.g.,
embodiments, the composition comprises less than 0.1% of 60        OH) in an equivalent H2O aqueous system. In some cases,
H2O. In some embodiments, the composition comprises 0%          base catalyzed hydrolysis leads to the presence of tropine
of H2O.                                                         degradant from atropine. In some cases, with a lower
   In some embodiments, the composition has a pD of             concentration of the reactive species that causes tropine
between about 4 and about 8, about 4.5 and about 7.8, about     degradant formation, atropine solution is more stable in a
5 and about 7.5, or about 5.5 and about 7. In some embodi- 65 D2O aqueous system than compared to an equivalent H2O
ments, the composition has a pD of less than about 7.5. In      aqueous system. In some embodiments, the ophthalmic
some embodiments, the composition has a pD of less than         composition formulated with deuterated water allows for a


                                                    Appx000186
                                                    Appx000186                      Eyenovia Exhibit
                                                                                    Eyenovia Exhibit 1001,
                                                                                                     1001, Page
                                                                                                           Page 24
                                                                                                                24 of
                                                                                                                   of 65
                                                                                                                      65
              Case: 23-2402                Document: 15              Page: 243            Filed: 02/01/2024


                                                   US 10,842,787 B2
                             17                                                                 18
more stable ophthalmic composition relative to the ophthal-         irradiation with UV. In some instances, a composition com-
mic composition formulated with H2O.                                prising atropine or atropine sulfate quenches photogenerated
   In some embodiments, the composition comprises less              singlet oxygen species present in the composition.
than 20% of major degradant based on the concentration of              Ophthalmic Muscarinic Antagonist Concentration
the ophthalmic agent after extended period of time under 5             In some embodiments, the compositions described herein
storage condition. In some embodiments, the composition             have a concentration of ophthalmic agent between about
comprises less than 15% of major degradant based on the             0.001% to about 0.050%, between about 0.005% to about
concentration of the ophthalmic agent after extended period         0.050%, between about 0.010% to about 0.050%, between
of time under storage condition.                                    about 0.015% to about 0.050%, between about 0.020% to
   In some embodiments, the composition comprises less 10 about 0.050%, between about 0.025% to about 0.050%,
than 10% of major degradant based on the concentration of           between about 0.030% to about 0.050%, between about
the ophthalmic agent after extended period of time under            0.035% to about 0.050%, between about 0.040% to about
storage condition. In some embodiments, the composition             0.050%, or between about 0.045% to about 0.050% of the
comprises less than 5% of major degradant based on the              ophthalmic agent, or pharmaceutically acceptable prodrug
concentration of the ophthalmic agent after extended period 15 or salt thereof, by weight of the composition. In some
of time under storage condition. In some embodiments, the           instances, the prodrug of the ophthalmic agent (e.g. musca-
composition comprises less than 2.0% of major degradant             rinic antagonist) is chemically converted into the ophthalmic
based on the concentration of the ophthalmic agent after            agent (e.g. muscarinic antagonist) after the administration of
extended period of time under storage condition. In some            the ophthalmic composition. In a non-limiting example, the
embodiments, the composition comprises less than 1.5% of 20 muscarinic antagonist prodrug has a chemical bond that is
major degradant based on the concentration of the ophthal-          cleavable by one or more enzymes in tears. In some embodi-
mic agent after extended period of time under storage               ments, the ophthalmic agent is a muscarinic antagonist. In
condition. In some embodiments, the composition com-                some embodiments, the muscarinic antagonist comprises
prises less than 1.0% of major degradant based on the               atropine, atropine sulfate, noratropine, atropine-N-oxide,
concentration of the ophthalmic agent after extended period 25 tropine, tropic acid, hyoscine, scopolomine, tropicamide,
of time under storage condition. In some embodiments, the           cyclopentolate, pirenzapine, homatropine, or a combination
composition comprises less than 0.5% of major degradant             thereof. In some embodiments, the muscarinic antagonist is
based on the concentration of the ophthalmic agent after            atropine, or a pharmaceutically acceptable salt thereof. In
extended period of time under storage condition. In some            some embodiments, the muscarinic antagonist is atropine
embodiments, the composition comprises less than 0.4% of 30 sulfate. As described herein, the ophthalmic agent includes
major degradant based on the concentration of the ophthal-          optically pure stereoisomers, optically enriched stereoiso-
mic agent after extended period of time under storage               mers, and a racemic mixture of stereoisomers. For example,
condition. In some embodiments, the composition com-                some ophthalmic compositions disclosed herein includes
prises less than 0.3% of major degradant based on the               atropine or atropine sulfate in which the atropine is a
concentration of the ophthalmic agent after extended period 35 racemic mixture of D- and L-isomers; and some ophthalmic
of time under storage condition. In some embodiments, the           compositions disclosed herein includes atropine or atropine
composition comprises less than 0.2% of major degradant             sulfate in which the atropine is a optically enriched in favor
based on the concentration of the ophthalmic agent after            of the more ophthalmically active L-isomer.
extended period of time under storage condition. In some               In some embodiments, the compositions described herein
embodiments, the composition comprises less than 0.1% of 40 have a concentration of ophthalmic agent between about
major degradant based on the concentration of the ophthal-          0.001% to about 0.045%, between about 0.005% to about
mic agent after extended period of time under storage               0.045%, between about 0.010% to about 0.045%, between
condition. In some embodiments, the major degradant is              about 0.015% to about 0.045%, between about 0.020% to
tropic acid.                                                        about 0.045%, between about 0.025% to about 0.045%,
   In some embodiments, the primary degradant is an early 45 between about 0.030% to about 0.045%, between about
eluting related substance at RRT of 0.87-0.89 according to          0.035% to about 0.045%, or between about 0.040% to about
the UPLC method described herein (Table 10). In some                0.045% of the ophthalmic agent, or pharmaceutically
instances, the early eluting related substance is referred to as    acceptable prodrug or salt thereof, by weight of the com-
RRT 0.87-0.89. In some embodiments, the primary degra-              position. In some embodiments, the ophthalmic agent is a
dant is RRT 0.87-0.89.                                           so muscarinic antagonist. In some embodiments, the muscar-
   In some embodiments, the composition does not stabilize          inic antagonist comprises atropine, atropine sulfate, nora-
singlet oxygen upon irradiation with UV. In some cases, one         tropine, atropine-N-oxide, tropine, tropic acid, hyoscine,
or more of muscarinic antagonists described herein does not         scopolomine, tropicamide, cyclopentolate, pirenzapine,
extend singlet oxygen lifetime. In some cases, one or more          homatropine, or a combination thereof. In some embodi-
of muscarinic antagonists described herein is a radical 55 ments, the muscarinic antagonist is atropine, or a pharma-
scavenger, which quenches photogenerated singlet oxygen             ceutically acceptable salt thereof. In some embodiments, the
species within the composition. In some instances, the one          muscarinic antagonist is atropine sulfate.
or more muscarinic antagonist comprises atropine, atropine             In some embodiments, the compositions described herein
sulfate, noratropine, atropine-N-oxide, tropine, tropic acid,       have a concentration of ophthalmic agent between about
hyoscine, scopolomine, tropicamide, cyclopentolate, piren- 60 0.001% to about 0.040%, between about 0.005% to about
zapine, homatropine, or a combination thereof. In some              0.040%, between about 0.010% to about 0.040%, between
instances, the one or more muscarinic antagonist comprises          about 0.015% to about 0.040%, between about 0.020% to
atropine, atropine sulfate, homatropine, scopolamine or a           about 0.040%, between about 0.025% to about 0.040%,
combination thereof. In some instances, the one or more             between about 0.030% to about 0.040%, between about
muscarinic antagonist comprises atropine or atropine sul- 65 0.035% to about 0.040% of the active ingredient, or phar-
fate. In some instances, a composition comprising atropine          maceutically acceptable prodrug or salt thereof, by weight of
or atropine sulfate does not stabilize singlet oxygen upon          the composition. In some embodiments, the ophthalmic


                                                       Appx000187
                                                       Appx000187                       Eyenovia Exhibit
                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 25
                                                                                                                    25 of
                                                                                                                       of 65
                                                                                                                          65
              Case: 23-2402              Document: 15             Page: 244          Filed: 02/01/2024


                                                US 10,842,787 B2
                           19                                                              20
agent is a muscarinic antagonist. In some embodiments, the    some embodiments, the muscarinic antagonist comprises
muscarinic antagonist comprises atropine, atropine sulfate,   atropine, atropine sulfate, noratropine, atropine-N-oxide,
noratropine, atropine-N-oxide, tropine, tropic acid, hyos-    tropine, tropic acid, hyoscine, scopolomine, tropicamide,
cine, scopolomine, tropicamide, cyclopentolate, pirenzap-     cyclopentolate, pirenzapine, homatropine, or a combination
ine, homatropine, or a combination thereof. In some 5 thereof. In some embodiments, the muscarinic antagonist is
embodiments, the muscarinic antagonist is atropine, or a      atropine, or a pharmaceutically acceptable salt thereof. In
pharmaceutically acceptable salt thereof. In some embodi-     some embodiments, the muscarinic antagonist is atropine
ments, the muscarinic antagonist is atropine sulfate.         sulfate.
   In some embodiments, the compositions described herein        In some embodiments, the compositions described herein
have a concentration of ophthalmic agent between about 10 have a concentration of ophthalmic agent between about
0.001% to about 0.035%, between about 0.005% to about         0.001% to about 0.015%, between about 0.005% to about
0.035%, between about 0.010% to about 0.035%, between         0.015%, or between about 0.010% to about 0.015% of the
about 0.015% to about 0.035%, between about 0.020% to         ophthalmic agent, or pharmaceutically acceptable prodrug
about 0.035%, between about 0.025% to about 0.035%, or        or salt thereof, by weight of the composition. In some
between about 0.030% to about 0.035% of the ophthalmic 15 embodiments, the ophthalmic agent is a muscarinic antago-
agent, or pharmaceutically acceptable prodrug or salt         nist. In some embodiments, the muscarinic antagonist com-
thereof, by weight of the composition. In some embodi-        prises atropine, atropine sulfate, noratropine, atropine-N-
ments, the ophthalmic agent is a muscarinic antagonist. In    oxide, tropine, tropic acid, hyoscine, scopolomine,
some embodiments, the muscarinic antagonist comprises         tropicamide, cyclopentolate, pirenzapine, homatropine, or a
atropine, atropine sulfate, noratropine, atropine-N-oxide, 20 combination thereof. In some embodiments, the muscarinic
tropine, tropic acid, hyoscine, scopolomine, tropicamide,     antagonist is atropine, or a pharmaceutically acceptable salt
cyclopentolate, pirenzapine, homatropine, or a combination    thereof. In some embodiments, the muscarinic antagonist is
thereof. In some embodiments, the muscarinic antagonist is    atropine sulfate.
atropine, or a pharmaceutically acceptable salt thereof. In      In some embodiments, the compositions described herein
some embodiments, the muscarinic antagonist is atropine 25 have a concentration of ophthalmic agent between about
sulfate.                                                      0.001% to about 0.010%, between about 0.005% to about
   In some embodiments, the compositions described herein     0.010%, or between about 0.008% to about 0.010% of the
have a concentration of ophthalmic agent between about        ophthalmic agent, or pharmaceutically acceptable prodrug
0.001% to about 0.030%, between about 0.005% to about         or salt thereof, by weight of the composition. In some
0.030%, between about 0.010% to about 0.030%, between 30 embodiments, the ophthalmic agent is a muscarinic antago-
about 0.015% to about 0.030%, between about 0.020% to         nist. In some embodiments, the muscarinic antagonist com-
about 0.030%, or between about 0.025% to about 0.030% of      prises atropine, atropine sulfate, noratropine, atropine-N-
the active ingredient, or pharmaceutically acceptable prod-   oxide, tropine, tropic acid, hyoscine, scopolomine,
rug or salt thereof, by weight of the composition. In some    tropicamide, cyclopentolate, pirenzapine, homatropine, or a
embodiments, the ophthalmic agent is a muscarinic antago- 35 combination thereof. In some embodiments, the muscarinic
nist. In some embodiments, the muscarinic antagonist com-     antagonist is atropine, or a pharmaceutically acceptable salt
prises atropine, atropine sulfate, noratropine, atropine-N-   thereof. In some embodiments, the muscarinic antagonist is
oxide, tropine, tropic acid, hyoscine, scopolomine,           atropine sulfate.
tropicamide, cyclopentolate, pirenzapine, homatropine, or a      In some embodiments, the compositions described herein
combination thereof. In some embodiments, the muscarinic 40 have a concentration of ophthalmic agent about 0.001%,
antagonist is atropine, or a pharmaceutically acceptable salt 0.005%, 0.010%, 0.015%, 0.020%, 0.025%, 0.030%,
thereof. In some embodiments, the muscarinic antagonist is    0.035%, 0.040%, 0.045%, or 0.050% of the ophthalmic
atropine sulfate.                                             agent, or pharmaceutically acceptable prodrug or salt
   In some embodiments, the compositions described herein     thereof, by weight of the composition. In some embodi-
have a concentration of ophthalmic agent between about 45 ments, the ophthalmic agent is a muscarinic antagonist. In
0.001% to about 0.025%, between about 0.005% to about         some embodiments, the muscarinic antagonist comprises
0.025%, between about 0.010% to about 0.025%, between         atropine, atropine sulfate, noratropine, atropine-N-oxide,
about 0.015% to about 0.025%, or between about 0.020% to      tropine, tropic acid, hyoscine, scopolomine, tropicamide,
about 0.025% of the ophthalmic agent, or pharmaceutically     cyclopentolate, pirenzapine, homatropine, or a combination
acceptable prodrug or salt thereof, by weight of the com- so thereof. In some embodiments, the muscarinic antagonist is
position. In some embodiments, the ophthalmic agent is a      atropine, or a pharmaceutically acceptable salt thereof. In
muscarinic antagonist. In some embodiments, the muscar-       some embodiments, the muscarinic antagonist is atropine
inic antagonist comprises atropine, atropine sulfate, nora-   sulfate.
tropine, atropine-N-oxide, tropine, tropic acid, hyoscine,       Without wishing to be bound by any particular theory, it
scopolomine, tropicamide, cyclopentolate, pirenzapine, 55 is contemplated herein that the low concentration of the
homatropine, or a combination thereof. In some embodi-        ophthalmic agent (e.g. muscarinic antagonist such as atro-
ments, the muscarinic antagonist is atropine, or a pharma-    pine or atropine sulfate) in the disclosed ophthalmic com-
ceutically acceptable salt thereof. In some embodiments, the  position provides sufficient and consistent therapeutic ben-
muscarinic antagonist is atropine sulfate.                    efits to an individual in need thereof, while reducing or
   In some embodiments, the compositions described herein 60 avoiding the ocular side effects including glare from pupil-
have a concentration of ophthalmic agent between about        lary dilation and blurred vision due to loss of accommoda-
0.001% to about 0.020%, between about 0.005% to about         tion that are associated with ophthalmic formulations con-
0.020%, between about 0.010% to about 0.020%, or              taining higher concentrations of the ophthalmic agent (e.g.
between about 0.015% to about 0.020% of the active ingre-     muscarinic antagonist such as atropine or atropine sulfate).
dient, or pharmaceutically acceptable prodrug or salt 65         Aqueous Solution Stability
thereof, by weight of the composition. In some embodi-           In some embodiments, the composition described herein
ments, the ophthalmic agent is a muscarinic antagonist. In    comprises a buffer. In some embodiments, a buffer is


                                                    Appx000188
                                                    Appx000188                     Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 26
                                                                                                               26 of
                                                                                                                  of 65
                                                                                                                     65
               Case: 23-2402               Document: 15               Page: 245            Filed: 02/01/2024


                                                    US 10,842,787 B2
                             21                                                                  22
selected from borates, borate-polyol complexes, succinate,        ethyl]amino)-2-hydroxypropanesulfonic acid (DIPSO),
phosphate buffering agents, citrate buffering agents, acetate     acetamidoglycine, 34[1,3-Dihydroxy-2-(hydroxymethyl)-
buffering agents, carbonate buffering agents, organic buff-       2-propanyl]aminol-2-hydroxy-l-propanesulfonic                acid
ering agents, amino acid buffering agents, or combinations        (TAPSO), piperazine-1,4,-bis (2-hydroxypropanesulphonic
thereof. In some embodiments, the composition described 5 acid) (POPSO), 4 -(2 -hydroxyethyl)piperazine-1-(2 -hy-
herein comprises buffer comprising deuterated water. In           droxypropanesulfonic acid) hydrate (HEPPSO), 3-[4-(2-hy-
some embodiments, a deuterated buffer is selected from            droxyethyl)-1-piperazinyl]propanesulfonic acid (HEPPS),
borates, borate-polyol complexes, succinate, phosphate            tricine, glycinamide, bicine or N-tris(hydroxymethyl)
buffering agents, citrate buffering agents, acetate buffering     methyl-3-aminopropanesulfonic acid sodium (TAPS); gly-
agents, carbonate buffering agents, organic buffering agents, 10 cine; and diethanolamine (DEA).
amino acid buffering agents, or combinations thereof, for-           In some cases, amino acid buffering agents include tau-
mulated in deuterated water.                                      rine, aspartic acid and its salts (e.g., potassium salts, etc),
   In some instances, borates include boric acid, salts of        E-aminocaproic acid, and the like.
boric acid, other pharmaceutically acceptable borates, and           In some instances, the composition described herein fur-
combinations thereof. In some cases, borates include boric 15 ther comprises a tonicity adjusting agent. Tonicity adjusting
acid, sodium borate, potassium borate, calcium borate, mag-       agent is an agent introduced into a preparation such as an
nesium borate, manganese borate, and other such borate            ophthalmic composition to reduce local irritation by pre-
salts.                                                            venting osmotic shock at the site of application. In some
   As used herein, the term polyol includes any compound          instances, buffer solution and/or a pD adjusting agent that
having at least one hydroxyl group on each of two adjacent 20 broadly maintains the ophthalmic solution at a particular ion
carbon atoms that are not in trans configuration relative to      concentration and pD are considered as tonicity adjusting
each other. In some embodiments, the polyols is linear or         agents. In some cases, tonicity adjusting agents include
cyclic, substituted or unsubstituted, or mixtures thereof, so     various salts, such as halide salts of a monovalent cation. In
long as the resultant complex is water soluble and pharma-        some cases, tonicity adjusting agents include mannitol,
ceutically acceptable. In some instances, examples of polyol 25 sorbitol, dextrose, sucrose, urea, and glycerin. In some
include: sugars, sugar alcohols, sugar acids and uronic acids.    instances, suitable tonicity adjustors comprise sodium chlo-
In some cases, polyols include, but are not limited to:           ride, sodium nitrate, sodium sulfate, sodium bisulfate, potas-
mannitol, glycerin, xylitol and sorbitol.                         sium chloride, calcium chloride, magnesium chloride, zinc
   In some embodiments, phosphate buffering agents include        chloride, potassium acetate, sodium acetate, sodium bicar-
phosphoric acid; alkali metal phosphates such as disodium 30 bonate, sodium carbonate, sodium thiosulfate, magnesium
hydrogen phosphate, sodium dihydrogen phosphate, triso-           sulfate, disodium hydrogen phosphate, sodium dihydrogen
dium phosphate, dipotassium hydrogen phosphate, potas-            phosphate, potassium dihydrogen phosphate, dextrose, man-
sium dihydrogen phosphate, and tripotassium phosphate;            nitol, sorbitol, dextrose, sucrose, urea, propylene glycol,
alkaline earth metal phosphates such as calcium phosphate,        glycerin, trehalose, or a combination thereof
calcium hydrogen phosphate, calcium dihydrogen phos- 35              In some instances, the concentration of the tonicity adjust-
phate, monomagnesium phosphate, dimagnesium phosphate             ing agent in a composition described herein is between about
(magnesium hydrogen phosphate), and trimagnesium phos-            0.5% and about 2.0%. In some instances, the concentration
phate; ammonium phosphates such as diammonium hydro-              of the tonicity adjusting agent in a composition described
gen phosphate and ammonium dihydrogen phosphate; or a             herein is between about 0.7% and about 1.8%, about 0.8%
combination thereof. In some instances, the phosphate buff- 40 and about 1.5%, or about 1% and about 1.3%. In some
ering agent is an anhydride. In some instances, the phos-         instances, the concentration of the tonicity adjusting agent is
phate buffering agent is a hydrate.                               about 0.6%, 0.7%, 0.8%, 0.9%, 1.0%, 1.1%, 1.2%, 1.3%,
   In some embodiments, borate-polyol complexes include           1.4%, 1.5%, 1.6%, 1.7%, 1.8%, or 1.9%. In some cases, the
those described in U.S. Pat. No. 6,503,497. In some               percentage is a weight percentage.
instances, the borate-polyol complexes comprise borates in 45        In some cases, the composition described herein further
an amount of from about 0.01 to about 2.0% w/v, and one           comprises a pD adjusting agent. In some embodiments, the
or more polyols in an amount of from about 0.01% to about         pD adjusting agent used is an acid or a base. In some
5.0% w/v.                                                         embodiments, the base is oxides, hydroxides, carbonates,
   In some cases, citrate buffering agents include citric acid    bicarbonates and the likes. In some instances, the oxides are
and sodium citrate.                                            so metal oxides such as calcium oxide, magnesium oxide and
   In some instances, acetate buffering agents include acetic     the likes; hydroxides are of alkali metals and alkaline earth
acid, potassium acetate, and sodium acetate.                      metals such as sodium hydroxide, potassium hydroxide,
   In some instances, carbonate buffering agents include          calcium hydroxide and the likes or their deuterated equiva-
sodium bicarbonate and sodium carbonate.                          lents, and carbonates are sodium carbonate, sodium bicar-
   In some cases, organic buffering agents include Good's 55 bonates, potassium bicarbonates and the likes. In some
Buffer, such as for example 2-(N-morpholino)ethanesulfo-          instances, the acid is mineral acid and organic acids such as
nic acid (MES), N-(2-Acetamido)iminodiacetic acid,                hydrochloric acid, nitric acid, phosphoric acid, acetic acid,
N-(Carbamoylmethyl)iminodiacetic acid (ADA), pipera-              citric acid, fumaric acid, malic acid tartaric acid and the likes
zine-N,N'-bis(2-ethanesulfonic acid (PIPES), N-(2-acet-           or their deuterated equivalents. In some instances, the pD
amido)-2-aminoethanesulfonic acid (ACES), 13-Hydroxy-4- 60 adjusting agent includes, but is not limited to, acetate,
morpholinepropanesulfonic         acid,      3-Morpholino-2-      bicarbonate, ammonium chloride, citrate, phosphate, phar-
hydroxypropanesulfonic acid (MOPSO), cholamine                    maceutically acceptable salts thereof and combinations or
chloride, 3-(N-morpholino)propansulfonic acid (MOPS),             mixtures thereof. In some embodiments, the pD adjusting
N,N-bis(2 -hydroxyethyl)-2-aminoethanesulfonic            acid    agent comprises DC1 and NaOD.
(BES), 2 -[(2 -Hydroxy-1,1-bis(hydroxymethyl)ethyl)amino] 65         In some instances, the composition has a pD of between
ethanesulfonic acid (TES), 4-(2-hydroxyethyl)-1-pipera-           about 4 and about 8, about 4.5 and about 7.8, about 5 and
zineethanesulfonic acid (HEPES), 3-(N,N-Bis[2-hydroxy-            about 7.5, or about 5.5 and about 7. In some embodiments,


                                                        Appx000189
                                                        Appx000189                       Eyenovia Exhibit
                                                                                         Eyenovia Exhibit 1001,
                                                                                                          1001, Page
                                                                                                                Page 27
                                                                                                                     27 of
                                                                                                                        of 65
                                                                                                                           65
              Case: 23-2402              Document: 15             Page: 246          Filed: 02/01/2024


                                                US 10,842,787 B2
                           23                                                              24
the composition has a pD of less than about 7.5. In some       the composition has an initial pD of about 6.1. In some
embodiments, the composition has a pD of less than about       embodiments, the composition has an initial pD of about 6.
7.4. In some embodiments, the composition has a pD of less     In some embodiments, the composition has an initial pD of
than about 7.3. In some embodiments, the composition has       about 5.9. In some embodiments, the composition has an
a pD of less than about 7.2. In some embodiments, the 5 initial pD of about 5.8. In some embodiments, the compo-
composition has a pD of less than about 7.1. In some           sition has an initial pD of about 5.7. In some embodiments,
embodiments, the composition has a pD of less than about       the composition has an initial pD of about 5.6. In some
7. In some embodiments, the composition has a pD of less       embodiments, the composition has an initial pD of about 5.5.
than about 6.9. In some embodiments, the composition has       In some embodiments, the composition has an initial pD of
a pD of less than about 6.8. In some embodiments, the 10 about 5.4. In some embodiments, the composition has an
composition has a pD of less than about 6.7. In some           initial pD of about 5.3. In some embodiments, the compo-
embodiments, the composition has a pD of less than about       sition has an initial pD of about 5.2. In some embodiments,
6.6. In some embodiments, the composition has a pD of less     the composition has an initial pD of about 5.1. In some
than about 6.5. In some embodiments, the composition has       embodiments, the composition has an initial pD of about 5.
a pD of less than about 6.4. In some embodiments, the 15 In some embodiments, the composition has an initial pD of
composition has a pD of less than about 6.3. In some           about 4.9. In some embodiments, the composition has an
embodiments, the composition has a pD of less than about       initial pD of about 4.8. In some embodiments, the compo-
6.2. In some embodiments, the composition has a pD of less     sition has an initial pD of about 4.7. In some embodiments,
than about 6.1. In some embodiments, the composition has       the composition has an initial pD of about 4.6. In some
a pD of less than about 6. In some embodiments, the 20 embodiments, the composition has an initial pD of about 4.5.
composition has a pD of less than about 5.9. In some           In some embodiments, the composition has an initial pD of
embodiments, the composition has a pD of less than about       about 4.4. In some embodiments, the composition has an
5.8. In some embodiments, the composition has a pD of less     initial pD of about 4.3. In some embodiments, the compo-
than about 5.7. In some embodiments, the composition has       sition has an initial pD of about 4.2. In some embodiments,
a pD of less than about 5.6. In some embodiments, the 25 the composition has an initial pD of about 4.1. In some
composition has a pD of less than about 5.5. In some           embodiments, the composition has an initial pD of about 4.
embodiments, the composition has a pD of less than about          In some embodiments, the pD of the composition
5.4. In some embodiments, the composition has a pD of less     described herein is associated with the stability of the
than about 5.3. In some embodiments, the composition has       composition. In some embodiments, a stable composition
a pD of less than about 5.2. In some embodiments, the 30 comprises a pD of between about 4 and about 8, about 4.5
composition has a pD of less than about 5.1. In some           and about 7.8, about 5 and about 7.5, or about 5.5 and about
embodiments, the composition has a pD of less than about       7. In some embodiments, a stable composition comprises a
5. In some embodiments, the composition has a pD of less       pD of less than about 7.5. In some embodiments, a stable
than about 4.9. In some embodiments, the composition has       composition comprises a pD of less than about 7.4. In some
a pD of less than about 4.8. In some embodiments, the 35 embodiments, a stable composition comprises a pD of less
composition has a pD of less than about 4.7. In some           than about 7.3. In some embodiments, a stable composition
embodiments, the composition has a pD of less than about       comprises a pD of less than about 7.2. In some embodi-
4.6. In some embodiments, the composition has a pD of less     ments, a stable composition comprises a pD of less than
than about 4.5. In some embodiments, the composition has       about 7.1. In some embodiments, a stable composition
a pD of less than about 4.4. In some embodiments, the 40 comprises a pD of less than about 7. In some embodiments,
composition has a pD of less than about 4.3. In some           a stable composition comprises a pD of less than about 6.9.
embodiments, the composition has a pD of less than about       In some embodiments, a stable composition comprises a pD
4.2. In some embodiments, the composition has a pD of less     of less than about 6.8. In some embodiments, a stable
than about 4.1. In some embodiments, the composition has       composition comprises a pD of less than about 6.7. In some
a pD of less than about 4. In some embodiments, the pD is 45 embodiments, a stable composition comprises a pD of less
the pD of the composition after extended period of time        than about 6.6. In some embodiments, a stable composition
under storage condition.                                       comprises a pD of less than about 6.5. In some embodi-
   In some instances, the composition has an initial pD of     ments, a stable composition comprises a pD of less than
between about 4 and about 8, about 4.5 and about 7.8, about    about 6.4. In some embodiments, a stable composition
5 and about 7.5, or about 5.5 and about 7. In some embodi- so comprises a pD of less than about 6.3. In some embodi-
ments, the composition has an initial pD of about 7.5. In      ments, a stable composition comprises a pD of less than
some embodiments, the composition has an initial pD of         about 6.2. In some embodiments, a stable composition
about 7.4. In some embodiments, the composition has an         comprises a pD of less than about 6.1. In some embodi-
initial pD of about 7.3. In some embodiments, the compo-       ments, a stable composition comprises a pD of less than
sition has an initial pD of about 7.2. In some embodiments, 55 about 6. In some embodiments, a stable composition com-
the composition has an initial pD of about 7.1. In some        prises a pD of less than about 5.9. In some embodiments, a
embodiments, the composition has an initial pD of about 7.     stable composition comprises a pD of less than about 5.8. In
In some embodiments, the composition has an initial pD of      some embodiments, a stable composition comprises a pD of
about 6.9. In some embodiments, the composition has an         less than about 5.7. In some embodiments, a stable compo-
initial pD of about 6.8. In some embodiments, the compo- 60 sition comprises a pD of less than about 5.6. In some
sition has an initial pD of about 6.7. In some embodiments,    embodiments, a stable composition comprises a pD of less
the composition has an initial pD of about 6.6. In some        than about 5.5. In some embodiments, a stable composition
embodiments, the composition has an initial pD of about 6.5.   comprises a pD of less than about 5.4. In some embodi-
In some embodiments, the composition has an initial pD of      ments, a stable composition comprises a pD of less than
about 6.4. In some embodiments, the composition has an 65 about 5.3. In some embodiments, a stable composition
initial pD of about 6.3. In some embodiments, the compo-       comprises a pD of less than about 5.2. In some embodi-
sition has an initial pD of about 6.2. In some embodiments,    ments, a stable composition comprises a pD of less than


                                                    Appx000190
                                                    Appx000190                     Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 28
                                                                                                               28 of
                                                                                                                  of 65
                                                                                                                     65
              Case: 23-2402                Document: 15              Page: 247            Filed: 02/01/2024


                                                   US 10,842,787 B2
                             25                                                                 26
about 5.1. In some embodiments, a stable composition                organisms refer to bacteria (e.g. Proteus mirabilis, Serratia
comprises a pD of less than about 5. In some embodiments,           marcesens), virus (e.g. Herpes simplex virus, herpes zoster
a stable composition comprises a pD of less than about 4.9.         virus), fungus (e.g. fungi from the genus Fusarium), yeast
In some embodiments, a stable composition comprises a pD            (e.g. Candida albicans), parasites (e.g. Plasmodium spp.,
of less than about 4.8. In some embodiments, a stable 5 Gnathostoma spp.), protozoan (e.g. Giardia lamblia), nema-
composition comprises a pD of less than about 4.7. In some          todes (e.g. Onchocercus volvulus), worm (e.g. Dirofilaria
embodiments, a stable composition comprises a pD of less            immitis), and/or amoeba (e.g. Acanthameoba).
than about 4.6. In some embodiments, a stable composition              In some instances, the concentration of the preservative is
comprises a pD of less than about 4.5. In some embodi-              between about 0.0001% and about 1%, about 0.001% and
ments, a stable composition comprises a pD of less than 10 about 0.8%, about 0.004% and about 0.5%, about 0.008%
about 4.4. In some embodiments, a stable composition                and about 0.1%, and about 0.01% and about 0.08%. In some
comprises a pD of less than about 4.3. In some embodi-              cases, the concentration of the preservatives is about
ments, a stable composition comprises a pD of less than             0.001%, 0.002%, 0.003%, 0.004%, 0.005%, 0.006%,
about 4.2. In some embodiments, a stable composition                0.008%, 0.009%, 0.009%, 0.01%, 0.015%, 0.02%, 0.025%,
comprises a pD of less than about 4.1. In some embodi- 15 0.03%, 0.04%, 0.05%, 0.06%, 0.07%, 0.08%, 0.09%, 0.1%,
ments, a stable composition comprises a pD of less than             0.2%, 0.3%, 0.4%, 0.5%, 0.6%, 0.7%, 0.8%, 0.9% or 1.0%.
about 4.                                                               In some embodiments, the preservative is selected from
   As described elsewhere herein, in some instances, the            benzalkonium chloride, cetrimonium, sodium perborate, sta-
D2O aqueous system stabilizes a muscarinic antagonist (e.g.,        bilized oxychloro complex, SofZia (Alcon), polyquater-
atropine). In some embodiments, this is due to a lower 2o nium-1, chlorobutanol, edetate disodium, and polyhexam-
concentration of the reactive species (e.g., OD) in the D2O         ethylene biguanide.
aqueous system compared to the concentration of the reac-              In some embodiments, the composition described herein
tive species (e.g.,     OH) in an equivalent H2O aqueous            is stored in a plastic container. In some embodiments, the
system. In some instances, the concentration of the reactive        material of the plastic container comprises high density
species (e.g., OD) in the D2O aqueous system is about one 25 polyethylene (HDPE), low density polyethylene (LDPE),
third less than the concentration of the reactive species (e.g.,    polyethylene terephthalate (PET), polyvinyl chloride (PVC),
   OH) in the equivalent H2O aqueous system. In some                polyprolyene (PP), polystyrene (PS), fluorine treated HDPE,
cases, this is due to a lower or smaller dissociation constant      post-consumer resin (PCR), K-resine (SBC), or bioplastic.
of D2O than H2O. For example, the K,(H2O) is 1x10-14                In some embodiments, the material of the plastic container
whereas the K,(D2O) is 1x10-15. As such, D2O is a weaker 30 comprises LDPE.
acid than H2O. In some cases, base catalyzed hydrolysis                In some embodiments, the composition described herein
leads to the presence of tropine degradant from atropine. In        is stored in a plastic container. In some embodiments, the
some cases, with a lower concentration of the reactive              composition stored in a plastic container has a pD of
species that causes tropine degradant formation, atropine           between about 4 and about 8, about 4.5 and about 7.9, or
solution is more stable in a D2O aqueous system than 35 about 4.9 and about 7.5. In some embodiments, the com-
compared to an equivalent H2O aqueous system. In some               position stored in a plastic container has a pD of less than
embodiments, the ophthalmic composition formulated with             about 7.4. In some embodiments, the composition stored in
deuterated water allows for a more stable ophthalmic com-           a plastic container has a pD of less than about 7.3. In some
position relative to the ophthalmic composition formulated          embodiments, the composition stored in a plastic container
with H2O.                                                        40 has a pD of less than about 7.2. In some embodiments, the
   In some embodiments, the presence of deuterated water            composition stored in a plastic container has a pD of less
shifts the pKa of the buffer. In some embodiments, the              than about 7.1. In some embodiments, the composition
presence of deuterated water allows for the ophthalmic              stored in a plastic container has a pD of less than about 7.
composition to simulate the stability of a lower pH system.         In some embodiments, the composition stored in a plastic
In some instances, the buffer capacity of the ophthalmic 45 container has a pD of less than about 6.9. In some embodi-
composition is lowered, thereby allowing a faster shift in          ments, the composition stored in a plastic container has a pD
pH. In some instances, the lowered buffering capacity of the        of less than about 6.8. In some embodiments, the composi-
ophthalmic composition when administered into the eye               tion stored in a plastic container has a pD of less than about
allows the ophthalmic composition to reach physiological            6.7. In some embodiments, the composition stored in a
pH at a faster rate than compared to an ophthalmic compo- so plastic container has a pD of less than about 6.6. In some
sition formulated in H2O. In some instances, the ophthalmic         embodiments, the composition stored in a plastic container
composition formulated with deuterated water allows for a           has a pD of less than about 6.5. In some embodiments, the
lower tear production, or less tear reflex in the eye, in           composition stored in a plastic container has a pD of less
comparison with an ophthalmic composition formulated                than about 6.4. In some embodiments, the composition
with H2O.                                                        55 stored in a plastic container has a pD of less than about 6.3.
   In some instances, the composition described herein fur-         In some embodiments, the composition stored in a plastic
ther comprises a disinfecting agent. In some cases, disin-          container has a pD of less than about 6.2. In some embodi-
fecting agents include polymeric biguanides, polymeric              ments, the composition stored in a plastic container has a pD
quarternary ammonium compounds, chlorites, bisbigu-                 of less than about 6.1. In some embodiments, the composi-
anides, chlorite compounds (e.g. potassium chlorite, sodium 60 tion stored in a plastic container has a pD of less than about
chlorite, calcium chlorite, magnesium chlorite, or mixtures         6. In some embodiments, the composition stored in a plastic
thereof), and a combination thereof.                                container has a pD of less than about 5.9. In some embodi-
   In some instances, the composition described herein fur-         ments, the composition stored in a plastic container has a pD
ther comprises a preservative. In some cases, a preservative        of less than about 5.8. In some embodiments, the composi-
is added at a concentration to a composition described herein 65 tion stored in a plastic container has a pD of less than about
to prevent the growth of or to destroy a microorganism              5.7. In some embodiments, the composition stored in a
introduced into the composition. In some instances, micro-          plastic container has a pD of less than about 5.6. In some


                                                       Appx000191
                                                       Appx000191                       Eyenovia Exhibit
                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 29
                                                                                                                    29 of
                                                                                                                       of 65
                                                                                                                          65
               Case: 23-2402               Document: 15               Page: 248            Filed: 02/01/2024


                                                    US 10,842,787 B2
                             27                                                                  28
embodiments, the composition stored in a plastic container        C., about 40° C., or about 60° C. In some embodiments, the
has a pD of less than about 5.5. In some embodiments, the         composition stored in a plastic container has a potency of at
composition stored in a plastic container has a pD of less        least 90% at a temperature of about 25° C., about 40° C., or
than about 5.4. In some embodiments, the composition              about 60° C. In some embodiments, the composition stored
stored in a plastic container has a pD of less than about 5.3. 5 in a plastic container has a potency of at least 93% at a
In some embodiments, the composition stored in a plastic          temperature of about 25° C., about 40° C., or about 60° C.
container has a pD of less than about 5.2. In some embodi-        In some embodiments, the composition stored in a plastic
ments, the composition stored in a plastic container has a pD     container has a potency of at least 95% at a temperature of
of less than about 5.1. In some embodiments, the composi-         about 25° C., about 40° C., or about 60° C. In some
tion stored in a plastic container has a pD of less than about 10
                                                                  embodiments, the composition stored in a plastic container
5. In some embodiments, the composition stored in a plastic
                                                                  has a potency of at least 97% at a temperature of about 25°
container has a pD of less than about 4.9. In some embodi-
                                                                  C., about 40° C., or about 60° C. In some embodiments, the
ments, the composition stored in a plastic container has a pD
of less than about 4.8. In some embodiments, the composi-         composition stored in a plastic container has a potency of at
tion stored in a plastic container has a pD of less than about 15 least 98% at a temperature of about 25° C., about 40° C., or
4.7. In some embodiments, the composition stored in a             about 60° C. In some embodiments, the composition stored
plastic container has a pD of less than about 4.6. In some        in a plastic container has a potency of at least 99% at a
embodiments, the composition stored in a plastic container        temperature   of about 25° C., about 40° C., or about 60° C.
has a pD of less than about 4.5. In some embodiments, the            In some embodiments, the composition stored in a plastic
composition stored in a plastic container has a pD of less 20 container has a potency of at least 80% for a period of at
than about 4.4. In some embodiments, the composition              least 1 week, at least 2 weeks, at least 3 weeks, at least 1
stored in a plastic container has a pD of less than about 4.3.    month, at least 2 months, at least 3 months, at least 4 months,
In some embodiments, the composition stored in a plastic          at least 5 months, at least 6 months, at least 8 months, at least
container has a pD of less than about 4.2. In some embodi-        10 months, at least 12 months, at least 18 months, or at least
ments, the composition stored in a plastic container has a pD 25 24 months. In some embodiments, the composition stored in
of less than about 4.1. In some embodiments, the composi-         a plastic container has a potency of at least 85% for a period
tion stored in a plastic container has a pD of less than about    of at least 1 week, at least 2 weeks, at least 3 weeks, at least
4.                                                                1 month, at least 2 months, at least 3 months, at least 4
   In some embodiments, the composition stored in a plastic       months, at least 5 months, at least 6 months, at least 8
container has a potency of at least 70% after extended period 30 months, at least 10 months, at least 12 months, at least 18
of time under storage condition. In some embodiments, the         months, or at least 24 months. In some embodiments, the
composition stored in a plastic container has a potency of at     composition stored in a plastic container has a potency of at
least 75% after extended period of time under storage             least 90% for a period of at least 1 week, at least 2 weeks,
condition. In some embodiments, the composition stored in         at least 3 weeks, at least 1 month, at least 2 months, at least
a plastic container has a potency of at least 80% after 35 3 months, at least 4 months, at least 5 months, at least 6
extended period of time under storage condition. In some          months, at least 8 months, at least 10 months, at least 12
embodiments, the composition stored in a plastic container        months, at least 18 months, or at least 24 months. In some
has a potency of at least 85% after extended period of time       embodiments, the composition stored in a plastic container
under storage condition. In some embodiments, the compo-          has a potency of at least 93% for a period of at least 1 week,
sition stored in a plastic container has a potency of at least 40 at least 2 weeks, at least 3 weeks, at least 1 month, at least
90% after extended period of time under storage condition.        2 months, at least 3 months, at least 4 months, at least 5
In some embodiments, the composition stored in a plastic          months, at least 6 months, at least 8 months, at least 10
container has a potency of at least 93% after extended period     months, at least 12 months, at least 18 months, or at least 24
of time under storage condition. In some embodiments, the         months. In some embodiments, the composition stored in a
composition stored in a plastic container has a potency of at 45 plastic container has a potency of at least 95% for a period
least 95% after extended period of time under storage             of at least 1 week, at least 2 weeks, at least 3 weeks, at least
condition. In some embodiments, the composition stored in         1 month, at least 2 months, at least 3 months, at least 4
a plastic container has a potency of at least 97% after           months, at least 5 months, at least 6 months, at least 8
extended period of time under storage condition. In some          months, at least 10 months, at least 12 months, at least 18
embodiments, the composition stored in a plastic container so months, or at least 24 months. In some embodiments, the
has a potency of at least 98% after extended period of time       composition stored in a plastic container has a potency of at
under storage condition. In some embodiments, the compo-          least 97% for a period of at least 1 week, at least 2 weeks,
sition stored in a plastic container has a potency of at least    at least 3 weeks, at least 1 month, at least 2 months, at least
99% after extended period of time under storage condition.        3 months, at least 4 months, at least 5 months, at least 6
In some instances, the storage condition comprises a tem- 55 months, at least 8 months, at least 10 months, at least 12
perature of about 25° C., about 40° C., or about 60° C. In        months, at least 18 months, or at least 24 months. In some
some instances, the extended period of time is at least 1         embodiments, the composition stored in a plastic container
week, at least 2 weeks, at least 3 weeks, at least 1 month, at    has a potency of at least 98% for a period of at least 1 week,
least 2 months, at least 3 months, at least 4 months, at least    at least 2 weeks, at least 3 weeks, at least 1 month, at least
5 months, at least 6 months, at least 8 months, at least 10 60 2 months, at least 3 months, at least 4 months, at least 5
months, at least 12 months, at least 18 months, or at least 24    months, at least 6 months, at least 8 months, at least 10
months.                                                           months, at least 12 months, at least 18 months, or at least 24
   In some embodiments, the composition stored in a plastic       months. In some embodiments, the composition stored in a
container has a potency of at least 80% at a temperature of       plastic container has a potency of at least 99% for a period
about 25° C., about 40° C., or about 60° C. In some 65 of at least 1 week, at least 2 weeks, at least 3 weeks, at least
embodiments, the composition stored in a plastic container        1 month, at least 2 months, at least 3 months, at least 4
has a potency of at least 85% at a temperature of about 25°       months, at least 5 months, at least 6 months, at least 8


                                                       Appx000192
                                                       Appx000192                        Eyenovia Exhibit
                                                                                         Eyenovia Exhibit 1001,
                                                                                                          1001, Page
                                                                                                                Page 30
                                                                                                                     30 of
                                                                                                                        of 65
                                                                                                                           65
              Case: 23-2402                Document: 15              Page: 249           Filed: 02/01/2024


                                                   US 10,842,787 B2
                             29                                                                 30
months, at least 10 months, at least 12 months, at least 18       based on the concentration of the ophthalmic agent at a
months, or at least 24 months.                                    temperature of about 25° C., about 40° C., or about 60° C.
   In some embodiments, the composition stored in a plastic       In some embodiments, the composition stored in a plastic
container comprises less than 20% of primary degradant            container comprises less than 15% of primary degradant
based on the concentration of the ophthalmic agent after 5 based on the concentration of the ophthalmic agent at a
extended period of time under storage condition. In some          temperature of about 25° C., about 40° C., or about 60° C.
embodiments, the composition stored in a plastic container        In some embodiments, the composition stored in a plastic
comprises less than 15% of primary degradant based on the         container comprises less than 10% of primary degradant
concentration of the ophthalmic agent after extended period       based on the concentration of the ophthalmic agent at a
of time under storage condition. In some embodiments, the 10 temperature of about 25° C., about 40° C., or about 60° C.
composition stored in a plastic container comprises less than     In some embodiments, the composition stored in a plastic
10% of primary degradant based on the concentration of the        container comprises less than 5% of primary degradant
ophthalmic agent after extended period of time under stor-        based on the concentration of the ophthalmic agent at a
age condition. In some embodiments, the composition               temperature of about 25° C., about 40° C., or about 60° C.
stored in a plastic container comprises less than 5% of 15          In some embodiments, the composition stored in a plastic
primary degradant based on the concentration of the oph-          container comprises from less than 2.5% of primary degra-
thalmic agent after extended period of time under storage         dant to less than 0.1% of primary degradant based on the
condition.                                                        concentration of the ophthalmic agent at a temperature of
   In some embodiments, the composition stored in a plastic       about 25° C., about 40° C., or about 60° C. In some
container comprises from less than 2.5% of primary degra- 20 embodiments, the composition stored in a plastic container
dant to less than 0.1% of primary degradant based on the          comprises less than 2.5% of primary degradant based on the
concentration of the ophthalmic agent after extended period       concentration of the ophthalmic agent at a temperature of
of time under storage condition. In some embodiments, the         about 25° C., about 40° C., or about 60° C. In some
composition stored in a plastic container comprises less than     embodiments, the composition stored in a plastic container
2.5% of primary degradant based on the concentration of the 25 comprises less than 2.0% of primary degradant based on the
ophthalmic agent after extended period of time under stor-        concentration of the ophthalmic agent at a temperature of
age condition. In some embodiments, the composition               about 25° C., about 40° C., or about 60° C. In some
stored in a plastic container comprises less than 2.0% of         embodiments, the composition stored in a plastic container
primary degradant based on the concentration of the oph-          comprises less than 1.5% of primary degradant based on the
thalmic agent after extended period of time under storage 30 concentration of the ophthalmic agent at a temperature of
condition. In some embodiments, the composition stored in         about 25° C., about 40° C., or about 60° C. In some
a plastic container comprises less than 1.5% of primary           embodiments, the composition stored in a plastic container
degradant based on the concentration of the ophthalmic            comprises less than 1.0% of primary degradant based on the
agent after extended period of time under storage condition.      concentration of the ophthalmic agent at a temperature of
In some embodiments, the composition stored in a plastic 35 about 25° C., about 40° C., or about 60° C. In some
container comprises less than 1.0% of primary degradant           embodiments, the composition stored in a plastic container
based on the concentration of the ophthalmic agent after          comprises less than 0.5% of primary degradant based on the
extended period of time under storage condition. In some          concentration of the ophthalmic agent at a temperature of
embodiments, the composition stored in a plastic container        about 25° C., about 40° C., or about 60° C. In some
comprises less than 0.5% of primary degradant based on the 40 embodiments, the composition stored in a plastic container
concentration of the ophthalmic agent after extended period       comprises less than 0.4% of primary degradant based on the
of time under storage condition. In some embodiments, the         concentration of the ophthalmic agent at a temperature of
composition stored in a plastic container comprises less than     about 25° C., about 40° C., or about 60° C. In some
0.4% of primary degradant based on the concentration of the       embodiments, the composition stored in a plastic container
ophthalmic agent after extended period of time under stor- 45 comprises less than 0.3% of primary degradant based on the
age condition. In some embodiments, the composition               concentration of the ophthalmic agent at a temperature of
stored in a plastic container comprises less than 0.3% of         about 25° C., about 40° C., or about 60° C. In some
primary degradant based on the concentration of the oph-          embodiments, the composition stored in a plastic container
thalmic agent after extended period of time under storage         comprises less than 0.2% of primary degradant based on the
condition. In some embodiments, the composition stored in so concentration of the ophthalmic agent at a temperature of
a plastic container comprises less than 0.2% of primary           about 25° C., about 40° C., or about 60° C. In some
degradant based on the concentration of the ophthalmic            embodiments, the composition stored in a plastic container
agent after extended period of time under storage condition.      comprises less than 0.1% of primary degradant based on the
In some embodiments, the composition stored in a plastic          concentration of the ophthalmic agent at a temperature of
container comprises less than 0.1% of primary degradant 55 about 25° C., about 40° C., or about 60° C.
based on the concentration of the ophthalmic agent after            In some embodiments, the composition stored in a plastic
extended period of time under storage condition. In some          container comprises less than 20% of primary degradant
instances, the storage condition comprises a temperature of       based on the concentration of the ophthalmic agent for a
about 25° C., about 40° C., or about 60° C. In some               period of at least 1 week, at least 2 weeks, at least 3 weeks,
instances, the extended period of time is at least 7 week, at 60 at least 1 month, at least 2 months, at least 3 months, at least
least 2 weeks, at least 3 weeks, at least 1 month, at least 2     4 months, at least 5 months, at least 6 months, at least 8
months, at least 3 months, at least 4 months, at least 5          months, at least 10 months, at least 12 months, at least 18
months, at least 6 months, at least 8 months, at least 10         months, or at least 24 months. In some embodiments, the
months, at least 12 months, at least 18 months, or at least 24    composition stored in a plastic container comprises less than
months.                                                        65 15% of primary degradant based on the concentration of the
   In some embodiments, the composition stored in a plastic       ophthalmic agent for a period of at least 1 week, at least 2
container comprises less than 20% of primary degradant            weeks, at least 3 weeks, at least 1 month, at least 2 months,


                                                       Appx000193
                                                       Appx000193                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 31
                                                                                                                   31 of
                                                                                                                      of 65
                                                                                                                         65
               Case: 23-2402                Document: 15               Page: 250            Filed: 02/01/2024


                                                    US 10,842,787 B2
                              31                                                                   32
at least 3 months, at least 4 months, at least 5 months, at least   at least 2 months, at least 3 months, at least 4 months, at least
6 months, at least 8 months, at least 10 months, at least 12        5 months, at least 6 months, at least 8 months, at least 10
months, at least 18 months, or at least 24 months. In some          months, at least 12 months, at least 18 months, or at least 24
embodiments, the composition stored in a plastic container          months. In some embodiments, the composition stored in a
comprises less than 10% of primary degradant based on the 5 plastic container comprises less than 0.3% of primary degra-
concentration of the ophthalmic agent for a period of at least      dant based on the concentration of the ophthalmic agent for
1 week, at least 2 weeks, at least 3 weeks, at least 1 month,       a period of at least 1 week, at least 2 weeks, at least 3 weeks,
at least 2 months, at least 3 months, at least 4 months, at least   at least 1 month, at least 2 months, at least 3 months, at least
5 months, at least 6 months, at least 8 months, at least 10         4 months, at least 5 months, at least 6 months, at least 8
months, at least 12 months, at least 18 months, or at least 24 10
                                                                    months, at least 10 months, at least 12 months, at least 18
months. In some embodiments, the composition stored in a
                                                                    months, or at least 24 months. In some embodiments, the
plastic container comprises less than 5% of primary degra-
                                                                    composition stored in a plastic container comprises less than
dant based on the concentration of the ophthalmic agent for
a period of at least 1 week, at least 2 weeks, at least 3 weeks,    0.2% of primary degradant based on the concentration of the
at least 1 month, at least 2 months, at least 3 months, at least 15 ophthalmic agent for a period of at least 1 week, at least 2
4 months, at least 5 months, at least 6 months, at least 8          weeks, at least 3 weeks, at least 1 month, at least 2 months,
months, at least 10 months, at least 12 months, at least 18         at least 3 months, at least 4 months, at least 5 months, at least
months, or at least 24 months.                                      6 months, at least 8 months, at least 10 months, at least 12
   In some embodiments, the composition stored in a plastic         months, at least 18 months, or at least 24 months. In some
container comprises from less than 2.5% of primary degra- 20 embodiments, the composition stored in a plastic container
dant to less than 0.1% of primary degradant based on the            comprises less than 0.1% of primary degradant based on the
concentration of the ophthalmic agent for a period of at least      concentration of the ophthalmic agent for a period of at least
1 week, at least 2 weeks, at least 3 weeks, at least 1 month,       1 week, at least 2 weeks, at least 3 weeks, at least 1 month,
at least 2 months, at least 3 months, at least 4 months, at least   at least 2 months, at least 3 months, at least 4 months, at least
5 months, at least 6 months, at least 8 months, at least 10 25 5 months, at least 6 months, at least 8 months, at least 10
months, at least 12 months, at least 18 months, or at least 24      months, at least 12 months, at least 18 months, or at least 24
months. In some embodiments, the composition stored in a            months.
plastic container comprises less than 2.5% of primary degra-           In some embodiments, the composition described herein
dant based on the concentration of the ophthalmic agent for         is stored in a glass container. In some embodiments, the
a period of at least 1 week, at least 2 weeks, at least 3 weeks, 30 glass container is a glass vial, such as for example, a type I,
at least 1 month, at least 2 months, at least 3 months, at least    type II or type III glass vial. In some embodiments, the glass
4 months, at least 5 months, at least 6 months, at least 8          container is a type I glass vial. In some embodiments, the
months, at least 10 months, at least 12 months, at least 18         type I glass vial is a borasilicate glass vial.
months, or at least 24 months. In some embodiments, the                In some embodiments, the composition stored in a glass
composition stored in a plastic container comprises less than 35 container has a pD of higher than about 7. In some embodi-
2.0% of primary degradant based on the concentration of the         ments, the composition stored in a glass container has a pD
ophthalmic agent for a period of at least 1 week, at least 2        of higher than about 7.5. In some embodiments, the com-
weeks, at least 3 weeks, at least 1 month, at least 2 months,       position stored in a glass container has a pD of higher than
at least 3 months, at least 4 months, at least 5 months, at least   about 8. In some embodiments, the composition stored in a
6 months, at least 8 months, at least 10 months, at least 12 40 glass container has a pD of higher than about 8.5. In some
months, at least 18 months, or at least 24 months. In some          embodiments, the composition stored in a glass container
embodiments, the composition stored in a plastic container          has a pD of higher than about 9.
comprises less than 1.5% of primary degradant based on the             In some embodiments, the composition stored in a glass
concentration of the ophthalmic agent for a period of at least      container has a potency of less than 60% at a temperature of
1 week, at least 2 weeks, at least 3 weeks, at least 1 month, 45 about 25° C., about 40° C., or about 60° C. In some
at least 2 months, at least 3 months, at least 4 months, at least   embodiments, the composition stored in a glass container
5 months, at least 6 months, at least 8 months, at least 10         has a potency of less than 60% for a period of at least 1
months, at least 12 months, at least 18 months, or at least 24      week, at least 2 weeks, at least 3 weeks, at least 1 month, at
months. In some embodiments, the composition stored in a            least 2 months, at least 3 months, at least 4 months, at least
plastic container comprises less than 1.0% of primary degra- so 5 months, at least 6 months, at least 8 months, at least 10
dant based on the concentration of the ophthalmic agent for         months, at least 12 months, at least 18 months, or at least 24
a period of at least 1 week, at least 2 weeks, at least 3 weeks,    months.
at least 1 month, at least 2 months, at least 3 months, at least       In some embodiments, the composition stored in a glass
4 months, at least 5 months, at least 6 months, at least 8          container is less stable than a composition stored in a plastic
months, at least 10 months, at least 12 months, at least 18 55 container.
months, or at least 24 months. In some embodiments, the                In some embodiments, the composition is stored under in
composition stored in a plastic container comprises less than       the dark. In some instances, the composition is stored in the
0.5% of primary degradant based on the concentration of the         presence of light. In some instances, the light is indoor light,
ophthalmic agent for a period of at least 1 week, at least 2        room light, or sun light. In some instances, the composition
weeks, at least 3 weeks, at least 1 month, at least 2 months, 60 is stable while stored in the presence of light.
at least 3 months, at least 4 months, at least 5 months, at least      In some embodiments, the composition described herein
6 months, at least 8 months, at least 10 months, at least 12        is formulated as an aqueous solution. In some embodiments,
months, at least 18 months, or at least 24 months. In some          the aqueous solution is a stable aqueous solution. In some
embodiments, the composition stored in a plastic container          instances, the aqueous solution is stored in a plastic con-
comprises less than 0.4% of primary degradant based on the 65 tainer as described above. In some instances, the aqueous
concentration of the ophthalmic agent for a period of at least      solution is not stored in a glass container. In some instances,
1 week, at least 2 weeks, at least 3 weeks, at least 1 month,       the aqueous solution is stored in the dark. In some instances,


                                                        Appx000194
                                                        Appx000194                        Eyenovia Exhibit
                                                                                          Eyenovia Exhibit 1001,
                                                                                                           1001, Page
                                                                                                                 Page 32
                                                                                                                      32 of
                                                                                                                         of 65
                                                                                                                            65
              Case: 23-2402                Document: 15              Page: 251           Filed: 02/01/2024


                                                   US 10,842,787 B2
                             33                                                                 34
the aqueous solution is stored in the presence of light. In        described herein. In other embodiments, cyclodextrins in
some instances, the aqueous solution is stable in the pres-        addition serve as controlled release excipients within the
ence of light.                                                     formulations described herein.
   In a specific embodiment, the ophthalmically acceptable            By way of example only, cyclodextrin derivatives for use
formulations alternatively comprise a cyclodextrin. Cyclo- 5 include a-cyclodextrin, I3-cyclodextrin, y-cyclodextrin,
dextrins are cyclic oligosaccharides containing 6, 7, or 8         hydroxyethyl-P-cyclodextrin, hydroxypropyl-y-cyclodex-
glucopyranose units, referred to as a-cyclodextrin, I3-cyclo-      trin, sulfated (3-cyclodextrin, sulfated a-cyclodextrin, sul-
dextrin, or y-cyclodextrin respectively. Cyclodextrins have a      fobutyl ether (3-cyclodextrin.
hydrophilic exterior, which enhances water-soluble, and a             The concentration of the cyclodextrin used in the com-
                                                                a) positions and methods disclosed herein varies according to
hydrophobic interior which forms a cavity. In an aqueous
                                                                   the physiochemical properties, pharmacokinetic properties,
environment, hydrophobic portions of other molecules often
                                                                   side effect or adverse events, formulation considerations, or
enter the hydrophobic cavity of cyclodextrin to form inclu-
                                                                   other factors associated with the therapeutically ophthalmic
sion compounds. Additionally, cyclodextrins are also               agent, or a salt or prodrug thereof, or with the properties of
capable of other types of nonbonding interactions with 15 other excipients in the composition. Thus, in certain circum-
molecules that are not inside the hydrophobic cavity. Cyclo-       stances, the concentration or amount of cyclodextrin used in
dextrins have three free hydroxyl groups for each glucopy-         accordance with the compositions and methods disclosed
ranose unit, or 18 hydroxyl groups on a-cyclodextrin, 21           herein will vary, depending on the need. When used, the
hydroxyl groups on (3-cyclodextrin, and 24 hydroxyl groups         amount of cyclodextrins needed to increase solubility of the
on y-cyclodextrin. In some embodiments, one or more of 20 ophthalmic agent and/or function as a controlled release
these hydroxyl groups are reacted with any of a number of          excipient in any of the formulations described herein is
reagents to form a large variety of cyclodextrin derivatives,      selected using the principles, examples, and teachings
including hydroxypropyl ethers, sulfonates, and sulfoalky-         described herein.
lethers. Shown below is the structure of I3-cyclodextrin and          Other stabilizers that are useful in the ophthalmically
the hydroxypropyl-(3-cyclodextrin (HP(3CD).                     25 acceptable formulations disclosed herein include, for
                                                                   example, fatty acids, fatty alcohols, alcohols, long chain
                                                                   fatty acid esters, long chain ethers, hydrophilic derivatives
                                        RO
                                                                   of fatty acids, polyvinyl pyrrolidones, polyvinyl ethers,
                                                                   polyvinyl alcohols, hydrocarbons, hydrophobic polymers,
          RO                                                    30 moisture-absorbing polymers, and combinations thereof. In
                               O
                                 RO
                                                                   some embodiments, amide analogues of stabilizers are also
                                             RO
                                                                   used. In further embodiments, the chosen stabilizer changes
                                                          OR       the hydrophobicity of the formulation, improves the mixing
              O OR
                                                 RO                of various components in the formulation, controls the
              OR
                                                                35 moisture level in the formula, or controls the mobility of the
                                                                   phase.
                                                                      In other embodiments, stabilizers are present in sufficient
 RO                                                   RO
                                                                   amounts to inhibit the degradation of the ophthalmic agent.
               OR                                       O
                                                     RO
                                                                   Examples of such stabilizing agents, include, but are not
              O                                                 40 limited to: glycerol, methionine, monothioglycerol, EDTA,
                OR
                                                  R                ascorbic acid, polysorbate 80, polysorbate 20, arginine,
                                                           OR
                                                                   heparin, dextran sulfate, cyclodextrins, pentosan polysulfate
                       F OR
                                                   O               and other heparinoids, divalent cations such as magnesium
                                                  O
                                                                   and zinc, or combinations thereof
              RO                                                45    Additional useful stabilization agents for ophthalmically
                                                                   acceptable formulations include one or more anti-aggrega-
                                                                   tion additives to enhance stability of ophthalmic formula-
                                            OR
                                                                   tions by reducing the rate of protein aggregation. The
                                 R=
                                 R=H                               anti-aggregation additive selected depends upon the nature
                            II-cyclodextrin                     so of the conditions to which the ophthalmic agents, for
                        R = CH2CH(OH)CH3
                                                                   example a muscarinic antagonist (e.g. atropine or its phar-
                    hydroxypropyl II-cyclodextrin
                                                                   maceutically acceptable salts), are exposed. For example,
                                                                   certain formulations undergoing agitation and thermal stress
   In some embodiments, the use of cyclodextrins in the            require a different anti-aggregation additive than a formu-
pharmaceutical compositions described herein improves the 55 lation undergoing lyophilization and reconstitution. Useful
solubility of the drug. Inclusion compounds are involved in        anti-aggregation additives include, by way of example only,
many cases of enhanced solubility; however other interac-          urea, guanidinium chloride, simple amino acids such as
tions between cyclodextrins and insoluble compounds also           glycine or arginine, sugars, polyalcohols, polysorbates,
improves        solubility.        Hydroxypropyl-P-cyclodextrin    polymers such as polyethylene glycol and dextrans, alkyl
(HP(3CD) is commercially available as a pyrogen free prod- 60 saccharides, such as alkyl glycoside, and surfactants.
uct. It is a nonhygroscopic white powder that readily dis-            Other useful formulations optionally include one or more
solves in water. HPI3CD is thermally stable and does not           ophthalmically acceptable antioxidants to enhance chemical
degrade at neutral pH. Thus, cyclodextrins improve the             stability where required. Suitable antioxidants include, by
solubility of a therapeutic agent in a composition or formu-       way of example only, ascorbic acid, methionine, sodium
lation. Accordingly, in some embodiments, cyclodextrins are 65 thiosulfate and sodium metabisulfite. In one embodiment,
included to increase the solubility of the ophthalmically          antioxidants are selected from metal chelating agents, thiol
acceptable ophthalmic agents within the formulations               containing compounds and other general stabilizing agents.


                                                       Appx000195
                                                       Appx000195                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 33
                                                                                                                   33 of
                                                                                                                      of 65
                                                                                                                         65
               Case: 23-2402                Document: 15               Page: 252           Filed: 02/01/2024


                                                    US 10,842,787 B2
                             35                                                                   36
   Still other useful compositions include one or more oph-             In a further embodiment, when one or more co-surfactants
thalmically acceptable surfactants to enhance physical sta-          are utilized in the ophthalmically acceptable formulations of
bility or for other purposes. Suitable nonionic surfactants          the present disclosure, they are combined, e.g., with a
include, but are not limited to, polyoxyethylene fatty acid          pharmaceutically acceptable vehicle and is present in the
glycerides and vegetable oils, e.g., polyoxyethylene (60) 5 final formulation, e.g., in an amount ranging from about
hydrogenated castor oil; and polyoxyethylene alkylethers             0.1% to about 20%, from about 0.5% to about 10%.
and alkylphenyl ethers, e.g., octoxynol 10, octoxynol 40.               In one embodiment, the surfactant has an HLB value of 0
   In some embodiments, the ophthalmically acceptable                to 20. In additional embodiments, the surfactant has an HLB
pharmaceutical formulations described herein are stable              value of 0 to 3, of 4 to 6, of 7 to 9, of 8 to 18, of 13 to 15,
                                                                  10 of 10 to 18.
with respect to compound degradation (e.g. less than 30%
                                                                        pD
degradation, less than 25% degradation, less than 20%
                                                                        In some embodiments, the pD of a composition described
degradation, less than 15% degradation, less than 10%
                                                                     herein is adjusted (e.g., by use of a buffer and/or a pD
degradation, less than 8% degradation, less than 5% degra-           adjusting agent) to an ophthalmically compatible pD range
dation, less than 3% degradation, less than 2% degradation, 15 of from about 4 to about 8, about 4.5 to about 7.5, or about
or less than 5% degradation) over a period of any of at least        5 to about 7. In some embodiments, the ophthalmic com-
about 1 day, at least about 2 days, at least about 3 days, at        position has a pD of from about 5.0 to about 7.0. In some
least about 4 days, at least about 5 days, at least about 6 days,    embodiments, the ophthalmic composition has a pD of from
at least about 1 week, at least about 2 weeks, at least about        about 5.5 to about 7.0. In some embodiments, the ophthal-
3 weeks, at least about 4 weeks, at least about 5 weeks, at 2o mic composition has a pD of from about 6.0 to about 7.0.
least about 6 weeks, at least about 7 weeks, at least about 8           In some embodiments, useful formulations include one or
weeks, at least about 3 months, at least about 4 months, at          more pD adjusting agents or buffering agents. Suitable pD
least about 5 months, or at least about 6 months under               adjusting agents or buffers include, but are not limited to
storage conditions (e.g. room temperature). In other embodi-         acetate, bicarbonate, ammonium chloride, citrate, phos-
ments, the formulations described herein are stable with 25 phate, deuterated forms of acetate, bicarbonate, ammonium
respect to compound degradation over a period of at least            chloride, citrate, phosphate, pharmaceutically acceptable
about 1 week. Also described herein are formulations that            salts thereof and combinations or mixtures thereof. In some
are stable with respect to compound degradation over a               embodiments, the pD adjusting agents or buffers include
period of at least about 1 month.                                    deuterated hydrochloric acid (DC1), deuterated sodium
   In other embodiments, an additional surfactant (co-sur- 30 hydroxide (NaOD), deuterated acetic acid (CD3COOD), or
factant) and/or buffering agent is combined with one or more         deuterated citric acid (C6D8O7).
of the pharmaceutically acceptable vehicles previously                  In one embodiment, when one or more buffers are utilized
described herein so that the surfactant and/or buffering agent       in the formulations of the present disclosure, they are
maintains the product at an optimal pD for stability. Suitable       combined, e.g., with a pharmaceutically acceptable vehicle
co-surfactants include, but are not limited to: a) natural and 35 and are present in the final formulation, e.g., in an amount
synthetic lipophilic agents, e.g., phospholipids, cholesterol,       ranging from about 0.1% to about 20%, from about 0.5% to
and cholesterol fatty acid esters and derivatives thereof; b)        about 10%. In certain embodiments of the present disclo-
nonionic surfactants, which include for example, polyoxy-            sure, the amount of buffer included in the gel formulations
ethylene fatty alcohol esters, sorbitan fatty acid esters            are an amount such that the pD of the gel formulation does
(Spans), polyoxyethylene sorbitan fatty acid esters (e.g., 40 not interfere with the body's natural buffering system.
polyoxyethylene (20) sorbitan monooleate (Tween 80),                    In one embodiment, diluents are also used to stabilize
polyoxyethylene (20) sorbitan monostearate (Tween 60),               compounds because they provide a more stable environ-
polyoxyethylene (20) sorbitan monolaurate (Tween 20) and             ment. In some instances, salts dissolved in buffered solutions
other Tweens, sorbitan esters, glycerol esters, e.g., Myrj and       (which also provides pD control or maintenance) are utilized
glycerol triacetate (triacetin), polyethylene glycols, cetyl 45 as diluents in the art, including, but not limited to a phos-
alcohol, cetostearyl alcohol, stcaryl alcohol, polysorbatc 80,       phate buffered saline solution.
poloxamers, poloxamines, polyoxyethylene castor oil                     In some embodiments, the pD is calculated according to
derivatives (e.g., Cremophor® RH40, Cremphor A25,                    the formula disclosed in Glasoe et al., "Use of glass elec-
Cremphor A20, Cremophor® EL) and other Cremophors,                   trodes to measure acidities in deuterium oxide," J. Physical
sulfosuccinates, alkyl sulphates (SLS); PEG glyceryl fatty so Chem. 64(1): 188-190 (1960). In some embodiment, the pD
acid esters such as PEG-8 glyceryl caprylate/caprate (Labra-         is calculated as pD—pH*+0.4, in which pH* is the measured
sol), PEG-4 glyceryl caprylate/caprate (Labrafac Hydro WL            or observed pH of the ophthalmic composition formulated in
1219), PEG-32 glyceryl laurate (Gelucire 444/14), PEG-6              a solution comprising deuterated water (e.g., D2O).
glyceryl mono oleate (Labrafil M 1944 CS), PEG-6 glyceryl               In some embodiments, the ophthalmic aqueous, gel, or
linoleate (Labrafil M 2125 CS); propylene glycol mono- and 55 ointment composition described herein has a pD of between
di-fatty acid esters, such as propylene glycol laurate, pro-         about 4 and about 8, between about 4.5 and about 8, between
pylene glycol caprylate/caprate; Brij® 700, ascorbyl-6-              about 4.9 and about 7.9, between about 5.4 and about 7.9,
palmitate, stearylamine, sodium lauryl sulfate, polyoxethyl-         between about 5.9 and about 7.9, between about 6.4 and
eneglycerol triiricinoleate, and any combinations or                 about 7.9, or between about 7.4 and about 7.9. In some
mixtures thereof; c) anionic surfactants include, but are not 60 embodiments, the ophthalmic aqueous, gel, or ointment
limited to, calcium carboxymethylcellulose, sodium car-              composition described herein has a pD of between about
boxymethylcellulose, sodium sulfosuccinate, dioctyl,                 4.5-7.5, between about 5.0 and about 7.5, between about 5.5
sodium alginate, alkyl polyoxyethylene sulfates, sodium              and about 7.5, between about 6.0 and about 7.5, or between
lauryl sulfate, triethanolamine stearate, potassium laurate,         about 7.0 and about 7.5. In some embodiments, the oph-
bile salts, and any combinations or mixtures thereof; and d) 65 thalmic aqueous, gel, or ointment composition described
cationic surfactants such as cetyltrimethylammonium bro-             herein has a pD of between about 4.5-7.0, between about 5.0
mide, and lauryldimethylbenzyl-ammonium chloride.                    and about 7.0, between about 5.5 and about 7.0, between


                                                        Appx000196
                                                        Appx000196                        Eyenovia Exhibit
                                                                                          Eyenovia Exhibit 1001,
                                                                                                           1001, Page
                                                                                                                 Page 34
                                                                                                                      34 of
                                                                                                                         of 65
                                                                                                                            65
              Case: 23-2402              Document: 15             Page: 253          Filed: 02/01/2024


                                                US 10,842,787 B2
                           37                                                              38
about 6.0 and about 7.0, or between about 6.5 and about 7.0.   aqueous composition has a pD of about 5.3. In some
In some embodiments, the ophthalmic aqueous, gel, or           embodiments, the ophthalmic aqueous composition has a pD
ointment composition described herein has a pD of between      of about 5.2. In some embodiments, the ophthalmic aqueous
about 4.9-7.4, between about 5.4 and about 7.4, between        composition has a pD of about 5.1. In some embodiments,
about 5.9 and about 7.4, between about 6.4 and about 7.4, or 5 the ophthalmic aqueous composition has a pD of about 5. In
between about 6.9 and about 7.4. In some embodiments, the      some embodiments, the ophthalmic aqueous composition
ophthalmic aqueous, gel, or ointment composition described     has a pD of about 4.9. In some embodiments, the ophthalmic
herein has a pD of between about 4.5-6.5, between about 5.0    aqueous composition has a pD of about 4.8. In some
and about 6.5, between about 5.5 and about 6.5, or between     embodiments, the ophthalmic aqueous composition has a pD
about 6.0 and about 6.5. In some embodiments, the oph- 10 of about 4.7. In some embodiments, the ophthalmic aqueous
thalmic aqueous, gel, or ointment composition described        composition has a pD of about 4.6. In some embodiments,
herein has a pD of between about 4.9-6.9, between about 5.4    the ophthalmic aqueous composition has a pD of about 4.5.
and about 6.9, between about 5.9 and about 6.9, or between     In some embodiments, the ophthalmic aqueous composition
about 6.4 and about 6.9. In some embodiments, the oph-         has a pD of about 4.4. In some embodiments, the ophthalmic
thalmic aqueous, gel, or ointment composition described 15 aqueous composition has a pD of about 4.3. In some
herein has a pD of between about 4.5-6.0, between about 5.0    embodiments, the ophthalmic aqueous composition has a pD
and about 6.0, or between about 5.5 and about 6.0. In some     of about 4.2. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous, gel, or ointment          composition has a pD of about 4.1. In some embodiments,
composition described herein has a pD of between about         the ophthalmic aqueous composition has a pD of about 4. In
4.9-6.4, between about 5.4 and about 6.4, or between about 20 some embodiments, the pD is an initial pD of the ophthalmic
5.9 and about 6.4. In some embodiments, the ophthalmic         aqueous composition. In some embodiments, the pD is the
aqueous, gel, or ointment composition described herein has     pD of the ophthalmic aqueous composition after extended
a pD of between about 4.5-5.5, or between about 5.0 and        period of time under storage condition.
about 5.5. In some embodiments, the ophthalmic aqueous,           In some instances, the ophthalmic aqueous composition
gel, or ointment composition described herein has a pD of 25 has an initial pD of between about 4 and about 8, about 4.5
between about 4.9-5.9, or between about 5.4 and about 5.9.     and about 7.8, about 5 and about 7.5, or about 5.5 and about
In some embodiments, the ophthalmic aqueous, gel, or           7. In some embodiments, the ophthalmic aqueous compo-
ointment composition described herein has a pD of between      sition has an initial pD of about 7.5. In some embodiments,
about 4.5-5.0. In some embodiments, the ophthalmic aque-       the ophthalmic aqueous composition has an initial pD of
ous, gel, or ointment composition described herein has a pD 30 about 7.4. In some embodiments, the ophthalmic aqueous
of between about 4.9-5.4.                                      composition has an initial pD of about 7.3. In some embodi-
   In some embodiments, the ophthalmic composition is an       ments, the ophthalmic aqueous composition has an initial
ophthalmic aqueous composition. In some instances, the         pD of about 7.2. In some embodiments, the ophthalmic
ophthalmic aqueous composition has a pD of between about       aqueous composition has an initial pD of about 7.1. In some
4 and about 8, about 4.5 and about 7.8, about 5 and about 35 embodiments, the ophthalmic aqueous composition has an
7.5, or about 5.5 and about 7. In some embodiments, the        initial pD of about 7. In some embodiments, the ophthalmic
ophthalmic aqueous composition has a pD of about 7.5. In       aqueous composition has an initial pD of about 6.9. In some
some embodiments, the ophthalmic aqueous composition           embodiments, the ophthalmic aqueous composition has an
has a pD of about 7.4. In some embodiments, the ophthalmic     initial pD of about 6.8. In some embodiments, the ophthal-
aqueous composition has a pD of about 7.3. In some 40 mic aqueous composition has an initial pD of about 6.7. In
embodiments, the ophthalmic aqueous composition has a pD       some embodiments, the ophthalmic aqueous composition
of about 7.2. In some embodiments, the ophthalmic aqueous      has an initial pD of about 6.6. In some embodiments, the
composition has a pD of about 7.1. In some embodiments,        ophthalmic aqueous composition has an initial pD of about
the ophthalmic aqueous composition has a pD of about 7. In     6.5. In some embodiments, the ophthalmic aqueous compo-
some embodiments, the ophthalmic aqueous composition 45 sition has an initial pD of about 6.4. In some embodiments,
has a pD of about 6.9. In some embodiments, the ophthalmic     the ophthalmic aqueous composition has an initial pD of
aqueous composition has a pD of about 6.8. In some             about 6.3. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous composition has a pD       composition has an initial pD of about 6.2. In some embodi-
of about 6.7. In some embodiments, the ophthalmic aqueous      ments, the ophthalmic aqueous composition has an initial
composition has a pD of about 6.6. In some embodiments, so pD of about 6.1. In some embodiments, the ophthalmic
the ophthalmic aqueous composition has a pD of about 6.5.      aqueous composition has an initial pD of about 6. In some
In some embodiments, the ophthalmic aqueous composition        embodiments, the ophthalmic aqueous composition has an
has a pD of about 6.4. In some embodiments, the ophthalmic     initial pD of about 5.9. In some embodiments, the ophthal-
aqueous composition has a pD of about 6.3. In some             mic aqueous composition has an initial pD of about 5.8. In
embodiments, the ophthalmic aqueous composition has a pD 55 some embodiments, the ophthalmic aqueous composition
of about 6.2. In some embodiments, the ophthalmic aqueous      has an initial pD of about 5.7. In some embodiments, the
composition has a pD of about 6.1. In some embodiments,        ophthalmic aqueous composition has an initial pD of about
the ophthalmic aqueous composition has a pD of about 6. In     5.6. In some embodiments, the ophthalmic aqueous compo-
some embodiments, the ophthalmic aqueous composition           sition has an initial pD of about 5.5. In some embodiments,
has a pD of about 5.9. In some embodiments, the ophthalmic 60 the ophthalmic aqueous composition has an initial pD of
aqueous composition has a pD of about 5.8. In some             about 5.4. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous composition has a pD       composition has an initial pD of about 5.3. In some embodi-
of about 5.7. In some embodiments, the ophthalmic aqueous      ments, the ophthalmic aqueous composition has an initial
composition has a pD of about 5.6. In some embodiments,        pD of about 5.2. In some embodiments, the ophthalmic
the ophthalmic aqueous composition has a pD of about 5.5. 65 aqueous composition has an initial pD of about 5.1. In some
In some embodiments, the ophthalmic aqueous composition        embodiments, the ophthalmic aqueous composition has an
has a pD of about 5.4. In some embodiments, the ophthalmic     initial pD of about 5. In some embodiments, the ophthalmic


                                                    Appx000197
                                                    Appx000197                     Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 35
                                                                                                               35 of
                                                                                                                  of 65
                                                                                                                     65
              Case: 23-2402              Document: 15              Page: 254           Filed: 02/01/2024


                                                 US 10,842,787 B2
                            39                                                               40
aqueous composition has an initial pD of about 4.9. In some     ophthalmic aqueous composition has a pD of less than about
embodiments, the ophthalmic aqueous composition has an          4.4. In some embodiments, the ophthalmic aqueous compo-
initial pD of about 4.8. In some embodiments, the ophthal-      sition has a pD of less than about 4.3. In some embodiments,
mic aqueous composition has an initial pD of about 4.7. In      the ophthalmic aqueous composition has a pD of less than
some embodiments, the ophthalmic aqueous composition 5 about 4.2. In some embodiments, the ophthalmic aqueous
has an initial pD of about 4.6. In some embodiments, the        composition has a pD of less than about 4.1. In some
ophthalmic aqueous composition has an initial pD of about       embodiments, the ophthalmic aqueous composition has a pD
4.5. In some embodiments, the ophthalmic aqueous compo-         of less than about 4. In some embodiments, the pD is the pD
sition has an initial pD of about 4.4. In some embodiments,     of the ophthalmic aqueous composition after extended
the ophthalmic aqueous composition has an initial pD of 10
                                                                period of time under storage condition.
about 4.3. In some embodiments, the ophthalmic aqueous
                                                                   In some embodiments, the pD of the ophthalmic aqueous
composition has an initial pD of about 4.2. In some embodi-
                                                                composition described herein is associated with the stability
ments, the ophthalmic aqueous composition has an initial
pD of about 4.1. In some embodiments, the ophthalmic            of the ophthalmic aqueous composition. In some embodi-
                                                             15 ments, a stable composition comprises a pD of between
aqueous composition has an initial pD of about 4.
   In some instances, the ophthalmic aqueous composition        about 4 and about 8, about 4.5 and about 7.8, about 5 and
has a pD of between about 4 and about 8, about 4.5 and          about 7.5, or about 5.5 and about 7. In some embodiments,
about 7.8, about 5 and about 7.5, or about 5.5 and about 7.     a stable composition comprises a pD of less than about 7.5.
In some embodiments, the ophthalmic aqueous composition         In some embodiments, a stable composition comprises a pD
has a pD of less than about 7.5. In some embodiments, the 20 of less than about 7.4. In some embodiments, a stable
ophthalmic aqueous composition has a pD of less than about      composition comprises a pD of less than about 7.3. In some
7.4. In some embodiments, the ophthalmic aqueous compo-         embodiments, a stable composition comprises a pD of less
sition has a pD of less than about 7.3. In some embodiments,    than about 7.2. In some embodiments, a stable composition
the ophthalmic aqueous composition has a pD of less than        comprises a pD of less than about 7.1. In some embodi-
about 7.2. In some embodiments, the ophthalmic aqueous 25 ments, a stable composition comprises a pD of less than
composition has a pD of less than about 7.1. In some            about 7. In some embodiments, a stable composition com-
embodiments, the ophthalmic aqueous composition has a pD        prises a pD of less than about 6.9. In some embodiments, a
of less than about 7. In some embodiments, the ophthalmic       stable composition comprises a pD of less than about 6.8. In
aqueous composition has a pD of less than about 6.9. In         some embodiments, a stable composition comprises a pD of
some embodiments, the ophthalmic aqueous composition 30 less than about 6.7. In some embodiments, a stable compo-
has a pD of less than about 6.8. In some embodiments, the       sition comprises a pD of less than about 6.6. In some
ophthalmic aqueous composition has a pD of less than about      embodiments, a stable composition comprises a pD of less
6.7. In some embodiments, the ophthalmic aqueous compo-         than about 6.5. In some embodiments, a stable composition
sition has a pD of less than about 6.6. In some embodiments,    comprises a pD of less than about 6.4. In some embodi-
the ophthalmic aqueous composition has a pD of less than 35 ments, a stable composition comprises a pD of less than
about 6.5. In some embodiments, the ophthalmic aqueous          about 6.3. In some embodiments, a stable composition
composition has a pD of less than about 6.4. In some            comprises a pD of less than about 6.2. In some embodi-
embodiments, the ophthalmic aqueous composition has a pD        ments, a stable composition comprises a pD of less than
of less than about 6.3. In some embodiments, the ophthalmic     about 6.1. In some embodiments, a stable composition
aqueous composition has a pD of less than about 6.2. In 40 comprises a pD of less than about 6. In some embodiments,
some embodiments, the ophthalmic aqueous composition            a stable composition comprises a pD of less than about 5.9.
has a pD of less than about 6.1. In some embodiments, the       In some embodiments, a stable composition comprises a pD
ophthalmic aqueous composition has a pD of less than about      of less than about 5.8. In some embodiments, a stable
6. In some embodiments, the ophthalmic aqueous compo-           composition comprises a pD of less than about 5.7. In some
sition has a pD of less than about 5.9. In some embodiments, 45 embodiments, a stable composition comprises a pD of less
the ophthalmic aqueous composition has a pD of less than        than about 5.6. In some embodiments, a stable composition
about 5.8. In some embodiments, the ophthalmic aqueous          comprises a pD of less than about 5.5. In some embodi-
composition has a pD of less than about 5.7. In some            ments, a stable composition comprises a pD of less than
embodiments, the ophthalmic aqueous composition has a pD        about 5.4. In some embodiments, a stable composition
of less than about 5.6. In some embodiments, the ophthalmic so comprises a pD of less than about 5.3. In some embodi-
aqueous composition has a pD of less than about 5.5. In         ments, a stable composition comprises a pD of less than
some embodiments, the ophthalmic aqueous composition            about 5.2. In some embodiments, a stable composition
has a pD of less than about 5.4. In some embodiments, the       comprises a pD of less than about 5.1. In some embodi-
ophthalmic aqueous composition has a pD of less than about      ments, a stable composition comprises a pD of less than
5.3. In some embodiments, the ophthalmic aqueous compo- 55 about 5. In some embodiments, a stable composition com-
sition has a pD of less than about 5.2. In some embodiments,    prises a pD of less than about 4.9. In some embodiments, a
the ophthalmic aqueous composition has a pD of less than        stable composition comprises a pD of less than about 4.8. In
about 5.1. In some embodiments, the ophthalmic aqueous          some embodiments, a stable composition comprises a pD of
composition has a pD of less than about 5. In some embodi-      less than about 4.7. In some embodiments, a stable compo-
ments, the ophthalmic aqueous composition has a pD of less 60 sition comprises a pD of less than about 4.6. In some
than about 4.9. In some embodiments, the ophthalmic aque-       embodiments, a stable composition comprises a pD of less
ous composition has a pD of less than about 4.8. In some        than about 4.5. In some embodiments, a stable composition
embodiments, the ophthalmic aqueous composition has a pD        comprises a pD of less than about 4.4. In some embodi-
of less than about 4.7. In some embodiments, the ophthalmic     ments, a stable composition comprises a pD of less than
aqueous composition has a pD of less than about 4.6. In 65 about 4.3. In some embodiments, a stable composition
some embodiments, the ophthalmic aqueous composition            comprises a pD of less than about 4.2. In some embodi-
has a pD of less than about 4.5. In some embodiments, the       ments, a stable composition comprises a pD of less than


                                                     Appx000198
                                                     Appx000198                      Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 36
                                                                                                                 36 of
                                                                                                                    of 65
                                                                                                                       65
               Case: 23-2402               Document: 15              Page: 255            Filed: 02/01/2024


                                                   US 10,842,787 B2
                             41                                                                  42
about 4.1. In some embodiments, a stable composition               at least about 12 months, at least about 18 months, at least
comprises a pD of less than about 4.                               about 24 months, at least about 3 years, at least about 4
   In some embodiments, the D2O aqueous system stabilizes          years, at least about 5 years, at least about 6 years, at least
a muscarinic antagonist (e.g., atropine). In some embodi-          about 7 years, at least about 8 years, at least about 9 years,
ments, this is due to a lower concentration of the reactive 5 at least about 10 years, or more. In other embodiments, the
species (e.g., OD) in the D2O aqueous system compared              formulations described herein are stable with respect to pD
to the concentration of the reactive species (e.g., OH) in         over a period of at least about 1 week. In other embodiments,
an equivalent H2O aqueous system. In some instances, the           the formulations described herein are stable with respect to
concentration of the reactive species (e.g., OD) in the D2O        pD over a period of at least about 2 weeks. In other
aqueous system is about one third less than the concentration 10 embodiments, the formulations described herein are stable
of the reactive species (e.g., OH) in the equivalent H2O           with respect to pD over a period of at least about 3 weeks.
aqueous system. In some cases, this is due to a lower or           In other embodiments, the formulations described herein are
smaller dissociation constant of D2O than H2O. For                 stable with respect to pD over a period of at least about 1
example, the K,(H2O) is 1x1014, whereas the K,(D2O) is             month. Also described herein are formulations that are stable
1x10-15 . As such, D2O is a weaker acid than H2O. In some 15 with respect to pD over a period of at least about 2 months,
cases, base catalyzed hydrolysis leads to the presence of          at least about 3 months, at least about 4 months, at least
tropine degradant from atropine. In some cases, with a lower       about 5 months, at least about 6 months, at least about 12
concentration of the reactive species that causes tropine          months, at least about 18 months, at least about 2 years, or
degradant formation, atropine solution is more stable in a         more.
D2O aqueous system than compared to an equivalent H2O 20              Aqueous Solution Dose-to-Dose Uniformity
aqueous system. In some embodiments, the ophthalmic                   Typical ophthalmic aqueous solutions are packaged in eye
composition formulated with deuterated water allows for a          drop bottles and administered as drops. For example, a
more stable ophthalmic composition relative to the ophthal-        single administration (i.e. a single dose) of an ophthalmic
mic composition formulated with H2O.                               aqueous solution includes a single drop, two drops, three
   In some embodiments, the presence of deuterated water 25 drops or more into the eyes of the patient. In some embodi-
shifts the pKa of the buffer. In some embodiments, the             ments, one dose of the ophthalmic aqueous solution
presence of deuterated water allows for the ophthalmic             described herein is one drop of the aqueous solution com-
composition to simulate the stability of a lower pH system.        position from the eye drop bottle.
In some instances, the buffer capacity of the ophthalmic              In some cases, described herein include ophthalmic ague-
composition is lowered, thereby allowing a faster shift in 30 ous compositions which provide a dose-to-dose uniform
pH. In some instances, the lowered buffering capacity of the       concentrations. In some instances, the dose-to-dose uniform
ophthalmic composition when administered into the eye              concentration does not present significant variations of drug
allows the ophthalmic composition to reach physiological           content from one dose to another. In some instances, the
pH at a faster rate than compared to an ophthalmic compo-          dose-to-dose uniform concentration does provide consistent
sition formulated in H2O. In some instances, the ophthalmic 35 drug content from one dose to another.
composition formulated with deuterated water allows for a             In some embodiments, the composition has a dose-to-
lower tear production, or less tear reflex in the eye, in          dose ophthalmic agent concentration variation of less than
comparison with an ophthalmic composition formulated               50%. In some embodiments, the composition has a dose-to-
with H2O.                                                          dose ophthalmic agent concentration variation of less than
   In some embodiment, the ophthalmic gel or ointment 40 40%. In some embodiments, the composition has a dose-to-
composition described herein has a pD of about 4, about 4.1,       dose ophthalmic agent concentration variation of less than
about 4.2, about 4.3, about 4.4, about 4.5, about 4.6, about       30%. In some embodiments, the composition has a dose-to-
4.7, about 4.8, about 4.9, about 5.0, about 5.1, about 5.2,        dose ophthalmic agent concentration variation of less than
about 5.3, about 5.4, about 5.5, about 5.6, about 5.7, about       20%. In some embodiments, the composition has a dose-to-
5.8, about 5.9, about 6.0, about 6.1, about 6.2, about 6.3, 45 dose ophthalmic agent concentration variation of less than
about 6.4, about 6.5, about 6.6, about 6.7, about 6.8, about       10%. In some embodiments, the composition has a dose-to-
6.9, about 7.0, about 7.1, about 7.2, about 7.3, about 7.4,        dose ophthalmic agent concentration variation of less than
about 7.5, about 7.6, about 7.7, about 7.8, or about 7.9.          5%.
   In some embodiment, the pD of the ophthalmic aqueous,              In some embodiments, the dose-to-dose ophthalmic agent
gel, or ointment composition described herein is suitable for so concentration variation is based on 10 consecutive doses. In
sterilization (e.g., by filtration or aseptic mixing or heat       some embodiments, the dose-to-dose ophthalmic agent con-
treatment and/or autoclaving (e.g., terminal sterilization)) of    centration variation is based on 8 consecutive doses. In some
ophthalmic formulations described herein. As used in in the        embodiments, the dose-to-dose ophthalmic agent concentra-
present disclosure, the term "aqueous composition" includes        tion variation is based on 5 consecutive doses. In some
compositions that are based on D2O.                             55 embodiments, the dose-to-dose ophthalmic agent concentra-
   In some embodiments, the pharmaceutical formulations            tion variation is based on 3 consecutive doses. In some
described herein are stable with respect to pD over a period       embodiments, the dose-to-dose ophthalmic agent concentra-
of any of at least about 1 day, at least about 2 days, at least    tion variation is based on 2 consecutive doses.
about 3 days, at least about 4 days, at least about 5 days, at        A nonsettling formulation should not require shaking to
least about 6 days, at least about 1 week, at least about 2 60 disperse drug uniformly. A "no-shake" formulation is poten-
weeks, at least about 3 weeks, at least about 4 weeks, at least    tially advantageous over formulations that require shaking
about 5 weeks, at least about 6 weeks, at least about 7 weeks,     for the simple reason that patients' shaking behavior is a
at least about 8 weeks, at least about 1 month, at least about     major source of variability in the amount of drug dosed. It
2 months, at least about 3 months, at least about 4 months,        has been reported that patients often times do not or forget
at least about 5 months, at least about 6 months, at least 65 to shake their ophthalmic compositions that requires shaking
about 7 months, at least about 8 months, at least about 9          before administering a dose, despite the instructions to shake
months, at least about 10 months, at least about 11 months,        that were clearly marked on the label. On the other hand,


                                                       Appx000199
                                                       Appx000199                       Eyenovia Exhibit
                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 37
                                                                                                                    37 of
                                                                                                                       of 65
                                                                                                                          65
              Case: 23-2402               Document: 15              Page: 256           Filed: 02/01/2024


                                                  US 10,842,787 B2
                            43                                                                44
even for those patients who do shake the product, it is          In some embodiments, a low viscosity ophthalmic agent
normally not possible to determine whether the shaking is        composition described herein provides an apparent viscosity
adequate in intensity and/or duration to render the product      of from about 1000 cP to about 10,000 cP.
uniform. In some embodiments, the ophthalmic gel compo-             Osmolarity
sitions and ophthalmic ointment compositions described 5            In some embodiments, a composition disclosed herein is
herein are "no-shake" formulations that maintained the           formulated in order to not disrupt the ionic balance of the
dose-to-dose uniformity described herein.                        eye. In some embodiments, a composition disclosed herein
   To evaluate the dose-to-dose uniformity, drop bottles or      has an ionic balance that is the same as or substantially the
tubes containing the ophthalmic aqueous compositions, the        same as the eye. In some embodiments, a composition
ophthalmic gel compositions, or ophthalmic ointment com- 10
                                                                 disclosed herein does not does not disrupt the ionic balance
positions are stored upright for a minimum of 12 hours prior
                                                                 of the eye.
to the start of the test. To simulate the recommended dosing
                                                                    As used herein, "practical osmolarity/osmolality" or
of these products, predetermined number of drops or strips
are dispensed from each commercial bottles or tubes at           "deliverable  osmolarity/osmolality" means the osmolarity/
predetermined time intervals for an extended period of time 15 osmolality of a composition as determined by measuring the
or until no product was left in the bottle or tube. All drops    osmolarity/osmolality of the ophthalmic agent and all
and strips are dispensed into tared glass vials, capped, and     excipients except the gelling and/or the thickening agent
stored at room temperature until analysis. Concentrations of     (e.g., polyoxyethylene-polyoxypropylene copolymers, car-
a muscarinic antagonist such as atropine in the expressed        boxymethylcellulose or the like). The practical osmolarity of
drops were determined using a reverse-phase HPLC method. 20 a composition disclosed herein is measured by a suitable
   Aqueous Solution Viscosity                                    method, e.g., a freezing point depression method as
   In some embodiments, the composition has a Brookfield         described in Viegas et. al., Int. J. Pharm., 1998, 160, 157-
RVDV viscosity of from about 10 to about 50,000 cps at           162. In some instances, the practical osmolarity of a com-
about 20° C. and sheer rate of 1 s-1. In some embodiments,       position disclosed herein is measured by vapor pressure
the composition has a Brookfield RVDV viscosity of from 25 osmometry (e.g., vapor pressure depression method) that
about 100 to about 40,000 cps at about 20° C. and sheer rate     allows for determination of the osmolarity of a composition
of 1 s-1. In some embodiments, the composition has a             at higher temperatures. In some instances, vapor pressure
Brookfield RVDV viscosity of from about 500 to about             depression method allows for determination of the osmo-
30,000 cps at about 20° C. and sheer rate of 1 s-1. In some      larity of a composition comprising a gelling agent (e.g., a
embodiments, the composition has a Brookfield RVDV 30 thermoreversible polymer) at a higher temperature wherein
viscosity of from about 1000 to about 20,000 cps at about        the gelling agent is in the form of a gel.
20° C. and sheer rate of 1 s-1. In some embodiments, the            In some embodiments, the osmolarity at a target site of
composition has a Brookfield RVDV viscosity of from about        action (e.g., the eye) is about the same as the delivered
2000 to about 10,000 cps at about 20° C. and sheer rate of       osmolarity of a composition described herein. In some
1 s-1. In some embodiments, the composition has a Brook- 35 embodiments, a composition described herein has a deliv-
field RVDV viscosity of from about 4000 to about 8000 cps        erable osmolarity of about 150 mOsm/L to about 500
at about 20° C. and sheer rate of 1 s-1.                         mOsm/L, about 250 mOsm/L to about 500 mOsm/L, about
   In some embodiments, the ophthalmic aqueous formula-          250 mOsm/L to about 350 mOsm/L, about 280 mOsm/L to
tion contains a viscosity enhancing agent sufficient to pro-     about 370 mOsm/L or about 250 mOsm/L to about 320
vide a viscosity of between about 500 and 50,000 centipoise, 40 mOsm/L.
between about 750 and 50,000 centipoise; between about              The practical osmolality of an ophthalmic composition
1000 and 50,000 centipoise; between about 1000 and 40,000        disclosed herein is from about 100 mOsm/kg to about 1000
centipoise; between about 2000 and 30,000 centipoise;            mOsm/kg, from about 200 mOsm/kg to about 800 mOsm/
between about 3000 and 20,000 centipoise; between about          kg, from about 250 mOsm/kg to about 500 mOsm/kg, or
4000 and 10,000 centipoise, or between about 5000 and 45 from about 250 mOsm/kg to about 320 mOsm/kg, or from
8000 centipoise.                                                 about 250 mOsm/kg to about 350 mOsm/kg or from about
   In some embodiments, the compositions described herein        280 mOsm/kg to about 320 mOsm/kg. In some embodi-
are low viscosity compositions at body temperature. In some      ments, a composition described herein has a practical osmo-
embodiments, low viscosity compositions contain from             larity of about 100 mOsm/L to about 1000 mOsm/L, about
about 1% to about 10% of a viscosity enhancing agent (e.g., so50 200 mOsm/L to about 800 mOsm/L, about 250 mOsm/L to
gelling components such as polyoxyethylene-polyoxypro-           about 500 mOsm/L, about 250 mOsm/L to about 350
pylene copolymers). In some embodiments, low viscosity           mOsm/L, about 250 mOsm/L to about 320 mOsm/L, or
compositions contain from about 2% to about 10% of a             about 280 mOsm/L to about 320 mOsm/L.
viscosity enhancing agent (e.g., gelling components such as         In some embodiments, suitable tonicity adjusting agents
polyoxyethylene-polyoxypropylene copolymers). In some 55 include, but are not limited to any pharmaceutically accept-
embodiments, low viscosity compositions contain from             able sugar, salt or any combinations or mixtures thereof,
about 5% to about 10% of a viscosity enhancing agent (e.g.,      such as, but not limited to dextrose, glycerin, mannitol,
gelling components such as polyoxyethylene-polyoxypro-           sorbitol, sodium chloride, and other electrolytes. In some
pylene copolymers). In some embodiments, low viscosity           instances, the tonicity adjusting agent is selected from
compositions are substantially free of a viscosity enhancing 60 sodium chloride, sodium nitrate, sodium sulfate, sodium
agent (e.g., gelling components such as polyoxyethylene-         bisulfate, potassium chloride, calcium chloride, magnesium
polyoxypropylene copolymers). In some embodiments, a             chloride, zinc chloride, potassium acetate, sodium acetate,
low viscosity ophthalmic agent composition described             sodium bicarbonate, sodium carbonate, sodium thiosulfate,
herein provides an apparent viscosity of from about 100 cP       magnesium sulfate, disodium hydrogen phosphate, sodium
to about 10,000 cP. In some embodiments, a low viscosity 65 dihydrogen phosphate, potassium dihydrogen phosphate,
ophthalmic agent composition described herein provides an        dextrose, mannitol, sorbitol, dextrose, sucrose, urea, propyl-
apparent viscosity of from about 500 cP to about 10,000 cP.      ene glycol, glycerin, trehalose, or a combination thereof
                                                                                                                     thereof.


                                                      Appx000200
                                                      Appx000200                      Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 38
                                                                                                                  38 of
                                                                                                                     of 65
                                                                                                                        65
               Case: 23-2402               Document: 15               Page: 257            Filed: 02/01/2024


                                                    US 10,842,787 B2
                             45                                                                  46
   In some embodiment, the ophthalmic compositions                 tics (2006), 312(1-2):144-50) are amenable to sterilization
described herein include one or more salts in an amount            by filtration through 0.22      filters without destroying their
required to bring osmolality of the composition into an            organized structure.
acceptable range. Such salts include those having sodium,             In some embodiments, the methods disclosed herein
potassium or ammonium cations and chloride, citrate, ascor- 5 comprise sterilizing the formulation (or components thereof)
bate, borate, phosphate, bicarbonate, sulfate, thiosulfate or      by means of filtration sterilization. In ophthalmic gel com-
bisulfite anions; suitable salts include sodium chloride,          positions that includes thermosetting polymers, filtration is
potassium chloride, sodium thiosulfate, sodium bisulfite and       carried out below (e.g. about 5° C.) the gel temperature
ammonium sulfate.                                                  (Tgel) of a formulation described herein and with viscosity
                                                                10 that allows for filtration in a reasonable time using a peri-
   Sterility
                                                                   staltic pump (e.g. below a theoretical value of 100 cP).
   In some embodiments, the compositions are sterilized.
                                                                      Accordingly, provided herein are methods for sterilization
Included within the embodiments disclosed herein are
                                                                   of ophthalmic formulations that prevent degradation of
means and processes for sterilization of a pharmaceutical          polymeric components (e.g., thermosetting and/or other
composition disclosed herein for use in humans. The goal is 15 viscosity enhancing agents) and/or the ophthalmic agent
to provide a safe pharmaceutical product, relatively free of       during the process of sterilization. In some embodiments,
infection causing micro-organisms. The U. S. Food and              degradation of the ophthalmic agent (e.g., a muscarinic
Drug Administration has provided regulatory guidance in            antagonist such as atropine or atropine sulfate) is reduced or
the publication "Guidance for Industry: Sterile Drug Prod-         eliminated through the use of specific pD ranges for buffer
ucts Produced by Aseptic Processing" available at: http:// 20 components and specific proportions of viscosity enhancing
www.fda.gov/cder/guidance/5882fnl.htm, which is incorpo-           agents in the formulations. In some embodiments, the choice
rated herein by reference in its entirety.                         of an appropriate viscosity enhancing agents or thermoset-
   As used herein, sterilization means a process used to           ting polymer allows for sterilization of formulations
destroy or remove microorganisms that are present in a             described herein by filtration. In some embodiments, the use
product or packaging. Any suitable method available for 25 of an appropriate thermosetting polymer or other viscosity
sterilization of objects and compositions is used. Available       enhancing agents in combination with a specific pD range
methods for the inactivation of microorganisms include, but        for the formulation allows for high temperature sterilization
are not limited to, the application of extreme heat, lethal        of formulations described with substantially no degradation
chemicals, or gamma radiation. In some embodiments, a              of the therapeutic agent or the polymeric excipients. An
process for the preparation of an ophthalmic formulation 30 advantage of the methods of sterilization provided herein is
comprises subjecting the formulation to a sterilization            that, in certain instances, the formulations are subjected to
method selected from heat sterilization, chemical steriliza-       terminal sterilization via autoclaving without any loss of the
tion, radiation sterilization or filtration sterilization. The     ophthalmic agent and/or excipients and/or viscosity enhanc-
method used depends largely upon the nature of the device          ing agents during the sterilization step and are rendered
or composition to be sterilized. Detailed descriptions of 35 substantially free of microbes and/or pyrogens.
many methods of sterilization are given in Chapter 40 of              Radiation. Sterilization
Remington: The Science and Practice of Pharmacy pub-                  One advantage of radiation sterilization is the ability to
lished by Lippincott, Williams & Wilkins, and is incorpo-          sterilize many types of products without heat degradation or
rated by reference with respect to this subject matter.            other damage. The radiation commonly employed is beta
   Filtration                                                   40 radiation or alternatively, gamma radiation from a 'Co
   Filtration sterilization is a method used to remove but not     source. The penetrating ability of gamma radiation allows its
destroy microorganisms from solutions. Membrane filters            use in the sterilization of many product types, including
are used to filter heat-sensitive solutions. Such filters are      solutions, compositions and heterogeneous mixtures. The
thin, strong, homogenous polymers of mixed cellulosic              germicidal effects of irradiation arise from the interaction of
esters (MCE), polyvinylidene fluoride (PVF; also known as 45 gamma radiation with biological macromolecules. This
PVDF), or polytetrafluoroethylene (PTFE) and have pore             interaction generates charged species and free-radicals. Sub-
sizes ranging from 0.1 to 0.22 ❑m. Solutions of various            sequent chemical reactions, such as rearrangements and
characteristics are optionally filtered using different filter     cross-linking processes, result in the loss of normal function
membranes. For example, PVF and PTFE membranes are                 for these biological macromolecules. The formulations
well suited to filtering organic solvents while aqueous solu- so described herein are also optionally sterilized using beta
tions are filtered through PVF or MCE membranes. Filter            irradiation.
apparatus are available for use on many scales ranging from           Sterilization by Heat
the single point-of-use disposable filter attached to a syringe       Many methods are available for sterilization by the appli-
up to commercial scale filters for use in manufacturing            cation of high heat. One method is through the use of a
plants. The membrane filters are sterilized by autoclave or 55 saturated steam autoclave. In this method, saturated steam at
chemical sterilization. Validation of membrane filtration          a temperature of at least 121° C. is allowed to contact the
systems is performed following standardized protocols (Mi-         object to be sterilized. The transfer of heat is either directly
crobiological Evaluation of Filters for Sterilizing Liquids,       to the microorganism, in the case of an object to be steril-
Vol 4, No. 3. Washington, D.C.: Health Industry Manufac-           ized, or indirectly to the microorganism by heating the bulk
turers Association, 1981) and involve challenging the mem- 60 of an aqueous solution to be sterilized. This method is
brane filter with a known quantity (ca. 107/cm2) of unusually      widely practiced as it allows flexibility, safety and economy
small microorganisms, such as Brevundimonas diminuta               in the sterilization process.
(ATCC 19146).                                                         Microorganisms
   Pharmaceutical compositions are optionally sterilized by           In some embodiments, the compositions are substantially
passing through membrane filters. Formulations comprising 65 free of microorganisms. Acceptable bioburden or sterility
nanoparticles (U.S. Pat. No. 6,139,870) or multilamellar           levels are based on applicable standards that define thera-
vesicles (Richard et al., International Journal of Pharmaceu-      peutically acceptable compositions, including but not lim-


                                                       Appx000201
                                                       Appx000201                        Eyenovia Exhibit
                                                                                         Eyenovia Exhibit 1001,
                                                                                                          1001, Page
                                                                                                                Page 39
                                                                                                                     39 of
                                                                                                                        of 65
                                                                                                                           65
               Case: 23-2402                Document: 15              Page: 258            Filed: 02/01/2024


                                                    US 10,842,787 B2
                             47                                                                   48
ited to United States Pharmacopeia Chapters <1111> et seq.            molecule found in the cell wall of gram-negative bacteria.
For example, acceptable sterility (e.g., bioburden) levels            While sterilization procedures such as autoclaving or treat-
include about 10 colony forming units (cfu) per gram of               ment with ethylene oxide kill the bacteria, the LPS residue
formulation, about 50 cfu per gram of formulation, about              induces a proinflammatory immune response, such as septic
100 cfu per gram of formulation, about 500 cfu per gram of 5 shock. Because the molecular size of endotoxins varies
formulation or about 1000 cfu per gram of formulation. In             widely, the presence of endotoxins is expressed in "endo-
some embodiments, acceptable bioburden levels or sterility            toxin units" (EU). One EU is equivalent to 100 picograms of
for formulations include less than 10 cfu/mL, less than 50            E. coli LPS. In some cases, humans develop a response to as
cfu/mL, less than 500 cfu/mL or less than 1000 cfu/mL                 little as 5 EU/kg of body weight. The bioburden (e.g.,
microbial agents. In addition, acceptable bioburden levels or 10 microbial limit) and/or sterility (e.g., endotoxin level) is
sterility include the exclusion of specified objectionable            expressed in any units as recognized in the art. In certain
microbiological agents. By way of example, specified objec-           embodiments, ophthalmic compositions described herein
tionable microbiological agents include but are not limited           contain lower endotoxin levels (e.g. <4 EU/kg of body
to Escherichia coli (E. coli), Salmonella sp., Pseudomonas            weight of a subject) when compared to conventionally
aeruginosa (P. aeruginosa) and/or other specific microbial 15 acceptable endotoxin levels (e.g., 5 EU/kg of body weight of
agents.                                                               a subject). In some embodiments, the ophthalmic formula-
    An important component of the sterility assurance quality         tion has less than about 5 EU/kg of body weight of a subject.
control, quality assurance and validation process is the              In other embodiments, the ophthalmic formulation has less
method of sterility testing. Sterility testing, by way of             than about 4 EU/kg of body weight of a subject. In additional
example only, is performed by two methods. The first is 20 embodiments, the ophthalmic formulation has less than
direct inoculation wherein a sample of the composition to be          about 3 EU/kg of body weight of a subject. In additional
tested is added to growth medium and incubated for a period           embodiments, the ophthalmic formulation has less than
of time up to 21 days. Turbidity of the growth medium                 about 2 EU/kg of body weight of a subject.
indicates contamination. Drawbacks to this method include                 In some embodiments, the ophthalmic formulation has
the small sampling size of bulk materials which reduces 25 less than about 5 EU/kg of formulation. In other embodi-
sensitivity, and detection of microorganism growth based on           ments, the ophthalmic formulation has less than about 4
a visual observation. An alternative method is membrane               EU/kg of formulation. In additional embodiments, the oph-
filtration sterility testing. In this method, a volume of             thalmic formulation has less than about 3 EU/kg of formu-
product is passed through a small membrane filter paper. The          lation. In some embodiments, the ophthalmic formulation
filter paper is then placed into media to promote the growth 30 has less than about 5 EU/kg Product. In other embodiments,
of microorganisms. This method has the advantage of                   the ophthalmic formulation has less than about 1 EU/kg
greater sensitivity as the entire bulk product is sampled. The        Product. In additional embodiments, the ophthalmic formu-
commercially available Millipore Steritest sterility testing          lation has less than about 0.2 EU/kg Product. In some
system is optionally used for determinations by membrane              embodiments, the ophthalmic formulation has less than
filtration sterility testing. For the filtration testing of creams 35 about 5 EU/g of unit or Product. In other embodiments, the
or ointments Steritest filter system No. TLHVSL210 are                ophthalmic formulation has less than about 4 EU/g of unit or
used. For the filtration testing of emulsions or viscous              Product. In additional embodiments, the ophthalmic formu-
products Steritest filter system No. TLAREM210 or TDA-                lation has less than about 3 EU/g of unit or Product. In some
REM210 are used. For the filtration testing of pre-filled             embodiments, the ophthalmic formulation has less than
syringes Steritest filter system No. TTHASY210 are used. 40 about 5 EU/mg of unit or Product. In other embodiments, the
For the filtration testing of material dispensed as an aerosol        ophthalmic formulation has less than about 4 EU/mg of unit
or foam Steritest filter system No. TTHVA210 are used. For            or Product. In additional embodiments, the ophthalmic for-
the filtration testing of soluble powders in ampoules or vials        mulation has less than about 3 EU/mg of unit or Product. In
Steritest filter system No. TTHADA210 or TTHADV210                    certain embodiments, ophthalmic formulations described
are used.                                                          45 herein contain from about 1 to about 5 EU/mL of formula-
    Testing for E. coli and Salmonella includes the use of            tion. In certain embodiments, ophthalmic formulations
lactose broths incubated at 30-35° C. for 24-72 hours,                described herein contain from about 2 to about 5 EU/mL of
incubation in MacConkey and/or EMB agars for 18-24                    formulation, from about 3 to about 5 EU/mL of formulation,
hours, and/or the use of Rappaport medium. Testing for the            or from about 4 to about 5 EU/mL of formulation.
detection of P. aeruginosa includes the use of NAC agar. so               In certain embodiments, ophthalmic compositions
United States Pharmacopeia Chapter <62> further enumer-               described herein contain lower endotoxin levels (e.g. <0.5
ates testing procedures for specified objectionable microor-          EU/mL of formulation) when compared to conventionally
ganisms.                                                              acceptable endotoxin levels (e.g., 0.5 EU/mL of formula-
    In certain embodiments, the ophthalmic formulation                tion). In some embodiments, the ophthalmic formulation has
described herein has less than about 60 colony forming units 55 less than about 0.5 EU/mL of formulation. In other embodi-
(CFU), less than about 50 colony forming units, less than             ments, the ophthalmic formulation has less than about 0.4
about 40 colony forming units, or less than about 30 colony           EU/mL of formulation. In additional embodiments, the
forming units of microbial agents per gram of formulation.            ophthalmic formulation has less than about 0.2 EU/mL of
In certain embodiments, the ophthalmic formulations                   formulation.
described herein are formulated to be isotonic with the eye. 60           Pyrogen detection, by way of example only, is performed
    Endotoxins                                                        by several methods. Suitable tests for sterility include tests
    An additional aspect of the sterilization process is the          described in United States Pharmacopoeia (USP)<71> Ste-
removal of by-products from the killing of microorganisms             rility Tests (23rd edition, 1995). The rabbit pyrogen test and
(hereinafter, "Product"). The process of depyrogenation               the Limulus amebocyte lysate test are both specified in the
removes pyrogens from the sample. Pyrogens are endotox- 65 United States Pharmacopeia Chapters <85> and <151>
ins or exotoxins which induce an immune response. An                  (USP23/NF 18, Biological Tests, The United States Phar-
example of an endotoxin is the lipopolysaccharide (LPS)               macopeial Convention, Rockville, Md., 1995). Alternative


                                                        Appx000202
                                                        Appx000202                        Eyenovia Exhibit
                                                                                          Eyenovia Exhibit 1001,
                                                                                                           1001, Page
                                                                                                                 Page 40 of 65
                                                                                                                      40 of 65
              Case: 23-2402                Document: 15              Page: 259           Filed: 02/01/2024


                                                   US 10,842,787 B2
                             49                                                                 50
pyrogen assays have been developed based upon the mono-            ing agent is a polymer. In some instances, the polymer a
cyte activation-cytokine assay. Uniform cell lines suitable        synthetic polymer (i.e., a polymer not produced in nature).
for quality control applications have been developed and           In other embodiments, the polymer is a natural polymer
have demonstrated the ability to detect pyrogenicity in            (e.g., a protein, polysaccharide, rubber). In certain embodi-
samples that have passed the rabbit pyrogen test and the 5 ments, the polymer is a surface active polymer. In certain
Limulus amebocyte lysate test (Taktak et al, J. Pharm.             embodiments, the polymer is a non-ionic polymer. In certain
Pharmacol. (1990), 43:578-82). In an additional embodi-            embodiments, the polymer is a non-ionic block copolymer.
ment, the ophthalmic formulation is subject to depyrogena-         In some embodiments, the polymer is a diblock copolymer,
tion. In a further embodiment, the process for the manufac-        a triblock copolymer, e.g., e.g., where one block is a
ture of the ophthalmic formulation comprises testing the 10 hydrophobic polymer and another block is a hydrophilic
formulation for pyrogenicity. In certain embodiments, the          polymer. In some embodiments, the polymer is charged or
formulations described herein are substantially free of pyro-      uncharged.
gens.                                                                 Additional examples of suitable polymers include, but are
   Ophthalmic Muscarinic Antagonist-Mucus Penetrating              not limited to, polyamines, polyethers, polyamides, polyes-
Particle (MPP) Composition                                      15 ters, polycarbamates, polyureas, polycarbonates, polysty-
   Mucus-penetrating particles (MPPs) are particles that           renes, polyimides, polysulfones, polyurethanes, polyacety-
rapidly traverse mucus (e.g. human mucus). In some cases,          lenes, polyethylenes, polyethyeneimines, polyisocyanates,
MPPs comprise of a nanoparticle with a particle size of            polyacrylates, polymethacrylates, polyacrylonitriles, and
between about 200 nm and 500 nm. In some instances, the            polyarylates. Non-limiting examples of specific polymers
nanoparticle is further coated with a mucus penetrating 20 include poly(caprolactone) (PCL), ethylene vinyl acetate
agent. In some instances, a composition described herein is        polymer (EVA), poly(lactic acid) (PLA), poly(L-lactic acid)
formulated with MPPs for mucus penetration. In some                (PLLA), poly(glycolic acid) (PGA), poly(lactic acid-co-
instances, an ophthalmic agent composition described herein        glycolic acid) (PLGA), poly(L-lactic acid-co-glycolic acid)
is formulated with MPPs for mucus penetration. In some             (PLLGA), poly(D,L-lactide) (PDLA), poly(L-lactide)
instances, the ophthalmic agent is a muscarinic antagonist. 25 (PLLA), poly(D,L-lactide-co-caprolactone), poly(D,L-lac-
In some instances, a muscarinic antagonist composition             tide-co-caprolactone-co-glycolide),      poly(D,L-lactide-co-
described herein is formulated with MPPs for mucus pen-            PEO-co-D,L-lactide),       poly(D,L-lactide-co-PPO-co-D,L-
etration. In some instances, a muscarinic antagonist com-          lactide), polyalkyl cyanoacrylate, polyurethane, poly-L-
prises atropine, atropine sulfate, noratropine, atropine-N-        lysine (PLL), hydroxypropyl methacrylate (HPMA), poly
oxide, tropine, tropic acid, atropine methonitrate, 30 (ethylene glycol), poly-L-glutamic acid, poly(hydroxy
diphenhydramine, dimenhydrinate, dicyclomine, flavoxate,           acids), polyanhydrides, polyorthoesters, poly(ester amides),
oxybutynin, tiotropium, hyoscine, scopolomine (L-hyos-             polyamides, poly(ester ethers), polycarbonates, polyalky-
cine), hydroxyzine, ipratropium, tropicamide, cyclopento-          lenes such as polyethylene and polypropylene, polyalkylene
late, pirenzapine, homatropine, solifenacin, darifenacin,          glycols such as poly(ethylene glycol) (PEG), polyalkylene
benzatropine, mebeverine, procyclidine, aclidinium bro- 35 oxides (PEO), polyalkylene terephthalates such as poly
mide, trihexyphenidyl/benzhexol, or tolterodine. In some           (ethylene terephthalate), polyvinyl alcohols (PVA), polyvi-
instances, a muscarinic antagonist is atropine or its pharma-      nyl ethers, polyvinyl esters such as poly(vinyl acetate),
ceutically acceptable salt thereof. In some instances, a           polyvinyl halides such as poly(vinyl chloride) (PVC), poly-
muscarinic antagonist is atropine sulfate. In some instances,      vinylpyrrolidone, polysiloxanes, polystyrene (PS), polyure-
an atropine composition described herein is formulated with 40 thanes, derivatized celluloses such as alkyl celluloses,
MPPs for mucus penetration. In some instances, an atropine         hydroxyalkyl celluloses, cellulose ethers, cellulose esters,
sulfate composition described herein is formulated with            nitro celluloses, hydroxypropylcellulose, carboxymethylcel-
MPPs for mucus penetration. In a non-limiting example, the         lulose, polymers of acrylic acids, such as poly(methyl(meth)
MMPs for use in the disclosed composition is obtained from         acrylate) (PMMA), poly(ethyl(meth)acrylate), poly(butyl
Kala Pharmaceuticals, Inc. (100 Beaver Street #201, 45 (meth)acrylate), poly(isobutyl(meth)acrylate), poly(hexyl
Waltham, Mass. 02453).                                             (meth)acrylate), poly(isodecyl(meth)acrylate), poly(lauryl
   In some embodiments, the nanoparticle comprises of any          (meth)acrylate), poly(phenyl(meth)acrylate), poly(methyl
suitable material, such as an organic material, an inorganic       acrylate), poly(isopropyl acrylate), poly(isobutyl acrylate),
material, a polymer, or combinations thereof. In some              poly(octadecyl acrylate) (jointly referred to herein as "poly-
instances, the nanoparticle comprises of inorganic material, 50 acrylic acids"), and copolymers and mixtures thereof, poly-
such as for example, a metal (e.g., Ag, Au, Pt, Fe, Cr, Co, Ni,    dioxanone and its copolymers, polyhydroxyalkanoates,
Cu, Zn, and other transition metals), a semiconductor (e.g.,       polypropylene fumarate), polyoxymethylene, poloxamers,
silicon, silicon compounds and alloys, cadmium selenide,           poly(ortho)esters, poly(butyric acid), poly(valeric acid),
cadmium sulfide, indium arsenide, and indium phosphide),           poly(lactide-co-caprolactone), and trimethylene carbonate,
or an insulator (e.g., ceramics such as silicon oxide). In some 55 polyvinylpyrrolidone.
instances, the nanoparticle comprises organic materials such          In some cases, an ophthalmic agent (e.g. a muscarinic
as a synthetic polymer and/or a natural polymer. Examples          antagonist such as atropine or atropine sulfate) is present in
of synthetic polymers include non-degradable polymers              the MPP formulation at a concentration of between about
such as polymethacrylate and degradable polymers such as           0.001 wt % and about 0.05 wt %, between about 0.005% to
polylactic acid, polyglycolic acid and copolymers thereof. 60 about 0.050%, between about 0.010% to about 0.050%,
Examples of natural polymers include hyaluronic acid, chi-         between about 0.015% to about 0.050%, between about
tosan, and collagen.                                               0.020% to about 0.050%, between about 0.025% to about
   In some embodiments, the nanoparticle is coated with a          0.050%, between about 0.030% to about 0.050%, between
mucus penetrating agent. In some instances, the mucus              about 0.035% to about 0.050%, between about 0.040% to
penetrating agent comprises any suitable material, such as a 65 about 0.050%, or between about 0.045% to about 0.050% of
hydrophobic material, a hydrophilic material, and/or an            the ophthalmic agent, or pharmaceutically acceptable prod-
amphiphilic material. In some instances, the mucus penetrat-       rug or salt thereof, by weight of the composition. In some


                                                       Appx000203
                                                       Appx000203                       Eyenovia Exhibit
                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 41 of 65
                                                                                                                    41 of 65
              Case: 23-2402                Document: 15              Page: 260            Filed: 02/01/2024


                                                   US 10,842,787 B2
                             51                                                                 52
instances, additional agents such as buffers, pD adjusting        agent-MPP composition is formulated using a method as
agents, and/or preservatives are formulated in the MPP            described in WO2013/166385. In some instances, an oph-
formulation.                                                      thalmic agent-MPP composition is formulated using a
   In some instances, ophthalmic agent-MPP composition is         method as described in Lai et al., "Rapid transport of large
formulated using any suitable method. In some embodi- 5 polymeric nanoparticles in fresh undiluted human mucus,"
ments, a milling process is used to reduce the size of a solid    PNAS 104(5):1482-1487 (2007). In some instances, the
material to form particles in the micrometer to nanometer         ophthalmic agent is a muscarinic antagonist such as atropine
size range. In some cases, dry and wet milling processes          or atropine sulfate.
such as jet milling, cryo-milling, ball milling, media milling,      Muscarinic Antagonist-Othphalmic Delivery Devices and
and homogenization are known and are used in methods 10 Delivery System
described herein. Generally, in a wet milling process, a             In some embodiments, a muscarinic antagonist described
suspension of the material to be used as the nanoparticle is      herein is delivered to a target site by an othphalmic delivery
mixed with milling media with or without excipients to            device. In some cases, the othphalmic delivery device is
reduce particle size. Dry milling is a process wherein the        configured for controlled sustained release of a muscarinic
material to be used as the nanoparticle is mixed with milling 15 antagonist. In some instances, the muscarinic antagonist
media with or without excipients to reduce particle size. In      comprises atropine, atropine sulfate, noratropine, atropine-
a cryo-milling process, a suspension of the material to be        N-oxide, tropine, tropic acid, hyoscine, scopolomine, tropi-
used as the nanoparticle is mixed with milling media with or      camide, cyclopentolate, pirenzapine, homatropine, or a com-
without excipients under cooled temperatures.                     bination thereof. In some cases, the muscarinic antagonist
   In some embodiments, any suitable grinding medium is 20 comprises atropine or atropine sulfate.
used for milling. In some embodiments, a ceramic and/or              In some embodiments, an othphalmic delivery device
polymeric material and/or a metal is used. Examples of            comprises a punctal plug, a scleral patch, a scleral ring, a
suitable materials include zirconium oxide, silicon carbide,      Cul-de sac insert, a subconjunctival/episcleral implant, an
silicon oxide, silicon nitride, zirconium silicate, yttrium       intravitreal implant, or a non-invasive delivery device. In
oxide, glass, alumina, alpha-alumina, aluminum oxide, poly- 25 some instances, a non-invasive delivery device comprises
styrene, poly(methyl methacrylate), titanium, steel. In some      topical ophthalmic drug delivery device (TODD) or a con-
cases, a grinding medium has any suitable size. For example,      tact lens. In some instances, the othphalmic delivery device
the grinding medium has an average diameter of at least           is a biodegradable othphalmic delivery device. In other
about 0.1 mm, at least about 0.2 mm, at least about 0.5 mm,       instances, the othphalmic delivery device is a non-biode-
at least about 0.8 mm, at least about 1 mm, at least about 2 30 gradable othphalmic delivery device. In some cases, the
mm, or at least about 5 mm. In some cases, the grinding           biodegradable othphalmic delivery device is configured for
medium has an average diameter of less than or equal to           controlled sustained release of a muscarinic antagonist. In
about 5 mm, less than or equal to about 2 mm, less than or        other cases, the non-biodegradable othphalmic delivery
equal to about 1 mm, less than or equal to about 0.8, less        device is configured for controlled sustained release of a
than or equal to about 0.5 mm, or less than or equal to about 35 muscarinic antagonist.
0.2 mm. Combinations of the above-referenced ranges are              In some instances, an othphalmic delivery device com-
also possible (e.g. an average diameter of at least about 0.5     prises a core or reservoir which comprises a muscarinic
millimeters and less than or equal to about 1 mm). Other          antagonist (e.g., atropine or atropine sulfate) and is config-
ranges are also possible.                                         ured for a controlled sustained release of the muscarinic
   In some embodiments, any suitable solvent are used for 40 antagonist. In some cases, the muscarinic antagonist is
milling. In some cases, the choice of solvent is depend on        formulated within the core or reservoir as a solution, a gel,
factors such as the solid material (e.g., a muscarinic antago-    or in a solid form. In other embodiments, a muscarinic
nist such as atropine) being milled, the particular type of       antagonist (e.g., atropine or atropine sulfate) is dispersed
stabilizer/mucus penetrating agent being used (e.g., one that     (e.g., uniformaly) within the material of the othphalmic
renders the particle mucus penetrating), the grinding mate- 45 delivery device, and is configured for a controlled sustained
rial be used, among other factors. In some cases, suitable        release of the mustcarinic antagonist. In some instances, the
solvents are ones that do not substantially dissolve the solid    othphalmic delivery device is a punctal plug, a scleral patch,
material or the grinding material, but dissolve the stabilizer/   a scleral ring, a Cul-de sac insert, a subconjunctival/epis-
mucus penetrating agent to a suitable degree. Non-limiting        cleral implant, an intravitreal implant, or a non-invasive
examples of solvents include, but are not limited to, water, so delivery device.
buffered solutions, other aqueous solutions, alcohols (e.g.,         Punctal Plug
ethanol, methanol, butanol), and mixtures thereof that               A punctal plug or tear duct plug is an ocular device that
optionally include other components such as pharmaceutical        in some cases is inserted into the tear duct (or puncta) of an
excipients, polymers, pharmaceutical agents, salts, preser-       eye. In some instances, a punctal plug is used for the
vative agents, viscosity modifiers, tonicity modifier, taste 55 delivery of an ophthalmic composition, for example, an
masking agents, antioxidants, pD modifier, and other phar-        ophthalmic composition described herein. In some cases, a
maceutical excipients. In other embodiments, an organic           punctal plug is used for the delivery of a muscarinic antago-
solvent is used. In some cases, a pharmaceutical agent (e.g.      nist formulated in deuterated water. In additional cases, a
a muscarinic antagonist such as atropine) has any suitable        punctal plug is used for the delivery of atrophic or atropine
solubility in these or other solvents, such as a solubility in 60 sulfate formulated in deuterated water.
one or more of the ranges described above for aqueous                In some instances, a punctal plug is used for controlled
solubility or for solubility in a coating solution.               sustained release of a muscarinic antagonist (e.g., atropine or
   In some instances, a MPP is a MPP as described in              atropine sulfate). In some cases, the period of controlled
WO2013/166385. In some instances, a MPP is a MPP as               sustained release is, for example, up to 1, 2, 3, 4, 5, 6, 7, 8,
described in Lai et al., "Rapid transport of large polymeric 65 9, 10, 11, 12, 13, 14, 15, 30, 45, 60 days or longer. In some
nanoparticles in fresh undiluted human mucus," PNAS               instances, the period of controlled sustained release is, for
104(5):1482-1487 (2007). In some instances, an ophthalmic         example, up to 7 days. In some cases, the period of con-


                                                       Appx000204
                                                       Appx000204                       Eyenovia Exhibit
                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 42 of 65
                                                                                                                    42 of 65
              Case: 23-2402               Document: 15              Page: 261            Filed: 02/01/2024


                                                  US 10,842,787 B2
                             53                                                                54
trolled sustained release is, for example, up to 14 days. In      fluid results in controlled sustained release of the drug by
some cases, the period of controlled sustained release is, for    bioerosion of the matrix. In such cases, the drug is dispersed
example, up to 1 month.                                           uniformly throughout the matrix but it is believed a more
   In some embodiments, a punctal plug comprises a core or        controlled release is obtained if the drug is superficially
reservoir which comprises a muscarinic antagonist (e.g., 5 concentrated in the matrix.
atropine or atropine sulfate) and is configured for a con-           Examples of bioerodible matrix materials include poly-
trolled sustained release of the muscarinic antagonist. In        esters of the general formula O (W) CO and mix-
other embodiments, a muscarinic antagonist (e.g., atropine        ture thereof, wherein W is a lower alkylene of 1 to 7 carbons
or atropine sulfate) is dispersed within the punctal plug         and may include a member selected from the group of
material, and is configured for a controlled sustained release 10 alkylenes of the formula CH2 , or CH CH2 , and
of the mustcarinic antagonist.                                    Y has a value such that the molecular weight of the polymer
   In some embodiments, a punctal plug described herein           is from about 4,000 to 100,000. The polymers are polym-
utilizes a diffusion mechanism for the delivery of a musca-       erization-condensation products of monobasic hydroxy acid
rinic antagonist (e.g., atropine or atropine sulfate). In some    of the formula C, H 2, (OH)COOH wherein n has a value of
instances, the configuration of the punctal plug is tubular 15 1 to 7, preferably 1 or 2 and the acid is especially lactic acid
with its cylindrical wall closed by transverse end walls to       or glycolic acid. Also included are copolymers derived from
define a reservoir for the muscarinic antagonist (either in       mixtures of these acids. Bioerodible materials also include
liquid or gel form). In some cases, at least the cylindrical      poly(orthoesters). These materials have the following gen-
wall is a membrane permeable by diffusion so that the             eral formula:
muscarinic antagonist is released continuously at a con- 20
trolled rate through the membrane into the tear fluid.
   Exemplary materials for a permeable membrane for the                                           O    RI
diffusion mechanism include insoluble microporous mate-
rials of polycarbonates, polyvinyl chlorides, polyamides,                                         O
                                                                                                     R2
copolymers of polyvinyl chloride and acrylonitrile, polysul- 25
phones, polyvinylidene fluorides, polyvinyl fluorides, poly-
chloroethers, polyformaldehydes, acrylic resins, polyure-
thanes,     polyimides,     polybenzimadozoles,      polyvinyl    wherein R, is an alkylene of 4 to 12 carbons, a cycloalkylene
acetates, polyethers, cellulose esters, porous rubbers, cross-    of 5 to 6 carbons substituted with an alkylene of 1 to 7
linked poly(ethylene oxide), cross-linked polyvinyl pyrroli- 30 carbons and an alkyleneoxy of 1 to 7 carbons, and R 2 is a
done, cross-linked poly(vinyl alcohol) and polystyrenes.          lower alkyl of 1 to 7 carbons.
   In some embodiments, a punctal plug described herein              Additional bioerodible matrix materials include: (1) Poly-
utilizes an osmosis mechanism for the delivery of a musca-        anhydrides such as polyp-carboxyphenoxy)
                                                                                          poly(p-carboxyphenoxy) alkyl (e.g.
rinic antagonist (e.g., atropine or atropine sulfate). In some    p-carboxyphenoxypropane) or polymeric fatty acid dimer
cases, the configuration of the punctal plug is tubular with 35 (e.g. poly-dodecanedioic acid) compounds and further co-
domed end walls, and the device comprises a transverse            polymers with sebacic acid, or phthalic acid such as dis-
impermeable elastic membrane dividing the tubular interior        closed in Chasin et al., Polyanhdrides for Controlled Drug
of the device into a first compartment and a second com-          Delivery, Biopharm., February 1988, 33-46; and Lee et al.
partment; the first compartment is bounded by a semi-             (1988), The Use of Bioerodible Polymers and 5 fluorouracil
permeable membrane and the impermeable elastic mem- 40 in Glaucoma Filtration Surgery, Invest. Ophthalmol. Vis.
brane, and the second compartment is bounded by an                Sci., 29, 1692-1697; (2) Poly (alkyl-2-cyanoacrylates) such
impermeable material and the elastic membrane. In some            as poly (hexyl-2-cyanoacrylate) as described by Douglas et
cases, a drug release aperture is included in the impermeable     al. (1987). Nanoparticles in Drug Delivery. CRC Crit. Rev.
end wall of the device. When the device is placed in the          Therap. Drug Carr. System., 3, 233-261: and (3) Polyamino
aqueous environment of the eye water diffuses into the first 45 acids such as copolymers of leucine and methyl glutamate.
compartment and stretches the elastic membrane to expand             In some cases, a punctal plug described herein comprises
the first compartment and contract the second compartment         a solid non-erodible rod with pores. In some instances, the
so that the drug is forced through the drug release aperture.     release of a muscarinic antagonist takes place via diffusion
   Examples of materials for an osmotic semi-permeable            through the pores. In such instances, controlled release is
membrane include cellulose acetate and its derivatives, so further regulated by gradual dissolution of solid dispersed
partial and completely hydrolyzed ethylene-vinyl acetate          drug within this matrix as a result of inward diffusion of
copolymers, highly plasticized polyvinyl chloride, homo-          aqueous solutions.
and copolymers of polyvinyl acetate, polyesters of acrylic           Examples of materials for use as non-erodible rods
acid and methacrylic acid, polyvinyl alkyl ethers, polyvinyl      include polymers such as hydroxyethylmethacrylate and
fluoride; silicone polycarbonates, aromatic nitrogen-con- 55 co-polymers with methacrylic acid, methylmethacrylate,
taining polymeric membranes, polymeric epoxides, copoly-          N-vinyl 2-pyrrolidone, allyl methacrylate, ethylene glycol
mers of an alkylene oxide and alkyl glycidyl ether, poly-         dimethacrylate, ethylene dimethacrylate, or 1,1,1 trimeth-
urethanes, polyglycolic or polyacetic acid and derivatives        ylopropane trimethacrylate, and dimethyl diphenyl methyl-
thereof, derivatives of polystyrene such as poly(sodium           vinyl polysiloxane.
styrenesulfonate) and poly(vinyl benzyltrimethyl-ammo- 60            In some instances, the body of the plug is wholly or
nium chloride), ethylene-vinyl acetate copolymers.                partially transparent or opaque. Optionally, the body
   In some embodiments, a punctal plug described herein           includes a tint or pigment that makes the plug easier to see
utilizes a bioerosion mechanism for the delivery of a mus-        when it is placed in a punctum.
carinic antagonist (e.g., atropine or atropine sulfate). In          In some cases, the surface of the plug body is wholly or
some cases, the configuration of the punctal plug is rod-like 65 partially coated. In some cases, the coating provides one or
being constituted from a matrix of bierodible material in         more of lubriciousness to aid insertion, muco-adhesiveness
which the drug is dispersed. Contact of the device with tear      to improve tissue compatibility, and texture to aid in anchor-


                                                      Appx000205
                                                      Appx000205                       Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 43 of 65
                                                                                                                   43 of 65
               Case: 23-2402                Document: 15               Page: 262           Filed: 02/01/2024


                                                    US 10,842,787 B2
                             55                                                                   56
ing the plug within the punctum. Examples of suitable               sac insert comprising a rod-shaped water soluble insert is a
coatings include, without limitation, gelatin, collagen,            biodegradable insert. An example comprises Lacrisert
hydroxyethyl methacrylate, PVP, PEG, heparin, chondroitin           (Merck).
sulphate, hyaluronic acid, synthetic and natural proteins, and         Subconjunctival/Episcleral Implant
polysaccharides, thiomers, thiolated derivatives of poly- 5            In some embodiments, a muscarinic antagonist described
acrylic acid and chitosan, polyacrylic acid, carboxymethyl          herein is delivered to an eye through a subconjunctival/
cellulose and the like and combinations thereof.                    episcleral implant. In some instances, a subconjunctival/
   In some embodiments, a punctal plug described herein is          episcleral implant is a biodegradable implant. In other
a punctal plug described in U.S. Pat. No. 5,147,647; U.S.           instances, a subconjunctival/episcleral implant is a non-
                                                                 10
Publication No. 2012/0277694; or 2010/0256557.                      biodegradable implant. In additional instances, a subcon-
   In some instances, the size of the opening of the punctal        junctival/episcleral implant is formulated for controlled sus-
plug is from about 0.05 mm to about 2.5 mm. In some                 tained release of one or more of a muscarinic antagonist
instances, it is from about 0.1 mm to about 2.0 mm, or from         described herein. In some cases, a subconjunctival/episcleral
about 0.15 mm to about 1 mm.                                     15
                                                                    implant comprises a core or reservoir which comprises a
   In some embodiments, the amount of a muscarinic                  muscarinic antagonist (e.g., atropine or atropine sulfate), and
antagonist (e.g., atropine or atropine sulfate) used in the         the muscarinic antagonist is formulated within the core or
plugs depends upon the muscarinic antagonist selected, the          reservoir as a solution, a gel, or in a solid form. In other
desired doses to be delivered via the punctal plug, the             embodiments, a muscarinic antagonist (e.g., atropine or
desired release rate, and the melting points of the muscarinic 20 atropine sulfate) is dispersed (e.g., uniformaly) within the
antagonist and muscarinic antagonist-containing material.           material of the subconjunctival/episcleral implant. Exem-
   Scleral Patch or Scleral Ring                                    plary subconjunctival/episcleral implants include LX201
   In some embodiments, a muscarinic antagonist described           (Lux Biosciences Inc.), an episcleral implant from 3T Oph-
herein is delivered to an eye through a scleral patch or a          thalmics, or a subconjunctival insert from Pfizer.
scleral ring. In some instances, a scleral patch or a scleral 25       Intravitreal Implants
ring is a biodegradable scleral patch or scleral ring. In other        In some embodiments, a muscarinic antagonist described
instances, a scleral patch or a scleral ring is a non-biode-        herein is delivered to an eye through an intravitreal implant.
gradable scleral patch or scleral ring. In additional instances,    In some instances, an intravitreal implant is a biodegradable
a scleral patch or a scleral ring is formulated for controlled      implant. In other instances, an intravitreal implant is a
sustained release of one or more of a muscarinic antagonist 30 non-biodegradable implant. In additional instances, an intra-
described herein. In some cases, a scleral patch comprises a        vitreal implant is formulated for controlled sustained release
multi-layered patch in which one or more layer within the           of one or more of a muscarinic antagonist described herein.
patch comprises a muscarinic antagonist described herein. In        In some cases, an intravitreal implant comprises a core or
some cases, a scleral ring comprises a core or reservoir            reservoir which comprises a muscarinic antagonist (e.g.,
which comprises a muscarinic antagonist (e.g., atropine or 35 atropine or atropine sulfate), and the muscarinic antagonist
atropine sulfate), and the muscarinic antagonist is formu-          is formulated within the core or reservoir as a solution, a gel,
lated within the core or reservoir as a solution, a gel, or in      or in a solid form. In other embodiments, a muscarinic
a solid form. In other embodiments, a muscarinic antagonist         antagonist (e.g., atropine or atropine sulfate) is dispersed
(e.g., atropine or atropine sulfate) is dispersed (e.g., uni-       (e.g., uniformaly) within the material of the intravitreal
formly) within the material of the scleral patch or the scleral 40 implant. Exemplary intravitreal implant comprises Dura-
ring.                                                               sertTM technology system (pSivida Corp.) (such as Vitra-
   Cul-De Sac Inserts                                               sert® and Retisert® from Bausch & Lomb Inc, and Iluvien®
   In some embodiments, a muscarinic antagonist described           from Alimera sciences), NovadurTM technology system
herein is delivered to an eye through a Cul-de sac insert. In       (such as Ozurdex® from Allergan), I-VationTM technology
some instances, the Cul-de sac insert comprises a single- 45 system (such as a delivery system developed from SurMod-
layered device comprising muscarinic antagonist dispersed           ics, Inc.), and NT-501 from Neurotech Pharmaceuticals.
within the insert material, or multilayered, solid or semisolid        Non-Invasive Delivery System
consistency insert. In some instances, the Cul-de sac insert           In some embodiments, a non-invasive delivery system
is a biodegradable insert. In other instances, the Cul-de sac       comprises a topical ophthalmic agent delivery device. In
insert is a non-biodegradable insert. In additional instances, so some embodiments, a muscarinic antagonist described
a Cul-de sac insert is formulated for controlled sustained          herein is delivered to an eye through a topical ophthalmic
release of one or more of a muscarinic antagonist described         agent delivery device. In some instances, the topical oph-
herein. In some instances, a Cul-de sac insert comprises a          thalmic agent delivery device comprises a soft elastomer
membrane-hound ocular insert, which comprises of two                drug depot that floats atop the sclera under the eyelid. In
outer layers of a copolymer such as ethylene-vinyl acetate 55 some instances, the topical ophthalmic agent delivery device
copolymer (EVA) and an inner layer comprising a muscar-             is a biodegradable delivery device. In other instances, the
inic antagonist. In some instances, the muscarinic antagonist       topical ophthalmic agent delivery device is a non-biodegrad-
within the inner layer is formulated as a gel or as a solution.     able delivery device. In some cases, the topical ophthalmic
An exemplary membrane-bound ocular insert is Ocuserts               agent delivery device is impregnated with a muscarinic
from Alza Corp.                                                  60 antagonist described herein. In other cases, a muscarinic
   In some cases, a Cul-de sac insert comprises an ocular           antagonist is disperse (e.g., uniformly) in the topical oph-
film or sheath (mucoadhesive film or sheath or collagen             thalmic agent delivery device. In some instances, the topical
shields), a coil, a polymer rod, HEMA hydrogel, or poly-            ophthalmic agent delivery device is formulated for con-
sulfone capillary fiber. In some instances, a Cul-de sac insert     trolled sustained release of the muscarinic antagonist. In
comprises rod-shaped water soluble insert comprising of 65 some instances, an exemplary delivery device is a topical
hydroxypropyl cellulose, a muscarinic antagonist, and one           ophthalmic drug delivery device (TODD) from Amorphex
or more additional excipients. In some instances, the Cul-de        Therapeutics.


                                                        Appx000206
                                                        Appx000206                        Eyenovia Exhibit
                                                                                          Eyenovia Exhibit 1001,
                                                                                                           1001, Page
                                                                                                                 Page 44 of 65
                                                                                                                      44 of 65
              Case: 23-2402                Document: 15              Page: 263           Filed: 02/01/2024


                                                   US 10,842,787 B2
                             57                                                                 58
   In some embodiments, a non-invasive delivery system           num silicates). In certain embodiments, the rheology of the
comprises a contact lens. In some embodiments, a muscar-         compositions disclosed herein is pseudo plastic, plastic,
inic antagonist described herein is delivered to an eye          thixotropic, or dilatant.
through a contact lens. In some instances, the contact lens is      In some embodiments, the ophthalmic composition is an
impregnated with a muscarinic antagonist, for example, in 5 ophthalmic gel, and wherein the ophthalmically acceptable
which the muscarinic antagonist is dispersed, e.g., as col-      carrier comprises water and at least one viscosity-enhancing
loidal structure, within the lens. In other instances, the       agent. In some embodiments, the viscosity-enhancing agent
contact lens is further combined with a muscarinic antago-       is selected from cellulose-based polymers, polyoxyethylene-
nist layer, and is configured for controlled sustained release   polyoxypropylene triblock copolymers, dextran-based poly-
to the eye. Exemplary polymers, e.g., hydrogel copolymers, 10 mers, polyvinyl alcohol, dextrin, polyvinylpyrrolidone,
for making a contact lens include at least one hydrophilic       polyalkylene glycols, chitosan, collagen, gelatin, hyaluronic
monomer and a crosslinking agent (a crosslinker being            acid, or combinations thereof.
defined as a monomer having multiple polymerizable func-            In some embodiment, the ophthalmic gel composition
tionalities). Representative, hydrophilic monomers include:      described herein is a semi-solid or id in a gelled state before
unsaturated carboxylic acids, such as methacrylic acid and 15 it is topically administered (e.g. at room temperature). For
acrylic acid; (meth)acrylic substituted alcohols, such as        example, suitable viscosity-enhancing agents for such gels
2-hydroxyethylmethacrylate and 2-hydroxyethylacrylate;           include by way of example only, gelling agents and sus-
vinyl lactams, such as N-vinyl pyrrolidone; and (meth)           pending agents. In one embodiment, the enhanced viscosity
acrylamides, such as methacrylamide and N,N-dimethyl-            formulation does not include a buffer. In other embodiments,
acrylamide. Typical crosslinking agents include polyvinyl, 20 the enhanced viscosity formulation includes a pharmaceu-
typically di- or tri-vinyl monomers, such as di- or tri(meth)    tically acceptable buffer. Sodium chloride or other tonicity
acrylates of diethyleneglycol, triethyleneglycol, butyle-        agents are optionally used to adjust tonicity, if necessary.
neglycol and hexane-1,6-diol; and divinylbenzene. A spe-            By way of example only, the ophthalmically acceptable
cific example of a hydrogel-forming monomer mixture is           viscosity agent includes hydroxypropyl methylcellulose,
polymacon, composed primarily of 2-hydroxyethylmeth- 25 hydroxyethyl cellulose, polyvinylpyrrolidone, carboxym-
acrylate with a small amount of diethyleneglycol dimeth-         ethyl cellulose, polyvinyl alcohol, sodium chondroitin sul-
acrylate as a crosslinking monomer. Optionally, the mono-        fate, sodium hyaluronate. Other viscosity enhancing agents
mer mixture may include a silicone-containing monomer in         compatible with the targeted ocular site include, but are not
order to form a silicone hydrogel copolymer. Examples of         limited to, acacia (gum arabic), agar, aluminum magnesium
silicone-containing monomers include: monomers including 30 silicate, sodium alginate, sodium stearate, bladderwrack,
a single activated unsaturated radical, such as methacryloxy-    bentonite, carbomer, carrageenan, Carbopol, xanthan, cellu-
propyl tris(trimethylsiloxy)silane, pentamethyldisiloxanyl       lose, microcrystalline cellulose (MCC), ceratonia, chitin,
methylmethacrylate, tris(trimethylsiloxy)methacryloxy pro-       carboxymethylated chitosan, chondrus, dextrose, furcel-
pylsilane,       methyldi(trimethylsiloxy)methacryloxyethyl      laran, gelatin, Ghatti gum, guar gum, hectorite, lactose,
silane, 3-[tris(trimethylsiloxy)silyl]propyl vinyl carbamate, 35 sucrose, maltodextrin, mannitol, sorbitol, honey, maize
and 3-[tris(trimethylsiloxy)silyl]propyl vinyl carbonate; and    starch, wheat starch, rice starch, potato starch, gelatin,
multifunctional ethylenically "end-capped" siloxane-con-         sterculia gum, xanthum gum, gum tragacanth, ethyl cellu-
taining monomers, especially difunctional monomers hav-          lose, ethylhydroxyethyl cellulose, ethylmethyl cellulose,
ing two activated unsaturated radicals. A specific example of    methyl cellulose, hydroxyethyl cellulose, hydroxyethylm-
a silicone hydrogel-forming monomer mixture is balafilcon, 40 ethyl cellulose, hydroxypropyl cellulose, poly(hydroxyethyl
based on N-vinyl pyrrolidone and the aforementioned vinyl        methacrylate), oxypolygelatin, pectin, polygeline, povidone,
carbonate and carbamate monomers, disclosed in U.S. Pat.         propylene carbonate, methyl vinyl ether/maleic anhydride
No. 5,260,000.                                                   copolymer (PVM/MA), poly(methoxyethyl methacrylate),
   Ophthalmic Gel Muscarinic Antagonist Composition              poly(methoxyethoxyethyl methacrylate), hydroxypropyl
   Gels have been defined in various ways. For example, the 45 cellulose, hydroxypropylmethyl-cellulose (HPMC), sodium
United States Pharmacopoeia defines gels as semisolid sys-       carboxymethyl-cellulose (CMC), silicon dioxide, polyvi-
tems consisting of either suspensions made up of small           nylpyrrolidone (PVP: povidone), Splenda® (dextrose,
inorganic particles or large organic molecules interpen-         maltodextrin and sucralose) or combinations thereof In
etrated by a liquid. Gels include a single-phase or a two-       specific embodiments, the viscosity-enhancing excipient is a
phase system. A single-phase gel consists of organic mac- so combination of MCC and CMC. In another embodiment, the
romolecules distributed uniformly throughout a liquid in         viscosity-enhancing agent is a combination of carboxym-
such a manner that no apparent boundaries exist between the      ethylated chitosan, or chitin, and alginate. The combination
dispersed macromolecules and the liquid. Some single-            of chitin and alginate with the ophthalmic agents disclosed
phase gels are prepared from synthetic macromolecules            herein acts as a controlled release formulation, restricting the
(e.g., carbomer) or from natural gums, (e.g., tragacanth). In 55 diffusion of the ophthalmic agents from the formulation.
some embodiments, single-phase gels are generally aque-          Moreover, the combination of carboxymethylated chitosan
ous, but will also be made using alcohols and oils. Two-         and alginate is optionally used to assist in increasing the
phase gels consist of a network of small discrete particles.     permeability of the ophthalmic agents in the eye.
   In some embodiments, gels are also classified as being           In some embodiments is an enhanced viscosity formula-
hydrophobic or hydrophilic. In certain embodiments, the 60 tion, comprising from about 0.1 mM and about 100 mM of
base of a non-limiting example of a hydrophobic gel              an ophthalmic agent, a pharmaceutically acceptable viscos-
includes a liquid paraffin with polyethylene or fatty oils       ity agent, and water for injection, the concentration of the
gelled with colloidal silica, or aluminum or zinc soaps. In      viscosity agent in the water being sufficient to provide an
contrast, the base of a non-limiting example of a hydrophilic    enhanced viscosity formulation with a final viscosity from
gel includes water, glycerol, or propylene glycol gelled with 65 about 100 to about 100,000 cP. In certain embodiments, the
a suitable gelling agent (e.g., tragacanth, starch, cellulose    viscosity of the gel is in the range from about 100 to about
derivatives, carboxyvinylpolymers, and magnesium-alumi-          50,000 cP, about 100 cP to about 1,000 cP, about 500 cP to


                                                       Appx000207
                                                       Appx000207                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 45 of 65
                                                                                                                   45 of 65
              Case: 23-2402                Document: 15              Page: 264            Filed: 02/01/2024


                                                   US 10,842,787 B2
                             59                                                                 60
about 1500 cP, about 1000 cP to about 3000 cP, about 2000          as gelatins and their derivatives, alginates, and alginate-
cP to about 8,000 cP, about 4,000 cP to about 50,000 cP,           based gels, and even various native and synthetic hydrogel
about 10,000 cP to about 500,000 cP, about 15,000 cP to            and hydrogel-derived compounds are all expected to be
about 1,000,000 cP. In other embodiments, when an even             useful in the ophthalmic agent formulations described
more viscous medium is desired, the biocompatible gel 5 herein. In some embodiments, ophthalmically acceptable
comprises at least about 35%, at least about 45%, at least         gels include, but are not limited to, alginate hydrogels
about 55%, at least about 65%, at least about 70%, at least        SAF®-Gel (ConvaTec, Princeton, N.J.), Duoderm® Hydro-
about 75%, or even at least about 80% or so by weight of the       active Gel (ConvaTec), Nu-gel® (Johnson & Johnson Medi-
ophthalmic agent. In highly concentrated samples, the bio-         cal, Arlington, Tex.); Carrasyn® (V) Acemannan Hydrogel
compatible enhanced viscosity formulation comprises at 10 (Carrington Laboratories, Inc., Irving, Tex.); glycerin gels
least about 25%, at least about 35%, at least about 45%, at        Elta® Hydrogel (Swiss-American Products, Inc., Dallas,
least about 55%, at least about 65%, at least about 75%, at        Tex.) and K-Y® Sterile (Johnson & Johnson). In further
least about 85%, at least about 90% or at least about 95% or       embodiments, biodegradable biocompatible gels also repre-
more by weight of the ophthalmic agent.                            sent compounds present in ophthalmically acceptable for-
   In one embodiment, the pharmaceutically acceptable is mulations disclosed and described herein.
enhanced viscosity ophthalmically acceptable formulation              In some embodiments, the viscosity-enhancing agent is a
comprises at least one ophthalmic agent and at least one           cellulose-based polymer selected from cellulose gum, alky-
gelling agent. Suitable gelling agents for use in preparation      lcellulose, hydroxyl-alkyl cellulose, hydroxyl-alkyl alkyl-
of the gel formulation include, but are not limited to,            cellulose, carboxy-alkyl cellulose, or combinations thereof.
celluloses, cellulose derivatives, cellulose ethers (e.g., car- 20 In some embodiments, the viscosity-enhancing agent is
boxymethylcellulose, ethylcellulose, hydroxyethylcellulose,        hydroxyl-alkyl alkylcellulose. In some embodiment, the
hydroxymethylcellulo se,       hydroxypropylmethylcellulo se,      viscosity-enhancing agent is hydroxypropyl methylcellu-
hydroxypropylcellulose, methylcellulose), guar gum, xan-           lose.
than gum, locust bean gum, alginates (e.g., alginic acid),            In certain embodiments, the enhanced viscosity formula-
silicates, starch, tragacanth, carboxyvinyl polymers, carra- 25 tion is characterized by a phase transition between room
geenan, paraffin, petrolatum and any combinations or mix-          temperature and body temperature (including an individual
tures thereof. In some other embodiments, hydroxypropyl-           with a serious fever, e.g., up to about 42° C.). In some
methylcellulose (Methocel®) is utilized as the gelling agent.      embodiments, the phase transition occurs at 1° C. below
In certain embodiments, the viscosity enhancing agents             body temperature, at 2° C. below body temperature, at 3° C.
described herein are also utilized as the gelling agent for the 30 below body temperature, at 4° C. below body temperature,
gel formulations presented herein.                                 at 6° C. below body temperature, at 8° C. below body
   In some embodiments, the ophthalmic gel composition             temperature, or at 10° C. below body temperature. In some
described herein is an in situ gel formulation. In some            embodiments, the phase transition occurs at about 15° C.
instances, the in situ gel formation is based on increased         below body temperature, at about 20° C. below body tem-
pre-corneal residence time of the ophthalmic composition 35 perature or at about 25° C. below body temperature. In
which improves ocular bioavailability, corneal mucoadhe-           specific embodiments, the gelation temperature (Tgel) of a
sion, lysosomal interaction and ionic gelation, improved           formulation described herein is about 20° C., about 25° C.,
corneal absorption, thermal gelation, or a combination             or about 30° C. In certain embodiments, the gelation tem-
thereof. In some instances, the in situ gel formulation is         perature (Tgel) of a formulation described herein is about
activated by pH, temperature, ion, UV, or solvent exchange. 40 35° C., or about 40° C. Included within the definition of
   In some instances, the ophthalmic gel composition com-          body temperature is the body temperature of a healthy
prises a muscarinic antagonist and one or more gelling             individual, or an unhealthy individual, including an indi-
agents. In some instances, the gelling agent includes, but is      vidual with a fever (up to —42° C.). In some embodiments,
not limited to, poloxamer (e.g. Poloxamer 407), tetronics,         the pharmaceutical compositions described herein are liq-
ethyl (hydroxyethyl) cellulose, cellulose acetate phthalate 45 uids at about room temperature and are administered at or
(CAP), carbopol (e.g. Carbopol 1342P NF, Carbopol 980              about room temperature.
NF), alginates (e.g. low acetyl gellan gum (Gelrite®)),               Copolymers polyoxypropylene and polyoxyethylene (e.g.
gellan, hyaluronic acid, pluronics (e.g. Pluronic F-127),          polyoxyethylene-polyoxypropylene triblock copolymers)
chitosan, polyvinyl alcohol (PVA), polyvinylpyrrolidone            form thermosetting gels when incorporated into aqueous
(PVP), dextran, hydroxy propyl methyl cellulose (HPMC), so solutions. These polymers have the ability to change from
hydroxyethylcellulose (HEC), methylcellulose (MC), thio-           the liquid state to the gel state at temperatures close to body
lated xyloglucan, polymethacrilic acid (PMMA), polyethyl-          temperature, therefore allowing useful formulations that are
ene glycol (PEG), pseudolatexes, xyloglucans, or combina-          applied to the targeted ocular site. The liquid state-to-gel
tions thereof.                                                     state phase transition is dependent on the polymer concen-
   In some instances, the in situ gel formation further com- 55 tration and the ingredients in the solution.
prises a permeation enhancer. In some instances, the per-             In some embodiments, the amount of thermosetting poly-
meation enhancer includes surfactants (e.g. non-ionic sur-         mer in any formulation described herein is about 10%, about
factants), benzalkonium chloride, EDTA, surface-active             15%, about 20%, about 25%, about 30%, about 35% or
heteroglycosides, calcium chelators, hydroxyl propyl beta          about 40% of the total weight of the formulation. In some
cyclodextrin (HP beta CD), bile salts, and the like.            60 embodiments, the amount of thermosetting polymer in any
   In some embodiments, other gel formulations are useful          formulation described herein is about 10%, about 11%,
depending upon the particular ophthalmic agent, other phar-        about 12%, about 13%, about 14%, about 15%, about 16%,
maceutical agent or excipients/additives used, and as such         about 17%, about 18%, about 19%, about 20%, about 21%,
are considered to fall within the scope of the present             about 22%, about 23%, about 24% or about 25% of the total
disclosure. For example, other commercially-available glyc- 65 weight of the formulation. In some embodiments, the
erin-based gels, glycerin-derived compounds, conjugated, or        amount of thermosetting polymer (e.g., Poloxamer 407) in
crosslinked gels, matrices, hydrogels, and polymers, as well       any formulation described herein is about 7.5% of the total


                                                       Appx000208
                                                       Appx000208                       Eyenovia Exhibit
                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 46 of 65
                                                                                                                    46 of 65
              Case: 23-2402              Document: 15              Page: 265           Filed: 02/01/2024


                                                 US 10,842,787 B2
                            61                                                               62
weight of the formulation. In some embodiments, the               Additional biodegradable thermoplastic polyesters
amount of thermosetting polymer (e.g., Poloxamer 407) in       include AtriGel® (provided by Atrix Laboratories, Inc.)
any formulation described herein is about 10% of the total     and/or those disclosed, e.g., in U.S. Pat. Nos. 5,324,519;
weight of the formulation. In some embodiments, the            4,938,763; 5,702,716; 5,744,153; and 5,990,194; wherein
amount of thermosetting polymer (e.g., Poloxamer 407) in 5 the suitable biodegradable thermoplastic polyester is dis-
any formulation described herein is about 11% of the total     closed as a thermoplastic polymer. Examples of suitable
weight of the formulation. In some embodiments, the            biodegradable thermoplastic polyesters include polylactides,
amount of thermosetting polymer (e.g., Poloxamer 407) in       polyglycolides, polycaprolactones, copolymers thereof, ter-
any formulation described herein is about 12% of the total     polymers thereof, and any combinations thereof. In some
weight of the formulation. In some embodiments, the 10 such embodiments, the suitable biodegradable thermoplastic
amount of thermosetting polymer (e.g., Poloxamer 407) in       polyester is a polylactide, a polyglycolide, a copolymer
any formulation described herein is about 13% of the total     thereof, a terpolymer thereof, or a combination thereof. In
weight of the formulation. In some embodiments, the            one embodiment, the biodegradable thermoplastic polyester
amount of thermosetting polymer (e.g., Poloxamer 407) in       is 50/50 poly(DL-lactide-co-glycolide) having a carboxy
any formulation described herein is about 14% of the total 15 terminal group; is present in about 30 wt. % to about 40 wt.
weight of the formulation. In some embodiments, the            % of the composition; and has an average molecular weight
amount of thermosetting polymer (e.g., Poloxamer 407) in       of about 23,000 to about 45,000. Alternatively, in another
any formulation described herein is about 15% of the total     embodiment, the biodegradable thermoplastic polyester is
weight of the formulation. In some embodiments, the            75/25 poly (DL-lactide-co-glycolide) without a carboxy
amount of thermosetting polymer (e.g., Poloxamer 407) in 20 terminal group; is present in about 40 wt. % to about 50 wt.
any formulation described herein is about 16% of the total     % of the composition; and has an average molecular weight
weight of the formulation. In some embodiments, the            of about 15,000 to about 24,000. In further or alternative
amount of thermosetting polymer (e.g., Poloxamer 407) in       embodiments, the terminal groups of the poly(DL-lactide-
any formulation described herein is about 17% of the total     co-glycolide) are either hydroxyl, carboxyl, or ester depend-
weight of the formulation. In some embodiments, the 25 ing upon the method of polymerization. Polycondensation of
amount of thermosetting polymer (e.g., Poloxamer 407) in       lactic or glycolic acid provides a polymer with terminal
any formulation described herein is about 18% of the total     hydroxyl and carboxyl groups. Ring-opening polymeriza-
weight of the formulation. In some embodiments, the            tion of the cyclic lactide or glycolide monomers with water,
amount of thermosetting polymer (e.g., Poloxamer 407) in       lactic acid, or glycolic acid provides polymers with the same
any formulation described herein is about 19% of the total 30 terminal groups. However, ring-opening of the cyclic mono-
weight of the formulation. In some embodiments, the            mers with a monofunctional alcohol such as methanol,
amount of thermosetting polymer (e.g., Poloxamer 407) in       ethanol, or 1-dodecanol provides a polymer with one
any formulation described herein is about 20% of the total     hydroxyl group and one ester terminal groups. Ring-opening
weight of the formulation. In some embodiments, the            polymerization of the cyclic monomers with a diol such as
amount of thermosetting polymer (e.g., Poloxamer 407) in 35 1,6-hexanediol or polyethylene glycol provides a polymer
any formulation described herein is about 21% of the total     with only hydroxyl terminal groups.
weight of the formulation. In some embodiments, the               Since the polymer systems of thermosetting gels dissolve
amount of thermosetting polymer (e.g., Poloxamer 407) in       more completely at reduced temperatures, methods of solu-
any formulation described herein is about 23% of the total     bilization include adding the required amount of polymer to
weight of the formulation. In some embodiments, the 40 the amount of water to be used at reduced temperatures.
amount of thermosetting polymer (e.g., Poloxamer 407) in       Generally after wetting the polymer by shaking, the mixture
any formulation described herein is about 25% of the total     is capped and placed in a cold chamber or in a thermostatic
weight of the formulation. In some embodiments, the            container at about 0-10° C. in order to dissolve the polymer.
amount of thickening agent (e.g., a gelling agent) in any      The mixture is stirred or shaken to bring about a more rapid
formulation described herein is about 1%, about 5%, about 45 dissolution of the thermosetting gel polymer. The ophthal-
10%, or about 15% of the total weight of the formulation. In   mic agent and various additives such as buffers, salts, and
some embodiments, the amount of thickening agent (e.g., a      preservatives are subsequently added and dissolved. In some
gelling agent) in any formulation described herein is about    instances the pharmaceutically agent is suspended if it is
0.5%, about 1%, about 1.5%, about 2%, about 2.5%, about        insoluble in water. The pD is modulated by the addition of
3%, about 3.5%, about 4%, about 4.5%, or about 5% of the so appropriate buffering agents.
total weight of the formulation.                                  Ophthalmic Ointment Muscarinic Antagonist Composi-
   In an alternative embodiment, the thermogel is a PEG-       tion
PLGA-PEG triblock copolymer (Jeong et al, Nature (1997),          An ointment is a homogeneous, viscous, semi-solid
388:860-2; Jeong et al, J. Control. Release (2000), 63:155-    preparation, most commonly a greasy, thick oil (e.g. oil
63; Jeong et al, Adv. Drug Delivery Rev. (2002), 54:37-51). 55 80%-water 20%) with a high viscosity, intended for external
The polymer exhibits sol-gel behavior over a concentration     application to the skin or mucous membranes. Ointments
of about 5% w/w to about 40% w/w. Depending on the             have a water number that defines the maximum amount of
properties desired, the lactide/glycolide molar ratio in the   water that it contains. They are used as emollients or for the
PLGA copolymer ranges from about 1:1 to about 20:1. The        application of active ingredients to the skin for protective,
resulting coploymers are soluble in water and form a free- 60 therapeutic, or prophylactic purposes and where a degree of
flowing liquid at room temperature, but form a hydrogel at     occlusion is desired. Ointments are used topically on a
body temperature. A commercially available PEG-PLGA-           variety of body surfaces. These include the skin and the
PEG triblock copolymer is RESOMER RGP t50106 manu-             mucous membranes of the eye (an eye ointment), vulva,
factured by Boehringer Ingelheim. This material is com-        anus, and nose
posed of a PLGA copolymer of 50:50 poly(DL-lactide-co- 65         The vehicle of an ointment is known as the ointment base.
glycolide) and is 10% w/w of PEG and has a molecular           The choice of a base depends upon the clinical indication for
weight of about 6000.                                          the ointment. The different types of ointment bases are:


                                                     Appx000209
                                                     Appx000209                      Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 47 of 65
                                                                                                                 47 of 65
               Case: 23-2402               Document: 15               Page: 266            Filed: 02/01/2024


                                                    US 10,842,787 B2
                             63                                                                  64
hydrocarbon bases, e.g. hard paraffin, soft paraffin, micro-        castor oil, an alcohol having 12 to 20 carbon atoms and a
crystalline wax and ceresine; absorption bases, e.g. wool fat,      mixture of two or more of said components. The agent is
beeswax; water soluble bases, e.g. macrogols 200, 300, 400;         preferably used in amounts of 1 to 20 percent, more pref-
emulsifying bases, e.g. emulsifying wax, cetrimide; veg-            erably 1 to 10 percent by weight of the entire semisolid
etable oils, e.g. olive oil, coconut oil, sesame oil, almond oil 5 ophthalmic composition.
and peanut oil.                                                        Alcohols having 12 to 20 carbon atoms include particu-
   Ointments are formulated using hydrophobic, hydro-               larly stearyl alcohol (C18H37OH), cetyl alcohol
philic, or water-emulsifying bases to provide preparations          (C16H33OH) and mixtures thereof. Preferred are so-called
that are immiscible, miscible, or emulsifiable with skin            cetostearyl alcohols, mixtures of solid alcohols substantially
secretions. In some embodiments, they are also derived from 10 consisting of stearyl and cetyl alcohol and preferably com-
hydrocarbon (fatty), absorption, water-removable, or water-         prising not less than 40 percent by weight of stearyl alcohol
soluble bases. The active agents are dispersed in the base,         and a sum of stearyl alcohol and cetyl alcohol amounting to
and later they get divided after the drug penetration into the      at least 90 percent by weight, and compositions comprising
target sites (e.g. membranes, skins, etc.).                         not less than 80 percent by weight of cetylstearyl alcohol and
   The present disclosure recognizes that it is sometimes 15 an emulsifier, in particular sodium cetostearyl sulfate and/or
difficult to incorporate into the ointment a drug of low            sodium lauryl sulfate, preferably in amounts not less than 7
concentration with sufficient dose-to-dose uniformity for           percent by weight of emulsifier.
effectively treating a disorder or disease. In some embodi-            Polyethoxylated castor oils are reaction products of natu-
ments, poly(ethylene-glycols), polyethoxylated castor oils          ral or hydrogenated castor oils and ethylene glycol. In some
(Cremophor® EL), alcohols having 12 to 20 carbon atoms 20 instances, such products are obtained in known manner, e.g.
or a mixture of two or more of said components are effective        by reaction of a natural or hydrogenated castor oil or
excipients for dispersing and/or dissolving effective               fractions thereof with ethylene oxide, e.g. in a molar ratio of
amounts of ophthalmic drugs, in particular of ascomycins            from about 1:30 to about 1:60, with optional removal of free
and staurosporine derivatives, in an ointment base, in par-         polyethylene glycol components from the product, e.g. in
ticular in an ointment base substantially comprising oleagi- 25 accordance with the methods disclosed in German Auslege-
nous and hydrocarbon components, and that the resulting             schriften 1,182,388 and 1,518,819. Especially suitable and
ointments are excellently tolerated by the skin and by ocular       preferred is a product commercially available under the
tissue.                                                             trade name Cremophor® EL having a molecular weight (by
   The present disclosure further recognizes that ophthalmic        steam osmometry)—ca. 1630, a saponification no.—ca. 65-70,
drugs, such as a muscarinic antagonist (e.g. atropine or its 30 an acid no.—ca. 2, an iodine no.—ca. 28-32 and an nD 25—ca.
pharmaceutically acceptable salts), incorporated in the oint-       1.471. Also suitable for use in this category is, for instance,
ment compositions describes herein target the choroid and/          Nikkol® HCO-60, a reaction product of hydrogenated cas-
or retina in a patient when the compositions are topically          tor oil and ethylene oxide exhibiting the following charac-
administered to the ocular surface, in particular to the sclera     teristics: acid no.—ca. 0.3; saponification no.—ca. 47.4;
of said patient. In some embodiments, an ophthalmic oint- 35 hydroxy value—ca. 42.5. pH (5%)—ca. 4.6; Color APHA=ca.
ment composition includes an ophthalmic drug, an ointment           40; m.p.=ca. 36.0° C.; Freezing point—ca. 32.4° C.; H2O
base and an agent for dispersing and/or dissolving said drug        content (%, KF)—ca. 0.03.
in the ointment base, selected from a poly(ethylene-glycol),           Poly(ethylene-glycols) are used in some embodiments as
a polyethoxylated castor oil, an alcohol having 12 to 20            the agent for dispersing and/or dissolving the ophthalmic
carbon atoms and a mixture of two or more of said compo- 40 drug in the ointment base according to the present disclo-
nents.                                                              sure. Suitable poly(ethylene-glycol)s are typically mixtures
   In some embodiments, the ointment bases include oph-             of polymeric compounds of the general formula H (OCH2
thalmically acceptable oil and fat bases, such as natural wax       CH2)nOH, wherein the index n typically range from 4 to
e.g. white and yellow bees wax, carnauba wax, wool wax              230 and the mean molecular weight from about 200 to about
(wool fat), purified lanolin, anhydrous lanolin; petroleum 45 10000. Preferably n is a number from about 6 to about 22
wax e.g. hard paraffin, microcrystalline wax; hydrocarbons          and the mean molecular weight between about 300 and
e.g. liquid paraffin, white and yellow soft paraffin, white         about 1000, more preferably n ranges from about 6 to about
petrolatum, yellow petrolatum; or combinations thereof.             13 and the mean molecular weight from about 300 to about
   The above mentioned oil and fat bases are described in           600, most preferably n has a value of about 8.5 to about 9
more detail, for instance, in the British Pharmacopoeia, so and the relative molecular weight is about 400. Suitable
Edition 2001, or the European Pharmacopoeia, 3rd Edition.           poly(ethylene-glycols) are readily available commercially,
   In some embodiments, the ointment base is present in             for example poly(ethylene-glycols) having a mean molecu-
amounts of about 50 to about 95, preferably of 70 to 90% by         lar weight of about 200, 300, 400, 600, 1000, 1500, 2000,
weight based on the total weight of the composition.                3000, 4000, 6000, 8000 and 10000.
   A preferred ointment base comprises a combination of 55             The poly(ethylene-glycols), in particular the preferred
one or more of one or more natural waxes like those                 types described in the foregoing paragraph, are preferably
indicated above, preferably wool wax (wool fat), and one or         used in amounts of 1 to 10, more preferably 1 to 5 percent
more hydrocarbons like those indicated above, preferably a          by weight of the entire semisolid ophthalmic composition.
soft paraffin or a petrolatum, more preferably in combination          An especially preferred embodiment of the compositions
with liquid paraffin.                                            60 according to the instant disclosure comprises an agent for
   A special embodiment of the aforementioned ointment              dispersing and/or dissolving of the drug in the ointment base
base comprises e.g. 5 to 17 parts by weight of wool fat, and        which is selected from a poly(ethylene-glycol), a poly-
50 to 65 parts by weight of white petrolatum as well as 20          ethoxylated castor oil and preferably a mixture of said
to 30 parts by weight of liquid paraffin.                           components.
   In some embodiments, the agent for dispersing and/or 65             Gel/Ointment Viscosity
dissolving the ophthalmic drug in the ointment base is                 In some embodiments, the composition has a Brookfield
selected from a poly(ethylene-glycol), a polyethoxylated            RVDV viscosity of from about 10,000 to about 300,000 cps


                                                       Appx000210
                                                       Appx000210                        Eyenovia Exhibit
                                                                                         Eyenovia Exhibit 1001,
                                                                                                          1001, Page
                                                                                                                Page 48 of 65
                                                                                                                     48 of 65
              Case: 23-2402               Document: 15              Page: 267           Filed: 02/01/2024


                                                  US 10,842,787 B2
                            65                                                                66
at about 20° C. and sheer rate of 1 s. In some embodiments,     ments, a viscous ophthalmic composition described herein
the composition has a Brookfield RVDV viscosity of from         provides an apparent viscosity of from about 250,000 cP to
about 15,000 to about 200,000 cps at about 20° C. and sheer     about 500,000 cP. In some of such embodiments, a viscous
rate of 1 s". In some embodiments, the composition has a        ophthalmic composition is a liquid at room temperature and
Brookfield RVDV viscosity of from about 50,000 to about 5 gels at about between room temperature and body tempera-
150,000 cps at about 20° C. and sheer rate of 1 s". In some     ture (including an individual with a serious fever, e.g., up to
embodiments, the composition has a Brookfield RVDV              about 42° C.). In some embodiments, a viscous ophthalmic
viscosity of from about 70,000 to about 130,000 cps at about    composition is administered as monotherapy for treatment
20° C. and sheer rate of 1 s-1. In some embodiments, the        of an ophthalmic disease or condition described herein.
composition has a Brookfield RVDV viscosity of from about 10       In some embodiments, the viscosity of the gel formula-
90,000 to about 110,000 cps at about 20° C. and sheer rate      tions presented herein is measured by any means described.
of 1s'.
   1     .                                                      For example, in some embodiments, an LVDV-II+CP Cone
   In some embodiments, the ophthalmic gel formulation          Plate Viscometer and a Cone Spindle CPE-40 is used to
contains a viscosity enhancing agent sufficient to provide a    calculate the viscosity of the gel formulation described
viscosity of between about 500 and 1,000,000 centipoise, is herein. In other embodiments, a Brookfield (spindle and
between about 750 and 1,000,000 centipoise; between about       cup) viscometer is used to calculate the viscosity of the gel
1000 and 1,000,000 centipoise; between about 1000 and           formulation described herein. In some embodiments, the
400,000 centipoise; between about 2000 and 100,000 cen-         viscosity ranges referred to herein are measured at room
tipoise; between about 3000 and 50,000 centipoise; between      temperature. In other embodiments, the viscosity ranges
about 4000 and 25,000 centipoise; between about 5000 and 20 referred to herein are measured at body temperature (e.g., at
20,000 centipoise; or between about 6000 and 15,000 cen-        the average body temperature of a healthy human).
tipoise. In some embodiments, the ophthalmic gel formula-          Gel/Ointment Dose-to-Dose Uniformity
tion contains a viscosity enhancing agent sufficient to pro-       Typical ophthalmic gels are packaged in eye drop bottles
vide a viscosity of between about 50,0000 and 1,000,000         and administered as drops. For example, a single adminis-
centipoise.                                                  25 tration (i.e. a single dose) of an ophthalmic gel includes a
   In some embodiments, the compositions described herein       single drop, two drops, three drops or more into the eyes of
are low viscosity compositions at body temperature. In some     the patient. Furthermore, typical ophthalmic ointments are
embodiments, low viscosity compositions contain from            packaged in tubes or other squeezable containers with a
about 1% to about 10% of a viscosity enhancing agent (e.g.,     dispensing nozzle through which strips of the ointment are
gelling components such as polyoxyethylene-polyoxypro- 30 delivered. For example, a single administration (i.e. a single
pylene copolymers). In some embodiments, low viscosity          dose) of an ophthalmic ointment includes a single strip, or
compositions contain from about 2% to about 10% of a            multiple strips into the eyes of the patient. In some embodi-
viscosity enhancing agent (e.g., gelling components such as     ments, one dose of the ophthalmic gel described herein is
polyoxyethylene-polyoxypropylene copolymers). In some           one drop of the gel composition from the eye drop bottle. In
embodiments, low viscosity compositions contain from 35 some embodiments, one dose of the ophthalmic ointment is
about 5% to about 10% of a viscosity enhancing agent (e.g.,     one strip of the ointment composition dispensed through the
gelling components such as polyoxyethylene-polyoxypro-          nozzle of a dispersing tube.
pylene copolymers). In some embodiments, low viscosity             In some cases, described herein include ophthalmic gel
compositions are substantially free of a viscosity enhancing    compositions which provide a dose-to-dose uniform con-
agent (e.g., gelling components such as polyoxyethylene- 40 centrations. In some instances, the dose-to-dose uniform
polyoxypropylene copolymers). In some embodiments, a            concentration does not present significant variations of drug
low viscosity ophthalmic agent composition described            content from one dose to another. In some instances, the
herein provides an apparent viscosity of from about 100 cP      dose-to-dose uniform concentration does provide consistent
to about 10,000 cP. In some embodiments, a low viscosity        drug content from one dose to another.
ophthalmic agent composition described herein provides an 45       In some cases, described herein include ophthalmic oint-
apparent viscosity of from about 500 cP to about 10,000 cP.     ment compositions which provide a dose-to-dose uniform
In some embodiments, a low viscosity ophthalmic agent           concentrations. In some instances, the dose-to-dose uniform
composition described herein provides an apparent viscosity     concentration docs not present significant variations of drug
of from about 1000 cP to about 10,000 cP.                       content from one dose to another. In some instances, the
   In some embodiments, the compositions described herein so dose-to-dose uniform concentration does provide consistent
are viscous compositions at body temperature. In some           drug content from one dose to another.
embodiments, viscous compositions contain from about               In some embodiments, the composition has a dose-to-
10% to about 25% of a viscosity enhancing agent (e.g.,          dose ophthalmic agent concentration variation of less than
gelling components such as polyoxyethylene-polyoxypro-          50%. In some embodiments, the composition has a dose-to-
pylene copolymers). In some embodiments, the viscous 55 dose ophthalmic agent concentration variation of less than
compositions contain from about 14% to about 22% of a           40%. In some embodiments, the composition has a dose-to-
viscosity enhancing agent (e.g., gelling components such as     dose ophthalmic agent concentration variation of less than
polyoxyethylene-polyoxypropylene copolymers). In some           30%. In some embodiments, the composition has a dose-to-
embodiments, the viscous compositions contain from about        dose ophthalmic agent concentration variation of less than
15% to about 21% of a viscosity enhancing agent (e.g., 60 20%. In some embodiments, the composition has a dose-to-
gelling components such as polyoxyethylene-polyoxypro-          dose ophthalmic agent concentration variation of less than
pylene copolymers). In some embodiments, a viscous oph-         10%. In some embodiments, the composition has a dose-to-
thalmic composition described herein provides an apparent       dose ophthalmic agent concentration variation of less than
viscosity of from about 100,000 cP to about 1,000,000 cP. In    5%.
some embodiments, a viscous ophthalmic composition 65              In some embodiments, the dose-to-dose ophthalmic agent
described herein provides an apparent viscosity of from         concentration variation is based on 10 consecutive doses. In
about 150,000 cP to about 500,000 cP. In some embodi-           some embodiments, the dose-to-dose ophthalmic agent con-


                                                      Appx000211
                                                      Appx000211                      Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 49 of 65
                                                                                                                  49 of 65
              Case: 23-2402                Document: 15              Page: 268           Filed: 02/01/2024


                                                   US 10,842,787 B2
                             67                                                                 68
centration variation is based on 8 consecutive doses. In some     ments, one dose of the ophthalmic ointment is one strip of
embodiments, the dose-to-dose ophthalmic agent concentra-         the ointment composition dispensed through the nozzle of a
tion variation is based on 5 consecutive doses. In some           dispersing tube.
embodiments, the dose-to-dose ophthalmic agent concentra-            In some embodiments of the disclosed method, the oph-
tion variation is based on 3 consecutive doses. In some 5 thalmic composition is stored below room temperature prior
embodiments, the dose-to-dose ophthalmic agent concentra-         to first use. In some embodiments of the disclosed method,
tion variation is based on 2 consecutive doses.                   the ophthalmic composition is stored at between about 2° C.
   A nonsettling formulation should not require shaking to        to about 10° C. prior to first use. In some embodiments of the
disperse drug uniformly. A "no-shake" formulation is poten-       disclosed method, the ophthalmic composition is stored at
                                                               10 about 2° C., about 3° C., about 4° C., about 5° C., about 6°
tially advantageous over formulations that require shaking
                                                                  C., about 7° C., about 8° C., about 9° C., or about 10° C.
for the simple reason that patients' shaking behavior is a
                                                                  prior to first use. In some embodiments of the disclosed
major source of variability in the amount of drug dosed. It
                                                                  method, the ophthalmic composition is stored at between
has been reported that patients often times do not or forget      about 4° C. to about 8° C. prior to first use.
to shake their ophthalmic compositions that requires shaking 15      In some embodiments of the disclosed method, the oph-
before administering a dose, despite the instructions to shake    thalmic composition is stored at room temperature after first
that were clearly marked on the label. On the other hand,         use. In some embodiments of the disclosed method, the
even for those patients who do shake the product, it is           ophthalmic composition is stored at between about 16° C. to
normally not possible to determine whether the shaking is         about 26° C. after to first use. In some embodiments of the
adequate in intensity and/or duration to render the product 20 disclosed method, the ophthalmic composition is stored at
uniform. In some embodiments, the ophthalmic gel compo-           about 16° C., about 17° C., about 18° C., about 19° C., about
sitions and ophthalmic ointment compositions described            20° C., about 21° C., about 22° C., about 23° C., about 24°
herein are "no-shake" formulations that maintained the            C., about 25° C., or about 26° C. after to first use.
dose-to-dose uniformity described herein.                            In some embodiments, the ophthalmic aqueous formula-
   To evaluate the dose-to-dose uniformity, drop bottles or 25 tions are administered as follows: the lower lid of the eye to
tubes containing the ophthalmic aqueous compositions, the         be administered was pulled down and a predetermined
ophthalmic gel compositions, or ophthalmic ointment com-          amount of the aqueous formulation (e.g. 1-3 drops) is
positions are stored upright for a minimum of 12 hours prior      applied to the inside of the eyelid. The ophthalmic tip of the
to the start of the test. To simulate the recommended dosing      dispensing mechanism does not touch any surface to avoid
of these products, predetermined number of drops or strips 30 contamination and/or injury.
are dispensed from each commercial bottles or tubes at               In some embodiments, the ophthalmic gel formulations
predetermined time intervals for an extended period of time       are administered as follows: the lower lid of the eye to be
or until no product was left in the bottle or tube. All drops     administered was pulled down and a predetermined amount
and strips are dispensed into tared glass vials, capped, and      of gel (e.g. 1-3 drops) is applied to the inside of the eyelid.
stored at room temperature until analysis. Concentrations of 35 The ophthalmic tip of the dispensing mechanism does not
a muscarinic antagonist such as atropine in the expressed         touch any surface to avoid contamination and/or injury.
drops were determined using a reverse-phase HPLC method.             In some embodiments, the ophthalmic ointment formula-
   Methods of Treatment                                           tions are administered as follows: the lower lid of the eye to
   Disclosed herein are methods of arresting myopia devel-        be administered was pulled down and a small amount of
opment by administering to an eye of an individual in need 40 ointment (approximately 0.25 inches) was applied to the
thereof an effective amount of an ophthalmic composition as       inside of the eyelid. The ophthalmic tip of the dispensing
described above. Also disclosed herein are methods of             mechanism does not touch any surface to avoid contamina-
preventing myopia development by administering to an eye          tion and/or injury.
of an individual in need thereof an effective amount of an           In some embodiments, the ophthalmic composition is
ophthalmic composition as described above.                     45 administered at predetermined time intervals over an
   In some embodiments, the ophthalmic aqueous formula-           extended period of time. In some embodiments, the oph-
tions described herein are packaged in eye drop bottles and       thalmic composition is administered once every day. In
administered as drops. For example, a single administration       some embodiments, the ophthalmic composition is admin-
(i.e. a single dose) of an ophthalmic aqueous formulation         istered every other day. In some embodiments, the ophthal-
includes a single drop, two drops, three drops or more into 50 mic composition is administered over 1 week, 2 weeks, 1
the eyes of the patient. In some embodiments, the ophthal-        month, 2 months, 3 months, 6 moths, 1 year, 2 years, 3 years,
mic gel formulations described herein are packaged in eye         4 years, 5 years, 6 years, 7 years, 8 years, 9 years, 10 years,
drop bottles and administered as drops. For example, a            11 years, or 12-15 years.
single administration (i.e. a single dose) of an ophthalmic          In some embodiments, the ophthalmic composition is
gel includes a single drop, two drops, three drops or more 55 administered in doses having a dose-to-dose ophthalmic
into the eyes of the patient. In some embodiments, the            agent concentration variation of less than 50%, less than
ophthalmic ointment formulations described herein are             40%, less than 30%, less than 20%, less than 10%, or less
packaged in tubes or other squeezable containers with a           than 5%.
dispensing nozzle through which strips of the ointment are           The number of times a composition is administered to an
delivered. For example, a single administration (i.e. a single 60 individual in need thereof depends on the discretion of a
dose) of an ophthalmic ointment includes a single strip, or       medical professional, the disorder, the severity of the dis-
multiple strips into the eyes of the patient. In some embodi-     order, and the individual's response to the formulation. In
ments, one dose of the ophthalmic aqueous formulation             some embodiments, a composition disclosed herein is
described herein is one drop of the aqueous composition           administered once to an individual in need thereof with a
from the eye drop bottle. In some embodiments, one dose of 65 mild acute condition. In some embodiments, a composition
the ophthalmic gel described herein is one drop of the gel        disclosed herein is administered more than once to an
composition from the eye drop bottle. In some embodi-             individual in need thereof with a moderate or severe acute


                                                       Appx000212
                                                       Appx000212                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 50 of 65
                                                                                                                   50 of 65
                Case: 23-2402                 Document: 15                 Page: 269             Filed: 02/01/2024


                                                       US 10,842,787 B2
                               69                                                                       70
condition. In the case wherein the patient's condition does           The articles of manufacture provided herein contain pack-
not improve, upon the doctor's discretion the administration       aging materials. Packaging materials for use in packaging
of an ophthalmic agent is administered chronically, that is,       pharmaceutical products are also presented herein. See, e.g.,
for an extended period of time, including throughout the           U.S. Pat. Nos. 5,323,907, 5,052,558 and 5,033,252.
duration of the patient's life in order to ameliorate or 5 Examples of pharmaceutical packaging materials include,
otherwise control or limit the symptoms of the patient's           but are not limited to, drop bottles, tubes, pumps, bags, vials,
disease or condition.                                              containers, syringes, bottles, and any packaging material
   In the case wherein the patient's condition does not            suitable for a selected formulation and intended mode of
improve, upon the doctor's discretion the administration of        administration and treatment. A wide array of ophthalmic
the ophthalmic agent is administered chronically, that is, for 10 compositions provided herein are contemplated as are a
an extended period of time, including throughout the dura-         variety of treatments for any disease, disorder, or condition
tion of the patient's life in order to ameliorate or otherwise     that  benefits by controlled release administration of an
control or limit the symptoms of the patient's disease or          ophthalmic agent to the eye.
condition.                                                            In some embodiments, a kit includes one or more addi-
   In the case wherein the patient's status does improve, 15 tional containers, each with one or more of various materials
upon the doctor's discretion the administration of the oph-        (such as rinses, wipes, and/or devices) desirable from a
thalmic agent is given continuously; alternatively, the dose       commercial and user standpoint for use of a formulation
of drug being administered is temporarily reduced or tem-          described herein. Such materials also include labels listing
porarily suspended for a certain length of time (i.e., a "drug     contents and/or instructions for use and package inserts with
holiday"). The length of the drug holiday varies between 2 20 instructions for use. A set of instructions is optionally
days and 1 year, including by way of example only, 2 days,         included. In a further embodiment, a label is on or associated
3 days, 4 days, 5 days, 6 days, 7 days, 10 days, 12 days, 15       with the container. In yet a further embodiment, a label is on
days, 20 days, 28 days, 35 days, 50 days, 70 days, 100 days,       a container when letters, numbers or other characters form-
120 days, 150 days, 180 days, 200 days, 250 days, 280 days,        ing the label are attached, molded or etched into the con-
300 days, 320 days, 350 days, and 365 days. The dose 25 tainer itself; a label is associated with a container when it is
reduction during a drug holiday is from 10%-100%, includ-          present within a receptacle or carrier that also holds the
ing by way of example only 10%, 15%, 20%, 25%, 30%,                container, e.g., as a package insert. In other embodiments a
35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%,                  label is used to indicate that the contents are to be used for
85%, 90%, 95%, and 100%.                                           a specific therapeutic application. In yet another embodi-
   Once improvement of the patient's ophthalmic conditions 30 ment, a label also indicates directions for use of the contents,
has occurred, a maintenance ophthalmic agent dose is               such as in the methods described herein.
administered if necessary. Subsequently, the dosage or the            In certain embodiments, the ophthalmic compositions are
frequency of administration, or both, is optionally reduced,       presented in a dispenser device which contains one or more
as a function of the symptoms, to a level at which the             unit dosage forms containing a compound provided herein.
improved disease, disorder or condition is retained. In 35 In a further embodiment, the dispenser device is accompa-
certain embodiments, patients require intermittent treatment       nied by instructions for administration. In yet a further
on a long-term basis upon any recurrence of symptoms.              embodiment, the dispenser is also accompanied with a
   The amount of ophthalmic agent that will correspond to
                                                                   notice associated with the container in form prescribed by a
such an amount will vary depending upon factors such as the
                                                                   governmental agency regulating the manufacture, use, or
particular compound, disease condition and its severity,
according to the particular circumstances surrounding the 40 sale of pharmaceuticals, which notice is reflective of
case, including, e.g., the specific ophthalmic agent being         approval by the agency of the form of the drug for human or
administered, the route of administration, the condition           veterinary administration. In another embodiment, such
being treated, the target area being treated, and the subject      notice, for example, is the labeling approved by the U.S.
or host being treated. The desired dose is presented in a          Food and Drug Administration for prescription drugs, or the
single dose or as divided doses administered simultaneously 45 approved product insert. In yet another embodiment, com-
(or over a short period of time) or at appropriate intervals.      positions containing a compound provided herein formu-
   In some embodiments, the initial administration is a            lated in a compatible pharmaceutical carrier are also pre-
particular ophthalmic agent and the subsequent administra-         pared, placed in an appropriate container, and labeled for
tion a different formulation or ophthalmic agent.                  treatment of an indicated condition.
   Kits/Articles of Manufacture                                 50
   The disclosure also provides kits for preventing or arrest-                               EXAMPLES
ing myopia development. Such kits generally will comprise
one or more of the ophthalmic compositions disclosed                          Example 1 Ophthalmic Formulations
herein, and instructions for using the kit. The disclosure also
contemplates the use of one or more of the ophthalmic 55              Exemplary compositions for preparation of ophthalmic
compositions, in the manufacture of medicaments for treat-         formulations are described in Tables 1-8.
ing, abating, reducing, or ameliorating the symptoms of a
disease, dysfunction, or disorder in a mammal, such as a
human that has, is suspected of having, or at risk for                                        TABLE 1
developing myopia.                                                                  Aqueous Solution Formulation (Atropine)
   In some embodiments, kits include a carrier, package, or 60
container that is compartmentalized to receive one or more                                       Quantity            Concentration
containers such as vials, tubes, and the like, each of the         Ingredient                     (mg/g)                 (wt %)
container(s) including one of the separate elements to be          Atropine                      0.01-0.5              0.001-0.05 (wt %)
used in a method described herein. Suitable containers             Buffer agent and/or pD                        q.s. for pD = 4.2-7.9
include, for example, bottles, vials, syringes, and test tubes. 65 adjusting agent (e.g.,
In other embodiments, the containers are formed from a             borates and/or DCI)
variety of materials such as glass or plastic.


                                                           Appx000213
                                                           Appx000213                          Eyenovia Exhibit
                                                                                               Eyenovia Exhibit 1001,
                                                                                                                1001, Page
                                                                                                                      Page 51 of 65
                                                                                                                           51 of 65
                  Case: 23-2402                    Document: 15                     Page: 270                Filed: 02/01/2024


                                                               US 10,842,787 B2
                                   71                                                                                72
                         TABLE 1-continued                                                                       TABLE 5
                 Aqueous Solution Formulation (Atropine)                                  Mucus Penetrating Particle Formulation (Atropine Sulfate)

                               Quantity            Concentration                                                Quantity              Concentration
Ingredient                      (mg/g)                (wt %)                 5    Ingredient                     (mg/g)                  (wt %)

Preservative (e.g.                        q.s. to prevent the growth of or      Atropine sulfate                0.01-0.5             0.001-0.05 (wt %)
benzalkonium chloride,                       to destroy microorganism           Buffer agent and/or pD                             q.s. for pD = 4.2-7.9
cetrimonium sodium                          introduced into the solution        adjusting agent (e.g.,
perborate, etc.)                                                                borates and/or DCI)
Tonicity and/or Osmolarity                       q.s. to 0.5-2.0 wt %        10 Preservative (e.g.                            q.s. to prevent the growth of or
adjustor (e.g. NaCI,                                                            benzalkonium chloride,                           to destroy microorganism
mannitol, etc)                                                                  cetrimonium sodium                              introduced into the solution
Deuterated Water                                    q.s. to 100 wt %            perborate, etc.)
                                                                                Mucus penetrating                              q.s. to formulate atropine at
                                                                                particles                                             0.001-0.05 wt %
                                                                             15 Deuterated Water                                      q.s. to 100 wt %
                               TABLE 2
             Aqueous Solution Formulation (Atropine Sulfate)
                                                                                                                 TABLE 6
                               Quantity            Concentration
Ingredient                      (mg/g)                (wt %)                 20                  Cellulose Gel Formulation (Atropine Sulfate)

Atropine sulfate               0.01-0.5              0.001-0.05 (wt %)                                             Quantity             Concentration
Buffer agent and/or pD                         q.s. for pD = 4.2-7.9              Ingredient                        (mg/g)                 (wt %)
adjusting agent (e.g.,
borates and/or DC1)                                                             Atropine Sulfate                  0.01-0.5           0.001-0.05 (wt %)
Preservative (e.g.                        q.s. to prevent the growth of or   25 Viscosity enhancing agent           10-50                   1-5 (wt %)
benzalkonium chloride,                       to destroy microorganism           (e.g. hydroxypropyl
cetrimonium sodium                          introduced into the solution        methylcellulose)
perborate, etc.)                                                                Buffer agent and/or pD                              q.s. for pD = 4.2-7.9
Tonicity and/or Osmolarity                       q.s. to 0.5-2.0 wt %           adjusting agent (e.g.,
adjustor (e.g. NaCI,                                                            sodium acetate and/
mannitol, etc)                                                                  or DCI)
                                                                             30
Deuterated Water                                    q.s. to 100 wt %            Stabilizer (e.g. EDTA,                           q.s. for low degradation of
                                                                                cyclodextrin, etc.)                            atropine sulfate (e.g. less than
                                                                                                                               10%, 5% or 1% degradation)
                                                                                  Osmolarity modifier                              q.s. 150-500 mOsm/L
                                                                                  (e.g. NaCI)
                               TABLE 3
                                                                                  Deuterated Water                                   q.s. to 100 wt %
                                                                             35
             Aqueous Solution Formulation (Atropine Sulfate)

                               Quantity            Concentration
Ingredient                      (mg/g)                (wt %)                                                     TABLE 7
Atropine sulfate              0.05-0.15            0.005-0.015 (wt %)                          Thermosetting Gel Formulation (Atropine Sulfate)
Buffer agent and/or pD                         q.s. for pD = 4.2-7.9         40
adjusting agent (e.g.,                                                                                             Quantity             Concentration
borates and/or DC1)                                                               Ingredient                        (mg/g)                 (wt %)
Preservative (e.g.                        q.s. to prevent the growth of or
benzalkonium chloride,                       to destroy microorganism           Atropine sulfate                  0.01-0.5           0.001-0.05 (wt %)
cetrimonium sodium                          introduced into the solution        Viscosity enhancing agent         100-250                10-25 (wt %)
perborate, etc.)                                                             45 (e.g. poloxamer 407)
Tonicity and/or Osmolarity                       q.s. to 0.5-2.0 wt %           Buffer agent and/or pD                              q.s. for pH = 4.2-7.9
adjustor (e.g. NaCI,                                                            adjusting agent (e.g.,
mannitol, etc)                                                                  sodium acetate and/
Deuterated Water                                    q.s. to 100 wt %            or DCI)
                                                                                Stabilizer (e.g. EDTA,                           q.s. for low degradation of
                                                                             50 cyclodextrin, etc.)                            atropine sulfate (e.g. less than
                                                                                                                               10%, 5% or 1% degradation)
                                                                                  Osmolarity modifier                              q.s. 150-500 mOsm/L
                               TABLE 4
                                                                                  (e.g. NaCI)
             Mucus Penetrating Particle Formulation (Atropine)                    Deuterated Water                                   q.s. to 100 wt %


                               Quantity            Concentration             55
Ingredient                      (mg/g)                (wt %)
                                                                                                                 TABLE 8
Atropine                       0.01-0.5           0.001-0.05 (wt %)
Buffer agent and/or pD                         q.s. for pD = 4.2-7.9                               Ointment Formulation (Atropine Sulfate)
adjusting agent (e.g.,
borates and/or DC1)                                                                                            Quantity (g)
                                                                             60
Preservative (e.g.                        q.s. to prevent the growth of or                                     for 1000 mL       Concentration in 1000 mL
benzalkonium chloride,                       to destroy microorganism             Ingredient                     solution            aqueous solution
cetrimonium sodium                          introduced into the solution
perborate, etc.)                                                                Atropine sulfate                0.01-0.5             0.001-0.05 (wt %)
Mucus penetrating                            q.s. to formulate atropine         Dispersing agent (e.g.            10-200                   1-20 (wt %)
particles                                      at 0.001-0.05 wt %               polyethyleneglycol, and/or
Deuterated Water                                   q.s. to 100 wt %          65 polyethoxylated castor oil
                                                                                and/or C12-C20 alcohol




                                                                   Appx000214
                                                                   Appx000214                              Eyenovia Exhibit
                                                                                                           Eyenovia Exhibit 1001,
                                                                                                                            1001, Page
                                                                                                                                  Page 52 of 65
                                                                                                                                       52 of 65
                  Case: 23-2402                      Document: 15                    Page: 271               Filed: 02/01/2024


                                                               US 10,842,787 B2
                                   73                                                                                74
                           TABLE 8-continued                                                       Example 4        Stability Analysis

                 Ointment Formulation (Atropine Sulfate)
                                                                                       Five 0.01% atropine sulfate solutions were prepared from
                              Quantity (g)                                         the 1% atropine sulfate stock solution (preparation as
                              for 1000 mL     Concentration in 1000 mL           5
                                                                                   described in Example 2). The pH of the five solutions was
Ingredient                      solution          aqueous solution
                                                                                   5.87, 5.97, 5.90, 6.24, and 6.16 for solutions 1-5, respec-
Buffering agent pD                                q.s. for pD = 4.2-7.9            tively. Each solution was thoroughly mixed. A 0.22 micron
adjusting agent (e.g. DCI)
                                                                                   filter was placed on the tip of the syringe and the solution
Stabilizer (e.g. EDTA,                         q.s. for low degradation of
cyclodextrin, etc.)                          atropine sulfate (e.g. less than   10 was   aliquotted into separate sterile containers according to
                                             10%, 5% or 1% degradation)            Table 9.
Osmolarity modifier                               q.s. 150-500 mOsm/L
(e.g. NaCI)
Ointment base (e.g.                                q.s. to 100 wt %                                              TABLE 9
wool wax and/or
petrolatum and/or liquid
                                                                                15                         Container Filling Outline
paraffin)


                                                                                                                   Volume of 0.01%         Total
      Example 2 Preparation of an Aqueous Solution                                                               Atropine Sulfate Drug   Containers
      Formulation Containing 0.01% Atropine in D2O                              20     Type of Container          Product in Container     Filled


    Stock 1% Solution                                                    Sterile Eyedroppers          5-mL               12
    In a 100 mL solution, 1 gram of atropine, and 0.77 g of
                                                                         Sterile Glass Vials          5-mL               12
NaCl (and other ingredients/components preferably in their
dry state) are added along with a quantity sufficient to equal 25
100 mL sterile deuterated water for injection. The solution
                                                                        The samples were then stored at different conditions for
is mixed in an appropriately sized beaker with a stir bar on
                                                                     stability analysis. The samples were analyzed at different
a hot plate until all of the solid powders have dissolved and
                                                                     time points up to 2 months. The storage conditions include:
the solution has become clear with no visible particles. Next,
                                                                  30 40° C. with 75% relative humidity (RH) (samples were
the stir bar is removed, and the solution is poured into a filter
                                                                     transferred from 2-8° C. condition after 3 days), 25° C. with
bottle and vacuum filtered through a 0.22 micron pothy-
                                                                     60% RH, and 60° C. The time points were 1 week, 2 weeks,
ethersulfone membrane filter into a sterile bottle. The filter
                                                                     1 month, and 2 months. At each of the time point, one plastic
top is removed from the sterile stock bottle and the stock
                                                                     eyedropper (LDPE plastic) and one glass vial from each of
bottle is capped for storage with a sterile bottle cap.
                                                                  35 the stored condition were removed and allowed to equili-
    Diluted 0.01% Solution
                                                                     brate to ambient conditions. Once equilibrated, both the
    0.3 mL of the 1% solution was combined with a quantity
                                                                     plastic eyedropper and the glass vials were inverted 3 times.
sufficient to achieve 30 mL total of sterile 0.9% Sodium
                                                                     The solution in the eyedroppers was transferred to an HPLC
Chloride For Injection USP. The solution was thoroughly
                                                                     vial in a drop wise fashion through the dropper. The solution
mixed. The pH of the solution was recorded. A 0.22 micron 40
                                                                     in the glass vial was aliquotted into an HPLC vial using a
filter was placed on the tip of the syringe and the solution
                                                                     glass Pasteur pipette. The samples were then tested for
was aliquotted into separate sterile containers.
                                                                     purity and potency using the UPLC method listed in Table
       Example 3 Preparation of an Aqueous Solution                  10.
       Formulation Containing 0.01% Atropine Sulfate                            45
                                                                                                                TABLE 10
    Stock 1% Solution
                                                                                              UPLC Method Parameters
    In a 100 mL solution, 1 gram of atropine sulfate, and 0.77
g of NaCl (and other ingredients/components preferably in          Parameter                          Condition
their dry state) were added along with a quantity sufficient 50
to equal 100 mL sterile water for injection. The solution was      Column                             EMD, Hiber HR PurospherSTAR C-18,
mixed in an appropriately sized beaker with a stir bar on a                                           100 x 2.1 mm, 2 µm
hot plate until all of the solid powders had dissolved and the     Mobile Phase/Diluent               87:13, 50 mM Potassium Phosphate:
                                                                                                      Acetonitrile, pH 3.5
solution became clear with no visible particles. Next, the stir
                                                                55 Flow                               Isocratic
bar was removed, and the solution was poured into a filter
                                                                   Flow Rate                          0.5 mL/min
bottle and vacuum filtered through a 0.22 micron pothy-
                                                                   Detection Wavelength               210 nm
ethersulfone membrane filter into a sterile bottle. The filter
                                                                   Column Temperature                 30±3°C.
                                                                                                      30 ±- 3° C.
top was removed from the sterile stock bottle and the stock        Autosampler Temperature            5 ± 3° C.
bottle was capped for storage with a sterile bottle cap.        60 Run Time                           6.0 minutes
    Diluted 0.01% Solution                                         Injection Volume                   10 µL*
    0.3 mL of the 1% solution was combined with a quantity         Needle Wash Solution               90/10 Water:Acetonitrile
sufficient to achieve 30 mL total of sterile 0.9% Sodium
Chloride For Injection USP. The solution was thoroughly            *Modified from original method to maintain sensitivity at 100 µg/mL nominal.
mixed. The pH of the solution was recorded. A 0.22 micron 65
filter was placed on the tip of the syringe and the solution          Table 11 lists the stability data for the 0.01% atropine
was aliquotted into separate sterile containers.                   sulfate solutions.


                                                                    Appx000215
                                                                    Appx000215                             Eyenovia Exhibit
                                                                                                           Eyenovia Exhibit 1001,
                                                                                                                            1001, Page
                                                                                                                                  Page 53 of 65
                                                                                                                                       53 of 65
                    Case: 23-2402                            Document: 15                            Page: 272                   Filed: 02/01/2024


                                                                      US 10,842,787 B2
                                        75                                                                                                76
                                                                                TABLE 11
                                                           Stability Data for 0.01% Atropine Sulfate Solutions

                                                              =0
                                                             t=0                 t = 1 week              t=
                                                                                                         t = 2 week'            t = 1 month                t = 2 month'

         Container         Storage                             Po-                         Po-                      Po-                 Po-                     Po-
 Analyst Type              Condition                Purity    tency      pH     Purity    tency          Purity    tency   Purity      tency     pH   Purity   tency      pH

    1      Eyedropper,     25° C./60% RH            99.5       99.8    5.9       ND           ND         99.1       99.9      ND       ND      ND     95.4      97.4      6.3
           LDPE            40° C./75% RH                                         ND           ND         96.2       97.3      95.1     95.6    5.2    ND        ND        ND
           (Plastic)       60° C.                                                80.8         83.3       86.2       88.6      88.3     91.5    4.2    ND        ND        ND
           Glass Vial      25° C./60% RH            99.8      100.4    ND        ND           ND         92.2       93.1      80.7     80.5    7.8    73.0      74.5      7.3
                           40° C./75% RH                                         ND           ND         73.6       74.1      50.1     50.2    7.4    ND        ND        ND
                           60° C.                                                43.1         43.9       28.3       28.4      ND       ND      ND     ND        ND        ND
    2      Eyedropper,     25° C./60% RH            99.7       99.9    6.0       ND           ND         99.1       99.6      ND       ND      ND     97.0      99.1      6.1
           LDPE            40° C./75% RH                                         ND           ND         96.6       97.2      95.5     95.8    5.6    ND        ND        ND
           (Plastic)       60° C.                                                89.4         92.2       92.2       94.0      90.6     94.4    4.1    ND        ND        ND
           Glass Vial      25° C./60% RH            99.8      100.2    ND        ND           ND         92.6       92.9      82.5     82.2    7.6    80.2      81.6      7.3
                           40° C./75% RH                                         ND           ND         74.7       75.1      59.1     59.0    7.2    ND        ND        ND
                           60° C.                                                54.2         55.2       37.3       37.4      ND       ND      ND     ND        ND        ND
    3      Eyedropper,     25° C./60% RH            99.3       96.3    5.9       ND           ND         98.7       96.1      ND       ND      ND     95.8      94.8      6.3
           LDPE            40° C175% RH                                          ND           ND         96.7       93.1      94.8     91.8    5.5    ND        ND        ND
           (Plastic)       60° C.                                                88.8         89.0       88.0       86.8      88.6     87.7    4.1    ND        ND        ND
           Glass Vial      25° C./60% RH            99.4       98.4    ND        ND           ND         94.1       91.2      85.0     81.9    7.5    79.3      78.3      7.3
                           40° C./75% RH                                         ND           ND         72.2       74.6      61.3     63.0    7.2    ND        ND        ND
                           60° C.                                                48.6         51.1       34.1       34.9      ND       ND      ND     ND        ND        ND
    4      Eyedropper,     25° C./60% RH            99.8       99.6    6.2       ND           ND         99.1       98.8      ND       ND      ND     96.4      97.6      6.3
           LDPE            40° C175% RH                                          ND           ND         96.3       97.0      94.5     94.2    5.6    ND        ND        ND
           (Plastic)       60° C.                                                90.5         93.0       89.3       90.6      84.2     85.8    4.2    ND        ND        ND
           Glass Vial      25° C./60% RH            99.8       98.8    ND        ND           ND         90.7       90.0      76.9     75.1    7.6    72.5      71.6      7.4
                           40° C./75% RH                                         ND           ND         71.0       68.7      57.0     56.7    7.2    ND        ND        ND
                           60° C.                                                52.4         52.1       29.7       28.6      ND       ND      ND     ND        ND        ND
    5      Eyedropper,     25° C./60% RH            99.6      100.5    6.2       ND           ND         99.3      100.4      ND       ND      ND     97.8     100.5      6.2
           LDPE            40° C175% RH                                          ND           ND         95.9       96.7      96.8     97.6    5.5    ND        ND        ND
           (Plastic)       60° C.                                                91.2         94.6       91.4       93.6      90.3     92.8    4.2    ND        ND        ND
           Glass Vial      25° C./60% RH            99.8      100.7    ND        ND           ND         90.5       91.3      79.3     79.7    7.8    72.8      74.6      7.3
                           40° C./75% RH                                         ND           ND         71.3       71.9      56.0     56.4    7.3    ND        ND        ND
                           60° C.                                                46.3         47.4       29.5       29.6      ND       ND      ND     ND        ND        ND

'The 25° C. and the 60° C. samples were pulled at 15 days, the 40° C. samples were pulled at 11 days.
2The 25° C. and the 60° C. samples were pulled at 28 days, the 40° C. samples were pulled at 24 days.
2The 25° C. and the 60° C. samples were pulled at 46 days.



   A change in the pH of the 0.01% Atropine Sulfate                                                                           TABLE 12-continued
solutions was observed over the course of the stability study.
The plastic (LDPE) eyedroppers maintained pH around 6.2                                                            Area (%) of the Main Degradation Species for
when stored at 25° C. for 2 months. However at the same 40                                                           0.01% Atropine Sulfate (RRT 0.87-0.89)
time point, the pH of the 0.01% atropine has increased to 7.2
when stored in glass vials. Additionally, when stored at                                                        Temperature               t=1
                                                                                                                                          t =1        t=2
                                                                                                                                                      t= 2      t=1
                                                                                                                                                                t=1        t=2
                                                                                                                                                                           t=2
elevated temperatures (e.g. 40° C. and 60° C.), the pH in the                                   Analyst            ° C.        t= 0       week        week      month     months
plastic (LDPE) eyedroppers dropped to approximately 4-5,                                             2         25               0.07      NA           0.88     NA         2.46
while the pH maintained around 7.2 when stored in the glass                                                    40               NA        NA           3.26     4.37       NA
                                                               45
vials.                                                                                                         60               NA        9.38         7.67     9.13       NA
   There was also a significant difference in the rate of                                            3         25               0.07      NA           1.05     NA         2.88
degradation for Atropine Sulfate (0.01%) when stored in                                                        40               NA        NA           2.98     4.85       NA
plastic (LDPE) eyedroppers versus Type I glass vials. How-                                                     60               NA        9.59        11.57    10.55       NA
ever, in both containers there was an increase of an early                                           4         25               0.08      NA           0.92     NA         3.09
eluting related substance at relative retention time 50                                                        40               NA        NA           3.43     5.32       NA
                                                                                                               60               NA        8.30        10.46    15.49       NA
(RRT)=0.87-0.89. In some cases, this early eluting related                                           5         25               0.08      NA           0.64     NA         1.66
substance is referred to as primary degradant. In some                                                         40               NA        NA           3.96     3.07       NA
instances, the primary degradant is referred to as RRT                                                         60               NA        7.61         8.35     9.7        NA
0.87-0.89. This related substance is likely to be the first                                          Average 25° C.             0.08      NA           0.88     NA         2.81
parameter to fail specification regardless of the container. 55                                      Average 40° C.             NA        NA           3.47     4.48       NA
The amount of this related substance was tracked at each                                             Average 60° C.             NA       10.53        10.31    11.28       NA
time point and is listed in Table 12.
                                    TABLE 12
                                                                                               Arrhenius based shelf life predictions were calculated
                Area (%) of the Main Degradation Species for                             60
                                                                                            using the related substance data from Table 12. These
                  0.01% Atropine Sulfate (RRT 0.87-0.89)                                    predictions are based on an assumption that the degradation
            Temperature                t=1
                                       t = 1         t=2
                                                     t= 2        t=1
                                                                 t=1           t=2
                                                                               t=2
                                                                                            is first order (linear). These predictions are illustrated in
 Analyst       ° C.          t=0       week          week        month        months        FIGS. 1 and 2. FIG. 1 shows the shelf life prediction of
                                                                                            0.01% atropine sulfate solution with a primary degradant
    1            25          0.08       NA            0.92        NA           3.98
                 40          NA         NA            3.74        4.78         NA        65 RRT 0.87-0.89, and a n.m.t. of 0.5% area, based on data
                 60          NA        17.78         13.49       11.51         NA           obtained from samples stored at 25° C. and 40° C. The pH
                                                                                            range of the atropine sulfate solution is from 5.9-6.2. FIG. 2


                                                                              Appx000216
                                                                              Appx000216                                       Eyenovia Exhibit
                                                                                                                               Eyenovia Exhibit 1001,
                                                                                                                                                1001, Page
                                                                                                                                                      Page 54 of 65
                                                                                                                                                           54 of 65
                  Case: 23-2402                 Document: 15              Page: 273                  Filed: 02/01/2024


                                                         US 10,842,787 B2
                                 77                                                                       78
shows the shelf life prediction of 0.01% atropine sulfate               are dispensed from each bottle at predetermined time inter-
solution with a primary degradant RRT 0.87-0.89, and a                  vals (e.g. consecutively, every 1 minute, every 10 minutes,
n.m.t. of 0.5% area, based on data obtained from samples                every hour or every 24 hours). All drops are dispensed into
stored at 25° C. and 60° C. The pH range of the atropine                tared glass vials, capped, and stored at room temperature
sulfate solution is from 5.9-6.2.                                   5   until analysis. Concentrations of atropine in the expressed
                                                                        drops are determined using a reverse-phase HPLC method.
     Example 5        1% Atropine Sulfate (Bausch+Lomb)
                         Sample Analysis                                          Example 9     Formulation Stability Comparison

   The 1% atropine sulfate sample was obtained from 10            Atropine sulfate monohydrate (MP Bio; Lot Number
Bausch+Lomb (Lot 198421). For comparison the pH of the         7825K) and tropic acid (Sigma Aldrich; Lot Number
1% Atropine Sulfate drug product was determined in the         STBD6457V) were used for this experiment. Eight formu-
neat solution as well as a sample that was diluted to the      lations illustrated in Table 14A were analyzed at t=0, 2
current nominal concentration (0.01% Atropine Sulfate)         weeks, and 4 weeks. A RP-HPLC method was used to carry
using the vehicle. Additionally a sample was diluted to the 15 out the analysis.
nominal concentration with method diluent. Both samples
diluted to the nominal concentration were analyzed using the                            TABLE 14A
RP-UPLC method (Table 10). The results are listed in Table
                                                                                  Atropine sulfate formulations
13.
                                                                   20                Atropine Benzal-
                             TABLE 13                                                 Sulfate konium
                                                                          Form-       Mono- Chloride Sodium        Acetic       Citric   pH/
      pH and Purity of the Bausch + Lomb Atropine Sulfate Sample          ulation    hydrate (BAK) Chloride        Acid         Acid     pD Aqueous

                                                      Purity                            0.010   0.01     0.90      0.01                   4.2 SWFI
       Sample                           pH           (% area)      25        2          0.025   0.01     0.90      0.01                   4.2 SWFI
                                                                             3          0.010   0.01     0.90      0.01                   4.8 SWFI
       1% Atropine Sulfate             4.89            ND                    4          0.025   0.01     0.90      0.01                   4.8 SWFI
       0.01% Atropine Sulfate,         6.16           99.6%                  5          0.010   0.01     0.90                   0.04      5.8 SWFI
       diluted with Vehicle                                                  6          0.025   0.01     0.90                   0.04      5.8 SWFI
       0.01% Atropine Sulfate,          ND            99.6%                  7          0.010   0.01     0.90       0.01                  5.2 D2O
       diluted with Diluent                                                                                                              (pD)
                                                                   30
       Vehicle                          7.94            ND                   8          0.010   0.01     0.90                   0.04      6.2 D2O
                                                                                                                                         (pD)
ND = not determined

                                                                  The values are % w/v. The formulations were prepared at
           Example 6       Dose Uniformity (10-Dose)           100 mL scale in volumetric glassware. The pD of Formu-
                                                            35
                                                               lation 7 and Formulation 8 are 5.2 and 6.2, respectively. In
   To evaluate the dose-to-dose uniformity, drop bottles       some instances, the pD is calculated as pD=0.4+pH*, in
containing the ophthalmic aqueous composition are stored       which pH* is the measured or observed pH of the solution
upright for a predetermined period of time (e.g. 12 hours)     formulated in a solution containing deuterated water.
prior to the start of the test. To simulate the recommended       Table 14B illustrates analysis time points for the formu-
dosing of the product, 10 drops of the aqueous composition 40 lations listed in Table 14A.
are dispensed from each bottle at predetermined time inter-
vals (e.g. consecutively, every 1 minute, every 10 minutes,                                 TABLE 14B
every hour or every 24 hours). All drops are dispensed into
tared glass vials, capped, and stored at room temperature                   Schedule for atropine sulfate formulation testing
until analysis. Concentrations of atropine in the expressed 45      Storage                                  Time Point
drops are determined using a reverse-phase HPLC method.
                                                                            Condition                    Initial
            Example 7      Dose Uniformity (5-Dose)                         (Horizontal)                (t = 0)        2 Week             4 Week

                                                                            25° C./60% RH                 x                 x               x
   To evaluate the dose-to-dose uniformity, drop bottles 50        40° C./75% RH                               x      x
containing the ophthalmic aqueous composition are stored           60° C.                                      x      x
upright for a predetermined period of time (e.g. 12 hours)
prior to the start of the test. To simulate the recommended
dosing of the product, 5 drops of the aqueous composition         Table 15 illustrates the atropine sulfate purity data asso-
are dispensed from each bottle at predetermined time inter-    ciated with each of the eight formulations. Purity is indicated
vals (e.g. consecutively, every 1 minute, every 10 minutes, 55 as percentage of area under the curve.
every hour or every 24 hours). All drops are dispensed into
tared glass vials, capped, and stored at room temperature                                 TABLE 15
until analysis. Concentrations of atropine in the expressed
                                                                                 Atropine sulfate purity as Area-%
drops are determined using a reverse-phase HPLC method.
                                                                   60
                                                                        Solvent             Condition       t= 0     t= 2 weeks          t= 4 weeks'
            Example 8      Dose Uniformity (2-Dose)
                                                                        Formulation 1       25/60          97.39       97.76                98.20
                                                                        pH 4.2              40/75                      97.25                97.04
   To evaluate the dose-to-dose uniformity, drop bottles                                    60° C.                     94.98                93.87
containing the ophthalmic aqueous composition are stored      Formulation 2                 25/60          98.85       99.03                99.08
upright for a predetermined period of time (e.g. 12 hours) 65 pH 4.2                        40/75                      98.50                98.32
prior to the start of the test. To simulate the recommended                                 60° C.                     97.47                96.65
dosing of the product, 2 drops of the aqueous composition


                                                                Appx000217
                                                                Appx000217                       Eyenovia Exhibit
                                                                                                 Eyenovia Exhibit 1001,
                                                                                                                  1001, Page
                                                                                                                        Page 55 of 65
                                                                                                                             55 of 65
                     Case: 23-2402                           Document: 15                         Page: 274              Filed: 02/01/2024


                                                                        US 10,842,787 B2
                                         79                                                                                      80
                            TABLE 15-continued                                                                              TABLE 16
                        Atropine sulfate purity as Area-%                                                                Tropic acid as area-%

Solvent               Condition           t= 0      t= 2 weeks        t= 4 weeks'               Solvent         Condition    t= 0         t= 2 weeks   t= 4 weeks
                                                                                           5
Formulation 3         25/60               98.16         98.16             98.45                 Formulation 1   25/60        <LOQ             0.08       <LOQ
pH 4.8                40/75                             97.98             97.35                 pH 4.2          40/75                         0.10        0.10
                      60° C.                            95.94             94.65                                 60° C.                        0.37        0.51
Formulation 4         25/60               98.81         98.75             98.46                 Formulation 2   25/60        <LOQ             0.05       <LOQ
pH 4.8                40/75                             98.26             98.01                 pH 4.2          40/75                         0.11        0.12
                      60° C.                            96.22             94.04            10                   60° C.                        0.46        0.93
Formulation 5         25/60               98.16         97.92             97.54                 Formulation 3   25/60        <LOQ             0.12        0.05
pH 5.8                40/75                             95.88             93.51                 pH 4.8          40/75                         0.19        0.27
                      60° C.                            80.94             66.83                                 60° C.                        0.90        1.58
Formulation 6         25/60               99.08         98.91             98.46                 Formulation 4   25/60        <LOQ             0.10        0.13
pH 5.8                40/75                             97.65             96.20                 pH 4.8          40/75                         0.31        0.53
                      60° C.                            89.15             80.68                                 60° C.                        1.84        3.03
                                                                                           15
Formulation 7         25/60               98.93         99.07             98.39                 Formulation 5   25/60        <LOQ             0.40        0.71
pD 5.2                40/75                             98.51             97.55                 pH 5.8          40/75                         2.22        4.35
                      60° C.                            96.70             94.01                                 60° C.                       16.62       29.13
Formulation 8         25/60               98.93         98.95             98.51                 Formulation 6   25/60        <LOQ             0.24        0.42
pD 6.2                40/75                             98.53             97.44                 pH 5.8          40/75                         1.30        2.44
                      60° C.                            95.97             92.72                                 60° C.                        9.32       16.84
                                                                                           20 Formulation 7     25/60        <LOQ             0.07        0.08
 'Some chromatographic interference were observed to occur late in the run (-27-32            pD 5.2            40/75                         0.14        0.24
 minutes) for many of the t = 4 week stability samples and in some instances is proposed                        60° C.                        0.71        1.07
to be system related.
                                                                                                Formulation 8   25/60        <LOQ             0.11        0.14
                                                                                                pD 6.2          40/75                         0.33        0.65
   After four weeks of storage at 60° C., in some instances                                                     60° C.                        2.32        4.03
the atropine sulfate concentration have an impact on the 25
stability for the formulations containing acetic acid at pH
4.2. For example, atropine sulfate concentration at 0.025%            Table 17 illustrates percentage of potency of atropine in
w/v (Formulation 2) showed a 2.8% increase in % purity at          the eight formulations.
pH 4.2 compared to the atropine sulfate concentration at
0.010% w/v (Formulation 1). This trend was not observed 30                                    TABLE 17
for the acetic acid formulations at pH 4.8 (Formulations 3
                                                                                               % Potency
and 4); rather a 0.6% decrease in % purity was observed for
the higher doses.                                                  Solvent           Condition    t= 0   t= 2 weeks  t= 4 weeks
   The dose dependent stability trend that was observed at
                                                                   Formulation 1       25/60      109.4    110.3        112.8
pH=4.2 was also seen in the formulations containing citric 35 pH 4.2                   40/75                111.0       112.4
acid at pH 5.8 (Formulations 5 and 6). After four weeks of                             60° C.              112.8        114.8
storage at 60° C. there is approximately 14% less degrada-         Formulation 2       25/60      102.9    107.1        109.7
tion in the higher does than observed in the lower dose.           pH 4.2              40/75               108.4        109.6
                                                                                       60° C.              109.4        111.0
   At both the high and the low doses, more degradation is         Formulation 3       25/60      106.3    108.0        109.6
observed in the formulations that start at a higher pH. This    40 pH 4.8              40/75               108.1        110.0
degradation is predominantly the growth of tropic acid. In                             60° C.              108.0        109.9
                                                                   Formulation 4       25/60      102.5    107.9        109.2
some instances, buffer species plays a role in the observed        pH 4.8              40/75               107.4        108.9
degradation between the different pH values.                                           60° C.              107.9        108.8
   The percentage of tropic acid observed for each of the          Formulation 5       25/60      105.0    105.9        107.1
                                                                45 pH 5.8              40/75               103.8        103.5
formulations at t=4 weeks and at 60° C. are as follow:                                 60° C.                90.2        77.7
   Formulation 1-Tropic acid observed is 0.54%.                    Formulation 6       25/60      107.2    107.1        109.1
                                                                   pH 5.8              40/75               106.8        107.1
   Formulation 2-Tropic acid observed is 0.93%.                                        60° C.                99.0        93.7
   Formulation 3-Tropic acid observed is 1.58%.                    Formulation 7       25/60      107.3     111.3       112.9
                                                                50 pD 5.2              40/75                111.6       113.5
   Formulation 4-Tropic acid observed is 3.03%.                                        60° C.               111.8       113.5
                                                                   Formulation 8       25/60       99.0    103.0        105.0
   Formulation 5-Tropic acid observed is 29.13%.                   pD 6.2              40/75               104.9        104.7
   Formulation 6-Tropic acid observed is 16.84%.                                       60° C.              101.6        103.0

   Formulation 7-Tropic acid observed is 1.07%.
                                                                55
   Formulation 8-Tropic acid observed is 4.03%.                       After 4 weeks of storage, the observed potency values
   In some embodiments, switching the water source to              were elevated from the t=0 and 2 week time points, with the
deuterated water (D2O) has an impact on stabilizing the            exception of Formulations 5 and 6 at 60° C. where the
growth of the tropic acid peak for the formulation containing      potencies dropped due to degradation. In some instances,
acetic acid at pD 5.2 (Formulation 7), see FIG. 4. In addition, 60 these potency values are within the error of the HPLC
in the formulation containing citric acid at pD 6.2 (Formu-        method, but appear to be trending upward. Mass balance
lation 8), the deuterated water also stabilizes atropine sul-      was calculated for the 60° C. data and results were consistent
fate, see FIG. 5.                                                  across the formulations and levels of degradation, although
   Table 16 illustrates tropic acid as area under the curve for    skewed lower due to the higher than anticipated potency
each of the eight formulations. Tropic acid is a degradant of 65 values at 4 weeks, see FIG. 3.
atropine sulfate. In some instances, LOQ was previously               Table 18 illustrates pH or pD stability of the eight
found to be 0.05% for the RP-HPLC method.                          formulations.


                                                                              Appx000218
                                                                              Appx000218                             Eyenovia Exhibit
                                                                                                                     Eyenovia Exhibit 1001,
                                                                                                                                      1001, Page
                                                                                                                                            Page 56 of 65
                                                                                                                                                 56 of 65
                Case: 23-2402                  Document: 15              Page: 275               Filed: 02/01/2024


                                                      US 10,842,787 B2
                               81                                                                        82
                             TABLE 18                                                                  TABLE 19
                          pH/pD Stability                                 Activation energy for total related substance (RS) and tropic acid.

Solvent            Condition    t= 0    t= 2 weeks   t= 4 weeks
                                                                  5                            Total          Tropic
Formulation 1       25/60       4.21        3.93        4.02                                    RS            Acid
(pH)                40/75                   3.86        3.96
                    60° C.                  3.71        3.86                      1            Poor            Poor
Formulation 2       25/60       4.26        4.11        4.25                                   Corr            Corr
(pH)                40/75                   4.04        4.17
                                                                                  2            12.2            Poor
                    60° C.                  3.93        4.10      10
Formulation 3       25/60       4.85        4.44        4.61                                                   Corr
(pH)                40/75                   4.41        4.54                      3            Poor            18.3
                    60° C.                  4.32        4.40                                   Corr
Formulation 4       25/60       4.98        4.93        5.05                      4            16.8            18.1
(pH)                40/75                   4.89        4.98
                                                                                  5            19.8            19.7
                    60° C.                  4.77        4.77
                                                                  15              6            19.2            20.0
Formulation 5       25/60       5.87        5.93        6.03
(pH)                40/75                   5.96        5.96                      7            13.2            15.5
                    60° C.                  5.82        5.78                      8            Poor            18.9
Formulation 6       25/60       5.80        5.69        5.77                                   Corr
(pH)                40/75                   5.65        5.67                    Mean           16.2            18.4            Kcal/mole
                    60° C.                  5.54        5.50
                                                                  20            Stdev           3.4              1.6
Formulation 7       25/60       5.31        5.10        5.24
(pD)                40/75                   5.08        5.15                    RSD            21%              9%
                    60° C.                  5.00        4.93
Formulation 8       25/60       6.25        5.72        5.88
(pD)                40/75                   5.74        5.78
                                                                         Table 20 illustrates the rate of RS or tropic acid formation
                    60° C.                  5.58        5.50
                                                                  25   per week at 40° C.

   The italicized values are pD values for a deuterated                                      TABLE 20
sample. In some embodiments, the pD of the deuterated
samples are pD=pH„,d,,g+0.4 (Glasoe, et al. "Use of glass                                                Rate 40° C. Rate 40° C.
                                                                                                          (total RS    (Tropic
electrodes to measure acidities in deuterium oxide" J. Physi- 30                Formulation                %/wk)     acid %/wk)
cal Chem. 64(1): 188-190 (1960)).
                                                                 Formulation 5 0.01% Atr Citrate pH 5.8      1.16       1.09
   At the two lower temperatures, the pH values at t=4 week      Formulation 6 0.025% Atr Citrate pH 5.8     0.72       0.61
are slightly elevated from the t=2 week time point. These        Formulation 8 0.01% Atr Citrate                        0.163
data were generated using a new glass pH probe. In some                         pD 6.2 D2O
instances, the observed differences are due to the probe 35
differences or additional variables such as for example, the
age of the standard buffers or temperature gradients within         Table 21 illustrates the activation energy and predicted
the laboratory environment. The downward pH trend for            shelf  life at 30° C. calculated based on Table 20. It is
each formulation with increasing temperatures at t=4 week        assumed for the calculation that tropic acid and total RS is
is consistent with previous data and is consistent with the 40 5% (self-life).
increase in the amount of tropic acid present in the stability
sample.                                                                                     TABLE 21A
                                                                                            Rate @30° C.                    Estimated Shelf
          Example 10-Determination of Shelf Life and
                                                                                           (Total RS %/wk)                life (&,30° C. (mo)
                     Activation Energy                            45
                                                                        Formulation
                                                                        Formula  on   Ea min Ea mean      Ea max       Ea min Ea mean Ea max
   Activation energy was calculated for the eight formula-
                                                                         5       0.45      0.41      0.38  2.78       3.04     3.33
tions disclosed in Example 9 and comparison with a refer-                6       0.28      0.26      0.23  4.47       4.90     5.37
ence standard was made with Formulations 4-7.                            8
   Table 19 illustrates the activation energy (Ea) calculation. so
                                                                50
The Ea minimum is 17.8 Kcal/mol, the Ea maximum is 21.3
Kcal/mol, and the Ea mean is 19.5 Kcal/mol. Mean is
+/-3*stdev. FIGS. 6 and 7 illustrate the poor correlation                                     TABLE 21B
between RS and tropic acid with Formulation 4 and For-                                   Rate @30° C.           Estimated Shelf
mulation 7, respectively. FIGS. 8 and 9 illustrate improved 55                        (Tropic acid %/wk)      life (&,30° C. (mo)
correlation between RS and tropic acid with Formulation 5
                                                                     Formulation  Ea min Ea mean Ea max    Ea min Ea mean Ea max
and Formulation 6, respectively. At a lower pH (e.g. pH 4.8
or lower), there was a poor correlation observed (Formula-                 5        0.42      0.39    0.35    2.95       3.24      3.54
tion 4 and Formulation 7). This was due to a slowed                        6        0.24      0.22    0.20    5.28       5.78      6.33
hydrolysis and increased alternative degradation pathways. 60              8        0.06      0.06    0.05   19.75      21.64     23.70

At a higher pH (e.g., pH 5.8 or higher), an improved or better
correlation was observed (Formulation 5 and Formulation
                                                                     At pD 6.2, the deuterated formulation (Formulation 8) has
6). This was due to the hydrolysis of atropine as the primary
                                                                   a predicted shelf life of close to 2 years at 30° C.
degradant. It is noted that the activation energy is for the
specific acid catalyzed degradation to tropic acid the pre- 65       Table 22 illustrate the predicted shelf life at temperatures
dominant degradation product and degradation mechanism             of 40° C., 30° C., 25° C., and 2-8° C. for Formulations 4-8
operating at pH 5.8 or higher.                                     for total RS and tropic acid, respectively.


                                                          Appx000219
                                                          Appx000219                           Eyenovia Exhibit
                                                                                               Eyenovia Exhibit 1001,
                                                                                                                1001, Page
                                                                                                                      Page 57 of 65
                                                                                                                           57 of 65
                  Case: 23-2402                              Document: 15                     Page: 276                 Filed: 02/01/2024


                                                                        US 10,842,787 B2
                                       83                                                                                         84
                                    TABLE 22                                                eye droppers. In some instances, the pD is calculated as
                                                                                            pD=0.4+pH*, in which pH* is the measured or observed pH
    Stability Prediction                                   Temper-                          of the solution formulated in a solution containing deuter-
                Temperature                 RS              ature      Tropic Acid          ated water.
                                                                                       5       Table 23B illustrates analysis time points for the formu-
 Formulation       (° C.)           weeks    months         (° C.)    weeks months          lations listed in Table 23A.
      4                40            16.5          4.1       40         7.7     1.9
                       30            40.2         10.1       30        20.0     5.0                                       TABLE 23B
                       25            64.2         16.0       25        33.0     8.3
                       2-8          493.4        123.4       2-8      296.8    74.2    10                 Schedule for atropine sulfate formulation testing
      5                40             2.8          0.7       40         0.9     0.2
                       30             7.9          2.0       30         2.7     0.7             Storage                                      Time Point
                       25            13.7          3.4       25         4.6     1.2
                       2-8          151.1         37.8       2-8       50.5    12.6             Condition                       Initial
      6                40             5.8          1.4       40         1.7     0.4             (Horizontal)                   (t = 0)        2 Week          4 Week
                       30            15.9          4.0       30         4.8     1.2
                                                                                       15
                       25            27.3          6.8       25         8.4     2.1             25° C./60% RH
                       2-8          281.6         70.4       2-8       95.9    24.0             40° C./75% RH
      7                40            11.5          2.9       40        16.9     4.2             60° C.
                       30            23.2          5.8       30        38.4     9.6
                       25            33.4          8.4       25        59.1    14.8
                       2-8          165.7         41.4       2-8      388.2    97.1          Table 24A and Table 24B illustrate atropine sulfate purity
      8                40                                    40         6.2     1.6    20
                                                                                          data associated with the atropine sulfate formulations. Purity
                       30                                    30        17.0     4.3
                       25                                    25        28.9     7.2       is indicated as percentage of arca under the curve. The t &
                       2-8                                   2-8      287.1    71.8       1 indicate the high or low concentration of atropine sulfate
                                                                                          monohydrate (0.01% and 0.025%). The A & C indicate the
                                                                                       25
                                                                                          buffer species used, acetic acid and citric acid respectively.
          Example 11-Additional Formulation Stability
                        Comparison                                                                                        TABLE 24A
                                                                                                      Atropine Sulfate Purity as Area-% for H2O Formulations
   Atropine sulfate monohydrate (MP Bio; Lot Number
7825K) and tropic acid (Sigma Aldrich; Lot Number 30 Solvent                                                          Condition       t= 0     t= 2 weeks     t= 4 weeks

STBD6457V) were used for this experiment. Thirteen for-        Formulation 3                                           25/60         98.16       98.16          98.45
mulations illustrated in Table 23A were analyzed. Formu-       IA H2O pH 4.8                                           40/75                     97.98          97.35
lations 1-8 had been analyzed at t=0, 2 weeks, 4 weeks, and                                                            60° C.                    95.94          94.65
                                                               Formulation 5                                           25/60         98.16       97.92          97.54
8 weeks. Formulations 9-13 had been analyzed at t=0, 2         IC H2O pH 5.8                                           40/75                     95.88          93.51
weeks, and 4 weeks. The pH values reported herein are the   35
                                                                                                                       60° C.                    80.94          66.83
measured pH values obtained using the Thermo Scientific,       Formulation 10                                          25/60         98.66       96.67          95.81
Orion Dual Star pH/ISE benchtop pH meter and the Orion         IC H2O pH 6.4                                           40/75                     91.07          85.27
                                                                                                                       60° C.                    59.77          42.87
Double Junction Micro pH probe S/N S01-18520
                                       SO1-18520 calibrated    Formulation 11                                          25/60         99.47       97.87          96.69
with H2O based standards.                                      1C(2x) H2O pH 6.4                                       40/75                     90.97          84.26
                                                                                       40                              60° C.                    54.96          34.40
                                    TABLE 23A                                               Formulation 13             25/60         97.21       95.42          93.24
                                                                                            IC H2O pH 6.8              40/75                     83.05          73.00
                                                                                                                       60° C.                    43.99          27.50
                         Atropine sulfate Formulations

            Atropine Benzal-
             Sulfate konium                                                            45
  Form-      Mono Chloride Sodium                 Acetic     Citric   pH/                                                 TABLE 24B
  ulation   hydrate (BAK) Chloride                Acid       Acid     pD Aqueous
                                                                                                      Atropine Sulfate Purity as Area-% for D,O Formulations
     1         0.010         0.01     0.90         0.01                4.2 SWFI
     2         0.025         0.01     0.90         0.01                4.2 SWFI             Solvent                Condition       t= 0      t= 2 weeks     t= 4 weeks
     3         0.010         0.01     0.90         0.01                4.8 SWFI        50
     4         0.025         0.01     0.90         0.01                4.8 SWFI             Formulation 7            25/60        98.93        99.07           98.39
     5         0.010         0.01     0.90                   0.04      5.8 SWFI             IA D2O pD 5.2            40/75                     98.51           97.55
     6         0.025         0.01     0.90                   0.04      5.8 SWFI                                      60° C.                    96.70           94.01
     7         0.010         0.01     0.90         0.01                5.2 D2O              Formulation 8            25/60        98.93        98.95           98.51
                                                                      (pD)                  IC D2O pD 6.2            40/75                     98.53           97.44
     8         0.010         0.01     0.90                   0.04      6.2 D2O         55                            60° C.                    95.97           92.72
                                                                      (pD)                  Formulation 9            25/60        99.29        98.42           98.07
     9         0.010                  0.90                   0.04      6.8 D2O              IC D2O pD 6.8            40/75                     95.20           93.22
                                                                      (pD)                                           60° C.                    75.17           65.97
    10         0.010                  0.90                   0.04      6.4 H2O              Formulation 12           25/60        98.53        97.17           95.99
                                                                           (control)        IC D2O pD 7.2            40/75                     90.75           84.64
    11         0.010                  0.90                   0.08      6.4 H2O                                       60° C.                    56.78           46.05
                                                                                       60
                                                                           (control)
    12         0.010                  0.90                   0.04      7.2 D2O
                                                               Table 25A and Table 25B illustrate tropic acid formation
                                                                      (pD)
    13         0.010                  0.90                   0.04      6.8 H2O
                                                             associated with the atropine sulfate formulations. Tropic
                                                                           (control)
                                                             acid is a degradant of atropine sulfate, and is indicated as
                                                          65 percentage of area under the curve. LOQ was found to be
  The values are % w/v. The formulations were prepared at    0.05% for the RP-HPLC method. The t & 1 indicate the
100 mL scale in volumetric glassware and filled into LDPE    high or low concentration of atropine sulfate monohydrate


                                                                              Appx000220
                                                                              Appx000220                              Eyenovia Exhibit
                                                                                                                      Eyenovia Exhibit 1001,
                                                                                                                                       1001, Page
                                                                                                                                             Page 58 of 65
                                                                                                                                                  58 of 65
                   Case: 23-2402                      Document: 15                   Page: 277              Filed: 02/01/2024


                                                                US 10,842,787 B2
                                      85                                                                              86
(0.01% and 0.025%). The A & C indicate the buffer species                                                     TABLE 26B
used, acetic acid and citric acid, respectively.
                                                                                                 Percentage of potency for D,O Formulations

                              TABLE 25A                                            Solvent              Condition     t= 0     t= 2 weeks     t= 4 weeks
                                                                              5
                Tropic Acid as Area-% for H2O Formulations                         Formulation 7         25/60        107.3      111.3          112.9
                                                                                   IA D2O pD 5.2         40/75                   111.6          113.5
                                                                                                         60° C.                  111.8          113.5
Solvent                   Condition     t= 0      t= 2 weeks    t= 4 weeks         Formulation 8         25/60         99.0      103.0          105.0
                                                                                   1C D2O pD 6.2         40/75                   104.9          104.7
Formulation 3               25/60      <LOQ           0.12          0.05      10                         60° C.                  101.6          103.0
IA H2O pH 4.8               40/75                     0.19          0.27           Formulation 9         25/60        101.4       99.9          100.1
                            60° C.                    0.90         1.58            IC D2O pD 6.8         40/75                    97.4           93.2
Formulation 5               25/60      <LOQ           0.40         0.71                                  60° C.                   78.7           68.9
                                                                                   Formulation 12        25/60        104.9      103.5          101.6
1 C H2O pH 5.8              40/75                    2.22          4.35
                                                                                   IC D2O pD 7.2         40/75                    96.9           89.1
                            60° C.                  16.62         29.13                                  60° C.                   62.5           50.9
                                                                              15
Formulation 10              25/60       0.74         1.90          3.21
1 C H2O pH 6.4              40/75                    7.61         13.49
                            60° C.                  37.44         54.06            Table 27A and Table 27B illustrate the stability of pH or
Formulation 11              25/60       0.09         1.31          2.64          pD for the atropine sulfate formulations. The t & 1 indicate
1 C(2x) H2O pH 6.4          40/75                    7.61         14.68          the high or low concentration of atropine sulfate monohy-
                            60° C.                  42.43         62.23       20 drate (0.01% and 0.025%). The A & C indicate the buffer
Formulation 13              25/60       2.21         3.66          6.11          species used, acetic acid and citric acid respectively.
1 C H2O pH 6.8              40/75                   15.47         25.80
                            60° C.                  53.24         69.34
                                                                                                              TABLE 27A
                                                                              25                    Stability of pH for H2O Formulations

                              TABLE 25B                                            Solvent                Condition     t= 0     t= 2 weeks    t= 4 weeks

                Tropic Acid as Area-% for D,O Formulations                         Formulation 3            25/60       4.85        4.44          4.61
                                                                                   IA H2O pH 4.8            40/75                   4.41          4.54
Solvent                 Condition      t =0       t = 2 weeks   t = 4 weeks   30                            60° C.                  4.32          4.40
                                                                                   Formulation 5            25/60       5.87        5.93          6.03
Formulation 7            25/60        <LOQ           0.07          0.08            IC H2O pH 5.8            40/75                   5.96          5.96
IA D2O pD 5.2            40/75                       0.14          0.24                                     60° C.                  5.82          5.78
                         60° C.                      0.71          1.07            Formulation 10           25/60       6.43        6.41          6.46
Formulation 8            25/60        <LOQ           0.11          0.14            IC H2O pH 6.4            40/75                   6.62          6.67
1 C D2O pD 6.2           40/75                       0.33          0.65                                     60° C.                  6.01          5.92
                                                                              35
                         60° C.                      2.32          4.03            Formulation 11           25/60       6.44        6.47          6.72
Formulation 9            25/60         0.06          0.55          1.06            1C (2x) H2O pH 6.4       40/75                   6.66          6.61
1 C D2O pD 6.8           40/75                       3.16          6.29                                     60° C.                  6.27          6.23
                         60° C.                     21.09         29.25            Formulation 13           25/60       6.77        6.91          6.91
Formulation 12           25/60         0.42          1.35          2.62            IC H2O pH 6.8            40/75                   6.65          6.62
1 C D2O pD 7.2           40/75                       7.27         13.53                                     60° C.                  6.30          6.19
                         60° C.                     38.58         48.15       40



   Table 26A and Table 26B illustrate the percentage of                                                       TABLE 27B
potency of atropine in the formulations. The t & 1 indicate                                         Stability of pD for D,O Formulations
the high or low concentration of atropine sulfate monohy- 45
drate (0.01% and 0.025%). The A & C indicate the buffer      Solvent                                    Condition     t= 0     t = 2 weeks    t = 4 weeks
species used, acetic acid and citric acid respectively.      Formulation 7                               25/60        5.31        5.10           5.24
                                                                                   IA D2O pD 5.2         40/75                    5.08           5.15
                              TABLE 26A                                                                  60° C.                   5.00           4.93
                                                                              50 Formulation 8           25/60        6.25        5.72           5.88
                 Percentage of potency for H2O Formulations                      IC D2O pD 6.2           40/75                    5.74           5.78
                                                                                                         60° C.                   5.58           5.50
Solvent                   Condition     t =0      t = 2 weeks   t = 4 weeks        Formulation 9         25/60        6.76        6.80           6.81
                                                                                   IC D2O pD 6.8         40/75                    6.78           6.86
Formulation 3               25/60      106.3        108.0         109.6                                  60° C.                   6.45           6.24
IA H2O pH 4.8               40/75                   108.1         110.0       55 Formulation 12          25/60        7.25        7.18           7.26
                            60° C.                  108.0         109.9          IC D2O pD 7.2           40/75                    7.14           7.15
Formulation 5               25/60      105.0        105.9         107.1                                  60° C.                   6.52           6.36
IC H2O pH 5.8               40/75                   103.8         103.5
                            60° C.                   90.2          77.7
Formulation 10              25/60      101.7        100.0          98.0
1C H2O pH 6.4               40/75                    89.4          87.0       60             Example 12. Determination of Shelf Life and
                            60° C.                   63.7          45.7
                                                                                               Activation Energy for Atropine Sulfate
Formulation 11              25/60          97.5      96.1          94.3
1 C(2x) H2O pH 6.4          40/75                    89.4          82.0                             Formulations of Example 11
                            60° C.                   55.7          35.20
Formulation 13              25/60          99.4      96.9          94.1
                                                                                      Activation energy was calculated for the atropine sulfate
IC H2O pH 6.8               40/75                    85.0          74.0
                            60° C.                   46.4          29.8       65   formulations disclosed in Example 11. Specifically, activa-
                                                                                   tion energies were calculated from the total % of related
                                                                                   substances (RS) at 40° C. and 60° C. (2 point calculations)


                                                                    Appx000221
                                                                    Appx000221                            Eyenovia Exhibit
                                                                                                          Eyenovia Exhibit 1001,
                                                                                                                           1001, Page
                                                                                                                                 Page 59 of 65
                                                                                                                                      59 of 65
                   Case: 23-2402                    Document: 15                   Page: 278                 Filed: 02/01/2024


                                                                US 10,842,787 B2
                                    87                                                                               88
and from tropic acid formation at 40° C. and 60° C. (2 point                                                    TABLE 30
calculations). These values were then averaged. Table 28
illustrates the activation energy calculation. Table 29 illus-                       Stability Prediction                              Temper-
trates estimated shelf-lifes from the 40° C. rate of formation
of % RS and tropic acid, respectively. FIG. 10 illustrates                  5                    Temperature              RS            ature     Tropic Acid
estimated shelf lifes for D2O and H2O formulations.
                                                                                  Formulation      (° C.)       weeks      months       (° C.)   weeks months
                          TABLE 28
                                                                                         2           40            64.5         16.1     40
                                                                            10                       30          153.2          38.3     30
                        Activation Energy
                                                                                                     25          241.2          60.3     25
                                                                                                    2-8         1747.9         437.0     2-8
        Atropine                                                                         3           40           31.1           7.8     40        99.5    24.9

      Formulations        Total RS                   Tropic Acid                                     30           73.9          18.5     30       268.3    67.1
                                                                            15                       25          116.3          29.1     25       451.8   113.0
                                                                                                    2-8          842.9         210.7     2-8     4382.0 1095.5
              7             14                          19
                                                                                         4           40           30.7           7.7     40        42.1    10.5
              3             16                          17                                           30           73.0          18.2     30       113.7    28.4
              8                20                       21                                           25          114.9          28.7     25       191.5    47.9
              5             14                        Poor Corr             20                      2-8          832.6         208.1     2-8     1857.0   464.2
                                                                                         5           40             5.5          1.4     40         4.9     1.2
              6             15                          16
                                                                                                     30           13.1           3.3     30        13.2     3.3
         Mean               16.3                        18.7
                                                                                                     25           20.6           5.2     25        22.2     5.5
         Stdev                 2.68                      1.90                                       2-8          149.3          37.3     2-8      215.0    53.8
          RSD                  16%                      10%                 25           6           40           10.7           2.7     40         8.8     2.2
       Poor Corr:          One or more curve had R2 < 0.95                                           30           25.5           6.4     30        23.7     5.9
                                                                                                     25           40.1          10.0     25        39.8    10.0
                                                                                                    2-8          290.5          72.6     2-8      386.5    96.6
                                                                                         7           40           27.9           7.0     40       129.6    32.4
                          TABLE 29                                          30                       30           66.4          16.6     30       349.6    87.4
                                                                                                     25          104.5          26.1     25       588.7   147.2
                       Estimated Shelf Life
                                                                                                    2-8          757.3         189.3     2-8     5709.4 1427.4
                                      Estimated Shelf life/mo
                                                      I fe/mo                            8           40           23.3           5.8     40        33.6     8.4
                                                                                                     30           55.3          13.8     30        90.6    22.6
                       Total related substances %         Tropic acid %     35
                              (limit=
                              (limit = 8%)                 (limit=
                                                           (limit = 5%)                              25           87.2          21.8     25       152.5    38.1
                                                                                                    2-8          631.6         157.9     2-8     1479.2   369.8
Formulation              8° C.             25° C.        8° C.     25° C.

0.01% w/v Atr           189                  26         1427       147
0.01% w/v Acetate
                                                                            40
0.9% w/v NaCI
                                                                                             Example 13 Forced Degradation Study of
0.01% w/v BAK
pD 5.2 D2O                                                                                    Atropine Formulation 8 in D2O and H2O
(Formulation 7)                                                                                            Conditions
0.01% w/v Atr            211                29          1095       113
0.01% w/v Acetate
0.9% w/v NaCI                                                               45     Atropine sulfate monohydrate (MP Bio; Lot Number
0.01% w/v BAK                                                                    7825K) was used for this experiment. A correction factor of
pH 4.8 H2O
(Formulation 3)                                                                  83.3% is used to quantitate amount of free Atropine. Table
0.01% w/v Atr           158                 22            369.8     38           31 shows the D2O and H2O formulation compositions.
0.04% w/v Citrate
O.9%
0.9% w/v NaCI                                                               50
                                                                                                                TABLE 31
0.01% w/v BAK
pD 6.2 D2O                                                                                                Formulation 8 Compositions
(Formulation 8)
0.01% w/v Atr            37                   5.2            54      5.5                        [Free Atropine]
0.04% w/v Citrate                                                                Formulation        (µg/mL)     Composition
0.9% w/v NaCI                                                               55
0.01% w/v BAK                                                                    8-D2O               83.3        0.01% (w/v) Benzalkonium Chloride,
pH 5.8 H2O                                                                                                       0.9% (w/v) NaCI, 0.208 mM Citric Acid
(Formulation 5)                                                                                                  in D2O, pD 6.2
0.01% Atr                13.6                 2.6                                8-H2O               83.3        0.01% (w/v) Benzalkonium Chloride,
0.9% w/v NaCI                                                                                                    0.9% (w/v) NaCI, 0.208 mM Citric Acid
                                                                            60                                   in H2O, pH 5.8
pH 5.9 H2O
extemporaneous
preparation
                                                                      D2O-based Formulation 8 and H2O-based Formulation 8
                                                                    were subjected to acid, base, light, heat and oxidative stress.
   Tables 30 illustrate the predicted shelf life at temperatures 65 Approximately 5-20% degradation was targeted for all stress
of 40° C., 30° C., 25° C., and 2-8° C. for Formulations 2-8         conditions to produce sufficient degradation while avoiding
for total RS and tropic acid, respectively.                         secondary degradation. At each condition, Formulation 8


                                                                   Appx000222
                                                                   Appx000222                               Eyenovia Exhibit
                                                                                                            Eyenovia Exhibit 1001,
                                                                                                                             1001, Page
                                                                                                                                   Page 60 of 65
                                                                                                                                        60 of 65
              Case: 23-2402              Document: 15                    Page: 279               Filed: 02/01/2024


                                                 US 10,842,787 B2
                            89                                                                           90
samples were incubated alongside a vehicle control contain-
ing BAK. For the light condition, a foil wrapped Formula-                              (Potencyjnidai + (100 —
                                                                                       (Potencyjnitiai       — PurdYinitiad)
                                                                                                               PurilYiaisad)
                                                                       Mass Balance -—
tion 8 control and foil wrapped vehicle control were pre-                                                      Purityfr, d))
                                                                                        (Potencyjud + (100 - Purityfr,,d))
pared to understand if extraneous degradation, such as heat
in the light box, were to occur. A RP-HPLC method was 55
used to carry out the analysis. Mass balance (the correlation   The forced degradation results were processed at 210 nm,
of potency and purity by area-%) was also evaluated using     and are presented in Tables 32A and 32B for H2O and D2O
Equation I.                                                   formulations, respectively.

                                                                                       TABLE 32A
                                                                      Forced Degradation Results for Formulation 8 -

                                                                                                                            Main
                                                                                    Recovery    Purity Peak     Peak        Peak
                                                                                      (vs.       (vs.   Purity Purity     Spectrally  Mass
                                                Stress Condition        Duration    Control)   Control) Angle Threshold     Pure?    Balance

                                              Control     2-8° C.,        3 day      100.9      100.0   0.412     0.657
                                                            foil
                                                         wrapped
                                                Acid     Ambient,        23 day       -7.9       -5.9   0.301     0.513      Y      101.8%
                                               (1.0N        foil
                                                HCl)     wrapped
                                                Base     Ambient,         4 hr        —5.2       —6.6   0.417     0.725      Y        98.7%
                                              (0.001N       foil          6 hr        —7.3       —7.9   0.462     0.741      Y        99.5%
                                               NaOH)     wrapped
                                                Heat      60° C.,         7 day      -12.1      -11.9   0.428     0.478      Y      100.3%
                                                            foil         10 day      -18.4      -18.4   0.476     0.752      Y      100.0%
                                                         wrapped
                                               Light     Ambient,           1.1      -10.1       -7.6   0.478     0.831      Y      102.5%
                                                           clear          million
                                                         glass vial     lux hours
                                                                         (10 day)
                                                                            1.5      -19.1      -12.2   0.597     0.911      Y      107.1%
                                                                          million
                                                                        lux hours
                                                                         (14 day)
                                               Light     Ambient,           1.1       -0.4       -0.5   0.411     0.665      Y        99.9%
                                              Control      foil           million
                                                         wrapped        lux hours
                                                                         (10 day)
                                                                            1.5       -3.0       -0.3   0.388     0.592      Y      102.8%
                                                                          million
                                                                        lux hours
                                                                         (14 day)
                                             Oxidation   Ambient,          3 day     -16.0       -7.9   0.532     0.791      Y      108.8%
                                               (3%         foil            4 day     -28.0      -13.9   0.473     0.777      Y      115.7%
                                              H2O2)      wrapped           7 day     -29.4      -13.5   0.705     0.967      Y      118.9%




                                                                                       TABLE 32B
                                                                      Forced Degradation Results for Formulation 8 -

                                                                                                                            Main
                                                                                    Recovery    Purity Peak     Peak        Peak
                                                                                      (vs.       (vs.   Purity Purity     Spectrally  Mass
                                                Stress Condition        Duration    Control)   Control) Angle Threshold     Pure?    Balance

                                              Control     2-8° C.,        4 day      106.7       98.3   0.361     0.659
                                                            foil
                                                         wrapped
                                                Acid     Ambient,        17 day       -6.9       -5.5   0.250     0.469      Y        97.9%
                                               (1.0N        foil
                                                HCl)     wrapped
                                                Base     Ambient,         5 day       -2.3       -2.2   0.495     0.849      Y      100.0%
                                              (0.001N       foil
                                               NaOH)     wrapped
                                                Base     Ambient,        30 min       -9.7       -9.6   0.601     0.894      Y      100.2%
                                              (0.005N       foil
                                               NaOH)     wrapped
                                                Heat      60° C.,        17 day      -18.1      -16.9   0.281     0.550      Y      101.1%
                                                            foil
                                                         wrapped
                                               Light     Ambient,          0.44      -14.1       -4.5   0.463     0.733      Y      109.6%
                                                           clear         million
                                                         glass vial     lux hours
                                                                         (4 day)




                                                        Appx000223
                                                        Appx000223                             Eyenovia Exhibit
                                                                                               Eyenovia Exhibit 1001,
                                                                                                                1001, Page
                                                                                                                      Page 61 of 65
                                                                                                                           61 of 65
                    Case: 23-2402                           Document: 15                        Page: 280                   Filed: 02/01/2024


                                                                        US 10,842,787 B2
                                         91                                                                                          92
                                         TABLE 32B-continued
                          Forced Degradation Results for Formulation 8 - D,O

                                                                                            Main
                                           Recovery  Purity Peak     Peak                   Peak
                                             (vs.     (vs.   Purity Purity                Spectrally  Mass
    Stress Condition         Duration      Control) Control) Angle Threshold                Pure?    Balance

                                0.87          -24.2       -11.3    0.528      0.846           Y         113.8%
                              million
                             lux hours
                              (8 day)
    Light      Ambient,         0.44          -0.2          1.7    0.354      0.640           Y         101.8%
  Control        foil         million
    (foil      wrapped       lux hours
  covered)                    (4 day)
                               0.87             0.0         1.4    0.330      0.599           Y         101.3%
                              million
                             lux hours
                              (8 day)
 Oxidation     Ambient,        4 day          -10.6        -3.0    0.439      0.720           Y        107.5%
   (3%           foil          8 day          -17.9        -8.3    0.385      0.672           Y        109.9%
  H2O2)        wrapped




      Example 14           Formulation 8 Stability Comparison         A comparison of Formula 8 in H2O and D2O under three
                                                                   storage conditions is further illustrated in FIG. 11. FIG. 11A
                                                                25 shows the presence of tropic acid degradant at 25° C. with
   The long-term stability of atropine sulfate formulation 8       60% humidity. By week 8, about 1.45% of tropic acid was
in D2O (see Table 31 for formulation composition) was              observed in the H2O formulation while only 0.23% of tropic
analyzed at three different storage conditions. Table 33           acid was observed in the D2O formulation. Similarly, at 40°
                                                                   C. with 75% humidity storage condition (FIG. 11B), 8.34%
illustrates the stability criteria: appearance, potency, tropic
                                                                30
                                                                   of tropic acid was observed in the H2O formulation while
acid level, total purity, and pD at storage conditions of 25°      only 1.24% of tropic acid was observed in the D2O formu-
C. with 60% humidity, 40° C. with 75% humidity, and 60°            lation by week 8. At 60° C. storage condition (FIG. 11C),
C. As discussed above, pD=pH„,,,g+0.4 (Glasoe, et al.              42.8% of tropic acid was observed in the H2O formulation
"Use of glass electrodes to measure acidities in deuterium         while only 6.01% of tropic acid was observed in the D2O
oxide" J. Physical Chem. 64(1): 188-190 (1960)).                   formulation by week 8.

                                                             TABLE 33

                                                         Formulation 8 Stability

Parameter                  Initial         2 weeks         4 weeks          8 weeks         6 months        9 months2       12 months'

                                                 Storage Condition: 25° C./60% RH

Appearance                                              Clear Colorless Solution Free of Particulates
Potency (Assay)           99.2%           103.0%           105.0%         96.0%          99.7%                97.7%          101.7%
Tropic Acid                0.05%            0.11%            0.14%         0.23%          0.55%                0.91%           1.24%
Level
Total Purity'            98.9%              98.9%         98.5%         98.1%      99.2%                     98.4%            97.8%
pD                     6.3 (pH 5.9)      5.7 (pH 5.3) 5.9 (pH 5.5) 5.7 (pH 5.3) 5.8 (pH 5.4)              5.7 (pH 5.3)     5.8 (pH 5.4)
                                                 Storage Condition: 40° C./75% RH

Appearance                                              Clear Colorless Solution Free of Particulates
Potency (Assay)           99.2%           104.8%           104.7%         94.9%          96.6%                94.2%           95.6%
Tropic Acid                0.05%            0.34%            0.65%         1.24%          3.32%                5.05%           6.71%
Level
Total Purity'            98.9%              98.5%            97.5%        96.6%              96.3%           92.5%            90.5%
pD                     6.3 (pH 5.9)      5.7 (pH 5.3)     5.8 (pH 5.4) 5.6 (pH 5.2)       5.7 (pH 5.3)    5.5 (pH 5.1)     5.7 (pH 5.3)
                                                        Storage Condition: 60° C.

Appearance                                              Clear Colorless Solution Free of Particulates
Potency (Assay)4          99.2%           101.6%           103.0%         92.9%         100.6%              104.0%           115.9%
Tropic Acid                0.05%            2.33%            4.02%         6.01%         10.33%              10.87%           12.97%
Level
Total Purity'            98.9%              96.0%           92.8%          88.8%             85.5%           78.0%            72.4%
pD                     6.3 (pH 5.9)      5.6 (pH 5.2)    5.5 (pH 5.1)    5.2 (pH 4.8)     5.1 (pH 4.7)    4.9 (pH 4.5)     5.0 (pH 4.6)

'Slight variability is observed in the total purity results due to sensitivity differences from one HPLC system to the next.
2Results reported are from a second aliquot taken from the original assay eyedropper.
3Results reported are from an aliquot taken from the original assay eyedropper.
4A growing unknown related substance peak is observed to co-elute with the main peak and is included in the Atropine Sulfate potency result
due to a lack of a clear inflection point between the two species upon integration.




                                                                            Appx000224
                                                                            Appx000224                                   Eyenovia Exhibit
                                                                                                                         Eyenovia Exhibit 1001,
                                                                                                                                          1001, Page
                                                                                                                                                Page 62 of 65
                                                                                                                                                     62 of 65
               Case: 23-2402                Document: 15               Page: 281           Filed: 02/01/2024


                                                    US 10,842,787 B2
                             93                                                                   94
        Example 15 Effect of pH on Ophthalmic                       removal of the facemask or lens. The optometrist, orthoptist,
              Acceptance in Guinea Pigs                             or ophthamologist is masked in regard to the treatment
                                                                    conditions for each animal.
   A cohort of guinea pigs is administered 50 µL of oph-               Refraction is measured by retinoscopy after the pupil is
thalmic formulations having different pH values described 5 completely dilated by topical administration of 1% cyclo-
herein. For example, ophthalmic formulations comprising             pentolate hydrochloride. The results of retinoscopy are
H2O or deuterated water (e.g., D2O) are administered to the         recorded as the mean value of the horizontal and vertical
animals Animal behavior is recorded at predetermined time           meridians.
intervals to evaluate the acceptance of the ophthalmic for-            Corneal curvature is measured with a keratometer modi-
                                                                 10
mulations                                                           fled by attachment of an +8 D lens onto the anterior surface
                                                                    of the keratometer. A group of stainless steel balls with
       Example 16 In Vivo Rabbit Eye Irritation Test                diameters from 5.5 to 11.0 mm are measured by the modified
                                                                    keratometer. Three readings are recorded for each measure-
   The exemplary compositions disclosed herein are sub- 15 ment to provide a mean result. The radius of corneal
jected to rabbit eye irritation test to evalaute their safety       curvature is then deduced from the readings on the balls with
profile. The test composition are tested for eye irritation test    known radii.
in New Zealand Rabbits (see for example Abraham M H, et                A-scan ultrasonagraph is used to measure axial compo-
al., Draize rabbit eye test compatibility with eye irritation       nents of the eye (lens thickness and vitreous length and axial
thresholds in humans: a quantitative structure-activity rela- 20 length). The conducting velocity was 1,723.3 m/s for mea-
tionship analysis. Toxicol Sci. 2003 December; 76(2):384-           surement of the lens thickness and 1,540 m/s for measure-
91. Epub 2003 Sep. 26; see also Gettings S D et al., A              ment of the vitreous length as described previously. Each of
comparison of low volume, Draize and in vitro eye irritation        the axial components is calculated as the mean of 10
test data. III. Surfactant-based formulations. Food Chem            repeated measurements.
Toxicol. 1998 March; 36(3):209-31). The study involves 25
single ocular administration into the right eye and the same                Example 18 Safety and Efficacy Studies of
volume of its placebo in the left eye of each of the three                        Ophthalmic Aqueous Formulation
rabbits. Rabbits are examined immediately and after instil-
lation of the compositions for 4, 24, 48 and 72 hours post             A clinical trial is performed to investigate the efficacy and
instillation to note the signs/symptoms of eye irritation, if 30 safety of ophthalmic aqueous formulations described herein
any. The test compositions show no sign of irritancy in             in patents with myopia. In some instances, the study is
cornea, iris and conjunctivae of the rabbit eyes.                   open-label, single blind, or double blind study. Patient
                                                                    selection criteria include myopic refraction of at least 1.0D
        Example 17 In Vivo Testing of Ophthalmic                    in both eyes, and additional factors such as astigmatism, a
                                                                 35
            Aqueous Formulation in Guinea Pigs                      documented myopic progression, age, sex, and/or health
                                                                    conditions.
   Focus deprivation myopia (FDM) is achieved using a                  The patients are randomized to receive 0.05%, 0.01%, or
latex shield to cover one eye. For defocus-induced myopia,          0.001 atropine aqueous formulation formulated in either
a latex-made facemask was held in place by a rubber-band
                                                                 40 H2O or deuterated water (e.g., D2O) once nightly in both
around the head of animals, leaving both eyes, the nose,            eyes. Allocation ratio in some instances is defined based the
mouth and ears freely exposed. A-4.00 D lens is glued onto          patient population.
a plastic lens frame. The lens frame is then attached to the           The patients are evaluated on day 0 (baseline), day 14, day
facemask around one eye by a fabric hook-and-loop fastener          30, and then at 2, 3, 4, 5, 6, 8, 10, 12, 18, 20, 24, and 36
after the optical center of the lens was aligned with the pupil 45 months. At each visit, best-corrected distance log Mar visual
center. The lens is detached and cleaned on both sides with         acuity (BCVA) is assessed by an optometrist, orthoptist, or
a water-wetted gauze at least once daily followed by re-            ophthamologist using the Early Treatment Diabetic Retin-
attachment to the facemask. All the animals are maintained          opathy study chart. Near visual acuity is assessed using
on a cycle of 12-h illumination (500 Lux) and 12-h darkness         best-corrected distance spectable correction with a reduced
during the experimental period                                   so
                                                                 50 log Mar reading chart placed at 40 cm under well-lit
   A cohort of guinea pigs at age of 3 weeks are randomly           conditions. The near point of accommodation (NPA) is
assigned to FDM (a facemask worn monocularly) or defo-              measured using a RAF rule using best-corrected distance
cus-induced myopia (a -4.00 D lens worn monocularly) and            spectable correction. Patients are instructed to move the
control groups. The FDM groups were treated with the                target inwards till the N5 print becomes slightly blurred and
ophthalmic aqueous formulation, the ophthalmic carrier 55 then outwards till it just becomes clear. Accommodation
(without the opthalmic agent), or FDM-only. The defocus-            amplitude is calculated as the inverse of NPA. Mesopic pupil
induced myopia groups were treated with the ophthalmic              size is measured with Procyon 3000 pupillometer. Photopic
aqueous formulation, the ophthalmic carrier (without the            pupil size is measured using the Neuroptics pupillometer.
opthalmic agent), or defocus-only. The control groups were             Cycloplegic autorefraction is determined 30 minutes after
treated with the ophthalmic aqueous formulation, the oph- 60 3 drops of cyclopentolate 1% are administered at 5 minutes
thalmic carrier (without the opthalmic agent), or no treat-         apart using a Canon RK-F1 autorefractor. A Zeiss IOL
ment. Ocular biometric parameters are measured in both              Master, a non-contact partial coherence interferometry, is
eyes of individual animals before and at 11 days of treatment       used to measure the ocular axial length.
   Biometric parameters (e.g. refraction, corneal curvature,           The primary outcome is myopia progression over the time
and axial components of the eye) are measured by an 65 period of the study. Safety is assessed by adverse events
optometrist, orthoptist, or ophthamologist with help from an        including allergic reactions, irritation, or development of
animal care assistant during the light cycle (daytime) after        blurring of vision in one or both eyes.


                                                        Appx000225
                                                        Appx000225                        Eyenovia Exhibit
                                                                                          Eyenovia Exhibit 1001,
                                                                                                           1001, Page
                                                                                                                 Page 63 of 65
                                                                                                                      63 of 65
              Case: 23-2402                Document: 15              Page: 282           Filed: 02/01/2024


                                                   US 10,842,787 B2
                             95                                                                 96
         Example 19 Preparation of an Ointment                        In some instances, the ophthalmic composition further has
         Formulation Containing Atropine Sulfate                   a potency of one of: at least 80%, at least 85%, at least 90%,
                                                                   at least 93%, at least 95%, at least 97%, at least 98%, or at
   Atropine sulfate is mixed with the dispersing agent (e.g.       least 99% after extended period of time under storage
polyethyleneglycol) under heating and sonication and this 5 condition.
mixture is further thoroughly mixed with a molten ointment            In some instances, the extended period of time is one of:
base (e.g. a mixture of wool wax, white petrolatum, and            about 1 week, about 2 weeks, about 3 weeks, about 1 month,
liquid paraffin). The mixture is placed in a pressure vessel,      about 2 months, about 3 months, about 4 months, about 5
and sterilized at 125° C. for 30-45 minutes and cooled to          months, about 6 months, about 8 months, about 10 months,
room temperature. In another embodiment, autoclaving is 10 about 12 months, about 18 months, about 24 months, about
conducted under nitrogen. The resulting ophthalmic oint-           36 months, about 4 years, or about 5 years.
ment is aseptically filled into pre-sterilized containers (e.g.       In some instances, the storage condition has a storage
tubes).                                                            temperature of one of: about 25° C., about 40° C., or about
                                                                   60° C. In some cases, the storage condition has a storage
     Example 20—Atropine-Mucus Penetrating Particle             15 temperature of from about 2° C. to about 10° C. or from
                         Composition                               about 16° C. to about 26° C. In some cases, the storage
                                                                   condition has a relative humidity of about 60% or about
   A 0.01% atropine-mucus penetrating particle composition         75%.
was prepared utilizing a milling procedure. An aqueous                In some instances, the ophthalmic composition is in the
dispersion containing atropine particles and an MPP-en- 20 form of an aqueous solution. In some cases, the muscarinic
abling mucus penetrating agent was milled with grinding            antagonist is present in the composition at a concentration of
medium until particle size was reduced to approximately            one of: from about 0.001 wt % to about 0.04 wt %, from
200 nm with a polydispersity index less than 0.15 as               about 0.001 wt % to about 0.03 wt %, from about 0.001 wt
measured by dynamic light scattering. Additional agents            % to about 0.025 wt %, from about 0.001 wt % to about 0.02
such as preservatives are also added during the milling 25 wt %, from about 0.001 wt % to about 0.01 wt %, from about
procedure. Subsequently, the atropine-MPP composition are          0.001 wt % to about 0.008 wt %, or from about 0.001 wt %
be stored at temperatures of between about 15° C. and about        to about 0.005 wt %.
25° C.                                                                In some instances, the ophthalmic composition further
                                                                   comprises an osmolarity adjusting agent. In some cases, the
     Example 21 Atropine Sulfate-Mucus Penetrating              30 osmolarity adjusting agent is sodium chloride.
                    Particle Composition                              In some instances, the ophthalmic composition further
                                                                   comprises a preservative. In some cases, the preservative is
   A 0.01% atropine sulfate-mucus penetrating particle com-        selected from benzalkonium chloride, cetrimonium, sodium
position was prepared utilizing a milling procedure. An            perborate, stabilized oxychloro complex, SofZia, poly-
aqueous dispersion containing atropine particles and an 35 quaternium-1, chlorobutanol, edetate disodium, polyhexam-
MPP-enabling mucus penetrating agent was milled with               ethylene biguanide, or combinations thereof.
grinding medium until particle size was reduced to approxi-           In some instances, the ophthalmic composition further
mately 200 nm with a polydispersity index less than 0.15 as        comprises a buffer agent. In some cases, the buffer agent is
measured by dynamic light scattering. Additional agents            selected from borates, borate-polyol complexes, phosphate
such as preservatives are also be added during the milling 40 buffering agents, citrate buffering agents, acetate buffering
procedure. Subsequently, the atropine-MPP composition are          agents, carbonate buffering agents, organic buffering agents,
be stored at temperatures of between about 15° C. and about        amino acid buffering agents, or combinations thereof.
25° C.                                                                In some instances, the ophthalmic composition further
   According to another aspect of the disclosure, described        comprises a tonicity adjusting agent. In some cases, the
herein is an ophthalmic composition that comprises from 45 tonicity adjusting agent is selected from sodium chloride,
about 0.001 wt % to about 0.05 wt % of a muscarinic                sodium nitrate, sodium sulfate, sodium bisulfate, potassium
antagonist and water, at a pH of from about 3.8 to about 7.5.      chloride, calcium chloride, magnesium chloride, zinc chlo-
   In some instances, the muscarinic antagonist comprises          ride, potassium acetate, sodium acetate, sodium bicarbonate,
atropine, atropine sulfate, noratropine, atropine-N-oxide,         sodium carbonate, sodium thiosulfate, magnesium sulfate,
tropine, tropic acid, hyoscine, scopolomine, tropicamide, so disodium hydrogen phosphate, sodium dihydrogen phos-
cyclopentolate, pirenzapine, homatropine, or a combination         phate, potassium dihydrogen phosphate, dextrose, mannitol,
thereof. In some cases, the muscarinic antagonist is atropine.     sorbitol, dextrose, sucrose, urea, propylene glycol, glycerin,
In some cases, the muscarinic antagonist is atropine sulfate.      or a combination thereof.
   In some instances, the ophthalmic composition comprises            In some instances, the ophthalmic composition is stored
one of: at least about 80%, at least about 85%, at least about 55 in a plastic container. In some cases, the material of the
90%, at least about 93%, at least about 95%, at least about        plastic container comprises low-density polyethylene
97%, at least about 98%, or at least about 99% of the              (LDPE).
muscarinic antagonist based on initial concentration after            In some instances, the ophthalmic composition has a
extended period of time under storage condition.                   dose-to-dose muscarinic antagonist concentration variation
   In some instances, the ophthalmic composition has a pH 60 of one of: less than 50%, less than 40%, less than 30%, less
of one of: less than about 7.3, less than about 7.2, less than     than 20%, less than 10%, or less than 5%. In some cases, the
about 7.1, less than about 7, less than about 6.8, less than       dose-to-dose muscarinic antagonist concentration variation
about 6.5, less than about 6.4, less than about 6.3, less than     is based on one of: 10 consecutive doses, 8 consecutive
about 6.2, less than about 6.1, less than about 6, less than       doses, 5 consecutive doses, 3 consecutive doses, or 2 con-
about 5.9, less than about 5.8, less than about 5.2, less than 65 secutive doses.
about 4.8, or less than about 4.2 after extended period of            In some instances, the ophthalmic composition has a pH
time under storage condition.                                      of one of: from about 3.8 to about 7.5, from about 4.2 to


                                                       Appx000226
                                                       Appx000226                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 64 of 65
                                                                                                                   64 of 65
              Case: 23-2402                Document: 15              Page: 283            Filed: 02/01/2024


                                                   US 10,842,787 B2
                             97                                                                   98
about 7.5, from about 4.8 to about 7.3, from about 5.2 to              6. The stabilized ophthalmic composition of claim 1,
about 7.2, from about 5.8 to about 7.1, from about 6.0 to           wherein the buffering agent comprises a borate, a borate-
about 7.0, or from about 6.2 to about 6.8.                          polyol complex, a phosphate buffering agent, a citrate buff-
   In some instances, the ophthalmic composition further            ering agent, an acetate buffering agent, a carbonate buffering
comprises a pH adjusting agent. In some cases, the pH 5 agent, an organic buffering agent, an amino acid buffering
adjusting agent comprises HC1, NaOH, CH3COOH, or                    agent, or a combination thereof
C61-1,O7.
C6H8O7.                                                                7. The stabilized ophthalmic composition of claim 1,
   In some instances, the ophthalmic composition comprises          wherein the buffering agent comprises sodium dihydrogen
one of: less than 5% of D2O, less than 4% of D2O, less than         phosphate, disodium hydrogen phosphate, or a combination
3% of D2O, less than 2% of D2O, less than 1% of D2O, less 10
                                                                    thereof.
than 0.5% of D2O, less than 0.1% of D2O, or 0% D2O. In
                                                                       8. The stabilized ophthalmic composition of claim 1,
some cases, the ophthalmic composition is essentially free
                                                                    wherein the stabilized ophthalmic composition further com-
of D2O.
   In some instances, the ophthalmic composition further            prises a tonicity adjusting agent.
comprises a pharmaceutically acceptable carrier.                 15
                                                                       9. The stabilized ophthalmic composition of claim 8,
   In some instances, the ophthalmic composition is formu-          wherein   the tonicity adjusting agent comprises a halide salt
lated as an ophthalmic solution for the treatment of an             of a monovalent cation.
ophthalmic disorder. In some cases, the ophthalmic disorder            10. The stabilized ophthalmic composition of claim 1,
or condition is pre-myopia, myopia, or progression of myo-          wherein the stabilized ophthalmic composition further com-
pia.                                                             a) prises an ophthalmically acceptable viscosity agent.
   In some instances, the ophthalmic composition is not                11. The stabilized ophthalmic composition of claim 10,
formulated as an injectable formulation.                            wherein the ophthalmically acceptable viscosity agent com-
   While preferred embodiments of the present disclosure            prises hydroxyethyl cellulose, hydroxypropyl cellulose, or
have been shown and described herein, such embodiments              hydroxypropylmethyl-cellulose (HPMC).
are provided by way of example only. Various alternatives to 25        12. The stabilized ophthalmic composition of claim 1,
the embodiments described herein are optionally employed            wherein the stabilized ophthalmic composition further com-
in practicing the disclosure. It is intended that the following     prises a preservative.
claims define the scope of the disclosure and that methods             13. The stabilized ophthalmic composition of claim 12,
and structures within the scope of these claims and their           wherein a concentration of the preservative is from about
equivalents be covered thereby.                                  30
                                                                    0.0001% to about 1%.
   What is claimed is:
                                                                       14. The stabilized ophthalmic composition of claim 12,
   1. A stabilized ophthalmic composition for treating pre-
                                                                    wherein the preservative is selected from benzalkonium
myopia, myopia, or progression of myopia, comprising from
                                                                    chloride, cetrimonium, sodium perborate, stabilized oxy-
about 0.001 wt % to about 0.05 wt % of atropine or atropine
sulfate and water, wherein the stabilized ophthalmic com- 35 chloro complex, polyquaternium-1, chlorobutanol, edetate
position further comprises a buffering agent to provide a pH        disodium, polyhexamethylene biguanide, or combinations
of from about 4.8 to about 6.4, wherein the stabilized              thereof.
ophthalmic composition is a liquid, and wherein the stabi-             15. The stabilized ophthalmic composition of claim 1,
lized ophthalmic composition comprises less than about              wherein the stabilized ophthalmic composition is essentially
10% of a degradant formed from degradation of the atropine 40 free of procaine and benactyzine, or pharmaceutically
or atropine sulfate after an extended period of time of at least    acceptable salts thereof
2 weeks under a storage temperature of from about 20° C.               16. The stabilized ophthalmic composition of claim 1,
to about 70° C. and relative humidity from about 50% to             wherein the stabilized ophthalmic composition is topically
about 80%.                                                          administered.
   2. The stabilized ophthalmic composition of claim 1, 45             17. The stabilized ophthalmic composition of claim 1,
wherein the atropine or atropine sulfate is present in the          wherein the stabilized ophthalmic composition is adminis-
composition at a concentration of from about 0.001 wt % to          tered by instillation.
about 0.03 wt %.                                                       18. The stabilized ophthalmic composition of claim 1,
   3. The stabilized ophthalmic composition of claim 1,             wherein the stabilized ophthalmic composition is adminis-
wherein the stabilized ophthalmic composition has a pH of 50 tered through an eye drop bottle containing the stabilized
about 6.1.                                                          ophthalmic composition.
   4. The stabilized ophthalmic composition of claim 1,
                                                                       19. A method of treating the pre-myopia, myopia, or
wherein the atropine or atropine sulfate is present in the
                                                                    progression of myopia in an individual in need thereof,
composition at a concentration of from about 0.01 wt % to
                                                                    comprising administering to an eye of the individual an
about 0.02 wt %.                                                 55
   5. The stabilized ophthalmic composition of claim 1,             effective amount of the stabilized ophthalmic composition of
wherein the atropine or atropine sulfate is present in the          claim  1.
composition at a concentration of about 0.01 wt %.                                        *   *   *    *   *




                                                       Appx000227
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                  Case: 23-2402              Document: 15              Page: 284             Filed: 02/01/2024
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(12)   United States Patent                                                (10) Patent No.:    US 10,940,145 B2
       Ostrow et al.                                                       (45) Date of Patent:     *Mar. 9, 2021

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     CPC               A61K 31/46 (2013.01); A61K 9/0048             Primary Examiner — Kathrien A Cruz
                            (2013.01); A61K 47/02 (2013.01)          (74) Attorney, Agent, or Firm — Wilson Sonsini Goodrich
(58)    Field of Classification Search                               & Rosati
        USPC                                         514/304
        See application file for complete search history.            (57)                    ABSTRACT
                                                                     Provided herein is an ophthalmic composition. In some
(56)                   References Cited                              embodiments, the ophthalmic composition includes a low
                                                                     concentration of an ophthalmic agent for treatment of an
                  U.S. PATENT DOCUMENTS                              ophthalmic disorder or condition; and an ophthalmically
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       4,014,335 A      3/1977   Arnold                              uted with substantial uniformity throughout the ophthalmi-
       4,255,415 A      3/1981   Chrai et al.                        cally acceptable carrier. Further disclosed herein include an
       4,474,751 A     10/1984   Haslam et al.                       ophthalmic composition including a low concentration of an
       4,938,763 A      7/1990   Dunn et al.                         ophthalmic agent and deuterated water. Also disclosed
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       5,052,558 A     10/1991   Carter                              herein are methods of arresting or preventing myopia devel-
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       5,259,998 A     11/1993   Reich et al.                        thereof an effective amount of an ophthalmic composition as
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                                                                                                                         of 66
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                                                                                                                           of 66
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            Case: 23-2402         Document: 15           Page: 287            Filed: 02/01/2024


U.S. Patent                   Mar. 9, 2021          Sheet 1 of 13                     US 10,940,145 B2




        Fig. 1A

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 Fig. 1B
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                Case: 23-2402               Document: 15            Page: 288                Filed: 02/01/2024


U.S. Patent                             Mar. 9, 2021           Sheet 2 of 13                         US 10,940,145 B2




Fig. 2A

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Fig. 2B

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                                                                                                          1001, Page
                                                                                                                Page 55 of
                                                                                                                        of 66
                                                                                                                           66
      Case: 23-2402     Document: 15          Page: 289     Filed: 02/01/2024


U.S. Patent         Mar. 9, 2021       Sheet 3 of 13             US 10,940,145 B2




                                     Fig. 3


          Mass Balance, 60 °C, T = 4 weeks
                               tg Mass Balance




                                          96%        96%
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    93%
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                                                                            1001, Page
                                                                                  Page 66 of
                                                                                          of 66
                                                                                             66
                                                                               Case: 23-2402                Document: 15         Page: 290      Filed: 02/01/2024




                                                                                                                     Fig. 4
                                                                                                                                                                                             lualud °S11




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                                                                                                                                                                                          lualud °S11




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                              1001, Page
                                    Page 77 of
                                            of 66
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                                                                                                                                                                 Eyenovia Exhibit 1001, Page 7 of 66
                                                                Case: 23-2402                Document: 15         Page: 291     Filed: 02/01/2024

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                                                                                                                  Fig.
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                        1001, Page
                              Page 88 of
                                      of 66
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                                                                                                                                               Eyenovia Exhibit 1001, Page 8 of 66
                                                                   Case: 23-2402          Document: 15                                                                                                                              Page: 292     Filed: 02/01/2024

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                       1001, Page
                             Page 99 of
                                     of 66
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                      1001, Page
                            Page 10
                                 10 of
                                    of 66
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      Case: 23-2402          Document: 15                                               Page: 294                                   Filed: 02/01/2024

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                                                                                                                                           1001, Page 11 of 66
                                                                                                                                                      11 of 66
                                                                                 Case: 23-2402                                 Document: 15                  Page: 295            Filed: 02/01/2024

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                   1001, Page
                         Page 12
                              12 of
                                                                                                                                                                                                    Eyenovia Exhibit 1001, Page 12 of 66




                                 of 66
                                    66
                                                                        Case: 23-2402         Document: 15         Page: 296       Filed: 02/01/2024




                                                                                                       Fig. 10
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                    1001, Page
                          Page 13
                               13 of
                                                                                                                                                      Eyenovia Exhibit 1001, Page 13 of 66




                                  of 66
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                                                                          Case: 23-2402         Document: 15               Page: 297       Filed: 02/01/2024




                                                                                                     Fig. 11A
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              Exhibit 1001,
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                      1001, Page
                            Page 14
                                 14 of
                                    of 66
                                                                                                                                                              Eyenovia Exhibit 1001, Page 14 of 66




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                                                                      Case: 23-2402          Document: 15                  Page: 298      Filed: 02/01/2024

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                        1001, Page
                              Page 15
                                   15 of
                                      of 66
                                                                                                                                                           Eyenovia Exhibit 1001, Page 15 of 66




                                         66
           Case: 23-2402    Document: 15       Page: 299         Filed: 02/01/2024


U.S. Patent            Mar. 9, 2021         Sheet 13 of 13            US 10,940,145 B2



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                                                                                1001, Page
                                                                                      Page 16
                                                                                           16 of
                                                                                              of 66
                                                                                                 66
              Case: 23-2402                Document: 15              Page: 300           Filed: 02/01/2024


                                                   US 10,940,145 B2
                             1                                                                   2
            OPHTHALMIC COMPOSITION                                than about 6, less than about 5.9, less than about 5.8, less
                                                                  than about 5.2, or less than about 4.8 after extended period
                   CROSS-REFERENCE                                of time under storage condition.
                                                                     In some embodiments, the ophthalmic composition has a
   This application is a continuation of U.S. application Ser. 5 pD of one of: less than about 7.9, less than about 7.8, less
No. 16/677,538, filed Nov. 7, 2019, which is a continuation       than about 7.7, less than about 7.6, less than about 7.5, less
of U.S. application Ser. No. 15/568,381, filed Oct. 20, 2017,     than about 7.4, less than about 7.3, less than about 7.2, less
which is a § 371 U.S. National Stage Application of Inter-        than about 7.1, less than about 7, less than about 6.9, less
national Application No. PCT/US2016/029222, filed Apr.            than about 6.8, less than about 6.7, less than about 6.6, less
25, 2016, which is a continuation in part of International 10 than about 6.5, less than about 6.4, less than about 6.3, less
Application No. PCT/US2015/037249, filed Jun. 23, 2015,           than about 6.2, less than about 6.1, less than about 6.
which is a continuation in part of U.S. application Ser. No.         In some embodiments, the ophthalmic composition com-
14/726,139, filed May 29, 2015, now U.S. Pat. No. 9,421,          prises one of: at least about 80%, at least about 85%, at least
199, issued Aug. 23, 2016, which claims the benefit of U.S.       about 90%, at least about 93%, at least about 95%, at least
Provisional Application No. 62/151,926, filed Apr. 23, 2015; 15 about 97%, at least about 98%, or at least about 99% of the
PCT/US2015/037249 claims the benefit of U.S. Provisional          muscarinic antagonist based on initial concentration after
Application No. 62/151,926, filed Apr. 23, 2015; PCT/             extended period of time under storage condition. As
US2016/029222 claims benefit of U.S. Provisional Appli-           described in this disclosure, the percentage of the ophthal-
cation No. 62/151,926, filed Apr. 23, 2015; PCT/US2016/           mic agent in the composition after storage is based on the
029222 is a continuation in part of U.S. application Ser. No. 20 amount of ophthalmic agent that is initially present in the
14/726,139, filed May 29, 2015, now U.S. Pat. No. 9,421,          composition (i.e. prior to the storage condition).
199, issued Jun. 23, 2016, all of which their entire contents        In some embodiments, the ophthalmic composition fur-
are fully incorporated herein by reference.                       ther has a potency of one of: at least 80%, at least 85%, at
                                                                  least 90%, at least 93%, at least 95%, at least 97%, at least
         BACKGROUND OF THE DISCLOSURE                          25 98%, or at least 99% after extended period of time under
                                                                  storage condition. As described in this disclosure, the
   Pharmaceutical formulations have an expiration date            potency of the ophthalmic agent in the composition after
which is based on the degradation of the active ingredient.       storage is based on the potency of ophthalmic agent that is
                                                                  initially present in the composition (i.e. prior to the storage
           SUMMARY OF THE DISCLOSURE                           30 condition).
                                                                     In some embodiments, the extended period of time is one
   Provided herein are ophthalmic compositions. In some           of: about 1 week, about 2 weeks, about 3 weeks, about 1
embodiments, disclosed herein is an ophthalmic composi-           month, about 2 months, about 3 months, about 4 months,
tion, comprising from about 0.001 wt % to about 0.05 wt %         about 5 months, about 6 months, about 8 months, about 10
of a muscarinic antagonist and deuterated water, at a pD of 35 months, about 12 months, about 18 months, about 24
from about 4.2 to about 7.9.                                      months, about 36 months, about 4 years, or about 5 years.
   In some embodiments, provided herein is an ophthalmic             In some embodiments, the storage condition has a storage
composition, comprising from about 0.001 wt % to about            temperature of from about 2° C. to about 10° C. or from
0.05 wt % of a muscarinic antagonist and deuterated water,        about 16° C. to about 26° C. In some embodiments, the
at a pD of from about 4.2 to about 7.9, wherein the 40 storage condition has a storage temperature of about 25° C.
muscarinic antagonist does not extend singlet oxygen life-        In some embodiments, the storage condition has a storage
time.                                                             temperature of about 40° C. In some embodiments, the
   In some embodiments, the muscarinic antagonist com-            storage condition has a storage temperature of about 60° C.
prises atropine, atropine sulfate, noratropine, atropine-N-          In some embodiments, the storage condition has a relative
oxide, tropine, tropic acid, hyoscine, scopolomine, tropic- 45 humidity of about 60%. In some embodiments, the storage
amide, cyclopentolate, pirenzapine, homatropine, or a             condition has a relative humidity of about 75%.
combination thereof. In some embodiments, the muscarinic             In some embodiments, the muscarinic antagonist is pres-
antagonist comprises atropine, atropine sulfate, scopolo-         ent in the composition at a concentration of one of: from
mine, homatropine, or a combination thereof. In some              about 0.001 wt % to about 0.04 wt %, from about 0.001 wt
embodiments, the muscarinic antagonist is atropine. In some so % to about 0.03 wt %, from about 0.001 wt % to about 0.025
embodiments, the muscarinic antagonist is atropine sulfate.       wt %, from about 0.001 wt % to about 0.02 wt %, from about
   In some embodiments, the muscarinic antagonist                 0.001 wt % to about 0.01 wt %, from about 0.001 wt % to
quenches photogenerated singlet oxygen species in the com-        about 0.008 wt %, or from about 0.001 wt % to about 0.005
position. In some embodiments, the muscarinic antagonist          wt %.
comprises atropine, atropine sulfate, noratropine, atropine- 55      In some embodiments, the composition comprises less
N-oxide, tropine, tropic acid, hyoscine, scopolomine, tropi-      than 20% of major degradant based on the concentration of
camide, cyclopentolate, pirenzapine, homatropine, or a com-       the ophthalmic agent after extended period of time under
bination thereof. In some embodiments, the muscarinic             storage condition. In some embodiments, the composition
antagonist comprises atropine, atropine sulfate, scopolo-         comprises less than 15% of major degradant based on the
mine, homatropine, or a combination thereof. In some 60 concentration of the ophthalmic agent after extended period
embodiments, the muscarinic antagonist is atropine. In some       of time under storage condition.
embodiments, the muscarinic antagonist is atropine sulfate.          In some embodiments, the composition comprises less
   In some embodiments, the ophthalmic composition has a          than 10% of major degradant based on the concentration of
pD of one of: less than about 7.9, less than about 7.3, less      the ophthalmic agent after extended period of time under
than about 7.2, less than about 7.1, less than about 7, less 65 storage condition. In some embodiments, the composition
than about 6.8, less than about 6.5, less than about 6.4, less    comprises less than 5% of major degradant based on the
than about 6.3, less than about 6.2, less than about 6.1, less    concentration of the ophthalmic agent after extended period


                                                       Appx000244
                                                       Appx000244                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 17
                                                                                                                 17 of
                                                                                                                    of 66
                                                                                                                       66
              Case: 23-2402                Document: 15              Page: 301            Filed: 02/01/2024


                                                   US 10,940,145 B2
                              3                                                                  4
of time under storage condition. In some embodiments, the            plastic container comprises low-density polyethylene
composition comprises less than 2.5% of major degradant              (LDPE). In some cases, the material of the plastic container
based on the concentration of the ophthalmic agent after             comprises polypropylene.
extended period of time under storage condition. In some                In some embodiments, the ophthalmic composition is
embodiments, the composition comprises less than 2.0% of 5 essentially free of procaine and benactyzine, or pharmaceu-
major degradant based on the concentration of the ophthal-           tically acceptable salts thereof.
mic agent after extended period of time under storage                   In some embodiments, the composition has a dose-to-
condition. In some embodiments, the composition com-                 dose ophthalmic agent concentration variation of less than
prises less than 1.5% of major degradant based on the                50%. In some embodiments, the composition has a dose-to-
concentration of the ophthalmic agent after extended period 10
                                                                     dose ophthalmic agent concentration variation of less than
of time under storage condition. In some embodiments, the
                                                                     40%. In some embodiments, the composition has a dose-to-
composition comprises less than 1.0% of major degradant
                                                                     dose ophthalmic agent concentration variation of less than
based on the concentration of the ophthalmic agent after
extended period of time under storage condition. In some             30%. In some embodiments, the composition has a dose-to-
embodiments, the composition comprises less than 0.5% of 15 dose ophthalmic agent concentration variation of less than
major degradant based on the concentration of the ophthal-           20%. In some embodiments, the composition has a dose-to-
mic agent after extended period of time under storage                dose ophthalmic agent concentration variation of less than
condition. In some embodiments, the composition com-                 10%.   In some embodiments, the composition has a dose-to-
prises less than 0.4% of major degradant based on the                dose ophthalmic agent concentration variation of less than
concentration of the ophthalmic agent after extended period 20 5%. In some embodiments, the dose-to-dose ophthalmic
of time under storage condition. In some embodiments, the            agent concentration variation is based on 10 consecutive
composition comprises less than 0.3% of major degradant              doses. In some embodiments, the dose-to-dose ophthalmic
based on the concentration of the ophthalmic agent after             agent concentration variation is based on 8 consecutive
extended period of time under storage condition. In some             doses. In some embodiments, the dose-to-dose ophthalmic
embodiments, the composition comprises less than 0.2% of 25 agent concentration variation is based on 5 consecutive
major degradant based on the concentration of the ophthal-           doses. In some embodiments, the dose-to-dose ophthalmic
mic agent after extended period of time under storage                agent concentration variation is based on 3 consecutive
condition. In some embodiments, the composition com-                 doses. In some embodiments, the dose-to-dose ophthalmic
prises less than 0.1% of major degradant based on the                agent concentration variation is based on 2 consecutive
concentration of the ophthalmic agent after extended period 30 doses.
of time under storage condition. In some embodiments, the
                                                                        In some embodiments, the composition further comprises
major degradant is tropic acid. As described in this disclo-
                                                                     a pD adjusting agent. In some embodiments, the pD adjust-
sure, the percentage of the primary degradant in the com-
                                                                     ing agent comprises DC1, NaOD, CD3COOD, or C6D8O7.
position after storage is based on the amount of ophthalmic
agent that is initially present in the composition (i.e. prior to 35    In some embodiments, the composition further comprises
the storage condition).                                              a pharmaceutically acceptable carrier. In some embodi-
   In some embodiments, the composition is in a form of an           ments, the ophthalmically acceptable carrier further com-
aqueous solution.                                                    prises at least one viscosity-enhancing agent. In some
   In some embodiments, the composition further comprises            embodiments, the viscosity-enhancing agent is selected
an osmolarity adjusting agent. In some embodiments, the 40 from cellulose-based polymers, polyoxyethylene-polyoxy-
osmolarity adjusting agent is sodium chloride.                       propylene triblock copolymers, dextran-based polymers,
   In some embodiments, the ophthalmic composition fur-              polyvinyl alcohol, dextrin, polyvinylpyrrolidone, polyal-
ther comprises a preservative. In some embodiments, the              kylene glycols, chitosan, collagen, gelatin, hyaluronic acid,
preservative is selected from benzalkonium chloride, cetri-          or combinations thereof.
monium, sodium perborate, stabilized oxychloro complex, 45              In some embodiments, the ophthalmic composition com-
SofZia, polyquaternium-1, chlorobutanol, edetate di sodium,          prises one of: less than 60% of H2O, less than 55% of H2O,
polyhexamethylene biguanide, or combinations thereof.                less than 50% of H2O, less than 45% of H2O, less than 40%
   In some embodiments, the ophthalmic composition fur-              of H2O, less than 35% of H2O, less than 30% of H2O, less
ther comprises a buffer agent. In some embodiments, the              than 25% of H2O, less than 20% of H2O, less than 15% of
buffer agent is selected from borates, borate-polyol com- so H2O, or less than 10% of H2O.
plexes, succinate, phosphate buffering agents, citrate buff-            In some embodiments, the ophthalmic composition com-
ering agents, acetate buffering agents, carbonate buffering          prises one of: less than 5% of H2O, less than 4% of H2O, less
agents, organic buffering agents, amino acid buffering               than 3% of H2O, less than 2% of H2O, less than 1% of H2O,
agents, or combinations thereof.                                     less than 0.5% of H2O, less than 0.1% of H2O, or 0% of
   In some embodiments, the ophthalmic composition fur- 55 H2O.
ther comprises a tonicity adjusting agent. In some embodi-              In some embodiments, the ophthalmic composition is
ments, the tonicity adjusting agent is selected from sodium          stored below room temperature prior to first use. In some
chloride, sodium nitrate, sodium sulfate, sodium bisulfate,          embodiments, the ophthalmic composition is stored at
potassium chloride, calcium chloride, magnesium chloride,            between about 2° C. to about 10° C. prior to first use. In
zinc chloride, potassium acetate, sodium acetate, sodium 60 some embodiments, the ophthalmic composition is stored at
bicarbonate, sodium carbonate, sodium thiosulfate, magne-            between about 4° C. to about 8° C. prior to first use.
sium sulfate, disodium hydrogen phosphate, sodium dihy-                 In some embodiments, the ophthalmic composition is
drogen phosphate, potassium dihydrogen phosphate, dex-               stored at room temperature after first use. In some embodi-
trose, mannitol, sorbitol, dextrose, sucrose, urea, propylene        ments, the ophthalmic composition is stored at between
glycol, glycerin, trehalose, or a combination thereof.            65 about 16° C. to about 26° C. after first use.
   In some embodiments, the composition is stored in a                  In some embodiments, the ophthalmic composition is not
plastic container. In some embodiments, the material of the          formulated as an injectable formulation.


                                                       Appx000245
                                                       Appx000245                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 18
                                                                                                                  18 of
                                                                                                                     of 66
                                                                                                                        66
               Case: 23-2402                Document: 15               Page: 302            Filed: 02/01/2024


                                                    US 10,940,145 B2
                               5                                                                    6
   In some embodiments, the ophthalmic composition does             or 12-15 years. In some embodiments, the ophthalmic
not comprise water-hydrolyzable derivatives of a -amino or          composition is stored below room temperature prior to first
a-hydroxy-carboxylic acids.                                         use. In some embodiments, the ophthalmic composition is
   In some embodiments, the ophthalmic composition is               stored at between about 2° C. to about 10° C. prior to first
essentially free of procaine and benactyzine, or pharmaceu- 5 use. In some embodiments, the ophthalmic composition is
tically acceptable salts thereof.                                   stored at between about 4° C. to about 8° C. prior to first use.
   In some embodiments, the ophthalmic composition is               In some embodiments, the ophthalmic composition is stored
formulated as an ophthalmic solution for the treatment of an        at room temperature after first use. In some embodiments,
ophthalmic disorder. In some embodiments, the ophthalmic            the ophthalmic composition is stored at between about 16°
disorder or condition is pre-myopia, myopia, or progression 10
                                                                    C. to about 26° C. after first use.
of myopia. In some embodiments, the ophthalmic compo-
                                                                       In some embodiments, disclosed herein is an ophthalmic
sition is formulated as an ophthalmic solution for the treat-
                                                                    solution that comprises from about 0.001 wt % to about 0.05
ment of pre-myopia, myopia, or progression of myopia.
   In some embodiments, the ophthalmic composition is a             wt % of a muscarinic antagonist and deuterated water, at a
solution.                                                        15
                                                                    pD of from about 4.2 to about 7.9. In some embodiments, the
   In some embodiments, disclosed herein is a method of             ophthalmic   solution has a pD of one of: less than about 7.3,
treating an ophthalmic disorder comprising administering to         less than about 7.2, less than about 7.1, less than about 7, less
an eye of an individual in need thereof an effective amount         than about 6.8, less than about 6.5, less than about 6.4, less
of an ophthalmic composition described herein. In some              than about 6.3, less than about 6.2, less than about 6.1, less
embodiments, described herein is a method of treating an 20 than about 6, less than about 5.9, less than about 5.8, less
ophthalmic disorder, comprising administering to an eye of          than about 5.2, or less than about 4.8 after extended period
an individual in need thereof an effective amount of an             of time under storage condition. In some embodiments, the
ophthalmic composition comprising from about 0.001 wt %             muscarinic antagonist comprises atropine, atropine sulfate,
to about 0.05 wt % of a muscarinic antagonist and deuterated        noratropine, atropine-N-oxide, tropine, tropic acid, hyos-
water, at a pD of from about 4.2 to about 7.9. In some 25 cine, scopolomine, tropicamide, cyclopentolate, pirenzap-
embodiments, the ophthalmic composition is administered             ine, homatropine, or a combination thereof. In some
at predetermined time intervals over an extended period of          embodiments, the ophthalmic solution comprises one of:
time. In some embodiments, the ophthalmic composition is            less than 5% of H2O, less than 4% of H2O, less than 3% of
administered once every day. In some embodiments, the               H2O, less than 2% of H2O, less than 1% of H2O, less than
ophthalmic composition is administered every other day. In 30 0.5% of H2O, less than 0.1% of H2O, or 0% of H2O. In some
some embodiments, the ophthalmic composition is admin-              embodiments, the ophthalmic composition comprises one
istered over 1 week, 2 weeks, 1 month, 2 months, 3 months,          of: at least about 80%, at least about 85%, at least about
6 months, 1 year, 2 years, 3 years, 4 years, 5 years, 6 years,      90%, at least about 93%, at least about 95%, at least about
7 years, 8 years, 9 years, 10 years, 11 years, or 12-15 years.      97%, at least about 98%, or at least about 99% of the
In some embodiments, the ophthalmic composition is stored 35 muscarinic antagonist based on initial concentration after
below room temperature prior to first use. In some embodi-          extended period of time under storage condition. In some
ments, the ophthalmic composition is stored at between              embodiments, the ophthalmic composition further has a
about 2° C. to about 10° C. prior to first use. In some             potency of one of: at least 80%, at least 85%, at least 90%,
embodiments, the ophthalmic composition is stored at                at least 93%, at least 95%, at least 97%, at least 98%, or at
between about 4° C. to about 8° C. prior to first use. In some 40 least 99% after extended period of time under storage
embodiments, the ophthalmic composition is stored at room           condition. In some embodiments, the extended period of
temperature after first use. In some embodiments, the oph-          time is one of: about 1 week, about 2 weeks, about 3 weeks,
thalmic composition is stored at between about 16° C. to            about 1 month, about 2 months, about 3 months, about 4
about 26° C. after first use.                                       months, about 5 months, about 6 months, about 8 months,
   In some embodiments, disclosed herein is a method of 45 about 10 months, about 12 months, about 18 months, about
arresting myopia development that comprises administering           24 months, about 36 months, about 4 years, or about 5 years.
to an eye of an individual in need thereof an effective             In some embodiments, the muscarinic antagonist is present
amount of an ophthalmic composition described herein.               in the composition at a concentration of one of: from about
Also described herein is a method of preventing myopia              0.001 wt % to about 0.04 wt %, from about 0.001 wt % to
development that comprises administering to an eye of an so about 0.03 wt %, from about 0.001 wt % to about 0.025 wt
individual in need thereof an effective amount of an oph-           %, from about 0.001 wt % to about 0.02 wt %, from about
thalmic composition described herein. In some embodi-               0.001 wt % to about 0.01 wt %, from about 0.001 wt % to
ments, described herein is a method of arresting or prevent-        about 0.008 wt %, or from about 0.001 wt % to about 0.005
ing myopia development, comprising administering to an              wt %. In some embodiments, the storage condition has a
eye of an individual in need thereof an effective amount of 55 storage temperature of from about 2° C. to about 10° C. or
an ophthalmic composition comprising from about 0.001 wt            from about 16° C. to about 26° C. In some embodiments, the
% to about 0.05 wt % of a muscarinic antagonist and                 ophthalmic composition has a dose-to-dose muscarinic
deuterated water, at a pD of from about 4.2 to about 7.9. In        antagonist concentration variation of one of: less than 50%,
some embodiments, the ophthalmic composition is admin-              less than 40%, less than 30%, less than 20%, less than 10%,
istered at predetermined time intervals over an extended 60 or less than 5%. In some embodiments, the dose-to-dose
period of time. In some embodiments, the ophthalmic com-            muscarinic antagonist concentration variation is based on
position is administered once every day. In some embodi-            one of: 10 consecutive doses, 8 consecutive doses, 5 con-
ments, the ophthalmic composition is administered every             secutive doses, 3 consecutive doses, or 2 consecutive doses.
other day. In some embodiments, the ophthalmic composi-                In some embodiments, disclosed herein is an ophthalmic
tion is administered over 1 week, 2 weeks, 1 month, 2 65 composition, comprising from about 0.001 wt % to about
months, 3 months, 6 months, 1 year, 2 years, 3 years, 4 years,      0.05 wt % of a muscarinic antagonist and water, at a pH of
5 years, 6 years, 7 years, 8 years, 9 years, 10 years, 11 years,    from about 3.8 to about 7.5.


                                                        Appx000246
                                                        Appx000246                      Eyenovia Exhibit
                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 19
                                                                                                                    19 of
                                                                                                                       of 66
                                                                                                                          66
              Case: 23-2402               Document: 15              Page: 303            Filed: 02/01/2024


                                                  US 10,940,145 B2
                              7                                                                 8
   In some embodiments, the muscarinic antagonist com-             potassium chloride, calcium chloride, magnesium chloride,
prises atropine, atropine sulfate, noratropine, atropine-N-        zinc chloride, potassium acetate, sodium acetate, sodium
oxide, tropine, tropic acid, hyoscine, scopolomine, tropic-        bicarbonate, sodium carbonate, sodium thiosulfate, magne-
amide, cyclopentolate, pirenzapine, homatropine, or a              sium sulfate, disodium hydrogen phosphate, sodium dihy-
combination thereof. In some embodiments, the muscarinic 5 drogen phosphate, potassium dihydrogen phosphate, dex-
antagonist is atropine or atropine sulfate.                        trose, mannitol, sorbitol, dextrose, sucrose, urea, propylene
   In some embodiments, the ophthalmic composition com-            glycol, glycerin, trehalose, or a combination thereof.
prises one of: at least about 80%, at least about 85%, at least       In some embodiments, the ophthalmic composition is
about 90%, at least about 93%, at least about 95%, at least        stored in a plastic container. In some embodiments, the
about 97%, at least about 98%, or at least about 99% of the 10 material of the plastic container comprises low-density
muscarinic antagonist based on initial concentration after         polyethylene (LDPE).
extended period of time under storage condition.                      In some embodiments, the ophthalmic composition has a
   In some embodiments, the ophthalmic composition has a           dose-to-dose muscarinic antagonist concentration variation
pH of one of: less than about 7.3, less than about 7.2, less       of one of: less than 50%, less than 40%, less than 30%, less
than about 7.1, less than about 7, less than about 6.8, less 15 than 20%, less than 10%, or less than 5%.
than about 6.5, less than about 6.4, less than about 6.3, less        In some embodiments, the dose-to-dose muscarinic
than about 6.2, less than about 6.1, less than about 6, less       antagonist concentration variation is based on one of: 10
than about 5.9, less than about 5.8, less than about 5.2, less     consecutive doses, 8 consecutive doses, 5 consecutive doses,
than about 4.8, or less than about 4.2 after extended period       3 consecutive doses, or 2 consecutive doses.
of time under storage condition.                                20    In some embodiments, the ophthalmic composition has a
   In some embodiments, the ophthalmic composition fur-            pH of one of: from about 3.8 to about 7.5, from about 4.2 to
ther has a potency of one of: at least 80%, at least 85%, at       about 7.5, from about 4.8 to about 7.3, from about 5.2 to
least 90%, at least 93%, at least 95%, at least 97%, at least      about 7.2, from about 5.8 to about 7.1, from about 6.0 to
98%, or at least 99% after extended period of time under           about 7.0, or from about 6.2 to about 6.8.
storage condition.                                              25    In some embodiments, the ophthalmic composition fur-
   In some embodiments, the extended period of time is one         ther comprises a pH adjusting agent. In some embodiments,
of: about 1 week, about 2 weeks, about 3 weeks, about 1            the pH adjusting agent comprises HC1, NaOH, CH3COOH,
month, about 2 months, about 3 months, about 4 months,             or C6H8O7.
about 5 months, about 6 months, about 8 months, about 10              In some embodiments, the ophthalmic composition com-
months, about 12 months, about 18 months, about 24 30 prises one of: less than 60% of D2O, less than 55% of D2O,
months, about 36 months, about 4 years, or about 5 years.          less than 50% of D2O, less than 45% of D2O, less than 40%
   In some embodiments, the storage condition has a storage        of D2O, less than 35% of D2O, less than 30% of D2O, less
temperature of one of: about 25° C., about 40° C., or about        than 25% of D2O, less than 20% of D2O, less than 15% of
60° C. In some embodiments, the storage condition has a            D2O, or less than 10% of D2O.
storage temperature of from about 2° C. to about 10° C. or 35         In some embodiments, the ophthalmic composition com-
from about 16° C. to about 26° C.                                  prises one of: less than 5% of D2O, less than 4% of D2O, less
   In some embodiments, the storage condition has a relative       than 3% of D2O, less than 2% of D2O, less than 1% of D2O,
humidity of about 60% or about 75%.                                less than 0.5% of D2O, less than 0.1% of D2O, or 0% of
   In some embodiments, the muscarinic antagonist is pres-         D2O. In some embodiments, ophthalmic composition is
ent in the composition at a concentration of one of: from 40 essentially free of D2O.
about 0.001 wt % to about 0.04 wt %, from about 0.001 wt              In some embodiments, the composition further comprises
% to about 0.03 wt %, from about 0.001 wt % to about 0.025         a pharmaceutically acceptable carrier.
wt %, from about 0.001 wt % to about 0.02 wt %, from about            In some embodiments, the ophthalmic composition is
0.001 wt % to about 0.01 wt %, from about 0.001 wt % to            formulated as an ophthalmic solution for the treatment of an
about 0.008 wt %, or from about 0.001 wt % to about 0.005 45 ophthalmic disorder. In some embodiments, the ophthalmic
wt %.                                                              disorder or condition is pre-myopia, myopia, or progression
   In some embodiments, the ophthalmic composition fur-            of myopia.
ther comprises an osmolarity adjusting agent. In some                 In some embodiments, the ophthalmic composition is not
embodiments, the osmolarity adjusting agent is sodium              formulated as an injectable formulation.
chloride.                                                       50    Other features and technical effects of the methods and
   In some embodiments, the ophthalmic composition fur-            compositions described herein will become apparent from
ther comprises a preservative. In some embodiments, the            the following detailed description. It should be understood,
preservative is selected from benzalkonium chloride, cetri-        however, that the detailed description and the specific
monium, sodium perborate, stabilized oxychloro complex,            examples, while indicating specific embodiments, are given
SofZia, polyquaternium-1, chlorobutanol, edetate disodium, 55 by way of illustration only.
polyhexamethylene biguanide, or combinations thereof.
   In some embodiments, the ophthalmic composition fur-                   BRIEF DESCRIPTION OF THE DRAWINGS
ther comprises a buffer agent. In some embodiments, the
buffer agent is selected from borates, borate-polyol com-             The novel features of the disclosure are set forth with
plexes, succinate, phosphate buffering agents, citrate buff- 60 particularity in the appended claims. A better understanding
ering agents, acetate buffering agents, carbonate buffering        of the features and advantages of the present disclosure will
agents, organic buffering agents, amino acid buffering             be obtained by reference to the following detailed descrip-
agents, or combinations thereof.                                   tion that sets forth illustrative embodiments, in which the
   In some embodiments, the ophthalmic composition fur-            principles of the disclosure are utilized, and the accompa-
ther comprises a tonicity adjusting agent. In some embodi- 65 nying drawings of which:
ments, the tonicity adjusting agent is selected from sodium           FIG. 1A-FIG. 1C show the shelf life prediction of 0.01%
chloride, sodium nitrate, sodium sulfate, sodium bisulfate,        atropine sulfate solution with a primary degradant RRT


                                                      Appx000247
                                                      Appx000247                     Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 20
                                                                                                                 20 of
                                                                                                                    of 66
                                                                                                                       66
              Case: 23-2402                Document: 15              Page: 304           Filed: 02/01/2024


                                                   US 10,940,145 B2
                              9                                                                 10
0.87-0.89, and a n.m.t. of 0.5% area, based on data obtained      sometimes leads to undesirable side effect, and that localized
from samples stored at 25° C. and 40° C. The pH range of          delivery of muscarinic antagonist (e.g. atropine or its phar-
the atropine sulfate solution is from 5.9-6.2.                    maceutically acceptable salts) reduces or prevents the afore-
   FIG. 2A-FIG. 2C show the shelf life prediction of 0.01%        mentioned systemic exposure.
atropine sulfate solution with a primary degradant RRT 5             Further, the present disclosure recognizes that some liquid
0.87-0.89, and a n.m.t. of 0.5% area, based on data obtained      muscarinic antagonist (e.g. atropine) compositions are for-
from samples stored at 25° C. and 60° C. The pH range of          mulated at a relatively lower pH range (e.g. less than 4.5) for
the atropine sulfate solution is from 5.9-6.2.                    stability of muscarinic antagonist (e.g. atropine or its phar-
   FIG. 3 illustrates mass balance at 4 weeks and at 60° C.       maceutically acceptable salts). For some individuals, the
condition for atropine sulfate formulations disclosed in 10 lower pH range in some instances causes discomfort or other
Example 9.                                                        side effects such as pain or burning sensation in the eye,
   FIG. 4 illustrates atropine sulfate (0.010%) formulation       which is prevented or alleviated by formulating muscarinic
stability in acetic acid. The atropine sulfate formulation is     antagonist (e.g. atropine) compositions at higher pH ranges.
formulated with acetic acid and either with H2O (top panel,       For some individuals, the lower pH in some instances elicits
Formulation 3) or D2O (bottom panel, Formulation 7). 15 a tear response which reduces the absorption of the drug in
Formulation 3 has a pH of 4.8 and Formulation 7 has a pD          the eye and therefore the effectiveness.
of 5.2. Both formulations are stored at 60° C. for 4 weeks           Still further, the present disclosure recognizes that some
prior to analysis.                                                muscarinic antagonist (e.g. atropine) liquid compositions
   FIG. 5 illustrates atropine sulfate (0.01%) formulation        formulated at lower concentrations (e.g. 0.001% to 0.05%)
stability in citric acid. The atropine sulfate formulation is 20 present stability challenges that are less so in higher con-
formulated with citric acid and either with H2O (top panel,       centrations (e.g. 0.1-1%). Without wishing to be bound by
Formulation 5) or D2O (bottom panel, Formulation 8).              any particular theory, it is contemplated that the some
Formulation 5 has a pH of 5.8 and Formulation 8 has a pD          muscarinic antagonist (e.g. atropine) contributes to the sta-
of 6.2. Both formulations are stored at 60° C. for 4 weeks        bility of an ophthalmic composition, such as an aqueous
prior to analysis.                                             25 solution. For example, the concentration of the muscarinic
   FIG. 6 illustrates comparison of total RS and tropic acid      antagonist (e.g. atropine) in some embodiments affects the
for atropine sulfate (0.025%) formulation (Formulation 4) at      pH or pD of the ophthalmic composition, such as with the
pH 4.8 in H2O.                                                    muscarinic antagonist acting as a buffering agent. Further-
   FIG. 7 illustrates comparison of total RS and tropic acid      more, the concentration of the muscarinic antagonist (e.g.
for atropine sulfate (0.01%) formulation (Formulation 7) at 30 atropine) in some embodiments affects the interaction
pD 5.2 in D2O.                                                    between the muscarinic antagonist and other ingredients of
   FIG. 8 illustrates comparison of total RS and tropic acid      the ophthalmic composition, which in turn affects the sta-
for atropine sulfate (0.01%) formulation (Formulation 5) at       bility of the ophthalmic composition.
pH 5.8 in H2O.                                                       Finally, the present disclosure recognizes that deuterated
   FIG. 9 illustrates comparison of total RS and tropic acid 35 water stabilizes ophthalmic compositions. In some cases, the
for atropine sulfate (0.025%) formulation (Formulation 6) at      deuterated water is a weak acid as compared to H2O, as such
pH 5.8 in H2O.                                                    deuterated water comprises a lower concentration of the
   FIG. 10 illustrates estimated shelf lifes for D2O and H2O      reactive species (e.g., OD) which in some instances leads
formulations disclosed in Examples 11 and 12.                     to base catalyzed hydrolysis of an active agent in the
   FIG. 11A-FIG. 11C illustrate stability of atropine sulfate 40 ophthalmic composition. As such, in some instances com-
formulation 8 in H2O and D2O under three storage condi-           positions comprising deuterated water leads to reduced base
tions.                                                            catalyzed hydrolysis when compared to compositions com-
                                                                  prising H2O. In some instances, deuterated water further
            DETAILED DESCRIPTION OF THE                           lowers the buffering capacity of an ophthalmic composition,
                        DISCLOSURE                             45 leading to less tear reflex in the eye.
                                                                     Myopia, axial elongation of the eye, affects a large
   The present disclosure recognizes that there is a need for     proportion of the population. The onset of myopia is gen-
a stabilized ophthalmic composition with extended shelf life      erally during the grade school years and progresses until
upon storage. The present disclosure also recognizes that         growth of the eye is completed. The present disclosure
there is a need for stabilizing an ophthalmic composition so recognizes the importance of compositions and treatments
through arresting or reducing hydrolysis of at least some of      for preventing or arresting the development of myopia,
its active agents. The present disclosure further recognizes      especially compositions and treatments that allow conve-
that there is a need for an ophthalmic composition that           nient administration, reduce potential side effects, has suit-
provides convenient and effective delivery of a muscarinic        able stability, and/or provide relatively consistent therapeu-
antagonist such as atropine in the eye of a patient.           55 tic effects.
   The present disclosure recognizes that muscarinic antago-         Ophthalmic Muscarinic Antagonist Composition
nist (e.g. atropine or its pharmaceutically acceptable salts)        Provided herein is an ophthalmic composition containing
prevents or arrests the development of myopia in humans,          low concentrations of an ophthalmic agent. In some embodi-
for example as evidenced by reduction of the rate of increase     ments, the ophthalmic composition includes from about
of myopia in young people. The present disclosure also 60 0.001 wt % to about 0.05 wt % of an ophthalmic agent for
recognizes the effects of muscarinic antagonist (e.g. atropine    treatment of an ophthalmic disorder or condition; and an
or its pharmaceutically acceptable salts) on reduction of         ophthalmically acceptable carrier, wherein the ophthalmic
axial elongation and myopia in visually impaired chick eyes,      agent is distributed with substantial uniformity throughout
and on ocular growth and muscarinic cholinergic receptors         the ophthalmically acceptable carrier. In some instances, the
in young rhesus monkeys.                                       65 ophthalmic agent is a muscarinic antagonist.
   In addition, the present disclosure recognizes that sys-          Provided herein is an ophthalmic composition containing
temic absorption of muscarinic antagonist (e.g. atropine)         low concentrations of a muscarinic antagonist. In some


                                                       Appx000248
                                                       Appx000248                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 21
                                                                                                                 21 of
                                                                                                                    of 66
                                                                                                                       66
               Case: 23-2402               Document: 15               Page: 305            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             11                                                                  12
embodiments, the ophthalmic composition includes from               nation with one or more of sympathetic agonists: phenyleph-
about 0.001 wt % to about 0.05 wt % of a muscarinic                 rine or hydroxyamphetamine.
antagonist for treatment of an ophthalmic disorder or con-             Provided herein is an ophthalmic composition containing
dition; and an ophthalmically acceptable carrier, wherein the       low concentrations of atropine or its pharmaceutically
muscarinic antagonist is distributed with substantial unifor- 5 acceptable salts. In some embodiments, the ophthalmic
mity throughout the ophthalmically acceptable carrier.              composition includes from about 0.001 wt % to about 0.05
   In some instances, the muscarinic antagonist includes            wt % of atropine or its pharmaceutically acceptable salts for
atropine, atropine sulfate, noratropine, atropine-N-oxide,          treatment of an ophthalmic disorder or condition; and an
tropine, tropic acid, atropine methonitrate, diphenhy-              ophthalmically acceptable carrier, wherein the ophthalmic
                                                                 10
dramine, dimenhydrinate, dicyclomine, flavoxate, oxy-               agent is distributed with substantial uniformity throughout
butynin, tiotropium, hyoscine, scopolomine (L-hyoscine),            the ophthalmically acceptable carrier.
hydroxyzine, ipratropium, tropicamide, cyclopentolate,                 Provided herein is an ophthalmic composition containing
pirenzapine, homatropine, solifenacin, darifenacin, benza-          low concentrations of atropine sulfate. In some embodi-
tropine, mebeverine, procyclidine, aclidinium bromide, tri- 15 ments, the ophthalmic composition includes from about
hexyphenidyl/benzhexol, tolterodine, or a combination               0.001 wt % to about 0.05 wt % of atropine sulfate for
thereof. In some instances, the muscarinic antagonist               treatment of an ophthalmic disorder or condition; and an
includes atropine, atropine sulfate, noratropine, atropine-N-       ophthalmically acceptable carrier, wherein the ophthalmic
oxide, tropine, tropic acid, hyoscine, scopolomine, tropic-         agent is distributed with substantial uniformity throughout
amide, cyclopentolate, pirenzapine, homatropine, or a com- 20 the ophthalmically acceptable carrier.
bination thereof. In some embodiments, the muscarinic                  In some embodiments, the ophthalmic disorder or condi-
antagonist is atropine, or a pharmaceutically acceptable salt       tion is pre-myopia, myopia or progression of myopia.
or prodrug thereof. In some embodiments, the muscarinic                The present disclosure further recognizes that the clinical
antagonist is atropine sulfate.                                     use of atropine as a therapy has been limited due to its ocular
   In some embodiments, the ophthalmic composition com- 25 side effects including glare from pupillary dilation and
prise a muscarinic antagonist selected from atropine, atro-         blurred vision due to loss of accommodation. Without wish-
pine sulfate, noratropine, atropine-N-oxide, tropine, tropic        ing to be bound by any particular theory, it is contemplated
acid, atropine methonitrate, diphenhydramine, dimenhydri-           that the limited use of atropine against myopia development,
nate, dicyclomine, flavoxate, oxybutynin, tiotropium, hyos-         include its ocular side effects, is attributable to the concen-
cine, scopolomine (L-hyoscine), hydroxyzine, ipratropium, 30 tration of atropine used in known ophthalmic formulations
tropicamide, cyclopentolate, pirenzapine, homatropine,
                                                                    (e.g. 1 wt % or higher).
solifenacin, darifenacin, benzatropine, mebeverine, procy-
                                                                       The present disclosure further recognizes the challenges
clidine, aclidinium bromide, trihexyphenidyl/benzhexol,
                                                                    present in formulation of compositions that contain low
tolterodine, or a combination thereof. In some instances, the
muscarinic antagonist includes atropine, atropine sulfate, 35 concentrations, especially very low concentrations (e.g.
noratropine, atropine-N-oxide, tropine, tropic acid, hyos-          from about 0.001 wt % to about 0.5 wt %), of ophthalmic
cine, scopolomine, tropicamide, cyclopentolate, pirenzap-           agents, such as muscarinic antagonist (e.g. atropine or its
ine, or homatropine.                                                pharmaceutically acceptable salts). In particular, pharma-
   In some embodiments, the ophthalmic composition com-             ceutical compositions with ophthalmic agent at such low
prise two or more muscarinic antagonists in which the two 40 concentrations are difficult to maintain dose-to-dose unifor-
or more muscarinic antagonists comprises atropine, atropine         mity in term of ophthalmic agent content and/or distribution.
sulfate, noratropine, atropine-N-oxide, tropine, tropic acid,          In some aspects, described herein are formulations or
atropine methonitrate, diphenhydramine, dimenhydrinate,             solutions of muscarinic antagonist (e.g., atropine) formu-
dicyclomine, flavoxate, oxybutynin, tiotropium, hyoscine,           lated in deuterated water. In some aspects, formulations or
scopolomine (L-hyoscine), hydroxyzine, ipratropium, tropi- 45 solutions of muscarinic antagonist (e.g., atropine) formu-
camide, cyclopentolate, pirenzapine, homatropine, solifena-         lated in deuterated water are stable at different temperatures,
cin, darifenacin, benzatropine, mebeverine, procyclidine,           at different relative humidity, with an acidic pD, and with a
aclidinium bromide, trihexyphenidyl/benzhexol, tolt-                potency of at least 80% relative to the ophthalmic agent.
erodine, or a combination thereof. In some instances, the              In additional aspects, formulations or solutions of mus-
muscarinic antagonist includes atropine, atropine sulfate, s() carinic antagonist (e.g., atropine) formulated in deuterated
noratropine, atropine-N-oxide, tropine, tropic acid, hyos-          water has a lowered buffering capacity. In such instances, the
cine, scopolomine, tropicamide, cyclopentolate, pirenzap-           lowered buffering capacity of the ophthalmic formulations
ine, homatropine, or any combination thereof.                       or solutions when administered into the eye allows the
   In some embodiments, the ophthalmic composition com-             ophthalmic formulation or solution to reach physiological
prises one or more muscarinic antagonist in combination 55 pH at a faster rate than compared to an equivalent ophthal-
with one or more sympathetic agonists. In some embodi-              mic formulation or solution formulated in H2O.
ments, the sympathetic agonist is selected from phenyleph-             In some aspects, described herein are formulations of
rine or hydroxyamphetamine. In some embodiments, the                muscarinic antagonist (e.g. atropine) at low concentrations
ophthalmic composition comprises one or more of musca-              that does not have a dose-to-dose variation. In some aspects,
rinic antagonist: atropine, atropine sulfate, noratropine, atro- 60 described herein are formulations of muscarinic antagonist
pine-N-oxide, tropine, tropic acid, atropine methonitrate,          (e.g. atropine) at low concentrations that are stable at
diphenhydramine, dimenhydrinate, dicyclomine, flavoxate,            different temperatures, at different relative humidity, with an
oxybutynin, tiotropium, hyoscine, scopolomine (L-hyos-              acidic pD, and with a potency of at least 80% relative to the
cine), hydroxyzine, ipratropium, tropicamide, cyclopento-           ophthalmic agent.
late, pirenzapine, homatropine, solifenacin, darifenacin, 65           In other aspects, described herein include formulating the
benzatropine, mebeverine, procyclidine, aclidinium bro-             ophthalmic composition as an ophthalmic gel or an ophthal-
mide, trihexyphenidyl/benzhexol, or tolterodine; in combi-          mic ointment. For example, some ophthalmic gel or an


                                                       Appx000249
                                                       Appx000249                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 22
                                                                                                                   22 of
                                                                                                                      of 66
                                                                                                                         66
              Case: 23-2402               Document: 15             Page: 306           Filed: 02/01/2024


                                                  US 10,940,145 B2
                            13                                                               14
ophthalmic ointment described herein allows desirable dose-      nist) for an extended period of time under storage condition.
to-dose uniformity, reduced or limited systemic exposure, or     In some embodiments, the composition comprises at least
combinations thereof                                             about 97% of the ophthalmic agent (e.g. muscarinic antago-
   Ophthalmic Solution Muscarinic Antagonist Composition         nist) for an extended period of time under storage condition.
   Disclosed herein, in certain embodiments, is an ophthal- 5 In some embodiments, the composition comprises at least
mic composition formulated as an aqueous solution. In some       about 98% of the ophthalmic agent (e.g. muscarinic antago-
embodiments, the ophthalmic composition comprises from           nist) for an extended period of time under storage condition.
about 0.001 wt % to about 0.05 wt % of a muscarinic              In some embodiments, the composition comprises at least
antagonist and deuterated water. As used herein, deuterated      about 99% of the ophthalmic agent (e.g. muscarinic antago-
water refers to D2O, DHO, heavy water, and/or deuterium 10 nist) for an extended period of time under storage condition.
oxide.                                                              In some embodiments, the composition has a potency of
   In some embodiments, the composition comprises at least       at least about 80% after extended period of time under
about 70% of the ophthalmic agent (e.g. muscarinic antago-       storage condition. In some embodiments, the composition
nist) for an extended period of time under storage condition.    has a potency of at least about 81% after extended period of
In some embodiments, the composition comprises at least 15 time under storage condition. In some embodiments, the
about 75% of the ophthalmic agent (e.g. muscarinic antago-       composition has a potency of at least about 82% after
nist) for an extended period of time under storage condition.    extended period of time under storage condition. In some
In some embodiments, the composition comprises at least          embodiments, the composition has a potency of at least
about 80% of the ophthalmic agent (e.g. muscarinic antago-       about 83% after extended period of time under storage
nist) for an extended period of time under storage condition. 20 condition. In some embodiments, the composition has a
In some embodiments, the composition comprises at least          potency of at least about 84% after extended period of time
about 81% of the ophthalmic agent (e.g. muscarinic antago-       under storage condition. In some embodiments, the compo-
nist) for an extended period of time under storage condition.    sition has a potency of at least about 85% after extended
In some embodiments, the composition comprises at least          period of time under storage condition. In some embodi-
about 82% of the ophthalmic agent (e.g. muscarinic antago- 25 ments, the composition has a potency of at least about 86%
nist) for an extended period of time under storage condition.    after extended period of time under storage condition. In
In some embodiments, the composition comprises at least          some embodiments, the composition has a potency of at
about 83% of the ophthalmic agent (e.g. muscarinic antago-       least about 87% after extended period of time under storage
nist) for an extended period of time under storage condition.    condition. In some embodiments, the composition has a
In some embodiments, the composition comprises at least 30 potency of at least about 88% after extended period of time
about 84% of the ophthalmic agent (e.g. muscarinic antago-       under storage condition. In some embodiments, the compo-
nist) for an extended period of time under storage condition.    sition has a potency of at least about 89% after extended
In some embodiments, the composition comprises at least          period of time under storage condition. In some embodi-
about 85% of the ophthalmic agent (e.g. muscarinic antago-       ments, the composition has a potency of at least 90% after
nist) for an extended period of time under storage condition. 35 extended period of time under storage condition. In some
In some embodiments, the composition comprises at least          embodiments, the composition has a potency of at least 91%
about 86% of the ophthalmic agent (e.g. muscarinic antago-       after extended period of time under storage condition. In
nist) for an extended period of time under storage condition.    some embodiments, the composition has a potency of at
In some embodiments, the composition comprises at least          least 92% after extended period of time under storage
about 87% of the ophthalmic agent (e.g. muscarinic antago- 40 condition. In some embodiments, the composition has a
nist) for an extended period of time under storage condition.    potency of at least 93% after extended period of time under
In some embodiments, the composition comprises at least          storage condition. In some embodiments, the composition
about 88% of the ophthalmic agent (e.g. muscarinic antago-       has a potency of at least 94% after extended period of time
nist) for an extended period of time under storage condition.    under storage condition. In some embodiments, the compo-
In some embodiments, the composition comprises at least 45 sition has a potency of at least 95% after extended period of
about 89% of the ophthalmic agent (e.g. muscarinic antago-       time under storage condition. In some embodiments, the
nist) for an extended period of time under storage condition.    composition has a potency of at least 96% after extended
In some embodiments, the composition comprises at least          period of time under storage condition. In some embodi-
about 90% of the ophthalmic agent (e.g. muscarinic antago-       ments, the composition has a potency of at least 97% after
nist) for an extended period of time under storage condition. so extended period of time under storage condition. In some
In some embodiments, the composition comprises at least          embodiments, the composition has a potency of at least 98%
about 91% of the ophthalmic agent (e.g. muscarinic antago-       after extended period of time under storage condition. In
nist) for an extended period of time under storage condition.    some embodiments, the composition has a potency of at
In some embodiments, the composition comprises at least          least 99% after extended period of time under storage
about 92% of the ophthalmic agent (e.g. muscarinic antago- 55 condition.
nist) for an extended period of time under storage condition.       In some embodiments, the extended period of time is at
In some embodiments, the composition comprises at least          least 1 week. In some embodiments, the extended period of
about 93% of the ophthalmic agent (e.g. muscarinic antago-       time is at least 2 weeks. In some embodiments, the extended
nist) for an extended period of time under storage condition.    period of time is at least 3 weeks. In some embodiments, the
In some embodiments, the composition comprises at least 60 extended period of time is at least 1 month. In some
about 94% of the ophthalmic agent (e.g. muscarinic antago-       embodiments, the extended period of time is at least 2
nist) for an extended period of time under storage condition.    months. In some embodiments, the extended period of time
In some embodiments, the composition comprises at least          is at least 3 months. In some embodiments, the extended
about 95% of the ophthalmic agent (e.g. muscarinic antago-       period of time is at least 4 months. In some embodiments,
nist) for an extended period of time under storage condition. 65 the extended period of time is at least 5 months. In some
In some embodiments, the composition comprises at least          embodiments, the extended period of time is at least 6
about 96% of the ophthalmic agent (e.g. muscarinic antago-       months. In some embodiments, the extended period of time


                                                     Appx000250
                                                     Appx000250                    Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 23
                                                                                                               23 of
                                                                                                                  of 66
                                                                                                                     66
              Case: 23-2402              Document: 15             Page: 307           Filed: 02/01/2024


                                                 US 10,940,145 B2
                           15                                                               16
is at least 7 months. In some embodiments, the extended         5 and about 7.5, or about 5.5 and about 7. In some embodi-
period of time is at least 8 months. In some embodiments,       ments, the composition has a pD of less than about 7.5. In
the extended period of time is at least 9 months. In some       some embodiments, the composition has a pD of less than
embodiments, the extended period of time is at least 10         about 7.4. In some embodiments, the composition has a pD
months. In some embodiments, the extended period of time 5 of less than about 7.3. In some embodiments, the composi-
is at least 11 months. In some embodiments, the extended        tion has a pD of less than about 7.2. In some embodiments,
period of time is at least 12 months (i.e. 1 year). In some     the composition has a pD of less than about 7.1. In some
embodiments, the extended period of time is at least 18         embodiments, the composition has a pD of less than about
months (i.e. 1.5 years). In some embodiments, the extended      7. In some embodiments, the composition has a pD of less
period of time is at least 24 months (i.e. 2 years). In some 10 than about 6.9. In some embodiments, the composition has
embodiments, the extended period of time is at least 36         a pD of less than about 6.8. In some embodiments, the
months (i.e. 3 years). In some embodiments, the extended        composition has a pD of less than about 6.7. In some
period of time is at least 3 years. In some embodiments, the    embodiments, the composition has a pD of less than about
extended period of time is at least 5 years, or more.           6.6. In some embodiments, the composition has a pD of less
   In some embodiments, the temperature of the storage 15 than about 6.5. In some embodiments, the composition has
condition is between about 20° C. and about 70° C. In some      a pD of less than about 6.4. In some embodiments, the
embodiments, the temperature of the storage condition is        composition has a pD of less than about 6.3. In some
between about 25° C. and about 65° C., about 30° C. and         embodiments, the composition has a pD of less than about
about 60° C., about 35° C. and about 55° C., or about 40°       6.2. In some embodiments, the composition has a pD of less
C. and about 50° C. In some embodiments, the temperature 20 than about 6.1. In some embodiments, the composition has
of the storage condition is about 25° C. In some embodi-        a pD of less than about 6. In some embodiments, the
ments, the temperature of the storage condition is about 40°    composition has a pD of less than about 5.9. In some
C. In some embodiments, the temperature of the storage          embodiments, the composition has a pD of less than about
condition is about 60° C.                                       5.8. In some embodiments, the composition has a pD of less
   In some embodiments, the relative humidity of the storage 25 than about 5.7. In some embodiments, the composition has
condition is between about 50% and about 80%, or between        a pD of less than about 5.6. In some embodiments, the
about 60% and about 75%. In some embodiments, the               composition has a pD of less than about 5.5. In some
relative humidity of the storage condition is about 60%. In     embodiments, the composition has a pD of less than about
some embodiments, the relative humidity of the storage          5.4. In some embodiments, the composition has a pD of less
condition is about 75%.                                      30 than about 5.3. In some embodiments, the composition has
   In some embodiments, the composition comprises less          a pD of less than about 5.2. In some embodiments, the
than 60% of H2O. In some embodiments, the composition           composition has a pD of less than about 5.1. In some
comprises less than 55% of H2O. In some embodiments, the        embodiments, the composition has a pD of less than about
composition comprises less than 50% of H2O. In some             5. In some embodiments, the composition has a pD of less
embodiments, the composition comprises less than 45% of 35 than about 4.9. In some embodiments, the composition has
H2O. In some embodiments, the composition comprises less        a pD of less than about 4.8. In some embodiments, the
than 40% of H2O. In some embodiments, the composition           composition has a pD of less than about 4.7. In some
comprises less than 35% of H2O. In some embodiments, the        embodiments, the composition has a pD of less than about
composition comprises less than 30% of H2O. In some             4.6. In some embodiments, the composition has a pD of less
embodiments, the composition comprises less than 25% of 40 than about 4.5. In some embodiments, the composition has
H2O. In some embodiments, the composition comprises less        a pD of less than about 4.4. In some embodiments, the
than 20% of H2O. In some embodiments, the composition           composition has a pD of less than about 4.3. In some
comprises less than 15% of H2O. In some embodiments, the        embodiments, the composition has a pD of less than about
composition comprises less than 10% of H2O.                     4.2. In some embodiments, the composition has a pD of less
   In some embodiments, the composition comprises from 45 than about 4.1. In some embodiments, the composition has
less than 5% of H2O to 0% of H2O. In some embodiments,          a pD of less than about 4.
the composition comprises less than 5% of H2O. In some             In some embodiments, the composition comprising deu-
embodiments, the composition comprises less than 4.5% of        terated water has a lowered buffering capacity than an
H2O. In some embodiments, the composition comprises less        equivalent composition comprising H2O. As described else-
than 4% of H2O. In some embodiments, the composition 50 where herein, in some embodiments, the lowered buffering
comprises less than 3.5% of H2O. In some embodiments, the       capacity allows the composition comprising deuterated
composition comprises less than 3% of H2O. In some              water to normalize to physiological pH at a faster rate than
embodiments, the composition comprises less than 2.5% of        a composition comprising H2O. In some embodiments, the
H2O. In some embodiments, the composition comprises less        lowered buffering capacity allows the composition to induce
than 2% of H2O. In some embodiments, the composition 55 less tear reflex than an equivalent composition comprising
comprises less than 1.5% of H2O. In some embodiments, the       H2O.
composition comprises less than 1% of H2O. In some                 In some instances, the composition comprising deuterated
embodiments, the composition comprises less than 0.5% of        water stabilizes muscarinic antagonist (e.g., atropine). In
H2O. In some embodiments, the composition comprises less        some embodiments, this is due to a lower concentration of
than 0.4% of H2O. In some embodiments, the composition 60 the reactive species (e.g., OD) in the D2O aqueous system
comprises less than 0.3% of H2O. In some embodiments, the       compared to the concentration of the reactive species (e.g.,
composition comprises less than 0.2% of H2O. In some               OH) in an equivalent H2O aqueous system. In some cases,
embodiments, the composition comprises less than 0.1% of        base catalyzed hydrolysis leads to the presence of tropine
H2O. In some embodiments, the composition comprises 0%          degradant from atropine. In some cases, with a lower
of H2O.                                                      65 concentration of the reactive species that causes tropine
   In some embodiments, the composition has a pD of             degradant formation, atropine solution is more stable in a
between about 4 and about 8, about 4.5 and about 7.8, about     D2O aqueous system than compared to an equivalent H2O


                                                    Appx000251
                                                    Appx000251                    Eyenovia Exhibit
                                                                                  Eyenovia Exhibit 1001,
                                                                                                   1001, Page
                                                                                                         Page 24
                                                                                                              24 of
                                                                                                                 of 66
                                                                                                                    66
              Case: 23-2402                Document: 15              Page: 308            Filed: 02/01/2024


                                                   US 10,940,145 B2
                             17                                                                 18
aqueous system. In some embodiments, the ophthalmic                 fate. In some instances, a composition comprising atropine
composition formulated with deuterated water allows for a           or atropine sulfate does not stabilize singlet oxygen upon
more stable ophthalmic composition relative to the ophthal-         irradiation with UV. In some instances, a composition com-
mic composition formulated with H2O.                                prising atropine or atropine sulfate quenches photogenerated
   In some embodiments, the composition comprises less 5 singlet oxygen species present in the composition.
than 20% of major degradant based on the concentration of              Ophthalmic Muscarinic Antagonist Concentration
the ophthalmic agent after extended period of time under               In some embodiments, the compositions described herein
storage condition. In some embodiments, the composition             have a concentration of ophthalmic agent between about
comprises less than 15% of major degradant based on the             0.001% to about 0.050%, between about 0.005% to about
concentration of the ophthalmic agent after extended period 10 0.050%, between about 0.010% to about 0.050%, between
of time under storage condition.                                    about 0.015% to about 0.050%, between about 0.020% to
   In some embodiments, the composition comprises less              about 0.050%, between about 0.025% to about 0.050%,
than 10% of major degradant based on the concentration of           between about 0.030% to about 0.050%, between about
the ophthalmic agent after extended period of time under            0.035% to about 0.050%, between about 0.040% to about
storage condition. In some embodiments, the composition 15 0.050%, or between about 0.045% to about 0.050% of the
comprises less than 5% of major degradant based on the              ophthalmic agent, or pharmaceutically acceptable prodrug
concentration of the ophthalmic agent after extended period         or salt thereof, by weight of the composition. In some
of time under storage condition. In some embodiments, the           instances, the prodrug of the ophthalmic agent (e.g. musca-
composition comprises less than 2.0% of major degradant             rinic antagonist) is chemically converted into the ophthalmic
based on the concentration of the ophthalmic agent after 20 agent (e.g. muscarinic antagonist) after the administration of
extended period of time under storage condition. In some            the ophthalmic composition. In a non-limiting example, the
embodiments, the composition comprises less than 1.5% of            muscarinic antagonist prodrug has a chemical bond that is
major degradant based on the concentration of the ophthal-          cleavable by one or more enzymes in tears. In some embodi-
mic agent after extended period of time under storage               ments, the ophthalmic agent is a muscarinic antagonist. In
condition. In some embodiments, the composition com- 25 some embodiments, the muscarinic antagonist comprises
prises less than 1.0% of major degradant based on the               atropine, atropine sulfate, noratropine, atropine-N-oxide,
concentration of the ophthalmic agent after extended period         tropine, tropic acid, hyoscine, scopolomine, tropicamide,
of time under storage condition. In some embodiments, the           cyclopentolate, pirenzapine, homatropine, or a combination
composition comprises less than 0.5% of major degradant             thereof. In some embodiments, the muscarinic antagonist is
based on the concentration of the ophthalmic agent after 30 atropine, or a pharmaceutically acceptable salt thereof. In
extended period of time under storage condition. In some            some embodiments, the muscarinic antagonist is atropine
embodiments, the composition comprises less than 0.4% of            sulfate. As described herein, the ophthalmic agent includes
major degradant based on the concentration of the ophthal-          optically pure stereoisomers, optically enriched stereoiso-
mic agent after extended period of time under storage               mers, and a racemic mixture of stereoisomers. For example,
condition. In some embodiments, the composition com- 35 some ophthalmic compositions disclosed herein includes
prises less than 0.3% of major degradant based on the               atropine or atropine sulfate in which the atropine is a
concentration of the ophthalmic agent after extended period         racemic mixture of D- and L-isomers; and some ophthalmic
of time under storage condition. In some embodiments, the           compositions disclosed herein includes atropine or atropine
composition comprises less than 0.2% of major degradant             sulfate in which the atropine is a optically enriched in favor
based on the concentration of the ophthalmic agent after 40 of the more ophthalmically active L-isomer.
extended period of time under storage condition. In some               In some embodiments, the compositions described herein
embodiments, the composition comprises less than 0.1% of            have a concentration of ophthalmic agent between about
major degradant based on the concentration of the ophthal-          0.001% to about 0.045%, between about 0.005% to about
mic agent after extended period of time under storage               0.045%, between about 0.010% to about 0.045%, between
condition. In some embodiments, the major degradant is 45 about 0.015% to about 0.045%, between about 0.020% to
tropic acid.                                                        about 0.045%, between about 0.025% to about 0.045%,
   In some embodiments, the primary degradant is an early           between about 0.030% to about 0.045%, between about
eluting related substance at RRT of 0.87-0.89 according to          0.035% to about 0.045%, or between about 0.040% to about
the UPLC method described herein (Table 10). In some                0.045% of the ophthalmic agent, or pharmaceutically
instances, the early eluting related substance is referred to as so acceptable prodrug or salt thereof, by weight of the com-
RRT 0.87-0.89. In some embodiments, the primary degrad-             position. In some embodiments, the ophthalmic agent is a
ant is RRT 0.87-0.89.                                               muscarinic antagonist. In some embodiments, the muscar-
   In some embodiments, the composition does not stabilize          inic antagonist comprises atropine, atropine sulfate, nora-
singlet oxygen upon irradiation with UV. In some cases, one         tropine, atropine-N-oxide, tropine, tropic acid, hyoscine,
or more of muscarinic antagonists described herein does not 55 scopolomine, tropicamide, cyclopentolate, pirenzapine,
extend singlet oxygen lifetime. In some cases, one or more          homatropine, or a combination thereof. In some embodi-
of muscarinic antagonists described herein is a radical             ments, the muscarinic antagonist is atropine, or a pharma-
scavenger, which quenches photogenerated singlet oxygen             ceutically acceptable salt thereof. In some embodiments, the
species within the composition. In some instances, the one          muscarinic antagonist is atropine sulfate.
or more muscarinic antagonist comprises atropine, atropine 60          In some embodiments, the compositions described herein
sulfate, noratropine, atropine-N-oxide, tropine, tropic acid,       have a concentration of ophthalmic agent between about
hyoscine, scopolomine, tropicamide, cyclopentolate,                 0.001% to about 0.040%, between about 0.005% to about
pirenzapine, homatropine, or a combination thereof. In some         0.040%, between about 0.010% to about 0.040%, between
instances, the one or more muscarinic antagonist comprises          about 0.015% to about 0.040%, between about 0.020% to
atropine, atropine sulfate, homatropine, scopolamine or a 65 about 0.040%, between about 0.025% to about 0.040%,
combination thereof. In some instances, the one or more             between about 0.030% to about 0.040%, between about
muscarinic antagonist comprises atropine or atropine sul-           0.035% to about 0.040% of the active ingredient, or phar-


                                                       Appx000252
                                                       Appx000252                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 25
                                                                                                                  25 of
                                                                                                                     of 66
                                                                                                                        66
              Case: 23-2402               Document: 15             Page: 309           Filed: 02/01/2024


                                                  US 10,940,145 B2
                            19                                                               20
maceutically acceptable prodrug or salt thereof, by weight of    thereof, by weight of the composition. In some embodi-
the composition. In some embodiments, the ophthalmic             ments, the ophthalmic agent is a muscarinic antagonist. In
agent is a muscarinic antagonist. In some embodiments, the       some embodiments, the muscarinic antagonist comprises
muscarinic antagonist comprises atropine, atropine sulfate,      atropine, atropine sulfate, noratropine, atropine-N-oxide,
noratropine, atropine-N-oxide, tropine, tropic acid, hyos- 5 tropine, tropic acid, hyoscine, scopolomine, tropicamide,
cine, scopolomine, tropicamide, cyclopentolate, pirenzap-        cyclopentolate, pirenzapine, homatropine, or a combination
ine, homatropine, or a combination thereof. In some              thereof. In some embodiments, the muscarinic antagonist is
embodiments, the muscarinic antagonist is atropine, or a         atropine, or a pharmaceutically acceptable salt thereof. In
pharmaceutically acceptable salt thereof. In some embodi-        some embodiments, the muscarinic antagonist is atropine
ments, the muscarinic antagonist is atropine sulfate.         10
                                                                 sulfate.
   In some embodiments, the compositions described herein
                                                                    In some embodiments, the compositions described herein
have a concentration of ophthalmic agent between about
                                                                 have a concentration of ophthalmic agent between about
0.001% to about 0.035%, between about 0.005% to about
0.035%, between about 0.010% to about 0.035%, between            0.001% to about 0.015%, between about 0.005% to about
about 0.015% to about 0.035%, between about 0.020% to 15 0.015%, or between about 0.010% to about 0.015% of the
about 0.035%, between about 0.025% to about 0.035%, or           ophthalmic agent, or pharmaceutically acceptable prodrug
between about 0.030% to about 0.035% of the ophthalmic           or salt thereof, by weight of the composition. In some
agent, or pharmaceutically acceptable prodrug or salt            embodiments, the ophthalmic agent is a muscarinic antago-
thereof, by weight of the composition. In some embodi-           nist. In some embodiments, the muscarinic antagonist com-
ments, the ophthalmic agent is a muscarinic antagonist. In 20 prises atropine, atropine sulfate, noratropine, atropine-N-
some embodiments, the muscarinic antagonist comprises            oxide, tropine, tropic acid, hyoscine, scopolomine,
atropine, atropine sulfate, noratropine, atropine-N-oxide,       tropicamide, cyclopentolate, pirenzapine, homatropine, or a
tropine, tropic acid, hyoscine, scopolomine, tropicamide,        combination thereof. In some embodiments, the muscarinic
cyclopentolate, pirenzapine, homatropine, or a combination       antagonist is atropine, or a pharmaceutically acceptable salt
thereof. In some embodiments, the muscarinic antagonist is 25 thereof. In some embodiments, the muscarinic antagonist is
atropine, or a pharmaceutically acceptable salt thereof. In      atropine sulfate.
some embodiments, the muscarinic antagonist is atropine             In some embodiments, the compositions described herein
sulfate.                                                         have a concentration of ophthalmic agent between about
   In some embodiments, the compositions described herein        0.001% to about 0.010%, between about 0.005% to about
have a concentration of ophthalmic agent between about 30 0.010%, or between about 0.008% to about 0.010% of the
0.001% to about 0.030%, between about 0.005% to about            ophthalmic agent, or pharmaceutically acceptable prodrug
0.030%, between about 0.010% to about 0.030%, between            or salt thereof, by weight of the composition. In some
about 0.015% to about 0.030%, between about 0.020% to            embodiments, the ophthalmic agent is a muscarinic antago-
about 0.030%, or between about 0.025% to about 0.030% of         nist. In some embodiments, the muscarinic antagonist com-
the active ingredient, or pharmaceutically acceptable prod- 35 prises atropine, atropine sulfate, noratropine, atropine-N-
rug or salt thereof, by weight of the composition. In some       oxide, tropine, tropic acid, hyoscine, scopolomine,
embodiments, the ophthalmic agent is a muscarinic antago-        tropicamide, cyclopentolate, pirenzapine, homatropine, or a
nist. In some embodiments, the muscarinic antagonist com-        combination thereof. In some embodiments, the muscarinic
prises atropine, atropine sulfate, noratropine, atropine-N-      antagonist is atropine, or a pharmaceutically acceptable salt
oxide, tropine, tropic acid, hyoscine, scopolomine, 40 thereof. In some embodiments, the muscarinic antagonist is
tropicamide, cyclopentolate, pirenzapine, homatropine, or a      atropine sulfate.
combination thereof. In some embodiments, the muscarinic            In some embodiments, the compositions described herein
antagonist is atropine, or a pharmaceutically acceptable salt    have a concentration of ophthalmic agent about 0.001%,
thereof. In some embodiments, the muscarinic antagonist is       0.005%, 0.010%, 0.015%, 0.020%, 0.025%, 0.030%,
atropine sulfate.                                             45 0.035%, 0.040%, 0.045%, or 0.050% of the ophthalmic
   In some embodiments, the compositions described herein        agent, or pharmaceutically acceptable prodrug or salt
have a concentration of ophthalmic agent between about           thereof, by weight of the composition. In some embodi-
0.001% to about 0.025%, between about 0.005% to about            ments, the ophthalmic agent is a muscarinic antagonist. In
0.025%, between about 0.010% to about 0.025%, between            some embodiments, the muscarinic antagonist comprises
about 0.015% to about 0.025%, or between about 0.020% to so atropine, atropine sulfate, noratropine, atropine-N-oxide,
about 0.025% of the ophthalmic agent, or pharmaceutically        tropine, tropic acid, hyoscine, scopolomine, tropicamide,
acceptable prodrug or salt thereof, by weight of the com-        cyclopentolate, pirenzapine, homatropine, or a combination
position. In some embodiments, the ophthalmic agent is a         thereof. In some embodiments, the muscarinic antagonist is
muscarinic antagonist. In some embodiments, the muscar-          atropine, or a pharmaceutically acceptable salt thereof. In
inic antagonist comprises atropine, atropine sulfate, nora- 55 some embodiments, the muscarinic antagonist is atropine
tropine, atropine-N-oxide, tropine, tropic acid, hyoscine,       sulfate.
scopolomine, tropicamide, cyclopentolate, pirenzapine,              Without wishing to be bound by any particular theory, it
homatropine, or a combination thereof. In some embodi-           is contemplated herein that the low concentration of the
ments, the muscarinic antagonist is atropine, or a pharma-       ophthalmic agent (e.g. muscarinic antagonist such as atro-
ceutically acceptable salt thereof. In some embodiments, the 60 pine or atropine sulfate) in the disclosed ophthalmic com-
muscarinic antagonist is atropine sulfate.                       position provides sufficient and consistent therapeutic ben-
   In some embodiments, the compositions described herein        efits to an individual in need thereof, while reducing or
have a concentration of ophthalmic agent between about           avoiding the ocular side effects including glare from pupil-
0.001% to about 0.020%, between about 0.005% to about            lary dilation and blurred vision due to loss of accommoda-
0.020%, between about 0.010% to about 0.020%, or 65 tion that are associated with ophthalmic formulations con-
between about 0.015% to about 0.020% of the active ingre-        taining higher concentrations of the ophthalmic agent (e.g.
dient, or pharmaceutically acceptable prodrug or salt            muscarinic antagonist such as atropine or atropine sulfate).


                                                     Appx000253
                                                     Appx000253                    Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 26
                                                                                                               26 of
                                                                                                                  of 66
                                                                                                                     66
               Case: 23-2402               Document: 15               Page: 310            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             21                                                                  22
   Aqueous Solution Stability                                     (BES), 2-[(2-Hydroxy-1,1-bis(hydroxymethyl)ethyl)amino]
   In some embodiments, the composition described herein          ethanesulfonic acid (TES), 4-(2-hydroxyethyl)-1-pipera-
comprises a buffer. In some embodiments, a buffer is              zineethanesulfonic acid (HEPES), 3-(N,N-Bis[2-hydroxy-
selected from borates, borate-polyol complexes, succinate,        ethyl]amino)-2-hydroxypropanesulfonic acid (DIPSO),
phosphate buffering agents, citrate buffering agents, acetate 5 acetamidoglycine, 34[1,3-Dihydroxy-2-(hydroxymethyl)-
buffering agents, carbonate buffering agents, organic buff-       2-propanyl]aminol-2-hydroxy-l-propanesulfonic                acid
ering agents, amino acid buffering agents, or combinations        (TAPSO), piperazine-1,4,-bis (2-hydroxypropanesulphonic
thereof. In some embodiments, the composition described           acid) (POPSO), 4 -(2 -hydroxyethyl)piperazine-1-(2 -hy-
herein comprises buffer comprising deuterated water. In           droxypropanesulfonic acid) hydrate (HEPPSO), 3-[4-(2-hy-
some embodiments, a deuterated buffer is selected from 10 droxyethyl)-1-piperazinyl]propanesulfonic acid (HEPPS),
borates, borate-polyol complexes, succinate, phosphate            tricine, glycinamide, bicine or N-tris(hydroxymethyl)
buffering agents, citrate buffering agents, acetate buffering     methyl-3-aminopropanesulfonic acid sodium (TAPS); gly-
agents, carbonate buffering agents, organic buffering agents,     cine; and diethanolamine (DEA).
amino acid buffering agents, or combinations thereof, for-           In some cases, amino acid buffering agents include tau-
mulated in deuterated water.                                   15 rine, aspartic acid and its salts (e.g., potassium salts, etc),
   In some instances, borates include boric acid, salts of        E-aminocaproic acid, and the like.
boric acid, other pharmaceutically acceptable borates, and           In some instances, the composition described herein fur-
combinations thereof in some cases, borates include boric         ther comprises a tonicity adjusting agent. Tonicity adjusting
acid, sodium borate, potassium borate, calcium borate, mag-       agent is an agent introduced into a preparation such as an
nesium borate, manganese borate, and other such borate 20 ophthalmic composition to reduce local irritation by pre-
salts.                                                            venting osmotic shock at the site of application. In some
   As used herein, the term polyol includes any compound          instances, buffer solution and/or a pD adjusting agent that
having at least one hydroxyl group on each of two adjacent        broadly maintains the ophthalmic solution at a particular ion
carbon atoms that are not in trans configuration relative to      concentration and pD are considered as tonicity adjusting
each other. In some embodiments, the polyols is linear or 25 agents. In some cases, tonicity adjusting agents include
cyclic, substituted or unsubstituted, or mixtures thereof, so     various salts, such as halide salts of a monovalent cation. In
long as the resultant complex is water soluble and pharma-        some cases, tonicity adjusting agents include mannitol,
ceutically acceptable. In some instances, examples of polyol      sorbitol, dextrose, sucrose, urea, and glycerin. In some
include: sugars, sugar alcohols, sugar acids and uronic acids.    instances, suitable tonicity adjustors comprise sodium chlo-
In some cases, polyols include, but are not limited to: 30 ride, sodium nitrate, sodium sulfate, sodium bisulfate, potas-
mannitol, glycerin, xylitol and sorbitol.                         sium chloride, calcium chloride, magnesium chloride, zinc
   In some embodiments, phosphate buffering agents include        chloride, potassium acetate, sodium acetate, sodium bicar-
phosphoric acid; alkali metal phosphates such as disodium         bonate, sodium carbonate, sodium thiosulfate, magnesium
hydrogen phosphate, sodium dihydrogen phosphate, triso-           sulfate, disodium hydrogen phosphate, sodium dihydrogen
dium phosphate, dipotassium hydrogen phosphate, potas- 35 phosphate, potassium dihydrogen phosphate, dextrose, man-
sium dihydrogen phosphate, and tripotassium phosphate;            nitol, sorbitol, dextrose, sucrose, urea, propylene glycol,
alkaline earth metal phosphates such as calcium phosphate,        glycerin, trehalose, or a combination thereof.
calcium hydrogen phosphate, calcium dihydrogen phos-                 In some instances, the concentration of the tonicity adjust-
phate, monomagnesium phosphate, dimagnesium phosphate             ing agent in a composition described herein is between about
(magnesium hydrogen phosphate), and trimagnesium phos- 40 0.5% and about 2.0%. In some instances, the concentration
phate; ammonium phosphates such as diammonium hydro-              of the tonicity adjusting agent in a composition described
gen phosphate and ammonium dihydrogen phosphate; or a             herein is between about 0.7% and about 1.8%, about 0.8%
combination thereof. In some instances, the phosphate buff-       and about 1.5%, or about 1% and about 1.3%. In some
ering agent is an anhydride. In some instances, the phos-         instances, the concentration of the tonicity adjusting agent is
phate buffering agent is a hydrate.                            45 about 0.6%, 0.7%, 0.8%, 0.9%, 1.0%, 1.1%, 1.2%, 1.3%,
   In some embodiments, borate-polyol complexes include           1.4%, 1.5%, 1.6%, 1.7%, 1.8%, or 1.9%. In some cases, the
those described in U.S. Pat. No. 6,503,497. In some               percentage is a weight percentage.
instances, the borate-polyol complexes comprise borates in           In some cases, the composition described herein further
an amount of from about 0.01 to about 2.0% w/v, and one           comprises a pD adjusting agent. In some embodiments, the
or more polyols in an amount of from about 0.01% to about so pD adjusting agent used is an acid or a base. In some
5.0% w/v.                                                         embodiments, the base is oxides, hydroxides, carbonates,
   In some cases, citrate buffering agents include citric acid    bicarbonates and the likes. In some instances, the oxides are
and sodium citrate.                                               metal oxides such as calcium oxide, magnesium oxide and
   In some instances, acetate buffering agents include acetic     the likes; hydroxides are of alkali metals and alkaline earth
acid, potassium acetate, and sodium acetate.                   55 metals such as sodium hydroxide, potassium hydroxide,
   In some instances, carbonate buffering agents include          calcium hydroxide and the likes or their deuterated equiva-
sodium bicarbonate and sodium carbonate.                          lents, and carbonates are sodium carbonate, sodium bicar-
   In some cases, organic buffering agents include Good's         bonates, potassium bicarbonates and the likes. In some
Buffer, such as for example 2-(N-morpholino)ethanesulfo-          instances, the acid is mineral acid and organic acids such as
nic acid (MES), N-(2-Acetamido)iminodiacetic acid, 60 hydrochloric acid, nitric acid, phosphoric acid, acetic acid,
N-(Carbamoylmethyl)iminodiacetic acid (ADA), pipera-              citric acid, fumaric acid, malic acid tartaric acid and the likes
zine-N,N'-bis(2-ethanesulfonic acid (PIPES), N-(2-acet-           or their deuterated equivalents. In some instances, the pD
amido)-2-aminoethanesulfonic acid (ACES), 13-Hydroxy-4-           adjusting agent includes, but is not limited to, acetate,
morpholinepropanesulfonic         acid,      3-Morpholino-2-      bicarbonate, ammonium chloride, citrate, phosphate, phar-
hydroxypropanesulfonic acid (MOPSO), cholamine 65 maceutically acceptable salts thereof and combinations or
chloride, 3-(N-morpholino)propansulfonic acid (MOPS),             mixtures thereof. In some embodiments, the pD adjusting
N,N-bis(2 -hydroxyethyl)-2-aminoethanesulfonic            acid    agent comprises DC1 and NaOD.


                                                        Appx000254
                                                        Appx000254                     Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 27
                                                                                                                   27 of
                                                                                                                      of 66
                                                                                                                         66
              Case: 23-2402              Document: 15             Page: 311           Filed: 02/01/2024


                                                 US 10,940,145 B2
                            23                                                              24
   In some instances, the composition has a pD of between       about 6.4. In some embodiments, the composition has an
about 4 and about 8, about 4.5 and about 7.8, about 5 and       initial pD of about 6.3. In some embodiments, the compo-
about 7.5, or about 5.5 and about 7. In some embodiments,       sition has an initial pD of about 6.2. In some embodiments,
the composition has a pD of less than about 7.5. In some        the composition has an initial pD of about 6.1. In some
embodiments, the composition has a pD of less than about 5 embodiments, the composition has an initial pD of about 6.
7.4. In some embodiments, the composition has a pD of less      In some embodiments, the composition has an initial pD of
than about 7.3. In some embodiments, the composition has        about 5.9. In some embodiments, the composition has an
a pD of less than about 7.2. In some embodiments, the           initial pD of about 5.8. In some embodiments, the compo-
composition has a pD of less than about 7.1. In some            sition has an initial pD of about 5.7. In some embodiments,
embodiments, the composition has a pD of less than about 10 the composition has an initial pD of about 5.6. In some
7. In some embodiments, the composition has a pD of less        embodiments, the composition has an initial pD of about 5.5.
than about 6.9. In some embodiments, the composition has        In some embodiments, the composition has an initial pD of
a pD of less than about 6.8. In some embodiments, the           about 5.4. In some embodiments, the composition has an
composition has a pD of less than about 6.7. In some            initial pD of about 5.3. In some embodiments, the compo-
embodiments, the composition has a pD of less than about 15 sition has an initial pD of about 5.2. In some embodiments,
6.6. In some embodiments, the composition has a pD of less      the composition has an initial pD of about 5.1. In some
than about 6.5. In some embodiments, the composition has        embodiments, the composition has an initial pD of about 5.
a pD of less than about 6.4. In some embodiments, the           In some embodiments, the composition has an initial pD of
composition has a pD of less than about 6.3. In some            about 4.9. In some embodiments, the composition has an
embodiments, the composition has a pD of less than about 20 initial pD of about 4.8. In some embodiments, the compo-
6.2. In some embodiments, the composition has a pD of less      sition has an initial pD of about 4.7. In some embodiments,
than about 6.1. In some embodiments, the composition has        the composition has an initial pD of about 4.6. In some
a pD of less than about 6. In some embodiments, the             embodiments, the composition has an initial pD of about 4.5.
composition has a pD of less than about 5.9. In some            In some embodiments, the composition has an initial pD of
embodiments, the composition has a pD of less than about 25 about 4.4. In some embodiments, the composition has an
5.8. In some embodiments, the composition has a pD of less      initial pD of about 4.3. In some embodiments, the compo-
than about 5.7. In some embodiments, the composition has        sition has an initial pD of about 4.2. In some embodiments,
a pD of less than about 5.6. In some embodiments, the           the composition has an initial pD of about 4.1. In some
composition has a pD of less than about 5.5. In some            embodiments, the composition has an initial pD of about 4.
embodiments, the composition has a pD of less than about 30        In some embodiments, the pD of the composition
5.4. In some embodiments, the composition has a pD of less      described herein is associated with the stability of the
than about 5.3. In some embodiments, the composition has        composition. In some embodiments, a stable composition
a pD of less than about 5.2. In some embodiments, the           comprises a pD of between about 4 and about 8, about 4.5
composition has a pD of less than about 5.1. In some            and about 7.8, about 5 and about 7.5, or about 5.5 and about
embodiments, the composition has a pD of less than about 35 7. In some embodiments, a stable composition comprises a
5. In some embodiments, the composition has a pD of less        pD of less than about 7.5. In some embodiments, a stable
than about 4.9. In some embodiments, the composition has        composition comprises a pD of less than about 7.4. In some
a pD of less than about 4.8. In some embodiments, the           embodiments, a stable composition comprises a pD of less
composition has a pD of less than about 4.7. In some            than about 7.3. In some embodiments, a stable composition
embodiments, the composition has a pD of less than about 40 comprises a pD of less than about 7.2. In some embodi-
4.6. In some embodiments, the composition has a pD of less      ments, a stable composition comprises a pD of less than
than about 4.5. In some embodiments, the composition has        about 7.1. In some embodiments, a stable composition
a pD of less than about 4.4. In some embodiments, the           comprises a pD of less than about 7. In some embodiments,
composition has a pD of less than about 4.3. In some            a stable composition comprises a pD of less than about 6.9.
embodiments, the composition has a pD of less than about 45 In some embodiments, a stable composition comprises a pD
4.2. In some embodiments, the composition has a pD of less      of less than about 6.8. In some embodiments, a stable
than about 4.1. In some embodiments, the composition has        composition comprises a pD of less than about 6.7. In some
a pD of less than about 4. In some embodiments, the pD is       embodiments, a stable composition comprises a pD of less
the pD of the composition after extended period of time         than about 6.6. In some embodiments, a stable composition
under storage condition.                                     so comprises a pD of less than about 6.5. In some embodi-
   In some instances, the composition has an initial pD of      ments, a stable composition comprises a pD of less than
between about 4 and about 8, about 4.5 and about 7.8, about     about 6.4. In some embodiments, a stable composition
5 and about 7.5, or about 5.5 and about 7. In some embodi-      comprises a pD of less than about 6.3. In some embodi-
ments, the composition has an initial pD of about 7.5. In       ments, a stable composition comprises a pD of less than
some embodiments, the composition has an initial pD of 55 about 6.2. In some embodiments, a stable composition
about 7.4. In some embodiments, the composition has an          comprises a pD of less than about 6.1. In some embodi-
initial pD of about 7.3. In some embodiments, the compo-        ments, a stable composition comprises a pD of less than
sition has an initial pD of about 7.2. In some embodiments,     about 6. In some embodiments, a stable composition com-
the composition has an initial pD of about 7.1. In some         prises a pD of less than about 5.9. In some embodiments, a
embodiments, the composition has an initial pD of about 7. 60 stable composition comprises a pD of less than about 5.8. In
In some embodiments, the composition has an initial pD of       some embodiments, a stable composition comprises a pD of
about 6.9. In some embodiments, the composition has an          less than about 5.7. In some embodiments, a stable compo-
initial pD of about 6.8. In some embodiments, the compo-        sition comprises a pD of less than about 5.6. In some
sition has an initial pD of about 6.7. In some embodiments,     embodiments, a stable composition comprises a pD of less
the composition has an initial pD of about 6.6. In some 65 than about 5.5. In some embodiments, a stable composition
embodiments, the composition has an initial pD of about 6.5.    comprises a pD of less than about 5.4. In some embodi-
In some embodiments, the composition has an initial pD of       ments, a stable composition comprises a pD of less than


                                                    Appx000255
                                                    Appx000255                    Eyenovia Exhibit
                                                                                  Eyenovia Exhibit 1001,
                                                                                                   1001, Page
                                                                                                         Page 28
                                                                                                              28 of
                                                                                                                 of 66
                                                                                                                    66
              Case: 23-2402                Document: 15              Page: 312            Filed: 02/01/2024


                                                   US 10,940,145 B2
                             25                                                                 26
about 5.3. In some embodiments, a stable composition                is added at a concentration to a composition described herein
comprises a pD of less than about 5.2. In some embodi-              to prevent the growth of or to destroy a microorganism
ments, a stable composition comprises a pD of less than             introduced into the composition. In some instances, micro-
about 5.1. In some embodiments, a stable composition                organisms refer to bacteria (e.g. Proteus mirabilis, Serratia
comprises a pD of less than about 5. In some embodiments, 5 marcesens), virus (e.g. Herpes simplex virus, herpes zoster
a stable composition comprises a pD of less than about 4.9.         virus), fungus (e.g. fungi from the genus Fusarium), yeast
In some embodiments, a stable composition comprises a pD            (e.g. Candida albicans), parasites (e.g. Plasmodium spp.,
of less than about 4.8. In some embodiments, a stable               Gnathostoma spp.), protozoan (e.g. Giardia lamblia), nema-
composition comprises a pD of less than about 4.7. In some          todes (e.g. Onchocercus volvulus), worm (e.g. Dirofilaria
embodiments, a stable composition comprises a pD of less it) immitis), and/or amoeba (e.g. Acanthameoba).
than about 4.6. In some embodiments, a stable composition              In some instances, the concentration of the preservative is
comprises a pD of less than about 4.5. In some embodi-              between about 0.0001% and about 1%, about 0.001% and
ments, a stable composition comprises a pD of less than             about 0.8%, about 0.004% and about 0.5%, about 0.008%
about 4.4. In some embodiments, a stable composition                and about 0.1%, and about 0.01% and about 0.08%. In some
comprises a pD of less than about 4.3. In some embodi- 15 cases, the concentration of the preservatives is about
ments, a stable composition comprises a pD of less than             0.001%, 0.002%, 0.003%, 0.004%, 0.005%, 0.006%,
about 4.2. In some embodiments, a stable composition                0.008%, 0.009%, 0.009%, 0.01%, 0.015%, 0.02%, 0.025%,
comprises a pD of less than about 4.1. In some embodi-              0.03%, 0.04%, 0.05%, 0.06%, 0.07%, 0.08%, 0.09%, 0.1%,
ments, a stable composition comprises a pD of less than             0.2%, 0.3%, 0.4%, 0.5%, 0.6%, 0.7%, 0.8%, 0.9% or 1.0%.
about 4.                                                         20    In some embodiments, the preservative is selected from
   As described elsewhere herein, in some instances, the            benzalkonium chloride, cetrimonium, sodium perborate, sta-
D2O aqueous system stabilizes a muscarinic antagonist (e.g.,        bilized oxychloro complex, SofZia (Alcon), poly quater-
atropine). In some embodiments, this is due to a lower              nium-1, chlorobutanol, edetate disodium, and polyhexam-
concentration of the reactive species (e.g., OD) in the D2O         ethylene biguanide.
aqueous system compared to the concentration of the reac- 25           In some embodiments, the composition described herein
tive species (e.g.,     OH) in an equivalent H2O aqueous            is stored in a plastic container. In some embodiments, the
system. In some instances, the concentration of the reactive        material of the plastic container comprises high density
species (e.g., OD) in the D2O aqueous system is about one           polyethylene (HDPE), low density polyethylene (LDPE),
third less than the concentration of the reactive species (e.g.,    polyethylene terephthalate (PET), polyvinyl chloride (PVC),
   OH) in the equivalent H2O aqueous system. In some 30 polyprolyene (PP), polystyrene (PS), fluorine treated HDPE,
cases, this is due to a lower or smaller dissociation constant      post-consumer resin (PCR), K-resine (SBC), or bioplastic.
of D2O than H2O. For example, the K,(H2O) is 1x10-14                In some embodiments, the material of the plastic container
whereas the K,(D2O) is 1x10-15. As such, D2O is a weaker            comprises LDPE.
acid than H2O. In some cases, base catalyzed hydrolysis                In some embodiments, the composition described herein
leads to the presence of tropine degradant from atropine. In 35 is stored in a plastic container. In some embodiments, the
some cases, with a lower concentration of the reactive              composition stored in a plastic container has a pD of
species that causes tropine degradant formation, atropine           between about 4 and about 8, about 4.5 and about 7.9, or
solution is more stable in a D2O aqueous system than                about 4.9 and about 7.5. In some embodiments, the com-
compared to an equivalent H2O aqueous system. In some               position stored in a plastic container has a pD of less than
embodiments, the ophthalmic composition formulated with 40 about 7.4. In some embodiments, the composition stored in
deuterated water allows for a more stable ophthalmic com-           a plastic container has a pD of less than about 7.3. In some
position relative to the ophthalmic composition formulated          embodiments, the composition stored in a plastic container
with H2O.                                                           has a pD of less than about 7.2. In some embodiments, the
   In some embodiments, the presence of deuterated water            composition stored in a plastic container has a pD of less
shifts the pKa of the buffer. In some embodiments, the 45 than about 7.1. In some embodiments, the composition
presence of deuterated water allows for the ophthalmic              stored in a plastic container has a pD of less than about 7.
composition to simulate the stability of a lower pH system.         In some embodiments, the composition stored in a plastic
In some instances, the buffer capacity of the ophthalmic            container has a pD of less than about 6.9. In some embodi-
composition is lowered, thereby allowing a faster shift in          ments, the composition stored in a plastic container has a pD
pH. In some instances, the lowered buffering capacity of the so  50 of less than about 6.8. In some embodiments, the composi-
ophthalmic composition when administered into the eye               tion stored in a plastic container has a pD of less than about
allows the ophthalmic composition to reach physiological            6.7. In some embodiments, the composition stored in a
pH at a faster rate than compared to an ophthalmic compo-           plastic container has a pD of less than about 6.6. In some
sition formulated in H2O. In some instances, the ophthalmic         embodiments, the composition stored in a plastic container
composition formulated with deuterated water allows for a 55 has a pD of less than about 6.5. In some embodiments, the
lower tear production, or less tear reflex in the eye, in           composition stored in a plastic container has a pD of less
comparison with an ophthalmic composition formulated                than about 6.4. In some embodiments, the composition
with H2O.                                                           stored in a plastic container has a pD of less than about 6.3.
   In some instances, the composition described herein fur-         In some embodiments, the composition stored in a plastic
ther comprises a disinfecting agent. In some cases, disin- 60 container has a pD of less than about 6.2. In some embodi-
fecting agents include polymeric biguanides, polymeric              ments, the composition stored in a plastic container has a pD
quarternary ammonium compounds, chlorites, bisbigua-                of less than about 6.1. In some embodiments, the composi-
nides, chlorite compounds (e.g. potassium chlorite, sodium          tion stored in a plastic container has a pD of less than about
chlorite, calcium chlorite, magnesium chlorite, or mixtures         6. In some embodiments, the composition stored in a plastic
thereof), and a combination thereof.                             65 container has a pD of less than about 5.9. In some embodi-
   In some instances, the composition described herein fur-         ments, the composition stored in a plastic container has a pD
ther comprises a preservative. In some cases, a preservative        of less than about 5.8. In some embodiments, the composi-


                                                       Appx000256
                                                       Appx000256                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 29
                                                                                                                  29 of
                                                                                                                     of 66
                                                                                                                        66
               Case: 23-2402               Document: 15               Page: 313            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             27                                                                  28
tion stored in a plastic container has a pD of less than about    about 25° C., about 40° C., or about 60° C. In some
5.7. In some embodiments, the composition stored in a             embodiments, the composition stored in a plastic container
plastic container has a pD of less than about 5.6. In some        has a potency of at least 85% at a temperature of about 25°
embodiments, the composition stored in a plastic container        C., about 40° C., or about 60° C. In some embodiments, the
has a pD of less than about 5.5. In some embodiments, the 5 composition stored in a plastic container has a potency of at
composition stored in a plastic container has a pD of less        least 90% at a temperature of about 25° C., about 40° C., or
than about 5.4. In some embodiments, the composition              about 60° C. In some embodiments, the composition stored
stored in a plastic container has a pD of less than about 5.3.    in a plastic container has a potency of at least 93% at a
In some embodiments, the composition stored in a plastic          temperature of about 25° C., about 40° C., or about 60° C.
container has a pD of less than about 5.2. In some embodi- 10 In some embodiments, the composition stored in a plastic
ments, the composition stored in a plastic container has a pD     container has a potency of at least 95% at a temperature of
of less than about 5.1. In some embodiments, the composi-         about 25° C., about 40° C., or about 60° C. In some
tion stored in a plastic container has a pD of less than about    embodiments, the composition stored in a plastic container
5. In some embodiments, the composition stored in a plastic       has a potency of at least 97% at a temperature of about 25°
container has a pD of less than about 4.9. In some embodi- 15 C., about 40° C., or about 60° C. In some embodiments, the
ments, the composition stored in a plastic container has a pD     composition stored in a plastic container has a potency of at
of less than about 4.8. In some embodiments, the composi-         least 98% at a temperature of about 25° C., about 40° C., or
tion stored in a plastic container has a pD of less than about    about 60° C. In some embodiments, the composition stored
4.7. In some embodiments, the composition stored in a             in a plastic container has a potency of at least 99% at a
plastic container has a pD of less than about 4.6. In some 20 temperature of about 25° C., about 40° C., or about 60° C.
embodiments, the composition stored in a plastic container           In some embodiments, the composition stored in a plastic
has a pD of less than about 4.5. In some embodiments, the         container has a potency of at least 80% for a period of at
composition stored in a plastic container has a pD of less        least 1 week, at least 2 weeks, at least 3 weeks, at least 1
than about 4.4. In some embodiments, the composition              month, at least 2 months, at least 3 months, at least 4 months,
stored in a plastic container has a pD of less than about 4.3. 25 at least 5 months, at least 6 months, at least 8 months, at least
In some embodiments, the composition stored in a plastic          10 months, at least 12 months, at least 18 months, or at least
container has a pD of less than about 4.2. In some embodi-        24 months. In some embodiments, the composition stored in
ments, the composition stored in a plastic container has a pD     a plastic container has a potency of at least 85% for a period
of less than about 4.1. In some embodiments, the composi-         of at least 1 week, at least 2 weeks, at least 3 weeks, at least
tion stored in a plastic container has a pD of less than about 30 1 month, at least 2 months, at least 3 months, at least 4
4.                                                                months, at least 5 months, at least 6 months, at least 8
   In some embodiments, the composition stored in a plastic       months, at least 10 months, at least 12 months, at least 18
container has a potency of at least 70% after extended period     months, or at least 24 months. In some embodiments, the
of time under storage condition. In some embodiments, the         composition stored in a plastic container has a potency of at
composition stored in a plastic container has a potency of at 35 least 90% for a period of at least 1 week, at least 2 weeks,
least 75% after extended period of time under storage             at least 3 weeks, at least 1 month, at least 2 months, at least
condition. In some embodiments, the composition stored in         3 months, at least 4 months, at least 5 months, at least 6
a plastic container has a potency of at least 80% after           months, at least 8 months, at least 10 months, at least 12
extended period of time under storage condition. In some          months, at least 18 months, or at least 24 months. In some
embodiments, the composition stored in a plastic container 40 embodiments, the composition stored in a plastic container
has a potency of at least 85% after extended period of time       has a potency of at least 93% for a period of at least 1 week,
under storage condition. In some embodiments, the compo-          at least 2 weeks, at least 3 weeks, at least 1 month, at least
sition stored in a plastic container has a potency of at least    2 months, at least 3 months, at least 4 months, at least 5
90% after extended period of time under storage condition.        months, at least 6 months, at least 8 months, at least 10
In some embodiments, the composition stored in a plastic 45 months, at least 12 months, at least 18 months, or at least 24
container has a potency of at least 93% after extended period     months. In some embodiments, the composition stored in a
of time under storage condition. In some embodiments, the         plastic container has a potency of at least 95% for a period
composition stored in a plastic container has a potency of at     of at least 1 week, at least 2 weeks, at least 3 weeks, at least
least 95% after extended period of time under storage             1 month, at least 2 months, at least 3 months, at least 4
condition. In some embodiments, the composition stored in so months, at least 5 months, at least 6 months, at least 8
a plastic container has a potency of at least 97% after           months, at least 10 months, at least 12 months, at least 18
extended period of time under storage condition. In some          months, or at least 24 months. In some embodiments, the
embodiments, the composition stored in a plastic container        composition stored in a plastic container has a potency of at
has a potency of at least 98% after extended period of time       least 97% for a period of at least 1 week, at least 2 weeks,
under storage condition. In some embodiments, the compo- 55 at least 3 weeks, at least 1 month, at least 2 months, at least
sition stored in a plastic container has a potency of at least    3 months, at least 4 months, at least 5 months, at least 6
99% after extended period of time under storage condition.        months, at least 8 months, at least 10 months, at least 12
In some instances, the storage condition comprises a tem-         months, at least 18 months, or at least 24 months. In some
perature of about 25° C., about 40° C., or about 60° C. In        embodiments, the composition stored in a plastic container
some instances, the extended period of time is at least 1 60 has a potency of at least 98% for a period of at least 1 week,
week, at least 2 weeks, at least 3 weeks, at least 1 month, at    at least 2 weeks, at least 3 weeks, at least 1 month, at least
least 2 months, at least 3 months, at least 4 months, at least    2 months, at least 3 months, at least 4 months, at least 5
5 months, at least 6 months, at least 8 months, at least 10       months, at least 6 months, at least 8 months, at least 10
months, at least 12 months, at least 18 months, or at least 24    months, at least 12 months, at least 18 months, or at least 24
months.                                                        65 months. In some embodiments, the composition stored in a
   In some embodiments, the composition stored in a plastic       plastic container has a potency of at least 99% for a period
container has a potency of at least 80% at a temperature of       of at least 1 week, at least 2 weeks, at least 3 weeks, at least


                                                       Appx000257
                                                       Appx000257                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 30
                                                                                                                   30 of
                                                                                                                      of 66
                                                                                                                         66
              Case: 23-2402                Document: 15              Page: 314            Filed: 02/01/2024


                                                   US 10,940,145 B2
                             29                                                                 30
1 month, at least 2 months, at least 3 months, at least 4            In some embodiments, the composition stored in a plastic
months, at least 5 months, at least 6 months, at least 8          container comprises less than 20% of primary degradant
months, at least 10 months, at least 12 months, at least 18       based on the concentration of the ophthalmic agent at a
months, or at least 24 months.                                    temperature of about 25° C., about 40° C., or about 60° C.
   In some embodiments, the composition stored in a plastic 5 In some embodiments, the composition stored in a plastic
container comprises less than 20% of primary degradant            container comprises less than 15% of primary degradant
based on the concentration of the ophthalmic agent after          based on the concentration of the ophthalmic agent at a
extended period of time under storage condition. In some          temperature of about 25° C., about 40° C., or about 60° C.
embodiments, the composition stored in a plastic container        In some embodiments, the composition stored in a plastic
comprises less than 15% of primary degradant based on the 10 container comprises less than 10% of primary degradant
concentration of the ophthalmic agent after extended period       based on the concentration of the ophthalmic agent at a
of time under storage condition. In some embodiments, the         temperature of about 25° C., about 40° C., or about 60° C.
composition stored in a plastic container comprises less than     In some embodiments, the composition stored in a plastic
10% of primary degradant based on the concentration of the        container comprises less than 5% of primary degradant
ophthalmic agent after extended period of time under stor- 15 based on the concentration of the ophthalmic agent at a
age condition. In some embodiments, the composition               temperature of about 25° C., about 40° C., or about 60° C.
stored in a plastic container comprises less than 5% of              In some embodiments, the composition stored in a plastic
primary degradant based on the concentration of the oph-          container comprises from less than 2.5% of primary degrad-
thalmic agent after extended period of time under storage         ant to less than 0.1% of primary degradant based on the
condition.                                                     20 concentration of the ophthalmic agent at a temperature of
   In some embodiments, the composition stored in a plastic       about 25° C., about 40° C., or about 60° C. In some
container comprises from less than 2.5% of primary degrad-        embodiments, the composition stored in a plastic container
ant to less than 0.1% of primary degradant based on the           comprises less than 2.5% of primary degradant based on the
concentration of the ophthalmic agent after extended period       concentration of the ophthalmic agent at a temperature of
of time under storage condition. In some embodiments, the 25 about 25° C., about 40° C., or about 60° C. In some
composition stored in a plastic container comprises less than     embodiments, the composition stored in a plastic container
2.5% of primary degradant based on the concentration of the       comprises less than 2.0% of primary degradant based on the
ophthalmic agent after extended period of time under stor-        concentration of the ophthalmic agent at a temperature of
age condition. In some embodiments, the composition               about 25° C., about 40° C., or about 60° C. In some
stored in a plastic container comprises less than 2.0% of 30 embodiments, the composition stored in a plastic container
primary degradant based on the concentration of the oph-          comprises less than 1.5% of primary degradant based on the
thalmic agent after extended period of time under storage         concentration of the ophthalmic agent at a temperature of
condition. In some embodiments, the composition stored in         about 25° C., about 40° C., or about 60° C. In some
a plastic container comprises less than 1.5% of primary           embodiments, the composition stored in a plastic container
degradant based on the concentration of the ophthalmic 35 comprises less than 1.0% of primary degradant based on the
agent after extended period of time under storage condition.      concentration of the ophthalmic agent at a temperature of
In some embodiments, the composition stored in a plastic          about 25° C., about 40° C., or about 60° C. In some
container comprises less than 1.0% of primary degradant           embodiments, the composition stored in a plastic container
based on the concentration of the ophthalmic agent after          comprises less than 0.5% of primary degradant based on the
extended period of time under storage condition. In some 40 concentration of the ophthalmic agent at a temperature of
embodiments, the composition stored in a plastic container        about 25° C., about 40° C., or about 60° C. In some
comprises less than 0.5% of primary degradant based on the        embodiments, the composition stored in a plastic container
concentration of the ophthalmic agent after extended period       comprises less than 0.4% of primary degradant based on the
of time under storage condition. In some embodiments, the         concentration of the ophthalmic agent at a temperature of
composition stored in a plastic container comprises less than 45 about 25° C., about 40° C., or about 60° C. In some
0.4% of primary degradant based on the concentration of the       embodiments, the composition stored in a plastic container
ophthalmic agent after extended period of time under stor-        comprises less than 0.3% of primary degradant based on the
age condition. In some embodiments, the composition               concentration of the ophthalmic agent at a temperature of
stored in a plastic container comprises less than 0.3% of         about 25° C., about 40° C., or about 60° C. In some
primary degradant based on the concentration of the oph- so embodiments, the composition stored in a plastic container
thalmic agent after extended period of time under storage         comprises less than 0.2% of primary degradant based on the
condition. In some embodiments, the composition stored in         concentration of the ophthalmic agent at a temperature of
a plastic container comprises less than 0.2% of primary           about 25° C., about 40° C., or about 60° C. In some
degradant based on the concentration of the ophthalmic            embodiments, the composition stored in a plastic container
agent after extended period of time under storage condition. 55 comprises less than 0.1% of primary degradant based on the
In some embodiments, the composition stored in a plastic          concentration of the ophthalmic agent at a temperature of
container comprises less than 0.1% of primary degradant           about 25° C., about 40° C., or about 60° C.
based on the concentration of the ophthalmic agent after             In some embodiments, the composition stored in a plastic
extended period of time under storage condition. In some          container comprises less than 20% of primary degradant
instances, the storage condition comprises a temperature of 60 based on the concentration of the ophthalmic agent for a
about 25° C., about 40° C., or about 60° C. In some               period of at least 1 week, at least 2 weeks, at least 3 weeks,
instances, the extended period of time is at least 1 week, at     at least 1 month, at least 2 months, at least 3 months, at least
least 2 weeks, at least 3 weeks, at least 1 month, at least 2     4 months, at least 5 months, at least 6 months, at least 8
months, at least 3 months, at least 4 months, at least 5          months, at least 10 months, at least 12 months, at least 18
months, at least 6 months, at least 8 months, at least 10 65 months, or at least 24 months. In some embodiments, the
months, at least 12 months, at least 18 months, or at least 24    composition stored in a plastic container comprises less than
months.                                                           15% of primary degradant based on the concentration of the


                                                       Appx000258
                                                       Appx000258                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 31
                                                                                                                  31 of
                                                                                                                     of 66
                                                                                                                        66
               Case: 23-2402                Document: 15                Page: 315            Filed: 02/01/2024


                                                     US 10,940,145 B2
                              31                                                                   32
ophthalmic agent for a period of at least 1 week, at least 2         comprises less than 0.4% of primary degradant based on the
weeks, at least 3 weeks, at least 1 month, at least 2 months,        concentration of the ophthalmic agent for a period of at least
at least 3 months, at least 4 months, at least 5 months, at least    1 week, at least 2 weeks, at least 3 weeks, at least 1 month,
6 months, at least 8 months, at least 10 months, at least 12         at least 2 months, at least 3 months, at least 4 months, at least
months, at least 18 months, or at least 24 months. In some 5 5 months, at least 6 months, at least 8 months, at least 10
embodiments, the composition stored in a plastic container           months, at least 12 months, at least 18 months, or at least 24
comprises less than 10% of primary degradant based on the            months. In some embodiments, the composition stored in a
concentration of the ophthalmic agent for a period of at least       plastic container comprises less than 0.3% of primary
1 week, at least 2 weeks, at least 3 weeks, at least 1 month,        degradant based on the concentration of the ophthalmic
at least 2 months, at least 3 months, at least 4 months, at least 10 agent for a period of at least 1 week, at least 2 weeks, at least
5 months, at least 6 months, at least 8 months, at least 10          3 weeks, at least 1 month, at least 2 months, at least 3
months, at least 12 months, at least 18 months, or at least 24       months, at least 4 months, at least 5 months, at least 6
months. In some embodiments, the composition stored in a             months, at least 8 months, at least 10 months, at least 12
plastic container comprises less than 5% of primary degrad-          months, at least 18 months, or at least 24 months. In some
ant based on the concentration of the ophthalmic agent for 15 embodiments, the composition stored in a plastic container
a period of at least 1 week, at least 2 weeks, at least 3 weeks,     comprises less than 0.2% of primary degradant based on the
at least 1 month, at least 2 months, at least 3 months, at least     concentration of the ophthalmic agent for a period of at least
4 months, at least 5 months, at least 6 months, at least 8           1 week, at least 2 weeks, at least 3 weeks, at least 1 month,
months, at least 10 months, at least 12 months, at least 18          at least 2 months, at least 3 months, at least 4 months, at least
months, or at least 24 months.                                    20 5 months, at least 6 months, at least 8 months, at least 10
   In some embodiments, the composition stored in a plastic          months, at least 12 months, at least 18 months, or at least 24
container comprises from less than 2.5% of primary degrad-           months. In some embodiments, the composition stored in a
ant to less than 0.1% of primary degradant based on the              plastic container comprises less than 0.1% of primary
concentration of the ophthalmic agent for a period of at least       degradant based on the concentration of the ophthalmic
1 week, at least 2 weeks, at least 3 weeks, at least 1 month, 25 agent for a period of at least 1 week, at least 2 weeks, at least
at least 2 months, at least 3 months, at least 4 months, at least    3 weeks, at least 1 month, at least 2 months, at least 3
5 months, at least 6 months, at least 8 months, at least 10          months, at least 4 months, at least 5 months, at least 6
months, at least 12 months, at least 18 months, or at least 24       months, at least 8 months, at least 10 months, at least 12
months. In some embodiments, the composition stored in a             months, at least 18 months, or at least 24 months.
plastic container comprises less than 2.5% of primary 30                In some embodiments, the composition described herein
degradant based on the concentration of the ophthalmic               is stored in a glass container. In some embodiments, the
agent for a period of at least 1 week, at least 2 weeks, at least    glass container is a glass vial, such as for example, a type I,
3 weeks, at least 1 month, at least 2 months, at least 3             type II or type III glass vial. In some embodiments, the glass
months, at least 4 months, at least 5 months, at least 6             container is a type I glass vial. In some embodiments, the
months, at least 8 months, at least 10 months, at least 12 35 type I glass vial is a borasilicate glass vial.
months, at least 18 months, or at least 24 months. In some              In some embodiments, the composition stored in a glass
embodiments, the composition stored in a plastic container           container has a pD of higher than about 7. In some embodi-
comprises less than 2.0% of primary degradant based on the           ments, the composition stored in a glass container has a pD
concentration of the ophthalmic agent for a period of at least       of higher than about 7.5. In some embodiments, the com-
1 week, at least 2 weeks, at least 3 weeks, at least 1 month, 40 position stored in a glass container has a pD of higher than
at least 2 months, at least 3 months, at least 4 months, at least    about 8. In some embodiments, the composition stored in a
5 months, at least 6 months, at least 8 months, at least 10          glass container has a pD of higher than about 8.5. In some
months, at least 12 months, at least 18 months, or at least 24       embodiments, the composition stored in a glass container
months. In some embodiments, the composition stored in a             has a pD of higher than about 9.
plastic container comprises less than 1.5% of primary 45                In some embodiments, the composition stored in a glass
degradant based on the concentration of the ophthalmic               container has a potency of less than 60% at a temperature of
agent for a period of at least 1 week, at least 2 weeks, at least    about 25° C., about 40° C., or about 60° C. In some
3 weeks, at least 1 month, at least 2 months, at least 3             embodiments, the composition stored in a glass container
months, at least 4 months, at least 5 months, at least 6             has a potency of less than 60% for a period of at least 1
months, at least 8 months, at least 10 months, at least 12 so week, at least 2 weeks, at least 3 weeks, at least 1 month, at
months, at least 18 months, or at least 24 months. In some           least 2 months, at least 3 months, at least 4 months, at least
embodiments, the composition stored in a plastic container           5 months, at least 6 months, at least 8 months, at least 10
comprises less than 1.0% of primary degradant based on the           months, at least 12 months, at least 18 months, or at least 24
concentration of the ophthalmic agent for a period of at least       months.
1 week, at least 2 weeks, at least 3 weeks, at least 1 month, 55        In some embodiments, the composition stored in a glass
at least 2 months, at least 3 months, at least 4 months, at least    container is less stable than a composition stored in a plastic
5 months, at least 6 months, at least 8 months, at least 10          container.
months, at least 12 months, at least 18 months, or at least 24          In some embodiments, the composition is stored under in
months. In some embodiments, the composition stored in a             the dark. In some instances, the composition is stored in the
plastic container comprises less than 0.5% of primary 60 presence of light. In some instances, the light is indoor light,
degradant based on the concentration of the ophthalmic               room light, or sun light. In some instances, the composition
agent for a period of at least 1 week, at least 2 weeks, at least    is stable while stored in the presence of light.
3 weeks, at least 1 month, at least 2 months, at least 3                In some embodiments, the composition described herein
months, at least 4 months, at least 5 months, at least 6             is formulated as an aqueous solution. In some embodiments,
months, at least 8 months, at least 10 months, at least 12 65 the aqueous solution is a stable aqueous solution. In some
months, at least 18 months, or at least 24 months. In some           instances, the aqueous solution is stored in a plastic con-
embodiments, the composition stored in a plastic container           tainer as described above. In some instances, the aqueous


                                                         Appx000259
                                                         Appx000259                      Eyenovia Exhibit
                                                                                         Eyenovia Exhibit 1001,
                                                                                                          1001, Page
                                                                                                                Page 32
                                                                                                                     32 of
                                                                                                                        of 66
                                                                                                                           66
               Case: 23-2402               Document: 15               Page: 316            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             33                                                                  34
solution is not stored in a glass container. In some instances,      acceptable ophthalmic agents within the formulations
the aqueous solution is stored in the dark. In some instances,       described herein. In other embodiments, cyclodextrins in
the aqueous solution is stored in the presence of light. In          addition serve as controlled release excipients within the
some instances, the aqueous solution is stable in the pres-          formulations described herein.
ence of light.                                                    5     By way of example only, cyclodextrin derivatives for use
   In a specific embodiment, the ophthalmically acceptable           include a-cyclodextrin, I3-cyclodextrin, y-cyclodextrin,
formulations alternatively comprise a cyclodextrin. Cyclo-           hydroxyethyl-P-cyclodextrin, hydroxypropyl-y-cyclodex-
dextrins are cyclic oligosaccharides containing 6, 7, or 8           trin, sulfated (3-cyclodextrin, sulfated a-cyclodextrin,
glucopyranose units, referred to as a-cyclodextrin, I3-cyclo-        sulfobutyl ether I3-cyclodextrin.
dextrin, or y-cyclodextrin respectively. Cyclodextrins have a 10        The concentration of the cyclodextrin used in the com-
hydrophilic exterior, which enhances water-soluble, and a            positions and methods disclosed herein varies according to
hydrophobic interior which forms a cavity. In an aqueous
                                                                     the physiochemical properties, pharmacokinetic properties,
environment, hydrophobic portions of other molecules often
                                                                     side effect or adverse events, formulation considerations, or
enter the hydrophobic cavity of cyclodextrin to form inclu-
                                                                     other factors associated with the therapeutically ophthalmic
sion compounds. Additionally, cyclodextrins are also 15
capable of other types of nonbonding interactions with               agent, or a salt or prodrug thereof, or with the properties of
molecules that are not inside the hydrophobic cavity. Cyclo-         other excipients in the composition. Thus, in certain circum-
dextrins have three free hydroxyl groups for each glucopy-           stances, the concentration or amount of cyclodextrin used in
ranose unit, or 18 hydroxyl groups on a-cyclodextrin, 21             accordance with the compositions and methods disclosed
hydroxyl groups on (3-cyclodextrin, and 24 hydroxyl groups 20    20 herein will vary, depending on the need. When used, the
on y-cyclodextrin. In some embodiments, one or more of               amount of cyclodextrins needed to increase solubility of the
these hydroxyl groups are reacted with any of a number of            ophthalmic agent and/or function as a controlled release
reagents to form a large variety of cyclodextrin derivatives,        excipient in any of the formulations described herein is
including hydroxypropyl ethers, sulfonates, and sulfoalky-           selected using the principles, examples, and teachings
lethers. Shown below is the structure of I3-cyclodextrin and 25 described herein.
the hydroxypropyl-(3-cyclodextrin (HP(3CD).                             Other stabilizers that are useful in the ophthalmically
                                                                     acceptable formulations disclosed herein include, for
                                                                     example, fatty acids, fatty alcohols, alcohols, long chain
                                        RO                           fatty acid esters, long chain ethers, hydrophilic derivatives
                                                                 30 of fatty acids, polyvinyl pyrrolidones, polyvinyl ethers,
               RO                                                    polyvinyl alcohols, hydrocarbons, hydrophobic polymers,
                                  O                                  moisture-absorbing polymers, and combinations thereof.
                                    RO
                                             RO                         In some embodiments, amide analogues of stabilizers are
                              R                  o
                                                          OR         also used. In further embodiments, the chosen stabilizer
                      OR                        RO               35 changes the hydrophobicity of the formulation, improves the
                 O
                OR                                                   mixing of various components in the formulation, controls
                                                                     the moisture level in the formula, or controls the mobility of
                                                     RO
                                                                     the phase.
  RO                                                  O                 In other embodiments, stabilizers are present in sufficient
                 OR                                              40 amounts to inhibit the degradation of the ophthalmic agent.
                                                   RO
                O
                                                                     Examples of such stabilizing agents, include, but are not
                 OR                                                  limited to: glycerol, methionine, monothioglycerol, EDTA,
                                             R
                                               \
                                                           OR        ascorbic acid, polysorbate 80, polysorbate 20, arginine,
                                       R        o                    heparin, dextran sulfate, cyclodextrins, pentosan polysulfate
                             OR            O O
                                     R                           45 and other heparinoids, divalent cations such as magnesium
                                O
                                                                     and zinc, or combinations thereof.
                RO                                                      Additional useful stabilization agents for ophthalmically
                                                                     acceptable formulations include one or more anti-aggrega-
                                          OR
                                                                     tion additives to enhance stability of ophthalmic formula-
R=
R=H
3-cyclodextrin                                                   s() tions by reducing the rate of protein aggregation. The
                                                                     anti-aggregation additive selected depends upon the nature
R= CH2CH(OH)CH3
hydroxypropyl p-cyclodextrin
                                                                     of the conditions to which the ophthalmic agents, for
                                                                     example a muscarinic antagonist (e.g. atropine or its phar-
                                                                     maceutically acceptable salts), are exposed. For example,
   In some embodiments, the use of cyclodextrins in the 55 certain formulations undergoing agitation and thermal stress
pharmaceutical compositions described herein improves the            require a different anti-aggregation additive than a formu-
solubility of the drug. Inclusion compounds are involved in          lation undergoing lyophilization and reconstitution. Useful
many cases of enhanced solubility; however other interac-            anti-aggregation additives include, by way of example only,
tions between cyclodextrins and insoluble compounds also             urea, guanidinium chloride, simple amino acids such as
improves           solubility.      Hydroxypropyl-P-cyclodextrin 60 glycine or arginine, sugars, polyalcohols, polysorbates,
(HP(3CD) is commercially available as a pyrogen free prod-           polymers such as polyethylene glycol and dextrans, alkyl
uct. It is a nonhygroscopic white powder that readily dis-           saccharides, such as alkyl glycoside, and surfactants.
solves in water. HPI3CD is thermally stable and does not                Other useful formulations optionally include one or more
degrade at neutral pH. Thus, cyclodextrins improve the               ophthalmically acceptable antioxidants to enhance chemical
solubility of a therapeutic agent in a composition or formu- 65 stability where required. Suitable antioxidants include, by
lation. Accordingly, in some embodiments, cyclodextrins are          way of example only, ascorbic acid, methionine, sodium
included to increase the solubility of the ophthalmically            thiosulfate and sodium metabisulfite. In one embodiment,


                                                       Appx000260
                                                       Appx000260                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 33
                                                                                                                   33 of
                                                                                                                      of 66
                                                                                                                         66
               Case: 23-2402                Document: 15               Page: 317           Filed: 02/01/2024


                                                    US 10,940,145 B2
                             35                                                                   36
antioxidants are selected from metal chelating agents, thiol         and d) cationic surfactants such as cetyltrimethylammonium
containing compounds and other general stabilizing agents.           bromide, and lauryldimethylbenzyl-ammonium chloride.
   Still other useful compositions include one or more oph-             In a further embodiment, when one or more co-surfactants
thalmically acceptable surfactants to enhance physical sta-          are utilized in the ophthalmically acceptable formulations of
bility or for other purposes. Suitable nonionic surfactants 5 the present disclosure, they are combined, e.g., with a
include, but are not limited to, polyoxyethylene fatty acid          pharmaceutically acceptable vehicle and is present in the
glycerides and vegetable oils, e.g., polyoxyethylene (60)            final formulation, e.g., in an amount ranging from about
hydrogenated castor oil; and polyoxyethylene alkylethers             0.1% to about 20%, from about 0.5% to about 10%.
and alkylphenyl ethers, e.g., octoxynol 10, octoxynol 40.               In one embodiment, the surfactant has an HLB value of 0
                                                                  10 to 20. In additional embodiments, the surfactant has an HLB
   In some embodiments, the ophthalmically acceptable
                                                                     value of 0 to 3, of 4 to 6, of 7 to 9, of 8 to 18, of 13 to 15,
pharmaceutical formulations described herein are stable
                                                                     of 10 to 18.
with respect to compound degradation (e.g. less than 30%
                                                                        pD
degradation, less than 25% degradation, less than 20%                   In some embodiments, the pD of a composition described
degradation, less than 15% degradation, less than 10% 15 herein is adjusted (e.g., by use of a buffer and/or a pD
degradation, less than 8% degradation, less than 5% degra-           adjusting agent) to an ophthalmically compatible pD range
dation, less than 3% degradation, less than 2% degradation,          of from about 4 to about 8, about 4.5 to about 7.5, or about
or less than 5% degradation) over a period of any of at least        5 to about 7. In some embodiments, the ophthalmic com-
about 1 day, at least about 2 days, at least about 3 days, at        position has a pD of from about 5.0 to about 7.0. In some
least about 4 days, at least about 5 days, at least about 6 days, 20 embodiments, the ophthalmic composition has a pD of from
at least about 1 week, at least about 2 weeks, at least about        about 5.5 to about 7.0. In some embodiments, the ophthal-
3 weeks, at least about 4 weeks, at least about 5 weeks, at          mic composition has a pD of from about 6.0 to about 7.0.
least about 6 weeks, at least about 7 weeks, at least about 8           In some embodiments, useful formulations include one or
weeks, at least about 3 months, at least about 4 months, at          more pD adjusting agents or buffering agents. Suitable pD
least about 5 months, or at least about 6 months under 25 adjusting agents or buffers include, but are not limited to
storage conditions (e.g. room temperature). In other embodi-         acetate, bicarbonate, ammonium chloride, citrate, phos-
ments, the formulations described herein are stable with             phate, deuterated forms of acetate, bicarbonate, ammonium
respect to compound degradation over a period of at least            chloride, citrate, phosphate, pharmaceutically acceptable
about 1 week. Also described herein are formulations that            salts thereof and combinations or mixtures thereof. In some
are stable with respect to compound degradation over a 30 embodiments, the pD adjusting agents or buffers include
period of at least about 1 month.                                    deuterated hydrochloric acid (DC1), deuterated sodium
   In other embodiments, an additional surfactant (co-sur-           hydroxide (NaOD), deuterated acetic acid (CD3COOD), or
factant) and/or buffering agent is combined with one or more         deuterated citric acid (C6D8O7).
of the pharmaceutically acceptable vehicles previously                  In one embodiment, when one or more buffers are utilized
described herein so that the surfactant and/or buffering agent 35 in the formulations of the present disclosure, they are
maintains the product at an optimal pD for stability. Suitable       combined, e.g., with a pharmaceutically acceptable vehicle
co-surfactants include, but are not limited to: a) natural and       and are present in the final formulation, e.g., in an amount
synthetic lipophilic agents, e.g., phospholipids, cholesterol,       ranging from about 0.1% to about 20%, from about 0.5% to
and cholesterol fatty acid esters and derivatives thereof; b)        about 10%. In certain embodiments of the present disclo-
nonionic surfactants, which include for example, polyoxy- 40 sure, the amount of buffer included in the gel formulations
ethylene fatty alcohol esters, sorbitan fatty acid esters            are an amount such that the pD of the gel formulation does
(Spans), polyoxyethylene sorbitan fatty acid esters (e.g.,           not interfere with the body's natural buffering system.
polyoxyethylene (20) sorbitan monooleate (Tween 80),                    In one embodiment, diluents are also used to stabilize
polyoxyethylene (20) sorbitan monostearate (Tween 60),               compounds because they provide a more stable environ-
polyoxyethylene (20) sorbitan monolaurate (Tween 20) and 45 ment. In some instances, salts dissolved in buffered solutions
other Tweens, sorbitan esters, glycerol esters, e.g., Myrj and       (which also provides pD control or maintenance) are utilized
glycerol triacetate (triacetin), polyethylene glycols, cetyl         as diluents in the art, including, but not limited to a phos-
alcohol, cetostearyl alcohol, stearyl alcohol, polysorbate 80,       phate buffered saline solution.
poloxamers, poloxamines, polyoxyethylene castor oil                     In some embodiments, the pD is calculated according to
derivatives (e.g., Cremophor® RH40, Cremphor A25, so the formula disclosed in Glasoe et al., "Use of glass elec-
Cremphor A20, Cremophor® EL) and other Cremophors,                   trodes to measure acidities in deuterium oxide," J. Physical
sulfosuccinates, alkyl sulphates (SLS); PEG glyceryl fatty           Chem. 64(1): 188-190 (1960). In some embodiment, the pD
acid esters such as PEG-8 glyceryl caprylate/caprate                 is calculated as pD—pH*+0.4, in which pH* is the measured
(Labrasol), PEG-4 glyceryl caprylate/caprate (Labrafac               or observed pH of the ophthalmic composition formulated in
Hydro WL 1219), PEG-32 glyceryl laurate (Gelucire 444/ 55 a solution comprising deuterated water (e.g., D2O).
14), PEG-6 glyceryl mono oleate (Labrafil M 1944 CS),                   In some embodiments, the ophthalmic aqueous, gel, or
PEG-6 glyceryl linoleate (Labrafil M 2125 CS); propylene             ointment composition described herein has a pD of between
glycol mono- and di-fatty acid esters, such as propylene             about 4 and about 8, between about 4.5 and about 8, between
glycol laurate, propylene glycol caprylate/caprate; Brij®            about 4.9 and about 7.9, between about 5.4 and about 7.9,
700, ascorbyl-6-palmitate, stearylamine, sodium lauryl sul- 60 between about 5.9 and about 7.9, between about 6.4 and
fate, polyoxethyleneglycerol triiricinoleate, and any combi-         about 7.9, or between about 7.4 and about 7.9. In some
nations or mixtures thereof; c) anionic surfactants include,         embodiments, the ophthalmic aqueous, gel, or ointment
but are not limited to, calcium carboxymethylcellulose,              composition described herein has a pD of between about
sodium carboxymethylcellulose, sodium sulfosuccinate,                4.5-7.5, between about 5.0 and about 7.5, between about 5.5
dioctyl, sodium alginate, alkyl polyoxyethylene sulfates, 65 and about 7.5, between about 6.0 and about 7.5, or between
sodium lauryl sulfate, triethanolamine stearate, potassium           about 7.0 and about 7.5. In some embodiments, the oph-
laurate, bile salts, and any combinations or mixtures thereof;       thalmic aqueous, gel, or ointment composition described


                                                        Appx000261
                                                        Appx000261                     Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 34
                                                                                                                   34 of
                                                                                                                      of 66
                                                                                                                         66
              Case: 23-2402              Document: 15             Page: 318          Filed: 02/01/2024


                                                US 10,940,145 B2
                           37                                                              38
herein has a pD of between about 4.5-7.0, between about 5.0    In some embodiments, the ophthalmic aqueous composition
and about 7.0, between about 5.5 and about 7.0, between        has a pD of about 5.4. In some embodiments, the ophthalmic
about 6.0 and about 7.0, or between about 6.5 and about 7.0.   aqueous composition has a pD of about 5.3. In some
In some embodiments, the ophthalmic aqueous, gel, or           embodiments, the ophthalmic aqueous composition has a pD
ointment composition described herein has a pD of between 5 of about 5.2. In some embodiments, the ophthalmic aqueous
about 4.9-7.4, between about 5.4 and about 7.4, between        composition has a pD of about 5.1. In some embodiments,
about 5.9 and about 7.4, between about 6.4 and about 7.4, or   the ophthalmic aqueous composition has a pD of about 5. In
between about 6.9 and about 7.4. In some embodiments, the      some embodiments, the ophthalmic aqueous composition
ophthalmic aqueous, gel, or ointment composition described     has a pD of about 4.9. In some embodiments, the ophthalmic
herein has a pD of between about 4.5-6.5, between about 5.0 10 aqueous composition has a pD of about 4.8. In some
and about 6.5, between about 5.5 and about 6.5, or between     embodiments, the ophthalmic aqueous composition has a pD
about 6.0 and about 6.5. In some embodiments, the oph-         of about 4.7. In some embodiments, the ophthalmic aqueous
thalmic aqueous, gel, or ointment composition described        composition has a pD of about 4.6. In some embodiments,
herein has a pD of between about 4.9-6.9, between about 5.4    the ophthalmic aqueous composition has a pD of about 4.5.
and about 6.9, between about 5.9 and about 6.9, or between 15 In some embodiments, the ophthalmic aqueous composition
about 6.4 and about 6.9. In some embodiments, the oph-         has a pD of about 4.4. In some embodiments, the ophthalmic
thalmic aqueous, gel, or ointment composition described        aqueous composition has a pD of about 4.3. In some
herein has a pD of between about 4.5-6.0, between about 5.0    embodiments, the ophthalmic aqueous composition has a pD
and about 6.0, or between about 5.5 and about 6.0. In some     of about 4.2. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous, gel, or ointment 20 composition has a pD of about 4.1. In some embodiments,
composition described herein has a pD of between about         the ophthalmic aqueous composition has a pD of about 4. In
4.9-6.4, between about 5.4 and about 6.4, or between about     some embodiments, the pD is an initial pD of the ophthalmic
5.9 and about 6.4. In some embodiments, the ophthalmic         aqueous composition. In some embodiments, the pD is the
aqueous, gel, or ointment composition described herein has     pD of the ophthalmic aqueous composition after extended
a pD of between about 4.5-5.5, or between about 5.0 and 25 period of time under storage condition.
about 5.5. In some embodiments, the ophthalmic aqueous,           In some instances, the ophthalmic aqueous composition
gel, or ointment composition described herein has a pD of      has an initial pD of between about 4 and about 8, about 4.5
between about 4.9-5.9, or between about 5.4 and about 5.9.     and about 7.8, about 5 and about 7.5, or about 5.5 and about
In some embodiments, the ophthalmic aqueous, gel, or           7. In some embodiments, the ophthalmic aqueous compo-
ointment composition described herein has a pD of between 30 sition has an initial pD of about 7.5. In some embodiments,
about 4.5-5.0. In some embodiments, the ophthalmic aque-       the ophthalmic aqueous composition has an initial pD of
ous, gel, or ointment composition described herein has a pD    about 7.4. In some embodiments, the ophthalmic aqueous
of between about 4.9-5.4.                                      composition has an initial pD of about 7.3. In some embodi-
   In some embodiments, the ophthalmic composition is an       ments, the ophthalmic aqueous composition has an initial
ophthalmic aqueous composition. In some instances, the 35 pD of about 7.2. In some embodiments, the ophthalmic
ophthalmic aqueous composition has a pD of between about       aqueous composition has an initial pD of about 7.1. In some
4 and about 8, about 4.5 and about 7.8, about 5 and about      embodiments, the ophthalmic aqueous composition has an
7.5, or about 5.5 and about 7. In some embodiments, the        initial pD of about 7. In some embodiments, the ophthalmic
ophthalmic aqueous composition has a pD of about 7.5. In       aqueous composition has an initial pD of about 6.9. In some
some embodiments, the ophthalmic aqueous composition 40 embodiments, the ophthalmic aqueous composition has an
has a pD of about 7.4. In some embodiments, the ophthalmic     initial pD of about 6.8. In some embodiments, the ophthal-
aqueous composition has a pD of about 7.3. In some             mic aqueous composition has an initial pD of about 6.7. In
embodiments, the ophthalmic aqueous composition has a pD       some embodiments, the ophthalmic aqueous composition
of about 7.2. In some embodiments, the ophthalmic aqueous      has an initial pD of about 6.6. In some embodiments, the
composition has a pD of about 7.1. In some embodiments, 45 ophthalmic aqueous composition has an initial pD of about
the ophthalmic aqueous composition has a pD of about 7. In     6.5. In some embodiments, the ophthalmic aqueous compo-
some embodiments, the ophthalmic aqueous composition           sition has an initial pD of about 6.4. In some embodiments,
has a pD of about 6.9. In some embodiments, the ophthalmic     the ophthalmic aqueous composition has an initial pD of
aqueous composition has a pD of about 6.8. In some             about 6.3. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous composition has a pD so composition has an initial pD of about 6.2. In some embodi-
of about 6.7. In some embodiments, the ophthalmic aqueous      ments, the ophthalmic aqueous composition has an initial
composition has a pD of about 6.6. In some embodiments,        pD of about 6.1. In some embodiments, the ophthalmic
the ophthalmic aqueous composition has a pD of about 6.5.      aqueous composition has an initial pD of about 6. In some
In some embodiments, the ophthalmic aqueous composition        embodiments, the ophthalmic aqueous composition has an
has a pD of about 6.4. In some embodiments, the ophthalmic 55 initial pD of about 5.9. In some embodiments, the ophthal-
aqueous composition has a pD of about 6.3. In some             mic aqueous composition has an initial pD of about 5.8. In
embodiments, the ophthalmic aqueous composition has a pD       some embodiments, the ophthalmic aqueous composition
of about 6.2. In some embodiments, the ophthalmic aqueous      has an initial pD of about 5.7. In some embodiments, the
composition has a pD of about 6.1. In some embodiments,        ophthalmic aqueous composition has an initial pD of about
the ophthalmic aqueous composition has a pD of about 6. In 60 5.6. In some embodiments, the ophthalmic aqueous compo-
some embodiments, the ophthalmic aqueous composition           sition has an initial pD of about 5.5. In some embodiments,
has a pD of about 5.9. In some embodiments, the ophthalmic     the ophthalmic aqueous composition has an initial pD of
aqueous composition has a pD of about 5.8. In some             about 5.4. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous composition has a pD       composition has an initial pD of about 5.3. In some embodi-
of about 5.7. In some embodiments, the ophthalmic aqueous 65 ments, the ophthalmic aqueous composition has an initial
composition has a pD of about 5.6. In some embodiments,        pD of about 5.2. In some embodiments, the ophthalmic
the ophthalmic aqueous composition has a pD of about 5.5.      aqueous composition has an initial pD of about 5.1. In some


                                                    Appx000262
                                                    Appx000262                   Eyenovia Exhibit
                                                                                 Eyenovia Exhibit 1001,
                                                                                                  1001, Page
                                                                                                        Page 35
                                                                                                             35 of
                                                                                                                of 66
                                                                                                                   66
              Case: 23-2402              Document: 15              Page: 319           Filed: 02/01/2024


                                                 US 10,940,145 B2
                            39                                                               40
embodiments, the ophthalmic aqueous composition has an          some embodiments, the ophthalmic aqueous composition
initial pD of about 5. In some embodiments, the ophthalmic      has a pD of less than about 4.5. In some embodiments, the
aqueous composition has an initial pD of about 4.9. In some     ophthalmic aqueous composition has a pD of less than about
embodiments, the ophthalmic aqueous composition has an          4.4. In some embodiments, the ophthalmic aqueous compo-
initial pD of about 4.8. In some embodiments, the ophthal- 5 sition has a pD of less than about 4.3. In some embodiments,
mic aqueous composition has an initial pD of about 4.7. In      the ophthalmic aqueous composition has a pD of less than
some embodiments, the ophthalmic aqueous composition            about 4.2. In some embodiments, the ophthalmic aqueous
has an initial pD of about 4.6. In some embodiments, the        composition has a pD of less than about 4.1. In some
ophthalmic aqueous composition has an initial pD of about       embodiments, the ophthalmic aqueous composition has a pD
4.5. In some embodiments, the ophthalmic aqueous compo- 10 of less than about 4. In some embodiments, the pD is the pD
sition has an initial pD of about 4.4. In some embodiments,     of the ophthalmic aqueous composition after extended
the ophthalmic aqueous composition has an initial pD of         period of time under storage condition.
about 4.3. In some embodiments, the ophthalmic aqueous             In some embodiments, the pD of the ophthalmic aqueous
composition has an initial pD of about 4.2. In some embodi-     composition described herein is associated with the stability
ments, the ophthalmic aqueous composition has an initial 15 of the ophthalmic aqueous composition. In some embodi-
pD of about 4.1. In some embodiments, the ophthalmic            ments, a stable composition comprises a pD of between
aqueous composition has an initial pD of about 4.               about 4 and about 8, about 4.5 and about 7.8, about 5 and
   In some instances, the ophthalmic aqueous composition        about 7.5, or about 5.5 and about 7. In some embodiments,
has a pD of between about 4 and about 8, about 4.5 and          a stable composition comprises a pD of less than about 7.5.
about 7.8, about 5 and about 7.5, or about 5.5 and about 7. 20 In some embodiments, a stable composition comprises a pD
In some embodiments, the ophthalmic aqueous composition         of less than about 7.4. In some embodiments, a stable
has a pD of less than about 7.5. In some embodiments, the       composition comprises a pD of less than about 7.3. In some
ophthalmic aqueous composition has a pD of less than about      embodiments, a stable composition comprises a pD of less
7.4. In some embodiments, the ophthalmic aqueous compo-         than about 7.2. In some embodiments, a stable composition
sition has a pD of less than about 7.3. In some embodiments, 25 comprises a pD of less than about 7.1. In some embodi-
the ophthalmic aqueous composition has a pD of less than        ments, a stable composition comprises a pD of less than
about 7.2. In some embodiments, the ophthalmic aqueous          about 7. In some embodiments, a stable composition com-
composition has a pD of less than about 7.1. In some            prises a pD of less than about 6.9. In some embodiments, a
embodiments, the ophthalmic aqueous composition has a pD        stable composition comprises a pD of less than about 6.8. In
of less than about 7. In some embodiments, the ophthalmic 30 some embodiments, a stable composition comprises a pD of
aqueous composition has a pD of less than about 6.9. In         less than about 6.7. In some embodiments, a stable compo-
some embodiments, the ophthalmic aqueous composition            sition comprises a pD of less than about 6.6. In some
has a pD of less than about 6.8. In some embodiments, the       embodiments, a stable composition comprises a pD of less
ophthalmic aqueous composition has a pD of less than about      than about 6.5. In some embodiments, a stable composition
6.7. In some embodiments, the ophthalmic aqueous compo- 35 comprises a pD of less than about 6.4. In some embodi-
sition has a pD of less than about 6.6. In some embodiments,    ments, a stable composition comprises a pD of less than
the ophthalmic aqueous composition has a pD of less than        about 6.3. In some embodiments, a stable composition
about 6.5. In some embodiments, the ophthalmic aqueous          comprises a pD of less than about 6.2. In some embodi-
composition has a pD of less than about 6.4. In some            ments, a stable composition comprises a pD of less than
embodiments, the ophthalmic aqueous composition has a pD 40 about 6.1. In some embodiments, a stable composition
of less than about 6.3. In some embodiments, the ophthalmic     comprises a pD of less than about 6. In some embodiments,
aqueous composition has a pD of less than about 6.2. In         a stable composition comprises a pD of less than about 5.9.
some embodiments, the ophthalmic aqueous composition            In some embodiments, a stable composition comprises a pD
has a pD of less than about 6.1. In some embodiments, the       of less than about 5.8. In some embodiments, a stable
ophthalmic aqueous composition has a pD of less than about 45 composition comprises a pD of less than about 5.7. In some
6. In some embodiments, the ophthalmic aqueous compo-           embodiments, a stable composition comprises a pD of less
sition has a pD of less than about 5.9. In some embodiments,    than about 5.6. In some embodiments, a stable composition
the ophthalmic aqueous composition has a pD of less than        comprises a pD of less than about 5.5. In some embodi-
about 5.8. In some embodiments, the ophthalmic aqueous          ments, a stable composition comprises a pD of less than
composition has a pD of less than about 5.7. In some so about 5.4. In some embodiments, a stable composition
embodiments, the ophthalmic aqueous composition has a pD        comprises a pD of less than about 5.3. In some embodi-
of less than about 5.6. In some embodiments, the ophthalmic     ments, a stable composition comprises a pD of less than
aqueous composition has a pD of less than about 5.5. In         about 5.2. In some embodiments, a stable composition
some embodiments, the ophthalmic aqueous composition            comprises a pD of less than about 5.1. In some embodi-
has a pD of less than about 5.4. In some embodiments, the 55 ments, a stable composition comprises a pD of less than
ophthalmic aqueous composition has a pD of less than about      about 5. In some embodiments, a stable composition com-
5.3. In some embodiments, the ophthalmic aqueous compo-         prises a pD of less than about 4.9. In some embodiments, a
sition has a pD of less than about 5.2. In some embodiments,    stable composition comprises a pD of less than about 4.8. In
the ophthalmic aqueous composition has a pD of less than        some embodiments, a stable composition comprises a pD of
about 5.1. In some embodiments, the ophthalmic aqueous 60 less than about 4.7. In some embodiments, a stable compo-
composition has a pD of less than about 5. In some embodi-      sition comprises a pD of less than about 4.6. In some
ments, the ophthalmic aqueous composition has a pD of less      embodiments, a stable composition comprises a pD of less
than about 4.9. In some embodiments, the ophthalmic aque-       than about 4.5. In some embodiments, a stable composition
ous composition has a pD of less than about 4.8. In some        comprises a pD of less than about 4.4. In some embodi-
embodiments, the ophthalmic aqueous composition has a pD 65 ments, a stable composition comprises a pD of less than
of less than about 4.7. In some embodiments, the ophthalmic     about 4.3. In some embodiments, a stable composition
aqueous composition has a pD of less than about 4.6. In         comprises a pD of less than about 4.2. In some embodi-


                                                     Appx000263
                                                     Appx000263                    Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 36
                                                                                                               36 of
                                                                                                                  of 66
                                                                                                                     66
               Case: 23-2402               Document: 15              Page: 320            Filed: 02/01/2024


                                                   US 10,940,145 B2
                             41                                                                  42
ments, a stable composition comprises a pD of less than            months, at least about 10 months, at least about 11 months,
about 4.1. In some embodiments, a stable composition               at least about 12 months, at least about 18 months, at least
comprises a pD of less than about 4.                               about 24 months, at least about 3 years, at least about 4
   In some embodiments, the D2O aqueous system stabilizes          years, at least about 5 years, at least about 6 years, at least
a muscarinic antagonist (e.g., atropine). In some embodi- 5 about 7 years, at least about 8 years, at least about 9 years,
ments, this is due to a lower concentration of the reactive        at least about 10 years, or more. In other embodiments, the
species (e.g., OD) in the D2O aqueous system compared              formulations described herein are stable with respect to pD
to the concentration of the reactive species (e.g., OH) in         over a period of at least about 1 week. In other embodiments,
an equivalent H2O aqueous system. In some instances, the           the formulations described herein are stable with respect to
concentration of the reactive species (e.g., OD) in the D2O 10 pD over a period of at least about 2 weeks. In other
aqueous system is about one third less than the concentration      embodiments, the formulations described herein are stable
of the reactive species (e.g., OH) in the equivalent H2O           with respect to pD over a period of at least about 3 weeks.
aqueous system. In some cases, this is due to a lower or           In other embodiments, the formulations described herein are
smaller dissociation constant of D2O than H2O. For                 stable with respect to pD over a period of at least about 1
example, the K,(H2O) is 1x10-14, whereas the K,(D2O) is 15 month. Also described herein are formulations that are stable
1x10-15 . As such, D2O is a weaker acid than H2O. In some          with respect to pD over a period of at least about 2 months,
cases, base catalyzed hydrolysis leads to the presence of          at least about 3 months, at least about 4 months, at least
tropine degradant from atropine. In some cases, with a lower       about 5 months, at least about 6 months, at least about 12
concentration of the reactive species that causes tropine          months, at least about 18 months, at least about 2 years, or
degradant formation, atropine solution is more stable in a 20 more.
D2O aqueous system than compared to an equivalent H2O                 Aqueous Solution Dose-To-Dose Uniformity
aqueous system. In some embodiments, the ophthalmic                   Typical ophthalmic aqueous solutions are packaged in eye
composition formulated with deuterated water allows for a          drop bottles and administered as drops. For example, a
more stable ophthalmic composition relative to the ophthal-        single administration (i.e. a single dose) of an ophthalmic
mic composition formulated with H2O.                            25 aqueous solution includes a single drop, two drops, three
   In some embodiments, the presence of deuterated water           drops or more into the eyes of the patient. In some embodi-
shifts the pKa of the buffer. In some embodiments, the             ments, one dose of the ophthalmic aqueous solution
presence of deuterated water allows for the ophthalmic             described herein is one drop of the aqueous solution com-
composition to simulate the stability of a lower pH system.        position from the eye drop bottle.
In some instances, the buffer capacity of the ophthalmic 30           In some cases, described herein include ophthalmic aque-
composition is lowered, thereby allowing a faster shift in         ous compositions which provide a dose-to-dose uniform
pH. In some instances, the lowered buffering capacity of the       concentrations. In some instances, the dose-to-dose uniform
ophthalmic composition when administered into the eye              concentration does not present significant variations of drug
allows the ophthalmic composition to reach physiological           content from one dose to another. In some instances, the
pH at a faster rate than compared to an ophthalmic compo- 35 dose-to-dose uniform concentration does provide consistent
sition formulated in H2O. In some instances, the ophthalmic        drug content from one dose to another.
composition formulated with deuterated water allows for a             In some embodiments, the composition has a dose-to-
lower tear production, or less tear reflex in the eye, in          dose ophthalmic agent concentration variation of less than
comparison with an ophthalmic composition formulated               50%. In some embodiments, the composition has a dose-to-
with H2O.                                                       40 dose ophthalmic agent concentration variation of less than
   In some embodiment, the ophthalmic gel or ointment              40%. In some embodiments, the composition has a dose-to-
composition described herein has a pD of about 4, about 4.1,       dose ophthalmic agent concentration variation of less than
about 4.2, about 4.3, about 4.4, about 4.5, about 4.6, about       30%. In some embodiments, the composition has a dose-to-
4.7, about 4.8, about 4.9, about 5.0, about 5.1, about 5.2,        dose ophthalmic agent concentration variation of less than
about 5.3, about 5.4, about 5.5, about 5.6, about 5.7, about 45 20%. In some embodiments, the composition has a dose-to-
5.8, about 5.9, about 6.0, about 6.1, about 6.2, about 6.3,        dose ophthalmic agent concentration variation of less than
about 6.4, about 6.5, about 6.6, about 6.7, about 6.8, about       10%. In some embodiments, the composition has a dose-to-
6.9, about 7.0, about 7.1, about 7.2, about 7.3, about 7.4,        dose ophthalmic agent concentration variation of less than
about 7.5, about 7.6, about 7.7, about 7.8, or about 7.9.          5%.
   In some embodiment, the pD of the ophthalmic aqueous, so           In some embodiments, the dose-to-dose ophthalmic agent
gel, or ointment composition described herein is suitable for      concentration variation is based on 10 consecutive doses. In
sterilization (e.g., by filtration or aseptic mixing or heat       some embodiments, the dose-to-dose ophthalmic agent con-
treatment and/or autoclaving (e.g., terminal sterilization)) of    centration variation is based on 8 consecutive doses. In some
ophthalmic formulations described herein. As used in in the        embodiments, the dose-to-dose ophthalmic agent concentra-
present disclosure, the term "aqueous composition" includes 55 tion variation is based on 5 consecutive doses. In some
compositions that are based on D2O.                                embodiments, the dose-to-dose ophthalmic agent concentra-
   In some embodiments, the pharmaceutical formulations            tion variation is based on 3 consecutive doses. In some
described herein are stable with respect to pD over a period       embodiments, the dose-to-dose ophthalmic agent concentra-
of any of at least about 1 day, at least about 2 days, at least    tion variation is based on 2 consecutive doses.
about 3 days, at least about 4 days, at least about 5 days, at 60     A nonsettling formulation should not require shaking to
least about 6 days, at least about 1 week, at least about 2        disperse drug uniformly. A "no-shake" formulation is poten-
weeks, at least about 3 weeks, at least about 4 weeks, at least    tially advantageous over formulations that require shaking
about 5 weeks, at least about 6 weeks, at least about 7 weeks,     for the simple reason that patients' shaking behavior is a
at least about 8 weeks, at least about 1 month, at least about     major source of variability in the amount of drug dosed. It
2 months, at least about 3 months, at least about 4 months, 65 has been reported that patients often times do not or forget
at least about 5 months, at least about 6 months, at least         to shake their ophthalmic compositions that requires shaking
about 7 months, at least about 8 months, at least about 9          before administering a dose, despite the instructions to shake


                                                       Appx000264
                                                       Appx000264                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 37
                                                                                                                  37 of
                                                                                                                     of 66
                                                                                                                        66
              Case: 23-2402               Document: 15              Page: 321           Filed: 02/01/2024


                                                  US 10,940,145 B2
                            43                                                                44
that were clearly marked on the label. On the other hand,        apparent viscosity of from about 500 cP to about 10,000 cP.
even for those patients who do shake the product, it is          In some embodiments, a low viscosity ophthalmic agent
normally not possible to determine whether the shaking is        composition described herein provides an apparent viscosity
adequate in intensity and/or duration to render the product      of from about 1000 cP to about 10,000 cP.
uniform. In some embodiments, the ophthalmic gel compo- 5           Osmolarity
sitions and ophthalmic ointment compositions described              In some embodiments, a composition disclosed herein is
herein are "no-shake" formulations that maintained the           formulated in order to not disrupt the ionic balance of the
dose-to-dose uniformity described herein.                        eye. In some embodiments, a composition disclosed herein
   To evaluate the dose-to-dose uniformity, drop bottles or      has an ionic balance that is the same as or substantially the
tubes containing the ophthalmic aqueous compositions, the io same as the eye. In some embodiments, a composition
ophthalmic gel compositions, or ophthalmic ointment com-         disclosed herein does not does not disrupt the ionic balance
positions are stored upright for a minimum of 12 hours prior     of the eye.
to the start of the test. To simulate the recommended dosing        As used herein, "practical osmolarity/osmolality" or
of these products, predetermined number of drops or strips       "deliverable osmolarity/osmolality" means the osmolarity/
are dispensed from each commercial bottles or tubes at 15 osmolality of a composition as determined by measuring the
predetermined time intervals for an extended period of time      osmolarity/osmolality of the ophthalmic agent and all
or until no product was left in the bottle or tube. All drops    excipients except the gelling and/or the thickening agent
and strips are dispensed into tared glass vials, capped, and     (e.g., polyoxyethylene-polyoxypropylene copolymers, car-
stored at room temperature until analysis. Concentrations of     boxymethylcellulose or the like). The practical osmolarity of
a muscarinic antagonist such as atropine in the expressed 20 a composition disclosed herein is measured by a suitable
drops were determined using a reverse-phase HPLC method.         method, e.g., a freezing point depression method as
   Aqueous Solution Viscosity                                    described in Viegas et. al., Int. J. Pharm., 1998, 160, 157-
   In some embodiments, the composition has a Brookfield         162. In some instances, the practical osmolarity of a com-
RVDV viscosity of from about 10 to about 50,000 cps at           position disclosed herein is measured by vapor pressure
about 20° C. and sheer rate of 1 s-1. In some embodiments, 25 osmometry (e.g., vapor pressure depression method) that
the composition has a Brookfield RVDV viscosity of from          allows for determination of the osmolarity of a composition
about 100 to about 40,000 cps at about 20° C. and sheer rate     at higher temperatures. In some instances, vapor pressure
of 1 s-1. In some embodiments, the composition has a             depression method allows for determination of the osmo-
Brookfield RVDV viscosity of from about 500 to about             larity of a composition comprising a gelling agent (e.g., a
30,000 cps at about 20° C. and sheer rate of 1 s-1. In some 30 thermoreversible polymer) at a higher temperature wherein
embodiments, the composition has a Brookfield RVDV               the gelling agent is in the form of a gel.
viscosity of from about 1000 to about 20,000 cps at about           In some embodiments, the osmolarity at a target site of
20° C. and sheer rate of 1 s-1. In some embodiments, the         action (e.g., the eye) is about the same as the delivered
composition has a Brookfield RVDV viscosity of from about        osmolarity of a composition described herein. In some
2000 to about 10,000 cps at about 20° C. and sheer rate of 35 embodiments, a composition described herein has a deliv-
1 s-1. In some embodiments, the composition has a Brook-         erable osmolarity of about 150 mOsm/L to about 500
field RVDV viscosity of from about 4000 to about 8000 cps        mOsm/L, about 250 mOsm/L to about 500 mOsm/L, about
at about 20° C. and sheer rate of 1 s-1.                         250 mOsm/L to about 350 mOsm/L, about 280 mOsm/L to
   In some embodiments, the ophthalmic aqueous formula-          about 370 mOsm/L or about 250 mOsm/L to about 320
tion contains a viscosity enhancing agent sufficient to pro- 40 mOsm/L.
vide a viscosity of between about 500 and 50,000 centipoise,        The practical osmolality of an ophthalmic composition
between about 750 and 50,000 centipoise; between about           disclosed herein is from about 100 mOsm/kg to about 1000
1000 and 50,000 centipoise; between about 1000 and 40,000        mOsm/kg, from about 200 mOsm/kg to about 800 mOsm/
centipoise; between about 2000 and 30,000 centipoise;            kg, from about 250 mOsm/kg to about 500 mOsm/kg, or
between about 3000 and 20,000 centipoise; between about 45 from about 250 mOsm/kg to about 320 mOsm/kg, or from
4000 and 10,000 centipoise, or between about 5000 and            about 250 mOsm/kg to about 350 mOsm/kg or from about
8000 centipoise.                                                 280 mOsm/kg to about 320 mOsm/kg. In some embodi-
   In some embodiments, the compositions described herein        ments, a composition described herein has a practical osmo-
are low viscosity compositions at body temperature. In some      larity of about 100 mOsm/L to about 1000 mOsm/L, about
embodiments, low viscosity compositions contain from so       50 200 mOsm/L to about 800 mOsm/L, about 250 mOsm/L to
about 1% to about 10% of a viscosity enhancing agent (e.g.,      about 500 mOsm/L, about 250 mOsm/L to about 350
gelling components such as polyoxyethylene-polyoxypro-           mOsm/L, about 250 mOsm/L to about 320 mOsm/L, or
pylene copolymers). In some embodiments, low viscosity           about 280 mOsm/L to about 320 mOsm/L.
compositions contain from about 2% to about 10% of a                In some embodiments, suitable tonicity adjusting agents
viscosity enhancing agent (e.g., gelling components such as 55 include, but are not limited to any pharmaceutically accept-
polyoxyethylene-polyoxypropylene copolymers). In some            able sugar, salt or any combinations or mixtures thereof,
embodiments, low viscosity compositions contain from             such as, but not limited to dextrose, glycerin, mannitol,
about 5% to about 10% of a viscosity enhancing agent (e.g.,      sorbitol, sodium chloride, and other electrolytes. In some
gelling components such as polyoxyethylene-polyoxypro-           instances, the tonicity adjusting agent is selected from
pylene copolymers). In some embodiments, low viscosity 60 sodium chloride, sodium nitrate, sodium sulfate, sodium
compositions are substantially free of a viscosity enhancing     bisulfate, potassium chloride, calcium chloride, magnesium
agent (e.g., gelling components such as polyoxyethylene-         chloride, zinc chloride, potassium acetate, sodium acetate,
polyoxypropylene copolymers). In some embodiments, a             sodium bicarbonate, sodium carbonate, sodium thiosulfate,
low viscosity ophthalmic agent composition described             magnesium sulfate, disodium hydrogen phosphate, sodium
herein provides an apparent viscosity of from about 100 cP 65 dihydrogen phosphate, potassium dihydrogen phosphate,
to about 10,000 cP. In some embodiments, a low viscosity         dextrose, mannitol, sorbitol, dextrose, sucrose, urea, propyl-
ophthalmic agent composition described herein provides an        ene glycol, glycerin, trehalose, or a combination thereof
                                                                                                                     thereof.


                                                      Appx000265
                                                      Appx000265                    Eyenovia Exhibit
                                                                                    Eyenovia Exhibit 1001,
                                                                                                     1001, Page
                                                                                                           Page 38
                                                                                                                38 of
                                                                                                                   of 66
                                                                                                                      66
               Case: 23-2402               Document: 15               Page: 322            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             45                                                                  46
   In some embodiment, the ophthalmic compositions                 tics (2006), 312(1-2):144-50) are amenable to sterilization
described herein include one or more salts in an amount            by filtration through 0.22      filters without destroying their
required to bring osmolality of the composition into an            organized structure.
acceptable range. Such salts include those having sodium,             In some embodiments, the methods disclosed herein
potassium or ammonium cations and chloride, citrate, ascor- 5 comprise sterilizing the formulation (or components thereof)
bate, borate, phosphate, bicarbonate, sulfate, thiosulfate or      by means of filtration sterilization. In ophthalmic gel com-
bisulfite anions; suitable salts include sodium chloride,          positions that includes thermosetting polymers, filtration is
potassium chloride, sodium thiosulfate, sodium bisulfite and       carried out below (e.g. about 5° C.) the gel temperature
ammonium sulfate.                                                  (Tgel) of a formulation described herein and with viscosity
                                                                10 that allows for filtration in a reasonable time using a peri-
   Sterility
                                                                   staltic pump (e.g. below a theoretical value of 100 cP).
   In some embodiments, the compositions are sterilized.
                                                                      Accordingly, provided herein are methods for sterilization
Included within the embodiments disclosed herein are
                                                                   of ophthalmic formulations that prevent degradation of
means and processes for sterilization of a pharmaceutical          polymeric components (e.g., thermosetting and/or other
composition disclosed herein for use in humans. The goal is 15 viscosity enhancing agents) and/or the ophthalmic agent
to provide a safe pharmaceutical product, relatively free of       during the process of sterilization. In some embodiments,
infection causing micro-organisms. The U. S. Food and              degradation of the ophthalmic agent (e.g., a muscarinic
Drug Administration has provided regulatory guidance in            antagonist such as atropine or atropine sulfate) is reduced or
the publication "Guidance for Industry: Sterile Drug Prod-         eliminated through the use of specific pD ranges for buffer
ucts Produced by Aseptic Processing" available at: http:// 20 components and specific proportions of viscosity enhancing
www.fda.gov/cder/guidance/5882fnl.htm, which is incorpo-           agents in the formulations. In some embodiments, the choice
rated herein by reference in its entirety.                         of an appropriate viscosity enhancing agents or thermoset-
   As used herein, sterilization means a process used to           ting polymer allows for sterilization of formulations
destroy or remove microorganisms that are present in a             described herein by filtration. In some embodiments, the use
product or packaging. Any suitable method available for 25 of an appropriate thermosetting polymer or other viscosity
sterilization of objects and compositions is used. Available       enhancing agents in combination with a specific pD range
methods for the inactivation of microorganisms include, but        for the formulation allows for high temperature sterilization
are not limited to, the application of extreme heat, lethal        of formulations described with substantially no degradation
chemicals, or gamma radiation. In some embodiments, a              of the therapeutic agent or the polymeric excipients. An
process for the preparation of an ophthalmic formulation 30 advantage of the methods of sterilization provided herein is
comprises subjecting the formulation to a sterilization            that, in certain instances, the formulations are subjected to
method selected from heat sterilization, chemical steriliza-       terminal sterilization via autoclaving without any loss of the
tion, radiation sterilization or filtration sterilization. The     ophthalmic agent and/or excipients and/or viscosity enhanc-
method used depends largely upon the nature of the device          ing agents during the sterilization step and are rendered
or composition to be sterilized. Detailed descriptions of 35 substantially free of microbes and/or pyrogens.
many methods of sterilization are given in Chapter 40 of              Radiation Sterilization
Remington: The Science and Practice of Pharmacy pub-                  One advantage of radiation sterilization is the ability to
lished by Lippincott, Williams & Wilkins, and is incorpo-          sterilize many types of products without heat degradation or
rated by reference with respect to this subject matter.            other damage. The radiation commonly employed is beta
   Filtration                                                   40 radiation or alternatively, gamma radiation from a 'Co
   Filtration sterilization is a method used to remove but not     source. The penetrating ability of gamma radiation allows its
destroy microorganisms from solutions. Membrane filters            use in the sterilization of many product types, including
are used to filter heat-sensitive solutions. Such filters are      solutions, compositions and heterogeneous mixtures. The
thin, strong, homogenous polymers of mixed cellulosic              germicidal effects of irradiation arise from the interaction of
esters (MCE), polyvinylidene fluoride (PVF; also known as 45 gamma radiation with biological macromolecules. This
PVDF), or polytetrafluoroethylene (PTFE) and have pore             interaction generates charged species and free-radicals. Sub-
sizes ranging from 0.1 to 0.22 ❑m. Solutions of various            sequent chemical reactions, such as rearrangements and
characteristics are optionally filtered using different filter     cross-linking processes, result in the loss of normal function
membranes. For example, PVF and PTFE membranes are                 for these biological macromolecules. The formulations
well suited to filtering organic solvents while aqueous solu- so described herein are also optionally sterilized using beta
tions are filtered through PVF or MCE membranes. Filter            irradiation.
apparatus are available for use on many scales ranging from           Sterilization by Heat
the single point-of-use disposable filter attached to a syringe       Many methods are available for sterilization by the appli-
up to commercial scale filters for use in manufacturing            cation of high heat. One method is through the use of a
plants. The membrane filters are sterilized by autoclave or 55 saturated steam autoclave. In this method, saturated steam at
chemical sterilization. Validation of membrane filtration          a temperature of at least 121° C. is allowed to contact the
systems is performed following standardized protocols (Mi-         object to be sterilized. The transfer of heat is either directly
crobiological Evaluation of Filters for Sterilizing Liquids,       to the microorganism, in the case of an object to be steril-
Vol 4, No. 3. Washington, D.C.: Health Industry Manufac-           ized, or indirectly to the microorganism by heating the bulk
turers Association, 1981) and involve challenging the mem- 60 of an aqueous solution to be sterilized. This method is
brane filter with a known quantity (ca. 107/cm2) of unusually      widely practiced as it allows flexibility, safety and economy
small microorganisms, such as Brevundimonas diminuta               in the sterilization process.
(ATCC 19146).                                                         Microorganisms
   Pharmaceutical compositions are optionally sterilized by           In some embodiments, the compositions are substantially
passing through membrane filters. Formulations comprising 65 free of microorganisms. Acceptable bioburden or sterility
nanoparticles (U.S. Pat. No. 6,139,870) or multilamellar           levels are based on applicable standards that define thera-
vesicles (Richard et al., International Journal of Pharmaceu-      peutically acceptable compositions, including but not lim-


                                                       Appx000266
                                                       Appx000266                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 39
                                                                                                                   39 of
                                                                                                                      of 66
                                                                                                                         66
               Case: 23-2402                Document: 15              Page: 323            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             47                                                                   48
ited to United States Pharmacopeia Chapters <1111> et seq.            molecule found in the cell wall of gram-negative bacteria.
For example, acceptable sterility (e.g., bioburden) levels            While sterilization procedures such as autoclaving or treat-
include about 10 colony forming units (cfu) per gram of               ment with ethylene oxide kill the bacteria, the LPS residue
formulation, about 50 cfu per gram of formulation, about              induces a proinflammatory immune response, such as septic
100 cfu per gram of formulation, about 500 cfu per gram of 5 shock. Because the molecular size of endotoxins varies
formulation or about 1000 cfu per gram of formulation. In             widely, the presence of endotoxins is expressed in "endo-
some embodiments, acceptable bioburden levels or sterility            toxin units" (EU). One EU is equivalent to 100 picograms of
for formulations include less than 10 cfu/mL, less than 50            E. coli LPS. In some cases, humans develop a response to as
cfu/mL, less than 500 cfu/mL or less than 1000 cfu/mL                 little as 5 EU/kg of body weight. The bioburden (e.g.,
microbial agents. In addition, acceptable bioburden levels or 10 microbial limit) and/or sterility (e.g., endotoxin level) is
sterility include the exclusion of specified objectionable            expressed in any units as recognized in the art. In certain
microbiological agents. By way of example, specified objec-           embodiments, ophthalmic compositions described herein
tionable microbiological agents include but are not limited           contain lower endotoxin levels (e.g. <4 EU/kg of body
to Escherichia coli (E. coli), Salmonella sp., Pseudomonas            weight of a subject) when compared to conventionally
aeruginosa (P. aeruginosa) and/or other specific microbial 15 acceptable endotoxin levels (e.g., 5 EU/kg of body weight of
agents.                                                               a subject). In some embodiments, the ophthalmic formula-
    An important component of the sterility assurance quality         tion has less than about 5 EU/kg of body weight of a subject.
control, quality assurance and validation process is the              In other embodiments, the ophthalmic formulation has less
method of sterility testing. Sterility testing, by way of             than about 4 EU/kg of body weight of a subject. In additional
example only, is performed by two methods. The first is 20 embodiments, the ophthalmic formulation has less than
direct inoculation wherein a sample of the composition to be          about 3 EU/kg of body weight of a subject. In additional
tested is added to growth medium and incubated for a period           embodiments, the ophthalmic formulation has less than
of time up to 21 days. Turbidity of the growth medium                 about 2 EU/kg of body weight of a subject.
indicates contamination. Drawbacks to this method include                 In some embodiments, the ophthalmic formulation has
the small sampling size of bulk materials which reduces 25 less than about 5 EU/kg of formulation. In other embodi-
sensitivity, and detection of microorganism growth based on           ments, the ophthalmic formulation has less than about 4
a visual observation. An alternative method is membrane               EU/kg of formulation. In additional embodiments, the oph-
filtration sterility testing. In this method, a volume of             thalmic formulation has less than about 3 EU/kg of formu-
product is passed through a small membrane filter paper. The          lation. In some embodiments, the ophthalmic formulation
filter paper is then placed into media to promote the growth 30 has less than about 5 EU/kg Product. In other embodiments,
of microorganisms. This method has the advantage of                   the ophthalmic formulation has less than about 1 EU/kg
greater sensitivity as the entire bulk product is sampled. The        Product. In additional embodiments, the ophthalmic formu-
commercially available Millipore Steritest sterility testing          lation has less than about 0.2 EU/kg Product. In some
system is optionally used for determinations by membrane              embodiments, the ophthalmic formulation has less than
filtration sterility testing. For the filtration testing of creams 35 about 5 EU/g of unit or Product. In other embodiments, the
or ointments Steritest filter system No. TLHVSL210 are                ophthalmic formulation has less than about 4 EU/g of unit or
used. For the filtration testing of emulsions or viscous              Product. In additional embodiments, the ophthalmic formu-
products Steritest filter system No. TLAREM210 or TDA-                lation has less than about 3 EU/g of unit or Product. In some
REM210 are used. For the filtration testing of pre-filled             embodiments, the ophthalmic formulation has less than
syringes Steritest filter system No. TTHASY210 are used. 40 about 5 EU/mg of unit or Product. In other embodiments, the
For the filtration testing of material dispensed as an aerosol        ophthalmic formulation has less than about 4 EU/mg of unit
or foam Steritest filter system No. TTHVA210 are used. For            or Product. In additional embodiments, the ophthalmic for-
the filtration testing of soluble powders in ampoules or vials        mulation has less than about 3 EU/mg of unit or Product. In
Steritest filter system No. TTHADA210 or TTHADV210                    certain embodiments, ophthalmic formulations described
are used.                                                          45 herein contain from about 1 to about 5 EU/mL of formula-
    Testing for E. coli and Salmonella includes the use of            tion. In certain embodiments, ophthalmic formulations
lactose broths incubated at 30-35° C. for 24-72 hours,                described herein contain from about 2 to about 5 EU/mL of
incubation in MacConkey and/or EMB agars for 18-24                    formulation, from about 3 to about 5 EU/mL of formulation,
hours, and/or the use of Rappaport medium. Testing for the            or from about 4 to about 5 EU/mL of formulation.
detection of P. aeruginosa includes the use of NAC agar. so               In certain embodiments, ophthalmic compositions
United States Pharmacopeia Chapter <62> further enumer-               described herein contain lower endotoxin levels (e.g. <0.5
ates testing procedures for specified objectionable microor-          EU/mL of formulation) when compared to conventionally
ganisms.                                                              acceptable endotoxin levels (e.g., 0.5 EU/mL of formula-
    In certain embodiments, the ophthalmic formulation                tion). In some embodiments, the ophthalmic formulation has
described herein has less than about 60 colony forming units 55 less than about 0.5 EU/mL of formulation. In other embodi-
(CFU), less than about 50 colony forming units, less than             ments, the ophthalmic formulation has less than about 0.4
about 40 colony forming units, or less than about 30 colony           EU/mL of formulation. In additional embodiments, the
forming units of microbial agents per gram of formulation.            ophthalmic formulation has less than about 0.2 EU/mL of
In certain embodiments, the ophthalmic formulations                   formulation.
described herein are formulated to be isotonic with the eye. 60           Pyrogen detection, by way of example only, is performed
    Endotoxins                                                        by several methods. Suitable tests for sterility include tests
    An additional aspect of the sterilization process is the          described in United States Pharmacopoeia (USP) <71>
removal of by-products from the killing of microorganisms             Sterility Tests (23rd edition, 1995). The rabbit pyrogen test
(hereinafter, "Product"). The process of depyrogenation               and the Limulus amebocyte lysate test are both specified in
removes pyrogens from the sample. Pyrogens are endotox- 65 the United States Pharmacopeia Chapters <85> and <151>
ins or exotoxins which induce an immune response. An                  (USP23/NF 18, Biological Tests, The United States Phar-
example of an endotoxin is the lipopolysaccharide (LPS)               macopeial Convention, Rockville, Md., 1995). Alternative


                                                        Appx000267
                                                        Appx000267                     Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 40
                                                                                                                   40 of
                                                                                                                      of 66
                                                                                                                         66
              Case: 23-2402                Document: 15              Page: 324           Filed: 02/01/2024


                                                   US 10,940,145 B2
                             49                                                                 50
pyrogen assays have been developed based upon the mono-            ing agent is a polymer. In some instances, the polymer a
cyte activation-cytokine assay. Uniform cell lines suitable        synthetic polymer (i.e., a polymer not produced in nature).
for quality control applications have been developed and           In other embodiments, the polymer is a natural polymer
have demonstrated the ability to detect pyrogenicity in            (e.g., a protein, polysaccharide, rubber). In certain embodi-
samples that have passed the rabbit pyrogen test and the 5 ments, the polymer is a surface active polymer. In certain
Limulus amebocyte lysate test (Taktak et al, J. Pharm.             embodiments, the polymer is a non-ionic polymer. In certain
Pharmacol. (1990), 43:578-82). In an additional embodi-            embodiments, the polymer is a non-ionic block copolymer.
ment, the ophthalmic formulation is subject to depyrogena-         In some embodiments, the polymer is a diblock copolymer,
tion. In a further embodiment, the process for the manufac-        a triblock copolymer, e.g., e.g., where one block is a
ture of the ophthalmic formulation comprises testing the 10 hydrophobic polymer and another block is a hydrophilic
formulation for pyrogenicity. In certain embodiments, the          polymer. In some embodiments, the polymer is charged or
formulations described herein are substantially free of pyro-      uncharged.
gens.                                                                 Additional examples of suitable polymers include, but are
   Ophthalmic Muscarinic Antagonist-Mucus Penetrating              not limited to, polyamines, polyethers, polyamides, polyes-
Particle (MPP) Composition                                      15 ters, polycarbamates, polyureas, polycarbonates, polysty-
   Mucus-penetrating particles (MPPs) are particles that           renes, polyimides, poly sulfones, polyurethanes, polyacety-
rapidly traverse mucus (e g human mucus). In some cases,           lenes, polyethylenes, polyethyeneimines, poly isocyanates,
MPPs comprise of a nanoparticle with a particle size of            polyacrylates, polymethacrylates, polyacrylonitriles, and
between about 200 nm and 500 mn. In some instances, the            polyarylates. Non-limiting examples of specific polymers
nanoparticle is further coated with a mucus penetrating 20 include poly(caprolactone) (PCL), ethylene vinyl acetate
agent. In some instances, a composition described herein is        polymer (EVA), poly(lactic acid) (PLA), poly(L-lactic acid)
formulated with MPPs for mucus penetration. In some                (PLLA), poly(glycolic acid) (PGA), poly(lactic acid-co-
instances, an ophthalmic agent composition described herein        glycolic acid) (PLGA), poly(L-lactic acid-co-glycolic acid)
is formulated with MPPs for mucus penetration. In some             (PLLGA), poly(D,L-lactide) (PDLA), poly(L-lactide)
instances, the ophthalmic agent is a muscarinic antagonist. 25 (PLLA), poly(D,L-lactide-co-caprolactone), poly(D,L-lac-
In some instances, a muscarinic antagonist composition             tide-co-caprolactone-co-glycolide),      poly(D,L-lactide-co-
described herein is formulated with MPPs for mucus pen-            PEO-co-D,L-lactide),       poly(D,L-lactide-co-PPO-co-D,L-
etration. In some instances, a muscarinic antagonist com-          lactide), polyalkyl cyanoacrylate, polyurethane, poly-L-
prises atropine, atropine sulfate, noratropine, atropine-N-        lysine (PLL), hydroxypropyl methacrylate (HPMA), poly
oxide, tropine, tropic acid, atropine methonitrate, 30 (ethylene glycol), poly-L-glutamic acid, poly(hydroxy
diphenhydramine, dimenhydrinate, dicyclomine, flavoxate,           acids), polyanhydrides, polyorthoesters, poly(ester amides),
oxybutynin, tiotropium, hyoscine, scopolomine (L-hyos-             polyamides, poly(ester ethers), polycarbonates, polyal-
cine), hydroxyzine, ipratropium, tropicamide, cyclopento-          kylenes such as polyethylene and polypropylene, polyal-
late, pirenzapine, homatropine, solifenacin, darifenacin,          kylene glycols such as poly(ethylene glycol) (PEG), poly-
benzatropine, mebeverine, procyclidine, aclidinium bro- 35 alkylene oxides (PEO), polyalkylene terephthalates such as
mide, trihexyphenidyl/benzhexol, or tolterodine. In some           poly(ethylene terephthalate), polyvinyl alcohols (PVA),
instances, a muscarinic antagonist is atropine or its pharma-      polyvinyl ethers, polyvinyl esters such as poly(vinyl
ceutically acceptable salt thereof. In some instances, a           acetate), polyvinyl halides such as poly(vinyl chloride)
muscarinic antagonist is atropine sulfate. In some instances,      (PVC), polyvinylpyrrolidone, polysiloxanes, polystyrene
an atropine composition described herein is formulated with 40 (PS), polyurethanes, derivatized celluloses such as alkyl
MPPs for mucus penetration. In some instances, an atropine         celluloses, hydroxyalkyl celluloses, cellulose ethers, cellu-
sulfate composition described herein is formulated with            lose esters, nitro celluloses, hydroxypropylcellulose, car-
MPPs for mucus penetration. In a non-limiting example, the         boxymethylcellulose, polymers of acrylic acids, such as
MMPs for use in the disclosed composition is obtained from         poly(methyl(meth)acrylate) (PMMA), poly(ethyl(meth)
Kala Pharmaceuticals, Inc. (100 Beaver Street #201, 45 acrylate), poly(butyl(meth)acrylate), poly(isobutyl(meth)
Waltham, Mass. 02453).                                             acrylate), poly(hexyl(meth)acrylate), poly(isodecyl(meth)
   In some embodiments, the nanoparticle comprises of any          acrylate), poly(lauryl(meth)acrylate), poly(phenyl(meth)
suitable material, such as an organic material, an inorganic       acrylate), poly(methyl acrylate), poly(isopropyl acrylate),
material, a polymer, or combinations thereof. In some              poly(isobutyl acrylate), poly(octadecyl acrylate) (jointly
instances, the nanoparticle comprises of inorganic material, so referred to herein as "polyacrylic acids"), and copolymers
such as for example, a metal (e.g., Ag, Au, Pt, Fe, Cr, Co, Ni,    and mixtures thereof, polydioxanone and its copolymers,
Cu, Zn, and other transition metals), a semiconductor (e.g.,       polyhydroxyalkanoates, polypropylene fumarate), poly-
silicon, silicon compounds and alloys, cadmium selenide,           oxymethylene, poloxamers, poly(ortho)esters, poly(butyric
cadmium sulfide, indium arsenide, and indium phosphide),           acid), poly(valeric acid), poly(lactide-co-caprolactone), and
or an insulator (e.g., ceramics such as silicon oxide). In some 55 trimethylene carbonate, polyvinylpyrrolidone.
instances, the nanoparticle comprises organic materials such          In some cases, an ophthalmic agent (e.g. a muscarinic
as a synthetic polymer and/or a natural polymer. Examples          antagonist such as atropine or atropine sulfate) is present in
of synthetic polymers include non-degradable polymers              the MPP formulation at a concentration of between about
such as polymethacrylate and degradable polymers such as           0.001 wt % and about 0.05 wt %, between about 0.005% to
polylactic acid, polyglycolic acid and copolymers thereof. 60 about 0.050%, between about 0.010% to about 0.050%,
Examples of natural polymers include hyaluronic acid, chi-         between about 0.015% to about 0.050%, between about
tosan, and collagen.                                               0.020% to about 0.050%, between about 0.025% to about
   In some embodiments, the nanoparticle is coated with a          0.050%, between about 0.030% to about 0.050%, between
mucus penetrating agent. In some instances, the mucus              about 0.035% to about 0.050%, between about 0.040% to
penetrating agent comprises any suitable material, such as a 65 about 0.050%, or between about 0.045% to about 0.050% of
hydrophobic material, a hydrophilic material, and/or an            the ophthalmic agent, or pharmaceutically acceptable prod-
amphiphilic material. In some instances, the mucus penetrat-       rug or salt thereof, by weight of the composition. In some


                                                       Appx000268
                                                       Appx000268                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 41
                                                                                                                 41 of
                                                                                                                    of 66
                                                                                                                       66
              Case: 23-2402                Document: 15              Page: 325            Filed: 02/01/2024


                                                   US 10,940,145 B2
                             51                                                                 52
instances, additional agents such as buffers, pD adjusting        agent-MPP composition is formulated using a method as
agents, and/or preservatives are formulated in the MPP            described in WO2013/166385. In some instances, an oph-
formulation.                                                      thalmic agent-MPP composition is formulated using a
   In some instances, ophthalmic agent-MPP composition is         method as described in Lai et al., "Rapid transport of large
formulated using any suitable method. In some embodi- 5 polymeric nanoparticles in fresh undiluted human mucus,"
ments, a milling process is used to reduce the size of a solid    PNAS 104(5):1482-1487 (2007). In some instances, the
material to form particles in the micrometer to nanometer         ophthalmic agent is a muscarinic antagonist such as atropine
size range. In some cases, dry and wet milling processes          or atropine sulfate.
such as jet milling, cryo-milling, ball milling, media milling,      Muscarinic Antagonist-Othphalmic Delivery Devices and
and homogenization are known and are used in methods 10 Delivery System
described herein. Generally, in a wet milling process, a             In some embodiments, a muscarinic antagonist described
suspension of the material to be used as the nanoparticle is      herein is delivered to a target site by an othphalmic delivery
mixed with milling media with or without excipients to            device. In some cases, the othphalmic delivery device is
reduce particle size. Dry milling is a process wherein the        configured for controlled sustained release of a muscarinic
material to be used as the nanoparticle is mixed with milling 15 antagonist. In some instances, the muscarinic antagonist
media with or without excipients to reduce particle size. In      comprises atropine, atropine sulfate, noratropine, atropine-
a cryo-milling process, a suspension of the material to be        N-oxide, tropine, tropic acid, hyoscine, scopolomine, tropi-
used as the nanoparticle is mixed with milling media with or      camide, cyclopentolate, pirenzapine, homatropine, or a com-
without excipients under cooled temperatures.                     bination thereof. In some cases, the muscarinic antagonist
   In some embodiments, any suitable grinding medium is 20 comprises atropine or atropine sulfate.
used for milling. In some embodiments, a ceramic and/or              In some embodiments, an othphalmic delivery device
polymeric material and/or a metal is used. Examples of            comprises a punctal plug, a scleral patch, a scleral ring, a
suitable materials include zirconium oxide, silicon carbide,      Cul-de sac insert, a subconjunctival/episcleral implant, an
silicon oxide, silicon nitride, zirconium silicate, yttrium       intravitreal implant, or a non-invasive delivery device. In
oxide, glass, alumina, alpha-alumina, aluminum oxide, poly- 25 some instances, a non-invasive delivery device comprises
styrene, poly(methyl methacrylate), titanium, steel. In some      topical ophthalmic drug delivery device (TODD) or a con-
cases, a grinding medium has any suitable size. For example,      tact lens. In some instances, the othphalmic delivery device
the grinding medium has an average diameter of at least           is a biodegradable othphalmic delivery device. In other
about 0.1 mm, at least about 0.2 mm, at least about 0.5 mm,       instances, the othphalmic delivery device is a non-biode-
at least about 0.8 mm, at least about 1 mm, at least about 2 30 gradable othphalmic delivery device. In some cases, the
mm, or at least about 5 mm. In some cases, the grinding           biodegradable othphalmic delivery device is configured for
medium has an average diameter of less than or equal to           controlled sustained release of a muscarinic antagonist. In
about 5 mm, less than or equal to about 2 mm, less than or        other cases, the non-biodegradable othphalmic delivery
equal to about 1 mm, less than or equal to about 0.8, less        device is configured for controlled sustained release of a
than or equal to about 0.5 mm, or less than or equal to about 35 muscarinic antagonist.
0.2 mm. Combinations of the above-referenced ranges are              In some instances, an othphalmic delivery device com-
also possible (e.g., an average diameter of at least about 0.5    prises a core or reservoir which comprises a muscarinic
millimeters and less than or equal to about 1 mm). Other          antagonist (e.g., atropine or atropine sulfate) and is config-
ranges are also possible.                                         ured for a controlled sustained release of the muscarinic
   In some embodiments, any suitable solvent are used for 40 antagonist. In some cases, the muscarinic antagonist is
milling. In some cases, the choice of solvent is depend on        formulated within the core or reservoir as a solution, a gel,
factors such as the solid material (e.g., a muscarinic antago-    or in a solid form. In other embodiments, a muscarinic
nist such as atropine) being milled, the particular type of       antagonist (e.g., atropine or atropine sulfate) is dispersed
stabilizer/mucus penetrating agent being used (e.g., one that     (e.g., uniformaly) within the material of the othphalmic
renders the particle mucus penetrating), the grinding mate- 45 delivery device, and is configured for a controlled sustained
rial be used, among other factors. In some cases, suitable        release of the mustcarinic antagonist. In some instances, the
solvents are ones that do not substantially dissolve the solid    othphalmic delivery device is a punctal plug, a scleral patch,
material or the grinding material, but dissolve the stabilizer/   a scleral ring, a Cul-de sac insert, a subconjunctival/epis-
mucus penetrating agent to a suitable degree. Non-limiting        cleral implant, an intravitreal implant, or a non-invasive
examples of solvents include, but are not limited to, water, so delivery device.
buffered solutions, other aqueous solutions, alcohols (e.g.,         Punctal Plug
ethanol, methanol, butanol), and mixtures thereof that               A punctal plug or tear duct plug is an ocular device that
optionally include other components such as pharmaceutical        in some cases is inserted into the tear duct (or puncta) of an
excipients, polymers, pharmaceutical agents, salts, preser-       eye. In some instances, a punctal plug is used for the
vative agents, viscosity modifiers, tonicity modifier, taste 55 delivery of an ophthalmic composition, for example, an
masking agents, antioxidants, pD modifier, and other phar-        ophthalmic composition described herein. In some cases, a
maceutical excipients. In other embodiments, an organic           punctal plug is used for the delivery of a muscarinic antago-
solvent is used. In some cases, a pharmaceutical agent (e.g.      nist formulated in deuterated water. In additional cases, a
a muscarinic antagonist such as atropine) has any suitable        punctal plug is used for the delivery of atropine or atropine
solubility in these or other solvents, such as a solubility in 60 sulfate formulated in deuterated water.
one or more of the ranges described above for aqueous                In some instances, a punctal plug is used for controlled
solubility or for solubility in a coating solution.               sustained release of a muscarinic antagonist (e.g., atropine or
   In some instances, a MPP is a MPP as described in              atropine sulfate). In some cases, the period of controlled
WO2013/166385. In some instances, a MPP is a MPP as               sustained release is, for example, up to 1, 2, 3, 4, 5, 6, 7, 8,
described in Lai et al., "Rapid transport of large polymeric 65 9, 10, 11, 12, 13, 14, 15, 30, 45, 60 days or longer. In some
nanoparticles in fresh undiluted human mucus," PNAS 104           instances, the period of controlled sustained release is, for
(5):1482-1487 (2007). In some instances, an ophthalmic            example, up to 7 days. In some cases, the period of con-


                                                       Appx000269
                                                       Appx000269                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 42
                                                                                                                  42 of
                                                                                                                     of 66
                                                                                                                        66
              Case: 23-2402               Document: 15              Page: 326            Filed: 02/01/2024


                                                  US 10,940,145 B2
                             53                                                                54
trolled sustained release is, for example, up to 14 days. In      fluid results in controlled sustained release of the drug by
some cases, the period of controlled sustained release is, for    bioerosion of the matrix. In such cases, the drug is dispersed
example, up to 1 month.                                           uniformly throughout the matrix but it is believed a more
   In some embodiments, a punctal plug comprises a core or        controlled release is obtained if the drug is superficially
reservoir which comprises a muscarinic antagonist (e.g., 5 concentrated in the matrix.
atropine or atropine sulfate) and is configured for a con-           Examples of bioerodible matrix materials include poly-
trolled sustained release of the muscarinic antagonist. In        esters of the general formula O (W) CO and mix-
other embodiments, a muscarinic antagonist (e.g., atropine        ture thereof, wherein W is a lower alkylene of 1 to 7 carbons
or atropine sulfate) is dispersed within the punctal plug         and may include a member selected from the group of
material, and is configured for a controlled sustained release 10 alkylenes of the formula CH2 or CH CH2 , and Y
of the mustcarinic antagonist.                                    has a value such that the molecular weight of the polymer is
   In some embodiments, a punctal plug described herein           from about 4,000 to 100,000. The polymers are polymer-
utilizes a diffusion mechanism for the delivery of a musca-       ization-condensation products of monobasic hydroxy acid of
rinic antagonist (e.g., atropine or atropine sulfate). In some    the formula C,H2, (OH)COOH wherein n has a value of 1
instances, the configuration of the punctal plug is tubular 15 to 7, preferably 1 or 2 and the acid is especially lactic acid
with its cylindrical wall closed by transverse end walls to       or glycolic acid. Also included are copolymers derived from
define a reservoir for the muscarinic antagonist (either in       mixtures of these acids. Bioerodible materials also include
liquid or gel form), in some cases, at least the cylindrical      poly(orthoesters). These materials have the following gen-
wall is a membrane permeable by diffusion so that the             eral formula:
muscarinic antagonist is released continuously at a con- 20
trolled rate through the membrane into the tear fluid.
   Exemplary materials for a permeable membrane for the                                           O
diffusion mechanism include insoluble microporous mate-
rials of polycarbonates, polyvinyl chlorides, polyamides,                                         O
                                                                                                   I
copolymers of polyvinyl chloride and acrylonitrile, polysul- 25
phones, polyvinylidene fluorides, polyvinyl fluorides, poly-
chloroethers, polyformaldehydes, acrylic resins, polyure-
thanes,     polyimides,     polybenzimadozoles,      polyvinyl       wherein R1 is an alkylene of 4 to 12 carbons, a cycloal-
acetates, polyethers, cellulose esters, porous rubbers, cross-    kylene of 5 to 6 carbons substituted with an alkylene of 1 to
linked poly(ethylene oxide), cross-linked polyvinyl pyrroli- 30 7 carbons and an alkyleneoxy of 1 to 7 carbons, and R 2 is a
done, cross-linked poly(vinyl alcohol) and polystyrenes.          lower alkyl of 1 to 7 carbons.
   In some embodiments, a punctal plug described herein              Additional bioerodible matrix materials include: (1) Poly-
utilizes an osmosis mechanism for the delivery of a musca-        anhydrides such as polyp-carboxyphenoxy) alkyl (e.g.
rinic antagonist (e.g., atropine or atropine sulfate). In some    p-carboxyphenoxypropane) or polymeric fatty acid dirtier
cases, the configuration of the punctal plug is tubular with 35 (e.g. poly-dodecanedioic acid) compounds and further co-
domed end walls, and the device comprises a transverse            polymers with sebacic acid, or phthalic acid such as dis-
impermeable elastic membrane dividing the tubular interior        closed in Chasin et al., Polyanhdrides for Controlled Drug
of the device into a first compartment and a second com-          Delivery, Biopharm., February 1988, 33-46; and Lee et al,
partment; the first compartment is bounded by a semi-             (1988), The Use of Bioerodible Polymers and 5 fluorouracil
permeable membrane and the impermeable elastic mem- 40 in Glaucoma Filtration Surgery, invest. Ophthalmol. Vis.
brane, and the second compartment is bounded by an                Sci., 29, 1692-1697; (2) Poly (alkyl-2-cyanoacrylates) such
impermeable material and the elastic membrane. In some            as poly (hexyl-2-cyanoacrylate) as described by Douglas et
cases, a drug release aperture is included in the impermeable     o£ (1987), Nanoparticles in Drug Delivery, CRC Crit. Rev.
end wall of the device. When the device is placed in the          Therap. Drug Carr. System., 3, 233-261; and (3) Polyamino
aqueous environment of the eye water diffuses into the first 45 acids such as copolymers of leucine and methyl glutamate.
compartment and stretches the elastic membrane to expand             In some cases, a punctal plug described herein comprises
the first compartment and contract the second compartment         a solid non-erodible rod with pores. In some instances, the
so that the drug is forced through the drug release aperture.     release of a muscarinic antagonist takes place via diffusion
   Examples of materials for an osmotic semi-permeable            through the pores. In such instances, controlled release is
membrane include cellulose acetate and its derivatives, so further regulated by gradual dissolution of solid dispersed
partial and completely hydrolyzed ethylene-vinyl acetate          drug within this matrix as a result of inward diffusion of
copolymers, highly plasticized polyvinyl chloride, homo-          aqueous solutions.
and copolymers of polyvinyl acetate, polyesters of acrylic           Examples of materials for use as non-erodible rods
acid and methacrylic acid, polyvinyl alkyl ethers, polyvinyl      include polymers such as hydroxyethyhmethacrylate and
fluoride; silicone polycarbonates, aromatic nitrogen-con- 55 co-polymers with methacrylic acid, methylmethacrylate,
taining polymeric membranes, polymeric epoxides, copoly-          N-vinyl 2-pyrrolidone, allyl methacrylate, ethylene glycol
mers of an alkylene oxide and alkyl glycidyl ether, poly-         dimethacrylate, ethylene dimethacrylate, or 1,1,1 trimeth-
urethanes, polyglycolic or polyacetic acid and derivatives        ylopropane trimethacrylate, and dimethyl diphenyl methyl-
thereof, derivatives of polystyrene such as poly(sodium           vinyl polysiloxane.
styrenesulfonate) and poly(vinyl benzyltrimethyl-ammo- 60            In some instances, the body of the plug is wholly or
nium chloride), ethylene-vinyl acetate copolymers.                partially transparent or opaque. Optionally, the body
   In some embodiments, a punctal plug described herein           includes a tint or pigment that makes the plug easier to see
utilizes a bioerosion mechanism for the delivery of a mus-        when it is placed in a punctum.
carinic antagonist (e.g., atropine or atropine sulfate). In          In some cases, the surface of the plug body is wholly or
some cases, the configuration of the punctal plug is rod-like 65 partially coated. In some cases, the coating provides one or
being constituted from a matrix of bioerodible material in        more of lubriciousness to aid insertion, muco-adhesiveness
which the drug is dispersed. Contact of the device with tear      to improve tissue compatibility, and texture to aid in anchor-


                                                      Appx000270
                                                      Appx000270                     Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 43
                                                                                                                 43 of
                                                                                                                    of 66
                                                                                                                       66
               Case: 23-2402               Document: 15               Page: 327            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             55                                                                  56
ing the plug within the punctum. Examples of suitable               sac insert comprising a rod-shaped water soluble insert is a
coatings include, without limitation, gelatin, collagen,            biodegradable insert. An example comprises Lacrisert
hydroxyethyl methacrylate, PVP, PEG, heparin, chondroitin           (Merck).
sulphate, hyaluronic acid, synthetic and natural proteins, and         Subconjunctival/Episcleral Implant
polysaccharides, thiomers, thiolated derivatives of poly- 5            In some embodiments, a muscarinic antagonist described
acrylic acid and chitosan, polyacrylic acid, carboxymethyl          herein is delivered to an eye through a subconjunctival/
cellulose and the like and combinations thereof.                    episcleral implant. In some instances, a subconjunctival/
   In some embodiments, a punctal plug described herein is          episcleral implant is a biodegradable implant. In other
a punctal plug described in U.S. Pat. No. 5,147,647; U.S.           instances, a subconjunctival/episcleral implant is a non-
                                                                 10 biodegradable implant. In additional instances, a subcon-
Publication No. 2012/0277694; or 2010/0256557.
                                                                    junctival/episcleral implant is formulated for controlled sus-
   In some instances, the size of the opening of the punctal
                                                                    tained release of one or more of a muscarinic antagonist
plug is from about 0.05 mm to about 2.5 mm. In some
                                                                    described herein. In some cases, a subconjunctival/episcleral
instances, it is from about 0.1 mm to about 2.0 mm, or from         implant comprises a core or reservoir which comprises a
about 0.15 mm to about 1 mm.                                     15 muscarinic antagonist (e.g., atropine or atropine sulfate), and
   In some embodiments, the amount of a muscarinic                  the muscarinic antagonist is formulated within the core or
antagonist (e.g., atropine or atropine sulfate) used in the         reservoir as a solution, a gel, or in a solid form. In other
plugs depends upon the muscarinic antagonist selected, the          embodiments, a muscarinic antagonist (e.g., atropine or
desired doses to be delivered via the punctal plug, the             atropine sulfate) is dispersed (e.g., uniformaly) within the
desired release rate, and the melting points of the muscarinic 20 material of the subconjunctival/episcleral implant. Exem-
antagonist and muscarinic antagonist-containing material.           plary subconjunctival/episcleral implants include LX201
   Scleral Patch or Scleral Ring                                    (Lux Biosciences Inc.), an episcleral implant from 3T Oph-
   In some embodiments, a muscarinic antagonist described           thalmics, or a subconjunctival insert from Pfizer.
herein is delivered to an eye through a scleral patch or a             Intravitreal Implants
scleral ring. In some instances, a scleral patch or a scleral 25       In some embodiments, a muscarinic antagonist described
ring is a biodegradable scleral patch or scleral ring. In other     herein is delivered to an eye through an intravitreal implant.
instances, a scleral patch or a scleral ring is a non-biode-        In some instances, an intravitreal implant is a biodegradable
gradable scleral patch or scleral ring. In additional instances,    implant. In other instances, an intravitreal implant is a
a scleral patch or a scleral ring is formulated for controlled      non-biodegradable implant. In additional instances, an intra-
sustained release of one or more of a muscarinic antagonist 30 vitreal implant is formulated for controlled sustained release
described herein. In some cases, a scleral patch comprises a        of one or more of a muscarinic antagonist described herein.
multi-layered patch in which one or more layer within the           In some cases, an intravitreal implant comprises a core or
patch comprises a muscarinic antagonist described herein. In        reservoir which comprises a muscarinic antagonist (e.g.,
some cases, a scleral ring comprises a core or reservoir            atropine or atropine sulfate), and the muscarinic antagonist
which comprises a muscarinic antagonist (e.g., atropine or 35 is formulated within the core or reservoir as a solution, a gel,
atropine sulfate), and the muscarinic antagonist is formu-          or in a solid form. In other embodiments, a muscarinic
lated within the core or reservoir as a solution, a gel, or in      antagonist (e.g., atropine or atropine sulfate) is dispersed
a solid form. In other embodiments, a muscarinic antagonist         (e.g., uniformaly) within the material of the intravitreal
(e.g., atropine or atropine sulfate) is dispersed (e.g., uni-       implant. Exemplary intravitreal implant comprises
formly) within the material of the scleral patch or the scleral 40 DurasertTM technology system (pSivida Corp.) (such as
ring.                                                               Vitrasert® and Retisert® from Bausch & Lomb Inc, and
   Cul-De Sac Inserts                                               Iluvien® from Alimera sciences), NovadurTM technology
   In some embodiments, a muscarinic antagonist described           system (such as Ozurdex® from Allergan), I-VationTM tech-
herein is delivered to an eye through a Cul-de sac insert. In       nology system (such as a delivery system developed from
some instances, the Cul-de sac insert comprises a single- 45 SurModics, Inc.), and NT-501 from Neurotech Pharmaceu-
layered device comprising muscarinic antagonist dispersed           ticals.
within the insert material, or multilayered, solid or semisolid        Non-Invasive Delivery System
consistency insert. In some instances, the Cul-de sac insert           In some embodiments, a non-invasive delivery system
is a biodegradable insert. In other instances, the Cul-de sac       comprises a topical ophthalmic agent delivery device. In
insert is a non-biodegradable insert. In additional instances, so some embodiments, a muscarinic antagonist described
a Cul-de sac insert is formulated for controlled sustained          herein is delivered to an eye through a topical ophthalmic
release of one or more of a muscarinic antagonist described         agent delivery device. In some instances, the topical oph-
herein. In some instances, a Cul-de sac insert comprises a          thalmic agent delivery device comprises a soft elastomer
membrane-bound ocular insert, which comprises of two                drug depot that floats atop the sclera under the eyelid. In
outer layers of a copolymer such as ethylene-vinyl acetate 55 some instances, the topical ophthalmic agent delivery device
copolymer (EVA) and an inner layer comprising a muscar-             is a biodegradable delivery device. In other instances, the
inic antagonist. In some instances, the muscarinic antagonist       topical ophthalmic agent delivery device is a non-biodegrad-
within the inner layer is formulated as a gel or as a solution.     able delivery device. In some cases, the topical ophthalmic
An exemplary membrane-bound ocular insert is Ocuserts               agent delivery device is impregnated with a muscarinic
from Alza Corp.                                                  60 antagonist described herein. In other cases, a muscarinic
   In some cases, a Cul-de sac insert comprises an ocular           antagonist is disperse (e.g., uniformly) in the topical oph-
film or sheath (mucoadhesive film or sheath or collagen             thalmic agent delivery device. In some instances, the topical
shields), a coil, a polymer rod, HEMA hydrogel, or poly-            ophthalmic agent delivery device is formulated for con-
sulfone capillary fiber. In some instances, a Cul-de sac insert     trolled sustained release of the muscarinic antagonist. In
comprises rod-shaped water soluble insert comprising of 65 some instances, an exemplary delivery device is a topical
hydroxypropyl cellulose, a muscarinic antagonist, and one           ophthalmic drug delivery device (TODD) from Amorphex
or more additional excipients. In some instances, the Cul-de        Therapeutics.


                                                        Appx000271
                                                        Appx000271                     Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 44
                                                                                                                   44 of
                                                                                                                      of 66
                                                                                                                         66
              Case: 23-2402               Document: 15              Page: 328            Filed: 02/01/2024


                                                  US 10,940,145 B2
                             57                                                                58
   In some embodiments, a non-invasive delivery system           num silicates). In certain embodiments, the rheology of the
comprises a contact lens. In some embodiments, a muscar-         compositions disclosed herein is pseudo plastic, plastic,
inic antagonist described herein is delivered to an eye          thixotropic, or dilatant.
through a contact lens. In some instances, the contact lens is      In some embodiments, the ophthalmic composition is an
impregnated with a muscarinic antagonist, for example, in 5 ophthalmic gel, and wherein the ophthalmically acceptable
which the muscarinic antagonist is dispersed, e.g., as col-      carrier comprises water and at least one viscosity-enhancing
loidal structure, within the lens. In other instances, the       agent. In some embodiments, the viscosity-enhancing agent
contact lens is further combined with a muscarinic antago-       is selected from cellulose-based polymers, polyoxyethylene-
nist layer, and is configured for controlled sustained release   polyoxypropylene triblock copolymers, dextran-based poly-
to the eye. Exemplary polymers, e.g., hydrogel copolymers, 10 mers, polyvinyl alcohol, dextrin, polyvinylpyrrolidone,
for making a contact lens include at least one hydrophilic       polyalkylene glycols, chitosan, collagen, gelatin, hyaluronic
monomer and a crosslinking agent (a crosslinker being            acid, or combinations thereof.
defined as a monomer having multiple polymerizable func-            In some embodiment, the ophthalmic gel composition
tionalities). Representative, hydrophilic monomers include:      described herein is a semi-solid or id in a gelled state before
unsaturated carboxylic acids, such as methacrylic acid and 15 it is topically administered (e.g. at room temperature). For
acrylic acid; (meth)acrylic substituted alcohols, such as        example, suitable viscosity-enhancing agents for such gels
2-hydroxyethylmethacrylate and 2-hydroxyethylacrylate;           include by way of example only, gelling agents and sus-
vinyl lactams, such as N-vinyl pyrrolidone; and (meth)           pending agents. In one embodiment, the enhanced viscosity
acrylamides, such as methacrylamide and N,N-dimethyl-            formulation does not include a buffer. In other embodiments,
acrylamide. Typical crosslinking agents include polyvinyl, 20 the enhanced viscosity formulation includes a pharmaceu-
typically di- or tri-vinyl monomers, such as di- or tri(meth)    tically acceptable buffer. Sodium chloride or other tonicity
acrylates of diethyleneglycol, triethyleneglycol, butyle-        agents are optionally used to adjust tonicity, if necessary.
neglycol and hexane-1,6-diol; and divinylbenzene. A spe-            By way of example only, the ophthalmically acceptable
cific example of a hydrogel-forming monomer mixture is           viscosity agent includes hydroxypropyl methylcellulose,
polymacon, composed primarily of 2-hydroxyethylmeth- 25 hydroxyethyl cellulose, polyvinylpyrrolidone, carboxym-
acrylate with a small amount of diethyleneglycol dimeth-         ethyl cellulose, polyvinyl alcohol, sodium chondroitin sul-
acrylate as a crosslinking monomer. Optionally, the mono-        fate, sodium hyaluronate. Other viscosity enhancing agents
mer mixture may include a silicone-containing monomer in         compatible with the targeted ocular site include, but are not
order to form a silicone hydrogel copolymer. Examples of         limited to, acacia (gum arabic), agar, aluminum magnesium
silicone-containing monomers include: monomers including 30 silicate, sodium alginate, sodium stearate, bladderwrack,
a single activated unsaturated radical, such as methacryloxy-    bentonite, carbomer, carrageenan, Carbopol, xanthan, cellu-
propyl tris(trimethylsiloxy)silane, pentamethyldisiloxanyl       lose, microcrystalline cellulose (MCC), ceratonia, chitin,
methylmethacrylate, tris(trimethylsiloxy)methacryloxy pro-       carboxymethylated chitosan, chondrus, dextrose, furcel-
pylsilane,     methyldi(trimethylsiloxy)methacryloxymethyl       laran, gelatin, Ghatti gum, guar gum, hectorite, lactose,
silane, 3-[tris(trimethylsiloxy)silyl]propyl vinyl carbamate, 35 sucrose, maltodextrin, mannitol, sorbitol, honey, maize
and 3-[tris(trimethylsiloxy)silyl]propyl vinyl carbonate; and    starch, wheat starch, rice starch, potato starch, gelatin,
multifunctional ethylenically "end-capped" siloxane-con-         sterculia gum, xanthum gum, gum tragacanth, ethyl cellu-
taining monomers, especially difunctional monomers hav-          lose, ethylhydroxyethyl cellulose, ethylmethyl cellulose,
ing two activated unsaturated radicals. A specific example of    methyl cellulose, hydroxyethyl cellulose, hydroxyethylm-
a silicone hydrogel-forming monomer mixture is balafilcon, 40 ethyl cellulose, hydroxypropyl cellulose, poly(hydroxyethyl
based on N-vinyl pyrrolidone and the aforementioned vinyl        methacrylate), oxypolygelatin, pectin, poly geline, povi-
carbonate and carbamate monomers, disclosed in U.S. Pat.         done, propylene carbonate, methyl vinyl ether/maleic anhy-
No. 5,260,000.                                                   dride copolymer (PVM/MA), poly(methoxyethyl methacry-
   Ophthalmic Gel Muscarinic Antagonist Composition              late),        poly(methoxyethoxyethyl            methacrylate),
   Gels have been defined in various ways. For example, the 45 hydroxypropyl cellulose, hydroxypropylmethyl-cellulose
United States Pharmacopoeia defines gels as semisolid sys-       (HPMC), sodium carboxymethyl-cellulose (CMC), silicon
tems consisting of either suspensions made up of small           dioxide, polyvinylpyrrolidone (PVP: povidone), Splenda®
inorganic particles or large organic molecules interpen-         (dextrose, maltodextrin and sucralose) or combinations
etrated by a liquid. Gels include a single-phase or a two-       thereof. In specific embodiments, the viscosity-enhancing
phase system. A single-phase gel consists of organic mac- so excipient is a combination of MCC and CMC. In another
romolecules distributed uniformly throughout a liquid in         embodiment, the viscosity-enhancing agent is a combination
such a manner that no apparent boundaries exist between the      of carboxymethylated chitosan, or chitin, and alginate. The
dispersed macromolecules and the liquid. Some single-            combination of chitin and alginate with the ophthalmic
phase gels are prepared from synthetic macromolecules            agents disclosed herein acts as a controlled release formu-
(e.g., carbomer) or from natural gums, (e.g., tragacanth). In 55 lation, restricting the diffusion of the ophthalmic agents from
some embodiments, single-phase gels are generally aque-          the formulation. Moreover, the combination of carboxym-
ous, but will also be made using alcohols and oils. Two-         ethylated chitosan and alginate is optionally used to assist in
phase gels consist of a network of small discrete particles.     increasing the permeability of the ophthalmic agents in the
   In some embodiments, gels are also classified as being        eye.
hydrophobic or hydrophilic. In certain embodiments, the 60          In some embodiments is an enhanced viscosity formula-
base of a non-limiting example of a hydrophobic gel              tion, comprising from about 0.1 mM and about 100 mM of
includes a liquid paraffin with polyethylene or fatty oils       an ophthalmic agent, a pharmaceutically acceptable viscos-
gelled with colloidal silica, or aluminum or zinc soaps. In      ity agent, and water for injection, the concentration of the
contrast, the base of a non-limiting example of a hydrophilic    viscosity agent in the water being sufficient to provide an
gel includes water, glycerol, or propylene glycol gelled with 65 enhanced viscosity formulation with a final viscosity from
a suitable gelling agent (e.g., tragacanth, starch, cellulose    about 100 to about 100,000 cP. In certain embodiments, the
derivatives, carboxyvinylpolymers, and magnesium-alumi-          viscosity of the gel is in the range from about 100 to about


                                                      Appx000272
                                                      Appx000272                     Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 45
                                                                                                                 45 of
                                                                                                                    of 66
                                                                                                                       66
              Case: 23-2402                Document: 15              Page: 329            Filed: 02/01/2024


                                                   US 10,940,145 B2
                             59                                                                 60
50,000 cP, about 100 cP to about 1,000 cP, about 500 cP to         crosslinked gels, matrices, hydrogels, and polymers, as well
about 1500 cP, about 1000 cP to about 3000 cP, about 2000          as gelatins and their derivatives, alginates, and alginate-
cP to about 8,000 cP, about 4,000 cP to about 50,000 cP,           based gels, and even various native and synthetic hydrogel
about 10,000 cP to about 500,000 cP, about 15,000 cP to            and hydrogel-derived compounds are all expected to be
about 1,000,000 cP. In other embodiments, when an even 5 useful in the ophthalmic agent formulations described
more viscous medium is desired, the biocompatible gel              herein. In some embodiments, ophthalmically acceptable
comprises at least about 35%, at least about 45%, at least         gels include, but are not limited to, alginate hydrogels
about 55%, at least about 65%, at least about 70%, at least        SAF®-Gel (ConvaTec, Princeton, N.J.), Duoderm® Hydro-
about 75%, or even at least about 80% or so by weight of the       active Gel (ConvaTec), Nu-gel® (Johnson & Johnson Medi-
ophthalmic agent. In highly concentrated samples, the bio- a) cal, Arlington, Tex.); Carrasyn® (V) Acemannan Hydrogel
compatible enhanced viscosity formulation comprises at             (Carrington Laboratories, Inc., Irving, Tex.); glycerin gels
least about 25%, at least about 35%, at least about 45%, at        Elta® Hydrogel (Swiss-American Products, Inc., Dallas,
least about 55%, at least about 65%, at least about 75%, at        Tex.) and K-Y® Sterile (Johnson & Johnson). In further
least about 85%, at least about 90% or at least about 95% or       embodiments, biodegradable biocompatible gels also repre-
more by weight of the ophthalmic agent.                         15 sent compounds present in ophthalmically acceptable for-
   In one embodiment, the pharmaceutically acceptable              mulations disclosed and described herein.
enhanced viscosity ophthalmically acceptable formulation              In some embodiments, the viscosity-enhancing agent is a
comprises at least one ophthalmic agent and at least one           cellulose-based polymer selected from cellulose gum, alkyl-
gelling agent. Suitable gelling agents for use in preparation      cellulose, hydroxyl-alkyl cellulose, hydroxyl-alkyl alkylcel-
of the gel formulation include, but are not limited to, 2o lulose, carboxy-alkyl cellulose, or combinations thereof. In
celluloses, cellulose derivatives, cellulose ethers (e.g., car-    some embodiments, the viscosity-enhancing agent is
boxymethylcellulose, ethylcellulose, hydroxyethylcellulose,        hydroxyl-alkyl alkylcellulose. In some embodiment, the
hydroxymethylcellulo se,       hydroxypropylmethylcellulo se,      viscosity-enhancing agent is hydroxypropyl methylcellu-
hydroxypropylcellulose, methylcellulose), guar gum, xan-           lose.
than gum, locust bean gum, alginates (e.g., alginic acid), 25         In certain embodiments, the enhanced viscosity formula-
silicates, starch, tragacanth, carboxyvinyl polymers, carra-       tion is characterized by a phase transition between room
geenan, paraffin, petrolatum and any combinations or mix-          temperature and body temperature (including an individual
tures thereof. In some other embodiments, hydroxypropyl-           with a serious fever, e.g., up to about 42° C.). In some
methylcellulose (Methocel®) is utilized as the gelling agent.      embodiments, the phase transition occurs at 1° C. below
In certain embodiments, the viscosity enhancing agents 30 body temperature, at 2° C. below body temperature, at 3° C.
described herein are also utilized as the gelling agent for the    below body temperature, at 4° C. below body temperature,
gel formulations presented herein.                                 at 6° C. below body temperature, at 8° C. below body
   In some embodiments, the ophthalmic gel composition             temperature, or at 10° C. below body temperature. In some
described herein is an in situ gel formulation. In some            embodiments, the phase transition occurs at about 15° C.
instances, the in situ gel formation is based on increased 35 below body temperature, at about 20° C. below body tem-
pre-corneal residence time of the ophthalmic composition           perature or at about 25° C. below body temperature. In
which improves ocular bioavailability, corneal mucoadhe-           specific embodiments, the gelation temperature (Tgel) of a
sion, lysosomal interaction and ionic gelation, improved           formulation described herein is about 20° C., about 25° C.,
corneal absorption, thermal gelation, or a combination             or about 30° C. In certain embodiments, the gelation tem-
thereof. In some instances, the in situ gel formulation is 40 perature (Tgel) of a formulation described herein is about
activated by pH, temperature, ion, UV, or solvent exchange.        35° C., or about 40° C. Included within the definition of
   In some instances, the ophthalmic gel composition com-          body temperature is the body temperature of a healthy
prises a muscarinic antagonist and one or more gelling             individual, or an unhealthy individual, including an indi-
agents. In some instances, the gelling agent includes, but is      vidual with a fever (up to —42° C.). In some embodiments,
not limited to, poloxamer (e.g. Poloxamer 407), tetronics, 45 the pharmaceutical compositions described herein are liq-
ethyl (hydroxyethyl) cellulose, cellulose acetate phthalate        uids at about room temperature and are administered at or
(CAP), carbopol (e.g. Carbopol 1342P NF, Carbopol 980              about room temperature.
NF), alginates (e.g. low acetyl gellan gum (Gelrite®)),               Copolymers polyoxypropylene and polyoxyethylene (e.g.
gellan, hyaluronic acid, pluronics (e.g. Pluronic F-127),          polyoxyethylene-polyoxypropylene triblock copolymers)
chitosan, polyvinyl alcohol (PVA), polyvinylpyrrolidone so form thermosetting gels when incorporated into aqueous
(PVP), dextran, hydroxy propyl methyl cellulose (HPMC),            solutions. These polymers have the ability to change from
hydroxyethylcellulose (HEC), methylcellulose (MC), thio-           the liquid state to the gel state at temperatures close to body
lated xyloglucan, polymethacrilic acid (PMMA), polyethyl-          temperature, therefore allowing useful formulations that are
ene glycol (PEG), pseudolatexes, xyloglucans, or combina-          applied to the targeted ocular site. The liquid state-to-gel
tions thereof.                                                  55 state phase transition is dependent on the polymer concen-
   In some instances, the in situ gel formation further com-       tration and the ingredients in the solution.
prises a permeation enhancer. In some instances, the per-             In some embodiments, the amount of thermosetting poly-
meation enhancer includes surfactants (e.g. non-ionic sur-         mer in any formulation described herein is about 10%, about
factants), benzalkonium chloride, EDTA, surface-active             15%, about 20%, about 25%, about 30%, about 35% or
heteroglycosides, calcium chelators, hydroxyl propyl beta 60 about 40% of the total weight of the formulation. In some
cyclodextrin (HP beta CD), bile salts, and the like.               embodiments, the amount of thermosetting polymer in any
   In some embodiments, other gel formulations are useful          formulation described herein is about 10%, about 11%,
depending upon the particular ophthalmic agent, other phar-        about 12%, about 13%, about 14%, about 15%, about 16%,
maceutical agent or excipients/additives used, and as such         about 17%, about 18%, about 19%, about 20%, about 21%,
are considered to fall within the scope of the present 65 about 22%, about 23%, about 24% or about 25% of the total
disclosure. For example, other commercially-available glyc-        weight of the formulation. In some embodiments, the
erin-based gels, glycerin-derived compounds, conjugated, or        amount of thermosetting polymer (e.g., Poloxamer 407) in


                                                       Appx000273
                                                       Appx000273                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 46
                                                                                                                  46 of
                                                                                                                     of 66
                                                                                                                        66
              Case: 23-2402               Document: 15             Page: 330           Filed: 02/01/2024


                                                  US 10,940,145 B2
                            61                                                                62
any formulation described herein is about 7.5% of the total     posed of a PLGA copolymer of 50:50 poly(DL-lactide-co-
weight of the formulation. In some embodiments, the             glycolide) and is 10% w/w of PEG and has a molecular
amount of thermosetting polymer (e.g., Poloxamer 407) in        weight of about 6000.
any formulation described herein is about 10% of the total         Additional biodegradable thermoplastic polyesters
weight of the formulation. In some embodiments, the 5 include AtriGel® (provided by Atrix Laboratories, Inc.)
amount of thermosetting polymer (e.g., Poloxamer 407) in        and/or those disclosed, e.g., in U.S. Pat. Nos. 5,324,519;
any formulation described herein is about 11% of the total      4,938,763; 5,702,716; 5,744,153; and 5,990,194; wherein
weight of the formulation. In some embodiments, the             the suitable biodegradable thermoplastic polyester is dis-
amount of thermosetting polymer (e.g., Poloxamer 407) in        closed as a thermoplastic polymer. Examples of suitable
                                                             10 biodegradable thermoplastic polyesters include polylactides,
any formulation described herein is about 12% of the total
                                                                polyglycolides, polycaprolactones, copolymers thereof, ter-
weight of the formulation. In some embodiments, the
                                                                polymers thereof, and any combinations thereof. In some
amount of thermosetting polymer (e.g., Poloxamer 407) in
                                                                such embodiments, the suitable biodegradable thermoplastic
any formulation described herein is about 13% of the total      polyester is a polylactide, a polyglycolide, a copolymer
weight of the formulation. In some embodiments, the is thereof, a terpolymer thereof, or a combination thereof. In
amount of thermosetting polymer (e.g., Poloxamer 407) in        one embodiment, the biodegradable thermoplastic polyester
any formulation described herein is about 14% of the total      is 50/50 poly(DL-lactide-co-glycolide) having a carboxy
weight of the formulation. In some embodiments, the             terminal group; is present in about 30 wt. % to about 40 wt.
amount of thermosetting polymer (e.g., Poloxamer 407) in        % of the composition; and has an average molecular weight
any formulation described herein is about 15% of the total 20 of about 23,000 to about 45,000. Alternatively, in another
weight of the formulation. In some embodiments, the             embodiment, the biodegradable thermoplastic polyester is
amount of thermosetting polymer (e.g., Poloxamer 407) in        75/25 poly (DL-lactide-co-glycolide) without a carboxy
any formulation described herein is about 16% of the total      terminal group; is present in about 40 wt. % to about 50 wt.
weight of the formulation. In some embodiments, the             % of the composition; and has an average molecular weight
amount of thermosetting polymer (e.g., Poloxamer 407) in 25 of about 15,000 to about 24,000. In further or alternative
any formulation described herein is about 17% of the total      embodiments, the terminal groups of the poly(DL-lactide-
weight of the formulation. In some embodiments, the             co-glycolide) are either hydroxyl, carboxyl, or ester depend-
amount of thermosetting polymer (e.g., Poloxamer 407) in        ing upon the method of polymerization. Polycondensation of
any formulation described herein is about 18% of the total      lactic or glycolic acid provides a polymer with terminal
                                                             30 hydroxyl and carboxyl groups. Ring-opening polymeriza-
weight of the formulation. In some embodiments, the
                                                                tion of the cyclic lactide or glycolide monomers with water,
amount of thermosetting polymer (e.g., Poloxamer 407) in
                                                                lactic acid, or glycolic acid provides polymers with the same
any formulation described herein is about 19% of the total
                                                                terminal groups. However, ring-opening of the cyclic mono-
weight of the formulation. In some embodiments, the
                                                                mers with a monofunctional alcohol such as methanol,
amount of thermosetting polymer (e.g., Poloxamer 407) in 35 ethanol, or 1-dodecanol provides a polymer with one
any formulation described herein is about 20% of the total      hydroxyl group and one ester terminal groups. Ring-opening
weight of the formulation. In some embodiments, the             polymerization of the cyclic monomers with a diol such as
amount of thermosetting polymer (e.g., Poloxamer 407) in        1,6-hexanediol or polyethylene glycol provides a polymer
any formulation described herein is about 21% of the total      with only hydroxyl terminal groups.
weight of the formulation. In some embodiments, the 40             Since the polymer systems of thermosetting gels dissolve
amount of thermosetting polymer (e.g., Poloxamer 407) in        more completely at reduced temperatures, methods of solu-
any formulation described herein is about 23% of the total      bilization include adding the required amount of polymer to
weight of the formulation. In some embodiments, the             the amount of water to be used at reduced temperatures.
amount of thermosetting polymer (e.g., Poloxamer 407) in        Generally after wetting the polymer by shaking, the mixture
any formulation described herein is about 25% of the total 45 is capped and placed in a cold chamber or in a thermostatic
weight of the formulation. In some embodiments, the             container at about 0-10° C. in order to dissolve the polymer.
amount of thickening agent (e.g., a gelling agent) in any       The mixture is stirred or shaken to bring about a more rapid
formulation described herein is about 1%, about 5%, about       dissolution of the thermosetting gel polymer. The ophthal-
10%, or about 15% of the total weight of the formulation. In    mic agent and various additives such as buffers, salts, and
some embodiments, the amount of thickening agent (e.g., a so preservatives are subsequently added and dissolved. In some
gelling agent) in any formulation described herein is about     instances the pharmaceutically agent is suspended if it is
0.5%, about 1%, about 1.5%, about 2%, about 2.5%, about         insoluble in water. The pD is modulated by the addition of
3%, about 3.5%, about 4%, about 4.5%, or about 5% of the        appropriate buffering agents.
total weight of the formulation.                                   Ophthalmic Ointment Muscarinic Antagonist Composi-
   In an alternative embodiment, the thermogel is a PEG- 55 tion
PLGA-PEG triblock copolymer (Jeong etal, Nature (1997),            An ointment is a homogeneous, viscous, semi-solid
388:860-2; Jeong etal, J. Control. Release (2000), 63:155-      preparation, most commonly a greasy, thick oil (e.g. oil
63; Jeong etal, Adv. Drug Delivery Rev. (2002), 54:37-51).      80%-water 20%) with a high viscosity, intended for external
The polymer exhibits sol-gel behavior over a concentration      application to the skin or mucous membranes. Ointments
of about 5% w/w to about 40% w/w. Depending on the 60 have a water number that defines the maximum amount of
properties desired, the lactide/glycolide molar ratio in the    water that it contains. They are used as emollients or for the
PLGA copolymer ranges from about 1:1 to about 20:1. The         application of active ingredients to the skin for protective,
resulting coploymers are soluble in water and form a free-      therapeutic, or prophylactic purposes and where a degree of
flowing liquid at room temperature, but form a hydrogel at      occlusion is desired. Ointments are used topically on a
body temperature. A commercially available PEG-PLGA- 65 variety of body surfaces. These include the skin and the
PEG triblock copolymer is RESOMER RGP t50106 manu-              mucous membranes of the eye (an eye ointment), vulva,
factured by Boehringer Ingelheim. This material is com-         anus, and nose


                                                     Appx000274
                                                     Appx000274                    Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 47
                                                                                                               47 of
                                                                                                                  of 66
                                                                                                                     66
               Case: 23-2402               Document: 15               Page: 331            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             63                                                                  64
   The vehicle of an ointment is known as the ointment base.           In some embodiments, the agent for dispersing and/or
The choice of a base depends upon the clinical indication for       dissolving the ophthalmic drug in the ointment base is
the ointment. The different types of ointment bases are:            selected from a poly(ethylene-glycol), a polyethoxylated
hydrocarbon bases, e.g. hard paraffin, soft paraffin, micro-        castor oil, an alcohol having 12 to 20 carbon atoms and a
crystalline wax and ceresine; absorption bases, e.g. wool fat, 5 mixture of two or more of said components. The agent is
beeswax; water soluble bases, e.g. macrogols 200, 300, 400;         preferably used in amounts of 1 to 20 percent, more pref-
emulsifying bases, e.g. emulsifying wax, cetrimide; veg-            erably 1 to 10 percent by weight of the entire semisolid
etable oils, e.g. olive oil, coconut oil, sesame oil, almond oil    ophthalmic composition.
and peanut oil.                                                        Alcohols having 12 to 20 carbon atoms include particu-
   Ointments are formulated using hydrophobic, hydro- 10 larly stearyl alcohol (C18H37OH), cetyl alcohol
philic, or water-emulsifying bases to provide preparations          (C16H33OH) and mixtures thereof. Preferred are so-called
that are immiscible, miscible, or emulsifiable with skin            cetostearyl alcohols, mixtures of solid alcohols substantially
secretions. In some embodiments, they are also derived from         consisting of stearyl and cetyl alcohol and preferably com-
hydrocarbon (fatty), absorption, water-removable, or water-         prising not less than 40 percent by weight of stearyl alcohol
soluble bases. The active agents are dispersed in the base, 15 and a sum of stearyl alcohol and cetyl alcohol amounting to
and later they get divided after the drug penetration into the      at least 90 percent by weight, and compositions comprising
target sites (e.g. membranes, skins, etc.).                         not less than 80 percent by weight of cetylstearyl alcohol and
   The present disclosure recognizes that it is sometimes           an emulsifier, in particular sodium cetostearyl sulfate and/or
difficult to incorporate into the ointment a drug of low            sodium lauryl sulfate, preferably in amounts not less than 7
concentration with sufficient dose-to-dose uniformity for 20 percent by weight of emulsifier.
effectively treating a disorder or disease. In some embodi-            Polyethoxylated castor oils are reaction products of natu-
ments, poly(ethylene-glycols), polyethoxylated castor oils          ral or hydrogenated castor oils and ethylene glycol. In some
(Cremophor® EL), alcohols having 12 to 20 carbon atoms              instances, such products are obtained in known manner, e.g.
or a mixture of two or more of said components are effective        by reaction of a natural or hydrogenated castor oil or
excipients for dispersing and/or dissolving effective 25 fractions thereof with ethylene oxide, e.g. in a molar ratio of
amounts of ophthalmic drugs, in particular of ascomycins            from about 1:30 to about 1:60, with optional removal of free
and staurosporine derivatives, in an ointment base, in par-         polyethylene glycol components from the product, e.g. in
ticular in an ointment base substantially comprising oleagi-        accordance with the methods disclosed in German Auslege-
nous and hydrocarbon components, and that the resulting             schriften 1,182,388 and 1,518,819. Especially suitable and
ointments are excellently tolerated by the skin and by ocular 30 preferred is a product commercially available under the
tissue.                                                             trade name Cremophor® EL having a molecular weight (by
   The present disclosure further recognizes that ophthalmic        steam osmometry)—ca. 1630, a saponification no.—ca. 65-70,
drugs, such as a muscarinic antagonist (e.g. atropine or its        an acid no.—ca. 2, an iodine no.—ca. 28-32 and an nD 25—ca.
pharmaceutically acceptable salts), incorporated in the oint-       1.471. Also suitable for use in this category is, for instance,
ment compositions describes herein target the choroid and/ 35 Nikkol® HCO-60, a reaction product of hydrogenated cas-
or retina in a patient when the compositions are topically          tor oil and ethylene oxide exhibiting the following charac-
administered to the ocular surface, in particular to the sclera     teristics: acid no.—ca. 0.3; saponification no.—ca. 47.4;
of said patient. In some embodiments, an ophthalmic oint-           hydroxy value—ca. 42.5. pH (5%)—ca. 4.6; Color APHA=ca.
ment composition includes an ophthalmic drug, an ointment           40; m.p.=ca. 36.0° C.; Freezing point ca. 32.4° C.; H2O
base and an agent for dispersing and/or dissolving said drug 40 content (%, KF)—ca. 0.03.
in the ointment base, selected from a poly(ethylene-glycol),           Poly(ethylene-glycols) are used in some embodiments as
a polyethoxylated castor oil, an alcohol having 12 to 20            the agent for dispersing and/or dissolving the ophthalmic
carbon atoms and a mixture of two or more of said compo-            drug in the ointment base according to the present disclo-
nents.                                                              sure. Suitable poly(ethylene-glycol)s are typically mixtures
   In some embodiments, the ointment bases include oph- 45 of polymeric compounds of the general formula
thalmically acceptable oil and fat bases, such as natural wax       H (OCH2-CH2)nOH, wherein the index n typically range
e.g. white and yellow bees wax, carnauba wax, wool wax              from 4 to 230 and the mean molecular weight from about
(wool fat), purified lanolin, anhydrous lanolin; petroleum          200 to about 10000. Preferably n is a number from about 6
wax e.g. hard paraffin, microcrystalline wax; hydrocarbons          to about 22 and the mean molecular weight between about
e.g. liquid paraffin, white and yellow soft paraffin, white so   50 300 and about 1000, more preferably n ranges from about 6
petrolatum, yellow petrolatum; or combinations thereof.             to about 13 and the mean molecular weight from about 300
   The above mentioned oil and fat bases are described in           to about 600, most preferably n has a value of about 8.5 to
more detail, for instance, in the British Pharmacopoeia,            about 9 and the relative molecular weight is about 400.
Edition 2001, or the European Pharmacopoeia, 3rd Edition.           Suitable poly(ethylene-glycols) are readily available com-
   In some embodiments, the ointment base is present in 55 mercially, for example poly(ethylene-glycols) having a
amounts of about 50 to about 95, preferably of 70 to 90% by         mean molecular weight of about 200, 300, 400, 600, 1000,
weight based on the total weight of the composition.                1500, 2000, 3000, 4000, 6000, 8000 and 10000.
   A preferred ointment base comprises a combination of                The poly(ethylene-glycols), in particular the preferred
one or more of one or more natural waxes like those                 types described in the foregoing paragraph, are preferably
indicated above, preferably wool wax (wool fat), and one or 60 used in amounts of 1 to 10, more preferably 1 to 5 percent
more hydrocarbons like those indicated above, preferably a          by weight of the entire semisolid ophthalmic composition.
soft paraffin or a petrolatum, more preferably in combination          An especially preferred embodiment of the compositions
with liquid paraffin.                                               according to the instant disclosure comprises an agent for
   A special embodiment of the aforementioned ointment              dispersing and/or dissolving of the drug in the ointment base
base comprises e.g. 5 to 17 parts by weight of wool fat, and 65 which is selected from a poly(ethylene-glycol), a poly-
50 to 65 parts by weight of white petrolatum as well as 20          ethoxylated castor oil and preferably a mixture of said
to 30 parts by weight of liquid paraffin.                           components.


                                                       Appx000275
                                                       Appx000275                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 48
                                                                                                                   48 of
                                                                                                                      of 66
                                                                                                                         66
              Case: 23-2402               Document: 15              Page: 332            Filed: 02/01/2024


                                                  US 10,940,145 B2
                             65                                                                66
   Gel/Ointment Viscosity                                        some embodiments, a viscous ophthalmic composition
   In some embodiments, the composition has a Brookfield         described herein provides an apparent viscosity of from
RVDV viscosity of from about 10,000 to about 300,000 cps         about 150,000 cP to about 500,000 cP. In some embodi-
at about 20° C. and sheer rate of 1 s". In some embodi-          ments, a viscous ophthalmic composition described herein
ments, the composition has a Brookfield RVDV viscosity of 5 provides an apparent viscosity of from about 250,000 cP to
from about 15,000 to about 200,000 cps at about 20° C. and       about 500,000 cP. In some of such embodiments, a viscous
sheer rate of 1 s-1. In some embodiments, the composition        ophthalmic composition is a liquid at room temperature and
has a Brookfield RVDV viscosity of from about 50,000 to          gels at about between room temperature and body tempera-
about 150,000 cps at about 20° C. and sheer rate of 1 s i. In    ture (including an individual with a serious fever, e.g., up to
some embodiments, the composition has a Brookfield 10         io about 42° C.). In some embodiments, a viscous ophthalmic
RVDV viscosity of from about 70,000 to about 130,000 cps         composition is administered as monotherapy for treatment
at about 20° C. and sheer rate of 1 s-1. In some embodi-         of an ophthalmic disease or condition described herein.
ments, the composition has a Brookfield RVDV viscosity of           In some embodiments, the viscosity of the gel formula-
from about 90,000 to about 110,000 cps at about 20° C. and       tions presented herein is measured by any means described.
sheer rate of 1 s".                                           is For example, in some embodiments, an LVDV-II+CP Cone
   In some embodiments, the ophthalmic gel formulation           Plate Viscometer and a Cone Spindle CPE-40 is used to
contains a viscosity enhancing agent sufficient to provide a     calculate the viscosity of the gel formulation described
viscosity of between about 500 and 1,000,000 centipoise,         herein. In other embodiments, a Brookfield (spindle and
between about 750 and 1,000,000 centipoise; between about        cup) viscometer is used to calculate the viscosity of the gel
1000 and 1,000,000 centipoise; between about 1000 and 20 formulation described herein. In some embodiments, the
400,000 centipoise; between about 2000 and 100,000 cen-          viscosity ranges referred to herein are measured at room
tipoise; between about 3000 and 50,000 centipoise; between       temperature. In other embodiments, the viscosity ranges
about 4000 and 25,000 centipoise; between about 5000 and         referred to herein are measured at body temperature (e.g., at
20,000 centipoise; or between about 6000 and 15,000 cen-         the average body temperature of a healthy human).
tipoise. In some embodiments, the ophthalmic gel formula- 25        Gel/Ointment Dose-To-Dose Uniformity
tion contains a viscosity enhancing agent sufficient to pro-        Typical ophthalmic gels are packaged in eye drop bottles
vide a viscosity of between about 50,0000 and 1,000,000          and administered as drops. For example, a single adminis-
centipoise.                                                      tration (i.e. a single dose) of an ophthalmic gel includes a
   In some embodiments, the compositions described herein        single drop, two drops, three drops or more into the eyes of
are low viscosity compositions at body temperature. In some 30 the patient. Furthermore, typical ophthalmic ointments are
embodiments, low viscosity compositions contain from             packaged in tubes or other squeezable containers with a
about 1% to about 10% of a viscosity enhancing agent (e.g.,      dispensing nozzle through which strips of the ointment are
gelling components such as polyoxyethylene-polyoxypro-           delivered. For example, a single administration (i.e. a single
pylene copolymers). In some embodiments, low viscosity           dose) of an ophthalmic ointment includes a single strip, or
compositions contain from about 2% to about 10% of a 35 multiple strips into the eyes of the patient. In some embodi-
viscosity enhancing agent (e.g., gelling components such as      ments, one dose of the ophthalmic gel described herein is
polyoxyethylene-polyoxypropylene copolymers). In some            one drop of the gel composition from the eye drop bottle.
embodiments, low viscosity compositions contain from                In some embodiments, one dose of the ophthalmic oint-
about 5% to about 10% of a viscosity enhancing agent (e.g.,      ment is one strip of the ointment composition dispensed
gelling components such as polyoxyethylene-polyoxypro- 40 through the nozzle of a dispersing tube.
pylene copolymers). In some embodiments, low viscosity              In some cases, described herein include ophthalmic gel
compositions are substantially free of a viscosity enhancing     compositions which provide a dose-to-dose uniform con-
agent (e.g., gelling components such as polyoxyethylene-         centrations. In some instances, the dose-to-dose uniform
polyoxypropylene copolymers). In some embodiments, a             concentration does not present significant variations of drug
low viscosity ophthalmic agent composition described 45 content from one dose to another. In some instances, the
herein provides an apparent viscosity of from about 100 cP       dose-to-dose uniform concentration does provide consistent
to about 10,000 cP. In some embodiments, a low viscosity         drug content from one dose to another.
ophthalmic agent composition described herein provides an           In some cases, described herein include ophthalmic oint-
apparent viscosity of from about 500 cP to about 10,000 cP.      ment compositions which provide a dose-to-dose uniform
In some embodiments, a low viscosity ophthalmic agent so concentrations. In some instances, the dose-to-dose uniform
composition described herein provides an apparent viscosity      concentration does not present significant variations of drug
of from about 1000 cP to about 10,000 cP.                        content from one dose to another. In some instances, the
   In some embodiments, the compositions described herein        dose-to-dose uniform concentration does provide consistent
are viscous compositions at body temperature. In some            drug content from one dose to another.
embodiments, viscous compositions contain from about 55             In some embodiments, the composition has a dose-to-
10% to about 25% of a viscosity enhancing agent (e.g.,           dose ophthalmic agent concentration variation of less than
gelling components such as polyoxyethylene-polyoxypro-           50%. In some embodiments, the composition has a dose-to-
pylene copolymers). In some embodiments, the viscous             dose ophthalmic agent concentration variation of less than
compositions contain from about 14% to about 22% of a            40%. In some embodiments, the composition has a dose-to-
viscosity enhancing agent (e.g., gelling components such as 60 dose ophthalmic agent concentration variation of less than
polyoxyethylene-polyoxypropylene copolymers). In some            30%. In some embodiments, the composition has a dose-to-
embodiments, the viscous compositions contain from about         dose ophthalmic agent concentration variation of less than
15% to about 21% of a viscosity enhancing agent (e.g.,           20%. In some embodiments, the composition has a dose-to-
gelling components such as polyoxyethylene-polyoxypro-           dose ophthalmic agent concentration variation of less than
pylene copolymers). In some embodiments, a viscous oph- 65 10%. In some embodiments, the composition has a dose-to-
thalmic composition described herein provides an apparent        dose ophthalmic agent concentration variation of less than
viscosity of from about 100,000 cP to about 1,000,000 cP. In     5%.


                                                      Appx000276
                                                      Appx000276                     Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 49
                                                                                                                 49 of
                                                                                                                    of 66
                                                                                                                       66
              Case: 23-2402                Document: 15              Page: 333           Filed: 02/01/2024


                                                   US 10,940,145 B2
                             67                                                                 68
   In some embodiments, the dose-to-dose ophthalmic agent         the ophthalmic gel described herein is one drop of the gel
concentration variation is based on 10 consecutive doses. In      composition from the eye drop bottle. In some embodi-
some embodiments, the dose-to-dose ophthalmic agent con-          ments, one dose of the ophthalmic ointment is one strip of
centration variation is based on 8 consecutive doses. In some     the ointment composition dispensed through the nozzle of a
embodiments, the dose-to-dose ophthalmic agent concentra- 5 dispersing tube.
tion variation is based on 5 consecutive doses. In some              In some embodiments of the disclosed method, the oph-
embodiments, the dose-to-dose ophthalmic agent concentra-         thalmic composition is stored below room temperature prior
tion variation is based on 3 consecutive doses. In some           to first use. In some embodiments of the disclosed method,
embodiments, the dose-to-dose ophthalmic agent concentra-         the ophthalmic composition is stored at between about 2° C.
tion variation is based on 2 consecutive doses.                10 to about 10° C. prior to first use. In some embodiments of the
   A nonsettling formulation should not require shaking to        disclosed method, the ophthalmic composition is stored at
disperse drug uniformly. A "no-shake" formulation is poten-       about 2° C., about 3° C., about 4° C., about 5° C., about 6°
tially advantageous over formulations that require shaking        C., about 7° C., about 8° C., about 9° C., or about 10° C.
for the simple reason that patients' shaking behavior is a        prior to first use. In some embodiments of the disclosed
major source of variability in the amount of drug dosed. It 15 method, the ophthalmic composition is stored at between
has been reported that patients often times do not or forget      about 4° C. to about 8° C. prior to first use.
to shake their ophthalmic compositions that requires shaking         In some embodiments of the disclosed method, the oph-
before administering a dose, despite the instructions to shake    thalmic composition is stored at room temperature after first
that were clearly marked on the label. On the other hand,         use. In some embodiments of the disclosed method, the
even for those patients who do shake the product, it is 20 ophthalmic composition is stored at between about 16° C. to
normally not possible to determine whether the shaking is         about 26° C. after to first use. In some embodiments of the
adequate in intensity and/or duration to render the product       disclosed method, the ophthalmic composition is stored at
uniform. In some embodiments, the ophthalmic gel compo-           about 16° C., about 17° C., about 18° C., about 19° C., about
sitions and ophthalmic ointment compositions described            20° C., about 21° C., about 22° C., about 23° C., about 24°
herein are "no-shake" formulations that maintained the 25 C., about 25° C., or about 26° C. after to first use.
dose-to-dose uniformity described herein.                            In some embodiments, the ophthalmic aqueous formula-
   To evaluate the dose-to-dose uniformity, drop bottles or       tions are administered as follows: the lower lid of the eye to
tubes containing the ophthalmic aqueous compositions, the         be administered was pulled down and a predetermined
ophthalmic gel compositions, or ophthalmic ointment com-          amount of the aqueous formulation (e.g. 1-3 drops) is
positions are stored upright for a minimum of 12 hours prior 30 applied to the inside of the eyelid. The ophthalmic tip of the
to the start of the test. To simulate the recommended dosing      dispensing mechanism does not touch any surface to avoid
of these products, predetermined number of drops or strips        contamination and/or injury.
are dispensed from each commercial bottles or tubes at               In some embodiments, the ophthalmic gel formulations
predetermined time intervals for an extended period of time       are administered as follows: the lower lid of the eye to be
or until no product was left in the bottle or tube. All drops 35 administered was pulled down and a predetermined amount
and strips are dispensed into tared glass vials, capped, and      of gel (e.g. 1-3 drops) is applied to the inside of the eyelid.
stored at room temperature until analysis. Concentrations of      The ophthalmic tip of the dispensing mechanism does not
a muscarinic antagonist such as atropine in the expressed         touch any surface to avoid contamination and/or injury.
drops were determined using a reverse-phase HPLC method.             In some embodiments, the ophthalmic ointment formula-
   Methods of Treatment                                        40 tions are administered as follows: the lower lid of the eye to
   Disclosed herein are methods of arresting myopia devel-        be administered was pulled down and a small amount of
opment by administering to an eye of an individual in need        ointment (approximately 0.25 inches) was applied to the
thereof an effective amount of an ophthalmic composition as       inside of the eyelid. The ophthalmic tip of the dispensing
described above. Also disclosed herein are methods of             mechanism does not touch any surface to avoid contamina-
preventing myopia development by administering to an eye 45 tion and/or injury.
of an individual in need thereof an effective amount of an           In some embodiments, the ophthalmic composition is
ophthalmic composition as described above.                        administered at predetermined time intervals over an
   In some embodiments, the ophthalmic aqueous formula-           extended period of time. In some embodiments, the oph-
tions described herein are packaged in eye drop bottles and       thalmic composition is administered once every day. In
administered as drops. For example, a single administration so some embodiments, the ophthalmic composition is admin-
(i.e. a single dose) of an ophthalmic aqueous formulation         istered every other day. In some embodiments, the ophthal-
includes a single drop, two drops, three drops or more into       mic composition is administered over 1 week, 2 weeks, 1
the eyes of the patient. In some embodiments, the ophthal-        month, 2 months, 3 months, 6 moths, 1 year, 2 years, 3 years,
mic gel formulations described herein are packaged in eye         4 years, 5 years, 6 years, 7 years, 8 years, 9 years, 10 years,
drop bottles and administered as drops. For example, a 55 11 years, or 12-15 years.
single administration (i.e. a single dose) of an ophthalmic          In some embodiments, the ophthalmic composition is
gel includes a single drop, two drops, three drops or more        administered in doses having a dose-to-dose ophthalmic
into the eyes of the patient. In some embodiments, the            agent concentration variation of less than 50%, less than
ophthalmic ointment formulations described herein are             40%, less than 30%, less than 20%, less than 10%, or less
packaged in tubes or other squeezable containers with a 60 than 5%.
dispensing nozzle through which strips of the ointment are           The number of times a composition is administered to an
delivered. For example, a single administration (i.e. a single    individual in need thereof depends on the discretion of a
dose) of an ophthalmic ointment includes a single strip, or       medical professional, the disorder, the severity of the dis-
multiple strips into the eyes of the patient. In some embodi-     order, and the individual's response to the formulation. In
ments, one dose of the ophthalmic aqueous formulation 65 some embodiments, a composition disclosed herein is
described herein is one drop of the aqueous composition           administered once to an individual in need thereof with a
from the eye drop bottle. In some embodiments, one dose of        mild acute condition. In some embodiments, a composition


                                                       Appx000277
                                                       Appx000277                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 50 of 66
                                                                                                                 50 of 66
              Case: 23-2402                Document: 15              Page: 334            Filed: 02/01/2024


                                                   US 10,940,145 B2
                             69                                                                  70
disclosed herein is administered more than once to an             disease, dysfunction, or disorder in a mammal, such as a
individual in need thereof with a moderate or severe acute        human that has, is suspected of having, or at risk for
condition. In the case wherein the patient's condition does       developing myopia.
not improve, upon the doctor's discretion the administration         In some embodiments, kits include a carrier, package, or
of an ophthalmic agent is administered chronically, that is, 5 container that is compartmentalized to receive one or more
for an extended period of time, including throughout the          containers such as vials, tubes, and the like, each of the
duration of the patient's life in order to ameliorate or          container(s) including one of the separate elements to be
otherwise control or limit the symptoms of the patient's          used in a method described herein. Suitable containers
disease or condition.                                             include, for example, bottles, vials, syringes, and test tubes.
                                                               10
   In the case wherein the patient's condition does not           In other embodiments, the containers are formed from a
improve, upon the doctor's discretion the administration of       variety of materials such as glass or plastic.
the ophthalmic agent is administered chronically, that is, for       The articles of manufacture provided herein contain pack-
an extended period of time, including throughout the dura-        aging materials. Packaging materials for use in packaging
                                                                  pharmaceutical products are also presented herein. See, e.g.,
tion of the patient's life in order to ameliorate or otherwise 15 U.S. Pat. Nos. 5,323,907, 5,052,558 and 5,033,252.
control or limit the symptoms of the patient's disease or         Examples of pharmaceutical packaging materials include,
condition.                                                        but are not limited to, drop bottles, tubes, pumps, bags, vials,
   In the case wherein the patient's status does improve,         containers, syringes, bottles, and any packaging material
                                                                  suitable for a selected formulation and intended mode of
upon the doctor's discretion the administration of the oph-
                                                               20 administration and treatment. A wide array of ophthalmic
thalmic agent is given continuously; alternatively, the dose      compositions provided herein are contemplated as are a
of drug being administered is temporarily reduced or tem-         variety of treatments for any disease, disorder, or condition
porarily suspended for a certain length of time (i.e., a "drug    that benefits by controlled release administration of an
holiday"). The length of the drug holiday varies between 2        ophthalmic agent to the eye.
days and 1 year, including by way of example only, 2 days, 25        In some embodiments, a kit includes one or more addi-
                                                                  tional containers, each with one or more of various materials
3 days, 4 days, 5 days, 6 days, 7 days, 10 days, 12 days, 15
                                                                  (such as rinses, wipes, and/or devices) desirable from a
days, 20 days, 28 days, 35 days, 50 days, 70 days, 100 days,      commercial and user standpoint for use of a formulation
120 days, 150 days, 180 days, 200 days, 250 days, 280 days,       described herein. Such materials also include labels listing
300 days, 320 days, 350 days, and 365 days. The dose 30 contents and/or instructions for use and package inserts with
reduction during a drug holiday is from 10%-100%, includ-         instructions for use. A set of instructions is optionally
ing by way of example only 10%, 15%, 20%, 25%, 30%,               included. In a further embodiment, a label is on or associated
35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%,                 with the container. In yet a further embodiment, a label is on
                                                                  a container when letters, numbers or other characters form-
85%, 90%, 95%, and 100%.
                                                               35 ing the label are attached, molded or etched into the con-
   Once improvement of the patient's ophthalmic conditions        tainer itself; a label is associated with a container when it is
has occurred, a maintenance ophthalmic agent dose is              present within a receptacle or carrier that also holds the
administered if necessary. Subsequently, the dosage or the        container, e.g., as a package insert. In other embodiments a
frequency of administration, or both, is optionally reduced,      label is used to indicate that the contents are to be used for
as a function of the symptoms, to a level at which the 40 a specific therapeutic application. In yet another embodi-
improved disease, disorder or condition is retained. In           ment, a label also indicates directions for use of the contents,
                                                                  such as in the methods described herein.
certain embodiments, patients require intermittent treatment
                                                                     In certain embodiments, the ophthalmic compositions are
on a long-term basis upon any recurrence of symptoms.             presented in a dispenser device which contains one or more
   The amount of ophthalmic agent that will correspond to 45 unit dosage forms containing a compound provided herein.
such an amount will vary depending upon factors such as the       In a further embodiment, the dispenser device is accompa-
particular compound, disease condition and its severity,          nied by instructions for administration. In yet a further
according to the particular circumstances surrounding the         embodiment, the dispenser is also accompanied with a
case, including, e.g., the specific ophthalmic agent being        notice associated with the container in form prescribed by a
                                                               50 governmental agency regulating the manufacture, use, or
administered, the route of administration, the condition
                                                                  sale of pharmaceuticals, which notice is reflective of
being treated, the target area being treated, and the subject
                                                                  approval by the agency of the form of the drug for human or
or host being treated. The desired dose is presented in a         veterinary administration. In another embodiment, such
single dose or as divided doses administered simultaneously       notice, for example, is the labeling approved by the U.S.
(or over a short period of time) or at appropriate intervals. 55 Food and Drug Administration for prescription drugs, or the
   In some embodiments, the initial administration is a           approved product insert. In yet another embodiment, com-
particular ophthalmic agent and the subsequent administra-        positions containing a compound provided herein formu-
tion a different formulation or ophthalmic agent.                 lated in a compatible pharmaceutical carrier are also pre-
   Kits/Articles of Manufacture                                   pared, placed in an appropriate container, and labeled for
   The disclosure also provides kits for preventing or arrest- 60 treatment of an indicated condition.
ing myopia development. Such kits generally will comprise
                                                                                       EXAMPLES
one or more of the ophthalmic compositions disclosed
herein, and instructions for using the kit. The disclosure also           Example 1 Ophthalmic Formulations
contemplates the use of one or more of the ophthalmic 65
compositions, in the manufacture of medicaments for treat-        Exemplary compositions for preparation of ophthalmic
ing, abating, reducing, or ameliorating the symptoms of a       formulations are described in Tables 1-8.


                                                       Appx000278
                                                       Appx000278                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 51 of 66
                                                                                                                  51 of 66
                  Case: 23-2402                     Document: 15                   Page: 335                   Filed: 02/01/2024


                                                                US 10,940,145 B2
                                   71                                                                               72
                               TABLE 1                                                                    TABLE 4-continued
                 Aqueous Solution Formulation (Atropine)
                                                                                              Mucus Penetrating Particle Formulation (Atropine)
                                   Quantity
Ingredient                          (mg/g) Concentration (wt %)             5
                                                                                                                Quantity
Atropine                            0.01-0.5 0.001-0.05 (wt %)                   Ingredient                      (mg/g)     Concentration (wt %)
Buffer agent and/or pD                 —     q.s. for pD = 4.2-7.9
adjusting agent (e.g., borates
and/or DCI)
       DC1)                                                                      Mucus penetrating particles                q.s. to formulate atropine at
Preservative (e.g. benzalkonium              q.s. to prevent the growth     10                                              0.001-0.05 wt %
chloride, cetrimonium                        of or to destroy
sodium perborate, etc.)                      microorganism introduced            Deuterated Water                           q.s. to 100 wt %
                                             into the solution
Tonicity and/or Osmolarity                   q.s. to 0.5-2.0 wt %
adjustor (e.g. NaCI,
mannitol, etc)                                                              15                                  TABLE 5
Deuterated Water                              q.s. to 100 wt %
                                                                                         Mucus Penetrating Particle Formulation (Atropine Sulfate)

                                                                                                                Quantity
                               TABLE 2                                           Ingredient                      (mg/g) Concentration (wt %)
                                                                            20
             Aqueous Solution Formulation (Atropine Sulfate)                   Atropine sulfate                 0.01-0.5 0.001-0.05 (wt %)
                                                                               Buffer agent and/or pD                    q.s. for pD = 4.2-7.9
                               Quantity                                        adjusting agent (e.g.,
Ingredient                      (mg/g) Concentration (wt %)                    borates and/or DCI)
                                                                               Preservative (e.g.                           q.s. to prevent the growth of or
Atropine sulfate               0.01-0.5 0.001-0.05 (wt %)                   25 benzalkonium chloride,                       to destroy microorganism
Buffer agent and/or pD                  q.s. for pD = 4.2-7.9                  cetrimonium sodium                           introduced into the solution
adjusting agent (e.g.,                                                         perborate, etc.)
borates and/or DCI)                                                            Mucus penetrating particles                  q.s. to formulate atropine at
Preservative (e.g.                       q.s. to prevent the growth of or                                                   0.001-0.05 wt %
benzalkonium chloride,                   to destroy microorganism                Deuterated Water                           q.s. to 100 wt %
cetrimonium sodium                       introduced into the solution
                                                                            30
perborate, etc.)
Tonicity and/or Osmolarity               q.s. to 0.5-2.0 wt %
adjustor (e.g. NaCI,                                                                                            TABLE 6
mannitol, etc)
Deuterated Water                         q.s. to 100 wt %
                                                                                                Cellulose Gel Formulation (Atropine Sulfate)
                                                                            35
                                                                                                                Quantity
                                                                                 Ingredient                      (mg/g) Concentration (wt %)
                               TABLE 3
                                                                               Atropine Sulfate                 0.01-0.5 0.001-0.05 (wt %)
             Aqueous Solution Formulation (Atropine Sulfate)                   Viscosity enhancing agent          10-50 1-5 (wt %)
                                                                               (e.g. hydroxypropyl
                               Quantity                                     40 methylcellulose)
Ingredient                      (mg/g) Concentration (wt %)                    Buffer agent and/or pD                       q.s. for pD = 4.2-7.9
                                                                               adjusting agent (e.g.,
Atropine sulfate              0.05-0.15 0.005-0.015 (wt %)                     sodium acetate and/or DCI)
Buffer agent and/or pD                  q.s. for pD = 4.2-7.9                  Stabilizer (e.g. EDTA,                       q.s. for low degradation of
adjusting agent (e.g.,                                                         cyclodextrin, etc.)                          atropine sulfate (e.g. less than
borates and/or DC1)                                                         45                                              10%, 5% or 1% degradation)
Preservative (e.g.                       q.s. to prevent the growth of or      Osmolarity modifier                          q.s. 150-500 mOsm/L
benzalkonium chloride,                   to destroy microorganism              (e.g. NaCI)
cetrimonium sodium                       introduced into the solution          Deuterated Water                             q.s. to 100 wt %
perborate, etc.)
Tonicity and/or Osmolarity               q.s. to 0.5-2.0 wt %
adjustor (e.g. NaCI,                                                        50
mannitol, etc)                                                                                                  TABLE 7
Deuterated Water                         q.s. to 100 wt %
                                                                                              Thermosetting Gel Formulation (Atropine Sulfate)

                                                                                                                 Quantity
                               TABLE 4                                      55 Ingredient                         (mg/g)      Concentration (wt %)

             Mucus Penetrating Particle Formulation (Atropine)                 Atropine sulfate                  0.01-0.5     0.001-0.05 (wt %)
                                                                               Viscosity enhancing agent         100-250      10-25 (wt %)
                               Quantity                                        (e.g. poloxamer 407)
Ingredient                      (mg/g) Concentration (wt %)                    Buffer agent and/or pD                         q.s. for pH = 4.2-7.9
                                                                               adjusting agent (e.g.,
                                                                            60
Atropine                       0.01-0.5 0.001-0.05 (wt %)                      sodium acetate and/or DCI)
Buffer agent and/or pD            —     q.s. for pD = 4.2-7.9                  Stabilizer (e.g. EDTA,                         q.s. for low degradation of
adjusting agent (e.g.,                                                         cyclodextrin, etc.)                            atropine sulfate (e.g. less than
borates and/or DCI)                                                                                                           10%, 5% or 1% degradation)
Preservative (e.g.                       q.s. to prevent the growth of or      Osmolarity modifier                            q.s. 150-500 mOsm/L
benzalkonium chloride,                   to destroy microorganism              (e.g. NaCI)
cetrimonium sodium                       introduced into the solution       65 Deuterated Water                               q.s. to 100 wt %
perborate, etc.)




                                                                   Appx000279
                                                                   Appx000279                           Eyenovia Exhibit
                                                                                                        Eyenovia Exhibit 1001,
                                                                                                                         1001, Page
                                                                                                                               Page 52 of 66
                                                                                                                                    52 of 66
                 Case: 23-2402                     Document: 15                     Page: 336           Filed: 02/01/2024


                                                              US 10,940,145 B2
                                 73                                                                             74
                              TABLE 8                                                 Diluted 0.01% Solution
                                                                                      0.3 mL of the 1% solution was combined with a quantity
                Ointment Formulation (Atropine Sulfate)
                                                                                  sufficient to achieve 30 mL total of sterile 0.9% Sodium
                             Quantity (g)                                         Chloride For Injection USP. The solution was thoroughly
                             for 1000 mL Concentration in 1000 mL            5
Ingredient                     solution   aqueous solution
                                                                                  mixed. The pH of the solution was recorded. A 0.22 micron
                                                                                  filter was placed on the tip of the syringe and the solution
Atropine sulfate               0.01-0.5   0.001-0.05 (wt %)
Dispersing agent (e.g.           10-200   1-20 (wt %)
                                                                                  was aliquotted into separate sterile containers.
polyethyleneglycol, and/or
polyethoxylated castor oil                                                   10                  Example 4     Stability Analysis
and/or C12-C20 alcohol
Buffering agent pD                        q.s. for pD = 4.2-7.9
adjusting agent (e.g. DCI)                                                          Five 0.01% atropine sulfate solutions were prepared from
Stabilizer (e.g. EDTA,                    q.s. for low degradation of           the 1% atropine sulfate stock solution (preparation as
cyclodextrin, etc.)                       atrophic sulfate (e.g. less than
                                          10%, 5% or 1% degradation)            described in Example 2). The pH of the five solutions was
                                                                             15
Osmolarity modifier                       q.s. 150-500 mOsm/L                   5.87, 5.97, 5.90, 6.24, and 6.16 for solutions 1-5, respec-
(e.g. NaCI)
Ointment base (e.g. wool                  q.s. to 100 wt %                      tively. Each solution was thoroughly mixed. A 0.22 micron
wax and/or petrolatum                                                           filter was placed on the tip of the syringe and the solution
and/or liquid paraffin)
                                                                                was aliquotted into separate sterile containers according to
                                                                             20 Table 9.

      Example 2 Preparation of an Aqueous Solution                                                          TABLE 9
      Formulation Containing 0.01% Atropine in D2O
                                                                                                      Container Filling Outline
                                                                             25
   Stock 1% Solution                                                                                         Volume of 0.01%          Total
                                                                                                           Atropine Sulfate Drug    Containers
    Ina 100 mL solution, 1 gram of atropine, and 0.77 g of               Type of Container                 Product in Container       Filled
NaCl (and other ingredients/components preferably in their
                                                                         Sterile Eyedroppers         5-mL                12
dry state) are added along with a quantity sufficient to equal           Sterile Glass Vials         5-mL                12
                                                                  30
100 mL sterile deuterated water for injection. The solution
is mixed in an appropriately sized beaker with a stir bar on            The samples were then stored at different conditions for
a hot plate until all of the solid powders have dissolved and        stability analysis. The samples were analyzed at different
the solution has become clear with no visible particles. Next,       time points up to 2 months. The storage conditions include:
the stir bar is removed, and the solution is poured into a filter 35 40° C. with 75% relative humidity (RH) (samples were
bottle and vacuum filtered through a 0.22 micron pothy-              transferred from 2-8° C. condition after 3 days), 25° C. with
ethersulfone membrane filter into a sterile bottle. The filter       60% RH, and 60° C. The time points were 1 week, 2 weeks,
top is removed from the sterile stock bottle and the stock           1 month, and 2 months. At each of the time point, one plastic
bottle is capped for storage with a sterile bottle cap.              eyedropper (LDPE plastic) and one glass vial from each of
                                                                  40 the stored condition were removed and allowed to equili-
    Diluted 0.01% Solution                                           brate to ambient conditions. Once equilibrated, both the
    0.3 mL of the 1% solution was combined with a quantity           plastic eyedropper and the glass vials were inverted 3 times.
sufficient to achieve 30 mL total of sterile 0.9% Sodium             The solution in the eyedroppers was transferred to an HPLC
Chloride For Injection USP. The solution was thoroughly              vial in a drop wise fashion through the dropper. The solution
mixed. The pH of the solution was recorded. A 0.22 micron 45 in the glass vial was aliquotted into an HPLC vial using a
filter was placed on the tip of the syringe and the solution         glass Pasteur pipette. The samples were then tested for
                                                                     purity and potency using the UPLC method listed in Table
was aliquotted into separate sterile containers.
                                                                     10.

      Example 3 Preparation of an Aqueous Solution                           50                            TABLE 10
      Formulation Containing 0.01% Atropine Sulfate
                                                                                                     UPLC Method Parameters

   Stock 1% Solution                                                                 Parameter               Condition

   In a 100 mL solution, 1 gram of atropine sulfate, and 0.77 55                     Column           EMD, Hiber HR PurospherSTAR C-18,
                                                                                                      100 x 2.1 mm, 2
g of NaCl (and other ingredients/components preferably in              Mobile Phase/Diluent           87:13, 50 mM Potassium
their dry state) were added along with a quantity sufficient                                          Phosphate:Acetonitrile, pH 3.5
to equal 100 mL sterile water for injection. The solution was          Flow                           Isocratic
                                                                       Flow Rate                      0.5 mL/min
mixed in an appropriately sized beaker with a stir bar on a            Detection Wavelength           210 inn
                                                                                                           mn
                                                                                                           nm
                                                                60
hot plate until all of the solid powders had dissolved and the         Column Temperature             30 ± 3° C.
solution became clear with no visible particles. Next, the stir        Autosampler                    5 ± 3° C.
                                                                       Temperature
bar was removed, and the solution was poured into a filter             Run Time                       6.0 minutes
bottle and vacuum filtered through a 0.22 micron pothy-                Injection Volume               10 µL*
                                                                       Needle Wash Solution           90/10 Water:Acetonitrile
ethersulfone membrane filter into a sterile bottle. The filter 65
top was removed from the sterile stock bottle and the stock        *Modified from original method to maintain sensitivity at 100 µg/mL nominal.
bottle was capped for storage with a sterile bottle cap.


                                                                  Appx000280
                                                                  Appx000280                        Eyenovia Exhibit
                                                                                                    Eyenovia Exhibit 1001,
                                                                                                                     1001, Page
                                                                                                                           Page 53 of 66
                                                                                                                                53 of 66
                      Case: 23-2402                        Document: 15                               Page: 337                  Filed: 02/01/2024


                                                                       US 10,940,145 B2
                                        75                                                                                           76
  Table 11 lists the stability data for the 0.01% atropine
sulfate solutions.

                                                       TABLE 11
                                  Stability Data for 0.01% Atropine Sulfate Solutions

                              Storage                           t =0
                                                                t=                         t = 1 week
                                                                                           t=                      t= 2 week'

 Analyst Container Type Condition                     Purity    Potency      pH       Purity          Potency     Purity   Potency

    1      Eyedropper,    25° C./60% RH                99.5        99.8      5.9          ND           ND         99.1        99.9
           LDPE (Plastic) 40° C./75% RH                                                   ND           ND         96.2        97.3
                          60° C.                                                          80.8         83.3       86.2        88.6
           Glass Vial     25° C./60% RH                99.8      100.4       ND           ND           ND         92.2        93.1
                          40° C.175% RH                                                   ND           ND         73.6        74.1
                          60° C.                                                          43.1         43.9       28.3        28.4
    2      Eyedropper,    25° C./60% RH                99.7        99.9      6.0          ND           ND         99.1        99.6
           LDPE (Plastic) 40° C./75% RH                                                   ND           ND         96.6        97.2
                          60° C.                                                          89.4         92.2       92.2        94.0
           Glass Vial     25° C./60% RH                99.8      100.2       ND           ND           ND         92.6        92.9
                          40° C.175% RH                                                   ND           ND         74.7        75.1
                          60° C.                                                          54.2         55.2       37.3        37.4
    3      Eyedropper,    25° C./60% RH                99.3        96.3      5.9          ND           ND         98.7        96.1
           LDPE (Plastic) 40° C./75% RH                                                   ND           ND         96.7        93.1
                          60° C.                                                          88.8         89.0       88.0        86.8
           Glass Vial     25° C./60% RH                99.4        98.4      ND           ND           ND         94.1        91.2
                          40° C.175% RH                                                   ND           ND         72.2        74.6
                          60° C.                                                          48.6         51.1       34.1        34.9
    4      Eyedropper,    25° C./60% RH                99.8        99.6      6.2          ND           ND         99.1        98.8
           LDPE (Plastic) 40° C./75% RH                                                   ND           ND         96.3        97.0
                          60° C.                                                          90.5         93.0       89.3        90.6
           Glass Vial     25° C./60% RH                99.8        98.8      ND           ND           ND         90.7        90.0
                          40° C.175% RH                                                   ND           ND         71.0        68.7
                          60° C.                                                          52.4         52.1       29.7        28.6
    5      Eyedropper,    25° C./60% RH                99.6      100.5       6.2          ND           ND         99.3       100.4
           LDPE (Plastic) 40° C./75% RH                                                   ND           ND         95.9        96.7
                          60° C.                                                          91.2         94.6       91.4        93.6
           Glass Vial     25° C./60% RH                99.8      100.7       ND           ND           ND         90.5        91.3
                          40° C./75% RH                                                   ND           ND         71.3        71.9
                          60° C.                                                          46.3         47.4       29.5        29.6

                                            Storage                       t = 1 month                           t = 2 month3

               Analyst Container Type Condition                     Purity    Potency            pH      Purity    Potency     pH

                  1     Eyedropper,    25° C./60% RH                 ND            ND        ND          95.4       97.4       6.3
                        LDPE (Plastic) 40° C./75% RH                 95.1          95.6      5.2         ND         ND         ND
                                       60° C.                        88.3          91.5      4.2         ND         ND         ND
                        Glass Vial     25° C./60% RH                 80.7          80.5      7.8         73.0       74.5       7.3
                                       40° C./75% RH                 50.1          50.2      7.4         ND         ND         ND
                                       60° C.                        ND            ND        ND          ND         ND         ND
                  2     Eyedropper,    25° C./60% RH                 ND            ND        ND          97.0       99.1       6.1
                        LDPE (Plastic) 40° C./75% RH                 95.5          95.8      5.6         ND         ND         ND
                                       60° C.                        90.6          94.4      4.1         ND         ND         ND
                        Glass Vial     25° C./60% RH                 82.5          82.2      7.6         80.2       81.6       7.3
                                       40° C./75% RH                 59.1          59.0      7.2         ND         ND         ND
                                       60° C.                        ND            ND        ND          ND         ND         ND
                  3     Eyedropper,    25° C./60% RH                 ND            ND        ND          95.8       94.8       6.3
                        LDPE (Plastic) 40° C./75% RH                 94.8          91.8      5.5         ND         ND         ND
                                       60° C.                        88.6          87.7      4.1         ND         ND         ND
                        Glass Vial     25° C./60% RH                 85.0          81.9      7.5         79.3       78.3       7.3
                                       40° C./75% RH                 61.3          63.0      7.2         ND         ND         ND
                                       60° C.                        ND            ND        ND          ND         ND         ND
                  4     Eyedropper,    25° C./60% RH                 ND            ND        ND          96.4       97.6       6.3
                        LDPE (Plastic) 40° C./75% RH                 94.5          94.2      5.6         ND         ND         ND
                                       60° C.                        84.2          85.8      4.2         ND         ND         ND
                        Glass Vial     25° C./60% RH                 76.9          75.1      7.6         72.5       71.6       7.4
                                       40° C./75% RH                 57.0          56.7      7.2         ND         ND         ND
                                       60° C.                        ND            ND        ND          ND         ND         ND
                  5     Eyedropper,    25° C./60% RH                 ND            ND        ND          97.8      100.5       6.2
                        LDPE (Plastic) 40° C./75% RH                 96.8          97.6      5.5         ND         ND         ND
                                       60° C.                        90.3          92.8      4.2         ND         ND         ND
                        Glass Vial     25° C./60% RH                 79.3          79.7      7.8         72.8       74.6       7.3
                                       40° C./75% RH                 56.0          56.4      7.3         ND         ND         ND
                                       60° C.                        ND            ND        ND          ND         ND         ND

'The 25° C. and the 60° C. samples were pulled at 15 days, the 40° C. samples were pulled at 11 days.
2The 25° C. and the 60° C. samples were pulled at 28 days, the 40° C. samples were pulled at 24 days.
; The 25° C. and the 60° C. samples were pulled at 46 days.




                                                                             Appx000281
                                                                             Appx000281                                      Eyenovia Exhibit
                                                                                                                             Eyenovia Exhibit 1001,
                                                                                                                                              1001, Page
                                                                                                                                                    Page 54 of 66
                                                                                                                                                         54 of 66
               Case: 23-2402                 Document: 15               Page: 338            Filed: 02/01/2024


                                                      US 10,940,145 B2
                                 77                                                                 78
   A change in the pH of the 0.01% Atropine Sulfate                   using the vehicle. Additionally a sample was diluted to the
solutions was observed over the course of the stability study.        nominal concentration with method diluent. Both samples
The plastic (LDPE) eyedroppers maintained pH around 6.2               diluted to the nominal concentration were analyzed using the
when stored at 25° C. for 2 months. However at the same               RP-UPLC method (Table 10). The results are listed in Table
time point, the pH of the 0.01% atropine has increased to 7.2 5 13.
when stored in glass vials. Additionally, when stored at
elevated temperatures (e.g. 40° C. and 60° C.), the pH in the                                      TABLE 13
plastic (LDPE) eyedroppers dropped to approximately 4-5,
                                                                            pH and Purity of the Bausch + Lomb Atropine Sulfate Sample
while the pH maintained around 7.2 when stored in the glass
vials.                                                             10                                                        Purity
   Where was also a significant difference in the rate of                    Sample                           pH            (% area)
degradation for Atropine Sulfate (0.01%) when stored in
                                                                             1% Atropine Sulfate             4.89              ND
plastic (LDPE) eyedroppers versus Type I glass vials. How-                   0.01% Atropine Sulfate,         6.16            99.6%
ever, in both containers there was an increase of an early                   diluted with Vehicle
eluting related substance at relative retention time (RRT) 15                0.01% Atropine Sulfate,          ND             99.6%
=0.87-0.89. In some cases, this early eluting related sub-                   diluted with Diluent
                                                                             Vehicle                         7.94              ND
stance is referred to as primary degradant. In some instances,
the primary degradant is referred to as RRT 0.87-0.89. This           ND = not determined
related substance is likely to be the first parameter to fail
specification regardless of the container. The amount of this 20
related substance was tracked at each time point and is listed                    Example 6 Dose Uniformity (10-Dose)
in Table 12.
                                                                         To evaluate the dose-to-dose uniformity, drop bottles
                             TABLE 12                                 containing the ophthalmic aqueous composition are stored
                                                                      upright for a predetermined period of time (e.g. 12 hours)
                                                                   25
             Area (%) of the Main Degradation Species for             prior to the start of the test. To simulate the recommended
               0.01% Atropine Sulfate (RRT 0.87-0.89)                 dosing of the product, 10 drops of the aqueous composition
                                                                      are dispensed from each bottle at predetermined time inter-
            Temperature             t= 1     t= 2      t= 1  t= 2
                                                                      vals (e.g. consecutively, every 1 minute, every 10 minutes,
  Analyst       ° C.       t= 0     week     week     month months
                                                                      every hour or every 24 hours). All drops are dispensed into
     1           25         0.08     NA       0.92      NA   3.98  30 tared glass vials, capped, and stored at room temperature
                 40         NA       NA       3.74     4.78   NA      until analysis. Concentrations of atropine in the expressed
                 60         NA     17.78     13.49   11.51    NA      drops are determined using a reverse-phase HPLC method.
    2          25         0.07     NA      0.88    NA     2.46
               40         NA       NA      3.26    4.37   NA
               60         NA       9.38    7.67    9.13   NA                    Example 7     Dose Uniformity (5-Dose)
    3          25         0.07     NA      1.05    NA     2.88   35
               40         NA       NA      2.98    4.85   NA           To evaluate the dose-to-dose uniformity, drop bottles
               60         NA       9.59   11.57   10.55   NA        containing the ophthalmic aqueous composition are stored
    4          25         0.08     NA      0.92    NA     3.09
                                                                    upright for a predetermined period of time (e.g. 12 hours)
               40         NA       NA      3.43    5.32   NA
               60         NA       8.30   10.46   15.49   NA
                                                                    prior to the start of the test. To simulate the recommended
    5          25         0.08     NA      0.64    NA     1.66      dosing of the product, 5 drops of the aqueous composition
                                                                 40
               40         NA       NA      3.96    3.07   NA        are dispensed from each bottle at predetermined time inter-
               60         NA       7.61    8.35    9.7    NA        vals (e.g. consecutively, every 1 minute, every 10 minutes,
    Average 25° C.        0.08     NA      0.88    NA     2.81      every hour or every 24 hours). All drops are dispensed into
    Average 40° C.        NA       NA      3.47    4.48   NA
    Average 60° C.        NA      10.53   10.31   11.28   NA
                                                                    tared glass vials, capped, and stored at room temperature
                                                                    until analysis. Concentrations of atropine in the expressed
                                                                 45 drops are determined using a reverse-phase HPLC method.
   Arrhenius based shelf life predictions were calculated
using the related substance data from Table 12. These                     Example 8 Dose Uniformity (2-Dose)
predictions are based on an assumption that the degradation
is first order (linear). These predictions are illustrated in     To evaluate the dose-to-dose uniformity, drop bottles
FIGS. 1 and 2. FIG. 1 shows the shelf life prediction of so containing the ophthalmic aqueous composition are stored
0.01% atropine sulfate solution with a primary degradant       upright for a predetermined period of time (e.g. 12 hours)
RRT 0.87-0.89, and a n.m.t. of 0.5% area, based on data        prior to the start of the test. To simulate the recommended
obtained from samples stored at 25° C. and 40° C. The pH       dosing of the product, 2 drops of the aqueous composition
range of the atropine sulfate solution is from 5.9-6.2. FIG. 2 are dispensed from each bottle at predetermined time inter-
shows the shelf life prediction of 0.01% atropine sulfate 55 vals (e.g. consecutively, every 1 minute, every 10 minutes,
solution with a primary degradant RRT 0.87-0.89, and a         every hour or every 24 hours). All drops are dispensed into
n.m.t. of 0.5% area, based on data obtained from samples       tared glass vials, capped, and stored at room temperature
stored at 25° C. and 60° C. The pH range of the atropine       until analysis. Concentrations of atropine in the expressed
sulfate solution is from 5.9-6.2.                              drops are determined using a reverse-phase HPLC method.
                                                                 60
    Example 5        1% Atropine Sulfate (Bausch+Lomb)                      Example 9     Formulation Stability Comparison
                        Sample Analysis
                                                             Atropine sulfate monohydrate (MP Bio; Lot Number
  The 1% atropine sulfate sample was obtained from        7825K) and tropic acid (Sigma Aldrich; Lot Number
Bausch+Lomb (Lot 198421). For comparison the pH of the    STBD6457V) were used for this experiment. Eight formu-
1% Atropine Sulfate drug product was determined in the 65 lations illustrated in Table 14A were analyzed at t=0, 2
neat solution as well as a sample that was diluted to the weeks, and 4 weeks. A RP-HPLC method was used to carry
current nominal concentration (0.01% Atropine Sulfate)    out the analysis.


                                                          Appx000282
                                                          Appx000282                     Eyenovia Exhibit
                                                                                         Eyenovia Exhibit 1001,
                                                                                                          1001, Page
                                                                                                                Page 55 of 66
                                                                                                                     55 of 66
               Case: 23-2402                      Document: 15                      Page: 339                    Filed: 02/01/2024


                                                               US 10,940,145 B2
                                 79                                                                                       80
                                        TABLE 14A
                               Atropine sulfate formulations

              Atropine      Benzalkonium
               Sulfate        Chloride        Sodium      Acetic   Citric
 Formulation Monohydrate       (BAK)          Chloride    Acid     Acid     pH/pD Aqueous

                0.010            0.01           0.90       0.01              4.2     SWFI
     2          0.025            0.01           0.90       0.01              4.2     SWFI
     3          0.010            0.01           0.90       0.01              4.8     SWFI
     4          0.025            0.01           0.90       0.01              4.8     SWFI
     5          0.010            0.01           0.90                0.04     5.8     SWFI
     6          0.025            0.01           0.90                0.04     5.8     SWFI
     7          0.010            0.01           0.90       0.01              5.2     D2O
                                                                            (pD)
     8          0.010            0.01           0.90                0.04     6.2     D2O
                                                                            (pD)




   The values are % w/v. The formulations were prepared at                                                   TABLE 15-continued
100 mL scale in volumetric glassware. The pD of Formu-
lation 7 and Formulation 8 are 5.2 and 6.2, respectively. In 20                                          Atropine sulfate purity as Area-%

some instances, the pD is calculated as pD=0.4+pH*, in          Solvent                             Condition           t= 0        t= 2 weeks         t= 4 weeks"
which pH* is the measured or observed pH of the solution
                                                                Formulation 8                       25/60               98.93          98.95               98.51
formulated in a solution containing deuterated water.
                                                                                 pD 6.2             40/75                              98.53               97.44
   Table 14B illustrates analysis time points for the formu- 25                                     60°C.                              95.97               92.72
lations listed in Table 14A.                                                      'Some chromatographic interference were observed to occur late in the run (-27-32
                                                                                  minutes) for many of the t = 4 week stability samples and in some instances is proposed
                                                                                 to be system related.
                           TABLE 14B
                                                                          After four weeks of storage at 60° C., in some instances
           Schedule for atropine sulfate formulation testing           the atropine sulfate concentration have an impact on the
                                                                            30
                                                                       stability for the formulations containing acetic acid at pH
       Storage                               Time Point
                                                                       4.2. For example, atropine sulfate concentration at 0.025%
                                                                       w/v (Formulation 2) showed a 2.8% increase in % purity at
       Condition                 Initial
       (Horizontal)             (t = 0)        2 Week    4 Week
                                                                       pH 4.2 compared to the atropine sulfate concentration at
                                                                    35 0.010% w/v (Formulation 1). This trend was not observed
       25° C./60% RH               x              x         x          for the acetic acid formulations at pH 4.8 (Formulations 3
       40° C./75% RH                                                   and 4); rather a 0.6% decrease in % purity was observed for
        60° C.                                    x        x           the higher doses.
                                                                          The dose dependent stability trend that was observed at
                                                                    40 pH=4.2 was also seen in the formulations containing citric
   Table 15 illustrates the atropine sulfate purity data asso-         acid at pH 5.8 (Formulations 5 and 6). After four weeks of
ciated with each of the eight formulations. Purity is indicated        storage at 60° C. there is approximately 14% less degrada-
as percentage of area under the curve.                                 tion in the higher does than observed in the lower dose.
                                                                          At both the high and the low doses, more degradation is
                             TABLE 15                               45 observed   in the formulations that start at a higher pH. This
                                                                       degradation is predominantly the growth of tropic acid. In
                    Atropine sulfate purity as Area-%                  some instances, buffer species plays a role in the observed
                                                                       degradation between the different pH values.
Solvent          Condition        t= 0      t= 2 weeks  t= 4 weeks'
                                                                          The percentage of tropic acid observed for each of the
Formulation 1 25/60              97.39         97.76       98.20    50 formulations at t=4 weeks and at 60° C. are as follow:
pH 4.2          40/75                          97.25       97.04          Formulation 1 Tropic acid observed is 0.54%.
                 60° C.                        94.98       93.87
Formulation 2 25/60              98.85         99.03       99.08
                                                                          Formulation 2 Tropic acid observed is 0.93%.
pH 4.2          40/75                          98.50       98.32          Formulation 3 Tropic acid observed is 1.58%.
                 60° C.                        97.47       96.65          Formulation 4 Tropic acid observed is 3.03%.
Formulation 3 25/60              98.16         98.16       98.45    55    Formulation 5 Tropic acid observed is 29.13%.
pH 4.8          40/75                          97.98       97.35
                 60° C.                        95.94       94.65
                                                                          Formulation 6 Tropic acid observed is 16.84%.
Formulation 4 25/60              98.81         98.75       98.46          Formulation 7 Tropic acid observed is 1.07%.
pH 4.8          40/75                          98.26       98.01          Formulation 8 Tropic acid observed is 4.03%.
                 60° C.                        96.22       94.04          In some embodiments, switching the water source to
Formulation 5 25/60              98.16         97.92       97.54
                                                                    60 deuterated water (D2O) has an impact on stabilizing the
pH 5.8          40/75                          95.88       93.51
                 60° C.                        80.94       66.83       growth of the tropic acid peak for the formulation containing
Formulation 6 25/60              99.08         98.91       98.46       acetic acid at pD 5.2 (Formulation 7), see FIG. 4. In addition,
pH 5.8          40/75                          97.65       96.20       in the formulation containing citric acid at pD 6.2 (Formu-
                 60° C.                        89.15       80.68
Formulation 7 25/60              98.93         99.07       98.39
                                                                       lation 8), the deuterated water also stabilizes atropine sul-
pD 5.2          40/75                          98.51       97.55    65 fate, see FIG. 5.
                 60° C.                        96.70       94.01          Table 16 illustrates tropic acid as area under the curve for
                                                                       each of the eight formulations. Tropic acid is a degradant of


                                                                   Appx000283
                                                                   Appx000283                              Eyenovia Exhibit
                                                                                                           Eyenovia Exhibit 1001,
                                                                                                                            1001, Page
                                                                                                                                  Page 56 of 66
                                                                                                                                       56 of 66
                Case: 23-2402                    Document: 15              Page: 340                Filed: 02/01/2024


                                                        US 10,940,145 B2
                                 81                                                                        82
atropine sulfate. In some instances, LOQ was previously                    Table 18 illustrates pH or pD stability of the eight
found to be 0.05% for the RP-HPLC method.                                formulations.

                            TABLE 16                                                                  TABLE 18
                                                                    5
                         Tropic acid as area-%                                                        pH/pD Stability

Solvent         Condition       t= 0      t= 2 weeks   t= 4 weeks        Solvent          Condition       t= 0     t= 2 weeks   t= 4 weeks

Formulation 1   25/60           <LOQ          0.08       <LOQ            Formulation 1     25/60          4.21          3.93       4.02
pH 4.2          40/75                         0.10        0.10           (pH)              40/75                        3.86       3.96
                60° C.                        0.37        0.51      10
                                                                                           60° C.                       3.71       3.86
Formulation 2   25/60           <LOQ          0.05       <LOQ            Formulation 2     25/60          4.26          4.11       4.25
pH 4.2          40/75                         0.11        0.12           (pH)              40/75                        4.04       4.17
                60° C.                        0.46        0.93                             60° C.                       3.93       4.10
Formulation 3   25/60           <LOQ          0.12        0.05           Formulation 3     25/60          4.85          4.44       4.61
pH 4.8          40/75                         0.19        0.27           (pH)              40/75                        4.41       4.54
                60° C.                        0.90        1.58      15                     60° C.                       4.32       4.40
Formulation 4   25/60           <LOQ          0.10        0.13           Formulation 4     25/60          4.98          4.93       5.05
pH 4.8          40/75                         0.31        0.53           (pH)              40/75                        4.89       4.98
                60° C.                        1.84        3.03                             60° C.                       4.77       4.77
Formulation 5   25/60           <LOQ          0.40        0.71           Formulation 5     25/60          5.87          5.93       6.03
pH 5.8          40/75                         2.22        4.35           (pH)              40/75                        5.96       5.96
                60° C.                       16.62       29.13      20                     60° C.                       5.82       5.78
Formulation 6   25/60           <LOQ          0.24        0.42           Formulation 6     25/60          5.80          5.69       5.77
pH 5.8          40/75                         1.30        2.44           (pH)              40/75                        5.65       5.67
                60° C.                        9.32       16.84                             60° C.                       5.54       5.50
Formulation 7   25/60           <LOQ          0.07        0.08           Formulation 7     25/60          5.31          5.10       5.24
pD 5.2          40/75                         0.14        0.24           (pD)              40/75                        108        5.15
                60° C.                        0.71        1.07      25                     60° C.                       5.00       4.93
Formulation 8   25/60           <LOQ          0.11        0.14           Formulation 8     25/60          6.25          5.72       5.88
pD 6.2          40/75                         0.33        0.65           (pD)              40/75                        5.74       5.78
                60° C.                        2.32        4.03                             60° C.                       5.58       5.50


   Table 17 illustrates percentage of potency of atropine in      The italicized values are pD values for a deuterated
                                                             30
the eight formulations.                                         sample. In some embodiments, the pD of the deuterated
                                                                       samples are pD=pH„,,,g+0.4 (Glasoe, et al. "Use of glass
                            TABLE 17                                   electrodes to measure acidities in deuterium oxide" J. Physi-
                              % Potency                                cal Chem. 64(1): 188-190 (1960)).
                                                                    35    At the two lower temperatures, the pH values at t=4 week
Solvent         Condition       t= 0      t= 2 weeks   t=
                                                       t 4 weeks       are slightly elevated from the t=2 week time point. These
Formulation 1   25/60          109.4        110.3        112.8         data were generated using a new glass pH probe. In some
pH 4.2          40/75                       111.0        112.4         instances, the observed differences are due to the probe
                60° C.                      112.8        114.8         differences or additional variables such as for example, the
Formulation 2   25/60          102.9        107.1        109.7
                                                                    40 age of the standard buffers or temperature gradients within
pH 4.2          40/75                       108.4        109.6
                60° C.                      109.4        111.0         the laboratory environment. The downward pH trend for
Formulation 3   25/60          106.3        108.0        109.6         each formulation with increasing temperatures at t=4 week
pH 4.8          40/75                       108.1        110.0         is consistent with previous data and is consistent with the
                60° C.                      108.0        109.9
Formulation 4   25/60          102.5        107.9        109.2         increase in the amount of tropic acid present in the stability
pH 4.8          40/75                       107.4        108.9      45 sample.
                60° C.                      107.9        108.8
Formulation 5   25/60          105.0        105.9        107.1                     Example 10   Determination of Shelf Life and
pH 5.8          40/75                       103.8        103.5
                60° C.                       90.2         77.7
                                                                                                Activation Energy
Formulation 6   25/60          107.2        107.1        109.1
pH 5.8          40/75                       106.8        107.1       Activation energy was calculated for the eight formula-
                                                                    50
                60° C.                       99.0         93.7    tions disclosed in Example 9 and comparison with a refer-
Formulation 7   25/60       107.3           111.3        112.9
                                                                  ence standard was made with Formulations 4-7.
pD 5.2          40/75                       111.6        113.5
                60° C.                      111.8        113.5       Table 19 illustrates the activation energy (Ea) calculation.
Formulation 8   25/60        99.0           103.0        105.0    The Ea minimum is 17.8 Kcal/mol, the Ea maximum is 21.3
pD 6.2          40/75                       104.9        104.7 55 Kcal/mol, and the Ea mean is 19.5 Kcal/mol. Mean is
                60° C.                      101.6        103.0
                                                                  +/-3*stdev. FIGS. 6 and 7 illustrate the poor correlation
                                                                  between RS and tropic acid with Formulation 4 and For-
   After 4 weeks of storage, the observed potency values          mulation 7, respectively. FIGS. 8 and 9 illustrate improved
were elevated from the t=0 and 2 week time points, with the       correlation between RS and tropic acid with Formulation 5
exception of Formulations 5 and 6 at 60° C. where the 60 and Formulation 6, respectively. At a lower pH (e.g. pH 4.8
potencies dropped due to degradation. In some instances,          or lower), there was a poor correlation observed (Formula-
these potency values are within the error of the HPLC             tion 4 and Formulation 7). This was due to a slowed
method, but appear to be trending upward. Mass balance            hydrolysis and increased alternative degradation pathways.
was calculated for the 60° C. data and results were consistent    At a higher pH (e.g., pH 5.8 or higher), an improved or better
across the formulations and levels of degradation, although 65 correlation was observed (Formulation 5 and Formulation
skewed lower due to the higher than anticipated potency           6). This was due to the hydrolysis of atropine as the primary
values at 4 weeks, see FIG. 3.                                    degradant. It is noted that the activation energy is for the


                                                            Appx000284
                                                            Appx000284                       Eyenovia Exhibit
                                                                                             Eyenovia Exhibit 1001,
                                                                                                              1001, Page
                                                                                                                    Page 57 of 66
                                                                                                                         57 of 66
                 Case: 23-2402                      Document: 15                      Page: 341                       Filed: 02/01/2024


                                                                  US 10,940,145 B2
                                     83                                                                                         84
specific acid catalyzed degradation to tropic acid the pre-                                                             TABLE 21B
dominant degradation product and degradation mechanism
operating at pH 5.8 or higher.                                                                                    Rate @30° C.                            Estimated Shelf
                                                                                                               (Tropic acid %/wk)                       life (&,30° C. (mo)

                               TABLE 19                                          5                           Ea        Ea             Ea          Ea           Ea        Ea
                                                                                      Formulation            min      mean            max         min         mean       max
    Activation energy for total related substance (RS) and tropic acid.
                                                                                             5            0.42          0.39          0.35         2.95        3.24      3.54
                                                                                             6            0.24          0.22          0.20         5.28        5.78      6.33
                      Total           Tropic                                                 8            0.06          0.06          0.05        19.75       21.64     23.70
                       RS              Acid                                      10

           1          Poor             Poor                                           At pD 6.2, the deuterated formulation (Formulation 8) has
                      Corr             Corr                                         a predicted shelf life of close to 2 years at 30° C.
           2          12.2             Poor                                           Table 22 illustrate the predicted shelf life at temperatures
                                       Corr                                         of 40° C., 30° C., 25° C., and 2-8° C. for Formulations 4-8
           3          Poor             18.3                                      15 for total RS and tropic acid, respectively.
                      Corr
           4          16.8             18.1
           5          19.8             19.7                                                                              TABLE 22
           6          19.2             20.0
                                                                                      Stability Prediction
           7          13.2             15.5
                                                                                 20
           B          Poor             18.9                                                         Temper-                                  Temper-
                      Corr                                                            Formu-         ature                 RS                 ature             Tropic Acid
       Mean           16.2             18.4             Kcal/mole
       Stdev           3.4              1.6                                            lation         (° C.)       weeks        months          (° C.)        weeks    months
       RSD            21%              9%
                                                                                         4             40           16.5           4.1            40            7.7       1.9
                                                                                 25                    30           40.2          10.1            30           20.0       5.0
                                                                                                       25           64.2          16.0            25           33.0       8.3
  Table 20 illustrates the rate of RS or tropic acid formation                                         2-8         493.4         123.4            2-8         296.8      74.2
per week at 40° C.                                                                       5             40            2.8           0.7            40            0.9       0.2
                                                                                                       30            7.9           2.0            30            2.7       0.7
                                                                                                       25           13.7           3.4            25            4.6       1.2
                               TABLE 20                                          30                    2-8         151.1          37.8            2-8          50.5      12.6
                                                                                         6             40            5.8           1.4            40            1.7       0.4
                                                     Rate                                              30           15.9           4.0            30            4.8       1.2
                                                   40° C.         Rate 40° C.                          25           27.3           6.8            25            8.4       2.1
                                                  (total RS         (Tropic                            2-8         281.6          70.4            2-8          95.9      24.0
                Formulation                         %/wk)         acid %/wk)             7             40           11.5           2.9            40           16.9       4.2
                                                                                 35                    30           23.2           5.8            30           38.4       9.6
Formulation 5   0.01% Atr Citrate pH 5.8            1.16            1.09                               25           33.4           8.4            25           59.1      14.8
Formulation 6   0.025% Atr Citrate pH 5.8           0.72            0.61                               2-8         165.7          41.4            2-8         388.2      97.1
Formulation 8   0.01% Atr Citrate pD 6.2 D2O                        0.163                8             40                                         40            6.2       1.6
                                                                                                       30                                         30           17.0       4.3
                                                                                                       25                                         25           28.9       7.2
   Table 21 illustrates the activation energy and predicted 40                                         2-8                                        2-8         287.1      71.8

shelf life at 30° C. calculated based on Table 20. It is
assumed for the calculation that tropic acid and total RS is
                                                                                             Example 11            Additional Formulation Stability
5% (self-life).                                                                                                      Comparison

                              TABLE 21A                                          45    Atropine sulfate monohydrate (MP Bio; Lot Number
                                                                                    7825K) and tropic acid (Sigma Aldrich; Lot Number
                        Rate @30° C.                 Estimated Shelf
                       (Total RS %/wk)             life (&,30°
                                                        @30° C. (mo)                STBD6457V) were used for this experiment. Thirteen for-
                                                                                    mulations illustrated in Table 23A were analyzed. Formu-
                   Ea          Ea      Ea        Ea          Ea        Ea           lations 1-8 had been analyzed at t=0, 2 weeks, 4 weeks, and
  Formulation      min        mean     max       min        mean       max       50 8 weeks. Formulations 9-13 had been analyzed at t=0, 2

       5           0.45       0.41     0.38      2.78       3.04       3.33
                                                                                    weeks, and 4 weeks. The pH values reported herein are the
       6           0.28       0.26     0.23      4.47       4.90       5.37         measured pH values obtained using the Thermo Scientific,
       8                                                                            Orion Dual Star pH/ISE benchtop pH meter and the Orion
                                                                                    Double Junction Micro pH probe S/N 501-18520 calibrated
                                                                                    with H2O based standards.

                                                                                                      TABLE 23A
                                                                                                Atropine sulfate Formulations

                                                                      Atropine         Benzalkonium
                                                                       Sulfate           Chloride            Sodium        Acetic        Citric
                                                         Formulation Monohydrate          (BAK)              Chloride      Acid          Acid      pH/pD Aqueous

                                                              1               0.010          0.01              0.90            0.01                     4.2   SWFI
                                                              2               0.025          0.01              0.90            0.01                     4.2   SWFI
                                                              3               0.010          0.01              0.90            0.01                     4.8   SWFI
                                                              4               0.025          0.01              0.90            0.01                     4.8   SWFI
                                                              5               0.010          0.01              0.90                      0.04           5.8   SWFI




                                                                      Appx000285
                                                                      Appx000285                               Eyenovia Exhibit
                                                                                                               Eyenovia Exhibit 1001,
                                                                                                                                1001, Page
                                                                                                                                      Page 58 of 66
                                                                                                                                           58 of 66
                  Case: 23-2402                         Document: 15                     Page: 342                Filed: 02/01/2024


                                                                  US 10,940,145 B2
                                      85                                                                                   86
                                       TABLE 23A-continued
                                       Atropine sulfate Formulations

              Atropine         Benzalkonium
               Sulfate           Chloride           Sodium      Acetic   Citric
 Formulation Monohydrate          (BAK)             Chloride    Acid     Acid     pH/pD Aqueous

      6            0.025              0.01            0.90                 0.04    5.8    SWFI
      7            0.010              0.01            0.90       0.01              5.2    D2O
                                                                                  (pD)
      8            0.010              0.01            0.90                 0.04    6.2    D2O
                                                                                  (pD)
      9            0.010                              0.90                 0.04    6.8    D2O
                                                                                  (pD)
     10            0.010                              0.90                 0.04    6.4    H2O (control)
     11            0.010                              0.90                 0.08    6A     H2O (control)
     12            0.010                              0.90                 0.04    7.2    D2O
                                                                                  (pD)
     13            0.010                              0.90                 0.04    6.8    H2O (control)




   The values are % w/v. The formulations were prepared at 20                              TABLE 24B
100 mL scale in volumetric glassware and filled into LDPE
eye droppers. In some instances, the pD is calculated as               Atropine
                                                                       Atrop ne Sulfate Purity
                                                                                        Pu ty as Area-% for D2O Formulations
pD=0.4+pH*, in which pH* is the measured or observed pH
of the solution formulated in a solution containing deuter-    Solvent             Condition      t=
                                                                                                  t= 0   t=
                                                                                                         t = 2 weeks   t=
                                                                                                                       t = 4 weeks
ated water.                                                 25
                                                                                       Formulation 7           25/60       98.93     99.07           98.39
   Table 23B illustrates analysis time points for the formu-
                                                                                       IA D2O pD 5.2           40/75                 98.51           97.55
lations listed in Table 23A.
                                                                                                               60° C.                96.70           94.01
                                                                                       Formulation 8           25/60       98.93     98.95           98.51
                              TABLE 23B                                           30   IC D2O pD 6.2           40/75                 98.53           97.44
                                                                                                               60° C.                95.97           92.72
              Schedule for atropine sulfate formulation testing
                                                                                       Formulation 9           25/60       99.29     98.42           98.07
      Storage                                     Time Point                           IC D2O pD 6.8           40/75                 95.20           93.22
                                                                                                               60° C.                75.17           65.97
      Condition                      Initial                                      35 Formulation 12            25/60       98.53     97.17           95.99
      (Horizontal)                  (t = 0)        2 Week         4 Week               IC D2O pD 7.2           40/75                 90.75           84.64
                                                                                                               60° C.                56.78           46.05
      25° C./60% RH                   X
      40° C./75% RH
      60° C.
                                                                  Table 25A and Table 25B illustrate tropic acid formation
                                                                                  40
                                                               associated with the atropine sulfate formulations. Tropic
   Table 24A and Table 24B illustrate atropine sulfate purity  acid is a degradant of atropine sulfate, and is indicated as
data associated with the atropine sulfate formulations. Purity percentage of area under the curve. LOQ was found to be
is indicated as percentage of area under the curve. The T &    0.05% for the RP-HPLC method. The T & 1, indicate the
indicate the high or low concentration of atropine sulfate 45 high or low concentration of atropine sulfate monohydrate
monohydrate (0.01% and 0.025%). The A & C indicate the         (0.01% and 0.025%). The A & C indicate the buffer species
buffer species used, acetic acid and citric acid respectively. used, acetic acid and citric acid, respectively.

                              TABLE 24A                                                                             TABLE 25A
                                                                                  50
          Atropine Sulfate Purity as Area-% for H2O Formulations                                       Tropic Acid as Area-% for H2O Formulations

Solvent                 Condition          t= 0    t= 2 weeks     t= 4 weeks           Solvent                 Condition     t= 0    t= 2 weeks     t= 4 weeks

Formulation 3              25/60          98.16       98.16         98.45            Formulation 3               25/60      <LOQ         0.12          0.05
IA H2O pH 4.8              40/75                      97.98         97.35         55 IA H2O pH 4.8               40/75                   0.19          0.27
                           60° C.                     95.94         94.65                                        60° C.                  0.90          1.58
Formulation 5              25/60          98.16       97.92         97.54              Formulation 5             25/60      <LOQ         0.40          0.71
IC H2O pH 5.8              40/75                      95.88         93.51              IC H2O pH 5.8             40/75                   2.22          4.35
                           60° C.                     80.94         66.83                                        60° C.                 16.62         29.13
Formulation 10             25/60          98.66       96.67         95.81              Formulation 10            25/60       0.74        1.90          3.21
IC H2O pH 6.4              40/75                      91.07         85.27              IC H2O pH 6.4             40/75                   7.61         13.49
                                                                                  60
                           60° C.                     59.77         42.87                                        60° C.                 37.44         54.06
Formulation 11             25/60          99.47       97.87         96.69              Formulation 11            25/60       0.09        1.31          2.64
 C(2x) H2O pH 6.4          40/75                      90.97         84.26               C (2x) H2O pH 6.4        40/75                   7.61         14.68
                           60° C.                     54.96         34.40                                        60° C.                 42.43         62.23
Formulation 13             25/60          97.21       95.42         93.24              Formulation 13            25/60       2.21        3.66          6.11
IC H2O pH 6.8              40/75                      83.05         73.00              IC H2O pH 6.8             40/75                  15.47         25.80
                           60° C.                     43.99         27.50         65                             60° C.                 53.24         69.34




                                                                         Appx000286
                                                                         Appx000286                           Eyenovia Exhibit
                                                                                                              Eyenovia Exhibit 1001,
                                                                                                                               1001, Page
                                                                                                                                     Page 59 of 66
                                                                                                                                          59 of 66
                   Case: 23-2402                       Document: 15                    Page: 343                   Filed: 02/01/2024


                                                                  US 10,940,145 B2
                                     87                                                                                     88
                                 TABLE 25B                                                                          TABLE 27A
                                                                                                        Stability of pH for H2O Formulations
                Tropic Acid as Area-% for D2O Formulations
                                                                                     Solvent                    Condition       t= 0     t= 2 weeks    t= 4 weeks
Solvent                Condition     t= 0        t= 2 weeks      t= 4 weeks     5
                                                                                     Formulation 3               25/60          4.85        4.44            4.61
                                                                                     IA H2O pH 4.8               40/75                      4.41            4.54
Formulation 7            25/60       <LOQ            0.07            0.08
                                                                                                                 60° C.                     4.32            4.40
IA D2O pD 5.2            40/75                      0.14            0.24             Formulation 5               25/60          5.87        5.93            6.03
                        60° C.                       0.71           1.07             IC H2O pH 5.8               40/75                      5.96            5.96
Formulation 8            25/60       <LOQ           0.11            0.14        10                               60° C.                     5.82            5.78
                                                                                     Formulation 10              25/60          6.43        6.41            6.46
IC D2O pD 6.2            40/75                      0.33            0.65
                                                                                     IC H2O pH 6.4               40/75                      6.62            6.67
                        60° C.                      2.32             4.03                                        60° C.                     6.01            5.92
Formulation 9            25/60       0.06           0.55            1.06             Formulation 11              25/60          6.44        6.47            6.72
IC D2O pD 6.8            40/75                      3.16             6.29            1C (2x) H2O pH 6.4          40/75                      6.66            6.61
                                                                                                                 60° C.                     6.27            6.23
                        60° C.                     21.09           29.25        15
                                                                                     Formulation 13              25/60          6.77        6.91            6.91
Formulation 12           25/60       0.42           1.35            2.62             IC H2O pH 6.8               40/75                      6.65            6.62
IC D2O pD 7.2            40/75                       7.27          13.53                                         60° C.                     6.30            6.19
                        60° C.                     38.58           48.15

                                                                                20
                                                                                                                     TABLE 27B
   Table 26A and Table 26B illustrate the percentage of
potency of atropine in the formulations. The T & 1, indicate                                            Stability of pD for D,O Formulations
the high or low concentration of atropine sulfate monohy-
                                                                solvent                                       Condition      t= 0      t = 2 weeks    t = 4 weeks
drate (0.01% and 0.025%). The A & C indicate the buffer
species used, acetic acid and citric acid respectively.      25 Formulation 7                                  25/60         5.31         5.10             5.24
                                                                                     IA D2O pD 5.2             40/75                      5.08             5.15
                                                                                                               60° C.                     5.00             4.93
                              TABLE 26A                                              Formulation 8             25/60         6.25         5.72             5.88
                                                                                     IC D2O pD 6.2             40/75                      5.74             5.78
                 Percentage of potency for H2O Formulations                                                    60° C.                     5.58             5.50
                                                                                30 Formulation 9               25/60         6.76         6.80             6.81
Solvent                  Condition     t =0        t = 2 weeks    t = 4 weeks
                                                                                   IC D2O pD 6.8               40/75                      6.78             6.86
                                                                                                               60° C.                     6.45             6.24
Formulation 3              25/60       106.3          108.0         109.6
                                                                                     Formulation 12            25/60          7.25        7.18             7.26
IA H2O pH 4.8              40/75                      108.1         110.0
                                                                                     1C D2O pD 7.2             40/75                      7.14             7.15
                           60° C.                     108.0         109.9
                                                                                                               60° C.                     6.52             6.36
Formulation 5              25/60       105.0          105.9         107.1
IC H2O pH 5.8              40/75                      103.8         103.5       35
                           60° C.                      90.2          77.7
Formulation 10             25/60       101.7          100.0          98.0
IC H2O pH 6.4              40/75                       89.4          87.0
                           60° C.                      63.7          45.7
                                                                                               Example 12. Determination of Shelf Life and
Formulation 11             25/60          97.5         96.1          94.3                        Activation Energy for Atropine Sulfate
,IC(2x) H2O pH 6.4         40/75                       89.4          82.0       40                    Formulations of Example 11
                           60° C.                      55.7          35.20
Formulation 13             25/60          99.4         96.9          94.1
IC H2O pH 6.8              40/75                       85.0          74.0             Activation energy was calculated for the atropine sulfate
                           60° C.                      46.4          29.8          formulations disclosed in Example 11. Specifically, activa-
                                                                                   tion energies were calculated from the total % of related
                                                                                45
                                                                                   substances (RS) at 40° C. and 60° C. (2 point calculations)
                                 TABLE 26B                                         and from tropic acid formation at 40° C. and 60° C. (2 point
                                                                                   calculations). These values were then averaged. Table 28
                 Percentage of potency for D,O Formulations                        illustrates the activation energy calculation. Table 29 illus-
                                                                                   trates estimated shelf-lifes from the 40° C. rate of formation
Solvent                Condition     t =0        t = 2 weeks     t = 4 weeks    50 of % RS and tropic acid, respectively. FIG. 10 illustrates

Formulation 7           25/60        107.3         111.3           112.9           estimated shelf lifes for D2O and H2O formulations.
IA D2O pD 5.2           40/75                      111.6           113.5
                        60° C.                     111.8           113.5                                                TABLE 28
Formulation 8           25/60         99.0         103.0           105.0
IC D2O pD 6.2           40/75                      104.9           104.7        55                                  Activation Energy
                        60° C.                     101.6           103.0
Formulation 9           25/60        101.4          99.9           100.1                         Atropine
IC D2O pD 6.8           40/75                       97.4            93.2                       Formulations             Total RS             Tropic Acid
                        60° C.                      78.7            68.9
Formulation 12          25/60        104.9         103.5           101.6                            7                     14                   19
IC D2O pD 7.2           40/75                       96.9            89.1                            3                     16                   17
                        60° C.                      62.5            50.9        60
                                                                                                    8                     20                   21
                                                                                                    5                     14                 Poor Corr
                                                                                                    6                     15                   16
   Table 27A and Table 27B illustrate the stability of pH or                                      Mean                    16.3                 18.7
                                                                                                  Stdev                    2.68                  1.90
pD for the atropine sulfate formulations. The T & indicate                                        RSD                     16%                   10%
the high or low concentration of atropine sulfate monohy- 65                                    Poor Corr:                   One or more curve had R2 <0.95
drate (0.01% and 0.025%). The A & C indicate the buffer
species used, acetic acid and citric acid respectively.


                                                                      Appx000287
                                                                      Appx000287                              Eyenovia Exhibit
                                                                                                              Eyenovia Exhibit 1001,
                                                                                                                               1001, Page
                                                                                                                                     Page 60 of 66
                                                                                                                                          60 of 66
                  Case: 23-2402                              Document: 15                    Page: 344                   Filed: 02/01/2024


                                                                       US 10,940,145 B2
                                   89                                                                                               90
                             TABLE 29                                                                                TABLE 30-continued
                          Estimated Shelf Life                                               Stability Prediction

                                               Estimated Shelf life/mo                                   Temper-                                Temper-
                                                                                    5       Fonnu-
                                                                                            Formu-        ature
                                                                                                          attire                RS               ature
                                                                                                                                                 attire         Tropic Acid
                                        Total related
                                       substances %             Tropic acid %                lation       (° C.)       weeks       months        (° C.)       weeks    months
                                        (limit=
                                        (limit = 8%)             (limit=
                                                                 (limit = 5%)
                                                                                                6          40           10.7           2.7        40            8.8       2.2
Formulation                       8° C.          25° C.       8° C.      25° C.                            30           25.5           6.4        30           23.7       5.9
                                                                                    10                     25           40.1          10.0        25           39.8      10.0
0.01% w/v Atr                     189             26          1427       147                               2-8         290.5          72.6        2-8         386.5      96.6
0.01% w/v Acetate                                                                              7           40           27.9           7.0        40          129.6      32.4
0.9% w/v NaCI                                                                                              30           66.4          16.6        30          349.6      87.4
0.01% w/v BAK                                                                                              25          104.5          26.1        25          588.7     147.2
pD 5.2 D2O (Formulation 7)                                                                                 2-8         757.3         189.3        2-8        5709.4    1427.4
0.01% w/v Atr                     211             29          1095       113        15         8           40           23.3           5.8        40           33.6       8.4
                                                                                    15
0.01% w/v Acetate                                                                                          30           55.3          13.8        30           90.6      22.6
0.9% w/v NaCI                                                                                              25           87.2          21.8        25          152.5      38.1
0.01% w/v BAK                                                                                              2-8         631.6         157.9        2-8        1479.2     369.8
pH4.8 H2O (Formulation 3)
0.01% w/v Atr                     158             22          369.8       38
0.04% w/v Citrate                                                                                     Example 13 Forced Degradation Study of
0.9% w/v NaCI
           NaCl                                                                     20
                                                                                    20                 Atropine Formulation 8 in D2O and H2O
0.01% w/v BAK                                                                                                       Conditions
pD 6.2 D2O (Formulation 8)
0.01% w/v Atr                      37              5.2          54         5.5           Atropine sulfate monohydrate (MP Bio; Lot Number
0.04% w/v Citrate
0.9% w/v NaCI
                                                                                       7825K) was used for this experiment. A correction factor of
0.01% w/v BAK                                                                       25
                                                                                       83.3% is used to quantitate amount of free Atropine. Table
pH5.8 H2O (Formulation 5)                                                              31 shows the D2O and H2O formulation compositions.
0.01% Air
       Atr                         13.6            2.6
0.9% w/v NaCI                                                                                                                 TABLE 31
pH5.9 H2O
extemporaneous                                                                                                       Formulation 8 Compositions
preparation                                                                         30
                                                                                                                [Free Atropine]
   Table 30 illustrates the predicted shelf life at temperatures                          Formulation               (µg/mL)     Composition
of 40° C., 30° C., 25° C., and 2-8° C. for Formulations 2-8
                                                                                          8 - D2O                     83.3           0.01% (w/v) Benzalkonium Chloride,
for total RS and tropic acid, respectively.
                                                                                                                                     0.9% (w/v) NaCI, 0.208 mM
                                                                                    35                                               Citric Acid in D2O, pD 6.2
                             TABLE 30                                                     8 - H2O                     83.3           0.01% (w/v) Benzalkonium Chloride,
                                                                                                                                     0.9% (w/v) NaCI, 0.208 mM
  Stability Prediction                                                                                                               Citric Acid in H2O, pH 5.8

              Temper-                             Temper-
                                                                                          D2O-based Formulation 8 and H2O-based Formulation 8
  Formu-       ature
               attire             RS               ature
                                                   attire         Tropic Acid
                                                                                    40 were subjected to acid, base, light, heat and oxidative stress.
   lation      (° C.)    weeks     months           (° C.)      weeks    months        Approximately 5-20% degradation was targeted for all stress
                                                                                       conditions to produce sufficient degradation while avoiding
     2          40         64.5         16.1           40                              secondary degradation. At each condition, Formulation 8
                30        153.2         38.3           30                              samples were incubated alongside a vehicle control contain-
                25        241.2         60.3           25                              ing BAK. For the light condition, a foil wrapped Formula-
                2-8      1747.9        437.0           2-8                          45 tion 8 control and foil wrapped vehicle control were pre-
     3          40         31.1          7.8           40        99.5      24.9        pared to understand if extraneous degradation, such as heat
                30         73.9         18.5           30       268.3      67.1
                25        116.3         29.1           25       451.8     113.0
                                                                                       in the light box, were to occur. A RP-HPLC method was
                2-8       842.9        210.7           2-8     4382.0    1095.5
                                                                                       used to carry out the analysis. Mass balance (the correlation
     4          40         30.7          7.7           40        42.1      10.5        of potency and purity by area-%) was also evaluated using
                30         73.0         18.2           30       113.7      28.4     50
                                                                                       Equation I.
                25        114.9         28.7           25       191.5      47.9
                2-8       832.6        208.1           2-8     1857.0     464.2                                           (Potericyfrudd + (100 - Purityfrutid))
                                                                                                       Mass Balance —
     5          40          5.5          1.4           40         4.9       1.2                                              (Potencyjr7,, , + (100 - Purityfr,„,i))
                30         13.1          3.3           30        13.2       3.3
                25         20.6          5.2           25        22.2       5.5             The forced degradation results were processed at 210 nm,
                2-8       149.3         37.3           2-8      215.0      53.8           and are presented in Tables 32A and 32B for H2O and D2O
                                                                                          formulations, respectively.

                                                                                                          TABLE 32A
                                                                                         Forced Degradation Results for Formulation 8-H-,O

                                                                                                                                                            Main
                                                                                                      Recovery       Purity      Peak          Peak         Peak
                                                                                                        (vs.          (vs.       Purity       Purity      Spectrally  Mass
                                                                Stress Condition         Duration     Control)      Control)     Angle       Threshold      Pure?    Balance

                                                             Control     2-8° C.,          3 day        100.9        100.0       0.412         0.657
                                                                         foil
                                                                         wrapped




                                                                         Appx000288
                                                                         Appx000288                                 Eyenovia Exhibit
                                                                                                                    Eyenovia Exhibit 1001,
                                                                                                                                     1001, Page
                                                                                                                                           Page 61 of 66
                                                                                                                                                61 of 66
                  Case: 23-2402                    Document: 15                  Page: 345            Filed: 02/01/2024


                                                            US 10,940,145 B2
                                     91                                                                   92
                                     TABLE 32A-continued
                         Forced Degradation Results for Formulation 8-H2O

                                                                                 Main
                                      Recovery  Purity    Peak       Peak        Peak
                                        (vs.     (vs.     Purity    Purity     Spectrally  Mass
   Stress Condition      Duration     Control) Control)   Angle    Threshold     Pure?    Balance

Acid        Ambient,      23 day           -7.9    -5.9   0.301     0.513         Y      101.8%
(1.0N       foil
HCl)        wrapped
Base        Ambient,       4 hr           —5.2     —6.6   0.417     0.725         Y        98.7%
(0.001N     foil           6 hr           -7.3     -7.9   0.462     0.741         Y        99.5%
NaOH)       wrapped
Heat        60° C.,        7 day          -12.1   -11.9   0.428     0.478         Y      100.3%
            foil          10 day          -18.4   -18.4   0.476     0.752         Y      100.0%
            wrapped
Light       Ambient,         1.1          -10.1    -7.6   0.478     0.831         Y      102.5%
            clear          million
            glass vial   lux hours
                          (10 day)
                             1.5          -19.1   -12.2   0.597     0.911         Y      107.1%
                           million
                         lux hours
                          (14 day)
Light       Ambient,         1.1           -0.4    -0.5   0.411     0.665         Y        99.9%
Control     foil           million
            wrapped      lux hours
                          (10 day)
                             1.5          -3.0     -0.3   0.388     0.592         Y      102.8%
                           million
                         lux horns
                          (14 day)
Oxidation   Ambient,        3 day      -16.0       -7.9   0.532     0.791         Y      108.8%
(3%         foil            4 day      -28.0      -13.9   0.473     0.777         Y      115.7%
H2O2)       wrapped         7 day      -29.4      -13.5   0.705     0.967         Y      118.9%




                                             TABLE 32B
                         Forced Degradation Results for Formulation 8-D,O

                                                                                 Main
                                      Recovery  Purity    Peak       Peak        Peak
                                        (vs.     (vs.     Purity    Purity     Spectrally  Mass
   Stress Condition      Duration     Control) Control)   Angle    Threshold     Pure?    Balance

Control     2-8° C.,       4 day          106.7    98.3   0.361     0.659
            foil
            wrapped
Acid        Ambient,      17 day          -6.9     -5.5   0.250     0.469         Y        97.9%
(1.0N       foil
HCl)        wrapped
Base        Ambient,       5 day           -2.3    -2.2   0.495     0.849         Y      100.0%
(0.001N     foil
NaOH)       wrapped
Base        Ambient,      30 min           -9.7    -9.6   0.601     0.894         Y      100.2%
(0.005N     foil
NaOH)       wrapped
Heat        60° C.,       17 day          -18.1   -16.9   0.281     0.550         Y      101.1%
            foil
            wrapped
Light       Ambient,        0.44          -14.1    -4.5   0.463     0.733         Y      109.6%
            clear         million
            glass vial   lux hours
                          (4 day)
                           0.87           -24.2   -11.3   0.528     0.846         Y       113.8%
                          million
                         lux hours
                          (8 day)
Light       Ambient,        0.44          -0.2      1.7   0.354     0.640         Y      101.8%
Control     foil          million
(foil       wrapped      lux horns
covered)                  (4 day)
                            0.87            0.0     1.4   0.330     0.599         Y      101.3%
                          million
                         lux hours
                          (8 day)




                                                                   Appx000289
                                                                   Appx000289                       Eyenovia Exhibit
                                                                                                    Eyenovia Exhibit 1001,
                                                                                                                     1001, Page
                                                                                                                           Page 62 of 66
                                                                                                                                62 of 66
                     Case: 23-2402                             Document: 15                          Page: 346                  Filed: 02/01/2024


                                                                           US 10,940,145 B2
                                           93                                                                                       94
                                           TABLE 32B-continued
                              Forced Degradation Results for Formulation 8-D,O

                                                                                                    Main
                                             Recovery  Purity           Peak         Peak           Peak
                                               (vs.     (vs.            Purity      Purity        Spectrally  Mass
     Stress Condition          Duration      Control) Control)          Angle      Threshold        Pure?    Balance

Oxidation     Ambient,             4 day        -10.6         -3.0      0.439         0.720             Y       107.5%
(3%           foil                 8 day        -17.9         -8.3      0.385         0.672             Y       109.9%
H2O2)         wrapped




      Example 14            Formulation 8 Stability Comparison   42.8% of tropic acid was observed in the H2O formulation
                                                                 while only 6.01% of tropic acid was observed in the D2O
   The long-term stability of atropine sulfate formulation 8 15 formulation by week 8.
in D2O (see Table 31 for formulation composition) was
analyzed at three different storage conditions. Table 33                 Example 15 Effect of pH on Ophthalmic
illustrates the stability criteria: appearance, potency, tropic                 Acceptance in Guinea Pigs
acid level, total purity, and pD at storage conditions of 25° 20
C. with 60% humidity, 40° C. with 75% humidity, and 60°            A cohort of guinea pigs is administered 50 µL of oph-
C. As discussed above, pD=pH„,d,,g+0.4 (Glasoe, et al.           thalmic formulations having different pH values described
"Use of glass electrodes to measure acidities in deuterium       herein. For example, ophthalmic formulations comprising
oxide" J. Physical Chem. 64(1): 188-190 (1960)).                 H2O or deuterated water (e.g., D2O) are administered to the

                                                     TABLE 33
                                               Formulation 8 Stability

Parameter                Initial     2 weeks        4 weeks      8 weeks      6 months      9 months2       12 months'

                                        Storage Condition: 25° C./60% RH

Appearance                                  Clear Colorless Solution Free of Particulates
Potency (Assay)         99.2%        103.0%     105.0%      96.0%      99.7%        97.7%                    101.7%
Tropic Acid              0.05%         0.11%      0.14%      0.23%      0.55%        0.91%                     1.24%
Level
Total Purity'           98.9%         98.9%      98.5%     98.1%     99.2%                     98.4%          97.8%
pD                      6.3 (pH      5.7 (pH    5.9 (pH    5.7 (pH 5.8 (pH                    5.7 (pH        5.8 (pH
                          5.9)         5.3)       5.5)       5.3)     5.4)                      5.3)           5.4)
                                       Storage Condition: 40° C./75% RH

Appearance                                  Clear Colorless Solution Free of Particulates
Potency (Assay)         99.2%        104.8%     104.7%      94.9%      96.6%        94.2%                     95.6%
Tropic Acid              0.05%         0.34%      0.65%      1.24%      3.32%        5.05%                     6.71%
Level
Total Purity'           98.9%         98.5%       97.5%     96.6%     96.3%                    92.5%          90.5%
pD                      6.3 (pH      5.7 (pH     5.8 (pH    5.6 (pH 5.7 (pH                   5.5 (pH        5.7 (pH
                          5.9)         5.3)        5.4)       5.2)     5.3)                     5.1)           5.3)
                                            Storage Condition: 60° C.

Appearance                                  Clear Colorless Solution Free of Particulates
Potency (Assay)4        99.2%        101.6%     103.0%      92.9%     100.6%       104.0%                    115.9%
Tropic Acid              0.05%         2.33%      4.02%      6.01%     10.33%       10.87%                    12.97%
Level
Total Purity'           98.9%        96.0%          92.8%        88.8%         85.5%           78.0%          72.4%
pD                      6.3 (pH      5.6 (pH        5.5 (pH      5.2 (pH      5.1 (pH         4.9 (pH        5.0 (pH
                          5.9)         5.2)           5.1)         4.8)         4.7)            4.5)           4.6)

'Slight variability is observed in the total purity results due to sensitivity differences from one HPLC system to the next
2Results reported are from a second aliquot taken from the original assay eyedropper.
;Results reported are from an aliquot taken from the original assay eyedropper.
4A growing unknown related substance peak is observed to co-elute with the main peak and is included in the Atropine
Sulfate potency result due to a lack of a clear inflection point between the two species upon integration.


   A comparison of Formula 8 in H2O and D2O under three        animals Animal behavior is recorded at predetermined time
storage conditions is further illustrated in FIG. 11. FIG. 11A intervals to evaluate the acceptance of the ophthalmic for-
shows the presence of tropic acid degradant at 25° C. with 60 mulations
60% humidity. By week 8, about 1.45% of tropic acid was
observed in the H2O formulation while only 0.23% of tropic           Example 16 In Vivo Rabbit Eye Irritation Test
acid was observed in the D2O formulation. Similarly, at 40°
C. with 75% humidity storage condition (FIG. 11B), 8.34%          The exemplary compositions disclosed herein are sub-
of tropic acid was observed in the H2O formulation while 65 jected to rabbit eye irritation test to evalaute their safety
only 1.24% of tropic acid was observed in the D2O formu-       profile. The test composition are tested for eye irritation test
lation by week 8. At 60° C. storage condition (FIG. 11C),      in New Zealand Rabbits (see for example Abraham M H, et


                                                                                 Appx000290
                                                                                 Appx000290                                   Eyenovia Exhibit
                                                                                                                              Eyenovia Exhibit 1001,
                                                                                                                                               1001, Page
                                                                                                                                                     Page 63 of 66
                                                                                                                                                          63 of 66
               Case: 23-2402               Document: 15               Page: 347            Filed: 02/01/2024


                                                    US 10,940,145 B2
                             95                                                                  96
al., Draize rabbit eye test compatibility with eye irritation      surement of the lens thickness and 1,540 m/s for measure-
thresholds in humans: a quantitative structure-activity rela-      ment of the vitreous length as described previously. Each of
tionship analysis. Toxicol Sci. 2003 December; 76(2):384-          the axial components is calculated as the mean of 10
91. Epub 2003 Sep. 26; see also Gettings S D et al., A             repeated measurements.
comparison of low volume, Draize and in vitro eye irritation 5
test data. III. Surfactant-based formulations. Food Chem                   Example 18 Safety and Efficacy Studies of
Toxicol. 1998 March; 36(3):209-31). The study involves                           Ophthalmic Aqueous Formulation
single ocular administration into the right eye and the same
volume of its placebo in the left eye of each of the three            A clinical trial is performed to investigate the efficacy and
rabbits. Rabbits are examined immediately and after instil- 10 safety of ophthalmic aqueous formulations described herein
lation of the compositions for 4, 24, 48 and 72 hours post         in patents with myopia. In some instances, the study is
instillation to note the signs/symptoms of eye irritation, if      open-label, single blind, or double blind study. Patient
any. The test compositions show no sign of irritancy in            selection criteria include myopic refraction of at least 1.0D
cornea, iris and conjunctivae of the rabbit eyes.                  in both eyes, and additional factors such as astigmatism, a
                                                                15 documented myopic progression, age, sex, and/or health
        Example 17 In Vivo Testing of Ophthalmic                   conditions.
            Aqueous Formulation in Guinea Pigs                        The patients are randomized to receive 0.05%, 0.01%, or
                                                                   0.001 atropine aqueous formulation formulated in either
   Focus deprivation myopia (FDM) is achieved using a              H2O or deuterated water (e.g., D2O) once nightly in both
latex shield to cover one eye. For defocus-induced myopia, 20 eyes. Allocation ratio in some instances is defined based the
a latex-made facemask was held in place by a rubber-band           patient population.
around the head of animals, leaving both eyes, the nose,              The patients are evaluated on day 0 (baseline), day 14, day
mouth and ears freely exposed. A —4.00 D lens is glued onto        30, and then at 2, 3, 4, 5, 6, 8, 10, 12, 18, 20, 24, and 36
a plastic lens frame. The lens frame is then attached to the       months. At each visit, best-coorected distance log Mar visual
facemask around one eye by a fabric hook-and-loop fastener 25 acuity (BCVA) is assessed by an optometrist, orthoptist, or
after the optical center of the lens was aligned with the pupil    ophthamologist using the Early Treatment Diabetic Ret-
center. The lens is detached and cleaned on both sides with        inopathy study chart. Near visual acuity is assessed using
a water-wetted gauze at least once daily followed by re-           best-corrected distance spectable correction with a reduced
attachment to the facemask. All the animals are maintained         log Mar reading chart placed at 40 cm under well-lit
on a cycle of 12-h illumination (500 Lux) and 12-h darkness 30 conditions. The near point of accommodation (NPA) is
during the experimental period                                     measured using a RAF rule using best-corrected distance
   A cohort of guinea pigs at age of 3 weeks are randomly          spectable correction. Patients are instructed to move the
assigned to FDM (a facemask worn monocularly) or defo-             target inwards till the N5 print becomes slightly blurred and
cus-induced myopia (a -4.00 D lens worn monocularly) and           then outwards till it just becomes clear. Accommodation
control groups. The FDM groups were treated with the 35 amplitude is calculated as the inverse of NPA. Mesopic pupil
ophthalmic aqueous formulation, the ophthalmic carrier             size is measured with Procyon 3000 pupillometer. Photopic
(without the opthalmic agent), or FDM-only. The defocus-           pupil size is measured using the Neuroptics pupillometer.
induced myopia groups were treated with the ophthalmic                Cycloplegic autorefraction is determined 30 minutes after
aqueous formulation, the ophthalmic carrier (without the           3 drops of cyclopentolate 1% are administered at 5 minutes
opthalmic agent), or defocus-only. The control groups were 40 apart using a Canon RK-F1 autorefractor. A Zeiss IOL
treated with the ophthalmic aqueous formulation, the oph-          Master, a non-contact partial coherence interferometry, is
thalmic carrier (without the opthalmic agent), or no treat-        used to measure the ocular axial length.
ment. Ocular biometric parameters are measured in both                The primary outcome is myopia progression over the time
eyes of individual animals before and at 11 days of treatment      period of the study. Safety is assessed by adverse events
   Biometric parameters (e.g. refraction, corneal curvature, 45 including allergic reactions, irritation, or development of
and axial components of the eye) are measured by an                blurring of vision in one or both eyes.
optometrist, orthoptist, or ophthamologist with help from an
animal care assistant during the light cycle (daytime) after                Example 19 Preparation of an Ointment
removal of the facemask or lens. The optometrist, orthoptist,                Formulation Containing Atropine Sulfate
or ophthamologist is masked in regard to the treatment 50
conditions for each animal.                                           Atropine sulfate is mixed with the dispersing agent (e.g.,
   Refraction is measured by retinoscopy after the pupil is        polyethyleneglycol) under heating and sonication and this
completely dilated by topical administration of 1% cyclo-          mixture is further thoroughly mixed with a molten ointment
pentolate hydrochloride. The results of retinoscopy are            base (e.g. a mixture of wool wax, white petrolatum, and
recorded as the mean value of the horizontal and vertical 55 liquid paraffin). The mixture is placed in a pressure vessel,
meridians.                                                         and sterilized at 125° C. for 30-45 minutes and cooled to
   Corneal curvature is measured with a keratometer modi-          room temperature. In another embodiment, autoclaving is
fied by attachment of an +8 D lens onto the anterior surface       conducted under nitrogen. The resulting ophthalmic oint-
of the keratometer. A group of stainless steel balls with          mentis
                                                                   ment is aseptically filled into pre-sterilized containers (e.g.
diameters from 5.5 to 11.0 mm are measured by the modified 60 tubes).
keratometer. Three readings are recorded for each measure-
ment to provide a mean result. The radius of corneal                   Example 20—Atropine-Mucus Penetrating Particle
curvature is then deduced from the readings on the balls with                                 Composition
known radii.
   A-scan ultrasonagraph is used to measure axial compo- 65           A 0.01% atropine-mucus penetrating particle composition
nents of the eye (lens thickness and vitreous length and axial     was prepared utilizing a milling procedure. An aqueous
length). The conducting velocity was 1,723.3 m/s for mea-          dispersion containing atropine particles and an MPP-en-


                                                       Appx000291
                                                       Appx000291                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 64 of 66
                                                                                                                   64 of 66
              Case: 23-2402               Document: 15              Page: 348            Filed: 02/01/2024


                                                  US 10,940,145 B2
                             97                                                                98
abling mucus penetrating agent was milled with grinding           antagonist is present in the composition at a concentration of
medium until particle size was reduced to approximately           one of: from about 0.001 wt % to about 0.04 wt %, from
200 nm with a polydispersity index less than 0.15 as              about 0.001 wt % to about 0.03 wt %, from about 0.001 wt
measured by dynamic light scattering. Additional agents           % to about 0.025 wt %, from about 0.001 wt % to about 0.02
such as preservatives are also added during the milling 5 wt %, from about 0.001 wt % to about 0.01 wt %, from about
procedure. Subsequently, the atropine-MPP composition are         0.001 wt % to about 0.008 wt %, or from about 0.001 wt %
be stored at temperatures of between about 15° C. and about       to about 0.005 wt %.
25° C.                                                               In some instances, the ophthalmic composition further
                                                                  comprises an osmolarity adjusting agent. In some cases, the
     Example 21 Atropine Sulfate-Mucus Penetrating             10 osmolarity adjusting agent is sodium chloride.
                    Particle Composition                             In some instances, the ophthalmic composition further
                                                                  comprises a preservative. In some cases, the preservative is
   A 0.01% atropine sulfate-mucus penetrating particle com-       selected from benzalkonium chloride, cetrimonium, sodium
position was prepared utilizing a milling procedure. An           perborate, stabilized oxychloro complex, SofZia, poly
aqueous dispersion containing atropine particles and an 15 quaternium-1, chlorobutanol, edetate disodium, polyhexam-
MPP-enabling mucus penetrating agent was milled with              ethylene biguanide, or combinations thereof.
grinding medium until particle size was reduced to approxi-          In some instances, the ophthalmic composition further
mately 200 nm with a polydispersity index less than 0.15 as       comprises a buffer agent. In some cases, the buffer agent is
measured by dynamic light scattering. Additional agents           selected from borates, borate-polyol complexes, phosphate
such as preservatives are also be added during the milling 20 buffering agents, citrate buffering agents, acetate buffering
procedure. Subsequently, the atropine-MPP composition are         agents, carbonate buffering agents, organic buffering agents,
be stored at temperatures of between about 15° C. and about       amino acid buffering agents, or combinations thereof.
25° C.                                                               In some instances, the ophthalmic composition further
   According to another aspect of the disclosure, described       comprises a tonicity adjusting agent. In some cases, the
herein is an ophthalmic composition that comprises from 25 tonicity adjusting agent is selected from sodium chloride,
about 0.001 wt % to about 0.05 wt % of a muscarinic               sodium nitrate, sodium sulfate, sodium bisulfate, potassium
antagonist and water, at a pH of from about 3.8 to about 7.5.     chloride, calcium chloride, magnesium chloride, zinc chlo-
   In some instances, the muscarinic antagonist comprises         ride, potassium acetate, sodium acetate, sodium bicarbonate,
atropine, atropine sulfate, noratropine, atropine-N-oxide,        sodium carbonate, sodium thiosulfate, magnesium sulfate,
tropine, tropic acid, hyoscine, scopolomine, tropicamide, 30 disodium hydrogen phosphate, sodium dihydrogen phos-
cyclopentolate, pirenzapine, homatropine, or a combination        phate, potassium dihydrogen phosphate, dextrose, mannitol,
thereof. In some cases, the muscarinic antagonist is atropine.    sorbitol, dextrose, sucrose, urea, propylene glycol, glycerin,
In some cases, the muscarinic antagonist is atropine sulfate.     or a combination thereof.
   In some instances, the ophthalmic composition comprises           In some instances, the ophthalmic composition is stored
one of: at least about 80%, at least about 85%, at least about 35 in a plastic container. In some cases, the material of the
90%, at least about 93%, at least about 95%, at least about       plastic container comprises low-density polyethylene
97%, at least about 98%, or at least about 99% of the             (LDPE).
muscarinic antagonist based on initial concentration after           In some instances, the ophthalmic composition has a
extended period of time under storage condition.                  dose-to-dose muscarinic antagonist concentration variation
   In some instances, the ophthalmic composition has a pH 40 of one of: less than 50%, less than 40%, less than 30%, less
of one of: less than about 7.3, less than about 7.2, less than    than 20%, less than 10%, or less than 5%. In some cases, the
about 7.1, less than about 7, less than about 6.8, less than      dose-to-dose muscarinic antagonist concentration variation
about 6.5, less than about 6.4, less than about 6.3, less than    is based on one of: 10 consecutive doses, 8 consecutive
about 6.2, less than about 6.1, less than about 6, less than      doses, 5 consecutive doses, 3 consecutive doses, or 2 con-
about 5.9, less than about 5.8, less than about 5.2, less than 45 secutive doses.
about 4.8, or less than about 4.2 after extended period of           In some instances, the ophthalmic composition has a pH
time under storage condition.                                     of one of: from about 3.8 to about 7.5, from about 4.2 to
   In some instances, the ophthalmic composition further has      about 7.5, from about 4.8 to about 7.3, from about 5.2 to
a potency of one of: at least 80%, at least 85%, at least 90%,    about 7.2, from about 5.8 to about 7.1, from about 6.0 to
at least 93%, at least 95%, at least 97%, at least 98%, or at so about 7.0, or from about 6.2 to about 6.8.
least 99% after extended period of time under storage                In some instances, the ophthalmic composition further
condition.                                                        comprises a pH adjusting agent. In some cases, the pH
   In some instances, the extended period of time is one of:      adjusting agent comprises HC1, NaOH, CH3COOH, or
about 1 week, about 2 weeks, about 3 weeks, about 1 month,        C6H8O7.
about 2 months, about 3 months, about 4 months, about 5 55           In some instances, the ophthalmic composition comprises
months, about 6 months, about 8 months, about 10 months,          one of: less than 5% of D2O, less than 4% of D2O, less than
about 12 months, about 18 months, about 24 months, about          3% of D2O, less than 2% of D2O, less than 1% of D2O, less
36 months, about 4 years, or about 5 years.                       than 0.5% of D2O, less than 0.1% of D2O, or 0% D2O. In
   In some instances, the storage condition has a storage         some cases, the ophthalmic composition is essentially free
temperature of one of: about 25° C., about 40° C., or about 60 of D2O.
60° C. In some cases, the storage condition has a storage            In some instances, the ophthalmic composition further
temperature of from about 2° C. to about 10° C. or from           comprises a pharmaceutically acceptable carrier.
about 16° C. to about 26° C. In some cases, the storage              In some instances, the ophthalmic composition is formu-
condition has a relative humidity of about 60% or about           lated as an ophthalmic solution for the treatment of an
75%.                                                           65 ophthalmic disorder. In some cases, the ophthalmic disorder
   In some instances, the ophthalmic composition is in the        or condition is pre-myopia, myopia, or progression of myo-
form of an aqueous solution. In some cases, the muscarinic        pia.


                                                      Appx000292
                                                      Appx000292                     Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 65 of 66
                                                                                                                 65 of 66
              Case: 23-2402               Document: 15              Page: 349           Filed: 02/01/2024


                                                  US 10,940,145 B2
                            99                                                                  100
   In some instances, the ophthalmic composition is not               9. The kit of claim 8, wherein the viscosity agent com-
formulated as an injectable formulation.                           prises hydroxyethyl cellulose, hydroxypropyl cellulose, or
   While preferred embodiments of the present disclosure           hydroxypropylmethyl-cellulose (HPMC).
have been shown and described herein, such embodiments                10. The kit of claim 1, wherein the pharmaceutical com-
are provided by way of example only. Various alternatives to 5 position is substantially free of a preservative.
the embodiments described herein are optionally employed              11. The kit of claim 1, wherein the pharmaceutical com-
in practicing the disclosure. It is intended that the following    position comprises less than about 1% of a preservative.
claims define the scope of the disclosure and that methods            12. The kit of claim 1, wherein the pharmaceutical com-
and structures within the scope of these claims and their          position further comprises a preservative.
equivalents be covered thereby.                                 10
                                                                      13. The kit of claim 12, wherein a concentration of the
   What is claimed is:
                                                                   preservative is from about 0.0001% to about 1%.
   1. A kit comprising:
                                                                      14. The kit of claim 12, wherein the preservative is
   a. a vial comprising a pharmaceutical composition, the
      pharmaceutical composition comprising:                       selected from benzalkonium chloride, cetrimonium, sodium
      i. about 0.01 mg/g to about 0.5 mg/g of atropine or 15 perborate, stabilized oxychloro complex, polyquaternium-1,
          atropine sulfate;                                        chlorobutanol, edetate disodium, polyhexamethylene bigua-
      ii. water; and                                               nide, or combinations thereof.
      iii. a buffer; and                                              15. The kit of claim 1, wherein the pharmaceutical com-
   b. instructions for use.                                        position is essentially free of procaine and benactyzine, or
   2. The kit of claim 1, wherein the atropine or atropine 20 pharmaceutically acceptable salts thereof
sulfate is present in the pharmaceutical composition at a             16. The kit of claim 1, wherein the pharmaceutical com-
concentration of from about 0.01 mg/g to about 0.3 mg/g or         position has an acidic pH.
from about 0.1 mg/g to about 0.2 mg/g.                                17. The kit of claim 1, wherein the pharmaceutical com-
   3. The kit of claim 1, wherein the atropine or atropine         position has a pH of from about 3.8 to about 6.4.
sulfate is present in the pharmaceutical composition at a 25          18. The kit of claim 1, wherein the pharmaceutical com-
concentration of about 0.1 mg/g, about 0.2 mg/g, about 0.25        position has a pH of less than 5.
mg/g, about 0.3 mg/g, about 0.4 mg/g, or about 0.5 mg/g.              19. The kit of claim 1, wherein the pharmaceutical com-
   4. The kit of claim 1, wherein the buffer comprises a           position is a solution.
borate, a borate-polyol complex, a phosphate buffering                20. The kit of claim 1, wherein the pharmaceutical com-
agent, a citrate buffering agent, an acetate buffering agent, a 30 position is sterile.
carbonate buffering agent, an organic buffering agent, an             21. The kit of claim 1, wherein the pharmaceutical com-
amino acid buffering agent, or a combination thereof               position further comprises a stabilizing agent.
   5. The kit of claim 1, wherein the buffer comprises sodium         22. The kit of claim 21, wherein the stabilizing agent is
dihydrogen phosphate, disodium hydrogen phosphate, or a            selected from the group consisting of glycerol, methionine,
combination thereof.                                            35
                                                                   monothioglycerol,    ethylenediaminetetraacetic acid (EDTA),
   6. The kit of claim 1, wherein the pharmaceutical com-          ascorbic acid, polysorbate 80, polysorbate 20, arginine,
position further comprises a tonicity adjusting agent.             heparin, dextran sulfate, cyclodextrins, pentosan polysul-
   7. The kit of claim 6, wherein the tonicity adjusting agent     fate, magnesium, zinc and combinations thereof
comprises a halide salt of a monovalent cation.                       23. The kit of claim 22, wherein the stabilizing agent is
   8. The kit of claim 1, wherein the pharmaceutical com- 40 EDTA.
position further comprises a viscosity agent.                                           *   *    *    *   *




                                                      Appx000293
                                                      Appx000293                    Eyenovia Exhibit
                                                                                    Eyenovia Exhibit 1001,
                                                                                                     1001, Page
                                                                                                           Page 66 of 66
                                                                                                                66 of 66
                  Case: 23-2402              Document: 15             Page: 350              Filed: 02/01/2024
                                                                   IIIIII
                                                                      IIIIIIII
(12)   United States Patent                                              (10) Patent No.:    US 10,888,557 B2
       Ostrow et al.                                                     (45) Date of Patent:     *Jan. 12, 2021

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(72)    Inventors: Gregory I. Ostrow, San Diego, CA                        5,490,938 A      2/1996   Sawan et al.
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(60)    Provisional application No. 62/151,926, filed on Apr.       417 (1991).
        23, 2015.                                                                              (Continued)

(51) Int. Cl.                                                       Primary Examiner — Kathrien A Cruz
     A61K 31/46                  (2006.01)                          (74) Attorney, Agent, or Firm — Wilson Sonsini Goodrich
     A61K 47/02                  (2006.01)                          & Rosati
     A61K 9/00                   (2006.01)
(52) U.S. Cl.                                                       (57)                      ABSTRACT
     CPC               A61K 31/46 (2013.01); A61K 9/0048
                                                                    Provided herein is an ophthalmic composition. In some
                            (2013.01); A61K 47/02 (2013.01)
                                                                    embodiments, the ophthalmic composition includes a low
(58)    Field of Classification Search                              concentration of an ophthalmic agent for treatment of an
        USPC                                         514/304        ophthalmic disorder or condition; and an ophthalmically
        See application file for complete search history.           acceptable carrier, wherein the ophthalmic agent is distrib-
                                                                    uted with substantial uniformity throughout the ophthalmi-
(56)                   References Cited
                                                                    cally acceptable carrier. Further disclosed herein include an
                  U.S. PATENT DOCUMENTS                             ophthalmic composition including a low concentration of an
                                                                    ophthalmic agent and deuterated water. Also disclosed
       3,863,633 A      2/1975   Ryde et al.                        herein are methods of arresting or preventing myopia devel-
       4,014,335 A      3/1977   Arnold                             opment by administering to an eye of an individual in need
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                                                                    thereof an effective amount of an ophthalmic composition as
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             Case: 23-2402                 Document: 15           Page: 351            Filed: 02/01/2024


                                                    US 10,888,557 B2
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                Case: 23-2402                   Document: 15                Page: 352            Filed: 02/01/2024


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                                                                                                                             of 67
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           Case: 23-2402                                        Document: 15              Page: 353        Filed: 02/01/2024


U.S. Patent                                      Jan. 12, 2021                         Sheet 1 of 13                 US 10,888,557 B2




       Fig. 1A

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              Case: 23-2402                                Document: 15                                    Page: 354                             Filed: 02/01/2024


U.S. Patent                                   Jan. 12, 2021                                      Sheet 2 of 13                                                      US 10,888,557 B2




Fig. 2A

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      Case: 23-2402      Document: 15            Page: 355     Filed: 02/01/2024


U.S. Patent         Jan. 12, 2021         Sheet 3 of 13             US 10,888,557 B2




                                        Fig. 3



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                  1001, Page
                        Page 88 of
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                                                                                  Fig. 6




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              Exhibit 1001,
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                                                                                                       Fig. 8

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                 1001, Page
                       Page 11
                            11 of
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 U.S. Patent            Jan. 12, 2021                    Sheet 9 of 13               US 10,888,557 B2




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                                                                                                             Fig. 10
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                        1001, Page
                              Page 13
                                   13 of
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             Case: 23-2402        Document: 15      Page: 363       Filed: 02/01/2024


U.S. Patent
U.S. Patent                  Jan. 12,
                             Jan. 12, 2021
                                      2021       Sheet 11
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                                                                                         Page 14 of
                                                                                                 of 67
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              Case: 23-2402   Document: 15               Page: 364                               Filed: 02/01/2024


U.S. Patent
U.S. Patent              Jan. 12,
                         Jan. 12, 2021
                                  2021        Sheet 12
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   Fig. 11B




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                                                                                                                             1001, Page 16
                                                                                                                                   Page 16 of
                                                                                                                                        16 of 67
                                                                                                                                           of 67
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              Case: 23-2402                Document: 15              Page: 366           Filed: 02/01/2024


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            OPHTHALMIC COMPOSITION                                than about 6, less than about 5.9, less than about 5.8, less
                                                                  than about 5.2, or less than about 4.8 after extended period
                   CROSS-REFERENCE                                of time under storage condition.
                                                                     In some embodiments, the ophthalmic composition has a
   This application is a continuation of U.S. application Ser. 5 pD of one of: less than about 7.9, less than about 7.8, less
No. 16/677,538, filed Nov. 7, 2019, which is a continuation       than about 7.7, less than about 7.6, less than about 7.5. less
of U.S. application Ser. No. 15/568,381, filed Oct. 20, 2017,     than about 7.4, less than about 7.3, less than about 7.2, less
which is a § 371 U.S. National Stage Application of Inter-        than about 7.1, less than about 7, less than about 6.9, less
national Application No. PCT/US2016/029222, filed Apr.            than about 6.8, less than about 6.7, less than about 6.6, less
25, 2016, which is a continuation in part of International 10 than about 6.5, less than about 6.4, less than about 6.3, less
Application No. PCT/US2015/037249, filed Jun. 23, 2015,           than about 6.2, less than about 6.1, less than about 6.
which is a continuation in part of U.S. application Ser. No.         In some embodiments, the ophthalmic composition com-
14/726,139, filed May 29, 2015, now U.S. Pat. No. 9,421,          prises one of: at least about 80%, at least about 85%, at least
199, issued Aug. 23, 2016, which claims the benefit of U.S.       about 90%, at least about 93%, at least about 95%, at least
Provisional Application No. 62/151,926, filed Apr. 23, 2015; 15 about 97%, at least about 98%, or at least about 99% of the
PCT/US2015/037249 claims the benefit of U.S. Provisional          muscarinic antagonist based on initial concentration after
Application No. 62/151,926, filed Apr. 23, 2015; PCT/             extended period of time under storage condition. As
US2016/029222 claims benefit of U.S. Provisional Appli-           described in this disclosure, the percentage of the ophthal-
cation No. 62/151,926, filed Apr. 23, 2015; PCT/US2016/           mic agent in the composition after storage is based on the
029222 is a continuation in part of U.S. application Ser. No. 20 amount of ophthalmic agent that is initially present in the
14/726,139, filed May 29, 2015, now U.S. Pat. No. 9,421,          composition (i.e. prior to the storage condition).
199, issued Jun. 23, 2016 all of which their entire contents         In some embodiments, the ophthalmic composition fur-
are fully incorporated herein by reference.                       ther has a potency of one of: at least 80%, at least 85%, at
                                                                  least 90%, at least 93%, at least 95%, at least 97%, at least
         BACKGROUND OF THE DISCLOSURE                          25 98%, or at least 99% after extended period of time under
                                                                  storage condition. As described in this disclosure, the
   Pharmaceutical formulations have an expiration date            potency of the ophthalmic agent in the composition after
which is based on the degradation of the active ingredient.       storage is based on the potency of ophthalmic agent that is
                                                                  initially present in the composition (i.e. prior to the storage
           SUMMARY OF THE DISCLOSURE                           30 condition).
                                                                     In some embodiments, the extended period of time is one
   Provided herein are ophthalmic compositions. In some           of: about 1 week, about 2 weeks, about 3 weeks, about 1
embodiments, disclosed herein is an ophthalmic composi-           month, about 2 months, about 3 months, about 4 months,
tion, comprising from about 0.001 wt % to about 0.05 wt %         about 5 months, about 6 months, about 8 months, about 10
of a muscarinic antagonist and deuterated water, at a pD of 35 months, about 12 months, about 18 months, about 24
from about 4.2 to about 7.9.                                      months, about 36 months, about 4 years, or about 5 years.
   In some embodiments, provided herein is an ophthalmic             In some embodiments, the storage condition has a storage
composition, comprising from about 0.001 wt % to about            temperature of from about 2° C. to about 10° C. or from
0.05 wt % of a muscarinic antagonist and deuterated water,        about 16° C. to about 26° C. In some embodiments, the
at a pD of from about 4.2 to about 7.9, wherein the 40 storage condition has a storage temperature of about 25° C.
muscarinic antagonist does not extend singlet oxygen life-        In some embodiments, the storage condition has a storage
time.                                                             temperature of about 40° C. In some embodiments, the
   In some embodiments, the muscarinic antagonist com-            storage condition has a storage temperature of about 60° C.
prises atropine, atropine sulfate, noratropine, atropine-N-          In some embodiments, the storage condition has a relative
oxide, tropine, tropic acid, hyoscine, scopolomine, tropic- 45 humidity of about 60%. In some embodiments, the storage
amide, cyclopentolate, pirenzapine, homatropine, or a             condition has a relative humidity of about 75%.
combination thereof. In some embodiments, the the musca-             In some embodiments, the muscarinic antagonist is pres-
rinic antagonist comprises atropine, atropine sulfate, scopo-     ent in the composition at a concentration of one of: from
lomine, homatropine, or a combination thereof. In some            about 0.001 wt % to about 0.04 wt %, from about 0.001 wt
embodiments, the muscarinic antagonist is atropine. In some so % to about 0.03 wt %, from about 0.001 wt % to about 0.025
embodiments, the muscarinic antagonist is atropine sulfate.       wt %, from about 0.001 wt % to about 0.02 wt %, from about
   In some embodiments, the muscarinic antagonist                 0.001 wt % to about 0.01 wt %, from about 0.001 wt % to
quenches photogenerated singlet oxygen species in the com-        about 0.008 wt %, or from about 0.001 wt % to about 0.005
position. In some embodiments, the muscarinic antagonist          wt %.
comprises atropine, atropine sulfate, noratropine, atropine- 55      In some embodiments, the composition comprises less
N-oxide, tropine, tropic acid, hyoscine, scopolomine, tropi-      than 20% of major degradant based on the concentration of
camide, cyclopentolate, pirenzapine, homatropine, or a com-       the ophthalmic agent after extended period of time under
bination thereof. In some embodiments, the the muscarinic         storage condition. In some embodiments, the composition
antagonist comprises atropine, atropine sulfate, scopolo-         comprises less than 15% of major degradant based on the
mine, homatropine, or a combination thereof. In some 60 concentration of the ophthalmic agent after extended period
embodiments, the muscarinic antagonist is atropine. In some       of time under storage condition.
embodiments, the muscarinic antagonist is atropine sulfate.          In some embodiments, the composition comprises less
   In some embodiments, the ophthalmic composition has a          than 10% of major degradant based on the concentration of
pD of one of: less than about 7.9, less than about 7.3, less      the ophthalmic agent after extended period of time under
than about 7.2, less than about 7.1, less than about 7, less 65 storage condition. In some embodiments, the composition
than about 6.8, less than about 6.5, less than about 6.4, less    comprises less than 5% of major degradant based on the
than about 6.3, less than about 6.2, less than about 6.1, less    concentration of the ophthalmic agent after extended period


                                                       Appx000310
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                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 17
                                                                                                                 17 of
                                                                                                                    of 67
                                                                                                                       67
              Case: 23-2402                Document: 15              Page: 367            Filed: 02/01/2024


                                                   US 10,888,557 B2
                              3                                                                  4
of time under storage condition. In some embodiments, the            plastic container comprises low-density polyethylene
composition comprises less than 2.5% of major degradant              (LDPE). In some cases, the material of the plastic container
based on the concentration of the ophthalmic agent after             comprises polypropylene.
extended period of time under storage condition. In some                In some embodiments, the ophthalmic composition is
embodiments, the composition comprises less than 2.0% of 5 essentially free of procaine and benactyzine, or pharmaceu-
major degradant based on the concentration of the ophthal-           tically acceptable salts thereof.
mic agent after extended period of time under storage                   In some embodiments, the composition has a dose-to-
condition. In some embodiments, the composition com-                 dose ophthalmic agent concentration variation of less than
prises less than 1.5% of major degradant based on the                50%. In some embodiments, the composition has a dose-to-
concentration of the ophthalmic agent after extended period 10
                                                                     dose ophthalmic agent concentration variation of less than
of time under storage condition. In some embodiments, the
                                                                     40%. In some embodiments. the composition has a dose-to-
composition comprises less than 1.0% of major degradant
                                                                     dose ophthalmic agent concentration variation of less than
based on the concentration of the ophthalmic agent after
extended period of time under storage condition. In some             30%. In some embodiments, the composition has a dose-to-
embodiments, the composition comprises less than 0.5% of 15 dose ophthalmic agent concentration variation of less than
major degradant based on the concentration of the ophthal-           20%. In some embodiments, the composition has a dose-to-
mic agent after extended period of time under storage                dose ophthalmic agent concentration variation of less than
condition. In some embodiments, the composition com-                 10%.   In some embodiments, the composition has a dose-to-
prises less than 0.4% of major degradant based on the                dose ophthalmic agent concentration variation of less than
concentration of the ophthalmic agent after extended period 20 5%. In some embodiments, the dose-to-dose ophthalmic
of time under storage condition. In some embodiments, the            agent concentration variation is based on 10 consecutive
composition comprises less than 0.3% of major degradant              doses. In some embodiments, the dose-to-dose ophthalmic
based on the concentration of the ophthalmic agent after             agent concentration variation is based on 8 consecutive
extended period of time under storage condition. In some             doses. In some embodiments, the dose-to-dose ophthalmic
embodiments, the composition comprises less than 0.2% of 25 agent concentration variation is based on 5 consecutive
major degradant based on the concentration of the ophthal-           doses. In some embodiments, the dose-to-dose ophthalmic
mic agent after extended period of time under storage                agent concentration variation is based on 3 consecutive
condition. In some embodiments, the composition com-                 doses. In some embodiments, the dose-to-dose ophthalmic
prises less than 0.1% of major degradant based on the                agent concentration variation is based on 2 consecutive
concentration of the ophthalmic agent after extended period 30 doses.
of time under storage condition. In some embodiments, the
                                                                        In some embodiments, the composition further comprises
major degradant is tropic acid. As described in this disclo-
                                                                     a pD adjusting agent. In some embodiments, the pD adjust-
sure, the percentage of the primary degradant in the com-
                                                                     ing agent comprises DC1, NaOD, CD3COOD, or C6D8O7.
position after storage is based on the amount of ophthalmic
agent that is initially present in the composition (i.e. prior to 35    In some embodiments, the composition further comprises
the storage condition).                                              a pharmaceutically acceptable carrier. In some embodi-
   In some embodiments, the composition is in a form of an           ments, the ophthalmically acceptable carrier further com-
aqueous solution.                                                    prises at least one viscosity-enhancing agent. In some
   In some embodiments, the composition further comprises            embodiments, the viscosity-enhancing agent is selected
an osmolarity adjusting agent. In some embodiments, the 40 from cellulose-based polymers, polyoxyethylene-polyoxy-
osmolarity adjusting agent is sodium chloride.                       propylene triblock copolymers, dextran-based polymers,
   In some embodiments, the ophthalmic composition fur-              polyvinyl alcohol, dextrin, polyvinylpyrrolidone, polyal-
ther comprises a preservative. In some embodiments, the              kylene glycols, chitosan, collagen, gelatin, hyaluronic acid,
preservative is selected from benzalkonium chloride, cetri-          or combinations thereof.
monium, sodium perborate, stabilized oxychloro complex, 45              In some embodiments, the ophthalmic composition com-
SofZia, polyquaternium-1, chlorobutanol, edetate di sodium,          prises one of: less than 60% of H2O, less than 55% of H2O,
polyhexamethylene biguanide, or combinations thereof.                less than 50% of H2O, less than 45% of H2O, less than 40%
   In some embodiments, the ophthalmic composition fur-              of H2O, less than 35% of H2O, less than 30% of H2O, less
ther comprises a buffer agent. In some embodiments, the              than 25% of H2O, less than 20% of H2O, less than 15% of
buffer agent is selected from borates, borate-polyol com- so H2O; or less than 10% of H2O.
plexes, succinate, phosphate buffering agents, citrate buff-            In some embodiments, the ophthalmic composition com-
ering agents, acetate buffering agents, carbonate buffering          prises one of: less than 5% of H2O, less than 4% of H2O, less
agents, organic buffering agents, amino acid buffering               than 3% of H2O, less than 2% of H2O, less than 1% of H2O,
agents, or combinations thereof.                                     less than 0.5% of H2O, less than 0.1% of H2O, or 0% of
   In some embodiments, the ophthalmic composition fur- 55 H2O.
ther comprises a tonicity adjusting agent. In some embodi-              In some embodiments, the ophthalmic composition is
ments, the tonicity adjusting agent is selected from sodium          stored below room temperature prior to first use. In some
chloride, sodium nitrate, sodium sulfate, sodium bisulfate,          embodiments, the ophthalmic composition is stored at
potassium chloride, calcium chloride, magnesium chloride,            between about 2° C. to about 10° C. prior to first use. In
zinc chloride, potassium acetate, sodium acetate, sodium 60 some embodiments, the ophthalmic composition is stored at
bicarbonate, sodium carbonate, sodium thiosulfate, magne-            between about 4° C. to about 8° C. prior to first use.
sium sulfate, disodium hydrogen phosphate, sodium dihy-                 In some embodiments, the ophthalmic composition is
drogen phosphate, potassium dihydrogen phosphate, dex-               stored at room temperature after first use. In some embodi-
trose, mannitol, sorbitol, dextrose, sucrose, urea, propylene        ments, the ophthalmic composition is stored at between
glycol, glycerin, trehalose, or a combination thereof.            65 about 16° C. to about 26° C. after first use.
   In some embodiments, the composition is stored in a                  In some embodiments, the ophthalmic composition is not
plastic container. In some embodiments, the material of the          formulated as an injectable formulation.


                                                       Appx000311
                                                       Appx000311                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 18
                                                                                                                  18 of
                                                                                                                     of 67
                                                                                                                        67
               Case: 23-2402                Document: 15               Page: 368            Filed: 02/01/2024


                                                    US 10,888,557 B2
                               5                                                                    6
   In some embodiments, the ophthalmic composition does             or 12-15 years. In some embodiments, the ophthalmic
not comprise water-hydrolyzable derivatives of a -amino or          composition is stored below room temperature prior to first
a-hydroxy-carboxylic acids.                                         use. In some embodiments, the ophthalmic composition is
   In some embodiments, the ophthalmic composition is               stored at between about 2° C. to about 10° C. prior to first
essentially free of procaine and benactyzine, or pharmaceu- 5 use. In some embodiments, the ophthalmic composition is
tically acceptable salts thereof.                                   stored at between about 4° C. to about 8° C. prior to first use.
   In some embodiments, the ophthalmic composition is               In some embodiments, the ophthalmic composition is stored
formulated as an ophthalmic solution for the treatment of an        at room temperature after first use. In some embodiments,
ophthalmic disorder. In some embodiments, the ophthalmic            the ophthalmic composition is stored at between about 16°
disorder or condition is pre-myopia, myopia, or progression 10
                                                                    C. to about 26° C. after first use.
of myopia. In some embodiments, the ophthalmic compo-
                                                                       In some embodiments, disclosed herein is an ophthalmic
sition is formulated as an ophthalmic solution for the treat-
                                                                    solution that comprises from about 0.001 wt % to about 0.05
ment of pre-myopia, myopia, or progression of myopia.
   In some embodiments, the ophthalmic composition is a             wt % of a muscarinic antagonist and deuterated water, at a
solution.                                                        15
                                                                    pD of from about 4.2 to about 7.9. In some embodiments, the
   In some embodiments, disclosed herein is a method of             ophthalmic   solution has a pD of one of: less than about 7.3,
treating an ophthalmic disorder comprising administering to         less than about 7.2, less than about 7.1, less than about 7, less
an eye of an individual in need thereof an effective amount         than about 6.8, less than about 6.5, less than about 6.4, less
of an ophthalmic composition described herein. In some              than about 6.3, less than about 6.2, less than about 6.1, less
embodiments, described herein is a method of treating an 20 than about 6, less than about 5.9, less than about 5.8, less
ophthalmic disorder, comprising administering to an eye of          than about 5.2, or less than about 4.8 after extended period
an individual in need thereof an effective amount of an             of time under storage condition. In some embodiments, the
ophthalmic composition comprising from about 0.001 wt %             muscarinic antagonist comprises atropine, atropine sulfate,
to about 0.05 wt % of a muscarinic antagonist and deuterated        noratropine, atropine-N-oxide, tropine, tropic acid, hyos-
water, at a pD of from about 4.2 to about 7.9. In some 25 cine, scopolomine, tropicamide, cyclopentolate, pirenzap-
embodiments, the ophthalmic composition is administered             ine, homatropine, or a combination thereof. In some
at predetermined time intervals over an extended period of          embodiments, the ophthalmic solution comprises one of:
time. In some embodiments, the ophthalmic composition is            less than 5% of H2O, less than 4% of H2O, less than 3% of
administered once every day. In some embodiments, the               H2O, less than 2% of H2O, less than 1% of H2O, less than
ophthalmic composition is administered every other day. In 30 0.5% of H2O, less than 0.1% of H2O, or 0% of H2O. In some
some embodiments, the ophthalmic composition is admin-              embodiments, the ophthalmic composition comprises one
istered over 1 week, 2 weeks, 1 month, 2 months, 3 months,          of: at least about 80%, at least about 85%, at least about
6 months, 1 year, 2 years, 3 years, 4 years, 5 years, 6 years,      90%, at least about 93%, at least about 95%, at least about
7 years, 8 years, 9 years, 10 years, 11 years, or 12-15 years.      97%, at least about 98%, or at least about 99% of the
In some embodiments, the ophthalmic composition is stored 35 muscarinic antagonist based on initial concentration after
below room temperature prior to first use. In some embodi-          extended period of time under storage condition. In some
ments, the ophthalmic composition is stored at between              embodiments, the ophthalmic composition further has a
about 2° C. to about 10° C. prior to first use. In some             potency of one of: at least 80%, at least 85%, at least 90%,
embodiments, the ophthalmic composition is stored at                at least 93%, at least 95%, at least 97%, at least 98%, or at
between about 4° C. to about 8° C. prior to first use. In some 40 least 99% after extended period of time under storage
embodiments, the ophthalmic composition is stored at room           condition. In some embodiments, the extended period of
temperature after first use. In some embodiments, the oph-          time is one of: about 1 week, about 2 weeks, about 3 weeks,
thalmic composition is stored at between about 16° C. to            about 1 month, about 2 months, about 3 months, about 4
about 26° C. after first use.                                       months, about 5 months, about 6 months, about 8 months,
   In some embodiments, disclosed herein is a method of 45 about 10 months, about 12 months, about 18 months, about
arresting myopia development that comprises administering           24 months, about 36 months, about 4 years, or about 5 years.
to an eye of an individual in need thereof an effective             In some embodiments, the muscarinic antagonist is present
amount of an ophthalmic composition described herein.               in the composition at a concentration of one of: from about
Also described herein is a method of preventing myopia              0.001 wt % to about 0.04 wt %, from about 0.001 wt % to
development that comprises administering to an eye of an so about 0.03 wt %, from about 0.001 wt % to about 0.025 wt
individual in need thereof an effective amount of an oph-           %, from about 0.001 wt % to about 0.02 wt %, from about
thalmic composition described herein. In some embodi-               0.001 wt % to about 0.01 wt %, from about 0.001 wt % to
ments, described herein is a method of arresting or prevent-        about 0.008 wt %, or from about 0.001 wt % to about 0.005
ing myopia development, comprising administering to an              wt %. In some embodiments, the storage condition has a
eye of an individual in need thereof an effective amount of 55 storage temperature of from about 2° C. to about 10° C. or
an ophthalmic composition comprising from about 0.001 wt            from about 16° C. to about 26° C. In some embodiments, the
% to about 0.05 wt % of a muscarinic antagonist and                 ophthalmic composition has a dose-to-dose muscarinic
deuterated water, at a pD of from about 4.2 to about 7.9. In        antagonist concentration variation of one of: less than 50%,
some embodiments, the ophthalmic composition is admin-              less than 40%, less than 30%, less than 20%, less than 10%,
istered at predetermined time intervals over an extended 60 or less than 5%. In some embodiments, the dose-to-dose
period of time. In some embodiments, the ophthalmic com-            muscarinic antagonist concentration variation is based on
position is administered once every day. In some embodi-            one of: 10 consecutive doses, 8 consecutive doses, 5 con-
ments, the ophthalmic composition is administered every             secutive doses, 3 consecutive doses, or 2 consecutive doses.
other day. In some embodiments, the ophthalmic composi-                In some embodiments, disclosed herein is an ophthalmic
tion is administered over 1 week, 2 weeks, 1 month, 2 65 composition, comprising from about 0.001 wt % to about
months, 3 months, 6 months, 1 year, 2 years, 3 years, 4 years,      0.05 wt % of a muscarinic antagonist and water, at a pH of
5 years, 6 years, 7 years, 8 years, 9 years, 10 years, 11 years,    from about 3.8 to about 7.5.


                                                        Appx000312
                                                        Appx000312                      Eyenovia Exhibit
                                                                                        Eyenovia Exhibit 1001,
                                                                                                         1001, Page
                                                                                                               Page 19
                                                                                                                    19 of
                                                                                                                       of 67
                                                                                                                          67
              Case: 23-2402               Document: 15              Page: 369            Filed: 02/01/2024


                                                  US 10,888,557 B2
                              7                                                                 8
   In some embodiments, the muscarinic antagonist com-             potassium chloride, calcium chloride, magnesium chloride,
prises atropine, atropine sulfate, noratropine, atropine-N-        zinc chloride, potassium acetate, sodium acetate, sodium
oxide, tropine, tropic acid, hyoscine, scopolomine, tropic-        bicarbonate, sodium carbonate, sodium thiosulfate, magne-
amide, cyclopentolate, pirenzapine, homatropine, or a              sium sulfate, disodium hydrogen phosphate, sodium dihy-
combination thereof. In some embodiments, the muscarinic 5 drogen phosphate, potassium dihydrogen phosphate, dex-
antagonist is atropine or atropine sulfate.                        trose, mannitol, sorbitol, dextrose, sucrose, urea, propylene
   In some embodiments, the ophthalmic composition com-            glycol, glycerin, trehalose, or a combination thereof.
prises one of: at least about 80%, at least about 85%, at least       In some embodiments, the ophthalmic composition is
about 90%, at least about 93%, at least about 95%, at least        stored in a plastic container. In some embodiments, the
about 97%, at least about 98%, or at least about 99% of the 10 material of the plastic container comprises low-density
muscarinic antagonist based on initial concentration after         polyethylene (LDPE).
extended period of time under storage condition.                      In some embodiments, the ophthalmic composition has a
   In some embodiments, the ophthalmic composition has a           dose-to-dose muscarinic antagonist concentration variation
pH of one of: less than about 7.3, less than about 7.2, less       of one of: less than 50%, less than 40%, less than 30%, less
than about 7.1, less than about 7, less than about 6.8, less 15 than 20%, less than 10%, or less than 5%.
than about 6.5, less than about 6.4, less than about 6.3, less        In some embodiments, the dose-to-dose muscarinic
than about 6.2, less than about 6.1, less than about 6, less       antagonist concentration variation is based on one of: 10
than about 5.9, less than about 5.8, less than about 5.2, less     consecutive doses, 8 consecutive doses, 5 consecutive doses,
than about 4.8, or less than about 4.2 after extended period       3 consecutive doses, or 2 consecutive doses.
of time under storage condition.                                20    In some embodiments, the ophthalmic composition has a
   In some embodiments, the ophthalmic composition fur-            pH of one of: from about 3.8 to about 7.5, from about 4.2 to
ther has a potency of one of: at least 80%, at least 85%, at       about 7.5, from about 4.8 to about 7.3, from about 5.2 to
least 90%, at least 93%, at least 95%, at least 97%, at least      about 7.2, from about 5.8 to about 7.1, from about 6.0 to
98%, or at least 99% after extended period of time under           about 7.0, or from about 6.2 to about 6.8.
storage condition.                                              25    In some embodiments, the ophthalmic composition fur-
   In some embodiments, the extended period of time is one         ther comprises a pH adjusting agent. In some embodiments,
of: about 1 week, about 2 weeks, about 3 weeks, about 1            the pH adjusting agent comprises HC1, NaOH, CH3COOH,
month, about 2 months, about 3 months, about 4 months,             or C6H8O7.
about 5 months, about 6 months, about 8 months, about 10              In some embodiments, the ophthalmic composition com-
months, about 12 months, about 18 months, about 24 30 prises one of: less than 60% of D2O, less than 55% of D2O,
months, about 36 months, about 4 years, or about 5 years.          less than 50% of D2O, less than 45% of D2O, less than 40%
   In some embodiments, the storage condition has a storage        of D2O, less than 35% of D2O, less than 30% of D2O, less
temperature of one of: about 25° C., about 40° C., or about        than 25% of D2O, less than 20% of D2O, less than 15% of
60° C. In some embodiments, the storage condition has a            D2O, or less than 10% of D2O.
storage temperature of from about 2° C. to about 10° C. or 35         In some embodiments, the ophthalmic composition com-
from about 16° C. to about 26° C.                                  prises one of: less than 5% of D2O, less than 4% of D2O, less
   In some embodiments, the storage condition has a relative       than 3% of D2O, less than 2% of D2O, less than 1% of D2O,
humidity of about 60% or about 75%.                                less than 0.5% of D2O, less than 0.1% of D2O, or 0% of
   In some embodiments, the muscarinic antagonist is pres-         D2O. In some embodiments, ophthalmic composition is
ent in the composition at a concentration of one of: from 40 essentially free of D2O.
about 0.001 wt % to about 0.04 wt %, from about 0.001 wt              In some embodiments, the composition further comprises
% to about 0.03 wt %, from about 0.001 wt % to about 0.025         a pharmaceutically acceptable carrier.
wt %, from about 0.001 wt % to about 0.02 wt %, from about            In some embodiments, the ophthalmic composition is
0.001 wt % to about 0.01 wt %, from about 0.001 wt % to            formulated as an ophthalmic solution for the treatment of an
about 0.008 wt %, or from about 0.001 wt % to about 0.005 45 ophthalmic disorder. In some embodiments, the ophthalmic
wt %.                                                              disorder or condition is pre-myopia, myopia, or progression
   In some embodiments, the ophthalmic composition fur-            of myopia.
ther comprises an osmolarity adjusting agent. In some                 In some embodiments, the ophthalmic composition is not
embodiments, the osmolarity adjusting agent is sodium              formulated as an injectable formulation.
chloride.                                                       50    Other features and technical effects of the methods and
   In some embodiments, the ophthalmic composition fur-            compositions described herein will become apparent from
ther comprises a preservative. In some embodiments, the            the following detailed description. It should be understood,
preservative is selected from benzalkonium chloride, cetri-        however, that the detailed description and the specific
monium, sodium perborate, stabilized oxychloro complex,            examples, while indicating specific embodiments, are given
SofZia, polyquaternium-1, chlorobutanol, edetate disodium, 55 by way of illustration only.
polyhexamethylene biguanide, or combinations thereof.
   In some embodiments, the ophthalmic composition fur-                   BRIEF DESCRIPTION OF THE DRAWINGS
ther comprises a buffer agent. In some embodiments, the
buffer agent is selected from borates, borate-polyol com-             The novel features of the disclosure are set forth with
plexes, succinate, phosphate buffering agents, citrate buff- 60 particularity in the appended claims. A better understanding
ering agents, acetate buffering agents, carbonate buffering        of the features and advantages of the present disclosure will
agents, organic buffering agents, amino acid buffering             be obtained by reference to the following detailed descrip-
agents, or combinations thereof.                                   tion that sets forth illustrative embodiments, in which the
   In some embodiments, the ophthalmic composition fur-            principles of the disclosure are utilized, and the accompa-
ther comprises a tonicity adjusting agent. In some embodi- 65 nying drawings of which:
ments, the tonicity adjusting agent is selected from sodium           FIG. 1A-FIG. 1C show the shelf life prediction of 0.01%
chloride, sodium nitrate, sodium sulfate, sodium bisulfate,        atropine sulfate solution with a primary degradant RRT


                                                      Appx000313
                                                      Appx000313                     Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 20
                                                                                                                 20 of
                                                                                                                    of 67
                                                                                                                       67
              Case: 23-2402                Document: 15              Page: 370           Filed: 02/01/2024


                                                   US 10,888,557 B2
                              9                                                                 10
0.87-0.89, and a n.m.t. of 0.5% area, based on data obtained      sometimes leads to undesirable side effect, and that localized
from samples stored at 25° C. and 40° C. The pH range of          delivery of muscarinic antagonist (e.g. atropine or its phar-
the atropine sulfate solution is from 5.9-6.2.                    maceutically acceptable salts) reduces or prevents the afore-
   FIG. 2A-FIG. 2C show the shelf life prediction of 0.01%        mentioned systemic exposure.
atropine sulfate solution with a primary degradant RRT 5             Further, the present disclosure recognizes that some liquid
0.87-0.89, and a n.m.t. of 0.5% area, based on data obtained      muscarinic antagonist (e.g. atropine) compositions are for-
from samples stored at 25° C. and 60° C. The pH range of          mulated at a relatively lower pH range (e.g. less than 4.5) for
the atropine sulfate solution is from 5.9-6.2.                    stability of muscarinic antagonist (e.g. atropine or its phar-
   FIG. 3 illustrates mass balance at 4 weeks and at 60° C.       maceutically acceptable salts). For some individuals, the
condition for atropine sulfate formulations disclosed in 10 lower pH range in some instances causes discomfort or other
Example 9.                                                        side effects such as pain or burning sensation in the eye,
   FIG. 4 illustrates atropine sulfate (0.010%) formulation       which is prevented or alleviated by formulating muscarinic
stability in acetic acid. The atropine sulfate formulation is     antagonist (e.g. atropine) compositions at higher pH ranges.
formulated with acetic acid and either with H2O (top panel,       For some individuals, the lower pH in some instances elicits
Formulation 3) or D2O (bottom panel, Formulation 7). 15 a tear response which reduces the absorption of the drug in
Formulation 3 has a pH of 4.8 and Formulation 7 has a pD          the eye and therefore the effectiveness.
of 5.2. Both formulations are stored at 60° C. for 4 weeks           Still further, the present disclosure recognizes that some
prior to analysis.                                                muscarinic antagonist (e.g. atropine) liquid compositions
   FIG. 5 illustrates atropine sulfate (0.01%) formulation        formulated at lower concentrations (e.g. 0.001% to 0.05%)
stability in citric acid. The atropine sulfate formulation is 20 present stability challenges that are less so in higher con-
formulated with citric acid and either with H2O (top panel,       centrations (e.g. 0.1-1%). Without wishing to be bound by
Formulation 5) or D2O (bottom panel, Formulation 8).              any particular theory, it is contemplated that the some
Formulation 5 has a pH of 5.8 and Formulation 8 has a pD          muscarinic antagonist (e.g. atropine) contributes to the sta-
of 6.2. Both formulations are stored at 60° C. for 4 weeks        bility of an ophthalmic composition, such as an aqueous
prior to analysis.                                             25 solution. For example, the concentration of the muscarinic
   FIG. 6 illustrates comparison of total RS and tropic acid      antagonist (e.g. atropine) in some embodiments affects the
for atropine sulfate (0.025%) formulation (Formulation 4) at      pH or pD of the ophthalmic composition, such as with the
pH 4.8 in H2O.                                                    muscarinic antagonist acting as a buffering agent. Further-
   FIG. 7 illustrates comparison of total RS and tropic acid      more, the concentration of the muscarinic antagonist (e.g.
for atropine sulfate (0.01%) formulation (Formulation 7) at 30 atropine) in some embodiments affects the interaction
pD 5.2 in D2O.                                                    between the muscarinic antagonist and other ingredients of
   FIG. 8 illustrates comparison of total RS and tropic acid      the ophthalmic composition, which in turn affects the sta-
for atropine sulfate (0.01%) formulation (Formulation 5) at       bility of the ophthalmic composition.
pH 5.8 in H2O.                                                       Finally, the present disclosure recognizes that deuterated
   FIG. 9 illustrates comparison of total RS and tropic acid 35 water stabilizes ophthalmic compositions. In some cases, the
for atropine sulfate (0.025%) formulation (Formulation 6) at      deuterated water is a weak acid as compared to H2O, as such
pH 5.8 in H2O.                                                    deuterated water comprises a lower concentration of the
   FIG. 10 illustrates estimated shelf lifes for D2O and H2O      reactive species (e.g., OD) which in some instances leads
formulations disclosed in Examples 11 and 12.                     to base catalyzed hydrolysis of an active agent in the
   FIG. 11A-FIG. 11C illustrate stability of atropine sulfate 40 ophthalmic composition. As such, in some instances com-
formulation 8 in H2O and D2O under three storage condi-           positions comprising deuterated water leads to reduced base
tions.                                                            catalyzed hydrolysis when compared to compositions com-
                                                                  prising H2O. In some instances, deuterated water further
            DETAILED DESCRIPTION OF THE                           lowers the buffering capacity of an ophthalmic composition,
                        DISCLOSURE                             45 leading to less tear reflex in the eye.
                                                                     Myopia, axial elongation of the eye, affects a large
   The present disclosure recognizes that there is a need for     proportion of the population. The onset of myopia is gen-
a stabilized ophthalmic composition with extended shelf life      erally during the grade school years and progresses until
upon storage. The present disclosure also recognizes that         growth of the eye is completed. The present disclosure
there is a need for stabilizing an ophthalmic composition so recognizes the importance of compositions and treatments
through arresting or reducing hydrolysis of at least some of      for preventing or arresting the development of myopia,
its active agents. The present disclosure further recognizes      especially compositions and treatments that allow conve-
that there is a need for an ophthalmic composition that           nient administration, reduce potential side effects, has suit-
provides convenient and effective delivery of a muscarinic        able stability, and, or provide relatively consistent therapeu-
antagonist such as atropine in the eye of a patient.           55 tic effects.
   The present disclosure recognizes that muscarinic antago-         Ophthalmic Muscarinic Antagonist Composition
nist (e.g. atropine or its pharmaceutically acceptable salts)        Provided herein is an ophthalmic composition containing
prevents or arrests the development of myopia in humans,          low concentrations of an ophthalmic agent. In some embodi-
for example as evidenced by reduction of the rate of increase     ments, the ophthalmic composition includes from about
of myopia in young people. The present disclosure also 60 0.001 wt % to about 0.05 wt % of an ophthalmic agent for
recognizes the effects of muscarinic antagonist (e.g. atropine    treatment of an ophthalmic disorder or condition; and an
or its pharmaceutically acceptable salts) on reduction of         ophthalmically acceptable carrier, wherein the ophthalmic
axial elongation and myopia in visually impaired chick eyes,      agent is distributed with substantial uniformity throughout
and on ocular growth and muscarinic cholinergic receptors         the ophthalmically acceptable carrier. In some instances, the
in young rhesus monkeys.                                       65 ophthalmic agent is a muscarinic antagonist.
   In addition, the present disclosure recognizes that sys-          Provided herein is an ophthalmic composition containing
temic absorption of muscarinic antagonist (e.g. atropine)         low concentrations of a muscarinic antagonist. In some


                                                       Appx000314
                                                       Appx000314                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 21
                                                                                                                 21 of
                                                                                                                    of 67
                                                                                                                       67
               Case: 23-2402               Document: 15               Page: 371            Filed: 02/01/2024


                                                    US 10,888,557 B2
                             11                                                                  12
embodiments, the ophthalmic composition includes from               nation with one or more of sympathetic agonists: phenyleph-
about 0.001 wt % to about 0.05 wt % of a muscarinic                 rine or hydroxyamphetamine.
antagonist for treatment of an ophthalmic disorder or con-             Provided herein is an ophthalmic composition containing
dition; and an ophthalmically acceptable carrier, wherein the       low concentrations of atropine or its pharmaceutically
muscarinic antagonist is distributed with substantial unifor- 5 acceptable salts. In some embodiments, the ophthalmic
mity throughout the ophthalmically acceptable carrier.              composition includes from about 0.001 wt % to about 0.05
   In some instances, the muscarinic antagonist includes            wt % of atropine or its pharmaceutically acceptable salts for
atropine, atropine sulfate, noratropine, atropine-N-oxide,          treatment of an ophthalmic disorder or condition; and an
tropine, tropic acid, atropine methonitrate, diphenhy-              ophthalmically acceptable carrier, wherein the ophthalmic
                                                                 10
dramine, dimenhydrinate, dicyclomine, flavoxate, oxy-               agent is distributed with substantial uniformity throughout
butynin, tiotropium, hyoscine, scopolomine (L-hyoscine),            the ophthalmically acceptable carrier.
hydroxyzine, ipratropium, tropicamide, cyclopentolate,                 Provided herein is an ophthalmic composition containing
pirenzapine, homatropine, solifenacin, darifenacin, benza-          low concentrations of atropine sulfate. In some embodi-
tropine, mebeverine, procyclidine, aclidinium bromide, tri- 15 ments, the ophthalmic composition includes from about
hexyphenidyl/benzhexol, tolterodine, or a combination               0.001 wt % to about 0.05 wt % of atropine sulfate for
thereof. In some instances, the muscarinic antagonist               treatment of an ophthalmic disorder or condition; and an
includes atropine, atropine sulfate, noratropine, atropine-N-       ophthalmically acceptable carrier, wherein the ophthalmic
oxide, tropine, tropic acid, hyoscine, scopolomine, tropic-         agent is distributed with substantial uniformity throughout
amide, cyclopentolate, pirenzapine, homatropine, or a com- 20 the ophthalmically acceptable carrier.
bination thereof. In some embodiments, the muscarinic                  In some embodiments, the ophthalmic disorder or condi-
antagonist is atropine, or a pharmaceutically acceptable salt       tion is pre-myopia, myopia or progression of myopia.
or prodrug thereof. In some embodiments, the muscarinic                The present disclosure further recognizes that the clinical
antagonist is atropine sulfate.                                     use of atropine as a therapy has been limited due to its ocular
   In some embodiments, the ophthalmic composition com- 25 side effects including glare from pupillary dilation and
prise a muscarinic antagonist selected from atropine, atro-         blurred vision due to loss of accommodation. Without wish-
pine sulfate, noratropine, atropine-N-oxide, tropine, tropic        ing to be bound by any particular theory, it is contemplated
acid, atropine methonitrate, diphenhydramine, dimenhydri-           that the limited use of atropine against myopia development,
nate, dicyclomine, flavoxate, oxybutynin, tiotropium, hyos-         include its ocular side effects, is attributable to the concen-
cine, scopolomine (L-hyoscine), hydroxyzine, ipratropium, 30 tration of atropine used in known ophthalmic formulations
tropicamide, cyclopentolate, pirenzapine, homatropine,
                                                                    (e.g. 1 wt % or higher).
solifenacin, darifenacin, benzatropine, mebeverine, procy-
                                                                       The present disclosure further recognizes the challenges
clidine, aclidinium bromide, trihexyphenidyl/benzhexol,
                                                                    present in formulation of compositions that contain low
tolterodine, or a combination thereof. In some instances, the
muscarinic antagonist includes atropine, atropine sulfate, 35 concentrations, especially very low concentrations (e.g.
noratropine, atropine-N-oxide, tropine, tropic acid, hyos-          from about 0.001 wt % to about 0.5 wt %), of ophthalmic
cine, scopolomine, tropicamide, cyclopentolate, pirenzap-           agents, such as muscarinic antagonist (e.g. atropine or its
ine, or homatropine.                                                pharmaceutically acceptable salts). In particular, pharma-
   In some embodiments, the ophthalmic composition com-             ceutical compositions with ophthalmic agent at such low
prise two or more muscarinic antagonists in which the two 40 concentrations are difficult to maintain dose-to-dose unifor-
or more muscarinic antagonists comprises atropine, atropine         mity in term of ophthalmic agent content and/or distribution.
sulfate, noratropine, atropine-N-oxide, tropine, tropic acid,          In some aspects, described herein are formulations or
atropine methonitrate, diphenhydramine, dimenhydrinate,             solutions of muscarinic antagonist (e.g., atropine) formu-
dicyclomine, flavoxate, oxybutynin, tiotropium, hyoscine,           lated in deuterated water. In some aspects, formulations or
scopolomine (L-hyoscine), hydroxyzine, ipratropium, tropi- 45 solutions of muscarinic antagonist (e.g., atropine) formu-
camide, cyclopentolate, pirenzapine, homatropine, solifena-         lated in deuterated water are stable at different temperatures,
cin, darifenacin, benzatropine, mebeverine, procyclidine,           at different relative humidity, with an acidic pD, and with a
aclidinium bromide, trihexyphenidyl/benzhexol, tolt-                potency of at least 80% relative to the ophthalmic agent. In
erodine, or a combination thereof. In some instances, the           additional aspects, formulations or solutions of muscarinic
muscarinic antagonist includes atropine, atropine sulfate, so antagonist (e.g., atropine) formulated in deuterated water
noratropine, atropine-N-oxide, tropine, tropic acid, hyos-          has a lowered buffering capacity. In such instances, the
cine, scopolomine, tropicamide, cyclopentolate, pirenzap-           lowered buffering capacity of the ophthalmic formulations
ine, homatropine, or any combination thereof.                       or solutions when administered into the eye allows the
   In some embodiments, the ophthalmic composition com-             ophthalmic formulation or solution to reach physiological
prises one or more muscarinic antagonist in combination 55 pH at a faster rate than compared to an equivalent ophthal-
with one or more sympathetic agonists. In some embodi-              mic formulation or solution formulated in H2O.
ments, the sympathetic agonist is selected from phenyleph-             In some aspects, described herein are formulations of
rine or hydroxyamphetamine. In some embodiments, the                muscarinic antagonist (e.g. atropine) at low concentrations
ophthalmic composition comprises one or more of musca-              that does not have a dose-to-dose variation. In some aspects,
rinic antagonist: atropine, atropine sulfate, noratropine, atro- 60 described herein are formulations of muscarinic antagonist
pine-N-oxide, tropine, tropic acid, atropine methonitrate,          (e.g. atropine) at low concentrations that are stable at
diphenhydramine, dimenhydrinate, dicyclomine, flavoxate,            different temperatures, at different relative humidity, with an
oxybutynin, tiotropium, hyoscine, scopolomine (L-hyos-              acidic pD, and with a potency of at least 80% relative to the
cine), hydroxyzine, ipratropium, tropicamide, cyclopento-           ophthalmic agent.
late, pirenzapine, homatropine, solifenacin, darifenacin, 65           In other aspects, described herein include formulating the
benzatropine, mebeverine, procyclidine, aclidinium bro-             ophthalmic composition as an ophthalmic gel or an ophthal-
mide, trihexyphenidyl/benzhexol, or tolterodine; in combi-          mic ointment. For example, some ophthalmic gel or an


                                                       Appx000315
                                                       Appx000315                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 22
                                                                                                                   22 of
                                                                                                                      of 67
                                                                                                                         67
              Case: 23-2402               Document: 15             Page: 372           Filed: 02/01/2024


                                                  US 10,888,557 B2
                            13                                                               14
ophthalmic ointment described herein allows desirable dose-      nist) for an extended period of time under storage condition.
to-dose uniformity, reduced or limited systemic exposure, or     In some embodiments, the composition comprises at least
combinations thereof.                                            about 97% of the ophthalmic agent (e.g. muscarinic antago-
   Ophthalmic Solution Muscarinic Antagonist Composition         nist) for an extended period of time under storage condition.
   Disclosed herein, in certain embodiments, is an ophthal- 5 In some embodiments, the composition comprises at least
mic composition formulated as an aqueous solution. In some       about 98% of the ophthalmic agent (e.g. muscarinic antago-
embodiments, the ophthalmic composition comprises from           nist) for an extended period of time under storage condition.
about 0.001 wt % to about 0.05 wt % of a muscarinic              In some embodiments, the composition comprises at least
antagonist and deuterated water. As used herein, deuterated      about 99% of the ophthalmic agent (e.g. muscarinic antago-
water refers to D2O, DHO, heavy water, and/or deuterium 10 nist) for an extended period of time under storage condition.
oxide.                                                              In some embodiments, the composition has a potency of
   In some embodiments, the composition comprises at least       at least about 80% after extended period of time under
about 70% of the ophthalmic agent (e.g. muscarinic antago-       storage condition. In some embodiments, the composition
nist) for an extended period of time under storage condition.    has a potency of at least about 81% after extended period of
In some embodiments, the composition comprises at least 15 time under storage condition. In some embodiments, the
about 75% of the ophthalmic agent (e.g. muscarinic antago-       composition has a potency of at least about 82% after
nist) for an extended period of time under storage condition.    extended period of time under storage condition. In some
In some embodiments, the composition comprises at least          embodiments, the composition has a potency of at least
about 80% of the ophthalmic agent (e.g. muscarinic antago-       about 83% after extended period of time under storage
nist) for an extended period of time under storage condition. 20 condition. In some embodiments, the composition has a
In some embodiments, the composition comprises at least          potency of at least about 84% after extended period of time
about 81% of the ophthalmic agent (e.g. muscarinic antago-       under storage condition. In some embodiments, the compo-
nist) for an extended period of time under storage condition.    sition has a potency of at least about 85% after extended
In some embodiments, the composition comprises at least          period of time under storage condition. In some embodi-
about 82% of the ophthalmic agent (e.g. muscarinic antago- 25 ments, the composition has a potency of at least about 86%
nist) for an extended period of time under storage condition.    after extended period of time under storage condition. In
In some embodiments, the composition comprises at least          some embodiments, the composition has a potency of at
about 83% of the ophthalmic agent (e.g. muscarinic antago-       least about 87% after extended period of time under storage
nist) for an extended period of time under storage condition.    condition. In some embodiments, the composition has a
In some embodiments, the composition comprises at least 30 potency of at least about 88% after extended period of time
about 84% of the ophthalmic agent (e.g. muscarinic antago-       under storage condition. In some embodiments, the compo-
nist) for an extended period of time under storage condition.    sition has a potency of at least about 89% after extended
In some embodiments, the composition comprises at least          period of time under storage condition. In some embodi-
about 85% of the ophthalmic agent (e.g. muscarinic antago-       ments, the composition has a potency of at least 90% after
nist) for an extended period of time under storage condition. 35 extended period of time under storage condition. In some
In some embodiments, the composition comprises at least          embodiments, the composition has a potency of at least 91%
about 86% of the ophthalmic agent (e.g. muscarinic antago-       after extended period of time under storage condition. In
nist) for an extended period of time under storage condition.    some embodiments, the composition has a potency of at
In some embodiments, the composition comprises at least          least 92% after extended period of time under storage
about 87% of the ophthalmic agent (e.g. muscarinic antago- 40 condition. In some embodiments, the composition has a
nist) for an extended period of time under storage condition.    potency of at least 93% after extended period of time under
In some embodiments, the composition comprises at least          storage condition. In some embodiments, the composition
about 88% of the ophthalmic agent (e.g. muscarinic antago-       has a potency of at least 94% after extended period of time
nist) for an extended period of time under storage condition.    under storage condition. In some embodiments, the compo-
In some embodiments, the composition comprises at least 45 sition has a potency of at least 95% after extended period of
about 89% of the ophthalmic agent (e.g. muscarinic antago-       time under storage condition. In some embodiments, the
nist) for an extended period of time under storage condition.    composition has a potency of at least 96% after extended
In some embodiments, the composition comprises at least          period of time under storage condition. In some embodi-
about 90% of the ophthalmic agent (e.g. muscarinic antago-       ments, the composition has a potency of at least 97% after
nist) for an extended period of time under storage condition. so extended period of time under storage condition. In some
In some embodiments, the composition comprises at least          embodiments, the composition has a potency of at least 98%
about 91% of the ophthalmic agent (e.g. muscarinic antago-       after extended period of time under storage condition. In
nist) for an extended period of time under storage condition.    some embodiments, the composition has a potency of at
In some embodiments, the composition comprises at least          least 99% after extended period of time under storage
about 92% of the ophthalmic agent (e.g. muscarinic antago- 55 condition.
nist) for an extended period of time under storage condition.       In some embodiments, the extended period of time is at
In some embodiments, the composition comprises at least          least 1 week. In some embodiments, the extended period of
about 93% of the ophthalmic agent (e.g. muscarinic antago-       time is at least 2 weeks. In some embodiments, the extended
nist) for an extended period of time under storage condition.    period of time is at least 3 weeks. In some embodiments, the
In some embodiments, the composition comprises at least 60 extended period of time is at least 1 month. In some
about 94% of the ophthalmic agent (e.g. muscarinic antago-       embodiments, the extended period of time is at least 2
nist) for an extended period of time under storage condition.    months. In some embodiments, the extended period of time
In some embodiments, the composition comprises at least          is at least 3 months. In some embodiments, the extended
about 95% of the ophthalmic agent (e.g. muscarinic antago-       period of time is at least 4 months. In some embodiments,
nist) for an extended period of time under storage condition. 65 the extended period of time is at least 5 months. In some
In some embodiments, the composition comprises at least          embodiments, the extended period of time is at least 6
about 96% of the ophthalmic agent (e.g. muscarinic antago-       months. In some embodiments, the extended period of time


                                                     Appx000316
                                                     Appx000316                    Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 23
                                                                                                               23 of
                                                                                                                  of 67
                                                                                                                     67
              Case: 23-2402              Document: 15             Page: 373           Filed: 02/01/2024


                                                 US 10,888,557 B2
                           15                                                               16
is at least 7 months. In some embodiments, the extended         5 and about 7.5, or about 5.5 and about 7. In some embodi-
period of time is at least 8 months. In some embodiments,       ments, the composition has a pD of less than about 7.5. In
the extended period of time is at least 9 months. In some       some embodiments, the composition has a pD of less than
embodiments, the extended period of time is at least 10         about 7.4. In some embodiments, the composition has a pD
months. In some embodiments, the extended period of time 5 of less than about 7.3. In some embodiments, the composi-
is at least 11 months. In some embodiments, the extended        tion has a pD of less than about 7.2. In some embodiments,
period of time is at least 12 months (i.e. 1 year). In some     the composition has a pD of less than about 7.1. In some
embodiments, the extended period of time is at least 18         embodiments, the composition has a pD of less than about
months (i.e. 1.5 years). In some embodiments, the extended      7. In some embodiments, the composition has a pD of less
period of time is at least 24 months (i.e. 2 years). In some 10 than about 6.9. In some embodiments, the composition has
embodiments, the extended period of time is at least 36         a pD of less than about 6.8. In some embodiments, the
months (i.e. 3 years). In some embodiments, the extended        composition has a pD of less than about 6.7. In some
period of time is at least 3 years. In some embodiments, the    embodiments, the composition has a pD of less than about
extended period of time is at least 5 years, or more.           6.6. In some embodiments, the composition has a pD of less
   In some embodiments, the temperature of the storage 15 than about 6.5. In some embodiments, the composition has
condition is between about 20° C. and about 70° C. In some      a pD of less than about 6.4. In some embodiments, the
embodiments, the temperature of the storage condition is        composition has a pD of less than about 6.3. In some
between about 25° C. and about 65° C., about 30° C. and         embodiments, the composition has a pD of less than about
about 60° C., about 35° C. and about 55° C., or about 40°       6.2. In some embodiments, the composition has a pD of less
C. and about 50° C. In some embodiments, the temperature 20 than about 6.1. In some embodiments, the composition has
of the storage condition is about 25° C. In some embodi-        a pD of less than about 6. In some embodiments, the
ments, the temperature of the storage condition is about 40°    composition has a pD of less than about 5.9. In some
C. In some embodiments, the temperature of the storage          embodiments, the composition has a pD of less than about
condition is about 60° C.                                       5.8. In some embodiments, the composition has a pD of less
   In some embodiments, the relative humidity of the storage 25 than about 5.7. In some embodiments, the composition has
condition is between about 50% and about 80%, or between        a pD of less than about 5.6. In some embodiments, the
about 60% and about 75%. In some embodiments, the               composition has a pD of less than about 5.5. In some
relative humidity of the storage condition is about 60%. In     embodiments, the composition has a pD of less than about
some embodiments, the relative humidity of the storage          5.4. In some embodiments, the composition has a pD of less
condition is about 75%.                                      30 than about 5.3. In some embodiments, the composition has
   In some embodiments, the composition comprises less          a pD of less than about 5.2. In some embodiments, the
than 60% of H2O. In some embodiments, the composition           composition has a pD of less than about 5.1. In some
comprises less than 55% of H2O. In some embodiments, the        embodiments, the composition has a pD of less than about
composition comprises less than 50% of H2O. In some             5. In some embodiments, the composition has a pD of less
embodiments, the composition comprises less than 45% of 35 than about 4.9. In some embodiments, the composition has
H2O. In some embodiments, the composition comprises less        a pD of less than about 4.8. In some embodiments, the
than 40% of H2O. In some embodiments, the composition           composition has a pD of less than about 4.7. In some
comprises less than 35% of H2O. In some embodiments, the        embodiments, the composition has a pD of less than about
composition comprises less than 30% of H2O. In some             4.6. In some embodiments, the composition has a pD of less
embodiments, the composition comprises less than 25% of 40 than about 4.5. In some embodiments, the composition has
H2O. In some embodiments, the composition comprises less        a pD of less than about 4.4. In some embodiments, the
than 20% of H2O. In some embodiments, the composition           composition has a pD of less than about 4.3. In some
comprises less than 15% of H2O. In some embodiments, the        embodiments, the composition has a pD of less than about
composition comprises less than 10% of H2O.                     4.2. In some embodiments, the composition has a pD of less
   In some embodiments, the composition comprises from 45 than about 4.1. In some embodiments, the composition has
less than 5% of H2O to 0% of H2O. In some embodiments,          a pD of less than about 4.
the composition comprises less than 5% of H2O. In some             In some embodiments, the composition comprising deu-
embodiments, the composition comprises less than 4.5% of        terated water has a lowered buffering capacity than an
H2O. In some embodiments, the composition comprises less        equivalent composition comprising H2O. As described else-
than 4% of H2O. In some embodiments, the composition 50 where herein, in some embodiments, the lowered buffering
comprises less than 3.5% of H2O. In some embodiments, the       capacity allows the composition comprising deuterated
composition comprises less than 3% of H2O. In some              water to normalize to physiological pH at a faster rate than
embodiments, the composition comprises less than 2.5% of        a composition comprising H2O. In some embodiments, the
H2O. In some embodiments, the composition comprises less        lowered buffering capacity allows the composition to induce
than 2% of H2O. In some embodiments, the composition 55 less tear reflex than an equivalent composition comprising
comprises less than 1.5% of H2O. In some embodiments, the       H2O.
composition comprises less than 1% of H2O. In some                 In some instances, the composition comprising deuterated
embodiments, the composition comprises less than 0.5% of        water stabilizes muscarinic antagonist (e.g., atropine). In
H2O. In some embodiments, the composition comprises less        some embodiments, this is due to a lower concentration of
than 0.4% of H2O. In some embodiments, the composition 60 the reactive species (e.g., OD) in the D2O aqueous system
comprises less than 0.3% of H2O. In some embodiments, the       compared to the concentration of the reactive species (e.g.,
composition comprises less than 0.2% of H2O. In some               OH) in an equivalent H2O aqueous system. In some cases,
embodiments, the composition comprises less than 0.1% of        base catalyzed hydrolysis leads to the presence of tropine
H2O. In some embodiments, the composition comprises 0%          degradant from atropine. In some cases, with a lower
of H2O.                                                      65 concentration of the reactive species that causes tropine
   In some embodiments, the composition has a pD of             degradant formation, atropine solution is more stable in a
between about 4 and about 8, about 4.5 and about 7.8, about     D2O aqueous system than compared to an equivalent H2O


                                                    Appx000317
                                                    Appx00 0317                   Eyenovia Exhibit
                                                                                  Eyenovia Exhibit 1001,
                                                                                                   1001, Page
                                                                                                         Page 24
                                                                                                              24 of
                                                                                                                 of 67
                                                                                                                    67
              Case: 23-2402                Document: 15              Page: 374            Filed: 02/01/2024


                                                   US 10,888,557 B2
                             17                                                                 18
aqueous system. In some embodiments, the ophthalmic                 fate. In some instances, a composition comprising atropine
composition formulated with deuterated water allows for a           or atropine sulfate does not stabilize singlet oxygen upon
more stable ophthalmic composition relative to the ophthal-         irradiation with UV. In some instances, a composition com-
mic composition formulated with H2O.                                prising atropine or atropine sulfate quenches photogenerated
   In some embodiments, the composition comprises less 5 singlet oxygen species present in the composition.
than 20% of major degradant based on the concentration of              Ophthalmic Muscarinic Antagonist Concentration
the ophthalmic agent after extended period of time under               In some embodiments, the compositions described herein
storage condition. In some embodiments, the composition             have a concentration of ophthalmic agent between about
comprises less than 15% of major degradant based on the             0.001% to about 0.050%, between about 0.005% to about
concentration of the ophthalmic agent after extended period 10 0.050%, between about 0.010% to about 0.050%, between
of time under storage condition.                                    about 0.015% to about 0.050%, between about 0.020% to
   In some embodiments, the composition comprises less              about 0.050%, between about 0.025% to about 0.050%,
than 10% of major degradant based on the concentration of           between about 0.030% to about 0.050%, between about
the ophthalmic agent after extended period of time under            0.035% to about 0.050%, between about 0.040% to about
storage condition. In some embodiments, the composition 15 0.050%, or between about 0.045% to about 0.050% of the
comprises less than 5% of major degradant based on the              ophthalmic agent, or pharmaceutically acceptable prodrug
concentration of the ophthalmic agent after extended period         or salt thereof, by weight of the composition. In some
of time under storage condition. In some embodiments, the           instances, the prodrug of the ophthalmic agent (e.g. musca-
composition comprises less than 2.0% of major degradant             rinic antagonist) is chemically converted into the ophthalmic
based on the concentration of the ophthalmic agent after 20 agent (e.g. muscarinic antagonist) after the administration of
extended period of time under storage condition. In some            the ophthalmic composition. In a non-limiting example, the
embodiments, the composition comprises less than 1.5% of            muscarinic antagonist prodrug has a chemical bond that is
major degradant based on the concentration of the ophthal-          cleavable by one or more enzymes in tears. In some embodi-
mic agent after extended period of time under storage               ments, the ophthalmic agent is a muscarinic antagonist. In
condition. In some embodiments, the composition com- 25 some embodiments, the muscarinic antagonist comprises
prises less than 1.0% of major degradant based on the               atropine, atropine sulfate, noratropine, atropine-N-oxide,
concentration of the ophthalmic agent after extended period         tropine, tropic acid, hyoscine, scopolomine, tropicamide,
of time under storage condition. In some embodiments, the           cyclopentolate, pirenzapine, homatropine, or a combination
composition comprises less than 0.5% of major degradant             thereof. In some embodiments, the muscarinic antagonist is
based on the concentration of the ophthalmic agent after 30 atropine, or a pharmaceutically acceptable salt thereof. In
extended period of time under storage condition. In some            some embodiments, the muscarinic antagonist is atropine
embodiments, the composition comprises less than 0.4% of            sulfate. As described herein, the ophthalmic agent includes
major degradant based on the concentration of the ophthal-          optically pure stereoisomers, optically enriched stereoiso-
mic agent after extended period of time under storage               mers, and a racemic mixture of stereoisomers. For example,
condition. In some embodiments, the composition com- 35 some ophthalmic compositions disclosed herein includes
prises less than 0.3% of major degradant based on the               atropine or atropine sulfate in which the atropine is a
concentration of the ophthalmic agent after extended period         racemic mixture of D- and L-isomers; and some ophthalmic
of time under storage condition. In some embodiments, the           compositions disclosed herein includes atropine or atropine
composition comprises less than 0.2% of major degradant             sulfate in which the atropine is a optically enriched in favor
based on the concentration of the ophthalmic agent after 40 of the more ophthalmically active L-isomer.
extended period of time under storage condition. In some               In some embodiments, the compositions described herein
embodiments, the composition comprises less than 0.1% of            have a concentration of ophthalmic agent between about
major degradant based on the concentration of the ophthal-          0.001% to about 0.045%, between about 0.005% to about
mic agent after extended period of time under storage               0.045%, between about 0.010% to about 0.045%, between
condition. In some embodiments, the major degradant is 45 about 0.015% to about 0.045%, between about 0.020% to
tropic acid.                                                        about 0.045%, between about 0.025% to about 0.045%,
   In some embodiments, the primary degradant is an early           between about 0.030% to about 0.045%, between about
eluting related substance at RRT of 0.87-0.89 according to          0.035% to about 0.045%, or between about 0.040% to about
the UPLC method described herein (Table 10). In some                0.045% of the ophthalmic agent, or pharmaceutically
instances, the early eluting related substance is referred to as so acceptable prodrug or salt thereof, by weight of the com-
RRT 0.87-0.89. In some embodiments, the primary degrad-             position. In some embodiments, the ophthalmic agent is a
ant is RRT 0.87-0.89.                                               muscarinic antagonist. In some embodiments, the muscar-
   In some embodiments, the composition does not stabilize          inic antagonist comprises atropine, atropine sulfate, nora-
singlet oxygen upon irradiation with UV. In some cases, one         tropine, atropine-N-oxide, tropine, tropic acid, hyoscine,
or more of muscarinic antagonists described herein does not 55 scopolomine, tropicamide, cyclopentolate, pirenzapine,
extend singlet oxygen lifetime. In some cases, one or more          homatropine, or a combination thereof. In some embodi-
of muscarinic antagonists described herein is a radical             ments, the muscarinic antagonist is atropine, or a pharma-
scavenger, which quenches photogenerated singlet oxygen             ceutically acceptable salt thereof. In some embodiments, the
species within the composition. In some instances, the one          muscarinic antagonist is atropine sulfate.
or more muscarinic antagonist comprises atropine, atropine 60          In some embodiments, the compositions described herein
sulfate, noratropine, atropine-N-oxide, tropine, tropic acid,       have a concentration of ophthalmic agent between about
hyoscine, scopolomine, tropicamide, cyclopentolate,                 0.001% to about 0.040%, between about 0.005% to about
pirenzapine, homatropine, or a combination thereof. In some         0.040%, between about 0.010% to about 0.040%, between
instances, the one or more muscarinic antagonist comprises          about 0.015% to about 0.040%, between about 0.020% to
atropine, atropine sulfate, homatropine, scopolamine or a 65 about 0.040%, between about 0.025% to about 0.040%,
combination thereof. In some instances, the one or more             between about 0.030% to about 0.040%, between about
muscarinic antagonist comprises atropine or atropine sul-           0.035% to about 0.040% of the active ingredient, or phar-


                                                       Appx000318
                                                       Appx000318                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 25
                                                                                                                  25 of
                                                                                                                     of 67
                                                                                                                        67
              Case: 23-2402               Document: 15             Page: 375           Filed: 02/01/2024


                                                  US 10,888,557 B2
                            19                                                               20
maceutically acceptable prodrug or salt thereof, by weight of    thereof, by weight of the composition. In some embodi-
the composition. In some embodiments, the ophthalmic             ments, the ophthalmic agent is a muscarinic antagonist. In
agent is a muscarinic antagonist. In some embodiments, the       some embodiments, the muscarinic antagonist comprises
muscarinic antagonist comprises atropine, atropine sulfate,      atropine, atropine sulfate, noratropine, atropine-N-oxide,
noratropine, atropine-N-oxide, tropine, tropic acid, hyos- 5 tropine, tropic acid, hyoscine, scopolomine, tropicamide,
cine, scopolomine, tropicamide, cyclopentolate, pirenzap-        cyclopentolate, pirenzapine, homatropine, or a combination
ine, homatropine, or a combination thereof. In some              thereof. In some embodiments, the muscarinic antagonist is
embodiments, the muscarinic antagonist is atropine, or a         atropine, or a pharmaceutically acceptable salt thereof. In
pharmaceutically acceptable salt thereof. In some embodi-        some embodiments, the muscarinic antagonist is atropine
ments, the muscarinic antagonist is atropine sulfate.         10
                                                                 sulfate.
   In some embodiments, the compositions described herein
                                                                    In some embodiments, the compositions described herein
have a concentration of ophthalmic agent between about
                                                                 have a concentration of ophthalmic agent between about
0.001% to about 0.035%, between about 0.005% to about
0.035%, between about 0.010% to about 0.035%, between            0.001% to about 0.015%, between about 0.005% to about
about 0.015% to about 0.035%, between about 0.020% to 15 0.015%, or between about 0.010% to about 0.015% of the
about 0.035%, between about 0.025% to about 0.035%, or           ophthalmic agent, or pharmaceutically acceptable prodrug
between about 0.030% to about 0.035% of the ophthalmic           or salt thereof, by weight of the composition. In some
agent, or pharmaceutically acceptable prodrug or salt            embodiments, the ophthalmic agent is a muscarinic antago-
thereof, by weight of the composition. In some embodi-           nist. In some embodiments, the muscarinic antagonist com-
ments, the ophthalmic agent is a muscarinic antagonist. In 20 prises atropine, atropine sulfate, noratropine, atropine-N-
some embodiments, the muscarinic antagonist comprises            oxide, tropine, tropic acid, hyoscine, scopolomine,
atropine, atropine sulfate, noratropine, atropine-N-oxide,       tropicamide, cyclopentolate, pirenzapine, homatropine, or a
tropine, tropic acid, hyoscine, scopolomine, tropicamide,        combination thereof. In some embodiments, the muscarinic
cyclopentolate, pirenzapine, homatropine, or a combination       antagonist is atropine, or a pharmaceutically acceptable salt
thereof. In some embodiments, the muscarinic antagonist is 25 thereof. In some embodiments, the muscarinic antagonist is
atropine, or a pharmaceutically acceptable salt thereof. In      atropine sulfate.
some embodiments, the muscarinic antagonist is atropine             In some embodiments, the compositions described herein
sulfate.                                                         have a concentration of ophthalmic agent between about
   In some embodiments, the compositions described herein        0.001% to about 0.010%, between about 0.005% to about
have a concentration of ophthalmic agent between about 30 0.010%, or between about 0.008% to about 0.010% of the
0.001% to about 0.030%, between about 0.005% to about            ophthalmic agent, or pharmaceutically acceptable prodrug
0.030%, between about 0.010% to about 0.030%, between            or salt thereof, by weight of the composition. In some
about 0.015% to about 0.030%, between about 0.020% to            embodiments, the ophthalmic agent is a muscarinic antago-
about 0.030%, or between about 0.025% to about 0.030% of         nist. In some embodiments, the muscarinic antagonist com-
the active ingredient, or pharmaceutically acceptable prod- 35 prises atropine, atropine sulfate, noratropine, atropine-N-
rug or salt thereof, by weight of the composition. In some       oxide, tropine, tropic acid, hyoscine, scopolomine,
embodiments, the ophthalmic agent is a muscarinic antago-        tropicamide, cyclopentolate, pirenzapine, homatropine, or a
nist. In some embodiments, the muscarinic antagonist com-        combination thereof. In some embodiments, the muscarinic
prises atropine, atropine sulfate, noratropine, atropine-N-      antagonist is atropine, or a pharmaceutically acceptable salt
oxide, tropine, tropic acid, hyoscine, scopolomine, 40 thereof. In some embodiments, the muscarinic antagonist is
tropicamide, cyclopentolate, pirenzapine, homatropine, or a      atropine sulfate.
combination thereof. In some embodiments, the muscarinic            In some embodiments, the compositions described herein
antagonist is atropine, or a pharmaceutically acceptable salt    have a concentration of ophthalmic agent about 0.001%,
thereof. In some embodiments, the muscarinic antagonist is       0.005%, 0.010%, 0.015%, 0.020%, 0.025%, 0.030%,
atropine sulfate.                                             45 0.035%, 0.040%, 0.045%, or 0.050% of the ophthalmic
   In some embodiments, the compositions described herein        agent, or pharmaceutically acceptable prodrug or salt
have a concentration of ophthalmic agent between about           thereof, by weight of the composition. In some embodi-
0.001% to about 0.025%, between about 0.005% to about            ments, the ophthalmic agent is a muscarinic antagonist. In
0.025%, between about 0.010% to about 0.025%, between            some embodiments, the muscarinic antagonist comprises
about 0.015% to about 0.025%, or between about 0.020% to so atropine, atropine sulfate, noratropine, atropine-N-oxide,
about 0.025% of the ophthalmic agent, or pharmaceutically        tropine, tropic acid, hyoscine, scopolomine, tropicamide,
acceptable prodrug or salt thereof, by weight of the com-        cyclopentolate, pirenzapine, homatropine, or a combination
position. In some embodiments, the ophthalmic agent is a         thereof. In some embodiments, the muscarinic antagonist is
muscarinic antagonist. In some embodiments, the muscar-          atropine, or a pharmaceutically acceptable salt thereof. In
inic antagonist comprises atropine, atropine sulfate, nora- 55 some embodiments, the muscarinic antagonist is atropine
tropine, atropine-N-oxide, tropine, tropic acid, hyoscine,       sulfate.
scopolomine, tropicamide, cyclopentolate, pirenzapine,              Without wishing to be bound by any particular theory, it
homatropine, or a combination thereof. In some embodi-           is contemplated herein that the low concentration of the
ments, the muscarinic antagonist is atropine, or a pharma-       ophthalmic agent (e.g. muscarinic antagonist such as atro-
ceutically acceptable salt thereof. In some embodiments, the 60 pine or atropine sulfate) in the disclosed ophthalmic com-
muscarinic antagonist is atropine sulfate.                       position provides sufficient and consistent therapeutic ben-
   In some embodiments, the compositions described herein        efits to an individual in need thereof, while reducing or
have a concentration of ophthalmic agent between about           avoiding the ocular side effects including glare from pupil-
0.001% to about 0.020%, between about 0.005% to about            lary dilation and blurred vision due to loss of accommoda-
0.020%, between about 0.010% to about 0.020%, or 65 tion that are associated with ophthalmic formulations con-
between about 0.015% to about 0.020% of the active ingre-        taining higher concentrations of the ophthalmic agent (e.g.
dient, or pharmaceutically acceptable prodrug or salt            muscarinic antagonist such as atropine or atropine sulfate).


                                                     Appx000319
                                                     Appx000319                    Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 26
                                                                                                               26 of
                                                                                                                  of 67
                                                                                                                     67
               Case: 23-2402               Document: 15               Page: 376            Filed: 02/01/2024


                                                    US 10,888,557 B2
                             21                                                                  22
   Aqueous Solution Stability                                     (BES), 2-[(2-Hydroxy-1,1-bis(hydroxymethyl)ethyl)amino]
   In some embodiments, the composition described herein          ethanesulfonic acid (TES), 4-(2-hydroxyethyl)-1-pipera-
comprises a buffer. In some embodiments, a buffer is              zineethanesulfonic acid (HEPES), 3-(N,N-Bis[2-hydroxy-
selected from borates, borate-polyol complexes, succinate,        ethyl]amino)-2-hydroxypropanesulfonic acid (DIPSO),
phosphate buffering agents, citrate buffering agents, acetate 5 acetamidoglycine, 34[1,3-Dihydroxy-2-(hydroxymethyl)-
buffering agents, carbonate buffering agents, organic buff-       2-propanyl]aminol-2-hydroxy-l-propanesulfonic                acid
ering agents, amino acid buffering agents, or combinations        (TAPSO), piperazine-1,4,-bis (2-hydroxypropanesulphonic
thereof. In some embodiments, the composition described           acid) (POPSO), 4 -(2 -hydroxyethyl)piperazine-1-(2 -hy-
herein comprises buffer comprising deuterated water. In           droxypropanesulfonic acid) hydrate (HEPPSO), 3-[4-(2-hy-
some embodiments, a deuterated buffer is selected from 10 droxyethyl)-1-piperazinyl]propanesulfonic acid (HEPPS),
borates, borate-polyol complexes, succinate, phosphate            tricine, glycinamide, bicine or N-tris(hydroxymethyl)
buffering agents, citrate buffering agents, acetate buffering     methyl-3-aminopropanesulfonic acid sodium (TAPS); gly-
agents, carbonate buffering agents, organic buffering agents,     cine; and diethanolamine (DEA).
amino acid buffering agents, or combinations thereof, for-           In some cases, amino acid buffering agents include tau-
mulated in deuterated water.                                   15 rine, aspartic acid and its salts (e.g., potassium salts, etc),
   In some instances, borates include boric acid, salts of        E-aminocaproic acid, and the like.
boric acid, other pharmaceutically acceptable borates, and           In some instances, the composition described herein fur-
combinations thereof. In some cases, borates include boric        ther comprises a tonicity adjusting agent. Tonicity adjusting
acid, sodium borate, potassium borate, calcium borate, mag-       agent is an agent introduced into a preparation such as an
nesium borate, manganese borate, and other such borate 20 ophthalmic composition to reduce local irritation by pre-
salts.                                                            venting osmotic shock at the site of application. In some
   As used herein, the term polyol includes any compound          instances, buffer solution and/or a pD adjusting agent that
having at least one hydroxyl group on each of two adjacent        broadly maintains the ophthalmic solution at a particular ion
carbon atoms that are not in trans configuration relative to      concentration and pD are considered as tonicity adjusting
each other. In some embodiments, the polyols is linear or 25 agents. In some cases, tonicity adjusting agents include
cyclic, substituted or unsubstituted, or mixtures thereof, so     various salts, such as halide salts of a monovalent cation. In
long as the resultant complex is water soluble and pharma-        some cases, tonicity adjusting agents include mannitol,
ceutically acceptable. In some instances, examples of polyol      sorbitol, dextrose, sucrose, urea, and glycerin. In some
include: sugars, sugar alcohols, sugar acids and uronic acids.    instances, suitable tonicity adjustors comprise sodium chlo-
In some cases, polyols include, but are not limited to: 30 ride, sodium nitrate, sodium sulfate, sodium bisulfate, potas-
mannitol, glycerin, xylitol and sorbitol.                         sium chloride, calcium chloride, magnesium chloride, zinc
   In some embodiments, phosphate buffering agents include        chloride, potassium acetate, sodium acetate, sodium bicar-
phosphoric acid; alkali metal phosphates such as disodium         bonate, sodium carbonate, sodium thiosulfate, magnesium
hydrogen phosphate, sodium dihydrogen phosphate, triso-           sulfate, disodium hydrogen phosphate, sodium dihydrogen
dium phosphate, dipotassium hydrogen phosphate, potas- 35 phosphate, potassium dihydrogen phosphate, dextrose, man-
sium dihydrogen phosphate, and tripotassium phosphate;            nitol, sorbitol, dextrose, sucrose, urea, propylene glycol,
alkaline earth metal phosphates such as calcium phosphate,        glycerin, trehalose, or a combination thereof.
calcium hydrogen phosphate, calcium dihydrogen phos-                 In some instances, the concentration of the tonicity adjust-
phate, monomagnesium phosphate, dimagnesium phosphate             ing agent in a composition described herein is between about
(magnesium hydrogen phosphate), and trimagnesium phos- 40 0.5% and about 2.0%. In some instances, the concentration
phate; ammonium phosphates such as diammonium hydro-              of the tonicity adjusting agent in a composition described
gen phosphate and ammonium dihydrogen phosphate; or a             herein is between about 0.7% and about 1.8%, about 0.8%
combination thereof. In some instances, the phosphate buff-       and about 1.5%, or about 1% and about 1.3%. In some
ering agent is an anhydride. In some instances, the phos-         instances, the concentration of the tonicity adjusting agent is
phate buffering agent is a hydrate.                            45 about 0.6%, 0.7%, 0.8%, 0.9%, 1.0%, 1.1%, 1.2%, 1.3%,
   In some embodiments, borate-polyol complexes include           1.4%, 1.5%, 1.6%, 1.7%, 1.8%, or 1.9%. In some cases, the
those described in U.S. Pat. No. 6,503,497. In some               percentage is a weight percentage.
instances, the borate-polyol complexes comprise borates in           In some cases, the composition described herein further
an amount of from about 0.01 to about 2.0% w/v, and one           comprises a pD adjusting agent. In some embodiments, the
or more polyols in an amount of from about 0.01% to about so pD adjusting agent used is an acid or a base. In some
5.0% w/v.                                                         embodiments, the base is oxides, hydroxides, carbonates,
   In some cases, citrate buffering agents include citric acid    bicarbonates and the likes. In some instances, the oxides are
and sodium citrate.                                               metal oxides such as calcium oxide, magnesium oxide and
   In some instances, acetate buffering agents include acetic     the likes; hydroxides are of alkali metals and alkaline earth
acid, potassium acetate, and sodium acetate.                   55 metals such as sodium hydroxide, potassium hydroxide,
   In some instances, carbonate buffering agents include          calcium hydroxide and the likes or their deuterated equiva-
sodium bicarbonate and sodium carbonate.                          lents, and carbonates are sodium carbonate, sodium bicar-
   In some cases, organic buffering agents include Good's         bonates, potassium bicarbonates and the likes. In some
Buffer, such as for example 2-(N-morpholino)ethanesulfo-          instances, the acid is mineral acid and organic acids such as
nic acid (MES), N-(2-Acetamido)iminodiacetic acid, 60 hydrochloric acid, nitric acid, phosphoric acid, acetic acid,
N-(Carbamoylmethyl)iminodiacetic acid (ADA), pipera-              citric acid, fumaric acid, malic acid tartaric acid and the likes
zine-N,N'-bis(2-ethanesulfonic acid (PIPES), N-(2-acet-           or their deuterated equivalents. In some instances, the pD
amido)-2-aminoethanesulfonic acid (ACES), 13-Hydroxy-4-           adjusting agent includes, but is not limited to, acetate,
morpholinepropanesulfonic         acid,      3-Morpholino-2-      bicarbonate, ammonium chloride, citrate, phosphate, phar-
hydroxypropanesulfonic acid (MOPSO), cholamine 65 maceutically acceptable salts thereof and combinations or
chloride, 3-(N-morpholino)propansulfonic acid (MOPS),             mixtures thereof. In some embodiments, the pD adjusting
N,N-bis(2 -hydroxyethyl)-2-aminoethanesulfonic            acid    agent comprises DC1 and NaOD.


                                                        Appx000320
                                                        Appx000320                     Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 27
                                                                                                                   27 of
                                                                                                                      of 67
                                                                                                                         67
              Case: 23-2402              Document: 15             Page: 377           Filed: 02/01/2024


                                                 US 10,888,557 B2
                            23                                                              24
   In some instances, the composition has a pD of between       about 6.4. In some embodiments, the composition has an
about 4 and about 8, about 4.5 and about 7.8, about 5 and       initial pD of about 6.3. In some embodiments, the compo-
about 7.5, or about 5.5 and about 7. In some embodiments,       sition has an initial pD of about 6.2. In some embodiments,
the composition has a pD of less than about 7.5. In some        the composition has an initial pD of about 6.1. In some
embodiments, the composition has a pD of less than about 5 embodiments, the composition has an initial pD of about 6.
7.4. In some embodiments, the composition has a pD of less      In some embodiments, the composition has an initial pD of
than about 7.3. In some embodiments, the composition has        about 5.9. In some embodiments, the composition has an
a pD of less than about 7.2. In some embodiments, the           initial pD of about 5.8. In some embodiments, the compo-
composition has a pD of less than about 7.1. In some            sition has an initial pD of about 5.7. In some embodiments,
embodiments, the composition has a pD of less than about 10 the composition has an initial pD of about 5.6. In some
7. In some embodiments, the composition has a pD of less        embodiments, the composition has an initial pD of about 5.5.
than about 6.9. In some embodiments, the composition has        In some embodiments, the composition has an initial pD of
a pD of less than about 6.8. In some embodiments, the           about 5.4. In some embodiments, the composition has an
composition has a pD of less than about 6.7. In some            initial pD of about 5.3. In some embodiments, the compo-
embodiments, the composition has a pD of less than about 15 sition has an initial pD of about 5.2. In some embodiments,
6.6. In some embodiments, the composition has a pD of less      the composition has an initial pD of about 5.1. In some
than about 6.5. In some embodiments, the composition has        embodiments, the composition has an initial pD of about 5.
a pD of less than about 6.4. In some embodiments, the           In some embodiments, the composition has an initial pD of
composition has a pD of less than about 6.3. In some            about 4.9. In some embodiments, the composition has an
embodiments, the composition has a pD of less than about 20 initial pD of about 4.8. In some embodiments, the compo-
6.2. In some embodiments, the composition has a pD of less      sition has an initial pD of about 4.7. In some embodiments,
than about 6.1. In some embodiments, the composition has        the composition has an initial pD of about 4.6. In some
a pD of less than about 6. In some embodiments, the             embodiments, the composition has an initial pD of about 4.5.
composition has a pD of less than about 5.9. In some            In some embodiments, the composition has an initial pD of
embodiments, the composition has a pD of less than about 25 about 4.4. In some embodiments, the composition has an
5.8. In some embodiments, the composition has a pD of less      initial pD of about 4.3. In some embodiments, the compo-
than about 5.7. In some embodiments, the composition has        sition has an initial pD of about 4.2. In some embodiments,
a pD of less than about 5.6. In some embodiments, the           the composition has an initial pD of about 4.1. In some
composition has a pD of less than about 5.5. In some            embodiments, the composition has an initial pD of about 4.
embodiments, the composition has a pD of less than about 30        In some embodiments, the pD of the composition
5.4. In some embodiments, the composition has a pD of less      described herein is associated with the stability of the
than about 5.3. In some embodiments, the composition has        composition. In some embodiments, a stable composition
a pD of less than about 5.2. In some embodiments, the           comprises a pD of between about 4 and about 8, about 4.5
composition has a pD of less than about 5.1. In some            and about 7.8, about 5 and about 7.5, or about 5.5 and about
embodiments, the composition has a pD of less than about 35 7. In some embodiments, a stable composition comprises a
5. In some embodiments, the composition has a pD of less        pD of less than about 7.5. In some embodiments, a stable
than about 4.9. In some embodiments, the composition has        composition comprises a pD of less than about 7.4. In some
a pD of less than about 4.8. In some embodiments, the           embodiments, a stable composition comprises a pD of less
composition has a pD of less than about 4.7. In some            than about 7.3. In some embodiments, a stable composition
embodiments, the composition has a pD of less than about 40 comprises a pD of less than about 7.2. In some embodi-
4.6. In some embodiments, the composition has a pD of less      ments, a stable composition comprises a pD of less than
than about 4.5. In some embodiments, the composition has        about 7.1. In some embodiments, a stable composition
a pD of less than about 4.4. In some embodiments, the           comprises a pD of less than about 7. In some embodiments,
composition has a pD of less than about 4.3. In some            a stable composition comprises a pD of less than about 6.9.
embodiments, the composition has a pD of less than about 45 In some embodiments, a stable composition comprises a pD
4.2. In some embodiments, the composition has a pD of less      of less than about 6.8. In some embodiments, a stable
than about 4.1. In some embodiments, the composition has        composition comprises a pD of less than about 6.7. In some
a pD of less than about 4. In some embodiments, the pD is       embodiments, a stable composition comprises a pD of less
the pD of the composition after extended period of time         than about 6.6. In some embodiments, a stable composition
under storage condition.                                     so comprises a pD of less than about 6.5. In some embodi-
   In some instances, the composition has an initial pD of      ments, a stable composition comprises a pD of less than
between about 4 and about 8, about 4.5 and about 7.8, about     about 6.4. In some embodiments, a stable composition
5 and about 7.5, or about 5.5 and about 7. In some embodi-      comprises a pD of less than about 6.3. In some embodi-
ments, the composition has an initial pD of about 7.5. In       ments, a stable composition comprises a pD of less than
some embodiments, the composition has an initial pD of 55 about 6.2. In some embodiments, a stable composition
about 7.4. In some embodiments, the composition has an          comprises a pD of less than about 6.1. In some embodi-
initial pD of about 7.3. In some embodiments, the compo-        ments, a stable composition comprises a pD of less than
sition has an initial pD of about 7.2. In some embodiments,     about 6. In some embodiments, a stable composition com-
the composition has an initial pD of about 7.1. In some         prises a pD of less than about 5.9. In some embodiments, a
embodiments, the composition has an initial pD of about 7. 60 stable composition comprises a pD of less than about 5.8. In
In some embodiments, the composition has an initial pD of       some embodiments, a stable composition comprises a pD of
about 6.9. In some embodiments, the composition has an          less than about 5.7. In some embodiments, a stable compo-
initial pD of about 6.8. In some embodiments, the compo-        sition comprises a pD of less than about 5.6. In some
sition has an initial pD of about 6.7. In some embodiments,     embodiments, a stable composition comprises a pD of less
the composition has an initial pD of about 6.6. In some 65 than about 5.5. In some embodiments, a stable composition
embodiments, the composition has an initial pD of about 6.5.    comprises a pD of less than about 5.4. In some embodi-
In some embodiments, the composition has an initial pD of       ments, a stable composition comprises a pD of less than


                                                    Appx000321
                                                    Appx000321                    Eyenovia Exhibit
                                                                                  Eyenovia Exhibit 1001,
                                                                                                   1001, Page
                                                                                                         Page 28
                                                                                                              28 of
                                                                                                                 of 67
                                                                                                                    67
              Case: 23-2402                Document: 15              Page: 378            Filed: 02/01/2024


                                                   US 10,888,557 B2
                             25                                                                 26
about 5.3. In some embodiments, a stable composition                is added at a concentration to a composition described herein
comprises a pD of less than about 5.2. In some embodi-              to prevent the growth of or to destroy a microorganism
ments, a stable composition comprises a pD of less than             introduced into the composition. In some instances, micro-
about 5.1. In some embodiments, a stable composition                organisms refer to bacteria (e.g. Proteus mirabilis, Serratia
comprises a pD of less than about 5. In some embodiments, 5 marcesens), virus (e.g. Herpes simplex virus, herpes zoster
a stable composition comprises a pD of less than about 4.9.         virus), fungus (e.g. fungi from the genus Fusarium), yeast
In some embodiments, a stable composition comprises a pD            (e.g. Candida albicans), parasites (e.g. Plasmodium spp.,
of less than about 4.8. In some embodiments, a stable               Gnathostoma spp.), protozoan (e.g. Giardia lamblia), nema-
composition comprises a pD of less than about 4.7. In some          todes (e.g. Onchocercus volvulus), worm (e.g. Dirofilaria
embodiments, a stable composition comprises a pD of less it) immitis), and/or amoeba (e.g. Acanthameoba).
than about 4.6. In some embodiments, a stable composition              In some instances, the concentration of the preservative is
comprises a pD of less than about 4.5. In some embodi-              between about 0.0001% and about 1%, about 0.001% and
ments, a stable composition comprises a pD of less than             about 0.8%, about 0.004% and about 0.5%, about 0.008%
about 4.4. In some embodiments, a stable composition                and about 0.1%, and about 0.01% and about 0.08%. In some
comprises a pD of less than about 4.3. In some embodi- 15 cases, the concentration of the preservatives is about
ments, a stable composition comprises a pD of less than             0.001%, 0.002%, 0.003%, 0.004%, 0.005%, 0.006%,
about 4.2. In some embodiments, a stable composition                0.008%, 0.009%, 0.009%, 0.01%, 0.015%, 0.02%, 0.025%,
comprises a pD of less than about 4.1. In some embodi-              0.03%, 0.04%, 0.05%, 0.06%, 0.07%, 0.08%, 0.09%, 0.1%,
ments, a stable composition comprises a pD of less than             0.2%, 0.3%, 0.4%, 0.5%, 0.6%, 0.7%, 0.8%, 0.9% or 1.0%.
about 4.                                                         20    In some embodiments, the preservative is selected from
   As described elsewhere herein, in some instances, the            benzalkonium chloride, cetrimonium, sodium perborate, sta-
D2O aqueous system stabilizes a muscarinic antagonist (e.g.,        bilized oxychloro complex, SofZia (Alcon), polyquater-
atropine). In some embodiments, this is due to a lower              nium-1, chlorobutanol, edetate disodium, and polyhexam-
concentration of the reactive species (e.g., OD) in the D2O         ethylene biguanide.
aqueous system compared to the concentration of the reac- 25           In some embodiments, the composition described herein
tive species (e.g.,     OH) in an equivalent H2O aqueous            is stored in a plastic container. In some embodiments, the
system. In some instances, the concentration of the reactive        material of the plastic container comprises high density
species (e.g., OD) in the D2O aqueous system is about one           polyethylene (HDPE), low density polyethylene (LDPE),
third less than the concentration of the reactive species (e.g.,    polyethylene terephthalate (PET), polyvinyl chloride (PVC),
   OH) in the equivalent H2O aqueous system. In some 30 polyprolyene (PP), polystyrene (PS), fluorine treated HDPE,
cases, this is due to a lower or smaller dissociation constant      post-consumer resin (PCR), K-resine (SBC), or bioplastic.
of D2O than H2O. For example, the K,(H2O) is 1x10-14                In some embodiments, the material of the plastic container
whereas the K,(D2O) is 1x10-15. As such, D2O is a weaker            comprises LDPE.
acid than H2O. In some cases, base catalyzed hydrolysis                In some embodiments, the composition described herein
leads to the presence of tropine degradant from atropine. In 35 is stored in a plastic container. In some embodiments, the
some cases, with a lower concentration of the reactive              composition stored in a plastic container has a pD of
species that causes tropine degradant formation, atropine           between about 4 and about 8, about 4.5 and about 7.9, or
solution is more stable in a D2O aqueous system than                about 4.9 and about 7.5. In some embodiments, the com-
compared to an equivalent H2O aqueous system. In some               position stored in a plastic container has a pD of less than
embodiments, the ophthalmic composition formulated with 40 about 7.4. In some embodiments, the composition stored in
deuterated water allows for a more stable ophthalmic com-           a plastic container has a pD of less than about 7.3. In some
position relative to the ophthalmic composition formulated          embodiments, the composition stored in a plastic container
with H2O.                                                           has a pD of less than about 7.2. In some embodiments, the
   In some embodiments, the presence of deuterated water            composition stored in a plastic container has a pD of less
shifts the pKa of the buffer. In some embodiments, the 45 than about 7.1. In some embodiments, the composition
presence of deuterated water allows for the ophthalmic              stored in a plastic container has a pD of less than about 7.
composition to simulate the stability of a lower pH system.         In some embodiments, the composition stored in a plastic
In some instances, the buffer capacity of the ophthalmic            container has a pD of less than about 6.9. In some embodi-
composition is lowered, thereby allowing a faster shift in          ments, the composition stored in a plastic container has a pD
pH. In some instances, the lowered buffering capacity of the so  50 of less than about 6.8. In some embodiments, the composi-
ophthalmic composition when administered into the eye               tion stored in a plastic container has a pD of less than about
allows the ophthalmic composition to reach physiological            6.7. In some embodiments, the composition stored in a
pH at a faster rate than compared to an ophthalmic compo-           plastic container has a pD of less than about 6.6. In some
sition formulated in H2O. In some instances, the ophthalmic         embodiments, the composition stored in a plastic container
composition formulated with deuterated water allows for a 55 has a pD of less than about 6.5. In some embodiments, the
lower tear production, or less tear reflex in the eye, in           composition stored in a plastic container has a pD of less
comparison with an ophthalmic composition formulated                than about 6.4. In some embodiments, the composition
with H2O.                                                           stored in a plastic container has a pD of less than about 6.3.
   In some instances, the composition described herein fur-         In some embodiments, the composition stored in a plastic
ther comprises a disinfecting agent. In some cases, disin- 60 container has a pD of less than about 6.2. In some embodi-
fecting agents include polymeric biguanides, polymeric              ments, the composition stored in a plastic container has a pD
quarternary ammonium compounds, chlorites, bisbigua-                of less than about 6.1. In some embodiments, the composi-
nides, chlorite compounds (e.g. potassium chlorite, sodium          tion stored in a plastic container has a pD of less than about
chlorite, calcium chlorite, magnesium chlorite, or mixtures         6. In some embodiments, the composition stored in a plastic
thereof), and a combination thereof.                             65 container has a pD of less than about 5.9. In some embodi-
   In some instances, the composition described herein fur-         ments, the composition stored in a plastic container has a pD
ther comprises a preservative. In some cases, a preservative        of less than about 5.8. In some embodiments, the composi-


                                                       Appx000322
                                                       Appx000322                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 29
                                                                                                                  29 of
                                                                                                                     of 67
                                                                                                                        67
               Case: 23-2402               Document: 15               Page: 379            Filed: 02/01/2024


                                                    US 10,888,557 B2
                             27                                                                  28
tion stored in a plastic container has a pD of less than about    about 25° C., about 40° C., or about 60° C. In some
5.7. In some embodiments, the composition stored in a             embodiments, the composition stored in a plastic container
plastic container has a pD of less than about 5.6. In some        has a potency of at least 85% at a temperature of about 25°
embodiments, the composition stored in a plastic container        C., about 40° C., or about 60° C. In some embodiments, the
has a pD of less than about 5.5. In some embodiments, the 5 composition stored in a plastic container has a potency of at
composition stored in a plastic container has a pD of less        least 90% at a temperature of about 25° C., about 40° C., or
than about 5.4. In some embodiments, the composition              about 60° C. In some embodiments, the composition stored
stored in a plastic container has a pD of less than about 5.3.    in a plastic container has a potency of at least 93% at a
In some embodiments, the composition stored in a plastic          temperature of about 25° C., about 40° C., or about 60° C.
container has a pD of less than about 5.2. In some embodi- 10 In some embodiments, the composition stored in a plastic
ments, the composition stored in a plastic container has a pD     container has a potency of at least 95% at a temperature of
of less than about 5.1. In some embodiments, the composi-         about 25° C., about 40° C., or about 60° C. In some
tion stored in a plastic container has a pD of less than about    embodiments, the composition stored in a plastic container
5. In some embodiments, the composition stored in a plastic       has a potency of at least 97% at a temperature of about 25°
container has a pD of less than about 4.9. In some embodi- 15 C., about 40° C., or about 60° C. In some embodiments, the
ments, the composition stored in a plastic container has a pD     composition stored in a plastic container has a potency of at
of less than about 4.8. In some embodiments, the composi-         least 98% at a temperature of about 25° C., about 40° C., or
tion stored in a plastic container has a pD of less than about    about 60° C. In some embodiments, the composition stored
4.7. In some embodiments, the composition stored in a             in a plastic container has a potency of at least 99% at a
plastic container has a pD of less than about 4.6. In some 20 temperature of about 25° C., about 40° C., or about 60° C.
embodiments, the composition stored in a plastic container           In some embodiments, the composition stored in a plastic
has a pD of less than about 4.5. In some embodiments, the         container has a potency of at least 80% for a period of at
composition stored in a plastic container has a pD of less        least 1 week, at least 2 weeks, at least 3 weeks, at least 1
than about 4.4. In some embodiments, the composition              month, at least 2 months, at least 3 months, at least 4 months,
stored in a plastic container has a pD of less than about 4.3. 25 at least 5 months, at least 6 months, at least 8 months, at least
In some embodiments, the composition stored in a plastic          10 months, at least 12 months, at least 18 months, or at least
container has a pD of less than about 4.2. In some embodi-        24 months. In some embodiments, the composition stored in
ments, the composition stored in a plastic container has a pD     a plastic container has a potency of at least 85% for a period
of less than about 4.1. In some embodiments, the composi-         of at least 1 week, at least 2 weeks, at least 3 weeks, at least
tion stored in a plastic container has a pD of less than about 30 1 month, at least 2 months, at least 3 months, at least 4
4.                                                                months, at least 5 months, at least 6 months, at least 8
   In some embodiments, the composition stored in a plastic       months, at least 10 months, at least 12 months, at least 18
container has a potency of at least 70% after extended period     months, or at least 24 months. In some embodiments, the
of time under storage condition. In some embodiments, the         composition stored in a plastic container has a potency of at
composition stored in a plastic container has a potency of at 35 least 90% for a period of at least 1 week, at least 2 weeks,
least 75% after extended period of time under storage             at least 3 weeks, at least 1 month, at least 2 months, at least
condition. In some embodiments, the composition stored in         3 months, at least 4 months, at least 5 months, at least 6
a plastic container has a potency of at least 80% after           months, at least 8 months, at least 10 months, at least 12
extended period of time under storage condition. In some          months, at least 18 months, or at least 24 months. In some
embodiments, the composition stored in a plastic container 40 embodiments, the composition stored in a plastic container
has a potency of at least 85% after extended period of time       has a potency of at least 93% for a period of at least 1 week,
under storage condition. In some embodiments, the compo-          at least 2 weeks, at least 3 weeks, at least 1 month, at least
sition stored in a plastic container has a potency of at least    2 months, at least 3 months, at least 4 months, at least 5
90% after extended period of time under storage condition.        months, at least 6 months, at least 8 months, at least 10
In some embodiments, the composition stored in a plastic 45 months, at least 12 months, at least 18 months, or at least 24
container has a potency of at least 93% after extended period     months. In some embodiments, the composition stored in a
of time under storage condition. In some embodiments, the         plastic container has a potency of at least 95% for a period
composition stored in a plastic container has a potency of at     of at least 1 week, at least 2 weeks, at least 3 weeks, at least
least 95% after extended period of time under storage             1 month, at least 2 months, at least 3 months, at least 4
condition. In some embodiments, the composition stored in so months, at least 5 months, at least 6 months, at least 8
a plastic container has a potency of at least 97% after           months, at least 10 months, at least 12 months, at least 18
extended period of time under storage condition. In some          months, or at least 24 months. In some embodiments, the
embodiments, the composition stored in a plastic container        composition stored in a plastic container has a potency of at
has a potency of at least 98% after extended period of time       least 97% for a period of at least 1 week, at least 2 weeks,
under storage condition. In some embodiments, the compo- 55 at least 3 weeks, at least 1 month, at least 2 months, at least
sition stored in a plastic container has a potency of at least    3 months, at least 4 months, at least 5 months, at least 6
99% after extended period of time under storage condition.        months, at least 8 months, at least 10 months, at least 12
In some instances, the storage condition comprises a tem-         months, at least 18 months, or at least 24 months. In some
perature of about 25° C., about 40° C., or about 60° C. In        embodiments, the composition stored in a plastic container
some instances, the extended period of time is at least 1 60 has a potency of at least 98% for a period of at least 1 week,
week, at least 2 weeks, at least 3 weeks, at least 1 month, at    at least 2 weeks, at least 3 weeks, at least 1 month, at least
least 2 months, at least 3 months, at least 4 months, at least    2 months, at least 3 months, at least 4 months, at least 5
5 months, at least 6 months, at least 8 months, at least 10       months, at least 6 months, at least 8 months, at least 10
months, at least 12 months, at least 18 months, or at least 24    months, at least 12 months, at least 18 months, or at least 24
months.                                                        65 months. In some embodiments, the composition stored in a
   In some embodiments, the composition stored in a plastic       plastic container has a potency of at least 99% for a period
container has a potency of at least 80% at a temperature of       of at least 1 week, at least 2 weeks, at least 3 weeks, at least


                                                       Appx000323
                                                       Appx000323                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 30
                                                                                                                   30 of
                                                                                                                      of 67
                                                                                                                         67
              Case: 23-2402                Document: 15              Page: 380            Filed: 02/01/2024


                                                   US 10,888,557 B2
                             29                                                                 30
1 month, at least 2 months, at least 3 months, at least 4            In some embodiments, the composition stored in a plastic
months, at least 5 months, at least 6 months, at least 8          container comprises less than 20% of primary degradant
months, at least 10 months, at least 12 months, at least 18       based on the concentration of the ophthalmic agent at a
months, or at least 24 months.                                    temperature of about 25° C., about 40° C., or about 60° C.
   In some embodiments, the composition stored in a plastic 5 In some embodiments, the composition stored in a plastic
container comprises less than 20% of primary degradant            container comprises less than 15% of primary degradant
based on the concentration of the ophthalmic agent after          based on the concentration of the ophthalmic agent at a
extended period of time under storage condition. In some          temperature of about 25° C., about 40° C., or about 60° C.
embodiments, the composition stored in a plastic container        In some embodiments, the composition stored in a plastic
comprises less than 15% of primary degradant based on the 10 container comprises less than 10% of primary degradant
concentration of the ophthalmic agent after extended period       based on the concentration of the ophthalmic agent at a
of time under storage condition. In some embodiments, the         temperature of about 25° C., about 40° C., or about 60° C.
composition stored in a plastic container comprises less than     In some embodiments, the composition stored in a plastic
10% of primary degradant based on the concentration of the        container comprises less than 5% of primary degradant
ophthalmic agent after extended period of time under stor- 15 based on the concentration of the ophthalmic agent at a
age condition. In some embodiments, the composition               temperature of about 25° C., about 40° C., or about 60° C.
stored in a plastic container comprises less than 5% of              In some embodiments, the composition stored in a plastic
primary degradant based on the concentration of the oph-          container comprises from less than 2.5% of primary degrad-
thalmic agent after extended period of time under storage         ant to less than 0.1% of primary degradant based on the
condition.                                                     20 concentration of the ophthalmic agent at a temperature of
   In some embodiments, the composition stored in a plastic       about 25° C., about 40° C., or about 60° C. In some
container comprises from less than 2.5% of primary degrad-        embodiments, the composition stored in a plastic container
ant to less than 0.1% of primary degradant based on the           comprises less than 2.5% of primary degradant based on the
concentration of the ophthalmic agent after extended period       concentration of the ophthalmic agent at a temperature of
of time under storage condition. In some embodiments, the 25 about 25° C., about 40° C., or about 60° C. In some
composition stored in a plastic container comprises less than     embodiments, the composition stored in a plastic container
2.5% of primary degradant based on the concentration of the       comprises less than 2.0% of primary degradant based on the
ophthalmic agent after extended period of time under stor-        concentration of the ophthalmic agent at a temperature of
age condition. In some embodiments, the composition               about 25° C., about 40° C., or about 60° C. In some
stored in a plastic container comprises less than 2.0% of 30 embodiments, the composition stored in a plastic container
primary degradant based on the concentration of the oph-          comprises less than 1.5% of primary degradant based on the
thalmic agent after extended period of time under storage         concentration of the ophthalmic agent at a temperature of
condition. In some embodiments, the composition stored in         about 25° C., about 40° C., or about 60° C. In some
a plastic container comprises less than 1.5% of primary           embodiments, the composition stored in a plastic container
degradant based on the concentration of the ophthalmic 35 comprises less than 1.0% of primary degradant based on the
agent after extended period of time under storage condition.      concentration of the ophthalmic agent at a temperature of
In some embodiments, the composition stored in a plastic          about 25° C., about 40° C., or about 60° C. In some
container comprises less than 1.0% of primary degradant           embodiments, the composition stored in a plastic container
based on the concentration of the ophthalmic agent after          comprises less than 0.5% of primary degradant based on the
extended period of time under storage condition. In some 40 concentration of the ophthalmic agent at a temperature of
embodiments, the composition stored in a plastic container        about 25° C., about 40° C., or about 60° C. In some
comprises less than 0.5% of primary degradant based on the        embodiments, the composition stored in a plastic container
concentration of the ophthalmic agent after extended period       comprises less than 0.4% of primary degradant based on the
of time under storage condition. In some embodiments, the         concentration of the ophthalmic agent at a temperature of
composition stored in a plastic container comprises less than 45 about 25° C., about 40° C., or about 60° C. In some
0.4% of primary degradant based on the concentration of the       embodiments, the composition stored in a plastic container
ophthalmic agent after extended period of time under stor-        comprises less than 0.3% of primary degradant based on the
age condition. In some embodiments, the composition               concentration of the ophthalmic agent at a temperature of
stored in a plastic container comprises less than 0.3% of         about 25° C., about 40° C., or about 60° C. In some
primary degradant based on the concentration of the oph- so embodiments, the composition stored in a plastic container
thalmic agent after extended period of time under storage         comprises less than 0.2% of primary degradant based on the
condition. In some embodiments, the composition stored in         concentration of the ophthalmic agent at a temperature of
a plastic container comprises less than 0.2% of primary           about 25° C., about 40° C., or about 60° C. In some
degradant based on the concentration of the ophthalmic            embodiments, the composition stored in a plastic container
agent after extended period of time under storage condition. 55 comprises less than 0.1% of primary degradant based on the
In some embodiments, the composition stored in a plastic          concentration of the ophthalmic agent at a temperature of
container comprises less than 0.1% of primary degradant           about 25° C., about 40° C., or about 60° C.
based on the concentration of the ophthalmic agent after             In some embodiments, the composition stored in a plastic
extended period of time under storage condition. In some          container comprises less than 20% of primary degradant
instances, the storage condition comprises a temperature of 60 based on the concentration of the ophthalmic agent for a
about 25° C., about 40° C., or about 60° C. In some               period of at least 1 week, at least 2 weeks, at least 3 weeks,
instances, the extended period of time is at least 1 week, at     at least 1 month, at least 2 months, at least 3 months, at least
least 2 weeks, at least 3 weeks, at least 1 month, at least 2     4 months, at least 5 months, at least 6 months, at least 8
months, at least 3 months, at least 4 months, at least 5          months, at least 10 months, at least 12 months, at least 18
months, at least 6 months, at least 8 months, at least 10 65 months, or at least 24 months. In some embodiments, the
months, at least 12 months, at least 18 months, or at least 24    composition stored in a plastic container comprises less than
months.                                                           15% of primary degradant based on the concentration of the


                                                       Appx000324
                                                       Appx000324                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 31
                                                                                                                  31 of
                                                                                                                     of 67
                                                                                                                        67
               Case: 23-2402                Document: 15                Page: 381            Filed: 02/01/2024


                                                     US 10,888,557 B2
                              31                                                                   32
ophthalmic agent for a period of at least 1 week, at least 2         comprises less than 0.4% of primary degradant based on the
weeks, at least 3 weeks, at least 1 month, at least 2 months,        concentration of the ophthalmic agent for a period of at least
at least 3 months, at least 4 months, at least 5 months, at least    1 week, at least 2 weeks, at least 3 weeks, at least 1 month,
6 months, at least 8 months, at least 10 months, at least 12         at least 2 months, at least 3 months, at least 4 months, at least
months, at least 18 months, or at least 24 months. In some 5 5 months, at least 6 months, at least 8 months, at least 10
embodiments, the composition stored in a plastic container           months, at least 12 months, at least 18 months, or at least 24
comprises less than 10% of primary degradant based on the            months. In some embodiments, the composition stored in a
concentration of the ophthalmic agent for a period of at least       plastic container comprises less than 0.3% of primary
1 week, at least 2 weeks, at least 3 weeks, at least 1 month,        degradant based on the concentration of the ophthalmic
at least 2 months, at least 3 months, at least 4 months, at least 10 agent for a period of at least 1 week, at least 2 weeks, at least
5 months, at least 6 months, at least 8 months, at least 10          3 weeks, at least 1 month, at least 2 months, at least 3
months, at least 12 months, at least 18 months, or at least 24       months, at least 4 months, at least 5 months, at least 6
months. In some embodiments, the composition stored in a             months, at least 8 months, at least 10 months, at least 12
plastic container comprises less than 5% of primary degrad-          months, at least 18 months, or at least 24 months. In some
ant based on the concentration of the ophthalmic agent for 15 embodiments, the composition stored in a plastic container
a period of at least 1 week, at least 2 weeks, at least 3 weeks,     comprises less than 0.2% of primary degradant based on the
at least 1 month, at least 2 months, at least 3 months, at least     concentration of the ophthalmic agent for a period of at least
4 months, at least 5 months, at least 6 months, at least 8           1 week, at least 2 weeks, at least 3 weeks, at least 1 month,
months, at least 10 months, at least 12 months, at least 18          at least 2 months, at least 3 months, at least 4 months, at least
months, or at least 24 months.                                    20 5 months, at least 6 months, at least 8 months, at least 10
   In some embodiments, the composition stored in a plastic          months, at least 12 months, at least 18 months, or at least 24
container comprises from less than 2.5% of primary degrad-           months. In some embodiments, the composition stored in a
ant to less than 0.1% of primary degradant based on the              plastic container comprises less than 0.1% of primary
concentration of the ophthalmic agent for a period of at least       degradant based on the concentration of the ophthalmic
1 week, at least 2 weeks, at least 3 weeks, at least 1 month, 25 agent for a period of at least 1 week, at least 2 weeks, at least
at least 2 months, at least 3 months, at least 4 months, at least    3 weeks, at least 1 month, at least 2 months, at least 3
5 months, at least 6 months, at least 8 months, at least 10          months, at least 4 months, at least 5 months, at least 6
months, at least 12 months, at least 18 months, or at least 24       months, at least 8 months, at least 10 months, at least 12
months. In some embodiments, the composition stored in a             months, at least 18 months, or at least 24 months.
plastic container comprises less than 2.5% of primary 30                In some embodiments, the composition described herein
degradant based on the concentration of the ophthalmic               is stored in a glass container. In some embodiments, the
agent for a period of at least 1 week, at least 2 weeks, at least    glass container is a glass vial, such as for example, a type I,
3 weeks, at least 1 month, at least 2 months, at least 3             type II or type III glass vial. In some embodiments, the glass
months, at least 4 months, at least 5 months, at least 6             container is a type I glass vial. In some embodiments, the
months, at least 8 months, at least 10 months, at least 12 35 type I glass vial is a borasilicate glass vial.
months, at least 18 months, or at least 24 months. In some              In some embodiments, the composition stored in a glass
embodiments, the composition stored in a plastic container           container has a pD of higher than about 7. In some embodi-
comprises less than 2.0% of primary degradant based on the           ments, the composition stored in a glass container has a pD
concentration of the ophthalmic agent for a period of at least       of higher than about 7.5. In some embodiments, the com-
1 week, at least 2 weeks, at least 3 weeks, at least 1 month, 40 position stored in a glass container has a pD of higher than
at least 2 months, at least 3 months, at least 4 months, at least    about 8. In some embodiments, the composition stored in a
5 months, at least 6 months, at least 8 months, at least 10          glass container has a pD of higher than about 8.5. In some
months, at least 12 months, at least 18 months, or at least 24       embodiments, the composition stored in a glass container
months. In some embodiments, the composition stored in a             has a pD of higher than about 9.
plastic container comprises less than 1.5% of primary 45                In some embodiments, the composition stored in a glass
degradant based on the concentration of the ophthalmic               container has a potency of less than 60% at a temperature of
agent for a period of at least 1 week, at least 2 weeks, at least    about 25° C., about 40° C., or about 60° C. In some
3 weeks, at least 1 month, at least 2 months, at least 3             embodiments, the composition stored in a glass container
months, at least 4 months, at least 5 months, at least 6             has a potency of less than 60% for a period of at least 1
months, at least 8 months, at least 10 months, at least 12 so week, at least 2 weeks, at least 3 weeks, at least 1 month, at
months, at least 18 months, or at least 24 months. In some           least 2 months, at least 3 months, at least 4 months, at least
embodiments, the composition stored in a plastic container           5 months, at least 6 months, at least 8 months, at least 10
comprises less than 1.0% of primary degradant based on the           months, at least 12 months, at least 18 months, or at least 24
concentration of the ophthalmic agent for a period of at least       months.
1 week, at least 2 weeks, at least 3 weeks, at least 1 month, 55        In some embodiments, the composition stored in a glass
at least 2 months, at least 3 months, at least 4 months, at least    container is less stable than a composition stored in a plastic
5 months, at least 6 months, at least 8 months, at least 10          container.
months, at least 12 months, at least 18 months, or at least 24          In some embodiments, the composition is stored under in
months. In some embodiments, the composition stored in a             the dark. In some instances, the composition is stored in the
plastic container comprises less than 0.5% of primary 60 presence of light. In some instances, the light is indoor light,
degradant based on the concentration of the ophthalmic               room light, or sun light. In some instances, the composition
agent for a period of at least 1 week, at least 2 weeks, at least    is stable while stored in the presence of light.
3 weeks, at least 1 month, at least 2 months, at least 3                In some embodiments, the composition described herein
months, at least 4 months, at least 5 months, at least 6             is formulated as an aqueous solution. In some embodiments,
months, at least 8 months, at least 10 months, at least 12 65 the aqueous solution is a stable aqueous solution. In some
months, at least 18 months, or at least 24 months. In some           instances, the aqueous solution is stored in a plastic con-
embodiments, the composition stored in a plastic container           tainer as described above. In some instances, the aqueous


                                                         Appx000325
                                                         Appx000325                      Eyenovia Exhibit
                                                                                         Eyenovia Exhibit 1001,
                                                                                                          1001, Page
                                                                                                                Page 32
                                                                                                                     32 of
                                                                                                                        of 67
                                                                                                                           67
               Case: 23-2402               Document: 15               Page: 382            Filed: 02/01/2024


                                                    US 10,888,557 B2
                             33                                                                  34
solution is not stored in a glass container. In some instances,      lation. Accordingly, in some embodiments, cyclodextrins are
the aqueous solution is stored in the dark. In some instances,       included to increase the solubility of the ophthalmically
the aqueous solution is stored in the presence of light. In          acceptable ophthalmic agents within the formulations
some instances, the aqueous solution is stable in the pres-          described herein. In other embodiments, cyclodextrins in
ence of light.                                                     5 addition serve as controlled release excipients within the

   In a specific embodiment, the ophthalmically acceptable           formulations described herein.
formulations alternatively comprise a cyclodextrin. Cyclo-              By way of example only, cyclodextrin derivatives for use
dextrins are cyclic oligosaccharides containing 6, 7, or 8           include a-cyclodextrin, I3-cyclodextrin, y-cyclodextrin,
glucopyranose units, referred to as a-cyclodextrin, I3-cyclo-        hydroxyethyl-P-cyclodextrin, hydroxypropyl-y-cyclodex-
                                                                  10 trin, sulfated (3-cyclodextrin, sulfated a-cyclodextrin,
dextrin, or y-cyclodextrin respectively. Cyclodextrins have a
                                                                     sulfobutyl ether I3-cyclodextrin.
hydrophilic exterior, which enhances water-soluble, and a
                                                                        The concentration of the cyclodextrin used in the com-
hydrophobic interior which forms a cavity. In an aqueous
                                                                     positions and methods disclosed herein varies according to
environment, hydrophobic portions of other molecules often           the physiochemical properties, pharmacokinetic properties,
enter the hydrophobic cavity of cyclodextrin to form inclu- 15 side effect or adverse events, formulation considerations, or
sion compounds. Additionally, cyclodextrins are also                 other factors associated with the therapeutically ophthalmic
capable of other types of nonbonding interactions with               agent, or a salt or prodrug thereof, or with the properties of
molecules that are not inside the hydrophobic cavity. Cyclo-         other excipients in the composition. Thus, in certain circum-
dextrins have three free hydroxyl groups for each glucopy-           stances, the concentration or amount of cyclodextrin used in
ranose unit, or 18 hydroxyl groups on a-cyclodextrin, 21 20 accordance with the compositions and methods disclosed
hydroxyl groups on (3-cyclodextrin, and 24 hydroxyl groups           herein will vary, depending on the need. When used, the
on y-cyclodextrin. In some embodiments, one or more of               amount of cyclodextrins needed to increase solubility of the
these hydroxyl groups are reacted with any of a number of            ophthalmic agent and/or function as a controlled release
reagents to form a large variety of cyclodextrin derivatives,        excipient in any of the formulations described herein is
including hydroxypropyl ethers, sulfonates, and sulfoalky- 25 selected using the principles, examples, and teachings
lethers. Shown below is the structure of I3-cyclodextrin and         described herein.
the hydroxypropyl-(3-cyclodextrin (HP(3CD).                             Other stabilizers that are useful in the ophthalmically
                                                                     acceptable formulations disclosed herein include, for
                                                                     example, fatty acids, fatty alcohols, alcohols, long chain
                                         RO
                                                                  30 fatty acid esters, long chain ethers, hydrophilic derivatives
                                                                     of fatty acids, polyvinyl pyrrolidones, polyvinyl ethers,
              RO                                                     polyvinyl alcohols, hydrocarbons, hydrophobic polymers,
                                   O                                 moisture-absorbing polymers, and combinations thereof. In
                                 O   RO
                                              RO                     some embodiments, amide analogues of stabilizers are also
                                                  O
                                                            OR    35 used. In further embodiments, the chosen stabilizer changes
                      OR                                             the hydrophobicity of the formulation, improves the mixing
                  O                                RO
                OR                                                   of various components in the formulation, controls the
                                                                     moisture level in the formula, or controls the mobility of the
                                                                     phase.
                                                      RO
 RO                                                               40    In other embodiments, stabilizers are present in sufficient
                                                       O
                 OR                                                  amounts   to inhibit the degradation of the ophthalmic agent.
                                                    RO               Examples of such stabilizing agents, include, but are not
                O                                                    limited to: glycerol, methionine, monothioglycerol, EDTA,
                 OR
                                                R                    ascorbic acid, polysorbate 80, polysorbate 20, arginine,
                                                             OR
                                        R                         45 heparin, dextran sulfate, cyclodextrins, pentosan polysulfate
                                                 O
                              OR            O  O                     and other heparinoids, divalent cations such as magnesium
                                O                                    and zinc, or combinations thereof.
                RO
                                                                        Additional useful stabilization agents for ophthalmically
                                                                     acceptable formulations include one or more anti-aggrega-
                                           OR                     50 tion additives to enhance stability of ophthalmic formula-
R=
R=H                                                                  tions by reducing the rate of protein aggregation. The
p-cyclod extrin                                                      anti-aggregation additive selected depends upon the nature
                                                                     of the conditions to which the ophthalmic agents, for
R = CH2CH(OH)CH3
hydroxypropyl p-cyclod extrin
                                                                     example a muscarinic antagonist (e.g. atropine or its phar-
                                                                  55 maceutically acceptable salts), are exposed. For example,
                                                                     certain formulations undergoing agitation and thermal stress
   In some embodiments, the use of cyclodextrins in the              require a different anti-aggregation additive than a formu-
pharmaceutical compositions described herein improves the            lation undergoing lyophilization and reconstitution. Useful
solubility of the drug. Inclusion compounds are involved in          anti-aggregation additives include, by way of example only,
many cases of enhanced solubility; however other interac- 60 urea, guanidinium chloride, simple amino acids such as
tions between cyclodextrins and insoluble compounds also             glycine or arginine, sugars, polyalcohols, polysorbates,
improves            solubility.      Hydroxypropyl-P-cyclodextrin    polymers such as polyethylene glycol and dextrans, alkyl
(HP(3CD) is commercially available as a pyrogen free prod-           saccharides, such as alkyl glycoside, and surfactants.
uct. It is a nonhygroscopic white powder that readily dis-              Other useful formulations optionally include one or more
solves in water. HPI3CD is thermally stable and does not 65 ophthalmically acceptable antioxidants to enhance chemical
degrade at neutral pH. Thus, cyclodextrins improve the               stability where required. Suitable antioxidants include, by
solubility of a therapeutic agent in a composition or formu-         way of example only, ascorbic acid, methionine, sodium


                                                       Appx000326
                                                       Appx000326                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 33
                                                                                                                   33 of
                                                                                                                      of 67
                                                                                                                         67
               Case: 23-2402                Document: 15               Page: 383           Filed: 02/01/2024


                                                    US 10,888,557 B2
                             35                                                                   36
thiosulfate and sodium metabisulfite. In one embodiment,             and d) cationic surfactants such as cetyltrimethylammonium
antioxidants are selected from metal chelating agents, thiol         bromide, and lauryldimethylbenzyl-ammonium chloride.
containing compounds and other general stabilizing agents.              In a further embodiment, when one or more co-surfactants
   Still other useful compositions include one or more oph-          are utilized in the ophthalmically acceptable formulations of
thalmically acceptable surfactants to enhance physical sta- 5 the present disclosure, they are combined, e.g., with a
bility or for other purposes. Suitable nonionic surfactants          pharmaceutically acceptable vehicle and is present in the
include, but are not limited to, polyoxyethylene fatty acid          final formulation, e.g., in an amount ranging from about
glycerides and vegetable oils, e.g., polyoxyethylene (60)            0.1% to about 20%, from about 0.5% to about 10%.
hydrogenated castor oil; and polyoxyethylene alkylethers                In one embodiment, the surfactant has an HLB value of 0
and alkylphenyl ethers, e.g., octoxynol 10, octoxynol 40. 10 to 20. In additional embodiments, the surfactant has an HLB
   In some embodiments, the ophthalmically acceptable                value of 0 to 3, of 4 to 6, of 7 to 9, of 8 to 18, of 13 to 15,
pharmaceutical formulations described herein are stable              of 10 to 18.
with respect to compound degradation (e.g. less than 30%                pD
degradation, less than 25% degradation, less than 20%                   In some embodiments, the pD of a composition described
degradation, less than 15% degradation, less than 10% 15 herein is adjusted (e.g., by use of a buffer and/or a pD
degradation, less than 8% degradation, less than 5% degra-           adjusting agent) to an ophthalmically compatible pD range
dation, less than 3% degradation, less than 2% degradation,          of from about 4 to about 8, about 4.5 to about 7.5, or about
or less than 5% degradation) over a period of any of at least        5 to about 7. In some embodiments, the ophthalmic com-
about 1 day, at least about 2 days, at least about 3 days, at        position has a pD of from about 5.0 to about 7.0. In some
least about 4 days, at least about 5 days, at least about 6 days, 20 embodiments, the ophthalmic composition has a pD of from
at least about 1 week, at least about 2 weeks, at least about        about 5.5 to about 7.0. In some embodiments, the ophthal-
3 weeks, at least about 4 weeks, at least about 5 weeks, at          mic composition has a pD of from about 6.0 to about 7.0.
least about 6 weeks, at least about 7 weeks, at least about 8           In some embodiments, useful formulations include one or
weeks, at least about 3 months, at least about 4 months, at          more pD adjusting agents or buffering agents. Suitable pD
least about 5 months, or at least about 6 months under 25 adjusting agents or buffers include, but are not limited to
storage conditions (e.g. room temperature). In other embodi-         acetate, bicarbonate, ammonium chloride, citrate, phos-
ments, the formulations described herein are stable with             phate, deuterated forms of acetate, bicarbonate, ammonium
respect to compound degradation over a period of at least            chloride, citrate, phosphate, pharmaceutically acceptable
about 1 week. Also described herein are formulations that            salts thereof and combinations or mixtures thereof. In some
are stable with respect to compound degradation over a 30 embodiments, the pD adjusting agents or buffers include
period of at least about 1 month.                                    deuterated hydrochloric acid (DC1), deuterated sodium
   In other embodiments, an additional surfactant (co-sur-           hydroxide (NaOD), deuterated acetic acid (CD3COOD), or
factant) and/or buffering agent is combined with one or more         deuterated citric acid (C6D8O7).
of the pharmaceutically acceptable vehicles previously                  In one embodiment, when one or more buffers are utilized
described herein so that the surfactant and/or buffering agent 35 in the formulations of the present disclosure, they are
maintains the product at an optimal pD for stability. Suitable       combined, e.g., with a pharmaceutically acceptable vehicle
co-surfactants include, but are not limited to: a) natural and       and are present in the final formulation, e.g., in an amount
synthetic lipophilic agents, e.g., phospholipids, cholesterol,       ranging from about 0.1% to about 20%, from about 0.5% to
and cholesterol fatty acid esters and derivatives thereof; b)        about 10%. In certain embodiments of the present disclo-
nonionic surfactants, which include for example, polyoxy- 40 sure, the amount of buffer included in the gel formulations
ethylene fatty alcohol esters, sorbitan fatty acid esters            are an amount such that the pD of the gel formulation does
(Spans), polyoxyethylene sorbitan fatty acid esters (e.g.,           not interfere with the body's natural buffering system.
polyoxyethylene (20) sorbitan monooleate (Tween 80),                    In one embodiment, diluents are also used to stabilize
polyoxyethylene (20) sorbitan monostearate (Tween 60),               compounds because they provide a more stable environ-
polyoxyethylene (20) sorbitan monolaurate (Tween 20) and 45 ment. In some instances, salts dissolved in buffered solutions
other Tweens, sorbitan esters, glycerol esters, e.g., Myrj and       (which also provides pD control or maintenance) are utilized
glycerol triacetate (triacetin), polyethylene glycols, cetyl         as diluents in the art, including, but not limited to a phos-
alcohol, cetostearyl alcohol, stearyl alcohol, polysorbate 80,       phate buffered saline solution.
poloxamers, poloxamines, polyoxyethylene castor oil                     In some embodiments, the pD is calculated according to
derivatives (e.g., Cremophor® RH40, Cremphor A25, so the formula disclosed in Glasoe et al., "Use of glass elec-
Cremphor A20, Cremophor® EL) and other Cremophors,                   trodes to measure acidities in deuterium oxide," J. Physical
sulfosuccinates, alkyl sulphates (SLS); PEG glyceryl fatty           Chem. 64(1): 188-190 (1960). In some embodiment, the pD
acid esters such as PEG-8 glyceryl caprylate/caprate                 is calculated as pD—pH*+0.4, in which pH* is the measured
(Labrasol), PEG-4 glyceryl caprylate/caprate (Labrafac               or observed pH of the ophthalmic composition formulated in
Hydro WL 1219), PEG-32 glyceryl laurate (Gelucire 444/ 55 a solution comprising deuterated water (e.g., D2O).
14), PEG-6 glyceryl mono oleate (Labrafil M 1944 CS),                   In some embodiments, the ophthalmic aqueous, gel, or
PEG-6 glyceryl linoleate (Labrafil M 2125 CS); propylene             ointment composition described herein has a pD of between
glycol mono- and di-fatty acid esters, such as propylene             about 4 and about 8, between about 4.5 and about 8, between
glycol laurate, propylene glycol caprylate/caprate; Brij®            about 4.9 and about 7.9, between about 5.4 and about 7.9,
700, ascorbyl-6-palmitate, stearylamine, sodium lauryl sul- 60 between about 5.9 and about 7.9, between about 6.4 and
fate, polyoxethyleneglycerol triiricinoleate, and any combi-         about 7.9, or between about 7.4 and about 7.9. In some
nations or mixtures thereof; c) anionic surfactants include,         embodiments, the ophthalmic aqueous, gel, or ointment
but are not limited to, calcium carboxymethylcellulose,              composition described herein has a pD of between about
sodium carboxymethylcellulose, sodium sulfosuccinate,                4.5-7.5, between about 5.0 and about 7.5, between about 5.5
dioctyl, sodium alginate, alkyl polyoxyethylene sulfates, 65 and about 7.5, between about 6.0 and about 7.5, or between
sodium lauryl sulfate, triethanolamine stearate, potassium           about 7.0 and about 7.5. In some embodiments, the oph-
laurate, bile salts, and any combinations or mixtures thereof;       thalmic aqueous, gel, or ointment composition described


                                                        Appx000327
                                                        Appx000327                     Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 34
                                                                                                                   34 of
                                                                                                                      of 67
                                                                                                                         67
              Case: 23-2402              Document: 15             Page: 384          Filed: 02/01/2024


                                                US 10,888,557 B2
                           37                                                              38
herein has a pD of between about 4.5-7.0, between about 5.0    In some embodiments, the ophthalmic aqueous composition
and about 7.0, between about 5.5 and about 7.0, between        has a pD of about 5.4. In some embodiments, the ophthalmic
about 6.0 and about 7.0, or between about 6.5 and about 7.0.   aqueous composition has a pD of about 5.3. In some
In some embodiments, the ophthalmic aqueous, gel, or           embodiments, the ophthalmic aqueous composition has a pD
ointment composition described herein has a pD of between 5 of about 5.2. In some embodiments, the ophthalmic aqueous
about 4.9-7.4, between about 5.4 and about 7.4, between        composition has a pD of about 5.1. In some embodiments,
about 5.9 and about 7.4, between about 6.4 and about 7.4, or   the ophthalmic aqueous composition has a pD of about 5. In
between about 6.9 and about 7.4. In some embodiments, the      some embodiments, the ophthalmic aqueous composition
ophthalmic aqueous, gel, or ointment composition described     has a pD of about 4.9. In some embodiments, the ophthalmic
herein has a pD of between about 4.5-6.5, between about 5.0 10 aqueous composition has a pD of about 4.8. In some
and about 6.5, between about 5.5 and about 6.5, or between     embodiments, the ophthalmic aqueous composition has a pD
about 6.0 and about 6.5. In some embodiments, the oph-         of about 4.7. In some embodiments, the ophthalmic aqueous
thalmic aqueous, gel, or ointment composition described        composition has a pD of about 4.6. In some embodiments,
herein has a pD of between about 4.9-6.9, between about 5.4    the ophthalmic aqueous composition has a pD of about 4.5.
and about 6.9, between about 5.9 and about 6.9, or between 15 In some embodiments, the ophthalmic aqueous composition
about 6.4 and about 6.9. In some embodiments, the oph-         has a pD of about 4.4. In some embodiments, the ophthalmic
thalmic aqueous, gel, or ointment composition described        aqueous composition has a pD of about 4.3. In some
herein has a pD of between about 4.5-6.0, between about 5.0    embodiments, the ophthalmic aqueous composition has a pD
and about 6.0, or between about 5.5 and about 6.0. In some     of about 4.2. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous, gel, or ointment 20 composition has a pD of about 4.1. In some embodiments,
composition described herein has a pD of between about         the ophthalmic aqueous composition has a pD of about 4. In
4.9-6.4, between about 5.4 and about 6.4, or between about     some embodiments, the pD is an initial pD of the ophthalmic
5.9 and about 6.4. In some embodiments, the ophthalmic         aqueous composition. In some embodiments, the pD is the
aqueous, gel, or ointment composition described herein has     pD of the ophthalmic aqueous composition after extended
a pD of between about 4.5-5.5, or between about 5.0 and 25 period of time under storage condition.
about 5.5. In some embodiments, the ophthalmic aqueous,           In some instances, the ophthalmic aqueous composition
gel, or ointment composition described herein has a pD of      has an initial pD of between about 4 and about 8, about 4.5
between about 4.9-5.9, or between about 5.4 and about 5.9.     and about 7.8, about 5 and about 7.5, or about 5.5 and about
In some embodiments, the ophthalmic aqueous, gel, or           7. In some embodiments, the ophthalmic aqueous compo-
ointment composition described herein has a pD of between 30 sition has an initial pD of about 7.5. In some embodiments,
about 4.5-5.0. In some embodiments, the ophthalmic aque-       the ophthalmic aqueous composition has an initial pD of
ous, gel, or ointment composition described herein has a pD    about 7.4. In some embodiments, the ophthalmic aqueous
of between about 4.9-5.4.                                      composition has an initial pD of about 7.3. In some embodi-
   In some embodiments, the ophthalmic composition is an       ments, the ophthalmic aqueous composition has an initial
ophthalmic aqueous composition. In some instances, the 35 pD of about 7.2. In some embodiments, the ophthalmic
ophthalmic aqueous composition has a pD of between about       aqueous composition has an initial pD of about 7.1. In some
4 and about 8, about 4.5 and about 7.8, about 5 and about      embodiments, the ophthalmic aqueous composition has an
7.5, or about 5.5 and about 7. In some embodiments, the        initial pD of about 7. In some embodiments, the ophthalmic
ophthalmic aqueous composition has a pD of about 7.5. In       aqueous composition has an initial pD of about 6.9. In some
some embodiments, the ophthalmic aqueous composition 40 embodiments, the ophthalmic aqueous composition has an
has a pD of about 7.4. In some embodiments, the ophthalmic     initial pD of about 6.8. In some embodiments, the ophthal-
aqueous composition has a pD of about 7.3. In some             mic aqueous composition has an initial pD of about 6.7. In
embodiments, the ophthalmic aqueous composition has a pD       some embodiments, the ophthalmic aqueous composition
of about 7.2. In some embodiments, the ophthalmic aqueous      has an initial pD of about 6.6. In some embodiments, the
composition has a pD of about 7.1. In some embodiments, 45 ophthalmic aqueous composition has an initial pD of about
the ophthalmic aqueous composition has a pD of about 7. In     6.5. In some embodiments, the ophthalmic aqueous compo-
some embodiments, the ophthalmic aqueous composition           sition has an initial pD of about 6.4. In some embodiments,
has a pD of about 6.9. In some embodiments, the ophthalmic     the ophthalmic aqueous composition has an initial pD of
aqueous composition has a pD of about 6.8. In some             about 6.3. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous composition has a pD so composition has an initial pD of about 6.2. In some embodi-
of about 6.7. In some embodiments, the ophthalmic aqueous      ments, the ophthalmic aqueous composition has an initial
composition has a pD of about 6.6. In some embodiments,        pD of about 6.1. In some embodiments, the ophthalmic
the ophthalmic aqueous composition has a pD of about 6.5.      aqueous composition has an initial pD of about 6. In some
In some embodiments, the ophthalmic aqueous composition        embodiments, the ophthalmic aqueous composition has an
has a pD of about 6.4. In some embodiments, the ophthalmic 55 initial pD of about 5.9. In some embodiments, the ophthal-
aqueous composition has a pD of about 6.3. In some             mic aqueous composition has an initial pD of about 5.8. In
embodiments, the ophthalmic aqueous composition has a pD       some embodiments, the ophthalmic aqueous composition
of about 6.2. In some embodiments, the ophthalmic aqueous      has an initial pD of about 5.7. In some embodiments, the
composition has a pD of about 6.1. In some embodiments,        ophthalmic aqueous composition has an initial pD of about
the ophthalmic aqueous composition has a pD of about 6. In 60 5.6. In some embodiments, the ophthalmic aqueous compo-
some embodiments, the ophthalmic aqueous composition           sition has an initial pD of about 5.5. In some embodiments,
has a pD of about 5.9. In some embodiments, the ophthalmic     the ophthalmic aqueous composition has an initial pD of
aqueous composition has a pD of about 5.8. In some             about 5.4. In some embodiments, the ophthalmic aqueous
embodiments, the ophthalmic aqueous composition has a pD       composition has an initial pD of about 5.3. In some embodi-
of about 5.7. In some embodiments, the ophthalmic aqueous 65 ments, the ophthalmic aqueous composition has an initial
composition has a pD of about 5.6. In some embodiments,        pD of about 5.2. In some embodiments, the ophthalmic
the ophthalmic aqueous composition has a pD of about 5.5.      aqueous composition has an initial pD of about 5.1. In some


                                                    Appx000328
                                                    Appx000328                   Eyenovia Exhibit
                                                                                 Eyenovia Exhibit 1001,
                                                                                                  1001, Page
                                                                                                        Page 35
                                                                                                             35 of
                                                                                                                of 67
                                                                                                                   67
              Case: 23-2402              Document: 15              Page: 385           Filed: 02/01/2024


                                                 US 10,888,557 B2
                            39                                                               40
embodiments, the ophthalmic aqueous composition has an          some embodiments, the ophthalmic aqueous composition
initial pD of about 5. In some embodiments, the ophthalmic      has a pD of less than about 4.5. In some embodiments, the
aqueous composition has an initial pD of about 4.9. In some     ophthalmic aqueous composition has a pD of less than about
embodiments, the ophthalmic aqueous composition has an          4.4. In some embodiments, the ophthalmic aqueous compo-
initial pD of about 4.8. In some embodiments, the ophthal- 5 sition has a pD of less than about 4.3. In some embodiments,
mic aqueous composition has an initial pD of about 4.7. In      the ophthalmic aqueous composition has a pD of less than
some embodiments, the ophthalmic aqueous composition            about 4.2. In some embodiments, the ophthalmic aqueous
has an initial pD of about 4.6. In some embodiments, the        composition has a pD of less than about 4.1. In some
ophthalmic aqueous composition has an initial pD of about       embodiments, the ophthalmic aqueous composition has a pD
4.5. In some embodiments, the ophthalmic aqueous compo- 10 of less than about 4. In some embodiments, the pD is the pD
sition has an initial pD of about 4.4. In some embodiments,     of the ophthalmic aqueous composition after extended
the ophthalmic aqueous composition has an initial pD of         period of time under storage condition.
about 4.3. In some embodiments, the ophthalmic aqueous             In some embodiments, the pD of the ophthalmic aqueous
composition has an initial pD of about 4.2. In some embodi-     composition described herein is associated with the stability
ments, the ophthalmic aqueous composition has an initial 15 of the ophthalmic aqueous composition. In some embodi-
pD of about 4.1. In some embodiments, the ophthalmic            ments, a stable composition comprises a pD of between
aqueous composition has an initial pD of about 4.               about 4 and about 8, about 4.5 and about 7.8, about 5 and
   In some instances, the ophthalmic aqueous composition        about 7.5, or about 5.5 and about 7. In some embodiments,
has a pD of between about 4 and about 8, about 4.5 and          a stable composition comprises a pD of less than about 7.5.
about 7.8, about 5 and about 7.5, or about 5.5 and about 7. 20 In some embodiments, a stable composition comprises a pD
In some embodiments, the ophthalmic aqueous composition         of less than about 7.4. In some embodiments, a stable
has a pD of less than about 7.5. In some embodiments, the       composition comprises a pD of less than about 7.3. In some
ophthalmic aqueous composition has a pD of less than about      embodiments, a stable composition comprises a pD of less
7.4. In some embodiments, the ophthalmic aqueous compo-         than about 7.2. In some embodiments, a stable composition
sition has a pD of less than about 7.3. In some embodiments, 25 comprises a pD of less than about 7.1. In some embodi-
the ophthalmic aqueous composition has a pD of less than        ments, a stable composition comprises a pD of less than
about 7.2. In some embodiments, the ophthalmic aqueous          about 7. In some embodiments, a stable composition com-
composition has a pD of less than about 7.1. In some            prises a pD of less than about 6.9. In some embodiments, a
embodiments, the ophthalmic aqueous composition has a pD        stable composition comprises a pD of less than about 6.8. In
of less than about 7. In some embodiments, the ophthalmic 30 some embodiments, a stable composition comprises a pD of
aqueous composition has a pD of less than about 6.9. In         less than about 6.7. In some embodiments, a stable compo-
some embodiments, the ophthalmic aqueous composition            sition comprises a pD of less than about 6.6. In some
has a pD of less than about 6.8. In some embodiments, the       embodiments, a stable composition comprises a pD of less
ophthalmic aqueous composition has a pD of less than about      than about 6.5. In some embodiments, a stable composition
6.7. In some embodiments, the ophthalmic aqueous compo- 35 comprises a pD of less than about 6.4. In some embodi-
sition has a pD of less than about 6.6. In some embodiments,    ments, a stable composition comprises a pD of less than
the ophthalmic aqueous composition has a pD of less than        about 6.3. In some embodiments, a stable composition
about 6.5. In some embodiments, the ophthalmic aqueous          comprises a pD of less than about 6.2. In some embodi-
composition has a pD of less than about 6.4. In some            ments, a stable composition comprises a pD of less than
embodiments, the ophthalmic aqueous composition has a pD 40 about 6.1. In some embodiments, a stable composition
of less than about 6.3. In some embodiments, the ophthalmic     comprises a pD of less than about 6. In some embodiments,
aqueous composition has a pD of less than about 6.2. In         a stable composition comprises a pD of less than about 5.9.
some embodiments, the ophthalmic aqueous composition            In some embodiments, a stable composition comprises a pD
has a pD of less than about 6.1. In some embodiments, the       of less than about 5.8. In some embodiments, a stable
ophthalmic aqueous composition has a pD of less than about 45 composition comprises a pD of less than about 5.7. In some
6. In some embodiments, the ophthalmic aqueous compo-           embodiments, a stable composition comprises a pD of less
sition has a pD of less than about 5.9. In some embodiments,    than about 5.6. In some embodiments, a stable composition
the ophthalmic aqueous composition has a pD of less than        comprises a pD of less than about 5.5. In some embodi-
about 5.8. In some embodiments, the ophthalmic aqueous          ments, a stable composition comprises a pD of less than
composition has a pD of less than about 5.7. In some so about 5.4. In some embodiments, a stable composition
embodiments, the ophthalmic aqueous composition has a pD        comprises a pD of less than about 5.3. In some embodi-
of less than about 5.6. In some embodiments, the ophthalmic     ments, a stable composition comprises a pD of less than
aqueous composition has a pD of less than about 5.5. In         about 5.2. In some embodiments, a stable composition
some embodiments, the ophthalmic aqueous composition            comprises a pD of less than about 5.1. In some embodi-
has a pD of less than about 5.4. In some embodiments, the 55 ments, a stable composition comprises a pD of less than
ophthalmic aqueous composition has a pD of less than about      about 5. In some embodiments, a stable composition com-
5.3. In some embodiments, the ophthalmic aqueous compo-         prises a pD of less than about 4.9. In some embodiments, a
sition has a pD of less than about 5.2. In some embodiments,    stable composition comprises a pD of less than about 4.8. In
the ophthalmic aqueous composition has a pD of less than        some embodiments, a stable composition comprises a pD of
about 5.1. In some embodiments, the ophthalmic aqueous 60 less than about 4.7. In some embodiments, a stable compo-
composition has a pD of less than about 5. In some embodi-      sition comprises a pD of less than about 4.6. In some
ments, the ophthalmic aqueous composition has a pD of less      embodiments, a stable composition comprises a pD of less
than about 4.9. In some embodiments, the ophthalmic aque-       than about 4.5. In some embodiments, a stable composition
ous composition has a pD of less than about 4.8. In some        comprises a pD of less than about 4.4. In some embodi-
embodiments, the ophthalmic aqueous composition has a pD 65 ments, a stable composition comprises a pD of less than
of less than about 4.7. In some embodiments, the ophthalmic     about 4.3. In some embodiments, a stable composition
aqueous composition has a pD of less than about 4.6. In         comprises a pD of less than about 4.2. In some embodi-


                                                     Appx000329
                                                     Appx000329                    Eyenovia Exhibit
                                                                                   Eyenovia Exhibit 1001,
                                                                                                    1001, Page
                                                                                                          Page 36
                                                                                                               36 of
                                                                                                                  of 67
                                                                                                                     67
               Case: 23-2402               Document: 15              Page: 386            Filed: 02/01/2024


                                                   US 10,888,557 B2
                             41                                                                  42
ments, a stable composition comprises a pD of less than            months, at least about 10 months, at least about 11 months,
about 4.1. In some embodiments, a stable composition               at least about 12 months, at least about 18 months, at least
comprises a pD of less than about 4.                               about 24 months, at least about 3 years, at least about 4
   In some embodiments, the D2O aqueous system stabilizes          years, at least about 5 years, at least about 6 years, at least
a muscarinic antagonist (e.g., atropine). In some embodi- 5 about 7 years, at least about 8 years, at least about 9 years,
ments, this is due to a lower concentration of the reactive        at least about 10 years, or more. In other embodiments, the
species (e.g., OD) in the D2O aqueous system compared              formulations described herein are stable with respect to pD
to the concentration of the reactive species (e.g., OH) in         over a period of at least about 1 week. In other embodiments,
an equivalent H2O aqueous system. In some instances, the           the formulations described herein are stable with respect to
concentration of the reactive species (e.g., OD) in the D2O 10 pD over a period of at least about 2 weeks. In other
aqueous system is about one third less than the concentration      embodiments, the formulations described herein are stable
of the reactive species (e.g., OH) in the equivalent H2O           with respect to pD over a period of at least about 3 weeks.
aqueous system. In some cases, this is due to a lower or           In other embodiments, the formulations described herein are
smaller dissociation constant of D2O than H2O. For                 stable with respect to pD over a period of at least about 1
example, the K,(H2O) is 1x10-14, whereas the K,(D2O) is 15 month. Also described herein are formulations that are stable
1x10-15 . As such, D2O is a weaker acid than H2O. In some          with respect to pD over a period of at least about 2 months,
cases, base catalyzed hydrolysis leads to the presence of          at least about 3 months, at least about 4 months, at least
tropine degradant from atropine. In some cases, with a lower       about 5 months, at least about 6 months, at least about 12
concentration of the reactive species that causes tropine          months, at least about 18 months, at least about 2 years, or
degradant formation, atropine solution is more stable in a 20 more.
D2O aqueous system than compared to an equivalent H2O                 Aqueous Solution Dose-to-Dose Uniformity
aqueous system. In some embodiments, the ophthalmic                   Typical ophthalmic aqueous solutions are packaged in eye
composition formulated with deuterated water allows for a          drop bottles and administered as drops. For example, a
more stable ophthalmic composition relative to the ophthal-        single administration (i.e. a single dose) of an ophthalmic
mic composition formulated with H2O.                            25 aqueous solution includes a single drop, two drops, three
   In some embodiments, the presence of deuterated water           drops or more into the eyes of the patient. In some embodi-
shifts the pKa of the buffer. In some embodiments, the             ments, one dose of the ophthalmic aqueous solution
presence of deuterated water allows for the ophthalmic             described herein is one drop of the aqueous solution com-
composition to simulate the stability of a lower pH system.        position from the eye drop bottle.
In some instances, the buffer capacity of the ophthalmic 30           In some cases, described herein include ophthalmic aque-
composition is lowered, thereby allowing a faster shift in         ous compositions which provide a dose-to-dose uniform
pH. In some instances, the lowered buffering capacity of the       concentrations. In some instances, the dose-to-dose uniform
ophthalmic composition when administered into the eye              concentration does not present significant variations of drug
allows the ophthalmic composition to reach physiological           content from one dose to another. In some instances, the
pH at a faster rate than compared to an ophthalmic compo- 35 dose-to-dose uniform concentration does provide consistent
sition formulated in H2O. In some instances, the ophthalmic        drug content from one dose to another.
composition formulated with deuterated water allows for a             In some embodiments, the composition has a dose-to-
lower tear production, or less tear reflex in the eye, in          dose ophthalmic agent concentration variation of less than
comparison with an ophthalmic composition formulated               50%. In some embodiments, the composition has a dose-to-
with H2O.                                                       40 dose ophthalmic agent concentration variation of less than
   In some embodiment, the ophthalmic gel or ointment              40%. In some embodiments, the composition has a dose-to-
composition described herein has a pD of about 4, about 4.1,       dose ophthalmic agent concentration variation of less than
about 4.2, about 4.3, about 4.4, about 4.5, about 4.6, about       30%. In some embodiments, the composition has a dose-to-
4.7, about 4.8, about 4.9, about 5.0, about 5.1, about 5.2,        dose ophthalmic agent concentration variation of less than
about 5.3, about 5.4, about 5.5, about 5.6, about 5.7, about 45 20%. In some embodiments, the composition has a dose-to-
5.8, about 5.9, about 6.0, about 6.1, about 6.2, about 6.3,        dose ophthalmic agent concentration variation of less than
about 6.4, about 6.5, about 6.6, about 6.7, about 6.8, about       10%. In some embodiments, the composition has a dose-to-
6.9, about 7.0, about 7.1, about 7.2, about 7.3, about 7.4,        dose ophthalmic agent concentration variation of less than
about 7.5, about 7.6, about 7.7, about 7.8, or about 7.9.          5%.
   In some embodiment, the pD of the ophthalmic aqueous, so           In some embodiments, the dose-to-dose ophthalmic agent
gel, or ointment composition described herein is suitable for      concentration variation is based on 10 consecutive doses. In
sterilization (e.g., by filtration or aseptic mixing or heat       some embodiments, the dose-to-dose ophthalmic agent con-
treatment and/or autoclaving (e.g., terminal sterilization)) of    centration variation is based on 8 consecutive doses. In some
ophthalmic formulations described herein. As used in in the        embodiments, the dose-to-dose ophthalmic agent concentra-
present disclosure, the term "aqueous composition" includes 55 tion variation is based on 5 consecutive doses. In some
compositions that are based on D2O.                                embodiments, the dose-to-dose ophthalmic agent concentra-
   In some embodiments, the pharmaceutical formulations            tion variation is based on 3 consecutive doses. In some
described herein are stable with respect to pD over a period       embodiments, the dose-to-dose ophthalmic agent concentra-
of any of at least about 1 day, at least about 2 days, at least    tion variation is based on 2 consecutive doses.
about 3 days, at least about 4 days, at least about 5 days, at 60     A nonsettling formulation should not require shaking to
least about 6 days, at least about 1 week, at least about 2        disperse drug uniformly. A "no-shake" formulation is poten-
weeks, at least about 3 weeks, at least about 4 weeks, at least    tially advantageous over formulations that require shaking
about 5 weeks, at least about 6 weeks, at least about 7 weeks,     for the simple reason that patients' shaking behavior is a
at least about 8 weeks, at least about 1 month, at least about     major source of variability in the amount of drug dosed. It
2 months, at least about 3 months, at least about 4 months, 65 has been reported that patients often times do not or forget
at least about 5 months, at least about 6 months, at least         to shake their ophthalmic compositions that requires shaking
about 7 months, at least about 8 months, at least about 9          before administering a dose, despite the instructions to shake


                                                       Appx000330
                                                       Appx000330                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 37
                                                                                                                  37 of
                                                                                                                     of 67
                                                                                                                        67
              Case: 23-2402               Document: 15              Page: 387           Filed: 02/01/2024


                                                  US 10,888,557 B2
                            43                                                                44
that were clearly marked on the label. On the other hand,        apparent viscosity of from about 500 cP to about 10,000 cP.
even for those patients who do shake the product, it is          In some embodiments, a low viscosity ophthalmic agent
normally not possible to determine whether the shaking is        composition described herein provides an apparent viscosity
adequate in intensity and/or duration to render the product      of from about 1000 cP to about 10,000 cP.
uniform. In some embodiments, the ophthalmic gel compo- 5           Osmolarity
sitions and ophthalmic ointment compositions described              In some embodiments, a composition disclosed herein is
herein are "no-shake" formulations that maintained the           formulated in order to not disrupt the ionic balance of the
dose-to-dose uniformity described herein.                        eye. In some embodiments, a composition disclosed herein
   To evaluate the dose-to-dose uniformity, drop bottles or      has an ionic balance that is the same as or substantially the
tubes containing the ophthalmic aqueous compositions, the io same as the eye. In some embodiments, a composition
ophthalmic gel compositions, or ophthalmic ointment com-         disclosed herein does not does not disrupt the ionic balance
positions are stored upright for a minimum of 12 hours prior     of the eye.
to the start of the test. To simulate the recommended dosing        As used herein, "practical osmolarity/osmolality" or
of these products, predetermined number of drops or strips       "deliverable osmolarity/osmolality" means the osmolarity/
are dispensed from each commercial bottles or tubes at 15 osmolality of a composition as determined by measuring the
predetermined time intervals for an extended period of time      osmolarity/osmolality of the ophthalmic agent and all
or until no product was left in the bottle or tube. All drops    excipients except the gelling and/or the thickening agent
and strips are dispensed into tared glass vials, capped, and     (e.g., polyoxyethylene-polyoxypropylene copolymers, car-
stored at room temperature until analysis. Concentrations of     boxymethylcellulose or the like). The practical osmolarity of
a muscarinic antagonist such as atropine in the expressed 20 a composition disclosed herein is measured by a suitable
drops were determined using a reverse-phase HPLC method.         method, e.g., a freezing point depression method as
   Aqueous Solution Viscosity                                    described in Viegas et. al., Int. J. Pharm., 1998, 160, 157-
   In some embodiments, the composition has a Brookfield         162. In some instances, the practical osmolarity of a com-
RVDV viscosity of from about 10 to about 50,000 cps at           position disclosed herein is measured by vapor pressure
about 20° C. and sheer rate of 1 s-1. In some embodiments, 25 osmometry (e.g., vapor pressure depression method) that
the composition has a Brookfield RVDV viscosity of from          allows for determination of the osmolarity of a composition
about 100 to about 40,000 cps at about 20° C. and sheer rate     at higher temperatures. In some instances, vapor pressure
of 1 s-1. In some embodiments, the composition has a             depression method allows for determination of the osmo-
Brookfield RVDV viscosity of from about 500 to about             larity of a composition comprising a gelling agent (e.g., a
30,000 cps at about 20° C. and sheer rate of 1 s-1. In some 30 thermoreversible polymer) at a higher temperature wherein
embodiments, the composition has a Brookfield RVDV               the gelling agent is in the form of a gel.
viscosity of from about 1000 to about 20,000 cps at about           In some embodiments, the osmolarity at a target site of
20° C. and sheer rate of 1 s-1. In some embodiments, the         action (e.g., the eye) is about the same as the delivered
composition has a Brookfield RVDV viscosity of from about        osmolarity of a composition described herein. In some
2000 to about 10,000 cps at about 20° C. and sheer rate of 35 embodiments, a composition described herein has a deliv-
1 s-1. In some embodiments, the composition has a Brook-         erable osmolarity of about 150 mOsm/L to about 500
field RVDV viscosity of from about 4000 to about 8000 cps        mOsm/L, about 250 mOsm/L to about 500 mOsm/L, about
at about 20° C. and sheer rate of 1 s-1.                         250 mOsm/L to about 350 mOsm/L, about 280 mOsm/L to
   In some embodiments, the ophthalmic aqueous formula-          about 370 mOsm/L or about 250 mOsm/L to about 320
tion contains a viscosity enhancing agent sufficient to pro- 40 mOsm/L.
vide a viscosity of between about 500 and 50,000 centipoise,        The practical osmolality of an ophthalmic composition
between about 750 and 50,000 centipoise; between about           disclosed herein is from about 100 mOsm/kg to about 1000
1000 and 50,000 centipoise; between about 1000 and 40,000        mOsm/kg, from about 200 mOsm/kg to about 800 mOsm/
centipoise; between about 2000 and 30,000 centipoise;            kg, from about 250 mOsm/kg to about 500 mOsm/kg, or
between about 3000 and 20,000 centipoise; between about 45 from about 250 mOsm/kg to about 320 mOsm/kg, or from
4000 and 10,000 centipoise, or between about 5000 and            about 250 mOsm/kg to about 350 mOsm/kg or from about
8000 centipoise.                                                 280 mOsm/kg to about 320 mOsm/kg. In some embodi-
   In some embodiments, the compositions described herein        ments, a composition described herein has a practical osmo-
are low viscosity compositions at body temperature. In some      larity of about 100 mOsm/L to about 1000 mOsm/L, about
embodiments, low viscosity compositions contain from so       50 200 mOsm/L to about 800 mOsm/L, about 250 mOsm/L to
about 1% to about 10% of a viscosity enhancing agent (e.g.,      about 500 mOsm/L, about 250 mOsm/L to about 350
gelling components such as polyoxyethylene-polyoxypro-           mOsm/L, about 250 mOsm/L to about 320 mOsm/L, or
pylene copolymers). In some embodiments, low viscosity           about 280 mOsm/L to about 320 mOsm/L.
compositions contain from about 2% to about 10% of a                In some embodiments, suitable tonicity adjusting agents
viscosity enhancing agent (e.g., gelling components such as 55 include, but are not limited to any pharmaceutically accept-
polyoxyethylene-polyoxypropylene copolymers). In some            able sugar, salt or any combinations or mixtures thereof,
embodiments, low viscosity compositions contain from             such as, but not limited to dextrose, glycerin, mannitol,
about 5% to about 10% of a viscosity enhancing agent (e.g.,      sorbitol, sodium chloride, and other electrolytes. In some
gelling components such as polyoxyethylene-polyoxypro-           instances, the tonicity adjusting agent is selected from
pylene copolymers). In some embodiments, low viscosity 60 sodium chloride, sodium nitrate, sodium sulfate, sodium
compositions are substantially free of a viscosity enhancing     bisulfate, potassium chloride, calcium chloride, magnesium
agent (e.g., gelling components such as polyoxyethylene-         chloride, zinc chloride, potassium acetate, sodium acetate,
polyoxypropylene copolymers). In some embodiments, a             sodium bicarbonate, sodium carbonate, sodium thiosulfate,
low viscosity ophthalmic agent composition described             magnesium sulfate, disodium hydrogen phosphate, sodium
herein provides an apparent viscosity of from about 100 cP 65 dihydrogen phosphate, potassium dihydrogen phosphate,
to about 10,000 cP. In some embodiments, a low viscosity         dextrose, mannitol, sorbitol, dextrose, sucrose, urea, propyl-
ophthalmic agent composition described herein provides an        ene glycol, glycerin, trehalose, or a combination thereof
                                                                                                                     thereof.


                                                      Appx000331
                                                      Appx00 0331                   Eyenovia Exhibit
                                                                                    Eyenovia Exhibit 1001,
                                                                                                     1001, Page
                                                                                                           Page 38
                                                                                                                38 of
                                                                                                                   of 67
                                                                                                                      67
              Case: 23-2402                Document: 15              Page: 388            Filed: 02/01/2024


                                                   US 10,888,557 B2
                             45                                                                  46
   In some embodiment, the ophthalmic compositions                tics (2006), 312(1-2):144-50) are amenable to sterilization
described herein include one or more salts in an amount           by filtration through 0.22      filters without destroying their
required to bring osmolality of the composition into an           organized structure.
acceptable range. Such salts include those having sodium,            In some embodiments, the methods disclosed herein
potassium or ammonium cations and chloride, citrate, ascor- 5 comprise sterilizing the formulation (or components thereof)
bate, borate, phosphate, bicarbonate, sulfate, thiosulfate or     by means of filtration sterilization. In ophthalmic gel com-
bisulfite anions; suitable salts include sodium chloride,         positions that includes thermosetting polymers, filtration is
potassium chloride, sodium thiosulfate, sodium bisulfite and      carried out below (e.g. about 5° C.) the gel temperature
ammonium sulfate.                                                 (Tgel) of a formulation described herein and with viscosity
                                                               10 that allows for filtration in a reasonable time using a peri-
   Sterility
                                                                  staltic pump (e.g. below a theoretical value of 100 cP).
   In some embodiments, the compositions are sterilized.
                                                                     Accordingly, provided herein are methods for sterilization
Included within the embodiments disclosed herein are
                                                                  of ophthalmic formulations that prevent degradation of
means and processes for sterilization of a pharmaceutical         polymeric components (e.g., thermosetting and/or other
composition disclosed herein for use in humans. The goal is 15 viscosity enhancing agents) and/or the ophthalmic agent
to provide a safe pharmaceutical product, relatively free of      during the process of sterilization. In some embodiments,
infection causing micro-organisms. The U. S. Food and             degradation of the ophthalmic agent (e.g., a muscarinic
Drug Administration has provided regulatory guidance in           antagonist such as atropine or atropine sulfate) is reduced or
the publication "Guidance for Industry: Sterile Drug Prod-        eliminated through the use of specific pD ranges for buffer
ucts Produced by Aseptic Processing" available at: http:// 20 components and specific proportions of viscosity enhancing
www.fda.gov/cder/guidance/5882fnl.htm, which is incorpo-          agents in the formulations. In some embodiments, the choice
rated herein by reference in its entirety.                        of an appropriate viscosity enhancing agents or thermoset-
   As used herein, sterilization means a process used to          ting polymer allows for sterilization of formulations
destroy or remove microorganisms that are present in a            described herein by filtration. In some embodiments, the use
product or packaging. Any suitable method available for 25 of an appropriate thermosetting polymer or other viscosity
sterilization of objects and compositions is used. Available      enhancing agents in combination with a specific pD range
methods for the inactivation of microorganisms include, but       for the formulation allows for high temperature sterilization
are not limited to, the application of extreme heat, lethal       of formulations described with substantially no degradation
chemicals, or gamma radiation. In some embodiments, a             of the therapeutic agent or the polymeric excipients. An
process for the preparation of an ophthalmic formulation 30 advantage of the methods of sterilization provided herein is
comprises subjecting the formulation to a sterilization           that, in certain instances, the formulations are subjected to
method selected from heat sterilization, chemical steriliza-      terminal sterilization via autoclaving without any loss of the
tion, radiation sterilization or filtration sterilization. The    ophthalmic agent and/or excipients and/or viscosity enhanc-
method used depends largely upon the nature of the device         ing agents during the sterilization step and are rendered
or composition to be sterilized. Detailed descriptions of 35 substantially free of microbes and/or pyrogens.
many methods of sterilization are given in Chapter 40 of             Radiation Sterilization
Remington: The Science and Practice of Pharmacy pub-                 One advantage of radiation sterilization is the ability to
lished by Lippincott, Williams & Wilkins, and is incorpo-         sterilize many types of products without heat degradation or
rated by reference with respect to this subject matter.           other damage. The radiation commonly employed is beta
   Filtration                                                  40 radiation or alternatively, gamma radiation from a 'Co
   Filtration sterilization is a method used to remove but not    source. The penetrating ability of gamma radiation allows its
destroy microorganisms from solutions. Membrane filters           use in the sterilization of many product types, including
are used to filter heat-sensitive solutions. Such filters are     solutions, compositions and heterogeneous mixtures. The
thin, strong, homogenous polymers of mixed cellulosic             germicidal effects of irradiation arise from the interaction of
esters (MCE), polyvinylidene fluoride (PVF; also known as 45 gamma radiation with biological macromolecules. This
PVDF), or polytetrafluoroethylene (PTFE) and have pore            interaction generates charged species and free-radicals. Sub-
sizes ranging from 0.1 to 0.22 Solutions of various charac-       sequent chemical reactions, such as rearrangements and
teristics are optionally filtered using different filter mem-     cross-linking processes, result in the loss of normal function
branes. For example, PVF and PTFE membranes are well              for these biological macromolecules. The formulations
suited to filtering organic solvents while aqueous solutions so described herein are also optionally sterilized using beta
are filtered through PVF or MCE membranes. Filter appa-           irradiation.
ratus are available for use on many scales ranging from the          Sterilization by Heat
single point-of-use disposable filter attached to a syringe up       Many methods are available for sterilization by the appli-
to commercial scale filters for use in manufacturing plants.      cation of high heat. One method is through the use of a
The membrane filters are sterilized by autoclave or chemical 55 saturated steam autoclave. In this method, saturated steam at
sterilization. Validation of membrane filtration systems is       a temperature of at least 121° C. is allowed to contact the
performed following standardized protocols (Microbiologi-         object to be sterilized. The transfer of heat is either directly
cal Evaluation of Filters for Sterilizing Liquids, Vol 4, No.     to the microorganism, in the case of an object to be steril-
3. Washington, D.C.: Health Industry Manufacturers Asso-          ized, or indirectly to the microorganism by heating the bulk
ciation, 1981) and involve challenging the membrane filter 60 of an aqueous solution to be sterilized. This method is
with a known quantity (ca. 107/cm2) of unusually small            widely practiced as it allows flexibility, safety and economy
microorganisms, such as Brevundimonas diminuta (ATCC              in the sterilization process.
19146).                                                              Microorganisms
   Pharmaceutical compositions are optionally sterilized by          In some embodiments, the compositions are substantially
passing through membrane filters. Formulations comprising 65 free of microorganisms. Acceptable bioburden or sterility
nanoparticles (U.S. Pat. No. 6,139,870) or multilamellar          levels are based on applicable standards that define thera-
vesicles (Richard et al., International Journal of Pharmaceu-     peutically acceptable compositions, including but not lim-


                                                       Appx000332
                                                       Appx000332                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 39
                                                                                                                  39 of
                                                                                                                     of 67
                                                                                                                        67
               Case: 23-2402                Document: 15              Page: 389            Filed: 02/01/2024


                                                    US 10,888,557 B2
                             47                                                                   48
ited to United States Pharmacopeia Chapters <1111> et seq.            molecule found in the cell wall of gram-negative bacteria.
For example, acceptable sterility (e.g., bioburden) levels            While sterilization procedures such as autoclaving or treat-
include about 10 colony forming units (cfu) per gram of               ment with ethylene oxide kill the bacteria, the LPS residue
formulation, about 50 cfu per gram of formulation, about              induces a proinflammatory immune response, such as septic
100 cfu per gram of formulation, about 500 cfu per gram of 5 shock. Because the molecular size of endotoxins varies
formulation or about 1000 cfu per gram of formulation. In             widely, the presence of endotoxins is expressed in "endo-
some embodiments, acceptable bioburden levels or sterility            toxin units" (EU). One EU is equivalent to 100 picograms of
for formulations include less than 10 cfu/mL, less than 50            E. coli LPS. In some cases, humans develop a response to as
cfu/mL, less than 500 cfu/mL or less than 1000 cfu/mL                 little as 5 EU/kg of body weight. The bioburden (e.g.,
microbial agents. In addition, acceptable bioburden levels or 10 microbial limit) and/or sterility (e.g., endotoxin level) is
sterility include the exclusion of specified objectionable            expressed in any units as recognized in the art. In certain
microbiological agents. By way of example, specified objec-           embodiments, ophthalmic compositions described herein
tionable microbiological agents include but are not limited           contain lower endotoxin levels (e.g. <4 EU/kg of body
to Escherichia coli (E. coli), Salmonella sp., Pseudomonas            weight of a subject) when compared to conventionally
aeruginosa (P. aeruginosa) and/or other specific microbial 15 acceptable endotoxin levels (e.g., 5 EU/kg of body weight of
agents.                                                               a subject). In some embodiments, the ophthalmic formula-
    An important component of the sterility assurance quality         tion has less than about 5 EU/kg of body weight of a subject.
control, quality assurance and validation process is the              In other embodiments, the ophthalmic formulation has less
method of sterility testing. Sterility testing, by way of             than about 4 EU/kg of body weight of a subject. In additional
example only, is performed by two methods. The first is 20 embodiments, the ophthalmic formulation has less than
direct inoculation wherein a sample of the composition to be          about 3 EU/kg of body weight of a subject. In additional
tested is added to growth medium and incubated for a period           embodiments, the ophthalmic formulation has less than
of time up to 21 days. Turbidity of the growth medium                 about 2 EU/kg of body weight of a subject.
indicates contamination. Drawbacks to this method include                 In some embodiments, the ophthalmic formulation has
the small sampling size of bulk materials which reduces 25 less than about 5 EU/kg of formulation. In other embodi-
sensitivity, and detection of microorganism growth based on           ments, the ophthalmic formulation has less than about 4
a visual observation. An alternative method is membrane               EU/kg of formulation. In additional embodiments, the oph-
filtration sterility testing. In this method, a volume of             thalmic formulation has less than about 3 EU/kg of formu-
product is passed through a small membrane filter paper. The          lation. In some embodiments, the ophthalmic formulation
filter paper is then placed into media to promote the growth 30 has less than about 5 EU/kg Product. In other embodiments,
of microorganisms. This method has the advantage of                   the ophthalmic formulation has less than about 1 EU/kg
greater sensitivity as the entire bulk product is sampled. The        Product. In additional embodiments, the ophthalmic formu-
commercially available Millipore Steritest sterility testing          lation has less than about 0.2 EU/kg Product. In some
system is optionally used for determinations by membrane              embodiments, the ophthalmic formulation has less than
filtration sterility testing. For the filtration testing of creams 35 about 5 EU/g of unit or Product. In other embodiments, the
or ointments Steritest filter system No. TLHVSL210 are                ophthalmic formulation has less than about 4 EU/g of unit or
used. For the filtration testing of emulsions or viscous              Product. In additional embodiments, the ophthalmic formu-
products Steritest filter system No. TLAREM210 or TDA-                lation has less than about 3 EU/g of unit or Product. In some
REM210 are used. For the filtration testing of pre-filled             embodiments, the ophthalmic formulation has less than
syringes Steritest filter system No. TTHASY210 are used. 40 about 5 EU/mg of unit or Product. In other embodiments, the
For the filtration testing of material dispensed as an aerosol        ophthalmic formulation has less than about 4 EU/mg of unit
or foam Steritest filter system No. TTHVA210 are used. For            or Product. In additional embodiments, the ophthalmic for-
the filtration testing of soluble powders in ampoules or vials        mulation has less than about 3 EU/mg of unit or Product. In
Steritest filter system No. TTHADA210 or TTHADV210                    certain embodiments, ophthalmic formulations described
are used.                                                          45 herein contain from about 1 to about 5 EU/mL of formula-
    Testing for E. coli and Salmonella includes the use of            tion. In certain embodiments, ophthalmic formulations
lactose broths incubated at 30-35° C. for 24-72 hours,                described herein contain from about 2 to about 5 EU/mL of
incubation in MacConkey and/or EMB agars for 18-24                    formulation, from about 3 to about 5 EU/mL of formulation,
hours, and/or the use of Rappaport medium. Testing for the            or from about 4 to about 5 EU/mL of formulation.
detection of P. aeruginosa includes the use of NAC agar. so               In certain embodiments, ophthalmic compositions
United States Pharmacopeia Chapter <62> further enumer-               described herein contain lower endotoxin levels (e.g. <0.5
ates testing procedures for specified objectionable microor-          EU/mL of formulation) when compared to conventionally
ganisms.                                                              acceptable endotoxin levels (e.g., 0.5 EU/mL of formula-
    In certain embodiments, the ophthalmic formulation                tion). In some embodiments, the ophthalmic formulation has
described herein has less than about 60 colony forming units 55 less than about 0.5 EU/mL of formulation. In other embodi-
(CFU), less than about 50 colony forming units, less than             ments, the ophthalmic formulation has less than about 0.4
about 40 colony forming units, or less than about 30 colony           EU/mL of formulation. In additional embodiments, the
forming units of microbial agents per gram of formulation.            ophthalmic formulation has less than about 0.2 EU/mL of
In certain embodiments, the ophthalmic formulations                   formulation.
described herein are formulated to be isotonic with the eye. 60           Pyrogen detection, by way of example only, is performed
    Endotoxins                                                        by several methods. Suitable tests for sterility include tests
    An additional aspect of the sterilization process is the          described in United States Pharmacopoeia (USP) <71>
removal of by-products from the killing of microorganisms             Sterility Tests (23rd edition, 1995). The rabbit pyrogen test
(hereinafter, "Product"). The process of depyrogenation               and the Limulus amebocyte lysate test are both specified in
removes pyrogens from the sample. Pyrogens are endotox- 65 the United States Pharmacopeia Chapters <85> and <151>
ins or exotoxins which induce an immune response. An                  (USP23/NF 18, Biological Tests, The United States Phar-
example of an endotoxin is the lipopolysaccharide (LPS)               macopeial Convention, Rockville, Md., 1995). Alternative


                                                        Appx000333
                                                        Appx000333                     Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 40 of 67
                                                                                                                   40 of 67
              Case: 23-2402                Document: 15              Page: 390           Filed: 02/01/2024


                                                   US 10,888,557 B2
                             49                                                                 50
pyrogen assays have been developed based upon the mono-            ing agent is a polymer. In some instances, the polymer a
cyte activation-cytokine assay. Uniform cell lines suitable        synthetic polymer (i.e., a polymer not produced in nature).
for quality control applications have been developed and           In other embodiments, the polymer is a natural polymer
have demonstrated the ability to detect pyrogenicity in            (e.g., a protein, polysaccharide, rubber). In certain embodi-
samples that have passed the rabbit pyrogen test and the 5 ments, the polymer is a surface active polymer. In certain
Limulus amebocyte lysate test (Taktak et al, J. Pharm.             embodiments, the polymer is a non-ionic polymer. In certain
Pharmacol. (1990), 43:578-82). In an additional embodi-            embodiments, the polymer is a non-ionic block copolymer.
ment, the ophthalmic formulation is subject to depyrogena-         In some embodiments, the polymer is a diblock copolymer,
tion. In a further embodiment, the process for the manufac-        a triblock copolymer, e.g., e.g., where one block is a
ture of the ophthalmic formulation comprises testing the 10 hydrophobic polymer and another block is a hydrophilic
formulation for pyrogenicity. In certain embodiments, the          polymer. In some embodiments, the polymer is charged or
formulations described herein are substantially free of pyro-      uncharged.
gens.                                                                 Additional examples of suitable polymers include, but are
   Ophthalmic Muscarinic Antagonist-Mucus Penetrating              not limited to, polyamines, polyethers, polyamides, polyes-
Particle (MPP) Composition                                      15 ters, polycarbamates, polyureas, polycarbonates, polysty-
   Mucus-penetrating particles (MPPs) are particles that           renes, polyimides, polysulfones, polyurethanes, polyacety-
rapidly traverse mucus (e.g. human mucus). In some cases,          lenes, polyethylenes, polyethyeneimines, polyisocyanates,
MPPs comprise of a nanoparticle with a particle size of            polyacrylates, polymethacrylates, polyacrylonitriles, and
between about 200 nm and 500 nm. In some instances, the            polyarylates. Non-limiting examples of specific polymers
nanoparticle is further coated with a mucus penetrating 20 include poly(caprolactone) (PCL), ethylene vinyl acetate
agent. In some instances, a composition described herein is        polymer (EVA), poly(lactic acid) (PLA), poly(L-lactic acid)
formulated with MPPs for mucus penetration. In some                (PLLA), poly(glycolic acid) (PGA), poly(lactic acid-co-
instances, an ophthalmic agent composition described herein        glycolic acid) (PLGA), poly(L-lactic acid-co-glycolic acid)
is formulated with MPPs for mucus penetration. In some             (PLLGA), poly(D,L-lactide) (PDLA), poly(L-lactide)
instances, the ophthalmic agent is a muscarinic antagonist. 25 (PLLA), poly(D,L-lactide-co-caprolactone), poly(D,L-lac-
In some instances, a muscarinic antagonist composition             tide-co-caprolactone-co-glycolide),      poly(D,L-lactide-co-
described herein is formulated with MPPs for mucus pen-            PEO-co-D,L-lactide),       poly(D,L-lactide-co-PPO-co-D,L-
etration. In some instances, a muscarinic antagonist com-          lactide), polyalkyl cyanoacrylate, polyurethane, poly-L-
prises atropine, atropine sulfate, noratropine, atropine-N-        lysine (PLL), hydroxypropyl methacrylate (HPMA), poly
oxide, tropine, tropic acid, atropine methonitrate, 30 (ethylene glycol), poly-L-glutamic acid, poly(hydroxy
diphenhydramine, dimenhydrinate, dicyclomine, flavoxate,           acids), polyanhydrides, polyorthoesters, poly(ester amides),
oxybutynin, tiotropium, hyoscine, scopolomine (L-hyos-             polyamides, poly(ester ethers), polycarbonates, polyal-
cine), hydroxyzine, ipratropium, tropicamide, cyclopento-          kylenes such as polyethylene and polypropylene, polyal-
late, pirenzapine, homatropine, solifenacin, darifenacin,          kylene glycols such as poly(ethylene glycol) (PEG), poly-
benzatropine, mebeverine, procyclidine, aclidinium bro- 35 alkylene oxides (PEO), polyalkylene terephthalates such as
mide, trihexyphenidyl/benzhexol, or tolterodine. In some           poly(ethylene terephthalate), polyvinyl alcohols (PVA),
instances, a muscarinic antagonist is atropine or its pharma-      polyvinyl ethers, polyvinyl esters such as poly(vinyl
ceutically acceptable salt thereof. In some instances, a           acetate), polyvinyl halides such as poly(vinyl chloride)
muscarinic antagonist is atropine sulfate. In some instances,      (PVC), polyvinylpyrrolidone, polysiloxanes, polystyrene
an atropine composition described herein is formulated with 40 (PS), polyurethanes, derivatized celluloses such as alkyl
MPPs for mucus penetration. In some instances, an atropine         celluloses, hydroxyalkyl celluloses, cellulose ethers, cellu-
sulfate composition described herein is formulated with            lose esters, nitro celluloses, hydroxypropylcellulose, car-
MPPs for mucus penetration. In a non-limiting example, the         boxymethylcellulose, polymers of acrylic acids, such as
MMPs for use in the disclosed composition is obtained from         poly(methyl(meth)acrylate) (PMMA), poly(ethyl(meth)
Kala Pharmaceuticals, Inc. (100 Beaver Street #201, 45 acrylate), poly(butyl(meth)acrylate), poly(isobutyl(meth)
Waltham, Mass. 02453).                                             acrylate), poly(hexyl(meth)acrylate), poly(isodecyl(meth)
   In some embodiments, the nanoparticle comprises of any          acrylate), poly(lauryl(meth)acrylate), poly(phenyl(meth)
suitable material, such as an organic material, an inorganic       acrylate), poly(methyl acrylate), poly(isopropyl acrylate),
material, a polymer, or combinations thereof. In some              poly(isobutyl acrylate), poly(octadecyl acrylate) (jointly
instances, the nanoparticle comprises of inorganic material, so referred to herein as "polyacrylic acids"), and copolymers
such as for example, a metal (e.g., Ag, Au, Pt, Fe, Cr, Co, Ni,    and mixtures thereof, polydioxanone and its copolymers,
Cu, Zn, and other transition metals), a semiconductor (e.g.,       polyhydroxyalkanoates, polypropylene fumarate), poly-
silicon, silicon compounds and alloys, cadmium selenide,           oxymethylene, poloxamers, poly(ortho)esters, poly(butyric
cadmium sulfide, indium arsenide, and indium phosphide),           acid), poly(valeric acid), poly(lactide-co-caprolactone), and
or an insulator (e.g., ceramics such as silicon oxide). In some 55 trimethylene carbonate, polyvinylpyrrolidone.
instances, the nanoparticle comprises organic materials such          In some cases, an ophthalmic agent (e.g. a muscarinic
as a synthetic polymer and/or a natural polymer. Examples          antagonist such as atropine or atropine sulfate) is present in
of synthetic polymers include non-degradable polymers              the MPP formulation at a concentration of between about
such as polymethacrylate and degradable polymers such as           0.001 wt % and about 0.05 wt %, between about 0.005% to
polylactic acid, polyglycolic acid and copolymers thereof. 60 about 0.050%, between about 0.010% to about 0.050%,
Examples of natural polymers include hyaluronic acid, chi-         between about 0.015% to about 0.050%, between about
tosan, and collagen.                                               0.020% to about 0.050%, between about 0.025% to about
   In some embodiments, the nanoparticle is coated with a          0.050%, between about 0.030% to about 0.050%, between
mucus penetrating agent. In some instances, the mucus              about 0.035% to about 0.050%, between about 0.040% to
penetrating agent comprises any suitable material, such as a 65 about 0.050%, or between about 0.045% to about 0.050% of
hydrophobic material, a hydrophilic material, and/or an            the ophthalmic agent, or pharmaceutically acceptable prod-
amphiphilic material. In some instances, the mucus penetrat-       rug or salt thereof, by weight of the composition. In some


                                                       Appx000334
                                                       Appx000334                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 41 of 67
                                                                                                                 41 of 67
              Case: 23-2402                Document: 15              Page: 391            Filed: 02/01/2024


                                                   US 10,888,557 B2
                             51                                                                 52
instances, additional agents such as buffers, pD adjusting        agent-MPP composition is formulated using a method as
agents, and/or preservatives are formulated in the MPP            described in WO2013/166385. In some instances, an oph-
formulation.                                                      thalmic agent-MPP composition is formulated using a
   In some instances, ophthalmic agent-MPP composition is         method as described in Lai et al., "Rapid transport of large
formulated using any suitable method. In some embodi- 5 polymeric nanoparticles in fresh undiluted human mucus,"
ments, a milling process is used to reduce the size of a solid    PNAS 104(5):1482-1487 (2007). In some instances, the
material to form particles in the micrometer to nanometer         ophthalmic agent is a muscarinic antagonist such as atropine
size range. In some cases, dry and wet milling processes          or atropine sulfate.
such as jet milling, cryo-milling, ball milling, media milling,      Muscarinic Antagonist-Othphalmic Delivery Devices and
and homogenization are known and are used in methods 10 Delivery System
described herein. Generally, in a wet milling process, a             In some embodiments, a muscarinic antagonist described
suspension of the material to be used as the nanoparticle is      herein is delivered to a target site by an othphalmic delivery
mixed with milling media with or without excipients to            device. In some cases, the othphalmic delivery device is
reduce particle size. Dry milling is a process wherein the        configured for controlled sustained release of a muscarinic
material to be used as the nanoparticle is mixed with milling 15 antagonist. In some instances, the muscarinic antagonist
media with or without excipients to reduce particle size. In      comprises atropine, atropine sulfate, noratropine, atropine-
a cryo-milling process, a suspension of the material to be        N-oxide, tropine, tropic acid, hyoscine, scopolomine, tropi-
used as the nanoparticle is mixed with milling media with or      camide, cyclopentolate, pirenzapine, homatropine, or a com-
without excipients under cooled temperatures.                     bination thereof. In some cases, the muscarinic antagonist
   In some embodiments, any suitable grinding medium is 20 comprises atropine or atropine sulfate.
used for milling. In some embodiments, a ceramic and/or              In some embodiments, an othphalmic delivery device
polymeric material and/or a metal is used. Examples of            comprises a punctal plug, a scleral patch, a scleral ring, a
suitable materials include zirconium oxide, silicon carbide,      Cul-de sac insert, a subconjunctival/episcleral implant, an
silicon oxide, silicon nitride, zirconium silicate, yttrium       intravitreal implant, or a non-invasive delivery device. In
oxide, glass, alumina, alpha-alumina, aluminum oxide, poly- 25 some instances, a non-invasive delivery device comprises
styrene, poly(methyl methacrylate), titanium, steel. In some      topical ophthalmic drug delivery device (TODD) or a con-
cases, a grinding medium has any suitable size. For example,      tact lens. In some instances, the othphalmic delivery device
the grinding medium has an average diameter of at least           is a biodegradable othphalmic delivery device. In other
about 0.1 mm, at least about 0.2 mm, at least about 0.5 mm,       instances, the othphalmic delivery device is a non-biode-
at least about 0.8 mm, at least about 1 mm, at least about 2 30 gradable othphalmic delivery device. In some cases, the
mm, or at least about 5 mm. In some cases, the grinding           biodegradable othphalmic delivery device is configured for
medium has an average diameter of less than or equal to           controlled sustained release of a muscarinic antagonist. In
about 5 mm, less than or equal to about 2 mm, less than or        other cases, the non-biodegradable othphalmic delivery
equal to about 1 mm, less than or equal to about 0.8, less        device is configured for controlled sustained release of a
than or equal to about 0.5 mm, or less than or equal to about 35 muscarinic antagonist.
0.2 mm. Combinations of the above-referenced ranges are              In some instances, an othphalmic delivery device com-
also possible (e.g., an average diameter of at least about 0.5    prises a core or reservoir which comprises a muscarinic
millimeters and less than or equal to about 1 mm). Other          antagonist (e.g., atropine or atropine sulfate) and is config-
ranges are also possible.                                         ured for a controlled sustained release of the muscarinic
   In some embodiments, any suitable solvent are used for 40 antagonist. In some cases, the muscarinic antagonist is
milling. In some cases, the choice of solvent is depend on        formulated within the core or reservoir as a solution, a gel,
factors such as the solid material (e.g., a muscarinic antago-    or in a solid form. In other embodiments, a muscarinic
nist such as atropine) being milled, the particular type of       antagonist (e.g., atropine or atropine sulfate) is dispersed
stabilizer/mucus penetrating agent being used (e.g., one that     (e.g., uniformaly) within the material of the othphalmic
renders the particle mucus penetrating), the grinding mate- 45 delivery device, and is configured for a controlled sustained
rial be used, among other factors. In some cases, suitable        release of the mustcarinic antagonist. In some instances, the
solvents are ones that do not substantially dissolve the solid    othphalmic delivery device is a punctal plug, a scleral patch,
material or the grinding material, but dissolve the stabilizer/   a scleral ring, a Cul-de sac insert, a subconjunctival/epis-
mucus penetrating agent to a suitable degree. Non-limiting        cleral implant, an intravitreal implant, or a non-invasive
examples of solvents include, but are not limited to, water, so delivery device.
buffered solutions, other aqueous solutions, alcohols (e.g.,         Punctal Plug
ethanol, methanol, butanol), and mixtures thereof that               A punctal plug or tear duct plug is an ocular device that
optionally include other components such as pharmaceutical        in some cases is inserted into the tear duct (or puncta) of an
excipients, polymers, pharmaceutical agents, salts, preser-       eye. In some instances, a punctal plug is used for the
vative agents, viscosity modifiers, tonicity modifier, taste 55 delivery of an ophthalmic composition, for example, an
masking agents, antioxidants, pD modifier, and other phar-        ophthalmic composition described herein. In some cases, a
maceutical excipients. In other embodiments, an organic           punctal plug is used for the delivery of a muscarinic antago-
solvent is used. In some cases, a pharmaceutical agent (e.g.      nist formulated in deuterated water. In additional cases, a
a muscarinic antagonist such as atropine) has any suitable        punctal plug is used for the delivery of atropine or atropine
solubility in these or other solvents, such as a solubility in 60 sulfate formulated in deuterated water.
one or more of the ranges described above for aqueous                In some instances, a punctal plug is used for controlled
solubility or for solubility in a coating solution.               sustained release of a muscarinic antagonist (e.g., atropine or
   In some instances, a MPP is a MPP as described in              atropine sulfate). In some cases, the period of controlled
WO2013/166385. In some instances, a MPP is a MPP as               sustained release is, for example, up to 1, 2, 3, 4, 5, 6, 7, 8,
described in Lai et al., "Rapid transport of large polymeric 65 9, 10, 11, 12, 13, 14, 15, 30, 45, 60 days or longer. In some
nanoparticles in fresh undiluted human mucus," PNAS               instances, the period of controlled sustained release is, for
104(5):1482-1487 (2007). In some instances, an ophthalmic         example, up to 7 days. In some cases, the period of con-


                                                       Appx000335
                                                       Appx000335                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 42 of 67
                                                                                                                  42 of 67
              Case: 23-2402               Document: 15              Page: 392            Filed: 02/01/2024


                                                  US 10,888,557 B2
                             53                                                                54
trolled sustained release is, for example, up to 14 days. In      fluid results in controlled sustained release of the drug by
some cases, the period of controlled sustained release is, for    bioerosion of the matrix. In such cases, the drug is dispersed
example, up to 1 month.                                           uniformly throughout the matrix but it is believed a more
   In some embodiments, a punctal plug comprises a core or        controlled release is obtained if the drug is superficially
reservoir which comprises a muscarinic antagonist (e.g., 5 concentrated in the matrix.
atropine or atropine sulfate) and is configured for a con-           Examples of bioerodible matrix materials include poly-
trolled sustained release of the muscarinic antagonist. In        esters of the general formula O (W) CO and mix-
other embodiments, a muscarinic antagonist (e.g., atropine        ture thereof, wherein W is a lower alkylene of 1 to 7 carbons
or atropine sulfate) is dispersed within the punctal plug         and may include a member selected from the group of
material, and is configured for a controlled sustained release 10 alkylenes of the formula CH2 , or CH CH2 , and
of the mustcarinic antagonist.                                    Y has a value such that the molecular weight of the polymer
   In some embodiments, a punctal plug described herein           is from about 4,000 to 100,000. The polymers are polym-
utilizes a diffusion mechanism for the delivery of a musca-       erization-condensation products of monobasic hydroxy acid
rinic antagonist (e.g., atropine or atropine sulfate). In some    of the formula C, H 2, (OH)COOH wherein n has a value of
instances, the configuration of the punctal plug is tubular 15 1 to 7, preferably 1 or 2 and the acid is especially lactic acid
with its cylindrical wall closed by transverse end walls to       or glycolic acid. Also included are copolymers derived from
define a reservoir for the muscarinic antagonist (either in       mixtures of these acids. Bioerodible materials also include
liquid or gel form). In some cases, at least the cylindrical      poly(orthoesters). These materials have the following gen-
wall is a membrane permeable by diffusion so that the             eral formula:
muscarinic antagonist is released continuously at a con- 20
trolled rate through the membrane into the tear fluid.
   Exemplary materials for a permeable membrane for the                                           O    RI
diffusion mechanism include insoluble microporous mate-
rials of polycarbonates, polyvinyl chlorides, polyamides,                                         O
copolymers of polyvinyl chloride and acrylonitrile, polysul- 25                                      R2
phones, polyvinylidene fluorides, polyvinyl fluorides, poly-
chloroethers, polyformaldehydes, acrylic resins, polyure-
thanes,     polyimides,     polybenzimadozoles,      polyvinyl    wherein R, is an alkylene of 4 to 12 carbons, a cycloalkylene
acetates, polyethers, cellulose esters, porous rubbers, cross-    of 5 to 6 carbons substituted with an alkylene of 1 to 7
linked poly(ethylene oxide), cross-linked polyvinyl pyrroli- 30 carbons and an alkyleneoxy of 1 to 7 carbons, and R 2 is a
done, cross-linked poly(vinyl alcohol) and polystyrenes.          lower alkyl of 1 to 7 carbons.
   In some embodiments, a punctal plug described herein              Additional bioerodible matrix materials include: (1) Poly-
utilizes an osmosis mechanism for the delivery of a musca-        anhydrides such as polyp-carboxyphenoxy)
                                                                                          poly(p-carboxyphenoxy) alkyl (e.g.
rinic antagonist (e.g., atropine or atropine sulfate). In some    p-carboxyphenoxypropane) or polymeric fatty acid dimer
cases, the configuration of the punctal plug is tubular with 35 (e.g. poly-dodecanedioic acid) compounds and further co-
domed end walls, and the device comprises a transverse            polymers with sebacic acid, or phthalic acid such as dis-
impermeable elastic membrane dividing the tubular interior        closed in Chasin et al., Polyanhdrides for Controlled Drug
of the device into a first compartment and a second com-          Delivery, Biopharm., February 1988, 33-46; and Lee et al.
partment; the first compartment is bounded by a semi-             (1988), The Use of Bioerodible Polymers and 5 fluorouracil
permeable membrane and the impermeable elastic mem- 40 in Glaucoma Filtration Surgery, Invest. Ophthalmol. Vis.
brane, and the second compartment is bounded by an                Sci., 29, 1692-1697; (2) Poly (alkyl-2-cyanoacrylates) such
impermeable material and the elastic membrane. In some            as poly (hexyl-2-cyanoacrylate) as described by Douglas et
cases, a drug release aperture is included in the impermeable     al. (1987), Nanoparticles in Drug Delivery, CRC Crit. Rev.
end wall of the device. When the device is placed in the          Therap. Drug Carr. System., 3, 233-261; and (3) Polyamino
aqueous environment of the eye water diffuses into the first 45 acids such as copolymers of leucine and methyl glutamate.
compartment and stretches the elastic membrane to expand             In some cases, a punctal plug described herein comprises
the first compartment and contract the second compartment         a solid non-erodible rod with pores. In some instances, the
so that the drug is forced through the drug release aperture.     release of a muscarinic antagonist takes place via diffusion
   Examples of materials for an osmotic semi-permeable            through the pores. In such instances, controlled release is
membrane include cellulose acetate and its derivatives, so further regulated by gradual dissolution of solid dispersed
partial and completely hydrolyzed ethylene-vinyl acetate          drug within this matrix as a result of inward diffusion of
copolymers, highly plasticized polyvinyl chloride, homo-          aqueous solutions.
and copolymers of polyvinyl acetate, polyesters of acrylic           Examples of materials for use as non-erodible rods
acid and methacrylic acid, polyvinyl alkyl ethers, polyvinyl      include polymers such as hydroxyethylmethacrylate and
fluoride; silicone polycarbonates, aromatic nitrogen-con- 55 co-polymers with methacrylic acid, methylmethacrylate,
taining polymeric membranes, polymeric epoxides, copoly-          N-vinyl 2-pyrrolidone, allyl methacrylate, ethylene glycol
mers of an alkylene oxide and alkyl glycidyl ether, poly-         dimethacrylate, ethylene dimethacrylate, or 1,1,1 trimeth-
urethanes, polyglycolic or polyacetic acid and derivatives        ylopropane trimethacrylate, and dimethyl diphenyl methyl-
thereof, derivatives of polystyrene such as poly(sodium           vinyl polysiloxane.
styrenesulfonate) and poly(vinyl benzyltrimethyl-ammo- 60            In some instances, the body of the plug is wholly or
nium chloride), ethylene-vinyl acetate copolymers.                partially transparent or opaque. Optionally, the body
   In some embodiments, a punctal plug described herein           includes a tint or pigment that makes the plug easier to see
utilizes a bioerosion mechanism for the delivery of a mus-        when it is placed in a punctum.
carinic antagonist (e.g., atropine or atropine sulfate). In          In some cases, the surface of the plug body is wholly or
some cases, the configuration of the punctal plug is rod-like 65 partially coated. In some cases, the coating provides one or
being constituted from a matrix of bioerodible material in        more of lubriciousness to aid insertion, muco-adhesiveness
which the drug is dispersed. Contact of the device with tear      to improve tissue compatibility, and texture to aid in anchor-


                                                      Appx000336
                                                      Appx000336                     Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 43 of 67
                                                                                                                 43 of 67
               Case: 23-2402               Document: 15               Page: 393            Filed: 02/01/2024


                                                    US 10,888,557 B2
                             55                                                                  56
ing the plug within the punctum. Examples of suitable               sac insert comprising a rod-shaped water soluble insert is a
coatings include, without limitation, gelatin, collagen,            biodegradable insert. An example comprises Lacrisert
hydroxyethyl methacrylate, PVP, PEG, heparin, chondroitin           (Merck).
sulphate, hyaluronic acid, synthetic and natural proteins, and         Subconjunctival/Episcleral Implant
polysaccharides, thiomers, thiolated derivatives of poly- 5            In some embodiments, a muscarinic antagonist described
acrylic acid and chitosan, polyacrylic acid, carboxymethyl          herein is delivered to an eye through a subconjunctival/
cellulose and the like and combinations thereof.                    episcleral implant. In some instances, a subconjunctival/
   In some embodiments, a punctal plug described herein is          episcleral implant is a biodegradable implant. In other
a punctal plug described in U.S. Pat. No. 5,147,647; U.S.           instances, a subconjunctival/episcleral implant is a non-
                                                                 10 biodegradable implant. In additional instances, a subcon-
Publication No. 2012/0277694; or 2010/0256557.
                                                                    junctival/episcleral implant is formulated for controlled sus-
   In some instances, the size of the opening of the punctal
                                                                    tained release of one or more of a muscarinic antagonist
plug is from about 0.05 mm to about 2.5 mm. In some
                                                                    described herein. In some cases, a subconjunctival/episcleral
instances, it is from about 0.1 mm to about 2.0 mm, or from         implant comprises a core or reservoir which comprises a
about 0.15 mm to about 1 mm.                                     15 muscarinic antagonist (e.g., atropine or atropine sulfate), and
   In some embodiments, the amount of a muscarinic                  the muscarinic antagonist is formulated within the core or
antagonist (e.g., atropine or atropine sulfate) used in the         reservoir as a solution, a gel, or in a solid form. In other
plugs depends upon the muscarinic antagonist selected, the          embodiments, a muscarinic antagonist (e.g., atropine or
desired doses to be delivered via the punctal plug, the             atropine sulfate) is dispersed (e.g., uniformaly) within the
desired release rate, and the melting points of the muscarinic 20 material of the subconjunctival/episcleral implant. Exem-
antagonist and muscarinic antagonist-containing material.           plary subconjunctival/episcleral implants include LX201
   Scleral Patch or Scleral Ring                                    (Lux Biosciences Inc.), an episcleral implant from 3T Oph-
   In some embodiments, a muscarinic antagonist described           thalmics, or a subconjunctival insert from Pfizer.
herein is delivered to an eye through a scleral patch or a             Intravitreal Implants
scleral ring. In some instances, a scleral patch or a scleral 25       In some embodiments, a muscarinic antagonist described
ring is a biodegradable scleral patch or scleral ring. In other     herein is delivered to an eye through an intravitreal implant.
instances, a scleral patch or a scleral ring is a non-biode-        In some instances, an intravitreal implant is a biodegradable
gradable scleral patch or scleral ring. In additional instances,    implant. In other instances, an intravitreal implant is a
a scleral patch or a scleral ring is formulated for controlled      non-biodegradable implant. In additional instances, an intra-
sustained release of one or more of a muscarinic antagonist 30 vitreal implant is formulated for controlled sustained release
described herein. In some cases, a scleral patch comprises a        of one or more of a muscarinic antagonist described herein.
multi-layered patch in which one or more layer within the           In some cases, an intravitreal implant comprises a core or
patch comprises a muscarinic antagonist described herein. In        reservoir which comprises a muscarinic antagonist (e.g.,
some cases, a scleral ring comprises a core or reservoir            atropine or atropine sulfate), and the muscarinic antagonist
which comprises a muscarinic antagonist (e.g., atropine or 35 is formulated within the core or reservoir as a solution, a gel,
atropine sulfate), and the muscarinic antagonist is formu-          or in a solid form. In other embodiments, a muscarinic
lated within the core or reservoir as a solution, a gel, or in      antagonist (e.g., atropine or atropine sulfate) is dispersed
a solid form. In other embodiments, a muscarinic antagonist         (e.g., uniformaly) within the material of the intravitreal
(e.g., atropine or atropine sulfate) is dispersed (e.g., uni-       implant. Exemplary intravitreal implant comprises
formly) within the material of the scleral patch or the scleral 40 DurasertTM technology system (pSivida Corp.) (such as
ring.                                                               Vitrasert® and Retisert® from Bausch & Lomb Inc, and
   Cul-De Sac Inserts                                               Iluvien® from Alimera sciences), NovadurTM technology
   In some embodiments, a muscarinic antagonist described           system (such as Ozurdex® from Allergan), I-vationTM tech-
herein is delivered to an eye through a Cul-de sac insert. In       nology system (such as a delivery system developed from
some instances, the Cul-de sac insert comprises a single- 45 SurModics, Inc.), and NT-501 from Neurotech Pharmaceu-
layered device comprising muscarinic antagonist dispersed           ticals.
within the insert material, or multilayered, solid or semisolid        Non-Invasive Delivery System
consistency insert. In some instances, the Cul-de sac insert           In some embodiments, a non-invasive delivery system
is a biodegradable insert. In other instances, the Cul-de sac       comprises a topical ophthalmic agent delivery device. In
insert is a non-biodegradable insert. In additional instances, so some embodiments, a muscarinic antagonist described
a Cul-de sac insert is formulated for controlled sustained          herein is delivered to an eye through a topical ophthalmic
release of one or more of a muscarinic antagonist described         agent delivery device. In some instances, the topical oph-
herein. In some instances, a Cul-de sac insert comprises a          thalmic agent delivery device comprises a soft elastomer
membrane-bound ocular insert, which comprises of two                drug depot that floats atop the sclera under the eyelid. In
outer layers of a copolymer such as ethylene-vinyl acetate 55 some instances, the topical ophthalmic agent delivery device
copolymer (EVA) and an inner layer comprising a muscar-             is a biodegradable delivery device. In other instances, the
inic antagonist. In some instances, the muscarinic antagonist       topical ophthalmic agent delivery device is a non-biodegrad-
within the inner layer is formulated as a gel or as a solution.     able delivery device. In some cases, the topical ophthalmic
An exemplary membrane-bound ocular insert is Ocuserts               agent delivery device is impregnated with a muscarinic
from Alza Corp.                                                  60 antagonist described herein. In other cases, a muscarinic
   In some cases, a Cul-de sac insert comprises an ocular           antagonist is disperse (e.g., uniformly) in the topical oph-
film or sheath (mucoadhesive film or sheath or collagen             thalmic agent delivery device. In some instances, the topical
shields), a coil, a polymer rod, HEMA hydrogel, or poly-            ophthalmic agent delivery device is formulated for con-
sulfone capillary fiber. In some instances, a Cul-de sac insert     trolled sustained release of the muscarinic antagonist. In
comprises rod-shaped water soluble insert comprising of 65 some instances, an exemplary delivery device is a topical
hydroxypropyl cellulose, a muscarinic antagonist, and one           ophthalmic drug delivery device (TODD) from Amorphex
or more additional excipients. In some instances, the Cul-de        Therapeutics.


                                                        Appx000337
                                                        Appx000337                     Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 44 of 67
                                                                                                                   44 of 67
              Case: 23-2402                Document: 15              Page: 394           Filed: 02/01/2024


                                                   US 10,888,557 B2
                             57                                                                 58
   In some embodiments, a non-invasive delivery system           num silicates). In certain embodiments, the rheology of the
comprises a contact lens. In some embodiments, a muscar-         compositions disclosed herein is pseudo plastic, plastic,
inic antagonist described herein is delivered to an eye          thixotropic, or dilatant.
through a contact lens. In some instances, the contact lens is      In some embodiments, the ophthalmic composition is an
impregnated with a muscarinic antagonist, for example, in 5 ophthalmic gel, and wherein the ophthalmically acceptable
which the muscarinic antagonist is dispersed, e.g., as col-      carrier comprises water and at least one viscosity-enhancing
loidal structure, within the lens. In other instances, the       agent. In some embodiments, the viscosity-enhancing agent
contact lens is further combined with a muscarinic antago-       is selected from cellulose-based polymers, polyoxyethylene-
nist layer, and is configured for controlled sustained release   polyoxypropylene triblock copolymers, dextran-based poly-
to the eye. Exemplary polymers, e.g., hydrogel copolymers, 10 mers, polyvinyl alcohol, dextrin, polyvinylpyrrolidone,
for making a contact lens include at least one hydrophilic       polyalkylene glycols, chitosan, collagen, gelatin, hyaluronic
monomer and a crosslinking agent (a crosslinker being            acid, or combinations thereof.
defined as a monomer having multiple polymerizable func-            In some embodiment, the ophthalmic gel composition
tionalities). Representative, hydrophilic monomers include:      described herein is a semi-solid or id in a gelled state before
unsaturated carboxylic acids, such as methacrylic acid and 15 it is topically administered (e.g. at room temperature). For
acrylic acid; (meth)acrylic substituted alcohols, such as        example, suitable viscosity-enhancing agents for such gels
2-hydroxyethylmethacrylate and 2-hydroxyethylacrylate;           include by way of example only, gelling agents and sus-
vinyl lactams, such as N-vinyl pyrrolidone; and (meth)           pending agents. In one embodiment, the enhanced viscosity
acrylamides, such as methacrylamide and N,N-dimethyl-            formulation does not include a buffer. In other embodiments,
acrylamide. Typical crosslinking agents include polyvinyl, 20 the enhanced viscosity formulation includes a pharmaceu-
typically di- or tri-vinyl monomers, such as di- or tri(meth)    tically acceptable buffer. Sodium chloride or other tonicity
acrylates of diethyleneglycol, triethyleneglycol, butyle-        agents are optionally used to adjust tonicity, if necessary.
neglycol and hexane-1,6-diol; and divinylbenzene. A spe-            By way of example only, the ophthalmically acceptable
cific example of a hydrogel-forming monomer mixture is           viscosity agent includes hydroxypropyl methylcellulose,
polymacon, composed primarily of 2-hydroxyethylmeth- 25 hydroxyethyl cellulose, polyvinylpyrrolidone, carboxym-
acrylate with a small amount of diethyleneglycol dimeth-         ethyl cellulose, polyvinyl alcohol, sodium chondroitin sul-
acrylate as a crosslinking monomer. Optionally, the mono-        fate, sodium hyaluronate. Other viscosity enhancing agents
mer mixture may include a silicone-containing monomer in         compatible with the targeted ocular site include, but are not
order to form a silicone hydrogel copolymer. Examples of         limited to, acacia (gum arabic), agar, aluminum magnesium
silicone-containing monomers include: monomers including 30 silicate, sodium alginate, sodium stearate, bladderwrack,
a single activated unsaturated radical, such as methacryloxy-    bentonite, carbomer, carrageenan, Carbopol, xanthan, cellu-
propyl tris(trimethylsiloxy)silane, pentamethyldisiloxanyl       lose, microcrystalline cellulose (MCC), ceratonia, chitin,
methylmethacrylate, tris(trimethylsiloxy)methacryloxy pro-       carboxymethylated chitosan, chondrus, dextrose, furcel-
pylsilane,     methyldi(trimethylsiloxy)methacryloxymethyl       laran, gelatin, Ghatti gum, guar gum, hectorite, lactose,
silane, 3-[tris(trimethylsiloxy)silyl]propyl vinyl carbamate, 35 sucrose, maltodextrin, mannitol, sorbitol, honey, maize
and 3-[tris(trimethylsiloxy)silyl]propyl vinyl carbonate; and    starch, wheat starch, rice starch, potato starch, gelatin,
multifunctional ethylenically "end-capped" siloxane-con-         sterculia gum, xanthum gum, gum tragacanth, ethyl cellu-
taining monomers, especially difunctional monomers hav-          lose, ethylhydroxyethyl cellulose, ethylmethyl cellulose,
ing two activated unsaturated radicals. A specific example of    methyl cellulose, hydroxyethyl cellulose, hydroxyethylm-
a silicone hydrogel-forming monomer mixture is balafilcon, 40 ethyl cellulose, hydroxypropyl cellulose, poly(hydroxyethyl
based on N-vinyl pyrrolidone and the aforementioned vinyl        methacrylate), oxypolygelatin, pectin, polygeline, povidone,
carbonate and carbamate monomers, disclosed in U.S. Pat.         propylene carbonate, methyl vinyl ether/maleic anhydride
No. 5,260,000.                                                   copolymer (PVM/MA), poly(methoxyethyl methacrylate),
   Ophthalmic Gel Muscarinic Antagonist Composition              poly(methoxyethoxyethyl methacrylate), hydroxypropyl
   Gels have been defined in various ways. For example, the 45 cellulose, hydroxypropylmethyl-cellulose (HPMC), sodium
United States Pharmacopoeia defines gels as semisolid sys-       carboxymethyl-cellulose (CMC), silicon dioxide, polyvi-
tems consisting of either suspensions made up of small           nylpyrrolidone (PVP: povidone), Splenda® (dextrose,
inorganic particles or large organic molecules interpen-         maltodextrin and sucralose) or combinations thereof In
etrated by a liquid. Gels include a single-phase or a two-       specific embodiments, the viscosity-enhancing excipient is a
phase system. A single-phase gel consists of organic mac- so combination of MCC and CMC. In another embodiment, the
romolecules distributed uniformly throughout a liquid in         viscosity-enhancing agent is a combination of carboxym-
such a manner that no apparent boundaries exist between the      ethylated chitosan, or chitin, and alginate. The combination
dispersed macromolecules and the liquid. Some single-            of chitin and alginate with the ophthalmic agents disclosed
phase gels are prepared from synthetic macromolecules            herein acts as a controlled release formulation, restricting the
(e.g., carbomer) or from natural gums, (e.g., tragacanth). In 55 diffusion of the ophthalmic agents from the formulation.
some embodiments, single-phase gels are generally aque-          Moreover, the combination of carboxymethylated chitosan
ous, but will also be made using alcohols and oils. Two-         and alginate is optionally used to assist in increasing the
phase gels consist of a network of small discrete particles.     permeability of the ophthalmic agents in the eye.
   In some embodiments, gels are also classified as being           In some embodiments is an enhanced viscosity formula-
hydrophobic or hydrophilic. In certain embodiments, the 60 tion, comprising from about 0.1 mM and about 100 mM of
base of a non-limiting example of a hydrophobic gel              an ophthalmic agent, a pharmaceutically acceptable viscos-
includes a liquid paraffin with polyethylene or fatty oils       ity agent, and water for injection, the concentration of the
gelled with colloidal silica, or aluminum or zinc soaps. In      viscosity agent in the water being sufficient to provide an
contrast, the base of a non-limiting example of a hydrophilic    enhanced viscosity formulation with a final viscosity from
gel includes water, glycerol, or propylene glycol gelled with 65 about 100 to about 100,000 cP. In certain embodiments, the
a suitable gelling agent (e.g., tragacanth, starch, cellulose    viscosity of the gel is in the range from about 100 to about
derivatives, carboxyvinylpolymers, and magnesium-alumi-          50,000 cP, about 100 cP to about 1,000 cP, about 500 cP to


                                                       Appx000338
                                                       Appx000338                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 45 of 67
                                                                                                                 45 of 67
              Case: 23-2402                Document: 15              Page: 395            Filed: 02/01/2024


                                                   US 10,888,557 B2
                             59                                                                 60
about 1500 cP, about 1000 cP to about 3000 cP, about 2000          as gelatins and their derivatives, alginates, and alginate-
cP to about 8,000 cP, about 4,000 cP to about 50,000 cP,           based gels, and even various native and synthetic hydrogel
about 10,000 cP to about 500,000 cP, about 15,000 cP to            and hydrogel-derived compounds are all expected to be
about 1,000,000 cP. In other embodiments, when an even             useful in the ophthalmic agent formulations described
more viscous medium is desired, the biocompatible gel 5 herein. In some embodiments, ophthalmically acceptable
comprises at least about 35%, at least about 45%, at least         gels include, but are not limited to, alginate hydrogels
about 55%, at least about 65%, at least about 70%, at least        SAF®-Gel (ConvaTec, Princeton, N.J.), Duoderm® Hydro-
about 75%, or even at least about 80% or so by weight of the       active Gel (ConvaTec), Nu-gel® (Johnson & Johnson Medi-
ophthalmic agent. In highly concentrated samples, the bio-         cal, Arlington, Tex.); Carrasyn®(V) Acemannan Hydrogel
compatible enhanced viscosity formulation comprises at 10 (Carrington Laboratories, Inc., Irving, Tex.); glycerin gels
least about 25%, at least about 35%, at least about 45%, at        Elta® Hydrogel (Swiss-American Products, Inc., Dallas,
least about 55%, at least about 65%, at least about 75%, at        Tex.) and K-Y® Sterile (Johnson & Johnson). In further
least about 85%, at least about 90% or at least about 95% or       embodiments, biodegradable biocompatible gels also repre-
more by weight of the ophthalmic agent.                            sent compounds present in ophthalmically acceptable for-
   In one embodiment, the pharmaceutically acceptable is mulations disclosed and described herein.
enhanced viscosity ophthalmically acceptable formulation              In some embodiments, the viscosity-enhancing agent is a
comprises at least one ophthalmic agent and at least one           cellulose-based polymer selected from cellulose gum, alkyl-
gelling agent. Suitable gelling agents for use in preparation      cellulose, hydroxyl-alkyl cellulose, hydroxyl-alkyl alkylcel-
of the gel formulation include, but are not limited to,            lulose, carboxy-alkyl cellulose, or combinations thereof. In
celluloses, cellulose derivatives, cellulose ethers (e.g., car- 20 some embodiments, the viscosity-enhancing agent is
boxymethylcellulose, ethylcellulose, hydroxyethylcellulose,        hydroxyl-alkyl alkylcellulose. In some embodiment, the
hydroxymethylcellulo se,       hydroxypropylmethylcellulo se,      viscosity-enhancing agent is hydroxypropyl methylcellu-
hydroxypropylcellulose, methylcellulose), guar gum, xan-           lose.
than gum, locust bean gum, alginates (e.g., alginic acid),            In certain embodiments, the enhanced viscosity formula-
silicates, starch, tragacanth, carboxyvinyl polymers, carra- 25 tion is characterized by a phase transition between room
geenan, paraffin, petrolatum and any combinations or mix-          temperature and body temperature (including an individual
tures thereof. In some other embodiments, hydroxypropyl-           with a serious fever, e.g., up to about 42° C.). In some
methylcellulose (Methocel®) is utilized as the gelling agent.      embodiments, the phase transition occurs at 1° C. below
In certain embodiments, the viscosity enhancing agents             body temperature, at 2° C. below body temperature, at 3° C.
described herein are also utilized as the gelling agent for the 30 below body temperature, at 4° C. below body temperature,
gel formulations presented herein.                                 at 6° C. below body temperature, at 8° C. below body
   In some embodiments, the ophthalmic gel composition             temperature, or at 10° C. below body temperature. In some
described herein is an in situ gel formulation. In some            embodiments, the phase transition occurs at about 15° C.
instances, the in situ gel formation is based on increased         below body temperature, at about 20° C. below body tem-
pre-corneal residence time of the ophthalmic composition 35 perature or at about 25° C. below body temperature. In
which improves ocular bioavailability, corneal mucoadhe-           specific embodiments, the gelation temperature (Tgel) of a
sion, lysosomal interaction and ionic gelation, improved           formulation described herein is about 20° C., about 25° C.,
corneal absorption, thermal gelation, or a combination             or about 30° C. In certain embodiments, the gelation tem-
thereof. In some instances, the in situ gel formulation is         perature (Tgel) of a formulation described herein is about
activated by pH, temperature, ion, UV, or solvent exchange. 40 35° C., or about 40° C. Included within the definition of
   In some instances, the ophthalmic gel composition com-          body temperature is the body temperature of a healthy
prises a muscarinic antagonist and one or more gelling             individual, or an unhealthy individual, including an indi-
agents. In some instances, the gelling agent includes, but is      vidual with a fever (up to —42° C.). In some embodiments,
not limited to, poloxamer (e.g. Poloxamer 407), tetronics,         the pharmaceutical compositions described herein are liq-
ethyl (hydroxyethyl) cellulose, cellulose acetate phthalate 45 uids at about room temperature and are administered at or
(CAP), carbopol (e.g. Carbopol 1342P NF, Carbopol 980              about room temperature.
NF), alginates (e.g. low acetyl gellan gum (Gelrite®)),               Copolymers polyoxypropylene and polyoxyethylene (e.g.
gellan, hyaluronic acid, pluronics (e.g. Pluronic F-127),          polyoxyethylene-polyoxypropylene triblock copolymers)
chitosan, polyvinyl alcohol (PVA), polyvinylpyrrolidone            form thermosetting gels when incorporated into aqueous
(PVP), dextran, hydroxy propyl methyl cellulose (HPMC), so solutions. These polymers have the ability to change from
hydroxyethylcellulose (HEC), methylcellulose (MC), thio-           the liquid state to the gel state at temperatures close to body
lated xyloglucan, polymethacrilic acid (PMMA), polyethyl-          temperature, therefore allowing useful formulations that are
ene glycol (PEG), pseudolatexes, xyloglucans, or combina-          applied to the targeted ocular site. The liquid state-to-gel
tions thereof.                                                     state phase transition is dependent on the polymer concen-
   In some instances, the in situ gel formation further com- 55 tration and the ingredients in the solution.
prises a permeation enhancer. In some instances, the per-             In some embodiments, the amount of thermosetting poly-
meation enhancer includes surfactants (e.g. non-ionic sur-         mer in any formulation described herein is about 10%, about
factants), benzalkonium chloride, EDTA, surface-active             15%, about 20%, about 25%, about 30%, about 35% or
heteroglycosides, calcium chelators, hydroxyl propyl beta          about 40% of the total weight of the formulation. In some
cyclodextrin (HP beta CD), bile salts, and the like.            60 embodiments, the amount of thermosetting polymer in any
   In some embodiments, other gel formulations are useful          formulation described herein is about 10%, about 11%,
depending upon the particular ophthalmic agent, other phar-        about 12%, about 13%, about 14%, about 15%, about 16%,
maceutical agent or excipients/additives used, and as such         about 17%, about 18%, about 19%, about 20%, about 21%,
are considered to fall within the scope of the present             about 22%, about 23%, about 24% or about 25% of the total
disclosure. For example, other commercially-available glyc- 65 weight of the formulation. In some embodiments, the
erin-based gels, glycerin-derived compounds, conjugated, or        amount of thermosetting polymer (e.g., Poloxamer 407) in
crosslinked gels, matrices, hydrogels, and polymers, as well       any formulation described herein is about 7.5% of the total


                                                       Appx000339
                                                       Appx000339                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 46 of 67
                                                                                                                  46 of 67
              Case: 23-2402              Document: 15             Page: 396           Filed: 02/01/2024


                                                 US 10,888,557 B2
                            61                                                              62
weight of the formulation. In some embodiments, the              Additional biodegradable thermoplastic polyesters
amount of thermosetting polymer (e.g., Poloxamer 407) in      include AtriGel® (provided by Atrix Laboratories, Inc.)
any formulation described herein is about 10% of the total    and/or those disclosed, e.g., in U.S. Pat. Nos. 5,324,519;
weight of the formulation. In some embodiments, the           4,938,763; 5,702,716; 5,744,153; and 5,990,194; wherein
amount of thermosetting polymer (e.g., Poloxamer 407) in 5 the suitable biodegradable thermoplastic polyester is dis-
any formulation described herein is about 11% of the total    closed as a thermoplastic polymer. Examples of suitable
weight of the formulation. In some embodiments, the           biodegradable thermoplastic polyesters include polylactides,
amount of thermosetting polymer (e.g., Poloxamer 407) in      polyglycolides, polycaprolactones, copolymers thereof, ter-
any formulation described herein is about 12% of the total    polymers thereof, and any combinations thereof. In some
weight of the formulation. In some embodiments, the 10 such embodiments, the suitable biodegradable thermoplastic
amount of thermosetting polymer (e.g., Poloxamer 407) in      polyester is a polylactide, a polyglycolide, a copolymer
any formulation described herein is about 13% of the total    thereof, a terpolymer thereof, or a combination thereof. In
weight of the formulation. In some embodiments, the           one embodiment, the biodegradable thermoplastic polyester
amount of thermosetting polymer (e.g., Poloxamer 407) in      is 50/50 poly(DL-lactide-co-glycolide) having a carboxy
any formulation described herein is about 14% of the total 15 terminal group; is present in about 30 wt. % to about 40 wt.
weight of the formulation. In some embodiments, the           % of the composition; and has an average molecular weight
amount of thermosetting polymer (e.g., Poloxamer 407) in      of about 23,000 to about 45,000. Alternatively, in another
any formulation described herein is about 15% of the total    embodiment, the biodegradable thermoplastic polyester is
weight of the formulation. In some embodiments, the           75/25 poly (DL-lactide-co-glycolide) without a carboxy
amount of thermosetting polymer (e.g., Poloxamer 407) in 20 terminal group; is present in about 40 wt. % to about 50 wt.
any formulation described herein is about 16% of the total    % of the composition; and has an average molecular weight
weight of the formulation. In some embodiments, the           of about 15,000 to about 24,000. In further or alternative
amount of thermosetting polymer (e.g., Poloxamer 407) in      embodiments, the terminal groups of the poly(DL-lactide-
any formulation described herein is about 17% of the total    co-glycolide) are either hydroxyl, carboxyl, or ester depend-
weight of the formulation. In some embodiments, the 25 ing upon the method of polymerization. Polycondensation of
amount of thermosetting polymer (e.g., Poloxamer 407) in      lactic or glycolic acid provides a polymer with terminal
any formulation described herein is about 18% of the total    hydroxyl and carboxyl groups. Ring-opening polymeriza-
weight of the formulation. In some embodiments, the           tion of the cyclic lactide or glycolide monomers with water,
amount of thermosetting polymer (e.g., Poloxamer 407) in      lactic acid, or glycolic acid provides polymers with the same
any formulation described herein is about 19% of the total 30 terminal groups. However, ring-opening of the cyclic mono-
weight of the formulation. In some embodiments, the           mers with a monofunctional alcohol such as methanol,
amount of thermosetting polymer (e.g., Poloxamer 407) in      ethanol, or 1-dodecanol provides a polymer with one
any formulation described herein is about 20% of the total    hydroxyl group and one ester terminal groups. Ring-opening
weight of the formulation. In some embodiments, the           polymerization of the cyclic monomers with a diol such as
amount of thermosetting polymer (e.g., Poloxamer 407) in 35 1,6-hexanediol or polyethylene glycol provides a polymer
any formulation described herein is about 21% of the total    with only hydroxyl terminal groups.
weight of the formulation. In some embodiments, the              Since the polymer systems of thermosetting gels dissolve
amount of thermosetting polymer (e.g., Poloxamer 407) in      more completely at reduced temperatures, methods of solu-
any formulation described herein is about 23% of the total    bilization include adding the required amount of polymer to
weight of the formulation. In some embodiments, the 40 the amount of water to be used at reduced temperatures.
amount of thermosetting polymer (e.g., Poloxamer 407) in      Generally after wetting the polymer by shaking, the mixture
any formulation described herein is about 25% of the total    is capped and placed in a cold chamber or in a thermostatic
weight of the formulation. In some embodiments, the           container at about 0-10° C. in order to dissolve the polymer.
amount of thickening agent (e.g., a gelling agent) in any     The mixture is stirred or shaken to bring about a more rapid
formulation described herein is about 1%, about 5%, about 45 dissolution of the thermosetting gel polymer. The ophthal-
10%, or about 15% of the total weight of the formulation. In  mic agent and various additives such as buffers, salts, and
some embodiments, the amount of thickening agent (e.g., a     preservatives are subsequently added and dissolved. In some
gelling agent) in any formulation described herein is about   instances the pharmaceutically agent is suspended if it is
0.5%, about 1%, about 1.5%, about 2%, about 2.5%, about       insoluble in water. The pD is modulated by the addition of
3%, about 3.5%, about 4%, about 4.5%, or about 5% of the so appropriate buffering agents.
total weight of the formulation.                                 Ophthalmic Ointment Muscarinic Antagonist Composi-
   In an alternative embodiment, the thermogel is a PEG-      tion
PLGA-PEG triblock copolymer (Jeong etal, Nature (1997),          An ointment is a homogeneous, viscous, semi-solid
388:860-2; Jeong etal, J. Control. Release (2000), 63:155-    preparation, most commonly a greasy, thick oil (e.g. oil
63; Jeong etal, Adv. Drug Delivery Rev. (2002), 54:37-51). 55 80%-water 20%) with a high viscosity, intended for external
The polymer exhibits sol-gel behavior over a concentration    application to the skin or mucous membranes. Ointments
of about 5% w/w to about 40% w/w. Depending on the            have a water number that defines the maximum amount of
properties desired, the lactide/glycolide molar ratio in the  water that it contains. They are used as emollients or for the
PLGA copolymer ranges from about 1:1 to about 20:1. The       application of active ingredients to the skin for protective,
resulting coploymers are soluble in water and form a free- 60 therapeutic, or prophylactic purposes and where a degree of
flowing liquid at room temperature, but form a hydrogel at    occlusion is desired. Ointments are used topically on a
body temperature. A commercially available PEG-PLGA-          variety of body surfaces. These include the skin and the
PEG triblock copolymer is RESOMER RGP t50106 manu-            mucous membranes of the eye (an eye ointment), vulva,
factured by Boehringer Ingelheim. This material is com-       anus, and nose
posed of a PLGA copolymer of 50:50 poly(DL-lactide-co- 65        The vehicle of an ointment is known as the ointment base.
glycolide) and is 10% w/w of PEG and has a molecular          The choice of a base depends upon the clinical indication for
weight of about 6000.                                         the ointment. The different types of ointment bases are:


                                                     Appx000340
                                                     Appx000340                   Eyenovia Exhibit
                                                                                  Eyenovia Exhibit 1001,
                                                                                                   1001, Page
                                                                                                         Page 47 of 67
                                                                                                              47 of 67
               Case: 23-2402               Document: 15               Page: 397            Filed: 02/01/2024


                                                    US 10,888,557 B2
                             63                                                                  64
hydrocarbon bases, e.g. hard paraffin, soft paraffin, micro-        castor oil, an alcohol having 12 to 20 carbon atoms and a
crystalline wax and ceresine; absorption bases, e.g. wool fat,      mixture of two or more of said components. The agent is
beeswax; water soluble bases, e.g. macrogols 200, 300, 400;         preferably used in amounts of 1 to 20 percent, more pref-
emulsifying bases, e.g. emulsifying wax, cetrimide; veg-            erably 1 to 10 percent by weight of the entire semisolid
etable oils, e.g. olive oil, coconut oil, sesame oil, almond oil 5 ophthalmic composition.
and peanut oil.                                                        Alcohols having 12 to 20 carbon atoms include particu-
   Ointments are formulated using hydrophobic, hydro-               larly stearyl alcohol (C18H37OH), cetyl alcohol
philic, or water-emulsifying bases to provide preparations          (C16H33OH) and mixtures thereof. Preferred are so-called
that are immiscible, miscible, or emulsifiable with skin            cetostearyl alcohols, mixtures of solid alcohols substantially
secretions. In some embodiments, they are also derived from 10 consisting of stearyl and cetyl alcohol and preferably com-
hydrocarbon (fatty), absorption, water-removable, or water-         prising not less than 40 percent by weight of stearyl alcohol
soluble bases. The active agents are dispersed in the base,         and a sum of stearyl alcohol and cetyl alcohol amounting to
and later they get divided after the drug penetration into the      at least 90 percent by weight, and compositions comprising
target sites (e.g. membranes, skins, etc.).                         not less than 80 percent by weight of cetylstearyl alcohol and
   The present disclosure recognizes that it is sometimes 15 an emulsifier, in particular sodium cetostearyl sulfate and/or
difficult to incorporate into the ointment a drug of low            sodium lauryl sulfate, preferably in amounts not less than 7
concentration with sufficient dose-to-dose uniformity for           percent by weight of emulsifier.
effectively treating a disorder or disease. In some embodi-            Polyethoxylated castor oils are reaction products of natu-
ments, poly(ethylene-glycols), polyethoxylated castor oils          ral or hydrogenated castor oils and ethylene glycol. In some
(Cremophor®EL), alcohols having 12 to 20 carbon atoms or 20 instances, such products are obtained in known manner, e.g.
a mixture of two or more of said components are effective           by reaction of a natural or hydrogenated castor oil or
excipients for dispersing and/or dissolving effective               fractions thereof with ethylene oxide, e.g. in a molar ratio of
amounts of ophthalmic drugs, in particular of ascomycins            from about 1:30 to about 1:60, with optional removal of free
and staurosporine derivatives, in an ointment base, in par-         polyethylene glycol components from the product, e.g. in
ticular in an ointment base substantially comprising oleagi- 25 accordance with the methods disclosed in German Auslege-
nous and hydrocarbon components, and that the resulting             schriften 1,182,388 and 1,518,819. Especially suitable and
ointments are excellently tolerated by the skin and by ocular       preferred is a product commercially available under the
tissue.                                                             trade name Cremophor®EL having a molecular weight (by
   The present disclosure further recognizes that ophthalmic        steam osmometry)—ca. 1630, a saponification no.—ca. 65-70,
drugs, such as a muscarinic antagonist (e.g. atropine or its 30 an acid no.—ca. 2, an iodine no.—ca. 28-32 and an nD
pharmaceutically acceptable salts), incorporated in the oint-       25—ca.1.471. Also suitable for use in this category is, for
ment compositions describes herein target the choroid and/          instance, Nikkol®HCO-60, a reaction product of hydroge-
or retina in a patient when the compositions are topically          nated castor oil and ethylene oxide exhibiting the following
administered to the ocular surface, in particular to the sclera     characteristics: acid no.—ca. 0.3; saponification no.—ca. 47.4;
of said patient. In some embodiments, an ophthalmic oint- 35 hydroxy value—ca. 42.5. pH (5%)—ca. 4.6; Color APHA=ca.
ment composition includes an ophthalmic drug, an ointment           40; m.p.—ca. 36.0° C.; Freezing point—ca. 32.4° C.; H2O
base and an agent for dispersing and/or dissolving said drug        content (%, KF)—ca. 0.03.
in the ointment base, selected from a poly(ethylene-glycol),           Poly(ethylene-glycols) are used in some embodiments as
a polyethoxylated castor oil, an alcohol having 12 to 20            the agent for dispersing and/or dissolving the ophthalmic
carbon atoms and a mixture of two or more of said compo- 40 drug in the ointment base according to the present disclo-
nents.                                                              sure. Suitable poly(ethylene-glycol)s are typically mixtures
   In some embodiments, the ointment bases include oph-             of polymeric compounds of the general formula
thalmically acceptable oil and fat bases, such as natural wax       H (OCH2-CH2)nOH, wherein the index n typically range
e.g. white and yellow bees wax, carnauba wax, wool wax              from 4 to 230 and the mean molecular weight from about
(wool fat), purified lanolin, anhydrous lanolin; petroleum 45 200 to about 10000. Preferably n is a number from about 6
wax e.g. hard paraffin, microcrystalline wax; hydrocarbons          to about 22 and the mean molecular weight between about
e.g. liquid paraffin, white and yellow soft paraffin, white         300 and about 1000, more preferably n ranges from about 6
petrolatum, yellow petrolatum; or combinations thereof.             to about 13 and the mean molecular weight from about 300
   The above mentioned oil and fat bases are described in           to about 600, most preferably n has a value of about 8.5 to
more detail, for instance, in the British Pharmacopoeia, so about 9 and the relative molecular weight is about 400.
Edition 2001, or the European Pharmacopoeia, 3rd Edition.           Suitable poly(ethylene-glycols) are readily available com-
   In some embodiments, the ointment base is present in             mercially, for example poly(ethylene-glycols) having a
amounts of about 50 to about 95, preferably of 70 to 90% by         mean molecular weight of about 200, 300, 400, 600, 1000,
weight based on the total weight of the composition.                1500, 2000, 3000, 4000, 6000, 8000 and 10000.
   A preferred ointment base comprises a combination of 55             The poly(ethylene-glycols), in particular the preferred
one or more of one or more natural waxes like those                 types described in the foregoing paragraph, are preferably
indicated above, preferably wool wax (wool fat), and one or         used in amounts of 1 to 10, more preferably 1 to 5 percent
more hydrocarbons like those indicated above, preferably a          by weight of the entire semisolid ophthalmic composition.
soft paraffin or a petrolatum, more preferably in combination          An especially preferred embodiment of the compositions
with liquid paraffin.                                            60 according to the instant disclosure comprises an agent for
   A special embodiment of the aforementioned ointment              dispersing and/or dissolving of the drug in the ointment base
base comprises e.g. 5 to 17 parts by weight of wool fat, and        which is selected from a poly(ethylene-glycol), a poly-
50 to 65 parts by weight of white petrolatum as well as 20          ethoxylated castor oil and preferably a mixture of said
to 30 parts by weight of liquid paraffin.                           components.
   In some embodiments, the agent for dispersing and/or 65             Gel/Ointment Viscosity
dissolving the ophthalmic drug in the ointment base is                 In some embodiments, the composition has a Brookfield
selected from a poly(ethylene-glycol), a polyethoxylated            RVDV viscosity of from about 10,000 to about 300,000 cps


                                                       Appx000341
                                                       Appx000341                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 48 of 67
                                                                                                                   48 of 67
              Case: 23-2402               Document: 15              Page: 398            Filed: 02/01/2024


                                                  US 10,888,557 B2
                             65                                                                66
at about 20° C. and sheer rate of 1 s-1. In some embodi-         ments, a viscous ophthalmic composition described herein
ments, the composition has a Brookfield RVDV viscosity of        provides an apparent viscosity of from about 250,000 cP to
from about 15,000 to about 200,000 cps at about 20° C. and       about 500,000 cP. In some of such embodiments, a viscous
sheer rate of 1 s-1. In some embodiments, the composition        ophthalmic composition is a liquid at room temperature and
has a Brookfield RVDV viscosity of from about 50,000 to 5 gels at about between room temperature and body tempera-
about 150,000 cps at about 20° C. and sheer rate of 1 s i. In    ture (including an individual with a serious fever, e.g., up to
some embodiments, the composition has a Brookfield               about 42° C.). In some embodiments, a viscous ophthalmic
RVDV viscosity of from about 70,000 to about 130,000 cps         composition is administered as monotherapy for treatment
at about 20° C. and sheer rate of 1 s-1. In some embodi-         of an ophthalmic disease or condition described herein.
ments, the composition has a Brookfield RVDV viscosity of 10        In some embodiments, the viscosity of the gel formula-
from about 90,000 to about 110,000 cps at about 20° C. and       tions presented herein is measured by any means described.
sheer rate of 1 s-1.                                             For example, in some embodiments, an LVDV-II+CP Cone
   In some embodiments, the ophthalmic gel formulation           Plate Viscometer and a Cone Spindle CPE-40 is used to
contains a viscosity enhancing agent sufficient to provide a     calculate the viscosity of the gel formulation described
viscosity of between about 500 and 1,000,000 centipoise, is herein. In other embodiments, a Brookfield (spindle and
between about 750 and 1,000,000 centipoise; between about        cup) viscometer is used to calculate the viscosity of the gel
1000 and 1,000,000 centipoise; between about 1000 and            formulation described herein. In some embodiments, the
400,000 centipoise; between about 2000 and 100,000 cen-          viscosity ranges referred to herein are measured at room
tipoise; between about 3000 and 50,000 centipoise; between       temperature. In other embodiments, the viscosity ranges
about 4000 and 25,000 centipoise; between about 5000 and 20 referred to herein are measured at body temperature (e.g., at
20,000 centipoise; or between about 6000 and 15,000 cen-         the average body temperature of a healthy human).
tipoise. In some embodiments, the ophthalmic gel formula-           Gel/Ointment Dose-to-Dose Uniformity
tion contains a viscosity enhancing agent sufficient to pro-        Typical ophthalmic gels are packaged in eye drop bottles
vide a viscosity of between about 50,0000 and 1,000,000          and administered as drops. For example, a single adminis-
centipoise.                                                   25 tration (i.e. a single dose) of an ophthalmic gel includes a
   In some embodiments, the compositions described herein        single drop, two drops, three drops or more into the eyes of
are low viscosity compositions at body temperature. In some      the patient. Furthermore, typical ophthalmic ointments are
embodiments, low viscosity compositions contain from             packaged in tubes or other squeezable containers with a
about 1% to about 10% of a viscosity enhancing agent (e.g.,      dispensing nozzle through which strips of the ointment are
gelling components such as polyoxyethylene-polyoxypro- 30 delivered. For example, a single administration (i.e. a single
pylene copolymers). In some embodiments, low viscosity           dose) of an ophthalmic ointment includes a single strip, or
compositions contain from about 2% to about 10% of a             multiple strips into the eyes of the patient. In some embodi-
viscosity enhancing agent (e.g., gelling components such as      ments, one dose of the ophthalmic gel described herein is
polyoxyethylene-polyoxypropylene copolymers). In some            one drop of the gel composition from the eye drop bottle. In
embodiments, low viscosity compositions contain from 35 some embodiments, one dose of the ophthalmic ointment is
about 5% to about 10% of a viscosity enhancing agent (e.g.,      one strip of the ointment composition dispensed through the
gelling components such as polyoxyethylene-polyoxypro-           nozzle of a dispersing tube.
pylene copolymers). In some embodiments, low viscosity              In some cases, described herein include ophthalmic gel
compositions are substantially free of a viscosity enhancing     compositions which provide a dose-to-dose uniform con-
agent (e.g., gelling components such as polyoxyethylene- 40 centrations. In some instances, the dose-to-dose uniform
polyoxypropylene copolymers). In some embodiments, a             concentration does not present significant variations of drug
low viscosity ophthalmic agent composition described             content from one dose to another. In some instances, the
herein provides an apparent viscosity of from about 100 cP       dose-to-dose uniform concentration does provide consistent
to about 10,000 cP. In some embodiments, a low viscosity         drug content from one dose to another.
ophthalmic agent composition described herein provides an 45        In some cases, described herein include ophthalmic oint-
apparent viscosity of from about 500 cP to about 10,000 cP.      ment compositions which provide a dose-to-dose uniform
In some embodiments, a low viscosity ophthalmic agent            concentrations. In some instances, the dose-to-dose uniform
composition described herein provides an apparent viscosity      concentration does not present significant variations of drug
of from about 1000 cP to about 10,000 cP.                        content from one dose to another. In some instances, the
   In some embodiments, the compositions described herein so dose-to-dose uniform concentration does provide consistent
are viscous compositions at body temperature. In some            drug content from one dose to another.
embodiments, viscous compositions contain from about                In some embodiments, the composition has a dose-to-
10% to about 25% of a viscosity enhancing agent (e.g.,           dose ophthalmic agent concentration variation of less than
gelling components such as polyoxyethylene-polyoxypro-           50%. In some embodiments, the composition has a dose-to-
pylene copolymers). In some embodiments, the viscous 55 dose ophthalmic agent concentration variation of less than
compositions contain from about 14% to about 22% of a            40%. In some embodiments, the composition has a dose-to-
viscosity enhancing agent (e.g., gelling components such as      dose ophthalmic agent concentration variation of less than
polyoxyethylene-polyoxypropylene copolymers). In some            30%. In some embodiments, the composition has a dose-to-
embodiments, the viscous compositions contain from about         dose ophthalmic agent concentration variation of less than
15% to about 21% of a viscosity enhancing agent (e.g., 60 20%. In some embodiments, the composition has a dose-to-
gelling components such as polyoxyethylene-polyoxypro-           dose ophthalmic agent concentration variation of less than
pylene copolymers). In some embodiments, a viscous oph-          10%. In some embodiments, the composition has a dose-to-
thalmic composition described herein provides an apparent        dose ophthalmic agent concentration variation of less than
viscosity of from about 100,000 cP to about 1,000,000 cP. In     5%.
some embodiments, a viscous ophthalmic composition 65               In some embodiments, the dose-to-dose ophthalmic agent
described herein provides an apparent viscosity of from          concentration variation is based on 10 consecutive doses. In
about 150,000 cP to about 500,000 cP. In some embodi-            some embodiments, the dose-to-dose ophthalmic agent con-


                                                      Appx000342
                                                      Appx000342                     Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 49 of 67
                                                                                                                 49 of 67
              Case: 23-2402                Document: 15              Page: 399           Filed: 02/01/2024


                                                   US 10,888,557 B2
                             67                                                                 68
centration variation is based on 8 consecutive doses. In some     ments, one dose of the ophthalmic ointment is one strip of
embodiments, the dose-to-dose ophthalmic agent concentra-         the ointment composition dispensed through the nozzle of a
tion variation is based on 5 consecutive doses. In some           dispersing tube.
embodiments, the dose-to-dose ophthalmic agent concentra-            In some embodiments of the disclosed method, the oph-
tion variation is based on 3 consecutive doses. In some 5 thalmic composition is stored below room temperature prior
embodiments, the dose-to-dose ophthalmic agent concentra-         to first use. In some embodiments of the disclosed method,
tion variation is based on 2 consecutive doses.                   the ophthalmic composition is stored at between about 2° C.
   A nonsettling formulation should not require shaking to        to about 10° C. prior to first use. In some embodiments of the
disperse drug uniformly. A "no-shake" formulation is poten-       disclosed method, the ophthalmic composition is stored at
                                                               10 about 2° C., about 3° C., about 4° C., about 5° C., about 6°
tially advantageous over formulations that require shaking
                                                                  C., about 7° C., about 8° C., about 9° C., or about 10° C.
for the simple reason that patients' shaking behavior is a
                                                                  prior to first use. In some embodiments of the disclosed
major source of variability in the amount of drug dosed. It
                                                                  method, the ophthalmic composition is stored at between
has been reported that patients often times do not or forget      about 4° C. to about 8° C. prior to first use.
to shake their ophthalmic compositions that requires shaking 15      In some embodiments of the disclosed method, the oph-
before administering a dose, despite the instructions to shake    thalmic composition is stored at room temperature after first
that were clearly marked on the label. On the other hand,         use. In some embodiments of the disclosed method, the
even for those patients who do shake the product, it is           ophthalmic composition is stored at between about 16° C. to
normally not possible to determine whether the shaking is         about 26° C. after to first use. In some embodiments of the
adequate in intensity and/or duration to render the product 20 disclosed method, the ophthalmic composition is stored at
uniform. In some embodiments, the ophthalmic gel compo-           about 16° C., about 17° C., about 18° C., about 19° C., about
sitions and ophthalmic ointment compositions described            20° C., about 21° C., about 22° C., about 23° C., about 24°
herein are "no-shake" formulations that maintained the            C., about 25° C., or about 26° C. after to first use.
dose-to-dose uniformity described herein.                            In some embodiments, the ophthalmic aqueous formula-
   To evaluate the dose-to-dose uniformity, drop bottles or 25 tions are administered as follows: the lower lid of the eye to
tubes containing the ophthalmic aqueous compositions, the         be administered was pulled down and a predetermined
ophthalmic gel compositions, or ophthalmic ointment com-          amount of the aqueous formulation (e.g. 1-3 drops) is
positions are stored upright for a minimum of 12 hours prior      applied to the inside of the eyelid. The ophthalmic tip of the
to the start of the test. To simulate the recommended dosing      dispensing mechanism does not touch any surface to avoid
of these products, predetermined number of drops or strips 30 contamination and/or injury.
are dispensed from each commercial bottles or tubes at               In some embodiments, the ophthalmic gel formulations
predetermined time intervals for an extended period of time       are administered as follows: the lower lid of the eye to be
or until no product was left in the bottle or tube. All drops     administered was pulled down and a predetermined amount
and strips are dispensed into tared glass vials, capped, and      of gel (e.g. 1-3 drops) is applied to the inside of the eyelid.
stored at room temperature until analysis. Concentrations of 35 The ophthalmic tip of the dispensing mechanism does not
a muscarinic antagonist such as atropine in the expressed         touch any surface to avoid contamination and/or injury.
drops were determined using a reverse-phase HPLC method.             In some embodiments, the ophthalmic ointment formula-
   Methods of Treatment                                           tions are administered as follows: the lower lid of the eye to
   Disclosed herein are methods of arresting myopia devel-        be administered was pulled down and a small amount of
opment by administering to an eye of an individual in need 40 ointment (approximately 0.25 inches) was applied to the
thereof an effective amount of an ophthalmic composition as       inside of the eyelid. The ophthalmic tip of the dispensing
described above. Also disclosed herein are methods of             mechanism does not touch any surface to avoid contamina-
preventing myopia development by administering to an eye          tion and/or injury.
of an individual in need thereof an effective amount of an           In some embodiments, the ophthalmic composition is
ophthalmic composition as described above.                     45 administered at predetermined time intervals over an
   In some embodiments, the ophthalmic aqueous formula-           extended period of time. In some embodiments, the oph-
tions described herein are packaged in eye drop bottles and       thalmic composition is administered once every day. In
administered as drops. For example, a single administration       some embodiments, the ophthalmic composition is admin-
(i.e. a single dose) of an ophthalmic aqueous formulation         istered every other day. In some embodiments, the ophthal-
includes a single drop, two drops, three drops or more into 50 mic composition is administered over 1 week, 2 weeks, 1
the eyes of the patient. In some embodiments, the ophthal-        month, 2 months, 3 months, 6 moths, 1 year, 2 years, 3 years,
mic gel formulations described herein are packaged in eye         4 years, 5 years, 6 years, 7 years, 8 years, 9 years, 10 years,
drop bottles and administered as drops. For example, a            11 years, or 12-15 years.
single administration (i.e. a single dose) of an ophthalmic          In some embodiments, the ophthalmic composition is
gel includes a single drop, two drops, three drops or more 55 administered in doses having a dose-to-dose ophthalmic
into the eyes of the patient. In some embodiments, the            agent concentration variation of less than 50%, less than
ophthalmic ointment formulations described herein are             40%, less than 30%, less than 20%, less than 10%, or less
packaged in tubes or other squeezable containers with a           than 5%.
dispensing nozzle through which strips of the ointment are           The number of times a composition is administered to an
delivered. For example, a single administration (i.e. a single 60 individual in need thereof depends on the discretion of a
dose) of an ophthalmic ointment includes a single strip, or       medical professional, the disorder, the severity of the dis-
multiple strips into the eyes of the patient. In some embodi-     order, and the individual's response to the formulation. In
ments, one dose of the ophthalmic aqueous formulation             some embodiments, a composition disclosed herein is
described herein is one drop of the aqueous composition           administered once to an individual in need thereof with a
from the eye drop bottle. In some embodiments, one dose of 65 mild acute condition. In some embodiments, a composition
the ophthalmic gel described herein is one drop of the gel        disclosed herein is administered more than once to an
composition from the eye drop bottle. In some embodi-             individual in need thereof with a moderate or severe acute


                                                       Appx000343
                                                       Appx000343                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 50 of 67
                                                                                                                 50 of 67
               Case: 23-2402               Document: 15               Page: 400            Filed: 02/01/2024


                                                    US 10,888,557 B2
                             69                                                                  70
condition. In the case wherein the patient's condition does           In some embodiments, kits include a carrier, package, or
not improve, upon the doctor's discretion the administration       container that is compartmentalized to receive one or more
of an ophthalmic agent is administered chronically, that is,       containers such as vials, tubes, and the like, each of the
for an extended period of time, including throughout the           container(s) including one of the separate elements to be
duration of the patient's life in order to ameliorate or 5 used in a method described herein. Suitable containers
otherwise control or limit the symptoms of the patient's
                                                                   include, for example, bottles, vials, syringes, and test tubes.
disease or condition.
                                                                   In other embodiments, the containers are formed from a
   In the case wherein the patient's condition does not
                                                                   variety of materials such as glass or plastic.
improve, upon the doctor's discretion the administration of
                                                                10    The articles of manufacture provided herein contain pack-
the ophthalmic agent is administered chronically, that is, for
                                                                   aging materials. Packaging materials for use in packaging
an extended period of time, including throughout the dura-
                                                                   pharmaceutical products are also presented herein. See, e.g.,
tion of the patient's life in order to ameliorate or otherwise
                                                                   U.S. Pat. Nos. 5,323,907, 5,052,558 and 5,033,252.
control or limit the symptoms of the patient's disease or
                                                                15 Examples of pharmaceutical packaging materials include,
condition.
                                                                   but are not limited to, drop bottles, tubes, pumps, bags, vials,
   In the case wherein the patient's status does improve,
upon the doctor's discretion the administration of the oph-        containers, syringes, bottles, and any packaging material
thalmic agent is given continuously; alternatively, the dose       suitable for a selected formulation and intended mode of
of drug being administered is temporarily reduced or tem- 20       administration    and treatment. A wide array of ophthalmic
porarily suspended for a certain length of time (i.e., a "drug     compositions     provided   herein are contemplated as are a
holiday"). The length of the drug holiday varies between 2         variety of treatments for any disease, disorder, or condition
days and 1 year, including by way of example only, 2 days,         that benefits by controlled release administration of an
3 days, 4 days, 5 days, 6 days, 7 days, 10 days, 12 days, 15       ophthalmic agent to the eye.
days, 20 days, 28 days, 35 days, 50 days, 70 days, 100 days, 25       In some embodiments, a kit includes one or more addi-
120 days, 150 days, 180 days, 200 days, 250 days, 280 days,        tional containers, each with one or more of various materials
300 days, 320 days, 350 days, and 365 days. The dose               (such as rinses, wipes, and/or devices) desirable from a
reduction during a drug holiday is from 10%-100%, includ-          commercial and user standpoint for use of a formulation
ing by way of example only 10%, 15%, 20%, 25%, 30%, 30 described herein. Such materials also include labels listing
35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%,                  contents and/or instructions for use and package inserts with
85%, 90%, 95%, and 100%.                                           instructions for use. A set of instructions is optionally
   Once improvement of the patient's ophthalmic conditions         included. In a further embodiment, a label is on or associated
has occurred, a maintenance ophthalmic agent dose is               with the container. In yet a further embodiment, a label is on
administered if necessary. Subsequently, the dosage or the 35 a container when letters, numbers or other characters form-
frequency of administration, or both, is optionally reduced,
                                                                   ing the label are attached, molded or etched into the con-
as a function of the symptoms, to a level at which the
                                                                   tainer itself; a label is associated with a container when it is
improved disease, disorder or condition is retained. In
                                                                   present within a receptacle or carrier that also holds the
certain embodiments, patients require intermittent treatment
                                                                40 container, e.g., as a package insert. In other embodiments a
on a long-term basis upon any recurrence of symptoms.
                                                                   label is used to indicate that the contents are to be used for
   The amount of ophthalmic agent that will correspond to
such an amount will vary depending upon factors such as the        a specific therapeutic application. In yet another embodi-
particular compound, disease condition and its severity,           ment, a label also indicates directions for use of the contents,
according to the particular circumstances surrounding the 45 such as in the methods described herein.
case, including, e.g., the specific ophthalmic agent being            In certain embodiments, the ophthalmic compositions are
administered, the route of administration, the condition           presented in a dispenser device which contains one or more
being treated, the target area being treated, and the subject      unit dosage forms containing a compound provided herein.
or host being treated. The desired dose is presented in a          In a further embodiment, the dispenser device is accompa-
                                                                50
single dose or as divided doses administered simultaneously        nied by instructions for administration. In yet a further
(or over a short period of time) or at appropriate intervals.
                                                                   embodiment, the dispenser is also accompanied with a
   In some embodiments, the initial administration is a
                                                                   notice associated with the container in form prescribed by a
particular ophthalmic agent and the subsequent administra-
tion a different formulation or ophthalmic agent.               55
                                                                   governmental agency regulating the manufacture, use, or
   Kits/Articles of Manufacture                                    sale of pharmaceuticals, which notice is reflective of
   The disclosure also provides kits for preventing or arrest-     approval by the agency of the form of the drug for human or
ing myopia development. Such kits generally will comprise          veterinary administration. In another embodiment, such
one or more of the ophthalmic compositions disclosed               notice, for example, is the labeling approved by the U.S.
herein, and instructions for using the kit. The disclosure also 60
                                                                   Food and Drug Administration for prescription drugs, or the
contemplates the use of one or more of the ophthalmic
                                                                   approved product insert. In yet another embodiment, com-
compositions, in the manufacture of medicaments for treat-
ing, abating, reducing, or ameliorating the symptoms of a          positions containing a compound provided herein formu-
disease, dysfunction, or disorder in a mammal, such as a 65 lated in a compatible pharmaceutical carrier are also pre-
human that has, is suspected of having, or at risk for             pared, placed in an appropriate container, and labeled for
developing myopia.                                                 treatment of an indicated condition.


                                                       Appx000344
                                                       Appx000344                      Eyenovia Exhibit
                                                                                       Eyenovia Exhibit 1001,
                                                                                                        1001, Page
                                                                                                              Page 51 of 67
                                                                                                                   51 of 67
                    Case: 23-2402                         Document: 15                      Page: 401                   Filed: 02/01/2024


                                                                     US 10,888,557 B2
                                      71                                                                                        72
                              EXAMPLES                                                                                      TABLE 4

                                                                                                        Mucus Penetrating Particle Formulation (Atropine)
             Example 1           Ophthalmic Formulations
                                                                                    5                                      Quantity              Concentration
   Exemplary compositions for preparation of ophthalmic                                  Ingredient                         (mg/g)                   (wt %)
formulations are described in Tables 1-8.
                                                                                         Atropine                          0.01-0.5             0.001-0.05 (wt %)
                                  TABLE 1                                                Buffer agent and/or pD                               q.s. for pD = 4.2-7.9
                                                                                    10 adjusting agent (e.g.,

                   Aqueous Solution Formulation (Atropine)                               borates and/or DC1)
                                                                                         Preservative (e.g.                              q.s. to prevent the growth of or
                                                                                         benzalkonium chloride,                             to destroy microorganism
                                       Quantity
                                                                                         cetrimonium sodium                               introduced into the solution
Ingredient                              (mg/g) Concentration (wt %)                 15
                                                                                         perborate, etc.)
                                                                                         Mucus penetrating                                  q.s. to formulate atropine
Atropine                                0.01-0.5 0.001-0.05 (wt %)
                                                                                         particles                                             at 0.001-0.05 wt %
Buffer agent and/or pD adjusting             —      q.s. for pD = 4.2-7.9
                                                                                         Deuterated Water                                       q.s. to 100 wt %
agent (e.g., borates and/or DCI)
                                                                                    20
Preservative (e.g. benzalkonium                     q.s. to prevent the growth
chloride, cetrimonium sodium                        of or to destroy microor-
                                                                                                                            TABLE 5
perborate, etc.)                                    ganism introduced into
                                                    the solution                                     Mucus Penetrating Particle Formulation (Atropine Sulfate)
                                                                                    25
Tonicity and/or Osmolarity                          q.s. to 0.5-2.0 wt %                                                   Quantity              Concentration
adjustor (e.g. NaCI, mannitol,                                                           Ingredient                         (mg/g)                  (wt %)

etc)                                                                                   Atropine sulfate                    0.01-0.5             0.001-0.05 (wt %)
                                                                                       Buffer agent and/or pD                                 q.s. for pD = 4.2-7.9
Deuterated Water                                    q.s. to 100 wt %
                                                                                       adjusting agent (e.g.,
                                                                                    30
                                                                                       borates and/or DC1)
                                                                                       Preservative (e.g.                                q.s. to prevent the growth of or
                                                                                       benzalkonium chloride,                               to destroy microorganism
                                  TABLE 2                                              cetrimonium sodium                                  introduced into the solution
                                                                                       perborate, etc.)
                                                                                       Mucus penetrating                                    q.s. to formulate atropine
             Aqueous Solution Formulation (Atropine Sulfate)
                                                                                    35 particles                                               at 0.001-0.05 wt %
                                 Quantity                 Concentration                Deuterated Water                                           q.s. to 100 wt %
Ingredient                        (mg/g)                     (wt %)

Atropine sulfate                  0.01-0.5                  0.001-0.05 (wt %)
Buffer agent and/or pD                                q.s. for pD = 4.2-7.9                                                 TABLE 6
adjusting agent (e.g.,                                                              40
borates and/or DC1)                                                                                         Cellulose Gel Formulation (Atropine Sulfate)
Preservative (e.g.                               q.s. to prevent the growth of or
benzalkonium chloride,                              to destroy microorganism                                                  Quantity             Concentration
cetrimonium sodium                                 introduced into the solution          Ingredient                            (mg/g)                 (wt %)
perborate, etc.)
Tonicity and/or Osmolarity                             q.s. to 0.5-2.0 wt %         45 Atropine Sulfate                      0.01-0.5           0.001-0.05 (wt %)
adjustor (e.g. NaCI,                                                                   Viscosity enhancing agent               10-50                   1-5 (wt %)
mannitol, etc)                                                                         (e.g. hydroxypropyl
Deuterated Water                                           q.s. to 100 wt %            methylcellulose)
                                                                                       Buffer agent and/or pD                                  q.s. for pD = 4.2-7.9
                                                                                       adjusting agent (e.g.,
                                                                                    50 sodium acetate and/
                                  TABLE 3                                              or DCI)
                                                                                       Stabilizer (e.g. EDTA,                               q.s. for low degradation of
                                                                                       cyclodextrin, etc.)                                atropine sulfate (e.g. less than
             Aqueous Solution Formulation (Atropine Sulfate)
                                                                                                                                          10%, 5% or 1% degradation)
                                 Quantity                 Concentration                  Osmolarity modifier                                  q.s. 150-500 mOsm/L
                                                                                         (e.g. NaCI)
Ingredient                        (mg/g)                     (wt %)                 55
                                                                                         Deuterated Water                                       q.s. to 100 wt %
Atropine sulfate                 0.05-0.15                0.005-0.015 (wt %)
Buffer agent and/or pD                                q.s. for pD = 4.2-7.9
adjusting agent (e.g.,
borates and/or DCI)                                                                                                         TABLE 7
Preservative (e.g.                               q.s. to prevent the growth of or
                                                                                    60
benzalkonium chloride,                              to destroy microorganism                             Thermosetting Gel Formulation (Atropine Sulfate)
cetrimonium sodium                                 introduced into the solution
perborate, etc.)                                                                                                              Quantity             Concentration
Tonicity and/or Osmolarity                             q.s. to 0.5-2.0 wt %              Ingredient                            (mg/g)                 (wt %)
adjustor (e.g. NaCI,
mannitol, etc)                                                                         Atropine sulfate                      0.01-0.5           0.001-0.05 (wt %)
Deuterated Water                                           q.s. to 100 wt %         65 Viscosity enhancing agent             100-250                10-25 (wt %)
                                                                                       (e.g. poloxamer 407)




                                                                           Appx000345
                                                                           Appx000345                              Eyenovia Exhibit
                                                                                                                   Eyenovia Exhibit 1001,
                                                                                                                                    1001, Page
                                                                                                                                          Page 52 of 67
                                                                                                                                               52 of 67
                      Case: 23-2402                  Document: 15                    Page: 402                 Filed: 02/01/2024


                                                               US 10,888,557 B2
                                    73                                                                                 74
                           TABLE 7-continued                                            Example 3 Preparation of an Aqueous Solution
                                                                                        Formulation Containing 0.01% Atropine Sulfate
              Thermosetting Gel Formula
                                Formulation
                                         on (Atropine Sulfate)

                                                                                      Stock 1% Solution
                                  Quantity           Concentration              5
Ingredient                         (mg/g)
                                   (mglg)                (wt %)                       In a 100 mL solution, 1 gram of atropine sulfate, and 0.77
                                                                                   g of NaCl (and other ingredients/components preferably in
Buffer agent and/or pD                            q.s. for pH = 4.2-7.9            their dry state) were added along with a quantity sufficient
adjusting agent (e.g.,                                                             to equal 100 mL sterile water for injection. The solution was
sodium acetate and/                                                             io mixed in an appropriately sized beaker with a stir bar on a
or DCI)
                                                                                   hot plate until all of the solid powders had dissolved and the
Stabilizer (e.g. EDTA,                        q.s. for low degradation of
                                                                                   solution became clear with no visible particles. Next, the stir
cyclodextrin, etc.)                          atropine sulfate (e.g. less than
                                                                                   bar was removed, and the solution was poured into a filter
                                             10%, 5% or 1% degradation)
                                                                                   bottle and vacuum filtered through a 0.22 micron pothy-
Osmolarity modifier                              q.s. 150-500 mOsm/L
                                                                                15 ethersulfone membrane filter into a sterile bottle. The filter
(e.g. NaCI)
                                                                                   top was removed from the sterile stock bottle and the stock
Deuterated Water                                   q.s. to 100 wt %
                                                                                   bottle was capped for storage with a sterile bottle cap.
                                                                                      Diluted 0.01% Solution

                                TABLE 8
                                                                                20     0.3 mL of the 1% solution was combined with a quantity
                                                                                   sufficient to achieve 30 mL total of sterile 0.9% Sodium
                  Ointment Formulation (Atropine Sulfate)                          Chloride For Injection USP. The solution was thoroughly
                                                                                   mixed. The pH of the solution was recorded. A 0.22 micron
                              Quantity (g)
                              for 1000 mL     Concentration in 1000 mL             filter was placed on the tip of the syringe and the solution
Ingredient                      solution          aqueous solution              25 was aliquotted into separate sterile containers.

Atropine sulfate                0.01-0.5           0.001-0.05 (wt %)
Dispersing agent (e.g.            10-200                 1-20 (wt %)                               Example 4          Stability Analysis
polyethyleneglycol, and/or
polyethoxylated castor oil
and/or C12-C20 alcohol                                                          30     Five 0.01% atropine sulfate solutions were prepared from
Buffering agent pD                                q.s. for pD = 4.2-7.9
adjusting agent (e.g. DCI)                                                         the 1% atropine sulfate stock solution (preparation as
Stabilizer (e.g. EDTA,                         q.s. for low degradation of         described in Example 2). The pH of the five solutions was
cyclodextrin, etc.)                          atropine sulfate (e.g. less than      5.87, 5.97, 5.90, 6.24, and 6.16 for solutions 1-5, respec-
                                             10%, 5% or 1% degradation)
Osmolarity modifier                               q.s. 150-500 mOsm/L              tively. Each solution was thoroughly mixed. A 0.22 micron
                                                                                35
(e.g. NaC1)
      NaCI)                                                                        filter was placed on the tip of the syringe and the solution
Ointment base (e.g.                                q.s. to 100 wt %                was aliquotted into separate sterile containers according to
wool wax and/or
petrolatum and/or liquid
                                                                                   Table 9.
paraffin)

                                                                                40                                 TABLE 9

                                                                                                             Container Filling Outline

      Example 2 Preparation of an Aqueous Solution                                                                   Volume of 0.01%         Total
      Formulation Containing 0.01% Atropine in D2O                                                                 Atropine Sulfate Drug   Containers
                                                                                45     Type of Container           Product in Container      Filled

   Stock 1% Solution                                                                   Sterile Eyedroppers                  5-mL              12
    In a 100 mL solution, 1 gram of atropine, and 0.77 g of              Sterile Glass Vials          5-mL               12
NaCl (and other ingredients/components preferably in their
dry state) are added along with a quantity sufficient to equal 50
                                                                        The samples were then stored at different conditions for
100 mL sterile deuterated water for injection. The solution
                                                                     stability analysis. The samples were analyzed at different
is mixed in an appropriately sized beaker with a stir bar on
                                                                     time points up to 2 months. The storage conditions include:
a hot plate until all of the solid powders have dissolved and
                                                                     40° C. with 75% relative humidity (RH) (samples were
the solution has become clear with no visible particles. Next,
                                                                     transferred from 2-8° C. condition after 3 days), 25° C. with
the stir bar is removed, and the solution is poured into a filter 55
                                                                     60% RH, and 60° C. The time points were 1 week, 2 weeks,
bottle and vacuum filtered through a 0.22 micron pothy-
                                                                     1 month, and 2 months. At each of the time point, one plastic
ethersulfone membrane filter into a sterile bottle. The filter
                                                                     eyedropper (LDPE plastic) and one glass vial from each of
top is removed from the sterile stock bottle and the stock
                                                                     the stored condition were removed and allowed to equili-
bottle is capped for storage with a sterile bottle cap.
                                                                  60
                                                                     brate to ambient conditions. Once equilibrated, both the
    Diluted 0.01% Solution                                           plastic eyedropper and the glass vials were inverted 3 times.
    0.3 mL of the 1% solution was combined with a quantity           The solution in the eyedroppers was transferred to an HPLC
sufficient to achieve 30 mL total of sterile 0.9% Sodium             vial in a drop wise fashion through the dropper. The solution
Chloride For Injection USP. The solution was thoroughly              in the glass vial was aliquotted into an HPLC vial using a
mixed. The pH of the solution was recorded. A 0.22 micron 65 glass Pasteur pipette. The samples were then tested for
filter was placed on the tip of the syringe and the solution         purity and potency using the UPLC method listed in Table
was aliquotted into separate sterile containers.                     10.


                                                                     Appx000346
                                                                     Appx000346                         Eyenovia Exhibit
                                                                                                        Eyenovia Exhibit 1001,
                                                                                                                         1001, Page
                                                                                                                               Page 53 of 67
                                                                                                                                    53 of 67
                Case: 23-2402                          Document: 15                        Page: 403                    Filed: 02/01/2024


                                                                  US 10,888,557 B2
                                    75                                                                                          76
                               TABLE 10                                                                            TABLE 10-continued
                       UPLC Method Parameters                                                                        UPLC Method Parameters

Parameter                      Condition                                                Parameter                          Condition
                                                                                   5
Column                         EMD, Hiber HR PurospherSTAR C-18,                        Autosampler Temperature            5±3°C.
                                                                                                                           5 -± 3° C.
                               100 x 2.1 mm, 2 µm                                       Run Time                           6.0 minutes
Mobile Phase/Diluent           87:13, 50 mM Potassium Phosphate:                        Injection Volume                   10 µL*
                               Acetonitrile, pH 3.5                                     Needle Wash Solution               90/10 Water:Acetonitrile
Flow                           Isocratic
Flow Rate                      0.5 mL/min                                         10 *Modified from original method to maintain sensitivity at 100 µg/mL nominal.
Detection Wavelength           210 nm
Column Temperature             30±3°C.
                               30 ± 3° C.                                                 Table 11 lists the stability data for the 0.01% atropine
                                                                                        sulfate solutions.

                                                                                        TABLE 11

                                                                 Stability Data for 0.01% Atropine Sulfate Solutions

                                                    Purity Potency       pH     Purity Potency Purity Potency Purity Potency             pH    Purity Potency       pH

                1 Eyedropper,      25° C./60%        99.5      99.8      5.9     ND       ND         99.1     99.9      ND      ND      ND      95.4      97.4      6.3
                  LDPE             RH
                  (Plastic)        40° C./75%                                    ND       ND         96.2     97.3       95.1   95.6    5.2     ND        ND        ND
                                   RH
                                   60° C.                                        80.8    833         86.2     88.6       88.3   91.5    4.2     ND        ND        ND
                  Glass Vial       25° C./60%        99.8     100.4      ND      ND       ND         92.2     93.1       80.7   80.5    7.8     73.0      74.5      7.3
                                   RH
                                   40° C./75%                                    ND       ND         73.6     74.1       50.1   50.2    7.4     ND        ND        ND
                                   RH
                                   60° C.                                       43.1     439         28.3     28.4      ND      ND      ND      ND        ND        ND
                2 Eyedropper,      25° C./60%        99.7      99.9      6.0    ND        ND        991      996        ND      ND      ND      97.0      99.1      6.1
                  LDPE             RH
                  (Plastic)        40° C./75%                                    ND       ND         96.6     97.2       95.5   95.8    5.6     ND        ND        ND
                                   RH
                                   60° C.                                        89.4     92.2       92.2     94.0       90.6   94.4    4       ND        ND        ND
                  Glass Vial       25° C./60%        99.8     100.2      ND      ND       ND         92.6     92.9       82.5   82.2    7.6     80.2      81.6      7.3
                                   RH
                                   40° C./75%                                    ND       ND         74.7     75.1       59.1   59.0    7.2     ND        ND        ND
                                   RH
                                   60° C.                                        54.2     55.2       37.3     37.4      ND      ND      ND      ND        ND        ND
                3 Eye              25° C./60%        99.3      96.3      5.9     ND       ND         98.7     96.1      ND      ND      ND      95.8      94.8      6.3
                  dropper,         RH
                  LDPE             40° C./75%                                    ND       ND         96.7     93.1       94.8   91.8    5.5     ND        ND        ND
                  (Plastic)        RH
                                   60° C.                                        88.8     89.0       88.0     86.8       88.6   87.7    4.1     ND        ND        ND
                  Glass Vial       25° C./60%        99.4      98 4      ND      ND       ND         94.1    912         85.0   81.9    7.5     79.3      78.3      7.3
                                   RH
                                   40° C.175%                                    ND       ND         72.2    746         61.3   63.0    7.2     ND        ND        ND
                                   RH
                                   60° C.                                       48.6      51.1       34.1     34.9      ND      ND      ND      ND        ND        ND
                4 Eyedropper,      25° C./60%        99.8      99.6      6.2    ND        ND         99.1    988        ND      ND      ND      96.4      97.6      6.3
                  LDPE             RH
                  (Plastic)        40° C./75%                                    ND       ND         96.3    970         94.5   94.2    5.6     ND        ND        ND
                                   RH
                                   60° C.                                        90.5     93.0       89.3     90.6       84.2   85.8    4.2     ND        ND        ND
                  Glass Vial       25° C./60%        99 8      98.8      ND      ND       ND         90.7    900        769     75.1    7.6     72.5      71.6      7.4
                                   RH
                                   40° C./75%                                    ND       ND         71.0     68.7       57.0   56.7    7.2     ND        ND        ND
                                   RH
                                   60° C.                                        52.4     52.1       29.7    28.6       ND      ND      ND      ND        ND        ND
                5 Eyedropper       25° C./60%        99.6     100.5      6.2     ND       ND         99.3   100.4       ND      ND      ND      97.8     100.5      6.2
                  LDPE             RH
                  (Plastic)        40° C./75%                                    ND       ND         95.9     96.7       96.8   97.6    5.5     ND        ND        ND
                                   RH
                                   60° C.                                        91.2     94.6       91.4     93.6       90.3   92.8    4.2     ND        ND        ND
                  Glass Vial       25° C./60%        99.8     100.7      ND      ND       ND         90.5     91.3       79.3   79.7    7.8     72.8      74.6      7.3
                                   RH
                                   40° C./75%                                    ND       ND         71.3     71.9       56.0   56.4    7.3     ND        ND        ND
                                   RH
                                   60° C.                                       46.3       47.4      29.5     29.6      ND      ND      ND      ND        ND        ND

                LThe 25° C. and the 60° C. samples were pulled at 15 days, the 40° C. samples were pulled at 11 days.
                2The 25° C. and the 60° C. samples were pulled at 28 days, the 40° C. samples were pulled at 24 days.
                ;'The 25° C. and the 60° C. samples were pulled at 46 days.




                                                                       Appx000347
                                                                       Appx000347                                  Eyenovia Exhibit
                                                                                                                   Eyenovia Exhibit 1001,
                                                                                                                                    1001, Page
                                                                                                                                          Page 54 of 67
                                                                                                                                               54 of 67
                Case: 23-2402                    Document: 15                  Page: 404     Filed: 02/01/2024


                                                           US 10,888,557 B2
                                    77                                                           78
   A change in the pH of the 0.01% Atropine Sulfate               current nominal concentration (0.01% Atropine Sulfate)
solutions was observed over the course of the stability study.    using the vehicle. Additionally a sample was diluted to the
The plastic (LDPE) eyedroppers maintained pH around 6.2           nominal concentration with method diluent. Both samples
when stored at 25° C. for 2 months. However at the same           diluted to the nominal concentration were analyzed using the
time point, the pH of the 0.01% atropine has increased to 7.2 5 RP-UPLC method (Table 10). The results are listed in Table
when stored in glass vials. Additionally, when stored at          13.
elevated temperatures (e.g. 40° C. and 60° C.), the pH in the
plastic (LDPE) eyedroppers dropped to approximately 4-5,                                       TABLE 13
while the pH maintained around 7.2 when stored in the glass
vials.                                                         10       pH and Purity of the Bausch + Lomb Atropine Sulfate Sample

   There was also a significant difference in the rate of
                                                                                                                         Purity
degradation for Atropine Sulfate (0.01%) when stored in
                                                                         Sample                           pH            (% area)
plastic (LDPE) eyedroppers versus Type I glass vials. How-
ever, in both containers there was an increase of an early               1% Atropine Sulfate             4.89              ND
eluting related substance at relative retention time (RRT) 15            0.01% Atropine Sulfate,         6.16            99.6%
=0.87-0.89. In some cases, this early eluting related sub-               diluted with Vehicle
stance is referred to as primary degradant. In some instances,           0.01% Atropine Sulfate,          ND             99.6%
the primary degradant is referred to as RRT 0.87-0.89. This              diluted with Diluent
related substance is likely to be the first parameter to fail            Vehicle                         7.94              ND
specification regardless of the container. The amount of this 20
related substance was tracked at each time point and is listed    ND = not determined
in Table 12.

                                     TABLE 12
                     Area (%) of the Main Degradation Species for
                       0.01% Atropine Sulfate (RRT 0.87-0.89)

            Temperature
  Analyst      ° C.         t = 0   t = 1 week t = 2 week t = 1 month   t = 2 months

    1          25           0.08      NA          0.92        NA           3.98
               40           NA        NA          3.74        4.78         NA
               60           NA       17.78       13.49       11.51         NA
    2          25           0.07      NA          0.88        NA           2.46
               40           NA        NA          3.26        4.37         NA
               60           NA        9.38        7.67        9.13         NA
    3          25           0.07      NA          1.05        NA           2.88
               40           NA        NA          2.98        4.85         NA
               60           NA        9.59       11.57       10.55         NA
    4          25           0.08      NA          0.92        NA           3.09
               40           NA        NA          3.43        5.32         NA
               60           NA        8.30       10.46       15.49         NA
    5          25           0.08      NA          0.64        NA           1.66
               40           NA        NA          3.96        3.07         NA
               60           NA        7.61        8.35        9.7          NA
    Average 25° C.          0.08      NA          0.88        NA           2.81
    Average 40° C.          NA        NA          3.47        4.48         NA
    Average 60° C.          NA       10.53       10.31       11.28         NA




   Arrhenius based shelf life predictions were calculated                   Example 6 Dose Uniformity (10-Dose)
using the related substance data from Table 12. These
predictions are based on an assumption that the degradation          To evaluate the dose-to-dose uniformity, drop bottles
is first order (linear). These predictions are illustrated in so containing the ophthalmic aqueous composition are stored
FIGS. 1 and 2. FIG. 1 shows the shelf life prediction of          upright for a predetermined period of time (e.g. 12 hours)
0.01% atropine sulfate solution with a primary degradant          prior to the start of the test. To simulate the recommended
RRT 0.87-0.89, and a n.m.t. of 0.5% area, based on data           dosing of the product, 10 drops of the aqueous composition
obtained from samples stored at 25° C. and 40° C. The pH          are dispensed from each bottle at predetermined time inter-
range of the atropine sulfate solution is from 5.9-6.2. FIG. 2 55 vals (e.g. consecutively, every 1 minute, every 10 minutes,
shows the shelf life prediction of 0.01% atropine sulfate         every hour or every 24 hours). All drops are dispensed into
solution with a primary degradant RRT 0.87-0.89, and a            tared glass vials, capped, and stored at room temperature
n.m.t. of 0.5% area, based on data obtained from samples          until analysis. Concentrations of atropine in the expressed
stored at 25° C. and 60° C. The pH range of the atropine          drops are determined using a reverse-phase HPLC method.
sulfate solution is from 5.9-6.2.
                                                               60            Example 7 Dose Uniformity (5-Dose)
      Example 5-1% Atropine Sulfate (Bausch+Lomb)
                       Sample Analysis                               To evaluate the dose-to-dose uniformity, drop bottles
                                                                  containing the ophthalmic aqueous composition are stored
   The 1% atropine sulfate sample was obtained from               upright for a predetermined period of time (e.g. 12 hours)
Bausch+Lomb (Lot 198421). For comparison the pH of the 65 prior to the start of the test. To simulate the recommended
1% Atropine Sulfate drug product was determined in the            dosing of the product, 5 drops of the aqueous composition
neat solution as well as a sample that was diluted to the         are dispensed from each bottle at predetermined time inter-


                                                               Appx000348
                                                               Appx000348                  Eyenovia Exhibit
                                                                                           Eyenovia Exhibit 1001,
                                                                                                            1001, Page
                                                                                                                  Page 55 of 67
                                                                                                                       55 of 67
                   Case: 23-2402                     Document: 15                      Page: 405                  Filed: 02/01/2024


                                                                  US 10,888,557 B2
                                    79                                                                                    80
vals (e.g. consecutively, every 1 minute, every 10 minutes,                             Table 15 illustrates the atropine sulfate purity data asso-
every hour or every 24 hours). All drops are dispensed into                          ciated with each of the eight formulations. Purity is indicated
tared glass vials, capped, and stored at room temperature                            as percentage of area under the curve.
until analysis. Concentrations of atropine in the expressed
drops are determined using a reverse-phase HPLC method.                         5                                    TABLE 15
              Example 8      Dose Uniformity (2-Dose)                                                     Atropine sulfate purity as Area-%

   To evaluate the dose-to-dose uniformity, drop bottles       Solvent                                   Condition          t= 0     t= 2 weeks       t= 4 weeks'
                                                                                                                                                           weeks"
containing the ophthalmic aqueous composition are stored 10 Formulation 1                                25/60             97.39         97.76            98.20
upright for a predetermined period of time (e.g. 12 hours)     pH 4.2                                    40/75                           97.25            97.04
prior to the start of the test. To simulate the recommended                                              60° C.                          94.98            93.87
dosing of the product, 2 drops of the aqueous composition      Formulation 2                             25/60             98.85         99.03            99.08
                                                               pH 4.2                                    40/75                           98.50            98.32
are dispensed from each bottle at predetermined time inter-                                              60° C.                          97.47            96.65
vals (e.g. consecutively, every 1 minute, every 10 minutes,    Formulation 3                             25/60             98.16         98.16            98.45
                                                            15
every hour or every 24 hours). All drops are dispensed into    pH 4.8                                    40/75                           97.98            97.35
tared glass vials, capped, and stored at room temperature                                                60° C.                          95.94            94.65
                                                               Formulation 4                             25/60             98.81         98.75            98.46
until analysis. Concentrations of atropine in the expressed    pH 4.8                                    40/75                           98.26            98.01
drops are determined using a reverse-phase HPLC method.                                                  60° C.                          96.22            94.04
                                                                                     Formulation 5       25/60             98.16         97.92            97.54
                                                                               20
      Example 9         Formulation Stability Comparison                             pH 5.8              40/75                           95.88            93.51
                                                                                                         60° C.                          80.94            66.83
                                                            Formulation 6                                25/60             99.08         98.91            98.46
   Atropine sulfate monohydrate (MP Bio; Lot Number
                                                            pH 5.8                                       40/75                           97.65            96.20
7825K) and tropic acid (Sigma Aldrich; Lot Number                                                        60° C.                          89.15            80.68
STBD6457V) were used for this experiment. Eight formu-      Formulation 7                                25/60             98.93         99.07            98.39
                                                         25
lations illustrated in Table 14A were analyzed at t=0, 2    pD 5.2                                       40/75                           98.51            97.55
weeks, and 4 weeks. A RP-HPLC method was used to carry                                                   60° C.                          96.70            94.01
out the analysis.

                                        TABLE 14A
                                Atropine sulfate formulations

              Atropine         Benzalkonium
               Sulfate           Chloride   Sodium         Acetic    Citric
 Formulation Monohydrate          (BAK)     Chloride       Acid      Acid     pH/pD Aqueous

     1             0.010            0.01          0.90     0.01                4.2      SWFI
     2             0.025            0.01          0.90     0.01                4.2      SWFI
     3             0.010            0.01          0.90     0.01                4.8      SWFI
     4             0.025            0.01          0.90     0.01                4.8      SWFI
     5             0.010            0.01          0.90                0.04     5.8      SWFI
     6             0.025            0.01          0.90                0.04     5.8      SWFI
     7             0.010            0.01          0.90      0.01               5.2      D2O
                                                                              (pD)
     8             0.010            0.01          0.90                0.04     6.2      D2O
                                                                              (pD)


                                                                               45
   The values are % w/v. The formulations were prepared at                                                    TABLE 15-continued
100 mL scale in volumetric glassware. The pD of Formu-
lation 7 and Formulation 8 are 5.2 and 6.2, respectively. In                                              Atropine sulfate purity as Area-%

some instances, the pD is calculated as pD=0.4+pH*, in       Solvent                                     Condition          t= 0     t= 2 weeks       t= 4 weeks'
which pH* is the measured or observed pH of the solution 50
                                                             Formulation 8                               25/60             98.93         98.95            98.51
formulated in a solution containing deuterated water.
                                                                                     pD 6.2              40/75                           98.53            97.44
   Table 14B illustrates analysis time points for the formu-                                             60° C.                          95.97            92.72
lations listed in Table 14A.                                                       'Some chromatographic interference were observed to occur late in the run (-27-32
                                                                                   minutes) for namyofthe t= 4 week stability samples and in some instances is proposed
                                                                               55 to be system related.
                              TABLE 14B
                                                                                     After four weeks of storage at 60° C., in some instances
              Schedule for atropine sulfate formulation testing                   the atropine sulfate concentration have an impact on the
                                                                                  stability for the formulations containing acetic acid at pH
    Storage                                   Time Point
                                                                                  4.2. For example, atropine sulfate concentration at 0.025%
                                                                               60
    Condition                      Initial
                                                                                  w/v (Formulation 2) showed a 2.8% increase in % purity at
    (Horizontal)                  (t = 0)       2 Week            4 Week          pH 4.2 compared to the atropine sulfate concentration at
                                                                                  0.010% w/v (Formulation 1). This trend was not observed
   25° C./60% RH                    x                                             for the acetic acid formulations at pH 4.8 (Formulations 3
   40° C./75% RH                                                                  and 4); rather a 0.6% decrease in % purity was observed for
   60° C.                                                                      65 the higher doses.
                                                                                     The dose dependent stability trend that was observed at
                                                                                  pH=4.2 was also seen in the formulations containing citric


                                                                     Appx000349
                                                                     Appx000349                              Eyenovia Exhibit
                                                                                                             Eyenovia Exhibit 1001,
                                                                                                                              1001, Page
                                                                                                                                    Page 56 of 67
                                                                                                                                         56 of 67
                Case: 23-2402                     Document: 15               Page: 406          Filed: 02/01/2024


                                                          US 10,888,557 B2
                                 81                                                                     82
acid at pH 5.8 (Formulations 5 and 6). After four weeks of                           TABLE 17-continued
storage at 60° C. there is approximately 14% less degrada-
tion in the higher does than observed in the lower dose.                                      % Potency
   At both the high and the low doses, more degradation is         Solvent          Condition    t= 0   t= 2 weeks t= 4 weeks
observed in the formulations that start at a higher pH. This 5
degradation is predominantly the growth of tropic acid. In         Formulation 2     25/60       102.9    107.1      109.7
some instances, buffer species plays a role in the observed        pH 4.2            40/75                108.4      109.6
                                                                                     60° C.               109.4       111.0
degradation between the different pH values.                       Formulation 3     25/60       106.3    108.0      109.6
   The percentage of tropic acid observed for each of the          pH 4.8            40/75                108.1      110.0
formulations at t=4 weeks and at 60° C. are as follow:          10                   60° C.               108.0      109.9
                                                                   Formulation 4     25/60       102.5    107.9      109.2
   Formulation 1 Tropic acid observed is 0.54%.
                                                                   pH 4.8            40/75                107.4      108.9
   Formulation 2 Tropic acid observed is 0.93%.                                      60° C.               107.9      108.8
   Formulation 3 Tropic acid observed is 1.58%.                    Formulation 5     25/60       105.0    105.9      107.1
   Formulation 4 Tropic acid observed is 3.03%.                    pH 5.8            40/75                103.8      103.5
                                                                                     60° C.                 90.2       77.7
   Formulation 5 Tropic acid observed is 29.13%.                15
                                                                   Formulation 6     25/60       107.2    107.1      109.1
   Formulation 6 Tropic acid observed is 16.84%.                   pH 5.8            40/75                106.8      107.1
   Formulation 7 Tropic acid observed is 1.07%.                                      60° C.                 99.0       93.7
   Formulation 8 Tropic acid observed is 4.03%.                    Formulation 7     25/60       107.3     111.3     112.9
   In some embodiments, switching the water source to              pD 5.2            40/75                 111.6      113.5
                                                                                     60° C.                111.8      113.5
deuterated water (D2O) has an impact on stabilizing the 20 Formulation 8             25/60        99.0    103.0      105.0
growth of the tropic acid peak for the formulation containing      pD 6.2            40/75                104.9      104.7
acetic acid at pD 5.2 (Formulation 7), see FIG. 4. In addition,                      60° C.               101.6      103.0
in the formulation containing citric acid at pD 6.2 (Formu-
lation 8), the deuterated water also stabilizes atropine sul-         After 4 weeks of storage, the observed potency values
fate, see FIG. 5.                                               25
                                                                   were elevated from the t=0 and 2 week time points, with the
   Table 16 illustrates tropic acid as area under the curve for    exception of Formulations 5 and 6 at 60° C. where the
each of the eight formulations. Tropic acid is a degradant of      potencies dropped due to degradation. In some instances,
atropine sulfate. In some instances, LOQ was previously            these potency values are within the error of the HPLC
found to be 0.05% for the RP-HPLC method.                          method, but appear to be trending upward. Mass balance
                                                                      30
                                                                         was calculated for the 60° C. data and results were consistent
                            TABLE 16                                     across the formulations and levels of degradation, although
                         Tropic acid as area-%                           skewed lower due to the higher than anticipated potency
                                                                         values at 4 weeks, see FIG. 3.
Solvent         Condition     t =0          t= 2 weeks   t= 4 weeks        Table 18 illustrates pH or pD stability of the eight
                                                                      35
Formulation 1   25/60        <LOQ              0.08        <LOQ
                                                                         formulations.
pH 4.2          40/75                          0.10         0.10
                60° C.                         0.37         0.51                                  TABLE 18
Formulation 2   25/60        <LOQ              0.05        <LOQ
pH 4.2          40/75                          0.11         0.12                                  pH/pD Stability
                60° C.                         0.46         0.93      40
Formulation 3   25/60        <LOQ              0.12         0.05           Solvent          Condition    t= 0       t= 2 weeks   t= 4 weeks
pH 4.8          40/75                          0.19         0.27
                60° C.                         0.90         1.58           Formulation 1     25/60       4.21          3.93         4.02
Formulation 4   25/60        <LOQ              0.10         0.13           (pH)              40/75                     3.86         3.96
pH 4.8          40/75                          0.31         0.53                             60° C.                    3.71         3.86
                60° C.                         1.84         3.03           Formulation 2     25/60       4.26          4.11         4.25
                                                                      45
Formulation 5   25/60        <LOQ              0.40         0.71           (pH)              40/75                     4.04         4.17
pH 5.8          40/75                          2.22         4.35                             60° C.                    3.93         4.10
                60° C.                        16.62        29.13           Formulation 3     25/60       4.85          4.44         4.61
Formulation 6   25/60        <LOQ              0.24         0.42           (pH)              40/75                     4.41         4.54
pH 5.8          40/75                          1.30         2.44                             60° C.                    4.32         4.40
                60° C.                         9.32        16.84         Formulation 4       25/60       4.98          4.93         5.05
Formulation 7   25/60        <LOQ              0.07         0.08      50 (pH)                40/75                     4.89         4.98
pD 5.2          40/75                          0.14         0.24                             60° C.                    4.77         4.77
                60° C.                         0.71         1.07           Formulation 5     25/60       5.87          5.93         6.03
Formulation 8   25/60        <LOQ              0.11         0.14           (pH)              40/75                     5.96         5.96
pD 6.2          40/75                          0.33         0.65                             60° C.                    5.82         5.78
                60° C.                         2.32         4.03         Formulation 6       25/60       5.80          5.69         5.77
                                                                      55 (pH)                40/75                     5.65         5.67
                                                                                             60° C.                    5.54         5.50
   Table 17 illustrates percentage of potency of atropine in               Formulation 7     25/60       5.31          5.10         5.24
the eight formulations.                                                    (pD)              40/75                     5.08         5.15
                                                                                             60° C.                    5.00         4.93
                                                                         Formulation 8       25/60        6.25         5.72         5.88
                            TABLE 17                                  60 (pD)                40/75                     5.74         5.78
                                                                                             60° C.                    5.58         5.50
                              % Potency

Solvent           Condition          t= 0   t= 2 weeks   t= 4 weeks         The italicized values are pD values for a deuterated
Formulation 1      25/60          109.4       110.3        112.8
                                                                         sample. In some embodiments, the pD of the deuterated
pH 4.2             40/75                      111.0        112.4      65 samples are pD=pH„,d,,g+0.4 (Glasoe, et al. "Use of glass
                   60° C.                     112.8        114.8         electrodes to measure acidities in deuterium oxide" J. Physi-
                                                                         cal Chem. 64(1): 188-190 (1960)).


                                                              Appx000350
                                                              Appx000350                    Eyenovia Exhibit
                                                                                            Eyenovia Exhibit 1001,
                                                                                                             1001, Page
                                                                                                                   Page 57 of 67
                                                                                                                        57 of 67
              Case: 23-2402                Document: 15                   Page: 407                   Filed: 02/01/2024


                                                   US 10,888,557 B2
                             83                                                                               84
  At the two lower temperatures, the pH values at t=4 week              6). This was due to the hydrolysis of atropine as the primary
are slightly elevated from the t=2 week time point. These               degradant. It is noted that the activation energy is for the
data were generated using a new glass pH probe. In some                 specific acid catalyzed degradation to tropic acid-the pre-
                                                                   5    dominant degradation product and degradation mechanism
instances, the observed differences are due to the probe
differences or additional variables such as for example, the            operating at pH 5.8 or higher.
age of the standard buffers or temperature gradients within
                                                                                                           TABLE 19
the laboratory environment. The downward pH trend for 10
                                                                            Activation energy for total related substance (RS) and tropic acid
each formulation with increasing temperatures at t=4 week
is consistent with previous data and is consistent with the                                       Total RS                    Tropic Acid

increase in the amount of tropic acid present in the stability                    1               Poor Corr                     Poor Corr
                                                                                  2                 12.2                        Poor Corr
                                                                  15
sample.                                                                           3               Poor Corr                       18.3
                                                                                  4                 16.8                          18.1
                                                                                  5                 19.8                          19.7
       Example 10-Determination of Shelf Life and                                 6                 19.2                          20.0
                  Activation Energy                                               7                 13.2                          15.5
                                                                                  8               Poor Corr                       18.9
                                                                  20            Mean                16.2                     18.4 Kcal/mole
  Activation energy was calculated for the eight formula-                       Stdev                3.4                            1.6
                                                                                RSD                 21%                            9%
tions disclosed in Example 9 and comparison with a refer-
ence standard was made with Formulations 4-7.
                                                                           Table 20 illustrates the rate of RS or tropic acid formation
  Table 19 illustrates the activation energy (Ea) calculation. 25
                                                                        per week at 40° C.
The Ea minimum is 17.8 Kcal/mol, the Ea maximum is 21.3
Kcal/mol, and the Ea mean is 19.5 Kcal/mol. Mean is                                                        TABLE 20
+/-3*stdev. FIGS. 6 and 7 illustrate the poor correlation
                                                                  30                                                       Rate 40° C.   Rate 40° C.
between RS and tropic acid with Formulation 4 and For-                                                                      (total RS      (Tropic
                                                                                               Formulation                   %/wk)       acid %/wk)
mulation 7, respectively. FIGS. 8 and 9 illustrate improved
                                                                        Formulation 5          0.01% Atr Citrate pH 5.8       1.16            1.09
correlation between RS and tropic acid with Formulation 5               Formulation 6          0.025% Atr Citrate pH 5.8      0.72            0.61
                                                                        Formulation 8          0.01% Atr Citrate                              0.163
and Formulation 6, respectively. At a lower pH (e.g. pH 4.8 35                                 pD 6.2 D2O
or lower), there was a poor correlation observed (Formula-
tion 4 and Formulation 7). This was due to a slowed                        Table 21 illustrates the activation energy and predicted
hydrolysis and increased alternative degradation pathways.              shelf life at 30° C. calculated based on Table 20. It is
At a higher pH (e.g., pH 5.8 or higher), an improved or better 40 assumed for the calculation that tropic acid and total RS is
correlation was observed (Formulation 5 and Formulation                 5% (self-life).

                                                                                                 TABLE 21A

                                                                         Rate @30° C. (Total RS %/wk)          Estimated Shelf life @30° C. (mo)

                                                       Formula
                                                       Formulation
                                                                on       Ea min     Ea mean        Ea max     Ea min   Ea mean           Ea max

                                                              5           0.45          0.41        0.38       2.78        3.04             3.33
                                                              6           0.28          0.26        0.23       4.47        4.90             5.37
                                                              8




                                                                                                TABLE 21B

                                                                       Rate @30° C. (Tropic acid %/wk)         Estimated Shelf life @30° C. (mo)


                                                     Formulation        Ea min      Ea mean        Ea max     Ea min       Ea mean        Ea max


                                                          5              0.42           0.39        0.35        2.95         3.24             3.54
                                                          6              0.24           0.22        0.20        5.28         5.78             6.33
                                                          8              0.06           0.06        0.05       19.75        21.64           23.70




                                                       Appx000351
                                                       Appx000351                                 Eyenovia Exhibit
                                                                                                  Eyenovia Exhibit 1001,
                                                                                                                   1001, Page
                                                                                                                         Page 58 of 67
                                                                                                                              58 of 67
                  Case: 23-2402                             Document: 15                Page: 408                 Filed: 02/01/2024


                                                                   US 10,888,557 B2
                                       85                                                                                   86
  At pD 6.2, the deuterated formulation (Formulation 8) has                              The values are % w/v. The formulations were prepared at
a predicted shelf life of close to 2 years at 30° C.                                  100 mL scale in volumetric glassware and filled into LDPE
   Table 22 illustrate the predicted shelf life at temperatures                       eye droppers. In some instances, the pD is calculated as
of 40° C. 30° C., 25° C., and 2-8° C. for Formulations 4-8                            pD=0.4+pH*, in which pH* is the measured or observed pH
                                                                                 5    of the solution formulated in a solution containing deuter-
for total RS and tropic acid, respectively.
                                                                                      ated water.
                                 TABLE 22                                                Table 23B illustrates analysis time points for the formu-
                                                                                      lations listed in Table 23A.
  Stability Prediction                               Temp-
                                                                                 10
 Formu-     Temperature               RS             erature     Tropic Acid                                        TABLE 23B

 lation        (° C.)         weeks    months        (° C.)    weeks    months                      Schedule for atropine sulfate formulation testing

   4            40             16.5          4.1      40         7.7      1.9                   Storage                                   Time Point
                30             40.2         10.1      30        20.0      5.0
                                                                                 15
                25             64.2         16.0      25        33.0      8.3                   Condition                    Initial
                2-8           493.4        123.4      2-8      296.8     74.2                   (Horizontal)                (t = 0)         2 Week      4 Week
   5            40              2.8          0.7      40         0.9      0.2
                30              7.9          2.0      30         2.7      0.7                   25° C./60% RH                 X
                25             13.7          3.4      25         4.6      1.2                   40° C./75% RH
                2-8           151.1         37.8      2-8       50.5     12.6                   60° C.
   6            40              5.8          1.4      40         1.7      0.4    20
                30             15.9          4.0      30         4.8      1.2
                25             27.3          6.8      25         8.4      2.1          Table 24A and Table 24B illustrate atropine sulfate purity
                2-8           281.6         70.4      2-8       95.9     24.0
   7            40             11.5          2.9      40        16.9      4.2
                                                                                    data associated with the atropine sulfate formulations. Purity
                30             23.2          5.8      30        38.4      9.6       is indicated as percentage of area under the curve. The T &
                25             33.4          8.4      25        59.1     14.8    25 1, indicate the high or low concentration of atropine sulfate
                2-8           165.7         41.4      2-8      388.2     97.1       monohydrate (0.01% and 0.025%). The A & C indicate the
   8            40                                    40         6.2      1.6
                30                                    30        17.0      4.3
                                                                                    buffer species used, acetic acid and citric acid respectively.
                25                                    25        28.9      7.2
                2-8                                   2-8      287.1     71.8                                       TABLE 24A
                                                                                 30
                                                                                                Atropine Sulfate Purity as Area-% for H2O Formulations

          Example 11          Additional Formulation Stability                        Solvent                   Condition         t= 0     t= 2 weeks t= 4 weeks
                                Comparison
                                                                                      Formulation 3              25/60            98.16       98.16      98.45
                                                                                 35   IA H2O pH 4.8              40/75                        97.98      97.35
   Atropine sulfate monohydrate (MP Bio; Lot Number                                                              60° C.                       95.94      94.65
7825K) and tropic acid (Sigma Aldrich; Lot Number              Formulation 5                                     25/60           98.16        97.92      97.54
                                                               IC H2O pH 5.8                                     40/75                        95.88      93.51
STBD6457V) were used for this experiment. Thirteen for-                                                          60° C.                       80.94      66.83
mulations illustrated in Table 23A were analyzed. Formu-       Formulation 10                                    25/60           98.66        96.67      95.81
                                                               IC H2O pH 6.4                                     40/75                        91.07      85.27
lations 1-8 had been analyzed at t=0, 2 weeks, 4 weeks, and 40                                                   60° C.                       59.77      42.87
8 weeks. Formulations 9-13 had been analyzed at t=0, 2         Formulation 11                                    25/60           99.47        97.87      96.69
                                                               1C(2x)
                                                                C(2x) H2O pH 6.4                                 40/75                        90.97      84.26
weeks, and 4 weeks. The pH values reported herein are the                                                        60° C.                       54.96      34.40
measured pH values obtained using the Thermo Scientific,       Formulation 13                                    25/60           97.21        95.42      93.24
Orion Dual Star pH/ISE benchtop pH meter and the Orion 45 IC H2O pH 6.8                                          40/75                        83.05      73.00
                                                                                                                 60° C.                       43.99      27.50
Double Junction Micro pH probe S/N S01-18520
                                       SO1-18520 calibrated
with H2O based standards.

                                                  TABLE 23A
                                      Atropine sulfate Formulations

              Atropine           Benzalkonium
               Sulfate             Chloride   Sodium           Acetic   Citric
 Formulation Monohydrate            (BAK)     Chloride         Acid     Acid pH/pD     Aqueous

        1             0.010                0.01        0.90    0.01          4.2      SWFI
        2             0.025                0.01        0.90    0.01          4.2      SWFI
        3             0.010                0.01        0.90    0.01          4.8      SWFI
        4             0.025                0.01        0.90    0.01          4.8      SWFI
        5             0.010                0.01        0.90             0.04 5.8      SWFI
        6             0.025                0.01        0.90             0.04 5.8      SWFI
        7             0.010                0.01        0.90     0.01         5.2 (pD) D2O
        8             0.010                0.01        0.90             0.04 6.2 (pD) D2O
        9             0.010                            0.90             0.04 6.8 (pD) D2O
       10             0.010                            0.90             0.04 6.4      H2O (control)
       11             0.010                            0.90             0.08 6.4      H2O (control)
       12             0.010                            0.90             0.04 7.2 (pD) D2O
       13             0.010                            0.90             0.04 6.8      H2O (control)




                                                                        Appx000352
                                                                        Appx000352                             Eyenovia Exhibit
                                                                                                               Eyenovia Exhibit 1001,
                                                                                                                                1001, Page
                                                                                                                                      Page 59 of 67
                                                                                                                                           59 of 67
                  Case: 23-2402                       Document: 15                  Page: 409                 Filed: 02/01/2024


                                                                US 10,888,557 B2
                                     87                                                                                 88
                               TABLE 24B                                                                          TABLE 26A
          Atropine Sulfate Purity as Area-% for D,O Formulations
                                                                                                   Percentage of potency for H2O Formulations
Solvent              Condition       t= 0        t= 2 weeks     t= 4 weeks
                                                                             5
                                                                                  Solvent                   Condition        t= 0      t= 2 weeks t= 4 weeks
Formulation 7         25/60          98.93         99.07          98.39
IA D2O pD 5.2         40/75                        98.51          97.55
                      60° C.                       96.70          94.01           Formulation 3               25/60          106.3       108.0       109.6
Formulation 8         25/60          98.93         98.95          98.51
                                                                                  IA H2O pH 4.8               40/75                      108.1       110.0
1 C D2O pD 6.2        40/75                        98.53          97.44
                      60° C.                       95.97          92.72      10                               60° C.                     108.0       109.9
Formulation 9         25/60          99.29         98.42          98.07           Formulation 5               25/60        105.0         105.9       107.1
1 C D2O pD 6.8        40/75                        95.20          93.22
                                                                                  IC H2O pH 5.8               40/75                      103.8       103.5
                      60° C.                       75.17          65.97
Formulation 12        25/60          98.53         97.17          95.99                                       60° C.                      90.2        77.7
1 C D2O pD 7.2        40/75                        90.75          84.64           Formulation 10              25/60          101.7       100.0        98.0
                      60° C.                       56.78          46.05
                                                                             15   IC H2O pH 6.4               40/75                       89.4        87.0
                                                                                                              60° C.                      63.7        45.7

   Table 25A and Table 25B illustrate tropic acid formation     Formulation 11                                25/60           97.5        96.1        94.3

associated with the atropine sulfate formulations. Tropic       1,C(2x) H2O pH 6.4                            40/75                       89.4        82.0

acid is a degradant of atropine sulfate, and is indicated as 20                                               60° C.                      55.7        35.20
percentage of area under the curve. LOQ was found to be         Formulation 13                                25/60           99.4        96.9        94.1
0.05% for the RP-HPLC method. The T & 1, indicate the           IC H2O pH 6.8                                 40/75                       85.0        74.0
high or low concentration of atropine sulfate monohydrate                                                     60° C.                      46.4        29.8
(0.01% and 0.025%). The A & C indicate the buffer species
used, acetic acid and citric acid, respectively.             25


                               TABLE 25A                                                                          TABLE 26B
                                                                                                   Percentage of potency for D,O Formulations
               Tropic Acid as Area-% for H2O Formulations
                                                                             30 Solvent                 Condition       t= 0         t= 2 weeks   t= 4 weeks
Solvent                  Condition        t= 0     t = 2 weeks t = 4 weeks
                                                                                  Formulation 7          25/60          107.3          111.3        112.9
Formulation 3              25/60       <LOQ            0.12        0.05
                                                                                  IA D2O pD 5.2          40/75                         111.6        113.5
IA H2O pH 4.8              40/75                       0.19        0.27
                                                                                                         60° C.                        111.8        113.5
                           60° C.                      0.90        1.58
                                                                                  Formulation 8          25/60           99.0          103.0        105.0
Formulation 5              25/60       <LOQ            0.40        0.71
                                                                                  1C D2O pD 6.2          40/75                         104.9        104.7
1 C H2O pH 5.8             40/75                       2.22        4.35      35
                                                                                                         60° C.                        101.6        103.0
                           60° C.                     16.62       29.13
                                                                                  Formulation 9          25/60          101.4           99.9        100.1
Formulation 10             25/60          0.74         1.90        3.21
                                                                                  IC D2O pD 6.8          40/75                          97.4         93.2
1 C H2O pH 6.4             40/75                       7.61       13.49
                                                                                                         60° C.                         78.7         68.9
                           60° C.                     37.44       54.06
                                                                                  Formulation 12         25/60          104.9          103.5        101.6
Formulation 11             25/60          0.09         1.31        2.64
                                                                                  IC D2O pD 7.2          40/75                          96.9         89.1
1 C(2x) H2O pH 6.4         40/75                       7.61       14.68      40                          60° C.                         62.5         50.9
                           60° C.                     42.43       62.23
Formulation 13             25/60          2.21         3.66        6.11
1 C H2O pH 6.8             40/75                      15.47       25.80
                           60° C.                     53.24       69.34           Table 27A and Table 27B illustrate the stability of pH or
                                                                                pD for the atropine sulfate formulations. The T & 1, indicate
                                                                             45 the high or low concentration of atropine sulfate monohy-

                               TABLE 25B                                        drate (0.01% and 0.025%). The A & C indicate the buffer
                                                                                species used, acetic acid and citric acid respectively.
               Tropic Acid as Area-% for D,O Formulations
                                                                                                                  TABLE 27A
Solvent              Condition       t =0        t = 2 weeks   t = 4 weeks   50
                                                                                                      Stability of pH for H2O Formulations
Formulation 7         25/60          <LOQ           0.07          0.08
IA D2O pD 5.2         40/75                         0.14          0.24
                      60° C.                        0.71          1.07            Solvent                   Condition        t= 0      t= 2 weeks t= 4 weeks
Formulation 8         25/60          <LOQ           0.11          0.14
                                                                                Formulation 3                 25/60          4.85         4.44        4.61
1 C D2O pD 6.2        40/75                         0.33          0.65
                      60° C.                        2.32          4.03       55 IA H2O pH 4.8                 40/75                       4.41        4.54
                                                                                                              60° C.                      4.32        4.40
Formulation 9         25/60          0.06           0.55          1.06
                                                                                  Formulation 5               25/60          5.87         5.93        6.03
1 C D2O pD 6.8        40/75                         3.16          6.29
                                                                                  IC H2O pH 5.8               40/75                       5.96        5.96
                      60° C.                       21.09         29.25
                                                                                                              60° C.                      5.82        5.78
Formulation 12        25/60          0.42           1.35          2.62
                                                                                  Formulation 10              25/60          6.43         6.41        6.46
1 C D2O pD 7.2        40/75                         7.27         13.53
                                                                                  IC H2O pH 6.4               40/75                       6.62        6.67
                      60° C.                       38.58         48.15       60
                                                                                                              60° C.                      6.01        5.92
                                                                                  Formulation 11              25/60          6.44         6.47        6.72
                                                                                  1C (2x) H2O pH 6.4          40/75                       6.66        6.61
   Table 26A and Table 26B illustrate the percentage of                                                       60° C.                      6.27        6.23
potency of atropine in the formulations. The T & 1, indicate Formulation 13                                   25/60          6.77         6.91        6.91
                                                             IC H2O pH 6.8                                    40/75                       6.65        6.62
the high or low concentration of atropine sulfate monohy- 65                                                  60° C.                      6.30        6.19
drate (0.01% and 0.025%). The A & C indicate the buffer
species used, acetic acid and citric acid respectively.


                                                                    Appx000353
                                                                    Appx000353                            Eyenovia Exhibit
                                                                                                          Eyenovia Exhibit 1001,
                                                                                                                           1001, Page
                                                                                                                                 Page 60 of 67
                                                                                                                                      60 of 67
                 Case: 23-2402                        Document: 15                      Page: 410                Filed: 02/01/2024


                                                                   US 10,888,557 B2
                                   89                                                                                    90
                              TABLE 27B                                                                       TABLE 29-continued
                  Stability of pD for D,O Formulations                                                          Estimated Shelf Life

Solvent             Condition       t =0         t = 2 weeks       t = 4 weeks                                               Estimated Shelf life/mo
                                                                                 5
Formulation 7        25/60          5.31            5.10              5.24                                    Total related substances %              Tropic acid %
IA D2O pD 5.2        40/75                          5.08              5.15                                           (limit = 8%)                      (limit = 5%)
                     60° C.                         5.00              4.93
Formulation 8        25/60          6.25            5.72              5.88            Formulation               8° C.            25° C.              8° C.      25° C.
1IC
  C D2O pD 6.2       40/75                          5.74              5.78
                     60° C.                         5.58              5.50       10 0.01% w/v Atr              158                   22              369.8       38
Formulation 9        25/60          6.76            6.80              6.81          0.04% w/v Citrate
IC D2O pD 6.8        40/75                          6.78              6.86          O.9%
                                                                                    0.9% w/v NaCI
                     60° C.                         6.45              6.24          0.01% w/v BAK
Formulation 12       25/60          7.25            7.18              7.26          pD 6.2 D2O
1C
IC D2O pD 7.2        40/75                          7.14              7.15          (Formulation 8)
                     60° C.                         6.52              6.36          0.01% w/v Atr               37                   5.2              54          5.5
                                                                                 15
                                                                                    0.04% w/v Citrate
                                                                                    0.9% w/v NaCI
                                                                                    0.01% w/v BAK
          Example 12. Determination of Shelf Life and                               pH 5.8 H2O
            Activation Energy for Atropine Sulfate                                  (Formulation 5)
                                                                                    0.01% Atr                   13.6                 2.6
                 Formulations of Example 11                                      20 0.9% w/v NaCI
                                                                                    pH 5.9 H2O
   Activation energy was calculated for the atropine sulfate                        extemporaneous
formulations disclosed in Example 11. Specifically, activa-                         preparation

tion energies were calculated from the total % of related
substances (RS) at 40° C. and 60° C. (2 point calculations) 25   Table 30 illustrates the predicted shelf life at temperatures
and from tropic acid formation at 40° C. and 60° C. (2 point   of 40° C., 30° C., 25° C., and 2-8° C. for Formulations 2-8
calculations). These values were then averaged. Table 28       for total RS and tropic acid, respectively.
illustrates the activation energy calculation. Table 29 illus-
trates estimated shelf-lifes from the 40° C. rate of formation                          TABLE 30
of % RS and tropic acid, respectively. FIG. 10 illustrates 30
estimated shelf lifes for D2O and H2O formulations.              Stability Prediction                  Temp-

                                                                                       Formu-   Temperature             RS                 erature         Tropic Acid
                                TABLE 28
                                                                                       lation       (° C.)     weeks     months            (° C.)     weeks      months
                           Activation Energy                                     35
                                                                                         2           40          64.5         16.1          40
   Atropine                                                                                          30         153.2         38.3          30
 Formulations                 Total RS                      Tropic Acid                              25         241.2         60.3          25
                                                                                                     2-8       1747.9        437.0          2-8
       7                      14                                 19                      3           40          31.1          7.8          40          99.5       24.9
       3                      16                                 17                                  30          73.9         18.5          30         268.3       67.1
       8                      20                                 21              40                  25         116.3         29.1          25         451.8      113.0
       5                      14                               Poor Corr                             2-8        842.9        210.7          2-8       4382.0     1095.5
       6                      15                                 16                      4           40          30.7          7.7          40          42.1       10.5
     Mean                     16.3                               18.7                                30          73.0         18.2          30         113.7       28.4
     Stdev                     2.68                               1.90                               25         114.9         28.7          25         191.5       47.9
     RSD                      16%                                10%                                 2-8        832.6        208.1          2-8       1857.0      464.2
   Poor Corr:    One or more curve had R2 < 0.95                                 45      5           40           5.5          1.4          40           4.9        1.2
                                                                                                     30          13.1          3.3          30          13.2        3.3
                                                                                                     25          20.6          5.2          25          22.2        5.5
                                                                                                     2-8        149.3         37.3          2-8        215.0       53.8
                                                                                         6           40          10.7          2.7          40           8.8        2.2
                                TABLE 29                                                             30          25.5          6.4          30          23.7        5.9
                                                                                 50                  25          40.1         10.0          25          39.8       10.0
                          Estimated Shelf Life
                                                                                                     2-8        290.5         72.6          2-8        386.5       96.6
                                                                                         7           40          27.9          7.0          40         129.6       32.4
                                    Estimated Shelf life/mo
                                                                                                     30          66.4         16.6          30         349.6       87.4
                                                                                                     25         104.5         26.1          25         588.7      147.2
                       Total related substances %           Tropic acid %
                                                                                                     2-8        757.3        189.3          2-8       5709.4     1427.4
                              (limit = 8%)                   (limit = 5%)
                                                                                         8           40          23.3          5.8          40          33.6        8.4
                                                                                 55                  30          55.3         13.8          30          90.6       22.6
Formulation              8° C.             25° C.          8° C.      25° C.
                                                                                                     25          87.2         21.8          25         152.5       38.1
0.01% w/v Atr             189               26             1427        147                           2-8        631.6        157.9          2-8       1479.2      369.8
0.01% w/v Acetate
0.9% w/v NaCI
0.01% w/v BAK
pD 5.2 D2O                                                                       60             Example 13 Forced Degradation Study of
(Formulation 7)                                                                                  Atropine Formulation 8 in D2O and H2O
0.01% w/v Atr             211               29             1095        113                                    Conditions
0.01% w/v Acetate
0.9% w/v NaCl
0.01% w/v BAK
                                                                                        Atropine sulfate monohydrate (MP Bio; Lot Number
pH 4.8 H2O                                                                       65   7825K) was used for this experiment. A correction factor of
(Formulation 3)                                                                       83.3% is used to quantitate amount of free Atropine. Table
                                                                                      31 shows the D2O and H2O formulation compositions.


                                                                       Appx000354
                                                                       Appx000354                            Eyenovia Exhibit
                                                                                                             Eyenovia Exhibit 1001,
                                                                                                                              1001, Page
                                                                                                                                    Page 61 of 67
                                                                                                                                         61 of 67
              Case: 23-2402                     Document: 15                        Page: 411                    Filed: 02/01/2024


                                                            US 10,888,557 B2
                              91                                                                                           92
                          TABLE 31                                                samples were incubated alongside a vehicle control contain-
                                                                                  ing BAK. For the light condition, a foil wrapped Formula-
                   Formulation 8 Compositions                                     tion 8 control and foil wrapped vehicle control were pre-
              [Free Atropine]                                                     pared to understand if extraneous degradation, such as heat
Formulation       (µg/mL)     Composition                                    5    in the light box, were to occur. A RP-HPLC method was
                                                                                  used to carry out the analysis. Mass balance (the correlation
8-D2O              83.3      0.01% (w/v) Benzalkonium Chloride,
                             0.9% (w/v) NaCI, 0.208 mM Citric Acid                of potency and purity by area-%) was also evaluated using
                             in D2O, pD 6.2                                       Equation I.
8-H2O              83.3      0.01% (w/v) Benzalkonium Chloride,
                             0.9% (w/v) NaCI, 0.208 mM Citric Acid       10
                             in H2O, pH 5.8
                                                                                                                  (Potency,„;„ + (100 -Purityfru"))
                                                                                               Mass Balance —
                                                                                                                   (Potencyfi,.
                                                                                                                   (Potencyfi„,,d/ + (100 —Purityfr.d)
  D2O-based Formulation 8 and H2O-based Formulation 8
were subjected to acid, base, light, heat and oxidative stress.
Approximately 5-20% degradation was targeted for all stress 15    The forced degradation results were processed at 210 nm,
conditions to produce sufficient degradation while avoiding     and are presented in Tables 32A and 32B for H2O and D2O
secondary degradation. At each condition, Formulation 8         formulations, respectively.

                                                                                                     TABLE 32A
                                                                                 Forced Degradation Results for Formulation 8—H2O

                                                                                                                                               Main
                                                                                                Recovery    Purity Peak     Peak               Peak
                                                                                                  (vs.       (vs.   Purity Purity            Spectrally     Mass
                                                          Stress Condition       Duration       Control)   Control) Angle Threshold            Pure?      Balance

                                                    Control      2-8° C.,        3 day           100.9      100.0         0.412    0.657
                                                                 foil
                                                                 wrapped
                                                    Acid         Ambient,        23 day           -7.9          -5.9      0.301    0.513         Y        101.8%
                                                    (1.0N        foil
                                                    HCI)         wrapped
                                                    Base         Ambient,        4 hr             -5.2          -6.6      0.417    0.725         Y         98.7%
                                                    (0.001N      foil            6 hr             -7.3          -7.9      0.462    0.741         Y         99.5%
                                                    NaOH)        wrapped
                                                    Heat         60° C.,         7 day           -12.1          -11.9     0.428    0.478         Y        100.3%
                                                                 foil            10 day          -18.4          -18.4     0.476    0.752         Y        100.0%
                                                                 wrapped
                                                    Light        Ambient,        1.1             -10.1          -7.6      0.478    0.831         Y        102.5%
                                                                 clear           million
                                                                 glass vial      lux hours
                                                                                 (10 day)
                                                                                 1.5             -19.1      -12.2         0.597    0.911         Y        107.1%
                                                                                 million
                                                                                 lux hours
                                                                                 (14 day)
                                                    Light        Ambient,        1.1              -0.4          -0.5      0.411    0.665         Y         99.9%
                                                    Control      foil            million
                                                                 wrapped         lux hours
                                                                                 (10 day)
                                                                                 1.5              -3.0          -0.3      0.388    0.592         Y        102.8%
                                                                                 million
                                                                                 lux hours
                                                                                 (14 day)
                                                    Oxidation    Ambient,        3 day           -16.0       -7.9         0.532    0.791         Y        108.8%
                                                    (3%          foil            4 day           -28.0      -13.9         0.473    0.777         Y        115.7%
                                                    H2O2)        wrapped         7 day           -29.4      -13.5         0.705    0.967         Y        118.9%




                                                                                                 TABLE 32B
                                                                             Forced Degradation Results for Formulation 8-D,O

                                                                                                                                            Main
                                                                                            Recovery Purity             Peak        Peak    Peak
                                                                                              (vs.     (vs.             Purity     Purity Spectrally        Mass
                                                   Stress Condition      Duration           Control) Control)           Angle     Threshold Pure?         Balance

                                                Control      2-8° C.,    4 day               106.7       98.3           0.361      0.659    Y
                                                             foil
                                                             wrapped
                                                Acid         Ambient,    17 day               -6.9       -5.5           0.250      0.469    Y              97.9%
                                                (1.0N        foil
                                                HCI)         wrapped




                                                                Appx000355
                                                                Appx000355                                 Eyenovia Exhibit
                                                                                                           Eyenovia Exhibit 1001,
                                                                                                                            1001, Page
                                                                                                                                  Page 62 of 67
                                                                                                                                       62 of 67
                  Case: 23-2402                    Document: 15                  Page: 412                  Filed: 02/01/2024


                                                          US 10,888,557 B2
                                     93                                                                             94
                                      TABLE 32B-continued
                          Forced Degradation Results for Formulation 8-D,O

                                                                                Main
                                      Recovery  Purity    Peak          Peak    Peak
                                        (vs.     (vs.     Purity       Purity Spectrally          Mass
   Stress Condition      Duration     Control) Control)   Angle       Threshold Pure?           Balance

Base        Ambient,     5 hr              -2.3    -2.2   0.495         0.849   Y                100.0%
(0.001N     foil
NaOH)       wrapped
Base        Ambient,     30 min            -9.7    -9.6   0.601         0.894   Y                100.2%
(0.005N     foil
NaOH)       wrapped
Heat        60° C.,      17 day           -18.1   -16.9   0.281         0.550   Y                101.1%
            foil
            wrapped
Light       Ambient,     0.44             -14.1    -4.5   0.463         0.733   Y                109.6%
            clear        million
            glass vial   lux horns
                         (4 day)
                         0.87             -24.2   -11.3   0.528         0.846   Y                113.8%
                         million
                         lux hours
                         (8 day)
Light       Ambient,     0.44             -0.2      1.7   0.354         0.640   Y                101.8%
Control     foil         million
(foil       wrapped      lux hours
covered)                 (10 day)
                         0.87               0.0     1.4   0.330         0.599   Y                101.3%
                         million
                         lux hours
                         (8 day)
Oxidation   Ambient,     4 day            -10.6    -3.0   0.439         0.720   Y                107.5%
(3%         foil         8 day            -17.9    -8.3   0.385         0.672   Y                109.9%
H2O2)       wrapped




        Example 14       Formulation 8 Stability Comparison     acid level, total purity, and pD at storage conditions of 25°
                                                                C. with 60% humidity, 40° C. with 75% humidity, and 60°
   The long-term stability of atropine sulfate formulation 8 35
                                                                C. As discussed above, pD=PD„,,,g+0.4 (Glasoe, et al.
in D2O (see Table 31 for formulation composition) was
analyzed at three different storage conditions. Table 33        "Use of glass electrodes to measure acidities in deuterium
illustrates the stability criteria: appearance, potency, tropic oxide" J. Physical Chem. 64(1): 188-190 (1960)).

                                                                                                       TABLE 33

                                                                                                 Formulation 8 Stability

                                                          Parameter                 Initial 2 weeks 4 weeks 8 weeks        6 months 9 months2 12 months'

                                                                                            Storage Condition: 25° C./60% RH

                                                          Appearance                            Clear Colorless Solution Free of Particulates

                                                          Potency (Assay)        99.2% 103.0% 105.0%             96.0%
                                                                                                                 96,0%       99.7%       97.7%        101.7%
                                                          Tropic Acid            0.05%  0.11%  0.14%             0.23%       0.55%       0.91%         1.24%
                                                          Level
                                                          Total Purity'          98.9%        98.9%     98.5%    98.1%       99.2%       98.4%         97.8%
                                                          pD                         6.3      5.7      5.9      5.7             5.8         5.7            5.8
                                                                                (pH 5.9) (pH 5.3) (pH 5.5) (pH 5.3)        (pH 5.4)    (pH 5.3)       (pH 5.4)


                                                                                            Storage Condition: 40° C./75% RH


                                                          Appearance                            Clear Colorless Solution Free of Particulates


                                                          Potency (Assay)        99.2% 104.8% 104.7%             94.9%       96.6%       94.2%         95.6%
                                                          Tropic Acid            0.05%        0.34%     0.65%    1.24%       3.32%       5.05%          6.71%
                                                          Level
                                                                Pu ty'
                                                          Total Purity'          98.9%        98.5%     97.5%    96.6%       96.3%       92.5%         90.5%
                                                          pD                          6.3        5.7      5.8       5.6         5.7             5.5        5.7
                                                                                (pH 5.9) (pH 5.3) (pH 5.4) (pH 5.2)        (pH 5.3)    (pH 5.1)       (pH 5.3)




                                                               Appx000356
                                                               Appx000356                               Eyenovia Exhibit
                                                                                                        Eyenovia Exhibit 1001,
                                                                                                                         1001, Page
                                                                                                                               Page 63 of 67
                                                                                                                                    63 of 67
                     Case: 23-2402                             Document: 15                           Page: 413         Filed: 02/01/2024


                                                                           US 10,888,557 B2
                                           95                                                                               96
                                         TABLE 33-continued
                                           Formulation 8 Stability

Parameter                   Initial 2 weeks 4 weeks 8 weeks               6 months 9 months2 12 months3

                                          Storage Condition: 60° C.

Appearance                                Clear Colorless Solution Free of Particulates

Potency (Assay) i          99.2% 101.6% 103.0%                 92.9%        100.6%         104.0%        115.9%
Tropic Acid                0.05%  2.33%  4.02%                 6.01%        10.33%         10.87%        12.97%
Level
Total Purity'              98.9%    96.0%    92.8%    88.8%                  85.5%          78.0%         72.4%
pD                            6.3      5.6      5.5      5.2                    5.1            4.9           5.0
                         (pH 5.9) (pH 5.2) (pH 5.1) (pH 4.8)               (pH 4.7)       (pH 4.5)      (pH 4.6)

'Slight variability is observed in the total purity results due to sensitivity differences from one HPLC system to
the next.
2Results reported are from a second aliquot taken from the original assay eyedropper.
; Results reported are from an aliquot taken from the original assay eyedropper.
4A growing unknown related substance peak is observed to co-elute with the main peak and is included in the
Atropine Sulfate potency result due to a lack of a clear inflection point between the two species upon integration.


                                                                                             20
   A comparison of Formula 8 in H2O and D2O under three             a latex-made facemask was held in place by a rubber-band
storage conditions is further illustrated in FIG. 11. FIG. 11A      around the head of animals, leaving both eyes, the nose,
shows the presence of tropic acid degradant at 25° C. with          mouth and ears freely exposed. A-4.00 D lens is glued onto
60% humidity. By week 8, about 1.45% of tropic acid was             a plastic lens frame. The lens frame is then attached to the
observed in the H2O formulation while only 0.23% of tropic 25 facemask around one eye by a fabric hook-and-loop fastener
acid was observed in the D2O formulation. Similarly, at 40°         after the optical center of the lens was aligned with the pupil
C. with 75% humidity storage condition (FIG. 11B), 8.34%            center. The lens is detached and cleaned on both sides with
of tropic acid was observed in the H2O formulation while            a water-wetted gauze at least once daily followed by re-
only 1.24% of tropic acid was observed in the D2O formu-            attachment to the facemask. All the animals are maintained
lation by week 8. At 60° C. storage condition (FIG. 11C),
                                                                 30 on a cycle of 12-h illumination (500 Lux) and 12-h darkness
42.8% of tropic acid was observed in the H2O formulation
                                                                    during the experimental period
while only 6.01% of tropic acid was observed in the D2O
formulation by week 8.                                                 A cohort of guinea pigs at age of 3 weeks are randomly
                                                                    assigned to FDM (a facemask worn monocularly) or defo-
          Example 15 Effect of pH on Ophthalmic                     cus-induced myopia (a -4.00 D lens worn monocularly) and
                  Acceptance in Guinea Pigs                      35 control groups. The FDM groups were treated with the
                                                                    ophthalmic aqueous formulation, the ophthalmic carrier
   A cohort of guinea pigs is administered 50 µl, of oph-           (without the opthalmic agent), or FDM-only. The defocus-
thalmic formulations having different pH values described           induced myopia groups were treated with the ophthalmic
herein. For example, ophthalmic formulations comprising
                                                                    aqueous formulation, the ophthalmic carrier (without the
H2O or deuterated water (e.g., D2O) are administered to the
                                                                 40 opthalmic agent), or defocus-only. The control groups were
animals. Animal behavior is recorded at predetermined time
intervals to evaluate the acceptance of the ophthalmic for-         treated with the ophthalmic aqueous formulation, the oph-
mulations                                                           thalmic carrier (without the opthalmic agent), or no treat-
                                                                    ment. Ocular biometric parameters are measured in both
       Example 16 In Vivo Rabbit Eye Irritation Test                eyes of individual animals before and at 11 days of treatment
                                                                 45    Biometric parameters (e.g. refraction, corneal curvature,
   The exemplary compositions disclosed herein are sub-             and axial components of the eye) are measured by an
jected to rabbit eye irritation test to evaluate their safety       optometrist, orthoptist, or ophthamologist with help from an
profile. The test composition are tested for eye irritation test
                                                                    animal care assistant during the light cycle (daytime) after
in New Zealand Rabbits (see for example Abraham M H, et
                                                                    removal of the facemask or lens. The optometrist, orthoptist,
al., Draize rabbit eye test compatibility with eye irritation
thresholds in humans: a quantitative structure-activity rela- so 50 or ophthamologist is masked in regard to the treatment
tionship analysis. Toxicol Sci. 2003 December; 76(2):384-           conditions for each animal.
91. Epub 2003 Sep. 26; see also Gettings S D et al., A                 Refraction is measured by retinoscopy after the pupil is
comparison of low volume, Draize and in vitro eye irritation        completely   dilated by topical administration of 1% cyclo-
test data. III. Surfactant-based formulations. Food Chem            pentolate hydrochloride. The results of retinoscopy are
Toxicol. 1998 March; 36(3):209-31). The study involves 55 recorded as the mean value of the horizontal and vertical
single ocular administration into the right eye and the same        meridians.
volume of its placebo in the left eye of each of the three             Corneal curvature is measured with a keratometer modi-
rabbits. Rabbits are examined immediately and after instil-         fied by attachment of an +8 D lens onto the anterior surface
lation of the compositions for 4, 24, 48 and 72 hours post          of the keratometer. A group of stainless steel balls with
instillation to note the signs/symptoms of eye irritation, if 60 diameters from 5.5 to 11.0 mm are measured by the modified
any. The test compositions show no sign of irritancy in             keratometer. Three readings are recorded for each measure-
cornea, iris and conjunctivae of the rabbit eyes.                   ment to provide a mean result. The radius of corneal
        Example 17 In Vivo Testing of Ophthalmic                    curvature is then deduced from the readings on the balls with
            Aqueous Formulation in Guinea Pigs                      known radii.
                                                                 65    A-scan ultrasonagraph is used to measure axial compo-
   Focus deprivation myopia (FDM) is achieved using a               nents of the eye (lens thickness and vitreous length and axial
latex shield to cover one eye. For defocus-induced myopia,          length). The conducting velocity was 1,723.3 m/s for mea-


                                                                                 Appx000357
                                                                                 Appx000357                           Eyenovia Exhibit
                                                                                                                      Eyenovia Exhibit 1001,
                                                                                                                                       1001, Page
                                                                                                                                             Page 64 of 67
                                                                                                                                                  64 of 67
              Case: 23-2402                Document: 15               Page: 414           Filed: 02/01/2024


                                                   US 10,888,557 B2
                             97                                                                  98
surement of the lens thickness and 1,540 m/s for measure-           abling mucus penetrating agent was milled with grinding
ment of the vitreous length as described previously. Each of        medium until particle size was reduced to approximately
the axial components is calculated as the mean of 10                200 nm with a polydispersity index less than 0.15 as
repeated measurements.                                              measured by dynamic light scattering. Additional agents
                                                                5   such as preservatives are also added during the milling
       Example 18 Safety and Efficacy Studies of                    procedure. Subsequently, the atropine-MPP composition are
           Ophthalmic Aqueous Formulation                           be stored at temperatures of between about 15° C. and about
                                                                    25° C.
   A clinical trial is performed to investigate the efficacy and
safety of ophthalmic aqueous formulations described herein 10            Example 21 Atropine Sulfate-Mucus Penetrating
in patents with myopia. In some instances, the study is                                 Particle Composition
open-label, single blind, or double blind study. Patient
selection criteria include myopic refraction of at least 1.0D          A 0.01% atropine sulfate-mucus penetrating particle com-
in both eyes, and additional factors such as astigmatism, a         position was prepared utilizing a milling procedure. An
documented myopic progression, age, sex, and/or health 15 aqueous dispersion containing atropine particles and an
conditions.                                                         MPP-enabling mucus penetrating agent was milled with
   The patients are randomized to receive 0.05%, 0.01%, or          grinding medium until particle size was reduced to approxi-
0.001 atropine aqueous formulation formulated in either             mately 200 nm with a polydispersity index less than 0.15 as
H2O or deuterated water (e.g., D2O) once nightly in both            measured by dynamic light scattering. Additional agents
eyes. Allocation ratio in some instances is defined based the 20 such as preservatives are also be added during the milling
patient population.                                                 procedure. Subsequently, the atropine-MPP composition are
   The patients are evaluated on day 0 (baseline), day 14, day      be stored at temperatures of between about 15° C. and about
30, and then at 2, 3, 4, 5, 6, 8, 10, 12, 18, 20, 24, and 36        25° C.
months. At each visit, best-corrected distance log Mar visual          According to another aspect of the disclosure, described
acuity (BCVA) is assessed by an optometrist, orthoptist, or 25 herein is an ophthalmic composition that comprises from
ophthamologist using the Early Treatment Diabetic Ret-              about 0.001 wt % to about 0.05 wt % of a muscarinic
inopathy study chart. Near visual acuity is assessed using          antagonist and water, at a pH of from about 3.8 to about 7.5.
best-corrected distance spectable correction with a reduced            In some instances, the muscarinic antagonist comprises
log Mar reading chart placed at 40 cm under well-lit                atropine, atropine sulfate, noratropine, atropine-N-oxide,
conditions. The near point of accommodation (NPA) is 30 tropine, tropic acid, hyoscine, scopolomine, tropicamide,
measured using a RAF rule using best-corrected distance             cyclopentolate, pirenzapine, homatropine, or a combination
spectable correction. Patients are instructed to move the           thereof. In some cases, the muscarinic antagonist is atropine.
target inwards till the N5 print becomes slightly blurred and       In some cases, the muscarinic antagonist is atropine sulfate.
then outwards till it just becomes clear. Accommodation                In some instances, the ophthalmic composition comprises
amplitude is calculated as the inverse of NPA. Mesopic pupil 35 one of: at least about 80%, at least about 85%, at least about
size is measured with Procyon 3000 pupillometer. Photopic           90%, at least about 93%, at least about 95%, at least about
pupil size is measured using the Neuroptics pupillometer.           97%, at least about 98%, or at least about 99% of the
   Cycloplegic autorefraction is determined 30 minutes after        muscarinic antagonist based on initial concentration after
3 drops of cyclopentolate 1% are administered at 5 minutes          extended period of time under storage condition.
apart using a Canon RK-F1 autorefractor. A Zeiss IOL 40                In some instances, the ophthalmic composition has a pH
Master, a non-contact partial coherence interferometry, is          of one of: less than about 7.3, less than about 7.2, less than
used to measure the ocular axial length.                            about 7.1, less than about 7, less than about 6.8, less than
   The primary outcome is myopia progression over the time          about 6.5, less than about 6.4, less than about 6.3, less than
period of the study. Safety is assessed by adverse events           about 6.2, less than about 6.1, less than about 6, less than
including allergic reactions, irritation, or development of 45 about 5.9, less than about 5.8, less than about 5.2, less than
blurring of vision in one or both eyes.                             about 4.8, or less than about 4.2 after extended period of
                                                                    time under storage condition.
         Example 19 Preparation of an Ointment                         In some instances, the ophthalmic composition further has
          Formulation Containing Atropine Sulfate                   a potency of one of: at least 80%, at least 85%, at least 90%,
                                                                 so at least 93%, at least 95%, at least 97%, at least 98%, or at
   Atropine sulfate is mixed with the dispersing agent (e.g.        least 99% after extended period of time under storage
polyethyleneglycol) under heating and sonication and this           condition.
mixture is further thoroughly mixed with a molten ointment             In some instances, the extended period of time is one of:
base (e.g. a mixture of wool wax, white petrolatum, and             about 1 week, about 2 weeks, about 3 weeks, about 1 month,
liquid paraffin). The mixture is placed in a pressure vessel, 55 about 2 months, about 3 months, about 4 months, about 5
and sterilized at 125° C. for 30-45 minutes and cooled to           months, about 6 months, about 8 months, about 10 months,
room temperature. In another embodiment, autoclaving is             about 12 months, about 18 months, about 24 months, about
conducted under nitrogen. The resulting ophthalmic oint-            36 months, about 4 years, or about 5 years.
ment is aseptically filled into pre-sterilized containers (e.g.        In some instances, the storage condition has a storage
tubes).                                                          60 temperature of one of: about 25° C., about 40° C., or about
                                                                    60° C. In some cases, the storage condition has a storage
    Example 20—Atropine-Mucus Penetrating Particle                  temperature of from about 2° C. to about 10° C. or from
                           Composition                              about 16° C. to about 26° C. In some cases, the storage
                                                                    condition has a relative humidity of about 60% or about
   A 0.01% atropine-mucus penetrating particle composition 65 75%.
was prepared utilizing a milling procedure. An aqueous                 In some instances, the ophthalmic composition is in the
dispersion containing atropine particles and an MPP-en-             form of an aqueous solution. In some cases, the muscarinic


                                                       Appx000358
                                                       Appx000358                     Eyenovia Exhibit
                                                                                      Eyenovia Exhibit 1001,
                                                                                                       1001, Page
                                                                                                             Page 65 of 67
                                                                                                                  65 of 67
              Case: 23-2402                Document: 15              Page: 415           Filed: 02/01/2024


                                                   US 10,888,557 B2
                             99                                                                100
antagonist is present in the composition at a concentration of       In some instances, the ophthalmic composition is not
one of: from about 0.001 wt % to about 0.04 wt %, from            formulated as an injectable formulation.
about 0.001 wt % to about 0.03 wt %, from about 0.001 wt             While preferred embodiments of the present disclosure
% to about 0.025 wt %, from about 0.001 wt % to about 0.02        have been shown and described herein, such embodiments
wt %, from about 0.001 wt % to about 0.01 wt %, from about 5 are provided by way of example only. Various alternatives to
0.001 wt % to about 0.008 wt %, or from about 0.001 wt %          the embodiments described herein are optionally employed
to about 0.005 wt %.                                              in practicing the disclosure. It is intended that the following
   In some instances, the ophthalmic composition further          claims define the scope of the disclosure and that methods
comprises an osmolarity adjusting agent. In some cases, the       and structures within the scope of these claims and their
osmolarity adjusting agent is sodium chloride.                 10 equivalents be covered thereby.
   In some instances, the ophthalmic composition further             What is claimed is:
comprises a preservative. In some cases, the preservative is         1. A method of treating progression of myopia or reducing
selected from benzalkonium chloride, cetrimonium, sodium          the progression rate of myopia in an individual in need
perborate, stabilized oxychloro complex, SofZia, poly-            thereof, comprising administering to an eye of the individual
quaternium-1, chlorobutanol, edetate disodium, polyhexam- 15 (a) an aqueous solution comprising atropine or atropine
ethylene biguanide, or combinations thereof.                      sulfate and less than about 10% of a degradant of atropine
   In some instances, the ophthalmic composition further          or atropine sulfate formed from degradation of the atropine
comprises a buffer agent. In some cases, the buffer agent is      or atropine sulfate and (b) a buffering agent.
selected from borates, borate-polyol complexes, phosphate            2. The method of claim 1, wherein the atropine or atropine
buffering agents, citrate buffering agents, acetate buffering 20 sulfate is present in the aqueous solution at a concentration
agents, carbonate buffering agents, organic buffering agents,     of from about 0.01 mg/g to about 0.5 mg/g, from about 0.01
amino acid buffering agents, or combinations thereof.             mg/g to about 0.3 mg/g, or from about 0.1 mg/g to about 0.2
   In some instances, the ophthalmic composition further          mg/g.
comprises a tonicity adjusting agent. In some cases, the             3. The method of claim 1, wherein the atropine or atropine
tonicity adjusting agent is selected from sodium chloride, 25 sulfate is present in the aqueous solution at a concentration
sodium nitrate, sodium sulfate, sodium bisulfate, potassium       of about 0.1 mg/g, about 0.2 mg/g, about 0.25 mg/g, about
chloride, calcium chloride, magnesium chloride, zinc chlo-        0.3 mg/g, about 0.4 mg/g, or about 0.5 mg/g.
ride, potassium acetate, sodium acetate, sodium bicarbonate,         4. The method of claim 1, wherein the buffering agent
sodium carbonate, sodium thiosulfate, magnesium sulfate,          comprises a borate, a borate-polyol complex, a phosphate
disodium hydrogen phosphate, sodium dihydrogen phos- 30 buffering agent, a citrate buffering agent, an acetate buffer-
phate, potassium dihydrogen phosphate, dextrose, mannitol,        ing agent, a carbonate buffering agent, an organic buffering
sorbitol, dextrose, sucrose, urea, propylene glycol, glycerin,    agent, an amino acid buffering agent, or a combination
or a combination thereof.                                         thereof.
   In some instances, the ophthalmic composition is stored           5. The method of claim 1, wherein the buffering agent
in a plastic container. In some cases, the material of the 35 comprises sodium dihydrogen phosphate, disodium hydro-
plastic container comprises low-density polyethylene              gen phosphate, or a combination thereof
(LDPE).                                                              6. The method of claim 1, wherein the aqueous solution
   In some instances, the ophthalmic composition has a            further comprises a tonicity adjusting agent.
dose-to-dose muscarinic antagonist concentration variation           7. The method of claim 6, wherein the tonicity adjusting
of one of: less than 50%, less than 40%, less than 30%, less 40 agent comprises a halide salt of a monovalent cation.
than 20%, less than 10%, or less than 5%. In some cases, the         8. The method of claim 1, wherein the aqueous solution
dose-to-dose muscarinic antagonist concentration variation        further comprises a viscosity agent.
is based on one of: 10 consecutive doses, 8 consecutive              9. The method of claim 8, wherein the viscosity agent
doses, 5 consecutive doses, 3 consecutive doses, or 2 con-        comprises hydroxyethyl cellulose, hydroxypropyl cellulose,
secutive doses.                                                45 or hydroxypropylmethyl-cellulose (HPMC).
   In some instances, the ophthalmic composition has a pH            10. The method of claim 1, wherein the aqueous solution
of one of: from about 3.8 to about 7.5, from about 4.2 to         is substantially free of a preservative.
about 7.5, from about 4.8 to about 7.3, from about 5.2 to            11. The method of claim 1, wherein the aqueous solution
about 7.2, from about 5.8 to about 7.1, from about 6.0 to         further comprises a preservative.
about 7.0, or from about 6.2 to about 6.8.                     50    12. The method of claim 11, wherein a concentration of
   In some instances, the ophthalmic composition further          the preservative is from about 0.0001% to about 1%.
comprises a pH adjusting agent. In some cases, the pH                13. The method of claim 11, wherein the preservative is
adjusting agent comprises HC1, NaOH, CH3COOH, or                  selected from benzalkonium chloride, cetrimonium, sodium
C6H8O7.                                                           perborate, stabilized oxychloro complex, polyquaternium-1,
   In some instances, the ophthalmic composition comprises 55 chlorobutanol, edetate disodium, polyhexamethylene bigua-
one of: less than 5% of D2O, less than 4% of D2O, less than       nide, or combinations thereof.
3% of D2O, less than 2% of D2O, less than 1% of D2O, less            14. The method of claim 1, wherein the aqueous solution
than 0.5% of D2O, less than 0.1% of D2O, or 0% D2O. In            is essentially free of procaine and benactyzine, or pharma-
some cases, the ophthalmic composition is essentially free        ceutically acceptable salts thereof
of D2O.                                                        60    15. The method of claim 1, wherein the aqueous solution
   In some instances, the ophthalmic composition further          is sterile.
comprises a pharmaceutically acceptable carrier.                     16. The method of claim 1, wherein the aqueous solution
   In some instances, the ophthalmic composition is formu-        has a pH of from about 3.8 to about 6.4.
lated as an ophthalmic solution for the treatment of an              17. The method of claim 1, wherein the aqueous solution
ophthalmic disorder. In some cases, the ophthalmic disorder 65 is an ophthalmic composition.
or condition is pre-myopia, myopia, or progression of myo-           18. The method of claim 1, wherein the aqueous solution
pia.                                                              is administered at least once a day.


                                                       Appx000359
                                                       Appx000359                    Eyenovia Exhibit
                                                                                     Eyenovia Exhibit 1001,
                                                                                                      1001, Page
                                                                                                            Page 66 of 67
                                                                                                                 66 of 67
             Case: 23-2402                Document: 15         Page: 416     Filed: 02/01/2024


                                               US 10,888,557 B2
                            101                                                 102
   19. The method of claim 1, wherein the aqueous solution
is administered once a day.
   20. The method of claim 1, wherein the aqueous solution
has a pH of less than 5.
   21. The method of claim 1, wherein the aqueous solution 5
further comprises a stabilizing agent.
   22. The method of claim 21, wherein the stabilizing agent
is selected from the group consisting of glycerol, methio-
nine, monothioglycerol, Ethylenediaminetetraacetic acid
(EDTA), ascorbic acid, polysorbate 80, polysorbate 20, 10
arginine, heparin, dextran sulfate, cyclodextrins, pentosan
polysulfate, magnesium, zinc and combinations thereof.
   23. The method of claim 22, wherein the stabilizing agent
is EDTA.
                                                          15
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                                                  Appx000360               Eyenovia Exhibit
                                                                           Eyenovia Exhibit 1001,
                                                                                            1001, Page
                                                                                                  Page 67 of 67
                                                                                                       67 of 67
            Case: 23-2402   Document: 15    Page: 417    Filed: 02/01/2024




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      Dated: February 1, 2024                       /s/ Michael T. Rosato
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                                                    Inc.
